                  Case 20-12522-JTD                  Doc 2917           Filed 06/18/21            Page 1 of 835
                                                                                                    SOLICITATION VERSION


                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE
                                                                           )
In re:                                                                     ) Chapter 11
                                                                           )
MALLINCKRODT PLC, et al.,                                                  ) Case No. 20-12522 (JTD)
                                                                           )
                     Debtors.1                                             ) (Jointly Administered)
                                                                           )
          DISCLOSURE STATEMENT FOR JOINT CHAPTER 11 PLAN OF
     REORGANIZATION OF MALLINCKRODT PLC AND ITS DEBTOR AFFILIATES
              UNDER CHAPTER 11 OF THE BANKRUPTCY CODE
    Mark D. Collins (No. 2981)                                          George A. Davis (admitted pro hac vice)
    Michael J. Merchant (No. 3854)                                      George Klidonas (admitted pro hac vice)
    Amanda R. Steele (No. 5530)                                         Andrew Sorkin (admitted pro hac vice)
    Brendan J. Schlauch (No. 6115)                                      Anupama Yerramalli (admitted pro hac vice)
    RICHARDS, LAYTON & FINGER, P.A.                                     LATHAM & WATKINS LLP
    One Rodney Square                                                   1271 Avenue of the Americas
    920 N. King Street                                                  New York, New York 10020
    Wilmington, DE 19801                                                Telephone:    (212) 906-1200
    Telephone:      (302) 651-7700                                      Facsimile:    (212) 751-4864
    Facsimile:      (302) 651-7701                                      Email:        george.davis@lw.com
    Email:          collins@rlf.com                                                   george.klidonas@lw.com
                    merchant@rlf.com                                                  andrew.sorkin@lw.com
                    steele@rlf.com                                                    anu.yerramalli@lw.com
                    schlauch@rlf.com                                    - and -
                                                                        Jeffrey E. Bjork (admitted pro hac vice)
                                                                        LATHAM & WATKINS LLP
                                                                        355 South Grand Avenue, Suite 100
                                                                        Los Angeles, California 90071
                                                                        Telephone:       (213) 485-1234
                                                                        Facsimile:       (213) 891-8763
                                                                        Email:          jeff.bjork@lw.com
                                                                        - and -
                                                                        Jason B. Gott (admitted pro hac vice)
                                                                        LATHAM & WATKINS LLP
                                                                        330 North Wabash Avenue, Suite 2800
                                                                        Chicago, Illinois 60611
                                                                        Telephone:       (312) 876-7700
                                                                        Facsimile:       (312) 993-9767
                                                                        Email:           jason.gott@lw.com

                                    Counsel to the Debtors and Debtors in Possession
                                                  Dated: June 18, 2021


1
      A complete list of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’ claims and noticing agent at
      http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is 675 McDonnell Blvd., Hazelwood, Missouri 63042.
                   Case 20-12522-JTD                    Doc 2917             Filed 06/18/21             Page 2 of 835




            THE VOTING DEADLINE IS 4:00 P.M. PREVAILING EASTERN TIME ON
        SEPTEMBER 3, 2021 (UNLESS THE DEBTORS EXTEND THE VOTING DEADLINE).

FOR YOUR VOTE TO BE COUNTED, YOU MUST RETURN YOUR PROPERLY
COMPLETED BALLOT TO THE NOTICE AND CLAIMS AGENT OR YOUR NOMINEE, AS
APPLICABLE, SO THAT YOUR BALLOT, NOTES MASTER BALLOT, OR NON-NOTES
MASTER BALLOT, AS APPLICABLE, IS ACTUALLY RECEIVED BY THE NOTICE AND
CLAIMS AGENT, PRIME CLERK LLC BEFORE THE VOTING DEADLINE.

EACH OF THE AFOREMENTIONED BALLOTS CONTAIN DETAILED VOTING
INSTRUCTIONS AND SETS FORTH, AMONG OTHER THINGS, THE DEADLINES,
PROCEDURES, AND INSTRUCTIONS FOR VOTING TO ACCEPT OR REJECT THE PLAN,
AND THE APPLICABLE STANDARDS FOR TABULATING BALLOTS.



                   RECOMMENDATION BY THE DEBTORS AND RELATED SUPPORT

    The Debtors believe that the Plan is in the best interests of the Debtors’ creditors and other
    stakeholders. All creditors entitled to vote on the Plan are urged to vote in favor of the Plan.

The Board of Directors of Mallinckrodt plc and the board of directors or managers, members, or
partners, as applicable, of each of its affiliated Debtors have unanimously approved the transactions
contemplated by the Plan and recommend that all creditors whose votes are being solicited submit
ballots to accept the Plan.

The Supporting Term Lenders, who, together with other Supporting Parties, hold approximately
70% in principal amount of the Debtors’ First Lien Term Loan Claims, support the Plan.

Fifty (50) U.S. States and Territories and the Plaintiffs’ Executive Committee in the Multi-District
Litigation, including the members of the Governmental Plaintiff Ad Hoc Committee, that each
maintain or represent Opioid Claims against certain of the Debtors, support the Plan.

The MSGE Group, representing 1,318 entities that maintain Opioid Claims against certain of the
Debtors, including 1,245 counties, cities and other municipal entities, 9 tribal nations, 13 hospital
districts, 16 independent public school districts, 33 medical groups, and 2 funds, supports the Plan.

    The Guaranteed Unsecured Notes Ad Hoc Group, who, together with the other Supporting Parties
    hold approximately 84% in principal amount of the Debtors’ Guaranteed Unsecured Notes Claims,
    supports the Plan.2




2
       Without limitation of the rights under the Restructuring Support Agreement, the Governmental Plaintiff Ad Hoc Committee’s support for the
       Plan is conditioned upon, among other things, a resolution acceptable to the Governmental Plaintiff Ad Hoc Committee with respect to the
       following issues: (1) the treatment of the U.S. Government Opioid Claims; (2) Additional Insurance Rights; and (3) all other open items in
       the Plan, including the forms of the Definitive Documents.



                                                                        ii
              Case 20-12522-JTD           Doc 2917          Filed 06/18/21     Page 3 of 835




           OFFICIAL COMMITTEE OF UNSECURED CREDITORS PLAN POSITION

The Official Committee of Unsecured Creditors (the “UCC”) does NOT support the Debtors’ Plan.
A full explanation of the UCC’s position on the Plan is set forth in its cover letter, which is included
in the Debtors’ solicitation materials and can be accessed by going to
https://restructuring.primeclerk.com/mallinckrodt/ and selecting “UCC Letter” in the “Quick
Links” menu on the left side of the webpage.



                  OFFICIAL COMMITTEE OF OPIOID-RELATED CLAIMANTS

The Official Committee of Opioid-Related Claimants (the “OCC”) has not yet completed its investigation
regarding the sufficiency of the aggregate value being provided to Opioid Claimants under the Plan.
Therefore, the OCC is not yet in a position to recommend that Opioid Claimants vote to either accept or
reject the Plan. The OCC is continuing to do its work, and at the appropriate time, will file a supplemental
letter (or statement) on the Court’s docket setting forth its final position. In addition, although the Plan
sets forth the aggregate allocations being made available to categories of Opioid Claimants, there is no
information publicly available yet that explains the rules of how such value will be allocated to individual
claimants within each category. These rules – called trust distribution procedures (or “TDP’s”) - will be
made available the earlier of (a) 30 days from entry of the Disclosure Statement Order, and (b) July 21,
2021. The OCC encourages Opioid Claimants not to vote on the Plan until such time as (1) the OCC
discloses its final position, and (2) the TDP’s are made available for Opioid Claimants, at which point
claimants will be able to make a more informed decision on the Plan. At this point, the OCC urges Opioid
Claimants to review the Plan and Disclosure Statement currently on file, as well as the OCC’s Position
Letter, but not to make a voting decision until these other two critical pieces of information are available.
Given the Voting Deadline of September 3, 2021, Opioid Claimants have ample time to wait for both of
these pieces of critical additional information prior to casting their votes. A full explanation of the
OCC’s position regarding these Chapter 11 Cases, including the work it has done to date, is set
forth in the OCC’s Position Letter, which is included in the Debtors’ solicitation materials and can
be accessed at https://cases.primeclerk.com/MallinckrodtOpioidClaimantInfo/ and
https://www.restructuring.primeclerk.com/Mallinckrodt.



                        IMPORTANT INFORMATION FOR YOU TO READ

Mallinckrodt plc and certain of its direct and indirect subsidiaries, as debtors and debtors in possession
(collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), are
providing you with the information in this Disclosure Statement because you may be a creditor of the
Debtors and may be entitled to vote on the Joint Plan of Reorganization of Mallinckrodt plc and Its Debtor
Affiliates Under Chapter 11 of the Bankruptcy Code (including all exhibits and schedules thereto, and as
maybe amended, modified, or supplemented from time to time, the “Plan”). A draft of the Plan is attached
hereto as Exhibit A. All capitalized terms used but not otherwise defined herein have the definition given
to them in the Plan; to the extent that a definition of a term in the text of this Disclosure Statement and the
definition of such term in the Plan are inconsistent, the definition included in the Plan shall control and
govern.

ALL CREDITORS ENTITLED TO VOTE ON THE PLAN ARE ENCOURAGED TO READ AND
CAREFULLY CONSIDER THIS ENTIRE DISCLOSURE STATEMENT, INCLUDING THE



                                                      iii
              Case 20-12522-JTD            Doc 2917         Filed 06/18/21       Page 4 of 835



RISK FACTORS DESCRIBED IN ARTICLE IX BELOW, THE PLAN ATTACHED AS
EXHIBIT A, AND THE PLAN SUPPLEMENT BEFORE SUBMITTING BALLOTS IN
RESPONSE TO SOLICITATION OF THE PLAN.

HOLDERS OF CLAIMS OR EQUITY INTERESTS SHOULD NOT CONSTRUE THE
CONTENTS OF THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS,
FINANCIAL, OR TAX ADVICE AND SHOULD CONSULT WITH THEIR OWN ADVISORS
BEFORE VOTING ON THE PLAN.

The voting deadline to accept or reject the Plan is 4:00 p.m. Eastern Time on September 3, 2021,
unless extended by the Debtors (the “Voting Deadline”).

To be counted, your Ballot, Notes Master Ballot, or Non-Notes Master Ballot, as applicable, must be
properly completed and returned to the Notice and Claims Agent, Prime Clerk LLC, in accordance
with the voting instructions on such Ballot and actually received by the Notice and Claims Agent, via
regular mail, overnight courier, or personal delivery at the appropriate address, via email, or via the
Notice and Claims Agent’s ballot upload site, by the Voting Deadline.

A summary of the voting instructions is set forth in Section I.E of this Disclosure Statement and the
Disclosure Statement Order [Docket No. 2911]. More detailed instructions are also contained in the Ballots
distributed to the creditors entitled to vote on the Plan.

This Disclosure Statement, the Plan, the Plan Supplement, any opioid trust documents, and any attachments,
exhibits, supplements and annexes hereto are the only documents to be used in connection with the
solicitation of votes on the Plan, and also may not be relied upon for any purpose other than to determine
how to vote on the Plan (except with respect to any Plan Supplement documents that may be relied upon
for purposes other than to determine how to vote on the Plan). Neither the Bankruptcy Court nor the Debtors
have authorized any person to give any information or to make any representation in connection with the
Plan or the solicitation of acceptances of the Plan other than as contained in this Disclosure Statement, the
Plan Supplement, and any attachments, exhibits, supplements or annexes attached hereto. If given or made,
such information or representation may not be relied upon as having been authorized by the Bankruptcy
Court or the Debtors. The delivery of this Disclosure Statement will not under any circumstances represent
that the information herein is correct as of any time after the date hereof.

This Disclosure Statement shall not constitute an offer to sell, or solicitation of an offer to buy, nor will
there be any distribution of, any of the securities described herein until the Effective Date of the Plan.

The summaries of the Plan and other documents contained in this Disclosure Statement are qualified in
their entirety by reference to the Plan itself, the exhibits thereto that will be included in the Plan Supplement,
and documents described therein as filed prior to approval of this Disclosure Statement or subsequently as
part of the Plan Supplement. In the event that any inconsistency or conflict exists between this Disclosure
Statement and the Plan, or between the Plan Supplement and the Plan, the terms of the Plan will control.
Except as otherwise indicated herein or in the Plan, the Debtors will file all Plan Supplement documents
with the Bankruptcy Court and make them available for review at the Debtors’ document website located
online at https://restructuring.primeclerk.com/mallinckrodt no later than August 6, 2021 (i.e., twenty-eight
(28) days before the Voting Deadline). The Debtors will file the various trust distribution procedures (as
may be amended, supplemented or modified from time to time) with respect to the Opioid MDT II and
Opioid Creditor Trusts with the Bankruptcy Court on the earlier of (a) 30 days from entry of the Disclosure
Statement Order, and (b) July 21, 2021.




                                                       iv
              Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 5 of 835



This Disclosure Statement contains, among other things, descriptions and summaries of provisions of the
Plan. The Debtors reserve the right to modify the Plan consistent with section 1127 of the Bankruptcy Code
and Bankruptcy Rule 3019, subject to the terms of the Plan. The statements contained in this Disclosure
Statement are made only as of the date of this Disclosure Statement, and there can be no assurance that the
statements contained herein will be correct at any time after this date. The information contained in this
Disclosure Statement, including the information regarding the history, businesses and operations of the
Debtors, the financial information regarding the Debtors and the liquidation analyses relating to the
Debtors, is included for purposes of soliciting acceptances of the Plan, but, as to contested matters and
adversary proceedings, is not to be construed as an admission or stipulation, but rather as a statement made
in settlement negotiations as part of the Debtors’ attempt to settle and resolve claims and controversies
pursuant to the Plan. This Disclosure Statement will not be admissible in any non-bankruptcy proceeding,
nor will it be construed to be conclusive advice on the tax, securities, or other legal effects of the Plan as to
Holders of Claims against, or Interests in, either the Debtors or the Reorganized Debtors. Except where
specifically noted, the financial information contained in this Disclosure Statement and in its exhibits has
not been audited by a certified public accountant and has not been prepared in accordance with generally
accepted accounting principles in the United States.

The Debtors believe that the solicitation of votes on the Plan made in connection with this Disclosure
Statement, and the offer of certain new securities that may be deemed to be made pursuant to the solicitation
of votes on the Plan, are exempt from registration under the Securities Act of 1933, as amended (the
“Securities Act”) and related state statutes by reason of the exemption provided by section 1145(a)(1) of
the Bankruptcy Code and expect that the offer and issuance of the securities under the Plan will be exempt
from registration under the Securities Act and related state statutes by reason of the applicability of section
1145(a)(1) of the Bankruptcy Code and/or section 4(a)(2) of the Securities Act.

The effectiveness of the Plan is subject to material conditions precedent. See Article V.H below and Article
VIII of the Plan. There is no assurance that these conditions will be satisfied or waived.

If the Plan is confirmed by the Bankruptcy Court and the Effective Date occurs, all Holders of Claims
against, and Equity Interests in, the Debtors (including without limitation those Holders who do not submit
Ballots to accept or reject the Plan or who are not entitled to vote on the Plan, but excluding holders who
are entitled to, and do, opt out), will be bound the by the terms of the Plan and the transactions contemplated
thereby, including the third-party releases contained therein.

     IMPORTANT NOTICES REGARDING THIRD-PARTY RELEASES BY HOLDERS OF
          EQUITY INTERESTS AND CLAIMS OTHER THAN OPIOID CLAIMS

If you are a Holder of a Claim other than for Opioid Claimants, you may be deemed to be granting
releases to third parties under the Plan. Specifically, pursuant to Article IX.C of the Plan, each
Holder of a Claim other than Opioid Claimants are deemed to grant a third-party release if (a) such
Holder votes to accept the Plan, (b) such Holder is Unimpaired under the Plan, (c) such Holder whose
vote to accept or reject the Plan is solicited (i) abstains from voting on the Plan and (ii) does not opt
out of granting the releases set forth in the Plan, (d) such Holder votes, or is deemed, to reject the
Plan but does not opt out of granting the releases set forth in the Plan, and (e) to the maximum extent
otherwise permitted by law. This release is discussed further in Article V.I of this Disclosure




                                                       v
             Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 6 of 835



Statement. Instructions for opting out of the third-party releases are set forth in the Solicitation
Package distributed in connection with this Disclosure Statement.

            IMPORTANT NOTICES REGARDING RELEASES OF OPIOID CLAIMS

If you are an Opioid Claimant, you will be deemed to be granting releases to the Debtors, the
Reorganized Debtors and certain third parties referred to as Protected Parties under the Plan with
respect to such Opioid Claims (including Opioid Demands). Pursuant to Article IX.D of the Plan, as
of the Effective Date, each Opioid Claimant (in its capacity as such) will be deemed to have released
and discharged, to the maximum extent permitted by law, as such law may be extended subsequent
to the Effective Date, each Debtor, Reorganized Debtor, and Protected Party from any and all Claims
(including Opioid Claims and Opioid Demands).

Further, pursuant to Article IX.G of the Plan, from and after the Effective Date, the sole recourse of
any Opioid Claimant on account of its Opioid Claims (including Opioid Demands) based upon or
arising from the Debtors’ pre-confirmation conduct or activities shall be to the Opioid MDT II or the
Opioid Creditor Trusts, and such Opioid Claimant shall have no right whatsoever at any time to
assert its Opioid Claims (including Opioid Demands) against any Protected Party or any property or
interest in property of any Protected Party.

Each Opioid Claim shall be resolved solely in accordance with the terms, provisions, and procedures
of the Opioid MDT II Documents or the Opioid Creditor Trust Documents, as applicable, and shall
receive a recovery, if any, from the Opioid MDT II or Opioid Creditor Trusts, as applicable, and
solely in accordance with the Opioid MDT II Documents or the Opioid Creditor Trust Documents,
as applicable. The Opioid MDT II Documents or Opioid Creditor Trust Documents are binding on
the Holders of all Opioid Claims (including Opioid Demands). The various trust distribution
procedures (as may be amended, supplemented or modified from time to time) with respect to the
Opioid MDT II and Opioid Creditor Trusts shall be filed with the Bankruptcy Court on the earlier
of (a) 30 days from entry of the Disclosure Statement Order, and (b) July 21, 2021.

                               FORWARD-LOOKING STATEMENTS

This Disclosure Statement contains forward-looking statements based primarily on the current expectations
of the Debtors and projections about future events and financial trends affecting the financial condition of
the Debtors’ businesses and assets. The words “believe,” “may,” “estimate,” “continue,” “anticipate,”
“intend,” “expect,” and similar expressions identify these forward-looking statements. These forward-
looking statements are subject to a number of risks, uncertainties, and assumptions, including those
described below in Article IX. In light of these risks and uncertainties, the forward-looking events and
circumstances discussed in this Disclosure Statement may not occur, and actual results could differ
materially from those anticipated in the forward-looking statements. The Debtors do not undertake any
obligation to update or revise publicly any forward-looking statements, whether as a result of new
information, future events, or otherwise.

This Disclosure Statement has been prepared in accordance with section 1125 of the Bankruptcy Code and
Bankruptcy Rule 3016 and not necessarily in accordance with federal or state securities laws or other non-
bankruptcy laws. This Disclosure Statement has not been approved or disapproved by the United States
Securities and Exchange Commission (the “SEC”), any state securities commission or any securities
exchange or association nor has the SEC, any state securities commission or any securities exchange or
association passed upon the accuracy or adequacy of the statements contained herein.




                                                    vi
             Case 20-12522-JTD          Doc 2917         Filed 06/18/21   Page 7 of 835



                        QUESTIONS AND ADDITIONAL INFORMATION

If you would like to obtain copies of this Disclosure Statement, the Plan, the Plan Supplement, or any of
the documents attached hereto or referenced herein, or have questions about the solicitation and voting
process or the Debtors’ Chapter 11 Cases generally, please contact the Debtors’ Notice and Claims Agent,
Prime Clerk LLC by visiting the Debtors’ document website at https://www.
restructuring.primeclerk.com/Mallinckrodt.




                                                   vii
                 Case 20-12522-JTD                        Doc 2917              Filed 06/18/21                 Page 8 of 835
                                                                                                                 SOLICITATION VERSION


                                                        TABLE OF CONTENTS
                                                                                                                                                      Page

I. EXECUTIVE SUMMARY ....................................................................................................................... 1

          A.         Purpose and Effect of the Plan ............................................................................................ 1
          B.         Classification and Treatment of Claims and Interests Under the Plan................................ 3
          C.         Filing of the Plan Supplement and Trust Distribution Procedures ................................... 21
          D.         Solicitation Procedures ..................................................................................................... 22
          1.         The Solicitation and Voting Procedures ........................................................................... 22
          2.         The Notice and Claims Agent ........................................................................................... 22
          3.         Holders of Claims Entitled to Vote on the Plan ................................................................ 23
          4.         The Voting Record Date ................................................................................................... 24
          5.         Contents of the Solicitation Package ................................................................................ 25
          6.         Distribution of the Solicitation Package to Holders of Claims Entitled to Vote on
                     the Plan ............................................................................................................................. 26
          7.         Distribution of Notices to Holders of Claims in Non-Voting Classes and Holders
                     of Disputed Claims ........................................................................................................... 26
          8.         Additional Distribution of Solicitation Documents .......................................................... 28
          E.         Voting Procedures............................................................................................................. 29
          1.         The Voting Deadline ......................................................................................................... 29
          2.         Types of Ballots ................................................................................................................ 29
          3.         Voting Instructions ........................................................................................................... 30
          4.         Voting Procedures............................................................................................................. 31
          a.         Voting Procedures with Respect to Holders of Class 3 – First Lien Notes Claims,
                     Class 4 – Second Lien Notes Claims, Class 5 – Guaranteed Unsecured Notes
                     Claims, and Class 6(d) - Legacy Unsecured Notes Claims .............................................. 32
          b.         Voting Procedures with Respect to Holders of Claims in Classes 6(a) (Acthar
                     Claims); 6(b) (Generics Price Fixing Claims); 6(c) (Asbestos Claims); 6(e)
                     (Environmental Claims); 6(f) (Other General Unsecured Claims); and 10 (Settled
                     Federal/State Acthar Claims) ............................................................................................ 33
          c.         Voting Procedures with Respect to Holders of Opioid Claims in Classes 8(a)
                     (State Opioid Claims); 8(b) (Municipal Opioid Claims); 8(c) (Tribe Opioid
                     Claims); 8(d) (U.S. Government Opioid Claims); 9(a) (Third-Party Payor Opioid
                     Claims); 9(b) (PI Opioid Claims); 9(c) (NAS PI Opioid Claims); 9(d) (Hospital
                     Opioid Claims); 9(e) (Other Opioid Claims); 9(f) (NAS Monitoring Opioid
                     Claims); 9(g) (Emergency Room Physicians Opioid Claims); and 9(h) (Other
                     Opioid Claims) .................................................................................................................. 33
          d.         Voting Procedures with Respect to Holders of Claims in All Other Voting
                     Classes .............................................................................................................................. 35
          5.         Tabulation of Votes .......................................................................................................... 35
          F.         Confirmation of the Plan................................................................................................... 36
          1.         The Confirmation Hearing ................................................................................................ 36
          2.         The Deadline for Objecting to Confirmation of the Plan.................................................. 37
          3.         Effect of Confirmation of the Plan.................................................................................... 38
          G.         The Plan Releases ............................................................................................................. 38
          H.         Consummation of the Plan ................................................................................................ 40
          I.         Risk Factors ...................................................................................................................... 40

II. BACKGROUND TO THE CHAPTER 11 CASES ........................................................................... 41
               Case 20-12522-JTD                       Doc 2917              Filed 06/18/21                 Page 9 of 835



         A.       The Debtors’ Corporate Structure ..................................................................................... 41
         B.       The Debtors’ Business Operations.................................................................................... 42
         C.       The Debtors’ Prepetition Capital Structure....................................................................... 45

III. KEY EVENTS LEADING TO COMMENCEMENT OF THE CHAPTER 11 CASES ..................... 48

         A.       The Opioid Litigations ...................................................................................................... 48
         B.       The Opioid Settlement Negotiations and Summary of Terms .......................................... 49
         C.       Litigation........................................................................................................................... 52
         1.       Acthar Related Litigations ................................................................................................ 52
         2.       Other Litigations ............................................................................................................... 52
         D.       The Federal/State Acthar Settlement Agreement.............................................................. 53
         E.       The Restructuring Support Agreement ............................................................................. 54
         1.       The DOJ/CMS/States Settlement ...................................................................................... 55
         2.       The Management Incentive Plan ...................................................................................... 56
         F.       Prepetition Retention Payments ........................................................................................ 56
         G.       Retention of the Debtors’ Advisors .................................................................................. 57
         H.       The Specialty Generics Independent Directors................................................................. 57

IV. EVENTS DURING THE CHAPTER 11 CASES ................................................................................ 58

         A.       Commencement of Chapter 11 Cases ............................................................................... 58
         B.       First Day Motions ............................................................................................................. 58
         C.       Injunctive Motions ............................................................................................................ 59
         D.       Procedural Motions ........................................................................................................... 59
         E.       Appointment of Unsecured Creditors’ Committee ........................................................... 59
         F.       Appointment of Opioid Claimants’ Committee ................................................................ 59
         G.       Bar Date Motion ............................................................................................................... 59
         H.       Approval of Certain Intercompany Restructuring Transactions ....................................... 60
         I.       The Debtors’ Professional Advisor Retentions................................................................. 60
         J.       The Voluntary Injunction and Appointment of the Monitor............................................. 62
         K.       First Lien Term Lender Joinder and Mandatory Prepayment ........................................... 63
         1.       Settlement Discussions Regarding First Lien Notes Claims ............................................ 65
         L.       Exclusivity ........................................................................................................................ 65
         M.       The Key Employee Incentive Plan ................................................................................... 65
         N.       Appointment of a FCR ...................................................................................................... 66
         O.       The Debtors’ Diligence Related to the Plan Releases....................................................... 67
         P.       Extension of the Challenge Period Under the Cash Collateral Order ............................... 68
         1.       Potential Estate Causes of Action ..................................................................................... 69
         Q.       The SEC Letter Regarding the Debtors’ Releases Under the Plan ................................... 70
         R.       Acthar Claims Related Litigation in these Chapter 11 Cases ........................................... 70
         1.       Class Proof of Claim Objections....................................................................................... 71
         2.       Discharge and Related Claim Litigation ........................................................................... 72
         3.       The Humana Claims Motions ........................................................................................... 73
         4.       Acthar Administrative Claims and the Setting of an Administrative Claim Bar
                  Date and Post-Reorganization Liabilities ......................................................................... 74
         S.       Generics Price Fixing Litigation ....................................................................................... 75
         1.       Generics Price Fixing Lift Stay Motion ............................................................................ 75
         T.       The Administrative Claims Bar Date ................................................................................ 76
         U.       Contingent Claims Asserted Against the Debtors............................................................. 77
         V.       Opioid Claimant Mediation and Opioid Trusts................................................................. 77


                                                                        ii
                 Case 20-12522-JTD                         Doc 2917                Filed 06/18/21               Page 10 of 835



           1.          Proposed Allocations Amongst The Opioid Trusts .......................................................... 79
           2.          The Opioid Trusts and Abatement .................................................................................... 80
           3.          The Public Opioid Creditor Trusts .................................................................................... 80
           W.          The Opioid Noticing Program .......................................................................................... 83
           1.          The Opioid Notice Plan - Direct Notice ........................................................................... 83
           2.          The Opioid Notice Plan - Media and Community Outreach Strategy .............................. 83
           X.          The Canadian Recognition Proceedings ........................................................................... 85
           Y.          The Irish Examinership Proceedings ................................................................................ 86
           1.          Petition Hearing ................................................................................................................ 87
           2.          Approval of Proposals for the Scheme of Arrangement ................................................... 87
           3.          Approval by the High Court of Ireland ............................................................................. 87
           Z.          Disclosure Statement Objections ...................................................................................... 88

V. SUMMARY OF THE PLAN ................................................................................................................. 95

           A.          Classification and Treatment of Claims and Interests under the Plan .............................. 96
           B.          Acceptance or Rejection of the Plan; Effect of Rejection of Plan .................................... 97
           C.          Means of Implementation of the Plan ............................................................................... 99
           D.          Matters Related to the Opioid MDT II and Opioid Creditor Trusts ............................... 105
           E.          Treatment of Executory Contracts and Unexpired Leases; Employee Benefits;
                       and Insurance Policies .................................................................................................... 116
           F.          Provisions Governing Distributions ................................................................................ 121
           G.          Procedures for Resolving Disputed, Contingent, and Unliquidated Claims or
                       Interests ........................................................................................................................... 124
           H.          Conditions Precedent to the Effective Date .................................................................... 128
           I.          Release, Injunction, and Related Provisions ................................................................... 130

VI. CAPITAL STRUCTURE AND CORPORATE GOVERNANCE OF REORGANIZED
       DEBTORS ................................................................................................................................... 145

           A.          Summary of Capital Structure of Reorganized Debtors ................................................. 145
           B.          Corporate Governance and Management of the Reorganized Debtors ........................... 152

VII. CONFIRMATION OF THE PLAN .................................................................................................. 154

           A.          Confirmation Hearing ..................................................................................................... 154
           B.          Confirmation ................................................................................................................... 156
           C.          Classification of Claims and Interests............................................................................. 161
           D.          Consummation ................................................................................................................ 161
           E.          Exemption from Certain Transfer Taxes ........................................................................ 161
           F.          Dissolution of Committees ............................................................................................. 162
           G.          Modification of Plan ....................................................................................................... 162
           H.          Effect of Confirmation on Modifications ....................................................................... 162
           I.          Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur .............. 162
           J.          Post-Confirmation Jurisdiction of the Bankruptcy Court ............................................... 163

VIII. ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN ................ 165

           A.          Continuation of Chapter 11 Cases .................................................................................. 165
           B.          Liquidation under Chapter 7 ........................................................................................... 166
           C.          Dismissal of Chapter 11 Cases. ...................................................................................... 166



                                                                             iii
                Case 20-12522-JTD                      Doc 2917               Filed 06/18/21               Page 11 of 835



IX. RISK FACTORS TO CONSIDER BEFORE VOTING .................................................................... 166

          A.        Certain Bankruptcy Law Considerations ........................................................................ 166
          B.        Risks Relating to the Capital Structure of the Reorganized Debtors .............................. 171
          C.        Risks Relating to the Debtors’ Business Operations and Financial Conditions ............. 174
          D.        Certain Risk Factors Related to the Irish Examinership Proceedings............................. 181
          E.        Certain Risk Factors Related to the Canadian Recognition Proceedings ....................... 182
          F.        Additional Factors........................................................................................................... 182

X. SECURITIES LAW MATTERS ......................................................................................................... 183

          A.        Issuance & Transfer of 1145 Securities .......................................................................... 183

XI. CERTAIN U.S. INCOME TAX CONSEQUENCES OF THE PLAN .............................................. 186

          A.        Introduction ..................................................................................................................... 186
          B.        U.S. Federal Income Tax Consequences to the U.S. Tax Group and the Trusts ............ 187
          C.        U.S. Federal Income Tax Consequences to Holders of Certain Claims ......................... 192

XII. IRELAND INCOME TAX CONSEQUENCES ............................................................................... 210

          A.        Irish Tax Consequences To The Plan ............................................................................. 210

XIII. LUXEMBOURG INCOME TAX CONSEQUENCES ................................................................... 213

          A.        Luxembourg Tax Consequences To The Plan ................................................................ 213

XIV. CONCLUSION AND RECOMMENDATION ............................................................................... 217

                                                                 EXHIBITS
EXHIBIT A:          Plan

EXHIBIT B:          Restructuring Support Agreement

EXHIBIT C:          Corporate Structure Chart

EXHIBIT D:          Financial Projections

EXHIBIT E:          Liquidation Analysis

EXHIBIT F:          Valuation Analysis

 THE DEBTORS HEREBY ADOPT AND INCORPORATE EACH EXHIBIT ATTACHED TO
 THIS DISCLOSURE STATEMENT BY REFERENCE AS THOUGH FULLY SET FORTH
 HEREIN.




                                                                         iv
             Case 20-12522-JTD           Doc 2917         Filed 06/18/21      Page 12 of 835
                                                                                SOLICITATION VERSION


                                                I.
                                        EXECUTIVE SUMMARY

The Debtors in the Chapter 11 Cases pending in the United States Bankruptcy Court for the District of
Delaware submit this Disclosure Statement, pursuant to section 1125 of the Bankruptcy Code, in connection
with the solicitation of votes on the Joint Plan of Reorganization of Mallinckrodt plc and Its Debtor
Affiliates Under Chapter 11 of the Bankruptcy Code dated June 17, 2021. A copy of the Plan is attached
hereto as Exhibit A.

Prior to soliciting votes on a proposed plan of reorganization, section 1125 of the Bankruptcy Code requires
debtors to prepare a disclosure statement containing information of a kind, and in sufficient detail, to enable
a hypothetical reasonable investor to make an informed judgment regarding acceptance or rejection of the
plan of reorganization. As such, this Disclosure Statement is being submitted in accordance with the
requirements of section 1125 of the Bankruptcy Code.

This Executive Summary is being provided as an overview of the material items addressed in this Disclosure
Statement and the Plan, which is qualified by reference to the entire Disclosure Statement and by the actual
terms of the Plan (and including all exhibits attached hereto and to the Plan), and should not be relied upon
for a comprehensive discussion of this Disclosure Statement and/or the Plan.

This Disclosure Statement includes, without limitation, information about:

       the Debtors’ prepetition operating and financial history;

       the events leading up to the commencement of the Chapter 11 Cases;

       the significant events that have occurred during the Chapter 11 Cases;

       the solicitation procedures for voting on the Plan;

       the Confirmation process and the voting procedures that Holders of Claims who are entitled to vote
        on the Plan must follow for their votes to be counted;

       the terms and provisions of the Plan, certain effects of confirmation of the Plan, and the manner in
        which distributions will be made under the Plan;

       certain risk factors relating to the Debtors, the Reorganized Debtors and confirmation of the Plan;
        and

       the proposed organization, operations and financing of the Reorganized Debtors if the Plan is
        confirmed and becomes effective.

        A.       Purpose and Effect of the Plan

                 1.      Plan of Reorganization Under Chapter 11 of the Bankruptcy Code

The Debtors are reorganizing pursuant to chapter 11 of the Bankruptcy Code, which is the principal business
reorganization chapter of the Bankruptcy Code. As a result, the confirmation of the Plan means that the
Reorganized Debtors will continue to operate their businesses going forward and does not mean that the
Debtors will be liquidated or forced to go out of business.



                                                      1
            Case 20-12522-JTD           Doc 2917         Filed 06/18/21     Page 13 of 835



A bankruptcy court’s confirmation of a plan binds the debtors, any entity acquiring property under the plan,
any holder of a claim or equity interest in the debtors, and all other entities as may be ordered by the
bankruptcy court in accordance with the applicable provisions of the Bankruptcy Code to the terms and
conditions of the confirmed plan, whether or not such entity voted on the particular plan or affirmatively
voted to reject the plan.

                2.      Restructurings Under the Plan

The Plan contemplates that on the Effective Date or as soon as reasonably practicable thereafter, the
Reorganized Debtors may, consistent with the terms of the Restructuring Support Agreement, take all
actions as may be necessary to effectuate the Plan, including:

       the execution and delivery of appropriate agreements or other documents of sale, merger,
        consolidation, or reorganization containing terms that are consistent with the terms of the Plan and
        that satisfy the requirements of applicable law;

       the creation of a NewCo and/or any NewCo Subsidiaries (if any) that may, at the Debtors’ or
        Reorganized Debtors’ option in consultation with the Supporting Parties, acquire all or substantially
        all the assets of one or more of the Debtors;

       the execution and delivery of an equity and asset transfer agreement (if applicable) and any other
        appropriate instruments of transfer, assignment, assumption, or delegation of any property, right,
        liability, duty, or obligation on terms consistent with the terms of the Plan;

       the creation of certain opioid trusts where all Opioid Claims will be channeled to in accordance
        with the terms of the Plan and the applicable trust documents (as may be amended, supplemented
        or modified from time to time), which will be filed with the Bankruptcy Court on the earlier of (a)
        30 days from entry of the Disclosure Statement Order, and (b) July 21, 2021.

       the filing of appropriate certificates of incorporation, merger, migration, consolidation, or other
        organizational documents with the appropriate governmental authorities pursuant to applicable law;
        and

       all other actions that the Reorganized Debtors determine are necessary or appropriate.

The Plan further contemplates the treatment of Allowed Claims and Interests as set forth in the below table
of “Summary Of Expected Recoveries”.

With respect to implementing the Restructuring Transactions under the Plan, the Debtors intend to disclose
the precise steps to be taken in the Restructuring Transactions in the Plan Supplement and will make those
transactions public with sufficient time for all voting creditors to consider them before submitting their
Ballots.

                3.      The General Unsecured Claims Cash or Equity Preference Indication

The Plan provides that Holders of General Unsecured Claims are entitled to indicate their preference, via a
duly-submitted Ballot, to receive New Mallinckrodt Ordinary Shares as a portion of their distribution under
the Plan. The proportion of the distributions made to such Holders in the form of New Mallinckrodt
Ordinary Shares will be equal to the proportion of the Ballots submitted by Holders of General Unsecured
Claims indicating the requisite election, calculated using the amount of General Unsecured Claims
attributed to each such Ballot for purposes of voting on the Plan under the Disclosure Statement Order.


                                                     2
             Case 20-12522-JTD         Doc 2917        Filed 06/18/21     Page 14 of 835



        B.      Classification and Treatment of Claims and Interests Under the Plan

The following table provides a summary of the classification and treatment of Claims and Equity Interests
and the potential distributions to Holders of Allowed Claims and Equity Interests under the Plan.

THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE ESTIMATES
ONLY AND THEREFORE ARE SUBJECT TO CHANGE, INCLUDING BASED ON THE
LIQUIDATION OF CLAIMS CURRENTLY ASSERTED AS UNLIQUIDATED. FOR A
COMPLETE DESCRIPTION OF THE DEBTORS’ CLASSIFICATION AND TREATMENT OF
CLAIMS AND EQUITY INTERESTS, REFERENCE SHOULD BE MADE TO THE ENTIRE
PLAN AND THE RISK FACTORS DESCRIBED IN ARTICLE IX BELOW. THE TABLE IS
INTENDED FOR ILLUSTRATIVE PURPOSES ONLY AND IS NOT A SUBSTITUTE FOR A
REVIEW OF THE PLAN AND DISCLOSURE STATEMENT IN THEIR ENTIRETY. FOR
CERTAIN CLASSES OF CLAIMS, THE ACTUAL AMOUNT OF ALLOWED CLAIMS COULD
BE MATERIALLY DIFFERENT THAN THE ESTIMATED AMOUNTS SHOWN IN THE TABLE
BELOW.

FOR HOLDERS OF APPLICABLE GENERAL UNSECURED CLAIMS IN EACH OF CLASSES
6(A)-(F), THE FOLLOWING RECOVERY RANGES TAKE INTO CONSIDERATION
CONTINGENT CLAIMS THAT ARE EITHER ALLOWED IN FULL OR DISALLOWED IN
FULL. THESE CATEGORIES OF CONTINGENT CLAIMS ARE DESCRIBED FURTHER IN
ARTICLE IV.U BELOW. EACH CREDITOR REVIEWING THIS DISCLOSURE STATEMENT
SHOULD REVIEW ARTICLE IV.U BELOW CAREFULLY TO UNDERSTAND THE IMPACT
OF CONTINGENT LITIGATION CLAIMS ON THEIR RESPECTIVE DISTRIBUTIONS.

Based on the Debtors’ diligence and analysis prepared in early Q1 2021, the Debtors believe Holders
of Trade Claims and General Unsecured Claims in Classes 6 and 7, respectively, in the aggregate,
would be entitled to approximately $34 million, as a midpoint, in the absence of any of the settlements
embodied in the Restructuring Support Agreement and in a strict application of the absolute priority
rule under the Bankruptcy Code, applied entity-by-entity among all the Debtors and Non-Debtor
Affiliates. Moreover, such Holders would recover less than $7 million in the aggregate in a chapter
7 liquidation, as demonstrated in the Debtors’ Liquidation Analysis attached to this Disclosure
Statement. Accordingly, the Debtors believe the Plan provides such creditors with multiples more
than their entitlements by making available $150 million for these claimants. The Debtors will
substantiate these creditors’ entitlements in connection with the Confirmation Hearing.

Further, to calculate the General Unsecured Claims Total Implied Equity Valuation, the Debtors
used the same process by which they determined creditors’ relative entitlements, which shows
General Unsecured Creditors and Trade Claimants are entitled to approximately $34 million in a
strict application of the absolute priority rule. The Debtors used this analysis to determine the
distributable value for the Reorganized Debtors at which General Unsecured Creditors (not
including Trade Claimants) would be entitled to approximately $100 million. That implied
distributable value was then used to calculate the General Unsecured Claims Total Implied Equity
Valuation.

The Plan is based on the Debtors’ conclusion that the Guaranteed Unsecured Notes have a
structurally senior position to the vast majority of General Unsecured Claims, due to the guarantees
that support the Guaranteed Unsecured Notes from, among other Debtors, the Debtors that owned
substantially all of the Specialty Brands’ intellectual property as of the Petition Date. The Debtors
expect a limited number and amount of General Unsecured Claims to be Allowed against these
entities. In addition, holders of First Lien Revolving Credit Facility Claims, 2024 First Lien Term


                                                   3
                        Case 20-12522-JTD                     Doc 2917             Filed 06/18/21             Page 15 of 835



       Loan Claims, 2025 First Lien Term Loan Claims, First Lien Notes Claims, and Second Lien Notes
       Claims have Secured Claims against such Debtors, among others.

       The Plan provides that distributions to creditors with Claims in Classes 6(a)-6(f) will be made pro
       rata and on a consolidated basis from all Debtors among all such creditors, regardless of against
       which Debtor the Claim is asserted, except that non-ratable distributions may be necessary and be
       made to satisfy applicable requirements under the Bankruptcy Code. Holders of Claims in Classes
       6(a)-6(f) should be aware that if such distributions were made other than on a consolidated basis
       from all Debtors their respective recoveries could differ materially, either greater or lesser,
       depending on the Allowed amount of such Claims against each Debtor and the value available to
       General Unsecured Claims from each Debtor.

       The following “Summary of Expected Recoveries” chart refers to the “Filed Amount”, which is the
       aggregate of all liquidated amounts asserted in filed Proofs of Claim, less any redundant Proofs of Claim
       filed by the same creditor(s) that assert(s) substantially identical disputed, unliquidated, or contingent
       Claims against multiple Debtors, plus any unmatched prepetition amounts reflected in the Debtors’ books
       and records as of the fiscal month ended April 23, 2021. The “Filed Amount” does not include any provision
       for Proofs of Claim as unliquidated and with no asserted amounts and settled claims to be exempted from
       the claims register. Further, for Classes 6(a)-(f), references below to the “scheduled amount” refers to the
       Debtors’ Schedules of Assets and Liabilities and reference to the “books and records amounts” means as
       of the fiscal month ended April 23, 2021.

                                              SUMMARY OF EXPECTED RECOVERIES3

           Claim/Equity                                                                        Projected Recovery
 Class        Interest                    Treatment of Claim/Equity Interest                     Under the Plan
1      Other Secured Claims Except to the extent that a Holder of an Allowed Other Secured            100%
                            Claim agrees to less favorable treatment, in exchange for full
       Filed Amount:        and final satisfaction, settlement, release, and discharge of each
       $2,200,000.00        Allowed Other Secured Claim, each Holder of an Allowed
                            Other Secured Claim, at the option of the applicable Debtor,
                            shall (i) be paid in full in Cash including the payment of any
                            interest required to be paid under section 506(b) of the
                            Bankruptcy Code, (ii) receive the collateral securing its Allowed
                            Other Secured Claim, or (iii) receive any other treatment that
                            would render such Claim Unimpaired, in each case, as
                            determined by the Debtors with the reasonable consent of the
                            Required Supporting Unsecured Noteholders, the Governmental
                            Plaintiff Ad Hoc Committee, and the MSGE Group and
                            following consultation with the Supporting Term Lenders.

2(a)       First Lien Revolving All Allowed First Lien Revolving Credit Facility Claims shall                                                100%
           Credit Facility      receive, on the Effective Date, in full and final satisfaction,
           Claims               settlement, release, and discharge of such Claims, repayment in
                                full in Cash. For the avoidance of doubt, the foregoing




       3
             The Debtors are currently in the process of reconciling Claims. As such, the ranges contained in this summary may not be exact and are
             subject to further change. For the avoidance of doubt, this summary does not reflect contingent and unliquidated Claims that will ultimately
             be liquidated as part of the reconciliation process.



                                                                               4
                         Case 20-12522-JTD                    Doc 2917             Filed 06/18/21            Page 16 of 835




                                              SUMMARY OF EXPECTED RECOVERIES3

               Claim/Equity                                                                                                       Projected Recovery
Class             Interest                            Treatment of Claim/Equity Interest                                            Under the Plan
            Expected Principal            treatments shall not be, and shall not be deemed, a distribution
            Amount:                       or payment in respect of Shared Collateral.
            $900,000,000.00

2(b)        2024 First Lien Term All Allowed 2024 First Lien Term Loan Claims shall receive,                                     Treatment in clause
            Loan Claims          on the Effective Date, in full and final satisfaction, settlement,                              (a): N/A
                                 release, and discharge of such Claims, at the Debtors’ option
            Expected Principal   either (a) the New Takeback Term Loans plus repayment in full                                   Treatment in clause
            Amount (as of April in Cash of the First Lien Term Loans Accrued and Unpaid                                          (b): 100%
            23, 2021):           Interest plus the Term Loan Exit Payment or (b) repayment of
            $1,407,557,343.724 such Claims in full in Cash in an amount equal to the 2024 First
                                 Lien Term Loans Outstanding Amount plus the First Lien Term
                                 Loans Accrued and Unpaid Interest plus the Term Loan Exit
                                 Payment. For the avoidance of doubt, neither of the foregoing
                                 treatments or any component thereof are, nor shall such
                                 treatments or any component thereof be deemed, a distribution
                                 or payment in respect of Shared Collateral.

2(c)        2025 First Lien Term All Allowed 2025 First Lien Term Loan Claims shall receive,                                     Treatment in clause
            Loan Claims          on the Effective Date, in full and final satisfaction, settlement,                              (a): N/A
                                 release, and discharge of such Claims, at the Debtors’ option,
            Expected Principal   either (a) the New Takeback Term Loans plus repayment in full                                   Treatment in clause
            Amount (as of April in Cash of the First Lien Term Loans Accrued and Unpaid                                          (b): 100%
            23, 2021):           Interest plus the Term Loan Exit Payment or (b) repayment of
            $373,591,066.615     such Claims in full in Cash in an amount equal to the 2025 First
                                 Lien Term Loans Outstanding Amount plus the First Lien Term
                                 Loans Accrued and Unpaid Interest plus the Term Loan Exit
                                 Payment. For the avoidance of doubt, neither of the foregoing
                                 treatments or any component thereof are, nor shall such
                                 treatments or any component thereof be deemed, a distribution
                                 or payment in respect of Shared Collateral.

3           First Lien Notes              If at the time of Confirmation (i) the First Lien Notes                                            100%
            Claims                        Makewhole Claims are not Allowed and (ii) the Allowed First
                                          Lien Notes Claims may be reinstated without the First Lien
                                          Notes Makewhole Claims being Allowed, all Allowed First
                                          Lien Notes Claims shall be Reinstated. Otherwise, all Allowed
                                          First Lien Notes Claims shall receive, on the Effective Date, in
                                          full and final satisfaction, settlement, release, and discharge of
                                          such Claims, at the Debtors’ option, either (1) the Cram-Down


        4
              Allowed 2024 First Lien Term Loan Claims also include First Lien Term Loans Accrued and Unpaid Interest plus any other accrued and
              unpaid First Lien Obligations directly or ratably applicable to the 2024 First Lien Term Loan Claims. Pro forma for scheduled amortization
              payments through the assumed Effective Date per the Valuation Analysis, the 2024 First Lien Term Loan Claims is $1,403,891,829.81.
        5
              Allowed 2025 First Lien Term Loan Claims also include First Lien Term Loans Accrued and Unpaid Interest plus any other accrued and
              unpaid First Lien Obligations directly or ratably applicable to the 2025 First Lien Term Loan Claims. Pro forma for scheduled amortization
              payments through the assumed Effective Date per the Valuation Analysis, the 2025 First Lien Term Loan Claims is $372,628,203.04.



                                                                               5
                        Case 20-12522-JTD                  Doc 2917            Filed 06/18/21          Page 17 of 835




                                            SUMMARY OF EXPECTED RECOVERIES3

               Claim/Equity                                                                                                Projected Recovery
Class             Interest                           Treatment of Claim/Equity Interest                                      Under the Plan
            Expected Principal          First Lien Notes in a face amount equal to the amount of such
            Amount:                     Allowed First Lien Notes Claims or (2) Cash in an amount equal
            $495,032,000.006            to the amount of such Allowed First Lien Notes Claims,
                                        provided that the treatment in this clause (2) shall only be
                                        permitted in the event (x) the Cash used to fund the payment of
                                        the principal amount of the First Lien Notes Claims is derived
                                        from the proceeds of indebtedness incurred to fund such
                                        payment or (y) the First Lien Term Loan Claims have been paid
                                        or are paid contemporaneously in full in Cash.

4           Second Lien Notes           If at the time of Confirmation (i) the Second Lien Notes                                    100%
            Claims                      Makewhole Claims are not Allowed and (ii) the Allowed
                                        Second Lien Notes Claims may be reinstated without the Second
            Expected Principal          Lien Notes Makewhole Claims being Allowed, all Allowed
            Amount:                     Second Lien Notes Claims shall be Reinstated. Otherwise, all
            $322,868,000.007            Allowed Second Lien Notes Claims shall receive, on the
                                        Effective Date, in full and final satisfaction, settlement, release,
                                        and discharge of such Claims, at the Debtors’ option, either (1)
                                        the Cram-Down Second Lien Notes in a face amount equal to
                                        the amount of such Allowed Second Lien Notes Claims, or (2)
                                        Cash in an amount equal to the amount of such Allowed Second
                                        Lien Notes Claims, provided that the treatment in this clause (2)
                                        shall only be permitted in the event (x)(i) the First Lien Term
                                        Loans (and the First Lien Term Loan Claims) are repaid in full
                                        in Cash and (ii) the Exit Payment is paid to the First Lien Term
                                        Lenders, in each case, before or contemporaneously with such
                                        refinancing of the Second Lien Notes Claims or (y) if the
                                        proceeds of any portion of the New Term Loan Facility are used
                                        to pay the Second Lien Notes Claims in Cash, such portion of
                                        the New Term Loan Facility is secured by Liens and security
                                        interests that rank junior to the Liens and security interests
                                        securing the New Takeback Term Loans.




        6
              Assumes First Lien Notes Makewhole Claims are not Allowed. To the extent the First Lien Notes Makewhole Claims are Allowed, the
              amount of the First Lien Notes Claims would be increased to up to approximately 121% of the principal amounts shown, or by up to
              approximately $103 million.
        7
              Assumes Second Lien Notes Makewhole Claims are not Allowed. To the extent the Second Lien Notes Makewhole Claims are Allowed, the
              amount of the Second Lien Notes Claims would be increased to up to approximately 121% of the principal amounts shown, or by up to
              approximately $67 million.



                                                                           6
                         Case 20-12522-JTD                      Doc 2917             Filed 06/18/21             Page 18 of 835




                                               SUMMARY OF EXPECTED RECOVERIES3

           Claim/Equity                                                                                                               Projected Recovery
 Class       Interest                        Treatment of Claim/Equity Interest                                                         Under the Plan
5      Guaranteed               Except to the extent that a Holder of an Allowed Guaranteed                                                57 - 86%8
       Unsecured Notes          Unsecured Notes Claim agrees to less favorable treatment, in
       Claims                   exchange for full and final satisfaction, settlement, release, and
                                discharge of each Allowed Guaranteed Unsecured Notes Claim,
            Principal Amount:   on the Effective Date (or as soon as practicable thereafter), each
                                Holder of an Allowed Guaranteed Unsecured Notes Claim shall
            5.75% Senior Notes receive its Pro Rata Share of (i) the Takeback Second Lien Notes
            $610,304,000.00     and (ii) 100% of New Mallinckrodt Ordinary Shares, subject to
                                dilution on account of the New Opioid Warrants, the
            5.625% Senior Notes Management Incentive Plan, and any General Unsecured
            $514,673,000.00     Claims Distribution in the form of New Mallinckrodt Ordinary
                                Shares.
            5.50% Senior Notes
            $387,207,000.00

6(a)        Acthar Claims                  Except to the extent that a Holder of an Allowed Acthar Claim                            If all Filed Amounts
                                           agrees to less favorable treatment, in exchange for full and final                       are Allowed in full at
            Filed Amount:9                 satisfaction, settlement, release, and discharge of each Allowed                         the greater of the Filed
            $2.8 billion                   Acthar Claim, each Holder of an Allowed Acthar Claim shall                               Amount, scheduled
                                           receive its General Unsecured Claims Distribution.                                       amount, or the
                                                                                                                                    Debtors’ books and
                                                                                                                                    records amounts:
                                                                                                                                    0.8%10

                                                                                                                                    If Class 6 Claims are
                                                                                                                                    Allowed in amount
                                                                                                                                    equal to Debtors’
                                                                                                                                    books and records:
                                                                                                                                    0.0% ($0 Allowed)




       8
              Assumes First Lien Notes Makewhole Claims and Second Lien Notes Makewhole Claims are not Allowed. To the extent such Claims are
              Allowed, the Cram-Down First Lien Notes and Cram-Down Second Lien Notes would be issued in a face amount, or cash would be paid in
              an amount, of up to approximately 121% of the principal amounts shown, or an incremental face amount of up to $170 million. As a result,
              the Guaranteed Unsecured Notes projected recovery would be approximately 47% to 76%.
       9
              Class 6(a) Acthar Claims for Filed Amounts exclude Claims currently subject to pending objections filed by the Debtors.
       10
              The recovery rate of 0.8% for Claims in each of Classes 6(a)-(f) is based on the Debtors’ review of the Claims register and takes into account
              de-duplication of substantially identical disputed, unliquidated, or contingent Claims filed by the same creditor against multiple Debtors. To
              the extent any such Claims were Allowed against multiple Debtors, this recovery rate would decrease accordingly. Likewise, to the extent
              any Claims filed in unliquidated amounts were Allowed in liquidated amounts, this recovery rate would decrease accordingly.



                                                                                 7
                   Case 20-12522-JTD          Doc 2917         Filed 06/18/21      Page 19 of 835




                                  SUMMARY OF EXPECTED RECOVERIES3

           Claim/Equity                                                                               Projected Recovery
 Class        Interest                    Treatment of Claim/Equity Interest                            Under the Plan
6(b)   Generics Price Fixing Except to the extent that a Holder of an Allowed Generics Price        If all Filed Amounts
       Claims                Fixing Claim agrees to less favorable treatment, in exchange for       are Allowed in full at
                             full and final satisfaction, settlement, release, and discharge of     the greater of the Filed
       Filed Amount:         each Allowed Generics Price Fixing Claim, each Holder of an            Amount, scheduled
       $4.0 billion          Allowed Generics Price Fixing Claim shall receive its General          amount, or the
                             Unsecured Claims Distribution.                                         Debtors’ books and
                                                                                                    records amounts: 0.8%

                                                                                                    If Class 6 Claims are
                                                                                                    Allowed in amount
                                                                                                    equal to Debtors’
                                                                                                    books and records:
                                                                                                    0.0% ($0 Allowed)

6(c)    Asbestos Claims        Except to the extent that a Holder of an Allowed Asbestos Claim      If all Filed Amounts
                               agrees to less favorable treatment, in exchange for full and final   are Allowed in full at
        Filed Amount:          satisfaction, settlement, release, and discharge of each Allowed     the greater of the Filed
        $4.5 billion           Asbestos Claim, each Holder of an Allowed Asbestos Claim             Amount, scheduled
                               shall receive its General Unsecured Claims Distribution.             amount, or the
                                                                                                    Debtors’ books and
                                                                                                    records amounts: 0.8%

                                                                                                    If Class 6 Claims are
                                                                                                    Allowed in an amount
                                                                                                    equal to Debtors’
                                                                                                    books and records:
                                                                                                    34.1% ($17.5 million
                                                                                                    Allowed)

6(d)    Legacy Unsecured       Except to the extent that a Holder of an Allowed Legacy              If all Filed Amounts
        Notes Claims           Unsecured Notes Claim agrees to less favorable treatment, in         are Allowed in full at
                               exchange for full and final satisfaction, settlement, release, and   the greater of the Filed
        Filed Amount(s):       discharge of each Allowed Legacy Unsecured Notes Claim,              Amount, scheduled
        $152,098,338.00        each Holder of an Allowed Legacy Unsecured Notes Claim shall         amount, or the
                               receive its General Unsecured Claims Distribution.                   Debtors’ books and
                                                                                                    records amounts: 0.8%

                                                                                                    If Class 6 Claims are
                                                                                                    Allowed in an amount
                                                                                                    equal to Debtors’
                                                                                                    books and records:
                                                                                                    34.1% ($152,098,338
                                                                                                    Allowed)




                                                           8
                        Case 20-12522-JTD                     Doc 2917             Filed 06/18/21             Page 20 of 835




                                              SUMMARY OF EXPECTED RECOVERIES3

           Claim/Equity                                                                                                            Projected Recovery
 Class       Interest                                  Treatment of Claim/Equity Interest                                            Under the Plan
6(e)   Environmental                     Except to the extent that a Holder of an Allowed Environmental                          If all Filed Amounts
       Claims                            Claim agrees to less favorable treatment, in exchange for full                          are Allowed in full at
                                         and final satisfaction, settlement, release, and discharge of each                      the greater of the Filed
            Filed Amount:                Allowed Environmental Claim, each Holder of an Allowed                                  Amount, scheduled
            $306,000,000.00              Environmental Claim shall receive its General Unsecured                                 amount, or the
                                         Claims Distribution.                                                                    Debtors’ books and
                                                                                                                                 records amounts: 0.8%

                                                                                                                                 If Class 6 Claims are
                                                                                                                                 Allowed in an amount
                                                                                                                                 equal to Debtors’
                                                                                                                                 books and records:
                                                                                                                                 34.1% ($52.2 million
                                                                                                                                 Allowed)11

6(f)        Other General                Except to the extent that a Holder of an Allowed Other General                          If all Filed Amounts
            Unsecured Claims             Unsecured Claim agrees to less favorable treatment, in                                  are Allowed in full at
                                         exchange for full and final satisfaction, settlement, release, and                      the greater of the Filed
            Filed Amount:                discharge of each Allowed Other General Unsecured Claim,                                Amount, scheduled
            $238,000,000.00              each Holder of an Allowed Other General Unsecured Claim                                 amount, or the
                                         shall receive its General Unsecured Claims Distribution.                                Debtors’ books and
                                                                                                                                 records amounts: 0.8%

                                                                                                                                 If Class 6 Claims are
                                                                                                                                 Allowed in an amount
                                                                                                                                 equal to Debtors’
                                                                                                                                 books and records:
                                                                                                                                 34.1% ($71.6 million
                                                                                                                                 Allowed)12




       11
             Environmental Claims of $52.2 million reflect books and records amounts of $61.8 million, net of financial assurance of $9.6 million.
       12
             Reflects Class 6(f) claims based on the books and records as of April 23, 2021, before consideration of potential Executory Contract Cure
             payments.



                                                                               9
                         Case 20-12522-JTD                   Doc 2917            Filed 06/18/21            Page 21 of 835




                                             SUMMARY OF EXPECTED RECOVERIES3

          Claim/Equity                                                                                                         Projected Recovery
 Class       Interest                                  Treatment of Claim/Equity Interest                                        Under the Plan
7      Trade Claims                      Except to the extent that a Holder of an Allowed Trade Claim                        If all Filed Amounts
                                         agrees to less favorable treatment, in exchange for full and final                  are Allowed in full at
            Filed Amount:                satisfaction, settlement, release, and discharge of each Allowed                    the greater of the Filed
            $78,000,000.00               Trade Claim and as consideration for maintaining Favorable                          Amount, scheduled
                                         Trade Terms, each Holder of an Allowed Trade Claim that votes                       amount, or the
                                         to accept the Plan and agrees to maintain Favorable Trade Terms                     Debtors’ books and
                                         in accordance with the requirements set forth in the Disclosure                     records amounts: 64%
                                         Statement Order shall receive its Pro Rata Share of the Trade
                                         Claim Cash Pool up to the Allowed Amount of such Claim. If                          If Class 7 Claims are
                                         the Holder of an Allowed Trade Claim votes to reject the Plan                       Allowed in an amount
                                         or does not agree to maintain Favorable Trade Terms in                              equal to Debtors’
                                         accordance with the requirements set forth in the Disclosure                        books and records:
                                         Statement Order, such Holder shall receive its General                              92% ($54 million
                                         Unsecured Claims Distribution.                                                      Allowed)13

8(a)        State Opioid Claims          As of the Effective Date, all State Opioid Claims shall                                          N/A
                                         automatically, and without further act, deed, or court order, be
                                         channeled exclusively to, and all of Mallinckrodt’s liability for
                                         State Opioid Claims shall be assumed by, the NOAT II. Each
                                         State Opioid Claim shall be resolved solely in accordance with
                                         the terms, provisions, and procedures of the NOAT II
                                         Documents and shall receive a recovery, if any, from the State
                                         and Municipal Government Opioid Claims Share. The NOAT
                                         II shall be funded in accordance with the provisions of the Plan.
                                         The sole recourse of any State Opioid Claimant on account of
                                         its State Opioid Claim shall be to the NOAT II, and each such
                                         State Opioid Claimant shall have no right whatsoever at any
                                         time to assert its State Opioid Claim against any Protected Party,
                                         shall be enjoined from filing against any Protected Party any
                                         future litigation, Claims or Causes of Action arising out of or
                                         related to such State Opioid Claims, and may not proceed in any
                                         manner against any Protected Party on account of such State
                                         Opioid Claims in any forum whatsoever, including any state,
                                         federal, or non-U.S. court or administrative or arbitral forum.
                                         Distributions made by the NOAT II in respect of State Opioid
                                         Claims shall be used solely for Approved Uses, in accordance
                                         with the NOAT II Documents.




       13
              Reflects Class 7 claims based on the books and records as of April 23, 2021, before consideration of potential Executory Contract Cure
              payments.



                                                                            10
                Case 20-12522-JTD        Doc 2917         Filed 06/18/21      Page 22 of 835




                             SUMMARY OF EXPECTED RECOVERIES3

           Claim/Equity                                                                        Projected Recovery
 Class       Interest                   Treatment of Claim/Equity Interest                       Under the Plan
8(b)   Municipal Opioid   As of the Effective Date, all Municipal Opioid Claims shall                 N/A
       Claims             automatically, and without further act, deed, or court order, be
                          channeled exclusively to, and all of Mallinckrodt’s liability for
                          Municipal Opioid Claims shall be assumed by, the NOAT II.
                          Each Municipal Opioid Claim shall be resolved solely in
                          accordance with the terms, provisions, and procedures of the
                          NOAT II Documents and shall receive a recovery, if any, from
                          the State and Municipal Government Opioid Claims Share. The
                          NOAT II shall be funded in accordance with the provisions of
                          the Plan. The sole recourse of any Municipal Opioid Claimant
                          on account of its Municipal Opioid Claim shall be to the NOAT
                          II, and each such Municipal Opioid Claimant shall have no right
                          whatsoever at any time to assert its Municipal Opioid Claim
                          against any Protected Party, shall be enjoined from filing against
                          any Protected Party any future litigation, Claims or Causes of
                          Action arising out of or related to such Municipal Opioid
                          Claims, and may not proceed in any manner against any
                          Protected Party on account of such Municipal Opioid Claims in
                          any forum whatsoever, including any state, federal, or non-U.S.
                          court or administrative or arbitral forum. Distributions made by
                          the NOAT II in respect of Municipal Opioid Claims shall be
                          used solely for Approved Uses, in accordance with the NOAT
                          II Documents.




                                                     11
                  Case 20-12522-JTD         Doc 2917        Filed 06/18/21   Page 23 of 835




                                SUMMARY OF EXPECTED RECOVERIES3

           Claim/Equity                                                                      Projected Recovery
 Class       Interest                    Treatment of Claim/Equity Interest                    Under the Plan
8(c)   Tribe Opioid Claims As of the Effective Date, all Tribe Opioid Claims shall                  N/A
                           automatically, and without further act, deed, or court order, be
                           channeled exclusively to, and all of Mallinckrodt’s liability for
                           Tribe Opioid Claims shall be assumed by, the TAFT II;
                           provided, however, for the avoidance of doubt, for all purposes
                           of the Plan, all Tribe Opioid Claims shall be channeled only to
                           the Tribe entity constituting a trust under State law (and not to
                           any limited liability companies or other Person included within
                           the definition of TAFT II). Each Tribe Opioid Claim shall be
                           resolved solely in accordance with the terms, provisions, and
                           procedures of the TAFT II Documents and shall receive a
                           recovery, if any, from the Tribe Opioid Claims Share. The
                           TAFT II shall be funded in accordance with the provisions of
                           the Plan. The sole recourse of any Tribe Opioid Claimant on
                           account of its Tribe Opioid Claim shall be to the TAFT II, and
                           each such Tribe Opioid Claimant shall have no right whatsoever
                           at any time to assert its Tribe Opioid Claim against any
                           Protected Party, shall be enjoined from filing against any
                           Protected Party any future litigation, Claims or Causes of Action
                           arising out of or related to such Tribe Opioid Claims, and may
                           not proceed in any manner against any Protected Party on
                           account of such Tribe Opioid Claims in any forum whatsoever,
                           including any state, federal, or non-U.S. court or administrative
                           or arbitral forum. Distributions made by the TAFT II in respect
                           of Tribe Opioid Claims shall be used solely for Approved Uses,
                           in accordance with the TAFT II Documents.




                                                       12
                     Case 20-12522-JTD                   Doc 2917             Filed 06/18/21           Page 24 of 835




                                          SUMMARY OF EXPECTED RECOVERIES3

          Claim/Equity                                                                                                      Projected Recovery
 Class       Interest                              Treatment of Claim/Equity Interest                                         Under the Plan
8(d)   U.S. Governmental             As of the Effective Date, all U.S. Government Opioid Claims                                   N/A
       Opioid Claims                 shall automatically, and without further act, deed, or court order,
                                     be channeled exclusively to, and all of Mallinckrodt’s liability
                                     for U.S. Government Opioid Claims shall be assumed by, the
                                     Opioid MDT II. Each U.S. Government Opioid Claim shall be
                                     resolved solely in accordance with the terms, provisions, and
                                     procedures of the Opioid MDT II Documents and (a) to the
                                     extent the holder of each U.S. Government Opioid Claim agrees
                                     to this treatment, each such holder shall receive in full and final
                                     satisfaction, a recovery, if any, from the U.S. Government
                                     Opioid Claims Share and shall not retain their U.S. Government
                                     Payor Statutory Rights and (b) to the extent the holder of each
                                     U.S. Government Opioid Claim does not agree to this treatment,
                                     then each such holder shall receive the treatment set forth in
                                     Class 9(h) and each holder of a U.S. Government Opioid Claim
                                     shall retain their U.S. Government Payor Statutory Rights. The
                                     Opioid MDT II shall be funded in accordance with the
                                     provisions of the Plan. The sole recourse of any U.S.
                                     Government Opioid Claimant on account of its U.S.
                                     Government Opioid Claim shall be to the Opioid MDT II, and
                                     each such U.S. Government Opioid Claimant shall have no right
                                     whatsoever at any time to assert its U.S. Government Opioid
                                     Claim against any Protected Party, shall be enjoined from filing
                                     against any Protected Party any future litigation, Claims or
                                     Causes of Action arising out of or related to such U.S.
                                     Government Opioid Claims, and may not proceed in any manner
                                     against any Protected Party on account of such U.S. Government
                                     Opioid Claims in any forum whatsoever, including any state,
                                     federal, or non-U.S. court or administrative or arbitral forum.14




     14
          Treatment provided for herein is contingent upon an agreement on allocation being reached in the opioid mediation. If no such agreement
          is reached, Class 8(d) Claims will recover a pro rata share of the Other Opioid Claims Share with Class 9(h) Other Opioid Claims.



                                                                         13
                 Case 20-12522-JTD         Doc 2917         Filed 06/18/21     Page 25 of 835




                              SUMMARY OF EXPECTED RECOVERIES3

          Claim/Equity                                                                           Projected Recovery
 Class       Interest                     Treatment of Claim/Equity Interest                       Under the Plan
9(a)   Third-Party Payor   As of the Effective Date, all Third-Party Payor Opioid Claims                N/A
       Opioid Claims       shall automatically, and without further act, deed, or court order,
                           be channeled exclusively to, and all of Mallinckrodt’s liability
                           for Third-Party Payor Opioid Claims shall be assumed by, the
                           Third-Party Payor Trust. Each Third-Party Payor Opioid Claim
                           shall be resolved solely in accordance with the terms,
                           provisions, and procedures of the Third-Party Payor Trust
                           Documents and shall receive a recovery, if any, from the Third-
                           Party Payor Opioid Claims Share, from which shall be deducted
                           any attorneys’ fees paid in accordance with Article IV.X.8 of
                           the Plan. The Third-Party Payor Trust shall be funded in
                           accordance with the provisions of the Plan, and distributions to
                           the Third-Party Payor Trust shall be made in three equal
                           payments (provided that if the Prepayment Option is exercised
                           after the first payment, subsequent payments will be adjusted
                           accordingly), the first payment made within 5 business days of
                           the date that is 180 days after the Effective Date, and the second
                           and third payments made on the first and second anniversaries
                           of the first payment. The sole recourse of any Third-Party Payor
                           Opioid Claimant on account of its Third-Party Payor Opioid
                           Claim shall be to the Third-Party Payor Trust, and each such
                           Third-Party Payor Opioid Claimant shall have no right
                           whatsoever at any time to assert its Third-Party Payor Opioid
                           Claim against any Protected Party, shall be enjoined from filing
                           against any Protected Party any future litigation, Claims or
                           Causes of Action arising out of or related to such Third-Party
                           Payor Opioid Claims, and may not proceed in any manner
                           against any Protected Party on account of such Third-Party
                           Payor Opioid Claims in any forum whatsoever, including any
                           state, federal, or non-U.S. court or administrative or arbitral
                           forum. Distributions made by the Third-Party Payor Trust shall
                           be used solely for Approved Uses, in accordance with the Third-
                           Party Payor Trust Documents, and shall be subject to the Private
                           Opioid Creditor Trust Deductions and Holdbacks.




                                                       14
                Case 20-12522-JTD        Doc 2917         Filed 06/18/21      Page 26 of 835




                             SUMMARY OF EXPECTED RECOVERIES3

           Claim/Equity                                                                         Projected Recovery
 Class       Interest                  Treatment of Claim/Equity Interest                         Under the Plan
9(b)   PI Opioid Claims   As of the Effective Date, all PI Opioid Claims shall                 To be determined in
                          automatically, and without further act, deed, or court order, be     accordance with
                          channeled exclusively to, and all of Mallinckrodt’s liability for    applicable Opioid
                          PI Opioid Claims shall be assumed by, the PI Trust. Each PI          Creditor Trust
                          Opioid Claim shall be resolved solely in accordance with the         Documents
                          terms, provisions, and procedures of the PI Trust Documents
                          and shall receive a recovery, if any, from the PI Opioid Claims
                          Share, from which shall be deducted any attorneys’ fees paid in
                          accordance with Article IV.X.8 of the Plan. The PI Trust shall
                          be funded in accordance with the provisions of the Plan. The
                          sole recourse of any PI Opioid Claimant on account of its PI
                          Opioid Claim shall be to the PI Trust, and each such PI Opioid
                          Claimant shall have no right whatsoever at any time to assert its
                          PI Opioid Claim against any Protected Party, shall be enjoined
                          from filing against any Protected Party any future litigation,
                          Claims or Causes of Action arising out of or related to such PI
                          Opioid Claims, and may not proceed in any manner against any
                          Protected Party on account of such PI Opioid Claims in any
                          forum whatsoever, including any state, federal, or non-U.S.
                          court or administrative or arbitral forum, and shall be subject to
                          the Private Opioid Creditor Trust Deductions and Holdbacks.

9(c)   NAS PI Opioid      As of the Effective Date, all NAS PI Opioid Claims shall             To be determined in
       Claims             automatically, and without further act, deed, or court order, be     accordance with
                          channeled exclusively to, and all of Mallinckrodt’s liability for    applicable Opioid
                          NAS PI Opioid Claims shall be assumed by, the PI Trust. Each         Creditor Trust
                          NAS PI Opioid Claim shall be resolved solely in accordance           Documents
                          with the terms, provisions, and procedures of the PI Trust
                          Documents and shall receive a recovery, if any, from the NAS
                          PI Opioid Claims Share, from which shall be deducted any
                          attorneys’ fees paid in accordance with Article IV.X.8 of the
                          Plan. The PI Trust shall be funded in accordance with the
                          provisions of the Plan. The sole recourse of any NAS PI Opioid
                          Claimant on account of its NAS PI Opioid Claim shall be to the
                          PI Trust, and each such NAS PI Opioid Claimant shall have no
                          right whatsoever at any time to assert its NAS PI Opioid Claim
                          against any Protected Party, shall be enjoined from filing against
                          any Protected Party any future litigation, Claims or Causes of
                          Action arising out of or related to such NAS PI Opioid Claims,
                          and may not proceed in any manner against any Protected Party
                          on account of such NAS PI Opioid Claims in any forum
                          whatsoever, including any state, federal, or non-U.S. court or
                          administrative or arbitral forum, and shall be subject to the
                          Private Opioid Creditor Trust Deductions and Holdbacks.




                                                     15
                Case 20-12522-JTD        Doc 2917         Filed 06/18/21     Page 27 of 835




                             SUMMARY OF EXPECTED RECOVERIES3

           Claim/Equity                                                                       Projected Recovery
 Class       Interest                   Treatment of Claim/Equity Interest                      Under the Plan
9(d)   Hospital Opioid    As of the Effective Date, all Hospital Opioid Claims shall                 N/A
       Claims             automatically, and without further act, deed, or court order, be
                          channeled exclusively to, and all of Mallinckrodt’s liability for
                          Hospital Opioid Claims shall be assumed by, the Hospital Trust.
                          Each Hospital Opioid Claim shall be resolved solely in
                          accordance with the terms, provisions, and procedures of the
                          Hospital Trust Documents and shall receive a recovery, if any,
                          from the Hospital Opioid Claims Share, from which shall be
                          deducted any attorneys’ fees paid in accordance with Article
                          IV.X.8 of the Plan. The Hospital Trust shall be funded in
                          accordance with the provisions of the Plan. The sole recourse
                          of any Hospital Opioid Claimant on account of its Hospital
                          Opioid Claim shall be to the Hospital Trust, and each such
                          Hospital Opioid Claimant shall have no right whatsoever at any
                          time to assert its Hospital Opioid Claim against any Protected
                          Party, shall be enjoined from filing against any Protected Party
                          any future litigation, Claims or Causes of Action arising out of
                          or related to such Hospital Opioid Claims, and may not proceed
                          in any manner against any Protected Party on account of such
                          Hospital Opioid Claims in any forum whatsoever, including any
                          state, federal, or non-U.S. court or administrative or arbitral
                          forum. Distributions made by the Hospital Trust shall be used
                          solely for Approved Uses, in accordance with the Hospital Trust
                          Documents, and shall be subject to the Private Opioid Creditor
                          Trust Deductions and Holdbacks.




                                                     16
                Case 20-12522-JTD        Doc 2917         Filed 06/18/21      Page 28 of 835




                             SUMMARY OF EXPECTED RECOVERIES3

           Claim/Equity                                                                        Projected Recovery
 Class       Interest                  Treatment of Claim/Equity Interest                        Under the Plan
9(e)   Ratepayer Opioid   As of the Effective Date, all Ratepayer Opioid Claims shall                 N/A
       Claims             automatically, and without further act, deed, or court order, be
                          channeled exclusively to, and all of Mallinckrodt’s liability for
                          Ratepayer Opioid Claims shall be assumed by, the Ratepayer
                          Account. The Ratepayer Account will receive a distribution of
                          $3 million in cash from the Opioid MDT II on the Opioid MDT
                          II Initial Distribution Date, which amount shall be gross of
                          applicable Private Opioid Creditor Trust Deductions and
                          Holdbacks, and from which shall be deducted any attorneys’
                          fees paid in accordance with Article IV.X.8 of the Plan. The
                          sole recourse of any Ratepayer Opioid Claimant on account of
                          its Ratepayer Opioid Claim shall be to the Ratepayer Account,
                          and each such Ratepayer Opioid Claimant shall have no right
                          whatsoever at any time to assert its Ratepayer Opioid Claim
                          against any Protected Party, shall be enjoined from filing against
                          any Protected Party any future litigation, Claims or Causes of
                          Action arising out of or related to such Ratepayer Opioid Claims
                          and may not proceed in any manner against any Protected Party
                          on account of such Ratepayer Opioid Claims in any forum
                          whatsoever, including any state, federal, or non-U.S. court or
                          administrative or arbitral forum. Distributions made by the
                          Ratepayer Account shall be used solely for Approved Uses
                          (which shall include, solely for the Ratepayer Account,
                          contributions to the Truth Initiative Foundation), and shall be
                          subject to the Private Opioid Creditor Trust Deductions and
                          Holdbacks.




                                                     17
               Case 20-12522-JTD         Doc 2917         Filed 06/18/21     Page 29 of 835




                            SUMMARY OF EXPECTED RECOVERIES3

          Claim/Equity                                                                         Projected Recovery
 Class       Interest                  Treatment of Claim/Equity Interest                        Under the Plan
9(f)   NAS Monitoring    As of the Effective Date, all NAS Monitoring Opioid Claims                   N/A
       Opioid Claims     shall automatically, and without further act, deed, or court order,
                         be channeled exclusively to, and all of Mallinckrodt’s liability
                         for NAS Monitoring Opioid Claims shall be assumed by, the
                         NAS Monitoring Trust. Each NAS Monitoring Opioid Claim
                         shall be resolved solely in accordance with the terms,
                         provisions, and procedures of the NAS Monitoring Trust
                         Documents. The NAS Monitoring Trust will receive a
                         distribution of $1.5 million in cash from the Opioid MDT II on
                         the Opioid MDT II Initial Distribution Date, which amount shall
                         be gross of applicable Private Opioid Creditor Trust Deductions
                         and Holdbacks, and from which shall be deducted any attorneys’
                         fees paid in accordance with Article IV.X.8 of the Plan. The
                         sole recourse of any NAS Monitoring Opioid Claimant on
                         account of its NAS Monitoring Opioid Claim shall be to the
                         NAS Monitoring Trust, and each such NAS Monitoring Opioid
                         Claimant shall have no right whatsoever at any time to assert its
                         NAS Monitoring Opioid Claim against any Protected Party,
                         shall be enjoined from filing against any Protected Party any
                         future litigation, Claims or Causes of Action arising out of or
                         related to such NAS Monitoring Opioid Claims, and may not
                         proceed in any manner against any Protected Party on account
                         of such NAS Monitoring Opioid Claims in any forum
                         whatsoever, including any state, federal, or non-U.S. court or
                         administrative or arbitral forum. Distributions made by the
                         NAS Monitoring Trust shall be used solely for Approved Uses,
                         in accordance with the NAS Monitoring Trust Documents, and
                         shall be subject to the Private Opioid Creditor Trust Deductions
                         and Holdbacks.




                                                     18
                 Case 20-12522-JTD         Doc 2917         Filed 06/18/21     Page 30 of 835




                              SUMMARY OF EXPECTED RECOVERIES3

           Claim/Equity                                                                          Projected Recovery
 Class       Interest                    Treatment of Claim/Equity Interest                        Under the Plan
9(g)   Emergency Room      As of the Effective Date, all Emergency Room Physicians                      N/A
       Physicians Opioid   Opioid Claims shall automatically, and without further act,
       Claims              deed, or court order, be channeled exclusively to, and all of
                           Mallinckrodt’s liability for Emergency Room Physicians Opioid
                           Claims shall be assumed by, the Emergency Room Physicians
                           Trust. Each Emergency Room Physicians Opioid Claim shall
                           be resolved solely in accordance with the terms, provisions, and
                           procedures of the Emergency Room Physicians Trust
                           Documents. The Emergency Room Physicians Trust will
                           receive a distribution of $4.5 million in cash from the Opioid
                           MDT II on the Opioid MDT II Initial Distribution Date, which
                           amount shall be gross of applicable Private Opioid Creditor
                           Trust Deductions and Holdbacks, and from which shall be
                           deducted any attorneys’ fees paid in accordance with Article
                           IV.X.8 of the Plan. The sole recourse of any Emergency Room
                           Physicians Opioid Claimant on account of its Emergency Room
                           Physicians Opioid Claim shall be to the Emergency Room
                           Physicians Trust, and each such Emergency Room Physicians
                           Opioid Claimant shall have no right whatsoever at any time to
                           assert its Emergency Room Physicians Opioid Claim against
                           any Protected Party, shall be enjoined from filing against any
                           Protected Party any future litigation, Claims or Causes of Action
                           arising out of or related to such Emergency Room Physicians
                           Opioid Claims, and may not proceed in any manner against any
                           Protected Party on account of such Emergency Room
                           Physicians Opioid Claims in any forum whatsoever, including
                           any state, federal, or non-U.S. court or administrative or arbitral
                           forum. Distributions made by the Emergency Room Physicians
                           Trust shall be used solely for Approved Uses, in accordance
                           with the Emergency Room Physicians Trust Documents, and
                           shall be subject to the Private Opioid Creditor Trust Deductions
                           and Holdbacks.




                                                       19
                          Case 20-12522-JTD                      Doc 2917             Filed 06/18/21              Page 31 of 835




                                                SUMMARY OF EXPECTED RECOVERIES3

          Claim/Equity                                                                       Projected Recovery
 Class       Interest                   Treatment of Claim/Equity Interest                     Under the Plan
9(h)   Other Opioid Claims As of the Effective Date, all Other Opioid Claims shall                  TBD
                           automatically, and without further act, deed, or court order, be
                           channeled exclusively to, and all of Mallinckrodt’s liability for
                           Other Opioid Claims shall be assumed by, the Opioid MDT II
                           and satisfied solely from the Other Opioid Claims Reserve.
                           Each Other Opioid Claim shall be resolved solely in accordance
                           with the terms, provisions, and procedures of the Opioid MDT
                           II Documents and shall receive its Pro Rata Share of the Other
                           Opioid Claims Share up to [●]% of the Allowed Amount of such
                           Claim. The Opioid MDT II and the Other Opioid Claims
                           Reserve shall be funded in accordance with the provisions of the
                           Plan. The sole recourse of any Other Opioid Claimant on
                           account of its Other Opioid Claim shall be to the Other Opioid
                           Claims Reserve, and each such Other Opioid Claimant shall
                           have no right whatsoever at any time to assert its Other Opioid
                           Claim against any Protected Party, shall be enjoined from filing
                           against any Protected Party any future litigation, Claims or
                           Causes of Action arising out of or related to such Other Opioid
                           Claims, and may not proceed in any manner against any
                           Protected Party on account of such Other Opioid Claims in any
                           forum whatsoever, including any state, federal, or non-U.S.
                           court or administrative or arbitral forum.

9(i)        No Recovery Opioid No Recovery Opioid Claims shall be discharged, cancelled, and                                                         0%
            Claims             extinguished on the Effective Date. Each Holder of No
                               Recovery Opioid Claims shall receive no recovery or
                               distribution on account of such No Recovery Opioid Claims.
                               Notwithstanding the foregoing, if a No Recovery Opioid Claim
                               becomes Allowed after the Effective Date under section 502(j)
                               of the Bankruptcy Code, it shall be treated as an Other Opioid
                               Claim.

10          Settled Federal/State Except to the extent that a Holder of an Allowed Settled                                                       28.4%15
            Acthar Claims         Federal/State Acthar Claim agrees to less favorable treatment,
                                  in exchange for full and final satisfaction, settlement, release,
            Expected Amount:      and discharge of each Allowed Settled Federal/State Acthar
            Approximately $650 Claim, each Holder of an Allowed Settled Federal/State Acthar
            million               Claim shall be resolved in accordance with the terms,
                                  provisions, and procedures of the Federal/State Acthar
                                  Settlement Agreements.


       15
              The recovery rate of 28.4% for Settled Federal/State Acthar Claims in Class 10 is based on the fair value of the $260 million Acthar Settlement
              amount. The Acthar Settlement, in sum and substance, provides that the Debtors will make cash payments in eight installments, beginning
              on the Plan’s Effective Date and on each of the first seven anniversaries thereof, totaling $260 million, to the DOJ and various states; provided
              that the Federal/State Acthar Deferred Cash Payments shall bear interest at a variable rate equal to the nominal interest rate on special issues
              of government securities to the Social Security trust funds, measured as of each payment date and accruing from September 21, 2020. As set
              forth in the Financial Projections, the fair value reflects the post-emergence Federal/State Acthar Deferred Cash Payments of $170 million



                                                                                 20
                     Case 20-12522-JTD                    Doc 2917             Filed 06/18/21            Page 32 of 835




                                          SUMMARY OF EXPECTED RECOVERIES3

           Claim/Equity                                                                 Projected Recovery
 Class        Interest                  Treatment of Claim/Equity Interest                Under the Plan
11     Intercompany Claims No property will be distributed to the Holders of allowed           N/A
                           Intercompany Claims. Unless otherwise provided for under the
       Expected Amount:    Plan, each Intercompany Claim will either be Reinstated or
       TBD                 canceled and released at the option of the Debtors in
                           consultation with the Required Supporting Unsecured
                           Noteholders, the Supporting Term Lenders, the Governmental
                           Plaintiff Ad Hoc Committee, and the MSGE Group.

12     Intercompany                   No property will be distributed to the Holders of allowed                                          N/A
       Interests                      Intercompany Interests. Unless otherwise provided for under
                                      the Plan, each Intercompany Interest will either be Reinstated or
       Expected Amount:               canceled and released at the option of the Debtors in
       N/A                            consultation with the Required Supporting Unsecured
                                      Noteholders, the Governmental Plaintiff Ad Hoc Committee,
                                      and the MSGE Group.

13     Subordinated Claims Subordinated Claims shall be discharged, cancelled, and                                                       0%
                           extinguished on the Effective Date.       Each Holder of
       Expected Amount:    Subordinated Claims shall receive no recovery or distribution
       Unliquidated        on account of such Subordinated Claims.

14     Equity Interests               Holders of Equity Interests shall receive no distribution on                                       0%
                                      account of their Equity Interests. On the Effective Date, all
       Expected Amount:               Equity Interests will be canceled and extinguished and will be
       N/A                            of no further force or effect.

               C.         Filing of the Plan Supplement and Trust Distribution Procedures

      The Debtors will file the Plan Supplement at least twenty-eight (28) days prior to the Voting Deadline, or
      by August 6, 2021. The Debtors will transmit a copy of the Plan Supplement to the Distribution List (as
      defined below). Additionally, parties may request (and obtain at the Debtors’ expense) a copy of the Plan
      Supplement by: (a) calling the Notice and Claims Agent at 877-467-1570 (Toll-Free) (US/Canada); 347-
      817-4093 (International); (b) writing to Mallinckrodt plc Ballot Processing, c/o Prime Clerk LLC One
      Grand Central Place, 60 East 42nd Street, Suite 1440, New York, NY 10165 or
      mallinckrodtinfo@primeclerk.com; and/or (c) visiting the Debtors’ restructuring website at:
      https://restructuring.primeclerk.com/mallinckrodt. Parties may also obtain any documents filed in the
      Chapter 11 Cases for a fee via PACER at http://www.deb.uscourts.gov.

      The Plan Supplement will include all exhibits and Plan schedules that were not already filed as exhibits to
      the Plan or this Disclosure Statement, all of which are incorporated by reference into, and are an integral
      part of, the Plan, as all of the same may be amended, supplemented, or modified from time to time.




          plus the Initial Federal/State Acthar Settlement Payment of $15 million, which equals a fair value of $185 million. That amounts to 28.4%
          of the $650 million civil judgment awarded to Holders of Settled Federal/State Acthar Claims.




                                                                          21
              Case 20-12522-JTD            Doc 2917         Filed 06/18/21      Page 33 of 835



 The Debtors will file the various trust distribution procedures (as may be amended, supplemented or
 modified from time to time) with respect to the Opioid MDT II and Opioid Creditor Trusts with the
 Bankruptcy Court on the earlier of (a) 30 days from entry of the Disclosure Statement Order, and (b) July
 21, 2021. The Debtors will transmit a copies of the various trust distribution procedures to the Distribution
 List (as defined below) and will be made through the same channels as the Plan Supplement.

 As used herein, the term “Distribution List” means (a) the United States Trustee; (b) counsel to the agent
 under the Debtors’ secured term and revolving financing facilities, (c) counsel to the ad hoc group of the
 Debtors’ prepetition first lien term lenders; (d) the indenture trustees for the Debtors’ outstanding notes; (e)
 counsel to the ad hoc group of holders of the Debtors’ guaranteed unsecured notes; (f) counsel to the
 Governmental Plaintiff Ad Hoc Committee; (g) counsel to the MSGE Group; (h) counsel to the official
 committee of unsecured creditors; (i) counsel to the official committee of opioid claimants; (j) the FCR (as
 defined herein) and counsel to the FCR; (k) the United States Attorney’s Office for the District of Delaware;
 (l) the attorneys general for all 50 states and the District of Columbia; (m) the United States Department of
 Justice; (n) the Internal Revenue Service; (o) the Securities and Exchange Commission; (p) the United
 States Drug Enforcement Agency; (q) the United States Food and Drug Administration; and (r) all parties
 that, as of the applicable date of determination, have filed requests for notice in these Chapter 11 Cases
 pursuant to Bankruptcy Rule 2002.

         D.       Solicitation Procedures

                  1.      The Solicitation and Voting Procedures

 On June 17, 2021 the Bankruptcy Court entered the Disclosure Statement Order which, among other things,
 (a) approved the dates, procedures and forms applicable to the process of soliciting votes on and providing
 notice of the Plan, as well as certain vote tabulation procedures and (b) established the deadline for filing
 objections to the Plan and scheduling the hearing to consider confirmation of the Plan. [Docket No. 2911].

 The discussion of the procedures below is a summary of the solicitation and voting process. Detailed voting
 instructions will be provided with each Ballot and are also set forth in greater detail in Disclosure Statement
 Order.

PLEASE REFER TO THE INSTRUCTIONS ACCOMPANYING THE BALLOTS AND THE
DISCLOSURE STATEMENT ORDER FOR MORE INFORMATION REGARDING VOTING
REQUIREMENTS TO ENSURE THAT YOUR BALLOT IS PROPERLY AND TIMELY
SUBMITTED SO THAT YOUR VOTE MAY BE COUNTED.

                  2.      The Notice and Claims Agent

 The Debtors have retained Prime Clerk LLC to, among other things, act as the Notice and Claims Agent.
 [Docket No. 219].

 Specifically, the Notice and Claims Agent will assist the Debtors with: (a) mailing Confirmation Notices
 (as defined in the Disclosure Statement Order); (b) mailing Solicitation Packages (as defined in the
 Disclosure Statement Order and as described below); (c) soliciting votes on the Plan; (d) receiving,
 tabulating, and reporting on Ballots and Master Ballots cast for or against the Plan by Holders of Claims
 and Interests against the Debtors; (e) responding to inquiries from creditors and stakeholders relating to the
 Plan, this Disclosure Statement, the Ballots or Master Ballots and matters related thereto, including, without
 limitation, the procedures and requirements for voting to accept or reject the Plan and objecting to the Plan;
 and (f) if necessary, contacting creditors and interest holders regarding the Plan and their Ballots.


                                                       22
                 Case 20-12522-JTD            Doc 2917         Filed 06/18/21      Page 34 of 835



                     3.      Holders of Claims Entitled to Vote on the Plan

    Under the provisions of the Bankruptcy Code, not all holders of claims against and equity interests in a
    debtor are entitled to vote on a chapter 11 plan. The following table provides a summary of the status and
    voting rights of each Class (and, therefore, of each Holder of a Claim or Interest within such Class) under
    the Plan:

                               SUMMARY OF STATUS AND VOTING RIGHTS

Class       Claim/Equity Interest                              Status                      Voting Rights
1           Other Secured Claims                               Unimpaired                  Presumed to Accept
2(a)        First Lien Revolving Credit Facility Claims        Unimpaired                  Presumed to Accept
2(b)        2024 First Lien Term Loan Claims                   Unimpaired or Impaired      Presumed to Accept or
                                                                                           Entitled to Vote
2(c)        2025 First Lien Term Loan Clams                    Unimpaired or Impaired      Presumed to Accept or
                                                                                           Entitled to Vote
3           First Lien Notes Claims                            Unimpaired or Impaired      Presumed to Accept or
                                                                                           Entitled to Vote
4           Second Lien Notes Claims                           Unimpaired or Impaired      Presumed to Accept or
                                                                                           Entitled to Vote
5           Guaranteed Unsecured Notes Claims                  Impaired                    Entitled to Vote
6(a)        Acthar Claims                                      Impaired                    Entitled to Vote
6(b)        Generics Price Fixing Claims                       Impaired                    Entitled to Vote
6(c)        Asbestos Claims                                    Impaired                    Entitled to Vote
6(d)        Legacy Unsecured Notes Claims                      Impaired                    Entitled to Vote
6(e)        Environmental Claims                               Impaired                    Entitled to Vote
6(f)        Other General Unsecured Claims                     Impaired                    Entitled to Vote
7           Trade Claims                                       Impaired                    Entitled to Vote
8(a)        State Opioid Claims                                Impaired                    Entitled to Vote
8(b)        Municipal Opioid Claims                            Impaired                    Entitled to Vote
8(c)        Tribe Opioid Claims                                Impaired                    Entitled to Vote
8(d)        U.S. Government Opioid Claims                      Impaired                    Entitled to Vote
9(a)        Third-Party Payor Opioid Claims                    Impaired                    Entitled to Vote
9(b)        PI Opioid Claims                                   Impaired                    Entitled to Vote
9(c)        NAS PI Opioid Claims                               Impaired                    Entitled to Vote
9(d)        Hospital Opioid Claims                             Impaired                    Entitled to Vote
9(e)        Ratepayer Opioid Claims                            Impaired                    Entitled to Vote
9(f)        NAS Monitoring Opioid Claims                       Impaired                    Entitled to Vote
9(g)        Emergency Room Physicians Opioid Claims            Impaired                    Entitled to Vote
9(h)        Other Opioid Claims                                Impaired                    Entitled to Vote
9(i)        No Recovery Opioid Claims                          Impaired                    Deemed to Reject
10          Settled Federal/State Acthar Claims                Impaired                    Entitled to Vote
11          Intercompany Claims                                Unimpaired or Impaired      Presumed to Accept or
                                                                                           Deemed to Reject
12          Intercompany Interests                             Unimpaired or Impaired      Presumed to Accept or
                                                                                           Deemed to Reject
13          Subordinated Claims                                Impaired                    Deemed to Reject
14          Equity Interests                                   Impaired                    Deemed to Reject

    Based on the foregoing, the Debtors are soliciting votes to accept the Plan only from Holders of Claims in
    Classes 2(b), 2(c), 3, 4, 5, 6(a)-(f), 7, 8(a)-(d), 9(a)-(h), and 10 (the “Voting Classes”), including by acting


                                                          23
             Case 20-12522-JTD           Doc 2917          Filed 06/18/21     Page 35 of 835



through a Voting Representative, because Holders of Claims in the Voting Classes are Impaired under the
Plan and, therefore, have the right to vote to accept or reject the Plan. For purposes of determining
acceptance and rejection of the Plan, each such Class (including each Class identified by a number and
letter) will be regarded as a separate voting Class and votes will be tabulated on a Debtor-by-Debtor basis.

There are Voting Classes that are presumed to accept or entitled to vote on the Plan depending on their
ultimate treatment under the Plan. Specifically, Class 2(b) is either (a) Impaired if receiving the New
Takeback Term Loans, and Holders of 2024 First Lien Term Loan Claims are entitled to vote to accept or
reject the Plan or (b) Unimpaired if repaid in full in Cash, and Holders of 2024 First Lien Term Loans are
conclusively presumed to have accepted the Plan. Class 2(c) is either (a) Impaired if receiving the New
Takeback Term Loans, and Holders of 2025 First Lien Term Loan Claims are entitled to vote to accept or
reject the Plan or (b) Unimpaired if repaid in full in Cash, and Holders of 2025 First Lien Term Loans are
conclusively presumed to have accepted the Plan.

Class 3 is either (i) Impaired, if receiving the Cram-Down First Lien Notes, and Holders of First Lien Notes
Claims are entitled to vote to accept or reject the Plan, or (ii) Unimpaired either if the Allowed First Lien
Notes Claims are Reinstated or if receiving Cash, and Holders of First Lien Notes Claims are conclusively
presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code (and, therefore,
Holders of First Lien Notes Claims are not entitled to vote to accept or reject the Plan).

Class 4 is either (i) Impaired, if receiving the Cram-Down Second Lien Notes, and Holders of Second Lien
Notes Claims are entitled to vote to accept or reject the Plan, or (ii) Unimpaired either if the Allowed Second
Lien Notes Claims are Reinstated or if receiving Cash, and Holders of Second Lien Notes Claims are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code (and,
therefore, Holders of Second Lien Notes Claims are not entitled to vote to accept or reject the Plan).

Further, with respect to Class 7 Trade Claimants, the Trade Claimants are a subset of unsecured creditors
with whom the Reorganized Debtors intend to continue doing business with post-confirmation. In sum and
substance, Trade Claimants will receive a Ballot that includes the option to (a) accept the Plan and continue
to provide consistent Favorable Trade Terms with the Reorganized Debtors and receive its pro rata share
from the Trade Claim Cash Pool or (b) to reject the Plan and receive its pro rata share from the General
Unsecured Claims Distribution.

Notwithstanding anything to the contrary herein, each Claim in Class 8(a)-(d) and Class 9(a)-(h) shall be
accorded one (1) vote and valued at One Dollar ($1.00) for voting purposes only, and not for purposes of
allowance or distribution, unless such Claim is disputed.

The Debtors are not soliciting votes on the Plan from (a) Holders of Claims and Interests in Classes 1 and
2(a) because such parties are conclusively presumed to have accepted the Plan, (b) Holders of Claims and
Interests in Classes 9(i), 13, and 14 because such parties are conclusively presumed to have rejected the
Plan, and (c) Claims and Interests in Classes 11 and 12 because such parties are conclusively presumed to
have accepted the Plan or conclusively presumed to have rejected the Plan (collectively, the “Non-Voting
Classes”). In lieu of a Solicitation Package, the Non-Voting Classes will receive a certain Notice of Non-
Voting Status (as defined in the Disclosure Statement Order).

                 4.      The Voting Record Date

The Bankruptcy Court has approved June 17, 2021, as the voting record date (the “Voting Record Date”)
with respect to all Claims and Equity Interests other than Opioid Claims in Voting Classes 8(a)-(d) and
9(a)-(h) . The Voting Record Date is the date on which it will be determined: (a) which Holders of Claims
in the Voting Classes are entitled to vote to accept or reject the Plan and receive Solicitation Packages in



                                                      24
            Case 20-12522-JTD            Doc 2917         Filed 06/18/21      Page 36 of 835



accordance with the Disclosure Statement Order and (b) which Holders of Claims and Equity Interests in
the Non-Voting Classes are entitled to receive the Confirmation Hearing Notice, including notice of such
Holder’s non-voting status, in accordance with the Disclosure Statement Order. Notwithstanding the
aforementioned, the Voting Record Date shall not apply to Opioid Claimants in Voting Classes 8(a)-(d)
and 9(a)-(h).

                5.      Contents of the Solicitation Package

The following documents and materials will collectively constitute the “Solicitation Package”:

       with respect to Holders of Claims in the Voting Classes (but subject to the Non-Notes Master Ballot
        Solicitation Procedures (as defined in the Solicitation Procedures attached as Attachment 1 to the
        Disclosure Statement Order)): a cover letter describing the contents of the Solicitation Package and
        an enclosed USB flash drive containing the below, and instructions for obtaining (free of charge)
        printed copies of the following materials provide in electronic format:

            o   the Confirmation Hearing Notice (as defined in the Disclosure Statement Order) and
                attached as Exhibit 4.1 to the Disclosure Statement Order;
            o   the Disclosure Statement with all exhibits, including the Plan with its exhibits (to the extent
                such exhibits are filed with the Court before the Solicitation Date);
            o   the Solicitation Procedures attached as Attachment 1 to the Disclosure Statement Order;
            o   the Disclosure Statement Order (without exhibits);
            o   subject to the Non-Notes Master Ballot Solicitation Procedures, an appropriate Ballot or
                Master Ballot and voting instructions for the same;
            o   subject to the Non-Notes Master Ballot Solicitation Procedures, a pre-addressed, return
                envelope for completed Ballots or Master Ballots;
            o   subject to the Non-Notes Master Ballot Solicitation Procedures, solely for Holders of
                contingent, unliquidated, or disputed Claims that are not subject to an objection filed by
                the Debtors, the Notice of Limited Voting Status (as defined in the Disclosure Statement
                Order); and
            o   letters from the Official Committee of Opioid-Related Claimants and Official Committee
                of Unsecured Creditors, respectively, expressing each of their views on the Plan attached
                as Exhibits 3.2 and 3.3 to the Disclosure Statement Order;

       with respect to Holders of Claims and Interests in Non-Voting Classes (or Claims in Voting Classes
        that, as of the deadline set forth in the Disclosure Statement Order, are subject to a pending
        objection or are otherwise deemed not entitled to vote in the Plan): (a) the Confirmation Hearing
        Notice and (b) the applicable Notice of Non-Voting Status;

       with respect to Holders of Claims in Voting Classes 8(a)-(d) and 9(a)-(h), the Opioid Claimant
        Notice attached as Exhibit 4.11 to the Disclosure Statement Order and (subject to the Non-Notes
        Master Ballot Solicitation Procedures) the materials listed above;

       with respect to the United States Trustee, a copy of each document contained in each version of the
        Solicitation Packages, which may include non-customized Ballots or Master Ballots and a non-
        customized Notice of Non-Voting Status; and

       any other materials ordered by the Court to be included as part of the Solicitation Package.




                                                     25
             Case 20-12522-JTD           Doc 2917          Filed 06/18/21     Page 37 of 835



                 6.      Distribution of the Solicitation Package to Holders of Claims Entitled to
                         Vote on the Plan

With the assistance of the Notice and Claims Agent, the Debtors intend to distribute Solicitation Packages
to the applicable parties (other than Holders of Opioid Claims) no later than Five (5) Business Days after
entry of the Disclosure Statement Order, and complete distribution as soon as reasonably practical thereafter
(the “Solicitation Mailing Date”). The Debtors submit that the timing of such distribution will provide
such Holders of Claims and Interests with adequate time within which to review the materials required to
allow such parties to make informed decisions with respect to voting on the Plan in accordance with
Bankruptcy Rules 3017(d) and 2002(b). The Debtors will make every reasonable effort to ensure that
Holders who have more than one Allowed Claim in the Voting Classes receive no more than one
Solicitation Package. If a Holder holds Claims in more than one Class and is entitled to vote in more than
one Class, such Holder will receive separate Ballots which must be used for each separate Class of Claims.

Notwithstanding anything to the contrary herein and subject to the Non-Notes Master Ballot Solicitation
Procedures (as defined in the Solicitation Procedures attached as Attachment 1 to the Disclosure Statement
Order)), all Holders of Opioid Claims in Voting Classes 8(a)-(d) and 9(a)-(h) shall be entitled to obtain a
Solicitation Package (with a Ballot) and vote on the Plan. All materials included in the Solicitation Package
for Opioid Claimants shall be made available free of charge online at a dedicated opioid claimant webpage.
The dedicated opioid claimant webpage shall contain an online portal(s) whereby Opioid Claimants may
request (and immediately obtain) and submit a Ballot.

                 7.      Distribution of Notices to Holders of Claims in Non-Voting Classes and
                         Holders of Disputed Claims

As set forth above, certain Holders of Claims and Equity Interests are not entitled to vote on the Plan. As
a result, such parties will not receive Solicitation Packages and, instead, will receive the appropriate notice
and an Opt-Out Form:

       Unimpaired Claims – Deemed to Accept. Other Secured Claims and First Lien Revolving Credit
        Facility Claims in Classes 1 and 2(a), respectively, are Unimpaired under the Plan and their Holders
        are conclusively presumed to have accepted the Plan. As such, Holders of such Claims will receive,
        in lieu of a Solicitation Package, the applicable Notice of Non-Voting Status attached as Exhibit
        4.4 to the Disclosure Statement Order.

       Impaired Claims – Deemed to Reject. Holders of No Recovery Opioid Claims, Subordinated
        Claims, and Equity Interests in Classes 9(i), 13, and 14, respectively, are receiving no distribution
        under the Plan on account of such Claims and Equity Interests and, therefore, are conclusively
        presumed to reject the Plan. The Holders of Subordinated Claims and Equity Interests in Classes
        9(i), 13, and 14 will receive the applicable Notice of Non-Voting Status attached as Exhibits 4.5,
        4.6, and 4.12 to the Disclosure Statement Order.

       Unimpaired or Impaired Claims – Deemed to Accept or Reject. Intercompany Claims in Class 11
        and Intercompany Interests in Class 12 are either deemed to accept or reject the Plan (as applicable)
        and are held by other Debtors and not entitled to vote on the Plan. The Holders of Intercompany
        Claims in Class 11 and Intercompany Interests in Class 12 will receive the applicable Notice of
        Non-Voting Status.

       Disputed Claims.




                                                      26
Case 20-12522-JTD           Doc 2917         Filed 06/18/21     Page 38 of 835



o   If any party in interest with appropriate standing has filed an objection to a Claim on or
    before July 12, 2021 at 4:00 p.m. (prevailing Eastern Time) (such claim, a “Disputed
    Claim”), such Disputed Claim (or the portion thereof that is Disputed) is temporarily
    disallowed for voting purposes, except as otherwise provided in a stipulation, settlement,
    or other agreement filed by the Debtors (in consultation with the Supporting Parties) and
    approved or as may be otherwise ordered by the Court prior to or concurrent with entry of
    an order confirming the Plan, including pursuant to an order on any Rule 3018 Motion (as
    described below) filed regarding such Claim; provided that if the objection seeks to
    reclassify or reduce the allowed amount of such Claim, then such Claim is temporarily
    allowed for voting purposes in the reduced amount and/or as reclassified, except as
    otherwise provided in a stipulation, settlement, or other agreement filed by the Debtors (in
    consultation with the Supporting Parties) and approved or as may be otherwise ordered by
    the Court prior to or concurrent with entry of an order confirming the Plan. Such Holders
    of Disputed Claims will receive a “Notice of Non-Voting Status To Holders of Disputed
    Claims,” attached as Exhibit 4.7 to the Disclosure Statement Order, which notice will
    explain this designation as well as the Holder’s rights with respect thereto.

o   If any claimant seeks to challenge the disallowance of its Claim for voting purposes, such
    claimant must file a motion with the Court for an order pursuant to Bankruptcy Rule
    3018(a) temporarily allowing such Claim for voting purposes (a “Rule 3018 Motion”) on
    or before July 26, 2021 at 4:00 p.m. (prevailing Eastern Time) (the “Rule 3018(a)
    Motion Filing Deadline”), unless such deadline is extended by agreement of the Debtors
    (in consultation with the Supporting Parties). Upon the filing of a timely Rule 3018 Motion,
    the Notice and Claims Agent will provide such claimant with a Ballot or Master Ballot or
    a new Ballot or Master Ballot with an updated voting amount (as applicable). For purposes
    of filing the Voting Report, if the Rule 3018 Motion is resolved by order of the Court,
    stipulation, or settlement by the business day before the deadline to file the Voting Report,
    the Notice and Claims Agent will tabulate (or not tabulate, as applicable) such vote
    according to any aforementioned resolution. Otherwise, the Notice and Claims Agent will
    treat the vote with respect to such Claim as disallowed for voting purposes to the extent
    provided above for the purposes of tabulating (or not tabulating) votes in connection with
    preparation and filing of the Voting Report. The vote with respect to such Claim shall be
    treated as disallowed for voting purposes to the extent provided above for purposes of
    confirmation of the Plan except as otherwise provided in a stipulation, settlement, or other
    agreement filed by the Debtors (in consultation with the Supporting Parties) and approved
    or as may be otherwise ordered by the Court prior to or concurrently with entry of an order
    confirming the Plan, including pursuant to an order on any Rule 3018 Motion.

o   If a Claim for which a Proof of Claim has been timely filed is wholly contingent,
    unliquidated, or disputed (based on the face of such Proof of Claim or as determined upon
    the review of the Debtors), such Claim is accorded one (1) vote and valued at One Dollar
    ($1.00) for voting purposes only, and not for purposes of allowance or distribution, unless
    such Claim is a Disputed Claim as set forth above. Such Holders will receive (a) a
    Solicitation Package that contains the applicable Ballot or Master Ballot, (b) a
    Confirmation Hearing Notice and (c) a “Notice of Limited Voting Status to Holders of
    Contingent, Unliquidated or Disputed Claims for Which No Objection Has Been Filed by
    the Debtors,” in the form attached as Exhibit 4.8 to the Disclosure Statement Order, which
    notice informs such Person or Entity that its entire Claim has been allowed temporarily for
    voting purposes only and not for purposes of allowance or distribution, at $1.00.




                                        27
             Case 20-12522-JTD           Doc 2917         Filed 06/18/21     Page 39 of 835



            o   If a Claim is listed on a timely filed Proof of Claim as contingent, unliquidated, or disputed
                in part, such Claim is temporarily allowed in the amount that is liquidated, noncontingent
                and undisputed, unless such Claim is a Disputed Claim as set forth above. Such Holders
                will receive (a) a Solicitation Package that contains the applicable Ballot or Master Ballot,
                (b) a “Confirmation Hearing Notice,” (c) a “Notice of Limited Voting Status to Holders of
                Contingent, Unliquidated or Disputed Claims for Which No Objection Has Been Filed by
                the Debtors,” attached as Exhibit 4.8 to the Disclosure Statement Order.

            o   Notwithstanding anything to the contrary herein, each Claim in Classes 8(a)-(d) and 9(a)-
                (h) shall be accorded one (1) vote and valued at One Dollar ($1.00) for voting purposes
                only, and not for purposes of allowance or distribution, unless such Claim is disputed as
                set forth pursuant to the terms of this paragraph. Opioid Claims may only be disputed and
                subject to disallowance on non-substantive grounds under the Local Rules (i.e., duplicative,
                wrong case or wrong class, amended or superseded, etc.), and may not be disputed or
                subject to disallowance on non-substantive grounds pertaining to late filed claims and
                claims that do not have a basis in the Debtors’ books and records. For the avoidance of
                doubt, (a) any Claim in Classes 8(a)-(d) and 9(a)-(h) shall not be required to file a Proof of
                Claim for such Opioid Claims to be temporarily allowed for voting purposes and (b) any
                Claim in Classes 8(a)-(d) and 9(a)-(h) that is disputed and subject to disallowance but is
                otherwise temporarily allowed for voting purposes shall be accorded one (1) vote and
                valued at One Dollar ($1.00) for voting purposes only, and may not be disallowed for
                voting purposes for any reason other than as set forth in this paragraph;

       Contract and Lease Counterparties. Parties to certain of the Debtors’ Executory Contracts and
        Unexpired Leases may not have scheduled Claims or Claims based upon Proofs of Claim pending
        the disposition of their contracts or leases by assumption or rejection. Without amending or altering
        any prior order of the Bankruptcy Court approving the assumption or rejection of any Executory
        Contract or Unexpired Lease, to ensure that such parties nevertheless receive notice of the Plan,
        counterparties to the Debtors’ Executory Contracts and Unexpired Leases will receive, in lieu of a
        Solicitation Package, a “Contract/Lease Party Notice” attached as Exhibit 4.9 to the Disclosure
        Statement Order.

                8.       Additional Distribution of Solicitation Documents

In addition to the distribution of Solicitation Packages to Holders of Claims in the Voting Classes, the
Debtors will also provide parties who have filed requests for notices under Bankruptcy Rule 2002 as of the
Voting Record Date with this Disclosure Statement, Disclosure Statement Order, and Plan. Additionally,
parties may request (and obtain at the Debtors’ expense) a copy of this Disclosure Statement (and any
exhibits thereto, including the Plan) by: (a) calling the Notice and Claims Agent at 877-467-1570 (Toll-
Free) (US/Canada); 347-817-4093 (International); (b) writing to Mallinckrodt plc Ballot Processing, c/o
Prime Clerk LLC One Grand Central Place, 60 East 42nd Street, Suite 1440, New York, NY 10165 or
mallinckrodtinfo@primeclerk.com; and/or (c) visiting the Debtors’ restructuring website at:
https://restructuring.primeclerk.com/mallinckrodt. Parties may also obtain any documents filed in the
Chapter 11 Cases for a fee via PACER at http://www.deb.uscourts.gov.

All Holders of Claims and Interests are advised to read the Disclosure Statement Order and all attachments
thereto, including the Solicitation Procedures attached as Attachment 1 to the Disclosure Statement Order,
which sets forth in greater detail the information disclosed in this section I.D of this Disclosure Statement.




                                                     28
                Case 20-12522-JTD           Doc 2917          Filed 06/18/21     Page 40 of 835



          E.        Voting Procedures

  Holders of Claims entitled to vote on the Plan are advised to read the Disclosure Statement Order and all
  attachments thereto, including the Solicitation Procedures attached as Attachment 1 to the Disclosure
  Statement Order, which sets forth in greater detail the voting instructions summarized herein.

                    1.      The Voting Deadline

  The Bankruptcy Court has approved 4:00 p.m. prevailing Eastern Time on September 3, 2021 as the
  Voting Deadline. The Voting Deadline is the date by which all Ballots (or opt-out forms), Notes Master
  Ballots, and Non-Notes Master Ballots, must be properly executed, completed and delivered to the Notice
  and Claims Agent in order to be counted as votes to accept or reject the Plan.

                    2.      Types of Ballots

  The Debtors will provide the following Ballots, Notes Master Ballots, and Non-Notes Master Ballots, as
  applicable, to Holders of Claims in the Voting Classes (i.e., Classes 2(b), 2(c), 3, 4, 5, 6(a)-(f), 7, 8(a)-(d),
  9(a)-(h), and 10):

                                          SUMMARY OF BALLOTS
Class          Claim/Equity Interest                                 Ballot
                                      Class 2(b) – 2024 First Lien Term Loan Claims Ballot, attached to
2(b) 2024 First Lien Term Loan Claims
                                      the Disclosure Statement Order as Exhibit 1.1
                                      Class 2(c) – 2025 First Lien Term Loan Claims Ballot, attached to
2(c) 2025 First Lien Term Loan Clams
                                      the Disclosure Statement Order as Exhibit 1.1
                                      Class 3 – First Lien Notes Beneficial Holder Ballot, attached to the
                                      Disclosure Statement Order as Exhibit 1.2
 3        First Lien Notes Claims
                                      Class 3 – First Lien Notes Master Ballot, attached to the
                                      Disclosure Statement Order as Exhibit 1.3
                                      Class 4 – Second Lien Notes Beneficial Holder Ballot, attached to
                                      the Disclosure Statement Order as Exhibit 1.4
 4      Second Lien Notes Claims
                                      Class 4 – Second Lien Notes Master Ballot, attached to the
                                      Disclosure Statement Order as Exhibit 1.5
                                      Class 5 – Guaranteed Unsecured Notes Beneficial Holder Ballot,
                                      attached to the Disclosure Statement Order as Exhibit 1.6
 5 Guaranteed Unsecured Notes Claims
                                      Class 5 – Guaranteed Unsecured Notes Master Ballot, attached to
                                      the Disclosure Statement Order as Exhibit 1.7
6(a)              Acthar Claims                Subject to the Non-Notes Master Ballot Solicitation Procedures (as
                                               defined in the Disclosure Statement Order), the applicable
6(b)      Generics Price Fixing Claims         individual Ballot or Non-Notes Master Ballot for the applicable
                                               class, and attached to the Disclosure Statement Order as Exhibits
6(c)             Asbestos Claims               1.8 and 1.13
                                               Class 6(d) – Legacy Unsecured Notes Claims Beneficial Holder
                                               Ballot, attached to the Disclosure Statement Order as Exhibit 1.14
6(d)    Legacy Unsecured Notes Claims
                                               Class 6(d) – Legacy Unsecured Notes Claims Master Ballot,
                                               attached to the Disclosure Statement Order as Exhibit 1.15
                                               Subject to the Non-Notes Master Ballot Solicitation Procedures (as
6(e)           Environmental Claims
                                               defined in the Disclosure Statement Order), the applicable



                                                         29
               Case 20-12522-JTD           Doc 2917          Filed 06/18/21     Page 41 of 835




                                             individual Ballot or Non-Notes Master Ballot for the applicable
6(f)    Other General Unsecured Claims       class, and attached to the Disclosure Statement Order as Exhibits
                                             1.16 and 1.19
                                             Class 7 – Trade Claims Ballot, attached to the Disclosure Statement
 7                Trade Claims
                                             Order as Exhibit 1.20
8(a)          State Opioid Claims
                                             Subject to the Non-Notes Master Ballot Solicitation Procedures (as
8(b)        Municipal Opioid Claims          defined in the Disclosure Statement Order), the applicable
                                             individual Ballot or Non-Notes Master Ballot for the applicable
8(c)          Tribe Opioid Claims            class, and attached to the Disclosure Statement Order as Exhibits
                                             1.21 and 1.28
8(d)    U.S. Government Opioid Claims

9(a)  Third-Party Payor Opioid Claims
9(b)         PI Opioid Claims
9(c)       NAS PI Opioid Claims              Subject to the Non-Notes Master Ballot Solicitation Procedures (as
9(d)      Hospital Opioid Claims             defined in the Disclosure Statement Order), the applicable
9(e)      Ratepayer Opioid Claims            individual Ballot or Non-Notes Master Ballot for the applicable
9(f)  NAS Monitoring Opioid Claims           class, and attached to the Disclosure Statement Order as Exhibits
     Emergency Room Physicians Opioid        1.29 through 1.44
9(g)
                   Claims
9(h)        Other Opioid Claims
                                           Class 10 – Settled Federal/State Acthar Claims Ballot, attached to
                                           the Disclosure Statement Order as Exhibit 1.45
10     Settled Federal/State Acthar Claims
                                           Class 10 – Settled Federal/State Acthar Claims Master Ballot,
                                           attached to the Disclosure Statement Order as Exhibit 1.46

  To be counted as votes to accept or reject the Plan, votes must be submitted on the appropriate ballot (each,
  a “Ballot”) or master ballot. There are two types of master ballots. First, there is a notes master ballot
  (the “Notes Master Ballot”) that will be used to solicit votes from Nominees (as defined below) that are the
  registered holders of notes-related Claims in Classes 3, 4, 5, and 6(d) of the Plan. Second, there is a non-
  notes master ballot (the “Non-Notes Master Ballot”, together with the Notes Master Ballots, the “Master
  Ballots”) that will be used to solicit votes from Classes 6(a)-(c) and (e)-(f), 8(a)-(d), 9(a)-(h), and 10
  pursuant to the Non-Notes Master Ballot Solicitation Procedures (as defined in the Solicitation Procedures).

                   3.      Voting Instructions

  Under the Plan, Holders of Claims in the Voting Classes are entitled to vote to accept or reject the Plan.
  Those Holders may so vote by completing a Ballot or Master Ballot, as applicable, and returning it to the
  Notice and Claims Agent prior to the Voting Deadline. Each Ballot (other than the Ballots for Opioid
  Claimants in Classes 8(a)-(d) and Classes 9(a)-(h)) will include an option to affirmatively opt out of the
  Releases by Non-Debtor Releasing Parties Other than Opioid Claimants contained in Article IX.C of the
  Plan.

  All Holders of Opioid Claims in Voting Classes 8(a)-(d) and 9(a)-(h) shall be entitled to obtain a Solicitation
  Package (with a Ballot) and vote on the Plan. The dedicated opioid claimant webpage shall contain an
  online portal(s) whereby Opioid Claimants may request (and immediately obtain) and submit a Ballot.

  Where any portion of a single Claim has been transferred to a transferee, all Holders of any portion of such
  single Claim will be (i) treated as a single creditor for purposes of the numerosity requirements in section


                                                        30
             Case 20-12522-JTD            Doc 2917         Filed 06/18/21      Page 42 of 835



1126(c) of the Bankruptcy Code (and for the other voting and solicitation procedures set forth herein), and
(ii) required to vote every portion of such Claim collectively to accept or reject the Plan.

To be counted as votes to accept or reject the Plan, all Ballots or Master Ballots (which will clearly indicate
the appropriate return address), as applicable, must be properly executed, completed, dated and delivered
by following the instructions set forth on the Ballot or Master Ballot, so that they are actually received on
or before the Voting Deadline by the Notice and Claims Agent. If you have any questions on the procedures
for voting on the Plan, please call the Notice and Claims Agent at: 877-467-1570 (Toll-Free) (US/Canada);
347-817-4093 (International).

                 4.      Voting Procedures

 THE DISCLOSURE STATEMENT ORDER IS ACCOMPANIED BY A BALLOT OR MASTER
 BALLOT TO BE USED FOR VOTING TO ACCEPT OR REJECT THE PLAN FOR THOSE
 HOLDERS OF CLAIMS ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN.
 PLEASE REFER TO THE INSTRUCTIONS ATTACHED TO THE BALLOTS FOR MORE
 DETAILED INFORMATION REGARDING THE VOTING REQUIREMENTS, RULES AND
 PROCEDURES APPLICABLE TO VOTING YOUR CLAIM.

If you are a Holder of a Claim in Class 2(b) – 2024 First Lien Term Loan Claims, Class 2(c) – 2025 First
Lien Term Loan Claims, Class 3 – First Lien Notes Claims, Class 4 – Second Lien Notes Claims, Class 5
– Guaranteed Unsecured Notes Claims, Class 6(a) - Acthar Claims, Class 6(b) - Generics Price Fixing
Claims, Class 6(c) - Asbestos Claims, Class 6(d) - Legacy Unsecured Notes Claims, Class 6(e) -
Environmental Claims, Class 6(f) - Other General Unsecured Claims, Class 7 - Trade Claims, Class 8(a) -
State Opioid Claims, Class 8(b) – Municipal Opioid Claims, Class 8(c) - Tribe Opioid Claims, Class 8(d) -
U.S. Government Opioid Claims, Class 9(a) - Third-Party Payor Opioid Claims, Class 9(b) - PI Opioid
Claims, Class 9(c) - NAS PI Opioid Claims, Class 9(d) - Hospital Opioid Claims, Class 9(e) – Ratepayer
Opioid Claims, Class 9(f) – NAS Monitoring Opioid Claims, Class 9(g) – Emergency Room Physicians
Opioid Claims, Class 9(h) – Other Opioid Claims, or Class 10 - Settled Federal/State Acthar Claims, you
may vote to accept or reject the Plan by completing the Ballot, Notes Master Ballot, or Non-Notes Master
Ballot, as applicable, and returning it in accordance with the Solicitation Procedures attached as Attachment
1 to the Disclosure Statement Order, or returning it in the pre-addressed, postage pre-paid return envelopes
provided to the Notice and Claims Agent or your Nominee, as applicable, or via the Notice and Claims
Agent’s online balloting portal.

If you are entitled to vote to accept or reject the Plan, a Ballot(s) or Master Ballot has been enclosed in your
Solicitation Package for the purpose of voting on the Plan. Please vote and return your Ballot(s) or Master
Ballot in accordance with the instructions accompanying your Ballot or Master Ballot.

Prior to voting on the Plan, you should carefully review (a) the Plan and the Plan Supplement, (b) this
Disclosure Statement, (c) the Disclosure Statement Order and the Solicitation Procedures annexed thereto,
(d) the Confirmation Hearing Notice, and (e) the detailed instructions accompanying your Ballot or Master
Ballot. These documents contain important information concerning how Claims are classified for voting
purposes and how votes will be tabulated. Holders of Claims entitled to vote are also encouraged to review
the relevant provisions of the Bankruptcy Code and Bankruptcy Rules and/or consult their own attorney.

Each Ballot and Master Ballot has been coded to reflect the Class of Claims it represents unless it’s a Ballot
or Master Ballot for which a Proof of Claim has not been filed. Ballots or Master Ballots for Opioid Claims
will not reflect a pre-populated code. In voting to accept or reject the Plan, you must use only the coded



                                                      31
            Case 20-12522-JTD            Doc 2917         Filed 06/18/21     Page 43 of 835



Ballot(s) or Master Ballot(s), if applicable, sent to you with this Disclosure Statement. If you (a) hold
Claims in more than one voting Class, or (b) hold multiple Claims within one Class, including if you (i) are
the beneficial owner of Claims held under the name of your broker, bank, dealer, or other agent or nominee
(each, a “Nominee”) (rather than under your own name) through one or more than one Nominee, (ii) are
the beneficial owner of Claims registered in your own name as well as the beneficial owner of Claims
registered under the name of your Nominee (rather than under your own name), or (iii) are represented by
an attorney and hold Claims in Classes 6(a)-(c) and (e)-(f), 8(a)-(d), 9(a)-(h), and 10, you may receive more
than one Ballot or your attorney may receive a Master Ballot to vote on your behalf.

If the Notice and Claims Agent receives more than one timely, properly completed Notes Master Ballot
with respect to a single Claim prior to the Voting Deadline, the vote that will be counted for purposes of
determining whether sufficient acceptances required to confirm the Plan have been received will be the vote
recorded on the last timely, properly completed Notes Master Ballot, as determined by the Notice and
Claims Agent, received last with respect to such Claim.

If you are a Holder of a Claim who is entitled to vote on the Plan and did not receive a Ballot or Master
Ballot, received a damaged Ballot or Master Ballot, or lost your Ballot or Master Ballot, or if you have any
questions concerning the Disclosure Statement, the Plan, the Ballot or the Master Ballot, or the procedures
for voting on the Plan, please contact the Notice and Claims Agent at the phone numbers or email address
listed in section I.D.8 above or your Nominee or attorney.

                         a.      Voting Procedures with Respect to Holders of Class 3 – First Lien
                                 Notes Claims, Class 4 – Second Lien Notes Claims, Class 5 –
                                 Guaranteed Unsecured Notes Claims, and Class 6(d) - Legacy
                                 Unsecured Notes Claims

The Debtors believe that all Holders of Claims in Class 3 (First Lien Notes Claims), Class 4 (Second Lien
Notes Claims), Class 5 (Guaranteed Unsecured Notes Claims), and Class 6(d) - Legacy Unsecured Notes
Claims hold their Claims through Nominees. As a result, for votes with respect to such Classes’ Claims to
be counted, Class 3, 4, 5, and 6(d) Ballots and Notes Master Ballots must be mailed to the appropriate
Nominees at the addresses on the envelopes enclosed with the such Class Ballots and Notes Master Ballots
(or otherwise delivered to the appropriate Nominees in accordance with such Nominees’ instructions) so
that such Nominees have sufficient time to record the votes of such beneficial owner on a Notes Master
Ballot aggregating votes of Beneficial Holders) and return such Notes Master Ballot so it is actually
received by the Notice and Claims Agent by the Voting Deadline.

All Notes Master Ballots, in order to be counted, must be properly completed in accordance with the voting
instructions on the Notes Master Ballot and actually received from the Nominee no later than the Voting
Deadline (i.e., September 3, 2021 at 4:00 p.m. (prevailing Eastern Time)) by the Notice and Claims
Agent through one of the following means:

Mail, Courier, or Personal Delivery:     Mallinckrodt plc Ballot Processing, c/o Prime Clerk LLC One
                                         Grand Central Place, 60 East 42nd Street, Suite 1440, New York,
                                         NY 10165

Electronic Mail:                         mallinckrodtinfo@primeclerk.com

Online Upload:                           E-Ballot voting platform on Prime Clerk’s website by visiting
                                         https://restructuring.primeclerk.com/mallinckrodt, clicking on the
                                         “Submit E-Ballot” link, and following the instructions set forth on
                                         the website.


                                                     32
            Case 20-12522-JTD            Doc 2917         Filed 06/18/21     Page 44 of 835



Detailed instructions for completing and transmitting the Ballots and Notes Master Ballots are included
with the Ballots and Notes Master Ballots, respectively, provided in the Solicitation Package.

                         b.      Voting Procedures with Respect to Holders of Claims in Classes 6(a)
                                 (Acthar Claims); 6(b) (Generics Price Fixing Claims); 6(c) (Asbestos
                                 Claims); 6(e) (Environmental Claims); 6(f) (Other General Unsecured
                                 Claims); and 10 (Settled Federal/State Acthar Claims)

The Debtors intend to seek approval for an attorney representing Holders of Claims in Classes 6(a)-(c) and
(e)-(f) and Class 10 to submit the votes of its clients through the Non-Notes Master Ballot so long as such
attorney follows specified procedures set forth in the Solicitation Procedures, the Solicitation Directive
Notice and Solicitation Directive attached as Attachment 1, Exhibits 2.1 and 2.2, respectively, to the
Disclosure Statement Order. An attorney electing to utilize such procedure will be required to collect and
record the votes of its clients through customary and accepted practices, or obtain authority to procedurally
cast such clients’ votes. If your attorney has indicated that your vote will be submitted by a Non-Notes
Master Ballot, but you prefer to vote by means of an individual Ballot, you may contact the Notice and
Claims Agent at (a) 877-467-1570 (Toll-Free) (US/Canada); 347-817-4093 (International); (b) writing to
Mallinckrodt plc Ballot Processing, c/o Prime Clerk LLC One Grand Central Place, 60 East 42nd Street,
Suite 1440, New York, NY 10165 or mallinckrodtinfo@primeclerk.com; and/or (c) visiting the Debtors’
restructuring website at: https://restructuring.primeclerk.com/mallinckrodt. The Non-Notes Master Ballot
must be delivered pursuant to the instructions set forth on each applicable Non-Notes Master Ballot.

If you are a holder of a Claim in Classes 6(a)-(c) and (e)-(f) or 10 and are represented by an attorney, you
may be eligible to have your attorney vote to accept or reject the Plan on your behalf via the Non-Notes
Master Ballot Solicitation Method (as defined in the Solicitation Procedures attached as Attachment 1 to
the Disclosure Statement Order). In such case, your attorney will be required to collect and record your
vote through customary and accepted practices, or obtain authority to procedurally cast your vote. In the
event that your attorney votes to accept or reject the Plan on your behalf via the applicable Non-Notes
Master Ballot and you also submit an individual Ballot to accept or reject the Plan, your individual Ballot
will control over any duplicate vote on the applicable Non-Notes Master Ballot.

Please carefully review the Disclosure Statement Order and the Solicitation Procedures attached thereto as
“Attachment 1,” including the voting procedures identified as the “Non-Notes Master Ballot Solicitation
Procedures,” for more details concerning the procedures to vote on the Plan.

                         c.      Voting Procedures with Respect to Holders of Opioid Claims in
                                 Classes 8(a) (State Opioid Claims); 8(b) (Municipal Opioid Claims);
                                 8(c) (Tribe Opioid Claims); 8(d) (U.S. Government Opioid Claims);
                                 9(a) (Third-Party Payor Opioid Claims); 9(b) (PI Opioid Claims); 9(c)
                                 (NAS PI Opioid Claims); 9(d) (Hospital Opioid Claims); 9(e) (Other
                                 Opioid Claims); 9(f) (NAS Monitoring Opioid Claims); 9(g)
                                 (Emergency Room Physicians Opioid Claims); and 9(h) (Other
                                 Opioid Claims)

For Holders of Opioid Claims in Classes 8(a)-(d) and 9(a)-(h), please carefully review the Disclosure
Statement Order and the Solicitation Procedures attached thereto as “Attachment 1” and the “Notice to
Opioid Claimants” attached thereto as Exhibit 4.11 for more details concerning the procedures to vote on
the Plan.

Although a majority of the funds in the opioid trusts under the Plan will be used to fund abatement of the
opioid crisis, certain Holders of Opioid Claims may be entitled to receive money from one of the opioid


                                                     33
             Case 20-12522-JTD           Doc 2917          Filed 06/18/21     Page 45 of 835



trusts established under the Plan. If the Plan is approved by the Bankruptcy Court, Holders of Allowed
Opioid Claims will be entitled to assert their Opioid Claims directly against the applicable opioid trust at a
later time. Holders of Opioid Claims do NOT need to file an official Proof of Claim form in order to
assert their Opioid Claims against any of the opioid trusts. Holders of Opioid Claims will be notified
of how to assert their Opioid Claims against one of the opioid trusts at a later date.

All Holders of Opioid Claims in Voting Classes 8(a)-(d) and 9(a)-(h) shall be entitled to obtain a Solicitation
Package (with a Ballot) and vote on the Plan. All materials included in the Solicitation Package for Opioid
Claimants shall be made available free of charge online at the dedicated opioid claimant webpage.

There are many ways Holders of Opioid Claims in Voting Classes 8(a)-(d) and 9(a)-(h) may cast a vote on
the Plan.

First, Holders of Opioid Claims in Classes 8(a)-(d) and 9(a)-(h) may visit the dedicated opioid claimant
webpage where there is an online portal whereby Opioid Claimants may request (and immediately obtain)
and submit a Ballot to vote on the Plan.

Second, Holders of Opioid Claims in Classes 8(a)-(d) and 9(a)-(h) may also vote on the Plan by following
these instructions:

(a)     Contact the Notice and Claims Agent, Prime Clerk LLC, by: (a) calling 877-467-1570 (US/Canada)
        or 347-817-4093 (International) or (b) writing to (i) Mallinckrodt plc Ballot Processing, c/o Prime
        Clerk LLC One Grand Central Place, 60 East 42nd Street, Suite 1440, New York, NY 10165 or
        (ii) mallinckrodtinfo@primeclerk.com. You should also contact your attorney if you have one.

(b)     Then request from the Notice and Claims Agent (a) a copy of the Plan and Disclosure Statement
        and (b) an individual Opioid Claims Ballot.

(c)     Carefully review the Plan, the Disclosure Statement, and Ballot (and the instructions on the Ballot).
        You may wish to consult a lawyer on how your rights, if any, may be affected by the Plan.

(d)     Complete and sign the Ballot according to the instructions on the Ballot. A failure to follow the
        instructions on the Ballot may result in the vote being disqualified.

(e)     Submit the completed and signed Ballot back to the Notice and Claims Agent so that it is actually
        received by 4:00 p.m. (prevailing Eastern Time) on September 3, 2021. Ballots received after
        that time will NOT be counted.

Third, Holders of Opioid Claims in Classes 8(a)-(d) and 9(a)-(h) may authorize their lawyer, if they have
one or choose to engage one, to complete and cast their vote on the Plan on their behalf. If a lawyer
completes the Ballot on the Opioid Claimant’s behalf, the Opioid Claimant still must sign and certify the
Ballot as required by the Ballot’s instructions.

Finally, the Debtors intend to seek approval for an attorney representing Holders of Claims in Classes 8(a)-
(d) and 9(a)-(h) to submit the votes of its clients through the Non-Notes Master Ballot so long as such
attorney follows specified procedures set forth in the Solicitation Procedures, the Solicitation Directive
Notice and Solicitation Directive attached as Attachment 1, Exhibits 2.1 and 2.2, respectively, to the
Disclosure Statement Order. An attorney electing to utilize such procedure will be required to collect and
record the votes of its clients through customary and accepted practices, or obtain authority to procedurally
cast such clients’ votes. If your attorney has indicated that your vote will be submitted by a Non-Notes
Master Ballot, but you prefer to vote by means of an individual Ballot, you may contact the Notice and



                                                      34
            Case 20-12522-JTD           Doc 2917         Filed 06/18/21    Page 46 of 835



Claims Agent at (a) 877-467-1570 (Toll-Free) (US/Canada); 347-817-4093 (International);
(b) Mallinckrodt plc Ballot Processing, c/o Prime Clerk LLC One Grand Central Place, 60 East 42nd Street,
Suite 1440, New York, NY 10165 or mallinckrodtinfo@primeclerk.com; and/or (c) the Debtors’
restructuring website at: https://restructuring.primeclerk.com/mallinckrodt. The Non-Notes Master Ballot
must be delivered pursuant to the instructions set forth on each applicable Non-Notes Master Ballot.

If you are a holder of a Claim in Classes 8(a)-(d) and 9(a)-(h) and are represented by an attorney, you may
be eligible to have your attorney vote to accept or reject the Plan on your behalf via the Non-Notes Master
Ballot Solicitation Method (as defined in the Solicitation Procedures attached as Attachment 1 to the
Disclosure Statement Order). In such case, your attorney will be required to collect and record your vote
through customary and accepted practices, or obtain authority to procedurally cast your vote. In the event
that your attorney votes to accept or reject the Plan on your behalf via the applicable Non-Notes Master
Ballot and you also submit an individual Ballot to accept or reject the Plan, your individual Ballot will
control over any duplicate vote on the applicable Non-Notes Master Ballot.

                        d.      Voting Procedures with Respect to Holders of Claims in All Other
                                Voting Classes

Voting Holders of Class 2(b) – 2024 First Lien Term Loan Claims, Class 2(c) – 2025 First Lien Term Loan
Claims, and Class 7 – Trade Claims, should provide all of the information requested by their Ballots, and
should (a) complete and return all Ballots received in the enclosed, self-addressed, postage paid envelope
provided with each such Ballot to the Notice and Claims Agent, or (b) submit a Ballot electronically via
the      E-Ballot      voting      platform    on      Prime      Clerk’s      website      by     visiting
https://restructuring.primeclerk.com/mallinckrodt, clicking on the “Submit E-Ballot” link, and following
the instructions set forth on the website.

HOLDERS OF CLAIMS IN VOTING CLASSES THAT ARE PERMITTED TO SUBMIT THEIR
BALLOTS VIA THE E-BALLOT PLATFORM ARE STRONGLY ENCOURAGED TO DO SO.

                5.      Tabulation of Votes

  THE FOLLOWING IS IMPORTANT INFORMATION REGARDING VOTING THAT SHOULD
     BE READ CAREFULLY BY ALL HOLDERS OF CLAIMS IN THE VOTING CLASSES.

       FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE PROPERLY EXECUTED,
        COMPLETED, DATED AND DELIVERED SUCH THAT IT IS ACTUALLY RECEIVED ON
        OR BEFORE THE VOTING DEADLINE BY THE NOTICE AND CLAIMS AGENT.

       A HOLDER OF A CLAIM MAY CAST ONLY ONE VOTE PER EACH CLAIM SO HELD. BY
        SIGNING AND RETURNING A BALLOT, EACH HOLDER OF A CLAIM WILL CERTIFY
        TO THE BANKRUPTCY COURT AND THE DEBTORS THAT NO OTHER BALLOTS WITH
        RESPECT TO SUCH CLAIM HAVE BEEN CAST OR, SUBJECT TO THE NON-NOTES
        MASTER BALLOT PROCEDURES, IF ANY OTHER BALLOTS HAVE BEEN CAST WITH
        RESPECT TO SUCH CLAIM SUCH EARLIER BALLOTS ARE THEREBY SUPERSEDED
        AND REVOKED.

       ANY BALLOT THAT IS RECEIVED AFTER THE VOTING DEADLINE WILL NOT BE
        COUNTED TOWARD CONFIRMATION OF THE PLAN UNLESS THE DEBTORS, IN
        CONSULTATION WITH THE SUPPORTING PARTIES, AND THE OFFICIAL COMMITTEE
        OF UNSECURED CREDITORS SOLELY FOR EXTENSIONS FOR CLASSES 5, 6, AND 7


                                                    35
             Case 20-12522-JTD           Doc 2917          Filed 06/18/21     Page 47 of 835



        AND THE OFFICIAL COMMITTEE OF OPIOID-RELATED CLAIMANTS SOLELY FOR
        EXTENSIONS FOR CLASSES 8 AND 9, HAVE GRANTED AN EXTENSION OF THE
        VOTING DEADLINE IN WRITING WITH RESPECT TO SUCH BALLOT.

       Additionally, the following Ballots Will Not be Counted:

             o   any Ballot received after the Voting Deadline unless the Debtors, in consultation with the
                 Supporting Parties, and the Official Committee of Unsecured Creditors solely for
                 extensions for Classes 5, 6, and 7 and the Official Committee of Opioid-Related Claimants
                 solely for extensions for Classes 8 and 9, shall have granted an extension of the Voting
                 Deadline in writing with respect to such Ballot;

             o   any Ballot that is illegible or contains insufficient information to permit the identification
                 of the Holder of the Claim;

             o   any Ballot cast by or on behalf of a Person or Entity that does not hold a Claim in one of
                 the Voting Classes;

             o   any Ballot cast for a Claim that is not listed on the Schedules, or that is scheduled at zero,
                 in an unknown amount, or, in whole or in part, as unliquidated, contingent, or disputed,
                 and for which no proof of claim was timely filed; provided, however, that this specific
                 provision shall not apply to Opioid Claimants;

             o   any Ballot that is properly completed, executed and timely filed, but (a) does not indicate
                 an acceptance or rejection of the Plan, (b) indicates both an acceptance and rejection of the
                 Plan, or (c) partially accepts and partially rejects the Plan;

             o   any Ballot submitted by facsimile, telecopy or electronic mail (other than the Notice and
                 Claims Agent’s online portal when applicable or the via the MNKvote.com);

             o   any unsigned Ballot;

             o   any Ballot sent to the Debtors, the Debtors’ agents/representatives (other than the Notice
                 and Claims Agent), or the Debtors’ financial or legal advisors; or

             O   any Ballot not cast in accordance with the procedures approved in the Disclosure Statement
                 Order, Solicitation Procedures attached as Attachment 1 to the Disclosure Statement
                 Order, or Solicitation Directive attached as Exhibit 2.2 to the Disclosure Statement Order,
                 if applicable.

All Holders of Claims and Interests are advised to read the Disclosure Statement Order and all attachments
thereto, including the Solicitation Procedures attached as Attachment 1 to the Disclosure Statement Order,
which sets forth in greater detail the information disclosed in this section I.E of this Disclosure Statement.

        F.       Confirmation of the Plan

                 1.      The Confirmation Hearing

The Confirmation Hearing will take place on September 21, 2021 at 10:00 a.m. (prevailing Eastern Time)
before the Honorable John T. Dorsey, United States Bankruptcy Judge, in the United States Bankruptcy
Court for the District of Delaware, located at 824 Market Street North, 3rd Floor, Wilmington, DE 19801,



                                                      36
             Case 20-12522-JTD           Doc 2917          Filed 06/18/21     Page 48 of 835



and such hearing shall be conducted either by teleconference or videoconference via Zoom. The
Confirmation Hearing may be continued from time to time by the Bankruptcy Court or the Debtors without
further notice other than by such adjournment being announced in open court or by a notice of adjournment
filed with the Bankruptcy Court and served on such parties as the Bankruptcy Court may order. Moreover,
the Plan may be modified or amended, if necessary, pursuant to section 1127 of the Bankruptcy Code, prior
to, during or as a result of the Confirmation Hearing, without further notice to parties-in-interest.

                 2.      The Deadline for Objecting to Confirmation of the Plan

The Plan Objection Deadline is September 3, 2021 at 4:00 p.m. (prevailing Eastern Time). Any
objection to confirmation of the Plan must: (i) be in writing; (ii) conform to the Bankruptcy Rules and the
Local Rules; (iii) state the name and address of the objecting party and the nature of the Claim or Equity
Interest of such Entity; (iv) state with particularity the legal and factual bases and nature of any objection
to the Plan; and (v) be filed, contemporaneously with a proof of service, with the Bankruptcy Court and
served so that it is actually received no later than the Plan Objection Deadline by the parties set forth below
(the “Notice Parties”).

        (a) Counsel to the Debtors, Latham & Watkins LLP, 1271 Avenue of the Americas, New York,
New York 10020 (Attn: George Davis (George.Davis@lw.com), George Klidonas
(George.Klidonas@lw.com), Anupama Yerramalli (Anu.Yerramalli@lw.com), and Andrew Sorkin
(Andrew.Sorkin@lw.com)), Latham & Watkins LLP, 355 South Grand Avenue, Suite 100, Los Angeles,
California 90071 (Attn: Jeffrey Bjork (Jeff.Bjork@lw.com)), Latham & Watkins LLP, 330 North Wabash
Avenue, Suite 2800, Chicago, Illinois 60611 (Attn: Jason Gott (Jason.Gott@lw.com)), and Richards,
Layton & Finger, P.A., One Rodney Square, 920 North King Street, Wilmington, Delaware 19801 (Attn:
Mark D. Collins (collins@rlf.com) and Michael J. Merchant (merchant@rlf.com));

        (b) Counsel to the Guaranteed Unsecured Notes Ad Hoc Group, Paul, Weiss, Rifkind, Wharton &
Garrison LLP, 1285 Avenue of the Americas, New York, New York 10019 (Attn: Andrew N. Rosenberg
(arosenberg@paulweiss.com), Alice Belisle Eaton (aeaton@paulweiss.com), Claudia R. Tobler
(ctobler@paulweiss.com), and Neal Paul Donnelly (ndonnelly@paulweiss.com)), and Landis Rath & Cobb
LLP, 919 Market Street, Suite 1800, Wilmington, Delaware 19801 (Attn: Richard S. Cobb
(cobb@lrclaw.com)), co-counsel for the ad hoc group of holders of the Debtors’ unsecured notes;

         (c) Counsel to the Governmental Plaintiff Ad Hoc Committee, Kramer Levin Naftalis & Frankel
LLP 1177 Avenue of the Americas, New York, New York 10036 (Attn: Kenneth H. Eckstein
(keckstein@kramerlevin.com) and Daniel M. Eggermann (deggermann@kramerlevin.com)), Brown
Rudnick LLP Seven Times Square New York, New York 10019 (Attn:                    David J. Molton
(dmolton@brownrudnick.com) and Steven D. Pohl (spohl@brownrudnick.com)), and Gilbert LLP 700
Pennsylvania Ave., SE, Suite 400, Washington, D.C. 20003 (Attn:                  Scott D. Gilbert
(gilberts@gilbertlegal.com) and Kami E. Quinn (quinnk@gilbertlegal.com));

         (d) Counsel to the MSGE Group, Caplin & Drysdale, Chartered, One Thomas Circle, NW, Suite
1100, Washington D.C. 20005 (Attn: Kevin C. Maclay (kmaclay@capdale.com), Todd E. Phillips
(tphillips@capdale.com), and Ann Weber Langley (alangley @capdale.com));

        (e) Counsel to the Ad Hoc First Lien Term Lender Group, Gibson, Dunn & Crutcher LLP 200 Park
Avenue New York, New York 10166 (Attn: Scott J. Greenberg (sgreenberg@gibsondunn.com) and
Michael J. Cohen (mcohen@gibsondunn.com)), and Troutman Pepper Hamilton Sanders LLP Hercules
Plaza, Suite 5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, Delaware 19899-1709 (Attn: David
M. Fournier (david.fournier@troutman.com) and Kenneth A. Listwak (ken.listwak@troutman.com));




                                                      37
             Case 20-12522-JTD           Doc 2917         Filed 06/18/21     Page 49 of 835



       (f) The Office of the U.S. Trustee, 844 King Street, Suite 2207, Wilmington, Delaware 19801 (Attn:
Jane M. Leamy (Jane.M.Leamy@usdoj.gov)); and

       (g) Counsel to the Official Committee of Unsecured Creditors, Cooley LLP; 1299 Pennsylvania
Avenue, NW, Washington D.C. 20004 (Attn: Cullen D. Speckhart (cspeckhart@cooley.com)), Cooley
LLP, 55 Hudson Yards, New York, New York 10001 (Attn: Cathy Hershcopf (chershcopf@cooley.com),
Michael Klein (mklein@cooley.com), and Lauren A. Reichardt (lreichardt@cooley.com), and Robinson &
Cole LLP, 1201 N. Market Street, Suite 1406, Wilmington, Delaware 19801 (Attn: Natalie D. Ramsey
(nramsey@rc.com) and Jamie L. Edmonson (jedmonson@rc.com));

        (h) Counsel to the Future Claims Representative, Young Conaway Stargatt & Taylor, LLP; Rodney
Square, 1000 North King Street, Wilmington, DE 19801 (Attn: James L. Patton, Jr. (jpatton@ycst.com))
and Frankel Wyron LLP; 2101 L St., NW, Suite 800, Washington, DC 20037 (Attn: Richard Wyron
(rwyron@frankelwyron.com); and

         (i) Counsel to the Official Committee of Opioid Related Claimants, Akin Gump Strauss Hauer &
Feld LLP, One Bryant Park, New York, New York 10036 (Attn: Arik Preis (apreis@akingump.com),
Mitchell P. Hurley (mhurley@akingump.com), and Sara L. Brauner (sbrauner@akingump.com)) and Cole
Schotz P.C., 500 Delaware Avenue, Suite 1410, Wilmington, Delaware 19801 (Attn: Justin R. Alberto
(jalberto@coleschotz.com)).

CONFIRMATION OBJECTIONS NOT TIMELY FILED AND SERVED IN THE MANNER SET
FORTH HEREIN MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT AND MAY BE
OVERRULED WITHOUT FURTHER NOTICE.

                3.       Effect of Confirmation of the Plan

Article IX of the Plan contains certain provisions relating to (a) the compromise and settlement of Claims,
(b) the release of the Released Parties by the Debtors and certain Holders of Claims, and each of their
respective Related Persons, and (c) exculpation of certain parties. It is important to read such provisions
carefully so that you understand the implications of these provisions with respect to your Claim such that
you may cast your vote accordingly.

 THE PLAN WILL BIND ALL HOLDERS OF CLAIMS AGAINST AND EQUITY INTERESTS
 IN THE DEBTORS TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
 NOTWITHSTANDING WHETHER OR NOT SUCH HOLDER (A) WILL RECEIVE OR
 RETAIN ANY PROPERTY OR INTEREST IN PROPERTY UNDER THE PLAN, (B) HAS
 FILED A PROOF OF CLAIM OR INTEREST IN THE CHAPTER 11 CASES, OR (C) FAILED
 TO VOTE TO ACCEPT OR REJECT THE PLAN OR VOTED TO REJECT THE PLAN

        G.      The Plan Releases

The Plan contains two separate, non-overlapping releases that will bind certain holders of Claims and
Interests. Various parties have asserted that the Plan is unconfirmable because of its release provisions, but
the Debtors believe these provisions comply fully with applicable law. The following summary of those
provisions is subject in all respects to the Plan itself.

Article IX.C of the Plan provides that the Non-Debtor Releasing Parties will be deemed to have released
the Released Parties from Claims and Causes of Action relating to the Debtors and their restructuring and
Chapter 11 Cases, among other things. The Released Parties include, without limitation, the Debtors, the


                                                     38
             Case 20-12522-JTD           Doc 2917          Filed 06/18/21     Page 50 of 835



Reorganized Debtors, the Non-Debtor Affiliates, their directors, officers, employees, and advisors, the
parties to the Restructuring Support Agreement, the Debtors’ secured lenders and noteholders, the Opioid
MDT II and the Opioid Creditor Trusts, and their respective, advisors and representatives.

The Debtors’ position is that this “third party release” is consensual under prevailing practice in the
Bankruptcy Court because applicable Holders of Claims and Interests, other than those that are Unimpaired
under the Plan, have the ability to “opt out” of the release by timely submitting an opt out election. This
structural element of the Plan, combined with the Debtors’ anticipated solicitation and noticing process,
justify deeming any applicable Holder of a Claim or Interest to have consented to the release. For the
avoidance of doubt, the Debtors also believe the “third party release” is justified as a non-consensual release
under applicable legal precedent.

Importantly, Article IX.C of the Plan does not apply to Holders of Opioid Claims in their capacity as
such. Instead, such Holders, in that capacity, are subject to Article IX.D of the Plan, which provides for a
non-consensual release of the Protected Parties from any Claims and Causes of Action relating to the
Debtors and their restructuring and Chapter 11 Cases, among other things. The Protected Parties include,
without limitation, the Debtors, the Reorganized Debtors, the Non-Debtor Affiliates, and their directors,
officers, employees, and advisors; but the Protected Parties generally do not include any third party lenders
or other creditors.

The Debtors’ position is that this “opioid claimant release” is justified as non-consensual under applicable
legal precedent and as a further effectuating mechanism for the Channeling Injunction of Opioid Claims to
the Opioid MDT II and the Opioid Creditor Trusts, which is provided under Article IX.G of the Plan. These
Chapter 11 Cases are the first ever reorganization of a defendant in the nationwide opioid litigation that
will not come to be owned by opioid claimant trusts, and which involves secured and unsecured funded
debt and material, non-opioid businesses. The unprecedented circumstances of these cases and of the opioid
abuse epidemic, as well as the substantial contributions to the Debtors’ restructuring made by the Protected
Parties, will be demonstrated by the Debtors at the Confirmation Hearing in support of the Plan.

Finally, the Released Parties also would be released from any Claims and Causes of Action held by the
Estates under the Plan. The Debtors, through independent board members and counsel, are conducting two
separate diligence processes—one for Specialty Generics and one for all the other Debtors—to evaluate
whether granting those releases by implementing the Plan is consistent with the Debtors’ fiduciary
duties. The Specialty Generics process is being conducted by the independent directors of Specialty
Generics, Sherman Edmiston and Marc Beilinson, with their counsel Katten Muchin Rosenman LLP and
financial advisor PJT Partners, and the second process is being conducted by two independent directors of
Mallinckrodt plc, Anne Whitaker and Paul Carter, with the assistance of the Debtors’ counsel, Latham &
Watkins LLP and Richards Layton & Finger, P.A., and the Debtors’ restructuring advisors AlixPartners
LLP. Importantly, if any board of any Debtor determines that these releases, as currently constructed,
would not be consistent with such Debtor’s or such board’s fiduciary duties, the Restructuring Support
Agreement can be terminated by the Debtors’ board. Please see section IV.P of this Disclosure Statement
titled “The Debtors’ Diligence Related to the Plan Releases” for more information regarding these diligence
processes.

Additionally, from and after the Effective Date, Security Holders who have not validly opted out of the
third party release under the Plan will be barred from proceeding with Claims against any Released Party,
regardless of the extent of available insurance coverage. From and after the Effective Date, Security
Holders will be barred from proceeding with claims against the Debtors, regardless of the extent of available
insurance coverage.




                                                      39
             Case 20-12522-JTD           Doc 2917         Filed 06/18/21     Page 51 of 835



All Holders of Claims and Interests are advised to read the Article IX of the Plan which sets forth in greater
detail the information disclosed in this section I.G of this Disclosure Statement.

        H.      Consummation of the Plan

It will be a condition to confirmation of the Plan that all provisions, terms and conditions of the Plan are
approved in the Confirmation Order unless otherwise satisfied or waived pursuant to the provisions of
Article VIII of the Plan. Following confirmation, the Plan will be consummated on the Effective Date.

        I.      Risk Factors

Prior to deciding whether and how to vote on the Plan, each Holder of a Claim in a Voting Class should
consider carefully all of the information in this Disclosure Statement, including the Risk Factors described
in Section IX herein titled, “Risk Factors to Consider Before Voting.”




                                                     40
               Case 20-12522-JTD                     Doc 2917              Filed 06/18/21             Page 52 of 835




                                                 II.
                                  BACKGROUND TO THE CHAPTER 11 CASES

          A.          The Debtors’ Corporate Structure

Prior to our filing for Chapter 11, our ordinary shares were traded on the NYSE under the ticker symbol
“MNK.” On October 13, 2020, the NYSE filed a Form 25 with the SEC to delist the ordinary shares,
$0.20 par value, of the registrant from the NYSE. The delisting became effective October 26, 2020. The
deregistration of the ordinary shares under Section 12(b) of the Exchange Act became effective on
January 11, 2021, at which point the ordinary shares were deemed registered under Section 12(g) of the
Exchange Act. The registrant’s ordinary shares began trading on the OTC Pink Marketplace on October
13, 2020 under the symbol “MNKKQ.”

The subsidiaries of Mallinckrodt plc are divided into two business segments: (a) Specialty Brands and
(b) Specialty Generics. The two businesses are fundamentally distinct and are operated accordingly. The
segments share limited corporate services and insurance coverage, are combined for U.S. tax reporting
purposes (in returns filed by Debtor MEH, Inc.), and use some of the same physical facilities, all on
documented, market-based terms. But beyond these aspects, any other business overlap (such as
common vendor relationships) is de minimis. Each of Specialty Brands and Specialty Generics has its
own management team directing core decision-making and driving their respective successes, as well as
separate boards of directors or managers (as applicable), including different independent board members
for Mallinckrodt plc and for the Specialty Generics Debtors.

A detailed organizational chart, including all the Debtors and Non-Debtor Affiliates, is attached hereto
as Exhibit C. The following is a simplified version to depict the legal and operating structure as relevant
to the Debtors, with blue boxes depicting Debtor entities and white boxes depicting Non-Debtor
Affiliates:16




16
     This simplified version is illustrative and does not purport to depict every legal entity or corporate relationship between entities, and is
     subject to further updates by the Debtors as changes are made to the Debtors’ corporate structure. The chart in Exhibit C to this Disclosure
     Statement is a complete and accurate version.


                                                                      41
             Case 20-12522-JTD            Doc 2917             Filed 06/18/21         Page 53 of 835




                                                    Mallinckrodt plc
                                                       (Ireland)



                                                    Mallinckrodt
                                             International Finance S.A.
                                                   (Luxembourg)




              Mallinckrodt
             Pharmaceuticals
             Ireland Limited                          MEH, Inc.                             Non-US Funded
                 (Ireland)                            (Nevada)                              Debt Guarantors




                                                                                               Non-US
                                                                                            Non-Guarantors




                                                                                               Non-US
                                                                                            Non-Guarantors
                                   US Specialty                    Mallinckrodt
                                 Brands Entities                    Enterprises
                                 (Including Del.)                  Holdings, Inc.
                                                                    (California)



                                    Non-US                          US Specialty
                                Specialty Brands                  Generics Entities
                                    Entities                      (Including Del.)




        B.        The Debtors’ Business Operations

                  1.       Business Segments

As described above, Mallinckrodt is split into two separate business segments – Specialty Brands and
Specialty Generics – operated by different sets of legal entities. For the fiscal year ended December 25,
2020, Specialty Brands accounted for $2,059.6 million in net sales, while Specialty Generics accounted
for $689.8 million.

                           a.     Specialty Brands
Specialty Brands is owned and operated by the Debtors and certain foreign Non-Debtor Affiliates and
focuses on autoimmune and rare diseases in specialty areas like neurology, rheumatology, nephrology,
pulmonology and ophthalmology, as well as immunotherapy and neonatal respiratory critical care
therapies and non-opioid analgesics.

Specialty Brands currently produces, markets, and sells the following branded products, among others:




                                                          42
           Case 20-12522-JTD            Doc 2917        Filed 06/18/21   Page 54 of 835




       Acthar, an injectable drug approved by the FDA for use in 19 indications, including, among
        others, monotherapy for the treatment of infantile spasms in infants and children under 2 years
        of age. The currently approved indications of Acthar are not subject to patent or other
        exclusivity;

       INOmax, an inhaled gas delivered by a proprietary delivery device, which is a pulmonary
        vasodilator marketed as part of the INOmax Total Care Package, which includes the drug
        product, drug-delivery device, technical and clinical assistance, 24/7/365 customer service,
        emergency supply and delivery and on-site training;

       Ofirmev, a proprietary intravenous formulation of acetaminophen, a non-opioid analgesic used
        for post-operative pain management;

       Therakos, a global leader in autologous immunotherapy delivered through extracorporeal
        photopheresis (“ECP”), provided by a proprietary medical device and related consumables,
        providing the only integrated ECP system in the world; and

       Amitiza, a global leader in the branded constipation market.

Specialty Brands’ revenues from its branded products are as follows:

                                    Specialty Brands Net Sales FY 20
                                    Product          Net Sales (in millions)
                             Acthar Gel                              $767.9
                             INOmax                                    574.1
                             Ofirmev                                   276.5
                             Therakos                                  238.6
                             Amitiza                                   188.8
                             Other                                      13.7
                             Total                                 $2,059.6

                        b.        Specialty Generics
Specialty Generics offers a portfolio of over twenty specialty generic product families, most of which
are controlled substances regulated by the DEA. Altogether, Specialty Generics operates one of the
largest controlled substance pharmaceutical businesses in the U.S., offering generic products for pain
management, substance abuse disorders, and attention deficit hyperactivity disorder (ADHD), as well as
active pharmaceutical ingredients (“APIs”) used by other pharmaceutical manufacturers to produce
finished dosage pharmaceutical products. Notably, it is the only producer of the API for acetaminophen
in the North American and European regions.

Specialty Generics’ revenues are well-diversified, with roughly half of its revenue coming from APIs,
and the other half from finished dosage pharmaceutical products:

                                Specialty Generics Net Sales FY 20
                                  Product                  Net Sales (in millions)
                 Acetaminophen API                                         $213.0
                 Hydrocodone (API) and hydrocodone-                          $98.0
                 containing tablets (finished dosage)
                 Oxycodone (API) and oxycodone-                              $68.4
                 containing tablets (finished dosage)


                                                   43
              Case 20-12522-JTD                     Doc 2917             Filed 06/18/21               Page 55 of 835




                       Other Controlled Substances17                                                     $289.9
                       Other                                                                              $20.5
                       Total                                                                             $689.8

                     2.         Research and Development

The Debtors devote significant resources to research and development (“R&D”).

                                a.         Specialty Brands

Specialty Brands’ R&D investments center on building a diverse, durable portfolio of innovative
therapies that provide value to patients, physicians and payers. This strategy focuses on growth,
including pipeline opportunities related to early- and late-stage development products to meet the needs
of underserved patient populations, where the Specialty Brands Debtors execute on the development
process and perform clinical trials to pursue regulatory approval of new products.

Within Specialty Brands’ pipeline are innovative products that, if approved, will give more patients
suffering from difficult-to-treat and often overlooked conditions better treatment options. This includes
StrataGraft®, an investigative regenerative skin tissue therapy developed as a biologic and in partnership
with BARDA through Project BioShield, that is used for the treatment of severe burns and may reduce
the need for autografting in certain patients. StrataGraft is among the first products to be designated as
a Regenerative Medicine Advanced Therapy by the FDA under the provisions of the 21st Century Cures
Act, and in August the FDA accepted our Biologics License Application (“BLA”) for review.

The Debtors also hold an equity investment in Silence Therapeutics as part of a collaboration to develop
and commercialize novel RNA interference (RNAi) therapeutics for the treatment of serious diseases,
including autoimmune diseases.

Specialty Brands’ significant investment in R&D is paving the way for the future of the business, with
multiple products in various stages of development, which the Debtors believe will provide long-term
organic growth and diversification.

                                b.         Specialty Generics

Specialty Generics’ R&D objective is to use their proven development, formulation, and material
characterization capabilities to develop hard-to-manufacture complex generic pharmaceuticals with
difficult-to-replicate characteristics, such as their release, absorption, or metabolism profiles (among
other things). In particular, the Specialty Generics Debtors are developing a number of non-opioid and
non-controlled substance complex generic pharmaceutical products, some of which will take advantage
of their API and drug product manufacturing capabilities and expertise.




17
     The net sales of the opioid medication, Methadose, is included in Other Controlled Substances.


                                                                    44
             Case 20-12522-JTD            Doc 2917        Filed 06/18/21     Page 56 of 835




        C.         The Debtors’ Prepetition Capital Structure

As of the Petition Date, the Debtors had funded debt outstanding of approximately $5.283 billion. The
following table summarizes the Debtors’ that prepetition indebtedness and capital structure:

    Governing                                                                     Outstanding Principal as
                             Facility/Issuance             Borrower/Issuer
    Document                                                                        of the Petition Date
                        Revolving Credit Facility    Mallinckrodt CB LLC
                                                                                  $900,000,000.00
                        maturing February 2022
                        Term Loan due                Mallinckrodt International
Credit Agreement                                     Finance S.A.                 $1,505,211,683.76
                        September 2024
                        Term Loan due
                                                                                  $399,488,946.81
                        February 2025

                                                     Mallinckrodt CB LLC
                        10.000%% First Lien Senior
First Lien Notes
                        Secured Notes due                                         $495,032,000.00
Indenture                                            Mallinckrodt International
                        April 2025
                                                     Finance S.A.

                                                     Mallinckrodt CB LLC
                        10.000% Second Lien Senior
Second Lien Notes
                        Secured Notes due                                         $322,868,000.00
Indenture                                            Mallinckrodt International
                        April 2025
                                                     Finance S.A.

2013 Notes              4.750% Senior Notes due      Mallinckrodt International
                                                                                  $133,657,000.00
Indenture               April 2023                   Finance S.A.

                                                     Mallinckrodt CB LLC
2014 Notes              5.75% Senior Notes due
                                                                                  $610,304,000.00
Indenture               August 2022                  Mallinckrodt International
                                                     Finance S.A.

                                                     Mallinckrodt CB LLC
April 2015 Notes        5.500% Senior Notes due
                                                                                  $387,207,000.00
Indenture               April 2025                   Mallinckrodt International
                                                     Finance S.A.

                                                     Mallinckrodt CB LLC
September 2015          5.625% Senior Notes due
                                                                                  $514,673,000.00
Notes Indenture         October 2023                 Mallinckrodt International
                                                     Finance S.A.

                        9.50% Debentures due         Ludlow LLC
                                                                                  $10,388,000.00
Legacy Debentures       May 2022
Indenture               8.00% Debentures due         Ludlow LLC
                                                                                  $4,450,000.00
                        March 2023

                   1.      Revolving Credit Facility and Term Loans

Debtor Mallinckrodt plc, as parent, Debtors Mallinckrodt International Finance S.A. and Mallinckrodt
CB LLC, as borrowers, Deutsche Bank AG New York Branch, as administrative agent (the “Agent”),
and the lenders party thereto (the “Secured Lenders” and, together with the Agent, the “First Lien
Secured Parties”), are parties to that certain Credit Agreement, dated as of March 19, 2014, as amended
by Incremental Assumption Agreement No. 1, dated August 14, 2014, Refinancing Amendment No. 1

                                                     45
           Case 20-12522-JTD            Doc 2917          Filed 06/18/21     Page 57 of 835




and Incremental Assumption Agreement No. 2, dated August 28, 2015, Refinancing Amendment No. 2
and Incremental Assumption Agreement No. 3, dated February 28, 2017, and Incremental Assumption
Agreement no. 4, dated February 13, 2018, and Amendment, dated as of February 21, 2018 (as further
modified, amended, or supplemented from time to time, the “Credit Agreement”). The Credit Agreement
provides three separate credit facilities: (a) a revolving credit facility maturing in 2022, (b) a term loan
due 2024, and (c) a term loan due 2025. As of the Petition Date, the aggregate outstanding principal of
(a) the revolving credit facility was $900,000,000.00, (b) the term loan due 2024 was $1,505,211,683.76,
and (c) the term loan due 2025 was $399,488,946.81.

In connection with the Credit Agreement, each of the Debtors (other than Mallinckrodt Group S.à r.l.
and Mallinckrodt Canada ULC) and the non-Debtor guarantors party thereto provided an unconditional
guaranty of all obligations under the Credit Agreement, and entered into security documents providing
for first-priority liens on substantially all assets, including all accounts, chattel paper, cash and deposit
accounts, documents, equipment, fixtures, general intangibles (including, without limitation, all
intellectual property), instruments, inventory, investment property, letters of credit and letter of credit
rights, commercial tort claims, books and records, customer lists, credit files, programs, printouts and
other computer materials and records pertaining to foregoing, as well as all proceeds, supporting
obligations and products of any and all of the foregoing.

                 2.      First Lien Notes

In connection with a private exchange for Mallinckrodt’s then-outstanding unsecured notes due April
2020 consummated in April 2020 (the “2020 Private Exchange”), Debtors Mallinckrodt International
Finance S.A. and Mallinckrodt CB LLC issued $495,032,000.00 in aggregate principal amount of
10.000% First Lien Senior Secured Notes due 2025 pursuant to that certain Indenture, dated as of April
7, 2020 (as modified, amended, or supplemented from time to time, the “First Lien Notes Indenture”),
by and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the
guarantors party thereto from time to time, Wilmington Savings Fund Society, FSB, as trustee (the “First
Lien Trustee”), and Deutsche Bank AG New York Branch, as collateral agent. The 2020 Private
Exchange resulted in the exchange of approximately $495 million of the 4.875% Senior Notes due 2020
for approximately $495 million of new 10.00% First Lien Senior Secured Notes due 2025.

In connection with the First Lien Notes Indenture, each of the Debtors (other than Mallinckrodt Holdings
GmbH, Mallinckrodt Group S.à r.l., and Mallinckrodt Canada ULC) and the non-Debtor guarantors party
thereto provided an unconditional guaranty of all obligations under the First Lien Notes Indenture and
entered into security documents providing for first-priority liens on substantially the same collateral as
secures the obligations under the Credit Agreement. As of the Petition Date, the aggregate outstanding
principal of the 10.000% First Lien Senior Secured Notes due 2025 was $495,032,000.00.

                 3.      Second Lien Notes

In connection with an exchange offer for Mallinckrodt’s outstanding unsecured notes consummated in
December 2019 (the “2019 Exchange Offer”), Debtors Mallinckrodt International Finance S.A. and
Mallinckrodt CB LLC issued $322,868,000.00 in aggregate principal amount of 10.000% Second Lien
Senior Secured Notes due 2025 pursuant to that certain Indenture, dated as of December 6, 2019 (as
modified, amended, or supplemented from time to time, the “Second Lien Notes Indenture”), by and
among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the guarantors
party thereto from time to time, and Wilmington Savings Fund Society, FSB, as trustee (the “Second
Lien Trustee”) and collateral agent. The 2019 Exchange Offer resulted in the exchange of $83.2 million
of the 4.875% Senior Notes due 2020, $52.9 million of the 5.75% Senior Notes due 2022, $216.4 million
of the 4.750% Senior Notes due 2023, $144.7 million of the 5.625% Senior Notes due 2023, and $208.9


                                                     46
           Case 20-12522-JTD            Doc 2917         Filed 06/18/21     Page 58 of 835




million of the 5.500% Senior Notes due 2025 for $322.9 million of 10.000% Second Lien Senior Secured
Notes due 2025.

In connection with the Second Lien Notes Indenture, each of the Debtors (other than Mallinckrodt
Holdings GmbH, Mallinckrodt Group S.à r.l. and Mallinckrodt Canada ULC) and the non-Debtor
guarantors party thereto provided an unconditional guaranty of all obligations under the Second Lien
Notes Indenture and entered into security documents providing for second-priority liens on substantially
the same collateral as secures the obligations under the Credit Agreement. As of the Petition Date, the
aggregate outstanding principal of the 10.000% Second Lien Senior Secured Notes due 2025 was
$322,868,000.00.

                 4.      2013 Notes Indenture

In April 2013, Debtor Mallinckrodt International Finance S.A. issued (a) $300,000,000.00 in aggregate
principal amount of 3.500% Senior Notes due 2018, which, for the avoidance of doubt, have been fully
redeemed, and (b) $600,000,000.00 in aggregate principal amount of 4.750% Senior Notes due 2023
pursuant to that certain Indenture, dated as of April 11, 2013, as amended by that certain Supplemental
Indenture, dated as of June 28, 2013 (as further modified, amended, or supplemented from time to time,
the “2013 Notes Indenture”) by and among Mallinckrodt International Finance S.A., as issuer, Debtor
Mallinckrodt plc (in replacement of Covidien International Finance S.A.), as guarantor, and Deutsche
Bank Trust Company Americas, as trustee. No other Debtors are guarantors of the 4.750% Senior Notes
due 2023. As of the Petition Date, the aggregate outstanding principal of the 4.750% Senior Notes due
2023 was $133,657,000.00.

                 5.      2014 Notes Indenture

In August 2014, Debtors Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC issued
$900,000,000.00 in aggregate principal amount of 5.75% Senior Notes due 2022 pursuant to that certain
Indenture, dated as of August 13, 2014 (as modified, amended, or supplemented from time to time, the
“2014 Notes Indenture”), by and among Mallinckrodt International Finance S.A. and Mallinckrodt CB
LLC, as issuers, the guarantors party thereto from time to time, and Deutsche Bank Trust Company
Americas, as trustee. Each of the Debtors (other than Mallinckrodt Group S.à r.l. and Mallinckrodt
Canada ULC) and the non-Debtor guarantors party thereto provided, jointly and severally, on an
unsecured, unsubordinated basis, a guaranty of all obligations under the 2014 Notes Indenture. As of the
Petition Date, the aggregate outstanding principal of the 5.75% Senior Notes due 2022 was
$610,304,000.00.

                 6.      April 2015 Notes Indenture

In April 2015, Debtors Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC issued (a)
$700,000,000.00 in aggregate principal amount of 4.875% Senior Notes due 2020 and (b)
$700,000,000.00 in aggregate principal amount of 5.500% Senior Notes due 2025 pursuant to that certain
Indenture, dated as of April 15, 2015 (as modified, amended, or supplemented from time to time, the
“April 2015 Notes Indenture”), by and among Mallinckrodt International Finance S.A. and Mallinckrodt
CB LLC, as issuers, the guarantors party thereto from time to time, and Deutsche Bank Trust Company
Americas, as trustee. Each of the Debtors (other than Mallinckrodt Group S.à r.l. and Mallinckrodt
Canada ULC) and the non-Debtor guarantors party thereto provided, jointly and severally, on an
unsecured, unsubordinated basis, a guaranty of all obligations under the April 2015 Notes Indenture. As
part of the 2019 Exchange Offer and the 2020 Private Exchange, the 4.875% Senior Notes due 2020 were
exchanged for Second Lien Notes, First Lien Notes, or paid in full, and as a result there are no outstanding
4.875% Senior Notes due 2020. As of the Petition Date, the aggregate outstanding principal of the
5.500% Senior Notes due 2025 was $387,207,000.00.

                                                    47
             Case 20-12522-JTD           Doc 2917         Filed 06/18/21      Page 59 of 835




                 7.      September 2015 Notes Indenture

In September 2015, Debtors Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC issued
$750,000,000 in aggregate principal amount of 5.625% Senior Notes due 2023 pursuant to that certain
Indenture, dated as of September 24, 2015 (as modified, amended, or supplemented from time to time,
the “September 2015 Notes Indenture”), by and among Mallinckrodt International Finance S.A. and
Mallinckrodt CB LLC, as issuers, the guarantors party thereto from time to time, and Deutsche Bank
Trust Company Americas, as trustee. Each of the Debtors (other than Mallinckrodt Group S.à r.l. and
Mallinckrodt Canada ULC) and the non-Debtor guarantors party thereto provided, jointly and severally,
on an unsecured, unsubordinated basis, a guaranty of all obligations under the September 2015 Notes
Indenture. As of the Petition Date, the aggregate outstanding principal of the 5.625% Senior Notes due
2023 was $514,673,000.00.

                 8.      Legacy Debentures

In April 1992, Tyco Laboratories, a predecessor to Debtor Ludlow LLC issued $200,000,000.00 in
aggregate principal amount of 9.50% Debentures due 2022 pursuant to that certain Indenture, dated as
of April 30, 1992 (as modified, amended, or supplemented from time to time, the “Legacy Debentures
Indenture”), with Security Pacific National Trust Company (New York), as trustee, and that certain First
Supplemental Indenture, also dated April 30, 1992, with Security Pacific National Trust Company (New
York). As of the Petition Date, the aggregate outstanding principal of the 9.50% Debentures due May
2022 was $10,388,000.00.

In March 1993, the same predecessor to Debtor Ludlow LLC issued $50,000,000.00 in aggregate
principal amount of 8.00% Debentures due 2023 pursuant to the Legacy Debentures Indenture and a
Second Supplemental Indenture, dated as of March 8, 1993, with BankAmerica National Trust Company
(successor by merger to Security Pacific National Trust Company (New York)), as trustee. As of the
Petition Date, the aggregate outstanding principal of the 8.00% Debentures due March 2023 was
$4,450,000.00.

                                 III.
      KEY EVENTS LEADING TO COMMENCEMENT OF THE CHAPTER 11 CASES

        A.       The Opioid Litigations

Over the three years prior to the Petition Date, certain of the Debtors and their ultimate parent Debtor
Mallinckrodt plc have been involved in 3,034 cases in 50 states and Puerto Rico filed against the
Debtors—with 2,785 cases in federal court and 249 cases in state court as of October 7, 2020—
concerning the production and sales of its opioid products. The federal cases have been, and continue to
be, largely consolidated into a multi-district litigation in Cleveland, Ohio—In re National Prescription
Opiate Litigation, MDL No. 2804 (the “MDL”). But the cases in state court proliferated and progressed
with alarming speed, as depicted in the graphic below. Prior to the Petition Date, state court judges had
set various schedules for litigating different causes of action involving different discovery and different
plaintiffs. As a result, prior to the Petition Date, Mallinckrodt was fighting lawsuits in 136 different state
courts, with 8 trial dates scheduled or expected to begin within the year after the Petition Date in state or
federal forums. Until the Petition Date, new litigation against the Debtors continued to be filed weekly.




                                                     48
             Case 20-12522-JTD          Doc 2917         Filed 06/18/21     Page 60 of 835




Plaintiffs bringing the lawsuits include U.S. states, counties, cities, towns and other governmental
persons or entities, Native American tribes, third-party payers, hospitals, health systems, unions, health
and welfare funds, individuals, and others. The lawsuits assert a variety of claims, including, but not
limited to, public nuisance, negligence, civil conspiracy, fraud, violations of the Racketeer Influenced
and Corrupt Organizations Act or similar state laws, violations of state Controlled Substances Acts or
state False Claims Acts, product liability, consumer fraud, unfair or deceptive trade practices, false
advertising, insurance fraud, unjust enrichment and other common law and statutory claims arising from
the manufacturing, distribution, marketing and promotion of opioids. Generally, the plaintiffs seek
restitution, damages, including punitive damages and penalties, abatement, injunctive and other relief,
and attorneys’ fees and costs.

        B.       The Opioid Settlement Negotiations and Summary of Terms

For more than two years, Mallinckrodt engaged in settlement discussions with numerous States Attorneys
General, as well as the court-appointed plaintiffs’ executive committee in the national opioid MDL
(“Plaintiffs’ Executive Committee”). In August 2019, Mallinckrodt engaged directly with the plaintiffs
in two “Track One” bellwether trials that were scheduled in the multidistrict litigation in October 2019.
After several weeks of discussions, Mallinckrodt and those two plaintiffs—two counties in northern
Ohio—agreed to settle the suits for cash payment in the amount of $24 million and contribution of generic
products, including addiction treatment products, worth $6 million.

Mallinckrodt then engaged in months of intensive discussions with a committee of counsel from the
Plaintiffs’ Executive Committee, as well as certain State Attorneys General. Discussions were fruitful
from the start, and Debtor Mallinckrodt plc and certain of the Specialty Generics Debtors agreed to pay
for professionals (subject to reasonable terms) to advise the plaintiffs’ negotiating committee in
settlement negotiations with Mallinckrodt.

In February 2020, the Specialty Generics Debtors, Debtor Mallinckrodt plc, and the plaintiff committee
announced they had finally reached the core economic terms of a settlement (the “Opioid Settlement”).
In addition to establishing global economic terms for payment of all outstanding opioid-related liabilities,
the Opioid Settlement accomplishes a second critical objective: it establishes certain agreed go-forward

                                                    49
              Case 20-12522-JTD                     Doc 2917             Filed 06/18/21            Page 61 of 835




operational parameters for the Debtors’ opioid business, largely codifying previously established
practices and procedures, compliance with which will dramatically reduce the risk to that business going
forward.

After agreeing to the Opioid Settlement in early 2020, the Debtors began to prepare a chapter 11 strategy
through which the Opioid Settlement would become binding on all opioid claimants. As part of this
effort and to facilitate the implementation of the Opioid Settlement through a chapter 11 plan structure,
the Debtors entered into an engagement letter with Roger Frankel of Frankel Wyron LLP on February
24, 2020 to serve as a proposed future claims representative (the “FCR”) to represent the interests of
individuals who may in the future assert opioid-related claims against the Debtors.18 The FCR retained
multiple advisors, including counsel, an investment banker, a claims estimator, special litigation counsel,
and a medical advisor (collectively, the “FCR Advisors”). Together with the FCR Advisors, the FCR
initiated an extensive diligence process into the Debtors’ businesses and the pending opioid litigations,
subject to confidentiality agreements.

However, events that occurred in the Spring of 2020 – including adverse events in certain Specialty
Brands-related litigations (described in section C below), the financial impact of the emergent COVID-
19 pandemic, and the termination of negotiations around a potential recapitalization transaction – made
clear that the Debtors needed to address their capital structure more broadly, including potentially seeking
protection under chapter 11 of the Bankruptcy Code. Ultimately, the Debtors determined that the most
value-maximizing path forward was a chapter 11 filing of both of the Debtors’ business divisions,
Specialty Brands and Specialty Generics.

Following their determination to file both the Specialty Brands and Specialty Generics business
divisions, the Debtors engaged in hard fought, multi-party negotiations within the context of a
comprehensive restructuring of the Debtors with the plaintiff negotiating committee comprised of the
Plaintiffs’ Executive Committee and certain State Attorneys General, as well as the Guaranteed
Unsecured Notes Ad Hoc Group, who collectively hold over 84% of the Debtors’ fulcrum funded debt
securities. These negotiations culminated in the proposed restructuring embodied in the Restructuring
Support Agreement and included a revised Opioid Settlement that largely adhered to the terms of the
February 2020 agreement in principle.

The principal terms of the revised Opioid Settlement contained in the Restructuring Support Agreement
are as follows:

         The Plan will provide for the establishment of the Opioid MDT II, which will receive the
          following “Opioid MDT II Consideration”:

                o    cash in the amount of $450,000,000;

                o    the New Opioid Warrants;

                o    the right to receive cash payments (the “Deferred Cash Payments”) in the following
                     amounts and on the following dates: (a) $200,000,000 on each of the first and second
                     anniversaries of the Plan Effective Date; and (b) $150,000,000 on each of the third
                     through seventh anniversaries of the Plan Effective Date; provided, that at any time prior
                     to the first anniversary of the Plan Effective Date, the Reorganized Debtors shall have
                     the right to prepay, in full or in part, the Deferred Cash Payments, at a price equal to the


18
     As described in more detail in this Disclosure Statement, on March 16, 2021, the Bankruptcy Court appointed Roger Frankel as the FCR
     for the purposes of permitting him to participate in an ongoing mediation over the allocation of the Opioid MDT II assets. The Debtors’
     motion for the appointment of the FCR on a permanent basis remains pending.


                                                                    50
           Case 20-12522-JTD           Doc 2917          Filed 06/18/21     Page 62 of 835




                present value of the amounts to be prepaid, at the date of prepayment, discounted at the
                discount rate that would be required for (x)(i) the present value of the Deferred Cash
                Payments at the prepayment date plus (ii) $450,000,000 to equal (y)(i) the present value
                of the payments under the Original Payments Schedule at the prepayment date
                (excluding the initial $300,000,000 payment provided for in the Original Payments
                Schedule), discounted at a discount rate of 12% per annum, plus (ii) $300,000,000 (such
                option, the “Prepayment Option”); provided, further, that to the extent the Reorganized
                Debtors seek to prepay only a portion of the Deferred Cash Payments in accordance with
                the Prepayment Option, such prepayment shall (x) be funded solely from the net
                proceeds of an equity raise by the Reorganized Debtors; and (y) prepay Deferred Cash
                Payments in accordance with the above in inverse order beginning with the payment due
                on the seventh anniversary of the Plan Effective Date;

            o   the Assigned Third-Party Claims; and

            o   the Assigned Insurance Rights, which includes Additional Insurance Rights, remains
                subject to discussion among the Supporting Parties and the Debtors in accordance with
                the Restructuring Support Agreement.

       All Opioid Claims will be assumed by the Opioid MDT II, the respective Opioid Creditor Trusts,
        and the Ratepayer Account (as applicable), and be discharged, released, and enjoined as to the
        Debtors and the other Released Parties.

       As of the Plan Effective Date, Mallinckrodt’s liability for all Opioid Claims shall automatically,
        and without further act, deed, or court order, be channeled exclusively to and assumed by the
        Opioid MDT II, the respective Opioid Creditor Trusts, and the Ratepayer Account (as
        applicable).

       Each Opioid Claim shall be resolved in accordance with the terms, provisions, and procedures
        of the Opioid MDT II Documents and the Opioid Creditor Trust Documents (as applicable).

       The sole recourse of any Opioid Claimant on account of such Opioid Claim shall be to the Opioid
        MDT II, the Opioid Creditor Trusts or the Ratepayer Account (as applicable), and solely in
        accordance with the Opioid MDT II Documents, and the Opioid Creditor Trust Documents (as
        applicable) and each such Opioid Claimant shall have no right whatsoever at any time to assert
        its Opioid Claim against any Protected Party.

       The Plan and the Confirmation Order will contain (a) a release by holders of Opioid Claims and
        (b) an injunction channeling all Opioid Claims against the Protected Parties to the Opioid MDT
        II, the Opioid Creditor Trusts, and the Ratepayer Account (as applicable).

       The Debtors shall seek entry of an injunctive order to be effective on the Petition Date, defining
        the manner in which the Debtors’ opioid business may be lawfully operated by the Debtors or
        any successors thereto on a going-forward basis during the pendency of the Chapter 11 Cases.
        The Confirmation Order will extend the Opioid Operating Injunction to govern the Reorganized
        Debtors’ operations after the Plan Effective Date.

The recoveries to Holders of Opioid Claims and other terms set forth in the Opioid Settlement term sheet
are the result of months of hard-fought negotiations. The Debtors believe these terms are well within the
range of reasonableness applicable to settlements under Bankruptcy Rule 9019. Furthermore, the terms
are justified by the potential amount and nature of the Opioid Claims, their corresponding entitlements,
potential Avoidance Actions relating to the Specialty Generics Debtors, and the terms of the Plan itself,

                                                    51
               Case 20-12522-JTD                   Doc 2917             Filed 06/18/21            Page 63 of 835




which release and channel Opioid Claims away from all of the Debtors and Non-Debtor Affiliates,
including Specialty Brands Debtors and non-Debtors.

Settlement payments relating to the Opioid Settlement and the Plan’s treatment of Opioid Claims will
generally be funded from balance sheet cash and cash from operations, subject to the Debtors’ right to
exercise the Prepayment Option with proceeds of an equity raise and to the Debtors’ right generally to
prepay any amounts with the proceeds of a capital raise.

          C.         Litigation

                     1.         Acthar Related Litigations

As of the Petition Date, the Specialty Brands Debtors faced more than 25 litigations and government
investigations, which exposed the Debtors to over $15 billion in aggregate alleged potential damages.
The majority of these litigations are related to Acthar® Gel (“Acthar”), and of that group, among the
most publicized cases are the declaratory judgement action in the United States District Court for the
District of Columbia (now on appeal to the United States Court of Appeals for the District of Columbia
Circuit) and the False Claims Act action in the United States District Court for the District of
Massachusetts based on the same fact pattern but asserting treble damages, which could be crippling to
the Debtors. These two actions related to the calculation of rebates that the Debtors pay to state Medicaid
programs. Since 2016, Debtor Mallinckrodt ARD LLC (“ARD”) and the Centers for Medicare &
Medicaid Services of the United States Department of Health and Human Services (“CMS”) have been
in a dispute regarding the appropriate base date Average Manufacturer Price (a “Base Date AMP”) for
Acthar, which is used in the calculation of rebates.

In 2016, CMS notified ARD that it believed Acthar was not eligible for the Base Date AMP in use since
2013, which CMS had, in two separate written communications (including communications to
predecessors to ARD), previously authorized in connection with Acthar’s use in treating infantile spasms.
In May 2019, CMS notified ARD that unless it updated the Base Date AMP for Acthar within 14 days,
it would be declared “out of compliance” with the Drug Data Reporting for Medicaid system, forcing
ARD to file a complaint in the United States District Court for the District of Columbia seeking injunctive
relief and a determination that CMS’s changed position was unlawful (the “CMS Action”). That suit led
ultimately to a summary judgment against ARD in March 2020, which ARD timely appealed.

Further, in March 2020, the Department of Justice (the “DOJ”) intervened in a qui tam lawsuit under the
False Claims Act filed in 2018 against ARD in the United States District Court for the District of
Massachusetts (the “FCA Action”),19 accusing Mallinckrodt of knowingly using an incorrect Base Date
AMP for Acthar. Mallinckrodt disputes the DOJ’s allegations and believes it has strong defenses, but
because of the False Claims Act’s provision for treble punitive damages, the Debtors are exposed to a
potential judgment that could result in more than $1.9 billion in liabilities.

                     2.         Other Litigations

In addition to the CMS Action and the FCA Action, the Debtors are involved in an additional False
Claims Act litigation, multiple putative class actions, private actions, and securities litigations, including:




19
     The FCA Action is United States of America et al. ex rel. Landolt v. Mallinckrodt Pharmaceuticals Inc., No. 18-11931-PBS (D. Mass.).


                                                                   52
               Case 20-12522-JTD                      Doc 2917             Filed 06/18/21              Page 64 of 835




         ARD is a defendant in another qui tam False Claims Act litigation in the Eastern District of
          Pennsylvania, in which the DOJ has intervened, relating to Acthar payments made through
          charitable foundations;20

         ARD is a defendant in multiple private actions and putative class actions brought on behalf of
          public and private payers related to the pricing of Acthar. The plaintiffs in these cases allege,
          among other things, that Debtors Mallinckrodt plc and ARD engaged in (a) anti-competitive acts,
          (b) violations of consumer protection laws and unfair trade practices, and (c) unjust enrichment
          (the “Prepetition Acthar Actions”).21 All Prepetition Acthar Actions are stayed indefinitely
          against the Debtors pursuant to Bankruptcy Code Section 362, and all Prepetition Acthar Actions
          are stayed as against co-defendants Express Scripts, Inc. and its affiliates for at least 270 days
          from November 25, 2021, pursuant to this Court’s order under Bankruptcy Code Section 105.

         Mallinckrodt plc is a defendant in multiple securities class actions and derivative litigations
          alleging, among other things, false and misleading statements related to Acthar;22 and

         Mallinckrodt Inc. has been named as a defendant in several private putative class actions filed
          against dozens of pharmaceutical companies alleging antitrust violations with respect to generic
          pharmaceutical pricing that have been consolidated in a multi-district litigation in the Eastern
          District of Pennsylvania.23 In addition, Mallinckrodt Inc., Mallinckrodt LLC, and Mallinckrodt
          plc have been named as defendants in a government lawsuit brought nearly 50 states alleging
          antitrust violations related to generic pharmaceutical pricing as well in the District of Connecticut
          (collectively, the “Generics Price Fixing Actions”).

          D.          The Federal/State Acthar Settlement Agreement

Simultaneous with ongoing negotiations with opioid plaintiffs and multiple groups of lenders and
noteholders, the Debtors actively engaged with the DOJ to try to settle ARD’s Acthar-related liabilities
in connection with the CMS Action and beyond. Starting in late spring of 2020, these discussions
included providing the DOJ with considerable financial diligence and several rounds of offers and
counteroffers.

In September 2020, the Debtors reached an agreement in principle with the DOJ, contingent upon a
chapter 11 filing by Mallinckrodt plc, to resolve most Acthar-related claims and investigations of the
federal government against the Debtors (the “Acthar Settlement”), including certain of the matters
described above.24 The terms of the agreement in principle were set forth in the Restructuring Support
Agreement. As described in the Restructuring Support Agreement, the terms of the settlement will be
effectuated through the Debtors’ Plan. The deal, in short, calls for the Debtors to make cash payments

20
     This case is United States of America, et al., ex rel., Charles Strunck, et al. v. Mallinckrodt ARD LLC, Case No. 12-175-BMS (E.D. Penn.)
21
     The Prepetition Acthar Actions include, among others, City of Rockford v. Mallinckrodt ARD, Inc., et al.(N.D. Ill.); MSP Recovery Claims,
     Series II, LLC, et al. v. Mallinckrodt ARD, Inc., et al. (N.D. Ill.); Humana Inc. v. Mallinckrodt ARD LLC, et al. (C.D. Calif.); Acument
     Global Technologies, Inc., v. Mallinckrodt ARD Inc., et al. (Tenn. Cir. Ct.); Int'l Union of Operating Engineers Local 542 v. Mallinckrodt
     ARD Inc., et al. (Pa. Ct. Common Pleas); United Association of Plumbers & Pipefitters Local 322 of Southern New Jersey v. Mallinckrodt
     ARD, LLC, et al. (D. N.J.); Steamfitters Local Union No. 420 v. Mallinckrodt ARD, LLC, et al. (E.D. Pa.); and City of Marietta v.
     Mallinckrodt ARD LLC (N.D. Ga.).
22
     These cases are Shenk v. Mallinckrodt Plc, et al. (D.D.C); Strougo v. Mallinckrodt Plc, et al. (D.N.J.); Solomon v. Mallinckrodt Plc, et al.
     (D.D.C.); and Brandhorst v. Mark Trudeau, et al. (D.D.C.)
23
     These cases are consolidated in the MDL captioned as In re: Generic Pharmaceuticals Pricing Antitrust MDL, 16-MD-2724 (E.D. Pa.).
24
     Specifically, the Debtors and the United States (including CMS and DOJ) reached a settlement in principle with respect to two Acthar
     related qui tam litigations: United States of America, et al., ex rel., Charles Strunck, et al. v. Mallinckrodt ARD LLC (E.D. Pa.) and United
     States of America et al. ex rel. Landolt v. Mallinckrodt ARD, LLC (D. Mass.); and Mallinckrodt ARD LLC v. Verma et al. (D.D.C.),and all
     related matters.


                                                                      53
             Case 20-12522-JTD          Doc 2917          Filed 06/18/21     Page 65 of 835




in eight installments, beginning on the Plan’s Effective Date and on each of the first seven anniversaries
thereof, totaling $260,000,000, to the DOJ and various states. In return, the Debtors will be released by
the relevant governmental agencies for these Acthar-related claims.

The Debtors’ negotiations with CMS and the DOJ lasted several months, and the settlement reached was
the product of those hard-fought negotiations. The Debtors believe the settlement satisfies applicable
standards under Bankruptcy Rule 9019 and section 1129 of the Bankruptcy Code because the
governmental creditors that hold the settled claims are uniquely situated from any of the Debtors’ other
creditors, and also serve as the Company’s regulators. After the March 2020 summary judgment against
ARD in favor of CMS, the Debtors’ obligations for back-rebates owed to various state Medicaid agencies
were calculated to be approximately $650 million, and the DOJ thereafter intervened in a False Claims
Act suit that would have trebled those damages, resulting in as much as approximately $1.95 billion in
claims for the state and federal governments.

In addition to the DOJ, twenty-six states, Washington, D.C. and Puerto Rico filed a complaint-in-
intervention in the FCA Action asserting Medicaid back-rebate related claims arising from the sale of
Acthar. In these Chapter 11 Cases, each of the 50 states, Washington, D.C. and Puerto Rico (collectively,
the “Acthar Settling States”), filed Proofs of Claim in the aggregate amount of approximately $1.95
billion based on the alleged back-rebates. Like the DOJ’s back-rebate claims, the Acthar Settling States’
claims are the subject of an “agreement in principle” described in the Restructuring Support Agreement,
which sets forth the economic terms of the agreement, as set forth in Schedule 2 to the Restructuring
Support Agreement (i.e., the Plan Term Sheet). The Debtors and the Acthar Settling States (through the
Ad Hoc Committee of Government Entities Holding Medicaid Rebate Claims which the Acthar Settling
States formed for this purpose), are currently engaged in good faith negotiations to memorialize a
definitive agreement to which the parties may agree. For the avoidance of doubt, the Debtors’ agreement
with the DOJ regarding back-rebate claims is separate from the agreement the Debtors are negotiating
with the States, and any agreement between the DOJ and the Debtors does not bind the States. Nothing
in the Plan and the Disclosure Statement, as amended, should be deemed in any way to be inconsistent
with this paragraph and the Federal/State Acthar Settlement Agreements shall govern in the event of any
inconsistency. All rights of the Acthar Settling States to object to the Plan, either individually or through
the Ad Hoc Committee of Governmental Entities Holding Medicaid Rebate Claims, are fully reserved,
including, without limitation, on the meaning and applicability of the Restructuring Support Agreement.

The Debtors will demonstrate at Confirmation that the Plan and the Acthar Settlement do not result in
unfair discrimination against General Unsecured Creditors.

Settlement payments relating to the Acthar Settlement and the Settled Federal/State Acthar Claims will
generally be funded from balance sheet cash and cash from operations in the amounts and at the dates
set forth in the Plan.

        E.       The Restructuring Support Agreement

As it became clear that the Debtors would need to pursue a whole-company chapter 11, the Debtors
opened discussions with the Ad Hoc First Lien Term Lender Group, an ad hoc group of Holders of First
Lien Revolving Facility Claims, and an ad hoc group of Holders of Guaranteed Unsecured Notes Claims
in an effort to address near-term maturities and to set an appropriate and sustainable capital structure for
the Reorganized Debtors. The Debtors spent considerable time and effort responding to diligence
requests from all parties involved, as well as conducting extensive, multifaceted discussions. In the end,
while not all the Debtors’ creditor groups are party to the Restructuring Support Agreement, the Debtors
and the ad hoc group of Holders of Guaranteed Unsecured Notes Claims were able to reach an agreement
on the terms of a financial restructuring, which is memorialized in the Restructuring Support Agreement
and the terms of which are reflected in the Plan. The Opioid Settlement and the Acthar Settlement are

                                                     54
            Case 20-12522-JTD            Doc 2917         Filed 06/18/21      Page 66 of 835




also included as part of the Restructuring Support Agreement and the terms of which are reflected in the
Plan.

As of the Petition Date, the Restructuring Support Agreement was signed by the Debtors; unsecured
noteholders holding more than 84 percent of the Guaranteed Unsecured Notes Claims; 50 Attorneys
General of states, Washington, D.C., and U.S. territories with respect to their opioid claims; and the
members of the Plaintiffs’ Executive Committee, who will recommend that the more than 1,000 plaintiffs
they represent in the MDL support the Opioid Settlement and the Restructuring Support Agreement.
After the Petition Date, the MSGE Group, including more than 1,300 governmental opioid claimants,
and the Supporting Term Lenders (as detailed below) joined the Restructuring Support Agreement.

The agreements reflected in the Supporting Term Lenders Joinder Agreement are the product of
extensive negotiations among the Debtors and Supporting Parties regarding several complex disputes
related to the allowance of various components of the First Lien Term Loan Claims (including the rate
of postpetition interest and issues related to principal repayments due under the First Lien Credit
Agreement) and the treatment of such Claims under the Plan, particularly whether such Claims could be
reinstated under the Bankruptcy Code. These agreements comprise an integrated and non-severable
compromise and settlement of these several disputes, which compromise and settlement is reflected in
the Plan and certain orders of the Bankruptcy Court, is fair and reasonable, and falls well above the
lowest point in the range of reasonableness.

Specifically, as provided for in Article IV.S of the Plan and pursuant to the negotiated terms of the
Restructuring Support Agreement, on the Effective Date, the Reorganized Debtors agreed to pay the
Noteholder Consent Fee and the Term Loan Exit Payment. The Debtors’ paying the Term Loan Exit
Payment and Noteholder Consent Fee is justified as a sound business judgment of the Debtors, in light
of such payment being a condition to the support of the applicable Supporting Parties for the Plan and
the Restructuring Transactions and to Consummation of the Plan. Failure to make such payments would
jeopardize the Debtors’ ability to effectuate the Plan and emerge from these Chapter 11 Cases. Moreover,
the Term Loan Exit Payment is the product of an integrated settlement of multiple disputes with respect
to the First Lien Term Loan Claims and the entitlements of the First Lien Term Lenders, which were the
subject of litigation in the Chapter 11 Cases. Recognizing that payment of the Term Loan Exit Payment
is necessary to preserve such settlement and the corresponding estate benefits reflected in the Supporting
Term Lenders Joinder Agreement, the Debtors sought the Bankruptcy Court’s approval of the Term Loan
Exit Payment and certain other relief, and the Bankruptcy Court granted such relief pursuant to the Order
(I) Modifying Cash Collateral Order With Respect To Adequate Protection Terms, (II) Permitting The
Debtors To Pay Certain Amounts, And (III) Granting Related Relief [Docket No. 2021].

                 1.      The DOJ/CMS/States Settlement

CMS, the Debtors, the DOJ, and the Acthar Settling States agreed in principle to the material economic
terms of a settlement agreement in connection with the Federal/State Acthar Settlement, to be
incorporated into the Plan and to be documented in the Federal/State Acthar Settlement Agreements,
which remains subject to continued good faith negotiations. Under the settlement in principle, in full
and final satisfaction of all claims at issue in connection with the Federal/State Acthar Settlement, the
United States of America and the Acthar Settling States agreed to accept cash payments totaling $260
million in the aggregate in accordance with the below schedule, with deferred payments bearing interest
at a variable rate equal to the nominal interest rate on special issues of government securities to the Social
Security trust funds, measured as of each payment date and accruing from September 21, 2020:

                      Payment Date                                     Payment Amount
     Plan Effective Date                                     $15,000,000
     First Anniversary of Plan Effective Date                $15,000,000

                                                     55
                 Case 20-12522-JTD          Doc 2917          Filed 06/18/21     Page 67 of 835




         Second Anniversary of Plan Effective Date               $20,000,000
         Third Anniversary of Plan Effective Date                $20,000,000
         Fourth Anniversary of Plan Effective Date               $32,500,000
         Fifth Anniversary of Plan Effective Date                $32,500,000
         Sixth Anniversary of Plan Effective Date                $62,500,000
         Seventh Anniversary of Plan Effective Date              $62,500,000

                     2.      The Management Incentive Plan

    As part of the good-faith hard fought negotiations of the Restructuring Support Agreement, the Debtors
    and the Supporting Parties also agreed on the provision of the Management Incentive Plan. The
    Management Incentive Plan is an integral part of the Chapter 11 Plan and is necessary to the success of
    the Reorganized Debtors and, by extension, the completion of the distributions and structured payments
    contemplated by the Plan. The Debtors operate, and the Reorganized Debtors will operate, in the highly
    competitive biopharmaceutical industry, where standard practice is for officer compensation to include
    significant proportions of equity awards and equity-based incentives, which will be reflected in the
    Management Incentive Plan. Failure to provide for the Management Incentive Plan would, therefore,
    jeopardize the Reorganized Debtors’ ability to attract, retain, and incentivize talented management
    personnel for the go-forward business. Moreover, the Management Incentive Plan most directly affects
    the recovery of the Holders of Guaranteed Unsecured Notes Claims, who are otherwise receiving all or
    nearly all of the New Mallinckrodt Ordinary Shares on the Effective Date. A substantial majority of
    those Holders are Supporting Parties (i.e., parties to the Restructuring Support Agreement) and, therefore,
    support the Management Incentive Plan contemplated by the Plan.

            F.       Prepetition Retention Payments

    The Debtors’ management team’s immediate goal prior to filing the Chapter 11 Cases was to maintain
    stability with their workforce, vendors, customers and distributors.

    On September 1, 2020, the below referenced named executive officers (“NEOs”) of the Debtors entered
    into award agreements issued pursuant to the 2020/2021 executive retention bonus program (“2020/2021
    ERBP”) for cash-based retention bonus awards. The Human Resources and Compensation Committee
    of the Debtors’ Board of Directors (the “HRCC”), following extensive consultation with their
    compensation and legal advisors, approved the 2020/2021 ERBP, including the cash retention bonuses
    made thereunder (each, a “Retention Bonus”) and a form of retention bonus agreement (the “Retention
    Bonus Agreement”). The full Board approved Mr. Mark Trudeau’s Retention Bonus. The Retention
    Bonus amounts reflect each named executive officer’s base salary multiplied by 1.5.

    The 2020/2021 ERBP was implemented to demonstrate the Debtors’ support for its employees, including
    certain members of the management team. The Retention Bonuses enabled the Debtors to retain and
    motivate certain executives through the volatile and uncertain environment affecting the Debtors’
    business. The Retention Bonuses under the 2020/2021 ERBP were paid on September 3, 2020 and are
    subject to the executive’s obligation to repay the net after-tax bonus in the event that he resigns, retires,
    voluntarily terminates employment or is terminated by the Debtors for cause prior to the earlier of (x)
    May 15, 2022, and (y) the date the Debtors emerge from bankruptcy. The aggregate amount of the
    Retention Bonuses paid to the NEOs was approximately $5.2 million. The Retention Bonuses received
    by the Debtors’ executive officers are set forth in the table below.

       Name                                            Title                                      Retention Bonus
Mark Trudeau              President and Chief Executive Officer                                  $1,575,000
Mark Casey                Executive Vice President, Chief Legal Officer                          $900,000


                                                         56
                 Case 20-12522-JTD          Doc 2917         Filed 06/18/21     Page 68 of 835




Hugh O’Neill             Executive Vice President, Chief Commercial Officer                     $930,000
Bryan Reasons            Executive Vice President, Chief Financial Officer                      $900,000
Steven Romano            M.D., Executive Vice President, Chief Scientific Officer               $930,000

    The Retention Bonuses were announced in the Debtors’ Current Report on Form 8-K, filed with the SEC
    on September 8, 2020. The Debtors do not believe any of the foregoing transactions constitute a
    fraudulent conveyance, preference, or would otherwise be subject to avoidance under the Bankruptcy
    Code.

            G.      Retention of the Debtors’ Advisors

    The Debtors have needed to engage various advisors in connection with the Opioid Litigations (and the
    MDL), the Opioid Settlement, the Specialty Brands litigations, the Acthar Settlement, the Restructuring
    Support Agreement, and these Chapter 11 Cases. Specifically, the Debtors’ primary professional
    advisors include (a) AlixPartners LLP (“AlixPartners”), restructuring consultant and financial advisor
    to the Debtors; (b) Latham & Watkins LLP (“Latham”), legal co-counsel to the Debtors; (c) Richards,
    Layton & Finger, P.A. (“RLF”), legal co-counsel to the Debtors; (d) Wachtell, Lipton, Rosen and Katz
    (“Wachtell”), legal co-counsel to the Debtors; (e) Ropes & Gray LLP (“Ropes”), special litigation
    counsel to the Debtors; (f) Guggenheim Securities, LLC (“Guggenheim Securities”), investment banker
    to the Debtors; (g) Prime Clerk LLC (“Prime Clerk”), claims and noticing agent to the Debtors; (h)
    Hogan Lovells US LLP (“Hogan Lovells”), as special counsel to the Debtors; and (i) Arnold & Porter
    Kaye Scholer LLP (“A&P”), as special counsel to the Debtors related to regulatory, antitrust and
    litigation matters. All of the aforementioned advisors have been retained in these Chapter 11 Cases, as
    set forth in Section IV below.

            H.      The Specialty Generics Independent Directors

    Further, on August 30, 2019, certain boards of directors of the Specialty Generics Debtors, acting by
    unanimous written consent in lieu of a special meeting, appointed Marc Beilinson and Sherman Edmiston
    III as disinterested managers (the “Disinterested Managers”) of the Specialty Generics Debtors. The
    Disinterested Managers were subsequently appointed to additional boards of directors of the Specialty
    Generics Debtors. On December 17, 2019, the Disinterested Managers engaged legal counsel, Katten
    Muchin Rosenman LLP (“Katten”), to render legal services at the direction of the Disinterested
    Managers.

    In connection with ongoing restructuring efforts, the boards of directors of the Specialty Generics
    Debtors delegated certain authority to the Disinterested Managers pursuant to certain resolutions adopted
    via unanimous written consent in lieu of a special meeting, dated February 27, 2020 (the “Delegating
    Resolutions”). Pursuant to the Delegating Resolutions, the boards of directors of the Specialty Generics
    Debtors delegated to the Disinterested Managers certain rights, authority and powers in connection with
    reviewing and acting upon any matter arising in or related to, among other things, intercompany balances,
    intercompany agreements and intercompany transactions between the Specialty Generics Debtors and
    affiliates (collectively, the “Intercompany Matters”).

    On November 2, 2020, the Debtors filed the Debtors’ Application For Entry Of An Order Authorizing
    The Employment And Retention Of Katten Muchin Rosenman LLP As Counsel To The Specialty Generics
    Debtors, At The Sole Direction Of The Disinterested Managers, Effective Nunc Pro Tunc To The Petition
    Date [Docket No. 381] (the “Katten Retention Application”). Pursuant to the Katten Retention
    Application, the Specialty Generics Debtors determined that the retention of independent counsel, acting
    at the sole direction of the Disinterested Managers, was necessary to the Disinterested Managers fulfilling
    their fiduciary duties in these Chapter 11 Cases, including with respect to investigating and assessing the


                                                        57
             Case 20-12522-JTD         Doc 2917         Filed 06/18/21     Page 69 of 835




Intercompany Matters, and that the employment of Katten would be in the best interest of the Specialty
Generics Debtors’ estates.

On November 19, 2020, the Bankruptcy Court entered the Order Granting Debtors’ Application For
Entry Of An Order Authorizing The Employment And Retention Of Katten Muchin Rosenman LLP As
Counsel To The Specialty Generics Debtors, At The Sole Direction Of The Disinterested Managers,
Effective Nunc Pro Tunc To The Petition Date [Docket No. 561] approving the Disinterested Directors’
engagement of Katten.

                                         IV.
                          EVENTS DURING THE CHAPTER 11 CASES

        A.      Commencement of Chapter 11 Cases

After the execution of the Restructuring Support Agreement, also on October 12, 2020, the Debtors filed
voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue managing
their operations in the ordinary course pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        B.      First Day Motions

On the Petition Date, the Debtors filed multiple motions seeking various relief from the Bankruptcy
Court and authorizing the Debtors to maintain their operations in the ordinary course (the “First Day
Motions”). Such relief was aimed at ensuring a seamless transition between the Debtors’ prepetition and
postpetition business operations, facilitating a smooth reorganization through the chapter 11 process, and
minimizing disruptions to the Debtors’ businesses. The Bankruptcy Court granted substantially all of
the relief requested in the First Day Motions and entered various orders authorizing the Debtors to, among
other things:

       Continue paying employee wages and benefits and processing workers’ compensation claims
        [Docket No. 510];

       Continue the use of the Debtors’ cash management system, bank accounts, and business forms
        [Docket No. 552];

       Continue insurance programs [Docket No. 509];

       Continue the Debtors’ customer programs [Docket No. 460];

       Pay certain prepetition taxes and fees [Docket No. 463];

       Pay certain critical vendors and foreign vendors [Docket Nos. 465 and 468];

       Pay certain lien claimants [Docket No. 466];

       Establish procedures for transferring equity [Docket No. 469];

       Establish procedures for utility companies to request adequate assurance of payment and to
        prohibit utility companies from altering or discontinuing service [Docket No. 467]; and

       Use cash collateral [Docket No. 586].



                                                   58
             Case 20-12522-JTD         Doc 2917         Filed 06/18/21     Page 70 of 835




        C.      Injunctive Motions

On the Petition Date, the Debtors also filed a complaint and motion for injunctive relief pursuant to 11
U.S.C. § 105 seeking relief in respect of certain prepetition proceedings commenced against the Debtors
[Docket No. 2 in Adv. Pro. No. 20-50850] (the “Voluntary Injunction Motion”). Subsequently, on
October 21, 2020, the Debtors filed an Amended Complaint and Supplemental Motion for Injunctive
Relief Pursuant to 11 U.S.C. § 105, seeking relief in respect of certain prepetition proceedings
commenced against third parties inextricably bound to the Debtors [Docket No. 16 in Adv. Pro. No. 20-
50850]. On November 23, 2020, the Bankruptcy Court granted both motions, entering 270-day
injunctions staying government plaintiffs and certain other plaintiffs from pursuing claims against the
Debtors and certain non-debtor parties [Docket No. 164 in Adv. Pro. No. 20-50850].

        D.      Procedural Motions

The Debtors have filed and received approval of various motions regarding procedural issues common
to other chapter 11 cases of similar size and complexity, including approval of a motion for entry of an
order establishing procedures for the interim compensation and reimbursement of expenses of
professionals [Docket No. 770], a motion for entry of an order extending the time for the Debtors to file
their schedules and statements until December 24, 2020 [Docket No. 461] and a motion for entry of an
order authorizing the Debtors to employ professionals used in the ordinary course of business [Docket
No. 474].

        E.      Appointment of Unsecured Creditors’ Committee

On October 27, 2020, the Official Committee of Unsecured Creditors (the “UCC”) was appointed by the
United States Trustee pursuant to section 1102 of the Bankruptcy Code to represent the interests of
unsecured creditors in the Chapter 11 Cases [Docket No. 306]. The members of the UCC originally
were: New PharmaTop LP, Acument Global Technologies, Inc., Commodore Bowens, Jr., as
Administrator for Estate of Commodore Bownes, U.S. Bank Trust National Association, and AFSCME
District Council 47 Health and Welfare Fund. New PharmaTop LP subsequently resigned from the UCC
after its claim was paid in full in connection with the Debtors’ assumption of its executory contract as
part of the IP Restructuring (described further below). The UCC has retained Cooley LLP and Robinson
& Cole LLP, as co-counsel, Alvarez & Marsal and Dundon Advisers LLC as co-financial advisors.

        F.      Appointment of Opioid Claimants’ Committee

On October 27, 2020, the Official Committee of Opioid Related Claimants (the “OCC”) was appointed
by the United States Trustee pursuant to section 1102 of the Bankruptcy Code to represent the interests
of unsecured creditors in the Chapter 11 Cases [Docket No. 308]. The members of the OCC are: Garrett
Hade, Lyda Haag, Kathy Strain, Brendan Berthold, Life Point Health System, Blue Cross and Blue Shield
Association, Michael Masiowski, M.D, The Chicago Board of Education is an “ex officio” member of
the OCC. The OCC has retained Cole Schotz P.C. and Akin Gump Strauss Hauer & Feld LLP, as co-
counsel, Cassels Brock & Blackwell Retention as Canadian counsel, Jefferies LLC, as investment banker,
and Province, Inc. as financial advisor.

        G.      Bar Date Motion

On October 20, 2020, the Debtors filed a motion seeking entry of an order establishing deadlines to file
proofs of claim in the Chapter 11 Cases and approval of related procedures. On November 30, 2020, the
Bankruptcy Court entered an order [Docket No. 667] (the “Bar Date Order”) establishing certain
deadlines for the filing of proofs of claim in the Chapter 11 Cases. By the Bar Date Order, the Bankruptcy
Court established February 16, 2021 at 5:00 p.m., prevailing Eastern Time (the “General Bar Date”) as

                                                   59
             Case 20-12522-JTD           Doc 2917         Filed 06/18/21      Page 71 of 835




the general deadline for all Entities other than Governmental Units to file proofs of claim in the Chapter
11 Cases for all claims other than Opioid Claims against the Debtors that arose or are deemed to have
arisen prior to the Petition Date, including, but not limited to, secured claims, priority claims, asbestos-
related claims, and claims arising under section 503(b)(9) of the Bankruptcy Code (each such claim, a
“General Claim”), except as otherwise provided in the Bar Date Order. By the Bar Date Order, the Court
also established April 12, 2021 at 5:00 p.m., prevailing Eastern Time (the “Governmental Bar Date”) as
the general deadline for all Governmental Units to file proofs of claim in the Chapter 11 Cases for all
claims other than Opioid Claims against the Debtors that arose or are deemed to have arisen prior to the
Petition Date, except as otherwise provided in the Bar Date Order. No deadline to file Opioid Claims
has been set by the Bankruptcy Court.

In addition to the General Bar Date and Governmental Bar Date described above, any Entity asserting
claims arising from or relating to the Debtors’ rejection of an executory contract or unexpired lease
pursuant to an order of the Bankruptcy Court that is entered prior to confirmation of a plan of
reorganization in the Chapter 11 Cases is required to file a proof of claim on or before the later of: (a) the
General Bar Date; and (b) 5:00 p.m., prevailing Eastern Time, on the date that is 30 days after the
effective date of rejection of such executory contract or unexpired lease. Further, as described in the Bar
Date Order, if the Debtors amend or modify schedule D, E, or F of the schedules of assets and liabilities
and statements of financial affairs filed in the Chapter 11 Cases to reduce the undisputed, non-contingent
and liquidated amount or to change the nature or classification of any General Claim against the Debtors,
the affected claimant may file a timely proof of claim or amend any previously filed proof of claim in
respect of the amended scheduled claim on or before the later of (a) the General Bar Date or (b) 30 days
after the date that notice of the applicable amendment to the schedules of assets and liabilities and
statements of financial affairs is served on the affected claimant.

        H.       Approval of Certain Intercompany Restructuring Transactions

On November 2, 2020, the Debtors filed the Motion of Debtors for Order Authorizing Intercompany
Restructuring Transactions [Docket No. 385] requesting authority to implement certain intercompany
restructuring transactions relating to certain intellectual property of the Specialty Brands business.
Following substantial negotiations with the Debtors’ major creditor constituencies, the Court entered an
order approving this motion on November 25, 2020 [Docket No. 633]. Thereafter, on December 24,
2020, the transactions contemplated by this motion and order were consummated.

        I.       The Debtors’ Professional Advisor Retentions

The Debtors’ primary professional advisors include the following:

       On October 12, 2020, the Debtors filed the Debtors’ Application For Entry Of An Order
        Authorizing The Retention And Appointment Of Prime Clerk LLC As Claims And Noticing Agent
        For The Debtors [Docket No. 19] (the “Prime Clerk 156(c) Retention Application”). On
        October 14, 2020, the Bankruptcy Court entered an Order Authorizing The Retention And
        Appointment Of Prime Clerk LLC As Claims And Noticing Agent For The Debtors thereby
        approving the Prime Clerk 156(c) Retention Application [Docket No. 219]. On November 2,
        2020, the Debtors filed the Debtors’ Application For Entry Of An Order Authorizing The
        Retention And Employment Of Prime Clerk LLC As Administrative Advisor Nunc Pro Tunc To
        The Petition Date [Docket No. 378] (the “Prime Clerk Retention Application”). On November
        19, 2020, the Bankruptcy Court entered an order approving the Prime Clerk Retention
        Application [Docket No. 563].

       On November 2, 2020, the Debtors filed the Application Of Debtors To Employ And Retain
        Richards, Layton & Finger, P.A. As Co-Counsel To The Debtors, Nunc Pro Tunc To The Petition

                                                     60
       Case 20-12522-JTD         Doc 2917         Filed 06/18/21   Page 72 of 835




    Date [Docket No. 379] (the “RLF Retention Application”). On November 19, 2020, the
    Bankruptcy Court entered an order approving the RLF Retention Application [Docket No. 564].

   On November 2, 2020, the Debtors filed Application Of Debtors For Entry Of An Order
    Authorizing The Employment And Retention Of Alixpartners, LLP As Financial Advisor For The
    Debtors Nunc Pro Tunc To The Petition Date [Docket No. 371] (the “AlixPartners Retention
    Application”). On November 19, 2020, the Bankruptcy Court entered an order approving the
    AlixPartners Retention Application [Docket No. 560].

   On November 2, 2020, the Debtors filed the Debtors’ Application For Entry Of An Order
    Authorizing The Employment And Retention Of Latham & Watkins LLP As Bankruptcy Counsel
    Nunc Pro Tunc To The Petition Date [Docket No. 384] (the “Latham Retention Application”).
    On November 23, 2020, the Bankruptcy Court entered an order approving the Latham Retention
    Application [Docket No. 618].

   On November 2, 2020, the Debtors filed the Debtors’ Application For Entry Of An Order
    Authorizing The Retention And Employment Of Wachtell, Lipton, Rosen & Katz As Co-Counsel
    For The Debtors And Debtors In Possession Effective As Of The Petition Date [Docket No. 382]
    (the “Wachtell Retention Application”). On November 23, 2020, the Bankruptcy Court entered
    an order approving the Wachtell Retention Application [Docket No. 619].

   On November 2, 2020, the Debtors filed the Debtors’ Application For Entry Of An Order
    Authorizing The Retention And Employment Of Ropes & Gray LLP As Special Litigation Counsel
    To The Debtors Effective As Of The Petition Date [Docket No. 380] (the “Ropes Retention
    Application”). On November 23, 2020, the Bankruptcy Court entered an order approving the
    Ropes Retention Application [Docket No. 617].

   On November 2, 2020, the Debtors filed the Debtors’ Application For Entry Of An Order,
    Pursuant To Sections 327(a) And 328(a) Of The Bankruptcy Code, Authorizing The Retention
    And Employment Of Guggenheim Securities, LLC As Investment Banker For The Debtors And
    Debtors-In-Possession Effective As Of The Petition Date, And Modifying Certain Time-Keeping
    Requirements [Docket No. 383] (the “Guggenheim Securities Retention Application”). On
    January 11, 2021, the Debtors filed the Supplemental Declaration of Brendan Hayes in Support
    of the Debtors’ Application to Employ Guggenheim Securities as Investment Banker effective
    as of the Petition Date [Docket No. 1124]. On January 12, 2021, the Bankruptcy Court entered
    an order approving the Guggenheim Securities Retention Application [Docket No. 1142].

   On November 11, 2020, the Debtors filed the Application Of Debtors For Authority To Retain
    And Employ Hogan Lovells US LLP As Special Counsel To The Debtors Nunc Pro Tunc To The
    Petition Date [Docket No. 478] (the “Hogan Lovells Retention Application”). On December 7,
    2020, the Bankruptcy Court entered an order approving the Hogan Lovells Retention Application
    [Docket No. 738].

   On January 21, 2021, the Debtors filed the Application Of Debtors To Employ And Retain Arnold
    & Porter Kaye Scholer LLP As Special Counsel To The Debtors, Nunc Pro Tunc To The Petition
    Date [Docket No. 1196] (the “A&P Retention Application”). On February 16, 2021, the
    Bankruptcy Court entered an order approving the A&P Retention Application [Docket No.
    1394].




                                             61
             Case 20-12522-JTD         Doc 2917         Filed 06/18/21      Page 73 of 835




        J.      The Voluntary Injunction and Appointment of the Monitor

Pursuant to the terms of the Restructuring Support Agreement, the Debtors agreed to seek entry of an
injunctive order to be effective on the Petition Date, defining the manner in which the Debtors’ opioid
business may be lawfully operated by the Debtors or any successors thereto on a going-forward basis
during the pendency of the Chapter 11 Cases. Specifically, the Restructuring Support Agreement
required the Debtors within one week after the Petition Date to file with the Bankruptcy Court a motion
seeking to impose a voluntary injunction on the Debtors to enjoin them from engaging in certain conduct
related to the manufacture, marketing, sale, and distribution of opioids effective as of the Petition Date
(the “Voluntary Injunction”). Further, the Restructuring Support Agreement requires that the
Confirmation Order (or a separate order of the Bankruptcy Court) extend the Voluntary Injunction to
govern the Reorganized Debtors’ operations after the Effective Date. The Debtors engaged in
negotiations over the terms of the Voluntary Injunction with the Supporting Governmental Opioid
Claimants (i.e., the 50 U.S. states and territories that became parties to the Restructuring Support
Agreement) and also consulted with the Supporting Unsecured Noteholders regarding same. As such,
pursuant to the Voluntary Injunction Motion filed on the Petition Date, the Debtors also voluntarily
requested the Bankruptcy Court to subject certain Debtors, namely, Mallinckrodt Enterprises LLC,
Mallinckrodt LLC, and SpecGx LLC (collectively, the “VI-Specific Debtors”) to the terms of the
Voluntary Injunction.

On January 8, 2021, the Bankruptcy Court entered the Order Granting Certain Debtors’ Motion For
Injunctive Relief Pursuant To 11 U.S.C. § 105 With Respect To The Voluntary Injunction [Docket No.
196 in Adv. Pro. No. 20-50850] (the “Voluntary Injunction Order”) binding the VI-Specific Debtors to
the terms of the Voluntary Injunction. Specifically, the Voluntary Injunction provides, among other
things and in pertinent part, that the VI-Specific Debtors shall not engage in the promotion of opioids or
opioid products, including but not limited to, by:

       employing or contracting with sales representatives or other persons to promote opioids or opioid
        products to health care providers or patients or to persons that influence or determine the opioid
        products included in formularies; (b) using speakers, key opinion leaders, thought leaders,
        lecturers, and/or speaking events for promotion of opioids or opioid products;
       sponsoring, or otherwise providing financial support or in-kind support to medical education
        programs relating to opioids or opioid products;
       creating, sponsoring, operating, controlling, or otherwise providing financial support or in-kind
        support to any website, network, and/or social or other media account for the promotion of
        opioids or opioid products;
       creating, sponsoring, distributing, or otherwise providing financial support or in-kind support for
        materials promoting opioids or opioid products, including but not limited to brochures,
        newsletters, pamphlets, journals, books, and guides;
       creating, sponsoring, or otherwise providing financial support or in-kind support for
        advertisements that promote opioids or opioid products, including but not limited to internet
        advertisements or similar content, and providing hyperlinks or otherwise directing internet traffic
        to advertisements; and
       engaging in internet search engine optimization or other techniques designed to promote opioids
        or opioid products by improving rankings or making content appear among the top results in an
        internet search or otherwise be more visible or more accessible to the public on the internet.
Please refer to Annex I of the Voluntary Injunction Order for more details of the terms of the Voluntary
Injunction.


                                                   62
             Case 20-12522-JTD          Doc 2917         Filed 06/18/21     Page 74 of 835




Pursuant to section VI of the Voluntary Injunction, the VI-Specific Debtors were required to retain an
outside, independent individual to evaluate and monitor their compliance with the Voluntary Injunction,
who will serve at the cost and expense of the VI-Specific Debtors (the “Monitor”). Further, section
VI.A.3 of the Voluntary Injunction required that the VI-Specific Debtors propose a list of three
individuals, groups of individuals, or firms to serve as the proposed Monitor within 30 days of the Petition
Date.

Shortly after the Petition Date, and in accordance with the terms of the Voluntary Injunction, the VI-
Specific Debtors launched a search process for the selection of the proposed Monitor, and on November
11, 2020, the VI-Specific Debtors proposed three (3) highly qualified candidates to the Supporting
Governmental Opioid Claimants. On December 11, 2020, after careful consideration, the Supporting
Governmental Opioid Claimants ultimately agreed to jointly support, with the VI-I Specific Debtors, the
selection of Mr. R. Gil Kerlikowske as the Monitor.

On January 21, 2021, the Debtors filed the Joint Motion Of Debtors And Governmental Plaintiff Ad Hoc
Committee For Entry Of An Order (I) Appointing R. Gil Kerlikowske As Monitor For Voluntary
Injunction And (II) Approving The Monitor’s Employment Of Saul Ewing As Counsel At The Cost And
Expense Of The Debtors [Docket No. 1203] (the “Monitor Motion”) seeking entry of an order (a)
approving the Monitor, (b) permitting the VI-Specific Debtors to retain the Monitor pursuant to the terms
set forth in a separate monitor agreement entered into by the Monitor and the VI-Specific Debtors, and
(c) approving the Monitor’s employment of legal counsel Saul Ewing Arnstein & Lehr LLP (“Saul
Ewing”).

Mr. Kerlikowske’s long law enforcement and regulatory career made him uniquely qualified to serve as
the Monitor. Mr. Kerlikowske, among other things, served from 2009-2014 as the Director for the Office
of National Drug Control Policy (ONDCP)—the Presidentially appointed “U.S. Drug Czar.” Pursuant
to the Voluntary Injunction, Mr. Kerlikowske, as Monitor, is responsible for evaluating and monitoring
the VI-Specific Debtors’ compliance with the Voluntary Injunction, including by, among other things,
filing periodic reports with the Bankruptcy Court regarding the VI-Specific Debtors’ compliance with
the Voluntary Injunction.

On February 8, 2021, the Bankruptcy Court entered the Order (I) Appointing R. Gil Kerlikowske As
Monitor For Voluntary Injunction And (II) Approving The Monitor’s Employment Of Saul Ewing As
Counsel At The Cost And Expense Of The Debtors [Docket No. 1306] thereby appointing R. Gil
Kerlikowske, through Gil Kerlikowske LLC as the Monitor and approving his retaining of Saul Ewing
and his compensation and the monitor agreement.

Please refer to Exhibit C of the Monitor Motion and the Voluntary Injunction Order for more details of
the terms of the Monitor’s compensation, scope of authority, and responsibilities.

The Monitor has filed and will be filing periodic reports with the Bankruptcy Court as required by the
Voluntary Injunction Order. Any such reports may be found on the Bankruptcy Court docket.

        K.       First Lien Term Lender Joinder and Mandatory Prepayment

On February 17, 2021, the Debtors filed the Debtors’ Motion For Order (I) Authorizing Use Of Cash
Collateral Other Than In The Ordinary Course Of Business, (II) Granting Limited Relief From The
Automatic Stay, And (III) Granting Related Relief [Docket No. 1441] (the “ECF Prepayment Motion”).
Under the ECF Prepayment Motion, the Debtors sought to make a mandatory excess cash flow (“ECF”)
prepayment to the First Lien Term Lenders in the amount of $114 million that is required under the First
Lien Credit Agreement. The Debtors argued in the ECF Prepayment Motion that the prepayment of

                                                    63
           Case 20-12522-JTD          Doc 2917         Filed 06/18/21     Page 75 of 835




the ECF amounts was warranted in order to best position the Debtors in any plan confirmation litigation
over reinstatement of the First Lien Term Loans by mooting arguments that there would be a default to
the extent such payments were not made.

Before the Bankruptcy Court ruled on the ECF Prepayment Motion, on March 10, 2021, the Debtors
announced it reached an agreement with the Ad Hoc First Lien Term Lender Group to support the
Debtors’ Restructuring Support Agreement and entered into that certain Joinder Agreement and
Amendment to the Restructuring Support Agreement. On that same day, the Debtors filed the Notice of
Filing of Joinder Agreement and Amendment to Restructuring Support Agreement, Dated as of March
10, 2021 [Docket No. 1631].

As discussed above, the Supporting Term Lenders Joinder Agreement was based on, among other things,
providing new term loans financing to replace the First Lien Term Loans and settled several complex
and open disputes between the Debtors and the First Lien Term Loan Lenders as to how such lenders are
to be treated under the Plan, the amount of their Claims, among other issues, and served to extend near-
term debt maturities and provide the Debtors with clear runway to refinance the First Lien Term Loan
Claims at their option.

Further, as part of their broader integrated settlement and compromise, the Debtors and the Supporting
Term Lenders agreed to settle under Rule 9019 of the Bankruptcy Rules their dispute with respect to the
amount and manner of payment of the ECF prepayment required to be made to the First Lien Term
Lenders under the First Lien Credit Agreement for fiscal year 2020. The parties agreed that the Debtors
shall satisfy their obligation to make the 2020 ECF prepayment with a payment in cash in the amount of
$114 million. The material terms of the treatment bargained for under the Supporting Term Lenders
Joinder Agreement for the Ad Hoc First Lien Term Lender Group is included in the Plan.

After agreeing to the Supporting Term Lenders Joinder Agreement and settling the ECF prepayment, on
March 11, 2021, the Debtors filed their Debtors’ Supplement To The Motion For Order (I) Authorizing
Use Of Cash Collateral Other Than In The Ordinary Course Of Business, (II) Granting Limited Relief
From The Automatic Stay, And (III) Granting Related Relief [Docket No. 1659] (the “Supplemental ECF
Motion”) supplementing their prior request under the ECF Prepayment Motion to pay $114 million in
ECF prepayments to the First Lien Term Lenders.

Under the Supplemental ECF Motion, the Debtors explained that after finalizing their fiscal 2020
reporting, they believed the proper ECF prepayment amount is $113.9 million. Absent the settlement,
the Supplemental ECF Motion stated that the First Lien Term Loan Lenders would potentially advocate
for an ECF prepayment significantly greater amount than $114 million. The Debtors proposed paying
the settled $114 million amount to avoid further disputes regarding the amount of the ECF prepayment,
and to settle any disputes regarding the manner in which the prepayment is made. The Supplemental ECF
Motion stressed that no other aspects of the Supporting Term Lenders Joinder Agreement are being
sought to be approved under the ECF Prepayment Motion or Supplemental ECF Motion.

On March 16, 2021, the Bankruptcy Court entered the Order Granting Motion For Order (I) Authorizing
Use Of Cash Collateral Other Than In The Ordinary Course Of Business, (II) Granting Limited Relief
From The Automatic Stay, And (III) Granting Related Relief [Docket No. 1745] (the “ECF Prepayment
Order”) granting the Debtors’ Supplemental ECF Motion to make the $114 million ECF prepayment to
the First Lien Term Loan Lenders. The ECF Prepayment Order was entered after the Debtors resolved
an objection by the First Lien Agent.

Prior to the filing of this Disclosure Statement, the Debtors made the ECF prepayment in the amount of
approximately $114 million to the First Lien Term Loan Lenders in accordance with the ECF Prepayment
Order, and the Term Loans Outstanding Amount has been updated to reflect such payment.

                                                  64
             Case 20-12522-JTD          Doc 2917         Filed 06/18/21     Page 76 of 835




                1.       Settlement Discussions Regarding First Lien Notes Claims

Beginning on June 1, 2021, the Debtors commenced discussions and negotiations with the members of
a certain ad hoc group of Holders of a majority in aggregate principal amount of the First Lien Notes
with respect to the possible treatment of their claims in respect of the First Lien Notes under the Plan.
As of June 14, 2021, the Debtors have not reached agreement with such Holders as to the terms of a
settlement. The most recent drafts of term sheets relating to the terms of a proposed settlement are set
forth in the Current Report on Form 8-K filed by Mallinckrodt plc on June 14, 2021. The Debtors may
continue negotiations with such Holders or other Holders of the First Lien Notes or the Second Lien
Notes in the future and the terms of any settlement reached may be different from the treatment of the
First Lien Notes or the Second Lien Notes currently set forth in the Plan and in the recoveries set forth
above in this Disclosure Statement.

        L.      Exclusivity

Section 1121(b) of the Bankruptcy Code provides for a period of 120 days after the commencement of a
chapter 11 case during which time a debtor has the exclusive right to file a plan of reorganization (the
“Exclusive Plan Period”). In addition, section 1121(c)(3) of the Bankruptcy Code provides that if a
debtor files a plan within the Exclusive Plan Period, it has a period of 180 days after commencement of
the chapter 11 case to obtain acceptances of such plan, before the expiration of which no other party in
interest may file a plan (the “Exclusive Solicitation Period,” and together with the Exclusive Plan Period,
the “Exclusive Periods”). Pursuant to section 1121(d) of the Bankruptcy Code, the Bankruptcy Court
may, upon a showing of cause, extend the Exclusive Periods.

On February 9, 2021 the Debtors filed a motion for an order (a) extending the Exclusive Plan Period by
180 days through and including August 9, 2021, and (b) extending the Exclusive Solicitation Period by
180 days through and including October 11, 2021 [Docket No. 1341]. On February 25, 2021, the
Bankruptcy Court entered an order granting the Debtors’ motion thereby extending the Exclusive
Periods.

        M.      The Key Employee Incentive Plan

As of the Petition Date, the Debtors employed approximately 3,000 employees in the U.S. and
internationally. The Debtors have historically maintained incentive and compensation programs
designed to attract, retain, or incentivize key employees.

On March 9, 2021, the Debtors filed the Motion Of Debtors For Order (I) Approving The Q4 2020
Payment Under The 2020 Key Employee Incentive Plan, (II) Approving The Debtors’ 2021 Key
Employee Incentive Plan, And (III) Granting Related Relief [Docket No. 1628] (the “KEIP Motion”),
seeking approval of the Debtors’ key employee incentive programs (the “KEIP”).

The Debtors’ KEIP, as further described in the KEIP Motion, requested an Order (a) approving payment
under the Debtors’ 2020 KEIP (the “2020 KEIP”) for twelve Insiders (as defined in the KEIP Motion)
(collectively, the “KEIP Participants”) for the Debtors’ fourth fiscal quarter ending on December 25,
2020 (“Q4”); (b) approving the structure of the Debtors’ 2021 KEIP (the “2021 KEIP,” and together
with the 2020 KEIP, the “Compensation Plans”) for the KEIP Participants for the Debtors’ 2021 fiscal
year ending on December 31, 2021, subject to achievement of certain objectives, that appropriately
incentivize the KEIP Participants in connection with the Debtors’ restructuring efforts. The United States
Trustee, the UCC, and the OCC objected to the KEIP Motion. Prior to the KEIP Motion hearing, the
Debtors reached a settlement on the KEIP with the OCC. The Bankruptcy Court held a hearing on the
KEIP Motion on March 31 and April 1, 2021 and was provided with live testimony and documentary
evidence.

                                                    65
             Case 20-12522-JTD          Doc 2917         Filed 06/18/21     Page 77 of 835




On April 5, 2021, after hearing all of the evidence in connection with the contested hearing, the
Bankruptcy Court overruled the United States Trustee’s and the UCC’s objections and entered the Order
(I) Approving The Q4 2020 Payment Under The 2020 Key Employee Incentive Plan, (II) Approving The
Debtors’ 2021 Key Employee Incentive Plan, And (III) Granting Related Relief [Docket No. 1954] (the
“KEIP Order”) thereby approving the structure of the 2021 KEIP as well as the Q4 payment on account
of the 2020 KEIP. Specifically, the Bankruptcy Court in the KEIP Order determined, among other things,
that the KEIP is a true incentive plan with challenging metrics for participants to meet to qualify for the
payments. The KEIP Order also includes a clawback provision and provides the OCC with additional
discovery in connection with its investigations.

The KEIP Motion and the KEIP Order, together, contain a fulsome description of the KEIP Participants,
targets, and metrics of the Compensation Plans, and are all available on the Bankruptcy Court’s docket
at the above referenced docket numbers.

        N.      Appointment of a FCR

On October 13, 2020, the Debtors filed the Motion Of Debtors For Entry Of An Order Appointing Roger
Frankel, As Legal Representative For Future Claimants, Effective As Of The Petition Date [Docket No.
189] (the “Future Claimants Representative Motion”) seeking to appoint Roger Frankel as the FCR.
The role of the FCR is to represent “individuals who may assert in the United States a claim or claims in
the future against a Debtor for harm arising out of the use of opioid products prior to the effective date
of the Debtors’ plan or plans of reorganization” and whose claim “is to be addressed by a trust established
to assume the liabilities of the Debtors for damages allegedly caused by the use of opioid products.” The
Debtors sought the appointment of the FCR effective as of the Petition Date. The FCR has standing to
represent such future claimants “in all matters” relating to the Debtors’ case and the powers and duties
of a committee appointed under Bankruptcy Code section 1103.

The Debtors believe that the appointment of the FCR is critically important to represent any future
claimants’ interests, including with respect to negotiating the Plan, the terms of the Opioid MDT II
Documents, the Opioid MDT II, the Opioid Permanent Channeling Injunction, and the structure and
terms of any compensation to such claim holders.

The Debtors chose Mr. Frankel to act as the FCR on February 24, 2020 after evaluating several potential
candidates and after Mr. Frankel served as the prepetition representative of future claimants. The FCR’s
professionals include the FCR’s law firm, Frankel Wyron LLP, as well as Young Conaway Stargatt &
Taylor, LLP, as counsel, Greenberg Traurig, LLP as special counsel, Ducera Partners LLC as investment
banker, NERA Economic Consulting as consultant, and Laurence Westreich MD LLC, as medical
consultant.

On November 28, 2020, the OCC filed The Official Committee Of Opioid Related Claimants’ (I) Request
For Adjournment Of Or, In The Alternative, Objection To Motion Of Debtors To Appoint Future
Claimants Representative And (II) Cross-Motion To Compel Debtors To Establish Bar Date And
Noticing Program For Opioid Claimants [Docket No. 658] (the “OCC FCR Objection”). The OCC
FCR Objection asserted, among other things, that the appointment of the FCR was premature and
undermined the OCC’s mandate and responsibilities.

The Debtors agreed with the OCC, the Governmental Plaintiff Ad Hoc Committee and the MSGE Group
to mediation and deferred litigation on the appointment of the FCR and prosecution of the OCC FCR
Objection.

On March 16, 2021, the Bankruptcy Court entered an Order Provisionally Appointing Roger Frankel As
Legal Representative For Future Claimants [Docket No. 1747] for the purposes of permitting the FCR

                                                    66
               Case 20-12522-JTD                    Doc 2917             Filed 06/18/21   Page 78 of 835




to participate in an ongoing mediation over the allocation of the Opioid MDT II. On June 11, 2021, the
Bankruptcy Court entered the Order Appointing Roger Frankel, as Legal Representative for Future
Claimants, Effective as of the Petition Date [Docket No. 2813] (the “FCR Order”) appointing the FCR
on a permanent basis.

Since the FCR’s provisional appointment, the FCR has been in discussions with the Debtors and other
parties with respect to the implementation of the Opioid Settlement, including with respect to the Opioid
MDT II and the PI Trust, including, without limitation, the distribution procedures under the
aforementioned trusts. The FCR is still reviewing the Plan and draft documents relating to the Opioid
MDT II and the PI Trust. These documents are not final and remain subject to further negotiation. The
FCR and other parties need more time to complete this process. Until these documents are further
negotiated and the FCR is finished with its assessment, the FCR is not in a position to determine whether
to support the Plan.

          O.         The Debtors’ Diligence Related to the Plan Releases

Prior to these Chapter 11 Cases, on June 28, 2013, Debtor Mallinckrodt plc and certain of its subsidiaries
were formed through a spinoff from an entity named Covidien plc25 (the “Spin-Off”). Since then, Debtor
Mallinckrodt plc has grown considerably, including through strategic acquisitions of branded
pharmaceutical and device products and its own research and development. After the Spin-Off and in
the ordinary course of business, Debtor Mallinckrodt plc undertook certain strategic and/or financial
transactions in light of ordinary course business operations, including certain mergers, acquisitions, and
the exchanges of debt (any such transaction or any combination of the foregoing, a “Post Spin-Off
Transaction”).

The Debtors’ Plan contemplates the Debtor Release, which includes the Debtors’ releasing, among other
things, any and all Claims, counterclaims, disputes, obligations, suits, judgments, damages, demands,
debts, rights, Causes of Action, liens, remedies, losses, contributions, indemnities, costs, liabilities,
attorneys’ fees and expenses whatsoever, including any derivative claims, asserted or assertable on behalf
of the Debtors against each of the Debtors’ current and former directors and officers, each Debtor Entity
and each of their current and former directors and officers, and certain other parties in connection with
or related to, among other things, the Spin-Off, the Post Spin-Off Transaction, the Restructuring Support
Agreement, the Chapter 11 Cases, and the Restructuring Transactions.

On numerous occasions during these Chapter 11 Cases, the UCC and OCC have both expressed their
desire to investigate the propriety of the releases under the Plan, including the Debtor Release. They
have suggested that one of their goals during these Chapter 11 Cases is to determine if there are any
claims in connection with, among other things, certain prepetition debt exchanges, the Restructuring
Support Agreement and the Restructuring Transactions therein, the decision to commence the Chapter
11 Cases, and the proposed recoveries to general unsecured creditors and opioid claim holders under the
Plan, that are improper or should not otherwise be included in the Plan’s releases by the Debtors,
including the Specialty Generics Debtors.

As such, on or around March 30, 2021, the Specialty Generics Debtors’ Board of Directors resolved to
conduct further due diligence to evaluate the various releases under the Plan, including the Debtor
Release. Specifically, the Specialty Generics Debtors’ Board of Directors delegated to the two
Disinterested Managers the authority to conduct due diligence to evaluate the various releases under the
Plan, including the Debtor Release, to determine whether they are in the best interests of the Specialty
Generics Debtors and whether any matter arising in or related to the Spin-Off, the Post Spin-Off


25
     Covidien plc was itself later acquired by an entity named Medtronic plc.


                                                                    67
             Case 20-12522-JTD         Doc 2917         Filed 06/18/21     Page 79 of 835




Transaction, the Restructuring Support Agreement, the Chapter 11 Cases, or the Restructuring
Transactions gives rise to any Cause of Action or Claim on behalf of any of the Specialty Generics
Debtors that should not be included in the Plan’s releases. Similarly, at or around the same time, the
Board of Directors for Debtor Mallinckrodt plc also determined to conduct due diligence to evaluate the
various releases under the Plan, including the Debtor Release, in relation to Debtor Mallinckrodt plc.
The Board of Directors for Debtor Mallinckrodt plc authorized two of its independent directors to
conduct a similar due diligence process as to the releases to be given by the Debtors other than the
Specialty Generics Debtors.

The objective of these due diligence exercises are two-fold: (a) to formulate a view on the propriety of
the releases to be granted by the Specialty Generics Debtors and Debtor Mallinckrodt plc in favor of their
directors and officers and Affiliates under the Plan and (b) for the Specialty Generics Debtors and Debtor
Mallinckrodt plc to determine if any matter arising in or related to the Spin-Off, the Post Spin-Off
Transaction, the Chapter 11 Cases, the Restructuring Support Agreement, or the Restructuring
Transactions gives rise to any Cause of Action or Claim against any of the Specialty Generics Debtors
or Debtor Mallinckrodt plc that should not be included in the releases under the Plan. These efforts are
ongoing and will continue as the UCC and OCC pursue their respective investigations.

        P.      Extension of the Challenge Period Under the Cash Collateral Order

On March 10, 2021, the UCC filed its Motion Of The Official Committee Of Unsecured Creditors (1)
For An Order Pursuant To Bankruptcy Rule 2004 Authorizing Discovery Of The Debtors And Third
Parties, And (2) For An Order Extending Period To (A) Challenge The Debtors’ Stipulations As Set
Forth In The Final Cash Collateral Order And (B) Assert Related Claims Or Causes Of Actions [Docket
No. 1632] (the “UCC 2004 Motion”). Under the UCC 2004 Motion, the UCC sought (a) authority from
the Bankruptcy Court to conduct discovery of the Debtors pursuant to Bankruptcy Rule 2004 and (b) an
extension of the Challenge Period Termination Date (as defined in the Cash Collateral Order). The UCC
asserted in that discovery of the Debtors was necessary to conduct its essential investigation of the
Debtors’ assets and liabilities, the merits of the Restructuring Support Agreement, and the prepetition
conduct of the Debtors’ directors, officers and secured lenders, including related to certain debt
restructuring efforts in 2019 and 2020.

On April 5, 2021, the Debtors filed the Debtors’ Omnibus Objection To The Motion Of The Official
Committee Of Unsecured Creditors (1) For An Order Pursuant To Bankruptcy Rule 2004 Authorizing
Discovery Of The Debtors And Third Parties, And (2) For An Order Extending Period To (A) Challenge
The Debtors’ Stipulations As Set Forth In The Final Cash Collateral Order And (B) Assert Related
Claims Or Causes Of Actions And To Humana Inc.’s Joinder Thereto [Docket No. 1944] (the “Rule
2004 Objection”). Pursuant to the Rule 2004 Objection, the Debtors objected to the UCC’s request for
an extension to the Challenge Period Termination Date (as defined in the Cash Collateral Order) based
on, among other things, that the extension was unwarranted.

Additional objections to the UCC 2004 Motion were filed by, among others, an ad hoc First Lien Notes
group (filed April 5, 2021), the First Lien Agent (filed April 7, 2021), and the Ad Hoc First Lien Term
Lender Group (filed April 7, 2021). These objections generally echoed the Debtor arguments in the Rule
2004 Objection, i.e., that the Challenge Period Termination Date extension should be denied because the
applicable parties have cooperated with all of the UCC’s discovery requests and the requested extension
is not warranted under the circumstances.

On the eve of the hearing by the Bankruptcy Court to consider the UCC 2004 Motion, the Debtors and
UCC resolved their discovery disputes. As such, on April 13, 2020, the Bankruptcy Court entered the
Order (I) Extending The Challenge Period Termination Date Set Forth In The Final Cash Collateral
Order And (II) Denying The Official Committee Of Unsecured Creditors’ Motion To Extend The

                                                   68
            Case 20-12522-JTD            Doc 2917          Filed 06/18/21      Page 80 of 835




Challenge Period Termination Date As Moot [Docket No. 2022] (the “Challenge Period Order”).
Pursuant to the terms of the Challenge Period Order, (a) the UCC 2004 Motion with respect to the relief
related to the Challenge Period Termination Date (as defined in the Cash Collateral Order) was denied
as moot and (b) the Challenge Period Termination Date (as defined in the Cash Collateral Order) was
extended for 30 days (i.e., an extension to May 19, 2021) with respect to certain types of collateral and
certain potential avoidance actions, giving the UCC, the OCC, and the FCR additional time to receive
and review documents in connection with its investigation.

On May 26, 2021, the Debtors, the Administrative Agent (as defined in the Cash Collateral Order), the
First Lien Indenture Trustee (as defined in the Cash Collateral Order), the Second Lien Collateral Agent
(as defined in the Cash Collateral Order), the UCC, the OCC, and the FCR entered into a Stipulation
Extending The Challenge Period Termination Date Set Forth In The Final Cash Collateral Order
[Docket No. 2576-1] (the “Challenge Period Stipulation”) further extending the Challenge Period
Termination Date (as defined in the Cash Collateral Order). The Bankruptcy Court entered an Order
approving the Challenge Period Stipulation on the same date [Docket No. 2576].

Specifically, under the Challenge Period Stipulation, the Challenge Period Termination Date (as defined
in the Cash Collateral Order) applicable to the OCC and the FCR (if any, solely with respect to the right
to intervene in any challenge litigation) was extended to June 11, 2021 solely in respect of those potential
actions seeking avoidance of the guarantees of, and liens securing, the Prepetition Secured Indebtedness
(as defined in the Cash Collateral Order) provided by Mallinckrodt LLC, SpecGx LLC, SpecGx Holdings
LLC and Mallinckrodt APAP LLC that would have been preserved for the OCC pursuant to the Cash
Collateral Order if the OCC had timely filed a motion seeking standing to file an adversary proceeding
asserting the Challenges (as defined in the Cash Collateral Order) set forth in the draft complaint
delivered by the OCC to the Debtors, the Administrative Agent, the First Lien Indenture Trustee and the
Second Lien Collateral Agent on May 19, 2021 (which Challenges seek avoidance of the guarantees of,
and liens securing, the Prepetition Secured Indebtedness (as defined in the Cash Collateral Order)
provided by Mallinckrodt LLC, SpecGx LLC, SpecGx Holdings LLC and Mallinckrodt APAP LLC on
the grounds that the granting of such guarantees and liens constituted constructive fraudulent transfers).

Further, under the Challenge Period Stipulation, the Challenge Period Termination Date (as defined in
the Cash Collateral Order) applicable to the UCC and the FCR (if any, solely with respect to the right to
intervene in any challenge litigation) was extended to July 2, 2021 solely in respect of potential actions
challenging the validity, perfection, enforceability, priority or extent of any Prepetition Liens (as defined
in the Cash Collateral Order) on (i) insurance receivables; (ii) assets held in a rabbi trust; (iii) the Deposit
Accounts set forth in Exhibit 1 to the Challenge Period Stipulation; and (iv) tax refunds (if any) for tax
years ending after the Petition Date (which, for the avoidance of doubt, would include the foreign tax
year ended in December 2020 for Mallinckrodt plc and certain foreign Debtors, but would exclude the
U.S. tax year ended in September 2020 for certain domestic Debtors).

On June 11, 2021, the Debtors filed their Debtors’ Emergency Motion For Extension Of OCC/FCR
Challenge Period Extension Date [Docket No. 2822] seeking a further extension to the Challenge Period
Termination Date (as defined in the Cash Collateral Order) applicable to the OCC and the FCR solely
for the claims that the OCC wishes to preserve to June 25, 2021. That certain ad hoc First Lien Notes
Group objected to the requested extension. On June 14, 2021, the Bankruptcy Court entered the Order
Extending OCC/FCR Challenge Period Extension Date With Respect To OCC Challenges [Docket No.
2842] whereby the Bankruptcy granted the extension to the Challenge Period Termination Date (as
defined in the Cash Collateral Order) applicable to the OCC and the FCR solely for the claims that the
OCC wishes to preserve to June 25, 2021.

                 1.       Potential Estate Causes of Action


                                                      69
             Case 20-12522-JTD          Doc 2917         Filed 06/18/21     Page 81 of 835




During the Chapter 11 Cases, various parties have asserted that the Estates may have meritorious
Avoidance Actions in connection with the exchange transactions undertaken by the Debtors in December
2019 and April 2020 (i.e., the December 2019 Exchange Offer and the April 2020 Private Exchange), as
further described in section II.C.2-3 of this Disclosure Statement. The Debtors disagree with that
suggestion for a number of reasons, including that (a) the Debtors obtained substantial value in those
transactions and (b) those transactions are likely subject to the safe harbor from avoidance provided under
section 546(e) of the Bankruptcy Code. Further, in May 2021, the UCC confirmed publicly its intent not
to pursue any Avoidance Actions relating to the December 2019 Exchange Offer and the April 2020
Private Exchange transactions on behalf of the Estates.

Relatedly, various parties have asserted that certain of the Debtors’ Estates may possess valuable Claims
and Causes of Action, including Avoidance Actions, against other Debtors or the Non-Debtor Affiliates.
As an initial matter, the Debtors have reviewed dozens of historical transactions amongst them and the
Non-Debtor Affiliates and do not believe any of these Claims or Causes of Action would, if asserted,
result in materially greater value being recovered by any individual creditor or group of creditors than
the distributions contemplated by the Plan. Furthermore, the Debtors, through independent board
members and counsel, are conducting two separate diligence processes—one for Specialty Generics and
one for all the other Debtors—that will evaluate whether any material intercompany claims may be
meritorious. Importantly, if any board of any Debtor determines that it would be inconsistent to release
such Claims or Causes of Action (as contemplated by the Plan) in lieu of pursuing them, the Restructuring
Support Agreement can be terminated by the Debtors’ board. Please see section IV.P of this Disclosure
Statement titled “The Debtors’ Diligence Related to the Plan Releases” for more information regarding
these diligence processes.

        Q.      The SEC Letter Regarding the Debtors’ Releases Under the Plan

On April 27, 2021, the SEC served the Debtors with a letter expressing its view on the Debtors’ releases
under the Plan. The SEC expresses in its letter that, among other things, in its view, requiring creditor-
investors, public shareholders and holders of subordinated claims to opt out of the non-debtor third-party
releases in the Plan renders such releases non-consensual. The Debtors disagree with the SEC’s views
on the non-debtor third-party release in the Plan.

        R.      Acthar Claims Related Litigation in these Chapter 11 Cases

Prior to the Petition Date, the Debtors faced, and continue to face, more than 25 claims seeking damages
of over $15 billion, the majority of which are related to Acthar.

The Debtors and the plaintiffs in certain Prepetition Acthar Actions have been involved in claims related
litigation in these Chapter 11 Cases. Specifically, these plaintiffs in the Prepetition Acthar Actions have
filed Proofs of Claim, including putative class Proofs of Claim, in these Chapter 11 Cases against the
Debtors for damages related to the sale and distribution of Acthar, including those claims asserted in the
Prepetition Acthar Actions (the “Acthar Claims”, and such claimants the “Acthar Claimants”). The
Acthar Claims are among the largest claims asserted against the Debtors, and the Acthar business is the
largest contributor to product sales in the Debtors’ pharmaceutical portfolio.

Four of the Prepetition Acthar Actions are putative class actions: (a) City of Rockford v. Mallinckrodt
ARD, LLC, No. 3:17-cv-50107 (N.D. Ill.) (“Rockford”), (b) Steamfitters Local 420 v. Mallinckrodt ARD,
LLC, No. 2:19-cv-03047-BMS (E.D. Pa.) (“Steamfitters”), (c) United Ass’n of Plumbers & Pipefitter
Local 322 of S. N.J. v. Mallinckrodt ARD, LLC, No. 1:20-cv-00188-RBK-KMW (D.N.J.) (“Plumbers”),
and (d) City of Marietta v. Mallinckrodt ARD LLC, et al. No. 1:20-cv-00552-CC (N.D. Ga.) (“Marietta”)
(collectively, the “Prepetition Class Acthar Actions”). The putative class in Rockford is “All third party
payors and their beneficiaries in the United States and its Territories that paid for Acthar from August

                                                    70
               Case 20-12522-JTD                  Doc 2917            Filed 06/18/21           Page 82 of 835




2007 through the present.” See Rockford, Second Amended Complaint ¶ 165, Dkt. No. 98. The putative
class in Steamfitters is a subset of the putative class in Rockford: “All third-party payors and their
beneficiaries in the United States and its Territories that paid for Acthar from August 2007 through the
present for any unapproved indication or dose.” See Steamfitters, Complaint ¶ 445 (emphasis added),
Dkt. No. 1. And the putative class in Plumbers is yet a different subset of the purported class in Rockford:
“All third-party payors and their beneficiaries (1) who are current citizens and residents of the State of
New Jersey, and (2) who, for purposes other than resale, purchased or paid for Acthar from August 27,
2007 through the present.” See Plumbers, Amended Complaint ¶ 419, Dkt. No. 40. The putative class in
Marietta is comprised of “all third-party payors and their beneficiaries that paid for Acthar from four
years prior to the filing of the Complaint on February 6, 2020 until the date of trial” and a subclass
consisting of “all third-party payors and their beneficiaries and people without insurance in Georgia that
paid for Acthar from within four years prior to the filing of the Complaint until the date of trial.” See
Marietta, Complaint, ¶¶ 50, 51.

The Prepetition Acthar Actions allege, among other things, that the Acthar Claimants paid more for the
drug Acthar than they otherwise would have paid, that the Debtors were unjustly enriched because of the
illegal conduct, including preventing competition from entering the market that could have lowered the
price of the drug, and violations of federal and state antitrust laws, federal RICO, and the consumer fraud
laws of various states. The Debtors disagree with the aforementioned allegations. Notably, the two
primary antitrust theories alleged in the Prepetition Acthar Actions have each been dismissed in certain
of those actions, with the applicable courts accepting certain of the Debtors’ arguments made in support
of dismissal. For example, one court has rejected a claim based on the acquisition of a license for a
product called Synacthen by the Debtors’ predecessor, noting the claim for damages “at present appears
to be entirely speculative and hypothetical” and explaining that the claimant “alleges neither that West
has already secured FDA approval of Synacthen nor alleged any reasonable estimate regarding when the
FDA will approve Synacthen or when Synacthen will actually be available for purchase in the U.S.”26
The same court also rejected the theory that the Debtors’ relationship with its exclusive distributor for
Acthar, Express Scripts, is anticompetitive, ruling “[t]he Court is not persuaded by Plaintiff’s arguments
that Defendant’s actions to limit distribution to a single distributor, Express Scripts, artificially
maintained the price of Acthar because it prevented multiple distributors from negotiating to lower prices,
because Defendant was still the only producer of Acthar and could thereby set whatever price it wished
regardless of the number of distributors i[t] dealt with.”27

The parties asserting Acthar Claims include, among others, (a) Humana Inc. (“Humana”), which has
asserted Acthar Claims arising from its purchase of over a billion dollars of Acthar, (b) Attestor Capital
(“Attestor”), who has rights to participate in the Humana claim and also holds claims arising from over
a billion dollars of other third party purchases of Acthar (Humana and Attestor, collectively referred to
as the “Acthar Insurance Claimants”); (c) multiple individual plaintiffs and putative class
representatives represented by the Haviland Hughes and Ciardi, Ciardi, & Astin firms (the “Acthar Ad
Hoc Group”), which the Debtors understand from Rule 2019 statements includes one member of the
UCC; and (d) the City of Marietta, Georgia.

                    1.         Class Proof of Claim Objections

On April 30, 2021, the Debtors filed their Debtors’ Omnibus Objection To Class Proofs Of Claim
[Docket No. 2164] and on May 8, 2021, the Debtors filed Debtors’ Objection to City of Marietta Class
Proof of Claim [Docket No. 2231] (collectively, the “Class Proof of Claim Objections”) after the


26
     Order on Demurrer and Motion to Strike in Health Care Service Corp. v. Mallinckrodt ARD LLC, et al., Case No RG20056354 (Cal. Sup.
     Ct. for Alameda Ct’y Aug. 21, 2020).
27
     See id.


                                                                 71
           Case 20-12522-JTD            Doc 2917         Filed 06/18/21     Page 83 of 835




putative class of plaintiffs in the Prepetition Class Acthar Actions filed approximately 162 class Proofs
of Claim. The Debtors’ Class Proof of Claim Objections requested that the Bankruptcy Court disallow
and otherwise bar the class Proofs of Claim filed in these Chapter 11 Cases by the plaintiffs in the
Prepetition Class Acthar Actions. Specifically, the Debtors argued, among other things, that (a) the
claims should be disallowed because they are procedurally improper, class treatment is unnecessary to
protect the interests of putative class members, and they are burdensome to the Debtors’ estates and
reorganization process; (b) the Bankruptcy Code does not provide for class proofs of claim, and the Third
Circuit has never held that they are allowed; (c) even if there is no categorical bar to a class proof of
claim, they are permitted at the discretion of the Court only in narrowly-defined circumstances that are
not present with the filed claims, i.e., the claimants disobeyed proper procedure in filing the class Proofs
of Claim; (d) no claimant had filed a motion for class certification or obtained class certification in the
Prepetition Class Acthar Actions before such litigation was stayed; and (e) the vast majority of the class
Proofs of Claim were filed against Debtors that are not defendants in the underlying Prepetition Class
Acthar Actions (“Non-Defendant Debtors”). The Class Proof of Claim Objections seeks to disallow
approximately $10.5 billion in class Proofs of Claim against the Debtors. The Prepetition Class Acthar
Action Claimants have filed responses to the Class Proof of Claim Objections on the grounds that (a)
class proofs of claim are permitted in the Third Circuit and (b) sufficient cause exists for the Court to
invoke Bankruptcy Rule 7023 and allow the class Proofs of Claim.

Relatedly, also on April 30, 2021, the Debtors filed their Debtors’ First Omnibus Objection To
Unsubstantiated Claims (Substantive) [Docket No. 2165] (the “First Proof of Claim Objection”)
whereby they sought to disallow and expunge other Acthar Claims related to the Prepetition Acthar
Actions, specifically, Proofs of Claim filed by Humana, among others. The Debtors argued in their First
Proof of Claim Objection that these Acthar Claims are duplicative and/or unsubstantiated against all
Debtors other than Mallinckrodt plc and ARD, to the extent those parties are the named defendants in
the Prepetition Acthar Actions. The Acthar Insurance Claimants, the Acthar Ad Hoc Group, Marietta,
among others purportedly holding Acthar Claims, continue to pursue the allowance of their filed Proofs
of Claim and class Proofs of Claim and believe their Claims are valid and should be Allowed. In
particular, in the Opposition of Attestor Limited and Humana Inc. to the Debtors’ First Omnibus
Objection to “Unsubstantiated” Claims [Docket No. 2577], the Acthar Insurance Claimants argue,
among other things, that (a) the Acthar Insurance Claimants have met the relatively low threshold for
establishing prima facie valid claims and (b) there is ample evidence supporting the Acthar Insurance
Claimants’ claims against entities outside of ARD and Mallinckrodt plc. The Debtors disagree and
believe these Claims should be disallowed and/or otherwise expunged.

                 2.      Discharge and Related Claim Litigation

Certain of the Acthar Claimants have also made other bankruptcy-specific arguments in the pursuit of
their Acthar Claims, which caused the Debtors to commence litigation against the Acthar Claimants to
respond to these arguments. Specifically, the Acthar Ad Hoc Group have maintained that the liabilities
from the Acthar Claims may be non-dischargeable under section 1141(d)(6) of the Bankruptcy Code.
The Debtors, in response, filed a Complaint for Determination and Declaration of Dischargeability of
Alleged Claims and Debts of City of Rockford and a brief in support of summary judgment for their
Complaint [Docket Nos. 1, 3 in Adv. Pr. No. 21-50428 (JTD)] (collectively, the “Discharge Action”).
The Debtors’ papers in the Discharge Action reject the Acthar Ad Hoc Group’s position that any liability
from the Acthar Claims are non-dischargeable under sections 1141(d)(6) and 523(a)(2) of the Bankruptcy
Code as debts owed to a domestic governmental unit obtained by “false pretenses, a false representation,
or actual fraud.” The Debtors’ Discharge Action seeks a determination that the City of Rockford’s Acthar
Claims are dischargeable. The Debtors’ papers in the Discharge Action highlight that the City of
Rockford’s fraud claims in its Prepetition Acthar Action was dismissed for failure to adequately plead
the components of a valid fraud claim. The City of Rockford subject to the Discharge Action filed a
motion to dismiss the Discharge Action on procedural grounds asserting, among other things, that the

                                                    72
           Case 20-12522-JTD            Doc 2917         Filed 06/18/21     Page 84 of 835




City of Rockford has not moved to determine dischargeability [Docket No. 13 in Adv. Pr. No. 21-50428
(JTD)]. Also, under the Discharge Action, the Debtors seek to disallow $203 billion in unsubstantiated
Proofs of Claim against the Non-Defendant Debtors because they do not reflect a present liability of the
Debtors and are not supported by any basis stated in, or any documentation supplied with, the Proofs of
Claim. This litigation remains ongoing before the Bankruptcy Court and will continue as the parties seek
to resolve various issues in connection with this litigation.

On May 21, 2021, the City of Rockford in the Discharge Action filed the Defendant’s Brief In Opposition
To Motion For Summary Judgment [Docket No. 21 in Adv. Pr. No. 21-50428 (JTD)] (the “Acthar
Discharge Opposition”). The City of Rockford maintains that the Debtors’ Discharge Action simply
seeks a tactical advantage and that, in any event, they should be granted leave to amend their complaint
forming the basis for fraud in the Prepetition Acthar Action, and that the Debtors are not entitled to
summary judgment because there are unresolved factual disputes in the litigation that require discovery.

The Acthar Discharge Opposition also argues that the Bankruptcy Court should rule on its motion to
dismiss the Debtors’ Discharge Action before considering the Debtors’ summary judgment motion in
connection to the Discharge Action. According to the Acthar Discharge Opposition, this is especially
true, because the City of Rockford has requested substantial discovery related to the Debtors’ summary
judgment request. The City of Rockford maintains that a litany of material facts remain in dispute
between the parties, including the following: (a) the Debtors allegedly promoted the use of Acthar off-
label in violation of FDA regulations; (b) the Debtors’ alleged fraudulent marketing efforts increased
prescriptions for Acthar for off-label uses and in doses for which Acthar was not proven to be safe,
effective or useful; and (c) the Debtors allegedly unlawfully promoted Acthar for usage in populations
for which it had not received FDA approval and for which the safety and efficacy had not been established
through adequate clinical evidence.

Further, the Acthar Discharge Opposition argues that the Debtors’ omnibus claim objection to
“unsubstantiated” claims embedded in their Discharge Action ignored the “substantiation” provided in
alleged timely filed proofs of claim and exhibits. The City of Rockford contends that the Debtors failed
to prove that they have standing to object to those claims.

                 3.      The Humana Claims Motions

On April 30, 2021, the Acthar Insurance Claimants filed two claims-related motions: (a) Motion Of
Attestor Limited And Humana Inc. For Entry Of An Order Pursuant To 11 U.S.C. §§ 105(A) And 502(C)
(I) Authorizing Estimation Of Humana’s Acthar-Related Claims And (II) Allowing Humana’s Acthar-
Related Claims For All Purposes In These Bankruptcy Cases [Docket No. 2157] (the “Estimation
Motion”) and (b) Motion Of Attestor Limited And Humana Inc. For Entry Of An Order Allowing And
Compelling Payment Of Administrative Claims Pursuant To Section 503(B) Of The Bankruptcy Code
[Docket No. 2159] (the “Administrative Claim Motion”). The Acthar Insurance Claimants’ Estimation
Motion seeks to estimate their Acthar Claims and their Administrative Claim Motion seeks allowance of
an administrative expense claim against the Debtors arising from amounts paid for Acthar since the
Petition Date. According to the Acthar Insurance Claimants’ motions, their general unsecured and alleged
administrative Acthar Claims must be determined prior to confirmation because, among other reasons,
the determination of the size of Humana’s Acthar Claims is necessary to determine if the Plan meets the
requirements of the Bankruptcy Code, including whether the Plan is feasible, whether it meets the “best
interests of creditors” test and whether it does not unfairly discriminate amongst creditors. The Acthar
Insurance Claimants also assert that resolution of the Estimation Motion and Administrative Claim
Motion is necessary to determine whether the Debtors will continue to incur significant liability after
emergence because the Debtors have not lowered the allegedly artificially inflated, supracompetitive
price of Acthar. In the Administrative Claim Motion, the Acthar Insurance Claimants assert that the
Debtors continue to practice illegal conduct in its sale of Acthar at overinflated prices which give rise to

                                                    73
           Case 20-12522-JTD            Doc 2917         Filed 06/18/21     Page 85 of 835




tens of millions of dollars of administrative (or in the future, post-bankruptcy) claims each month arising
from post-petition sales of Acthar (approximately $255.8 million through the end of March and averaging
approximately $51.1 million each month). The Debtors maintain that the claims set forth in Humana’s
Estimation Motion and Administrative Claim Motion are meritless because, among others, (a) applicable
antitrust doctrines render them without merit, (b) there simply is no present continuation of the alleged
conduct at issue, (c) any damages presently arising would merely be future damages from the original
underlying action, (d) there is no generating of new claims currently, and (e) none of the Acthar
Claimants, including the Acthar Insurance Claimants, has offered any evidence (nor is there any) that
any alleged improper marketing is occurring now.

On May 21, 2021, the Debtors filed an objection to the Acthar Insurance Claimants’ Estimation Motion
and Administrative Claim Motion [Docket No. 2521] (the “Humana Claims Objection”). The Debtors
argue in their Humana Claims Objection that the Estimation Motion and Administrative Claim Motion
constitute an improper attempt by Attestor/Humana to estimate their administrative expenses and then
have them allowed and paid immediately. The Debtors assert that the motions should be denied because
section 503 of the Bankruptcy Code explicitly allows only “actual” administrative expenses, not
estimated amounts. The Debtors also assert that no provision in the Bankruptcy Code requires immediate
payment of administrative expenses, as requested by Attestor/Humana, as opposed to waiting until the
plan Effective Date.

The Debtors contend that once these improper requests are set aside, the remaining aspects of the
Estimation Motion and Administrative Claim Motion are either premature (such as estimating their
administrative expenses for feasibility purposes) or unnecessary (such as estimating their pre-petition
claims to determine feasibility or unfair discrimination). According to the Debtors, the Initial
Administrative Claims Bar Date (as defined below) and objection process will most efficiently allow the
Bankruptcy Court to determine whether there are actual administrative expenses through the Initial
Administrative Claims Bar Date. At that point, if there are Administrative Claims, then it would be
necessary to estimate any remaining administrative expenses through the plan confirmation process. The
Debtors conclude the Humana Claims Objection by requesting the Bankruptcy Court to deny the
Estimation Motion and Administrative Claim Motion.

All of the above litigation remains ongoing before the Bankruptcy Court and will continue as the parties
seek to resolve various issues in connection with this litigation. The Debtors continue to oppose any and
all allegations against them in the above referenced litigation. All parties’ rights in the above mentioned
litigation remain reserved.

                 4.      Acthar Administrative Claims and the Setting of an Administrative Claim
                         Bar Date and Post-Reorganization Liabilities

The Debtors have continued post-petition, and intend to continue post-reorganization, to operate their
Acthar-related business generally consistent with their historical practices, including those practices that
are the subject of the Acthar Claims. Since the Petition Date, the Debtors have net sales of approximately
$200 million of Acthar using their historical pricing. The Acthar Claimants contend that such post-
petition activity gives rise to post-petition claims entitled to administrative priority. The Debtors
disagree.

On May 20, 2021, the Court entered the Admin Claims Bar Date Order (as defined below) [see Docket
No. 2480], setting June 28, 2021 (i.e., Initial Administrative Claims Bar Date (as defined below)) as the
deadline to file proofs of Administrative Claims. The Acthar Claimants contend that the Acthar
Claimants’ Administrative Claims may reflect a substantial portion of all postpetition Acthar sales.
Similarly, the Acthar Claimants contend that claims will continue to accrue post-reorganization. The
Debtors disagree with both of the latter contentions.

                                                    74
               Case 20-12522-JTD                   Doc 2917             Filed 06/18/21            Page 86 of 835




The Acthar Claimants believe that the Administrative Claims asserted by Acthar Claimants and post-
reorganization liabilities owed to Acthar Claimants for continuing to operate their Acthar-related
business generally consistent with historical practices might create a risk regarding the feasibility of the
Plan. The Debtors disagree and believe the Plan is feasible. Alternatively, because the Debtors are
dependent on the historical practices related to Acthar, the Acthar Claimants believe that it may not be
possible to fund the Plan without engaging in what has been alleged to be actionable historical operating
and sales practices. The Debtors disagree with such assertion.

          S.         Generics Price Fixing Litigation

Certain other plaintiffs in the prepetition Generics Price Fixing Actions have also filed class Proofs of
Claim in these Chapter 11 Cases against the Debtors that relate to the Specialty Generics side of the
Debtors’ company, primarily against Debtor Mallinckrodt LLC (the “Generics Price Fixing Claims”).
The claimants asserting Generics Price Fixing Claims include AFSCME District Council 47 Health and
Welfare Fund (“DC 47”), which sits on the UCC, as will certain State Attorneys General in connection
with their joint price fixing lawsuit against the Debtors and other generic drug manufacturers.28

The Debtors have no knowledge of any wrongdoing by them, by their employees, or by any other
company or person, and neither the Debtors nor any of their current or former employees has been
charged in connection with the Generics Price Fixing Actions. Moreover, none of the Debtors were added
to the Generics Price Fixing Actions until December 2019–over three years after the litigation was filed.
As of the Petition Date, there were eight cases pending against the Debtors: two putative class actions—
filed by the End-Payer Plaintiffs (“EPPs”) and Direct-Purchaser Plaintiffs (“DPPs”); one action by the
State Attorneys General; four direct actions by private plaintiffs; and one action by Suffolk County, New
York. The Debtors believe that the DPPs have not filed a class claim, but the EPPs have (without
authorization from the court to do so). The Debtors intend to object to the filed class claim.

The Generics Price Fixing Claims present similar issues from a bankruptcy perspective as the Acthar
Claims: dischargeability of the claims, continuing conduct (i.e., administrative and post-bankruptcy
claims), and the allowance of the class claims. This litigation remains ongoing before the Bankruptcy
Court and will continue as the parties seek to resolve various issues in connection with this litigation.

                     1.         Generics Price Fixing Lift Stay Motion

On April 20, 2021, the EPPs filed their End-Payer Plaintiffs’ Motion For Declaratory Relief, Or In The
Alternative, Relief From The Automatic Stay And Waiver Of The Stay Imposed By Fed. R. Bankr. P. 4001
(the “EPP Lift Stay Motion”) [Docket No. 21 in Adv. Pr. No. 20-12522 (JTD)] seeking entry of an order
declaring that the automatic stay does not preclude the discovery sought by the EPPs in the prepetition
Generics Price Fixing Actions, and granting them relief from the automatic stay for cause. Pursuant to
the EPP Lift Stay Motion, the EPPs argue that participation by the named Debtors in the Generics Price
Fixing Actions is important and absent their ongoing meaningful participation, the plaintiffs in such
actions risk substantial prejudice not only as to their case against the named Debtors, but also to a full
and fair opportunity to prove their cases against the alleged co-conspirators in such cases.

The EPPs further argue that continuation of the Generics Price Fixing Actions against the named Debtors
would allegedly not create any serious burden or prejudice to the Debtors’ Plan. They maintain that the
directives of the District Court in the Generics Price Fixing Actions will allegedly not force the Debtors
to expend significant time or financial resources on the discovery process. Further, they argue that
attention of high-ranking executives will not be diverted from the reorganization process. Additionally,


28
     See generally In re Generic Pharm. Pricing Antitrust Litig., 16-MD-2724 (E.D. Pa. Aug. 5, 2016).


                                                                   75
             Case 20-12522-JTD          Doc 2917         Filed 06/18/21     Page 87 of 835




they contend the majority of the Mallinckrodt-affiliated individuals involved in discovery in the Generics
Price Fixing Actions are former employees, and none of the current employees identified as potential
document custodians for discovery purposes are high-ranking directors or officers of Mallinckrodt
known to be involved in the reorganization process. Finally, the EPPs maintain that litigation in the
District Court will allegedly be less burdensome to all parties, including Mallinckrodt, than beginning
proceedings from scratch in the bankruptcy forum.

The Debtors disagree with the EPPs assertions in the EPP Lift Stay Motion and opposes any order seeking
to lift the stay to proceed with the Generics Price Fixing Actions. The Debtors intend to file an objection
to the EPP Lift Motion in the near future.

        T.      The Administrative Claims Bar Date

On April 30, 2021, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Setting an Initial Bar
Date for Filing Proofs of Administrative Claim, (II) Establishing Administrative Claims Procedures, (III)
Approving the Form and Manner of Filing Proofs of Administrative Claim, (IV) Approving Notice of the
Initial Administrative Claim Bar Date, and (V) Granting Related Relief (the “Admin Claims Bar Date
Motion”) [Docket No. 2162] with the Bankruptcy Court.

A hearing to consider the relief requested in the Admin Claims Bar Date Motion was held before the
Bankruptcy Court on May 20, 2021. At the hearing, the Bankruptcy Court indicated that it would approve
the Admin Claims Bar Date Motion and enter the proposed order, subject to certain revisions being made
to the proposed order. On that same date, the Bankruptcy Court entered the Order (I) Setting An Initial
Bar Date For Filing Proofs Of Administrative Claim (II) Establishing Administrative Claims
Procedures, (III) Approving The Form And Manner Of Filing Proofs Of Administrative Claim, (IV)
Approving Notice Of The Initial Administrative Claim Bar Date, And (V) Granting Related Relief (the
“Admin Claims Bar Date Order”) [Docket No. 2480].

Pursuant to the Admin Claims Bar Date Order, each Person or Entity that asserts a claim (other than an
Opioid Claim or VI Opioid Claim) (each as defined in the Admin Claims Bar Date Order) against the
Debtors that arose after the Petition Date, but prior to April 30, 2021, at 11:59 p.m., prevailing Eastern
Time, shall be required to file an original, written proof of Administrative Claim (a “Proof of
Administrative Claim”). Except in the cases of certain exceptions explicitly set forth in the Admin
Claims Bar Date Order, all Proofs of Administrative Claim for any Administrative Claim arising on or
prior to April 30, 2021, at 11:59 p.m., prevailing Eastern Time, must be filed so that they are actually
received by Prime Clerk by June 28, 2021, at 5:00 p.m., prevailing Eastern Time (the “Initial
Administrative Claims Bar Date”).

The Admin Claims Bar Date Order sets forth certain categories of claimants that are not required to file
a Proof of Administrative Claim by the Initial Administrative Claims Bar Date, which includes, among
others, (a) any person or entity whose postpetition claim has previously been allowed by order of the
Court; (b) any person or entity holding an Opioid Claims or VI Opioid Claims; (c) any current or former
officer, director, or employee of any Debtor for claims based on wages, benefits (including retirement,
pension, and other postemployment obligations), indemnification, contribution, or reimbursement; and
(d) the United States Trustee, on account of claims for fees payable pursuant to 28 U.S.C. § 1930. This
list of categories is non-exhaustive. Please refer to the Admin Claims Bar Date Order for the complete
list of categories of claimants who are not required to file a Proof of Administrative Claim by the Initial
Administrative Claims Bar Date.

Nothing in the Plan or any other order of the Bankruptcy Court bars any party from asserting a Claim it
believes to be an Administrative Claim. The Debtors reserve the right to object to any such Claim or
Administrative Claim.

                                                    76
             Case 20-12522-JTD           Doc 2917         Filed 06/18/21      Page 88 of 835




        U.       Contingent Claims Asserted Against the Debtors

A substantial number and amount of contingent Claims have been filed in these Chapter 11 Cases,
including, substantial contingent Claims in connection with the Acthar Claims, Generics Price Fixing
Claims, and Asbestos Claims, among others. For instance, the contingent litigation Claims in connection
with the Acthar Claims and Generics Price Fixing Claims are described above in section IV.S-T of this
Disclosure Statement.

The Plan seeks to limit General Unsecured Claims recoveries to the General Unsecured Claims Recovery
Pool, which provides a recovery pool with an aggregate value of $100,000,000 for all General Unsecured
Claims. Under the Plan, the Debtors retain the right to assert objections to these contingent Claims (other
than Opioid Claims or Claims Allowed under the Plan) and, as such, the Allowance or disallowance of
these contingent Claims may not be decided until after you vote on the Plan. The Allowance or
disallowance of these contingent Claims (other than Opioid Claims or Claims Allowed under the Plan)
either will be determined by, among other things, the Debtors’ claims reconciliation process that will
likely take place after the Confirmation Hearing, the outcome of the Acthar Claims-related litigation
described in Article IV.S above, any mediation involving the Debtors and the Holders of these contingent
Claims, and any estimation motions or claim objections filed by the Debtors. While the Debtors believe
the determination can occur post-confirmation, the Achtar Insurance Claimants strongly contend that the
claims must be determined prior to confirmation of the Plan, as they believe such determination affects
the Plan’s confirmability. The Allowance or disallowance of these contingent Claims, in whole or in part,
will meaningfully affect recoveries and distributions to other Holders of General Unsecured Claims.

        V.       Opioid Claimant Mediation and Opioid Trusts

On February 3, 2021 the Debtors filed their Motion for Entry of an Order (A) Appointing a Mediator and
(B) Establishing Mediation Procedures as Set Forth in the Proposed Order Filed [Docket No. 1276]
requesting, among other things entry of an order (the “Opioid Mediation Order”) (a) appointing Kenneth
R. Feinberg to mediate the allocation of the Opioid MDT II Consideration, and (b) establishing mediation
procedures as set forth in the Opioid Mediation Order. The Bankruptcy Court entered the Opioid
Mediation Order [Docket No. 1381] on February 11, 2021.

Mediation commenced on February 11, 2021. The mediation parties included: (a) the Debtors; (b) the
OCC; (c) the Ad Hoc Group of NAS Children; (d) a certain ad hoc group of personal injury claimants
(the “Ad Hoc Group of Personal Injury Claimants”); (e) the Governmental Ad Hoc Committee; (f) the
MSGE Group; (g) counsel to Life Point Health System and counsel to various hospitals, including a
putative class of hospital claimants; (h) counsel to a putative class of emergency room physicians; (i)
counsel to Blue Cross and Blue Shield Association, various third party payors and health insurance
carrier plaintiffs; (j) counsel to Thornton Township High School District 205 and certain other public
school districts as representatives of a putative class of school district class claimants; (k) counsel to the
putative classes of purchasers of private health insurance represented by Stevens & Lee, P.C.; (l) the
Federal Healthcare Agency Opioid Claimants (each as defined in the Opioid Mediation motion and
Order); and (m) the FCR.

The mediation continued for approximately three months and resulted in the allocations set forth in the
Plan for certain of the Holders of private Opioid Claims and for Holders of Opioid Claims represented
by the mediation groups mentioned above (i.e., third-party payors, Hospitals, public schools, emergency
room physicians, etc.). These allocations are the product of hard-fought negotiations and will be the
subject of trust distribution procedures (as may be amended, supplemented or modified from time to
time) to be filed with the Court on the earlier of (a) 30 days from entry of the Disclosure Statement Order,
and (b) July 21, 2021. There are objecting opioid creditors who remain dissatisfied with their respective
treatments and discussions with certain of those parties remain ongoing. The mediation resulted in

                                                     77
           Case 20-12522-JTD           Doc 2917         Filed 06/18/21     Page 89 of 835




negotiated agreements that are subject to express conditions, including that a resolution is reached with
the DOJ that is acceptable to certain public entities, members of the PI Trust, and the FCR, and that
the public entities reach agreement on allocation issues with a critical mass of private entities, to be
determined in the sole discretion of the relevant public entities. The negotiated agreements from the
mediation are subject in all respects to the applicable parties reaching agreement on definitive
documents, including the Plan and the relevant trust agreements and trust distribution procedures. The
Debtors and Supporting Parties reserve all rights with respect to the proposed negotiated agreements in
principle set forth in this section of the Disclosure Statement, and the proposed negotiated agreements in
principle are subject to change.




                                                   78
                                    Case 20-12522-JTD           Doc 2917       Filed 06/18/21      Page 90 of 835




                1.      Proposed Allocations Amongst The Opioid Trusts

The allocation of the Opioid MDT II Consideration for each of the various opioid trusts is set forth in the chart below.




                                                                          79
           Case 20-12522-JTD            Doc 2917          Filed 06/18/21     Page 91 of 835




                 2.      The Opioid Trusts and Abatement

All Opioid Claims will be channeled to various opioid trusts as described in the Plan. Under the Plan, the
vast majority of the funds directed to these various opioid trusts will be dedicated to programs to abate
the opioid crisis. Most of the opioid trusts will have a mission to fund abatement of the opioid crisis. A
substantial portion of the Opioid Settlement amount will flow into abatement trusts established for the
benefit of states and localities, as well as other creditor groups such as Native American Tribes, hospitals,
ratepayers, third-party payors, emergency room physicians, and children with a history of Neonatal
Abstinence Syndrome and their guardians. These abatement trusts will require that the funds be
dedicated exclusively to opioid abatement efforts, and there will be transparency to so ensure. There will
also be a substantial portion of the Opioid Settlement amount that will be provided to a trust that will
make distributions to qualified personal injury claimants – specifically, the PI Trust. Applicable trust
documents (as may be amended, supplemented or modified from time to time), which will be finalized
and filed with the Court on the earlier of (a) 30 days from entry of the Disclosure Statement Order, and
(b) July 21, 2021, will provide more detailed information with respect to each particular trust including
information regarding, among other things, the mission, funding, and distribution procedures of a
particular opioid trust.

                 3.      The Public Opioid Creditor Trusts

Public Creditor Trusts. The Plan also provides for the establishment of two public creditor trusts, the
National Opioid Abatement Trust II (the “NOAT II”), on account of the State Opioid Claims and the
Municipal Opioid Claims, and the TAFT II, on account of the Tribe Opioid Claims. All value distributed
to the NOAT II and the TAFT II will be exclusively dedicated to programs designed to abate the opioid
crisis and for no other purpose, other than to fund administration of the programs themselves and to pay
fees and costs, including through the funding of the Opioid Attorneys’ Fee Fund, which will be
established for reimbursement of State Opioid Claimant, Municipal Opioid Claimant, and Tribe Opioid
Claimant costs and expenses (including attorneys’ fees). The Opioid Attorneys’ Fee Fund will be funded
in an amount and structure to be agreed upon by the Governmental Plaintiff Ad Hoc Committee and the
MSGE Group from the Public Opioid Creditor Share.

A schedule of the distributions to be received by the NOAT II and the TAFT II is set forth below:

                                                             Allocation Between the
      Aggregate Amount Distributable                        NOAT II and the TAFT II
                                              NOAT II                 TAFT II
      $0 – $625 million                       97.1%                   2.90%
      over $625 million – $1.25 billion       97.05%                  2.95%
      over $1.25 billion                      97%                     3.0%

National Opioid Abatement Trust II. The funds distributed to the NOAT II under the Plan will be
allocated to each State for use within that State based on a detailed mediation and settlement framework
for the NOAT II that resulted in a detailed methodology for determining the percentage of abatement
funds allocated to each State, which is based on, among other things, prescription opioid sales, the
prevalence of pain reliever use disorder, overdose deaths, population and other factors. That methodology
resulted in the state-by-state percentage allocations set forth in the NOAT II Documents to be filed with
the Plan Supplement. Within-state allocations of those funds to local governments and other Municipal
Units within each State will be determined either by a default allocation mechanic or a “Statewide
Abatement Agreement” if the required level of support can be reached within the applicable State no




                                                     80
               Case 20-12522-JTD                    Doc 2917             Filed 06/18/21             Page 92 of 835




later than two weeks following the Effective Date.29 Under the default allocation mechanic, the within-
state allocations of funds for abatement purposes shall be apportioned by region, and the specific
abatement uses of the funds shall be determined by the state, with input from a consulting body that
includes broad local government representation. Further detail on the inter-state allocation model and
intra-state allocation mechanisms is described in the NOAT II Documents that will be filed with the Plan
Supplement. Also, the core abatement purposes for which each State may allocate abatement funds are
described in the NOAT II Documents distribution procedures, with priority given to the “core strategies”
set therein.

The applicable NOAT II trustees shall distribute the NOAT II funds consistent with the allocation
percentages set forth below and in accordance with the NOAT II Documents.

                                     State                      Final Percentage Division of Funds

                                 Alabama                                       1.5958653635%
                                  Alaska                                       0.2283101787%
                            American Samoa*                                    0.0171221696%
                                  Arizona                                      2.3755949882%
                                 Arkansas                                      0.9322152924%
                                California                                     9.9213830698%
                                 Colorado                                      1.6616291219%
                               Connecticut                                     1.2938102647%
                                 Delaware                                      0.4420285052%
                           District of Columbia                                0.1799774824%
                                  Florida                                      7.0259134409%
                                  Georgia                                      2.7882080114%
                                  Guam*                                        0.0480366565%
                                  Hawaii                                       0.3246488040%
                                   Idaho                                       0.4919080117%
                                  Illinois                                     3.3263363702%
                                  Indiana                                      2.2168933059%
                                    Iowa                                       0.7419256132%
                                  Kansas                                       0.7840793410%
                                 Kentucky                                      1.9963344879%
                                 Louisiana                                     1.4650905059%
                                   Maine                                       0.5293231313%
                                 Maryland                                      2.1106090494%
                              Massachusetts                                    2.3035761083%
                                 Michigan                                      3.4020234989%
                                Minnesota                                      1.2972597706%
                                Mississippi                                    0.8624327860%
                                 Missouri                                      2.0056475170%
                                 Montana                                       0.3125481816%
                           N. Mariana Islands*                                 0.0167059202%
                                 Nebraska                                      0.4171546352%


29
     The allocation of public funds within a Territory or the District of Columbia will be determined by its local legislative body within the
     time frame set forth in the procedures of the NOAT II Documents filed with the Plan Supplement, unless that legislative body is not in
     session, in which case, the allocation of public funds shall be distributed pursuant to the direction of the Territory’s or District of
     Columbia’s executive, in consultation – to the extent applicable – with its government participation mechanism, all as set forth in the
     NOAT II Documents filed with the Plan Supplement.


                                                                    81
               Case 20-12522-JTD                      Doc 2917              Filed 06/18/21              Page 93 of 835




                                  Nevada                                         1.2017657135%
                              New Hampshire                                      0.5784834777%
                                New Jersey                                       2.7551354545%
                               New Mexico                                        0.7989379794%
                                New York                                         5.3903813405%
                              North Carolina                                     3.2502525994%
                               North Dakota                                      0.1700251989%
                                   Ohio                                          4.3567051408%
                                Oklahoma                                         1.5322312508%
                                  Oregon                                         1.3741405009%
                               Pennsylvania                                      4.5882419559%
                               Puerto Rico**                                     0.7101195950%
                               Rhode Island                                      0.4465429178%
                              South Carolina                                     1.5393083548%
                               South Dakota                                      0.1982071487%
                                Tennessee                                        2.6881474977%
                                   Texas                                         6.2932157196%
                                   Utah                                          1.1466798699%
                                 Vermont                                         0.2544890561%
                              Virgin Islands*                                    0.0315673573%
                                 Virginia                                        2.2801150757%
                                Washington                                       2.3189040182%
                               West Virginia                                     1.0567416533%
                                Wisconsin                                        1.7582560561%
                                 Wyoming                                         0.1668134842%

Tribe Opioid Claims and the TAFT II. Distributions to the Tribes on account of Tribe Opioid Claims
will be required to be used exclusively for abatement purposes and permitted administrative costs, and
will be made through the TAFT II in accordance with the TAFT II Documents to be filed with the Plan
Supplement.30 The allocation of distributions among Tribes will be consistent with the allocation
percentages set forth in the TAFT II Documents. The Tribes will use the tribal allocation of abatement
funds for programs on the approved list of abatement strategies (see the TAFT II Documents and
procedures therein to be filed with the Plan Supplement) and also for culturally appropriate activities,
practices, teachings or ceremonies that are, in the judgment of a tribe or tribal health organization, aimed
at or supportive of remediation and abatement of the opioid crisis within a tribal community. A list of
representative examples of such culturally appropriate abatement strategies, practices, and programs is
attached to the TAFT II Documents and referred to therein as the “Tribal Abatement Strategies”. The
separate allocation of abatement funding and illustrative list of Tribal Abatement Strategies recognizes
that American Indian and Alaska Native Tribes and the communities they serve possess unique cultural
histories, practices, wisdom, and needs that are highly relevant to the health and well-being of American
Indian and Alaska Native people and that may play an important role in both individual and public health
efforts and responses in Native communities.

Each of the NOAT II and the TAFT II shall (i) monitor the use of funds received by any applicable
recipients in accordance with the NOAT II Documents and TAFT II Documents and (ii) prepare and
deliver to the Opioid MDT II for publication annual reports on the disbursement, use and, to the extent
feasible and cost-effective, efficacy of abatement distributions from such Trusts and the compliance by
abatement distribution recipients with the authorized abatement purposes set forth in the applicable trust


30
     TAFT II may consist of one or more trusts, limited liability companies, or other Persons or Entities, to be identified in the Plan Supplement.


                                                                       82
             Case 20-12522-JTD        Doc 2917         Filed 06/18/21     Page 94 of 835




documents. The Debtors believe that funding these dedicated abatement funds is in the best interest of
creditors and of the American public.

        W.      The Opioid Noticing Program

On June 8, 2021, the Debtors filed their Additional Opioid Notice Plan [Docket No. 2771, Ex. 5] (the
“Opioid Notice Plan”). The Opioid Notice Plan provides that the Debtors will use multiple channels in
the United States (including territories and tribes) and Canada to provide notice to known and unknown
Holders of Opioid Claims. The Debtors will implement a combination of direct mailings, media
campaigns and advertising (i.e., primarily television, online social/search media, and radio), print
publications (i.e., newspapers and magazines), and community outreach to provide notice to known and
unknown Opioid Claimants. The Debtors’ Opioid Notice Plan will involve a direct notice strategy and
a media and community outreach strategy.

                1.      The Opioid Notice Plan - Direct Notice

The Debtors propose to send direct, mailed notice, and a Solicitation Package (including the applicable
Ballot), to the following known Holders of Opioid Claims and/or their lawyers.

               Existing Opioid Plaintiffs: All plaintiffs with pending opioid lawsuits against the
                Debtors.
               Non-Plaintiff, Known Claimants: All persons and entities that have filed opioid-related
                Proofs of Claim in the Debtors’ Chapter 11 Cases (if any), and all Persons and Entities
                that have appeared in the Debtors’ Chapter 11 Cases on the basis of opioid-related
                claims, regardless of whether any of the foregoing have filed lawsuits against the
                Debtors relating to opioids.
               Co-Defendants: All co-defendants to the Debtors in their prepetition opioid litigations.
               Putative Class Representatives: All putative class representatives to the various opioid
                claim classes in these Chapter 11 Cases (e.g., the hospitals, ratepayers, ERP’s, NAS,
                Public Schools, etc.).
The Debtors will also send direct, mailed notice to the following potential Holders of Opioid Claims
and/or their lawyers. Such notice will include information on how to retrieve a Solicitation Package
directly from the Notice and Claims Agent, and vote on the Debtors’ Plan.

               Related Consolidated Third Party Payors: Collective group of more than 450,000
                insurance payors who have filed Proofs of Claim in the Debtors’ chapter 11 cases
                relating to Acthar® Gel and asserted generics price fixing claims—the Debtors
                understand that group entirely or nearly entirely overlaps with the consolidated group of
                payors that filed opioid claims in the chapter 11 cases for In re Purdue Pharma L.P.,
                Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.).
               Opioid Claimants who filed a Proof of Claim in Purdue: The Debtors propose to utilize
                publicly available opioid claimant notice information from the Purdue Chapter 11 Cases,
                and to seek permission from the applicable bankruptcy court for Prime Clerk to utilize
                non-publicly available opioid claimant notice information, to send direct notice to such
                persons and entities.

                2.      The Opioid Notice Plan - Media and Community Outreach Strategy




                                                  83
            Case 20-12522-JTD           Doc 2917         Filed 06/18/21     Page 95 of 835




The Debtors will conduct the following media and community outreach noticing programs to provide
notice to all unknown Opioid Claimants. The following notice programs will disseminate information
on how to obtain a Solicitation Package and an applicable Ballot, how to cast a vote on the Debtors’ Plan,
provide notice of all relevant deadlines for the Debtors’ Chapter 11 Cases, and directions for how to
contact the Notice and Claims Agent with any questions.

The Debtors and their Notice and Claim Agent will commence a media/advertising outreach campaign
that will include:

               Television: Broadcast network and cable;
               Online Media: Display internet banner advertising (United States and U.S. territories in
                both English and Spanish);
               Search: Key word and search terms (United States, U.S. territories and Canada in
                English, Spanish and French);
               Social Media: Facebook, Instagram, Twitter, YouTube and TikTok (United States and
                U.S. territories in both English and Spanish) and Canada (English and French);
               Radio: Tribal and Univision (United States and U.S. territories in Spanish); and
               Press Releases (released approximately 2 weeks after entry of the Disclosure Statement
                Order): Releases in both United States (including U.S. territories and tribes in both
                English and Spanish) and Canada (in both English and French);
               Print (Newspapers and Magazines):
                        United States and U.S. territories: Wall Street Journal, seventy-eight (78) local
                         newspapers and over fifty (50+) tribal newspapers;
                        U.S. territories: six (6) local newspapers in Spanish and English; and
                        Canada: Maclean’s, Canadian Living, Reader’s Digest (English) and Reader’s
                         Digest (French)
The Debtors’ media outreach timeline will last approximately seventy-three (73) days before the Voting
Deadline (i.e., starting on or around June 22, 2021 and ending on or around September 3, 2021). This
media outreach campaign is intended to target over ninety percent (90+%) of all adults eighteen and older
regardless of age, gender, income, ethnicity or socio-economic condition in the United States and over
eighty percent (80+%) of the same in Canada.

For television, the Debtors would propose a thirty-second (:30) television commercial, delivering
information about the Debtors’ Plan process and the potential right to vote, for viewers that may have a
potential Opioid Claim against the Debtors. The commercial will direct viewers to a dedicated webpage
where the Opioid Claimant could obtain relevant materials, including the Plan and Disclosure Statement,
and cast a vote on the Plan.

In paper print media, the Debtors will use a simplified notice that will deliver key information alerting
the reader to the Debtors’ Plan process and their potential right to vote, if they believe they may have an
Opioid Claim against the Debtors.

In online channels, the Debtors would further streamline the information conveyed in the primary
advertisement by creating an online banner with information substantially in the form below:




                                                    84
             Case 20-12522-JTD          Doc 2917         Filed 06/18/21     Page 96 of 835




   If you or a family member has been harmed by the use of an opioid product, then any claim you may
   have against Mallinckrodt, which is an opioid manufacturer, may be impacted by Mallinckrodt’s
   bankruptcy plan and channeled to a trust for any recovery. As a result, you may have the right to vote
   on Mallinckrodt’s plan. If you want to vote on, or object to, Mallinckrodt’s plan, you must do so by
   September 3, 2021 at 4:00 p.m. (ET). Please visit the dedicated opioid claimant webpage for more
   information and read Mallinckrodt’s plan and disclosure statement to help you decide whether and
   how to vote and request and submit a ballot. If you have questions about the information contained
   herein, you may also contact the Debtors at MallinckrodtInfo@primeclerk.com or the Official
   Committee of Opioid Related Claimants at MLNKOpioidcreditorinfo@primeclerk.com.


The Debtors will also deliver notice through a community outreach program via a short simplified notice
that will explain the Debtors’ Chapter 11 Cases and the process for obtaining a Ballot and voting on the
Plan if the recipient believes he or she may have an Opioid Claim and wishes to vote on the Plan. This
community outreach notice is expected to reach over 330,000 parties in various categories of
communities and organization, including without limitation, Addiction Treatment Centers; Public
Schools; Church Organizations; Crisis Intervention Service, Help Lines, Intervention Centers;
Dependency Information & Help Centers; Drug Abuse & Addiction Info & Treatment Centers;
Emergency Rooms; Hospitals (For Profit, Psychiatry, Teaching, Veterans, Women’s, Government
Owned, Rehabilitation, Chemical Dependency, Children); Mental Health Clinics; NAS Support Groups;
Native American Reservations & Tribes; and Opioid/Opiate Treatment Centers.

The Debtors and their Notice and Claims Agent are also investigating whether they could conduct a
notice program with counties, cities, towns and other local governments in the United States. The notice
would be similar to the community outreach notice above (i.e., a short notice explaining the Debtors’
chapter 11 cases and the process for obtaining a Ballot and voting on the Plan). The Debtors’ investigation
is still ongoing and, if it’s possible, the Debtors will indeed provide notice to certain counties, cities,
towns and other local governments in the United States.

        X.      The Canadian Recognition Proceedings

In parallel with these Chapter 11 Cases, Mallinckrodt Canada ULC, Mallinckrodt plc, Mallinckrodt
Hospital Products Inc., Mallinckrodt LLC, and MNK 2011 LLC (collectively, the “Canadian Filing
Entities”) have commenced proceedings under Part IV of the Canadian Companies Arrangement Act
(the “Canadian Recognition Proceedings”) in the Ontario Superior Court of Justice (Commercial List)
(the “Canadian Court”) to recognize the Chapter 11 Cases as foreign main proceedings or foreign non-
main proceedings, as applicable, in Canada and to recognize in Canada certain Orders of the Bankruptcy
Court. In the Chapter 11 Cases, the Bankruptcy Court issued an order appointing Mallinckrodt Canada
ULC as the foreign representative (the “Foreign Representative”) of itself, Mallinckrodt plc, and the
other Canadian Filing Entities.

On October 16, 2020, the Foreign Representative, under Part IV of the Companies’ Creditors
Arrangement Act (the “CCAA”) applied for and was granted an Initial Recognition Order (Foreign Main
Proceeding and Foreign Non-Main Proceeding) and a Supplemental Order as to Mallinckrodt ULC,
Mallinckrodt plc, and Mallinckrodt Hospital Products Inc. (together, the “Initial CCAA Recognition
Orders”). The Canadian Recognition Proceedings are pending before the Honourable Mr. Justice Hainey
of the Ontario Superior Court of Justice (Commercial List) under Case No. CV-20-00649441-00CL.
Among other things, the Initial CCAA Recognition Orders: (a) recognize the Chapter 11 Cases as a
“foreign main proceeding” and a “foreign non-main proceeding”; (b) recognize Mallinckrodt Canada
ULC as the Foreign Representative in respect of the Canadian Filing Entities; (c) grant a stay of
proceedings in Canada in respect of the Canadian Filing Entities and their officers and directors and other
standard relief; (d) recognize and give effect in Canada to certain interim orders made by the Bankruptcy

                                                    85
             Case 20-12522-JTD         Doc 2917         Filed 06/18/21     Page 97 of 835




Court in the Chapter 11 Cases; and (e) appoint Ernst & Young Inc. as Information Officer in the Canadian
Recognition Proceedings.

The Debtors initiated the Canadian Recognition Proceedings in order to (a) channel certain claims (the
“Canadian Opioid Claims”) related to the B.C. Class Action Litigation (as defined below) to the Opioid
MDT II, and (b) to stay that and certain other litigation, including the Ontario Litigation (as defined
below) and the Eaton Litigation (as defined below), during the pendency of the Chapter 11 Cases.

The Canadian Filing Entities are defendants in three actions in Canada (the “Canadian Litigations”).
The Canadian Litigations are comprised of:

       a civil claim dated June 1, 2020, filed in the Supreme Court of British Columbia under the Class
        Proceedings Act (British Columbia) (the “B.C. Class Action Litigation”) naming Mallinckrodt
        Canada ULC and Mallinckrodt plc (the “B.C. Mallinckrodt Defendants”) as defendants and
        alleging, among other things, that following a switch from the generic methadone compound to
        Methadose: a) the B.C. Mallinckrodt Defendants knew that Methadose was less effective than
        the compounded generic methadone in question; b) the B.C. Mallinckrodt Defendants knew or
        ought to have known that restricting patient access to compounded generic methadone and the
        switch to Methadose could result in relapse and harms associated with relapse; and c) the B.C.
        Mallinckrodt Defendants – through acts or omissions – committed various wrongdoings,
        including making false representations regarding Methadose and the switch from compounded
        generic methadone, and failing to warn patients;

       a civil claim dated July 2, 2015, filed in the Ontario Superior Court of Justice (the “Ontario
        Litigation”) naming Ikaria Inc. (a predecessor company to Mallinckrodt Hospital Products Inc.)
        as a defendant, alleging, negligence, conversion, interference with property and/or breach of
        contract in respect of the destruction of certain product stock; and

       a civil claim dated June 3, 2020, filed in the Federal Court of Canada in Toronto, Ontario, under
        the Competition Act (Canada) and the Federal Courts Act (Kathryn Eaton v Teva Canada
        Limited et al. – Court File No. T-607-20) (the “Eaton Litigation”), naming Mallinckrodt LLC,
        Mallinckrodt Canada ULC, Mallinckrodt plc and 71 other unrelated pharmaceutical entities, as
        defendants, and alleging, that the defendants participated in a conspiracy across North America
        to allocate the market, fix prices and maintain the supply of certain generic drugs.

After the Confirmation of the Plan by the Bankruptcy Court, applications will be made by the Canadian
Filing Entities seeking orders from the Canadian Court recognizing the Confirmation Order as a matter
of Canadian law, the effect of which, among other things, will be to channel all Canadian Opioid Claims
to the Opioid MDT II pursuant to the terms of the Plan. Notwithstanding the foregoing, the Debtors
reserve the right to file additional Canadian Recognition Proceedings for Debtors other than the Canadian
Filing Entities, to the extent necessary or advisable to consummate the Plan. Entry of an order by the
Canadian Court recognizing the Confirmation Order in the Canadian Recognition Proceedings and giving
full force and effect to the Confirmation Order in Canada (and such recognition order becoming a Final
Order) is a condition precedent to the Effective Date under Article VIII of the Plan.

        Y.      The Irish Examinership Proceedings

In accordance with the Restructuring Support Agreement and the Plan, the Parent anticipates filing a
petition to commence the Irish Examinership Proceedings following confirmation of the Plan. The filing
of the Irish Examinership Proceedings will commence the protection period during which the Parent will,
under Irish law, have the benefit of protection against enforcement and other actions by its creditors for
a period of up to 100 calendar days (or as otherwise amended under applicable Irish insolvency law).

                                                   86
           Case 20-12522-JTD            Doc 2917         Filed 06/18/21     Page 98 of 835




The Parent intends to continue operating its business in the ordinary course during the protection period,
save that an Examiner will be in place whose primary function will be to seek approval for its proposals
for a Scheme of Arrangement in relation to the Parent.

The Irish Debtors believe that the terms of the proposals for a Scheme of Arrangement which will
accompany the Irish Examinership Proceedings will, inter alia, deal with the: (i) cancellation of all Equity
Interests; (ii) issue of New Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary
Shares issuable upon exercise of the New Opioid Warrants as of the Effective Date, without regard to
any limitations on the exercise of the New Opioid Warrants) to the Holders of Guaranteed Unsecured
Notes Claims; and (iii) issue of New Opioid Warrants to the Opioid MDT II each on terms consistent
with the Plan.

Notwithstanding anything to the contrary in the above, the Debtors reserve the right to file additional
Irish Examinership Proceedings for Debtors other than Parent, to the extent necessary or advisable to
consummate the Plan.

Furthermore, one of the Holders of ordinary shares of Mallinckrodt plc, the Buxton Helmsley Group
(“BHG”), filed The Buxton Helmsley Group, Inc.’s Joinder In Acthar Plaintiffs’ Preliminary Objections
To Debtors’ Disclosure Statement [Docket No. 2385] asserting, among other things, that the Debtors and
their directors may have violated certain aspects of Irish law in connection with their restructuring and
these Chapter 11 Cases. Thus, according to BHG, Mallinckrodt plc may have undisclosed Claims against
it that may interfere with the Debtors’ ability to consummate the Irish Examinership Proceeding and,
accordingly, to consummate the Plan. The Debtors disagree with BHG’s assertions in its joinder
pleading.

                 1.      Petition Hearing

On the petition hearing date of the Irish Examinership Proceedings, the Parent will apply to have the
Examiner’s appointment confirmed. The Parent will be required to establish that it is insolvent and that
there is a reasonable prospect of the survival of both the company and its undertaking. It is intended that
the petition will be accompanied by the Scheme of Arrangement.

                 2.      Approval of Proposals for the Scheme of Arrangement

The Examiner will convene meetings of classes of creditors and the shareholders of the Parent. The
Scheme of Arrangement is required to be approved by in excess of 50% plus one in value and in number
of at least one class of impaired creditors.

                 3.      Approval by the High Court of Ireland

Once the requisite creditor classes have voted in favor of the Scheme of Arrangement, the Examiner will
file a report containing details of the outcome of the votes of the class meetings with the High Court of
Ireland and apply to the High Court of Ireland for a hearing date to confirm the Scheme of Arrangement.
At such hearing the Examiner will be required to establish that the proposals are fair and equitable to any
class of creditors which has not accepted the proposals and whose interests would be impaired by the
proposals and that the proposals are not unfairly prejudicial to the interests of any interested party.

Entry of an order confirming the Scheme of Arrangement in the Irish Examinership Proceedings and the
Scheme of Arrangement becoming effective in accordance with its terms (or becoming effective
concurrently with effectiveness of the Plan) is a condition precedent to the Effective Date under Article
VIII of the Plan.


                                                    87
             Case 20-12522-JTD          Doc 2917         Filed 06/18/21     Page 99 of 835




        Z.      Disclosure Statement Objections

Various parties have filed objections to this Disclosure Statement and the Disclosure Statement Order.
The Debtors have engaged with some of these objecting parties to resolve their objections and intend to
continue engaging with objecting parties to resolve objections. Below are additional disclosures with
respect to said Disclosure Statement objections.

As set forth in the Objection of the Ad Hoc First Lien Notes Group to Approval of the Debtors’ Disclosure
Statement [Dkt. No. 2377], the Objection of Columbus Hill Capital Management, L.P. to Debtors’
Motion for Approval of Disclosure Statement for Joint Plan of Reorganization of Mallinckrodt PLC and
Its Debtor Affiliates under Chapter 11 of the Bankruptcy Code [Dkt. No. 2350], the Supplemental
Objection of Columbus Hill Capital Management, L.P. to Debtors’ Motion for Approval of Disclosure
Statement for Joint Plan of Reorganization of Mallinckrodt Plc and Its Debtor Affiliates Under Chapter
11 of the Bankruptcy Code [Dkt. No. 2859] and various informal communications, that certain ad hoc
First Lien Notes group, Columbus Hill Capital Management, L.P. and/or that certain ad hoc Second Lien
Notes group have raised objections to (i) the Debtors’ proposed Reinstatement of the First Lien Notes
and Second Lien Notes, as applicable, under the Plan, including without limitation, whether the First
Lien Notes or Second Lien Notes may be reinstated absent the inclusion of the “Applicable Premium”
under the Indentures in the reinstated principal balance of the notes; and (ii) the Debtors’ proposed
alternative treatment of the First Lien Notes Claims and Second Lien Notes Claims under the Plan in the
form of Cram-Down First Lien Notes or Cram-Down Second Lien Notes, as applicable, including,
without limitation, whether the Cram-Down First Lien Notes or Cram-Down Second Lien Notes satisfy
the requirements of section 1129(b) of the Bankruptcy Code. The Debtors disagree with their positions,
and their other assertions in their objections, and submit that the First Lien Notes and the Second Lien
Notes may be Reinstated without paying any “Applicable Premium” and that the treatment of First Lien
Notes and Second Lien Notes under the Plan is otherwise appropriate.

The UCC filed its Preliminary Objection Of Official Committee Of Unsecured Creditors To Motion Of
Debtors For Entry Of Order (I) Approving The Disclosure Statement And Form And Manner Of Notice
Of Hearing Thereon, (II) Establishing Solicitation Procedures, (III) Approving The Form And Manner
Of Notice To Attorneys And Solicitation Directive, (IV) Approving The Form Of Ballots, (V) Approving
Form, Manner, And Scope Of Confirmation Notices, (VI) Establishing Certain Deadlines In Connection
With Approval Of Disclosure Statement, And Confirmation Of Plan, And (VII) Granting Related Relief
[Docket No. 2392]. The UCC’s objection asserts that it does not support the Plan.

In response to the UCC’s objection, (a) the Debtors will include with the Solicitation Package
correspondence from the UCC directed to Holders of General Unsecured Claims stating its position with
respect to the Plan; (b) the Debtors believe the Asbestos Claims asserted against the Debtors primarily
relate to a refractory product sold by a legacy affiliated entity prior to 1974; and (c) certain plaintiffs
have also alleged premises liability Asbestos Claims against the Debtors.

The Acthar Ad Hoc Group and certain other Acthar Claimants filed their Acthar Plaintiffs’ Preliminary
Objections To Debtors’ Disclosure Statement [Docket No. 2244] and their Supplemental Preliminary
Objections Of The Acthar Plaintiffs To Disclosure Statement For Joint Chapter 11 Plan Of
Reorganization Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy Code
And Joinder [Docket No. 2415]. The Debtors hereby include the following additional disclosures to
resolve the Acthar Ad Hoc Group’s objection.

        The Plan divides unsecured Claims into various Classes, specifically, Classes 5-11 and
        Class 13. Those Classes (inclusive of Classes identified with an enumerated sub-clause)
        are entitled to varying recoveries from varying sources under the Plan. The varying
        recoveries reflect (a) the interrelated settlements that underpin the Restructuring

                                                    88
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 100 of 835




       Support Agreement and that have been agreed during these Chapter 11 Cases and (b)
       the varying legal entitlements of the creditors within each Class, as demonstrated by
       (among other things) the Liquidation Analysis, which is filed at Docket No. 2285-2 and
       set forth in Exhibit E hereto. A material portion of the Debtors’ profits were earned in
       connection with the sale of Acthar both pre- and post-petition. The Debtors will not be
       substantively consolidated for all purposes through the Plan. The Plan seeks to limit the
       Acthar Claimants’ recovery to sharing in the General Unsecured Claims Recovery Pool.
       The Debtors intend to demonstrate at the Confirmation Hearing the propriety of the
       treatments applicable to different Classes of unsecured Claims, a position that is
       disputed by the Acthar Claimants and the Official Committee of Unsecured Creditors.

       The Acthar Claimants, including multiple individual plaintiffs and putative class
       representatives represented by the Haviland Hughes and Ciardi, Ciardi, & Astin firms,
       have stated in their pleadings that they intend to pursue legal action against the
       Reorganized Debtors, the New Board, and Holders of the New Mallinckrodt Ordinary
       Shares after the Effective Date, for purported violations of antitrust and price fixing laws
       they assert will occur.

       The Debtors have not appointed any non-employee directors to U.S. Specialty Brands
       subsidiaries of Debtor Mallinckrodt plc. Mallinckrodt plc’s board of directors is
       comprised of a majority of independent directors.

       The Debtors will disclose the assumption or rejection of any applicable Executory
       Contracts with Express Scripts or any of its affiliated entities in connection with the Plan
       Supplement, which will be filed twenty-eight (28) days before the Voting Deadline. The
       consequences of such assumption or rejection will be as dictated by the Bankruptcy
       Code, including section 365 of the Bankruptcy Code. For the avoidance of doubt, the
       Debtors do not expect that Article V.G of the Plan, which applies to opioid-related
       indemnification obligations, would apply to any such Executory Contracts. However,
       to the extent that any such Executory Contracts do give rise to Co-Defendant Claims
       (i.e., based on or in connection with Opioid Claims), such indemnification obligations
       would be subject to Article V.G of the Plan.

       From and after the Effective Date, the Debtors intend to continue operating their Acthar-
       related businesses generally consistent with their historical practices. The Acthar
       Claimants take the position that such historical practices form the basis for
       Administrative Claims that have accrued post-petition and will continue to accrue, and
       the Debtors disagree with that position.

       The Debtors’ Statements of Financial Affairs disclose all transfers among the Debtors
       for the one-year prior to the Petition Date. The Ad Hoc Acthar Group has identified
       $14 billion of such transfers that it believes may be subject to challenge and/or
       avoidance. The Debtors’ position is that the transfers identified in their Statements
       largely reflect ordinary course intercompany business activity and/or satisfaction of
       non-avoidable obligations, the general structures of which are described in more detail
       in the Debtors’ “Cash Management Motion” filed at Docket No. 23 in the Chapter 11
       Cases.

In addition, in further response to the Acthar Ad Hoc Group’s objection, the Debtors have confirmed
that the following parties are not “Released Parties” as defined in the Plan:



                                                   89
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 101 of 835




        Cigna Corp.; Cigna Holding Co.; Express Scripts, Inc.; Express Scripts Holding Company;
        CuraScript, Inc., d/b/a CuraScript, SD, f/k/a CuraScript Pharmacy, Inc.; Accredo Health Group,
        Inc.; Avista Capital Partners; United BioSource Corporation; United Biosource LLC; United
        Biosource Holdings, Inc.; Aetna; Aetna Rx; Avella; Biologics/Care Advantage; CVS Caremark;
        CVS Health Corp.; Caremark LLC; CVS Pharmacy, Inc.; Cigna Specialty; Cigna Tel Drug;
        Coram; Diplomat Pharmacy; Optum; OptumRx, Inc. f/k/a SXC Health Solutions, Inc.; United
        Health Group; BriovaRx; Freedom Fertility; Humana Inc.; Humana Specialty; RightSource SP;
        Kroger Specialty; McKesson Specialty; Medmark; PerformRx; Pharmacare; PrecisionRx;
        Premier; Prime Therapeutics SP; SenderraRx.; US Bioservices; Walgreens Specialty;
        Walgreens Boots Alliance; Biosolutia; CareMetx; NORD (National Ass’n of Rare Disease);
        CDF (Chronic Disease Fund); CDF RX, Inc.; Michael Banigan; CVC (Caring Voice Coalition);
        Sonexus Health; The Assistance Fund (TAF); Good Days; Novartis Pharmaceuticals; Sigma
        Tau.

The Acthar Insurance Claimants filed their Objection of Attestor Limited and Humana, Inc. to the
Debtors’ Disclosure Statement for Joint Chapter 11 Plan of Reorganization of Mallinckrodt plc and its
Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 2384]. The Debtors hereby
include the following disclosures, which have been drafted, proposed, and alleged by the Acthar
Insurance Claimants, to resolve certain of the Acthar Insurance Claimants’ objections to this Disclosure
Statement. The Debtors do not necessarily agree with or endorse any of the statements or allegations in
the following disclosures.

        The Acthar Insurance Claimants, holders of claims arising from nearly $2.4 billion in
        purchases of Acthar, have grave concerns regarding the Plan and, in their view, the
        Disclosure Statement, misstates, mischaracterizes, and plainly omits several of the key
        facts necessary for creditors to make an informed decision regarding the Plan.
        Accordingly, the information presented below summarizes Humana and Attestor’s
        position and facts underlying such position, so that creditors have adequate information
        when deciding whether to vote to accept or reject the Plan. For the reasons set forth
        below, Humana and Attestor urge Class 6 creditors to vote to REJECT the Plan.

        History of Acthar: Acthar is a naturally derived ACTH (adrenocorticotropic hormone)
        drug that was developed in the 1940s (and approved by the Food and Drug
        Administration in 1952), is administered by injection, and produced only by
        Mallinckrodt. While initially approved to treat a wide range of ailments, over time many
        alternative anti-inflammatory drugs have been developed, which are in pill form. Today,
        with the exception of infantile spasms, for which it is standard of care, Acthar typically
        is a last resort treatment when multiple other treatment options, including steroids, have
        failed, and for most indications, there is a lack of medical evidence to support Acthar’s
        use over alternative, more convenient, and far cheaper treatments.

        In 2001, the Debtors’ predecessor, Questcor Pharmaceuticals, Inc., acquired exclusive
        rights to Acthar for a modest $100,000, and in 2014, the Debtors purchased Questcor
        for $5.6 billion. Since 2001, Questcor and the Debtors have leveraged their monopoly
        power to increase the price of a single vial of Acthar from $40 in 2001 to $23,269 in
        2007, then continued to raise the price to $38,892 in 2018. This represents an overall
        price-hike of approximately 97,500%. Presently, for those indications where
        alternatives are available, a typical treatment course for Acthar costs approximately
        $120,000 per patient compared to less than $20 for first line alternatives.




                                                   90
  Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 102 of 835




The Acthar Related Claims: The Acthar Insurance Claimants, as well as a multitude of
other private healthcare companies and governmental entities, have brought litigation
and filed claims in these cases asserting that the Debtors have conducted a series of
unlawful schemes over the past decade to illegally prop up the price of Acthar, ensuring
that doctors would prescribe it in large volume, all while patients are insulated to the
costs. Allegedly, as a result, prescribed volume for Acthar has increased dramatically,
with sales volume increasing more than eightfold from 2011 to 2016 for Medicare
spending alone. In particular, among other things, the Debtors are alleged to have (1)
acquired and eliminated Synacthen, which the Acthar Insurance Claimants allege to be
Acthar’s only potential direct competitor in the United States, by purchasing it from
Novartis in 2013 and purposefully failing to commercialize it; (2) illegally paid patient
co-pays for Acthar through certain allegedly “charitable” funds operated by the
Chronic Disease Fund Inc. in violation of the federal Anti-Kickback Statute and False
Claims Act, thereby allowing the Debtors to market Acthar as “free” to patients and
physicians despite the enormously higher costs compared to possible alternative
treatments; and (3) illegally paid kickbacks and bribes to physicians in exchange for
their agreement to overprescribe Acthar. The Acthar Insurance Claimants believe that
the result of this tri-partite scheme was to overprescribe an outdated and ineffective drug
to innumerable patients—primarily elderly people covered by Medicare—while severely
overbilling those patients’ health insurers and other third-party payers. The Debtors
maintain, among other things, that Synacthen is not Acthar’s only potential direct
competitor in the United States. The drug Sabril was approved by the Food and Drug
Administration to treat infantile spasms in August 2009. Acthar is considered the
standard of care for infantile spasms, but there is another approved treatment for
infantile spasms available in the U.S. other than Acthar.

On August 8, 2019, Humana initiated litigation against the Debtors, alleging violations
of the Sherman Act, the federal RICO Act, and various state laws due to the Debtors’
monopoly power over the U.S. market for long-acting ACTH drugs. This litigation was
initially brought against Debtor Mallinckrodt ARD LLC, the entity which Humana
purchased Acthar from, but the Acthar Insurance Claimants are continuing to
investigate and seek discovery as to which Debtor entities are responsible and liable for
the Debtors’ illegal conduct. Mallinckrodt twice sought to dismiss Humana’s claims,
but the court overseeing the cases (the United States District Court for the Central
District of California) denied such requests. However, the court did dismiss Humana’s
tortious interference claim against Mallinckrodt with prejudice. Besides Humana,
multiple other parties, including federal and state governmental entities and regulators,
have brought similar allegations based on the same facts, and the Debtors have
previously entered into a $100 million antitrust settlement with the FTC and a $15
million settlement with the DOJ, both relating to their Acthar-related business practices.

Continuing Acthar-Related Liability: Despite facing such allegations and liability for
years, the Acthar Insurance Claimants believe that the Debtors continue to engage in
illegal business practices related to Acthar and the Debtors continue to charge them and
others monopolistic prices for Acthar. Humana, for example, continues to spend an
average of approximately $7.5 million per month for Acthar. In total, the Debtors’ post-
petition net sales of Acthar through the end of March (i.e., less than six months since the
petition date) was approximately $255.8 million, averaging approximately $51.1 million
each month. As described in the Administrative Claim Motion, the Acthar Insurance
Claimants assert that the Debtors continue to accrue millions of dollars of
administrative claims each month as a result of their continuing conduct. Such claims


                                            91
  Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 103 of 835




must be paid in full and in cash before the Debtors can emerge from bankruptcy. If the
Acthar Insurance Claimants are able to successfully demonstrate ongoing
anticompetitive or racketeering conduct by the Debtors, the Debtors will face significant
challenges in confirming the Plan. Further, such ongoing conduct means that once out
of bankruptcy, the reorganized Debtors will continue to accrue millions of dollars of
additional liability each month post-reorganization, casting significant doubt on the
feasibility of the Debtors’ plan to successfully reorganize without another bankruptcy
looming in the near future.

Other Serious Concerns With the Plan: Despite Acthar’s importance as the largest
contributor to product sales in Mallinckrodt’s pharmaceutical portfolio, and its ongoing
contributions to Mallinckrodt’s business that is vital to support its post-emergence
capital structure, the Acthar Insurance Claimants and other parties that have paid
billions of dollars for Acthar, and continue to pay millions each month, are being forced
under the Plan to wrangle over a portion of a $100 million pot shared with other general
unsecured creditors. This is a pittance in comparison to what unsecured creditors that
are party to the Restructuring Support Agreement are receiving.

The holders of Opioid Claims, who only have claims against Debtors of the Specialty
Generics business, which contributes only 25% of total Mallinckrodt revenues and an
even lower share of its profits, and have no claims against the Specialty Brands and
Acthar-related Debtors, are receiving $1.6 billion under the Plan in addition to new
warrants for 19.99% of all outstanding shares in the Reorganized Debtors. The Acthar
Insurance Claimants believe that the Specialty Generics business cannot possibly have
the value to support this amount (which cash amount is sixteen times the value being
ascribed to all other General Unsecured Claims including private Acthar Claims)
without taking value away from the creditors of the Debtor entities where the real value
resides. Further, the holders of the Federal/State Acthar Claims have been allocated a
separate $260 million pool with no reasoning given by the Debtors. Lastly, the Debtors’
unsecured bondholders are not only receiving $375 million (almost 25% of their total
principal outstanding today) in new higher-priority secured notes, but also all of the
equity of the reorganized Debtors upon emergence.

While these classes of unsecured claims are set to receive billions of dollars of value
under the Plan, general unsecured creditors like the Acthar Insurance Claimants are
left to divide $100 million among billions of dollars of asserted claims, meaning the
Debtors believe that general unsecured creditors would receive essentially no value in
a liquidation scenario. The Acthar Insurance Claimants believe that the Debtors’
position is premised on an overly-conservative and flawed valuation and liquidation
analysis and that it is prudent for the Debtors to reassess the Plan they developed almost
a year ago given the red-hot state of the financing and mergers and acquisitions markets.
Further consideration should be given by the Debtors to publicly available metrics
related to both the Specialty Brands and Specialty Generics businesses, which the Acthar
Insurance Claimants believe would result in implied consolidated enterprise values for
the business of greater than $6 billion, and under some metrics greater than $7 billion
(versus the narrow $5.2 billion to $5.7 billion range given by the Debtors). The Acthar
Insurance Claimants also believe that higher going concern values for the Debtors’
businesses and successful resolution of Acthar Claims against the Debtors’ key Acthar-
related entities would lead to gross recoveries to private Acthar-related claimants of
many hundreds of millions of dollars on top of the already hundreds of millions of dollars
that would be owed to them on account of the substantial administrative expense claims


                                           92
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 104 of 835




        that arise from the Debtors’ ongoing practices. The Acthar Insurance Claimants plan
        to demonstrate at the Confirmation Hearing that the Debtors analyses are
        fundamentally flawed and that the Plan cannot be confirmed.

Cotter Corporation filed its Cotter Corporation (N.S.L.)’s Objection To Adequacy Of Mallinckrodt Plc’s
Disclosure Statement [Docket No. 2380]. The Debtors hereby include the following additional
disclosures to resolve Cotter Corporation’s objection.

        The Debtors have agreed with the United States government that any of the Debtors’
        liabilities that are indemnified by the United States government arising from the West
        Lake Landfill site in the St. Louis, Missouri area and in connection with the Manhattan
        Project will not be discharged and will be assumed by the Reorganized Debtors on the
        Effective Date.

The Buxton Helmsley Group, Inc., a registered investment adviser, and Alexander Parker, a
representative of The Buxton Helmsley Group, Inc. filed The Buxton Helmsley Group, Inc.’s Joinder In
Acthar Plaintiffs’ Preliminary Objections To Debtors’ Disclosure Statement [Docket No. 2385]. The
Debtors hereby include the following additional disclosures to resolve the Buxton Helmsley Group, Inc.’s
and Alexander Parker’s joinder.

        One of the Holders of ordinary shares of Mallinckrodt plc, the Buxton Helmsley Group
        (“BHG”), filed The Buxton Helmsley Group, Inc.’s Joinder In Acthar Plaintiffs’
        Preliminary Objections To Debtors’ Disclosure Statement [Docket No. 2385] asserting,
        among other things, that the Debtors and their directors may have violated certain
        aspects of Irish law in connection with their restructuring and these Chapter 11 Cases.
        Thus, according to BHG, Mallinckrodt plc may have undisclosed Claims against it that
        may interfere with the Debtors’ ability to consummate the Irish Examinership
        Proceeding and, accordingly, to consummate the Plan. The Debtors disagree with
        BHG’s assertions in its joinder pleading.

Objecting creditors, Kenneth R. Greathouse, Stuart Rose, and Lloyd Glenn filed their Objection Of
Greathouse, Rose, And Glenn To The Disclosure Statement For Joint Chapter 11 Plan Of Reorganization
Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of The Bankruptcy Code [Docket No.
2371]. The Debtors hereby include the following additional disclosures to resolve these objecting
creditors’ objection.

        Greathouse, Rose, and Glenn assert that the Financial Projections do not account for a
        return to pre-COVID net sales. The Debtors disagree with that assumption for the
        Financial Projections as it is speculative and unsubstantiated. The actual results of the
        business may be greater or lesser than those set forth in the Financial Projections and
        all holders of the new equity (including Class 6 holders) will inherently receive any
        increased value or share in any decreased value in the New Mallinckrodt Shares.

Article V of the Plan contains provisions regarding the treatment of Executory Contracts and Unexpired
Leases. The Debtors’ position is that Article V provides sufficient disclosure to holders of such
Executory Contracts and Unexpired Leases of their treatment. However, certain parties have filed
objections to the Disclosure Statement and Disclosure Statement Order regarding the need for further
clarification regarding the treatment of Insurance Contracts and Co-Defendant Claims. The Debtors
hereby include the following additional disclosure to resolve such objections:




                                                   93
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 105 of 835




        All executory contracts will be assumed by the Debtors on the Effective Date in
        accordance with Article V of the Plan. Certain Executory Contracts and Unexpired
        Leases, to be disclosed in the Rejected Executory Contract/Unexpired Lease List in the
        Plan Supplement (which will be filed twenty-eight (28) days before the Voting Deadline),
        will be rejected pursuant to the Plan. The consequences of such assumption (in the case
        of Executory Contracts), or rejection (in the case of the Rejected Executory
        Contract/Unexpired Lease List) will be as dictated by the Bankruptcy Code and
        applicable law, including section 365 of the Bankruptcy Code. The treatment of the
        Insurance Contracts and the Assigned Insurance Rights under the Plan, and certain
        defined terms related thereto, remain subject to discussion among the Debtors and
        certain parties in interest.

        Opioid MDT II, the Opioid Creditor Trusts, and the Ratepayer Account are trusts or
        accounts (as applicable) established in the Debtors’ chapter 11 plan to be the legal
        successor to the Protected Parties for all purposes of allocating or determining fault or
        liability related to Opioid Claims. In connection with the exercise of Co-Defendant
        Defensive Rights, solely with respect to verdict sheets, in lieu of naming the Protected
        Parties on verdict sheets in any litigation, Claim, Cause of Action or the like based in
        whole or in part on Opioid-Related Activities, the Plan shall permit a co-defendant in
        any such action to name and identify Opioid MDT II, the applicable Opioid Creditor
        Trust, or the Ratepayer Account in the following manner: “[Opioid MDT II / the
        applicable Opioid Creditor Trust / the Ratepayer Account], as successor in interest, and
        successor in liability, to the Debtors, including without limitation, Mallinckrodt.” In
        addition, in that context the Plan shall permit discussing any aspect of the Debtors’
        prepetition business and in so naming the Opioid MDT II, the applicable Opioid
        Creditor Trust, or the Ratepayer Account as the successor in interest and liability to the
        Debtors, it is understood that such named entity is to be treated in that context for all
        purposes as if the Debtors themselves were named.

        Co-Defendant Claims for indemnification under Executory Contracts will be treated in
        accordance with Article V.G of the Plan, unless the Holder of a Co-Defendant Claim
        objects to such treatment. Any Claims for indemnification arising from the rejection of
        such Executory Contracts will be channeled to the Other Opioid Claims Reserve or, if
        they are No Recovery Opioid Claims, receive no recovery. If any such Executory
        Contract is assumed (without any agreement to the contrary), any Cure Cost associated
        therewith will be an obligation of the Debtors or the Reorganized Debtors and will not
        be channeled to the Other Opioid Claims Reserve.

The U.S. Securities and Exchange Commission filed the Limited Objection of the U. S. Securities and
Exchange Commission to Approval of the Disclosure Statement and Confirmation of the Debtors’ Joint
Plan of Reorganization [Docket No. 2401], objecting to the releases in the Plan. The Debtors disagree
with this objection, which will be addressed at the appropriate time in connection with confirmation of
the Plan.

Blake Kim, as CEO of Burlingame Investment Group, a representative of holders of 4.750% Senior Notes
due April 2023 filed an objection to the Disclosure Statement [Docket No. 2509], objecting to (i) the
treatment of the 4.750% Senior Notes due April 2023, and (ii) the Debtors’ valuation. The Debtors
disagree with these objections, which will be addressed at the appropriate time in connection with
confirmation of the Plan.




                                                   94
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 106 of 835




Columbia Casualty Company filed the Columbia Casualty Company’s Objection To Approval Of
Debtors’ Disclosure Statement [Docket No. 2400]. The Debtors hereby include the following additional
disclosures to resolve Columbia Casualty Company’s objection.

       Any self-insured retentions that remain to be paid under any applicable Opioid
       Insurance Policy or in connection with any Assigned Insurance Rights shall be satisfied
       to the extent and in the manner required by applicable law.

       The Plan proposes to permit the Opioid MDT II to conduct Rule 2004 discovery
       regarding Assigned Insurance Rights without filing a motion with the Bankruptcy Court
       after confirmation of the Plan. The Plan does not propose to permit Rule 2004 discovery
       in lieu of discovery under the applicable federal or state rules of civil procedure in
       connection with pending litigation, and the rules of civil procedure applicable to such
       litigation shall control. Certain of the Debtors’ insurers assert that the Opioid MDT II
       should not be (i) permitted to use Rule 2004 for post-Confirmation discovery, (ii)
       excused from the requirement of filing a motion to conduct any Rule 2004 discovery, or
       (iii) permitted to use Rule 2004 for discovery against them in anticipation of litigation.

       Certain insurance contracts have self-insured retentions. Certain insurers may assert
       that, under the Plan, self-insured retentions may be unfunded or underfunded. They may
       further assert that they have no obligations under their policies until the applicable self-
       insured retentions are actually paid in full in accordance with the policies, which they
       assert may not be accomplished under the Plan.

The DOJ filed its United States’ Objection To The Debtors’ Disclosure Statement For The Joint Chapter
11 Plan Of Reorganization Of Mallinckrodt Plc And Its Debtor Affiliates Under Chapter 11 Of The
Bankruptcy Code [Docket No. 2507]. The Debtors hereby include the following additional disclosures
to resolve the DOJ’s objection.

       The United States informed the Debtors that it objects to the treatment set forth in Class
       8(d) (U.S. Government Opioid Claims) and reserves, among other things, the United
       States’ rights under the Medicare Secondary Payer Act, 42 USC §§ 1395y(b)(2),(8)
       (“MSP”), section 111 of the Medicare, Medicaid, and SCHIP Extension Act of 2007
       (Pub. L. 110-173) (“MMSEA”), and the Federal Medical Care Recovery Act
       (“FMCRA”), 42 U.S.C. §§ 2651-2653, and may seek to assert such rights, if necessary,
       with respect to distributions under the Plan against any and all parties. The rights of
       all parties to object to this position are reserved. For the avoidance of doubt, nothing
       in the language or herein precludes the United States from objecting to or voting against
       the Plan.

                                            V.
                                    SUMMARY OF THE PLAN

THE TERMS OF THE PLAN, A COPY OF WHICH IS ATTACHED AS EXHIBIT A TO THIS
DISCLOSURE STATEMENT, ARE INCORPORATED BY REFERENCE HEREIN. THE
STATEMENTS CONTAINED IN THE DISCLOSURE STATEMENT INCLUDE SUMMARIES
OF THE PROVISIONS CONTAINED IN THE PLAN AND IN THE DOCUMENTS REFERRED
TO THEREIN, WHICH ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THE
PLAN (AS WELL AS THE EXHIBITS THERETO AND DEFINITIONS THEREIN).

THE STATEMENTS CONTAINED IN THE DISCLOSURE STATEMENT DO NOT PURPORT
TO BE PRECISE OR COMPLETE STATEMENTS OF ALL THE TERMS AND PROVISIONS

                                                   95
                  Case 20-12522-JTD         Doc 2917       Filed 06/18/21        Page 107 of 835




     OF THE PLAN OR DOCUMENTS REFERRED TO THEREIN, AND REFERENCE IS MADE
     TO THE PLAN AND TO SUCH DOCUMENTS FOR THE FULL AND COMPLETE
     STATEMENT OF SUCH TERMS AND PROVISIONS OF THE PLAN OR DOCUMENTS
     REFERRED TO THEREIN. HOLDERS OF CLAIMS AGAINST, AND INTERESTS IN, THE
     DEBTORS AND OTHER INTERESTED PARTIES ARE URGED TO READ THE PLAN AND
     THE EXHIBITS THERETO IN THEIR ENTIRETY SO THAT THEY MAY MAKE AN
     INFORMED JUDGMENT CONCERNING THE PLAN.

             A.       Classification and Treatment of Claims and Interests under the Plan

     The Plan constitutes a separate chapter 11 Plan of reorganization for each Debtor. The provisions of
     Article III of the Plan governs Claims against and Interests in the Debtors. Except for the Claims
     addressed in Article II of the Plan (or as otherwise set forth therein), all Claims and Interests are placed
     in Classes for each of the applicable Debtors. For all purposes under the Plan, each Class will exist for
     each of the Debtors; provided, that any Class that is vacant as to a particular Debtor will be treated in
     accordance with Article III.G of the Plan. In accordance with section 1123(a)(1) of the Bankruptcy Code,
     the Debtors have not classified Administrative Claims, Priority Tax Claims, and Other Priority Claims
     as described in Article II of the Plan.

     The categories of Claims and Interests listed below classify Claims and Interests for all purposes,
     including voting, Confirmation and distribution pursuant hereto and pursuant to sections 1122 and
     1123(a)(1) of the Bankruptcy Code. The Plan deems a Claim or Interest to be classified in a particular
     Class only to the extent that the Claim or Interest qualifies within the description of that Class and shall
     be deemed classified in a different Class to the extent that any remainder of such Claim or Interest
     qualifies within the description of such different Class. A Claim or an Interest is in a particular Class
     only to the extent that any such Claim or Interest is Allowed in that Class and has not been paid or
     otherwise settled prior to the Effective Date.

                      Summary of Classification and Treatment of Claims and Interests

Class                       Claim                                Status                       Voting Rights
  1       Other Secured Claims                                Unimpaired                   Presumed to Accept
2(a)      First Lien Revolving Credit Facility Claims         Unimpaired                   Presumed to Accept
2(b)      2024 First Lien Term Loan Claims                Unimpaired or Impaired          Presumed to Accept or
                                                                                             Entitled to Vote
2(c)      2025 First Lien Term Loan Clams                 Unimpaired or Impaired          Presumed to Accept or
                                                                                             Entitled to Vote
 3        First Lien Notes Claims                         Unimpaired or Impaired          Presumed to Accept or
                                                                                             Entitled to Vote
 4        Second Lien Notes Claims                        Unimpaired or Impaired          Presumed to Accept or
                                                                                             Entitled to Vote
 5        Guaranteed Unsecured Notes Claims                       Impaired                   Entitled to Vote
6(a)      Acthar Claims                                           Impaired                   Entitled to Vote
6(b)      Generics Price Fixing Claims                            Impaired                   Entitled to Vote
6(c)      Asbestos Claims                                         Impaired                   Entitled to Vote
6(d)      Legacy Unsecured Notes Claims                           Impaired                   Entitled to Vote
6(e)      Environmental Claims                                    Impaired                   Entitled to Vote
6(f)      Other General Unsecured Claims                          Impaired                   Entitled to Vote
 7        Trade Claims                                            Impaired                   Entitled to Vote
8(a)      State Opioid Claims                                     Impaired                   Entitled to Vote
8(b)      Municipal Opioid Claims                                 Impaired                   Entitled to Vote


                                                         96
                Case 20-12522-JTD                     Doc 2917            Filed 06/18/21               Page 108 of 835




8(c)    Tribe Opioid Claims                                                         Impaired                            Entitled to Vote
8(d)    U.S. Government Opioid Claims                                               Impaired                            Entitled to Vote
9(a)    Third-Party Payor Opioid Claims                                             Impaired                            Entitled to Vote
9(b)    PI Opioid Claims                                                            Impaired                            Entitled to Vote
9(c)    NAS PI Opioid Claims                                                        Impaired                            Entitled to Vote
9(d)    Hospital Opioid Claims                                                      Impaired                            Entitled to Vote
9(e)    Ratepayer Opioid Claims                                                     Impaired                            Entitled to Vote
9(f)    NAS Monitoring Opioid Claims                                                Impaired                            Entitled to Vote
9(g)    Emergency Room Physicians Opioid                                            Impaired                            Entitled to Vote
        Claims
9(h)    Other Opioid Claims                                                    Impaired                               Entitled to Vote
9(i)    No Recovery Opioid Claims                                              Impaired                              Deemed to Reject
 10     Settled Federal/State Acthar Claims                                    Impaired                               Entitled to Vote
 11     Intercompany Claims                                              Unimpaired or Impaired                    Presumed to Accept or
                                                                                                                     Deemed to Reject
12      Intercompany Interests                                           Unimpaired or Impaired                    Presumed to Accept or
                                                                                                                     Deemed to Reject
13      Subordinated Claims                                                         Impaired                         Deemed to Reject
14      Equity Interests                                                            Impaired                         Deemed to Reject

                        B.         Acceptance or Rejection of the Plan; Effect of Rejection of Plan

                        1.         Presumed Acceptance of Plan

  Claims in Classes 1 and 2(a) are Unimpaired under the Plan and their Holders are conclusively presumed
  to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders of
  Claims and Interests in Classes 1 and 2(a) are not entitled to vote on the Plan and the votes of such
  Holders shall not be solicited.31

                        2.         Voting Classes

  Claims in Classes 2(b)-(c), 3, 4, 5, 6(a)-(f), 7, 8(a)-(d), 9(a)-(h), and 10 are Impaired under the Plan and
  the Holders of Allowed Claims in all such Classes are entitled to vote to accept or reject the Plan,
  including by acting through a Voting Representative.32 For purposes of determining acceptance and
  rejection of the Plan, each such Class (including each Class identified by a number and letter) will be
  regarded as a separate voting Class and votes will be tabulated on a Debtor-by-Debtor basis.

  An Impaired Class of Claims shall have accepted the Plan if (a) the Holders, including Holders acting
  through a Voting Representative, of at least two-thirds (2/3) in amount of Claims actually voting in such
  Class have voted to accept the Plan and (b) the Holders, including Holders acting through a Voting
  Representative, of more than one-half (1/2) in number of Claims actually voting in such Class have voted
  to accept the Plan. Holders of Claims in Classes 2(b)-(c), 3, 4, 5, 6(a)-(f), 7, 8(a)-(d), 9(a)-(h), and 10
  (or, if applicable, the Voting Representatives of such Holders) shall receive ballots containing detailed
  voting instructions. For the avoidance of doubt, pursuant to and except as otherwise provided in the
  Disclosure Statement Order, each Claim in (x) Classes 8(a)-(d) and 9(a)-(h) and (y) any other Class
  entitled to vote to accept or reject the Plan that is not Allowed pursuant to the Plan and, in each case, is

  31
       The Plan provides for potential treatment which would render Claims in Classes 2(b), 2(c), 3, and 4 Unimpaired, in which case such Claims
       would be conclusively presumed to accept the Plan, and Holders of such Claims would not be entitled to vote.
  32
       Holders of Claims in Class 2(b), Class 2(c), Class 3, and Class 4 are entitled to vote, but the Plan provides for potential treatment which
       would render these Claims Unimpaired, in which case such Claims would be conclusively presumed to accept the Plan, and any votes by
       Holders of such Claims will be moot and disregarded.


                                                                       97
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 109 of 835




wholly contingent, unliquidated, or disputed (based on the face of such Proof of Claim or as determined
upon the review of the Debtors), in each case, shall be accorded one (1) vote and valued at one dollar
($1.00) for voting purposes only, and not for purposes of Allowance or distribution. Based on the
foregoing sentence, Classes 8(a)-(d) and 9(a)-(h) shall be deemed to have accepted the Plan if the
Holders, including Holders acting through a Voting Representative, of at least two-thirds (2/3) in number
of Claims actually voting in such Class have voted to accept the Plan.

                3.       Deemed Rejection of the Plan

Claims and Interests in Classes 9(i), 13, and 14 are Impaired under the Plan and their Holders shall
receive no distributions under the Plan on account of their Claims or Interests (as applicable) and are
deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
Holders of Claims and Interests in Classes 9(i), 13, and 14 are not entitled to vote on the Plan and the
votes of such Holders shall not be solicited.

                4.       Presumed Acceptance of the Plan or Deemed Rejection of the Plan

Claims and Interests in Classes 11 and 12 are either (a) Unimpaired and are, therefore, conclusively
presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code, or (b) Impaired
and shall receive no distributions under the Plan and are, therefore, deemed to have rejected the Plan
pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims and Interests in
Classes 11 and 12 are not entitled to vote on the Plan and votes of such Holders shall not be solicited.

                5.       Subordinated Claims

The allowance, classification, and treatment of all Allowed Claims and Interests, and the respective
distributions and treatments under the Plan, shall take into account and conform to the relative priority
and rights of the Claims and Interests in each Class in connection with any contractual, legal, and
equitable subordination rights relating thereto, whether arising under general principles of equitable
subordination, section 510 of the Bankruptcy Code, or otherwise; provided that, notwithstanding the
foregoing, such Allowed Claims or Interests and their respective treatments set forth herein shall not be
subject to setoff, demand, recharacterization, turnover, disgorgement, avoidance, or other similar rights
of recovery asserted by any Person. Pursuant to section 510 of the Bankruptcy Code, except where
otherwise provided herein, the Reorganized Debtors reserve the right to re-classify any Allowed Claim
or Interest in accordance with any contractual, legal, or equitable subordination rights relating thereto.

                6.       Vacant and Abstaining Classes

Any Class of Claims or Interests that is not occupied as of the commencement of the Confirmation
Hearing by an Allowed Claim or Allowed Interest or a Claim or Interest temporarily Allowed under
Bankruptcy Rule 3018 shall be deemed eliminated from the Plan for purposes of voting to accept or
reject the Plan and for purposes of determining acceptance or rejection of the Plan by such Class pursuant
to section 1129(a)(8) of the Bankruptcy Code. Moreover, any Class of Claims that is occupied as of the
commencement of the Confirmation Hearing by an Allowed Claim or a Claim temporarily Allowed
under Bankruptcy Rule 3018, but as to which no vote is cast, shall be deemed to accept the Plan pursuant
to section 1129(a)(8) of the Bankruptcy Code.

                7.       Intercompany Interests and Intercompany Claims

To the extent Intercompany Interests and Intercompany Claims are Reinstated under the Plan,
distributions on account of such Intercompany Interests and Intercompany Claims are not being received
by Holders of such Intercompany Interests or Intercompany Interests on account of their Intercompany

                                                   98
             Case 20-12522-JTD          Doc 2917       Filed 06/18/21       Page 110 of 835




Interests or Intercompany Claims, but for the purposes of administrative convenience and to maintain
the Debtors’ (and their Affiliate-subsidiaries) corporate structure , for the ultimate benefit of the Holders
of New Mallinckrodt Ordinary Shares, to preserve ordinary course intercompany operations, and in
exchange for the Debtors’ and Reorganized Debtors’ agreement under the Plan to make certain
distributions to the Holders of Allowed Claims.

                 8.      New Credit Facilities

For the avoidance of doubt and notwithstanding anything to the contrary herein, to the extent incurred
prior to the Effective Date, the New Credit Facilities shall survive the Effective Date and shall not be
entitled to treatment within any Class set forth herein.

        C.       Means of Implementation of the Plan

Article IV of the Plan governs and describes the means of implementation of the Plan.

Article IV.A (“General Settlement of Claims and Interests”) provides that in consideration for the
classification, distributions, releases, and other benefits provided under the Plan, on the Effective Date,
the provisions of the Plan shall constitute a set of integrated, good-faith compromises and settlements of
all Claims, Interests, Causes of Action and controversies resolved pursuant to the Plan. The Plan shall
be deemed a motion by the Debtors to approve such compromises and settlements pursuant to Bankruptcy
Rule 9019 and section 1123 of the Bankruptcy Code, and the entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of such compromises and settlements under Bankruptcy Rule
9019 and section 1123 of the Bankruptcy Code, as well as a finding by the Bankruptcy Court that such
integrated compromises or settlements are in the best interests of the Debtors, their Estates and Holders
of Claims and Interests, and are fair, equitable and within the range of reasonableness. Subject to Article
VI of the Plan, distributions made to Holders of Allowed Claims and Allowed Interests in any Class are
intended to be and shall be final and indefeasible and shall not be subject to avoidance, turnover, or
recovery by any other Person.

Article IV.B (“Restructuring Transactions”) provides that on or prior to the Effective Date or as soon
as reasonably practicable thereafter, the Reorganized Debtors shall, consistent with the terms of the
Restructuring Support Agreement and subject to the applicable consent and approval rights thereunder,
take all actions as may be necessary or appropriate to effect any transaction described in, approved by,
contemplated by or necessary to effectuate the Restructuring Transactions (including any transaction
described in, approved by, contemplated by, or necessary to effectuate the Plan), and as set forth in the
Restructuring Transactions Memorandum, including: (a) the creation of NewCo and/or any NewCo
Subsidiaries that may, at the Debtors’ or Reorganized Debtors’ option in consultation with the Supporting
Parties, acquire all or substantially all the assets of one or more of the Debtors; (b) the execution and
delivery of appropriate agreements or other documents of sale, merger, consolidation, or reorganization
containing terms that are consistent with the terms of the Plan and that satisfy the requirements of
applicable law; (c) the execution and delivery of the Transfer Agreement and any other appropriate
instruments of transfer, assignment, assumption, or delegation of any property, right, liability, duty, or
obligation on terms consistent with the terms of the Plan; (d) the filing of appropriate certificates of
incorporation, merger, migration, consolidation, or other organizational documents with the appropriate
governmental authorities pursuant to applicable law; and (e) all other actions that the Reorganized
Debtors determine are necessary or appropriate.

The Restructuring Transactions shall not (a) adversely affect the recoveries under the Plan (i) of holders
of Guaranteed Unsecured Notes Claims without the consent of the Required Supporting Unsecured
Noteholders, and (ii) the holders of Opioid Claims without the consent of the Governmental Plaintiff Ad
Hoc Committee and the MSGE Group, or (b) materially adversely affect the rights or recoveries under

                                                     99
             Case 20-12522-JTD                    Doc 2917            Filed 06/18/21             Page 111 of 835




the Plan of the holders of First Lien Term Loan Claims without the consent of the Required Supporting
Term Lenders.

The Confirmation Order shall and shall be deemed to, pursuant to both section 1123 and section 363 of
the Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to
effect any transaction described in, approved by, contemplated by, or necessary to effectuate
Restructuring Transactions (including any transaction described in, approved by, contemplated by, or
necessary to effectuate the Plan).

Article IV.D (“Vesting of Assets in the Reorganized Debtors”) provides that except as otherwise
provided in the Plan or any agreement, instrument, or other document incorporated therein, including the
Restructuring Transactions Memorandum, on the Effective Date, all property of each Debtor’s Estate,
including (a) all Causes of Action other than (i) the Assigned Third-Party Claims, and (ii) the Assigned
Insurance Rights, and (b) any property acquired by any of the Debtors pursuant to the Plan, in each case,
shall vest in each respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other
encumbrances. On and after the Effective Date, except as otherwise provided in the Plan and the Opioid
Operating Injunction, each Reorganized Debtor may operate its business and may use, acquire,
encumber, or dispose of property and compromise or settle any Claims, Interests, or Causes of Action
without supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy
Code or Bankruptcy Rules, including for the avoidance of doubt any restrictions on the use, acquisition,
sale, lease, or disposal of property under section 363 of the Bankruptcy Code. Reorganized Mallinckrodt
shall not, and neither shall any of its other subsidiaries, other than the Reorganized VI-Specific Debtors,
be involved in the sale or distribution of opioids classified as DEA Schedule II–IV drugs in the future.33

Article IV.F (“Cancellation of Notes, Instruments, Certificates, Agreements, and Equity Interests”)
provides that, except as otherwise provided for in the Plan and/or, as the case may be, the Scheme of
Arrangement, on the later of the Effective Date and the date on which the relevant distributions are made
pursuant to Article VI of the Plan and without further notice to or order of the Bankruptcy Court, act or
action under applicable law, regulation, order, or rule or any requirement of further action, vote or other
approval or authorization by any Person or Entity: (1) (a) the obligations of the Debtors under the First
Lien Credit Agreement, the Guaranteed Unsecured Notes Indentures, the 2013 Notes Indenture, the 1992
Ludlow Debentures Indenture, and the 1993 Ludlow Debentures Indenture, the Guaranteed Unsecured
Notes, the 4.75% Senior Notes due 2023, the 8.00% Debentures due March 2023, the 9.5% Debentures
due May 2022, and any other note, bond, indenture, or other instrument or document directly or indirectly
evidencing or creating any indebtedness of the Debtors and (b) any certificate, equity security, share,
purchase right, option, warrant, or other instrument or document directly or indirectly evidencing or
creating an ownership interest in the Debtors shall be cancelled solely as to the Debtors and their
Affiliates, and the Reorganized Debtors and their Affiliates shall not have any continuing obligations
thereunder; and (2) the obligations of the Debtors and their Affiliates pursuant, relating or pertaining to
any agreements, indentures, certificates of designation, bylaws or certificate or articles of incorporation
or similar documents governing the shares, certificates, notes, bonds, indentures, purchase rights,
options, or other instruments or documents evidencing or creating any indebtedness or obligation of or
ownership interest in the Debtors shall be released, terminated, extinguished, and discharged; except that
the foregoing shall not affect any Intercompany Interests elected to be Reinstated in accordance with the
Plan; provided, that the First Lien Credit Agreement, Guaranteed Unsecured Notes Indentures, and the
Legacy Unsecured Notes Indentures and each agreement or other document related thereto, as applicable,
will continue in effect for the limited purpose of allowing Holders of First Lien Credit Agreement Claims,
Holders of Guaranteed Unsecured Notes Claims, and Holders of Legacy Unsecured Notes Claims

33
     This paragraph is qualified in its entirety by the Voluntary Injunction and the Opioid Operating Injunction, and in the event of any
     inconsistency between this section and the Voluntary Injunction and the Opioid Operating Injunction, the Voluntary Injunction and the
     Opioid Operating Injunction, as applicable, will govern.


                                                                  100
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 112 of 835




thereunder, respectively, to receive, and allowing and preserving the rights of the First Lien Agent, the
Guaranteed Unsecured Notes Indenture Trustee, the Legacy Unsecured Notes Indenture Trustee or other
applicable Distribution Agents thereunder to make, or cause to be made the distributions under the Plan
to the applicable Holders; provided, further, that, upon completion of the distribution with respect to a
specific First Lien Credit Agreement Claim or, in the case of the Guaranteed Unsecured Notes Claims or
the Legacy Unsecured Notes Claims, pursuant to Article VI.D.4 of the Plan in respect of the distributions
on the specific Allowed Guaranteed Unsecured Notes Claims or Allowed Legacy Unsecured Notes
Claims, the First Lien Credit Agreement, the Guaranteed Unsecured Notes Indenture, or the Legacy
Unsecured Notes Indentures in connection thereto and any and all documents, notes, securities and
instruments issued in connection with the First Lien Credit Agreement Claim, such Guaranteed
Unsecured Notes Claim, or such Legacy Unsecured Notes Claims, as applicable, shall terminate
completely without further notice or action and be deemed surrendered; provided, further, that the
Guaranteed Unsecured Notes Indentures and the Legacy Unsecured Notes Indentures and all documents,
notes securities and instruments issued in connection therewith shall continue in effect for the limited
purpose of allowing and preserving the rights, privileges, benefits, indemnities and protections of the
Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee (each
acting in any capacity, including as a Distribution Agent) thereunder, including, without limitation,
permitting the Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes
Indenture Trustee to exercise any lien granted to it under the applicable Guaranteed Unsecured Notes
Indenture or Legacy Unsecured Notes Indenture against such distributions for payment of any fees and
expenses of the Guaranteed Unsecured Notes Indenture Trustee or the Legacy Unsecured Notes
Indenture Trustee, including any unpaid portion of the Indenture Trustee Fees. For the avoidance of
doubt, nothing contained in the Plan or the Confirmation Order shall in any way limit or affect the
standing of the First Lien Agent, the Guaranteed Unsecured Notes Indenture Trustee, or the Legacy
Unsecured Notes Indenture Trustee to appear and be heard in the Chapter 11 Cases or any other
proceeding in which they are or may become party on and after the Effective Date, to enforce any
provisions of the Plan or otherwise. For the avoidance of doubt and notwithstanding anything to the
contrary herein, to the extent incurred prior to the Effective Date, the New Credit Facilities shall survive
the Effective Date and shall not be terminated in accordance herewith.

Article IV.G (“Sources for Plan Distributions and Transfers of Funds Among Debtors”) provides that
the Debtors shall fund Cash distributions under the Plan with Cash on hand, including Cash from
operations, and the proceeds of the New Term Loan Facility. Cash payments to be made pursuant to the
Plan will be made by the Reorganized Debtors in accordance with Article VI of the Plan. Subject to any
applicable limitations set forth in any post-Effective Date agreement (including the New Governance
Documents), the Reorganized Debtors will be entitled to transfer funds between and among themselves
as they determine to be necessary or appropriate to enable the Reorganized Debtors to satisfy their
obligations under the Plan. Except as set forth herein, any changes in intercompany account balances
resulting from such transfers will be accounted for and settled in accordance with the Debtors’ historical
intercompany account settlement practices and will not violate the terms of the Plan. From and after the
Effective Date, the Reorganized Debtors, subject to any applicable limitations set forth in any post-
Effective Date agreement (including the New Governance Documents and the New Takeback Term
Loans Documentation), shall have the right and authority without further order of the Bankruptcy Court
to raise additional capital and obtain additional financing in accordance with, and subject to, applicable
law.

Article IV.L (“Exemption from Certain Transfer Taxes and Recording Fees”) provides that, to the
fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer from a Debtor to a
Reorganized Debtor or to any Entity pursuant to, in contemplation of, or in connection with the Plan or
pursuant to: (1) the issuance, distribution, transfer, or exchange of any debt, securities, or other interest
in the Debtors or the Reorganized Debtors; (2) the creation, modification, consolidation, or recording of
any mortgage, deed of trust, or other security interest, or the securing of additional indebtedness by such

                                                    101
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 113 of 835




or other means; (3) the making, assignment, or recording of any lease or sublease; or (4) the making,
delivery, or recording of any deed or other instrument of transfer under, in furtherance of, or in connection
with, the Plan, including any deeds, bills of sale, assignments, or other instrument of transfer executed
in connection with any transaction arising out of, contemplated by, or in any way related to the Plan,
shall not be subject to any U.S. federal, state, or local document recording tax, stamp tax, conveyance
fee, intangibles, or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform
Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax or
governmental assessment, and the appropriate U.S. state or local governmental officials or agents shall
forego the collection of any such tax or governmental assessment and accept for filing and recordation
any of the foregoing instruments or other documents without the payment of any such tax or
governmental assessment.

Article IV.O (“Preservation of Rights of Action”) provides that, in accordance with section 1123(b) of
the Bankruptcy Code, but subject to the releases set forth in this section and in Article IX of the Plan, all
Causes of Action other than the Assigned Third-Party Claims and the Assigned Insurance Rights that a
Debtor may hold against any Entity shall vest in the applicable Reorganized Debtor on the Effective
Date. Thereafter, the Reorganized Debtors shall have the exclusive right, authority, and discretion to
determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or
litigate to judgment any such Causes of Action other than the Assigned Third-Party Claims, and the
Assigned Insurance Rights, whether arising before or after the Petition Date, and to decline to do any of
the foregoing without the consent or approval of any third party or further notice to or action, order, or
approval of the Bankruptcy Court. No Entity may rely on the absence of a specific reference in the
Plan, the Plan Supplement, or the Disclosure Statement to any specific Cause of Action as any
indication that the Debtors, the Reorganized Debtors, or the Opioid MDT II will not pursue any
and all available Causes of Action. The Debtors, the Reorganized Debtors, and the Opioid MDT
II expressly reserve all rights to prosecute any and all Causes of Action against any Entity, except
as otherwise expressly provided in the Plan, and, therefore, no preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial,
equitable or otherwise) or laches, shall apply to any Cause of Action upon, after, or as a consequence of
the Confirmation or the occurrence of the Effective Date.

Notwithstanding any provision in the Plan or any order entered in these Chapter 11 Cases, as of and after
the Effective Date, the Debtors and Reorganized Debtors forever waive, relinquish, and release any and
all Causes of Action the Debtors and their Estates had, have, or may have (1) against any Released Party,
or (2) that arise under section 547 of the Bankruptcy Code (and analogous non-bankruptcy law) against
any Holder of a Trade Claim on account of such Trade Claims.

Article IV.P.1 (“Corporate Action”) provides that, upon the Effective Date, all actions contemplated by
the Plan and the Scheme of Arrangement shall be deemed authorized, approved, and, to the extent taken
prior to the Effective Date, ratified without any requirement for further action by Holders of Claims or
Interests, directors, managers, or officers of the Debtors, the Reorganized Debtors, or any other Entity,
including: (1) assumption and rejection (as applicable) of Executory Contracts and Unexpired Leases;
(2) selection of the directors, managers, and officers for the Reorganized Debtors; (3) the execution of
the New Governance Documents, the Opioid MDT II Documents, the Opioid Creditor Trust Documents,
the New Opioid Warrant Agreement, the Federal/State Acthar Settlement Agreements, the New Term
Loan Documentation, the New AR Revolving Facility Documentation, the Takeback Second Lien Notes
Documentation, the Management Incentive Plan, the Opioid Operating Injunction, the Registration
Rights Agreement and, if applicable, the New Takeback Term Loans Documentation, the Cram-Down
First Lien Notes Documentation and the Cram-Down Second Lien Notes Documentation; (4) the
issuance and delivery of the New Mallinckrodt Ordinary Shares, Takeback Second Lien Notes, New
Opioid Warrants, and, if applicable, the New Takeback Term Loans, the Cram-Down First Lien Notes,
and the Cram-Down Second Lien Notes; (5) implementation of the Restructuring Transactions, and (6)

                                                    102
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 114 of 835




all other acts or actions contemplated, or reasonably necessary or appropriate to promptly consummate
the transactions contemplated by the Plan (whether to occur before, on, or after the Effective Date). All
matters provided for in the Plan involving the company structure of the Debtors, and any company action
required by the Debtors in connection therewith, shall be deemed to have occurred on, and shall be in
effect as of, the Effective Date, without any requirement of further action by the security holders,
directors, managers, authorized persons, or officers of the Debtors.

Article IV.P.2 provides that, prior to, on and after the Effective Date, the appropriate officers, directors,
managers, or authorized persons of the Debtors, Reorganized Mallinckrodt, or any direct or indirect
subsidiaries of Reorganized Mallinckrodt (including any president, vice-president, chief executive
officer, treasurer, general counsel, secretary, or chief financial officer thereof) shall be authorized and
directed to issue, execute, and deliver the agreements, documents, securities, memoranda and articles of
association, certificates of incorporation, certificates of formation, bylaws, operating agreements, other
organization documents, and instruments contemplated by the Plan (or necessary or desirable to effect
the transactions contemplated by the Plan) in the name of and on behalf of the applicable Debtors or
applicable Reorganized Debtors, including the (1) New Governance Documents, (2) Opioid MDT II
Documents and Opioid Creditor Trust Documents, (3) New Opioid Warrant Agreement, (4) Takeback
Second Lien Notes Documentation, (5) New Term Loan Documentation, (6) New AR Revolving Facility
Documentation, (7) New Takeback Term Loans Documentation, (8) Cram-Down First Lien Notes
Documentation, if applicable, (9) Cram-Down Second Lien Notes Documentation, if applicable, and (10)
any and all other agreements, documents, securities, and instruments relating to or contemplated by the
foregoing. Prior to or on the Effective Date, each of the Debtors is authorized, in its sole discretion, to
change its name or corporate form and to take such other action as required to effectuate a change of
name or corporate form in the jurisdiction of incorporation of the applicable Debtor or Reorganized
Debtor. To the extent the Debtors change their names or corporate form prior to the closing of the
Chapter 11 Cases, the Debtors shall change the case captions accordingly.

Article IV.Q (“Effectuating Documents; Further Transactions”) provides that, prior to, on, and after
the Effective Date, the Debtors and Reorganized Debtors and the directors, managers, officers, authorized
persons, and members of the boards of directors or managers and directors thereof, are authorized to and
may issue, execute, deliver, file, or record such contracts, securities, notes, instruments, certificates,
releases, and other agreements or documents and take such actions as may be necessary or appropriate
to effectuate, implement, and further evidence the terms and provisions of the Plan, the New Governance
Documents, the Opioid MDT II Documents, the Opioid Creditor Trust Documents, the New Opioid
Warrant Agreement, the Federal/State Acthar Settlement Agreements, and any Securities issued pursuant
to the Plan in the name of and on behalf of the Reorganized Debtors, without the need for any approvals,
authorizations, actions, or consents except for those expressly required pursuant to the Plan or the
Restructuring Support Agreement. For the avoidance of doubt, the New Governance Documents shall
ensure that the Reorganized Debtors are able to issue the number of New Mallinckrodt Ordinary Shares
needed to satisfy obligations of the General Unsecured Claims Recovery Pool.

Article IV.R (“Listing of New Mallinckrodt Ordinary Shares”) provides that, the Debtors’ board of
directors shall use commercially reasonable efforts to list the New Mallinckrodt Ordinary Shares for
trading on the NASDAQ Capital Market, the NASDAQ Global Market, or the New York Stock Exchange
on the Effective Date. If no such listing has occurred as of the Effective Date, following the Effective
Date and subject to the terms and conditions of the New Governance Documents, the Reorganized Board
will direct the Reorganized Debtors to list the New Mallinckrodt Ordinary Shares for trading on the
NASDAQ Capital Market, the NASDAQ Global Market, or the New York Stock Exchange as soon as
reasonably practicable after the Effective Date.

Article IV.S (“Payment of Fees and Expenses of the Supporting Parties and Indenture Trustee Fees”)
provides that, notwithstanding anything to the contrary contained in the Restructuring Expenses Order,

                                                    103
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 115 of 835




on the Effective Date, the Reorganized Debtors shall pay the Noteholder Consent Fee and the Term Loan
Exit Payment pursuant to the terms of the Restructuring Support Agreement.

On the Effective Date with respect to invoices delivered prior to the Effective Date in accordance with
the procedures in the following sentence (the “Invoiced Restructuring Expenses”)) or as soon as
reasonably practicable thereafter (with respect to all other Restructuring Expenses other than the Invoiced
Restructuring Expenses), the Reorganized Debtors shall pay in Cash the Restructuring Expenses. All
Restructuring Expenses to be paid on the Effective Date shall be estimated prior to and as of the Effective
Date and such estimates shall be delivered to the Debtors at least five (5) Business Days before the
anticipated Effective Date; provided, however, that such estimates shall not be considered an admission
by any party or limitation with respect to such Restructuring Expenses. In addition, the Debtors and the
Reorganized Debtors (as applicable) shall continue to pay pre- and post-Effective Date, when due and
payable in the ordinary course, Restructuring Expenses and Post Effective Date Implementation
Expenses, as applicable, related to implementation, consummation, and defense of the Plan, whether
incurred before, on, or after the Effective Date. Notwithstanding anything to the contrary in the Plan,
the Restructuring Expenses shall not be subject to the Administrative Claims Bar Date. To the extent
any person entitled to reimbursement of Restructuring Expenses or Post Effective Date Implementation
Expenses is holding a retainer, such person shall be entitled to continue to hold such retainer until
payment in full in Cash by the Reorganized Debtors of such person’s Restructuring Expenses and Post
Effective Date Implementation Expenses; provided that such retainer shall be applied to pay for such
Restructuring Expenses unless such person elects, in its sole discretion, to keep a portion of such retainer
solely to the extent needed to cover Restructuring Expenses in excess of any estimates provided in
accordance with this paragraph and any reasonably expected Post Effective Date Implementation
Expenses, and following the payment of Restructuring Expenses and Post Effective Date Implementation
Expenses (if any), on reasonable request of the Debtors, the professionals shall return the remainder of
the retainer to the Debtors.

On the Effective Date or as soon as reasonably practicable thereafter and upon the presentment of
invoices in customary form (which may be redacted to preserve any confidential or privileged
information), the Reorganized Debtors shall pay in Cash the Indenture Trustee Fees (whether accrued
prepetition or postpetition, whether before or after the Effective Date of the Plan and to the extent not
otherwise paid during the Chapter 11 Cases), without the need for application by any party to the
Bankruptcy Court, and without notice and a hearing pursuant to section 1129(a)(4) of the Bankruptcy
Code or otherwise. From and after the Effective Date, the Reorganized Debtors will pay any Indenture
Trustee Fees in full in Cash without further court approval.

Article IV.Z (“Authority of the Debtors”) provides that, effective on the Confirmation Date, the Debtors
shall be empowered and authorized to take or cause to be taken, prior to the Effective Date, all actions
necessary or appropriate to achieve the Effective Date and enable the Reorganized Debtors to implement
effectively the provisions of the Plan, the Confirmation Order, the Scheme of Arrangement, the Irish
Confirmation Order, the Restructuring Transactions, the Opioid MDT II Documents, and the Opioid
Creditor Trust Documents.

Article IV.AA (“Industry-Wide Document Disclosure Program”) provides that, the VI-Specific Debtors
and/or the Reorganized VI-Specific Debtors shall participate in an industry-wide document disclosure
program by disclosing publicly a subset of its litigation documents, subject to scope and protocols
described in Article IV.AA of the Plan.

Article IV.BB (“Monitor”) provides that the Confirmation Order will provide for the appointment of the
Monitor for a term of five years from the Petition Date. If, at the conclusion of the Monitor’s five-year
term, the Settling States determine in good faith and in consultation with the Monitor that the
Reorganized VI-Specific Debtors have failed to achieve and maintain substantial compliance with the

                                                    104
               Case 20-12522-JTD                    Doc 2917             Filed 06/18/21              Page 116 of 835




substantive provisions of the Opioid Operating Injunction, the Monitor’s engagement shall be extended
for an additional term of up to two years, subject to the right of the Reorganized VI-Specific Debtors to
commence legal proceedings for the purpose of challenging the decision of the Settling States and to
seek preliminary and permanent injunctive relief with respect thereto. The identity, duties and reporting,
relief and cure, professionals and costs, and liability of the Monitor are set forth in further detail in Article
IV.CC of the Plan.34

Article IV.CC (“Trade Claimant Agreements”) provides that, as to any Trade Claimant that agrees by
so indicating on its Ballot to maintain with the Debtors Favorable Trade Terms, the Plan shall constitute
(i) if applicable, an amendment to such Trade Claimant’s assumed or assumed and assigned Executory
Contract between any Debtor and such Trade Claimant, instituting the foregoing trade terms in such
Executory Contract, or (ii) otherwise, a contractual agreement by such Trade Claimant to maintain such
trade terms for at least twelve (12) months after the Effective Date.

Article IV.DD (“Federal/State Acthar Settlement”) provides that, as of the Effective Date, the
Federal/State Acthar Settlement Agreements shall be executed by Parent, Mallinckrodt ARD LLC, the
U.S. Government, and the States. On the Effective Date or as soon as reasonably practicable thereafter,
the Debtors and/or the Reorganized Debtors will make the Initial Federal/State Acthar Settlement
Payment, and thereafter, the Reorganized Debtors will make each of the Federal/State Acthar Deferred
Cash Payments; provided, that the Federal/State Acthar Deferred Cash Payments shall bear interest at a
variable rate equal to the nominal interest rate on special issues of government securities to the Social
Security trust funds (published and available at www.ssa.gov/oact/ProgData/newIssueRates.html),
measured as of each payment date and accruing from September 21, 2020.

Article IV.EE (“Retainers of Ordinary Course Professionals”) provides that, upon the Effective Date,
each Ordinary Course Professional may apply its retainer, if any, against any outstanding prepetition
balances owed by the Debtors to such Ordinary Course Professional.

Article IV.FF (“No Substantive Consolidation”) provides that, the Plan is being proposed as a joint
chapter 11 plan of the Debtors for administrative purposes only and constitutes a separate chapter 11 plan
for each Debtor. The Plan is not premised upon the substantive consolidation of the Debtors with respect
to the Classes of Claims or Interests set forth in the Plan.

          D.          Matters Related to the Opioid MDT II and Opioid Creditor Trusts

Article IV of the Plan also governs and describes the certain matters related to the Opioid MDT II.

Article IV.T (“Creation of the Opioid MDT II”) provides that on or prior to the Effective Date, the
Debtors shall take all necessary steps to establish the Opioid MDT II in accordance with the Plan and the
Opioid MDT II Documents. As of the Effective Date, the Opioid MDT II Documents shall be executed
by the Debtors and the Opioid MDT II Trustee(s), and the Opioid MDT II shall be created. The Opioid
MDT II is intended to be a “qualified settlement fund” within the meaning of the Treasury Regulations
issued under section 468B of the Internal Revenue Code. The purpose of the Opioid MDT II shall be to,
among other things: (1) resolve all asserted Opioid Claims (including Opioid Demands) channeled to the
Opioid MDT II in accordance with the Plan, Opioid MDT II Documents, and the Confirmation Order;
(2) preserve, hold, collect, manage, maximize, and liquidate the assets of the Opioid MDT II for use in
resolving Opioid Claims (including Opioid Demands) channeled to the Opioid MDT II and funding the
Opioid Creditor Trusts; (3) enforce, pursue, prosecute, compromise, and/or settle the Assigned Third-


34
     This section is qualified in its entirety by the Voluntary Injunction and the Opioid Operating Injunction, and for any inconsistency between
     this section and the Voluntary Injunction and the Opioid Operating Injunction, the Voluntary Injunction and the Opioid Operating
     Injunction, as applicable, will govern.


                                                                     105
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 117 of 835




Party Claims and Assigned Insurance Rights; (4) pay all Trust Expenses as provided, and defined, in the
Opioid MDT II Documents (for which the Reorganized Debtors and the Released Parties shall have no
responsibility or liability); (5) pay any and all administration and operating expenses of the Opioid MDT
II, including the fees and expenses of any professionals retained by the Opioid MDT II; and (6) qualify
at all times as a qualified settlement fund.

Article IV.U.1 (“Appointment of Opioid MDT II Trustee(s)”) provides that, the appointment of the
initial Opioid MDT II Trustee(s) will be approved in the Confirmation Order, and effective as of the
Effective Date, in accordance with the Opioid MDT II Documents, the individual(s) selected as the
Opioid MDT II Trustee(s) shall be appointed to serve as the Opioid MDT II Trustee(s) for the Opioid
MDT II. There will be three initial Opioid MDT II Trustee(s), which shall be selected by the,
Governmental Plaintiff Ad Hoc Committee and the MSGE Group in consultation with the Debtors, and
the identity of the initial Opioid MDT II Trustee(s) shall be disclosed in the Plan Supplement.

Article IV.U.2 (“Obligations of the Opioid MDT II Trustee(s)”) provides that, the Opioid MDT II
Trustees shall take into account the interests of, and owe fiduciary duties to, each of the Opioid Creditor
Trusts (including the Private Opioid Creditor Trusts and the Public Opioid Creditor Trusts) in making all
decisions on behalf of the Opioid MDT II. In furtherance thereof: (a) to the extent there are any disputes
raised by any Opioid Creditor Trust regarding the operation of the Opioid MDT II or the actions of the
Opioid MDT II Trustees, (A) any Opioid Creditor Trustee shall have the right to seek resolution by the
Bankruptcy Court of such a dispute, including seeking to enjoin any disputed action by the Opioid MDT
II, and all Opioid MDT II Trustees and Opioid Creditor Trustees shall have the right to be heard with
regard to any such dispute, including by filing objections, declarations, statements in support or other
pleadings (including with supporting evidence) or providing witness testimony at any hearing and (B)
the Bankruptcy Court shall have exclusive jurisdiction to hear and resolve any such disputes, and shall
be authorized to order appropriate relief (subject to the provisions of this Article IV.U.2 and make a
determination in an expedited manner, and in all events, shall make such a decision within thirty (30)
days from the request for relief; (b) upon the payment in full in Cash of a Private Opioid Creditor Trust’s
respective distribution, the Opioid MDT II shall have no further fiduciary duties to such Private Opioid
Creditor Trust, and the Opioid Creditor Trustees of such Private Opioid Creditor Trust shall have no
further rights to commence or participate in any action relating to the operations of the Opioid MDT II
or the actions of the Opioid MDT II Trustees; (c) Opioid MDT II Trustees shall (A) provide reasonable
reporting to each of the Opioid Creditor Trusts regarding the Opioid MDT II Trustees’ activities at least
every four (4) months (both cumulatively and in the period just ended), any insurance proceedings, assets
(including the value thereof), expenditures, distributions and forward-looking projections (subject to
appropriate limitations to be agreed by the Debtors, the Governmental Plaintiff Ad Hoc Committee, the
MSGE Group, and the OCC) and (B) make themselves reasonably available (in addition to holding at
least one (1) call every four (4) months for the Opioid Creditor Trustees) to answer questions of Opioid
Creditor Trustees relating to the Opioid MDT II Trustees’ activities; (d) the Opioid MDT II Trustees
shall be obligated to comply with the terms of the Plan, including this Article IV.U.2, and Opioid MDT
II Trust Documents; and (e) in the event of any inconsistency between the terms of this Article IV.U.2
and any other provision of the Plan or Opioid MDT II Trust Documents, the terms of this Article IV.U.2
shall govern unless the Opioid MDT II Trustees and the Opioid Creditor Trustees for each of the Opioid
Creditor Trusts mutually agree.

Article IV.V.1 (“Settlements of Opioid Claims - Non-Precedential Effect for Holders of Opioid
Claims”) provides that the Plan, the Plan Supplement, and the Confirmation Order constitute a good faith
full and final comprehensive compromise and settlement of Opioid Claims and controversies based upon
the unique circumstances of these Chapter 11 Cases (such as the unique facts and circumstances relating
to these Debtors as compared to other defendants in the general opioid litigations, and the need for an
accelerated resolution without litigation) such that (i) none of the foregoing documents, nor any materials
used in furtherance of Confirmation (including, but not limited to, the Disclosure Statement, and any

                                                   106
             Case 20-12522-JTD                   Doc 2917            Filed 06/18/21            Page 118 of 835




notes related to, and drafts of, such documents and materials), may be offered into evidence, deemed an
admission, used as precedent, or used by any party or Person in any context whatsoever beyond the
purposes of the Plan, in any other litigation or proceeding except as necessary, and as admissible in such
context, to enforce their terms and to evidence the terms of the Plan before the Bankruptcy Court or any
other court of competent jurisdiction, and (ii) any obligation by any party, in furtherance of such
compromise and settlement, to not exercise rights that might be otherwise applicable to such party shall
be understood to be an obligation solely in connection with this specific compromise and settlement and
to be inapplicable in the absence of such compromise and settlement. the Plan, the Plan Supplement, and
the Confirmation Order will be binding as to the matters and issues described therein, but will not be
binding with respect to similar matters or issues that might arise in any other litigation or proceeding
involving Opioid Claims in which none of the Debtors, the Reorganized Debtors, the Opioid MDT II, or
the Opioid Creditor Trusts is a party; provided that such litigation or proceeding is not to enforce or
evidence the terms of the Plan, the Plan Supplement, or the Confirmation Order. Any Opioid Claimants’
support of, or position or action taken in connection with, the Plan, the Plan Supplement, and the
Confirmation Order may differ from his position or testimony in any other litigation or proceeding except
in connection with these Chapter 11 Cases. Further, the treatment of Opioid Claims as set forth in the
Plan is not intended to serve as an example for, or represent the parties’ respective positions or views
concerning any other chapter 11 cases relating to opioid products, nor shall it be used as precedent by
any Entity or party in any other chapter 11 cases related to opioid products.

Article IV.V.2 (“Settlements of Opioid Claims - Transferability of Opioid Claim Distribution Rights”)
provides that any right of a Holder of an Opioid Claim to receive a distribution or other payment from
the Opioid MDT II or the Opioid Creditor Trusts on account of an Opioid Claim shall not be evidenced
by any certificate, security, receipt or in any other form or manner whatsoever, except on the books and
records of the Debtors, Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts, as
applicable. Further, any right of a Holder of an Opioid Claim to receive a Distribution or other payment
from the Debtors, Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts on account of
an Opioid Claim shall be nontransferable and nonassignable except by will, intestate, succession or
operation of law. Any rights of Holders of Opioid Claims to receive a Distribution or other payment
from the Debtors, Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts on account of
Opioid Claims shall not constitute “securities” and shall not be registered pursuant to the Securities Act.
If it is determined that such rights constitute “securities,” the exemption provisions of section 1145(a)(1)
of the Bankruptcy Code would be satisfied and such securities would be exempt from registration.

Article IV.W.1 (“Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT
II – Transfer of Books and Records to the Opioid MDT II”) provides that, on the Effective Date or as
soon thereafter as is reasonably practicable, the Reorganized Debtors shall transfer and assign, or cause
to be transferred and assigned, to the Opioid MDT II copies of all books and records necessary for, and
for the sole purpose of enabling and to the extent necessary to enable, the defense of Opioid Claims
(including Opioid Demands) in accordance with the Cooperation Agreement,35 including, for the
avoidance of doubt, both privileged and non-privileged documents; provided, that, after the transfer of
such books and records the Debtors or the Reorganized Debtors may destroy copies of such books and
records in accordance with their record management policies. The transfer of any privileged books and
records provided to the Opioid MDT II necessary for the defense of Opioid Claims (including Opioid
Demands) shall not result in the destruction or waiver of any applicable privileges pertaining to such
books and records. No documents or communications subject to a privilege shall be publicly disclosed
by the Opioid MDT II or communicated to any person not entitled to receive such information or in a
manner that would diminish the protected status of such information, unless such disclosure or


35
     Cooperation Agreement will provide for sharing of information by the Opioid MDT II with Opioid Creditor Trusts required for defense
     of Opioid Claims.


                                                                 107
           Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 119 of 835




communication is reasonably necessary to defend the Opioid Claims (including Opioid Demands).
Further, pursuant to the Plan and the Confirmation Order, none of the Debtors, the Reorganized Debtors,
any of the Debtors’ or the Reorganized Debtors’ Affiliates or the Disinterested Managers shall be liable
for violating any confidentiality or privacy protections as a result of transferring the books and records
to the Opioid MDT II in accordance with the Cooperation Agreement, and the Opioid MDT II, upon
receipt of the books and records, shall take appropriate steps to comply with any such applicable
protections.

Article IV.W.2.a (“Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT
II – Funding the Opioid MDT II – Opioid MDT II Funding Amount”) provides that the Opioid MDT
II shall be funded solely by the Opioid MDT II Consideration. On the Effective Date, the obligations to
provide the Opioid MDT II Consideration shall constitute legal, valid, binding, and authorized
obligations of the applicable Reorganized Debtors, enforceable in accordance with the terms hereof. The
financial accommodations to be extended in connection with the Opioid MDT II Consideration are being
extended, and shall be deemed to have been extended, in good faith, for legitimate business purposes,
are reasonable, shall not be subject to avoidance, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever, and shall not constitute preferential transfers, fraudulent
conveyances, or other voidable transfers under the Bankruptcy Code or any other applicable non-
bankruptcy law.

Article IV.W.2.b (“Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT
II – Funding the Opioid MDT II – Payments to the Opioid MDT II”) provides that, on the Effective
Date, the Debtors and/or the Reorganized Debtors will make the Initial Opioid MDT II Payment, and
thereafter, the Reorganized Debtors or Reorganized Mallinckrodt will make each of the Opioid Deferred
Cash Payments subject to the Prepayment Option; provided after any sale of (i) Mallinckrodt Enterprises
Holdings, Inc. and its subsidiaries (including, for the avoidance of doubt, its successors and assigns) or
(ii) a material portion of their assets or businesses (including as a result of a merger, equity sale, or asset
sale), subject to compliance with the Debtors’ covenants under the agreements governing their funded
indebtedness (as may be modified from time to time), 50% of the “net proceeds” of such sale (after, for
the avoidance of doubt, compliance with then-existing covenants) shall be paid to the Opioid MDT II;
and the amount of such net proceeds actually conveyed to the Opioid MDT II will be deemed a ratable
repayment against the remaining Opioid Deferred Cash Payments that the Opioid MDT II is entitled to
receive. For the avoidance of doubt, the Debtors will not be under any obligation to undertake any such
sale on any particular timeframe. The Debtors intend that payments to the Opioid MDT II (whenever
made, and from whatever source) will constitute “restitution . . . for damage or harm” within the meaning
of Section 162(f) of the Internal Revenue Code, and will be so characterized for U.S. federal income tax
purposes to the extent such payments are made to or at the direction of a government or governmental
entity. For the avoidance of doubt, the foregoing sentence is intended to apply to the tax characterization
of payments to the Opioid MDT II on account of Opioid Claims, and such tax characterization shall not
be construed to be dispositive for any non-tax purpose. Nor shall such tax characterization be construed
to mean that Debtors’ payments satisfy the full extent of the liability associated with Opioid Claims, the
satisfaction of which remains a valuable right assigned to the Opioid MDT II, nor that the remaining
liability associated with Opioid Claims seeks restitution as a form of relief.

Article IV.W.2.c (“Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT
II – Funding the Opioid MDT II – New Opioid Warrants”) provides that, on the Effective Date,




                                                     108
             Case 20-12522-JTD                   Doc 2917           Filed 06/18/21            Page 120 of 835




Reorganized Mallinckrodt shall issue, and the Debtors shall cause to be transferred, the New Opioid
Warrants to the Opioid MDT II.36

Article IV.W.2.d (“Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT
II – Funding the Opioid MDT II – Assigned Third-Party Claims and Assigned Insurance Rights”)
provides that, as of the Effective Date, the Debtors and/or the Reorganized Debtors shall be deemed to
have assigned the Assigned Third-Party Claims and the Assigned Insurance Rights to the Opioid MDT
II; provided, that the exercise of remedies (including rights of setoff and/or recoupment) by non-Debtor
third parties against the Debtors or Reorganized Debtors (but not the Opioid MDT II) on account of any
Assigned Third-Party Claims shall be enjoined and barred. The Reorganized Debtors shall transfer and
assign, or cause to be transferred and assigned, to the Opioid MDT II copies of books and records
necessary for, and for the sole purpose of enabling and to the extent necessary to enable, the prosecution
of the Assigned Third-Party Claims and the Assigned Insurance Rights in accordance with the
Cooperation Agreement, including, for the avoidance of doubt, both privileged and non-privileged
documents; provided, that, after the transfer of such books and records the Debtors or the Reorganized
Debtors may destroy copies of such books and records in accordance with their record management
policies. Such transfer shall not result in the destruction or waiver of any applicable privileges pertaining
to such books and records. No documents or communications subject to a privilege shall be publicly
disclosed by the Opioid MDT II or communicated to any person not entitled to receive such information
or in a manner that would diminish the protected status of such information, unless such disclosure or
communication is reasonably necessary to preserve, secure, prosecute, or obtain the benefit of the
Assigned Third-Party Claims and Assigned Insurance Rights. The Opioid MDT II shall be authorized to
conduct Rule 2004 examinations, to the fullest extent permitted thereunder, to investigate the Assigned
Third-Party Claims and the Assigned Insurance Rights, without the requirement of filing a motion for
such authorization; provided, however, that no such Rule 2004 examinations shall be taken of the
Debtors, the Reorganized Debtors, or any of their respective then-current or former employees, officers,
directors or Representatives without further order of the Bankruptcy Court (if the Chapter 11 Cases
remain open) after notice and an opportunity to object and be heard. Notwithstanding the foregoing, (i)
employees, officers, directors or Representatives of Medtronic plc and/or its subsidiaries, and each of
their predecessors, successors, and assigns, are not exempt from Rule 2004 examinations, and nothing
herein shall interfere with the obligations of the Debtors, the Reorganized Debtors, or any of their
respective then-current or former employees, officers, directors or Representatives to cooperate with the
Opioid MDT II as set forth herein and in the Cooperation Agreement. For the avoidance of doubt, in the
context of an actual pending litigation or contested matter, the rules of discovery applicable to such
litigation or contested matter will control. In implementing the assignment of the Assigned Insurance
Rights, the Debtors or the Reorganized Debtors, on the one hand, and the Governmental Plaintiff Ad Hoc
Committee and the MSGE Group or the Opioid MDT II, on the other hand, shall cooperate and negotiate
in good faith concerning (x) treatment of unsatisfied self-insured retentions under the applicable
Insurance Contracts with the objective of minimizing adverse consequences to Mallinckrodt,
Reorganized Mallinckrodt, and the Opioid MDT II (it being understood that the foregoing obligation
shall not require the Debtors or Reorganized Debtors to satisfy all or any portion of any such self-insured
retentions) and (y) any actions by the Debtors, Reorganized Debtors, or the Opioid MDT II to pursue or
preserve the Insurance Contracts relating to the Assigned Insurance Rights.

Article IV.W.3 (“Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT
II – Assigned Third-Party Claims and Assigned Insurance Rights Cooperation”) provides that, during
the pendency of the Chapter 11 Cases, the Debtors shall use reasonable best efforts to cooperate with
counsel to the Governmental Plaintiff Ad Hoc Committee and counsel to the MSGE Group in connection


36
     The Opioid MDT II may not be the owner of the New Opioid Warrants for tax purposes, but may hold the New Opioid Warrants as agent
     or trustee for its beneficiaries.


                                                                109
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 121 of 835




with their investigation, preservation, pursuit, and securing of the Assigned Third-Party Claims and
Assigned Insurance Rights, including by providing non-privileged information (including, without
limitation, data, documents, emails, and access to individuals with information), at the reasonable request
of counsel to the Governmental Plaintiff Ad Hoc Committee and counsel to the MSGE Group. The
Debtors shall use reasonable best efforts to provide all available, non-privileged information relating to
the Assigned Third-Party Claims and Assigned Insurance Rights to counsel to the Governmental Plaintiff
Ad Hoc Committee and to counsel to the MSGE Group during the Debtors’ bankruptcy cases; provided,
however, that such information shall be provided prior to entry of the Confirmation Order. On and after
the Effective Date, the Reorganized Debtors shall use reasonable best efforts to cooperate with the Opioid
MDT II in connection with the Opioid MDT II’s investigation, preservation, pursuit, and securing of the
Assigned Third-Party Claims and the Assigned Insurance Rights. The terms and conditions of such
cooperation shall be set forth in the Cooperation Agreement and included in the Confirmation Order.
The Opioid MDT II shall reimburse the Reorganized Debtors for their documented and reasonable out-
of-pocket costs and expenses incurred in connection with such reasonable cooperation from and after the
Effective Date. Any request by the Opioid MDT II, the Governmental Plaintiff Ad Hoc Committee, or
the MSGE Group for cooperation by the Debtors and Reorganized Debtors shall be on reasonable
advance notice, and provided during normal business hours and otherwise in a manner that does not
disrupt commercial operations.

Article IV.W.4 (“Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT
II – Vesting of the Opioid MDT II Consideration in the Opioid MDT II”) provides that, on the Effective
Date or on the date which an Opioid Deferred Cash Payment is actually made, as applicable, pursuant to
the Plan and in accordance with the Opioid MDT II Documents, the Opioid MDT II Consideration shall
be transferred or issued to and vest in the Opioid MDT II free and clear of all Claims, Interests, Liens,
other encumbrances and liabilities of any kind (other than the Opioid Claims (including Opioid
Demands)). The Opioid MDT II shall have no liability for, and the Opioid MDT II Consideration shall
vest in the Opioid MDT II free and clear of, any pre-petition and post-petition Claims, Causes of Action
or liabilities of any kind, in each case that have been or could have been asserted against the Debtors,
their Estates or their property (including, but not limited to, Claims based on successor liability) based
on any acts or omissions prior to the Effective Date, except for the Opioid Claims (including the Opioid
Demands). From and after the Effective Date, all proceeds of the Opioid MDT II Consideration,
including without limitation, amounts paid by Insurers under the Assigned Insurance Rights, shall be
paid to the Opioid MDT II to be applied in accordance with the Opioid MDT II Documents.

Article IV.W.5 (“Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT
II – Assumption of Certain Liability and Responsibility by the Opioid MDT II”) provides that, in
consideration for the property transferred to the Opioid MDT II pursuant to Article IV.W.2 of the Plan
and in furtherance of the purposes of the Opioid MDT II and the Plan, the Opioid MDT II shall assume
all liability and responsibility, financial and otherwise, for all Opioid Claims (including Opioid Demands)
not otherwise channeled to an Opioid Creditor Trust or the Ratepayer Account, including U.S.
Government Opioid Claims, and Other Opioid Claims, and the Debtors, the Reorganized Debtors, and
the Protected Parties shall have no liability or responsibility, financial or otherwise, therefor. The Opioid
MDT II’s liability for such assumed Opioid Claims shall be limited to the U.S. Government Opioids
Claim Share, and the Other Opioid Claims Share. Except as otherwise provided in the Plan and the
Opioid MDT II Documents, the Opioid MDT II shall have all defenses, cross-claims, offsets, and
recoupments, as well as rights of indemnification, contribution, subrogation, and similar rights, regarding
such Opioid Claims (including Opioid Demands) that the Debtors or the Reorganized Debtors has or
would have had under applicable law.

Article IV.W.6 (“Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT
II – Institution of Maintenance of Legal and Other Proceedings”) provides that, as of the date upon
which the Opioid MDT II is established, the Opioid MDT II shall be empowered to initiate, prosecute,

                                                    110
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21        Page 122 of 835




defend and resolve all legal actions and other proceedings related to any asset, liability or responsibility
of the Opioid MDT II, including in respect of the Assigned Third-Party Claims and Assigned Insurance
Rights. The Opioid MDT II shall be empowered to initiate, prosecute, defend and resolve all such actions
in the name of the Debtors or their Estates, in each case if deemed necessary or appropriate by the Opioid
MDT II Trustee(s). The Opioid MDT II shall be responsible for the payment of all damages, awards,
judgments, settlements, expenses, costs, fees and other charges incurred subsequent to the date upon
which the Opioid MDT II is established arising from, or associated with, any legal action or other
proceeding brought pursuant to the foregoing.

Article IV.X.1 (“Opioid Creditor Trusts and Settlements of Opioid Claims – Establishment and
Purpose of the Opioid Creditor Trusts”) provides that, the Confirmation Order shall endorse and direct
the establishment of the Opioid Creditor Trusts on or prior to the Effective Date in accordance with the
terms of the respective Opioid Creditor Trust Documents. The Opioid Creditor Trusts shall be
independent from the Holders of Claims against the Debtors. The Opioid Creditor Trusts shall be
established for the purposes described in the Plan and any other purposes more fully described in the
Opioid Creditor Trust Documents. Each Opioid Creditor Trust shall, as applicable and in each case, in
accordance with the Plan, the Confirmation Order and the applicable Opioid Creditor Trust Documents:
(a) hold, manage and invest all funds and other assets received by such Opioid Creditor Trust from the
Opioid MDT II, in each case, for the benefit of the beneficiaries of such Opioid Creditor Trust; (b) hold
and maintain required reserves for such Opioid Creditor Trust in accordance with the applicable Opioid
Creditor Trust Documents; (c) administer, process, resolve and liquidate Opioid Claims channeled to
such Opioid Creditor Trust, in each case as provided in the applicable Opioid Creditor Trust Documents,
as set forth in Article IV.Y of the Plan; and (d) pay all applicable Opioid Creditor Trust Operating
Expenses.

Article IV.X.2 (“Opioid Creditor Trusts and Settlements of Opioid Claims – Appointment and Role of
the Opioid Creditor Trustees”) provides that, in furtherance of and consistent with the purposes of the
Opioid Creditor Trusts and the Plan, the Opioid Creditor Trustees shall have the power and authority to
perform all functions on behalf of the respective Opioid Creditor Trusts. The Opioid Creditor Trustees
shall undertake all administrative responsibilities as are provided in the Plan and the applicable Opioid
Creditor Trust Documents. The Opioid Creditor Trustees shall be responsible for all decisions and duties
with respect to the respective Opioid Creditor Trusts. In all circumstances, each Opioid Creditor Trustee
shall be independent and disinterested and shall act in the best interests of the beneficiaries of such Opioid
Creditor Trust, in furtherance of the purpose of such Opioid Creditor Trust and in accordance with the
Plan and the applicable Opioid Creditor Trust Documents. In accordance with the Opioid Creditor Trust
Documents, each Opioid Creditor Trustee shall serve in such capacity through the earlier of (x) the date
that the applicable Opioid Creditor Trust is dissolved in accordance with the applicable Opioid Creditor
Trust Documents and (y) the date such Opioid Creditor Trustee resigns, is terminated or is otherwise
unable to serve for any reason.

Further, the NOAT II Trustee(s) shall be selected by the Governmental Plaintiff Ad Hoc Committee and
the MSGE Group, in consultation with the Debtors. The TAFT II Trustee(s) will be selected by the
Tribal Leadership Committee designated by the MDL Court in the MDL and also identified in the
Amended Verified Statement of the Tribal Leadership Committee Pursuant to Bankruptcy Rule 2019
[Docket No. 1339], in consultation with the Debtors. The Opioid Creditor Trustees will be selected for
(i) the Third-Party Payor Trust by the Third-Party Payor Group, (ii) the PI Trust by the Ad Hoc Group
of Personal Injury Victims and the Future Claimants Representative, (iii) the Hospital Trust by the Ad
Hoc Group of Hospitals, (iv) the NAS Monitoring Trust by the NAS Committee, and (v) the Emergency
Room Physicians Trust by the Emergency Room Physicians Group, in each case, in consultation with
the Debtors. The identity of the initial Opioid Creditor Trustees shall be disclosed in the Plan
Supplement.


                                                    111
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21        Page 123 of 835




Article IV.X.3 (“Opioid Creditor Trusts and Settlements of Opioid Claims - Abatement Distributions”)
provides that each Abatement Trust shall, in accordance with the Plan, the Confirmation Order and the
applicable Abatement Trust Documents, make Abatement Distributions to Authorized Recipients for
Approved Uses.

Article IV.X.4 (“Opioid Creditor Trusts and Settlements of Opioid Claims – Abatement Trust
Monitoring and Reporting Obligations”) provides that each Abatement Trust shall (i) monitor the use
of funds received by Abatement Distribution recipients in accordance with Authorized Abatement
Purposes and (ii) prepare and deliver to the Opioid MDT II for publication annual reports on the
disbursement and use of Abatement Distributions from such Abatement Trust and the compliance by
Abatement Distribution recipients with the Authorized Abatement Purposes set forth in the applicable
Abatement Trust Documents. In addition, NOAT II shall prepare or direct the preparation of annual
audited financial reports of NOAT II to be filed with the Bankruptcy Court, delivered to the States and
published on a publicly available website.

Article IV.X.5 (“Opioid Creditor Trusts and Settlements of Opioid Claims – Assumption of Obligations
and Liabilities”) provides that, in consideration for the property transferred to the Opioid Creditor Trusts
pursuant to Articles IV.W.2 and IV.X.7 of the Plan and in furtherance of the purposes of the Opioid MDT
II, Opioid Creditor Trusts, and the Plan, each Opioid Creditor Trust and the Ratepayer Account shall
assume all liability and responsibility, financial and otherwise, for any Opioid Claims (including Opioid
Demands) channeled to each Opioid Creditor Trust and the Ratepayer Account, respectively, other than
any U.S. Government Opioid Claims, and Other Opioid Claims, and the Debtors, the Reorganized
Debtors, and the Released Parties shall have no liability or responsibility, financial or otherwise, therefor.
Except as otherwise provided in the Plan, the Opioid MDT II Documents, and the Opioid Creditor Trust
Documents, the Opioid Creditor Trusts and the Ratepayer Account shall have all defenses, cross-claims,
offsets, and recoupments, as well as rights of indemnification, contribution, subrogation, and similar
rights, regarding such Opioid Claims (including Opioid Demands) that the Debtors or the Reorganized
Debtors has or would have had under applicable law.

Article IV.X.6 (“Opioid Creditor Trusts and Settlements of Opioid Claims – Institution and
Maintenance of Legal and Other Proceedings”) provides that, as of the date upon which the Opioid
Creditor Trusts are established, the Opioid Creditor Trusts shall be empowered to initiate, prosecute,
defend and resolve all legal actions and other proceedings related to any asset, liability or responsibility
of the Opioid Creditor Trusts. Such legal actions and other proceedings shall be limited solely to those
required for the purposes of satisfying the responsibilities of the applicable Opioid Creditor Trust. The
Opioid Creditor Trusts shall be empowered to initiate, prosecute, defend and resolve all such actions in
the name of the Debtors or their Estates, in each case if deemed necessary or appropriate by the applicable
Opioid Creditor Trustee. The Opioid Creditor Trusts shall be responsible for the payment of all damages,
awards, judgments, settlements, expenses, costs, fees and other charges incurred subsequent to the date
upon which the Opioid Creditor Trusts are established arising from, or associated with, any legal action
or other proceeding brought pursuant to the foregoing.

Article IV.X.7 (“Opioid Creditor Trusts and Settlements of Opioid Claims – Opioid MDT II
Distributions”) provides that, the Opioid MDT II shall make the Opioid MDT II Initial Distribution on
the Opioid MDT II Initial Distribution Date and shall make the Opioid MDT II Subsequent Distributions
on any Opioid MDT Subsequent Distribution Date. The Opioid MDT II shall fund the Opioid Attorneys’
Fee Fund with the Opioid Attorneys’ Fee Fund Share, out of the Public Opioid Creditor Share. The
Opioid MDT II shall also establish and fund the Opioid MDT II Operating Reserve.

Article IV.X.8.A (“Opioid Creditor Trusts and Settlements of Opioid Claims – Private Claimants’
Attorneys’ Fees – Common Benefit Fund Assessments”) provides that, on the Effective Date, a
Common Benefit Escrow shall be established and funded by assessments of 5% of each Distribution

                                                     112
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21      Page 124 of 835




made by the Private Opioid Creditor Trusts and the Ratepayer Account. Such assessments will be paid
by each Private Opioid Creditor Trust and the Ratepayer Account in respect of the Distributions made
by each Private Opioid Creditor Trust and the Ratepayer Account to the Common Benefit Escrow and
then, upon its establishment, directly to the Common Benefit Fund established by either the MDL Court
or the Bankruptcy Court, as will be reasonably agreed to by the Governmental Plaintiff Ad Hoc
Committee and the MSGE Group, on periodic schedules for each Private Opioid Creditor Trust and the
Ratepayer Account acceptable to the Governmental Plaintiff Ad Hoc Committee, the MSGE Group, the
Ad Hoc Group of Hospitals, the Ratepayer Mediation Participants, the Ad Hoc Group of Personal Injury
Victims, and the NAS Committee, as applicable. The amounts in the Common Benefit Escrow shall be
held in escrow until an order is entered by either the MDL Court or the Bankruptcy Court, as will be
reasonably agreed to by the Governmental Plaintiff Ad Hoc Committee and the MSGE Group,
establishing a Common Benefit Fund, at which time the amounts held by the Common Benefit Escrow
and all subsequent assessments of 5% of each Distribution made by the Private Opioid Creditor Trusts
and the Ratepayer Account shall be transferred to and distributed in accordance with the order of either
the MDL Court or the Bankruptcy Court, as will be reasonably agreed to by the Governmental Plaintiff
Ad Hoc Committee and the MSGE Group, establishing the Common Benefit Fund. To the extent a
Hospital Opioid Claimant, a Third-Party Payor Opioid Claimant, a Ratepayer Opioid Claimant, a NAS
Monitoring Opioid Claimant, a PI/NAS Opioid Claimant (or any ad hoc group consisting of Claimants
of any of the foregoing) has retained counsel through an contingency fee arrangement, any contingency
fees owed to such contingency counsel payable from Distributions under the Plan shall be reduced by
the full amount payable under Article IV.X.8 of the Plan. However, the applicable Claimant and its
counsel, in their sole discretion, may agree that an amount up to but not exceeding 40% of the amount
payable under Article IV.X.8 of the Plan may be applied to the reimbursement of actual costs and
expenses incurred by such Claimant’s counsel, in which case such agreed cost-reimbursement amount
shall not reduce the contingency fee amounts payable to such counsel. For the avoidance of doubt, if the
Debtors, the Governmental Plaintiff Ad Hoc Committee, and the MSGE Group agree to any reduced or
less restrictive terms concerning the 5% Common Benefit Fund assessment (or its implementation)
provided under any portion of Article IV.X.8 of the Plan for any of the Private Opioid Creditor Trusts
and the Ratepayer Account, then such modifications shall apply to each of the groups, mutatis mutandis.

Article IV.X.8.B (“Opioid Creditor Trusts and Settlements of Opioid Claims – Private Claimants’
Attorneys’ Fees – Hospitals Attorneys’ Fees and Costs”) provides that, on the Effective Date, the
Hospital Attorney Fee Fund shall be established for the payment of attorneys’ fees and costs of the Ad
Hoc Group of Hospitals with respect to Hospital Opioid Claims. The Hospital Attorney Fee Fund shall
be funded with (i) 20% of each Distribution made by the Hospital Trust to Hospital Opioid Claimants
that have not retained (or are not part of an ad hoc group that has retained) separate counsel through an
individual contingency fee arrangement less (ii) the amount of such Distributions payable to the Common
Benefit Escrow and the Common Benefit Fund under Article IV.Y.7(A) of the Plan. The Hospital
Attorney Fee Fund shall be administered by the Hospital Trust on terms acceptable to the Ad Hoc Group
of Hospitals.

Article IV.X.8.C (“Opioid Creditor Trusts and Settlements of Opioid Claims – Private Claimants’
Attorneys’ Fees – NAS Monitoring Attorneys’ Fees and Costs”) provides that, on the Effective Date,
the NAS Monitoring Attorney Fee Fund shall be established for the payment of attorneys’ fees and costs
of the NAS Committee with respect to NAS Monitoring Opioid Claimants. The NAS Monitoring
Attorney Fee Fund shall be funded with (i) 20% of each Distribution made to the NAS Monitoring Trust
less (ii) the amount of such Distributions payable to the Common Benefit Escrow and the Common
Benefit Fund under Article IV.X.8.A of the Plan. Reasonable expert costs incurred by the NAS
Committee in the formation of the abatement plan for the NAS Monitoring Trust shall also be paid by
the NAS Monitoring Trust, and, for the avoidance of doubt, (x) there shall be no amounts payable to the
Common Benefit Escrow or the Common Benefit Fund on account of such cost reimbursements and (y)
the 20% limitation on attorneys’ fees shall not apply to the foregoing reasonable expert costs. The NAS

                                                  113
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 125 of 835




Monitoring Attorney Fee Fund shall be administered by the NAS Monitoring Trust on terms acceptable
to the NAS Committee. Except as expressly set forth in Article IV.X.8 of the Plan, nothing in the Plan
shall impair or otherwise affect any contingency fee contract between any Holder of a Claim (or any ad
hoc group of Holders of Claims) and such Holder’s (or ad hoc group’s) counsel.

Article IV.X.8.D (“Opioid Creditor Trusts and Settlements of Opioid Claims – Private Claimants’
Attorneys’ Fees – Ratepayer Attorneys’ Fees and Costs”) provides that, on the Effective Date, the
Ratepayer Attorney Fee Fund shall be established for the payment of attorneys’ fees and costs of the
Ratepayer Mediation Participants. The Ratepayer Attorney Fee Fund shall be funded with (i) 20% of
each Distribution made by the Ratepayer Account less (ii) the amount of such Distributions payable to
the Common Benefit Escrow and the Common Benefit Fund under Article IV.X.8.A of the Plan. The
Ratepayer Attorney Fee Fund shall be administered by the Ratepayer Account as set forth in Article
IV.X.8 of the Plan. Except as expressly set forth in Article IV.X.8 of the Plan, nothing in the Plan shall
impair or otherwise affect any contingency fee contract between any Holder of a Claim (or any ad hoc
group of Holders of Claims) and such Holder’s (or ad hoc group’s) counsel.

Article IV.X.8.E (“Opioid Creditor Trusts and Settlements of Opioid Claims – Private Claimants’
Attorneys’ Fees – Emergency Room Physicians Attorneys’ Fees and Costs”) provides that, on the
Effective Date, the Emergency Room Physicians Attorney Fee Fund shall be established for the payment
of attorneys’ fees and costs of the Emergency Room Physicians Opioid Claimants. The Emergency
Room Physicians Attorney Fee Fund shall be funded with (i) 20% of each Distribution made by the
Emergency Room Physicians Trust less (ii) the amount of such Distributions payable to the Common
Benefit Escrow and the Common Benefit Fund under Article IV.X.8.A of the Plan. The Emergency
Room Physicians Attorney Fee Fund shall be administered by the Emergency Room Physicians Trust as
set forth in Article IV.X.8 of the Plan. Except as expressly set forth in Article IV.X.8 of the Plan, nothing
in the Plan shall impair or otherwise affect any contingency fee contract between any Holder of a Claim
(or any ad hoc group of Holders of Claims) and such Holder’s (or ad hoc group’s) counsel.

Article IV.X.8.F (“Opioid Creditor Trusts and Settlements of Opioid Claims – Private Claimants’
Attorneys’ Fees – PI Claimant Costs and Expenses”) provides that, the Opioid Creditor Trustee of the
PI Trust shall pay or reimburse, as applicable, the compensation, costs and fees of professionals that
represented or advised the Ad Hoc Group of Personal Injury Victims and the NAS Committee in
connection with the Chapter 11 Cases, as and to the extent provided in the PI Trust Documents. Such
compensation, costs and fees paid or reimbursed, as applicable, by the PI Trust shall be deducted from
Distributions from the PI Trust Holders of Allowed PI Opioid Claims and Allowed NAS PI Opioid
Claims, in each case pursuant to the PI Trust Documents. Nothing in Article IV.X.8 of the Plan shall
impair or otherwise affect any fee contract that is not a contingency fee contract between the Ad Hoc
Group of Personal Injury Victims and its professionals, or between the NAS Committee and its
professionals.

Article IV.X.8.G (“Opioid Creditor Trusts and Settlements of Opioid Claims – Private Claimants’
Attorneys’ Fees – No Impairment of Contingency Fee Contracts; No Further Assessment”) provides
that, except as expressly set forth in Article IV.X.8 of the Plan, nothing in the Plan shall impair or
otherwise affect any contingency fee contract between any Holder of a Claim (or any ad hoc group of
Holders of Claims) and such Holder’s (or ad hoc group’s) counsel. In this regard, the payment of the
assessments described in Article IV.X.8 of the Plan shall be the only payment that such Holders (or their
counsel) shall ever have to make to the Common Benefit Fund with respect to amounts distributed under
the Plan, and shall not be subject to any further or other common benefit or similar assessments with
respect to amounts distributed pursuant to the Plan or payments to attorneys in respect thereof.

Article IV.Y (“Administration of Opioid Claims”) provides that, all Opioid Claims will be administered,
liquidated and discharged pursuant to the applicable Opioid MDT II Documents or Opioid Creditor Trust

                                                    114
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 126 of 835




Documents. The Opioid MDT II Trustee(s) and Opioid Creditor Trustee(s), as applicable, shall
determine the eligibility, amount and Allowance of the applicable Opioid Claims in accordance with the
applicable Opioid MDT II Documents or Opioid Creditor Trust Documents. The determination by the
applicable Opioid MDT II Trustee(s) or Opioid Creditor Trustee(s) of the eligibility, amount and
Allowance of each Opioid Claim (except for any Other Opioid Claims) shall be final and binding, and
shall not be subject to any challenge or review of any kind, by any court or other Person, except as set
forth herein and in the Opioid MDT II Documents and Opioid Creditor Trust Documents. Distributions
in respect of Allowed Opioid Claims shall be made by the applicable Opioid MDT II Trustee(s) or Opioid
Creditor Trustee(s), in accordance with the trust distribution procedures and other provisions of the
applicable Opioid MDT II Documents or Opioid Creditor Trust Documents, from the applicable Opioid
MDT II or Opioid Creditor Trust. Distributions from the Opioid MDT II, Opioid Creditor Trusts, and
the Ratepayer Account shall be the sole source of recovery for Holders of Allowed Opioid Claims, and
no Holder of an Opioid Claim shall have any other or further recourse to the Opioid Creditor Trusts, the
Opioid MDT II, the Debtors or their Estates, the Reorganized Debtors, NewCo, any NewCo Subsidiaries,
or the Released Parties. Holders of disallowed Opioid Claims shall have no recourse to the Opioid
Creditor Trusts, the Ratepayer Account, the Opioid MDT II, the Debtors or their Estates, the Reorganized
Debtors, NewCo, any NewCo Subsidiaries, or the Released Parties in respect of such disallowed Claims.

Article IV.Y.1 (“Administration of Opioid Claims - Administration of Other Opioid Claims”) provides
that, the Opioid MDT II Administrator shall implement procedures, subject to Bankruptcy Court
approval, for the submission of Other Opioid Claims, including notice procedures with respect thereto,
and for the resolution of such Other Opioid Claims, which shall permit (but not require) that any litigation
thereon occur in the Bankruptcy Court. All Other Opioid Claims shall be Disputed Claims under the
Plan. Only Other Opioid Claims that become Allowed Claims pursuant to the procedures contained in
Article IV.Y.2 of the Plan shall be entitled to distributions from the Other Opioid Claims Reserve, Pro
Rata with other Allowed Other Opioid Claims. For the avoidance of doubt, Other Opioid Claims,
whether Allowed or disallowed, shall not be entitled to any distributions from the Opioid MDT II or any
Abatement Trust or other Opioid Creditor Trust, other than from the Other Opioid Claims Reserve.
Subject to definitive guidance from the IRS or a court of competent jurisdiction to the contrary, the
Opioid MDT II shall treat the Other Opioid Claims Reserve as a “disputed ownership fund” governed by
Treasury Regulation section 1.468B-9 and to the extent permitted by applicable law, report consistently
with the foregoing for state and local income tax purposes. All parties (including, to the extent applicable,
the Opioid MDT II and Holders of Other Opioid Claims) shall be required to report for tax purposes
consistently with the foregoing.

Article IV.Y.2 (“Administration of Opioid Claims - Objections to Other Opioid Claims”) provides that,
the Opioid MDT II Administrator shall be entitled to object to Other Opioid Claims. Any objections to
Other Opioid Claims shall be served and filed on or before the later of (i) two-hundred and seventy (270)
days after the Effective Date and (ii) such later date as may be fixed by the Bankruptcy Court (as the
same may be extended by the Bankruptcy Court for cause shown). The Opioid MDT II Administrator
shall be entitled to use omnibus objections in compliance with Local Rule 3007-1 and may seek
Bankruptcy Court approval to establish additional objection or estimation procedures as the Opioid MDT
II Administrator believes appropriate.

Article IV.Y.3 (“Administration of Opioid Claims - Resolution of Disputed Other Opioid Claims”)
provides that, on and after the Effective Date the MDT II Administrator shall have the authority to
compromise, settle, otherwise resolve, or withdraw any objections to Disputed Other Opioid Claims and
to compromise, settle, or otherwise resolve any Disputed Other Opioid Claims without approval of the
Bankruptcy Court.

Article IV.Y.4 (“Administration of Opioid Claims - Disallowance of Other Opioid Claims”) provides
that, any Other Opioid Claims held by an Entity from which property is recoverable under sections 542,

                                                    115
             Case 20-12522-JTD        Doc 2917       Filed 06/18/21      Page 127 of 835




543, 550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under section
522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, as determined by a Final
Order, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of
such Other Opioid Claims may not receive any distributions on account of such Other Opioid Claims
until such time as such Causes of Action against that Entity have been settled or a Final Order with
respect thereto has been entered and all sums due, if any, to the Debtors by that Entity have been turned
over or paid to the Debtors or the Reorganized Debtors.

Article IV.Y.5 (“Administration of Opioid Claims - Estimation of Other Opioid Claims”) provides that,
the Opioid MDT II Administrator may at any time request that the Bankruptcy Court estimate any Other
Opioid Claims pursuant to section 502(c) of the Bankruptcy Code for any reason or purpose, regardless
of whether the Opioid MDT II Administrator has previously objected to such Other Opioid Claim or
whether the Bankruptcy Court has ruled on any such objection. The Bankruptcy Court shall retain
jurisdiction to estimate any Other Opioid Claim at any time during litigation concerning any objection
to any Other Opioid Claim, including, during the pendency of any appeal relating to any such objection.
If the Bankruptcy Court estimates any Other Opioid Claim, that estimated amount shall constitute the
maximum limitation on such Other Opioid Claim, and the Opioid MDT II Administrator may pursue
supplementary proceedings to object to the ultimate allowance of such Other Opioid Claim. All of the
aforementioned objection, estimation and resolution procedures are cumulative and not exclusive of one
another. Other Opioid Claims may be estimated and subsequently compromised, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court. Notwithstanding section 502(j) of the
Bankruptcy Code, in no event shall any holder of an Other Opioid Claim that has been estimated pursuant
to section 502(c) of the Bankruptcy Code or otherwise be entitled to seek reconsideration of such Other
Opioid Claim unless the holder of such Other Opioid Claim has filed a motion requesting the right to
seek such reconsideration on or before twenty (20) calendar days after the date such Other Opioid Claim
is estimated by the Bankruptcy Court. The Opioid MDT II Administrator reserves the right to reduce the
Other Opioid Claims Reserve in a manner consistent with any such estimation.

Article IV.Y.6 (“Administration of Opioid Claims - Periodic Distributions from Other Opioid Claims
Reserve”) provides that, the Opioid MDT II Trustee(s) shall make distributions from time to time in their
discretion from the Other Opioid Claims Reserve to holders of Allowed Other Opioid Claims, upon their
determination that after distribution, and consistent with and subject to section 1123(a)(4) of the
Bankruptcy Code, the Other Opioid Claims Reserve shall entitle such holder an aggregate amount equal
to the Pro Rata Share of each distribution that would have been made to holders of Other Opioid Claims
that remain Disputed and allocate such amount to the Other Opioid Claims Reserve as if each such Other
Opioid Claim that remains Disputed were Allowed Claims, for each Other Opioid Claim in the amount
equal to the least of (i) the filed amount of such Other Opioid Claim, (ii) the amount determined by a
Final Order of the Bankruptcy Court for purposes of fixing the amount to be retained for such Other
Opioid Claim, and (iii) such other amount as may be agreed upon by the Holder of such Other Opioid
Claim and the Opioid MDT II Administrator.

        E.      Treatment of Executory Contracts and Unexpired Leases; Employee Benefits;
                and Insurance Policies

Article V of the Plan governs the treatment of the Debtors’ Executory Contracts and Unexpired Leases,
among other things.

Article V.A (“Assumption of Executory Contracts and Unexpired Leases”) provides on the Effective
Date, except as otherwise provided in the Plan, each of the Executory Contracts and Unexpired Leases
not previously rejected, assumed, or assumed and assigned pursuant to an order of the Bankruptcy Court
will be deemed assumed as of the Effective Date pursuant to sections 365 and 1123 of the Bankruptcy
Code except any Executory Contract or Unexpired Lease (1) identified on the Rejected Executory

                                                  116
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 128 of 835




Contract/Unexpired Lease List (which shall initially be filed with the Bankruptcy Court on the Plan
Supplement Filing Date) as an Executory Contract or Unexpired Lease to be rejected, (2) that is the
subject of a separate motion or notice to reject pending as of the Confirmation Date, or (3) that previously
expired or terminated pursuant to its own terms (disregarding any terms the effect of which is invalidated
by the Bankruptcy Code).

Further, entry of the Confirmation Order by the Bankruptcy Court shall constitute an order approving the
assumption of the Restructuring Support Agreement pursuant to sections 365 and 1123 of the Bankruptcy
Code and effective on the occurrence of the Effective Date. The Restructuring Support Agreement shall
be binding and enforceable against the parties to the Restructuring Support Agreement in accordance
with its terms. For the avoidance of doubt, the assumption of the Restructuring Support Agreement
herein shall not otherwise modify, alter, amend, or supersede any of the terms or conditions of the
Restructuring Support Agreement including, without limitation, any termination events or provisions
thereunder.

Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order approving the
assumptions of the Executory Contracts and Unexpired Leases pursuant to sections 365(a) and 1123 of
the Bankruptcy Code and effective on the occurrence of the Effective Date. Each Executory Contract
and Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court order, and not assigned to a
third party on or prior to the Effective Date, shall re-vest in and be fully enforceable by the applicable
Reorganized Debtor in accordance with its terms, except as such terms may have been modified by order
of the Bankruptcy Court. To the maximum extent permitted by law, to the extent any provision in any
Executory Contract or Unexpired Lease assumed pursuant to the Plan restricts or prevents, or purports
to restrict or prevent, or is breached or deemed breached by, the assumption of such Executory Contract
or Unexpired Lease or the execution of any other Restructuring Transaction (including any “change of
control” provision), then such provision shall be deemed modified such that the transactions
contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate such Executory
Contract or Unexpired Lease or to exercise any other default-related rights with respect thereto. For the
avoidance of doubt, consummation of the Restructuring Transactions shall not be deemed an assignment
of any Executory Contract or Unexpired Lease of the Debtors, notwithstanding any change in name,
organizational form, or jurisdiction of organization of any Debtor in connection with the occurrence of
the Effective Date.

Notwithstanding anything to the contrary in the Plan, (except for the Consent Rights of Supporting
Parties in Article I.C of the Plan), the Debtors or Reorganized Debtors, as applicable, reserve the right to
amend or supplement the Rejected Executory Contract/Unexpired Lease List in their discretion prior to
the Confirmation Date (or such later date as may be permitted by Article V.B or Article V.E of the Plan),
provided that the Debtors shall give prompt notice of any such amendment or supplement to any affected
counterparty and such counterparty shall have no less than seven (7) days to object thereto on any
grounds.

Article V.B (“Cure of Defaults for Assumed Executory Contracts and Unexpired Leases”) provides
that any monetary defaults under each Executory Contract and Unexpired Lease to be assumed pursuant
to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the
Cure Cost in Cash on the Effective Date or as soon as reasonably practicable, subject to the limitation
described below, or on such other terms as the parties to such Executory Contract or Unexpired Lease
may otherwise agree. No later than the Plan Supplement Filing Date, to the extent not previously Filed
with the Bankruptcy Court and served on affected counterparties, the Debtors shall provide notices of
the proposed assumption and proposed Cure Costs to be sent to applicable counterparties, together with
procedures for objecting thereto and for resolution of disputes by the Bankruptcy Court. Any objection
by a contract or lease counterparty to a proposed assumption or related Cure Cost must be Filed, served,


                                                    117
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21      Page 129 of 835




and actually received by the Debtors by the date on which objections to confirmation are due (or such
other date as may be provided in the applicable assumption notice).

Furthermore, any counterparty to an Executory Contract or Unexpired Lease that fails to object timely
to the proposed assumption or Cure Cost will be deemed to have assented to such assumption and Cure
Cost. Any timely objection to a proposed assumption or Cure Cost will be scheduled to be heard by the
Bankruptcy Court at the Reorganized Debtors’ first scheduled omnibus hearing after the date that is ten
(10) days after the date on which such objection is Filed. In the event of a dispute regarding (1) the
amount of any Cure Cost, (2) the ability of the Reorganized Debtors or any assignee to provide “adequate
assurance of future performance” within the meaning of section 365(b) of the Bankruptcy Code under
any Executory Contract or the Unexpired Lease, and/or (3) any other matter pertaining to assumption
and/or assignment, then such dispute shall be resolved by a Final Order; provided that the Debtors or
Reorganized Debtors may settle any such dispute and shall pay any agreed upon Cure Cost without any
further notice to any party or any action, order, or approval of the Bankruptcy Court; provided, further,
that notwithstanding anything to the contrary in the Plan (except for the Consent Rights of Supporting
Parties in Article I.C of the Plan), the Reorganized Debtors reserve the right to reject any Executory
Contract or Unexpired Lease previously designated for assumption within forty five (45) days after the
entry of a Final Order resolving an objection to the assumption or to the proposed Cure Cost.

Furthermore, assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full satisfaction and cure of any Claims and defaults, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership interest
composition or other bankruptcy-related defaults, under any assumed Executory Contract or Unexpired
Lease arising at any time prior to the effective date of assumption. Notwithstanding the foregoing, the
Debtors and the Reorganized Debtors, as applicable, will continue to honor all postpetition and post-
Effective Date obligations under any assumed Executory Contracts and Unexpired Leases in accordance
with their terms, regardless of whether such obligations are listed as a Cure Cost, and whether such
obligations accrued prior to or after the Effective Date, and neither the payment of Cure Costs nor entry
of the Confirmation Order shall be deemed to release the Debtors or the Reorganized Debtors, as
applicable, from such obligations.

Article V.C (“Claims Based on Rejection of Executory Contracts and Unexpired Leases”) provides
that unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Claims arising
from the rejection of the Executory Contracts and Unexpired Leases pursuant to the Plan or otherwise
must be filed with the Notice and Claims Agent within thirty (30) days of the effective date of the
rejection of the applicable Executory Contract or Unexpired Lease. Any Proofs of Claim arising from
the rejection of the Executory Contracts and Unexpired Leases that are not timely filed shall be
automatically disallowed without further order of the Bankruptcy Court. All Allowed Claims
arising from the rejection of the Executory Contracts and Unexpired Leases shall constitute General
Unsecured Claims and shall be treated in accordance with Article III.B of the Plan

Article V.D (“Contracts and Leases Entered into After the Petition Date”) provides that any contracts
or leases entered into after the Petition Date by any Debtor, including any Executory Contracts or
Unexpired Leases assumed by any Debtor, will be performed by such Debtor or Reorganized Debtor, as
applicable, liable thereunder in the ordinary course of business. Accordingly, such contracts and leases
(including any Executory Contracts and Unexpired Leases assumed or assumed and assigned pursuant
to section 365 of the Bankruptcy Code) will survive and remain unaffected by entry of the Confirmation
Order.

Article V.E (“Reservation of Rights”) is a reservation of the Debtors’ rights and provides that neither
anything contained in the Plan nor the Debtors’ delivery of a notice of proposed assumption and proposed
Cure Cost to any contract and lease counterparties, shall constitute an admission by the Debtors that any

                                                  118
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 130 of 835




such contract or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized Debtor
has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory
or unexpired at the time of assumption, the Debtors or Reorganized Debtors, as applicable, shall have
thirty (30) days following entry of a Final Order resolving such dispute to alter their treatment of such
contract or lease. If there is a dispute regarding a Debtor’s or Reorganized Debtor’s liability under an
assumed Executory Contract or Unexpired Lease, the Reorganized Debtors shall be authorized to move
to have such dispute heard by the Bankruptcy Court pursuant to Article X.C of the Plan.

Article V.F (“Indemnification Provisions and Reimbursement Obligations”) provides that, on and as
of the Effective Date, and except as prohibited by applicable law and subject to the limitations set forth
in the Plan, the Indemnification Provisions will be assumed and irrevocable and will survive the
effectiveness of the Plan, and the New Governance Documents will provide to the fullest extent provided
by law for the indemnification, defense, reimbursement, exculpation, and/or limitation of liability of, and
advancement of fees and expenses to the Debtors’ and the Reorganized Debtors’ current and former
directors, officers, equity holders, managers, members, employees, accountants, investment bankers,
attorneys, other professionals, agents of the Debtors, and such current and former directors’, officers’,
equity holders’, managers’, members’ and employees’ respective Affiliates (each of the foregoing solely
in their capacity as such) at least to the same extent as the Indemnification Provisions, against any Claims
or Causes of Action whether direct or derivative, liquidated or unliquidated, fixed or contingent, disputed
or undisputed, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted,
and, notwithstanding anything in the Plan to the contrary, none of the Reorganized Debtors will amend
and/or restate the New Governance Documents before or after the Effective Date to terminate or
adversely affect any of the Indemnification Provisions.

Article V.G (“Co-Defendant Indemnification Obligations”) provides that, as of the Effective Date, any
term of any policy, contract or other obligation applicable to any Debtor shall be void and of no further
force or effect to the maximum extent permitted by applicable law and to the extent such policy, contract
or other obligation creates an obligation of any Debtor, or gives rise to a right under any Insurance
Contract of any Debtor, for the indemnification or reimbursement of any Person other than the Opioid
MDT II for costs, losses, damages, fees, expenses or any other amounts whatsoever relating to or arising
from any actual or potential litigation or dispute, whether accrued or unaccrued, asserted or unasserted,
existing or hereinafter arising, based on or relating to or in connection with, or in any manner arising
from, in whole or in part, any Opioid Claim or any Opioid Demand (excluding any indemnification
obligations expressly assumed pursuant to, or otherwise provided for in, the Plan). Notwithstanding the
foregoing, nothing herein shall interfere with the Assigned Insurance Rights or the Opioid MDT II’s
exercise of the Assigned Insurance Rights.

The Plan shall, to the maximum extent permitted by applicable law, constitute (i) an amendment to each
assumed or assumed and assigned contract to sever any and all provisions thereof that give rise to any
obligation or right described in Article V.G of the Plan and (ii) an agreement by each counterparty to
release any and all obligations and liabilities arising under or relating to such severed provisions and any
and all Co-Defendant Claims and Opioid Claims (including Opioid Demands) arising under such
contract, including any Co-Defendant Claims and Opioid Claims (including Opioid Demands) that might
otherwise be elevated to administrative status through assumption of such contract. The severed portion
of each such contract shall be rejected as of the Effective Date, and any Claims resulting from such
rejection shall be forever released and discharged, with no distribution on account thereof. Except to the
extent included in the Rejected Executory Contract/Unexpired Lease List, each such contract, solely as
amended pursuant to Article V.G of the Plan, shall be assumed by the applicable Debtor and, as
applicable, may be assigned to NewCo (or one of the NewCo Subsidiaries). No counterparty or any
other Person shall have or retain any Claim, Cause of Action or other right of recovery against the Debtors
or any other Person, including without limitation NewCo or any Insurer, except for the Other Opioid
Claims Reserve (if applicable), for or relating to any obligation or right described in Article V.G of the

                                                    119
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 131 of 835




Plan, any Co-Defendant Claim or the amendment of any contract, or the severance and rejection of
obligations and liabilities in connection therewith, described in Article V.G of the Plan. On the Effective
Date, all Co-Defendant Claims arising under or related to any contract of the Debtors shall be released
and discharged to the maximum extent permitted by applicable law with no consideration on account
thereof, and all Proofs of Claim in respect thereof shall be deemed disallowed and expunged, without
further notice, or action, order or approval of the Bankruptcy Court or any other Person, and any Opioid
Claims arising under or related to any contract of the Debtors will be treated in accordance with Article
III of the Plan. For the avoidance of doubt, no Co-Defendant Claim or Opioid Claim will be assumed by
the Reorganized Debtors or NewCo, elevated to administrative priority status or otherwise receive
modified treatment as a result of the assumption or assumption and assignment of any contract pursuant
to Article V.G of the Plan.

The Debtors shall provide notice to all known counterparties to any Executory Contract or Unexpired
Lease of Article V.G of the Plan. To the extent an objection is not timely filed and properly served on
the Debtors with respect to any contract of the Debtors in accordance with the Disclosure Statement
Order, the counterparty to such contract and all other Persons shall be bound by and deemed to have
assented to the amendment of such contract, the assumption or assumption and assignment of such
amended contract and the severance and release of obligations, liabilities and Claims described in Article
V.G of the Plan. Except to the extent that the Holder of a Co-Defendant Claim otherwise agrees or fails
to object to such treatment, the assumption or rejection of a contract or lease with the Holder of a Co-
Defendant Claim shall not operate as a release, waiver or discharge of any Co-Defendant Defensive
Rights or Co-Defendant Claims. For the avoidance of doubt, if a counterparty to any contract timely files
and properly serves an objection on the Debtors, (x) such objecting party will not be bound by Article
V.G. of the Plan, (y) any Cure Costs for such contract (if applicable) will be payable only by the Debtors,
the Reorganized Debtors, or NewCo (as applicable), and (z) any Claims for rejection damages (if
applicable) relating to the Co-Defendant Claims arising thereunder will be either Other Opioid Claims
or No Recovery Opioid Claims and treated in accordance with the Plan, and any other Claims for
rejection damages (if applicable) will be General Unsecured Claims.

Article V.H (“Employee Compensation and Benefits”) concerns the Debtors’ Compensation and Benefit
Programs and the Debtors’ Workers’ Compensation Programs.

Article V.H.1 provides that, subject to the provisions of the Plan, all Compensation and Benefits
Programs (other than awards of stock options, restricted stock, restricted stock units, and other equity
awards) shall be treated as Executory Contracts under the Plan and deemed assumed on the Effective
Date pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code. All Proofs of Claim
Filed for amounts due under any Compensation and Benefits Program shall be considered satisfied by
the applicable agreement and/or program and agreement to assume and cure in the ordinary course as
provided in the Plan. All collective bargaining agreements to which any Debtor is a party, and all
Compensation and Benefits Programs which are maintained pursuant to such collective bargaining
agreements or to which contributions are made or benefits provided pursuant to a current or past
collective bargaining agreement, will be deemed assumed on the Effective Date pursuant to the
provisions of sections 365 and 1123 of the Bankruptcy Code and the Reorganized Debtors reserve all of
their rights under such agreements. For the avoidance of doubt, the Debtors and Reorganized Debtors,
as applicable, shall honor all their obligations under section 1114 of the Bankruptcy Code. None of the
Restructuring, the Restructuring Transactions, or any assumption of Compensation and Benefits
Programs pursuant to the terms in the Plan shall be deemed to trigger any applicable change of control,
vesting, termination, acceleration or similar provisions therein. No counterparty shall have rights under
a Compensation and Benefits Program assumed pursuant to the Plan other than those applicable
immediately prior to such assumption.



                                                   120
             Case 20-12522-JTD         Doc 2917       Filed 06/18/21        Page 132 of 835




Article V.H.2 provides that as of the Effective Date, except as set forth in the Plan Supplement, the
Debtors and the Reorganized Debtors shall continue to honor their obligations under: (a) all applicable
state workers’ compensation laws; and (b) the Workers’ Compensation Contracts. All Proofs of Claims
filed by the Debtors’ current or former employees on account of workers’ compensation shall be deemed
withdrawn automatically and without any further notice to or action, order, or approval of the Bankruptcy
Court based upon the treatment provided for herein; provided that nothing in the Plan shall limit,
diminish, or otherwise alter the Debtors’ or Reorganized Debtors’ defenses, Causes of Action, or other
rights under applicable non-bankruptcy law with respect to the Workers’ Compensation Contracts;
provided, further, that nothing herein shall be deemed to impose any obligations on the Debtors in
addition to what is provided for under applicable non-bankruptcy law and/or the Workers’ Compensation
Contracts.

Additionally, under the Plan, except with respect to the Opioid Insurance Policies and the Assigned
Insurance Rights, the Debtors intend to assume all Insurance Contracts to the extent they are Executory
Contracts, and to the extent they are not Executory Contracts, the vesting of all Estate assets in the
Reorganized Debtors will include any non-executory rights under any Insurance Contracts or other
insurance policies. Further, to the extent that any self-insured retentions are required and remain to be
paid under any applicable Opioid Insurance Policy or in connection with any Assigned Insurance Rights,
the obligation to make such payments will not be Impaired by the Plan.

        F.       Provisions Governing Distributions

Article VI of the Plan sets forth the mechanics by which Plan distributions will be made. As set forth
more fully therein, Article VI of the Plan provides, among other things, that (a) subject to certain
exceptions, distributions under the Plan of the full amount provided for thereunder (i) on account of
Claims and Interests, other than Opioid Claims, Allowed on or before the Effective Date will generally
be made on the Initial Distribution Date, and (ii) on account of Disputed Claims other than Opioid
Claims, Allowed after the Effective Date will generally be made on the next Periodic Distribution Date
that is at least thirty (30) days after the Claim is Allowed (VI.A-C).

Article VI.D.1 (“Delivery of Distributions – Record Date for Distributions”) provides that for purposes
of making distributions on the Initial Distribution Date only, the Distribution Agent shall be authorized
and entitled to recognize only those Holders of Claims other than Opioid Claims reflected in the Debtors’
books and records as of the close of business on the Confirmation Date; provided, however, that such
record date will not apply to any distributions related to the First Lien Notes, Second Lien Notes, or
Guaranteed Unsecured Notes maintained through DTC, and the record date for Holders of Allowed First
Lien Term Loan Claims shall be the Effective Date. Subject to the foregoing sentence, if a Claim other
than an Opioid Claim is transferred (a) twenty-one (21) or more days before the Confirmation Date and
reasonably satisfactory documentation evidencing such transfer is Filed with the Bankruptcy Court
before the Confirmation Date, the Distribution Agent shall make the applicable distributions to the
applicable transferee, or (b) twenty (20) or fewer days before the Confirmation Date, the Distribution
Agent shall make distributions to the transferee only to the extent practical and, in any event, only if the
relevant transfer form is Filed with the Bankruptcy Court before the Confirmation Date and contains an
unconditional and explicit certification and waiver of any objection to the transfer by the transferor.

Article VI.D.2 (“Delivery of Distributions – Delivery of Distributions in General”) provides that except
as otherwise provided in the Plan, the Distribution Agent shall make distributions to Holders of Allowed
Claims other than Opioid Claims at the address for each such Holder as indicated in the Debtors’ records
as of the date of any such distribution, including the address set forth in any Proof of Claim Filed by that
Holder or, with respect to Holders of Allowed First Lien Term Loan Claims, the address recorded as of
the Effective Date in the register maintained by the First Lien Agent, as applicable; provided that the
manner of such distributions shall be determined at the discretion of the Reorganized Debtors.

                                                    121
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 133 of 835




Article VI.D.3 (“Delivery of Distributions – Distributions by Distribution Agents”) provides that the
Debtors and the Reorganized Debtors, as applicable, shall have the authority to enter into agreements
with one or more Distribution Agents to facilitate the distributions required hereunder. Except in the
case of the Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Indenture
Trustee, each serving as a Distribution Agent, to the extent the Debtors and the Reorganized Debtors, as
applicable, determine to utilize a Distribution Agent to facilitate the distributions under the Plan to
Holders of Allowed Claims other than Opioid Claims, Guaranteed Unsecured Notes Claims, and Legacy
Unsecured Notes Claims, any such Distribution Agent would first be required to: (a) affirm its obligation
to facilitate the prompt distribution of any documents; (b) affirm its obligation to facilitate the prompt
distribution of any recoveries or distributions required under the Plan; and (c) waive any right or ability
to setoff, deduct from or assert any lien or encumbrance against the distributions required under the Plan
to be distributed by such Distribution Agent; provided, that no Distribution Agent (including the
Guaranteed Unsecured Notes Indenture Trustee) will be required to give any bond or surety or other
security for the performance of its duties unless otherwise ordered by the Bankruptcy Court.

Subject to Section Article VI.D.4 of the Plan, distributions on account of the Guaranteed Unsecured
Notes Claims and the Legacy Unsecured Notes Claims will be made to or at the direction of the
Guaranteed Unsecured Notes Indenture Trustee or Legacy Unsecured Notes Indenture Trustee, as
applicable, and such trustee will be, and will act as, the Distribution Agent with respect to the applicable
Guaranteed Unsecured Notes Claims or Legacy Unsecured Notes Claims in accordance with the terms
and conditions of the Plan and the applicable debt documents. Distributions on account of the Allowed
First Lien Term Loan Claims will be made to the First Lien Agent or the New Takeback Term Loan
Agent, as applicable, and the First Lien Agent or the New Takeback Term Loan Agent (as applicable)
will be, and will act as, the Distribution Agent with respect to the Allowed First Lien Term Loan Claims
in accordance with the terms and conditions of the Plan and the applicable debt documents.

The Debtors or the Reorganized Debtors, as applicable, shall pay to the Distribution Agents all reasonable
and documented fees and expenses of the Distribution Agents without the need for any approvals,
authorizations, actions, or consents. The Distribution Agents shall submit detailed invoices to the
Debtors or the Reorganized Debtors, as applicable, for all fees and expenses for which the Distribution
Agent seeks reimbursement and the Debtors or the Reorganized Debtors, as applicable, shall promptly
pay those amounts that they, in their sole discretion, deem reasonable, and shall object in writing to those
fees and expenses, if any, that the Debtors or the Reorganized Debtors, as applicable, deem to be
unreasonable. In the event that the Debtors or the Reorganized Debtors, as applicable, object to all or
any portion of the amounts requested to be reimbursed in a Distribution Agent’s invoice, the Debtors or
the Reorganized Debtors, as applicable, and such Distribution Agent shall endeavor, in good faith, to
reach mutual agreement on the amount of the appropriate payment of such disputed fees and/or expenses.
In the event that the Debtors or the Reorganized Debtors, as applicable, and a Distribution Agent are
unable to resolve any differences regarding disputed fees or expenses, either party shall be authorized to
move to have such dispute heard by the Bankruptcy Court.

Article VI.D.4 (“Delivery of Distributions – Distributions to Holders of Guaranteed Unsecured Notes
Claims and Legacy Unsecured Notes Claims”) provides that the distributions of Takeback Second Lien
Notes and New Mallinckrodt Ordinary Shares to be made under the Plan to Holders of Guaranteed
Unsecured Notes Claims shall be deemed made by the Debtors or Reorganized Debtors, as applicable,
to the Guaranteed Unsecured Notes Indenture Trustee which shall transmit (or cause to be transmitted)
such distributions to such Holders as set forth below. Notwithstanding anything to the contrary in the
Plan, the Guaranteed Unsecured Notes Indenture Trustee, in its capacity as Distribution Agent, may
transfer or facilitate the transfer of such distributions through the facilities of DTC in exchange for the
relevant Guaranteed Unsecured Notes. If it is necessary to adopt alternate, additional or supplemental
distribution procedures for any reason including because such distributions cannot be made through the
facilities of DTC, to otherwise effectuate the distributions under the Plan, the Debtors or Reorganized

                                                    122
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 134 of 835




Debtors, as applicable, shall implement the Alternate/Supplemental Distribution Process. The Debtors
or Reorganized Debtors (as applicable) shall use their best efforts to make the Takeback Second Lien
Notes and New Mallinckrodt Ordinary Shares to be distributed to Holders of the Guaranteed Unsecured
Notes eligible for distribution through the facilities of DTC.

The distributions of New Mallinckrodt Ordinary Shares to be made under the Plan to Holders of Legacy
Unsecured Notes Claims as part of the General Unsecured Claims Distribution shall be deemed made by
the Debtors or Reorganized Debtors, as applicable, to the Legacy Unsecured Notes Indenture Trustee
which shall transmit (or cause to be transmitted) such distributions to such Holders as set forth below.
Notwithstanding anything to the contrary in the Plan, the Legacy Unsecured Notes Indenture Trustee, in
its capacity as Distribution Agent, may transfer or facilitate the transfer of such distributions through the
facilities of DTC in exchange for the relevant Legacy Unsecured Notes. If it is necessary to adopt
alternate, additional or supplemental distribution procedures for any reason including because such
distributions cannot be made through the facilities of DTC, to otherwise effectuate the distributions under
the Plan, the Debtors or Reorganized Debtors, as applicable, shall implement the Alternate/Supplemental
Distribution Process. The Debtors or Reorganized Debtors (as applicable) shall use their best efforts to
make the New Mallinckrodt Ordinary Shares to be distributed to Holders of the Legacy Unsecured Notes
eligible for distribution through the facilities of DTC.

The obligations of the Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes
Indenture Trustee under or in connection with the Plan, the Guaranteed Unsecured Notes Indentures, the
Legacy Unsecured Notes Indentures, the Guaranteed Unsecured Notes, the Legacy Unsecured Notes,
and any related notes, stock, instruments, certificates, agreements, side letters, fee letters, and other
documents, shall be discharged and deemed fully satisfied upon the Effective Date. On and after the
Effective Date, the Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes
Indenture Trustee, each in its capacity as trustee shall be appointed and act as a Distribution Agent with
respect to the applicable Guaranteed Unsecured Notes Claims or Legacy Unsecured Notes Claims to
facilitate the distributions provided for in the Plan to the applicable Holders of Allowed Guaranteed
Unsecured Notes Claims or Allowed Legacy Unsecured Notes Claims. The obligations of each of the
Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Trustee, in its capacity
as Distribution Agent, under or in connection with the Plan shall be discharged and deemed fully satisfied
upon either: (i) DTC’s receipt of the distributions with respect to the Allowed Guaranteed Unsecured
Notes Claims or Allowed Legacy Unsecured Notes Claims; or (ii) if the Alternate/Supplemental
Distribution Process is utilized, upon the earlier of the completion of the Guaranteed Unsecured Notes
Indenture Trustee’s or Legacy Unsecured Notes Indenture Trustee’s role in such process or in accordance
with the terms of the Alternate/Supplemental Distribution Process and, in either case, the Guaranteed
Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee shall not, in any
capacity, have liability to any person for having made, or facilitating the making of, the distributions
through the foregoing items (i) and (ii). The Guaranteed Unsecured Notes Indenture Trustee and the
Legacy Unsecured Notes Indenture Trustee, each as a Distribution Agent under the Plan will be entitled
to recognize and deal with for all purposes the Holders of the Guaranteed Unsecured Notes or Legacy
Unsecured Notes to the extent necessary to facilitate the distributions with respect to Allowed Guaranteed
Unsecured Notes Claims or Allowed Legacy Unsecured Notes Claims to such Holders. Regardless of
which capacity it is acting, the Guaranteed Unsecured Notes Indenture Trustee or the Legacy Unsecured
Notes Indenture Trustee in any capacity shall not be responsible for, and may conclusively rely on, the
Alternate/Supplemental Distribution Process.

Notwithstanding any policies, practices or procedures of DTC or any other applicable clearing system,
DTC and all other applicable clearing systems shall cooperate with and take all actions reasonably
requested by the Notice and Claims Agent, the Guaranteed Unsecured Notes Indenture Trustee, or the
Legacy Unsecured Notes Indenture Trustee to facilitate distributions to Holders of Allowed Guaranteed
Unsecured Notes Claims and Allowed Legacy Unsecured Notes Claims without requiring that such

                                                    123
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 135 of 835




distributions be characterized as repayments of principal or interest. No Distribution Agent, including
the Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee
in any capacity, shall be required to provide indemnification or other security to DTC in connection with
any distributions to Holders of Allowed Guaranteed Unsecured Notes Claims or Allowed Legacy
Unsecured Notes Claims through the facilities of DTC.

Article VI.D.5 (“Delivery of Distributions – Minimum Distributions”) provides that notwithstanding
anything herein to the contrary, other than on account of Unimpaired Claims, the Reorganized Debtors
and the Distribution Agents shall not be required to make distributions or payments of less than $100
(whether Cash or otherwise) and shall not be required to make partial distributions or payments of
fractions of dollars or distributions of fractions of a New Mallinckrodt Ordinary Share. Whenever any
payment or distribution of a fraction of a dollar or a fraction of a New Mallinckrodt Ordinary Share
would otherwise be called for, the actual payment or distribution will reflect a rounding down of such
fraction to the nearest whole dollar or nearest whole New Mallinckrodt Ordinary Share.

Article VI.D.6 (“Delivery of Distributions – Undeliverable Distributions”) provides that undeliverable
distributions will remain in the possession of the Reorganized Debtors, subject to Article VI.D.5.b of the
Plan, until such time as any such distributions become deliverable or are otherwise disposed of in
accordance with applicable nonbankruptcy law. Undeliverable distributions will not be entitled to any
additional interest, dividends, or other accruals of any kind on account of their distribution being
undeliverable. Nothing contained in the Plan requires the Reorganized Debtors to attempt to locate any
Holder of an Allowed Claim. Further, checks issued by the Reorganized Debtors (or their Distribution
Agent) on account of Allowed Claims are null and void if not negotiated within 90 days after the issuance
of such check. Requests for reissuance of any check will be made directly to the Distribution Agent by
the Holder of the relevant Allowed Claim with respect to which such check originally was issued.

Finally, as set forth more fully in the Plan, Article VI of the Plan provides, among other things, that (a)
to the extent applicable, the Reorganized Debtors will comply with all tax withholding and reporting
requirements, and all distributions pursuant to the Plan will be subject to such requirements (VI.E); (b)
except as otherwise provided in the Plan, the applicability of Insurance Contracts (VI.F); (c) all
distributions to Holders of Opioid Claims (including Opioid Demands) shall be made by and from the
Opioid MDT II and Opioid Creditor Trusts in accordance with the Opioid MDT II Documents and Opioid
Creditor Trust Documents, as applicable (VI.G); (d) except with respect to the 2024 First Lien Term
Loan Claims and the 2025 First Lien Term Loan Claims and as otherwise required by law (as reasonably
determined by the Reorganized Debtors), distributions with respect to an Allowed Claim shall be
allocated first to the principal portion of such Allowed Claim (as determined for United States federal
income tax purposes) and, thereafter, to the remaining portion of such Allowed Claim, if any (VI.H); and
(e) notwithstanding anything else in the Plan or the Confirmation Order, postpetition interest shall accrue
and be paid on the First Lien Revolving Credit Facility Claims, the First Lien Term Loan Claims, the
First Lien Notes Claims, and the Second Lien Notes Claims as set forth in the Plan, and unless otherwise
specifically provided for in the Plan (including the preceding sentence and Article II.B.2 of the Plan), the
Confirmation Order, the Cash Collateral Order, or Final Order of the Bankruptcy Court, or required by
applicable bankruptcy law (including, without limitation, as required pursuant to section 506(b) or
section 511 of the Bankruptcy Code), postpetition interest shall not accrue or be paid on any other Claims
and no Holder of any other Claims shall be entitled to interest accruing on or after the Petition Date on
any Claim (VI.I).

        G.       Procedures for Resolving Disputed, Contingent, and Unliquidated Claims or
                 Interests

Article VII.A (“Allowance and Disallowance of Claims Other than Opioid Claims”) provides that, after
the Effective Date, and except as otherwise provided in the Plan, the Reorganized Debtors will have and

                                                    124
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 136 of 835




will retain any and all available rights and defenses that the Debtors had with respect to any Claim other
than Opioid Claims and any other Claims Allowed under the Plan (including the First Lien Term Loan
Claims), including the right to assert any objection to Claims based on the limitations imposed by section
502 of the Bankruptcy Code. The Debtors and the Reorganized Debtors may, but are not required to,
contest the amount and validity of any Disputed Claim other than Opioid Claims or contingent or
unliquidated Claim other than Opioid Claims in the ordinary course of business in the manner and venue
in which such Claim would have been determined, resolved or adjudicated if the Chapter 11 Cases had
not been commenced.

Article VII.B (“Prosecution of Objections to Claims other than Opioid Claims”) provides that, after the
Confirmation Date but before the Effective Date, the Debtors, and after the Effective Date, the
Reorganized Debtors will have the authority to File objections to Claims (other than Claims that are
Allowed under the Plan or Opioid Claims) and settle, compromise, withdraw, or litigate to judgment
objections to any and all such Claims, regardless of whether such Claims are in an Unimpaired Class or
otherwise; provided, however, this provision will not apply to Professional Fee Claims, which may be
objected to by any party-in-interest in these Chapter 11 Cases. From and after the Effective Date, the
Reorganized Debtors may settle or compromise any Disputed Claim other than Opioid Claims without
any further notice to or action, order, or approval of the Bankruptcy Court. The Reorganized Debtors
will have the sole authority to administer and adjust the Claims Register and their respective books and
records to reflect any such settlements or compromises without any further notice to or action, order, or
approval of the Bankruptcy Court.

Article VII.C (“Estimation of Claims and Interests of than Opioid Claims”) provides that before or
after the Effective Date, the Debtors or Reorganized Debtors, as applicable, may (but are not required to)
at any time request that the Bankruptcy Court estimate any Disputed Claim other than any Opioid Claim
that is contingent or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any reason,
regardless of whether any party previously has objected to such Claim or whether the Bankruptcy Court
has ruled on any such objection; and the Bankruptcy Court shall retain jurisdiction to estimate any such
Claim or Interest, including during the litigation of any objection to any Claim or during the appeal
relating to such objection; provided that if the Bankruptcy Court resolves the Allowed amount of a Claim,
the Debtors and Reorganized Debtors, as applicable, will not be permitted to seek an estimation of such
Claim. Notwithstanding any provision otherwise in the Plan, a Claim that has been expunged from the
Claims Register, but that either is subject to appeal or has not been the subject of a Final Order, shall be
deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event
that the Bankruptcy Court estimates any contingent or unliquidated Claim, that estimated amount shall
constitute a maximum limitation on such Claim for all purposes under the Plan (including for purposes
of distributions), and the relevant Reorganized Debtor may elect to pursue any supplemental proceedings
to object to any ultimate distribution on such Claim subject to applicable law.

Article VII.D (“No Distributions Pending Allowance”) provides that if any portion of a Claim other than
an Opioid Claim is Disputed, no payment or distribution provided in the Plan shall be made on account
of such Claim unless and until such Claim becomes an Allowed Claim

Article VII.E (“Time to File Objections to Administrative Claims”) provides that any objections to
Administrative Claims shall be Filed on or before the Administrative Claims Objection Deadline, subject
to any extensions thereof approved by the Bankruptcy Court.

Article VII.F (“Procedures Regarding Opioid Claims”) provides that notwithstanding anything to the
contrary herein, Articles VII.A through VII.E of the Plan shall not apply to any Opioid Claims, and all
procedures for resolving contingent, unliquidated, and disputed Opioid Claims (including Opioid
Demands) shall be governed by the Opioid MDT II Documents and Opioid Creditor Trust Documents,
as applicable.

                                                    125
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21      Page 137 of 835




Article VII.G (“No Filing of Proofs of Claim for Opioid Claims or VI Opioid Claims”) provides that,
except as otherwise provided in the Plan, Holders of Opioid Claims or VI Opioid Claims shall not be
required to File a Proof of Claim or a request for payment of an Administrative Claim on account of such
Holder’s Opioid Claims or VI Opioid Claims, and no such Holders should File such a Proof of Claim or
such request for payment; provided, however, that a Holder of an Opioid Claim or VI Opioid Claim that
wishes to assert Claims against the Debtors that are not Opioid Claims or VI Opioid Claims must File a
Proof of Claim or a request for payment of an Administrative Claim with respect to such Claims which
are not Opioid Claims or VI Opioid Claims on or before the applicable Claims Bar Date. The Opioid
MDT II and Opioid Creditor Trusts will make distributions on account of Opioid Claims in accordance
with the Opioid MDT II Documents and Opioid Creditor Trust Documents, as applicable. Within sixty
(60) days after the Effective Date, the Reorganized Debtors shall File a report identifying all Proofs of
Claim that are reasonably determined by the Debtors, in consultation with the Governmental Plaintiff Ad
Hoc Committee, the MSGE Group, the Future Claims Representative, and the Opioid MDT II Trustee(s),
to be on account of any Opioid Claim, and upon the Filing of such report and notice to the Holders of
such Proofs of Claim who shall have 14 days to object to such determination, all identified Proofs of
Claim shall be deemed withdrawn and removed from the applicable claims register; provided that Proofs
of Claim on account of Opioid Claims filed after the Effective Date shall automatically be deemed
withdrawn and expunged; provided, further, that upon a motion and hearing with notice to the
Governmental Plaintiff Ad Hoc Committee, the MSGE Group, the Future Claimants Representative, the
Opioid MDT II Trustee(s), and, solely in the case of clause (b) below, the Holders of affected Proofs of
Claim, the Debtors (a) may seek an extension to the deadline to File such report from the Bankruptcy
Court and (b) may seek determination by the Bankruptcy Court that any Proof of Claim is on account of
any Opioid Claim.

Article VII.H.1 (“Disputed General Unsecured Claims Reserve”) provides that on or after the Effective
Date, the Reorganized Debtors shall have the right, but are not required, to establish a Disputed General
Unsecured Claims Reserve in Cash from the General Unsecured Claims Recovery Pool and the Trade
Claim Cash Pool Unallocated Amount. Such Disputed General Unsecured Claims Reserve may also
include New Mallinckrodt Ordinary Shares issuable from the General Unsecured Claims Recovery Pool
that will be issued by the Reorganized Debtors if and when needed for distributions from the Disputed
General Unsecured Claims Reserve. For the avoidance of doubt, the New Governance Documents shall
ensure that the Reorganized Debtors are able to issue the number of New Mallinckrodt Ordinary Shares
needed to satisfy obligations of the General Unsecured Claims Recovery Pool. The Debtors reserve the
right to estimate the value of Disputed General Unsecured Claims in the Bankruptcy Court for
distribution purposes and to reduce the Disputed General Unsecured Claims Reserve in a manner
consistent with any such estimation.

Article VII.H.2 provides that subject to definitive guidance from the IRS or a court of competent
jurisdiction to the contrary, the Reorganized Debtors shall treat the Disputed General Unsecured Claims
Reserve as a “disputed ownership fund” governed by Treasury Regulation section 1.468B-9 and to the
extent permitted by applicable law, report consistently with the foregoing for state and local income tax
purposes. All parties (including, to the extent applicable, the Debtors, the Reorganized Debtors, and
Holders of Disputed General Unsecured Claims) shall be required to report for tax purposes consistently
with the foregoing.

Article VII.H.3 provides that the Reorganized Debtors shall hold in the Disputed General Unsecured
Claims Reserve all distributions to be made on account of (a) Disputed General Unsecured Claims and
(b) Disputed Trade Claims whose Holders (i) vote to reject the Plan or (ii) do not agree to maintain
Favorable Trade Terms in accordance with the requirements set forth in the Disclosure Statement Order,
for the benefit of all Holders Claims entitled to receive a General Unsecured Claims Distribution. All
taxes imposed on the assets or income of the Disputed General Unsecured Claims Reserve shall be
payable by the Reorganized Debtors from the assets of the Disputed General Unsecured Claims Reserve.

                                                  126
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 138 of 835




Article VII.H.4 provides that in the event assets in the Disputed General Unsecured Claims Reserve are
insufficient to satisfy all of the Disputed General Unsecured Claims that have become Allowed, such
Allowed Claims shall be satisfied pro rata from such remaining assets in the Disputed General Unsecured
Claims Reserve. After all assets have been distributed from the Disputed General Unsecured Claims
Reserve, no further distributions shall be made in respect of Disputed General Unsecured Claims. At
such time as all Disputed General Unsecured Claims have been resolved, any remaining assets in the
Disputed General Unsecured Claims Reserve shall be distributed pro rata to Holders of Allowed General
Unsecured Claims.

Article VII.H.5 provides that the Reorganized Debtors may request an expedited determination of taxes
under section 505(b) of the Bankruptcy Code for all returns filed for or on behalf of the Disputed General
Unsecured Claims Reserve for all taxable periods through the date on which final distributions are made.

Article VII.I (“Distributions After Allowance”) provides that to the extent that a Disputed Claim
ultimately becomes an Allowed Claim, distributions (if any) shall be made to the Holder of such Allowed
Claim in accordance with the provisions of the Plan. As soon as reasonably practicable after the date
that the order or judgment of the Bankruptcy Court allowing any Disputed Claim becomes a Final Order,
the Reorganized Debtors shall provide to the Holder of such Claim the distribution (if any) to which such
Holder is entitled under the Plan as of the Effective Date, without any postpetition interest to be paid on
account of such Claim.

Article VII.J (“Disallowance of Certain First Lien Credit Agreement Claims, First Lien Notes Claims,
and Second Lien Notes Claims”) provides that notwithstanding anything to the contrary in the Plan
(except for the Consent Rights of Supporting Parties in Article I.C of the Plan), the following Claims
shall be disallowed on the Effective Date except as otherwise ordered by a Final Order of the Bankruptcy
Court before the Effective Date: (a) any First Lien Credit Agreement Claims (i) for default rate interest
under Section 2.13(c) of the First Lien Credit Agreement in excess of the non-default rate applicable
under Sections 2.13(a) or (b) of the First Lien Credit Agreement, or (ii) for interest based on the asserted
conversion of any “Eurocurrency Borrowing” to an “ABR Borrowing” (each as defined in the First Lien
Credit Agreement) under Section 2.07(e) of the First Lien Credit Agreement, to the extent such interest
exceeds the interest payable on such borrowing as a Eurocurrency Borrowing; provided that,
notwithstanding the foregoing, the Allowed First Lien Term Loan Claims shall include the applicable
amount of First Lien Term Loans Accrued and Unpaid Interest and such First Lien Term Loans Accrued
and Unpaid Interest shall not be subject to disallowance; provided further that notwithstanding anything
to the contrary in the Plan, the Cash Collateral Order or the First Lien Credit Agreement, all adequate
protection payments made by the Debtors pursuant to the Cash Collateral Order during the Chapter 11
Cases to the First Lien Revolving Lenders, the First Lien Term Lenders and their respective agents and
professionals shall be retained by the First Lien Revolving Lenders, the First Lien Term Lenders and
such agents and professionals, as applicable, and not recharacterized as principal payments (other than
payments of principal made on or prior to April 23, 2021 and First Lien Term Loan Principal Payments)
or otherwise subject to disgorgement, recovery, or avoidance by any party under any legal or equitable
theory regardless of whether such payments arguably exceed the Allowed amount of the First Lien
Revolving Credit Facility Claims or the First Lien Term Loan Claims, as applicable (b) any First Lien
Notes Claims (i) for any principal premium in excess of the principal amount of such Claims outstanding
immediately before the Petition Date, including for any “Applicable Premium” (as defined in the First
Lien Notes Indenture) or optional redemption premium, (ii) for any “Additional Amounts” (as defined
in the First Lien Notes Indenture), or (iii) for default rate interest under Section 2.11 of the First Lien
Notes Indenture; (c) any Second Lien Notes Claims (i) for any principal premium in excess of the
principal amount of such Claims outstanding immediately before the Petition Date, including for any
“Applicable Premium” (as defined in the Second Lien Notes Indenture) or optional redemption premium,
(ii) for any “Additional Amounts” (as defined in the Second Lien Notes Indenture), or (iii) for default
rate interest under Section 2.11 of the Second Lien Notes Indenture; and (d) any Claims for payment of

                                                    127
             Case 20-12522-JTD         Doc 2917       Filed 06/18/21        Page 139 of 835




any amounts payable pursuant to the Cash Collateral Order arising after the Effective Date. The Debtors
will file an objection to such Claims consistent with the foregoing in advance of the Confirmation
Hearing, and the Bankruptcy Court’s determination of such objection shall be set forth in the
Confirmation Order.

        H.       Conditions Precedent to the Effective Date

Article VIII of the Plan sets forth the conditions precedent to the Effective Date, and related matters. The
conditions precedent set forth at Article VIII.A of the Plan (“Conditions Precedent to the Effective
Date”) include that:

        1.       The Restructuring Support Agreement shall remain in full force and effect and shall not
                 have been terminated, and the parties thereto shall be in compliance therewith.

        2.       The Bankruptcy Court or another court of competent jurisdiction shall have entered the
                 Confirmation Order in form and substance consistent with the Restructuring Support
                 Agreement, such order shall be a Final Order, and to the extent such order was not
                 entered by the District Court, the District Court shall have affirmed the Confirmation
                 Order.

        3.       The Bankruptcy Court or another court of competent jurisdiction shall have entered the
                 Opioid Operating Injunction Order, such order shall be a Final Order, and to the extent
                 such order was not entered by the District Court, the District Court shall have affirmed
                 the Opioid Operating Injunction Order.

        4.       All documents and agreements necessary to implement the Plan (including the Definitive
                 Documents, the Opioid MDT II Documents, the Opioid Creditor Trust Documents, the
                 New Opioid Warrant Agreement, the Federal/State Acthar Settlement Agreements, and
                 any documents contained in the Plan Supplement) shall have been documented in
                 compliance with the Restructuring Support Agreement (to the extent applicable),
                 executed and tendered for delivery. All conditions precedent to the effectiveness of such
                 documents and agreements shall have been satisfied or waived pursuant to the terms
                 thereof (which may occur substantially concurrently with the occurrence of the Effective
                 Date).

        5.       All actions, documents, certificates, and agreements necessary to implement the Plan
                 (including the Definitive Documents and any other documents contained in the Plan
                 Supplement) shall have been effected or executed and delivered to the required parties
                 and, to the extent required, filed with the applicable Governmental Units in accordance
                 with applicable laws.

        6.       All authorizations, consents, regulatory approvals, rulings, or documents that are
                 necessary to implement and effectuate the Plan and the transactions contemplated herein
                 shall have been obtained, and there shall have been no determination by the Debtors,
                 including by the Disinterested Managers, to not grant any of the releases to Released
                 Parties set forth in Article IX of the Plan.

        7.       All conditions precedent to the consummation of the Opioid Settlement (as defined in
                 the Restructuring Support Agreement) and related transactions, including establishment
                 of the Opioid MDT II and Opioid Creditor Trusts and authorization for payment of the
                 Opioid MDT II Consideration, have been satisfied or waived by the party or parties
                 entitled to waive them.



                                                    128
     Case 20-12522-JTD        Doc 2917       Filed 06/18/21      Page 140 of 835




8.      The final version of the Plan, Plan Supplement, the Opioid MDT II Documents, the
        Opioid Creditor Trust Documents, and all of the schedules, documents, and exhibits
        contained therein, and all other schedules, documents, supplements, and exhibits to the
        Plan, shall be consistent with the Restructuring Support Agreement.

9.      The Bankruptcy Court shall have confirmed that the Bankruptcy Code authorizes the
        transfer and vesting of the Opioid MDT II Consideration, notwithstanding any terms of
        any Insurance Contracts related to the Assigned Insurance Rights or provisions of non-
        bankruptcy law that any Insurer may otherwise argue prohibits such transfer and vesting.

10.     The Canadian Court shall have issued an order recognizing the Confirmation Order in
        the Recognition Proceedings and giving full force and effect to the Confirmation Order
        in Canada and such recognition order shall have become a Final Order.

11.     The High Court of Ireland shall have made the Irish Confirmation Order and the Scheme
        of Arrangement shall have become effective in accordance with its terms (or shall
        become effective concurrently with effectiveness of the Plan).

12.     The Irish Takeover Panel shall have either: (a) confirmed that an obligation to make a
        mandatory general offer for the shares of Parent pursuant to Rule 9 of the Irish Takeover
        Rules will not be triggered by the implementation of the Scheme of Arrangement and
        the Plan; or (b) otherwise waived the obligation on the part of any Person to make such
        an offer.

13.     Any civil or criminal claims asserted by or on behalf of the Department of Justice (other
        than those resolved pursuant to the Federal/State Acthar Settlement) have been resolved
        on terms reasonably acceptable to the Debtors, the Required Supporting Unsecured
        Noteholders, the Governmental Plaintiff Ad Hoc Committee, and the MSGE Group.

14.     The Debtors shall have paid in full all professional fees and expenses of the Debtors’
        Retained Professionals (including the Retained Professionals of the Disinterested
        Managers) that require the Bankruptcy Court’s approval or amounts sufficient to pay
        such fees and expenses after the Effective Date shall have been placed in a Professional
        Fee Escrow Account pending the Bankruptcy Court’s approval of such fees and
        expenses.

15.     The Professional Fee Escrow Account shall have been established and funded in Cash
        in accordance with Article II.A.2 of the Plan.

16.     The Debtors shall have paid the Restructuring Expenses including the Transaction Fees,
        in full, in Cash.

17.     The Debtors shall have paid (A) the Noteholder Consent Fee, (B) the outstanding
        invoices on account of any Indenture Trustee Fees delivered to the Debtors (or their
        counsel) at least two (2) business days before the Effective Date, and (C) the Term Loan
        Exit Payment (and (i) the First Lien Agent shall have received such Term Loan Exit
        Payment on behalf of the First Lien Term Lenders and shall have distributed such Term
        Loan Exit Payment to the First Lien Term Lenders or (ii) the Term Loan Exit Payment
        shall have otherwise been distributed to the First Lien Term Lenders by means approved
        by the Ad Hoc First Lien Term Lender Group), and the foregoing payments shall not be
        subject to setoff, demand, recharacterization, turnover, disgorgement, avoidance, or
        other similar rights of recovery asserted by any Person.

18.     The Cash Collateral Order shall have remained in full force and effect.

                                          129
             Case 20-12522-JTD          Doc 2917       Filed 06/18/21       Page 141 of 835




        19.      The Restructuring to be implemented on the Effective Date shall be consistent with the
                 Plan, the Scheme of Arrangement, and the Restructuring Support Agreement.

Article VIII.B (“Waiver of Conditions”) provides that subject to and without limiting or expanding the
respective rights of each party to the Restructuring Support Agreement, the Debtors, the Required
Supporting Unsecured Noteholders, the Governmental Plaintiff Ad Hoc Group, and the MSGE Group
may collectively waive any of the conditions to the Effective Date set forth in Article VIII.A of the Plan
at any time, without any notice to parties in interest and without any further notice to or action, order, or
approval of the Bankruptcy Court, and without any formal action; provided that (a) the conditions set
forth in Article VIII.A.14 and VIII.A.15 of the Plan may be waived by only the Debtors with the consent
of the affected Retained Professionals; (b) the waiver of Article VIII.A.4 of the Plan (with respect to the
New Takeback Term Loan Documentation and other documents to which the Supporting Term Lenders
have consent rights under the Restructuring Support Agreement), Article VIII.A.16 of the Plan (with
respect to the Restructuring Expenses payable to the advisors of the Ad Hoc First Lien Term Lender
Group), and Article VIII.A.17(C) of the Plan shall require the consent of the Required Supporting Term
Lenders, and (c) the waiver of the condition set forth in Article VIII.A.17(B) of the Plan shall also require
the consent of the Guaranteed Unsecured Notes Indenture Trustee.

Article VIII.C (“Effect of Non-Occurrence of Conditions to the Effective Date”) addresses the effect of
non-occurrence of the Effective Date. It provides that if the Effective Date does not occur on or before
the termination of the Restructuring Support Agreement, then: (1) the Plan shall be null and void in all
respects; (2) any settlement or compromise embodied in the Plan, assumption of Executory Contracts or
Unexpired Leases effected under the Plan, and any document or agreement executed pursuant to the Plan,
shall be deemed null and void; and (3) nothing contained in the Plan, the Confirmation Order, or the
Disclosure Statement shall: (a) constitute a waiver or release of any Claims, Interests, or Causes of
Action; (b) prejudice in any manner the rights of the Debtors or any other Entity; or (c) constitute an
admission, acknowledgement, offer, or undertaking of any sort by the Debtors or any other Entity.

Article VIII.D (“Substantial Consummation”) provides that “Substantial consummation” of the Plan, as
defined in section 1102(2) of the Bankruptcy Code, shall be deemed to occur on the Effective Date.

        I.       Release, Injunction, and Related Provisions

Article IX of the Plan addresses releases, injunctions, exculpatory provisions and related provisions, and
are highlighted below: Discharge of Claims, Opioid Claims (including Opioid Demands), and Interests
and Compromise and Settlement of Claims, Opioid Claims (including Opioid Demands), and Interests
under the Plan (IX.A); Releases by the Debtors (IX.B); Releases by Non-Debtor Releasing Parties Other
Than Opioid Claimants (IX.C); Releases by Holders of Opioid Claims (IX.D); Exculpation (IX.E);
Permanent Injunction (IX.F); Opioid Permanent Channeling Injunction (IX.G); Opioid Operating
Injunction (IX.H); and Setoffs and Recoupment (IX.I).

Article IX.C of the Plan contains a third-party release by all Non-Debtor Releasing Parties Other
Than Opioid Claimants. Pursuant to Article IX.C of the Plan, the following are deemed to grant
a third-party release: (a) the Holders of all Claims who vote to accept the Plan, (b) the Holders of
all Claims that are Unimpaired under the Plan, (c) the Holders of all Claims whose vote to accept
or reject the Plan is solicited but who (i) abstain from voting on the Plan and (ii) do not opt out of
granting the releases set forth herein, (d) the Holders of all Claims or Equity Interests who vote,
or are deemed, to reject the Plan but do not opt out of granting the releases set forth herein, and
(e) all other Holders of Claims and Equity Interests to the maximum extent permitted by law;
provided, that the plaintiffs in Shenk Suit shall not be Non-Debtor Releasing Parties until such time
as the Shenk Settlement is approved on a final basis by the United States District Court for the
District of Columbia and upon such approval such plaintiffs shall be Non-Debtor Releasing

                                                    130
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 142 of 835




Parties; provided, further, that Opioid Claimants, solely in their capacity as Opioid Claimants, shall
not be Non-Debtor Releasing Parties.

Article IX.D. of the Plan provides each Opioid Claimant will be deemed to be granting releases to
third parties under the Plan with respect to any and all Claims (including Opioid Claims and
Opioid Demands). Pursuant to Article IX.G of the Plan, from and after the Effective Date, the sole
recourse of any Opioid Claimant on account of its Opioid Claims (including Opioid Demands)
based upon or arising from the Debtors’ pre-confirmation conduct or activities shall be to the
Opioid MDT II or the Opioid Creditor Trusts, and such Opioid Claimant shall have no right
whatsoever at any time to assert its Opioid Claims (including Opioid Demands) against any
Protected Party or any property or interest in property of any Protected Party. Each Opioid Claim
shall be resolved in accordance with the terms, provisions, and procedures of the applicable Opioid
Creditor Trusts. The Opioid Creditor Trusts are binding on the holders of all Opioid Claims
(including Opioid Demands).

The Co-Defendant Defensive Rights shall not be waived, released, altered, impaired, or discharged
and all Co-Defendant Defensive Rights are preserved, as provided in Article IX.M of the Plan.

                 1.      Releases

The following definitions are important to understanding the scope of the releases being given under the
Plan:

“Exculpated Party” means, in each case, in its capacity as such: (a) the Debtors (and their
Representatives); (b) the Reorganized Debtors (and their Representatives); (c) the Official Committee of
Unsecured Creditors (and its Representatives and the members thereto and their Representatives); (d) the
Official Committee of Opioid-Related Claimants (and its Representatives and the members thereto and
their Representatives); (e) the Future Claimants Representative (and its Representatives); and (f) the
Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee, each
solely in its capacity and to the extent it serves as a Distribution Agent.

“Non-Debtor Releasing Parties” means (a) the Holders of all Claims who vote to accept the Plan, (b)
the Holders of all Claims that are Unimpaired under the Plan, (c) the Holders of all Claims whose vote
to accept or reject the Plan is solicited but who (i) abstain from voting on the Plan and (ii) do not opt out
of granting the releases set forth herein, (d) the Holders of all Claims or Equity Interests who vote, or are
deemed, to reject the Plan but do not opt out of granting the releases set forth herein, and (e) all other
Holders of Claims and Equity Interests to the maximum extent permitted by law; provided, that the
plaintiffs and the members of the putative class as identified in the Shenk Suit shall not be Non-Debtor
Releasing Parties until such time as the Shenk Settlement is approved on a final basis and by Final Order
of the United States District Court for the District of Columbia and upon such approval such plaintiffs
shall be deemed to have provided the releases set forth in the Shenk Settlement; provided, further, that
Opioid Claimants, solely in their capacity as Opioid Claimants, shall not be Non-Debtor Releasing
Parties but shall be subject to the releases by Holders of Opioid Claims in Article IX.D of the Plan.

“Protected Party” means (a) the Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor Affiliates, (d)
with respect to each of the foregoing Persons in clauses (a) through (c), such Persons’ predecessors,
successors, permitted assigns, subsidiaries, and controlled Affiliates, respective heirs, executors, Estates,
and nominees, in each case solely in their capacity as such, and (e) with respect to each of the foregoing
Persons in clauses (a) through (d), such Person’s respective current and former officers and directors,
managers, principals, members, partners, employees, agents, advisors (including financial advisors),
attorneys (including attorneys retained by any director in his or her capacity as a director or manager of
a Person), accountants, investment bankers (including investment bankers retained by any director in his

                                                    131
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 143 of 835




or her capacity as a director or manager of a Person), consultants, experts and other professionals
(including any professional advisor retained by any director in his or her capacity as a director or manager
of a Person) or other representatives of the Persons described in clauses (a) through (d), provided that
consultants and experts in this clause (e) shall not include those retained to provide strategic advice for
sales and marketing of opioid products who have received a civil investigative demand or other subpoena
related to sales and marketing of opioid products from any State Attorney General on or after January 1,
2019 through the Petition Date. “Protected Party” shall also include each Settling Opioid Insurer, but
shall not include the Opioid MDT II or any Opioid Creditor Trust. Notwithstanding anything to the
contrary herein, none of the following Persons, in their respective following capacities, shall be Protected
Parties: (1) Medtronic plc or Covidien plc, (2) any subsidiaries or Affiliates of Medtronic plc or Covidien
plc that existed as a subsidiary or Affiliate of Medtronic plc or Covidien plc after July 1, 2013, (3) any
successors or assigns of any Entity described in clause (1) or clause (2) that became such a successor or
assign after July 1, 2013 (excluding, for the avoidance of doubt, the Debtors, the Reorganized Debtors,
and the Non-Debtor Affiliates), (4) any former subsidiaries or Affiliates of Covidien plc that ceased being
such a subsidiary or Affiliate before July 1, 2013, and any successor or assign to such subsidiary or
Affiliate of Covidien plc, and (5) any Representative of any Entity described in the foregoing clauses (1)
through (4) except to the extent such Representative is described in clause (d) and (e) of this definition
of “Protected Party.”

“Released Party” means (a) the Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor Affiliates,
(d) with respect to each of the foregoing Persons in clauses (a) through (c), such Persons’ predecessors,
successors, permitted assigns, subsidiaries, and controlled Affiliates, respective heirs, executors, Estates,
and nominees, in each case solely in their capacity as such; (e) with respect to each of the foregoing
Persons in clauses (a) through (d), such Person’s respective current and former officers and directors,
managers, principals, members, partners, employees, agents, advisors (including financial advisors),
attorneys (including attorneys retained by any director in his or her capacity as a director or manager of
a Person), accountants, investment bankers (including investment bankers retained by any director in his
or her capacity as a director or manager of a Person), consultants, experts and other professionals
(including any professional advisor retained by any director in his or her capacity as a director or manager
of a Person) or other representatives of the Persons described in clauses (a) through (d); (f) each member
of the Guaranteed Unsecured Notes Ad Hoc Group in their capacity as such, (g) each Supporting
Unsecured Noteholder in their capacity as such, (h) the Opioid MDT II and the Opioid Creditor Trusts,
(i) each member of the Governmental Plaintiff Ad Hoc Committee in their capacity as such, (j) each
Supporting Governmental Opioid Claimant in their capacity as such; (k) each member of the MSGE
Group in their capacity as such; (l) each Supporting Term Lender in its capacity as such; (m) each
member of the Ad Hoc First Lien Term Lender Group in its capacity as such; (n) each Prepetition Secured
Party (as defined in the Cash Collateral Order); (o) the Guaranteed Unsecured Notes Indenture Trustee;
(p) the Legacy Unsecured Notes Indenture Trustee solely in its capacity and to the extent it serves as a
Distribution Agent; (q) the Future Claimants Representative; (r) the Official Committee of Opioid-
Related Claimants; (s) the Official Committee of Unsecured Creditors; and (t) with respect to each of the
foregoing Persons in clauses (f) through (s), each such Person’s Representatives. Notwithstanding
anything to the contrary herein, none of the following Persons, in their respective following capacities,
shall be Released Parties: (1) Medtronic plc or Covidien plc, (2) any subsidiaries or Affiliates of
Medtronic plc or Covidien plc that existed as a subsidiary or Affiliate of Medtronic plc or Covidien plc
after July 1, 2013, (3) any successors or assigns of any Entity described in clause (1) or clause (2) that
became such a successor or assign after July 1, 2013 (excluding, for the avoidance of doubt, the Debtors,
the Reorganized Debtors, and the Non-Debtor Affiliates), (4) any former subsidiaries or Affiliates of
Covidien plc that ceased being such a subsidiary or Affiliate before July 1, 2013, and any successor or
assign to such subsidiary or Affiliate of Covidien plc, and (5) any Representative of any Entity described
in the foregoing clauses (1) through (4) except to the extent such Representative is described in clause
(d) and (e) of this definition of “Released Party.”


                                                    132
          Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 144 of 835




                        a.      Releases by the Debtors (IX.B)

Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions of the
Bankruptcy Code), as of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service of the Released Parties before
and during the Chapter 11 Cases to facilitate the Opioid Settlement (as defined in the
Restructuring Support Agreement) and the restructuring, and except as otherwise explicitly
provided in the Plan or in the Confirmation Order, the Released Parties shall be deemed
conclusively, absolutely, unconditionally, irrevocably and forever released and discharged, to the
maximum extent permitted by law, as such law may be extended subsequent to the Effective Date,
by the Debtors and the Estates from any and all Claims, counterclaims, disputes, obligations, suits,
judgments, damages, demands, debts, rights, Causes of Action, liens, remedies, losses,
contributions, indemnities, costs, liabilities, attorneys’ fees and expenses whatsoever, including any
derivative claims, asserted or assertable on behalf of the Debtors or their Estates, whether
liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter
arising, whether in law or equity, whether sounding in tort or contract, whether arising under
federal or state statutory or common law, or any other applicable international, foreign, or
domestic law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that the
Debtors or their Estates would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim or Equity Interest or other
person, based on or relating to, or in any manner arising from, in whole or in part, the Debtors
(including the management, ownership, or operation thereof and as such Entities existed prior to
or after the Petition Date), their Estates, the Debtors’ in- or out-of-court restructuring efforts
(including the Chapter 11 Cases), the purchase, sale, or rescission of the purchase or sale of any
security or indebtedness of the debtors, the subject matter of, or the transactions or events giving
rise to, any Claim or Equity Interest that is treated in the Plan, litigation claims arising from
historical intercompany transactions between or among a Debtor and another Debtor, the business
or contractual arrangements between any Debtor and any Released Party (including the exercise
of any common law or contractual rights of setoff or recoupment by any Released Party at any
time on or prior to the Effective Date), the restructuring of any Claim or Equity Interest before or
during the Chapter 11 Cases, any Avoidance Actions, the negotiation, formulation, preparation,
dissemination, filing, or implementation of, prior to the Effective Date, the Definitive Documents,
the Opioid MDT II, Opioid MDT II Documents, the Opioid Creditor Trusts, the Opioid Creditor
Trust Documents, the “agreement in principle for global opioid settlement and associated debt
refinancing activities” announced by the Parent on February 25, 2020 and all matters and potential
transactions described therein, the Restructuring Support Agreement (including any amendments
and/or joinders thereto) and related prepetition and postpetition transactions, the Disclosure
Statement, the Plan, the Plan Supplement, any Restructuring Transaction, any agreement,
instrument, release, and other documents (including providing any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document, or other agreement
contemplated by the Plan or the reliance by any Released Party on the Plan or the Confirmation
Order in lieu of such legal opinion) created or entered into prior to the Effective Date in connection
with the creation of the Opioid MDT II, the Opioid Creditor Trusts, the “agreement in principle
for global opioid settlement and associated debt refinancing activities” announced by the Parent
on February 25, 2020, the Restructuring Support Agreement and related prepetition transactions,
the Disclosure Statement, the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the
Chapter 11 Cases, the pursuit of confirmation (including the solicitation of votes on the Plan), the
pursuit of consummation, the administration and implementation of the Plan, including the
issuance or distribution of Securities pursuant to the Plan, or the distribution of property under
the Plan or any other related agreement, or upon the business or contractual arrangements


                                                 133
          Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 145 of 835




between any Debtor and any Released Party, and any other act or omission, transaction,
agreement, event, or other occurrence or circumstance taking place on or before the Effective Date
related or relating to any of the foregoing; provided, however, that the Debtors do not release, and
the Opioid MDT II shall retain, all Assigned Third-Party Claims and Assigned Insurance Rights;
provided, further, that the Debtors do not release, Claims or Causes of Action arising out of, or
related to, any act or omission of a Released Party that is determined by Final Order of the
Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,
gross negligence, or willful misconduct. The foregoing release will be effective as of the Effective
Date without further notice to or order of the Bankruptcy Court, act or action under applicable
law, regulation, order, or rule or the vote, consent, authorization or approval of any person and
the Confirmation Order shall permanently enjoin the commencement or prosecution by any
person, whether directly, derivatively or otherwise, of any Claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, or liabilities released pursuant to this Debtor
Release. Notwithstanding anything to the contrary in the foregoing, the releases by the Debtors
set forth above do not release any post-Effective Date obligations of any party or Entity under the
Plan, any restructuring, any document, instrument, or agreement (including those set forth in the
Plan Supplement) executed to implement the Plan, or any Claims which are reinstated pursuant
to the Plan. The foregoing release will be effective as of the Effective Date without further notice
to or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule
or the vote, consent, authorization, or approval of any person, and the Confirmation Order shall
permanently enjoin the commencement or prosecution by any person, whether directly,
derivatively, or otherwise, of any Claims, obligations, suits, judgments, damages, demands, debts,
rights, Causes of Action, or liabilities released pursuant to the foregoing release.

The Reorganized Debtors, the Opioid MDT II, and the Opioid Creditor Trusts shall be bound, to
the same extent the Debtors are bound, by the releases set forth in Article IX.B of the Plan. For
the avoidance of doubt, Claims or Causes of Action arising out of, or related to, any act or omission
of a Released Party prior to the Effective Date that is determined by Final Order of the Bankruptcy
Court or any other court of competent jurisdiction to have constituted actual fraud, gross
negligence, or willful misconduct, including findings after the Effective Date, are not released
pursuant to Article IX.B of the Plan.

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases by the Debtors set forth in Article IX.B of the Plan, which
includes by reference each of the related provisions and definitions contained herein, and further
shall constitute the Bankruptcy Court’s finding that such release is: (a) in exchange for the good
and valuable consideration provided by the Released Parties; (b) a good faith settlement and
compromise of the Claims released by the Debtor Release; (c) in the best interests of the Debtors,
their Estates and all Holders of Claims and Equity Interests; (d) fair, equitable and reasonable; (e)
given and made after due notice and opportunity for hearing; and (f) a bar to any Entity or person
asserting any Claim or Cause of Action released by Article IX.B of the Plan.

                       b.      Releases by Non-Debtor Releasing Parties Other than Opioid
                               Claimants (IX.C)

Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions of the
Bankruptcy Code), as of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service of the Released Parties before
and during the Chapter 11 Cases to facilitate the Opioid Settlement (as defined in the
Restructuring Support Agreement) and restructuring, and except as otherwise explicitly provided
in the Plan or in the Confirmation Order, the Released Parties shall be deemed conclusively,
absolutely, unconditionally, irrevocably and forever released and discharged, to the maximum

                                                134
          Case 20-12522-JTD          Doc 2917       Filed 06/18/21      Page 146 of 835




extent permitted by law, as such law may be extended subsequent to the Effective Date, except as
otherwise explicitly provided herein, by the Non-Debtor Releasing Parties, in each case, from any
and all Claims, counterclaims, disputes, obligations, suits, judgments, damages, demands, debts,
rights, Causes of Action, liens, remedies, losses, contributions, indemnities, costs, liabilities,
attorneys’ fees and expenses whatsoever, including any derivative claims, asserted or assertable on
behalf of the Debtors or their Estates, whether liquidated or unliquidated, fixed or contingent,
matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted,
accrued or unaccrued, existing or hereinafter arising, whether in law or equity, whether sounding
in tort or contract, whether arising under federal or state statutory or common law, or any other
applicable international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty,
requirement or otherwise, that such Holders or their Estates, Affiliates, heirs, executors,
administrators, successors, assigns, managers, accountants, attorneys, representatives,
consultants, agents, and any other persons or parties claiming under or through them would have
been legally entitled to assert in their own right (whether individually or collectively) or on behalf
of the Holder of any Claim or Equity Interest or other person, based on or relating to, or in any
manner arising from, in whole or in part, the Debtors (including the management, ownership, or
operation thereof and as such entities existed prior to or after the Petition Date), their Estates, the
Debtors’ in- or out-of-court restructuring efforts (including the Chapter 11 Cases), the purchase,
sale, or rescission of the purchase or sale of any Security or indebtedness of the Debtors, the subject
matter of, or the transactions or events giving rise to, any Claim or Equity Interest that is treated
in the Plan, litigation claims arising from historical intercompany transactions between or among
a Debtor and another Debtor, the business or contractual arrangements or interactions between
any Debtor and any Released Party (including the exercise of any common law or contractual
rights of setoff or recoupment by any Released Party at any time on or prior to the Effective Date),
the restructuring of any Claim or Equity Interest before or during the Chapter 11 Cases, any
Avoidance Actions, the negotiation, formulation, preparation, dissemination, filing, or
implementation of, prior to the Effective Date, the Definitive Documents, the Opioid MDT II, the
Opioid MDT II Documents, the Opioid Creditor Trust, the Opioid Creditor Trust Documents, the
“agreement in principle for global opioid settlement and associated debt refinancing activities”
announced by the Parent on February 25, 2020 and all matters and potential transactions
described therein, the Restructuring Support Agreement (including any amendments and/or
joinders thereto) and related prepetition and postpetition transactions, the Disclosure Statement,
the Plan, the Plan Supplement, any Restructuring Transaction, any agreement, instrument,
release, and other documents (including providing any legal opinion requested by any Entity
regarding any transaction, contract, instrument, document, or other agreement contemplated by
the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
such legal opinion) created or entered into prior to the Effective Date in connection with the
creation of the Opioid MDT II, the Opioid Creditor Trusts, the prepetition documents, the
“agreement in principle for global opioid settlement and associated debt refinancing activities”
announced by the Parent on February 25, 2020, the Restructuring Support Agreement (including
any amendments and/or joinders thereto) and related prepetition transactions, the Disclosure
Statement, the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases,
the pursuit of confirmation (including the solicitation of votes on the Plan), the pursuit of
consummation, the administration and implementation of the Plan, including the issuance or
distribution of Securities pursuant to the Plan, or the distribution of property under the Plan or
any other related agreement, or upon the business or contractual arrangements between any
Debtor and any Released Party, and any other act or omission, transaction, agreement, event, or
other occurrence or circumstance taking place on or before the Effective Date related or relating
to any of the foregoing, other than Claims or Causes of Action arising out of, or related to, any act
or omission of a Released Party that is determined by Final Order of the Bankruptcy Court or any
other court of competent jurisdiction to have constituted actual fraud, gross negligence or willful


                                                 135
          Case 20-12522-JTD          Doc 2917       Filed 06/18/21      Page 147 of 835




misconduct. For the avoidance of doubt, Claims or Causes of Action arising out of, or related to,
any act or omission of a Released Party prior to the Effective Date that is determined by Final
Order of the Bankruptcy Court or any other court of competent jurisdiction to have constituted
actual fraud, gross negligence, or willful misconduct, including findings after the Effective Date,
are not released pursuant to Article IX.C of the Plan. Notwithstanding anything to the contrary
in the foregoing, the releases by the Non-Debtor Releasing Parties set forth above do not release
any post-Effective Date obligations of any party or Entity under the Plan, any restructuring, any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed
to implement the Plan, or any Claims which are reinstated pursuant to the Plan. The foregoing
release will be effective as of the Effective Date without further notice to or order of the Bankruptcy
Court, act or action under applicable law, regulation, order, or rule or the vote, consent,
authorization, or approval of any person, and the Confirmation Order shall permanently enjoin
the commencement or prosecution by any person, whether directly, derivatively, or otherwise, of
any Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, or
liabilities released pursuant to the foregoing release.

Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation Order shall
(x) release, discharge, or preclude the enforcement of any liability of a Released Party to a
Governmental Unit arising out of, or relating to, any act or omission of a Released Party prior to
the Effective Date that is determined by Final Order of the Bankruptcy Court or any other court
of competent jurisdiction to have constituted a criminal act or (y) release or discharge a consultant
or expert having been retained to provide strategic advice for sales and marketing of opioid
products who has received a civil investigative demand or other subpoena related to sales and
marketing of opioid products from any state attorney general on or after January 1, 2019 through
the Petition Date.

Notwithstanding any language to the contrary contained in the Disclosure Statement, Plan or
Confirmation Order, no provision shall (i) preclude the SEC from enforcing its police or regulatory
powers; or, (ii) enjoin, limit, impair or delay the SEC from commencing or continuing any claims,
causes of action, proceeding or investigations against any non-Debtor person or non-Debtor entity
in any forum.

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases by the Non-Debtor Releasing Parties set forth in Article IX.C
of the Plan, which includes by reference each of the related provisions and definitions contained
herein, and further shall constitute the Bankruptcy Court’s finding that such release is: (a) given
in exchange for the good and valuable consideration provided by the Released Parties; (b) a good
faith settlement and compromise of the Claims released by Article IX.C of the Plan; (c) in the best
interests of the Debtors, their Estates and all Holders of Claims and Equity Interests; (d) fair,
equitable and reasonable; (e) given and made after due notice and opportunity for hearing; (f) a
bar to any Entity or person asserting any Claim or Cause of Action released by Article IX.C of the
Plan; (g) consensual; and (h) essential to the confirmation of the Plan.

                        c.      Releases by Holders of Opioid Claims (IX.D)

Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code (and any other applicable provisions of the Bankruptcy Code), as of the Effective
Date, for good and valuable consideration, the adequacy of which is hereby confirmed, including,
without limitation, the service of the Protected Parties before and during the Chapter 11 Cases to
facilitate the Opioid Settlement (as defined in the Restructuring Support Agreement) and
restructuring, each Opioid Claimant (in its capacity as such) is deemed to have released and
discharged, to the maximum extent permitted by law, as such law may be extended subsequent to

                                                 136
          Case 20-12522-JTD          Doc 2917       Filed 06/18/21      Page 148 of 835




the Effective Date, each Debtor, Reorganized Debtor, and Protected Party from any and all Claims
(including Opioid Claims and Opioid Demands), counterclaims, disputes, obligations, suits,
judgments, damages, demands, debts, rights, Causes of Action, liens, remedies, losses,
contributions, indemnities, costs, liabilities, or attorneys’ fees and expenses whatsoever, including
any derivative claims asserted, or assertable on behalf of the Debtors, or their Estates, whether
liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter
arising, whether in law or equity, whether sounding in tort or contract, whether arising under
federal or state statutory or common law, or any other applicable international, foreign, or
domestic law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that such
entity would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of any other person, based on or relating to, or in any manner arising
from, in whole or in part, the Debtors (including the management, ownership, or operation thereof
and as such Entities existed prior to or after the Petition Date), their Estates, the Opioid Claims
(including Opioid Demands), the Debtors’ in- or out-of-court restructuring efforts (including the
Chapter 11 Cases), intercompany transactions between or among a Debtor and another Debtor,
the restructuring of any Claim or Equity Interest before or during the Chapter 11 Cases, any
Avoidance Actions, the negotiation, formulation, preparation, dissemination, filing, or
implementation of, prior to the Effective Date, the Opioid MDT II, the Opioid MDT II Documents,
the Opioid Creditor Trusts, the Opioid Creditor Trust Documents, the “agreement in principle for
global opioid settlement and associated debt refinancing activities” announced by the Parent on
February 25, 2020 and all matters and potential transactions described therein, the Restructuring
Support Agreement (including any amendments and/or joinders thereto) and related prepetition
transactions, the Disclosure Statement, the Plan, the Plan Supplement, any Restructuring
Transaction, or any contract, instrument, release, or other agreement or document (including
providing any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document, or other agreement contemplated by the Plan or the reliance by any
Protected Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or
entered into prior to the Effective Date in connection with the creation of the Opioid MDT II, the
Opioid Creditor Trusts, the “agreement in principle for global opioid settlement and associated
debt refinancing activities” announced by the Parent on February 25, 2020, the Restructuring
Support Agreement (including any amendments and/or joinders thereto) and related prepetition
transactions, the Disclosure Statement, the Plan, the Plan Supplement, the Chapter 11 Cases, the
filing of the Chapter 11 Cases, the pursuit of confirmation (including the solicitation of votes on
the Plan), the pursuit of consummation, the administration and implementation of the Plan,
including the issuance or distribution of securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, or upon the business or contractual
arrangements between any Debtor and any Protected Party, or upon any other act or omission,
transaction, agreement, event, or other occurrence or circumstance taking place on or before the
Effective Date related or relating to any of the foregoing. Notwithstanding anything to the contrary
in the foregoing, the releases by the Opioid Claimants set forth above do not release any post-
Effective Date obligations of any party or Entity under the Plan, any post-Effective Date
transaction contemplated by the restructuring, or any document, instrument, or agreement
(including those set forth in the Plan Supplement) executed to implement the Plan, or any claims
or causes of actions against any co-defendant of the Debtors (other than any Protected Party) in
any opioid-related litigation. The foregoing release will be effective as of the Effective Date without
further notice to or order of the Bankruptcy Court, act or action under applicable law, regulation,
order, or rule or the vote, consent, authorization, or approval of any person, and the Confirmation
Order shall permanently enjoin the commencement or prosecution by any person, whether
directly, derivatively, or otherwise, of any Claims, obligations, suits, judgments, damages,



                                                 137
          Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 149 of 835




demands, debts, rights, Causes of Action, or liabilities released pursuant to the foregoing release
by Opioid Claimants.

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of this release by Opioid Claimants, which includes by reference each of
the related provisions and definitions contained herein, and, further, shall constitute the
Bankruptcy Court’s finding that this release is: (1) essential to the confirmation of the Plan; (2)
given in exchange for the good and valuable consideration provided by the Protected Parties; (3) a
good-faith settlement and compromise of the Claims released by Article IX.D of the Plan; (4) in
the best interests of the Debtors, their Estates, and all Opioid Claimants; (5) fair, equitable, and
reasonable; (6) given and made after due notice and opportunity for hearing; and (7) a bar to any
Opioid Claimant asserting any Claim or Cause of Action released pursuant to Article IX.D of the
Plan.

For the avoidance of doubt, Claims or Causes of Action arising out of, or related to, any act or
omission of a Protected Party prior to the Effective Date that is determined by Final Order of the
Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,
gross negligence, or willful misconduct, including findings after the Effective Date, are not released
pursuant to article IX.D of the Plan. Notwithstanding anything to the contrary in the foregoing,
the releases by the Opioid Claimants set forth above do not release any post-Effective Date
obligations of any party or Entity under the Plan, any restructuring, any document, instrument,
or agreement (including those set forth in the Plan Supplement) executed to implement the Plan,
or any Claims which are reinstated pursuant to the Plan.

Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation Order shall
(x) release, discharge, or preclude the enforcement of any liability of a Protected Party to a
Governmental Unit arising out of, or relating to, any act or omission of a Protected Party prior to
the Effective Date that is determined by Final Order of the Bankruptcy Court or any other court
of competent jurisdiction to have constituted a criminal act perpetrated by the applicable Protected
Party or (y) release or discharge a consultant or expert having been retained to provide strategic
advice for sales and marketing of opioid products who has received a civil investigative demand or
other subpoena related to sales and marketing of opioid products from any state attorney general
on or after January 1, 2019 through the Petition Date.

                        d.      Exculpation (IX.E)

Effective as of the Effective Date, to the fullest extent permitted by law, the Exculpated Parties
shall neither have nor incur any liability to any person for any Claims or Causes of Action arising
on or after the Petition Date and prior to or on the Effective Date for any act taken or omitted to
be taken in connection with, related to, or arising out of, the Chapter 11 Cases, formulating,
negotiating, preparing, disseminating, implementing, filing, administering, confirming or effecting
the confirmation or consummation of the Plan, the Disclosure Statement, the Opioid Settlement
(as defined in the Restructuring Support Agreement), the Opioid MDT II Documents, the Opioid
Creditor Trust Documents, the “agreement in principle for global opioid settlement and associated
debt refinancing activities” announced by the Parent on February 25, 2020, the Restructuring
Support Agreement (including any amendments and/or joinders thereto) and related prepetition
transactions, or any contract, instrument, release or other agreement or document created or
entered into in connection with any of the foregoing, or any other prepetition or postpetition act
taken or omitted to be taken in connection with or in contemplation of the restructuring of the
Debtors, the Disclosure Statement or confirmation or consummation of the Plan, the Opioid
Settlement (as defined in the Restructuring Support Agreement), the Opioid MDT II Documents,
or the Opioid Creditor Trust Documents, including the issuance of Securities pursuant to the Plan,

                                                 138
          Case 20-12522-JTD          Doc 2917       Filed 06/18/21      Page 150 of 835




or the distribution of property under the Plan or any other related agreement; provided, however,
that the foregoing provisions of this exculpation shall not operate to waive or release: (a) any
Causes of Action arising from actual fraud, gross negligence, or willful misconduct of such
applicable Exculpated Party as determined by Final Order of the Bankruptcy Court or any other
court of competent jurisdiction; and/or (b) the rights of any person or Entity to enforce the Plan
and the contracts, instruments, releases, indentures, and other agreements and documents
delivered under or in connection with the Plan or assumed pursuant to the Plan or Final Order of
the Bankruptcy Court; provided, further, that each Exculpated Party shall be entitled to rely upon
the advice of counsel concerning its respective duties pursuant to, or in connection with, the above
referenced documents, actions or inactions.

The Exculpated Parties have, and upon consummation of the Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the solicitation
of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law,
rule, or regulation governing the solicitation of acceptances or rejections of the Plan or such
distributions made pursuant to the Plan.

The foregoing exculpation shall be effective as of the Effective Date without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or
the vote, consent, authorization, or approval of any person or Entity.

                        e.      Permanent Injunction (IX.F)

Except as otherwise expressly provided in the Confirmation Order or Plan, from and after the
Effective Date all persons are, to the fullest extent provided under section 524 and other applicable
provisions of the Bankruptcy Code, permanently enjoined from: (a) commencing or continuing, in
any manner or in any place, any suit, action or other proceeding of any kind; (b) enforcing,
attaching, collecting, or recovering by any manner or means any judgment, award, decree, or
order; (c) creating, perfecting, or enforcing any encumbrance of any kind; (d) asserting any right
of setoff, or subrogation of any kind; and (e) commencing or continuing in any manner any action
or other proceeding of any kind, in each case on account of or with respect to any Claim, demand,
liability, obligation, debt, right, Cause of Action, Equity Interest or remedy released or to be
released, exculpated or to be exculpated, settled or to be settled, or discharged or to be discharged
pursuant to the Plan or the Confirmation Order against any person so released, discharged or
exculpated (or the property or estate of any person so released, discharged or exculpated). All
injunctions or stays provided in the Chapter 11 Cases under section 105 or section 362 of the
Bankruptcy Code, or otherwise, and in existence on the confirmation date, shall remain in full
force until the Effective Date. Article IX.F of the Plan shall not apply to Opioid Claims, which
shall be subject to Article IX.G of the Plan.

                        f.      Opioid Permanent Channeling Injunction (IX.G)

TERMS. Pursuant to section 105(a) of the Bankruptcy Code, from and after the Effective Date,
the sole recourse of any Opioid Claimant on account of its Opioid Claims (including Opioid
Demands) based upon or arising from the Debtors’ pre-confirmation conduct or activities shall be
to the Opioid MDT II or the Opioid Creditor Trusts, as applicable, pursuant to Article IX.G of the
Plan and the Opioid MDT II Documents or the Opioid Creditor Trust Documents, as applicable,
and such Opioid Claimant shall have no right whatsoever at any time to assert its Opioid Claims
(including Opioid Demands) against any Protected Party or any property or interest in property
of any Protected Party. On and after the Effective Date, all Opioid Claimants, including Future
Opioid PI Claimants, shall be permanently and forever stayed, restrained, barred, and enjoined

                                                 139
           Case 20-12522-JTD        Doc 2917      Filed 06/18/21     Page 151 of 835




from taking any of the following actions for the purpose of, directly or indirectly or derivatively
collecting, recovering, or receiving payment of, on, or with respect to any Opioid Claim (including
Opioid Demand) based upon or arising from the Debtors’ pre-confirmation conduct or activities
other than from the Opioid MDT II or the Opioid Creditor Trusts pursuant to the Opioid MDT II
Documents or the Opioid Creditor Trust Documents, as applicable:

           Commencing, conducting, or continuing in any manner, directly, indirectly or
            derivatively, any suit, action, or other proceeding of any kind (including a judicial,
            arbitration, administrative, or other proceeding) in any forum in any jurisdiction
            around the world against or affecting any Protected Party or any property or interests
            in property of any Protected Party;

           Enforcing, levying, attaching (including any prejudgment attachment), collecting, or
            otherwise recovering by any means or in any manner, whether directly or indirectly,
            any judgment, award, decree, or other order against any Protected Party or any
            property or interests in property of any Protected Party;

           Creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
            encumbrance against any Protected Party or any property or interests in property of
            any Protected Party;

           Setting off, seeking reimbursement of, contribution from, or subrogation against, or
            otherwise recouping in any manner, directly or indirectly, any amount against any
            liability owed to any Protected Party or any property or interests in property of any
            Protected Party; or

           Proceeding in any manner in any place with regard to any matter that is within the
            scope of the matters designated by the Plan to be subject to resolution by the Opioid
            MDT II or the Opioid Creditor Trusts, as applicable, except in conformity and
            compliance with the applicable Opioid MDT II Documents and Opioid Creditor Trust
            Documents.

RESERVATIONS. The foregoing injunction shall not stay, restrain, bar, or enjoin (a) the rights of
Opioid Claimants to assert Opioid Claims (including Opioid Demands) against the Opioid MDT
II or the Opioid Creditor Trusts, as applicable, solely in accordance with the Plan, the Opioid MDT
II Documents, and the Opioid Creditor Trust Documents, as applicable; and (b) the rights of
Entities to assert any Claim, debt, obligation, or liability for payment of Trust Expenses against
the Opioid MDT II.

MODIFICATIONS. There can be no modification, dissolution, or terminations of this Opioid
Permanent Channeling Injunction, which shall be a permanent injunction.

NON-LIMITATION OF CHANNELING INJUNCTION. Nothing in the Plan, the Opioid MDT II
Documents, or the Opioid Creditor Trust Documents shall be construed in any way to limit the
scope, enforceability, or effectiveness of the Opioid Permanent Channeling Injunction issued in
connection with the Plan.

BANKRUPTCY RULE 3016 COMPLIANCE. The Debtors’ compliance with the requirements of
Bankruptcy Rule 3016 shall not constitute an admission that the Plan provides for an injunction
against conduct not otherwise enjoined under the Bankruptcy Code.

                       g.      Opioid Insurer Injunction (IX.H)

                                               140
          Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 152 of 835




TERMS. In accordance with section 105(a) of the Bankruptcy Code, upon the occurrence of the
Effective Date, all Persons that have held or asserted, that hold or assert or that may in the future
hold or assert any Claim based on, arising under or attributable to an Opioid Insurance Policy
shall be, and hereby are, permanently stayed, restrained and enjoined from taking any action for
the purpose of directly or indirectly collecting, recovering or receiving payment or recovery on
account of any such Claim based on, arising under or attributable to an Opioid Insurance Policy
from or against any Opioid Insurer, including:

               a.      commencing, conducting or continuing, in any manner any action or other
                       proceeding of any kind (including an arbitration or other form of alternate
                       dispute resolution) against any Opioid Insurer, or against the property of
                       any Opioid Insurer, on account of any such Claim based on, arising under
                       or attributable to an Opioid Insurance Policy;

               b.      enforcing, attaching, levying, collecting or otherwise recovering, by any
                       manner or means, any judgment, award, decree or other order against any
                       Opioid Insurer, or against the property of any Opioid Insurer, on account
                       of any such Claim based on, arising under or attributable to an Opioid
                       Insurance Policy;

               c.      creating, perfecting or enforcing in any manner any Lien of any kind
                       against any Opioid Insurer, or against the property of any Opioid Insurer,
                       on account of any such Claim based on, arising under or attributable to an
                       Opioid Insurance Policy;

               d.      asserting or accomplishing any setoff, right of subrogation, indemnity,
                       contribution or recoupment of any kind, whether directly or indirectly,
                       against any obligation due to any Opioid Insurer, or against the property
                       of any Opioid Insurer, on account of any such Claim based on, arising
                       under or attributable to an Opioid Insurance Policy; and

               e.      taking any act, in any manner, in any place whatsoever, that does not
                       conform to, or comply with, the provisions of the Plan applicable to any
                       such Claim based on, arising under or attributable to an Opioid Insurance
                       Policy.

RESERVATIONS. The provisions of this Opioid Insurer Injunction do not apply to the Opioid
MDT II and shall not preclude the Opioid MDT II from pursuing any Claim based on, arising
under, or attributable to an Opioid Insurance Policy (including the Assigned Insurance Rights) or
any other Claim that may exist under any Opioid Insurance Policy against any Opioid Insurer,
nor shall it enjoin the Opioid MDT II from prosecuting any action based on, arising from, or
attributable to any Opioid Insurance Policy or from asserting any claim, debt, obligation, cause of
action, or liability for payment against a Opioid Insurer based on, arising from, or attributable to
any Opioid Insurance Policy (including the Assigned Insurance Rights). The provisions of this
Opioid Insurer Injunction are not issued for the benefit of any Opioid Insurer, and no such insurer
is a third-party beneficiary of this Opioid Insurer Injunction.

MODIFICATIONS. To the extent the Opioid MDT II Trustees determine that some or all of the
proceeds under the Opioid Insurance Policies are substantially unrecoverable by the Opioid MDT
II, the Opioid MDT II shall have the sole and exclusive authority, upon written notice to any
affected Opioid Insurer, to terminate, reduce, or limit the scope of this Opioid Insurer Injunction
with respect to any Opioid Insurer, provided that any termination, reduction, or limitation of the


                                                141
          Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 153 of 835




Opioid Insurer Injunction (i) shall apply equally to all Classes of Opioid Claims, and (ii) shall
comply with any procedures set forth in the Opioid MDT II Documents.

NON-LIMITATION OF INSURER INJUNCTION. Except as set forth in paragraph 2 and 3 of this
Article, nothing in the Plan, the Opioid MDT II Documents or the Opioid Creditor Trust
Documents shall be construed in any way to limit the scope, enforceability or effectiveness of the
Opioid Insurer Injunction issued in connection with the Plan.

                       h.      Settling Opioid Insurer Injunction (IX.I)

Terms. In accordance with section 105(a) of the Bankruptcy Code, upon the occurrence of the
Effective Date, all Persons that have held or asserted, that hold or assert or that may in the future
hold or assert any Claim based on, arising under or attributable to an Opioid Insurance Policy
shall be, and hereby are, permanently stayed, restrained and enjoined from taking any action for
the purpose of directly or indirectly collecting, recovering or receiving payment or recovery on
account of any such Claim based on, arising under or attributable to an Opioid Insurance Policy
from or against any Settling Opioid Insurer, solely to the extent that such Settling Opioid Insurer
has been released from such Claim under such Opioid Insurance Policy pursuant to an Opioid
Insurance Settlement, including:

               a.      commencing, conducting or continuing, in any manner any action or other
                       proceeding of any kind (including an arbitration or other form of alternate
                       dispute resolution) against any such Settling Opioid Insurer, or against the
                       property of such Settling Opioid Insurer, on account of such Claim based
                       on, arising under or attributable to such Opioid Insurance Policy;

               b.      enforcing, attaching, levying, collecting or otherwise recovering, by any
                       manner or means, any judgment, award, decree or other order against any
                       such Settling Opioid Insurer, or against the property of such Settling
                       Opioid Insurer, on account of such Claim based on, arising under or
                       attributable to such Opioid Insurance Policy;

               c.      creating, perfecting or enforcing in any manner any Lien of any kind
                       against any such Settling Opioid Insurer, or against the property of such
                       Settling Opioid Insurer, on account of such Claim based on, arising under
                       or attributable to such Opioid Insurance Policy;

               d.      asserting or accomplishing any setoff, right of subrogation, indemnity,
                       contribution or recoupment of any kind, whether directly or indirectly,
                       against any obligation due to any such Settling Opioid Insurer, or against
                       the property of such Settling Opioid Insurer, on account of such Claim
                       based on, arising under or attributable to such Opioid Insurance Policy;
                       and

               e.      taking any act, in any manner, in any place whatsoever, that does not
                       conform to, or comply with, the provisions of the Plan applicable to such
                       Claim based on, arising under or attributable to such Opioid Insurance
                       Policy.

REDUCTION OF INSURANCE JUDGMENTS. Any right, Claim, or cause of action that an
insurance company may have been entitled to assert against any Settling Opioid Insurer but for
the Settling Opioid Insurer Injunction, if any such right, Claim, or cause of action exists under
applicable non-bankruptcy law, shall become a right, Claim, or cause of action solely as a setoff

                                                142
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 154 of 835




claim against the Opioid MDT II and not against or in the name of the Settling Opioid Insurer in
question. Any such right, Claim, or cause of action to which an insurance company may be entitled
shall be solely in the form of a setoff against any recovery of the Opioid MDT II from that insurance
company, and under no circumstances shall that insurance company receive an affirmative
recovery of funds from the Opioid MDT II or any Settling Opioid Insurer for such right, Claim,
or cause of action. In determining the amount of any setoff, the Opioid MDT II may assert any
legal or equitable rights the Settling Opioid Insurer would have had with respect to any right,
Claim, or cause of action.

MODIFICATIONS. There can be no modification, dissolution or termination of the Settling
Insurer Injunction, which shall be a permanent injunction.

NON-LIMITATION OF SETTLING INSURER INJUNCTION. Nothing in the Plan, the Opioid
MDT II Documents or the Opioid Creditor Trust Documents shall be construed in any way to limit
the scope, enforceability or effectiveness of the Settling Insurer Injunction issued in connection
with the Plan.

                         i.      Opioid Operating Injunction (IX.J)

From and after the date on which the Opioid Operating Injunction Order is entered by the Bankruptcy
Court or another court of competent jurisdiction, the VI-Specific Debtors and/or Reorganized VI-Specific
Debtors, as applicable, and any successors to the VI-Specific Debtors’ and/or Reorganized VI-Specific
Debtors’ business operations relating to the manufacture and sale of opioid product(s) in the United States
and its territories shall abide by the Opioid Operating Injunction as set forth in the Plan Supplement.

The VI-Specific Debtors and Reorganized VI-Specific Debtors, as applicable, consent to the entry of a
final judgment or consent order upon the Effective Date imposing all of the provisions of the Opioid
Operating Injunction in the state court in each of the Supporting Governmental Opioid Claimants. After
the Effective Date, the Opioid Operating Injunction will be enforceable in the state court in each of the
Supporting Governmental Opioid Claimants. The VI-Specific Debtors and Reorganized VI-Specific
Debtors agree that seeking entry or enforcement of such a final judgment or consent order will not violate
any other injunctions or stays that it will seek, or that may otherwise apply, in connection with its
Chapter 11 Cases or Confirmation.

                         j.      Setoffs and Recoupment (IX.K)

Except as otherwise provided herein, each Reorganized Debtor pursuant to the Bankruptcy Code
(including section 553 of the Bankruptcy Code), applicable bankruptcy or non-bankruptcy law, or as may
be agreed to by the Holder of an Allowed Claim, may set off or recoup against any Allowed Claim and
the distributions to be made pursuant to the Plan on account of such Allowed Claim, any Claims, rights,
and Causes of Action of any nature that the applicable Debtor or Reorganized Debtor may hold against
the Holder of such Allowed Claim, to the extent such Claims, rights, or Causes of Action have not been
otherwise compromised, settled, or assigned on or prior to the Effective Date (whether pursuant to the
Plan, a Final Order or otherwise); provided that neither the failure to effect such a setoff or recoupment
nor the allowance of any Claim pursuant to the Plan shall constitute a waiver or release by such
Reorganized Debtor or the Opioid MDT II of any such Claims, rights, and Causes of Action; provided,
further, that the exercise of rights of setoff and/or recoupment by non-Debtor third parties against the
Debtors or Reorganized Debtors on account of any Assigned Third-Party Claims shall be enjoined and
barred, to the extent permitted by applicable law.




                                                   143
          Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 155 of 835




                       k.      Access to Opioid Insurance Policies (IX.L)

Notwithstanding anything herein to the contrary, the Debtors shall not be released from liability
for any Claim that is or may be covered by any Opioid Insurance Policy; provided that recovery
for any such Claim, including by way of settlement or judgment, shall be limited to the available
proceeds of such Opioid Insurance Policy (and any extra-contractual liability of the Opioid Insurer
with respect to any Opioid Insurance Policy) and shall be asserted pursuant to procedures set forth
in the Opioid MDT II Documents, and no Person or party shall execute, garnish or otherwise
attempt to collect any such recovery from any assets other than the available proceeds of the Opioid
Insurance Policy. The Debtors shall be released automatically from a Claim described in this
paragraph upon the earlier of (x) the abandonment of such Claim and (y) such a release being
given as part of a settlement or resolution of such Claim, and shall be released automatically from
all Claims described in this paragraph upon the exhaustion of the available proceeds of the relevant
Opioid Insurance Policy (notwithstanding the nonoccurrence of either event described in the
foregoing clauses (x) and (y)).

                       l.      Co-Defendant Defensive Rights (IX.M)

Except as provided in clause (ii) of the penultimate sentence of Article IX.M of the Plan,
notwithstanding anything to the contrary in Article IX of the Plan or in the Plan as it currently
exists or as it might be further amended, the Confirmation Order or any order entered in
connection with the Plan (or the Plan as amended) (or any such order, as amended, modified or
supplemented), or any supplement to the Plan (or the Plan as further amended), nothing contained
in the Plan or any of the foregoing documents or orders (including without limitation, the
classification, treatment, allowance, disallowance, release, bar, injunction, Opioid Permanent
Channeling Injunction or any other provision of the Plan or the Plan as amended with respect to,
impacting, affecting, modifying, limiting, subordinating, impairing, in any respect, a Co-Defendant
Claim), will release, bar, enjoin, impair, alter, modify, amend, limit, prohibit, restrict, reduce,
improve or enhance any Co-Defendant Defensive Rights of any Holder of a Co-Defendant Claim
as such rights exist or might in the future exist under applicable non-bankruptcy law. Nothing in
the Plan, any of the Definitive Documents or in the Confirmation Order shall preclude, operate to
or have the effect of, impairing any Holder of a Co-Defendant Claim from asserting in any
proceeding any and all Co-Defendant Defensive Rights that it has or may have under applicable
law. Nothing in the Plan, any of the Definitive Documents or the Confirmation Order shall be
deemed to waive any Co-Defendant Defensive Rights, and nothing in the Chapter 11 Cases, the
Plan, any of the Definitive Documents or the Confirmation Order may be used as evidence of any
determination regarding any Co-Defendant Defensive Rights, and under no circumstances shall
any Person be permitted to assert issue preclusion or claim preclusion, waiver, estoppel, or consent
in response to the assertion of any Co-Defendant Defensive Rights. This Article IX.M shall be
included in the Confirmation Order. Co-Defendant Defensive Rights (i) may be used to offset,
setoff, recoup, allocate or apportion fault, liability or damages, or seek judgment reduction or
otherwise defend against any Cause of Action or Claim brought by any Person against the Holder
of any Co-Defendant Claim based in whole or in part on Opioid-Related Activities; and (ii) shall
in no case be used to seek any affirmative monetary recovery from any Protected Party on account
of any Claim or Cause of Action released pursuant to Article IX.D, shall in no case result in the
Debtors or the Reorganized Debtors being named on a jury verdict form or other finding of
liability (provided that, in lieu of naming the Debtors or the Reorganized Debtors, a party may
name the Opioid MDT II, the applicable Opioid Creditor Trust, or the Ratepayer Account as
successor in interest to the Debtors) , and shall in no case be used to seek an affirmative recovery
from the Opioid MDT II or any Opioid Creditor Trust other than on account of any Class 9(h)



                                                144
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 156 of 835




Claim in accordance with the Plan and the Opioid MDT II Trust Documents. The foregoing does
not constitute a release of any Co-Defendant Claim.

                                 VI.
     CAPITAL STRUCTURE AND CORPORATE GOVERNANCE OF REORGANIZED
                              DEBTORS

        A.      Summary of Capital Structure of Reorganized Debtors

                1.       Post-Emergence Capital Structure

The following table summarizes the capital structure of the Reorganized Debtors, including the post-
Effective Date financing arrangements the Reorganized Debtors expect to enter into to fund their
obligations under the Plan and provide for, among other things, their post-Effective Date working capital
needs. This summary of the Reorganized Debtors’ capital structure is qualified in its entirety by reference
to the Plan and the relevant Definitive Documents.

 Instrument          Amount                              Description
 New Term Loan       Up to approximately $900            Terms to be determined.
 Facility            million if only the First Lien
                     Revolving Credit Facility is     The New Term Loan Facility is to be entered
                     refinanced; greater amount if theinto by the Reorganized Debtors on, prior to,
                     First Lien Term Loans, the First or after the Effective Date and will be used to
                     Lien Notes, and/or the Second    refinance the First Lien Revolving Credit
                     Lien Notes are refinanced        Facility, and may be used to refinance the First
                                                      Lien Term Loans, the First Lien Notes, and the
                                                      Second Lien Notes.
 New AR              Up to      approximately    $200 Terms to be determined.
 Revolving           million
 Facility                                          The New AR Revolving Facility is a new
                                                   accounts receivable revolving credit facility in
                                                   the aggregate principal amount of up to
                                                   approximately $200 million to be entered into
                                                   by the Reorganized Debtors on, prior to or after
                                                   the Effective Date.
 The New             Approximately $1.8 billion if The New Takeback Term Loan Facility is a
 Takeback Term       issued                        new senior secured first lien term loan facility
 Loan Facility                                     in an original principal amount equal to the
                                                   Term Loans Outstanding Amount.

                                                         The 2024 First Lien Term Loan and the 2025
                                                         First Lien Term Loan shall be, at the Debtors’
                                                         option, either (a) replaced by the New
                                                         Takeback Term Loans, or (b) be paid in full in
                                                         Cash with funds raised through the New Term
                                                         Loan Facility.

                                                         If issued, the New Takeback Term Loan
                                                         Facility will be due the earlier of (a) September
                                                         30, 2027 and (b) 5.75 years following the
                                                         Effective Date. The New Takeback Term Loan
                                                         Facility will be payable in cash at L+525, with

                                                   145
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 157 of 835




                                                     respect to the 2024 First Lien Term Loan, and
                                                     L+550, with respect to the 2025 First Lien
                                                     Term Loan, both subject to a 75 bps LIBOR
                                                     floor.
 10.000% First       Approximately $495 million if Allowed First Lien Notes Claims will be
 Lien Senior         Reinstated                      Reinstated or the Allowed First Lien Notes
 Secured Notes                                       Claims will receive the Cram-Down First Lien
 due April 2025      or                              Notes in a face amount equal to the amount of
                                                     such Allowed First Lien Notes Claims (unless
 or                  Up to approximately $598 paid in cash).
                     million if Cram-Down First Lien
 Cram-Down           Notes are issued
 First Lien Notes
 10.000%             Approximately $323 million if Allowed Second Lien Notes Claims will be
 Second Lien         Reinstated                    Reinstated or the Allowed Second Lien Notes
 Senior Secured                                    Claims will receive the Cram-Down Second
 Notes due April     or                            Lien Notes in a face amount equal to the
 2025                                              amount of such Allowed Second Lien Notes
                     Up to approximately $390 Claims (unless paid in cash).
 or                  million if Cram-Down Second
                     Lien Notes are issued
 Cram-Down
 Second Lien
 Notes
 Takeback            $375 million                        Payable in cash at 10.00%; maturity of seven
 Second Lien                                             (7) years following the Effective Date; pari
 Notes                                                   passu with the second lien security interests as
                                                         with existing Second Lien Notes.

                2.       New Credit Facilities, New Takeback Term Loans, Takeback Second Lien
                         Notes, Cram-Down First Lien Notes, and Cram-Down Second Lien Notes

Article IV.H.1 of the Plan (“New Credit Facilities, New Takeback Term Loans, Takeback Second Lien
Notes, Cram-Down First Lien Notes, and Cram-Down Second Lien Notes - The New Credit Facilities
and Approval of the New Term Loan Documentation and New AR Revolving Facility
Documentation”) provides that, to the extent required and subject to the occurrence of the Effective
Date, Confirmation of the Plan shall be deemed to constitute authorization and approval by the
Bankruptcy Court (a) of the New Credit Facilities, (b) of the New Term Loan Documentation and New
AR Revolving Facility Documentation (including all transactions contemplated thereby, and all actions
to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
connection therewith, including the payment of all fees, indemnities and expenses provided for therein),
and (c) subject to the occurrence of the Effective Date, for the applicable Reorganized Debtors to enter
into and perform their obligations under the New Term Loan Documentation and New AR Revolving
Facility Documentation and such other documents as may be reasonably required or appropriate. For the
avoidance of doubt, if the New Takeback Term Loans are issued pursuant to the Plan, the incurrence of
(x) the New Term Loan Facility shall utilize the baskets for Revolver Replacement Term Loans (as
defined in the Supporting Term Lenders Joinder Agreement) and may use other baskets (solely to the
extent available) and (y) the New AR Revolving Facility shall utilize the baskets for Qualified
Receivables Facilities (as defined in the Supporting Term Lenders Joinder Agreement) and may use other
baskets (solely to the extent available), in each case, set forth in and subject to the negative covenants
limiting the incurrence of indebtedness and liens under the New Takeback Term Loan Documentation.


                                                   146
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 158 of 835




Further, on the Effective Date, the New Term Loan Documentation and New AR Revolving Facility
Documentation shall constitute legal, valid, binding, and authorized obligations of the Reorganized
Debtors, enforceable in accordance with their terms. The financial accommodations to be extended
pursuant to the New Term Loan Documentation and New AR Revolving Facility Documentation are
being extended, and shall be deemed to have been extended, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recharacterization, or subordination
(including equitable subordination) for any purposes whatsoever, and shall not constitute preferential
transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other
applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted
under the New Term Loan Documentation and New AR Revolving Facility Documentation (1) shall be
legal, binding, and enforceable Liens on, and security interests in, the collateral granted in accordance
with the terms of the New Term Loan Documentation and New AR Revolving Facility Documentation
(and with the priority set forth therein), (2) shall be deemed automatically perfected on the Effective
Date, and (3) shall not be subject to avoidance, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever and shall not constitute preferential transfers, fraudulent
conveyances, or other voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy
law. The Reorganized Debtors and the Entities granting such Liens and security interests are authorized
to make all filings and recordings, and to obtain all governmental approvals and consents necessary to
establish and perfect such Liens and security interests under the provisions of the applicable state,
provincial, federal, or other law (whether domestic or foreign) that would be applicable in the absence
of the Plan and the Confirmation Order (it being understood that perfection shall occur automatically by
virtue of the entry of the Confirmation Order, and any such filings, recordings, approvals, and consents
shall not be required), and will thereafter cooperate to make all other filings and recordings that otherwise
would be necessary under applicable law to give notice of such Liens and security interests to third
parties.

Further, for the avoidance of doubt, subject to the entry of an order of the Bankruptcy Court approving
such incurrence, either or both of the New Credit Facilities may be incurred by the Debtors as debtor-in-
possession financing prior to the Effective Date. To the extent incurred by the Debtors prior to the
Effective Date, such New Credit Facilities shall survive the occurrence of the Effective Date in
accordance with the terms of this Plan.

Article IV.H.2 of the Plan (“New Credit Facilities, New Takeback Term Loans, and Takeback Second
Lien Notes - New Takeback Term Loans and Approval of New Takeback Term Loans
Documentation”) provides that to the extent required and subject to the occurrence of the Effective Date,
Confirmation of the Plan shall be deemed to constitute approval by the Bankruptcy Court of the New
Takeback Term Loans and the New Takeback Term Loans Documentation (including all transactions
contemplated thereby, and all actions to be taken, undertakings to be made and obligations to be incurred
by the Reorganized Debtors in connection therewith, including the incurrence of Liens securing the New
Takeback Term Loans and the payment of all fees, payments, indemnities and expenses provided for
therein) and, subject to the occurrence of the Effective Date, authorization for the applicable Reorganized
Debtors to enter into and perform their obligations under the New Takeback Term Loans Documentation
and such other documents as may be reasonably required or appropriate.

Further, on the Effective Date, the New Takeback Term Loans Documentation shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with
their terms. The financial accommodations to be extended pursuant to the New Takeback Term Loans
Documentation are being extended, and shall be deemed to have been extended, and all related payments
made in connection therewith shall have been made, in each case, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or

                                                    147
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 159 of 835




any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests
to be granted under the New Takeback Term Loans Documentation (1) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
New Takeback Term Loans Documentation, shall be pari passu in priority to any Liens and security
interests securing the First Lien Notes or the Cram-Down First Lien Notes (as applicable) and shall rank
senior in priority to any Liens and security interests securing the Takeback Second Lien Notes and the
Second Lien Notes or the Cram-Down Second Lien Notes (as applicable), (2) shall be deemed
automatically perfected on the Effective Date, and (3) shall not be subject to avoidance, recovery,
turnover, recharacterization, or subordination (including equitable subordination) for any purposes
whatsoever and shall not constitute preferential transfers, fraudulent conveyances, or other voidable
transfers under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors
and the Entities granting such Liens and security interests are authorized to make all filings and
recordings, and to obtain all governmental approvals and consents necessary to establish and perfect such
Liens and security interests under the provisions of the applicable state, provincial, federal, or other law
(whether domestic or foreign) that would be applicable in the absence of the Plan and the Confirmation
Order (it being understood that perfection shall occur automatically by virtue of the entry of the
Confirmation Order, and any such filings, recordings, approvals, and consents shall not be required), and
will thereafter cooperate to make all other filings and recordings that otherwise would be necessary under
applicable law to give notice of such Liens and security interests to third parties.

Article IV.H.3 of the Plan (“New Credit Facilities, New Takeback Term Loans, and Takeback Second
Lien Notes - Takeback Second Lien Notes and Approval of Takeback Second Lien Notes
Documentation”) provides that to the extent required and subject to the occurrence of the Effective Date,
Confirmation of the Plan shall be deemed to constitute approval by the Bankruptcy Court of the Takeback
Second Lien Notes and the Takeback Second Lien Notes Documentation (including all transactions
contemplated thereby, and all actions to be taken, undertakings to be made and obligations to be incurred
by the Reorganized Debtors in connection therewith, including the incurrence of Liens securing the
Takeback Second Lien Notes and the payment of all fees, payments, indemnities and expenses provided
for therein) and, subject to the occurrence of the Effective Date, authorization for the applicable
Reorganized Debtors to enter into and perform their obligations under the Takeback Second Lien Notes
Documentation and such other documents as may be reasonably required or appropriate.

Further, on the Effective Date, the Takeback Second Lien Notes Documentation shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with
their terms. The financial accommodations to be extended pursuant to the Takeback Second Lien Notes
Documentation are being extended, and shall be deemed to have been extended, and all related payments
made in connection therewith shall have been made, in each case, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests
to be granted under the Takeback Second Lien Notes Documentation (1) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
Takeback Second Lien Notes Documentation, shall be pari passu in priority to any Liens and security
interests securing the Second Lien Notes or the Cram-Down Second Lien Notes (as applicable), and shall
be junior in priority to any Liens and security interests securing the New Takeback Term Loans and the
First Lien Notes or the Cram-Down First Lien Notes (as applicable), (2) shall be deemed automatically
perfected on the Effective Date, and (3) shall not be subject to avoidance, recovery, turnover,
recharacterization, or subordination (including equitable subordination) for any purposes whatsoever and
shall not constitute preferential transfers, fraudulent conveyances, or other voidable transfers under the
Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the Entities
granting such Liens and security interests are authorized to make all filings and recordings, and to obtain

                                                    148
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 160 of 835




all governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, provincial, federal, or other law (whether domestic
or foreign) that would be applicable in the absence of the Plan and the Confirmation Order (it being
understood that perfection shall occur automatically by virtue of the entry of the Confirmation Order,
and any such filings, recordings, approvals, and consents shall not be required), and will thereafter
cooperate to make all other filings and recordings that otherwise would be necessary under applicable
law to give notice of such Liens and security interests to third parties.

Article IV.H.4 of the Plan (“New Credit Facilities, New Takeback Term Loans, and Takeback Second
Lien Notes - Cram-Down First Lien Notes and Approval of Cram-Down First Lien Notes
Documentation”) provides that to the extent required and subject to the occurrence of the Effective Date,
Confirmation of the Plan shall be deemed to constitute approval by the Bankruptcy Court of the Cram-
Down First Lien Notes and the Cram-Down First Lien Notes Documentation (including all transactions
contemplated thereby, and all actions to be taken, undertakings to be made and obligations to be incurred
by the Reorganized Debtors in connection therewith, including the incurrence of Liens securing the
Cram-Down First Lien Notes and the payment of all fees, payments, indemnities and expenses provided
for therein) and, subject to the occurrence of the Effective Date, authorization for the applicable
Reorganized Debtors to enter into and perform their obligations under the Cram-Down First Lien Notes
Documentation and such other documents as may be reasonably required or appropriate.

Further, on the Effective Date, the Cram-Down First Lien Notes Documentation shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with
their terms. The financial accommodations to be extended pursuant to the Cram-Down First Lien Notes
Documentation are being extended, and shall be deemed to have been extended, and all related payments
made in connection therewith shall have been made, in each case, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests
to be granted under the Cram-Down First Lien Notes Documentation (1) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
Cram-Down First Lien Notes Documentation, shall be pari passu in priority to any Liens and security
interests securing the New Takeback Term Loans, and shall rank senior in priority to any Liens and
security interests securing the Takeback Second Lien Notes and the Second Lien Notes or the Cram-
Down Second Lien Notes (as applicable), (2) shall be deemed automatically perfected on the Effective
Date, and (3) shall not be subject to avoidance, recovery, turnover, recharacterization, or subordination
(including equitable subordination) for any purposes whatsoever and shall not constitute preferential
transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any
applicable non-bankruptcy law. The Reorganized Debtors and the Entities granting such Liens and
security interests are authorized to make all filings and recordings, and to obtain all governmental
approvals and consents necessary to establish and perfect such Liens and security interests under the
provisions of the applicable state, provincial, federal, or other law (whether domestic or foreign) that
would be applicable in the absence of the Plan and the Confirmation Order (it being understood that
perfection shall occur automatically by virtue of the entry of the Confirmation Order, and any such
filings, recordings, approvals, and consents shall not be required), and will thereafter cooperate to make
all other filings and recordings that otherwise would be necessary under applicable law to give notice of
such Liens and security interests to third parties.

Article IV.H.5 of the Plan (“New Credit Facilities, New Takeback Term Loans, and Takeback Second
Lien Notes - Cram-Down Second Lien Notes and Approval of Cram-Down Second Lien Notes
Documentation”) provides that to the extent required and subject to the occurrence of the Effective Date,
Confirmation of the Plan shall be deemed to constitute approval by the Bankruptcy Court of the Cram-

                                                   149
             Case 20-12522-JTD                   Doc 2917           Filed 06/18/21            Page 161 of 835




Down Second Lien Notes and the Cram-Down Second Lien Notes Documentation (including all
transactions contemplated thereby, and all actions to be taken, undertakings to be made and obligations
to be incurred by the Reorganized Debtors in connection therewith, including the incurrence of Liens
securing the Cram-Down Second Lien Notes and the payment of all fees, payments, indemnities and
expenses provided for therein) and, subject to the occurrence of the Effective Date, authorization for the
applicable Reorganized Debtors to enter into and perform their obligations under the Cram-Down Second
Lien Notes Documentation and such other documents as may be reasonably required or appropriate.

Further, on the Effective Date, the Cram-Down Second Lien Notes Documentation shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with
their terms. The financial accommodations to be extended pursuant to the Cram-Down Second Lien
Notes Documentation are being extended, and shall be deemed to have been extended, and all related
payments made in connection therewith shall have been made, in each case, in good faith, for legitimate
business purposes, are reasonable, shall not be subject to avoidance, recovery, turnover,
recharacterization, or subordination (including equitable subordination) for any purposes whatsoever,
and shall not constitute preferential transfers, fraudulent conveyances, or other voidable transfers under
the Bankruptcy Code or any other applicable non-bankruptcy law. On the Effective Date, all of the Liens
and security interests to be granted under the Cram-Down Second Lien Notes Documentation (1) shall
be legal, binding, and enforceable Liens on, and security interests in, the collateral granted in accordance
with the terms of the Cram-Down Second Lien Notes Documentation, shall be pari passu in priority to
any Liens and security interests securing the Takeback Second Lien Notes, and shall rank junior in
priority to any Liens and security interests securing the New Takeback Term Loans and the First Lien
Notes or the Cram-Down First Lien Notes (as applicable), (2) shall be deemed automatically perfected
on the Effective Date, and (3) shall not be subject to avoidance, recovery, turnover, recharacterization,
or subordination (including equitable subordination) for any purposes whatsoever and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
any applicable non-bankruptcy law. The Reorganized Debtors and the Entities granting such Liens and
security interests are authorized to make all filings and recordings, and to obtain all governmental
approvals and consents necessary to establish and perfect such Liens and security interests under the
provisions of the applicable state, provincial, federal, or other law (whether domestic or foreign) that
would be applicable in the absence of the Plan and the Confirmation Order (it being understood that
perfection shall occur automatically by virtue of the entry of the Confirmation Order, and any such
filings, recordings, approvals, and consents shall not be required), and will thereafter cooperate to make
all other filings and recordings that otherwise would be necessary under applicable law to give notice of
such Liens and security interests to third parties.

                    3.         New Mallinckrodt Ordinary Shares and New Opioid Warrants

Pursuant to Article IV.I.1 of the Plan (“Reorganized Debtors’ Ownership - New Mallinckrodt Ordinary
Shares and New Opioid Warrants”), on the Effective Date, Reorganized Mallinckrodt shall (a) issue or
reserve for issuance all of the New Mallinckrodt Ordinary Shares (including all New Mallinckrodt
Ordinary Shares issuable upon exercise of the New Opioid Warrants as of the Effective Date, without
regard to any limitations on the exercise of the New Opioid Warrants) issuable in accordance with the
terms of the Plan and, where applicable, the Scheme of Arrangement and as set forth in the Restructuring
Transactions Memorandum and (b) enter into the New Opioid Warrant Agreement and issue all of the
New Opioid Warrants to the Opioid MDT II in accordance with the terms of the Plan.37 The issuance of
the New Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon
exercise of the New Opioid Warrants as of the Effective Date, without regard to any limitations on the


37
     The Opioid MDT II may not be the owner of the New Opioid Warrants for tax purposes, but may hold the New Opioid Warrants as agent
     or trustee for its beneficiaries.


                                                                150
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21        Page 162 of 835




exercise of the New Opioid Warrants) and any New Opioid Warrants by Reorganized Mallinckrodt
pursuant to the Plan is authorized without the need for further corporate or other action or any consent
or approval of any national securities exchange upon which the New Mallinckrodt Ordinary Shares shall
be listed on or immediately following the Effective Date. All of the New Mallinckrodt Ordinary Shares
(including, when issued, any New Mallinckrodt Ordinary Shares issuable upon exercise of the New
Opioid Warrants as of the Effective Date, without regard to any limitations on the exercise of the New
Opioid Warrants) issued or issuable pursuant to the Plan shall be duly authorized, validly issued, fully
paid, and non-assessable. The New Opioid Warrants and the New Opioid Warrant Agreement shall be
valid and binding obligations of Reorganized Mallinckrodt, enforceable in accordance with their
respective terms.

Pursuant to Article IV.I.2 of the Plan (“Reorganized Debtors’ Ownership - Registration Rights
Agreement”), on the Effective Date, Reorganized Mallinckrodt and certain Holders of the New
Mallinckrodt Ordinary Shares (including the New Mallinckrodt Ordinary Shares issuable upon the
exercise of the New Opioid Warrants) shall enter into the Registration Rights Agreement in substantially
the form included in the Plan Supplement. The Registration Rights Agreement shall be deemed to be
valid, binding, and enforceable in accordance with its terms.

Pursuant to Article IV.I.3 of the Plan (“Reorganized Debtors’ Ownership – Certain Debtors Subject to
Dissolution”), as to any Debtors identified in the Restructuring Transactions Memorandum as being
subject to Article IV.I.3 of the Plan, the Debtors shall take such steps as are necessary or advisable to
provide, as of the Effective Date, (a) for a new equity interest holder or holders (either as to each such
Debtor individually or as to all such Debtors together) (i) to receive and hold all new equity interests in
such Debtors and (ii) to manage the dissolution of such Debtors after consummation of all distributions
to the Holders of Claims against such Debtors contemplated by the Plan and (b) for any necessary or
advisable changes to the organizational documents of such Debtors in furtherance of their contemplated
dissolution.

                 4.      Exemption from Registration Requirements

Pursuant to Article IV.J of the Plan (“Exemption from Registration Requirements”), the offering,
issuance, and distribution of any Securities, including the New Mallinckrodt Ordinary Shares (including
any New Mallinckrodt Ordinary Shares issuable upon the exercise of the New Opioid Warrants) and the
New Opioid Warrants in exchange for Claims pursuant to Article III of the Plan and the Confirmation
Order and, where applicable, in accordance with the terms of the Scheme of Arrangement and the
Confirmation Order shall be exempt from, among other things, the registration requirements of Section
5 of the Securities Act pursuant to section 1145 of the Bankruptcy Code. Any and all such New
Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon exercise
of the New Opioid Warrants) and New Opioid Warrants so issued under the Plan and, where applicable,
the Scheme of Arrangement, will be freely tradable under the Securities Act by the recipients thereof,
subject to: (1) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of
an underwriter in Section 2(a)(11) of the Securities Act, and compliance with any applicable state or
foreign securities laws, if any, and any rules and regulations of the SEC, if any, applicable at the time of
any future transfer of such Securities or instruments; (2) the restrictions, if any, on the transferability of
such Securities and instruments; and (3) any other applicable regulatory approval.

The Reorganized Debtors need not provide any further evidence other than the Plan, the Confirmation
Order, the Scheme of Arrangement, or the Irish Confirmation Order with respect to the treatment of the
New Mallinckrodt Ordinary Shares or New Opioid Warrants under applicable securities laws.

Notwithstanding anything to the contrary in the Plan, no Person or Entity (including, for the avoidance
of doubt, DTC) shall be entitled to require a legal opinion regarding the validity of any transaction

                                                     151
             Case 20-12522-JTD          Doc 2917       Filed 06/18/21        Page 163 of 835




contemplated by the Plan, including, for the avoidance of doubt, whether the Takeback Second Lien
Notes, the Cram-Down First Lien Notes or Cram-Down Second Lien Notes (if any), the New
Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon exercise
of the New Opioid Warrants), and the New Opioid Warrants are exempt from registration and/or eligible
for DTC book-entry delivery, settlement, and depository services. All such Persons and Entities
including DTC shall be required to accept and conclusively rely upon the Plan, the Confirmation Order,
the Scheme of Arrangement, or the Irish Confirmation Order in lieu of a legal opinion regarding whether
the Takeback Second Lien Notes, the New Mallinckrodt Ordinary Shares (including any New
Mallinckrodt Ordinary Shares issuable upon exercise of the New Opioid Warrants), and the New Opioid
Warrants are exempt from registration and/or eligible for DTC book-entry delivery, settlement, and
depository services.

        B.       Corporate Governance and Management of the Reorganized Debtors

                 1.      Debtors’ Organizational Matters

Article IV.C of the Plan (“Corporate Existence”) provides that, except as otherwise provided in the Plan,
each Debtor shall continue to exist after the Effective Date as a separate corporate Entity, limited liability
company, partnership, or other form, as the case may be, with all the powers of a corporation, limited
liability company, partnership, or other form, as the case may be, pursuant to the applicable law in the
jurisdiction in which each Debtor is incorporated or formed and pursuant to the respective memorandum
and articles of association, certificate of incorporation and bylaws (or other formation documents) in
effect prior to the Effective Date, except to the extent such memorandum and articles of association,
certificate of incorporation and bylaws (or other formation documents) are amended by the Plan, by the
Debtors, or otherwise, and to the extent such documents are amended, such documents are deemed to be
amended pursuant to the Plan and require no further action or approval (other than any requisite filings
required under applicable state, provincial, or federal law).

Article IV.E of the Plan (“Indemnification Provisions in Organizational Documents”) provides that as
of the Effective Date, each Reorganized Debtor’s memorandum and articles of association, bylaws, and
other New Governance Documents shall, to the fullest extent permitted by applicable law, provide for
the indemnification, defense, reimbursement, exculpation, and/or limitation of liability of, and
advancement of fees and expenses to, current and former managers, directors, officers, equity holders,
members, employees, accountants, investment bankers, attorneys, other professionals, or agents of the
Debtors and such current and former managers’, directors’, officers’, equity holders’, members’,
employees’, accountants’, investment bankers’, attorneys’, other professionals’ and agents’ respective
Affiliates to the same extent as set forth in the Indemnification Provisions, against any claims or causes
of action whether direct or derivative, liquidated or unliquidated, fixed, or contingent, disputed or
undisputed, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted.
None of the Reorganized Debtors shall amend and/or restate its memorandum and articles of association,
certificate of incorporation, bylaws, or similar organizational document after the Effective Date to
terminate or adversely affect, in relation to conduct occurring prior to the Effective Date, (1) any of the
Indemnification Provisions or (2) the rights of such current and former managers, directors, officers,
equity holders, members, employees, or agents of the Debtors and such current and former managers’,
directors’, officers’, equity holders’, members’, employees’, and agents’ respective Affiliates referred to
in the immediately preceding sentence.

Article IV.K of the Plan (“Organizational Documents”) provides that, subject to Articles IV.E and IV.F
of the Plan, the Reorganized Debtors shall enter into such agreements and amend their corporate
governance documents to the extent necessary to implement the terms and provisions of the Plan.
Without limiting the generality of the foregoing, as of the Effective Date, each of the Reorganized
Debtors shall be governed by the New Governance Documents applicable to it. From and after the

                                                     152
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 164 of 835




Effective Date, the organizational documents of each of the Reorganized Debtors will comply with
section 1123(a)(6) of the Bankruptcy Code, as applicable. On or immediately before the Effective Date,
each Reorganized Debtor will file its New Governance Documents with the applicable Secretary of State
and/or other applicable authorities in its jurisdiction of incorporation or formation in accordance with
applicable laws of its jurisdiction of incorporation or formation, to the extent required for such New
Governance Documents to become effective.

                2.       Directors and Officers of the Reorganized Debtors

Article IV.M.1 of the Plan (“Directors and Officers of the Reorganized Debtors – The Reorganized
Board”) provides that, prior to the Effective Date, the Debtors will undertake any necessary or advisable
steps to have the Reorganized Board in place immediately prior to the Effective Date. The occurrence of
the Effective Date will serve as ratification of the appointment of the Reorganized Board.

The Reorganized Board will initially consist of at least seven (7) members, which shall be comprised of
the Chief Executive Officer of the Reorganized Debtors, and six (6) other directors, which shall be
designated by the Required Supporting Unsecured Noteholders; provided, that, the members of the
Reorganized Board, other than the Reorganized Debtors’ Chief Executive Officer, shall be independent
under applicable listing standards and shall be independent of the Supporting Unsecured Noteholders,
unless the Governmental Plaintiff Ad Hoc Committee, the MSGE Group, and the Debtors otherwise
consent; provided, further, that if the Reorganized Board is not fully selected by the Effective Date then
the members of the Reorganized Board selected as of the Effective Date shall select the remaining
members in consultation with the Required Supporting Unsecured Noteholders. Pursuant to section
1129(a)(5) of the Bankruptcy Code, the Debtors will, to the extent reasonably practicable, disclose in
advance of Confirmation the identity and affiliations of any person proposed to serve on the Reorganized
Board. The occurrence of the Effective Date shall have no effect on the composition of the board of
directors or managers of each of the subsidiary Debtors.

                3.       Senior Management

Article IV.M.2 of the Plan (“Directors and Officers of the Reorganized Debtors – Senior
Management”) provides that the existing officers of the Debtors as of the Effective Date shall remain in
their current capacities as officers of the Reorganized Debtors, subject to the ordinary rights and powers
of the Reorganized Board to remove or replace them in accordance with the New Governance Documents
and any applicable employment agreements that are assumed pursuant to the Plan.

                4.       Management Incentive Plan

Article IV.M.3 the Plan (“Directors and Officers of the Reorganized Debtors – Management Incentive
Plan”) provides that, on the Effective Date, equity grants under the Management Incentive Plan shall be
reserved for management, key employees, and directors of the Reorganized Debtors.

                5.       Disinterested Managers

Article IV.M.4 the Plan (“Directors and Officers of the Reorganized Debtors – Disinterested
Managers”) provides that, following the Effective Date, the Disinterested Managers shall retain authority
solely with respect to matters related to Professional Fee Claim requests by Professionals acting at their
authority and direction in accordance with the terms of the Plan. The Disinterested Managers, in such
capacity, shall not have any of their respective privileged and confidential documents, communications
or information transferred (or deemed transferred) to the Reorganized Debtors.




                                                   153
             Case 20-12522-JTD          Doc 2917       Filed 06/18/21       Page 165 of 835




                 6.      Directors and Officers Insurance Policies

Article IV.N the Plan (“Directors and Officers Insurance Policies”) provides that, on the Effective Date
the Reorganized Debtors will be deemed to have assumed all of the Debtors’ D&O Liability Insurance
Policies pursuant to sections 105 and 365(a) of the Bankruptcy Code, without the need for any further
notice to or action, order, or approval of the Bankruptcy Court. Confirmation of the Plan will not
discharge, impair, or otherwise modify any indemnity obligations assumed by the foregoing assumption
of the D&O Liability Insurance Policies, and each such indemnity obligation will be deemed and treated
as an Executory Contract that has been assumed by the Debtors under the Plan as to which no Proof of
Claim need be Filed. The Debtors and, after the Effective Date, the Reorganized Debtors shall retain the
ability to supplement such D&O Liability Insurance Policies as the Debtors or Reorganized Debtors, as
applicable, may deem necessary and in consultation with the Required Supporting Unsecured
Noteholders. For the avoidance of doubt, entry of the Confirmation Order will constitute the Bankruptcy
Court’s approval of the Reorganized Debtors’ foregoing assumption of each of the D&O Liability
Insurance Policies.

In addition, subject to the Additional Insurance Rights, on or after the Effective Date, none of the
Reorganized Debtors shall terminate or otherwise reduce the coverage under any D&O Liability
Insurance Policies in effect on or prior to the Effective Date, with respect to conduct occurring prior
thereto, and all current and former directors, officers, and managers of the Debtors who served in such
capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such policies
for the full term of such policies regardless of whether such current and former directors, officers, and
managers remain in such positions after the Effective Date, all in accordance with and subject in all
respects to the terms and conditions of the D&O Liability Insurance Policies, which shall not be altered.

                                            VII.
                                  CONFIRMATION OF THE PLAN

The Bankruptcy Court will confirm the Plan only if all of the requirements of section 1129 of the
Bankruptcy Code are met. Among the requirements for confirmation are that the Plan is (A) accepted by
all impaired Classes of Claims and Interests entitled to vote or, if rejected or deemed rejected by an
impaired Class, that the Plan “does not discriminate unfairly” and is “fair and equitable” as to such Class;
(B) in the “best interests” of the holders of Claims and Interests impaired under the Plan; and (C) feasible.

        A.       Confirmation Hearing

Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a confirmation hearing
upon appropriate notice to all required parties. The Confirmation Hearing is scheduled for September
21, 2021 at 10:00 a.m. The Confirmation Hearing may be adjourned from time to time by the
Bankruptcy Court without further notice except for the announcement of the continuation date made at
the Confirmation Hearing, at any subsequent continued Confirmation Hearing, or pursuant to a notice
filed on the docket for the Chapter 11 Cases.

Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to the confirmation
of a plan. Any objection to confirmation of the Plan must be in writing, must conform to the Bankruptcy
Rules and the Local Bankruptcy Rules, must set forth the name of the objector, the nature and amount of
Claims or Interests held or asserted by the objector against the Debtors’ estates or properties, the basis
for the objection and the specific grounds therefore, and must be filed with the Bankruptcy Court, with
a copy to the chambers of Judge John T. Dorsey, together with proof of service thereof, and served upon
all of the below parties.



                                                    154
         Case 20-12522-JTD           Doc 2917     Filed 06/18/21      Page 166 of 835




                                              Debtors
                                           Mallinckrodt plc
                                     c/o ST Shared Services LLC
                                         675 McDonnell Blvd.
                                     Hazelwood, Missouri 63042
                                           Attn: Mark Casey
           Counsel to the Debtors                      Counsel to the Supporting Governmental
                                                            Plaintiff Ad Hoc Committee
Richards, Layton & Finger, P.A.                  Kramer Levin Naftalis & Frankel LLP
One Rodney Square                                1177 Avenue of the Americas
920 N. King Street                               New York, New York 10036
Wilmington, Delaware 19801                       Attn: Kenneth Eckstein and Daniel Eggermann
Attn: Mark Collins, Michael Merchant,
                                                 and
Amanda Steele, and Brendan Schlauch
                                                 Brown Rudnick LLP
and
                                                 Seven Times Square
Latham & Watkins LLP                             New York, New York 10019
1271 Avenue of the Americas                      Attn: David Molton and Steven Pohl
New York, New York 10020
                                                 and
Attn: George Davis, George Klidonas, Anu
Yerramalli, and Andrew Sorkin                    Gilbert LLP
                                                 700 Pennsylvania Ave, SE, Suite 400
and
                                                 Washington, D.C. 20003
Latham & Watkins LLP                             Attn: Scott Gilbert and Kami Quinn
355 South Grand Avenue, Suite 100
Los Angeles, California 90071
Attn: Jeffrey Bjork
and
Latham & Watkins LLP
330 North Wabash Avenue, Suite 2800,
Chicago, Illinois 60611
Attn: Jason Gott
and
Wachtell, Lipton, Rosen & Katz
51 West 52nd Street
New York, NY 10019
Attn: Philip Mindlin and Neil M. Snyder


            United States Trustee                               Counsel to the Ad Hoc
                                                          First Lien Term Lender Group
Office of the United States Trustee for the      Gibson, Dunn & Crutcher LLP
District of Delaware                             200 Park Avenue New York, New York 10166
844 King Street, Suite 2207                      Attn: Scott J. Greenberg and Michael J. Cohen
Wilmington, Delaware 19801
Attn: Jane M. Leamy, Esq.                        and

                                                 Troutman Pepper Hamilton Sanders LLP

                                                155
              Case 20-12522-JTD       Doc 2917       Filed 06/18/21      Page 167 of 835




                                                   Hercules Plaza, Suite 5100
                                                   1313 N. Market Street, P.O. Box 1709
                                                   Wilmington, Delaware 19899-1709
                                                   Attn: David M. Fournier and Kenneth A. Listwak
       Counsel to the Supporting Unsecured                   Counsel to the MSGE Group
                    Noteholders
 Paul, Weiss, Rifkind, Wharton & Garrison          Caplin & Drysdale, Chartered, Seitz, Van Ogtrop
 LLP                                               & Green, P.A
 1285 Avenue of the Americas                       One Thomas Circle, NW, Suite 1100 |
 New York, NY 10019                                Washington, DC 20005
 Attn: Andrew N. Rosenberg, Alice Belisle          Attn: Kevin Maclay and Todd Phillips
 Eaton, Claudia R. Tobler and Neal Paul
 Donnelly
                              Counsel to the Supporting Term Lenders
 Gibson, Dunn & Crutcher LLP
 200 Park Avenue
 New York, New York 10166-0193
 Attention: Scott J. Greenberg and Michael J. Cohen
                                         Counsel to the FCR
 Young Conaway Stargatt & Taylor, LLP
 Rodney Square, 1000 North King Street
 Wilmington, DE 19801
 Attn: James L. Patton, Jr.

 and

 Frankel Wyron LLP
 2101 L St., NW, Suite 800
 Washington, DC 20037
 Attn: Richard Wyron

         B.      Confirmation

At the Confirmation Hearing, the Bankruptcy Court will determine whether the requirements of section
1129 of the Bankruptcy Code have been satisfied with respect to the Plan.

                 1.      Confirmation Requirements

Confirmation of a chapter 11 plan under section 1129(a) of the Bankruptcy Code requires, among other
things, that:

        the plan complies with the applicable provisions of the Bankruptcy Code;

        the proponent of the plan has complied with the applicable provisions of the Bankruptcy Code;

        the plan has been proposed in good faith and not by any means forbidden by law;

        any plan payment made or to be made by the proponent under the plan for services or for costs
         and expenses in, or in connection with, the chapter 11 case, or in connection with the plan and

                                                  156
          Case 20-12522-JTD             Doc 2917        Filed 06/18/21       Page 168 of 835




        incident to the case, has been approved by, or is subject to the approval of, the Bankruptcy Court
        as reasonable;

       the proponent has disclosed the identity and affiliations of any individual proposed to serve, after
        confirmation of the plan, as a director, officer, or voting trustee of the debtor, an affiliate of the
        debtor participating in the plan with the debtor, or a successor to the debtor under the plan. The
        appointment to, or continuance in, such office by such individual must be consistent with the
        interests of creditors and equity security holders and with public policy and the proponent must
        have disclosed the identity of any insider that the reorganized debtor will employ or retain, and
        the nature of any compensation for such insider;

       with respect to each impaired class of claims or interests, either each holder of a claim or interest
        of such class has accepted the plan, or will receive or retain under the plan, on account of such
        claim or interest, property of a value, as of the effective date of the plan, that is not less than the
        amount that such holder would receive or retain if the debtor were liquidated on such date under
        chapter 7 of the Bankruptcy Code;

       subject to the “cramdown” provisions of section 1129(b) of the Bankruptcy Code, each class of
        claims or interests has either accepted the plan or is not impaired under the plan;

       except to the extent that the holder of a particular claim has agreed to a different treatment of
        such claim, the plan provides that allowed administrative expenses and priority claims will be
        paid in full on the effective date (except that holders of priority tax claims may receive deferred
        Cash payments of a value, as of the effective date of the plan, equal to the allowed amounts of
        such claims and that holders of priority tax claims may receive on account of such claims
        deferred Cash payments, over a period not exceeding 5 years after the date of assessment of such
        claims, of a value, as of the effective date, equal to the allowed amount of such claims);

       if a class of claims is impaired, at least one (1) impaired class of claims has accepted the plan,
        determined without including any acceptance of the plan by any insider holding a claim in such
        class; and

       confirmation of the plan is not likely to be followed by the liquidation, or the need for further
        financial reorganization, of the debtor or any successor to the debtor under the plan, unless such
        liquidation or reorganization is proposed in the plan.

The Debtors believe that:

       the Plan satisfies all of the statutory requirements of chapter 11 of the Bankruptcy Code;

       the Debtors, as the proponents of the Plan, have complied or will have complied with all of the
        requirements of chapter 11 of the Bankruptcy Code; and

       the Plan has been proposed in good faith.

Set forth below is a summary of certain relevant statutory confirmation requirements.

                         a.       Acceptance

Claims in Classes 2(b) (unless otherwise Unimpaired in accordance with the Plan), 2(c) (unless otherwise
Unimpaired in accordance with the Plan), 3 (unless otherwise Unimpaired in accordance with the Plan),

                                                     157
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 169 of 835




4 (unless otherwise Unimpaired in accordance with the Plan), 5, 6(a)-(f), 7, 8(a)-(d), 9(a)-(h), and 10 are
Impaired under the Plan and are entitled to vote to accept or reject the Plan; Classes 1 and 2(a) are
Unimpaired and are therefore conclusively deemed to accept the Plan; Classes 13 and 14 are Impaired
and will receive no distributions under the Plan and therefore are conclusively deemed to reject the Plan;
Claims and Interests in Classes 11 and 12 will either be Unimpaired or Impaired and receive no
distributions, and will be conclusively deemed to accept or to reject the Plan, as applicable.

With respect to any Class of Claims or Interests that rejects (or is deemed to reject) the Plan, the Debtors
will be required to demonstrate that the plan satisfies the requirements for nonconsensual confirmation
under section 1129(b) of the Bankruptcy Code (which are discussed immediately below). While the
Debtors believe the Plan satisfies such requirements with respect to all Classes of Claims and Interests
that may reject the Plan, there can be no assurance that the Bankruptcy Court will determine that the Plan
meets such requirements. The Debtors also will seek confirmation of the Plan over the objection of any
individual holders of Claims who are members of an accepting Class.

                         b.       Unfair Discrimination and Fair and Equitable Test

To obtain nonconsensual confirmation of the Plan, it must be demonstrated to the Bankruptcy Court that
the Plan “does not discriminate unfairly” and is “fair and equitable” with respect to each impaired, non-
accepting Class. The Bankruptcy Code provides a non-exclusive definition of the phrase “fair and
equitable” for, respectively, secured creditors, unsecured creditors and holders of equity interests. In
general, section 1129(b) of the Bankruptcy Code permits confirmation notwithstanding non-acceptance
by an impaired class if that class and all junior classes are treated in accordance with the “absolute
priority” rule, which requires that the dissenting class be paid in full before a junior class may receive
anything under the plan.

A chapter 11 plan does not “discriminate unfairly” with respect to a non-accepting class if the value of
the Cash and/or securities to be distributed to the non-accepting class is equal to, or otherwise fair when
compared to, the value of the distributions to other classes whose legal rights are similar to those of the
non-accepting class. The Debtors believe the Plan will not discriminate unfairly against any non-
accepting Class.

                         c.       Feasibility; Financial Projections

The Bankruptcy Code permits a plan to be confirmed only if confirmation is not likely to be followed by
liquidation or the need for further financial reorganization of the Debtors or any successor to the Debtors,
unless such liquidation or reorganization is proposed in the Plan. For purposes of determining whether
the Plan meets this requirement, the Debtors have analyzed the ability of the Reorganized Debtors to
meet their obligations under the Plan and retain sufficient liquidity and capital resources to conduct their
business. Under the terms of the Plan, the Allowed Claims potentially being paid in whole or in part in
Cash are the Other Secured Claims, General Unsecured Claims, Trade Claims, Opioid Claims, and the
Settled Federal/State Acthar Claims. As shown in Exhibit D to this Disclosure Statement, the Debtors
anticipate emerging with over $1 billion in cash on the balance sheet to be used to satisfy over $800
million in cash payments on the Effective Date, leaving the Reorganized Debtors with approximately
$200 million cash on hand. Along with access to up to approximately $200 million New AR Revolving
Facility and cash generation post-Effective Date, the Reorganized Debtors expect sufficient liquidity to
address its post-emergence obligations and to also deleverage over time.

In connection with developing the Plan, the Debtors have prepared detailed financial projections (the
“Financial Projections”), as filed at Docket No. 2285-1 and set forth in Exhibit D hereto, which
demonstrate among other things, the financial feasibility of the Plan. The Financial Projections indicate,
on a pro forma basis, that the projected level of Cash flow is sufficient to satisfy all of the Reorganized

                                                    158
             Case 20-12522-JTD                  Doc 2917           Filed 06/18/21            Page 170 of 835




Debtors’ future debt and debt related interest cost, research and development, capital expenditure and
other obligations during this period.38 Accordingly, the Debtors believe that confirmation of the Plan is
not likely to be followed by the liquidation or further reorganization of the Reorganized Debtors.

THE FINANCIAL PROJECTIONS, INCLUDING THE UNDERLYING ASSUMPTIONS,
SHOULD BE CAREFULLY REVIEWED IN EVALUATING THE PLAN. WHILE
MANAGEMENT BELIEVES THE ASSUMPTIONS UNDERLYING THE FINANCIAL
PROJECTIONS, WHEN CONSIDERED ON AN OVERALL BASIS, WERE REASONABLE
WHEN PREPARED IN LIGHT OF CURRENT CIRCUMSTANCES AND EXPECTATIONS,
NO ASSURANCE CAN BE GIVEN THAT THE FINANCIAL PROJECTIONS WILL BE
REALIZED. THE DEBTORS MAKE NO REPRESENTATION OR WARRANTY AS TO THE
ACCURACY OF THE FINANCIAL PROJECTIONS. THE PROJECTIONS ARE SUBJECT TO
A NUMBER OF RISKS, UNCERTAINTIES AND ASSUMPTIONS, INCLUDING THOSE
DESCRIBED BELOW UNDER ARTICLE IX. IN LIGHT OF THESE RISKS AND
UNCERTAINTIES, ACTUAL RESULTS COULD DIFFER MATERIALLY FROM THOSE
ANTICIPATED IN THE FINANCIAL PROJECTIONS.

The Debtors prepared the Financial Projections based upon certain assumptions that they believe to be
reasonable under the circumstances. The Financial Projections have not been examined or compiled by
independent accountants. Moreover, such information has not been prepared in accordance with
accounting principles generally accepted in the United States (“GAAP”). The Debtors make no
representation as to the accuracy of the Financial Projections or their ability to achieve the projected
results. Many of the assumptions on which the Financial Projections are based are inherently subject to
significant economic and competitive uncertainties and contingencies beyond the control of the Debtors
and their management. Inevitably, some assumptions will not materialize and unanticipated events and
circumstances may affect the actual financial results. Therefore, the actual results achieved may vary
from the projected results and the variations may be material. All holders of Claims that are entitled to
vote to accept or reject the Plan are urged to examine carefully all of the assumptions on which the
Financial Projections are based in connection with their evaluation of the Plan.

                    2.         Valuation of the Debtors

In conjunction with formulating the Plan and satisfying its obligations under section 1129 of the
Bankruptcy Code, the Debtors determined that it was necessary to estimate the post-confirmation going
concern value of the Reorganized Debtors, which estimate is filed at Docket No. 2285-3 and set forth in
Exhibit F attached to this Disclosure Statement (the “Valuation Analysis”). The value of the
Reorganized Debtors’ equity is included in the Valuation Analysis (see Valuation Analysis at 3) as well
as the assumptions used to calculate that value. The Valuation Analysis should be considered in
conjunction with the risk factors discussed in Section IX of this Disclosure Statement, entitled “Risk
Factors to Consider Before Voting,” and the Financial Projections. The Valuation Analysis was
conducted as of April 16, 2021, and is based on data and information as of that date. The Valuation
Analysis assumes the Effective Date occurs on September 24, 2021. The Valuation Analysis is subject
to various important qualifiers and assumptions that are filed at Docket No. 2285-3 and set forth in
Exhibit F, and holders of Claims and Interests should carefully review the information at Docket No.
2285-3 and set forth in Exhibit F in its entirety.

Various parties have asserted that the Debtors’ Financial Projections and Valuation Analysis should be
split between the Specialty Brands Debtors and the Specialty Generics Debtors. The Debtors do not

38
     The Financial Projections were prepared assuming the First Lien Notes Makewhole Claims and Second Lien Notes Makewhole Claims
     are not Allowed. To the extent these Claims are Allowed, the Debtors would issue Cram-Down First Lien Notes and Cram-Down Second
     Lien Notes that would lead to interest savings of up to $30 million per year.


                                                               159
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 171 of 835




believe that doing so is necessary to make an informed vote on the Plan or to Confirmation because the
Plan’s distributions to Class 6 and Class 7 are not reliant in any way on the valuation or projections of
the two businesses separately.

                 3.      Best Interests Test

The “best interests” test requires that the Bankruptcy Court find either:

       that all members of each impaired class have accepted the plan; or

       that each holder of an allowed claim or interest in each impaired class of claims or interests will
        receive or retain under the plan on account of such claim or interest, property of a value, as of
        the effective date of the plan, that is not less than the amount such holder would receive or retain
        if the debtor were liquidated under chapter 7 of the Bankruptcy Code on such date.

To determine what the holders of Claims and Interests in each impaired Class would receive if the
Debtors were liquidated under chapter 7 on the Effective Date, the Bankruptcy Court must determine the
dollar amount that would have been generated from the liquidation of the Debtors’ assets and properties
in a liquidation under chapter 7 of the Bankruptcy Code.

The Cash that would be available for satisfaction of Claims and Interests would consist of the proceeds
from the disposition of the assets and properties of the Debtors, augmented by the existing Cash held by
the Debtors. Such Cash amount would be: (i) reduced by the amount of Allowed First Lien Revolving
Credit Facility Claims, Allowed 2024 First Lien Term Loan Claims, Allowed 2025 First Lien Term Loan
Claims, Allowed First Lien Notes Claims, Allowed Second Lien Notes Claims, and Allowed Other
Secured Claims; (ii) second, reduced by the costs and expenses of liquidation under chapter 7 (including
the fees payable to a chapter 7 trustee and the fees payable to professionals that such trustee might
engage) and such additional administrative claims that might result from the termination of the Debtors’
business; and (iii) third, reduced by the amount of the General Administrative Claims, Professional Fee
Claims, Priority Tax Claims, and Other Priority Claims. Any remaining net Cash would be allocated to
creditors and stakeholders in strict order of priority contained in section 726 of the Bankruptcy Code.
Additional claims would arise by reason of the breach or rejection of obligations under unexpired leases
and executory contracts.

To determine if the Plan is in the best interests of each impaired Class, the present value of the
distributions from the proceeds of a liquidation of the Debtors’ assets and properties, after subtracting
the amounts discussed above, must be compared with the value of the property offered to each such Class
of Claims under the Plan.

After considering the effects that a chapter 7 liquidation would have on the ultimate proceeds available
for distribution to creditors, the Debtors have determined that confirmation of the Plan will provide each
holder of an Allowed Claim with a recovery that is not less than such holder would have received
pursuant to the liquidation of the Debtors under chapter 7.

Moreover, the Debtors believe that the value of distributions to each Class of Allowed Claims in a chapter
7 case would be materially less than the value of distributions under the Plan and any distribution in a
chapter 7 case would not occur for a substantial period of time. It is likely that a liquidation of the
Debtors’ assets could take close to or more than a year to complete, and distribution of the proceeds of
the liquidation could be delayed for up to nine months after the completion of such liquidation to resolve
claims and prepare for distributions. In the likely event litigation was necessary to resolve claims asserted
in the chapter 7 case, the delay could be prolonged.


                                                    160
             Case 20-12522-JTD           Doc 2917        Filed 06/18/21       Page 172 of 835




The Debtors, with the assistance of their financial advisors and legal counsel, have prepared a liquidation
analysis that summarizes the Debtors’ best estimate of recoveries by Holders of Claims and Interests in
the event of liquidation on or around September 30, 2021 (the “Liquidation Analysis”), which is filed at
Docket No. 2285-2 and set forth in Exhibit E hereto. The Liquidation Analysis provides: (a) a summary
of the liquidation values of the Debtors’ assets, assuming a chapter 7 liquidation in which a trustee
appointed by the Bankruptcy Court would liquidate the assets of the Debtors’ estates, and (b) the expected
recoveries of Holders of Claims and Interests under the Plan.

The Liquidation Analysis contains a number of estimates and assumptions that, although developed and
considered reasonable by the Debtors’ management, are inherently subject to significant economic and
competitive uncertainties and contingencies beyond the control of the Debtors and their management.
The Liquidation Analysis also is based on assumptions with regard to liquidation decisions that are
subject to change and significant economic and competitive uncertainties and contingencies beyond the
control of the Debtors and their management. Accordingly, the values reflected might not be realized.
The chapter 7 liquidation period is assumed to last 12 to 21 months following the appointment of a
chapter 7 trustee, allowing for, among other things, the discontinuation and wind-down of operations,
the sale of the operations as going concerns or as individual assets, the collection of receivables and the
finalization of tax affairs. All holders of Claims that are entitled to vote to accept or reject the Plan are
urged to examine carefully all of the assumptions on which the Liquidation Analysis is based in
connection with their evaluation of the Plan.

        C.       Classification of Claims and Interests

The Debtors believe that the Plan complies with the classification requirements of the Bankruptcy Code,
which require that a chapter 11 plan place each claim and interest into a class with other claims or
interests that are “substantially similar.”

        D.       Consummation

The Plan will be consummated on the Effective Date. The Effective Date will occur on the first Business
Day on which the conditions precedent to the effectiveness of the Plan (see Article V.H hereof and Article
VIII of the Plan) have been satisfied or waived pursuant to the Plan. The Plan is to be implemented
pursuant to its terms, consistent with the provisions of the Bankruptcy Code.

        E.       Exemption from Certain Transfer Taxes

To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer from a Debtor to
a Reorganized Debtor or to any Entity pursuant to, in contemplation of, or in connection with the Plan
or pursuant to: (1) the issuance, distribution, transfer, or exchange of any debt, securities, or other interest
in the Debtors or the Reorganized Debtors; (2) the creation, modification, consolidation, or recording of
any mortgage, deed of trust, or other security interest, or the securing of additional indebtedness by such
or other means; (3) the making, assignment, or recording of any lease or sublease; or (4) the making,
delivery, or recording of any deed or other instrument of transfer under, in furtherance of, or in connection
with, the Plan, including any deeds, bills of sale, assignments, or other instrument of transfer executed
in connection with any transaction arising out of, contemplated by, or in any way related to the Plan,
shall not be subject to any U.S. federal, state, or local document recording tax, stamp tax, conveyance
fee, intangibles, or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform
Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax or
governmental assessment, and the appropriate U.S. state or local governmental officials or agents shall
forego the collection of any such tax or governmental assessment and accept for filing and recordation
any of the foregoing instruments or other documents without the payment of any such tax or
governmental assessment.

                                                     161
             Case 20-12522-JTD          Doc 2917       Filed 06/18/21       Page 173 of 835




        F.       Dissolution of Committees

On the Effective Date, the Official Committee of Unsecured Creditors and the Official Committee of
Opioid-Related Claimants shall be dissolved and the members of each of the Official Committee of
Unsecured Creditors and the Official Committee of Opioid-Related Claimants and each of their legal,
consulting, financial, and/or other professional advisors shall be deemed released of all their duties,
responsibilities, and obligations in connection with the Chapter 11 Cases and its implementation;
provided, however, that following the Effective Date, the Official Committee of Unsecured Creditors
and the Official Committee of Opioid-Related Claimants shall continue in existence and have standing
and a right to be heard for the following limited purposes: (a) applications, and any relief related thereto,
for compensation by Professional Persons and requests for allowance of fees and/or expenses under
section 503(b) of the Bankruptcy Code, and (b) any appeals of, or related to, the Confirmation Order or
other appeal to which the Official Committee of Unsecured Creditors or the Official Committee of
Opioid-Related Claimants is a party.

        G.       Modification of Plan

Subject to the terms of the Restructuring Support Agreement and the limitations contained in the Plan,
the Debtors or Reorganized Debtors reserve the right to, in accordance with the Bankruptcy Code, the
Bankruptcy Rules, and the Restructuring Support Agreement: (1) amend or modify the Plan prior to the
entry of the Confirmation Order, including amendments or modifications to satisfy section 1129(b) of
the Bankruptcy Code; (2) amend or modify the Plan after the entry of the Confirmation Order in
accordance with section 1127(b) of the Bankruptcy Code and the Restructuring Support Agreement upon
order of the Bankruptcy Court; and (3) remedy any defect or omission or reconcile any inconsistency in
the Plan in such manner as may be necessary to carry out the purpose and intent of the Plan upon order
of the Bankruptcy Court.

        H.       Effect of Confirmation on Modifications

Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require
additional disclosure or re-solicitation under Bankruptcy Rule 3019.

        I.       Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur

Subject to the conditions to the Effective Date, the Debtors reserve the right, subject to the terms of the
Restructuring Support Agreement, to revoke or withdraw the Plan prior to the entry of the Confirmation
Order and to File subsequent Plans of reorganization. If the Debtors revoke or withdraw the Plan, or if
entry of the Confirmation Order or the Effective Date does not occur, or if the Restructuring Support
Agreement terminates in accordance with its terms prior to the Effective Date, then: (1) the Plan shall be
null and void in all respects; (2) any settlement or compromise embodied in the Plan, assumption or
rejection of executory contracts or leases effected by the Plan, and any document or agreement executed
pursuant hereto shall be deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute
a waiver or release of any claims by or against, or any Equity Interests in, such Debtor or any other
Entity; (b) prejudice in any manner the rights of the Debtors or any other Entity; or (c) constitute an
admission of any sort by the Debtors or any other Entity; provided, that any Restructuring Expenses that
have been paid as of the date of revocation or withdrawal of the Plan shall remain paid and shall not be
subject to disgorgement or repayment without further order of the Bankruptcy Court.




                                                    162
             Case 20-12522-JTD         Doc 2917       Filed 06/18/21        Page 174 of 835




        J.      Post-Confirmation Jurisdiction of the Bankruptcy Court

Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, except to
the extent set forth in the Plan, the Bankruptcy Court shall retain exclusive jurisdiction over all matters
arising out of, or related to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of
the Bankruptcy Code, including jurisdiction to:

               except as provided in the Opioid MDT II Documents with respect to Opioid Claims,
                allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured
                or unsecured status, or amount of any Claim or Interest, including the resolution of any
                request for payment of any Administrative Claim and the resolution of any and all
                objections to the secured or unsecured status, priority, amount, or allowance of Claims
                or Interests;

               decide and resolve all matters related to the granting and denying, in whole or in part,
                any applications for allowance of compensation or reimbursement of expenses to
                Retained Professionals authorized pursuant to the Bankruptcy Code or the Plan;

               resolve any matters related to: (1) the assumption, assumption and assignment, or
                rejection of any Executory Contract or Unexpired Lease to which a Debtor is party o
                with respect to which a Debtor may be liable and to hear, determine, and, if necessary,
                liquidate, any Cure Costs arising therefrom, including Cure Costs pursuant to section
                365 of the Bankruptcy Code; (2) any potential contractual obligation under any
                Executory Contract or Unexpired Lease that is assumed; and (3) any dispute regarding
                whether a contract or lease is or was executory or expired;

               except as provided in the Opioid MDT II Documents with respect to Opioid Claims,
                ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the
                provisions of the Plan and the Confirmation Order;

               adjudicate, decide, or resolve any motions, adversary proceedings, contested, or litigated
                matters, and any other matters, and grant or deny any applications involving a Debtor
                that may be pending on the Effective Date;

               adjudicate, decide, or resolve any and all matters related to Causes of Action;

               adjudicate, decide, or resolve any and all matters related to section 1141 of the
                Bankruptcy Code;

               except as provided in the Opioid MDT II Documents with respect to Opioid Claims,
                resolve any cases, controversies, suits, or disputes that may arise in connection with any
                Claims, including claim objections, allowance, disallowance, estimation, and
                distribution;

               enter and implement such orders as may be necessary or appropriate to execute,
                implement, or consummate the provisions of the Plan, the Confirmation Order, and all
                contracts, instruments, releases, and other agreements or documents created in
                connection with the Plan, the Confirmation Order, or the Disclosure Statement,
                including the Restructuring Support Agreement;

               enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
                1146(a) of the Bankruptcy Code;

                                                   163
    Case 20-12522-JTD        Doc 2917        Filed 06/18/21       Page 175 of 835




      resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
       connection with the interpretation or enforcement of the Plan, the Confirmation Order,
       or any contract, instrument, release or other agreement or document that is entered into
       or delivered pursuant to the Plan, the Confirmation Order, or any Entity’s rights arising
       from or obligations incurred in connection with the Plan or the Confirmation Order;

      issue injunctions, enter and implement other orders or take such other actions as may be
       necessary or appropriate to restrain interference by any Entity with enforcement of the
       Plan or the Confirmation Order;

      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
       releases, injunctions, and other provisions contained in the Plan and enter such orders as
       may be necessary or appropriate to implement such releases, injunctions, and other
       provisions;

      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
       repayment or return of distributions and the recovery of additional amounts owed by the
       Holder of a Claim or Interest for amounts not timely repaid;

      enter and implement such orders as are necessary or appropriate if the Confirmation
       Order is for any reason modified, stayed, reversed, revoked, or vacated;

      determine any other matters that may arise in connection with or relate to the Plan, the
       Disclosure Statement, the Confirmation Order, or any contract, instrument, release,
       indenture, or other agreement or document created in connection with the Plan, the
       Confirmation Order, or the Disclosure Statement;

      enter an order or final decree concluding or closing the Chapter 11 Cases;

      except as provided in the Opioid MDT II Documents with respect to Opioid Claims,
       adjudicate any and all disputes arising from or relating to distributions under the Plan;

      consider any modification of the Plan, to cure any defect or omission, or to reconcile any
       inconsistency in any Bankruptcy Court order, including the Confirmation Order;

      determine requests for payment of Claims and Interests entitled to priority pursuant to
       section 507 of the Bankruptcy Code;

      hear and determine disputes arising in connection with the interpretation,
       implementation, or enforcement of the Plan, or the Confirmation Order, including
       disputes arising under agreements, documents, or instruments executed in connection
       with the Plan;

      hear and determine matters concerning state, local, and federal taxes in accordance with
       sections 346, 505, and 1146 of the Bankruptcy Code;

      hear and determine all disputes involving the existence, nature, or scope of the Debtors’
       discharge, including any dispute relating to any liability arising out of the termination of
       employment or the termination of any employee or retiree benefit program, regardless
       of whether such termination occurred prior to or after the Effective Date;




                                          164
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 176 of 835




                hear and determine disputes arising in connection with the interpretation,
                 implementation, or enforcement of the releases, injunctions, and exculpations provided
                 under Article IX of the Plan;

                resolve any disputes concerning whether a Person had sufficient notice of the Chapter
                 11 Cases, the Disclosure Statement, any solicitation conducted in connection with the
                 Chapter 11 Cases, any Claims Bar Date established in the Chapter 11 Cases, or any
                 deadline for responding or objection to a Cure Cost, in each case, for the purpose of
                 determining whether a Claim or Interest is discharged hereunder or for any other
                 purpose;

                enforce all orders previously entered by the Bankruptcy Court; and

                hear any other matter not inconsistent with the Bankruptcy Code, the Plan, or the
                 Confirmation Order;

provided, however, that the Bankruptcy Court shall not retain jurisdiction over disputes concerning
documents contained in the Plan Supplement that have a jurisdictional, forum selection, or dispute
resolution clause that refers disputes to a different court and any disputes concerning documents
contained in the Plan Supplement that contain such clauses shall be governed in accordance with the
provisions of such documents.

Additionally, the Bankruptcy Court will retain jurisdiction to adjudicate, decide, or resolve issues raised
by the Monitor, but such jurisdiction will not be exclusive and the Monitor shall retain the right to seek
relief in all other courts

If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is otherwise
without jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases, including
the matters set forth in Article X of the Plan, the provisions of Article X of the Plan shall have no effect
on and shall not control, limit, or prohibit the exercise of jurisdiction by any other court having competent
jurisdiction with respect to such matter.

Unless otherwise specifically provided in the Plan or in a prior order of the Bankruptcy Court, the
Bankruptcy Court shall have exclusive jurisdiction to hear and determine disputes concerning Claims
against or Interests in the Debtors that arose prior to the Effective Date.

                                 VIII.
      ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN

The Debtors have determined that the Plan is the best alternative available for their successful emergence
from chapter 11. If the Plan is not confirmed and consummated, the alternatives to the Plan are (A)
continuation of the Chapter 11 Cases, which could lead to the filing of an alternative plan of
reorganization and/or a sale of substantially all of the Debtors’ assets, (B) a liquidation under chapter 7
of the Bankruptcy Code, or (C) dismissal of the Chapter 11 Cases, leaving Holders of Claims and
Interests to pursue available non-bankruptcy remedies. These alternatives to the Plan are not likely to
benefit Holders of Claims and Equity Interests.

        A.       Continuation of Chapter 11 Cases

If the Plan is not confirmed, the Debtors (or, if the Debtors’ exclusive period in which to file a plan of
reorganization has expired, any other party in interest) could attempt to formulate a different plan or sell
all or substantially all of their assets outside of a plan. Such a scenario might entail a reorganization and

                                                    165
               Case 20-12522-JTD                   Doc 2917            Filed 06/18/21              Page 177 of 835




continuation of the Debtors’ business, or an orderly liquidation of their assets; in either case, the Debtors
expect that recoveries to their stakeholders would be diminished relative to those available under the
Plan.

          B.         Liquidation under Chapter 7

If no plan can be confirmed, the Chapter 11 Cases may be converted to cases under chapter 7 of the
Bankruptcy Code in which a trustee would be elected or appointed to liquidate the assets of the Debtors
for distribution to their creditors in accordance with the priorities established by the Bankruptcy Code.
The effect a chapter 7 liquidation would have on the recovery of holders of Allowed Claims and Interests
is set forth in the Liquidation Analysis filed at Docket No. 2285-2 and set forth in Exhibit E attached
hereto.

As demonstrated in the Liquidation Analysis, the Debtors believe that liquidation under chapter 7 would
result in smaller distributions to creditors than those provided for in the Plan because of, among other
things, the delay resulting from the conversion of the Chapter 11 Cases to cases under chapter 7, the
additional administrative expenses associated with the appointment of a trustee and the trustee’s retention
of professionals, and the loss in value attributable to an expeditious liquidation of the Debtors’ assets as
required by chapter 7.

          C.         Dismissal of Chapter 11 Cases.

If the Chapter 11 Cases are dismissed, Holders of Claims or Interests would be free to pursue non-
bankruptcy remedies in their attempts to satisfy Claims against or Interests in the Debtors. However, in
that event, Holders of Claims or Interests would be faced with the costs and difficulties of attempting,
each on its own, to recover from a non-operating entity. Accordingly, the Debtors believe that the Plan
will enable all creditors to realize the greatest possible recovery on their respective Claims with the least
delay.

                                                IX.
                             RISK FACTORS TO CONSIDER BEFORE VOTING39

BEFORE VOTING TO ACCEPT OR REJECT THE PLAN, HOLDERS OF CLAIMS
ENTITLED TO VOTE SHOULD READ AND CAREFULLY CONSIDER THE RISK FACTORS
SET FORTH BELOW, IN ADDITION TO THE INFORMATION SET FORTH IN THIS
DISCLOSURE STATEMENT TOGETHER WITH ANY ATTACHMENTS, EXHIBITS, OR
DOCUMENTS INCORPORATED BY REFERENCE HERETO. THE FACTORS BELOW
SHOULD NOT BE REGARDED AS THE ONLY RISKS ASSOCIATED WITH THE PLAN OR
ITS IMPLEMENTATION.

          A.         Certain Bankruptcy Law Considerations

                     1.         General

While the Debtors believe that the Chapter 11 Cases will not be materially disruptive to their business,
the Debtors cannot be certain that this will be the case. Although the Plan is designed to minimize the
duration of the Chapter 11 Cases, it is impossible to predict with certainty the amount of time that one or
more of the Debtors may spend in bankruptcy or to assure parties in interest that the Plan will be
confirmed. Even if confirmed on a timely basis, bankruptcy proceedings to confirm the Plan could have


39
     This Article IX, Risk Factors To Consider Before Voting, of this Disclosure Statement remains subject to review and revision.


                                                                   166
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 178 of 835




an adverse effect on the Debtors’ business. Among other things, it is possible that bankruptcy
proceedings could adversely affect the Debtors’ relationships with their key customers, suppliers and
employees. The process will also involve additional expense and may divert some of the attention of the
Debtors’ management away from business operations.

                 2.      Risk of Non-Confirmation of Plan

Although the Debtors believe that the Plan will satisfy all requirements necessary for confirmation by
the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will reach the same
conclusion or that modification to the Plan will not be required for confirmation or that such
mortifications would not necessitate re-solicitation of votes. Moreover, the Debtors can make no
assurances that they will receive the requisite acceptances to confirm the Plan, and even if all voting
Classes voted in favor of the Plan or the requirements for “cramdown” are met with respect to any Class
that rejects the Plan, the Bankruptcy Court, which may exercise substantial discretion as a court of equity,
may choose not to confirm the Plan. If the Plan is not confirmed, it is unclear what distributions holders
of Claims ultimately would receive with respect to their Claims in a subsequent plan of reorganization
or otherwise.

                 3.      Non-Consensual Confirmation

If any impaired class of Claims or Interests does not accept or is deemed not to accept a plan of
reorganization, a bankruptcy court may nevertheless confirm such plan at the proponent’s request if at
least one impaired class has accepted the plan (with such acceptance being determined without including
the vote of any “insider” in such class), and as to each impaired class that has accepted the plan, the
bankruptcy court determines that the plan “does not discriminate unfairly” and is “fair and equitable”
with respect to the dissenting impaired classes. Should any Class vote to reject the plan, then these
requirements must be satisfied with respect to such rejecting Classes. The Debtors believe that the Plan
satisfies these requirements, but there can be no assurance that the Bankruptcy Court will reach the same
conclusion and confirm the Plan on a non-consensual basis.

                 4.      Financial Projections

The Debtors have prepared financial projections on a consolidated basis with respect to the Reorganized
Debtors based on certain assumptions, as filed at Docket No. 2285-1 and set forth in Exhibit D hereto.
The projections have not been compiled, audited, or examined by independent accountants, and neither
the Debtors nor their advisors make any representations or warranties regarding the accuracy of the
projections or the ability to achieve forecasted results.

Many of the assumptions underlying the projections are subject to significant uncertainties that are
beyond the control of the Debtors or Reorganized Debtors, including the timing, confirmation, and
consummation of the Plan, consumer demands for the Reorganized Debtors’ products, inflation, and
other unanticipated market and economic conditions. Some assumptions may not materialize, and
unanticipated events and circumstances may affect the actual results. Projections are inherently subject
to substantial and numerous uncertainties and to a wide variety of significant business, economic, and
competitive risks, and the assumptions underlying the projections may be inaccurate in material respects.

                 5.      Risks Related to Parties in Interest Objecting to the Debtors’
                         Classification of Claims and Interests

Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an interest in a particular
class only if such claim or interest is substantially similar to the other clams or interests in such class.
The Debtors believe that the classification of Claims and Interests under the Plan complies with the

                                                    167
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 179 of 835




requirements set forth in the Bankruptcy Code. However, there can be no assurance that a party in
interest will not object or that the Bankruptcy Court will approve the classifications.

To the extent that the Bankruptcy Court finds that a different classification is required for the Plan to be
confirmed, the Debtors would seek (a) to modify the Plan to provide for whatever classification might
be required for confirmation and (b) to use the acceptances received from any holder of Claims pursuant
to this solicitation for the purpose of obtaining the approval of the Class or Classes of which such holder
ultimately is deemed to be a member. Any such reclassification of Claims, although subject to the notice
and hearing requirements of the Bankruptcy Code, could adversely affect the Class in which such holder
was initially a member, or any other Class under the Plan, by changing the composition of such Class
and the vote required for approval of the Plan. There can be no assurance that the Bankruptcy Court,
after finding that a classification was inappropriate and requiring a reclassification, would approve the
Plan based upon such reclassification. Except to the extent that modification of classification in the Plan
requires resolicitation, the Debtors will, in accordance with the Bankruptcy Code and the Bankruptcy
Rules, seek a determination by the Bankruptcy Court that acceptance of the Plan by any holder of Claims
pursuant to this solicitation will constitute a consent to the Plan’s treatment of such holder, regardless of
the Class as to which such holder is ultimately deemed to be a member.

                 6.      Risks Related to Possible Objections to the Plan

There is a risk that certain parties could oppose and object to either the entirety of the Plan or specific
provisions of the Plan. Although the Debtors believe that the Plan complies with all relevant Bankruptcy
Code provisions, there can be no guarantee that a party in interest will not file an objection to the Plan or
that the Bankruptcy Court will not sustain such an objection.

                 7.      Releases, Injunctions, Exculpation Provisions May Not Be Approved

Article IX of the Plan provides for certain releases, injunctions, and exculpations for claims and Causes
of Action that may otherwise be asserted against the Debtors, the Reorganized Debtors, the Exculpated
Parties, or the Released Parties, as applicable. The releases, injunctions, and exculpations provided in
the Plan are subject to objection by parties in interest and may not be approved. If the releases and
exculpations are not approved, certain parties may not be considered Releasing Parties, Released Parties,
or Exculpated Parties, and certain Released Parties or Exculpated Parties may withdraw their support for
the Plan.

                 8.      Risk of Non-Occurrence of Channeling of Opioid Claims

Under the terms of the Plan, all Opioid Claims shall automatically be channeled exclusively to the Opioid
MDT II and, this will, among other things, bar the assertion of any of these Claims against any Protected
Party. Although the Plan and the Opioid MDT II Documents all have been drafted with the intention of
complying with section 105(a) of the Bankruptcy Code, there is no guarantee that all Opioid Claims shall
automatically be channeled to the Opioid MDT II or section 105(a) or the channeling of the all Opioid
Claims to the Opioid MDT II will not be challenged, either before or after confirmation of the Plan.
While the Debtors believe that the Plan satisfies the requirements of the Bankruptcy Code, certain
objections might be lodged on grounds that the requirements of the Bankruptcy Code cannot be met
given the unique facts of the Chapter 11 Cases.

                 9.      Risk of Non-Occurrence of Effective Date

Although the Debtors believe that the Effective Date will occur on the timeline envisaged by the
Restructuring Support Agreement, there can be no assurance as to the timing of the Effective Date. If
the conditions precedent to the Effective Date set forth in the Plan have not occurred or have not been

                                                    168
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 180 of 835




waived as set forth in Article VIII of the Plan, then the Confirmation Order may be vacated, in which
event no distributions would be made under the Plan, the Debtors and all Holders of Claims or Interests
would be restored to the status quo as of the day immediately preceding the Confirmation Date, and the
Debtors’ obligations with respect to Claims and Interests would remain unchanged.

                10.      Risks of Termination of the Restructuring Support Agreement

The Restructuring Support Agreement contains certain provisions that give the parties thereto the ability
to terminate the applicable agreement upon the occurrence or non-occurrence of certain events, including
failure to achieve certain milestones in these Chapter 11 Cases. Termination of the Restructuring Support
Agreement could result in protracted Chapter 11 Cases, which could significantly and detrimentally
impact the Debtors’ relationships with vendors, suppliers, employees, and major customers.

                11.      Conversion into Chapter 7 Cases

If no plan of reorganization can be confirmed, or if the Bankruptcy Court otherwise finds that it would
be in the best interest of holders of Claims and Interests, the Chapter 11 Cases may be converted to cases
under chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be appointed to liquidate the
Debtors’ assets for distribution in accordance with the priorities established by the Bankruptcy Code.

                12.      Risks of Non-Dischargeability of Claims

Certain creditors have taken or may take the position their claims are non-dischargeable. Such creditors
may make such allegations at any time, notwithstanding the existence of deadlines established by the
Bankruptcy Rules or applicable Court order, entry of the Confirmation Order, or the occurrence of the
Effective Date. Such assertions of non-dischargeablility could result in denial of confirmation, changes
to the Plan, or, if asserted after occurrence of the Effective Date, the Reorganized Debtors being required
to honor such claims.

                13.      Channeling Injunction

The Opioid Permanent Channeling Injunction, which, among other things, bars any Entity that has held
or asserted, or that holds or asserts Opioid Claims (including any Opioid Demands), is a necessary
element of the Plan. While the Debtors believe that the Plan satisfies the requirements of the Bankruptcy
Code, certain objections might be lodged (including by the FCR) against the Plan on grounds that the
requirements of the Bankruptcy Code and applicable law are not met, including arguments that
substantial support by each affected class is required. Overcoming such objections is a burden that could
potentially be difficult to meet given the unique facts of the Chapter 11 Cases. The Debtors believe that
the Plan provides a sufficient basis for the issuance of the Opioid Permanent Channeling Injunction under
section 105(a) of the Bankruptcy Code. However, there is no guarantee that the validity and
enforceability of the Opioid Permanent Channeling Injunction or the application of the Opioid Permanent
Channeling Injunction to the Opioid Claims (including any Opioid Demands) arising out of or related
thereto will not be challenged, either before or after Confirmation of the Plan.

                14.      Amendment of Plan Prior to Confirmation by Debtors

The Debtors, subject to the terms and conditions of the Plan and the terms of the Restructuring Support
Agreement, reserve the right to modify the terms and conditions of the Plan or waive any conditions
thereto if and to the extent necessary or desirable for confirmation. The potential impact of any such
amendment or waiver on Holders of Claims and Interests cannot presently be foreseen but may include
a change in the economic impact of the Plan on some or all of the proposed Classes or a change in the
relative rights of such Classes.

                                                   169
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21        Page 181 of 835




                 15.     Distributions under the Opioid MDT II and Opioid Creditor Trusts

Opioid Claims will be resolved pursuant to the Opioid MDT II Documents and Opioid Creditor Trust
Documents and the distribution procedures therein, and their treatment will be based upon, among other
things, estimates of the number, types, and amount of Opioid Claims (including Opioid Demands), the
value of the assets of the Opioid MDT II and Opioid Creditor Trusts, the liquidity of these trusts, the
expected future income and expenses, and other matters. There can be no certainty as to the precise
amounts that will be distributed by the Opioid MDT II and Opioid Creditor Trusts in any particular time
period or when Opioid Claims will be resolved by the Opioid MDT II and Opioid Creditor Trusts.

                 16.     Pending and Future Litigation

As discussed in this Disclosure Statement, the Debtors are involved various litigation, including but not
limited to, the Acthar Lawsuits and Generics Price Fixing Claims—which so long as it remains
unresolved represents a legal issue and potential Claim for monetary damages. Additionally, there is a
risk of future litigation. Pending litigation or future litigation could result in a material judgment against
the Debtors or the Reorganized Debtors. Such litigation, and any judgment in connection therewith, could
have a material negative effect on the Debtors or the Reorganized Debtors.

                 17.     Funding of Other Opioid Claims Reserve

Under the terms of the Plan, the funding of the Other Opioid Claims Reserve shall be determined by the
Bankruptcy Court at the Confirmation Hearing and must be acceptable to the Governmental Plaintiff Ad
Hoc Committee and the MSGE Group. The size of the Other Opioid Claims Reserve may be dependent
on the allowance of any No Recovery Opioid Claims under 502(j). The Public Opioid Creditor Share
Distributable Value may be reduced by the size of the Other Opioid Claims Reserve with any Other
Opioids Claims Reserve Excess thereafter being added back to the Public Opioid Creditor Distributable
Value once all Other Opioid Claims are resolved. Therefore, the distributions to the NOAT II and TAFT
II trusts may be delayed or reduced depending on the timing of allowance and the size of the Allowed
Other Opioid Claims.

                 18.     U.S. Government Statutory Payor Rights Reserved

       The U.S. Department of Justice has reserved the rights of U.S. Government Opioid
        Claim holders with respect to the treatment of their claims. The DOJ has indicated
        that, absent a consensual resolution of its claims, it may assert the U.S. Government
        Payor Statutory Rights against the Protected Parties and recipients of distributions
        under the Plan which may delay or reduce distributions that would otherwise be made
        to Opioid Claimants. The Plan provides that any such claims against the Protected
        Parties are channeled to the Other Opioid Claims Reserve and cannot be asserted
        against the Protected Parties. The DOJ may challenge the Plan on these grounds, and,
        if so challenged, the issue will be decided by the Bankruptcy Court at the confirmation
        hearing if not resolved consensually. There can be no assurance as to how the
        Bankruptcy Court will rule on such contested matter, which could result in changes to
        the Plan or denial of confirmation.




                                                    170
             Case 20-12522-JTD         Doc 2917       Filed 06/18/21       Page 182 of 835




        B.      Risks Relating to the Capital Structure of the Reorganized Debtors

                1.       Variances from Financial Projections

The Financial Projections filed at Docket No. 2285-1 and set forth in Exhibit D hereto reflect numerous
assumptions, which involve significant levels of judgment and estimation concerning the anticipated
future performance of the Reorganized Debtors, as well as assumptions with respect to the prevailing
market, economic and competitive conditions, which are beyond the control of the Reorganized Debtors,
and which may not materialize, particularly given the current difficult economic environment and
product-specific market conditions. Any significant differences in actual future results versus estimates
used to prepare the Financial Projections, such as lower sales, lower volume, lower pricing, increases in
production costs, technological changes, environmental or safety issues, litigation, workforce
disruptions, competition, regulatory decisions about pipeline products, or changes in the regulatory
environment, could result in significant differences from the Financial Projections. The Debtors believe
that the assumptions underlying the Financial Projections are reasonable. However, unanticipated events
and circumstances occurring subsequent to the preparation of the Financial Projections may affect the
Debtors’ and the Reorganized Debtors’ ability to initiate the endeavors and meet the financial
benchmarks contemplated by the Plan. Therefore, the actual results achieved throughout the period
covered by the Financial Projections necessarily will vary from the projected results, and these variations
may be material and adverse.

                2.       Leverage

Although the Reorganized Debtors will have less indebtedness than the Debtors, the Reorganized
Debtors will still have a significant amount of secured indebtedness. On the Effective Date, after giving
effect to the transactions contemplated by the Plan, the Reorganized Debtors will have approximately
$3.9 billion in secured funded indebtedness and none in unsecured funded indebtedness.

The degree to which the Reorganized Debtors will be leveraged could have important consequences
because, among other things, it could affect the Reorganized Debtors’ ability to satisfy their obligations
under their indebtedness following the Effective Date; a portion of the Reorganized Debtors’ cash flow
from operations will be used for debt service and settlement obligations under the Plan and unavailable
to support operations, or for working capital, capital expenditures, expansion, acquisitions or general
corporate or other purposes; the Reorganized Debtors’ ability to obtain additional debt financing or
equity financing, or pursue mergers, acquisitions and asset sales, may be limited; and the Reorganized
Debtors’ operational flexibility in planning for, or reacting to, changes in their businesses may be
severely limited.

                3.       Ability to Service Debt

Although the Reorganized Debtors will have less indebtedness than the Debtors, the Reorganized
Debtors will still have significant interest expense and principal repayment obligations. The Reorganized
Debtors’ ability to make payments on and to refinance their debt will depend on their future financial
and operating performance and their ability to generate cash in the future. This, to a certain extent, is
subject to general economic, business, financial, competitive, legislative, regulatory and other factors
that are beyond the control of the Reorganized Debtors.

Although the Debtors believe the Plan is feasible, there can be no assurance that the Reorganized Debtors
will be able to generate sufficient cash flow from operations or that sufficient future borrowings will be
available to pay off the Reorganized Debtors’ debt obligations. The Reorganized Debtors may need to
refinance all or a portion of their debt on or before maturity; however, there can be no assurance that the


                                                   171
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 183 of 835




Reorganized Debtors will be able to refinance any of their debt on commercially reasonable terms or at
all.

                 4.      Obligations Under Certain Financing Agreements

The Reorganized Debtors’ obligations under the New Credit Facilities, the New Takeback Term Loan
Facility, the First Lien Notes, Second Lien Notes, the Takeback Second Lien Notes, the Cram-Down
First Lien Notes, and Cram-Down Second Lien Notes are secured by liens on substantially all of the
assets of the Reorganized Debtors (subject to certain exclusions set forth therein). If the Reorganized
Debtors become insolvent or are liquidated, or if there is a default under certain financing agreements,
including, but not limited to, the New Term Loan Documentation, the New AR Revolving Facility
Documentation, the New Takeback Term Loans Documentation, the First Lien Notes, the Second Lien
Notes, the Cram-Down First Lien Notes, or the Cram-Down Second Lien Notes, and payment on any
obligation thereunder is accelerated, the lenders under and holders of the New Credit Facilities, the New
Takeback Term Loan Facility, the First Lien Notes, the Second Lien Notes, the Cram-Down First Lien
Notes, or the Cram-Down Second Lien Notes would be entitled, subject to the applicable intercreditor
agreements and other applicable credit documents, to exercise the remedies available to a secured lender
under applicable law, including foreclosure on the collateral that is pledged to secure the indebtedness
thereunder, and they would have a claim on the assets securing the obligations under the applicable
facility that would be superior to any claim of the holders of unsecured debt.

                 5.      Restrictive Covenants

The financing agreements governing the Reorganized Debtors’ indebtedness will contain various
covenants that may limit the discretion of the Reorganized Debtors’ management by restricting the
Reorganized Debtors’ ability to, among other things, incur additional indebtedness, incur liens, pay
dividends or make certain restricted payments, consummate certain asset sales, enter into certain
transactions with affiliates, merge, consolidate and/or sell or dispose of all or substantially all of their
assets. As a result of these covenants, the Reorganized Debtors will be limited in the manner in which
they conduct their business and they may be unable to engage in favorable business activities or finance
future operations or capital needs.

Any failure to comply with the restrictions of the financing agreements may result in an event of default.
An event of default may allow the creditors to accelerate the related debt as well as any other debt to
which a cross-acceleration or cross-default provision applies. If the Reorganized Debtors are unable to
repay amounts outstanding under their financing agreements when due, the lenders thereunder could,
subject to the terms of the financing agreements, seek to foreclose on the collateral that is pledged to
secure the indebtedness outstanding under such facility.

                 6.      Market for Securities

There is currently no market for the New Mallinckrodt Ordinary Shares and there can be no assurance as
to the development or liquidity of any market for such securities. There can also be no assurance that
the New Mallinckrodt Ordinary Shares will be listed or traded on any securities exchange on or after the
Effective Date. Therefore, there can be no assurance that the securities will be tradable or liquid at any
time after the Effective Date. If a trading market does not develop or is not maintained, holders of the
securities may experience difficulty in reselling such securities or may be unable to sell them at all. Even
if such a market were to exist, such securities could trade at prices higher or lower than the estimated
value set forth in this Disclosure Statement depending upon many factors including prevailing interest
rates, markets for similar securities, industry conditions, and the performance of, and investor
expectations for, the Reorganized Debtors. Accordingly, holders of the securities may bear certain risks
associated with holding securities for an indefinite period of time.

                                                    172
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 184 of 835




                7.       Potential Dilution

The ownership percentage represented by the New Mallinckrodt Ordinary Shares distributed under the
Plan as of the Effective Date will be subject to dilution from the equity issued in connection with the (a)
Management Incentive Plan, (b) New Opioid Warrants, (c) any other equity that may be issued post-
emergence, and (d) the exercise or conversion of any options, warrants, convertible securities, exercisable
securities, or other securities that may be issued post-emergence. In the future, similar to all companies,
additional equity financings or other equity issuances by Reorganized Mallinckrodt could adversely
affect the value of the New Mallinckrodt Ordinary Shares. The amount and dilutive effect of any of the
foregoing could be material.

                8.       Significant Holders of New Mallinckrodt Ordinary Shares

Certain holders of Allowed Guaranteed Unsecured Notes Claims are expected to acquire a significant
ownership interest in the New Mallinckrodt Ordinary Shares. Thus, such holders could be in a position
to control the outcome of all actions of Reorganized Mallinckrodt requiring the approval of equity
holders, including the election of directors or managers, without the approval of other equity holders.
This concentration of ownership could also facilitate or hinder a negotiated change of control of
Reorganized Mallinckrodt and, consequently, have an impact upon the value of the New Mallinckrodt
Ordinary Shares.

                9.       Interests Subordinated to the Reorganized Debtors’ Indebtedness

In any subsequent liquidation, dissolution, or winding up of Reorganized Mallinckrodt, the New
Mallinckrodt Ordinary Shares would rank below all debt claims against Reorganized Mallinckrodt. As
a result, holders of the New Mallinckrodt Ordinary Shares will not be entitled to receive any payment or
other distribution of assets upon the liquidation, dissolution, or winding up of Reorganized Mallinckrodt
until after all applicable holders of debt have been paid in full.

                10.      Estimated Valuations of the Debtors and the New Mallinckrodt Ordinary
                         Shares, and Estimated Recoveries to Holders of Guaranteed Unsecured
                         Notes Claims Are Not Intended to Represent Potential Market Values

The Debtors’ estimated recoveries to Allowed Holders of Guaranteed Unsecured Notes Claims are not
intended to represent the market value of the Debtors’ Securities. The estimated recoveries are based on
numerous assumptions (the realization of many of which will be beyond the control of the Debtors),
including, among others: (a) the successful reorganization of the Debtors; (b) an assumed date for the
occurrence of the Effective Date; (c) the Debtors’ ability to achieve the operating and financial results
included in the Financial Projections; (d) the Debtors’ ability to maintain adequate liquidity to fund
operations; (e) the assumption that capital and equity markets remain consistent with current conditions;
and (f) the Debtors’ ability to maintain critical existing customer relationships.

                11.      Dividends

Reorganized Mallinckrodt may not pay any dividends on the New Mallinckrodt Ordinary Shares . In
such circumstances, the success of an investment in the New Mallinckrodt Ordinary Shares will depend
entirely upon any future appreciation in the value of the New Mallinckrodt Ordinary Shares. There is,
however, no guarantee that the New Mallinckrodt Ordinary Shares will appreciate in value or even
maintain their initial value.




                                                   173
             Case 20-12522-JTD        Doc 2917       Filed 06/18/21       Page 185 of 835




                12.      Restrictions on Ability to Resell New Mallinckrodt Ordinary Shares
                         and/or New Opioid Warrants

Holders of securities issued pursuant to the exemption from registration under section 1145 of the
Bankruptcy Code who are deemed to be “underwriters” under section 1145(b) of the Bankruptcy Code
(“Section 1145 Underwriters”) will be subject to resale restrictions. Section 1145 Underwriters, should
be aware that they may be required to bear the financial risk of an investment in the affected securities
including New Mallinckrodt Ordinary Shares and/or the New Opioid Warrants for an indefinite period
of time.

                13.      If a United States Person is Treated as Owning At Least 10% of the New
                         Mallinckrodt Ordinary Shares, Such Holder May be Subject to Adverse
                         U.S. Federal Income Tax Consequences.

Many of Mallinckrodt plc’s non-U.S. subsidiaries are classified as “controlled foreign corporations” for
U.S. federal income tax purposes due to the application of certain ownership attribution rules within a
multinational corporate group. If a United States person is treated as owning (directly, indirectly or
constructively) at least 10% of the value or voting power of Reorganized Mallinckrodt’s shares, such
person may be treated as a “United States shareholder” (a “10% U.S. Holder”) with respect to one or
more of Reorganized Mallinckrodt’s controlled foreign corporation subsidiaries. In addition, if the New
Mallinckrodt Ordinary Shares are treated as owned more than 50% (by voting power or value) by 10%
U.S. Holders, Reorganized Mallinckrodt itself would be treated as a controlled foreign corporation. A
10% U.S. Holder may be required to annually report and include in its U.S. taxable income, as ordinary
income, its pro rata share of “Subpart F income,” “global intangible low-taxed income” and investments
in U.S. property by controlled foreign corporations, whether or not Reorganized Mallinckrodt makes any
distributions to such 10% U.S. Holder. An individual United States shareholder generally would not be
allowed certain tax deductions or foreign tax credits that would be allowed to a corporate United States
shareholder. A failure by a 10% U.S. Holder to comply with its reporting obligations may subject the
10% U.S. Holder to significant monetary penalties and may extend the statute of limitations with respect
to the 10% U.S. Holder’s U.S. federal income tax return for the year for which such reporting was due.
Reorganized Mallinckrodt cannot provide any assurances that it will assist investors in determining
whether it or any of its non-U.S. subsidiaries are controlled foreign corporations. Reorganized
Mallinckrodt also cannot guarantee that it will furnish to 10% U.S. Holders information that may be
necessary for them to comply with the aforementioned obligations. The risk of being subject to increased
reporting and compliance obligations and taxation could impact the demand for, and value of, New
Mallinckrodt Ordinary Shares.

        C.      Risks Relating to the Debtors’ Business Operations and Financial Conditions

THE FOLLOWING PROVIDES A SUMMARY OF CERTAIN OF THE RISKS ASSOCIATED
WITH THE DEBTORS’ BUSINESSES. HOWEVER, THIS SECTION IS NOT INTENDED TO
BE EXHAUSTIVE. ADDITIONAL RISK FACTORS CONCERNING THE DEBTORS’
BUSINESSES ARE CONTAINED IN THE DEBTORS’ PREVIOUSLY-FILED ANNUAL
REPORT ON FORM 10-K FOR THE FISCAL YEAR ENDED DECEMBER 25, 2020.

                1.       The Debtors’ Chapter 11 Cases May Negatively Impact Future
                         Operations.

While the Debtors believe that they will be able to emerge from chapter 11 relatively expeditiously, there
can be no assurance as to timing for approval of the Plan or the Debtors’ emergence from chapter 11.
Additionally, notwithstanding the support of the signatories to the Restructuring Support Agreement,


                                                   174
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 186 of 835




the Chapter 11 Cases may adversely affect the Debtors’ ability to maintain relationships with existing
customers and suppliers and attract new customers.

                2.       The Debtors’ Business May Be Adversely Affected by Public Health
                         Crises and Epidemics/Pandemics, Including the Recent Coronavirus
                         Outbreak.

A pandemic, epidemic or outbreak of an infectious disease occurring in the U.S. or elsewhere in the
world could result in the Debtors’ business being adversely affected. Specifically, in December 2019,
the SARS-CoV-2 virus which causes COVID-19 was identified in China, and subsequently spread to
countries throughout the world, including Ireland, the United Kingdom, and the U.S., resulting in the
World Health Organization declaring the COVID-19 outbreak a pandemic in March 2020. The Debtors’
business performance was significantly impacted by COVID-19, and the Debtors expect to continue to
see pandemic-related challenges while the pandemic persists and likely during the aftermath and
recovery, which could last for several years.

The Debtors may experience significant and unforeseen increases or decreases in demand for certain of
their products as the needs of health care providers and patients evolve during this pandemic. For
example, as the Debtors are among the world’s largest manufacturers of bulk acetaminophen and the
only producer of acetaminophen in the North American and European regions, the Debtors could
experience an increase in demand which the Debtors may not be able to meet in accordance with the
needs of the market. Additionally, the Debtors’ INOmax product is a potential treatment for acute
respiratory distress syndrome (ARDS), which is a known clinical manifestation of infection with many
respiratory viruses including the SARS-CoV-2 coronavirus that causes COVID-19, and which could be
subject to similar dynamics. Alternatively, because many non-critical and elective medical treatments
were deferred or de-prioritized during the pandemic, demand for the Debtors’ Ofirmev product was
negatively affected from the second quarter of 2020 onward. The Debtors also experienced and may
continue to experience reduced demand for Therakos due to the phenomenon of immunosuppressed
patients who would normally receive Therakos ECP therapy in a clinic setting, but who were instructed
to or who chose to stay at home and/or pursue other treatment alternatives (even if less effective) to
decrease risk of COVID-19 infection.

Furthermore, in 2020, then-U.S. President Trump invoked emergency powers under the Defense
Production Act, which allows the U.S. government to direct private companies to meet the needs of the
nation in the time of an emergency, and in early 2021, U.S. President Biden continued to invoke the same
powers. Given the critical nature of some of the products the Debtors manufacture, as well as the
Debtors’ pharmaceutical and medical device manufacturing capabilities, the Debtors may be impacted
by governmental action taken under this or similar legislative or executive action.

Many countries around the world have imposed quarantines and restrictions on travel and mass
gatherings to slow the spread of the virus. Such disruptions could materially delay potential FDA
approval with respect to the Debtors’ clinical trials and product candidates. Other factors caused by
COVID-19 have already impacted and could materially delay or otherwise impact clinical trials the
Debtors are conducting related to our products, including the ability to recruit and retain patients and
principal investigators and site staff who, as healthcare providers, may have heightened exposure to
COVID-19. Furthermore, business pressures driven by the ongoing COVID-19 pandemic have led the
Debtors to prioritize certain investments over others, resulting in the termination of two Phase 4 studies
related to Acthar Gel, and such pressures could result in similar decisions across the rest of the product
portfolio. Any delays in the Debtors’ clinical trials or regulatory review resulting from such disruptions
could materially affect the development or approval of pipeline product candidates or the Debtors’
lifecycle management efforts.


                                                   175
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 187 of 835




In addition, the economic impact of the spread of COVID-19, which has caused a broad impact globally,
has adversely impacted and may continue to adversely affect the Debtors’ businesses. In particular,
COVID-19 has affected demand for the Debtors’ products due to limitations on the ability of its sales
representatives to meet with physicians, and a reduction in patient visits to their doctors and pharmacists
in order to receive prescriptions for the Debtors’ products, all of which may continue so long as the
pandemic continues. There is also an increased risk of supply interruption at the Debtors’ third-party
suppliers to deliver components as well as the Debtors’ manufacturing facilities to produce finished
products on a timely basis, which could result in business or operational disruption. Additionally, while
the potential long-term economic impact of COVID-19 may be difficult to assess or predict, the COVID-
19 pandemic has resulted in significant disruption of global financial markets, which could reduce the
Debtors’ ability to access capital, thereby negatively affecting the Debtors’ liquidity. The extent to which
the COVID-19 pandemic impacts the Debtors’ results will depend on future developments that are highly
uncertain and cannot be predicted.

Given the rapid and evolving nature of the COVID-19 pandemic, the full extent to which it will directly
or indirectly impact the Debtors’ businesses, results of operations and financial condition will depend on
future developments that are highly uncertain and cannot be predicted.

                 3.      Sales of the Debtors’ Products Are Affected by the Reimbursement
                         Practices of Governmental Health Administration Authorities, Private
                         Health Coverage Insurers and Other Third-Party Payers, and the
                         Debtors May Be Negatively Impacted by any Changes to Such
                         Reimbursement Practices.

Sales of the Debtors’ products depend, in part, on the extent to which the costs of the Debtors’ products
are reimbursed by governmental health administration authorities, private health coverage insurers and
other third-party payers. The ability of patients to obtain appropriate reimbursement for products and
services from these third-party payers affects the selection of products they purchase and the prices they
are willing to pay. In the U.S., there have been, and the Debtors expect there will continue to be, a
number of state and federal proposals that limit the amount that third-party payers may pay to reimburse
the cost of drugs, for example with respect to Acthar Gel. The Debtors believe the increasing emphasis
on managed care in the U.S. has and will continue to put pressure on the usage and reimbursement of
Acthar Gel. The Debtors’ ability to commercialize their products depends in part on the extent to which
reimbursement for the costs of these products is available from government healthcare programs such as
Medicaid and Medicare, private health insurers, and others. The Debtors cannot be certain that, over
time, third-party reimbursements for the Debtors’ products will be adequate for the Debtors to maintain
price levels sufficient for realization of an appropriate return on their investment.

Reimbursement of highly-specialized products, such as Acthar Gel, is typically reviewed and approved
or denied on a patient-by-patient, case-by- case basis, after careful review of details regarding a patient's
health and treatment history that is provided to the insurance carriers through a prior authorization
submission, and appeal submission, if applicable. During this case-by-case review, the reviewer may
refer to coverage guidelines issued by that carrier. These coverage guidelines are subject to on-going
review by insurance carriers. Because of the large number of carriers and variations in the coverage
offered by the various plans offered by those carriers, there are a large number of guideline updates issued
each year.

Furthermore, demand for new products may be limited unless the Debtors obtain reimbursement approval
from governmental and private third-party payers prior to the introduction or launch of those products in
the market. Reimbursement criteria, which vary by country, are becoming increasingly stringent and
require management expertise and significant attention to obtain and maintain qualification for
reimbursement.

                                                    176
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21        Page 188 of 835




                 4.      Reimbursement Criteria or Policies and the Use of Tender Systems
                         Outside the U.S. Could Reduce Prices for the Debtors’ Products or
                         Reduce the Debtors’ Market Opportunities.

Markets in which the Debtors operate have implemented or may implement tender systems in an effort
to lower prices. Under such tender systems, manufacturers submit bids which establish prices for
products. The company that wins the tender receives preferential reimbursement for a period of time.
Accordingly, the tender system often results in companies underbidding one another by proposing low
pricing in order to win the tender. Certain other countries may consider implementation of a tender
system. Even if a tender system is ultimately not implemented, the anticipation of such could result in
price reductions. Failing to win tenders, or the implementation of similar systems in other markets
leading to price declines, could have a material adverse effect on our competitive position, business,
financial condition, results of operations and cash flows. The Debtors are unable to predict what
additional legislation or regulation or changes in third-party coverage and reimbursement policies may
be enacted or issued in the future or what effect such legislation, regulation and policy changes would
have on their business.

                 5.      The Failure of the Acthar Settlement May Subject the Debtors to
                         Additional Risk and Uncertainties.

The failure of the Acthar settlement in principle may subject the Debtors to additional risk and
uncertainties that could adversely affect the Debtors’ business prospects, including, the decision by CMS
to exclude the Debtors from Medicare and/or Medicaid. Doing so may have an adverse impact on the
Debtors’ business, financial condition, results of operations, cash flows and ability to consummate the
Plan.

                 6.      The Debtors May Be Unable to Protect Their Intellectual Property Rights
                         or Their Intellectual Property Rights May Be Limited.

The Debtors rely on a combination of patents, trademarks, trade secrets, proprietary know-how, market
exclusivity gained from the regulatory approval process, and other intellectual property to support their
business strategy, most notably in relation to Acthar Gel, INOmax, Therakos and Amitiza products.
However, the Debtors’ efforts to protect their intellectual property rights may not be sufficient. If the
Debtors do not obtain sufficient protection for their intellectual property, or if the Debtors are unable to
effectively enforce their intellectual property rights, or if there is a change in the way courts and
regulators interpret the laws, rules and regulations applicable to our intellectual property, the Debtors’
competitiveness could be impacted, which could adversely affect their competitive position, business,
financial condition, results of operations and cash flows.

Furthermore, the Debtors’ pending patent applications may not result in the issuance of patents, or the
patents issued to or licensed by us in the past or in the future may be challenged or circumvented by
competitors. Existing patents may be found to be invalid or insufficiently broad to preclude the Debtors’
competitors from using methods or making or selling products similar or identical to those covered by
the Debtors’ patents and patent applications. Regulatory agencies may refuse to grant the Debtors the
market exclusivity that they were anticipating, or may unexpectedly grant market exclusivity rights to
other parties. In addition, the Debtors’ ability to obtain and enforce intellectual property rights is limited
by the unique laws of each country. In some countries, it may be particularly difficult to adequately
obtain or enforce intellectual property rights, which could make it easier for competitors to capture
market share in such countries by utilizing technologies and product features that are similar or identical
to those developed or licensed by the Debtors. Competitors also may harm the Debtors’ sales by
designing products that mirror the capabilities of our products or technology without infringing our


                                                     177
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 189 of 835




patents, including by coupling separate technologies to replicate what our products accomplish through
a single system.

Competitors may diminish the value of the Debtors trade secrets by reverse engineering or by
independent invention. Additionally, current or former employees may improperly disclose such trade
secrets to competitors or other third parties. The Debtors may not become aware of any such improper
disclosure, and, in the event the Debtors do become aware, the Debtors may not have an adequate remedy
available.

                7.       Debtors May Be Subject to Claims that they Infringe on the Intellectual
                         Property Rights of Others.

The Debtors operate in an industry characterized by extensive patent litigation, and the Debtors may
from time to time be a party to such litigation. The pursuit of or defense against patent infringement is
costly and time-consuming and the Debtors may not know the outcomes of such litigation for protracted
periods of time. The Debtors may be unsuccessful in efforts to enforce their patent or other intellectual
property rights. In addition, patent litigation can result in significant damage awards, including the
possibility of treble damages and injunctions. Additionally, the Debtors could be forced to stop
manufacturing and selling certain products, or they may need to enter into license agreements that require
the Debtors to make significant royalty or up- front payments in order to continue selling the affected
products. Given the nature of the Debtors’ industry, the Debtors are likely to face additional claims of
patent infringement in the future. A successful claim of patent or other intellectual property infringement
against the Debtors could have a material adverse effect on our competitive position, business, financial
condition, results of operations and cash flows.

                8.       The Loss of One or More of Reorganized Mallinckrodt’s Key Personnel
                         Could Disrupt Operations and Adversely Affect Financial Results

The Debtors are, and the Reorganized Debtors will be, highly dependent upon the availability and
performance of their executive officers. Accordingly, the loss of services of any of the Debtors’
executive officers could materially and adversely affect the Reorganized Debtors’ business, financial
condition and operating results.

                9.       Extensive Laws and Regulations Govern the Industry in Which the Debtors
                         Operate and Any Failure to Comply with Such Laws and Regulations,
                         Including Any Changes to Those Laws and Regulations May Materially
                         Adversely Affect the Debtors.

The development, manufacture, marketing, sale, promotion, and distribution of the Debtors’ products are
subject to comprehensive government regulations that govern and influence the development, testing,
manufacturing, processing, packaging, holding, record keeping, safety, efficacy, approval, advertising,
promotion, sale, distribution and import/export of our products.

Under these laws and regulations, the Debtors are subject to periodic inspection of their facilities,
procedures and operations and/or the testing of their products by the FDA, the DEA and similar
authorities within and outside the U.S., which conduct periodic inspections to confirm that the Debtors
are in compliance with all applicable requirements. The Debtors are also required to track and report
adverse events and product quality problems associated with our products to the FDA and other
regulatory authorities. Failure to comply with the requirements of FDA or other regulatory authorities,
including a failed inspection or a failure in our adverse event reporting system, or any other unexpected
or serious health or safety concerns associated with our products, including their Debtors’ opioid pain
products and Acthar Gel, could result in adverse inspection reports, warning letters, product recalls or

                                                   178
            Case 20-12522-JTD          Doc 2917       Filed 06/18/21      Page 190 of 835




seizures, product liability claims, labeling changes, monetary sanctions, injunctions to halt the
manufacture and distribution of products, civil or criminal sanctions, refusal of a government to grant
approvals or licenses, restrictions on operations or withdrawal of existing approvals and licenses. Any of
these actions could cause a loss of customer confidence in the Debtors’ products, which could adversely
affect the Debtors’ sales, or otherwise have a material adverse effect on our competitive position,
business, financial condition, results of operations and cash flows. In addition, the requirements of
regulatory authorities, including interpretative guidance, are subject to change and compliance with
additional or changing requirements or interpretative guidance may subject us to further review, result in
product delays or otherwise increase our costs, and thus have a material adverse effect on the Debtors’
competitive position, business, financial condition, results of operations and cash flows.

                 10.     The Debtors May be Unable to Successfully Develop, Commercialize or
                         Launch New Products or Expand Commercial Opportunities for Existing
                         Products or Adapt to a Changing Technology.

The Debtors’ future results of operations will depend, to a significant extent, upon the Debtors’ ability
to successfully develop, commercialize and launch new products or expand commercial opportunities
for existing products in a timely manner. There are numerous difficulties in developing, commercializing
and launching new products or expanding commercial opportunities for existing products, including:

            developing, testing and manufacturing products in compliance with regulatory and quality
             standards in a timely manner;

            the Debtors’ ability to successfully engage with the FDA or other regulatory authorities as
             part of the approval process and to receive requisite regulatory approvals for such products
             in a timely manner, or at all;

            the availability, on commercially reasonable terms, of raw materials, including API and other
             key ingredients;

            developing, commercializing and launching a new product is time-consuming, costly and
             subject to numerous factors, including legal actions brought by our competitors, that may
             delay or prevent the development, commercialization and/or launch of new products;

            unanticipated costs;

            payment of prescription drug user fees to the FDA to defray the costs of review and approval
             of marketing applications for branded and generic drugs;

            experiencing delays as a result of limited resources at the FDA or other regulatory
             authorities;

            changing review and approval policies and standards at the FDA or other regulatory
             authorities;

            potential delays in the commercialization of generic products by up to 30 months resulting
             from the listing of patents with the FDA;

            effective execution of the product launches in a manner that is consistent with expected
             timelines and anticipated costs; and




                                                   179
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 191 of 835




            identifying appropriate partners for distribution of our products, including any future over-
             the-counter commercialization opportunities, and negotiating contractual arrangements in a
             timely manner with commercially reasonable terms.

As a result of these and other difficulties, products currently in development by the Debtors may or may
not receive timely regulatory approvals, or approvals at all. This risk is heightened with respect to the
development of proprietary branded products due to the uncertainties, higher costs and length of time
associated with R&D of such products and the inherent unproven market acceptance of such products.
Moreover, the FDA regulates the facilities, processes and procedures used to manufacture and market
pharmaceutical products in the U.S. Manufacturing facilities must be registered with the FDA and all
products made in such facilities must be manufactured in accordance with cGMP regulations enforced
by the FDA. Compliance with cGMP regulations requires the dedication of substantial resources and
requires significant expenditures. The FDA periodically inspects both our facilities and procedures to
ensure compliance with regulatory standards. The FDA may cause a suspension or withdrawal of product
approvals if regulatory standards are not maintained. In the event an approved manufacturing facility for
a particular drug is required by the FDA to curtail or cease operations, or otherwise becomes inoperable,
obtaining the required FDA authorization to manufacture at the same or a different manufacturing site
could result in production delays, which could have a material adverse effect on our competitive position,
business, financial condition, results of operations and cash flows.

Furthermore, the market perception and reputation of the Debtors’ products are important to their
business and the continued acceptance of their products. Any negative press reports or other commentary
about the Debtors’ products, whether accurate or not, could have a material adverse effect on their
business, reputation, financial condition, results of operation or cash flows or could cause the market
value of our common shares and/or debt securities to decline.

With respect to generic products for which the Debtors are the first developer to have its application
accepted for filing by the FDA, and which filing includes a certification that the applicable patent(s) are
invalid, unenforceable and/or not infringed (known as a “Paragraph IV certification”), the Debtors’
ability to obtain and realize the full benefits of 180-days of market exclusivity is dependent upon a
number of factors, including, being the first to file, the status of any litigation that might be brought
against the Debtors as a result of our filing or not meeting regulatory, manufacturing or quality
requirements or standards. If any of the Debtors products are not approved timely, or if the Debtors are
unable to obtain and realize the full benefits of the respective market exclusivity period for their products,
or if their products cannot be successfully manufactured or commercialized timely, the Debtors’ results
of operations could be materially adversely affected. In addition, the Debtors cannot guarantee that any
investment they make in developing products will be recouped, even if the Debtors are successful in
commercializing those products. Finally, once developed and approved, new products may fail to achieve
commercial acceptance due to the price of the product, third-party reimbursement of the product and the
effectiveness of sales and marketing efforts to support the product.

                 11.     The Debtors’ Businesses May Face Risks Related to Indemnifications If
                         Required to Assume Certain Executory Contracts

The Debtors’ businesses may face risks relating to opioid litigation and/or Acthar Claims if they are
required to assume Executory Contracts with any co-defendant in such litigations and honor
indemnification provisions thereunder after the Effective Date. Instead of assuming any such Executory
Contracts, the Debtors may determine to reject them, in which case the Debtors’ businesses may face
risks around distribution channels and their ability to sell their products. Either of these risks could
substantially impair the Debtors’ profitability after the Effective Date.



                                                     180
             Case 20-12522-JTD          Doc 2917       Filed 06/18/21       Page 192 of 835




        D.       Certain Risk Factors Related to the Irish Examinership Proceedings

                 1.      General

The Irish Examinership Proceedings in relation to the Irish Debtors, will be of shorter duration than the
Chapter 11 Cases and will run concurrently with the Chapter 11 Cases. It will entail the same risks with
regard to the Debtors’ business. Further, as discussed in this Disclosure Statement, the filing of the Irish
Examinership Proceedings will commence a protection period during which the Parent will, under Irish
law, have the benefit of protection against enforcement and other actions by its creditors for a period of
up to 100 calendar days (or as otherwise amended under applicable Irish insolvency law). In the event
the Irish Examinership Proceedings are unsuccessful, the High Court of Ireland could potentially order
the winding up of the Irish Debtors or convert the Irish Examinership Proceedings to a liquidation
proceeding.

                 2.      Parties in Interest May Object to the Appointment of an Examiner to the
                         Irish Debtors.

Section 509 of the Companies Act 2014 (Ireland) provides that the High Court of Ireland may appoint
an examiner to an Irish registered company if it is insolvent, has not been put into liquidation, no receiver
has been appointed for three consecutive days prior to the presentation of the petition and that there is a
reasonable prospect of the survival of both the company and its undertaking. In the case of the latter
proof, the Parent, as the ultimate parent company of the Debtors, will be required to satisfy the High
Court of Ireland that it has an undertaking in its own right and that there is a reasonable prospect of
survival of its undertaking as a going concern. The Parent believes that it will be possible to satisfy each
of these proofs but there can be no assurance that the High Court of Ireland will reach the same
conclusion.

                 3.      The Examiner May Not Put the Proposals Before the Members and
                         Creditors of the Irish Debtors and Seek their Approval by the High Court
                         of Ireland.

The examiner, when appointed, will be an independent officer of the High Court of Ireland and will be
free to adopt or decline to adopt the terms of the proposals for a scheme of arrangement accompanying
the petition to have an examiner appointed to the Irish Debtors. The Debtors believe that the examiner
will adopt and put the proposals before meetings of the Irish Debtors’ shareholders and creditors and
subsequently seek their approval by the High Court of Ireland, because the proposals will mirror the Plan
and the Plan represents the best solution achievable for the Debtors, their creditors and shareholders.
There can be no assurance however that the examiner will reach the same conclusion.

                 4.      Parties in Interest May Object to the Examiner’s Classification of Claims.

The examiner will be required, pursuant to section 539 of the Companies Act 2014 (Ireland), to place
creditors in classes of creditors and provide equal treatment for each claim within a particular class unless
the holder of a particular claim agrees to less favorable treatment. It is likely that in considering any
objection to the basis upon which classes have been formulated the High Court of Ireland would take the
view that each class must be confined to those parties whose rights are not so dissimilar as to make it
impossible for them to consult together with a view to their common interest. There can be no assurance
that the High Court of Ireland will decide that the examiner’s formulation of classes was correct.




                                                    181
             Case 20-12522-JTD          Doc 2917       Filed 06/18/21        Page 193 of 835




                 5.      The Examiner May Not Be Able to Secure Confirmation of the Proposals
                         for a Scheme of Arrangement.

Section 541 of the Companies Act 2014 (Ireland) provides that the High Court of Ireland is precluded
from confirming proposals for a scheme of arrangement unless it is satisfied that the proposals are fair
and equitable in relation to any class of members or creditors that has not accepted the proposals and
whose interests or claims would be impaired by implementation of the proposals and not unfairly
prejudicial to the interests of any interested party. Whether proposals are fair and equitable or not unfairly
prejudicial to any party will usually be assessed by reference to how such party would be treated in a
liquidation, pursuant to Part 11 of the Companies Act 2014 (Ireland), of the Irish Debtors. A shareholder
or creditor should not be unfairly prejudiced and a class of shareholders or creditors should not be
considered to have been treated unfairly or inequitably if that party’s treatment approximates to, or is
better than, the manner in which such party would be treated in a liquidation of the Irish Debtors. Any
creditor or shareholder whose interests would be impaired by the proposals if implemented and who did
not vote in favor of the proposals may object to the proposals in the High Court of Ireland at the hearing
convened to confirm the proposals. The Debtors believe that the terms of the Plan insofar as they relate
to the Irish Debtors would not, if mirrored in a scheme of arrangement pursuant to Part 10 of the
Companies Act 2014 (Ireland), be unfair or inequitable to any class of shareholders or creditors of the
Irish Debtors and would not be unfairly prejudicial to the interests of any interested party. There is no
assurance however that the High Court of Ireland will reach the same conclusion.

        E.       Certain Risk Factors Related to the Canadian Recognition Proceedings

                 1.      Risk that the Canadian Court Will or Grant Recognition of the
                         Confirmation Order.

Prior to the Effective Date, the Canadian Filing Entities intend to seek recognition of the Confirmation
Order in Canada. There is a risk that the Canadian Court will not grant such recognition, which may
affect the Canadian Debtors’ ability to effectuate certain relief granted pursuant to the Confirmation
Order in Canada and channel the Canadian Opioid Claims to the Opioid MDT II.

        F.       Additional Factors

                 1.      Debtors Could Withdraw Plan

Subject to, and without prejudice to, the rights of any party in interest, the Plan may be revoked or
withdrawn before the Confirmation Date by the Debtors.

                 2.      Debtors Have No Duty to Update

The statements contained in this Disclosure Statement are made by the Debtors as of the date hereof,
unless otherwise specified herein, and the delivery of this Disclosure Statement after that date does not
imply that there has been no change in the information set forth herein since that date. Additionally, the
Debtors have no duty to update this Disclosure Statement unless otherwise ordered to do so by the
Bankruptcy Court.

                 3.      No Representations Outside this Disclosure Statement Are Authorized

No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Plan are authorized
by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this Disclosure Statement.
Any representations or inducements made to secure your acceptance or rejection of the Plan that are other



                                                     182
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 194 of 835




than those contained in, or included with, this Disclosure Statement should not be relied upon in making
the decision to accept or reject the Plan.

                 4.      No Legal or Tax Advice Is Provided by this Disclosure Statement

The contents of this Disclosure Statement should not be construed as legal, business, or tax advice. Each
holder of a Claim or Interest should consult its own legal counsel and accountant as to legal, tax, and
other matters concerning their Claim or Interest.

This Disclosure Statement is not legal advice to you. This Disclosure Statement may not be relied upon
for any purpose other than to determine how to vote on the Plan or object to confirmation of the Plan.

                 5.      No Admission Made

Nothing contained herein or in the Plan shall constitute an admission of, or shall be deemed evidence of,
the tax or other legal effects of the Plan on the Debtors or holders of Claims or Interests.

                                               X.
                                    SECURITIES LAW MATTERS

        A.       Issuance & Transfer of 1145 Securities

                 1.      Issuance

The Plan provides for the offer, issuance, sale or distribution of shares of Securities (including, the New
Mallinckrodt Ordinary Shares and New Opioid Warrants (including any New Mallinckrodt Ordinary
Shares issuable upon exercise of the New Opioid Warrants as of the Effective Date, without regard to
any limitations on the exercise of the New Opioid Warrants)) pursuant to, among other things, the
Guaranteed Unsecured Notes Claims and Opioid MDT II distributions. The Debtors believe that the
offer, issuance, sale or distribution by Reorganized Mallinckrodt of Securities, including the New
Mallinckrodt Ordinary Shares and New Opioid Warrants (including any New Mallinckrodt Ordinary
Shares issuable upon exercise of the New Opioid Warrants as of the Effective Date, without regard to
any limitations on the exercise of the New Opioid Warrants) as distributions, among others, on the
Guaranteed Unsecured Notes Claims and to the Opioid MDT II (the “1145 Securities”) will be exempt
from registration under section 5 of the Securities Act and under any state or local laws requiring
registration for offer or sale of a security pursuant to section 1145(a) of the Bankruptcy Code, except
with respect to an entity that is an underwriter as defined in section 1145(b) of the Bankruptcy Code (see
below).

Section 1145(a)(1) of the Bankruptcy Code exempts the offer and sale of securities under a plan of
reorganization from registration under section 5 of the Securities Act and state or local securities laws if
three principal requirements are satisfied: (i) the securities must be offered and sold under a plan of
reorganization and must be securities issued by the debtor, an affiliate participating in a joint plan with
the debtor, or a successor to the debtor under the plan; (ii) the securities must be in exchange for a claim
against, an interest in, or a claim for an administrative expense in the case concerning, the debtor or such
affiliate; and (iii) the securities must be issued entirely in exchange for such a claim or interest , or
“principally” in exchange for such claim or interest and “partly” for cash or property.

The issuance of the Securities under the Plan (including the New Mallinckrodt Ordinary Shares and New
Opioid Warrants (including any New Mallinckrodt Ordinary Shares issuable upon exercise of the New
Opioid Warrants as of the Effective Date, without regard to any limitations on the exercise of the New


                                                    183
           Case 20-12522-JTD             Doc 2917        Filed 06/18/21       Page 195 of 835




Opioid Warrants) on account of Guaranteed Unsecured Notes Claims and to the Opioid MDT II) satisfies
the requirements of section 1145(a)(1) of the Bankruptcy Code.

The exemptions of section 1145(a)(1) do not apply to an entity that is deemed an “underwriter” as such
term is defined in section 1145(b) of the Bankruptcy Code.

Section 1145(b)(1) of the Bankruptcy Code defines four types of “underwriters”: (A) a Person who
purchases a claim against, an interest in, or a claim for an administrative expense against the debtor with
a view to distributing any security received in exchange for such claim or interest (“accumulators”); (B)
a Person who offers to sell securities offered or sold under a plan for the holders of such securities
(“distributors”); (C) a Person who offers to buy securities offered or sold under a plan from the holders
of such securities, if the offer to buy is: (i) with a view to distributing such securities; and (ii) under an
agreement made in connection with the plan, the consummation of the plan, or with the offer or sale of
securities under the plan; and (D) a Person who is an “issuer” (as defined in section 2(a)(11) of the
Securities Act) with respect to the securities.

The definition of an “issuer” for purposes of whether a person is an underwriter under section
1145(b)(1)(D) of the Bankruptcy Code, includes Persons directly or indirectly controlling, controlled by
or under common control with the issuer. “Control,” as defined in Rule 405 of the Securities Act, means
the possession, directly or indirectly, of the power to direct or cause the direction of the management and
policies of a person, whether through the ownership of voting securities, by contract or otherwise. Such
Persons are referred to as “affiliates” of the issuer.

Accordingly, an officer or director of a reorganized debtor or its successor under a plan of reorganization
may be deemed to be an issuer for these purposes and therefore an underwriter. In addition, the legislative
history of section 1145 of the Bankruptcy Code suggests that a creditor who receives ten percent or more
of a class of securities of a reorganized debtor may be presumed to be in a relationship of “control” with
the reorganized debtor and, therefore, an underwriter, although the staff of the Securities and Exchange
Commission (the “SEC”) has not endorsed this view.

                 2.       Subsequent Transfers

Section 1145(c) of the Bankruptcy Code provides that securities issued pursuant to section 1145(a) are
deemed to have been issued in a public offering. In general, therefore, resales of and subsequent
transactions in the 1145 Securities will be exempt from registration under the Securities Act pursuant to
section 4(a)(1) of the Securities Act, unless the holder thereof is deemed to be an “issuer,” an
“underwriter” or a “dealer” with respect to such securities. A “dealer,” as defined in section 2(a)(12) of
the Securities Act, is any person who engages either for all or part of his or her time, directly or indirectly,
as agent, broker or principal, in the business of offering, buying, selling or otherwise dealing or trading
in securities issued by another person.

Notwithstanding the provisions of section 1145(b) regarding accumulators and distributors referred to
above, the staff of the SEC has taken the position that resales of securities distributed under a plan of
reorganization by accumulators and distributors of securities who are not affiliates of the issuer of such
securities are exempt from registration under the Securities Act if effected in “ordinary trading
transactions.” The staff of the SEC has indicated in this context that a transaction by such non-affiliates
may be considered an “ordinary trading transaction” if it is made on a national securities exchange or in
the over-the-counter market and does not involve any of the following factors:

        (a)      (i) concerted action by the recipients of securities issued under a plan in connection with
                 the sale of such securities or (ii) concerted action by distributors on behalf of one or
                 more such recipients in connection with such sales;

                                                     184
          Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 196 of 835




        (b)     the use of informational documents concerning the offering of the securities prepared or
                used to assist in the resale of such securities, other than a Bankruptcy Court-approved
                disclosure statement and supplements thereto, and documents filed with the SEC
                pursuant to the Exchange Act; or

        (c)     the payment of special compensation to brokers and dealers in connection with the sale
                of such securities designed as a special incentive to the resale of such securities (other
                than the compensation that would be paid pursuant to arm’s-length negotiations between
                a seller and a broker or dealer, each acting unilaterally, not greater than the compensation
                that would be paid for a routine similar-sized sale of similar securities of a similar issuer).

The staff of the SEC has not provided any guidance for privately arranged trades. The views of the staff
of the SEC on these matters have not been sought by the Debtors and, therefore, no assurance can be
given regarding the proper application of the “ordinary trading transaction” exemption described above.
Any persons intending to rely on such exemption is urged to consult their counsel as to the applicability
thereof to their circumstances.

To the extent that Persons who receive 1145 Securities pursuant to the Plan are deemed to be underwriters
(and who do not qualify for the treatment of “ordinary trading transactions” described above), resales by
such Persons of 1145 Securities would not be exempted from registration under the Securities Act or
other applicable laws by reason of section 1145 of the Bankruptcy Code and section 4(a)(1) of the
Securities Act. However, Persons deemed to be underwriters may be permitted to resell such 1145
Securities without registration pursuant to the limited safe harbor resale provisions of Rule 144
promulgated under the Securities Act or another available exemption under the Securities Act.

Generally Rule 144 of the Securities Act permits the public sale of securities if certain conditions are
met, including a required holding period, certain current public information regarding the issuer being
available and compliance with the volume, manner of sale and notice requirements. If the issuer is not
subject to the reporting requirements of section 13 or 15(d) of the Securities Exchange Act of 1934 (the
“Exchange Act”), adequate current public information as specified under Rule 144 is available if certain
company information is made publicly available, as specified in section (c)(2) of Rule 144. Reorganized
Mallinckrodt will not be subject to the reporting requirements of section 13 or 15(d) of the Exchange
Act. However, the Debtors currently expect that Reorganized Mallinckrodt will continue to be a
voluntary filer and that current public information will be available to allow resales in accordance with
Rule 144. The staff of the SEC has taken the position that Persons who are deemed to be underwriters
solely because they are affiliates of a reorganized debtor are not subject to the holding period
requirements of Rule 144. Accordingly, affiliates of Reorganized Mallinckrodt that receive 1145
Securities under the Plan may resell those securities following the Effective Date in reliance on Rule 144,
subject to applicable volume, manner of sale and notice requirements.

Whether or not any particular Person would be deemed to be an “underwriter” with respect to the 1145
Securities or any other security to be issued pursuant to the Plan depends upon various facts and
circumstances applicable to that Person. Accordingly, the Debtors express no view as to whether any
particular Person receiving 1145 Securities or any other securities under the Plan would be considered
an “underwriter” under section 1145(b) of the Bankruptcy Code with respect to such securities, or
whether such Person may freely resell such securities or the circumstances under which they may resell
such securities.

Should the Reorganized Debtors elect on or after the Effective Date to cause the New Mallinckrodt
Ordinary Shares and/or the New Opioid Warrants to be eligible for book-entry treatment under the
facilities of the Depository Trust Company (“DTC”), the Reorganized Debtors need not provide any


                                                    185
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21      Page 197 of 835




further evidence other than the Plan or the Confirmation Order with respect to the treatment of the New
Mallinckrodt Ordinary Shares and/or the New Opioid Warrants under applicable securities laws.
Notwithstanding anything to the contrary in the Plan, no Entity (including, for the avoidance of doubt,
DTC) shall be entitled to require a legal opinion regarding the validity of any transaction contemplated
by the Plan under applicable securities laws, including, for the avoidance of doubt, whether the New
Mallinckrodt Ordinary Shares and/or the New Opioid Warrants are exempt from registration and/or
eligible for DTC book-entry delivery, settlement, and depository services. DTC shall be required to
accept and conclusively rely upon the Plan or Confirmation Order in lieu of a legal opinion regarding
whether the New Mallinckrodt Ordinary Shares and/or the New Opioid Warrants are exempt from
registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

BECAUSE OF THE COMPLEX, SUBJECTIVE NATURE OF THE QUESTION OF WHETHER
A PARTICULAR PERSON MAY BE AN UNDERWRITER OR AN AFFILIATE AND THE
HIGHLY FACT-SPECIFIC NATURE OF THE AVAILABILITY OF EXEMPTIONS FROM
REGISTRATION UNDER THE SECURITIES ACT, INCLUDING THE EXEMPTIONS
AVAILABLE UNDER SECTION 1145 OF THE BANKRUPTCY CODE AND RULE 144 UNDER
THE SECURITIES ACT, NONE OF THE DEBTORS MAKES ANY REPRESENTATION
CONCERNING THE ABILITY OF ANY PERSON TO DISPOSE OF ANY SECURITIES TO BE
ISSUED UNDER OR OTHERWISE ACQUIRED PURSUANT TO THE PLAN OR ANY OTHER
AGREEMENT. THE DEBTORS RECOMMEND THAT POTENTIAL RECIPIENTS OF THE
SECURITIES TO BE ISSUED UNDER OR OTHERWISE ACQUIRED PURSUANT TO THE
PLAN CONSULT THEIR OWN COUNSEL CONCERNING WHETHER THEY MAY FREELY
TRADE SUCH SECURITIES AND THE CIRCUMSTANCES UNDER WHICH THEY MAY
RESELL SUCH SECURITIES.

                                       XI.
               CERTAIN U.S. INCOME TAX CONSEQUENCES OF THE PLAN

        A.      Introduction

The following discussion summarizes certain U.S. federal income tax consequences expected to result
from the consummation of the Plan. This discussion is only for general information purposes and only
describes the expected tax consequences to MEH, Inc. and its subsidiaries included in its U.S. federal
consolidated income tax group (collectively, the “U.S. Tax Group”) and Holders of First Lien Term
Loan Claims, First Lien Notes Claims, Second Lien Notes Claims, and Guaranteed Unsecured Notes
Claims (such Claims, collectively, the “Prepetition Debt”), General Unsecured Claims, Trade Claims
and Other Opioid Claims. It is not a complete analysis of all potential U.S. federal income tax
consequences and does not address any tax consequences arising under any state, local or non-U.S. tax
laws or U.S. federal estate or gift tax laws. This discussion is based on the Internal Revenue Code of
1986, as amended (the “Tax Code”), Treasury Regulations promulgated thereunder, judicial decisions,
and published rulings and administrative pronouncements of the Internal Revenue Service (the “IRS”),
all as in effect on the date of this Disclosure Statement. These authorities may change, possibly
retroactively, resulting in U.S. federal income tax consequences different from those discussed below.
No ruling has been or will be sought from the IRS, and no legal opinion of counsel will be rendered, with
respect to the matters discussed below. There can be no assurance that the IRS will not take a contrary
position regarding the U.S. federal income tax consequences resulting from the consummation of the
Plan or that any contrary position would not be sustained by a court.

This discussion assumes that Holders of Prepetition Debt have held such property as “capital assets”
within the meaning of Section 1221 of the Tax Code (generally, property held for investment) and will
hold the New Takeback Term Loans, Cram-Down First Lien Notes, Cram-Down Second Lien Notes,
Takeback Second Lien Notes and New Mallinckrodt Ordinary Shares as capital assets. This discussion

                                                  186
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 198 of 835




also assumes that the debt instruments to which any of the Debtors are, or Reorganized Debtors will be,
a party will be respected as debt for U.S. federal income tax purposes.

This discussion does not address all U.S. federal income tax considerations that may be relevant to a
particular Holder in light of that Holder’s particular circumstances, including the impact of the tax on net
investment income imposed by Section 1411 of the Tax Code and the effects of Section 451(b) of the
Tax Code conforming the timing of certain income accruals to financial statements. In addition, it does
not address considerations relevant to Holders subject to special rules under the U.S. federal income tax
laws, such as financial institutions, insurance companies, brokers, dealers or traders in securities,
commodities or currencies, tax-exempt organizations, tax-qualified retirement plans, partnerships and
other pass-through entities, Governmental Claimants, Holders of Settled Federal/State Acthar Claims,
Holders subject to the alternative minimum tax, Holders who utilize installment method reporting with
respect to their Claims, Holders holding Prepetition Debt, New Takeback Term Loans, Cram-Down First
Lien Notes, Cram-Down Second Lien Notes, Takeback Second Lien Notes or New Mallinckrodt
Ordinary Shares as part of a hedge, straddle or other risk reduction strategy or as part of a conversion
transaction or other integrated investment, Tribes (as defined below), Non-U.S. Holders of Other Opioid
Claims, U.S. Holders (as defined below) who have a functional currency other than the U.S. dollar, and,
with limited exceptions, Holders that are “United States shareholders” as defined by Section 951(b) of
the Tax Code with respect to Reorganized Mallinckrodt (“10% U.S. Holders”). This discussion also
does not address the U.S. federal income tax consequences to Holders (a) whose Claims are Unimpaired
or otherwise entitled to payment in full under the Plan, or (b) that are deemed to accept or deemed to
reject the Plan. Additionally, this discussion does not address any consideration being received other than
in a person’s capacity as a Holder of a Claim. This summary also does not discuss the treatment of the
receipt of New Mallinckrodt Ordinary Shares pursuant to the Management Incentive Plan. Any 10% U.S.
Holder is urged to contact its own tax advisers as to the U.S. federal income tax consequences of the Plan
to it and tax considerations relating to the ownership of New Mallinckrodt Ordinary Shares.

HOLDERS SHOULD CONSULT THEIR TAX ADVISORS REGARDING THE U.S. FEDERAL
INCOME TAX CONSEQUENCES TO THEM OF THE CONSUMMATION OF THE PLAN AND
THE OWNERSHIP AND DISPOSITION OF NEW TAKEBACK TERM LOANS, CRAM-DOWN
FIRST LIEN NOTES, CRAM-DOWN SECOND LIEN NOTES, TAKEBACK SECOND LIEN NOTES
AND/OR NEW MALLINCKRODT ORDINARY SHARES RECEIVED PURSUANT TO THE PLAN,
AS WELL AS ANY TAX CONSEQUENCES ARISING UNDER ANY STATE, LOCAL OR NON-
U.S. TAX LAWS, OR ANY OTHER U.S. FEDERAL TAX LAWS. THE DEBTORS AND THE
REORGANIZED DEBTORS SHALL NOT BE LIABLE TO ANY PERSON WITH RESPECT TO THE
TAX LIABILITY OF A HOLDER OR ITS AFFILIATES.

        B.       U.S. Federal Income Tax Consequences to the U.S. Tax Group and the Trusts

The tax consequences of the implementation of the Plan to the U.S. Tax Group may differ depending on
the nature of the Restructuring Transactions, including whether the Restructuring Transactions include
one or more taxable or non-taxable asset transfers by members of the U.S. Tax Group or any partnership
wholly or partially owned by the U.S. Tax Group (the “Alternative Structure”). Except where noted
below, this discussion assumes that the consummation of the Plan occurs without implementing any
Alternative Structure (the “Recapitalization Structure”). The Restructuring Transactions Memorandum,
which will be included with the Plan Supplement, will describe the manner in which those transactions
will be implemented.

                 1.      Cancellation of Indebtedness and Reduction of Tax Attributes

Mallinckrodt plc owns all of the stock of Mallinckrodt International Finance SA (“LuxCo”). LuxCo
owns all of the units of Mallinckrodt CB LLC (“Lux DRE”), an entity disregarded as separate from its

                                                    187
           Case 20-12522-JTD             Doc 2917        Filed 06/18/21       Page 199 of 835




owner under the Tax Code, and all of the stock of MEH, Inc. Mallinckrodt plc, LuxCo, Lux DRE and
MEH, Inc. are Debtors. LuxCo and Lux DRE are not engaged in any trade or business in the United
States. MEH, Inc. owns (directly and indirectly) all of the equity in the remaining active U.S.
subsidiaries. MEH, Inc. is the parent of the U.S. Tax Group. LuxCo and Lux DRE are the original
issuers of the Prepetition Debt, however, all of the First Lien Term Loan Claims are now characterized
for U.S. federal income tax purposes as obligations of MEH, Inc. Members of the U.S. Tax Group are
also party to Intercompany Claims owing to Debtors outside of the U.S. Tax Group.

A taxpayer generally should realize cancellation of indebtedness (“COD”) income to the extent the
adjusted issue price of debt being compromised exceeds the sum of the adjusted issue price of any new
debt issued in exchange therefor and any cash plus the fair market value of any property (including stock)
paid with respect to the debt being compromised (other than cash or property paid on account of accrued
and unpaid interest with respect thereto). Accordingly, the U.S. Tax Group generally should realize COD
income to the extent of the sum of (i) the adjusted issue price of the First Lien Term Loan Claims, and
(ii) the adjusted issue price of the Intercompany Claims described above which are not Reinstated
exceeds the sum of (x) the issue price of the New Takeback Term Loans, (y) the Cash paid to Holders of
First Lien Term Loan Claims (other than Cash paid on account of accrued and unpaid interest on such
Claims), and (z) the value of property and any cash transferred with respect to the Intercompany Claims
(other than with respect to accrued and unpaid interest). The amount of COD income that will be realized
by the U.S. Tax Group is uncertain because it will depend on the issue price of the New Takeback Term
Loans, but is expected to be substantial predominantly due to the amount of Intercompany Claims and
the likely treatment thereof.

Under Section 108 of the Tax Code, COD income realized by a debtor will be excluded from gross
income if the discharge of debt occurs in a case brought under the Bankruptcy Code, the debtor is under
the court’s jurisdiction in such case and the discharge is granted by the court or is pursuant to a plan of
reorganization approved by the court (the “Bankruptcy Exception”). Because the Bankruptcy Exception
will apply to the transactions consummated pursuant to the Plan, the U.S. Tax Group will be entitled to
exclude from gross income any COD income realized as a result of the implementation of the Plan.

Under Section 108(b) of the Tax Code, a debtor that excludes COD income from gross income under the
Bankruptcy Exception generally must reduce certain tax attributes by the amount of the excluded COD
income. Attributes subject to reduction include net operating losses (“NOLs”), NOL carryforwards and
certain other losses, credits and carryforwards, and the debtor’s tax basis in its assets (including stock of
subsidiaries). The reduction in a debtor’s tax basis in its assets generally is limited to the excess of (i) its
tax basis in assets held immediately after the discharge of indebtedness over (ii) the amount of liabilities
remaining immediately after the discharge of indebtedness (the “Liability Floor”). NOLs for the taxable
year of the discharge and NOL carryforwards to such year generally are the first attributes subject to
reduction. However, a debtor may elect under Section 108(b)(5) of the Tax Code (the “Section 108(b)(5)
Election”) to reduce its basis in its depreciable property first. If a debtor makes a Section 108(b)(5)
Election, the Liability Floor does not apply to the reduction in basis of depreciable property. The U.S.
Tax Group has not determined whether or not to make the Section 108(b)(5) Election.

As of the end of its tax year ending September 27, 2019, the U.S. Tax Group had approximately $982.3
million of NOL carryforwards. The U.S. Tax Group believes that it has generated additional NOL
carryforwards of approximately $1.8 billion from the tax year ending September 25, 2020, and may
generate additional NOLs for the tax year ending September 24, 2021. The amount of the U.S. Tax
Group’s NOLs are subject to audit and possible challenge by the IRS. Accordingly, the amount of the
U.S. Tax Group’s NOLs ultimately may vary from the amounts set forth above.

If the Recapitalization Structure is utilized and assuming that a Section 108(b)(5) Election is not made,
the U.S. Tax Group currently anticipates that the application of Section 108(b) of the Tax Code will

                                                     188
           Case 20-12522-JTD             Doc 2917        Filed 06/18/21        Page 200 of 835




result in a reduction of a significant amount of its NOLs and a substantial reduction in asset basis.
However, the ultimate effect of the attribute reduction rules is uncertain because, among other things, it
will depend on the amount of COD income realized by the U.S. Tax Group. If certain Alternative
Structures are used, members of the U.S. Tax Group may transfer, sell or be deemed to sell their assets
to newly formed entities. Accordingly, in certain of these structures, such entities may not succeed to all
or a portion of the tax attributes of the U.S. Tax Group, including any remaining consolidated NOLs or
interest deductions suspended under Section 163(j) of the Tax Code. However, such Alternative
Structures may mitigate the amount of asset basis reduction of the U.S. Tax Group under Section 108(b)
of the Tax Code as compared to the Recapitalization Structure.

                 2.       Section 382 Limitation on Net Operating Losses and Built-In Losses

The Tax Code applies certain limitations to the Reorganized Debtors’ ability to utilize the tax attributes
remaining after the reduction pursuant to excluded COD income described above. Specifically, under
Section 382 of the Tax Code, if a corporation or a consolidated group of corporations with NOLs or NOL
carryforwards, interest deductions suspended under Section 163(j) of the Tax Code (collectively with
NOLs and certain other tax attributes, the “Pre-Change Tax Attributes”) or built-in losses (a “loss
corporation”) undergoes an “ownership change,” the loss corporation’s use of its Pre-Change Tax
Attributes and recognized built-in losses (“RBILs”) generally will be subject to an annual limitation in
the post-change period. In general, an “ownership change” occurs if the percentage of the value of the
loss corporation’s stock owned by one or more direct or indirect “five percent shareholders” increases
by more than fifty percentage points over the lowest percentage of value owned by the five percent
shareholders at any time during the applicable testing period (an “Ownership Change”). The testing
period generally is the shorter of (i) the three-year period preceding the testing date or (ii) the period of
time since the most recent Ownership Change of the corporation.

Subject to the special bankruptcy rules discussed below, the amount of the annual limitation on a loss
corporation’s use of its Pre-Change Tax Attributes and RBILs is generally equal to the product of the
applicable long-term tax-exempt rate (as published by the IRS for the month in which the Ownership
Change occurs) and the value of the loss corporation’s outstanding stock immediately before the
Ownership Change (excluding certain capital contributions). If a loss corporation has a net unrealized
built-in gain (“NUBIG”) immediately prior to the Ownership Change, the annual limitation may be
increased as certain gains are recognized (or treated as recognized pursuant to the safe harbors provided
in IRS Notice 2003-65) during the five-year period beginning on the date of the Ownership Change (the
“Recognition Period”). Section 383 of the Tax Code applies a similar limitation to capital loss
carryforwards and tax credits. If a loss corporation has a net unrealized built-in loss (“NUBIL”)
immediately prior to the Ownership Change, certain losses recognized during the Recognition Period
also would be subject to the annual limitation and thus may reduce the amount of Pre-Change Tax
Attributes that could be used by the loss corporation during the Recognition Period.

A NUBIG or NUBIL is generally the difference between the fair market value of a loss corporation’s
assets (or, if greater, the amount of a loss corporation’s relevant liabilities) and its tax basis in the assets,
subject to a statutorily-defined threshold amount. The amount of a loss corporation’s NUBIG or NUBIL
must be adjusted for built-in items of income or deduction that would be attributable to a pre-change
period if recognized during the Recognition Period. The NUBIG or NUBIL of a consolidated group
generally is calculated on a consolidated basis, subject to special rules which may apply to members of
the consolidated group that were acquired from a different consolidated group (the “Subgroup Rules”).

If a loss corporation has a NUBIG immediately prior to an Ownership Change, any recognized built-in
gains (“RBIGs”) will increase the annual limitation in the taxable year the RBIG is recognized. An
RBIG generally is any gain (and certain income) with respect to an asset held immediately before the
date of the Ownership Change that is recognized during the Recognition Period to the extent of the fair

                                                      189
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 201 of 835




market value of the asset over its tax basis immediately prior to the Ownership Change. However, the
annual limitation will not be increased to the extent that the aggregate amount of all RBIGs that are
recognized during the Recognition Period exceed the NUBIG. On the other hand, if a loss corporation
has a NUBIL immediately prior to an Ownership Change, any RBILs will be subject to the annual
limitation in the same manner as Pre-Change Tax Attributes. An RBIL generally is any loss (and certain
deductions) with respect to an asset held immediately before the date of the Ownership Change that is
recognized during the Recognition Period to the extent of the excess of the tax basis of the asset over its
fair market value immediately prior to the Ownership Change. However, once the aggregate amount of
all RBILs that are recognized during the Recognition Period exceeds the NUBIL, such excess RBILs are
not subject to the annual limitation. RBIGs and RBILs may be recognized during the Recognition Period
for depreciable and amortizable assets that are not actually disposed. At this time the Debtors are not
certain whether the U.S. Tax Group will have a NUBIG or NUBIL on the Effective Date, as this will
depend on the nature of certain pre-Effective Date transactions that may occur involving members of the
U.S. Tax Group, the application of the complex Subgroup Rules and the fair value of the assets of the
U.S. Tax Group on the Effective Date.

The Debtors expect the consummation of the Plan will result in an Ownership Change of MEH, Inc.
Because the Ownership Change will occur in a case brought under the Bankruptcy Code, one of the
following two special rules should apply in determining the ability of the Reorganized Debtors to utilize
in post-Effective Date tax periods Pre-Change Tax Attributes and RBILs attributable to tax periods
preceding the Effective Date provided there is no Ownership Change of the U.S. Tax Group prior to the
Effective Date.

Under Section 382(l)(5) of the Tax Code, an Ownership Change in bankruptcy will not result in any
annual limitation on the debtor’s Pre-Change Tax Attributes and RBILs arising during the Recognition
Period if the stockholders and qualified creditors of the debtor receive at least 50% of the stock (by vote
and value) of the reorganized debtor in the bankruptcy reorganization as a result of being stockholders
or creditors of the debtor. Instead, the debtor’s pre-change NOLs are reduced by the amount of any
interest deductions with respect to debt converted into stock in the bankruptcy reorganization that were
allowed in the three full taxable years preceding the taxable year in which the Ownership Change occurs
and in the part of the taxable year prior to and including the date of the Ownership Change attributable
to the bankruptcy reorganization (the “Plan Ownership Change”). However, if any Pre-Change Tax
Attributes and built-in losses of the debtor already are subject to an annual usage limitation under Section
382 of the Tax Code at the time of an Ownership Change subject to Section 382(l)(5) of the Tax Code,
those Pre-Change Tax Attributes and built-in losses generally will continue to be subject to such
limitation.

A qualified creditor is any creditor who has held the debt of the debtor continuously beginning at least
eighteen months prior to the petition date through the Effective Date or who has held “ordinary course
indebtedness” that has been owned at all times by such creditor. A creditor who does not become a direct
or indirect five percent shareholder of the reorganized debtor generally may be treated by the debtor as
having always held any debt owned immediately before the Ownership Change, unless the creditor’s
participation in formulating the plan of reorganization makes evident to the debtor that the creditor has
not owned the debt for the requisite period.

A debtor may elect not to apply Section 382(l)(5) of the Tax Code to an Ownership Change that otherwise
satisfies its requirements. This election must be made on the debtor’s U.S. federal income tax return for
the taxable year in which the Ownership Change occurs. If Section 382(l)(5) of the Tax Code applies to
an Ownership Change (and the debtor does not elect out), any subsequent Ownership Change of the
debtor within the two-year period following the date of the Plan Ownership Change will result in the
debtor being unable to use any pre- change losses in any taxable year ending after such subsequent
Ownership Change to offset future taxable income.

                                                    190
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21        Page 202 of 835




If an Ownership Change pursuant to a plan of reorganization in chapter 11 does not satisfy the
requirements of Section 382(l)(5) of the Tax Code, or if a debtor elects not to apply Section 382(l)(5) of
the Tax Code, the debtor’s use of its Pre-Change Tax Attributes and RBILs arising during the
Recognition Period will be subject to an annual limitation as determined under Section 382(l)(6) of the
Tax Code. In such case, the amount of the annual limitation generally will be equal to the product of the
applicable long-term tax-exempt rate (1.64% for ownership changes occurring in May 2021) and the
value of the debtor’s outstanding stock (in this case, the stock of MEH, Inc.) immediately after the
bankruptcy reorganization, provided such value may not exceed the value of the debtor’s gross assets
immediately before the Ownership Change, subject to certain adjustments. However, if any Pre-Change
Tax Attributes and built-in losses of the debtor already are subject to an annual limitation at the time of
an Ownership Change subject to Section 382(l)(6) of the Tax Code, those Pre-Change Tax Attributes
and built-in losses will generally be subject to the lower of the two annual limitations.

The Debtors are unable to determine whether the Ownership Change expected to result from the
consummation of the Plan satisfies the requirements of Section 382(l)(5) of the Tax Code, as such
determination will depend on, among other things, the extent to which Holders of the Prepetition Debt
immediately prior to consummation of the Plan may be treated as qualified creditors for purposes of
Section 382(l)(5) of the Tax Code. If the Reorganized Debtors determine that the Ownership Change
resulting from the consummation of the Plan may satisfy the requirements of Section 382(l)(5) of the
Tax Code, the Reorganized Board, in consultation with the Supporting Unsecured Noteholders (and
subject to any other consent and/or consultation rights in the Restructuring Support Agreement), will
determine whether or not the U.S. Tax Group will elect out of Section 382(l)(5) of the Tax Code. In the
event that the U.S. Tax Group elects out of or fails to qualify for Section 382(l)(5) of the Tax Code, the
U.S. Tax Group’s Pre-Change Tax Attributes remaining after reduction for excluded COD income will,
pursuant to Section 382(l)(6) of the Tax Code, be subject to an annual limitation generally equal to the
product of the long-term tax-exempt rate for the month in which the Plan Ownership Change occurs and
the value of the stock of MEH, Inc. (or its successor) immediately after consummation of the Plan. This
base limitation is expected to limit the U.S. Tax Group’s ability to use a material portion of its remaining
Pre-Change Tax Attributes in each taxable period following the Effective Date. Subject to the application
of the Subgroup Rules, the base limitation would then be increased by RBIGs recognized during the
Recognition Period in the event that the U.S. Tax Group has a NUBIG. Pre-Change Tax Attributes not
utilized in a given year due to the annual limitation generally may be carried forward for use in future
years. To the extent the U.S. Tax Group’s annual limitation following the Effective Date exceeds its
taxable income (for purposes of Section 382) in a given year, the excess will increase the annual
limitation in future taxable years.

                 3.      Alternative Structures

The Debtors and the Supporting Unsecured Noteholders, in consultation with the Supporting Parties, are
evaluating the Alternative Structures, whereby the assets of some of the Debtors (including stock in their
subsidiaries) would be transferred or deemed transferred to Reorganized Mallinckrodt and/or certain of
its subsidiaries in transactions that could be treated as taxable and/or non-taxable asset transfers for U.S.
federal income tax purposes. Those Debtors which are members of the U.S. Tax Group which engage in
taxable transfers (or are deemed to do so) pursuant to an Alternative Structure could recognize gain equal
to the excess, if any, of the fair market value (as of the relevant closing date) of their assets over the tax
basis in such assets (as of the relevant closing date). Some or all of such gain may be offset with the Pre-
Change Tax Attributes and losses recognized in the taxable asset transfers. In certain of the Alternative
Structures, the Reorganized Debtors, Reorganized Mallinckrodt or their Affiliates may not succeed to
some or all of the remaining Pre-Change Tax Attributes, but the assets of some or all of the Reorganized
Debtors would have basis equal to fair market value, which could result in greater depreciation and
amortization deductions as compared to the Recapitalization Structure.


                                                     191
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 203 of 835




                 4.      The Trusts

The tax treatment of transfers of property by Debtors to the Opioid MDT II and any other trust formed
in connection with the Restructuring Transactions (the “Trusts”) will vary depending on the
characterization of each of the Trusts, e.g., as a “grantor trust” as defined by Section 671 et seq. of the
Tax Code, or as a “qualified settlement fund” (“QSF”) as defined by Treasury Regulation Section
1.468B-1 et seq. The Restructuring Support Agreement requires that the Opioid MDT II be treated as a
QSF for U.S. federal income tax purposes, and the Debtors currently expect that the other Trusts formed
in connection with the Restructuring Transactions will be treated as QSFs. Assuming that each of the
Trusts is treated as a QSF, the U.S. Tax Group should be entitled to a deduction for the payments it makes
or is deemed to make to the Trusts in the taxable year in which such payment was made to the same
extent it would have been entitled to a deduction if such amounts had been paid directly to the Holder of
an Opioid Claim. Accordingly, the determination of whether the payments to the Trusts are deductible
will depend upon a number of factors, including (i) the extent to which such payments are made or
deemed to be made by the U.S. Tax Group, (ii) the identity of the Holders of Opioid Claims and allocation
of payments among such Holders, (iii) the permitted uses of such payments by the Holders of Opioid
Claims pursuant to the Opioid MDT II Documents and (iv) if the U.S. Tax Group has a NUBIL, the
extent to which the payments to the Trusts are treated as subject to any limitation on RBILs. Subject to
definitive guidance from the IRS or a court of competent jurisdiction to the contrary, or the receipt of a
determination by the IRS, the Opioid MDT II shall treat the Other Opioid Claims Reserve as a “disputed
ownership fund” governed by Treasury Regulation section 1.468B-9 and to the extent permitted by
applicable law, report consistently with the foregoing for state and local income tax purposes. All parties
(including, to the extent applicable, the Opioid MDT II and Holders of Other Opioid Claims) shall be
required to report for tax purposes consistently with the foregoing.

If the Trusts are QSFs, they will be treated as separate taxable entities. Their modified gross income will
consist generally of investment earnings and gains on assets recognized by the Trusts (less administrative
fees and related costs). Each Trust's modified gross income will generally be subject to U.S. federal
income tax at the maximum rate applicable to trusts, which is currently thirty-seven percent (37%);
provided that the income of certain of the Trusts may be exempt from U.S. federal income tax, including
pursuant to Section 115 of the Tax Code, and certain of the Trusts may seek guidance from the IRS to
that effect. For purposes of determining the Trusts' modified gross income, payments to the Trusts from
the Debtors and payments from the Trusts to Claimants in settlement of their Claims will not be taken
into account. The Trusts’ basis of the assets received will generally be the fair market value of such assets
at the time of transfer.

        C.       U.S. Federal Income Tax Consequences to Holders of Certain Claims

                 1.      Definition of U.S. Holder and Non-U.S. Holder

A “U.S. Holder” is a beneficial owner of the Prepetition Debt, New Takeback Term Loans, Cram-Down
First Lien Notes, Cram-Down Second Lien Notes, Takeback Second Lien Notes or New Mallinckrodt
Ordinary Shares, that for U.S. federal income tax purposes, is or is treated as:

       an individual who is a citizen or resident of the United States;

       a corporation created or organized under the laws of the United States, any state thereof, or the
        District of Columbia;

       an estate, the income of which is subject to U.S. federal income tax regardless of its source;



                                                    192
          Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 204 of 835




       a trust that (1) is subject to the primary supervision of a U.S. court and the control of one or more
        “United States persons” (within the meaning of Section 7701(a)(30) of the Tax Code), or (2) has
        a valid election in effect to be treated as a United States person for U.S. federal income tax
        purposes;

       the government of the United States, any state, political subdivision or territory thereof or the
        District of Columbia; or

       any American Indian or Alaska Native Tribe, band, nation, pueblo, village or community, that
        the U.S. Secretary of the Interior acknowledges as an Indian Tribe, as provided in the Federally
        Recognized Tribe List Act of 1994, 25 U.S.C. section 5130, and as periodically listed by the U.S.
        Secretary of the Interior in the Federal Register pursuant to 25 U.S.C. section 5131; and any
        “Tribal Organization” as provided in the Indian Self-Determination and Education Assistance
        Act of 1975, as amended, 25 U.S.C. section 5304(l) (“Tribes”).

A “Non-U.S. Holder” means a beneficial owner of the Prepetition Debt, New Takeback Term Loans,
Cram-Down First Lien Notes, Cram-Down Second Lien Notes, Takeback Second Lien Notes or New
Mallinckrodt Ordinary Shares that is not a U.S. Holder and is, for U.S. federal income tax purposes, an
individual, corporation (or other entity classified as a corporation for U.S. federal income tax purposes),
estate or trust.

If a partnership or other entity or arrangement classified as a partnership for U.S. federal income tax
purposes holds Prepetition Debt, New Takeback Term Loans, Cram-Down First Lien Notes, Cram-Down
Second Lien Notes, Takeback Second Lien Notes or New Mallinckrodt Ordinary Shares, the tax
treatment of a partner in such partnership generally will depend upon the status of the partner and the
activities of the partnership. Beneficial owners of the Prepetition Debt, New Takeback Term Loans,
Cram-Down First Lien Notes, Cram-Down Second Lien Notes, Takeback Second Lien Notes or New
Mallinckrodt Ordinary Shares who are partners in a partnership holding any of such instruments should
consult their tax advisors.

                2.       U.S. Holders of First Lien Term Loan Claims (Classes 2(b) and 2(c))

                         a.      Term Loan Exchange

Debtors’ Option. At the Debtors’ option, the First Lien Term Loans will be (i) exchanged for (A) the
New Takeback Term Loans, (B) repayment in full in Cash of the First Lien Term Loans Accrued and
Unpaid Interest, and (C) the Term Loan Exit Payment (the “Term Loan Exchange”) or (ii) paid in full
in Cash.

Significant Modification. An actual exchange of debt instruments will be treated as an exchange, rather
than as a continuation of the old debt instrument, for U.S. federal income tax purposes if the differences
between the old and new debt instrument constitute a “significant modification” of the old debt
instrument under applicable Treasury Regulations. A “significant modification” occurs if, based on all
the facts and circumstances and taking into account all modifications of the debt instrument collectively,
the legal rights or obligations that are altered and the degree to which they are altered is “economically
significant.”

Prior modifications to the First Lien Term Loans, including in connection with the Chapter 11 Cases,
may have resulted in one or more significant modifications. Further, on the basis of these Treasury
Regulations, the Term Loan Exchange should result in a “significant modification” of the First Lien Term
Loans and thus an exchange for U.S. federal income tax purposes of the First Lien Term Loans for the
New Takeback Term Loans.

                                                    193
           Case 20-12522-JTD             Doc 2917        Filed 06/18/21       Page 205 of 835




Treatment as Security. The U.S. federal income tax consequences of the Term Loan Exchange will also
depend on whether the First Lien Term Loans and New Takeback Term Loans constitute “securities” for
purposes of the provisions of the Tax Code relating to tax-free transactions. The test of whether a debt
obligation is a security involves an overall evaluation of the nature of the obligation, with the term of the
obligation usually regarded as one of the most significant factors. Debt obligations with a term of five
years or less generally have not qualified as securities, whereas debt obligations with a term of ten years
or more generally have qualified as securities. Another important factor in determining whether a debt
obligation is a security is the extent to which the obligation is senior to or subordinated to other liabilities
of the issuer. Generally, the more senior the debt obligation, the less likely it is to be a security.

Although the matter is not free from doubt, the Debtors intend to take the position that each of the 2024
First Lien Term Loans and 2025 First Lien Term Loans constitute securities for U.S. federal income tax
purposes because each had an original term which exceeded ten years. While the First Lien Term Loans
may have been significantly modified one or more times prior to the Effective Date, the Debtors currently
intend to take the position that such significant modifications should not alter the conclusion that the
First Lien Term Loans constitute securities, consistent with IRS Revenue Ruling 2004-78, though there
can be no assurances that the IRS won’t take a contrary position. Although the matter is not free from
doubt, the Debtors intend to take the position that the New Takeback Term Loans constitute securities
for U.S. federal income tax purposes because they have a term of greater than five years. If the First
Lien Term Loans and New Takeback Term Loans are each securities, the Term Loan Exchange will be
a nontaxable exchange for U.S. federal income tax purposes, except as discussed below under “—Issuer
for Tax Purposes” and “—Nontaxable Exchange—Recognition of Gain or Loss”. However, if the First
Lien Term Loans and/or the New Takeback Term Loans are not securities, the Term Loan Exchange will
be a taxable exchange for U.S. federal income tax purposes.

Issuer for Tax Purposes. As noted above, all of the First Lien Term Loans are now characterized for
U.S. federal income tax purposes as obligations of MEH, Inc. If no action is taken prior to the Effective
Date, the Debtors also intend to treat all of the New Takeback Term Loans as obligations of MEH, Inc.
However, the Debtors or Reorganized Debtors continue to evaluate which entity or entities should be
characterized as the issuer of the New Takeback Term Loans for U.S. federal income tax purposes and
may take certain actions the effect of which would be to designate all or a portion of the New Takeback
Term Loans as obligations of LuxCo, LuxDRE or a direct or indirect subsidiary of LuxCo domiciled
outside the United States (each, a “Non-U.S. Subsidiary”). Except as noted below, this discussion
assumes that the New Takeback Term Loans will not be issued by a Non-U.S. Subsidiary.

If all or a portion of the New Takeback Term Loans are treated as obligations of a Non-U.S. Subsidiary,
(i) the Term Loan Exchange with respect to such New Takeback Term Loans would be a taxable
exchange for U.S. federal income tax purposes, and (ii) a U.S. Holder of such New Takeback Term Loans
would be subject to special U.S. tax considerations, discussed below under “—New Takeback Term
Loans”.

A U.S. Holder should contact its tax advisor if all or a portion of the New Takeback Term Loans
are treated as obligations of a Non-U.S. Subsidiary.

                                   (1)      Nontaxable Exchange

Recognition of Gain or Loss. If the Term Loan Exchange generally qualifies as a nontaxable exchange,
a U.S. Holder should not recognize income, gain or loss except that (i) a U.S. Holder should recognize
interest income to the extent that the Cash received in the Term Loan Exchange is allocable to accrued
interest (discussed below under “—Accrued but Untaxed Interest”) and (ii) a U.S. Holder should
recognize gain (but not loss) to the extent of the lesser of the remaining Cash received in the Term Loan
Exchange and the amount of gain, if any, realized in the Term Loan Exchange. The character of such

                                                     194
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 206 of 835




gain or loss as capital or ordinary will be determined by a number of factors, including (but not limited
to) the tax status of the U.S. Holder, whether the First Lien Term Loans constitutes a capital asset in the
U.S. Holder’s hands, whether the First Lien Term Loans have market discount, and whether and to what
extent the U.S. Holder previously claimed a bad debt deduction with respect to the First Lien Term Loans.
Gain realized must be calculated separately for each identifiable block of First Lien Term Loans
surrendered in the Term Loan Exchange, and the deductibility of capital losses is subject to limitations.
Any capital gain recognized in the Term Loan Exchange will generally be long-term capital gain if the
U.S. Holder has held the First Lien Term Loans for more than one year as of the date of disposition. A
U.S. Holder’s tax basis in the New Takeback Term Loans should generally be equal to the U.S. Holder’s
tax basis in the First Lien Term Loans surrendered in the non-taxable exchange, increased by any gain
recognized on the exchange and decreased by Cash received in exchange for the First Lien Term Loans.
A U.S. Holder’s holding period for the New Takeback Term Loans will include the holding period of the
First Lien Term Loans surrendered in exchange.

Term Loan Exit Payment. The tax treatment of the receipt of the Term Loan Exit Payment by a U.S.
Holder is subject to uncertainty because there are no cases or published rulings that directly address the
treatment of such payments. Subject to the discussion below regarding accrued but untaxed interest, any
amount received by a holder on retirement of a debt instrument generally is treated for U.S. federal
income tax purposes as being received in exchange for the debt instrument. We therefore intend to treat
the Term Loan Exit Payment as additional consideration received by a U.S. Holder in exchange for its
First Lien Term Loans. There can be no assurance, however, that the IRS will agree with such treatment.
If so treated, the Term Loan Exit Payment would be taken into account in determining the amount of
gain or loss, if any, on the Term Loan Exchange, in the manner described in the discussion above. It is
also possible that the Term Loan Exit Payment may be treated as a separate fee rather than as additional
consideration for a First Lien Term Loan, in which case the Term Loan Exit Payment could be subject
to tax as ordinary income. U.S. Holders are encouraged to consult their tax advisors as to the proper
treatment of the Term Loan Exit Payment.

Accrued but Untaxed Interest. To the extent a Holder of a First Lien Term Loan Claim receives
consideration that is attributable to unpaid accrued interest on the First Lien Term Loan Claim, the Holder
may be required to treat such consideration as a payment of interest. In this regard, the Plan provides that
(i) Cash paid in respect of the First Lien Term Loans Accrued and Unpaid Interest shall be allocated first
to the unpaid interest that has accrued on the First Lien Term Loans Claims, with any excess allocated
to the principal amount of such Claims (in each case as determined for U.S. federal income tax purposes)
and (ii) all distributions in full or partial satisfaction of Allowed Claims (other than First Lien Term
Loans Claims) shall be allocated first to the principal amount of Allowed Claims (other than First Lien
Term Loans Claims), with any excess allocated to unpaid interest that accrued on such Claims (in each
case as determined for U.S. federal income tax purposes). Notwithstanding the Plan provision, there is
general uncertainty regarding the extent to which the receipt of cash or other property should be treated
as attributable to unpaid accrued interest. Certain legislative history indicates that an allocation of
consideration as between principal and interest provided in a chapter 11 plan of reorganization is binding
for U.S. federal income tax purposes, while certain Treasury Regulations treat payments as allocated first
to any accrued but untaxed interest. To the extent any property received pursuant to the Plan is considered
attributable to unpaid accrued interest (including but not limited to the Cash paid in respect of the First
Lien Term Loans Accrued and Unpaid Interest), a Holder will recognize ordinary income to the extent
the value of the property exceeds the amount of unpaid accrued interest previously included in gross
income by the Holder. A Holder’s tax basis in such property should be equal to the amount of interest
income treated as satisfied by the receipt of the property, and its holding period in the property should
begin on the day after the Effective Date. A Holder generally will be entitled to recognize a loss to the
extent any accrued interest previously included in its gross income is not paid in full. Although not
entirely clear, such a loss may be treated as an ordinary loss rather than a capital loss.


                                                    195
           Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 207 of 835




HOLDERS SHOULD CONSULT THEIR TAX ADVISORS REGARDING THE EXTENT TO
WHICH CONSIDERATION RECEIVED UNDER THE PLAN SHOULD BE TREATED AS
ATTRIBUTABLE TO UNPAID ACCRUED INTEREST.

Market Discount. In general, a debt instrument is considered to have been acquired with “market
discount” if it is acquired other than on original issue and if the U.S. Holder’s initial tax basis in the debt
instrument is less than (i) the sum of all remaining payments to be made on the debt instrument, excluding
“qualified stated interest” or (ii) in the case of a debt instrument issued with original issue discount
(“OID”), its adjusted issue price, in each case, by at least a de minimis amount (equal to 0.25% of the
sum of all remaining payments to be made on the debt instrument, excluding qualified stated interest,
multiplied by the number of remaining whole years to maturity).

Any gain recognized by a U.S. Holder on the disposition of a First Lien Term Loan Claim that was
acquired with market discount should be treated as ordinary income to the extent of the market discount
that accrued thereon while such Claim was considered to be held by the U.S. Holder (unless the U.S.
Holder elected to include market discount in income as it accrued). Any accrued but unrecognized
market discount on the First Lien Term Loan Claims after the application of the prior sentence will not
have to be recognized as income at the time of the Term Loan Exchange. However, such accrued market
discount will generally carry over to the New Takeback Term Loans received by the U.S. Holder in the
Term Loan Exchange and any gain recognized on a subsequent taxable disposition of the New Takeback
Term Loans may have to be treated as ordinary income to the extent of such accrued but unrecognized
market discount. In addition, if a U.S. Holder acquired the First Lien Term Loan at market discount, the
New Takeback Term Loan may be treated as acquired at a market discount as discussed below.

                                  (2)      Taxable Exchange

Recognition of Gain or Loss. If the Term Loan Exchange constitutes a taxable exchange, the U.S. Holder
should recognize gain or loss equal to the difference between (i) the sum of the fair market value of New
Takeback Term Loans and any Cash, in each case, received in the taxable exchange (other than the
amount of New Takeback Term Loans or Cash, in each case, allocable to accrued interest, discussed
above under “—Non-Taxable Exchange—Accrued but Untaxed Interest”) and (ii) the U.S. Holder’s
adjusted tax basis in the First Lien Term Loans Claims surrendered in the taxable exchange for such New
Takeback Term Loans. The character of such gain or loss as capital or ordinary will be determined by a
number of factors, including (but not limited to) the tax status of the U.S. Holder, whether the First Lien
Term Loan Claims constitute capital assets in the U.S. Holder’s hands, whether the First Lien Term Loan
Claims have been held for more than one year, whether the First Lien Term Loan Claims have market
discount, and whether and to what extent the U.S. Holder previously claimed a bad debt deduction with
respect to the First Lien Term Loan Claims. Gain or loss realized must be calculated separately for each
identifiable block of First Lien Term Loan Claims surrendered in the Term Loan Exchange, and the
deductibility of capital losses is subject to limitations. A U.S. Holder’s tax basis in New Takeback Term
Loans (other than New Takeback Term Loans, if any, allocable to accrued interest) should equal the fair
market value of New Takeback Term Loans on the Effective Date. A U.S. Holder’s holding period for
the New Takeback Term Loans should begin on the day following the Effective Date.

Market Discount. Under the “market discount” provisions of the Tax Code, some or all of any gain
realized by a U.S. Holder in the Term Loan Exchange may be treated as ordinary income (instead of
capital gain), to the extent of the amount of accrued “market discount” on such U.S. Holder’s First Lien
Term Loans Claims (unless the U.S. Holder elected to include “market discount” in income as it accrued).
In general, a debt instrument is considered to have been acquired with “market discount” if it is acquired
other than on original issue and if the U.S. Holder’s initial tax basis in the debt instrument is less than (i)
the sum of all remaining payments to be made on the debt instrument, excluding “qualified stated
interest” or (ii) in the case of a debt instrument issued with OID, its adjusted issue price, in each case, by

                                                     196
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 208 of 835




at least a de minimis amount (equal to 0.25% of the sum of all remaining payments to be made on the
debt instrument, excluding qualified stated interest, multiplied by the number of remaining whole years
to maturity).

                         b.      New Takeback Term Loans

Issue Price. The issue price of a debt instrument issued in exchange for another debt instrument depends
on whether either debt instrument is considered “traded on an established market” (“publicly traded”). If
the New Takeback Term Loans are treated as “publicly traded” for U.S. federal income tax purposes, the
“issue price” of the New Takeback Term Loans will be the fair market value of the New Takeback Term
Loans as of their issue date. If the 2024 First Lien Term Loans and/or 2025 First Lien Term Loans are,
but the New Takeback Term Loans are not, treated as publicly traded for U.S. federal income tax
purposes, then the issue price of the New Takeback Term Loans received in exchange for the relevant
First Lien Term Loans will be the fair market value of the First Lien Term Loans exchanged for the New
Takeback Term Loans, as determined on the issue date of the New Takeback Term Loans. If neither the
First Lien Term Loans nor the New Takeback Term Loans are treated as publicly traded, then the issue
price of the New Takeback Term Loans issued in exchange for the First Lien Term Loans will be the
principal amount of such New Takeback Term Loans.

The New Takeback Term Loans will be considered to be publicly traded if, at any time during the 31-
day period ending 15 days after their issue date, the New Takeback Term Loans are traded on an
“established market.” The New Takeback Term Loans will be considered to trade on an established
market if (i) there is a price for an executed purchase or sale of the New Takeback Term Loans that is
“reasonably available” within a reasonable period of time after the sale; (ii) there is at least one price
quote for the New Takeback Term Loans from at least one reasonably identifiable broker, dealer or
pricing service, which price quote is substantially the same as the price for which the person receiving
the quoted price could purchase or sell the New Takeback Term Loans (a “firm quote”), or (iii) there is
at least one price quote for the New Takeback Term Loans other than a firm quote, available from at least
one such broker, dealer, or pricing service.

Treasury Regulations require the Reorganized Debtors to make a determination as to whether the First
Lien Term Loans or New Takeback Term Loans are publicly traded, and if the Reorganized Debtors
determine that the First Lien Term Loans or New Takeback Term Loans are publicly traded, to determine
the fair market value of the New Takeback Term Loans on their issue date which will establish their
“issue price.” The Treasury Regulations require the Reorganized Debtors to make such determinations
available to U.S. Holders in a commercially reasonable fashion, including by electronic publication,
within 90 days of the issue date of the New Takeback Term Loans. The Treasury Regulations provide
that each of these determinations is binding on a Holder unless the Holder satisfies certain conditions.
Certain rules apply as to whether a sales price or quote may establish the fair market value of the New
Takeback Term Loans and under what conditions the Reorganized Debtors may otherwise establish the
fair market value of the New Takeback Term Loans.

Because the relevant trading period for determining whether the First Lien Term Loans and New
Takeback Term Loans are publicly traded and the issue price of the New Takeback Term Loans has not
yet occurred, the Debtors are unable to determine the issue price of the New Takeback Term Loans at
this time. It appears likely that New Takeback Term Loans will be publicly traded during the relevant
period, in which case the issue price of the New Takeback Term Loans will be their fair market value as
of their issue date.

Payments of Qualified Stated Interest. Payments of qualified stated interest on a New Takeback Term
Loan generally will be taxable to a U.S. Holder as ordinary income at the time such interest is received
or accrued, in accordance with such U.S. Holder’s method of tax accounting for U.S. federal income tax

                                                   197
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 209 of 835




purposes. Such interest income will be treated as U.S. source to the extent the New Takeback Term
Loans are treated as obligations of the U.S. Tax Group, and will generally be treated as foreign source if
treated as an obligation of a Non-U.S. Subsidiary. Qualified stated interest generally means stated
interest that is unconditionally payable in cash or in property (other than debt instruments of the issuer)
at least annually at a single fixed rate or a single qualified floating rate.

Contingent Payment Debt Instruments. Under certain circumstances, the Reorganized Debtors may
become obligated to make prepayments of principal on the New Takeback Term Loans prior to their
stated maturity date. The obligation to make these payments may implicate the provisions of the Treasury
Regulations relating to contingent payment debt instruments. Treasury Regulations provide special rules
for contingent payment debt instruments which, if applicable, could cause the timing, amount and
character of a holder’s income, gain or loss with respect to the New Takeback Term Loans to be different
from the consequences discussed herein. Although the issue is not free from doubt, the Debtors currently
intend to take the position that the possibility of the payment of such partial prepayments will not result
in the New Takeback Term Loans being treated as a contingent payment debt instrument under the
applicable Treasury Regulations, but such determination will ultimately have to be based on the relevant
facts and circumstances on the Effective Date. The Debtors’ position is binding on a holder subject to
U.S. federal income taxation unless such holder discloses on its tax return that such holder is taking a
contrary position. This position is not binding on the IRS, which may take a contrary position and treat
the New Takeback Term Loans as a contingent payment debt instrument. The remainder of this
discussion assumes that the New Takeback Term Loans are not treated as contingent payment debt
instruments. Holders should consult with their tax advisors about the potential tax consequences if the
New Takeback Term Loans is determined to be a contingent payment debt instrument.

Original Issue Discount. The New Takeback Term Loans will be treated as issued with OID for U.S.
federal income tax purposes if the “stated redemption price at maturity” exceeds their “issue price” (see
“—Issue Price” above) by an amount equal to or more than a statutorily defined de minimis amount
(generally, 0.0025 multiplied by the product of the stated redemption price at maturity and the number
of complete years to maturity). The “stated redemption price at maturity” of the New Takeback Term
Loans is the total of all payments to be made under the New Takeback Term Loans other than qualified
stated interest.

If the New Takeback Term Loans were treated as having been issued with more than de minimis OID,
U.S. Holders would be required to include the OID in ordinary income on an annual basis under a
constant yield accrual method regardless of such U.S. Holder’s regular method of accounting for U.S.
federal income tax purposes. Any such OID will generally be treated as U.S. source to the extent the
New Takeback Term Loans are treated as obligations of the U.S. Tax Group, and will generally be treated
as foreign source if treated as an obligation of a Non-U.S. Subsidiary. A U.S. Holder must include in
income in each taxable year the sum of the daily portions of OID for each day on which it held a Loan
during the taxable year. To determine the daily portions of OID, the amount of OID allocable to an
accrual period is determined, and a ratable portion of such OID is allocated to each day in the accrual
period. An accrual period may be of any length and the length of the accrual periods may vary over the
life of the New Takeback Term Loan, provided that no accrual period may be longer than one year and
each scheduled payment of interest or principal on the New Takeback Term Loan must occur on either
the first day or last day of an accrual period. The amount of OID allocable to an accrual period will equal
(A) the product of (i) the New Takeback Term Loan’s adjusted issue price at the beginning of the accrual
period and (ii) the New Takeback Term Loan’s yield to maturity (adjusted to reflect the length of the
accrual period), less (B) any qualified stated interest allocable to the accrual period.

A New Takeback Term Loan’s adjusted issue price at any time generally will be its original issue price,
increased by the amount of OID on such New Takeback Term Loan accrued for each prior accrual period
and decreased by the amount of payments on such New Takeback Term Loan other than payments of

                                                   198
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 210 of 835




qualified stated interest. A New Takeback Term Loan’s yield to maturity is the discount rate that, when
used in computing the present value of all principal and interest payments to be made on the New
Takeback Term Loan, produces an amount equal to the New Takeback Term Loan’s original issue price.

Amortizable Bond Premium and Acquisition Premium. To the extent a U.S. Holder’s initial tax basis in
a New Takeback Term Loan is greater than its stated redemption price at maturity, the U.S. Holder
generally will be considered to have acquired the New Takeback Term Loan with amortizable bond
premium (and would not be required to accrue any OID on the New Takeback Term Loan). Generally, a
holder that acquires a debt obligation at a premium may elect to amortize bond premium from the
acquisition date to the debt’s maturity date under a constant yield method. Once made, this election
applies to all debt obligations held or subsequently acquired by the U.S. Holder on or after the first day
of the first taxable year to which the election applies and may not be revoked without the consent of the
IRS. The amount amortized in any taxable year generally is treated as an offset to payments of qualified
stated interest on the related debt obligation.

If a U.S. Holder’s initial adjusted tax basis in New Takeback Term Loan is less than its stated redemption
price at maturity but greater than its issue price, the U.S. Holder generally will be considered to have
acquisition premium with respect to the New Takeback Term Loans. In such case, the U.S. Holder may
reduce the accrual of OID on the New Takeback Term Loans by a fraction the numerator of which is the
excess of the U.S. Holder’s initial adjusted basis over the issue price and the denominator of which is the
stated redemption price over such issue price.

Market Discount. If the Term Loan Exchange qualifies as a non-taxable transaction and in the Exchange
the US Holder exchanges a First Lien Term Loan with accrued market discount, then (i) the accrued
market discount, except to the extent recognized as ordinary income, will carry over to the New Takeback
Term Loan received by the US Holder in the Exchange and (ii) such New Takeback Term Loan should
also have market discount to the extent its issue price exceeds the US Holder’s initial tax basis (increased
solely for these purposes by the accrued market discount described in (i)) by more than the statutorily
defined de minimis amount. In such case, a U.S. Holder may elect to accrue such market discount over
the term of the New Takeback Term Loan. In addition, such U.S. Holder may be required to defer, until
the maturity of the New Takeback Term Loan or its earlier disposition in a taxable transaction, the
deduction of all or a portion of the interest expense on any indebtedness incurred or continued to purchase
or carry the New Takeback Term Loan, in the absence of an election to accrue market discount currently.
Any market discount will be considered to accrue ratably during the period from the date of acquisition
to the maturity date of the New Takeback Term Loan unless a U.S. Holder elects to accrue on a constant
yield method. A U.S. Holder may elect to include market discount in income currently as it accrues, on
either a ratable or constant yield method.

Sale, Retirement or Other Taxable Disposition. A U.S. Holder of a New Takeback Term Loan will
recognize gain or loss upon the sale, redemption, retirement or other taxable disposition of the New
Takeback Term Loan equal to the difference between the amount realized upon the disposition (less a
portion allocable to any accrued interest that has not yet been included in income by the U.S. Holder,
which generally will be taxable as ordinary income) and the U.S. Holder’s adjusted tax basis in the New
Takeback Term Loan. Any gain or loss on the sale, redemption, retirement or other taxable disposition
of the New Takeback Term Loans generally will be capital gain or loss, and will be long-term capital
gain or loss if the U.S. Holder has held the New Takeback Term Loan for more than one year as of the
date of disposition. However, any accrued market discount carried over from the First Lien Term Loan
(as discussed above under “—Term Loan Exchange—Non-Taxable Exchange—Market Discount”) or
accrued on the New Takeback Term Loan (as discussed above under “—Market Discount “) will be
treated as ordinary income to the extent of any gain, unless previously recognized as ordinary income.
The determination of a U.S. Holder’s basis and holding period is discussed above in “—Term Loan
Exchange—Non-Taxable Exchange—Recognition of Gain or Loss” and “—Term Loan Exchange—

                                                    199
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 211 of 835




Taxable Exchange—Recognition of Gain or Loss”. U.S. Holders should consult their tax advisors
regarding the applicable tax rates and netting rules for capital gains and losses. There are limitations on
the deduction of capital losses by both corporate and noncorporate taxpayers.

                         c.      Information Reporting and Backup Withholding.

A U.S. Holder generally will be subject to information reporting and backup withholding when the U.S.
Holder receives Cash or other consideration in connection with the Term Loan Exchange, payments on
a New Takeback Term Loan or proceeds from the sale or other taxable disposition (including a
redemption or retirement) of a New Takeback Term Loan, and may be subject to information reporting
(but not backup withholding) with respect to accruals of OID, if any. Certain U.S. Holders are exempt
from backup withholding, including corporations and certain tax-exempt organizations. A U.S. Holder
will be subject to backup withholding with respect to such payments and proceeds if the U.S. Holder is
not otherwise exempt and:

       the U.S. Holder fails to furnish the U.S. Holder’s taxpayer identification number, which for an
        individual is ordinarily his or her social security number;

       the U.S. Holder furnishes an incorrect taxpayer identification number;

       the applicable withholding agent is notified by the IRS that the U.S. Holder previously failed to
        properly report payments of interest or dividends; or

       the U.S. Holder fails to certify under penalties of perjury that the U.S. Holder has furnished a
        correct taxpayer identification number and that the IRS has not notified the U.S. Holder that the
        U.S. Holder is subject to backup withholding.

Backup withholding is not an additional tax. Any amounts withheld under the backup withholding rules
may be allowed as a refund or a credit against a U.S. Holder’s U.S. federal income tax liability, provided
the required information is timely furnished to the IRS. U.S. Holders should consult their tax advisors
regarding their qualification for an exemption from backup withholding and the procedures for obtaining
such an exemption.

In the event that all or portion of the New Takeback Term Loans are not treated as obligations of the U.S.
Tax Group, certain U.S. Holders who are individuals and who hold an interest in “specified foreign
financial assets” (as defined in Section 6038D of the Code) will be required to report information relating
to an interest in all or such portion of the New Takeback Term Loans, subject to certain exceptions
(including an exception for New Takeback Term Loans held in accounts maintained by certain financial
institutions). Under certain circumstances, an entity may be treated as an individual for purposes of the
foregoing rules. U.S. Holders should consult their tax advisors regarding the effect, if any, of this
requirement on their ownership and disposition of the New Takeback Term Loans.

                3.       U.S. Holders of First Lien Notes Claims and Second Lien Notes Claims
                         (Classes 3 and 4)

                         a.      Secured Notes Exchanges

Cram-Down Treatment. The treatment of the First Lien Notes Claims and Second Lien Notes Claims
depend upon whether the First Lien Notes Makewhole Claims and the Second Lien Notes Makewhole
Claims, respectively, are Allowed. If the First Lien Notes Makewhole Claims and/or the Second Lien
Notes Makewhole Claims are not Allowed, the First Lien Notes Claims and/or Second Lien Notes
Claims, respectively, would be Reinstated, and would be Unimpaired. If the First Lien Notes Makewhole

                                                   200
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 212 of 835




Claims are Allowed, the First Lien Notes Claims would be exchanged for the Cram-Down First Lien
Notes, and if the Second Lien Notes Makewhole Claims are Allowed, the Second Lien Notes Claims
would be exchanged for the Cram-Down Second Lien Notes (such exchanges, if applicable, the “Secured
Notes Exchanges”), and the First Lien Notes Claims and/or Second Lien Notes Claims would be
Impaired. Accordingly, the discussion below is limited to the Secured Notes Exchanges.

Treatment as Security. The treatment of the Secured Notes Exchanges will depend, in part, on whether
the First Lien Notes Claims, Second Lien Notes Claims, Cram-Down First Lien Notes and/or Cram-
Down Second Lien Notes constitute “securities” for purposes of the provisions of the Tax Code relating
to tax-free transactions, which will be determined in the manner described above under “—U.S. Holders
of First Lien Term Loan Claims (Classes 2(b) and 2(c))—Term Loan Exchange—Treatment as Security”.
Although the matter is not free from doubt, the Debtors intend to take the position that each of the First
Lien Notes and Second Lien Notes constitute securities for U.S. federal income tax purposes because
each had an original term in excess of five years. Although the matter is not free from doubt, the Debtors
anticipate taking the position that the Cram-Down First Lien Notes and Cram-Down Second Lien Notes
constitute securities for U.S. federal income tax purposes because it is expected that their term will exceed
five years. Accordingly, the Debtors currently intend to take the position that the Secured Notes
Exchanges will be nontaxable exchanges for U.S. federal income tax purposes, except as discussed
below.

Other Consequences of the Exchange. Assuming that the Secured Notes Exchanges constitute
nontaxable exchanges for U.S. federal income tax purposes, except as described below, the consequences
of such exchange to U.S. Holders of First Lien Notes Claims and/or Second Lien Notes Claims should
be subject to the rules and considerations discussed in “—U.S. Holders of First Lien Term Loan Claims
(Classes 2(b) and 2(c))—Term Loan Exchange—Non-Taxable Exchange”.

In addition, if any ordinary income is recognized in connection with the Secured Notes Exchange, such
income will generally constitute foreign source income for foreign tax credit limitation purposes. The
limitation on foreign taxes eligible for credit is calculated separately with respect to specific classes of
income. For this purpose, interest income or ordinary income arising in connection with market discount,
in each case, recognized in the Secured Notes Exchange, will generally constitute “passive category
income.” The rules relating to the determination of the foreign tax credit are complex, and U.S. Holders
should consult their tax advisors regarding the availability of a foreign tax credit in their particular
circumstances.

                         b.       Cram-Down First Lien Notes and Cram-Down Second Lien Notes

Except as set forth below, the rules and considerations applicable in determining the issue price of the
Cram-Down First Lien Notes and Cram-Down Second Lien Notes and the tax consequences of the receipt
of qualified stated interest, OID, market discount, amortizable bond premium and gain or loss on the
disposition of the Cram-Down First Lien Notes and Cram-Down Second Lien Notes, in each case, are
discussed above in “—U.S. Holders of First Lien Term Loan Claims (Classes 2(b) and 2(c))—New
Takeback Term Loans.”

Qualified stated interest paid and OID and market discount, if any, accrued with respect to the Cram-
Down First Lien Notes and Cram-Down Second Lien Notes will generally constitute foreign source
“passive category income” for foreign tax credit limitation purposes.

Certain U.S. Holders who are individuals and who hold an interest in “specified foreign financial assets”
(as defined in Section 6038D of the Code) will be required to report information relating to an interest in
the Cram-Down First Lien Notes and Cram-Down Second Lien Notes, subject to certain exceptions
(including an exception for Cram-Down First Lien Notes and Cram-Down Second Lien Notes held in

                                                    201
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 213 of 835




accounts maintained by certain financial institutions). Under certain circumstances, an entity may be
treated as an individual for purposes of the foregoing rules. U.S. Holders should consult their tax advisors
regarding the effect, if any, of this requirement on their ownership and disposition of the Cram-Down
First Lien Notes and Cram-Down Second Lien Notes.

                 4.      U.S. Holders of Guaranteed Unsecured Notes Claims (Class 5)

                         a.       Exchange of Guaranteed Unsecured Notes Claims for Takeback Second
                                  Lien Notes

While not free from doubt, the Debtors intend to take the position that the exchange of certain Guaranteed
Unsecured Notes Claims for Takeback Second Lien Notes (the “Unsecured Notes Exchange”) will be
treated as an exchange separate from the exchange of Guaranteed Unsecured Notes Claims for New
Mallinckrodt Ordinary Shares (the “Notes/Shares Exchange”). Although the matter is not free from
doubt, the Debtors intend to determine the portion of the Guaranteed Unsecured Notes Claims that is
exchanged in each of the Unsecured Notes Exchange and the Notes/Shares Exchange based on the
relative fair values of the Takeback Second Lien Notes and the New Mallinckrodt Ordinary Shares. The
Debtors intend to promptly determine this allocation after the Effective Date and will make this
information available to the holders of the Takeback Second Lien Notes and the New Mallinckrodt
Ordinary Shares.

Treatment as Security. The treatment of the Unsecured Notes Exchange will depend, in part, on whether
the Guaranteed Unsecured Notes Claims and/or the Takeback Second Lien Notes constitute “securities”
for purposes of the provisions of the Tax Code relating to tax-free transactions, which will be determined
in the manner described above under “—U.S. Holders of First Lien Term Loan Claims (Classes 2(b) and
2(c))—Term Loan Exchange—Non-Taxable Exchange—Treatment as Security”. Although the matter is
not free from doubt, the Debtors intend to take the position that each of the 5.75% Senior Notes due
2022, the 5.500% Senior Notes due 2025 and the 5.625% Senior Notes due 2023 constitute securities for
U.S. federal income tax purposes because each had an original term in excess of five years. Although
the matter is not free from doubt, the Debtors also intend to take the position that the Takeback Second
Lien Notes constitute securities for U.S. federal income tax purposes because their term will exceed five
years. Accordingly, the Debtors currently intend to take the position that the Unsecured Notes Exchange
will be a nontaxable exchange for U.S. federal income tax purposes, except as discussed below.

Other Consequences of the Exchange. Assuming that the Unsecured Notes Exchange constitutes a
nontaxable exchange for U.S. federal income tax purposes, except as described below, the consequences
of such exchange to U.S. Holders of Guaranteed Unsecured Notes Claims should be subject to the rules
and considerations discussed in “—U.S. Holders of First Lien Notes Claims and Second Lien Notes
Claims (Classes 3 and 4)—Secured Notes Exchanges—Other Consequences of the Exchange”.

                         b.       Exchange of Guaranteed Unsecured Notes Claims for New
                                  Mallinckrodt Ordinary Shares

Recognition of Gain or Loss. The Notes/Shares Exchange, as contemplated, appears to meet the
requirements of Section 351 of the Tax Code and be subject to Section 367 of the Tax Code in light of
Reorganized Mallinckrodt being a non-U.S. corporation. As such, a U.S. Holder of a Guaranteed
Unsecured Notes Claim should be treated as receiving New Mallinckrodt Ordinary Shares in a
transaction governed by Section 351 of the Tax Code. Section 351 of the Tax Code, when applicable,
generally prevents recognition of both gains (subject to the rules regarding accrued but untaxed interest
and market discount, discussed below under “—Accrued but Untaxed Interest” and “—Market
Discount”) and losses. However, because Reorganized Mallinckrodt is not a United States corporation,
Section 367 of the Tax Code will override the gain (but not the loss) deferral provisions of Section 351

                                                    202
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 214 of 835




of the Tax Code with respect to the Notes/Shares Exchange (i) for all U.S. Holders, if the Guaranteed
Unsecured Notes Claims are not “securities” (discussed above in “—Exchange of Guaranteed Unsecured
Notes for Takeback Second Lien Notes—Treatment as Security”) or (ii) solely with respect to U.S.
Holders who will own (directly, indirectly or constructively) more than five percent of the New
Mallinckrodt Ordinary Shares at the time of the Notes/Shares Exchange, subject to the discussion below
regarding “gain recognition agreements.” Such gain recognized by a U.S. Holder should equal the excess
(if any) of (i) the fair market value of the New Mallinckrodt Ordinary Shares received on account of such
Guaranteed Unsecured Notes Claim over (ii) such U.S. Holder’s adjusted tax basis in the Guaranteed
Unsecured Notes Claim contributed (or deemed contributed) in exchange for such New Mallinckrodt
Ordinary Shares. In general, with respect to a Guaranteed Unsecured Notes Claim for which gain is
recognized, the character of such gain and such U.S. Holder’s basis and holding period in the New
Mallinckrodt Ordinary Shares received with respect to such Claim should be determined pursuant to the
same rules described above in “—U.S. Holders of First Lien Term Loan Claims (Classes 2(b) and 2(c))—
Term Loan Exchange—Non-Taxable Exchange—Recognition of Gain or Loss”. In the event that (i) the
U.S. Holder’s adjusted tax basis in the Guaranteed Unsecured Notes Claim contributed (or deemed
contributed) in exchange for such New Mallinckrodt Ordinary Shares exceeds (ii) the fair market value
of the New Mallinckrodt Ordinary Shares received on account of such Guaranteed Unsecured Notes
Claim, no loss will be recognized, and, subject to the rules regarding accrued but untaxed interest, the
U.S. Holder’s basis in the New Mallinckrodt Ordinary Shares received with respect to such Guaranteed
Unsecured Notes Claim should equal the U.S. Holder’s basis in such Guaranteed Unsecured Notes Claim
surrendered therefor, and such U.S. Holder’s holding period in the New Mallinckrodt Ordinary Shares
received should include the holding period for the exchanged Guaranteed Unsecured Notes Claim. In
general, a U.S. Holder will not be able to use unrecognized losses attributable to the Notes/Shares
Exchange to offset recognized gains attributable to the Notes/Shares Exchange.

A U.S. Holder who will own (directly, indirectly or constructively) more than five percent of the New
Mallinckrodt Ordinary Shares may be able to avoid current recognition of gain under Section 367 of the
Tax Code if it enters into a “gain recognition agreement” that meets the requirements set forth in the
Treasury Regulations promulgated under Section 367 of the Tax Code and certain other conditions are
met. Pursuant to the “gain recognition agreement,” the U.S. Holder would agree to recognize the gain
realized but not recognized in the Notes/Shares Exchange if a specified gain recognition event (a
triggering event) occurs within a five-year period after the transfer and no exception to gain recognition
applies with respect to such triggering event. Because Reorganized Mallinckrodt will, or should be
deemed to, contribute all the Guaranteed Unsecured Notes it receives in the Notes/Share Exchange to
LuxCo in extinguishment of the Notes, a U.S. Holder should enter into an additional “gain recognition
agreement” with respect to the LuxCo shares issued, or deemed issued, in exchange for the Guaranteed
Unsecured Notes and similar rules as discussed above should apply with respect to the such shares. A
U.S. Holder which enters into a “gain recognition agreement” would nevertheless be subject to the rules
regarding accrued but untaxed interest and market discount, discussed below under “—Accrued but
Untaxed Interest” and “—Market Discount”.

U.S. Holders are urged to consult their tax advisors regarding the application of Section 367 of the
Tax Code, including gain recognition agreements.

Accrued but Untaxed Interest. The determination of whether a U.S. Holder of a Guaranteed Unsecured
Notes Claim receives consideration in the Notes/Shares Exchange that is attributable to unpaid accrued
interest on the Claim, and the resulting tax consequences, should be subject to the rules and
considerations described in “—U.S. Holders of Guaranteed Unsecured Notes Claims (Class 5)—
Exchange of Guaranteed Unsecured Notes Claims for Takeback Second Lien Notes—Other
Consequences of the Exchange”, above.



                                                   203
           Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 215 of 835




HOLDERS SHOULD CONSULT THEIR TAX ADVISORS REGARDING THE EXTENT TO
WHICH CONSIDERATION RECEIVED UNDER THE PLAN SHOULD BE TREATED AS
ATTRIBUTABLE TO UNPAID ACCRUED INTEREST.

Market Discount. Under the “market discount” provisions of the Tax Code, the gain realized by a U.S.
Holder in the Notes/Shares Exchange may be treated as ordinary income (instead of capital gain), to the
extent of the amount of “market discount” on such U.S. Holder’s Guaranteed Unsecured Notes Claims.
Such market discount generally must be recognized as ordinary income to the extent of the gain realized
notwithstanding any other nonrecognition provision. Although there are several exceptions to the
aforementioned rule, because the Notes/Shares Exchange is a contribution to a corporation other than the
issuer, a U.S. Holder of Guaranteed Unsecured Notes Claims should be required to recognize accrued
market discount to the extent of gain realized in the Notes/Shares Exchange.

In general, a debt instrument is considered to have been acquired with “market discount” if it is acquired
other than on original issue and if the U.S. Holder’s initial tax basis in the debt instrument is less than (i)
the sum of all remaining payments to be made on the debt instrument, excluding “qualified stated
interest” or (ii) in the case of a debt instrument issued with OID, its adjusted issue price, in each case, by
at least a de minimis amount (equal to 0.25% of the sum of all remaining payments to be made on the
debt instrument, excluding qualified stated interest, multiplied by the number of remaining whole years
to maturity).

Any gain recognized by a U.S. Holder on the exchange of a Guaranteed Unsecured Notes Claim that was
acquired with market discount should be treated as foreign source ordinary income to the extent of the
market discount that accrued thereon while such Claim was considered to be held by the U.S. Holder
(unless the U.S. Holder elected to include market discount in income as it accrued).

                          c.      Takeback Second Lien Notes

The tax considerations applicable to the Takeback Second Lien Notes are similar to those applicable to
the Cram-Down First Lien Notes and Cram-Down Second Lien Notes discussed in “—U.S. Holders of
First Lien Notes Claims and Second Lien Notes Claims (Classes 3 and 4)—Cram-Down First Lien Notes
and Cram-Down Second Lien Notes”.

                          d.      New Mallinckrodt Ordinary Shares

Distributions. Subject to the discussion of PFIC and CFC rules below, a U.S. Holder of New
Mallinckrodt Ordinary Shares generally will be required to include in gross income as ordinary dividend
income the amount of any distributions paid on the New Mallinckrodt Ordinary Shares to the extent such
distributions are paid out of Reorganized Mallinckrodt’s current or accumulated earnings and profits,
determined under U.S. federal income tax principles. “Qualified dividend income” received by a non-
corporate U.S. Holder is subject to preferential tax rates. Distributions not treated as dividends for U.S.
federal income tax purposes will constitute a return of capital and will first be applied against and reduce
a U.S. Holder’s adjusted tax basis in the New Mallinckrodt Ordinary Shares, but not below zero. Any
excess amount will be treated as gain from a sale or exchange of the New Mallinckrodt Ordinary Shares.
Because Reorganized Mallinckrodt is not a U.S. corporation, holders that are corporations and are not
10% U.S. Holders will generally not be entitled to claim a dividends-received deduction with respect to
distributions they receive from Reorganized Mallinckrodt. Distributions taxable as dividends generally
will be treated as foreign source “passive category income”.

Sale or Other Taxable Disposition. Subject to the discussion of PFIC and CFC rules below, a U.S. Holder
of New Mallinckrodt Ordinary Shares will recognize gain or loss upon the sale or other taxable
disposition of New Mallinckrodt Ordinary Shares equal to the difference between the amount realized

                                                     204
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21        Page 216 of 835




upon the disposition and the U.S. Holder’s adjusted tax basis in the New Mallinckrodt Ordinary Shares.
Subject to the recapture rules under Section 108(e)(7) of the Tax Code, any such gain or loss generally
will be capital gain or loss, and will be long-term capital gain or loss if the U.S. Holder has held the New
Mallinckrodt Ordinary Shares for more than one year as of the date of disposition. Under the Section
108(e)(7) recapture rules, a U.S. Holder may be required to treat gain recognized on the taxable
disposition of New Mallinckrodt Ordinary Shares as ordinary income if the U.S. Holder took a bad debt
deduction with respect to the Guaranteed Unsecured Notes Claims exchanged therefor. U.S. Holders
should consult their tax advisors regarding the applicable tax rates and netting rules for capital gains and
losses. There are limitations on the deduction of capital losses by both corporate and noncorporate
taxpayers.

Passive Foreign Investment Company Status. Reorganized Mallinckrodt will be a passive foreign
investment company for U.S. federal income tax purposes (a “PFIC”) if either (i) 75% or more of its
gross income in a taxable year consists of “passive income” (generally including dividends, interest,
gains from the sale or exchange of investment property) or (ii) at least 50% of its assets in a taxable year
(averaged over the year and generally determined based upon either value or tax basis depending on the
application of certain tests) produce or are held for the production of passive income. For purposes of
determining whether Reorganized Mallinckrodt will be a PFIC, Reorganized Mallinckrodt will be treated
as earning and owning a proportionate share of the income and assets, respectively, of its subsidiaries
that have made U.S. tax elections to be disregarded as separate entities from Reorganized Mallinckrodt
as well as of any other corporate subsidiary in which Reorganized Mallinckrodt owns (directly, indirectly
or constructively) at least 25% of the value of the subsidiary’s stock. For purposes of these tests, income
derived from the performance of services does not constitute passive income. By contrast, royalties and
rental income would generally constitute passive income unless Reorganized Mallinckrodt were treated
under specific rules as deriving its royalties and rental income in the active conduct of a trade or business.

If Reorganized Mallinckrodt is treated as a PFIC with respect to a U.S. Holder of New Mallinckrodt
Ordinary Shares for any taxable year, such holder generally would suffer adverse tax consequences, that
may include having gains realized on the disposition of the New Mallinckrodt Ordinary Shares treated
as ordinary income rather than capital gain and being subject to punitive interest charges on the receipt
of certain distributions and on the proceeds of the sale or other disposition of the New Mallinckrodt
Ordinary Shares. In addition, the U.S. Holder would be deemed to own shares in any of Reorganized
Mallinckrodt’s subsidiaries that are also PFICs and generally would be subject to the treatment described
above with respect to any distribution on or disposition of such shares. If Reorganized Mallinckrodt is
considered a PFIC, a U.S. Holder of New Mallinckrodt Ordinary Shares will also be subject to
information reporting requirements on an annual basis. U.S. Holders should consult their tax advisors
about the potential application of the PFIC rules to them.

Based on the past and anticipated future operations of Reorganized Mallinckrodt and the Debtors, the
Debtors do not believe that Reorganized Mallinckrodt will be a PFIC with respect to future taxable years.
However, no assurance can be given that the IRS or a court of law will accept this position, and there is
a risk that the IRS or a court of law could determine that Reorganized Mallinckrodt is a PFIC. Moreover,
there can be no assurance that Reorganized Mallinckrodt will not become a PFIC in any future taxable
year because (i) there are uncertainties in the application of the PFIC rules, (ii) the PFIC test is an annual
test, and (iii) although Reorganized Mallinckrodt intends to manage its business so as to avoid PFIC
status to the extent consistent with its other business goals, there could be changes in the nature and
extent of operations in future years.

Controlled Foreign Corporation Status. If more than 50% of the total value or total combined voting
power of all classes of Reorganized Mallinckrodt’s stock is owned, directly, indirectly, or constructively
by 10% U.S. Holders, Reorganized Mallinckrodt would be treated as a “controlled foreign corporation”
(“CFC”). Moreover, regardless of whether Reorganized Mallinckrodt is a CFC, the non-U.S. direct and

                                                     205
          Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 217 of 835




indirect corporate subsidiaries of Reorganized Mallinckrodt are expected to be classified as CFCs in light
of the application of attribution rules that became applicable as a result of changes to the Tax Code
enacted in 2017. This classification results in the application of many complex rules, including the
required inclusion in income by 10% U.S. Holders of their pro rata share of any “Subpart F income,”
“global intangible low-taxed income” and any investments in “U.S. property” (each as defined by the
Tax Code) of Reorganized Mallinckrodt. In addition, under Section 1248 of the Tax Code, if Reorganized
Mallinckrodt was a CFC at any time during the five-year period ending with the sale or exchange of its
stock by a 10% U.S. Holder, gain from such sale or exchange would generally be treated as dividend
income to the extent of Reorganized Mallinckrodt’s earnings and profits attributable to the shares sold
or exchanged. If Reorganized Mallinckrodt was to become a CFC, the PFIC rules discussed above would
generally not apply with regard to any 10% U.S. Holder.

In addition to the rules described above, if Reorganized Mallinckrodt or any of its non-U.S. direct or
indirect corporate subsidiaries is a CFC, 10% U.S. Holders would be subject to special information
reporting requirements. A failure by a 10% U.S. Holder to comply with these reporting obligations may
subject the 10% U.S. Holder to significant monetary penalties and may extend the statute of limitations
with respect to the 10% U.S. Holder’s U.S. federal income tax return for the year for which such reporting
was due. Reorganized Mallinckrodt cannot provide any assurances that it will assist investors in
determining whether it or any of its non-U.S. direct and indirect subsidiaries are controlled foreign
corporations. Reorganized Mallinckrodt also cannot guarantee that it will furnish to 10% U.S. Holder
information that may be necessary for them to comply with the aforementioned obligations.

Because of the complexity of the rules regarding Subpart F income and global intangible low-taxed
income, a more detailed review of these rules is beyond the scope of this discussion and any holder that
may become a 10% U.S. Holder should consult its tax advisor.

Information Reporting and Backup Withholding. U.S. Holders may be subject to information reporting
and backup withholding as described above under “—U.S. Holders of First Lien Term Loan Claims
(Classes 2(b) and 2(c))—Information Reporting and Backup Withholding”. U.S. Holders are urged to
consult their tax advisors regarding the effect, if any, of this requirement on their ownership and
disposition of the New Mallinckrodt Ordinary Shares.

                5.       U.S. Holders of General Unsecured Claims and Trade Claims (Classes 6
                         and 7)

A U.S. Holder of a General Unsecured Claim or Trade Claim (collectively, the “Unsecured Claims”)
will receive Cash and, in some cases, New Mallinckrodt Ordinary Shares. Although the matter is not
free from doubt, the Debtors intend to take the position that the exchange of Unsecured Claims for Cash
(the “Unsecured Cash Exchange”) will be treated as an exchange separate from the exchange of
Unsecured Claims for New Mallinckrodt Ordinary Shares (the “Unsecured Shares Exchange”).
Although the matter is not free from doubt, where applicable, the Debtors intend to determine the portion
of the Unsecured Claims that is exchanged in each of the Unsecured Cash Exchange and the Unsecured
Shares Exchange based on the ratio of the Cash received to the fair value of the New Mallinckrodt
Ordinary Shares received (calculated based on the General Unsecured Claims Total Implied Equity
Valuation). While not free from doubt, the Debtors intend to treat any Unsecured Claims exchanged in
the Unsecured Shares Exchange as contributed to Reorganized Mallinckrodt in exchange for the New
Mallinckrodt Ordinary Shares.

The Unsecured Cash Exchange and, to the extent the relevant Unsecured Claims are against Debtor
Mallinckrodt plc, the Unsecured Shares Exchange, in each case, should generally be treated as taxable
exchanges under Section 1001 of the Tax Code. Other than with respect to any amounts received that are
attributable to accrued but untaxed interest, each U.S. Holder of Unsecured Claims exchanged in such

                                                   206
           Case 20-12522-JTD            Doc 2917       Filed 06/18/21        Page 218 of 835




taxable exchanges should recognize gain or loss equal to the difference between (a) the amount of Cash
plus the fair value of the New Mallinckrodt Ordinary Shares (calculated based on the General Unsecured
Claims Total Implied Equity Valuation) received in exchange for such Unsecured Claims, and (b) such
U.S. Holder’s adjusted basis, if any, in such Unsecured Claims. A U.S. Holder’s ability to deduct any
loss recognized on the exchange of its Unsecured Claims will depend on such U.S. Holder’s own
circumstances and may be restricted under the Tax Code.

While not free from doubt, the Debtors intend to take the position that the exchange of an Unsecured
Claim against a Debtor other than Mallinckrodt plc in the Unsecured Shares Exchange meets the
requirements of Section 351 of the Tax Code and would accordingly be subject to Section 367 of the Tax
Code in light of Reorganized Mallinckrodt being a non-U.S. corporation. The tax consequences of such
exchange are described above in “—U.S. Holders of Guaranteed Unsecured Notes Claims (Class 5)—
Exchange of Guaranteed Unsecured Notes Claims for New Mallinckrodt Ordinary Shares—Recognition
of Gain or Loss”; provided, for the avoidance of doubt, the Unsecured Claims are not expected to
constitute securities for U.S. federal income tax purposes.

The character of any gain or loss recognized in the aforementioned exchanges as capital gain or loss or
ordinary income or loss and, in the case of capital gain or loss, as short-term or long-term, will depend
on a number of factors, including: (i) the nature and origin of the Unsecured Claim; (ii) the tax status of
the U.S. Holder of such Unsecured Claim; (iii) the extent to which the U.S. Holder previously claimed a
loss or bad debt deduction with respect to such Unsecured Claim; and (iv) whether such Unsecured Claim
was acquired at a market discount. A U.S. Holder that purchased its Unsecured Claim from a prior holder
at a market discount may be subject to the market discount rules of the Tax Code, described above in “—
U.S. Holders of First Lien Term Loan Claims (Classes 2(b) and 2(c))—Term Loan Exchange—Taxable
Exchange—Market Discount”.

A portion of the consideration received by a U.S. Holder of an Unsecured Claim may be attributable to
accrued interest on such Unsecured Claim, which would be subject to the rules and considerations set
forth in “—U.S. Holders of First Lien Term Loan Claims (Classes 2(b) and 2(c))—Term Loan
Exchange—Taxable Exchange—Accrued but Untaxed Interest” above.

                 6.      U.S. Holders of Other Opioid Claims (Class 9(h))

The Plan provides that (i) on the Effective Date, in full and final satisfaction, settlement, release and
discharge of the Debtors’ obligations in respect of the Opioid Claims, the Opioid MDT II shall receive
Opioid MDT II Consideration, which includes the (a) the Initial Opioid MDT II Payment; (b) the New
Opioid Warrants; (c) the Opioid Deferred Cash Payments; (d) the Assigned Third-Party Claims and (e)
the Assigned Insurance Rights and (ii) as of the Effective Date, all Opioid Claims shall be channeled to,
and liability for all Opioid Claims shall be assumed by, the Opioid MDT II without further act or deed
and shall be satisfied solely by funds or other property held by the Opioid MDT II. Holders of Other
Opioid Claims are entitled to receive their Other Opioid Claims Share from the Opioid MDT II. The Plan
further provides that the Opioid MDT II is intended to be treated as a QSF.

Accordingly, assuming this treatment is respected for U.S. federal income tax purposes, a U.S. Holder
of Opioid Claims generally is not expected to be treated as receiving a distribution from the Opioid MDT
II unless and until the holder is entitled to receive that distribution directly (or a distribution is made in
satisfaction of an obligation of such Holder), and any amounts received by a U.S. Holder of an Opioid
Claim from the Opioid MDT II generally are expected to be treated by such holder as if received directly
from the Debtors. The U.S. federal income tax consequences to a U.S. Holder of Opioid Claims—
including whether such holder may have income or loss on account of distributions it receives in respect
of the Claim or may be entitled to claim a deduction on account of a distribution that satisfied an
obligation of such holder—generally will depend upon the nature and origin of the Claim and the

                                                     207
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 219 of 835




particular circumstances applicable to such holder, including whether the holder is an entity exempt from
taxation and whether the holder has previously claimed deductions or losses for U.S. federal income tax
purposes with respect to such Claim. Because the tax consequences under the Plan relevant to U.S.
Holders of Opioid Claims will depend on facts particular to each holder, all U.S. Holders of Opioid
Claims are urged to consult their own tax advisors as to their proper tax treatment under the Plan in light
of their particular facts and circumstances.

                 7.      Non-U.S. Holders

Except where noted below, the following discussion assumes that: (i) no portion of any gain recognized
by a Non-U.S. Holder with respect to the Prepetition Debt, Unsecured Claims, New Takeback Term
Loans, Cram-Down First Lien Notes, Cram-Down Second Lien Notes, Guaranteed Unsecured Notes,
Takeback Second Lien Notes and New Mallinckrodt Ordinary Shares is effectively connected with the
Non-U.S. Holder’s conduct of a trade or business within the United States (and, if required by an
applicable income tax treaty, the Non-U.S. Holder maintains a permanent establishment in the United
States to which gain is attributable), and (ii) no Non-U.S. Holder is a nonresident alien individual present
in the United States for 183 days or more during the taxable year of the disposition of any of the above-
mentioned securities and meets certain other requirements. If the assumptions set forth above are not
applicable to a Non-U.S. Holder, such Non-U.S. Holder should consult their tax advisor regarding the
tax consequences applicable to them with respect to the Term Loan Exchange, Secured Notes Exchanges,
Unsecured Notes Exchange, the Notes/Shares Exchange, Unsecured Cash Exchange or Unsecured
Shares Exchange or the ownership or disposition of consideration received in connection therewith.

Because the issuers of the First Lien Notes, Second Lien Notes, Cram-Down First Lien Notes, Cram-
Down Second Lien Notes, Guaranteed Unsecured Notes, Takeback Second Lien Notes and New
Mallinckrodt Ordinary Shares (in each case as determined for U.S. federal income tax purposes) are
entities organized outside of the United States, there generally should not be any U.S. federal income tax
consequences to Non-U.S. Holders with respect to the Secured Notes Exchanges, Unsecured Notes
Exchange or the Notes/Shares Exchange, or the ownership or disposition of consideration received in
connection therewith. Similarly, there generally should not be any U.S. federal income tax consequences
to Non-U.S. Holders with respect to the ownership or disposition of any New Takeback Term Loans
treated as an obligation of a Non-U.S. Subsidiary.

Contingent Payment Debt Instruments. This discussion assumes that the New Takeback Term Loans will
not be treated as contingent payment debt instruments for U.S. federal income tax purposes. See “—U.S.
Holders of First Lien Term Loan Claims (Classes 2(b) and 2(c))— New Takeback Term Loans—
Contingent Payment Debt Instruments”.

Payments of Interest on New Takeback Term Loans. Interest (including, for purposes of this section, any
OID) paid on the New Takeback Term Loans to a Non-U.S. Holder that is not effectively connected with
the Non-U.S. Holder’s conduct of a trade or business within the United States generally will not be
subject to U.S. federal income tax, or withholding tax of 30% (or such lower rate specified by an
applicable income tax treaty), provided that:

       the Non-U.S. Holder does not, actually or constructively, own 10% or more of the total combined
        voting power of all classes of MEH, Inc. voting stock;

       the Non-U.S. Holder is not a controlled foreign corporation related to MEH, Inc. through actual
        or constructive stock ownership; and

       either (1) the Non-U.S. Holder certifies in a statement provided to the applicable withholding
        agent under penalties of perjury that it is not a United States person and provides its name and

                                                    208
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 220 of 835




        address; (2) a securities clearing organization, bank or other financial institution that holds
        customers’ securities in the ordinary course of its trade or business and holds the New Takeback
        Term Loans on behalf of the Non-U.S. Holder certifies to the applicable withholding agent under
        penalties of perjury that it, or the financial institution between it and the Non-U.S. Holder, has
        received from the Non- U.S. Holder a statement under penalties of perjury that such holder is
        not a United States person and provides a copy of such statement to the applicable withholding
        agent; or (3) the Non-U.S. Holder holds the New Takeback Term Loans directly through a
        “qualified intermediary” (within the meaning of applicable Treasury Regulations) and certain
        conditions are satisfied.

If a Non-U.S. Holder does not satisfy the requirements above, such Non-U.S. Holder may be entitled to
a reduction in or an exemption from withholding on such interest as a result of an applicable tax treaty.
To claim such entitlement, the Non-U.S. Holder must provide the applicable withholding agent with a
properly executed IRS Form W-8BEN or W-8BEN-E (or other applicable documentation) claiming a
reduction in or exemption from withholding tax under the benefit of an income tax treaty between the
United States and the country in which the Non-U.S. Holder resides or is established.

If interest paid to a Non-U.S. Holder is effectively connected with the Non-U.S. Holder’s conduct of a
trade or business within the United States (and, if required by an applicable income tax treaty, the Non-
U.S. Holder maintains a permanent establishment in the United States to which such interest is
attributable), the Non-U.S. Holder will be exempt from the U.S. federal withholding tax described above.
To claim the exemption, the Non-U.S. Holder must furnish to the applicable withholding agent a valid
IRS Form W-8ECI, certifying that interest paid on the New Takeback Term Loans is not subject to
withholding tax because it is effectively connected with the conduct by the Non-U.S. Holder of a trade
or business within the United States.

Any such effectively connected interest generally will be subject to U.S. federal income tax at the regular
graduated rates. A Non-U.S. Holder that is a corporation also may be subject to a branch profits tax at a
rate of 30% (or such lower rate specified by an applicable income tax treaty) on such effectively
connected interest, as adjusted for certain items.

The certifications described above must be provided to the applicable withholding agent prior to the
payment of interest and must be updated periodically. Non-U.S. Holders that do not timely provide the
applicable withholding agent with the required certification, but that qualify for a reduced rate under an
applicable income tax treaty, may obtain a refund of any excess amounts withheld by timely filing an
appropriate claim for refund with the IRS. Non-U.S. Holders should consult their tax advisors regarding
their entitlement to benefits under any applicable income tax treaty.

Information Reporting and Backup Withholding on New Takeback Term Loans. Payments of interest
(including OID) generally will not be subject to backup withholding, provided the applicable withholding
agent does not have actual knowledge or reason to know the holder is a United States person and the
holder certifies its non-U.S. status as described above under “—Payments of Interest on New Takeback
Term Loans.” However, information returns are required to be filed with the IRS in connection with any
interest paid to the Non-U.S. Holder, regardless of whether any tax was actually withheld.

Copies of information returns that are filed with the IRS may also be made available under the provisions
of an applicable treaty or agreement to the tax authorities of the country in which the Non-U.S. Holder
resides or is established.

Backup withholding is not an additional tax. Any amounts withheld under the backup withholding rules
may be allowed as a refund or a credit against a Non-U.S. Holder’s U.S. federal income tax liability,
provided the required information is timely furnished to the IRS.

                                                   209
          Case 20-12522-JTD             Doc 2917      Filed 06/18/21       Page 221 of 835




                8.       Additional Withholding Tax on Payments Made to Non-U.S. Accounts

Withholding taxes may be imposed under Sections 1471 to 1474 of the Tax Code (such Sections
commonly referred to as the Foreign Account Tax Compliance Act, or “FATCA”) on certain types of
U.S. source payments, including dividends and interest, made to a “foreign financial institution” or a
“non-financial foreign entity” (each as defined in the Tax Code), unless (1) the foreign financial
institution undertakes certain diligence, reporting and withholding obligations, (2) the non-financial
foreign entity either certifies it does not have any “substantial United States owners” (as defined in the
Tax Code) or furnishes identifying information regarding each substantial United States owner, or (3)
the foreign financial institution or nonfinancial foreign entity otherwise qualifies for an exemption from
these rules. If the payee is a foreign financial institution and is subject to the diligence, reporting and
withholding requirements in (1) above, it must enter into an agreement with the U.S. Department of the
Treasury requiring, among other things, that it undertake to identify accounts held by certain “specified
United States persons” or “United States-owned foreign entities” (each as defined in the Tax Code),
annually report certain information about such accounts, and withhold 30% on certain payments to non-
compliant foreign financial institutions and certain other account holders. Foreign financial institutions
located in jurisdictions that have an intergovernmental agreement with the United States governing
FATCA may be subject to different rules.

Prior to the issuance of proposed Treasury Regulations, withholding under FATCA would have also
applied to payments of gross proceeds from the sale or other disposition of property on or after January
1, 2019. However, the proposed Treasury Regulations eliminate FATCA withholding on payments of
gross proceeds entirely. Taxpayers generally may rely on these proposed Treasury Regulations until final
Treasury Regulations are issued.

THE FOREGOING DISCUSSION OF U.S. FEDERAL INCOME TAX CONSIDERATIONS IS
FOR GENERAL INFORMATION PURPOSES ONLY AND IS NOT TAX ADVICE. EACH
HOLDER SHOULD CONSULT ITS OWN TAX ADVISOR REGARDING THE U.S. FEDERAL,
STATE, LOCAL AND NON-U.S. TAX CONSEQUENCES OF THE PLAN DESCRIBED
HEREIN. NEITHER THE PROPONENTS NOR THEIR PROFESSIONALS WILL HAVE ANY
LIABILITY TO ANY PERSON OR HOLDER ARISING FROM OR RELATED TO THE U.S.
FEDERAL, STATE, LOCAL AND NON-U.S. TAX CONSEQUENCES OF THE PLAN OR THE
FOREGOING DISCUSSION.

                         XII.IRELAND INCOME TAX CONSEQUENCES

        A.      Irish Tax Consequences To The Plan

                1.       Introduction

The following is a summary of certain material Irish tax considerations for, among others, the Debtors
and for Non-Irish Holders (as defined below) as a result of the implementation of the Plan and the
consummation of the Restructuring Transactions. The summary does not purport to be a comprehensive
description of all of the tax considerations that may be relevant to the Debtors and each of the Non-Irish
Holders. The summary relates only to the position of persons who are the absolute beneficial owners of
the Prepetition Debt or the Equity Interests and may not apply to certain other classes of persons such as
dealers in securities or shares.

The summary is based upon Irish tax laws and the practice of the Irish Revenue Commissioners as at the
date of the Plan. Changes in law and/or administrative practice may result in alteration of the tax
considerations described below.


                                                   210
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21        Page 222 of 835




This summary does not constitute tax advice and is intended only as a general guide. The summary is not
exhaustive and Non-Irish Holders should consult their own tax advisors about the Irish tax consequences
(and tax consequences under the laws of other relevant jurisdictions) of the Plan.

                         a.       Definition of Non-Irish Holder

“Non-Irish Holder” means any Holder of Prepetition Debt or Equity Interests that is not resident or
ordinarily resident in Ireland for tax purposes and who does not hold their Prepetition Debt or Equity
Interests in connection with a trade or business carried on in Ireland.

                 2.      Irish Tax Consequences to the Debtors and the Impact on Holders of
                         Equity Interests in Connection with the Cancellation of the Equity
                         Interests

                         a.       Cancellation of the Equity Interests

Due to the fact that the Irish Parent is a publicly-listed company, the cancellation of the Equity Interests
for no consideration under the Plan and pursuant to the Restructuring Transactions should be considered
a capital disposal of the Equity Interests in the Parent upon their cancellation, and not a distribution by
the Parent to the Holders of the Equity Interests.

The Irish tax treatment of the disposal of the Equity Interests by any existing Holder of Equity Interests
will depend on whether they are a Non-Irish Holder or not and whether they hold the Equity Interests as
a trading asset or capital asset.

Where the Equity Interests are held as a capital asset, any gain arising to an Irish tax resident Holder of
Equity Interests should be subject to Irish capital gains tax (“CGT”) at a rate of 33% (unless participation
exemption is available). However, on the understanding that the Equity Interests will be cancelled for
no consideration, a capital loss should arise for an Irish tax resident Holder of Equity Interests (not
applicable where participation exemption is available).

On the basis that the shares in the Parent are quoted at the time of the transaction, Non-Irish Holders who
hold Equity Interests should not be subject to Irish CGT on any gain arising on the disposal.

Where the Equity Interests are held as a trading asset by an Irish tax resident company, or a Non-Irish
Holder company that carries on a trade in Ireland through a branch, then the disposal of the Equity
Interests should form part of the taxable profits of the Holder and be subject to Irish corporation tax at
12.5%.

In addition, where the Equity Interests are held by a regulated fund, then any income or gains arising to
the fund may be exempt from Irish tax.

                         b.       Stamp Duty and Value-Add Tax (“VAT”)

The rate of stamp duty (where applicable) on transfers of shares of Irish incorporated companies is 1%
of the price paid or the market value of the shares acquired, whichever is greater. Where Irish stamp duty
arises it is generally a liability of the transferee. Generally, no stamp duty should arise for the Holders
of Equity Interests on the cancellation of their Equity Interests. Further, the cancellation of the Equity
Interests should be considered outside the scope of Irish VAT.




                                                    211
          Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 223 of 835




                3.       Irish Tax Consequences to the Parent in Connection with the
                         Transfer/Assignment of the Guaranteed Unsecured Notes Claims In
                         Exchange for the New Mallinckrodt Ordinary Shares

                         a.      Irish Capital Gains Tax (“CGT”)

The transfer/assignment of the Guaranteed Unsecured Notes Claims from the Holders of such Guaranteed
Unsecured Notes results in the acquisition of a chargeable asset by the Parent. However, on the basis
that the Guaranteed Unsecured Notes Claims are contributed to Mallinckrodt International Finance SA
(“LuxCo”) by the Parent on the same day on which they are assigned to the Parent by the Holders of the
Guaranteed Unsecured Notes, and the value of the shares issued by Mallinckrodt plc equal the market
value of the receivables on the date of the transaction no Irish CGT should arise. To the extent they are
not transferred on the same day, or the value of the shares issued does not equal the market value of the
receivables, then Irish CGT may arise on any increase in the value of the Guaranteed Unsecured Notes
(including taking into account foreign exchange).

                         b.      Stamp Duty

The transfer/assignment of the Guaranteed Unsecured Notes Claims from the Holders of such Guaranteed
Unsecured Notes to the Parent will fall within the charge to Irish stamp duty. However, the
transfer/assignment of the Guaranteed Unsecured Notes Claims from the Holders of such Guaranteed
Unsecured Notes to the Parent should be subject to the loan capital exemption from Irish stamp duty
(provided that certain conditions are met).

                         c.      Irish VAT

Any VAT on costs that relate to the issue of the New Mallinckrodt Ordinary Shares may be deductible
to the extent that such costs have a direct and immediate link to the economic activities of the issuer.

                4.       Irish Tax Consequences to Holders of New Mallinckrodt Ordinary Shares
                         in Connection with the Cancellation of the Equity Interests and the
                         Transfer/Assignment of the Guaranteed Unsecured Notes Claims In
                         Exchange for the New Mallinckrodt Ordinary Shares

                         a.      Irish Tax on the Transfer/Assignment of the Guaranteed
                                 Unsecured Notes Claims

Non-Irish tax resident Holders of Guaranteed Unsecured Notes Claims should not be subject to Irish
CGT on the disposal of the Guaranteed Unsecured Notes Claims.

The treatment of the transfer/assignment of the Guaranteed Unsecured Notes Claims for an Irish tax
resident Holder of Guaranteed Unsecured Notes Claims will depend on whether the Guaranteed
Unsecured Notes Claims are held as a trading asset or capital asset. Where the Guaranteed Unsecured
Notes Claims are held as a trading asset, the transfer/assignment of the Guaranteed Unsecured Notes
Claims should form part of the taxable profits of the Holder and subject to Irish corporation tax at 12.5%.

Where the Guaranteed Unsecured Notes Claims are held as a capital asset, Irish tax law specifies that
those debts are regarded as chargeable assets for Irish CGT purposes. The transfer/assignment of the
Guaranteed Unsecured Notes Claims to the Parent, by any Irish tax resident Holder of Guaranteed
Unsecured Notes Claims, should be considered, prima facie, disposals chargeable to Irish CGT, taxable
at 33%.


                                                   212
              Case 20-12522-JTD         Doc 2917       Filed 06/18/21       Page 224 of 835




                          b.      Irish CGT Base Cost of New Mallinckrodt Ordinary Shares

 The base cost for Irish CGT purposes of the New Mallinckrodt Ordinary Shares should be the market
 value of same at the date of issuance. This is only relevant for Irish tax resident shareholders.

                          c.      Irish Dividend Withholding Tax (“DWT”) on Future Dividends

 Dividends or distributions paid by the Parent may be subject to Irish DWT. DWT is applied at a rate of
 25%. There are a number of exemptions that allow dividends to be paid without the deduction of DWT.
 For DWT purposes, a distribution includes any distribution that may be made by the Parent to its Holders
 of Equity Interests including cash dividends, non-cash dividends and additional stock taken in lieu of a
 cash dividend. Where an exemption does not apply in respect of a distribution made to a particular
 shareholder, the Parent is responsible for withholding DWT prior to making such distribution.

                          d.      Stamp Duty

 No stamp duty should arise on the issue of the New Mallinckrodt Ordinary Shares to the Holders of
 Guaranteed Unsecured Notes Claims.

 Irish stamp duty (at the rate of 1% of the price paid or the market value of the shares acquired, whichever
 is greater) may, depending on the manner in which the New Mallinckrodt Ordinary Shares are held, be
 payable in respect of transfers of the New Mallinckrodt Ordinary Shares.

 Shares Held Through the Depository Trust Company (“DTC”)

 A transfer of New Mallinckrodt Ordinary Shares effected by means of the transfer of book-entry
 interests in DTC will not be subject to Irish stamp duty.

 Shares Held Outside of DTC or Transferred Into or Out of DTC

 A transfer of New Mallinckrodt Ordinary Shares where any party to the transfer holds such shares
 outside of DTC may be subject to Irish stamp duty. Shareholders wishing to transfer their shares into
 (or out of) DTC may do so without giving rise to Irish stamp duty provided that:

        there is no change in the beneficial ownership of such shares as a result of the transfer; and

        the transfer into (or out of) DTC is not effected in contemplation of a sale of such shares by a
         beneficial owner to a third party.

                        e.       VAT

Any Irish VAT incurred on costs associated with the Restructuring Transactions by Holders of Equity
Interests or holders of the New Mallinckrodt Ordinary Shares may not be recoverable by any Irish VAT
registered shareholders.

                      XIII.LUXEMBOURG INCOME TAX CONSEQUENCES

         A.      Luxembourg Tax Consequences To The Plan

                 1.     Introduction




                                                    213
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 225 of 835



The purpose of this section of the Disclosure Statement is to outline the main Luxembourg income tax
aspects related to the Disclosure Statement (and, in particular, the Waiver and Repayment in Kind (each as
defined below)) and not to provide a comprehensive review of all Luxembourg tax considerations.

This section is strictly limited to Luxembourg income tax considerations, so that any legal, financial,
regulatory or other aspects whatsoever as well as any foreign law aspects (if applicable) have not been
reviewed nor covered by this section. Moreover, this section does not address Luxembourg net wealth tax
considerations or any other direct or indirect Luxembourg tax considerations.

The information contained in this section deals with the Restructuring Transactions described in the Plan
and the Disclosure Statement and, accordingly, is necessarily general and the applicability or effect of
matters developed may vary if the Restructuring Transactions are implemented in a manner other than
described in the Plan and Disclosure Statement.

This section is based on the Luxembourg laws currently in force, the regulations thereto, relevant judicial
decisions and our understanding of the current administrative practices as of the date of this section. The
law and the administrative practices are subject to change. In the event of such changes, the content of this
section may be adversely affected. The Debtors assume no responsibility (i) to update this section for any
such changes or (ii) to monitor the continuing relevance or suitability of this section for the purposes for
which it was delivered.

No assurance can be given that the Luxembourg income tax authorities (Administration des contributions
directes) (“Lux Tax Authorities”) or any other tax authority would not assert, or that a court would not
sustain, a different position than any position discussed herein.

This summary does not constitute tax advice and is intended only as a general guide. The summary is not
exhaustive and Holders of Prepetition Debt or Equity Interests should consult their own tax advisors about
the Luxembourg tax consequences (and tax consequences under the laws of other relevant jurisdictions) of
the Plan.

                2.       Preliminary Debt Assumption By LuxCo Prior to the Waiver or Repayment
                         of the Prepetition Debt

As part of the Restructuring Transactions under the Plan, LuxCo would assume a portion of the obligations
of the First Lien Term Loan Claims at face value from MEH, Inc. (the “Debt Assumption”). LuxCo will
not assume any Prepetition Debt fees as part of the Debt Assumption.

The Debt Assumption would be executed such that LuxCo will assume a portion of the Prepetition Debt of
MEH, Inc. at face value in exchange for an increase of the acquisition price of MEH, Inc. (i.e., the Debt
Assumption will be enacted as an equity contribution from LuxCo equivalent to the amount of the Debt
Assumption). Subsequent to the increase of the equity value of MEH, Inc. as the result of the Debt
Assumption, an impairment test should be made to conclude whether or not a durable impairment on
LuxCo’s participation in MEH, Inc. has to be recorded through the profit and loss account. The Debt
Assumption is not expected to lead to adverse Luxembourg tax consequences.

Any subsequent impairment that could be booked for accounting purposes would be tax deductible, but will
be subject to certain Luxembourg tax deduction limitation rules.

Any interest to accrue on the debt or associated debt charges (such as external fees) relating to the Debt
Assumption should be tax deductible subject to various Luxembourg tax deduction limitation rules (i.e.,
mainly interest limitation rules and recaptures rules).



                                                    214
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 226 of 835




                3.       Luxembourg Tax Consequences in Connection with the
                         Transfer/Assignment of the Guaranteed Unsecured Notes Claims in
                         Exchange for the New Mallinckrodt Ordinary Shares

                         a.      At the Level of LuxCo

There will be a transfer/assignment of the Guaranteed Unsecured Notes Claims from the Holders of such
Guaranteed Unsecured Notes to Mallinckrodt Plc via the issuance of Mallinckrodt Plc shares, either
structured as: (a) an exchange where Mallinckrodt Plc transfers shares in exchange for the Prepetition Debt
held by the creditors towards LuxCo or (b) the creditors of LuxCo are contributing their Prepetition Debt
to Mallinckrodt Plc in exchange for the shares issuance (the “Repayment in Kind”). After the Repayment
in Kind, LuxCo should recognise a change of creditors as Mallinckrodt Plc will hold directly the Guaranteed
Unsecured Notes Claims towards LuxCo. Immediately following the Repayment in Kind, Mallinckrodt
Plc will contribute the Guaranteed Unsecured Notes Claims to LuxCo in exchange for newly issued shares
of LuxCo (the “Settlement”).

The Repayment in Kind (i.e., the acquisition of the Prepetition Debt of LuxCo by Mallinckrodt Plc from
the creditors of LuxCo) should not create any adverse Luxembourg tax consequences to the extent that the
subsequent settlement of the Guaranteed Unsecured Notes Claims (via the equity contribution from
Mallinckrodt Plc to LuxCo) is carried out at face value and related accrued interest, and for an equivalent
consideration.

The Settlement (whereby Mallinckrodt Plc contributes the Guaranteed Unsecured Notes Claims to LuxCo
in exchange for shares) must be carried out at fair value. If the fair value of the Guaranteed Unsecured
Notes Claims under the Settlement is lower than its face value, such a transaction should lead to an increase
of LuxCo’s wealth and hence, is a taxable event (for the amount by which the face value exceeds the fair
value) at the level of LuxCo from a Luxembourg corporate income tax perspective. In this scenario, the
Settlement should lead to an increase of the equity of LuxCo and realization of a commercial profit (for the
difference between the contribution value and the face value of the Guaranteed Unsecured Notes Claims)
which should be subject to Luxembourg tax at the global income tax rate of 24.94% (for the fiscal year
2021). As of the date of this Disclosure Statement, Luxembourg should have the right to tax such a capital
gain (if any) without specific limitations. However, such taxable income may be offset with the available
tax losses carried forward of LuxCo. Considering the amount of tax losses of LuxCo, this scenario would
likely be anticipated as the amounts of tax losses is expected to exceed any gain resulting from the
Settlement.

Under Luxembourg Income Tax Law (the “Luxembourg ITL”), for any tax losses incurred starting from
the tax year 2017, the carry-forward of those losses is limited to 17 years. The carry-forward is unlimited
for older tax losses, with such older tax losses being deducted first.

By derogation, Article 52 of the Luxembourg ITL sets forth that the net gain realized by a Luxembourg
fully taxable corporation (such as LuxCo), upon total or partial debt forgiveness that has occurred in the
framework of a debt reorganization aiming at the financial recovery of the business of the debtor (the so
called “gain d’assainissement”), is to be eliminated from the taxable result.

Since Mallinckrodt Plc is treated as a corporation for Luxembourg tax purposes, dividend distributions or
any assimilated flow of funds to be carried out by LuxCo to Mallinckrodt Plc should be exempt from
withholding tax as the relevant conditions provided by Article 147 of the Luxembourg ITL should be met.




                                                    215
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 227 of 835



Under 156 (8) of Luxembourg ITL, non-residents are subject to capital gains tax in Luxembourg if they
dispose of shares in important participations within a period of six months. Because Mallinckrodt Plc has
been a shareholder of LuxCo for more than six months, there should be no application of the non-resident
capital gains taxation in Luxembourg.

                         b.       At the Level of the Creditors

As a general rule, the repayment of a claim at face value to a creditor does not lead to an increase or decrease
of his wealth and, hence, should not be a tax event at his/her level from a Luxembourg income tax
perspective.

However, if the terms of payment is a payment in kind (such as the delivery of the Mallinckrodt Plc shares
under the Repayment in Kind) made at the FMV (not the same as the face value) on the transfer date and if
cumulatively, the transferee is either a Luxembourg tax resident or a non-Luxembourg tax resident who has
a permanent establishment in Luxembourg to which his stake in the Guaranteed Unsecured Notes Claims
is allocated, the Repayment in Kind amount should be expected to be a taxable event (gain or loss
recognition). The tax treatment of such gain or loss will depend on the specific tax position of each creditor.
Moreover, with respect to the Mallinckrodt Plc shares transferred to such creditor, the initial acquisition
price set at the Repayment in Kind date should be one of the elements to assess the eligibility of
Mallinckrodt Plc to the Luxembourg participation exemption regime at the level of such creditors.

While the intent is not to have any Holders of the Prepetition Debt becoming direct shareholders of LuxCo,
it has to be noted that if such a situation materializes, Luxembourg withholding tax implications should be
considered. Double Tax Treaties (“DTT’s”) may provide for a reduced rate of 5% withholding tax provided
amongst other provisions that the beneficiaries of dividend distributions are capital companies owning
either 10% (DTT between the United States and Luxembourg dated April 3, 1996) or 25% (DTT between
Ireland and Luxembourg dated January 14, 1972) of LuxCo shares.

Also, while the intent is not to have any Holders (non-Luxembourg resident) of the Guaranteed Unsecured
Notes Claims become direct shareholders of LuxCo, it has to be noted that if such a situation materializes,
the non-resident capital gains taxation rules should only apply if the shares in LuxCo would be disposed of
by a given shareholder within a period of 6 months after the acquisition of the LuxCo shares (participation
of 10% or more).

However, the taxation right of Luxembourg is restricted by the DTT’s signed between Luxembourg and
foreign jurisdictions. Subject to the availability of the tax conventions, Article 14 (5) of the DTT between
the United States and Luxembourg dated April 3, 1996 grants exclusive taxing rights over any capital gain
to the United States. In this context, the application of 156 (8) of the Luxembourg ITL should be overridden
by Article 14 (5) of the DTT US-Lux. In addition, Article 12 of the DTT between Ireland and Luxembourg
dated January 14, 1972 grants exclusive taxing rights over any capital gain to Ireland. In this context, the
application of 156 (8) of the Luxembourg ITL should be overridden by Article 12 of the DTT Irish-Lux.

The present section does not provide for an in-depth analysis of all the conditions to benefit from the double
tax treaties and the related reduced withholding tax rates (a case-by-case assessment has to be carried out).

Regarding any non-Luxembourg tax residents creditors that do not have a permanent establishment in
Luxembourg (to which their stake in the Guaranteed Unsecured Notes Claims is allocated), the Repayment
in Kind should not generate Luxembourg income tax implications at their level. The above withholding tax
and non-resident capital gains consideration have to, however, be further assessed.




                                                      216
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21      Page 228 of 835



                                          XIV.
                             CONCLUSION AND RECOMMENDATION

The Debtors believe the Plan is in the best interests of all stakeholders and urge the holders of Claims in
Classes 2(b) (unless otherwise Unimpaired in accordance with the Plan), 2(c) (unless otherwise Unimpaired
in accordance with the Plan), 3 (unless otherwise Unimpaired in accordance with the Plan), 4 (unless
otherwise Unimpaired in accordance with the Plan), 5, 6(a)-(f), 7, 8(a)-(d), 9(a)-(h), and 10 to vote in favor
thereof.

Respectfully submitted, as of the date first set forth above,

                                             Mallinckrodt plc (on behalf of itself and all other Debtors)


                                             By:      /s/ Stephen A. Welch
                                             Name:    Stephen A. Welch
                                             Title:   Chief Transformation Officer




                                                      217
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 229 of 835




                         Exhibit A
                           Plan
                Case 20-12522-JTD            Doc 2917       Filed 06/18/21        Page 230 of 835
                                                                                        SOLICITATION VERSION


                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                 )
In re:                                                           ) Chapter 11
                                                                 )
MALLINCKRODT PLC, et al.,                                        ) Case No. 20-12522 (JTD)
                                                                 )
                               1
                    Debtors.                                     ) (Jointly Administered)
                                                                 )
                                                                 )

               JOINT PLAN OF REORGANIZATION OF MALLINCKRODT PLC AND ITS
                                                                        2
              DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE


    Mark D. Collins (No. 2981)                                George A. Davis (admitted pro hac vice)
    Michael J. Merchant (No. 3854)                            George Klidonas (admitted pro hac vice)
    Amanda R. Steele (No. 5530)                               Andrew Sorkin (admitted pro hac vice)
    Brendan J. Schlauch (No. 6115)                            Anupama Yerramalli (admitted pro hac vice)
    RICHARDS, LAYTON & FINGER, P.A.                           LATHAM & WATKINS LLP
    One Rodney Square                                         1271 Avenue of the Americas
    920 N. King Street                                        New York, New York 10020
    Wilmington, DE 19801                                      Telephone:       (212) 906-1200
    Telephone:       (302) 651-7700                           Facsimile:       (212) 751-4864
    Facsimile:       (302) 651-7701                           Email:           george.davis@lw.com
    Email:           collins@rlf.com                                           george.klidonas@lw.com
                     merchant@rlf.com                                          andrew.sorkin@lw.com
                     steele@rlf.com                                            anu.yerramalli@lw.com
                     schlauch@rlf.com
                                                              - and -
                                                              Jeffrey E. Bjork (admitted pro hac vice)
    - and -
                                                              LATHAM & WATKINS LLP
                                                              355 South Grand Avenue, Suite 100
                                                              Los Angeles, California 90071
                                                              Telephone:        (213) 485-1234
                                                              Facsimile:        (213) 891-8763
                                                              Email:            jeff.bjork@lw.com
                                                              - and -
                                                              Jason B. Gott (admitted pro hac vice)
                                                              LATHAM & WATKINS LLP
                                                              330 North Wabash Avenue, Suite 2800
                                                              Chicago, Illinois 60611
                                                              Telephone:         (312) 876-7700
                                                              Facsimile:         (312) 993-9767
                                                              Email:             jason.gott@lw.com
                                   Counsel to the Debtors and Debtors in Possession
                                                Dated: June 18, 2021


1
       A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
       and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is 675
       McDonnell Blvd., Hazelwood, Missouri 63042.
2
       The Guaranteed Unsecured Notes Ad Hoc Group’s sign off on the Plan is subject to resolution of the opioid fee
       allocation issues.
                  Case 20-12522-JTD                          Doc 2917               Filed 06/18/21                  Page 231 of 835


                                                             TABLE OF CONTENTS

                                                                                                                                                             Page

Article I. DEFINED TERMS AND RULES OF INTERPRETATION......................................................................... 1
          A.     Defined Terms .................................................................................................................................. 1
          B.     Rules of Interpretation .................................................................................................................... 41
          C.     Consent Rights of Supporting Parties ............................................................................................. 42

Article II. ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS, OTHER PRIORITY CLAIMS,
          AND UNITED STATES TRUSTEE STATUTORY FEES.......................................................................... 42
          A.    Administrative Claims .................................................................................................................... 43
          B.    Priority Tax Claims ......................................................................................................................... 45
          C.    Other Priority Claims ...................................................................................................................... 45
          D.    United States Trustee Statutory Fees .............................................................................................. 46

Article III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS........................................... 46
          A.     Classification of Claims .................................................................................................................. 46
          B.     Treatment of Claims and Interests .................................................................................................. 47
          C.     Acceptance or Rejection of the Plan ............................................................................................... 63
          D.     Confirmation Pursuant to Section 1129(a)(10) of the Bankruptcy Code ........................................ 65
          E.     Subordinated Claims ....................................................................................................................... 65
          F.     Special Provision Governing Unimpaired Claims .......................................................................... 65
          G.     Vacant and Abstaining Classes ....................................................................................................... 65
          H.     Intercompany Interests and Intercompany Claims .......................................................................... 65
          I.     New Credit Facilities ...................................................................................................................... 66

Article IV. MEANS FOR IMPLEMENTATION OF THE PLAN.............................................................................. 66
         A.     General Settlement of Claims and Interests .................................................................................... 66
         B.     Restructuring Transactions ............................................................................................................. 66
         C.     Corporate Existence ........................................................................................................................ 67
         D.     Vesting of Assets in the Reorganized Debtors ................................................................................ 67
         E.     Indemnification Provisions in Organizational Documents.............................................................. 67
         F.     Cancellation of Notes, Instruments, Certificates, Agreements, and Equity Interests ...................... 68
         G.     Sources for Plan Distributions and Transfers of Funds Among Debtors ........................................ 69
         H.     New Credit Facilities, New Takeback Term Loans, Takeback Second Lien Notes,
                Cram-Down First Lien Notes, and Cram-Down Second Lien Notes .............................................. 69
         I.     Reorganized Debtors’ Ownership ................................................................................................... 73
         J.     Exemption from Registration Requirements ................................................................................... 74
         K.     Organizational Documents .............................................................................................................. 75
         L.     Exemption from Certain Transfer Taxes and Recording Fees ........................................................ 75
         M.     Directors and Officers of the Reorganized Debtors ........................................................................ 76
         N.     Directors and Officers Insurance Policies ....................................................................................... 76
         O.     Preservation of Rights of Action ..................................................................................................... 77
         P.     Corporate Action ............................................................................................................................. 77
         Q.     Effectuating Documents; Further Transactions............................................................................... 78
         R.     Listing of New Mallinckrodt Ordinary Shares ................................................................................ 78
         S.     Payment of Fees and Expenses of the Supporting Parties and Indenture Trustee Fees................... 79
         T.     Creation of the Opioid MDT II ....................................................................................................... 79
         U.     Appointment and Obligations of Opioid MDT II Trustee(s) .......................................................... 80
         V.     Settlements of Opioid Claims ......................................................................................................... 81
         W.     Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT II ................. 82
         X.     Opioid Creditor Trusts and Settlements of Opioid Claims ............................................................. 85
         Y.     Administration of Opioid Claims .................................................................................................... 89
         Z.     Authority of the Debtors ................................................................................................................. 91
         AA.    Industry-Wide Document Disclosure Program ............................................................................... 92
         BB.    Monitor ........................................................................................................................................... 94
         CC.    Trade Claimant Agreements ........................................................................................................... 96
         DD.    Federal/State Acthar Settlement ...................................................................................................... 96
                  Case 20-12522-JTD                         Doc 2917                 Filed 06/18/21              Page 232 of 835


            EE.         Retainers of Ordinary Course Professionals ................................................................................... 97
            FF.         No Substantive Consolidation ......................................................................................................... 97

Article V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES;
         EMPLOYEE BENEFITS; AND INSURANCE POLICIES ......................................................................... 97
         A.     Assumption of Executory Contracts and Unexpired Leases ........................................................... 97
         B.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases ................................... 98
         C.     Claims Based on Rejection of Executory Contracts and Unexpired Leases ................................... 99
         D.     Contracts and Leases Entered into After the Petition Date ............................................................. 99
         E.     Reservation of Rights ...................................................................................................................... 99
         F.     Indemnification Provisions and Reimbursement Obligations ......................................................... 99
         G.     Co-Defendant Indemnification Obligations .................................................................................. 100
         H.     Employee Compensation and Benefits ......................................................................................... 101

Article VI. PROVISIONS GOVERNING DISTRIBUTIONS .................................................................................. 101
         A.     Distribution on Account of Claims Other than Opioid Claims Allowed as of the
                Effective Date ............................................................................................................................... 101
         B.     Distributions on Account of Claims Other than Opioid Claims Allowed After the
                Effective Date ............................................................................................................................... 102
         C.     Timing and Calculation of Amounts to Be Distributed ................................................................ 102
         D.     Delivery of Distributions .............................................................................................................. 102
         E.     Compliance with Tax Requirements/Allocations.......................................................................... 106
         F.     Applicability of Insurance Contracts Other than Opioid Insurance Policies ................................. 106
         G.     Distributions on Account of Opioid Claims .................................................................................. 106
         H.     Allocation of Distributions Between Principal and Interest .......................................................... 106
         I.     Postpetition Interest on Claims ..................................................................................................... 106

Article VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
         DISPUTED CLAIMS ................................................................................................................................. 107
         A.     Allowance and Disallowance of Claims Other than Opioid Claims ............................................. 107
         B.     Prosecution of Objections to Claims other than Opioid Claims .................................................... 107
         C.     Estimation of Claims and Interests other than Opioid Claims ...................................................... 107
         D.     No Distributions Pending Allowance............................................................................................ 108
         E.     Time to File Objections to Administrative Claims ....................................................................... 108
         F.     Procedures Regarding Opioid Claims ........................................................................................... 108
         G.     No Filing of Proofs of Claim for Opioid Claims or VI Opioid Claims ......................................... 108
         H.     Disputed General Unsecured Claims Reserve............................................................................... 108
         I.     Distributions After Allowance ...................................................................................................... 109
         J.     Disallowance of Certain First Lien Credit Agreement Claims, First Lien Notes
                Claims, and Second Lien Notes Claims. ....................................................................................... 109

Article VIII. CONDITIONS PRECEDENT TO THE EFFECTIVE DATE ............................................................. 110
         A.      Conditions Precedent to the Effective Date .................................................................................. 110
         B.      Waiver of Conditions .................................................................................................................... 112
         C.      Effect of Non-Occurrence of Conditions to the Effective Date .................................................... 112
         D.      Substantial Consummation ........................................................................................................... 112

Article IX. RELEASE, INJUNCTION, AND RELATED PROVISIONS ................................................................ 113
         A.     Discharge of Claims, Opioid Demands, and Interests; Compromise and Settlement of
                Claims, Opioid Demands, and Interests. ....................................................................................... 113
         B.     Releases by the Debtors .............................................................................................................. 113
         C.     Releases by Non-Debtor Releasing Parties Other Than Opioid Claimants ........................... 115
         D.     Releases by Holders of Opioid Claims....................................................................................... 117
         E.     Exculpation .................................................................................................................................. 119
         F.     Permanent Injunction ................................................................................................................. 120
         G.     Opioid Permanent Channeling Injunction ............................................................................... 120
         H.     Opioid Insurer Injunction .......................................................................................................... 121
         I.     Settling Opioid Insurer Injunction ............................................................................................ 122
         J.     Opioid Operating Injunction ......................................................................................................... 124
                                                                                ii
                  Case 20-12522-JTD                          Doc 2917                  Filed 06/18/21               Page 233 of 835


            K.           Setoffs and Recoupment ............................................................................................................... 124
            L.           Access to Opioid Insurance Policies .......................................................................................... 124
            M.           Co-Defendant Defensive Rights ................................................................................................... 125

Article X. RETENTION OF JURISDICTION .......................................................................................................... 125

Article XI. MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN .................................................. 128
         A.     Modification of Plan ..................................................................................................................... 128
         B.     Effect of Confirmation on Modifications ...................................................................................... 128
         C.     Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur ............................. 128

Article XII. MISCELLANEOUS PROVISIONS ...................................................................................................... 129
         A.      Immediate Binding Effect ............................................................................................................. 129
         B.      Additional Documents .................................................................................................................. 129
         C.      Payment of Statutory Fees ............................................................................................................ 129
         D.      Reservation of Rights .................................................................................................................... 129
         E.      Successors and Assigns................................................................................................................. 130
         F.      No Successor Liability .................................................................................................................. 130
         G.      Service of Documents ................................................................................................................... 130
         H.      Term of Injunctions or Stays ......................................................................................................... 132
         I.      Entire Agreement .......................................................................................................................... 133
         J.      Governing Law ............................................................................................................................. 133
         K.      Exhibits ......................................................................................................................................... 133
         L.      Nonseverability of Plan Provisions upon Confirmation................................................................ 133
         M.      Closing of Chapter 11 Cases ......................................................................................................... 133
         N.      Conflicts ........................................................................................................................................ 134
         O.      Section 1125(e) Good Faith Compliance ...................................................................................... 134
         P.      Dissolution of Committees............................................................................................................ 134




                                                                                 iii
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 234 of 835



          JOINT PLAN OF REORGANIZATION OF MALLINCKRODT PLC AND ITS
         DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

        Mallinckrodt plc and each of the debtors and debtors-in-possession in the above-captioned cases
(each a “Debtor” and, collectively, the “Debtors”) propose this Plan (as defined herein) for the treatment
and resolution of the outstanding Claims against, and Equity Interests in, the Debtors. Capitalized terms
used in the Plan and not otherwise defined have the meanings ascribed to such terms in Article I.A of the
Plan.

         Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan for each
Debtor for the treatment and resolution of outstanding Claims and Interests pursuant to the Bankruptcy
Code. The Debtors seek to consummate the Restructuring Transactions on the Effective Date of the Plan.
Each Debtor is a proponent of the Plan within the meaning of section 1129 of the Bankruptcy Code. The
classifications of Claims and Interests set forth in Article III of the Plan shall be deemed to apply separately
with respect to each Plan proposed by each Debtor, as applicable. The Plan does not contemplate
substantive consolidation of any of the Debtors.

        Reference is made to the Disclosure Statement for a discussion of the Debtors’ history, businesses,
results of operations, historical financial information, projections, and future operations, as well as a
summary and analysis of the Plan and certain related matters, including distributions to be made under the
Plan.

     ALL HOLDERS OF CLAIMS AND INTERESTS ENTITLED TO VOTE ON THE PLAN
ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

                                                  Article I.

                      DEFINED TERMS AND RULES OF INTERPRETATION

A.      Defined Terms

        The following terms shall have the following meanings when used in capitalized form herein:

         1.      “1992 Ludlow Debentures Indenture” means that certain Indenture, dated as of April 30,
1992, by and among Ludlow Corporation, as issuer, U.S. Bank Trust National Association (as successor in
interest to Security Pacific National Trust Company (New York)), as trustee, as supplemented by that
certain First Supplemental Indenture, dated as of April 30, 1992, with U.S. Bank National Trust Association
(as successor in interest to Security Pacific National Trust Company (New York)) (each as modified,
amended, or supplemented from time to time).

         2.     “1993 Ludlow Debentures Indenture” means that certain Indenture, dated as of April 30,
1992, by and among Ludlow Corporation, as issuer, U.S. Bank Trust National Association (as successor in
interest to Security Pacific National Trust Company (New York)), as trustee, as supplemented by that
certain Second Supplemental Indenture, dated as of March 8, 1993, with U.S. Bank National Trust
Association (as successor in interest to BankAmerica National Trust Company) (each as modified,
amended, or supplemented from time to time).

       3.      “2013 Notes Indenture” means that certain Indenture, dated as of April 11, 2013, by and
among Mallinckrodt International Finance S.A., as issuer, the guarantors party thereto from time to time
and U.S. Bank National Association, as trustee (as modified, amended, or supplemented from time to time).
            Case 20-12522-JTD            Doc 2917         Filed 06/18/21     Page 235 of 835



         4.     “2014 Notes Indenture” means that certain Indenture, dated as of August 13, 2014, by and
among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the guarantors party
thereto from time to time and Deutsche Bank Trust Company Americas, as trustee (as modified, amended,
or supplemented from time to time).

       5.       “2024 First Lien Term Loan” shall have the meaning ascribed to the term “2017 Term B
Loans” in the First Lien Credit Agreement.

         6.      “2024 First Lien Term Loan Claims” means any Claim held by the First Lien Agent or
the First Lien Lenders arising under, derived from or based upon the 2024 First Lien Term Loan or the First
Lien Credit Agreement (excluding any Claims arising under, derived from or based upon the 2025 First
Lien Term Loan or the First Lien Revolving Credit Facility), including Claims for all principal amounts
outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or related to the
2024 First Lien Term Loan or the First Lien Credit Agreement (excluding any Claims arising under or
related to the 2025 First Lien Term Loan or the First Lien Revolving Credit Facility).

        7.      “2024 First Lien Term Loans Outstanding Amount” means the principal amount
outstanding as of April 23, 2021 in respect of the 2024 First Lien Term Loan in an amount equal to
$1,407,557,343.72 less the amount of any First Lien Term Loan Principal Payments applied to repay the
2024 First Lien Term Loans after April 23, 2021.

       8.      “2025 First Lien Term Loan” shall have the meaning ascribed to the term “2018
Incremental Term Loans” in the First Lien Credit Agreement.

         9.      “2025 First Lien Term Loan Claims” means any Claim held by the First Lien Agent or
the First Lien Lenders arising under, derived from or based upon the 2025 First Lien Term Loan or the First
Lien Credit Agreement (excluding any Claims arising under, derived from or based upon the 2024 First
Lien Term Loan or the First Lien Revolving Credit Facility), including Claims for all principal amounts
outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or related to the
2025 First Lien Term Loan or the First Lien Credit Agreement (excluding any Claims arising under or
related to the 2024 First Lien Term Loan or the First Lien Revolving Credit Facility).

         10.    “2025 First Lien Term Loans Outstanding Amount” means the principal amount
outstanding as of April 23, 2021 in respect of the 2025 First Lien Term Loan in an amount equal to
$373,591,066.61 less the amount of any First Lien Term Loan Principal Payments applied to repay the 2025
First Lien Term Loans after April 23, 2021.

       11.     “4.75% Senior Notes due 2023” means the 4.75% senior notes due 2023 pursuant to the
2013 Notes Indenture.

         12.      “4.75% Senior Notes Indenture Trustee” means U.S. Bank National Association, solely
in its capacity as trustee under the 2013 Notes Indenture, and any predecessor or successor thereto.

        13.    “4.75% Unsecured Notes Claims” means any Claim arising under or based upon the 4.75%
Senior Notes due 2023 or the 2013 Notes Indenture.




                                                      2
           Case 20-12522-JTD          Doc 2917         Filed 06/18/21    Page 236 of 835



        14.     “5.50% Senior Notes Claims” means any Claim arising under, derived from or based upon
the April 2015 Notes Indenture, other than the Indenture Trustee Fees of the Guaranteed Unsecured Notes
Indenture Trustee.

        15.    “5.50% Senior Notes due 2025” means the 5.50% senior notes due 2025 pursuant to the
April 2015 Notes Indenture.

       16.    “5.625% Senior Notes Claims” means any Claim arising under, derived from or based
upon the September 2015 Notes Indenture, other than the Indenture Trustee Fees of the Guaranteed
Unsecured Notes Indenture Trustee.

       17.    “5.625% Senior Notes due 2023” means the 5.625% senior notes due 2023 pursuant to the
September 2015 Notes Indenture.

        18.     “5.75% Senior Notes Claims” means any Claim arising under, derived from or based upon
the 2014 Notes Indenture, other than the Indenture Trustee Fees of the Guaranteed Unsecured Notes
Indenture Trustee.

       19.     “5.75% Senior Notes due 2022” means the 5.75% senior notes due 2022 pursuant to the
2014 Notes Indenture.

        20.    “8.00% Debentures due March 2023” means the 8.00% debentures due 2023 pursuant to
the 1993 Ludlow Debentures Indenture.

        21.      “8.00% Debentures Indenture Trustee” means U.S. Bank Trust National Association,
solely in its capacity as trustee under the 1993 Ludlow Debentures Indenture, and any predecessor or
successor thereto.

       22.   “9.5% Debentures due May 2022” means the 9.50% debentures due 2022 pursuant to the
1992 Ludlow Debentures Indenture.

        23.      “9.5% Debentures Indenture Trustee” means U.S. Bank Trust National Association,
solely in its capacity as trustee under the 1992 Ludlow Debentures Indenture, and any predecessor or
successor thereto.

       24.      “Abatement Distribution” means a distribution from an Abatement Trust to an Authorized
Recipient for Approved Uses.

       25.      “Abatement Trust” means, collectively, NOAT II, TAFT II, the Third-Party Payor Trust,
the Hospital Trust, the Emergency Room Physician Trust, and the NAS Monitoring Trust.

        26.      “Abatement Trust Documents” means, collectively, the NOAT II Documents, the TAFT
II Documents, the Third-Party Payor Trust Documents, the Hospital Trust Documents, the Emergency
Room Physician Trust Documents, and the NAS Monitoring Trust Documents, all of which must be
acceptable to the Governmental Plaintiff Ad Hoc Committee and the MSGE Group.

        27.     “Acthar Claim” means a non-ordinary course Claim or Cause of Action (other than a Claim
resolved by the Federal/State Acthar Settlement) arising out of, relating to, or in connection with the
Debtors’ pricing and sale of Acthar® Gel product, including all Claims and Causes of Action in the Acthar
Lawsuits and any and all similar Claims and Causes of Action.

        28.     “Acthar Lawsuits” means (a) City of Rockford v. Mallinckrodt ARD, LLC, No. 3:17-cv-
50107 (N.D. Ill.); (b) City of Marietta v. Mallinckrodt ARD LLC, Case No. 1:20-cv-00552 (N.D. Ga);
(c) Health Care Service Corp. v. Mallinckrodt ARD LLC, et al., Case No RG20056354 (Cal. Sup. Ct. for


                                                   3
            Case 20-12522-JTD           Doc 2917         Filed 06/18/21    Page 237 of 835



Alameda Ct’y); (d) United Assoc. of Plumbers & Pipefitters Local 322 of S. N.J. v. Mallinckrodt ARD, LLC,
et al., Case No. 1:20-cv-00188-RBK-KMW (D.N.J.); (e) Humana Inc. v. Mallinckrodt ARD LLC, Case No.
CV 19-6926-DSF-MRWx (C.D. Cal.); and (f) Washington Cty. Bd. of Educ. v. Mallinckrodt ARD, Inc., 431
F.Supp.3d 689, No. CV JKB-19-1854, 2020 WL 43016 (D. Md.).

         29.     “Ad Hoc First Lien Term Lender Group” means that certain ad hoc group of holders of
certain First Lien Credit Agreement Claims represented by, among others, Gibson, Dunn & Crutcher LLP
and advised by Evercore Group, LLC.

        30.     “Ad Hoc Group of Hospitals” means the Ad Hoc Group of Hospitals identified in the
Hospitals’ Joinder to the OCC’s Objection to Disclosure Statement and Hospitals’ Separate Statement
[Docket No. 2402].

       31.      “Ad Hoc Group of Personal Injury Victims” means the Ad Hoc Group of Personal Injury
Victims identified in the Verified Statement of the Ad Hoc Group of Personal Injury Victims Pursuant to
Bankruptcy Rule 2019 [Docket No. 729] (as amended, supplemented, or modified from time to time).

         32.     “Additional Insurance Rights” means additional rights with respect to or arising under
any Insurance Contracts and/or other consideration to be agreed to by the Debtors, the Supporting
Governmental Opioid Claimants, the MSGE Group, and Supporting Unsecured Noteholders holding no
less than two thirds in outstanding principal amount of Guaranteed Unsecured Notes held by the Supporting
Unsecured Noteholders then party to the Restructuring Support Agreement.

         33.     “Administrative Claim” means a Claim, including a General Administrative Claim, for
costs and expenses of administration under sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses incurred after the Petition Date and through the
Effective Date of preserving the Estates and operating the businesses of the Debtors; (b) Professional Fee
Claims (to the extent Allowed by the Bankruptcy Court); (c) all fees and charges assessed against the
Estates under chapter 123 of title 28 United States Code, 28 U.S.C. §§ 1911-1930; (d) all Cure Costs; and
(e) the Restructuring Expenses; provided that the foregoing clauses (a) through (e) shall not be interpreted
as enlarging the scope of sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code. Notwithstanding
anything contained in the Plan, the Confirmation Order or any other order of the Court, the Disinterested
Managers Fees and Expenses shall constitute Allowed Administrative Claims.

         34.    “Administrative Claims Bar Date” means, for Administrative Claims other than
Professional Fee Claims, the Restructuring Expenses, any Opioid Claims or VI Opioid Claims, the earlier
of (a) the bar date established for any such Administrative Claims by separate order of the Bankruptcy
Court and (b) the date that is the 60th day after the Effective Date.

          35.      “Administrative Claims Objection Deadline” means, for Administrative Claims other than
Professional Fee Claims, the Restructuring Expenses, any Opioid Claims or VI Opioid Claims, the date that
is the later of (a) 120 days after the Administrative Claims Bar Date and (b) such other deadline as may be
specifically fixed by the Debtors or the Reorganized Debtors, as applicable, or by an order of the
Bankruptcy Court, for objecting to Administrative Claims.

         36.     “Affiliate” means, with respect to any Entity, all Entities that would fall within the
definition of an “affiliate” as such term is defined in section 101(2) of the Bankruptcy Code. With respect
to any Entity that is not a Debtor, the term “Affiliate” shall apply to such Entity as if the Entity were a
Debtor.

        37.    “Allowed” means: (a) with respect to an Opioid Claim, any such Opioid Claim that has
been allowed in accordance with the applicable Opioid MDT II Documents or Opioid Creditor Trust
Documents, (b) with respect to any Claim or Interest other than an Opioid Claim, any such Claim or Interest


                                                     4
              Case 20-12522-JTD          Doc 2917          Filed 06/18/21     Page 238 of 835



(i) for which a Proof of Claim has been timely Filed by the applicable Claims Bar Date or any Claim or
Interest that is not required to file a Proof of Claim by the applicable Claims Bar Date pursuant to the Claims
Bar Date Order and (A) as to which no objection to allowance, priority, or secured status, and no request
for estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or otherwise,
has been interposed, or (B) as to which any objection has been determined by a Final Order to the extent
such objection is determined in favor of the respective Holder; (ii) for which a Proof of Claim has been
timely Filed by the applicable Claims Bar Date that is compromised, settled, or otherwise resolved pursuant
to the authority of the Debtors or the Reorganized Debtors, as applicable; or (iii) that is scheduled by the
Debtors as neither disputed, contingent, nor unliquidated, and as for which no Proof of Claim has been
timely Filed in an unliquidated or different amount; or (iv) expressly allowed under this Plan or by Final
Order of the Bankruptcy Court. Notwithstanding the foregoing: (x) any Claim or Interest that is expressly
disallowed pursuant to the Plan shall not be Allowed unless otherwise ordered by the Bankruptcy Court;
(y) unless otherwise specified in the Plan, the Allowed amount of Claims shall be subject to and shall not
exceed the limitations under or maximum amounts permitted by the Bankruptcy Code, including
sections 502 or 503 of the Bankruptcy Code, to the extent applicable; and (z) the Reorganized Debtors shall
retain all claims and defenses with respect to Allowed Claims that are Reinstated or otherwise Unimpaired
pursuant to the Plan. “Allow,” “Allows,” and “Allowing” shall have correlative meanings.

         38.      “Alternate/Supplemental Distribution Process” means alternate, additional or
supplemental procedures in consultation with the Guaranteed Unsecured Notes Indenture Trustee or the
Legacy Unsecured Notes Indenture Trustee, as applicable, each in its capacity as Distribution Agent, to
make distributions to Holders of the Guaranteed Unsecured Notes or the Legacy Unsecured Notes and to
eliminate such Guaranteed Unsecured Notes or Legacy Unsecured Notes, including all book entry positions
relating thereto, from DTC’s books and records.

      39.     “Approved Uses” means Authorized Abatement Purposes and other uses approved in the
Abatement Trust Documents.

        40.      “April 2015 Notes Indenture” means that certain Indenture, dated as of April 15, 2015, by
and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the guarantors
party thereto from time to time and Deutsche Bank Trust Company Americas, as trustee (as modified,
amended, or supplemented from time to time).

        41.      “Asbestos Claim” means a Claim related to asbestos exposure or products containing
asbestos.

         42.     “Assigned Insurance Rights” means (a) any and all rights, titles, privileges, interests,
claims, demands, or entitlements of the Debtors to any proceeds, payments, benefits, Causes of Action,
choses in action, defense or indemnity (collectively, “rights”), regardless of whether such rights existed in
the past, now exist, or hereafter arise, and regardless of whether such rights are or were accrued or
unaccrued, liquidated or unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent,
based on, arising under, or attributable to, any and all Opioid Insurance Policies and (b) the Additional
Insurance Rights. For the avoidance of doubt, Assigned Insurance Rights includes the Debtors’ rights,
based on, arising under, or attributable to Insurance Contracts issued to the Debtors’ prior affiliates,
subsidiaries, and parents (including Medtronic plc and its subsidiaries, and parents), or otherwise, or any of
their predecessors, successors, or assigns.

         43.      “Assigned Medtronic Claims” means all Causes of Action of the Debtors against
Medtronic plc and/or its subsidiaries, and each of their predecessors, successors, and assigns, including all
Avoidance Actions of the Debtors against such parties; provided, that the Debtors or Reorganized Debtors
shall be entitled to assert any and all Causes of Action solely in defense against claims or Causes of Action
asserted by Medtronic plc and/or its subsidiaries, or any of their predecessors, successors, or assigns, against


                                                       5
              Case 20-12522-JTD         Doc 2917         Filed 06/18/21     Page 239 of 835



the Debtors or Reorganized Debtors (as applicable), solely to the extent that any such Causes of Action
asserted in defense by the Debtors or Reorganized Debtors (a) are not asserted as the basis for any setoff or
recoupment by the Debtors or Reorganized Debtors (as applicable), (b) would not result in any recovery of
money or property by the Debtors or Reorganized Debtors (as applicable), or (c) would otherwise not impair
the Opioid MDT II’s ability to (i) recover the full amount of damages on account of the Assigned Medtronic
Claims or (ii) assert any Assigned Medtronic Claims as the basis for reducing the Opioid MDT II’s or the
Opioid Creditor Trusts’ liability to any Opioid Claimant.

        44.      “Assigned Third-Party Claims” means (a) all Causes of Action of the Debtors arising out
of Opioid Claims, including all Avoidance Actions arising out of Opioid Claims, but excluding any Causes
of Action against the Parent or any of its subsidiaries or against any Released Party, provided, that the
Debtors or Reorganized Debtors shall be entitled to assert any and all Causes of Action in defense against
claims or Causes of Action asserted against the Debtors or Reorganized Debtors, or any Released Party (as
applicable), solely to the extent that any such Causes of Action asserted in defense by the Debtors or
Reorganized Debtors (i) are not asserted as the basis for any setoff or recoupment by the Debtors,
Reorganized Debtors, or Released Party (as applicable) and (ii) would not result in any recovery of money
or property by the Debtors, Reorganized Debtors, or Released Party (as applicable); (b) would otherwise
not impair the Opioid MDT II’s ability to (i) recover the full amount of damages on account of the Assigned
Third-Party Claims or (ii) assert any Assigned Third-Party Claims as the basis for reducing the Opioid
MDT II’s or the Opioid Creditor Trusts’ liability to any Opioid Claimant; and (c) the Assigned Medtronic
Claims.

        45.      “Authorized Abatement Purpose” means, with respect to any Abatement Trust, (i) an
authorized opioid abatement purpose for which an Abatement Distribution from such Abatement Trust may
be used, as set forth in the Abatement Trust Documents for such Abatement Trust, or (ii) the payment of
attorneys’ fees and costs of Holders of Opioid Claims channeled to such Abatement Trust (including any
counsel to any ad hoc group or other group of such Holders, including any such counsel that is not a
Retained Professional).

       46.     “Authorized Recipient” means an eligible recipient of funds from an Abatement Trust in
accordance with the Plan, the Confirmation Order, and the applicable Abatement Trust Documents.

        47.     “Avoidance Actions” means any and all avoidance, recovery, subordination or similar
actions or remedies that may be brought by or on behalf of the Debtors or their Estates under the Bankruptcy
Code or applicable non-bankruptcy law, including, actions or remedies arising under chapter 5 of the
Bankruptcy Code or under similar or related local, state, federal, or foreign statutes and common law,
including fraudulent transfer laws, fraudulent conveyance laws, or other similar related laws.

        48.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

       49.     “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware or such other court having jurisdiction over the Chapter 11 Cases.

        50.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075,
as applicable to the Chapter 11 Cases, and the general, local, and chambers rules of the Bankruptcy Court.

         51.     “Business Day” means any day, other than a Saturday, Sunday or “legal holiday” (as that
term is defined in Bankruptcy Rule 9006(a)), on which commercial banks are open for commercial business
with the public in New York City.

        52.      “Canadian Court” means the Ontario Superior Court of Justice (Commercial List).



                                                     6
              Case 20-12522-JTD           Doc 2917          Filed 06/18/21     Page 240 of 835



        53.      “Cash” means the legal tender of the United States of America or the equivalent thereof.

        54.      “Cash Collateral Order” means, collectively, (a) that certain Final Order Under
Bankruptcy Code Sections 105(a), 361, 362, 363, 503, and 507, and Bankruptcy Rules 4001 and 9014 (I)
Authorizing Debtors to Use Cash Collateral; (II) Granting Adequate Protection to Prepetition Secured
Parties; (III) Modifying Automatic Stay; and (IV) Granting Related Relief entered by the Bankruptcy Court
on November 20, 2020 [Docket No. 586], (b) that certain Order Modifying Cash Collateral Order entered
by the Bankruptcy Court on February 2, 2021 [Docket No. 1263], and (c) that certain Order (I) Modifying
Cash Collateral Order With Respect To Adequate Protection Terms, (II) Permitting The Debtors To Pay
Certain Amounts, And (III) Granting Related Relief [Docket No. 2021], each as amended, supplemented,
or modified from time to time.

        55.      “Causes of Action” means any claims, causes of action (including Avoidance Actions),
demands, actions, suits, obligations, liabilities, cross-claims, counterclaims, defenses, offsets, or setoffs of
any kind or character whatsoever, in each case whether known or unknown, contingent or noncontingent,
matured or unmatured, suspected or unsuspected, foreseen or unforeseen, direct or indirect, choate or
inchoate, existing or hereafter arising, under statute, in contract, in tort, in law, or in equity, or pursuant to
any other theory of law, federal or state, whether asserted or assertable directly or derivatively in law or
equity or otherwise by way of claim, counterclaim, cross-claim, third party action, action for indemnity or
contribution or otherwise.

        56.     “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the
voluntary case Filed for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and
(b) when used with reference to all Debtors, the jointly administered chapter 11 cases for all of the Debtors.

        57.     “Chapter 11 Monitor” means the monitor appointed pursuant to that certain Order
(I) Appointing R. Gil Kerlikowske as Monitor for Voluntary Injunction and (II) Approving the Monitor’s
Employment of Saul Ewing as Counsel at the Cost and Expense of the Debtors [Docket No. 1306] or such
other monitor as may subsequently be appointed by the Bankruptcy Court prior to the Effective Date.

       58.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code. Except
where otherwise provided in context, “Claim” refers to such a claim against any of the Debtors.

         59.     “Claims Bar Date” means, with respect to any Claim, the last date for filing of a Proof of
Claim in these Chapter 11 Cases with respect to such Claim, as provided in (a) the Claims Bar Date Order,
(b) a Final Order of the Bankruptcy Court, or (c) this Plan; provided that if there is a conflict relating to the
bar date for a particular Claim, this Plan shall control. For the avoidance of doubt, there is no Claims Bar
Date for Opioid Claims.

        60.     “Claims Bar Date Order” means that certain Order (A) Establishing Bar Dates and
Related Procedures for Filing Proofs of Claim and (B) Approving Form and Manner of Notice Thereof
entered by the Bankruptcy Court on November 30, 2020 [Docket No. 667], as amended, supplemented, or
modified from time to time.

        61.     “Claims Register” means the official register of Claims and Equity Interests maintained by
the Notice and Claims Agent.

       62.       “Class” means a category of Claims or Equity Interests as set forth in Article III of the Plan
pursuant to section 1122(a) of the Bankruptcy Code.

        63.      “Co-Defendant Claims” means any and all Claims that (i) either (A) are or could be
asserted against any Debtor, including any and all Claims that would otherwise be a Cure Cost or (B) seek
to recover from any property of any Debtor or its Estate or any Insurance Contract, (ii) are for or based


                                                        7
            Case 20-12522-JTD            Doc 2917          Filed 06/18/21     Page 241 of 835



upon or arise from contribution, indemnification, reimbursement, setoff or recoupment or any other similar
claim or Cause of Action (other than indemnification obligations expressly assumed pursuant to the Plan
or an order of the Bankruptcy Court), and (iii) seek to recover, directly or indirectly, any costs, losses,
damages, fees, expenses or any other amounts whatsoever, actually or potentially imposed upon the Holder
of such Claims, in each case based upon, arising from, or attributable to any actual or potential litigation or
dispute, whether accrued or unaccrued, asserted or unasserted, existing or hereinafter based on, arising
under, or attributable to any Opioid Claim or any Opioid Demand (including any such Claims or Demands
asserted by any manufacturer, distributor, pharmacy, pharmacy-benefit manager, group purchasing
organization or physician or other contract counterparty or business partner of any Debtor, but excluding
any Claims in respect of any D&O Liability Insurance Policy or Indemnification Provisions expressly
assumed pursuant to Article V.F of the Plan). For the avoidance of doubt, a Co-Defendant Claim shall not
include any Claim that exists in the ordinary course of business that is not related to actual or pending
litigation or dispute relating to Opioid-Related Activities, including, but not limited to, Claims based on the
return of Products. Notwithstanding anything to the contrary in the Plan, any Claim that satisfies the
definition of a Co-Defendant Claim shall be a Co-Defendant Claim notwithstanding that such Claim would
otherwise satisfy the definition of another type of Claim.

         64. “Co-Defendant Defensive Rights” means any and all direct, or indirect, rights, remedies,
protections, immunities, objections, defenses, assertions, Claims, Causes of Action, and, in each case, of
any kind, character, or nature, whether legal, equitable, or contractual, contingent or non-contingent,
liquidated or unliquidated, disputed or undisputed, including, without limitation, all rights, remedies,
defenses, assertions, and Claims against liability, rights to setoff, offset, recoupment, counter-claims, cross-
claims, rights to allocation or apportionment of fault and judgment reduction, apportionment of damages,
any other defenses, affirmative defenses, or judgment reduction mechanisms or rights similar to the
foregoing, and any steps necessary to assert the foregoing, in each case, solely to reduce the liability,
judgment, obligation or fault of the applicable Holder of a Co-Defendant Claim to any Person that asserts
any Cause of Action or Claim against the Holder of any Co-Defendant Claim based in whole or in part on
Opioid-Related Activities. Co-Defendant Defensive Rights (i) may be used to offset, set-off, recoup,
allocate or apportion fault, liability, or damages, or seek judgment reduction or otherwise to defend against
any Cause of Action or Claim brought by any Person against the Holder of any Co-Defendant Claim based
in whole or in part on Opioid-Related Activities; and (ii) shall in no case be used to seek any affirmative
monetary recovery from any Protected Party on account of any Claim or Cause of Action released pursuant
to Article IX.D and shall in no case result in the Debtors or the Reorganized Debtors (as distinct from the
Opioid MDT II) being named on a jury verdict form or other finding of liability and shall in no case be used
to seek an affirmative recovery from the Opioid MDT II or any Opioid Creditor Trust other than on account
of any Class 9(h) Claim in accordance with the Plan and the Opioid MDT II Trust Documents. The
foregoing does not constitute a release of any Co-Defendant Claim.

        65.     “Compensation and Benefits Programs” means all employment, confidentiality, and non-
competition agreements, bonus, gainshare, and incentive programs (other than awards of Equity Interests,
stock options, restricted stock, restricted stock units, warrants, rights, convertible, exercisable, or
exchangeable securities, stock appreciation rights, phantom stock rights, redemption rights, profits interests,
equity-based awards, or contractual rights to purchase or acquire equity interest at any time and all rights
arising with respect thereto), vacation, holiday pay, severance, retirement, savings, supplemental
retirement, executive retirement, pension, deferred compensation, medical, dental, vision, life and disability
insurance, flexible spending account, and other health and welfare benefit plans, employee expense
reimbursement, and other compensation and benefit obligations of the Debtors, and all amendments and




                                                       8
              Case 20-12522-JTD         Doc 2917          Filed 06/18/21    Page 242 of 835



modifications thereto, applicable to the Debtors’ employees, former employees, retirees, and non-employee
directors and the employees, former employees, and retirees of their subsidiaries.

       66.      “Common Benefit Escrow” means the fund to be established as set forth in Article
IV.X.8(A) of the Plan.

       67.     “Common Benefit Fund” means a common benefit fund established by order of, and
administered by, either the MDL Court or the Bankruptcy Court, as will be reasonably agreed to by the
Governmental Plaintiff Ad Hoc Committee and the MSGE Group.

        68.      “Confirmation” means the entry of the Confirmation Order by the Bankruptcy Court on
the docket of the Chapter 11 Cases.

        69.      “Confirmation Date” means the date upon which Confirmation occurs.

         70.    “Confirmation Hearing” means the hearing conducted by the Bankruptcy Court pursuant
to section 1128(a) of the Bankruptcy Code to consider confirmation of the Plan, as such hearing may be
adjourned or continued from time to time.

       71.       “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan
pursuant to section 1129 of the Bankruptcy Code.

        72.    “Cooperation Agreement” means that certain Cooperation Agreement among the Debtors
and the Opioid MDT II, in substantially the form contained in the Plan Supplement, which shall be in form
and substance acceptable to the Governmental Plaintiff Ad Hoc Committee, the MSGE Group, and the
Required Supporting Unsecured Noteholders.

         73.    “Cram-Down First Lien Notes” means new, first lien secured notes to be issued under
certain circumstances to the Holders of First Lien Notes Claims, as described further in Article III of the
Plan, which notes shall mature on the eight (8) year anniversary of the Effective Date, bear interest at the
Cram-Down First Lien Notes Coupon Rate, and otherwise be on terms set forth in Exhibit 1 hereto. For
the avoidance of doubt, the Cram-Down First Lien Notes will be pari passu with any other first lien secured
debt of the Reorganized Debtors, other than the New AR Revolving Facility, contemplated by the Plan.

        74.    “Cram-Down First Lien Notes Coupon Rate” means a coupon rate payable in Cash based
on the ICE BofA 8+ Year B US High Yield Index Semi Annual Yield to Worst (referenced by H2AL on
Bloomberg) as of the Effective Date, rounded to the nearest 0.125%, subject to a max coupon of 10.0%.

         75.   “Cram-Down First Lien Notes Documentation” means the indenture (the substantially
final form of which will be filed with the Plan Supplement), notes, and other documents governing the
Cram-Down First Lien Notes.

         76.     “Cram-Down Second Lien Notes” means new, second lien secured notes to be issued
under certain circumstances to the Holders of Second Lien Notes Claims, as described further in Article III
of the Plan, which notes shall mature on the ten (10) year anniversary of the Effective Date, bear interest at
the Cram-Down Second Lien Notes-Coupon Rate, and otherwise be on terms set forth in Exhibit 1 hereto.
For the avoidance of doubt, the Cram-Down Second Lien Notes will be pari passu with any other second
lien secured debt of the Reorganized Debtors contemplated by the Plan.

       77.     “Cram-Down Second Lien Notes Coupon Rate” means a coupon rate payable in Cash
based on the ICE BofA 8+ Year CCC & Lower US High Yield Index Semi Annual Yield to Worst




                                                      9
              Case 20-12522-JTD         Doc 2917        Filed 06/18/21      Page 243 of 835



(referenced by H3AL on Bloomberg) as of the Effective Date, rounded to the nearest 0.125%, subject to a
max coupon of 10.0%.

         78.   “Cram-Down Second Lien Notes Documentation” means the indenture (the substantially
final form of which will be filed with the Plan Supplement), notes, and other documents governing the
Cram-Down Second Lien Notes.

        79.     “Cure Cost” means any and all amounts required to cure any monetary defaults under any
Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the parties under
an Executory Contract or Unexpired Lease) that is to be assumed by the Debtors pursuant to sections 365
or 1123 of the Bankruptcy Code.

        80.      “D&O Liability Insurance Policies” means, collectively, all insurance policies (including
any “tail policies” and all agreements, documents, or instruments related thereto) issued at any time to, or
providing coverage to, any of the Debtors or any of the Debtors’ current or former directors, members,
managers, or officers for alleged Wrongful Acts (as defined in the D&O Liability Insurance Policies), or
similarly defined triggering acts, in their capacity as such.

        81.      “Debtor Release” means the releases set forth in Article I.B of the Plan.

         82.     “Definitive Documents” means all material documents (including any related Bankruptcy
Court or other judicial or regulatory orders, agreements, schedules, pleadings, motions, filings, or exhibits)
that are contemplated by the Restructuring Support Agreement and that are otherwise necessary or desirable
to implement the Restructuring Transactions, including (as applicable): (i) the Plan; (ii) the Disclosure
Statement; (iii) any other operative documents and/or agreements relating to the Plan (including any
documents necessary to implement the distributions contemplated thereunder) and/or the Disclosure
Statement; (iv) the Disclosure Statement Order; (v) the Confirmation Order; (vi) the Plan Supplement; (vii)
the Management Incentive Plan; (viii) the Scheme of Arrangement and any other substantive pleadings
submitted in the Irish Examinership Proceedings; (ix) the Irish Confirmation Order; (x) the Exit Financing
Documents, including all intercreditor agreements; (xi) the New Governance Documents; (xii) pleadings
commencing the Recognition Proceedings and any substantive pleadings filed therein, including the
order(s) granting recognition to the Chapter 11 Cases and relief granted therein; (xiii) all documents
memorializing the settlement based on the Opioid Settlement Term Sheet; (xiv) the Opioid MDT II
Documents; (xv) the Opioid Creditor Trust Documents; (xvi) the New Opioid Warrants; (xvii) the Cash
Collateral Order; (xviii) the First Day Pleadings; (xix) any new key employee incentive and retentive based
compensation programs to be proposed after the Petition Date; (xx) all agreements to settle (A)
administrative, priority, or tax claims (other than claims held by a Debtor or Non-Debtor Affiliate against
a Debtor) in the Chapter 11 Cases in excess of $20 million or (B) General Unsecured Claims (other than
claims held by a Debtor or Non-Debtor Affiliate against a Debtor) in the Chapter 11 Cases in excess of $50
million; (xxi) the New Takeback Term Loan Documentation and any other documentation related to any
financing used to repay any First Lien Credit Agreement Claims; and (xxii) the Cooperation Agreement.

         83.     “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits
and schedules thereto, as amended, supplemented, or modified from time to time, that is prepared and
distributed in accordance with sections 1125, 1126(b), and 1145 of the Bankruptcy Code, Bankruptcy Rule
3018, and other applicable law.

        84.     “Disclosure Statement Order” means the order of the Bankruptcy Court approving the
Disclosure Statement.

         85.     “Disinterested Managers” means Sherman Edmiston III and Marc Beilinson, solely in
their respective capacities as the disinterested managers of the Specialty Generics Debtors.



                                                     10
              Case 20-12522-JTD         Doc 2917        Filed 06/18/21      Page 244 of 835



        86.     “Disinterested Managers Fees and Expenses” means all unpaid fees and expenses as of
the Effective Date due to the Disinterested Managers pursuant to their respective engagement agreements
with the Debtors.

         87.      “Disputed” means, with respect to any Claim or Equity Interest, except as otherwise
provided herein, a Claim or Equity Interest that is filed by the applicable Claims Bar Date, or any portion
thereof, that is not Allowed and not disallowed under the Plan, the Bankruptcy Code, or a Final Order.

       88.     “Disputed General Unsecured Claims Reserve” means the reserve established pursuant to
and governed by Article VII.H of the Plan.

       89.     “Distribution Agent” means the Reorganized Debtors or any party designated by the
Debtors or Reorganized Debtors to serve as distribution agent under this Plan.

        90.       “District Court” means the United States District Court for the District of Delaware or such
other district court having jurisdiction over the Chapter 11 Cases.

        91.      “DTC” means The Depository Trust Company or any successor thereto.

       92.       “Effective Date” means the date on which all conditions specified in Article I.A of the Plan
have been (i) satisfied or (ii) waived pursuant to Article VIII.B of the Plan.

         93.      “Emergency Room Physicians Attorney Fee Fund” means the fund to be established as
set forth in Article IV.X.8 of the Plan.

        94.     “Emergency Room Physicians Group” means the putative class of emergency room
physicians who participated in the mediation regarding Opioid Claims pursuant to that certain Order
(A) Appointing a Mediator and (B) Granting Related Relief [Docket No. 1276].

        95.    “Emergency Room Physicians Opioid Claimant” means a Holder of an Emergency Room
Physicians Opioid Claim.

        96.     “Emergency Room Physicians Opioid Claims” means any Opioid Claims (including
Opioid Demands) held by an emergency room physician whose billing and revenue collection were entirely
separate from the medical facility billing practices and were not employed by such medical facility. For
the avoidance of doubt, Emergency Room Physicians Opioid Claims exclude Hospital Opioid Claims.

         97.     “Emergency Room Physicians Trust” means the Abatement Trust that is to be established
in accordance with the Plan, the Confirmation Order, and the Emergency Room Physicians Trust
Documents to (a) assume all liability for Emergency Room Physicians Opioid Claims, (b) receive the
distribution made on account of the Emergency Room Physicians Opioid Claims, (c) administer Emergency
Room Physicians Opioid Claims, and (d) make Abatement Distributions to Authorized Recipients,
including distributions to Holders of Emergency Room Physicians Opioid Claims in accordance with the
Emergency Room Physicians Trust Documents.

       98.     “Emergency Room Physicians Trust Documents” means the documents governing: (a)
the Emergency Room Physicians Trust; (b) the flow of consideration from the Opioid MDT II to the
Emergency Room Physicians Trust; (c) submission, resolution, and distribution procedures in respect of all
Emergency Room Physicians Opioid Claims (including Opioid Demands); and (d) the flow of distributions,
payments or flow of funds made from the Emergency Room Physicians Trust after the Effective Date.

        99.      “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.




                                                     11
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 245 of 835



         100.     “Environmental Claim” means any Claim, action, suit, demand, inquiry, investigation,
proceeding, or notice (written or oral) by any by any Governmental Unit or any Person alleging potential
liability of the Debtors, including liability or responsibility for the costs of investigations, governmental
response, removal, or remediation, natural resources damages, property damages, personal injuries, medical
monitoring, penalties, contribution, indemnification or injunctive relief, arising out of, based on, or resulting
from: (a) the presence of Hazardous Materials, a Hazardous Materials Release or a threatened Hazardous
Materials Release at any location, whether or not owned or operated by the Debtors; or (b) any actual or
alleged violation of or non-compliance with any other federal or state environmental laws or regulations,
environmental orders, permits, approvals, consent decrees and other obligations. For the avoidance of
doubt, Asbestos Claims shall not be Environmental Claims.

         101.    “Equity Interest” means any issued, unissued, authorized, or outstanding ordinary shares,
preferred shares, or other instrument evidencing an ownership interest in the Parent, whether or not
transferable, together with any warrants, equity-based awards, or contractual rights to purchase or acquire
such equity interests at any time and all rights arising with respect thereto that existed immediately before
the Effective Date.

       102.      “Estate” means, as to each Debtor, the estate created for such Debtor in its Chapter 11 Case
pursuant to section 541 of the Bankruptcy Code.

        103.     “Examiner” means an examiner appointed to the Parent and/or any other Company Entity
under Section 509 of the Companies Act 2014 of Ireland, including any such examiner appointed on an
interim basis under Section 512(7) of the Companies Act 2014 of Ireland, by order of the High Court of
Ireland on the commencement of the Irish Examinership Proceedings.

         104.     “Exculpated Party” means, in each case, in its capacity as such: (a) the Debtors (and their
Representatives); (b) the Reorganized Debtors (and their Representatives); (c) the Official Committee of
Unsecured Creditors (and its Representatives and the members thereto and their Representatives); (d) the
Official Committee of Opioid-Related Claimants (and its Representatives and the members thereto and
their Representatives); (e) the Future Claimants Representative (and its Representatives); and (f) the
Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee, each
solely in its capacity and to the extent it serves as a Distribution Agent.

        105.     “Executory Contract” means a contract to which one or more of the Debtors is a party that
is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code, other than an
Unexpired Lease.

       106.    “Exit Financing Documents” means any agreements, indentures, commitment letters,
documents, or instruments relating to any exit financing facility or facilities to be entered into by the
Reorganized Debtors, including with respect to the New Credit Facilities, New Takeback Term Loans, the
Takeback Second Lien Notes, the Cram-Down First Lien Notes, and the Cram-Down Second Lien Notes.

        107.     “Favorable Trade Terms” means the trade terms with a Holder of an Allowed Trade Claim
consistent with those practices and programs most favorable to the Debtors in place during the twelve (12)
months before the Petition Date or such other favorable terms as the Debtors and such Holder may mutually
agree in accordance with the requirements set forth in the Disclosure Statement Order.

        108.     “Federal/State Acthar Deferred Cash Payments” means the right to receive Cash
payments in the following amounts on the following dates: (a) $15,000,000 on the first anniversary of the
Effective Date; (b) $20,000,000 on each of the second and third anniversaries of the Effective Date;
(c) $32,500,000 on each of the fourth and fifth anniversaries of the Effective Date; and (d) $62,500,000 on
each of the sixth and seventh anniversaries of the Effective Date.



                                                       12
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 246 of 835



         109.    “Federal/State Acthar Settlement” means the settlement between Parent, Mallinckrodt
ARD LLC, the United States of America, and the States (excluding, for this purpose, any territories of the
United States other than the District of Columbia and Puerto Rico) resolving certain of the Acthar-related
litigations and government investigations disclosed in the Company’s Annual report on Form 10-K filed
with the SEC on March 10, 2021, including United States of America, et al., ex rel., Charles Strunck, et al.
v. Mallinckrodt ARD LLC (E.D. Penn.); United States of America et al. ex rel. Landolt v. Mallinckrodt
ARD, LLC (D. Mass.); and Mallinckrodt ARD LLC v. Verma et al. (D.D.C.), and related matters, as set forth
in the Federal/State Acthar Settlement Agreements.

         110.    “Federal/State Acthar Settlement Agreements” means the definitive settlement
agreements memorializing the Federal/State Acthar Settlement with (i) the U.S. Government (acting by and
through the United States Department of Justice) and (ii) the States, Washington, D.C., and Puerto Rico,
which shall be consistent with the terms set forth in Exhibit 3 hereto and substantially final forms of which
will be filed with the Plan Supplement.

        111.     “File” or “Filed” or “Filing” means file, filed, or filing, respectively, with the Bankruptcy
Court or its authorized designee in the Chapter 11 Cases.

         112.     “Final Order” means an order entered by the Bankruptcy Court or other court of competent
jurisdiction: (a) that has not been reversed, stayed, modified, amended, or revoked, and as to which (i) any
right to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has been waived
or (ii) the time to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has
expired and no appeal, motion for leave to appeal, or petition for certiorari, review, reargument, stay, or
rehearing is pending or (b) as to which an appeal has been taken, a motion for leave to appeal, or petition
for certiorari, review, reargument, stay, or rehearing has been filed and (i) such appeal, motion for leave to
appeal or petition for certiorari, review, reargument, stay, or rehearing has been resolved by the highest
court to which the order or judgment was appealed or from which leave to appeal, certiorari, review,
reargument, stay, or rehearing was sought and (ii) the time to appeal (in the event leave is granted) further
or seek leave to appeal, certiorari, further review, reargument, stay, or rehearing has expired and no such
appeal, motion for leave to appeal, or petition for certiorari, further review, reargument, stay, or rehearing
is pending.

         113.   “First Day Pleadings” means the motions, petitions, and draft orders that the Debtors filed
at the commencement of the Chapter 11 Cases. First Day Pleadings include the related interim and Final
Orders as entered by the Bankruptcy Court in connection with the relief requested in such motions.

       114.     “First Lien Agent” means Deutsche Bank AG New York Branch, in its capacity as
administrative agent under the First Lien Credit Agreement or, as applicable, any successor thereto.

       115.    “First Lien Credit Agreement” means that certain Credit Agreement, dated as of March 19,
2014, by and among Mallinckrodt plc, as the parent, Mallinckrodt International Finance S.A., as Lux
borrower, Mallinckrodt CB LLC, as co-borrower, the First Lien Agent, and the First Lien Lenders (as
modified, amended, or supplemented from time to time).

         116.    “First Lien Credit Agreement Claim” means any Claim held by the First Lien Agent or
the First Lien Lenders, including the First Lien Revolving Credit Facility Claims, 2024 First Lien Term
Loan Claims, and 2025 First Lien Term Loan Claims, arising under, derived from or based upon the First
Lien Credit Agreement or the First Lien Credit Facility, including claims for all principal amounts
outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or related to the
First Lien Credit Facility or the First Lien Credit Agreement.




                                                      13
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 247 of 835



      117.      “First Lien Credit Facility” means the credit facility evidenced by the First Lien Credit
Agreement.

       118.    “First Lien Lenders” shall have the meaning ascribed to the term “Lender” in the First
Lien Credit Agreement and include the singular and plural forms of such term.

         119.   “First Lien Notes” means the 10.00% first lien senior secured notes due 2025 pursuant to
the First Lien Notes Indenture.

         120.   “First Lien Notes Claim” means any Claim arising under, deriving from or based upon the
First Lien Notes or the First Lien Notes Indenture.

         121.    “First Lien Obligations” shall have the meaning ascribed to the term “Obligations” in the
First Lien Credit Agreement.

         122.    “First Lien Notes Indenture” means that certain Indenture, dated as of April 7, 2020, by
and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the guarantors
party thereto from time to time, Wilmington Savings Fund Society, FSB, as first lien trustee, and Deutsche
Bank AG New York Branch, as first lien collateral agent (as modified, amended, or supplemented from
time to time).

        123.    “First Lien Notes Makewhole Claim” means a First Lien Notes Claim (a) for any principal
premium in excess of the principal amount of such Claims outstanding immediately before the Petition
Date, including for any “Applicable Premium” (as defined in the First Lien Notes Indenture) or optional
redemption premium, or (b) for any “Additional Amounts” (as defined in the First Lien Notes Indenture).

        124.     “First Lien Revolving Credit Facility” means the revolving credit facility maturing in 2022
under the First Lien Credit Agreement.

         125.     “First Lien Revolving Credit Facility Claims” means any Claim held by the First Lien
Agent or the First Lien Lenders arising under, derived from or based upon the First Lien Revolving Credit
Facility or the First Lien Credit Agreement (excluding any Claims arising under, derived from or based
upon the 2024 First Lien Term Loan or the 2025 First Lien Term Loan), including Claims for all principal
amounts outstanding, interest, fees, expenses, costs, indemnification and other charges arising under or
related to the First Lien Revolving Credit Facility or the First Lien Credit Agreement (excluding any Claims
arising under or related to the 2024 First Lien Term Loan or the 2025 First Lien Term Loan).

         126.    “First Lien Term Lenders” shall have the meaning ascribed to the term “Term Lender” in
the First Lien Credit Agreement and include the singular and plural forms of such term.

         127.   “First Lien Revolving Lenders” means the First Lien Lenders that are lenders under the
First Lien Revolving Credit Facility.

         128.   “First Lien Term Loan Claims” means the 2024 First Lien Term Loan Claims and 2025
First Lien Term Loan Claims.

        129.    “First Lien Term Loans” means the 2024 First Lien Term Loan and 2025 First Lien Term
Loan.

         130.    “First Lien Term Loans Accrued and Unpaid Interest” means the accrued and unpaid
interest on the applicable First Lien Term Loans payable pursuant to the Cash Collateral Order and
calculated for the applicable interest period (or any portion thereof) in accordance with the Cash Collateral
Order, after accounting for adequate protection payments made by the Debtors pursuant to the Cash



                                                     14
           Case 20-12522-JTD           Doc 2917      Filed 06/18/21       Page 248 of 835



Collateral Order and received by the First Lien Term Lenders or, without duplication, to the First Lien
Agent for the benefit of and distribution to the First Lien Term Lenders (which, notwithstanding anything
to the contrary in the Cash Collateral Order, shall be retained by the First Lien Term Lenders and not
recharacterized as principal payments (other than payments of principal made on or prior to April 23, 2021
and First Lien Term Loan Principal Payments), or otherwise subject to disgorgement, recovery, or
avoidance by any party under any legal or equitable theory).

        131.     “First Lien Term Loan Principal Payments” means any excess cash flow sweep
payments, amortization payments, and other payments expressly designated as payments of principal of the
applicable First Lien Term Loans after April 23, 2021 and prior to the Effective Date.

        132.    “Future Opioid PI Claim” means (a) a PI Opioid Claim held by an individual who is
unaware he or she has a claim or who first manifests injury or asserts a claim after the confirmation date
and (b) a PI Opioid Demand.

        133.    “Future Opioid PI Claimant” means an individual holding a Future Opioid PI Claim.

       134.     “Future Claimants Representative” means the legal representative for Future Opioid PI
Claimants, pursuant to (a) that certain Order Provisionally Appointing Roger Frankel as Legal
Representative for Future Claimants [Docket No. 1747] and (b) that certain Order Appointing Roger
Frankel, as Legal Representative for Future Opioid Personal Injury Claimants, Effective as of the Petition
Date entered by the Bankruptcy Court on June 11, 2021 [Docket No. 2813], each as amended,
supplemented, or modified from time to time.

        135.    “General Administrative Claim” means any Administrative Claim, other than a
Professional Fee Claim, a Claim for Restructuring Expenses, a VI Opioid Claim, or a Claim for fees and
charges assessed against the Estates under chapter 123 of title 28 United States Code, 28 U.S.C.
§§ 1911-1930.

         136.    “General Unsecured Claim” means any Unsecured Claim (other than a Guaranteed
Unsecured Notes Claim, a Claim for the Indenture Trustee Fees, a Trade Claim, an Intercompany Claim,
an Opioid Claim, an Administrative Claim, a Priority Tax Claim, an Other Priority Claim, an Other Secured
Claim, a Subordinated Claim, or a Claim resolved by the Federal/State Acthar Settlement), including
(a) Claims arising from the rejection of unexpired leases or executory contracts, (b) Claims arising from
any litigation or other court, administrative, or regulatory proceeding, including damages or judgments
entered against, or settlement amounts owing by a Debtor in connection therewith, (c) Acthar Claims; (d)
Generics Price Fixing Claims; (e) Asbestos Claims, (f) Environmental Claims, and (g) Legacy Unsecured
Notes Claims.

         137.     “General Unsecured Claims Distribution” means for (a) each Holder of an Allowed
General Unsecured Claim and (b) each Holder of an Allowed Trade Claim that (i) votes to reject the Plan
or (ii) does not agree to maintain Favorable Trade Terms in accordance with the requirements set forth in
the Disclosure Statement Order, in each case, its Pro Rata Share of (x) the General Unsecured Claims
Recovery Pool and (y) the Trade Claim Cash Pool Unallocated Amount; provided, for the avoidance of
doubt, that distributions from the General Unsecured Claims Recovery Pool will be in both Cash and New
Mallinckrodt Ordinary Shares notwithstanding any Holder’s individual election on its duly cast ballot;
provided, further, that the portion of the General Unsecured Claims Distribution funded from the Trade
Claim Cash Pool Unallocated Amount shall be distributed to such Holders only in Cash, and not in equity;
provided, however, that the Debtors reserve the right to otherwise allocate any portion of the General
Unsecured Claims Recovery Pool to satisfy the requirements of the Bankruptcy Code and Bankruptcy
Rules. For the avoidance of doubt, the Pro Rata Share for the General Unsecured Claims Distribution shall
be calculated on a consolidated basis for all applicable Classes and all Debtors.



                                                   15
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 249 of 835



        138.     “General Unsecured Claims Recovery Pool” means a recovery pool with an aggregate
value of $100,000,000 consisting of (a) New Mallinckrodt Ordinary Shares of a value, based on the General
Unsecured Claims Total Implied Equity Valuation, equal to $100,000,000 multiplied by the percentage of
Holders of General Unsecured Claims who affirmatively elect for distributions in the form of New
Mallinckrodt Ordinary Shares on their duly cast Ballots (such percentage to be calculated according to the
amount of such Holder’s Claim(s) as tabulated for voting purposes under the Disclosure Statement Order)
and (b) Cash in an amount equal to $100,000,000 less the value of the New Mallinckrodt Ordinary Shares
calculated in accordance with clause (a). The Debtors reserve the right to use any portion of the General
Unsecured Claims Recovery Pool to reach separate agreements with Holders of General Unsecured Claims
regarding their recoveries therefrom, subject to compliance with the Bankruptcy Code and Bankruptcy
Rules, or to otherwise allocate any portion of the General Unsecured Claims Recovery Pool to satisfy the
requirements of the Bankruptcy Code and Bankruptcy Rules.

        139.    “General Unsecured Claims Total Implied Equity Valuation” means the Debtors’ implied
equity valuation equal to $1,428,571,429.

         140.     “Generics Price Fixing Claim” means a non-ordinary course Claim or Cause of Action
arising out of, relating to, or in connection with the Debtors’ pricing and sale of generics products, including
all Claims and Causes of Action in the Generics Price Fixing Lawsuits and any and all similar Claims and
Causes of Action.

       141.    “Generics Price Fixing Lawsuits” means (a) Connecticut et al., v. Sandoz, Inc. et al., Case
No. 2:20-cv-03539 (E.D. Pa.) and (b) In re Generics Pharmaceuticals Pricing Antitrust Litigation,
16-MD-2724 (E.D. Pa.) (MDL 2724).
        142.     “Governmental Opioid Claimant” means a Holder of a Governmental Opioid Claim.

       143.    “Governmental Opioid Claims” means the State Opioid Claims, Municipal Opioid Claims,
Tribe Opioid Claims, and U.S. Government Opioid Claims.

         144.    “Governmental Plaintiff Ad Hoc Committee” means the ad hoc group of Governmental
Entities holding Opioid Claims (or representatives thereof, including the Plaintiffs’ Executive Committee)
represented by, among others, Gilbert LLP, Kramer Levin Naftalis & Frankel LLP, Brown Rudnick LLP,
William Fry, and Houlihan Lokey Capital, Inc.

       145.   “Governmental Unit” means a governmental unit as defined in section 101(27) of the
Bankruptcy Code and shall for the avoidance of doubt, include Tribes.

       146.    “Guaranteed Unsecured Notes” means, individually and collectively, the 5.75% Senior
Notes due 2022, the 5.50% Senior Notes due 2025 and the 5.625% Senior Notes due 2023.

         147.   “Guaranteed Unsecured Notes Ad Hoc Group” means that certain ad hoc group of holders
of certain Guaranteed Unsecured Notes represented by, among others, Paul, Weiss, Rifkind, Wharton &
Garrison LLP and advised by, among others, Perella Weinberg Partners LP.

        148.    “Guaranteed Unsecured Notes Claim” means, collectively, the 5.75% Senior Notes
Claims, the 5.50% Senior Notes Claims, and the 5.625% Senior Notes Claims, in each case, other than the
Indenture Trustee Fees of the Guaranteed Unsecured Notes Indenture Trustee.

        149.    “Guaranteed Unsecured Notes Indentures” means, collectively, the 2014 Notes
Indenture, the April 2015 Notes Indenture and the September 2015 Notes Indenture.




                                                      16
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 250 of 835



        150.      “Guaranteed Unsecured Notes Indenture Trustee” means Deutsche Bank Trust Company
Americas, solely in its capacity as indenture trustee and in each other capacity for which it serves under or
in connection with the Guaranteed Unsecured Notes Indentures, including serving as a Distribution Agent;
provided that if the context requires only certain of the foregoing capacities, then only in such capacity(ies).

        151.      “Hazardous Materials” means any wastes, chemicals, chemical formulations, substances,
products, pollutants or materials, whether solid, liquid or gaseous, that (i) is asbestos, polychlorinated
biphenyls, radioactive materials or petroleum, (ii) requires remediation or reporting under any federal or
state environmental laws or regulations, or is defined, listed or identified as a “contaminant”, “pollutant”,
“toxic substance”, “toxic material”, “hazardous waste” or “hazardous substance” or words of similar
meaning and regulatory effect thereunder or (iii) is regulated as such by any Governmental Unit under any
federal or state environmental laws or regulations.

        152.    “Hazardous Materials Release” means any release (including as defined under the
Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA)), spill, emission,
discharge, leaking, pumping, pouring, dumping, injection, deposit, disposal, dispersal, leaching or
migration of Hazardous Materials into soil, land, surface or subsurface strata, surface waters, groundwaters,
sediments, and ambient air.

        153.     “Holder” means an Entity holding a Claim or Interest, as applicable. When referring to
Holders of Guaranteed Unsecured Notes Claims, “Holder” shall mean the record holders of and owners of
beneficial interests in any of the Guaranteed Unsecured Notes.

       154.     “Hospital Attorney Fee Fund” means the fund to be established as set forth in Article
IV.X.8 of the Plan.

        155.     “Hospital Opioid Claimant” means a Holder of a Hospital Opioid Claim.

        156.     “Hospital Opioid Claims” mean any Opioid Claims (including Opioid Demands) held by
a provider of healthcare treatment services or any social services, in its capacity as such, and that is not held
by a Governmental Unit. For the avoidance of doubt, Hospital Opioid Claims exclude Emergency Room
Physicians Opioid Claims.

          157.    “Hospital Opioid Claims Share” means 3.57% of the Opioid MDT II Distributable Value
(i) after deducting from the Opioid MDT II Distributable Value reserved expenses for items (a) and (b) of
the definition of Opioid MDT II Operating Expenses, and (ii) gross of applicable Private Opioid Creditor
Trust Deductions and Holdbacks.

         158.    “Hospital Trust” means the Abatement Trust that is to be established in accordance with
the Plan, the Confirmation Order, and the Hospital Trust Documents to (a) assume all liability for Hospital
Opioid Claims, (b) collect distributions made on account of the Hospital Opioid Claims Share in accordance
with the Hospital Trust Documents, (c) administer Hospital Opioid Claims, and (d) make Abatement
Distributions to Authorized Recipients, including distributions to Holders of Hospital Opioid Claims in
accordance with the Hospital Trust Documents. It is contemplated that the Hospital Trust will coordinate
closely with the corresponding trust established in the Purdue Bankruptcy Cases, appoint the same trustee,
and that the Hospital Trust Documents will be substantially identical to the corresponding trust documents
utilized in the Purdue Bankruptcy Cases. All determinations regarding the eligibility of any provider of
healthcare treatment services or any social services for payment from the Hospital Trust will be made solely
by the trustee of the Hospital Trust pursuant to the Hospital Trust Documents.

         159.    “Hospital Trust Documents” means the documents governing: (a) the Hospital Trust;
(b) the flow of consideration from the Opioid MDT II to the Hospital Trust; (c) submission, resolution, and



                                                       17
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 251 of 835



distribution procedures in respect of all Hospital Opioid Claims (including Opioid Demands); and (d) the
flow of distributions, payments or flow of funds made from the Hospital Trust after the Effective Date.

        160.    “Impaired” means “impaired” within the meaning of section 1124 of the Bankruptcy Code.

         161.     “Indemnification Provisions” means each of the Debtors’ indemnification provisions in
effect as of the Petition Date, whether in the Debtors’ memoranda and articles of association, bylaws,
certificates of incorporation, other formation documents, board resolutions, management or indemnification
agreements, employment contracts, or otherwise providing a basis for any obligation of a Debtor to
indemnify, defend, reimburse, or limit the liability of, or to advances fees and expenses to, any of the
Debtors’ current and former directors, officers, equity holders, managers, members, employees,
accountants, investment bankers, attorneys, other professionals, and professionals of the Debtors, and such
current and former directors’, officers’, and managers’ respective Affiliates, each of the foregoing solely in
their capacity as such.

         162.    “Indenture Trustee Fees” means the fees, expenses, disbursements and indemnity claims
incurred by the Guaranteed Unsecured Notes Indenture Trustee (as trustee and in any of its other capacities
under the applicable Guaranteed Unsecured Notes Indentures and this Plan), including without limitation,
attorneys’ and agents’ fees, expenses and disbursements, incurred by the Guaranteed Unsecured Notes
Trustee, whether prior to or after the Petition Date and whether prior to or after the Effective Date of this
Plan, in each case to the extent payable or reimbursable under the applicable Guaranteed Unsecured Notes
Indentures. For the avoidance of doubt, the Indenture Trustee Fees shall also include those fees, expenses,
disbursements and indemnity claims incurred in connection with (a) any foreign insolvency proceeding and
(b) such trustee serving as a Distribution Agent under this Plan.

         163.   “Initial Administrative Claims Bar Date” means, with respect to any Administrative
Claim arising on or prior to April 30, 2021 at 11:59 p.m., prevailing Eastern Time, the last date for filing a
request for payment in these Chapter 11 Cases with respect to such Administrative Claims as provided in
the Initial Administrative Claims Bar Date Order.

         164.  “Initial Administrative Claims Bar Date Order” means that certain Order (I) Setting an
Initial Bar Date for Filing Proofs of Administrative Claim, (II) Establishing Administrative Claims
Procedures, (III) Approving the Form and Manner of Filing Proofs of Administrative Claim, (IV)
Approving Notice of Initial Administrative Claim Bar Date, and (V) Granting Related Relief [Docket No.
2480].

         165.    “Initial Distribution Date” means the date that is on or as soon as practicable after the
Effective Date when distributions under the Plan shall commence for each Class entitled to receive
distributions; provided that (i) any applicable distributions under this Plan on account of the Guaranteed
Unsecured Notes Claims will be made to the applicable Distribution Agent on the Effective Date, and each
such Distribution Agent will make, transmit or cause to be transmitted its respective distributions as soon
as practicable thereafter pursuant to the terms of this Plan and (ii) any applicable distributions under this
Plan on account of the First Lien Term Claims will be made to the applicable Distribution Agent on the
Effective Date, and the applicable Distribution Agent shall make, transmit or cause to be transmitted its
respective distributions as soon as practicable thereafter pursuant to the terms of this Plan.

        166.     “Initial Federal/State Acthar Settlement Payment” means a Cash payment to be made by
the Debtors and/or the Reorganized Debtors pursuant to the Federal/State Acthar Settlement Agreements
to the United States and State governments in the amount equal to $15,000,000.

        167.   “Initial Opioid MDT II Payment” means a Cash payment to be made by the Debtors and/or
the Reorganized Debtors to the Opioid MDT II on the Effective Date in an amount equal to $450,000,000.



                                                     18
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 252 of 835



         168.    “Insurance Contracts” means any and all insurance policies issued at any time to, or that
otherwise may provide or may have provided coverage to, any of the Debtors, regardless of whether the
insurance policies were issued to a Debtor or to a Debtor’s prior affiliates, subsidiaries, or parents (including
but not limited to Medtronic plc and its affiliates, subsidiaries, and parents) or otherwise, or to any of their
predecessors, successors, or assigns, and any and all agreements, documents or instruments relating thereto,
including any and all agreements with a third party administrator for claims handling, risk control or related
services, any and all Opioid Insurance Policies, any and all D&O Liability Insurance Policies, and any and
all Workers’ Compensation Contracts. For the avoidance of doubt, Insurance Contracts include any
insurance policies issued at any time to the Debtors’ prior affiliates, subsidiaries, and parents (including but
not limited to Medtronic plc and its affiliates, subsidiaries, and parents) or otherwise, or to any of their
predecessors, successors, or assigns, under which Debtors had, have, or may have any rights solely to the
extent of the Debtors’ rights thereunder.

       169.     “Insurer” means any company or other Entity that issued or entered into an Insurance
Contract (including any third party administrator) and any respective predecessors and/or Affiliates thereof.

         170.    “Intercompany Claim” means a prepetition Claim held by a Debtor or Non-Debtor
Affiliate against a Debtor.

         171.    “Intercompany Interest” means any issued, unissued, authorized, or outstanding shares of
common stock, preferred stock, or other instrument evidencing an ownership interest in any Debtor other
than the Parent, whether or not transferable, together with any warrants, equity-based awards, or contractual
rights to purchase or acquire such equity interests at any time and all rights arising with respect thereto that
existed immediately before the Effective Date.

        172.    “Intercreditor Agreements” shall have the meaning ascribed to such term in the Cash
Collateral Order.

        173.     “Interests” means, collectively, the Equity Interests and Intercompany Interests.

        174.     “Invoiced Restructuring Expenses” has the meaning set forth in Article IV.S.

        175.    “Irish Confirmation Order” mean an order of the High Court of Ireland to be made
pursuant to Section 541 of the Companies Act 2014 of Ireland confirming the Scheme of Arrangement
without material modification.

       176.    “Irish Examinership Proceedings” means the examinership proceedings to be
commenced by the directors of the Parent or any other Debtor Entity, in respect of the Parent or other
Debtor Entity, as applicable, pursuant to and in accordance with the requirements of Part 10 of the
Companies Act 2014 of Ireland.

       177.     “Irish Takeover Panel” means the Irish Takeover Panel constituted under Irish Takeover
Panel Act 1997.

        178.     “Irish Takeover Rules” means the Irish Takeover Panel Act 1997, Takeover Rules 2013.

       179.     “Legacy Unsecured Notes” means, individually and collectively, the 4.75% Senior Notes
due 2023, the 8.00% Debentures due March 2023 and the 9.5% Debentures due May 2022.

       180.   “Legacy Unsecured Notes Claim” means any Claim arising under or based upon the
Legacy Unsecured Notes or the Legacy Unsecured Notes Indentures.




                                                       19
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 253 of 835



       181.  “Legacy Unsecured Notes Indentures” means collectively, the 2013 Notes Indenture, the
1992 Ludlow Debentures Indenture and the 1993 Ludlow Debentures Indenture.

        182.    “Legacy Unsecured Notes Indenture Trustee” means collectively, the 4.75% Senior Notes
Indenture Trustee, the 8.00% Debentures Indenture Trustee and the 9.5% Debentures Indenture Trustee.

         183.   “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        184.   “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the United
States Bankruptcy Court for the District of Delaware.

         185.   “Mallinckrodt” means, collectively, the Debtors and the Non-Debtor Affiliates.

        186.     “Management Incentive Plan” means the management incentive plan to be adopted on the
Effective Date which shall provide for (a) the issuance to management, key employees and directors of the
Reorganized Debtors of 10%, in total, of the fully diluted New Mallinckrodt Ordinary Shares (for the
avoidance of doubt, after giving effect to the exercise of the New Opioid Warrants), and (b) at least half of
such New Mallinckrodt Ordinary Shares (i.e., at least 5% of the fully diluted New Mallinckrodt Ordinary
Shares after giving effect to the exercise of the New Opioid Warrants) to be issued not later than thirty (30)
days after the Effective Date with the allocation of such grants to be approved by the compensation
committee of the Reorganized Board based upon the recommendations of the CEO; the final terms of such
plan shall be included in the Plan Supplement; provided that the Management Incentive Plan may be
modified or amended by the mutual agreement of the Debtors and the Required Supporting Unsecured
Noteholders prior to the Effective Date, with the consent of the Governmental Plaintiff Ad Hoc Committee
and the MSGE Group (such consent not to be unreasonably withheld).

        187.   “MDL” means that certain opioid multi-district litigation captioned In re National
Prescription Opiate Litigation, MDL No. 2804, Case No. 17-md-02804 (N.D. Ohio).

         188.   “MDL Court” means the court presiding over the MDL.

         189.    “Monitor” means the outside, independent monitor appointed in accordance with
Article IV.BB of the Plan to ensure the Reorganized Debtors’ (and any successors during the Monitor’s
term to the Reorganized Debtors’ business operations relating to the manufacture and sale of opioid
product(s) in the United States and its territories) compliance with the Opioid Operating Injunction.

        190.   “Monitor Agreement” means the agreement entered into between the Monitor and the
Reorganized Debtors, which shall be the agreement filed at Docket No. 1203 and approved by the
Bankruptcy Court at Docket No. 1306 unless amended or superseded by further order of the Bankruptcy
Court, which order may be the Confirmation Order.

         191.   “Monitor Reports” has the meaning set forth in Article IV.BB.3.

       192.    “MSGE Group” the multi-state governmental entities group represented by Caplin &
Drysdale, Chartered, Seitz, Van Ogtrop & Green, P.A., and FTI Consulting.

        193.    “MSGE Group Joinder Agreement” means that certain Joinder Agreement to the
Restructuring Support Agreement dated as of November 13, 2020 entered into by the MSGE Group.

         194.   “Municipal Opioid Claimant” means a Holder of a Municipal Opioid Claim.

         195.   “Municipal Opioid Claims” means the Governmental Opioid Claims held by Municipal
Units.



                                                     20
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 254 of 835



        196.     “Municipal Units” means all Governmental Units that are not States or the United States
or the Tribes or any foreign Governmental Unit including, in each case, any department, agency, or
instrumentality thereof.

         197.    “NAS Child” means a natural person who has been diagnosed by a licensed medical
provider with a medical, physical, cognitive or emotional condition resulting from such natural person’s
intrauterine exposure to opioids or opioid replacement or treatment medication, including but not limited
to the condition known as neonatal abstinence syndrome.

       198.   “NAS Committee” means the Ad Hoc Committee of NAS Children identified in the First
Amended Verified Statement of the Ad Hoc Committee of NAS Children Pursuant to Bankruptcy Rule
2019 [Docket No. 387].

         199.   “NAS Monitoring Attorney Fee Fund” means the fund to be established as set forth in
Article IV.Y.7 of the Plan.

        200.     “NAS Monitoring Opioid Claimant” means a Holder of a NAS Monitoring Opioid Claim.

        201.    “NAS Monitoring Opioid Claims” means any Opioid Claims (including Opioid Demands)
held by, or on account of or on behalf of, a NAS Child and relates to medical monitoring support,
educational support, vocational support, familial support or similar related relief, but is not a NAS PI Opioid
Claim.

          202.     “NAS Monitoring Trust” means the Abatement Trust that is to be established in
accordance with the Plan, the Confirmation Order, and the NAS Monitoring Trust Documents to (a) assume
all liability for NAS Monitoring Opioid Claims, (b) receive the distribution made on account of the NAS
Monitoring Opioid Claims, (c) administer NAS Monitoring Opioid Claims, and (d) make Abatement
Distributions to Authorized Recipients for Authorized Abatement Purposes. It is contemplated that the
NAS Monitoring Trust will coordinate closely with the corresponding trust in the Purdue Bankruptcy Cases,
appoint the same trustee, and that the NAS Monitoring Trust Documents will be substantially identical to
the corresponding trust documents utilized in the Purdue Bankruptcy Cases.

        203.    “NAS Monitoring Trust Documents” means the documents governing: (a) the NAS
Monitoring Trust; (b) the flow of consideration from the Opioid MDT II to the NAS Monitoring Trust;
(c) submission, resolution, and distribution procedures in respect of all NAS Monitoring Opioid Claims
(including Opioid Demands); and (d) the flow of distributions, payments or flow of funds made from the
NAS Monitoring Trust after the Effective Date.

        204.    “NAS PI Opioid Claim” means the claim of any natural person who has been diagnosed
by a licensed medical provider with a medical, physical, cognitive or emotional condition resulting from
such natural person’s intrauterine exposure to opioids or opioid replacement or treatment medication,
including but not limited to the condition known as neonatal abstinence syndrome, and does not include
any NAS Monitoring Opioid Claims.

          205.    “NAS PI Opioid Claims Share” means 0.625% of the Opioid MDT II Distributable Value
(i) after deducting from the Opioid MDT II Distributable Value reserved expenses for items (a) and (b) of
the definition of Opioid MDT II Operating Expenses, and (ii) gross of applicable Private Opioid Creditor
Trust Deductions and Holdbacks.

         206.    “New AR Revolving Facility” means the new accounts receivable revolving credit facility
in the aggregate principal amount of up to approximately $200 million to be entered into by the Reorganized
Debtors on, prior to, or after the Effective Date.



                                                      21
            Case 20-12522-JTD           Doc 2917      Filed 06/18/21       Page 255 of 835



        207.     “New AR Revolving Facility Documentation” means the credit agreement (the
substantially final form of which will be filed with the Plan Supplement), security agreement, and other
documents governing the New AR Revolving Facility.

         208.   “NewCo” means a new Entity, if any, to be organized or incorporated by or at the direction
of the Required Supporting Unsecured Noteholders and with the reasonable consent of the Governmental
Plaintiff Ad Hoc Committee and the MSGE Group, on or before the Effective Date.

         209.     “NewCo Subsidiaries” means new Entities, if any, to be organized or incorporated by or
at the direction of the Required Supporting Unsecured Noteholders and with the reasonable consent of the
Governmental Plaintiff Ad Hoc Committee and the MSGE Group, on or before the Effective Date, other
than NewCo.

      210.   “New Credit Facilities” means, collectively, (a) the New Term Loan Facility and (b) the
New AR Revolving Facility.

         211.    “New Governance Documents” means any organizational or constitutional documents,
operating agreements, warrant agreements, option agreements, management services agreements,
shareholder and member-related agreements, registration rights agreements or other governance documents
for Reorganized Mallinckrodt and the Reorganized Debtors; provided, that, all such documents for
Reorganized Mallinckrodt shall have governance standards as though it was listed on any one of the
NASDAQ Capital Market, the NASDAQ Global Market, or the New York Stock Exchange, as determined
prior to the Effective Date.

        212.     “New Mallinckrodt Ordinary Shares” means ordinary shares of NewCo or Reorganized
Parent, as applicable, to be issued on the Effective Date.

       213.     “New Opioid Warrant Agreement” means the agreement governing the New Opioid
Warrants to be effective on the Effective Date, which shall be included in the Plan Supplement.

         214.    “New Opioid Warrants” means warrants to acquire the number of New Mallinckrodt
Ordinary Shares that would represent 19.99% of all such outstanding shares after giving effect to the
exercise of the New Opioid Warrants, subject to dilution from equity reserved under the Management
Incentive Plan, at a strike price reflecting an aggregate equity value for the Reorganized Debtors of $1.551
billion, which warrants shall be exercisable at any time on or prior to the seventh anniversary of the
Effective Date; provided, that if the Reorganized Debtors exercise the Prepayment Option and prepay the
Opioid Deferred Cash Payments in full, such warrants shall be exercisable only through and including the
fifth anniversary of the Effective Date. For the avoidance of doubt, the New Opioid Warrants will not be
subject to dilution on account of any General Unsecured Claims Distribution in the form of New
Mallinckrodt Ordinary Shares.

       215.   “New Takeback Term Loan Agent” means the administrative agent for the New Takeback
Term Loan Facility selected in accordance with the Restructuring Support Agreement.

          216.    “New Takeback Term Loan Facility” means a new senior secured first lien term loan
facility in an original principal amount equal to the Term Loans Outstanding Amount.

         217.   “New Takeback Term Loans” means the loans under the New Takeback Term Loan
Facility.

        218.     “New Takeback Term Loans Documentation” means the credit agreement (the
substantially final form of which will be filed with the Plan Supplement), security agreement, and other
documents governing the New Takeback Term Loan Facility.


                                                    22
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 256 of 835



        219.   “New Term Loan Documentation” means the credit agreement (the substantially final
form of which will be filed with the Plan Supplement), security agreement, and other documents governing
the New Term Loan Facility.

         220.    “New Term Loan Facility” means the new term loan credit facility, or other funded
indebtedness, to be entered into by the Reorganized Debtors on, prior to, or after the Effective Date that
will be used to refinance the First Lien Revolving Credit Facility, and may be used to refinance the First
Lien Term Loans, the First Lien Notes, and/or the Second Lien Notes; provided that such refinancing of
the Second Lien Notes shall only be permitted in the event either (a)(i) the First Lien Term Loans (and the
First Lien Term Loan Claims) are repaid in full in Cash and (ii) the Term Loan Exit Payment is paid to the
First Lien Term Lenders, in each case, before or contemporaneously with such refinancing, or (b) if the
proceeds of any portion of the New Term Loan Facility are used to refinance the Second Lien Notes, such
portion of the New Term Loan Facility is secured by Liens and security interests that rank junior to the
Liens and security interests securing the New Takeback Term Loans.

        221.    “NOAT II” means the national opioid Abatement Trust that is to be established in
accordance with the Plan, the Confirmation Order, and the NOAT II Documents to (a) assume all liability
for State Opioid Claims and Municipal Opioid Claims, (b) collect distributions made on account of the
State and Municipal Government Opioid Claims Share in accordance with the NOAT II Trust Documents,
(c) administer State Opioid Claims and Municipal Opioid Claims, and (d) make Abatement Distributions
to Authorized Recipients for Approved Uses, including to Holders of State Opioid Claims and Municipal
Opioid Claims in accordance with the NOAT II Trust Documents.

         222.    “NOAT II Documents” means the documents governing: (a) the NOAT II; (b) the flow of
consideration from the Opioid MDT II to the NOAT II; (c) submission, resolution, and distribution
procedures in respect of all State Opioid Claims and Municipal Opioid Claims (including, in each case,
Opioid Demands); and (d) the flow of Abatement Distributions to Authorized Recipients, including
distributions, payments or flow of funds made from the NOAT II after the Effective Date.

       223.      “Non-Debtor Affiliates” means all of the Affiliates of the Debtors, other than the other
Debtors.

         224.    “Non-Debtor Releasing Parties” means (a) the Holders of all Claims who vote to accept
the Plan, (b) the Holders of all Claims that are Unimpaired under the Plan, (c) the Holders of all Claims
whose vote to accept or reject the Plan is solicited but who (i) abstain from voting on the Plan and (ii) do
not opt out of granting the releases set forth herein, (d) the Holders of all Claims or Equity Interests who
vote, or are deemed, to reject the Plan but do not opt out of granting the releases set forth herein, and (e) all
other Holders of Claims and Equity Interests to the maximum extent permitted by law; provided, that the
plaintiffs and the members of the putative class as identified in the Shenk Suit shall not be Non-Debtor
Releasing Parties until such time as the Shenk Settlement is approved on a final basis and by Final Order
of the United States District Court for the District of Columbia and upon such approval such plaintiffs shall
be deemed to have provided the releases set forth in the Shenk Settlement; provided, further, that Opioid
Claimants, solely in their capacity as Opioid Claimants, shall not be Non-Debtor Releasing Parties but shall
be subject to the releases by Holders of Opioid Claims in Article IX.D.

      225.     “Non-Governmental Opioid Claims” means all Opioid Claims (including Opioid
Demands) that are not Governmental Opioid Claims.




                                                       23
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21      Page 257 of 835



         226.   “No Recovery Opioid Claims” means all Opioid Claims that are either (a) as of the relevant
time, disallowed under section 502(e)(1)(B) of the Bankruptcy Code (subject, however, to section 502(j) of
the Bankruptcy Code) or (b) subordinated pursuant to section 509(c) or section 510 of the Bankruptcy Code.

        227.    “Noteholder Consent Fee” means cash in an amount equal to 1.5% of par value of the
applicable Supporting Unsecured Noteholder’s Guaranteed Unsecured Notes as of 11:59 P.M., prevailing
Eastern time, on October 11, 2020.

        228.     “Notice and Claims Agent” means Prime Clerk, LLC, in its capacity as noticing, claims,
and solicitation agent for the Debtors, pursuant to the order of the Bankruptcy Court [Docket No. 219].

        229.     “Official Committee of Opioid-Related Claimants” means the official committee of
opioid-related claimants appointed in the Chapter 11 Cases [Docket No. 308].

        230.    “Official Committee of Unsecured Creditors” means the official committee of unsecured
creditors appointed in the Chapter 11 Cases [Docket No. 306].

        231.    “Opioid Attorneys’ Fee Fund” means a structure to be agreed upon that will be established
for reimbursement of State Opioid Claimant, Municipal Opioid Claimant, and Tribe Opioid Claimant costs
and expenses (including attorneys’ fees) in accordance with the Opioid MDT II Documents, which will be
funded with the Opioid Attorneys’ Fee Fund Share.

        232.    “Opioid Attorneys’ Fee Fund Share” means an amount (from the Public Opioid Creditor
Share) and structure to be agreed upon by the Governmental Plaintiff Ad Hoc Committee and the MSGE
Group.

         233.     “Opioid Claim” means a Claim or Cause of Action (other than Claims or Causes of Action
arising from violations of the Voluntary Injunction or Opioid Operating Injunction), whether existing now
or arising in the future, based in whole or in part on any conduct or circumstance occurring or existing on
or before the Effective Date and arising out of, relating to, or in connection with any opioid product or
substance, and any and all Opioid Demands related thereto, including, for the avoidance of doubt, claims
for indemnification, contribution, or reimbursement on account of payments or losses in any way arising
out of, relating to, or in connection with any such conduct or circumstances and Co-Defendant Claims. For
the avoidance of doubt, Opioid Claims do not include (i) any liability premised on allegations regarding
conduct undertaken by the Reorganized Debtors after the Effective Date, (ii) any Generics Price Fixing
Claims, or (iii) any claims arising under section 502(h) of the Bankruptcy Code.

       234.    “Opioid Claimant” means a Holder of an Opioid Claim, including Governmental Opioid
Claimants and Other Opioid Claimants.

        235.    “Opioid Claimant Release” means the releases set forth in Article I.D of the Plan.

       236.   “Opioid Creditor Trust Documents” means the PI Trust Documents, the Third-Party Payor
Trust Documents, the Hospital Trust Documents, the NAS Monitoring Trust Documents, the Emergency
Room Physicians Trust Documents, the NOAT II Documents, and the TAFT II Documents.

         237.    “Opioid Creditor Trustee(s)” means each trustee of an Opioid Creditor Trust or,
collectively, the trustees of the Opioid Creditor Trusts, in each case, appointed in accordance with
Article IV.X.2 of the Plan




                                                    24
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 258 of 835



        238.     “Opioid Creditor Trust Operating Expenses” means any and all costs, expenses, fees,
taxes, disbursements, debts or obligations incurred from the operation and administration of the Opioid
Creditor Trusts, which shall be paid from the assets of the applicable Opioid Creditor Trust.

        239.     “Opioid Creditor Trusts” means the Public Opioid Creditor Trusts and the Private Opioid
Creditor Trusts.

         240.     “Opioid Deferred Cash Payments” means the right of the Opioid MDT II to receive Cash
payments on the Opioid Deferred Cash Payments Terms in the following amounts and on the following
dates: (a) $200,000,000 on each of the first and second anniversaries of the Effective Date; and (b)
$150,000,000 on each of the third through seventh anniversaries of the Effective Date; provided, that at any
time prior to the first anniversary of the Effective Date, the Reorganized Debtors shall have the Prepayment
Option; provided, further, that to the extent the Reorganized Debtors seek to prepay only a portion of the
Opioid Deferred Cash Payments in accordance with the Prepayment Option, such prepayment shall (x) be
funded solely from the net proceeds of an equity raise by the Reorganized Debtors; and (y) prepay Opioid
Deferred Cash Payments in accordance with the above in inverse order beginning with the payment due on
the seventh anniversary of the Effective Date. The Opioid Deferred Cash Payments will be joint and several
obligations (or be subject to an economically similar arrangement) of all current and future borrowers,
issuers, pledgers, and guarantors of the Debtors’ funded indebtedness; provided, that for so long as the New
Takeback Term Loans, the First Lien Notes, Second Lien Notes, Takeback Second Lien Notes, Cram-Down
First Lien Notes, Cram-Down Second Lien Notes (or any indebtedness incurred to refinance or replace such
New Takeback Term Loans, First Lien Notes, Second Lien Notes, Takeback Second Lien Notes, Cram-
Down First Lien Notes, or Cram-Down Second Lien Notes) remain outstanding, in no event shall the cash
payments described above be guaranteed by (or be required to be guaranteed by) an entity that does not
also guarantee the New Takeback Term Loans, First Lien Notes, Second Lien Notes, Takeback Second
Lien Notes, Cram-Down First Lien Notes, or Cram-Down Second Lien Notes (or such refinancing or
replacement debt).

        241.     “Opioid Deferred Cash Payments Terms” means the covenants and enforcement rights
with respect to the Opioid Deferred Cash Payments, a term sheet setting forth the material terms of which
shall be included in the Plan Supplement and shall be reasonably acceptable to the Debtors, the
Governmental Plaintiff Ad Hoc Committee, the MSGE Group, and the Required Supporting Unsecured
Noteholders in light of the nature, duration, and form of the deferred payment obligations, and compliance
with which shall be so ordered through the Confirmation Order.

        242.     “Opioid Demand” means any present or future demand for payment against a Debtor that
(a) was not an Opioid Claim during the Chapter 11 Cases prior to the Effective Date; (b) arises out of the
same or similar conduct or events that gave rise to the Opioid Claims addressed by the Opioid Permanent
Channeling Injunction; and (c) pursuant to the Plan, shall be dealt with by the Opioid MDT II or the Opioid
Creditor Trusts, as applicable.

          243.   “Opioid Insurance Policies” means any and all Insurance Contracts providing for general
liability or products liability coverage that may provide or may have provided the Debtors with rights (as
defined the definition of “Assigned Insurance Rights”) with respect to any Opioid Claim, regardless of
whether such rights existed in the past, now exist, or hereafter arise, and regardless of whether such rights
are or were accrued or unaccrued, liquidated or unliquidated, matured or unmatured, disputed or undisputed,
fixed or contingent. For the avoidance of doubt, Opioid Insurance Policies include such Insurance Contracts
issued at any time to the Debtors’ prior affiliates, subsidiaries, and parents (including but not limited to
Medtronic plc and its affiliates, subsidiaries, and parents) or otherwise, or to any of their predecessors,
successors, or assigns, under which Debtors had, have, or may have any rights solely to the extent of the
Debtors’ rights thereunder. Opioid Insurance Policies include the Insurance Contracts set forth on the



                                                     25
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 259 of 835



Schedule of Opioid Insurance Policies included in the Plan Supplement, which schedule is not, and is not
intended to be, exhaustive.

         244.    “Opioid Insurance Settlements” means any and all settlement agreements concerning the
Opioid Insurance Policies, the rights under or related to which (i.e. the Assigned Insurance Rights) the
Debtors are assigning, or in the absence of such settlement agreement would be assigning, to the Opioid
MDT II pursuant to the Plan, that (i) the Debtors and an Opioid Insurer have entered into on or before the
Effective Date, with the consent of the Governmental Plaintiff Ad Hoc Committee and the MSGE Group,
and (ii) is approved by the Bankruptcy Court.

         245.     “Opioid Insurer” means an Insurer that has issued, is responsible for, or has liability to pay
under any Opioid Insurance Policy, and each of its affiliates, predecessors in interest, and agents, solely in
its capacity as such and solely with respect to such Opioid Insurance Policy.

        246.     Opioid Insurer Injunction” means the injunction issued pursuant to Article IX.I of the
Plan.

         247.   “Opioid MDT II” means the master disbursement trust that is to be established in
accordance with the Plan, the Confirmation Order, and the Opioid MDT II Documents, which trust will
satisfy the requirements of section 468B of the Internal Revenue Code and the Treasury Regulations
promulgated thereunder (as such may be modified or supplemented from time to time).

       248.    “Opioid MDT II Administrator” means the administrator that will be appointed by the
Opioid MDT II Trustee(s) pursuant to the Opioid MDT II Documents to adjudicate and liquidate Other
Opioid Claims.

         249.   “Opioid MDT II Consideration” means (a) the Initial Opioid MDT II Payment; (b) the
New Opioid Warrants; (c) the Opioid Deferred Cash Payments; (d) the Assigned Third-Party Claims; and
(e) the Assigned Insurance Rights.

       250.    “Opioid MDT II Distributable Value” means all cash proceeds of the Opioid MDT II
Consideration.

        251.    “Opioid MDT II Documents” means the documents governing: (a) the Opioid MDT II
(b) the Opioid Deferred Cash Payments Terms; (c) the flow of consideration from the Debtors’ Estates to
the Opioid MDT II; (d) submission, resolution, and distribution procedures in respect of all Opioid Claims
(including Opioid Demands) channeled to the Opioid MDT II; (e) the appointment of the Opioid MDT II
Administrator to adjudicate and liquidate Other Opioid Claims; and (f) the flow of distributions, payments
or flow of funds made from the Opioid MDT II after the Effective Date. The Future Claimants’
Representative and the Ad Hoc Group of Personal Injury Victims shall have the right to consult on the
Opioid MDT II Documents.

        252.    “Opioid MDT II Initial Distributable Value” means, as of the Opioid MDT II Initial
Distribution Date, the amount of Cash held in the Opioid MDT II.

        253.    “Opioid MDT II Initial Distribution” means the distribution on the Opioid MDT II Initial
Distribution Date of Opioid MDT II Initial Distributable Value from the Opioid MDT II to the Opioid
Creditor Trusts, the Ratepayer Account, the U.S. Government Opioid Claimants, and the Other Opioid
Claims Reserve.

        254.    “Opioid MDT II Initial Distribution Date” means the Effective Date or as soon as
reasonably practicable thereafter; provided that the Opioid MDT II Initial Distribution Date shall be no later
than five (5) Business Days after the Effective Date.


                                                      26
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 260 of 835



        255.     “Opioid MDT II Operating Expenses” means the Trust Expenses and any and all costs,
expenses, fees, taxes, disbursements, debts or obligations incurred from the operation and administration
of the Opioid MDT II, including, but not limited to, (a) management, administration, disposition, exercise
or monetization of the New Opioid Warrants and (b) direct costs of prosecution or settlement of Assigned
Third-Party Claims and Assigned Insurance Rights. Opioid MDT II Operating Expenses shall not include
any amounts incurred by the Opioid MDT II in connection with adjudicating or otherwise liquidating the
Other Opioid Claims, which shall be paid out of the Other Opioid Claims Reserve.

         256.     “Opioid MDT II Operating Reserve” means a reserve in the Opioid MDT II to be
established to pay any and all Opioid MDT II Operating Expenses. The Opioid MDT II Operating Reserve
shall be (i) funded on the Effective Date with (a) a portion of the Opioid MDT II Initial Distributable Value
in an amount determined by the Governmental Plaintiff Ad Hoc Committee and the MSGE Group with the
consent (not to be unreasonably withheld, delayed or conditioned) of the Debtors, and (b) amounts sufficient
to make the first payment on account of the Third-Party Payor Opioid Claims Share, and (ii) funded
thereafter with Cash held or received by the Opioid MDT II in accordance with the Opioid MDT II
Documents and as determined by the Opioid MDT II Trustee(s), including with amounts sufficient to make
any upcoming payments on account of the Third-Party Payor Opioid Claims Share, and (iii) held by the
Opioid MDT II in a segregated account and administered by the Opioid MDT II Trustee(s) on and after the
Effective Date.

        257.    “Opioid MDT II Subsequent Distributable Value” means, as of any Opioid MDT II
Subsequent Distribution Date, the amount of Cash held in the Opioid MDT II less (a) any amounts in the
Other Opioid Claims Reserve and (b) any amounts in the Opioid Attorneys’ Fee Fund (which amounts shall
already have been placed in reserve through previous distributions on account of the Public Opioid Creditor
Share).

          258.     “Opioid MDT II Subsequent Distribution” means any distribution after the Opioid MDT
II Initial Distribution of Opioid MDT II Subsequent Distributable Value from the Opioid MDT II to the
Opioid Creditor Trusts, the U.S. Government Opioid Claimants, and the Other Opioid Claims Reserve.

         259.   “Opioid MDT II Subsequent Distribution Date” means the date that is five (5) Business
Days after each Opioid Deferred Cash Payment is made to the Opioid MDT II, or such other date as the
Opioid MDT II Trustee(s) determine in accordance with the Opioid MDT II Documents. The Opioid MDT
II will make the Opioid MDT II Subsequent Distributions on the Opioid MDT II Subsequent Distribution
Date(s).

         260.     “Opioid MDT II Trustee(s)” means the Person or Persons selected by the Governmental
Plaintiff Ad Hoc Committee and the MSGE Group, in consultation with the Debtors, and appointed to serve
as trustee(s) of the Opioid MDT II to administer the Opioid MDT II and Opioid Claims (including Opioid
Demands) channeled to the Opioid MDT II and any successors thereto, pursuant to the terms of the Opioid
MDT II Documents.

       261.     “Opioid Operating Injunction” means the operating injunction set forth in the Plan
Supplement.

        262.   “Opioid Operating Injunction Order” means an order enforcing the terms of the Opioid
Operating Injunction, which, for the avoidance of doubt, may be the Confirmation Order.

         263.     “Opioid Permanent Channeling Injunction” means an order or orders of the Bankruptcy
Court (which, for the avoidance of doubt, may be the Confirmation Order) permanently and forever staying,
restraining, and enjoining any Entity from taking any actions against any Protected Party for the purpose
of, directly or indirectly, collecting, recovering, or receiving payment of, on or with respect to any Opioid



                                                     27
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 261 of 835



Claim (including any Opioid Demand) as set forth in Article IX.G of the Plan, all of which Opioid Claims
(including Opioid Demands) shall be channeled to the Opioid MDT II and the Opioid Creditor Trusts for
resolution as set forth in the Opioid MDT II Documents and the Opioid Creditor Trust Documents.

        264.    “Opioid-Related Activities” means the development, production, manufacture, licensing,
labeling, marketing, advertising, promotion, distribution or sale of opioid Products or the use or receipt of
any proceeds therefrom, or the use of opioids, including opioids that are not Products.

        265.    “Opioid Settlement Term Sheet” means Schedule 1 to the Plan Term Sheet.

       266.    “Ordinary Course Professional” means any professional retained and employed by the
Debtors pursuant to the Order Authorizing Employment and Payment of Professionals Utilized in the
Ordinary Course of Business [Docket No. 474].

        267.    “Other General Unsecured Claim” means a General Unsecured Claim other than (a)
Acthar Claims; (b) Generics Price Fixing Claims; (c) Asbestos Claims; (d) Environmental Claims; and (e)
Legacy Unsecured Notes Claims. For the avoidance of doubt, all Claims arising from the rejection of
unexpired leases or executory contracts shall be Other General Unsecured Claims.

        268.    “Other Opioid Claimant” means a Holder of an Other Opioid Claim.

        269.    “Other Opioid Claims” means any Opioid Claim that is not a Governmental Opioid Claim,
Third-Party Payor Opioid Claim, Hospital Opioid Claim, Ratepayer Opioid Claim, a NAS Monitoring
Opioid Claim, an Emergency Room Physicians Opioid Claim, or PI/NAS Opioid Claim, but including, for
the avoidance of doubt, Co-Defendant Claims and any No Recovery Opioid Claims that are Allowed after
the Effective Date under section 502(j) of the Bankruptcy Code.

         270.     “Other Opioid Claims Reserve” means the separate reserve which shall be a “disputed
ownership fund” governed by Treasury Regulation section 1.468B-9 and subject to separate administration
as set forth in the Opioid MDT II Documents. All costs of adjudicating or liquidating Other Opioid Claims
shall be paid out of the Other Opioid Claims Reserve, including the costs for the Opioid MDT II
Administrator.

        271.    “Other Opioid Claims Reserve Excess” means any amounts remaining in the Other Opioid
Claims Reserve after adjudication and liquidation of all Other Opioid Claims and, for the avoidance of
doubt, all Allowed Other Opioid Claims are paid in accordance with the Opioid MDT II Documents.

         272.    “Other Opioid Claims Share” means a share of the Opioid MDT II Initial Distributable
Value, after accounting for (a) all payments to the Private Opioid Creditor Trusts and the Ratepayer
Account, (b) any amounts required to fund the Opioid MDT II Operating Reserve (less any reserved
amounts on account of the Third-Party Payor Opioid Claims Share), and (c) the U.S. Government Claims
Share, which share shall be held in the Other Opioid Claims Reserve for the benefit of Other Opioid
Claimants and which share (y) shall be determined in connection with the Confirmation Hearing as
satisfying all applicable Bankruptcy Code requirements and (z) must be acceptable to the Governmental
Plaintiff Ad Hoc Committee and the MSGE Group.

        273.    “Other Priority Claim” means any Claim accorded priority in right of payment under
section 507(a) of the Bankruptcy Code, other than: (a) Administrative Claims or (b) Priority Tax Claims.

      274.    “Other Secured Claim” means any Secured Claim other than the First Lien Credit
Agreement Claims, First Lien Notes Claims, or Second Lien Notes Claims.




                                                     28
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 262 of 835



         275.    “Parent” means Mallinckrodt plc, a public limited company incorporated under the laws
of Ireland with registered number 52227 and having its registered office at College Business & Technology
Park, Cruiserath, Blanchardstown, Dublin 15, Dublin, Ireland.

        276.      “Periodic Distribution Date” means the first Business Day that is as soon as reasonably
practicable occurring approximately sixty (60) days after (a) initially, the Initial Distribution Date, and (b)
thereafter, the immediately preceding Periodic Distribution Date.

         277.     “Person” means an individual, firm, corporation (including any non-profit corporation),
partnership, limited partnership, limited liability company, joint venture, association, trust, governmental
entity, or other entity or organization.

        278.     “Petition Date” means October 12, 2020.

        279.    “PI/NAS Opioid Claims” means, collectively, the PI Opioid Claims, the Future Opioid PI
Claims, and the NAS PI Opioid Claims. For the avoidance of doubt, NAS Monitoring Opioid Claims shall
not be PI/NAS Opioid Claims.

       280.    “PI Opioid Claimant” means a Holder of a PI Opioid Claim or the Holder of a Future
Opioid PI Claim.

        281.    “PI Opioid Claims” means any Opioid Claims (other than Opioid Demands) for alleged
opioid-related personal injury or other similar opioid-related Claim or Cause of Action, including any
opioid-related personal injury Claim, and that is not a Hospital Opioid Claim, a Third-Party Payor Opioid
Claim, a NAS PI Opioid Claim, a NAS Monitoring Opioid Claim, a Ratepayer Opioid Claim, an Emergency
Room Physicians Opioid Claim, or a Governmental Opioid Claim.

         282.    “PI Opioid Claims Share” means 9.3% of the Opioid MDT II Distributable Value, (i) after
deducting from the Opioid MDT II Distributable Value reserved expenses for items in (a) and (b) of the
definition of Opioid MDT II Operating Expenses, and (ii) gross of applicable Private Opioid Creditor Trust
Deductions and Holdbacks.

        283.     “PI Opioid Demands” means any Opioid Demand for alleged opioid-related personal
injury or other similar opioid-related Cause of Action, including any opioid-related personal injury Opioid
Demand or similar opioid-related Cause of Action asserted by a NAS Child.

         284.     “PI Trust” means the trust that is to be established in accordance with the Plan, the
Confirmation Order, and the PI Trust Documents to (a) assume all liability for PI/NAS Opioid Claims, (b)
collect distributions made on account of the PI Opioid Claims Share and NAS PI Opioid Claims Share in
accordance with the PI Trust Documents, (c) administer PI/NAS Opioid Claims, and (d) make distributions
to Holders of PI/NAS Opioid Claims in accordance with the PI Trust Documents.

         285.    “PI Trust Documents” means the documents governing: (a) the PI Trust; (b) the flow of
consideration from the Opioid MDT II to the PI Trust; (c) submission, resolution, and distribution
procedures in respect of all PI/NAS Opioid Claims (including Opioid Demands); and (d) the flow of
distributions, payments or funds made from the PI Trust. The Governmental Plaintiff Ad Hoc Committee
and the MSGE Group shall have the right to consult on the PI Trust Documents.




                                                      29
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 263 of 835



       286.     “Plaintiffs’ Executive Committee” means the court-appointed Co-Lead Counsel Paul J.
Hanly, Jr., Joseph Rice, and Paul T. Farrell, Jr., on behalf of the court-appointed plaintiffs’ executive
committee in the MDL, solely in their capacities as such and not in any individual capacities.

         287.     “Plan” means this joint plan of reorganization under chapter 11 of the Bankruptcy Code,
either in its present form or as it may be altered, amended, modified, or supplemented from time to time in
accordance with the Bankruptcy Code, the Bankruptcy Rules, or the terms hereof, as the case may be, and
the Plan Supplement, which is incorporated herein by reference, including all exhibits and schedules hereto
and thereto.

       288.     “Plan Term Sheet” means Exhibit A to the Restructuring Support Agreement, as the Plan
Term Sheet may be amended, modified, or supplemented from time to time, including in connection with
the Supporting Term Lenders Joinder Agreement.

         289.      “Plan Supplement” means one or more supplemental appendices to the Plan, which shall
include, among other things, draft forms of documents (or term sheets thereof), schedules, and exhibits to
the Plan, in each case subject to the provisions of the Restructuring Support Agreement and as may be
amended, modified, or supplemented from time to time in accordance with the terms of the Restructuring
Support Agreement and the terms hereof, the terms of the Restructuring Support Agreement, and in
accordance with the Bankruptcy Code and the Bankruptcy Rules, including the following documents:
(a) the New Governance Documents; (b) to the extent known and determined, the identity of the members
of the Reorganized Board; (c) the Opioid MDT II Documents and the Opioid Creditor Trust Documents;
(d) the New Opioid Warrant Agreement; (e) the Cooperation Agreement; (f) the form of indenture for the
Takeback Second Lien Notes; (g) a term sheet setting forth certain material terms of the New Term Loan
Facility; (h) a term sheet setting forth certain material terms of the New AR Revolving Facility; (i) the form
of credit agreement to govern the New Takeback Term Loans; (j) the schedule of retained Causes of Action;
(k) the Rejected Executory Contract/Unexpired Lease List; (l) the Management Incentive Plan; (m) the
Opioid Operating Injunction; (n) the Restructuring Transactions Memorandum; (o) the Transfer
Agreement; (p) a term sheet setting forth the material terms of the Opioid Deferred Cash Payment Terms;
(q) the Registration Rights Agreement; (r) the Federal/State Acthar Settlement Agreements; (s) the Scheme
of Arrangement; (t) the Schedule of Opioid Insurance Policies; (u) the form of indenture for the Cram-
Down First Lien Notes; and (v) the form of indenture for the Cram-Down Second Lien Notes.

        290.    “Plan Supplement Filing Date” means the date on which the Plan Supplement is Filed
with the Bankruptcy Court, which shall be at least twenty eight (28) days prior to the deadline established
by the Disclosure Statement Order to File objections to Confirmation; provided, that the trust distribution
procedures for the Opioid MDT II and each Opioid Creditor Trust shall be filed thirty (30) days after the
approval of the Disclosure Statement.

         291.    “Post Effective Date Implementation Expenses” means all reasonable and documented
fees and out of pocket expenses incurred on or after the Effective Date to implement this Plan, but excluding
Trust Expenses, of (1)(a) primary counsel to the Guaranteed Unsecured Notes Ad Hoc Group, Paul, Weiss,
Rifkind, Wharton & Garrison LLP, (b) Delaware counsel to the Guaranteed Unsecured Notes Ad Hoc
Group, Landis Rath & Cobb LLP (c) Irish counsel to the Guaranteed Unsecured Notes Ad Hoc Group,
Matheson LLP, (d) regulatory counsel to the Guaranteed Unsecured Notes Ad Hoc Group, Reed Smith
LLP, (e) financial advisor to the Guaranteed Unsecured Notes Ad Hoc Group, Perella Weinberg Partners
LP, (f) one Canadian counsel to the Guaranteed Unsecured Notes Ad Hoc Group, (g) such other legal,
consulting, financial, and/or other professional advisors to which the Guaranteed Unsecured Notes Ad Hoc
Group and the Debtors shall reasonably agree from time to time, (h) primary counsel to the Governmental
Plaintiff Ad Hoc Committee, Gilbert LLP, Kramer Levin Naftalis & Frankel LLP, and Brown Rudnick
LLP, (i) Delaware counsel to the Governmental Plaintiff Ad Hoc Committee, Morris James LLP, (j) Irish
counsel to the Governmental Plaintiff Ad Hoc Committee, William Fry, (k) investment banker to the


                                                     30
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 264 of 835



Governmental Plaintiff Ad Hoc Committee, Houlihan Lokey, Inc., (l) special consultant to the
Governmental Plaintiff Ad Hoc Committee, Dr. Fred Hyde, (m) such other legal, consulting, financial,
and/or other professional advisors to which the Governmental Plaintiff Ad Hoc Committee and the Debtors
shall reasonably agree from time to time, (n) primary counsel to the MSGE Group Caplin & Drysdale,
Chartered, (o) Delaware counsel to the MSGE Group, Seitz, Van Ogtrop & Green, P.A. (p) financial advisor
to the MSGE Group, FTI Consulting, and (q) such other legal, consulting, financial, and/or other
professional advisors to which the MSGE Group and the Debtors shall reasonably agree from time to time,
in each case, in accordance with the terms of the applicable engagement letters, if any, and subject to a
good-faith, non-binding budget to be submitted by each applicable professional to the Debtors prior to the
Effective Date, which budget shall be reasonably acceptable to such professional and the Debtors; and (2)
the professionals entitled to the payment of such fees and out of pocket expenses pursuant to the Cash
Collateral Order (including the advisors to the Ad Hoc First Lien Term Lender Group).

         292.     “Prepayment Option” means the right to prepay, in full or in part, the Opioid Deferred
Cash Payments, at any time prior to the first anniversary of the Effective Date, at (a) for prepayments as of
the end of each of the 12 months after the Effective Date, the prepayment cost set forth on Annex A hereto
or (b) to the extent a prepayment occurs other than at the end of a month, a price equal to the present value
of the amounts to be prepaid, at the date of prepayment, discounted at the discount rate that would be
required for (i)(A) the present value of the Opioid Deferred Cash Payments at the prepayment date plus (B)
$450,000,000 to equal (ii)(A) the present value of the payments under the Original Payments Schedule at
the prepayment date (excluding the initial $300,000,000 payment provided for in the Original Payments
Schedule), discounted at a discount rate of 12% per annum, plus (B) $300,000,000.

        293.    “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

       294.    “Private Opioid Creditor Trusts” means the Third-Party Payor Trust, the PI Trust, the NAS
Monitoring Trust, the Emergency Room Physicians Trust, and the Hospital Trust.

         295.    “Private Opioid Creditor Trust Deductions and Holdbacks” means, collectively or as
applicable, the following deductions and holdbacks from Distributions from the Private Opioid Creditor
Trusts pursuant to the Opioid Creditor Trust Documents: (i) the deduction of Opioid Creditor Trust
Operating Expenses of the Private Opioid Creditor Trusts, as required under and subject to the terms of the
Opioid Creditor Trust Documents, (ii) the deduction of amounts on account of compensation, costs and fees
of professionals that represented or advised Claimants in Classes 9(a)-9(g) in connection with the Chapter
11 Cases, as and to the extent provided in the Opioid Creditor Trust Documents and subject to Article
IV.X.8 of the Plan, and (iii) the common benefit assessment required under Article IV.X.8 of the Plan and,
where applicable, the fees and costs of such a Claimant’s individual attorney(s), which deduction shall be
made by such attorney(s) and reduced by the common benefit assessment in accordance with Article IV.X.8
of the Plan.

         296.    “Products” means any and all products developed, designed, manufactured, marketed or
sold, in research or development, or supported by, the Debtors, whether work in progress or in final form.

        297.     “Professional Fee Claim” means a Claim by a Retained Professional seeking an award by
the Bankruptcy Court of compensation for services rendered or reimbursement of expenses incurred
through and including the Effective Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or
503(b)(5) of the Bankruptcy Code.

       298.   “Professional Fee Escrow Account” means an interest-bearing account funded by the
Debtors with Cash no later than the Effective Date in an amount equal to the Professional Fee Escrow
Amount.


                                                     31
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 265 of 835



         299.    “Professional Fee Escrow Amount” means the aggregate amount of Professional Fee
Claims and other unpaid fees and expenses the Retained Professionals have incurred or will incur in
rendering services in connection with the Chapter 11 Cases prior to and as of the Effective Date, which
shall be estimated pursuant to the method set forth in Article II.A.2 of the Plan.

        300.     “Proof of Claim” means a proof of Claim Filed against any Debtor in the Chapter 11 Cases.

         301.    “Pro Rata Share” means, with respect to any distribution on account of an Allowed Claim,
a distribution equal in amount to the ratio (expressed as a percentage) that the amount of such Allowed
Claim bears to the aggregate amount of all Allowed Claims in its Class; provided, that the Pro Rata Share
for the General Unsecured Claims Distribution shall be calculated on a consolidated basis for all applicable
Classes and all Debtors.

         302.    “Protected Party” means (a) the Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor
Affiliates, (d) with respect to each of the foregoing Persons in clauses (a) through (c), such Persons’
predecessors, successors, permitted assigns, subsidiaries, and controlled Affiliates, respective heirs,
executors, Estates, and nominees, in each case solely in their capacity as such, and (e) with respect to each
of the foregoing Persons in clauses (a) through (d), such Person’s respective current and former officers
and directors, managers, principals, members, partners, employees, agents, advisors (including financial
advisors), attorneys (including attorneys retained by any director in his or her capacity as a director or
manager of a Person), accountants, investment bankers (including investment bankers retained by any
director in his or her capacity as a director or manager of a Person), consultants, experts and other
professionals (including any professional advisor retained by any director in his or her capacity as a director
or manager of a Person) or other representatives of the Persons described in clauses (a) through (d), provided
that consultants and experts in this clause (e) shall not include those retained to provide strategic advice for
sales and marketing of opioid products who have received a civil investigative demand or other subpoena
related to sales and marketing of opioid products from any State Attorney General on or after January 1,
2019 through the Petition Date. “Protected Party” shall also include each Settling Opioid Insurer, but shall
not include the Opioid MDT II or any Opioid Creditor Trust. Notwithstanding anything to the contrary
herein, none of the following Persons, in their respective following capacities, shall be Protected Parties:
(1) Medtronic plc or Covidien plc, (2) any subsidiaries or Affiliates of Medtronic plc or Covidien plc that
existed as a subsidiary or Affiliate of Medtronic plc or Covidien plc after July 1, 2013, (3) any successors
or assigns of any Entity described in clause (1) or clause (2) that became such a successor or assign after
July 1, 2013 (excluding, for the avoidance of doubt, the Debtors, the Reorganized Debtors, and the Non-
Debtor Affiliates), (4) any former subsidiaries or Affiliates of Covidien plc that ceased being such a
subsidiary or Affiliate before July 1, 2013, and any successor or assign to such subsidiary or Affiliate of
Covidien plc, and (5) any Representative of any Entity described in the foregoing clauses (1) through (4)
except to the extent such Representative is described in clause (d) and (e) of this definition of “Protected
Party.”

         303.   “Public Opioid Creditor Share” means (a) the remaining amount of the Opioid MDT II
Distributable Value after all payments to the Private Opioid Creditor Trusts and the Ratepayer Account and
(b) the Other Opioid Claims Reserve Excess.

         304.   “Public Opioid Creditor Share Deductions” means (i) the following payments: (a) any
amounts required to fund the Opioid MDT II Operating Reserve, (b) the U.S. Government Claims Share,
(c) the Other Opioids Claims Share, and (ii) any amounts in the Other Opioid Claims Reserve, any amounts
in the Opioid Attorneys’ Fee Fund, and any amounts in the Opioid MDT II Operating Reserve.

        305.    “Public Opioid Creditor Share Distributable Value” means all amounts distributable on
account of the Public Opioid Creditor Share, less any Public Opioid Creditor Share Deductions.




                                                      32
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 266 of 835



        306.     “Public Opioid Creditor Trusts” means the NOAT II and the TAFT II.

        307.    “Purdue Bankruptcy Cases” means the bankruptcy cases jointly administered under the
caption In re Purdue Pharma L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.).

         308.     “Ratepayer Account” means the segregated account to be established by the Opioid MDT
II and administered by the Ratepayer Mediation Participants for Approved Uses, which shall include
distributions to the Truth Initiative Foundation.

       309.     “Ratepayer Attorney Fee Fund” means the fund to be established as set forth in Article
IV.X.8 of the Plan.

        310.    “Ratepayer Mediation Participants” means the proposed representatives of classes of
privately insured parties who are plaintiffs and proposed class representatives identified in the Amended
Verified Statement of Stevens & Lee, P.C. Pursuant to Bankruptcy Rule 2019 filed at Docket No. 333 in the
Purdue Bankruptcy Cases.

        311.     “Ratepayer Opioid Claimant” means a Holder of a Ratepayer Opioid Claim.

        312.      “Ratepayer Opioid Claims” means any Opioid Claims (including Opioid Demands) that
arises out of or relates to the payment of health insurance by the Holder of such Claim.

        313.    “Recognition Proceedings” means the proceedings commenced by the Debtors under Part
IV of the Canadian Companies Arrangement Act in the Canadian Court to recognize in Canada any of the
Chapter 11 Cases as foreign main proceedings or foreign nonmain proceedings, as applicable, and to
recognize in Canada certain Orders of the Bankruptcy Court.

        314.     “Registration Rights Agreement” means the registration rights agreement(s) with respect
to the New Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon
exercise of the New Opioid Warrants as of the Effective Date, without regard to any limitations on the
exercise of the New Opioid Warrants) to be effective on the Effective Date.

         315.    “Reinstatement” means, with respect to Claims and Interests, that the Claim or Interest
shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code. “Reinstated” shall
have a correlative meaning.

        316.    “Rejected Executory Contract/Unexpired Lease List” means the list, of Executory
Contracts and/or Unexpired Leases (including any amendments or modifications thereto), if any, that will
be rejected pursuant to the Plan which will be filed with the Plan Supplement.

         317.    “Released Party” means (a) the Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor
Affiliates, (d) with respect to each of the foregoing Persons in clauses (a) through (c), such Persons’
predecessors, successors, permitted assigns, subsidiaries, and controlled Affiliates, respective heirs,
executors, Estates, and nominees, in each case solely in their capacity as such; (e) with respect to each of
the foregoing Persons in clauses (a) through (d), such Person’s respective current and former officers and
directors, managers, principals, members, partners, employees, agents, advisors (including financial
advisors), attorneys (including attorneys retained by any director in his or her capacity as a director or
manager of a Person), accountants, investment bankers (including investment bankers retained by any
director in his or her capacity as a director or manager of a Person), consultants, experts and other
professionals (including any professional advisor retained by any director in his or her capacity as a director
or manager of a Person) or other representatives of the Persons described in clauses (a) through (d); (f) each
member of the Guaranteed Unsecured Notes Ad Hoc Group in their capacity as such, (g) each Supporting
Unsecured Noteholder in their capacity as such, (h) the Opioid MDT II and the Opioid Creditor Trusts,


                                                      33
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 267 of 835



(i) each member of the Governmental Plaintiff Ad Hoc Committee in their capacity as such, (j) each
Supporting Governmental Opioid Claimant in their capacity as such; (k) each member of the MSGE Group
in their capacity as such; (l) each Supporting Term Lender in its capacity as such; (m) each member of the
Ad Hoc First Lien Term Lender Group in its capacity as such; (n) each Prepetition Secured Party (as defined
in the Cash Collateral Order); (o) the Guaranteed Unsecured Notes Indenture Trustee; (p) the Legacy
Unsecured Notes Indenture Trustee solely in its capacity and to the extent it serves as a Distribution Agent;
(q) the Future Claimants Representative; (r) the Official Committee of Opioid-Related Claimants; (s) the
Official Committee of Unsecured Creditors; and (t) with respect to each of the foregoing Persons in clauses
(f) through (s), each such Person’s Representatives. Notwithstanding anything to the contrary herein, none
of the following Persons, in their respective following capacities, shall be Released Parties: (1) Medtronic
plc or Covidien plc, (2) any subsidiaries or Affiliates of Medtronic plc or Covidien plc that existed as a
subsidiary or Affiliate of Medtronic plc or Covidien plc after July 1, 2013, (3) any successors or assigns of
any Entity described in clause (1) or clause (2) that became such a successor or assign after July 1, 2013
(excluding, for the avoidance of doubt, the Debtors, the Reorganized Debtors, and the Non-Debtor
Affiliates), (4) any former subsidiaries or Affiliates of Covidien plc that ceased being such a subsidiary or
Affiliate before July 1, 2013, and any successor or assign to such subsidiary or Affiliate of Covidien plc,
and (5) any Representative of any Entity described in the foregoing clauses (1) through (4) except to the
extent such Representative is described in clause (d) and (e) of this definition of “Released Party.”

       318.   “Reorganized Board” means the initial board of directors or similar governing body of the
Reorganized Mallinckrodt.

        319.   “Reorganized Debtors” means, on or after the Effective Date, (a) the Debtors, as
reorganized pursuant to and under the Plan, or any successor thereto, and (b) to the extent not already
encompassed by clause (a), Reorganized Mallinckrodt and all NewCo Subsidiaries as of the Effective Date.

         320.     “Reorganized Mallinckrodt” means Reorganized Parent or NewCo, as applicable, on or
after the Effective Date.

        321.    “Reorganized Parent” means, on or after the Effective Date, Mallinckrodt plc as
reorganized pursuant to and under the Plan.

       322.     “Reorganized VI-Specific Debtors” means on or after the Effective Date, the VI-Specific
Debtors, as reorganized pursuant to and under the Plan, or any successor thereto.

         323.     “Representatives” means, with respect to any Person, such Person’s Affiliates and its and
their directors, officers, members, partners, managers, employees, agents, investment bankers, attorneys,
accountants, advisors, investment advisors, investors, managed accounts or funds, management companies,
fund advisors, advisory board members, professionals and other representatives, in each case, solely in their
capacities as such.

        324.    “Required Supporting Term Lenders” shall have the meaning ascribed to such term in the
Restructuring Support Agreement.

        325.    “Required Supporting Unsecured Noteholders” means, as of any date of determination,
Supporting Unsecured Noteholders holding at least a majority in outstanding principal amount of
Guaranteed Unsecured Notes held by the Supporting Unsecured Noteholders then party to the Restructuring
Support Agreement. Guaranteed Unsecured Notes held by any (a) Mallinckrodt Entity, (b) holder of Opioid
Claims, or (c) Entity or Person whose vote has been “designated” by the Bankruptcy Court in the Chapter
11 Cases (including pursuant to section 1126(e) of the Bankruptcy Code), shall not be included (either in
the numerator or the denominator), and shall not be considered outstanding Guaranteed Unsecured Notes
Claims, for purposes of calculating the Required Supporting Unsecured Noteholders.



                                                     34
            Case 20-12522-JTD           Doc 2917      Filed 06/18/21       Page 268 of 835



         326.    “Restructuring Expenses” means all reasonable and documented fees and out of pocket
expenses incurred prior to the Effective Date, including Transaction Fees, of (1)(a) primary counsel to the
Guaranteed Unsecured Notes Ad Hoc Group, Paul, Weiss, Rifkind, Wharton & Garrison LLP, (b) Delaware
counsel to the Guaranteed Unsecured Notes Ad Hoc Group, Landis Rath & Cobb LLP (c) Irish counsel to
the Guaranteed Unsecured Notes Ad Hoc Group, Matheson LLP, (d) regulatory counsel to the Guaranteed
Unsecured Notes Ad Hoc Group, Reed Smith LLP, (e) financial advisor to the Guaranteed Unsecured Notes
Ad Hoc Group, Perella Weinberg Partners LP, (f) one Canadian counsel to the Guaranteed Unsecured Notes
Ad Hoc Group, (g) such other legal, consulting, financial, and/or other professional advisors to which the
Guaranteed Unsecured Notes Ad Hoc Group and the Debtors shall reasonably agree from time to time, (h)
primary counsel to the Governmental Plaintiff Ad Hoc Committee, Gilbert LLP, Kramer Levin Naftalis &
Frankel LLP, and Brown Rudnick LLP, (i) Delaware counsel to the Governmental Plaintiff Ad Hoc
Committee, Morris James LLP, (j) Irish counsel to the Governmental Plaintiff Ad Hoc Committee, William
Fry, (k) investment banker to the Governmental Plaintiff Ad Hoc Committee, Houlihan Lokey, Inc., (l)
special consultant to the Governmental Plaintiff Ad Hoc Committee, Dr. Fred Hyde, (m) such other legal,
consulting, financial, and/or other professional advisors to which the Governmental Plaintiff Ad Hoc
Committee and the Debtors shall reasonably agree from time to time, (n) primary counsel to the MSGE
Group Caplin & Drysdale, Chartered, (o) Delaware counsel to the MSGE Group, Seitz, Van Ogtrop &
Green, P.A., (p) financial advisor to the MSGE Group, FTI Consulting, and (q) such other legal, consulting,
financial, and/or other professional advisors to which the MSGE Group and the Debtors shall reasonably
agree from time to time, in each case, in accordance with the terms of the applicable engagement letters, if
any, with any balance(s) paid on the Effective Date; provided, that the Transaction Fees shall only be paid
after entry of an order, which may be the Confirmation Order, authorizing payment of such Transaction
Fees; and (2) the professionals entitled to the payment of such fees and out of pocket expenses pursuant to
the Cash Collateral Order (including the advisors to the Ad Hoc First Lien Term Lender Group).

        327.     “Restructuring Expenses Order” means that certain Order Authorizing the Debtors to
Assume and/or Enter Into Reimbursement Agreements with RSA Parties’ Professionals entered by the
Bankruptcy Court on February 1, 2021 [Docket No. 1250], as amended, supplemented, or modified from
time to time, in each case with the consent of the Debtors and the applicable parties to the Restructuring
Support Agreement.

        328.    “Restructuring Support Agreement” means that certain Restructuring Support Agreement
entered into on October 11, 2020, by and among the Debtors, the Supporting Unsecured Noteholders, and
the Supporting Governmental Opioid Claimants and joined by (a) the MSGE Group on November 13, 2020
and (b) the Supporting Term Lenders on March 10, 2021 (as such may be amended, modified or
supplemented in accordance with its terms, including as modified by the MSGE Group Joinder Agreement
and the Supporting Term Lenders Joinder Agreement).

        329.    “Restructuring Transactions” means the transactions described in Article IV.B of the
Plan.

       330.    “Restructuring Transactions Memorandum” means a document to be included in the Plan
Supplement that will set forth the material components of the Restructuring Transactions.

        331.   “Retained Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant
to a Final Order in accordance with sections 327 and/or 1103 of the Bankruptcy Code and to be
compensated for services rendered prior to the Effective Date, pursuant to sections 327, 328, 329, 330, or
331 of the Bankruptcy Code; or (b) for which compensation and reimbursement has been allowed by the
Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

        332.   “Schedule of Opioid Insurance Policies” means the schedule in the Plan Supplement of
Insurance Contracts, the rights under or related to which (i.e. the Assigned Insurance Rights) the Debtors


                                                    35
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 269 of 835



are assigning, or in the absence of an Opioid Settlement Agreement would be assigning, to the Opioid MDT
II pursuant to the Plan. As set forth in the definition of Opioid Insurance Policy, the Schedule of Opioid
Insurance Policies is not exhaustive and shall not be construed as imposing a limitation on the scope of the
Insurance Contracts as to which Debtors are assigning rights to the Opioid MDT II pursuant to the Plan (i.e.
the Assigned Insurance Rights).

        333.    “Scheme of Arrangement” means the proposals for one or more compromise or scheme
of arrangement in relation to the Parent and/or any other Debtor Entity to be formulated and proposed by
the Examiner pursuant to Section 539 of the Companies Act of Ireland in connection with the Irish
Examinership Proceedings and submitted to the High Court of Ireland for confirmation pursuant to Section
541 of the Companies Act of Ireland, and which will be based on and consistent in all respects with the
Plan and substantially in the form of the draft scheme of arrangement to be included in the Plan Supplement
and to be annexed to the petition presented to the High Court of Ireland at the commencement of the Irish
Examinership Proceedings.

        334.     “SEC” means the United States Securities and Exchange Commission.

       335.      “Second Lien Notes” means the 10.00% second lien senior secured notes due 2025
pursuant to the Second Lien Notes Indenture.

        336.   “Second Lien Notes Claim” means any Claim arising under, deriving from or based upon
the Second Lien Notes or the Second Lien Notes Indenture.

         337.   “Second Lien Notes Indenture” means that certain Indenture, dated as of December 6,
2019, by and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the
guarantors party thereto from time to time and Wilmington Savings Fund Society, FSB, as second lien
trustee and second lien collateral agent (as modified, amended, or supplemented from time to time).

         338.    “Second Lien Notes Makewhole Claim” means any Second Lien Notes Claim (a) for any
principal premium in excess of the principal amount of such Claims outstanding immediately before the
Petition Date, including for any “Applicable Premium” (as defined in the Second Lien Notes Indenture) or
optional redemption premium, or (b) for any “Additional Amounts” (as defined in the Second Lien Notes
Indenture).

         339.    “Secured Claim” means a Claim: (a) secured by a Lien on property in which the Estate has
an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by reason of a
Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to the
extent of the value of the creditor’s interest in the Estate’s interest in such property or to the extent of the
amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code
or (b) otherwise Allowed pursuant to the Plan or order of the Bankruptcy Court as a secured claim.

        340.     “Securities” means any instruments that qualify under Section 2(a)(1) of the Securities Act.

        341.    “Securities Act” means the Securities Act of 1933, as now in effect or hereafter amended,
or any regulations promulgated thereunder.

        342.    “September 2015 Notes Indenture” means that certain Indenture, dated as of September
24, 2015, by and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as issuers, the
guarantors party thereto from time to time and Deutsche Bank Trust Company Americas, as trustee (as
modified, amended, or supplemented from time to time).

        343.   “Settled Federal/State Acthar Claims” means any Claims settled through the Federal/State
Acthar Settlement.


                                                      36
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 270 of 835



        344.     “Settling Opioid Insurer” means an Insurer that has entered into an Opioid Insurance
Settlement, solely in its capacity as such and solely with respect to any Opioid Insurance Policy released in
such Opioid Insurance Settlement.

         345.   “Settling Opioid Insurer Injunction” means the injunction issued pursuant to Article IX.J
of the Plan.

        346.     “Settling State” means any State that becomes a party to a restructuring support agreement
with respect to the Plan or otherwise votes to accept the Plan.

      347.     “Shared Collateral” shall have the meaning ascribed to such term in any Intercreditor
Agreement, as applicable.

        348.    “Shenk Settlement” means the proposed mediated settlement of the Shenk Suit.

         349.    “Shenk Suit” means the securities fraud putative class action lawsuit brought by the State
Teachers Retirement System of Ohio titled Shenk v. Mallinckrodt plc, No. 1:17-cv-00145-DLF (D.D.C.)
that is pending in the United States District Court for the District of Columbia.

       350.    “Specialty Generics Debtors” means Debtors Mallinckrodt Equinox Finance Inc.,
Mallinckrodt Enterprises Holdings, Inc., Mallinckrodt ARD Finance LLC, Mallinckrodt Enterprises LLC,
Mallinckrodt LLC, SpecGx LLC, SpecGx Holdings LLC, WebsterGx Holdco LLC, and Mallinckrodt
APAP LLC.

      351.      “State” means a state or territory of the United States of America and the District of
Columbia.

        352.    “State and Municipal Government Opioid Claims Share” means the remainder of the
Public Opioid Creditor Share Distributable Value after distributions on account of the Tribe Opioid Claims
Share, which shall equate to (i) 97.1% of the first $625 million received on account of the Public Opioid
Creditor Share Distributable Value, (ii) 97.05% of amounts received in excess of $625 million and up to
and including $1.25 billion on account of the Public Opioid Creditor Share Distributable Value, and (iii)
97.0%% of amounts received in excess of $1.25 billion on account of the Public Opioid Creditor Share
Distributable Value.

        353.    “State Attorney General” means the attorney general for any State.

        354.    “State Opioid Claims” means the Governmental Opioid Claims held by States.

        355.    “Subordinated Claim” means any Claim against the Debtors that is subject to
subordination under section 509(c), section 510(b) or section 510(c) of the Bankruptcy Code, including any
Claim for reimbursement, indemnification, or contribution. For the avoidance of doubt, Second Lien Notes
Claims and No Recovery Opioid Claims shall not be Subordinated Claims.

        356.    “Supporting Governmental Opioid Claimants” means the Plaintiffs’ Executive
Committee and any Governmental Units holding Opioid Claims that are or become party to the
Restructuring Support Agreement in accordance with the terms thereof and for so long as the Restructuring
Support Agreement shall be in effect with respect to such parties.

        357.    “Supporting Parties” means the Supporting Governmental Opioid Claimants, the
Supporting Unsecured Noteholders, the MSGE Group, and the Supporting Term Lenders in each case, for
so long as the Restructuring Support Agreement shall be in effect with respect to each such parties.




                                                     37
            Case 20-12522-JTD           Doc 2917      Filed 06/18/21       Page 271 of 835



         358.    “Supporting Term Lenders” means the Holders of First Lien Term Loan Claims that are
or become party to the Restructuring Support Agreement in accordance with the terms thereof and for so
long as the Restructuring Support Agreement shall be in effect with respect to such parties.

       359.    “Supporting Term Lenders Joinder Agreement” means that certain Joinder Agreement
and Amendment to Restructuring Support Agreement dated as of March 10, 2021, entered into by and
among the Debtors, the Required Supporting Unsecured Noteholders, the Governmental Plaintiff Ad Hoc
Committee, the MSGE Group, and the Supporting Term Lenders.

         360.   “Supporting Unsecured Noteholders” means the Holders of Guaranteed Unsecured Notes
Claims that are or become party to the Restructuring Support Agreement in accordance with the terms
thereof and for so long as the Restructuring Support Agreement shall be in effect with respect to such
parties.

        361.    “TAFT II” means the one or more Abatement Trusts, limited liability companies, or other
Persons that are to be established in accordance with the Plan, the Confirmation Order, and the TAFT II
Documents to (a) assume all liability for Tribe Opioid Claims, (b) collect distributions made on account of
the Tribe Opioid Claims Share in accordance with the TAFT II Documents, (c) administer Tribe Opioid
Claims, and (d) make Abatement Distributions to Authorized Recipients, including to Holders of Tribe
Opioid Claims in accordance with the TAFT II Documents.

         362.    “TAFT II Documents” means the one or more documents establishing and governing: (a)
the TAFT II; (b) the flow of consideration from the Opioid MDT II to the TAFT II; (c) submission,
resolution, and distribution procedures in respect of all Tribe Opioid Claims (including Opioid Demands);
and (d) the flow of Abatement Distributions to Authorized Recipients, including distributions, payments or
flow of funds made from the TAFT II after the Effective Date.

        363.    “Takeback Second Lien Notes” means $375,000,000 of new secured takeback second lien
notes due seven (7) years after the Effective Date and otherwise be on terms set forth in Exhibit 2 hereto.

         364.  “Takeback Second Lien Notes Documentation” means the indenture (the substantially
final form of which will be filed with the Plan Supplement), notes, and other documents governing the
Takeback Second Lien Notes.

        365.     “Term Loan Exit Payment” means a consent and exit payment in the amount equal to
0.5% multiplied by the Term Loans Outstanding Amount, which payment shall be payable to the First Lien
Term Lenders, as an integral term of the comprehensive settlement and resolution of the disputes and
controversies between the Debtors and the First Lien Term Lenders embodied in this Plan, which consent
and exit payment shall (a) increase to the amount equal to 1.0% multiplied by the Term Loans Outstanding
Amount if the First Lien Term Loans are not refinanced in full in Cash on or prior to the Effective Date and
(b) be payable to the First Lien Term Lenders upon the Effective Date.

       366.    “Term Loans Outstanding Amount” means an amount equal to the 2024 First Lien Term
Loans Outstanding Amount plus the 2025 First Lien Term Loans Outstanding Amount.

        367.     “Third-Party Payor Group” means the group of certain Holders of Third-Party Payor
Claims consisting of (i) the Holders of Third-Party Payor Claims represented by the Rawlings & Associates
and Lowey Dannenberg, P.C., and whose Claims are listed in Exhibit A of the Stipulation and Agreement
Disallowing and Expunging Certain Third Party Payor Claims [Docket No. 2535] and (ii) one
representative from United Healthcare.

         368.   “Third-Party Payor Opioid Claimant” means a Holder of a Third-Party Payor Opioid
Claim.


                                                    38
           Case 20-12522-JTD           Doc 2917      Filed 06/18/21       Page 272 of 835



         369.    “Third-Party Payor Opioid Claims” means any Opioid Claims (including Opioid
Demands) held by a health insurer, an employer-sponsored health plan, a union health and welfare fund or
any other provider of health care benefits, and including any third-party administrator or agent on behalf
thereof, in each case in its capacity as such (including any Opioid Claim or Opioid Demand based on the
subrogation rights of the Holder thereof), and that is not a held by a Governmental Unit.

         370.    “Third-Party Payor Opioid Claims Share” means 5.21% of the sum of the Initial Opioid
MDT II Payment and the aggregate amount of all Opioid Deferred Cash Payments (i) after giving effect to
the Prepayment Option, if exercised, and (ii) gross of applicable Private Opioid Creditor Trust Deductions
and Holdbacks. For the avoidance of doubt, and for illustrative purposes, in the event the Prepayment
Option is not exercised, the Third-Party Payor Claims Share will equal $83.36 million prior to application
of the applicable Private Opioid Creditor Trust Deductions and Holdbacks.

        371.     “Third-Party Payor Trust” means the Abatement Trust that is to be established in
accordance with the Plan, the Confirmation Order, and the Third-Party Payor Trust Documents to
(a) assume all liability for Third-Party Payor Opioid Claims, (b) receive distributions made on account of
the Third-Party Payor Opioid Claims Share in accordance with the Third-Party Payor Trust Documents, (c)
administer Third-Party Payor Opioid Claims, and (d) make Abatement Distributions to Authorized
Recipients for Approved Uses, including distributions to Holders of Third-Party Payor Opioid Claims in
accordance with the Third-Party Payor Trust Documents.

        372.    “Third-Party Payor Trust Documents” means the documents governing: (a) the Third-
Party Payor Trust; (b) the flow of consideration from the Opioid MDT II to the Third-Party Payor Trust;
(c) submission, resolution, and distribution procedures in respect of all Third-Party Payor Opioid Claims
(including Opioid Demands); and (d) the flow of distributions, payments or flow of funds made from the
Third-Party Payor Trust after the Effective Date.

       373.     “Trade Claim” means an Unsecured Claim for the provision of goods and services to the
Debtors held by a Trade Claimant.

        374.    “Trade Claimant” means trade creditors, service providers and other vendors who provide
goods and services necessary for the Debtors continued operations, including those creditors described in
(a) Motion of Debtors for Interim and Final Orders Authorizing the Debtors to Pay Prepetition Claims of
Critical Vendors [Docket No. 6], (b) Motion of Debtors for Interim and Final Orders Authorizing the
Debtors to Pay Prepetition Claims of Foreign Vendors [Docket No. 14], and (c) Motion of Debtors for
Interim and Final Orders (A) Authorizing Payment of Lienholder Claims and (B) Authorizing Payment of
Section 503(b)(9) Claims [Docket No. 11].

         375.    “Trade Claim Cash Pool” means Cash pool of up to $50,000,000 to be distributed in
accordance with the terms of the Plan; provided, that any Trade Claim Cash Pool Unallocated Amount shall
be distributed as part of the General Unsecured Claims Distribution.

       376.   “Trade Claim Cash Pool Unallocated Amount” means any unallocated amounts from the
Trade Claim Cash Pool.

       377.    “Transaction Fees” means the “Transaction Fees” as defined in the Restructuring
Expenses Order.

        378.   “Transfer Agreement” means one or more equity and asset transfer agreements between
one or more Debtors and/or Reorganized Debtors, which shall be included in the Plan Supplement.

       379.    “Tribe” means any American Indian or Alaska Native Tribe, band, nation, pueblo, village
or community, that the U.S. Secretary of the Interior acknowledges as an Indian Tribe, as provided in the


                                                   39
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 273 of 835



Federally Recognized Tribe List Act of 1994, 25 U.S.C. § 5130, and as periodically listed by the U.S.
Secretary of the Interior in the Federal Register pursuant to 25 U.S.C. § 5131; and any “Tribal Organization”
as provided in the Indian Self-Determination and Education Assistance Act of 1975, as amended, 25 U.S.C.
§ 5304(l).

         380.   “Tribe Opioid Claimants” means a Holder of a Tribe Opioid Claim.

         381.   “Tribe Opioid Claims” means any Opioid Claims (including Opioid Demands) held by a
Tribe.

        382.    “Tribe Opioid Claims Share” means a percentage of the Public Opioid Creditor Share
Distributable Value, which percentage shall be (i) 2.90% of the first $625 million received on account of
the Public Opioid Creditor Share Distributable Value, (ii) 2.95% of amounts received in excess of $625
million and up to and including $1.25 billion on account of the Public Opioid Creditor Share Distributable
Value, and (iii) 3.0% of amounts received in excess of $1.25 billion on account of the Public Opioid
Creditor Share Distributable Value.

        383.    “Trust Expenses” means any reasonable and documented fees and expenses incurred by
the Governmental Plaintiff Ad Hoc Committee and the MSGE Group on or after the Effective Date in
connection with the administration of the Opioid MDT II, excluding, for the avoidance of doubt, the
reasonable and documented fees and expenses incurred in connection with implementation of the Plan.

         384.   “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is
subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

       385.    “Unimpaired” means, with respect to a Claim, Interest, or Class of Claims or Interests, not
“impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

         386.   “United States” means the United States of America, its agencies, departments, or agents.

       387.     “United States Trustee” means the Office of the United States Trustee for the District of
Delaware.

        388.    “Unsecured Claim” means a claim that is not secured by a Lien on property in which one
of the Debtors’ Estates has an interest.

         389.   “U.S. Government” means the executive branch of the United States of America.

         390.   “U.S. Government Opioid Claimants” means a Holder of an U.S. Government Opioid
Claim.

        391.    “U.S. Government Opioid Claims” means any Opioid Claims (including Opioid Demands)
held by the United States, including any civil, non-fraud Opioid Claims of the Centers for Medicare &
Medicaid Services, United States Department of Health & Human Services, HHS Indian Health Services,
the United States Defense Health Agency, and the United States Department of Veterans Affairs arising
under or related to the Medicare Secondary Payer Act, 42 USC §§ 1395y(b)(2),(8), section 111 of the
Medicare, Medicaid, and SCHIP Extension Act of 2007 (Pub. L. 110-173), and the Federal Medical Care
Recovery Act. 42 U.S.C. §§ 2651-2653.

        392.    “U.S. Government Opioid Claims Share” means Cash payments from the Opioid MDT II
in an amount, and payable at times, to be agreed upon by the U.S. Government, the Governmental Ad Hoc
Committee and the MSGE Group.




                                                     40
            Case 20-12522-JTD              Doc 2917        Filed 06/18/21        Page 274 of 835



        393.     “U.S. Government Payor Statutory Rights” shall mean the United States’ rights under the
Medicare Secondary Payer Act, 42 USC §§ 1395y(b)(2),(8) (“MSP”), section 111 of the Medicare,
Medicaid, and SCHIP Extension Act of 2007 (Pub. L. 110-173) (“MMSEA”), and the Federal Medical
Care Recovery Act (“FMCRA”), 42 U.S.C. §§ 2651-2653, with respect to distributions under the Plan other
than against the Protected Parties.

         394.     “VI Opioid Claim” means any Opioid Claim in any way arising, in whole or in part, from
a violation of the Voluntary Injunction or the Opioid Operating Injunction that occurred on or after the
Petition Date, provided that nothing in the Plan shall be construed as conferring administrative priority on
any Opioid Claim arising before the Petition Date, and in the event any Person asserts an Opioid Claim
based on a violation of the Voluntary Injunction or the Opioid Operating Injunction that occurred on or
after the Petition Date and on any other conduct or circumstances, only that portion of such Opioid Claim
attributable to such violation that occurred on or after the Petition Date shall be a VI Opioid Claim.

         395.    “VI-Specific Debtors” means Mallinckrodt Enterprises LLC, Mallinckrodt LLC, and
SpecGx LLC, and each of their current and former subsidiaries (solely to the extent such Entity existed as
such a subsidiary from and after the Petition Date), predecessors, successors, joint ventures, divisions and
assigns, as well as the foregoing entities’ Representatives, to the extent that such Representatives are acting
within the scope of their engagement or employment.

        396.    “Voluntary Injunction” means that certain Voluntary Injunction annexed to the Order
Granting Certain Debtors’ Motion for Injunctive Relief Pursuant to 11 U.S.C. § 105 with Respect to the
Voluntary Injunction entered by the Bankruptcy Court in Adversary Proceeding No. 20-50850 on January
8, 2021 [Adv. Pro. Docket No. 196].

        397.    “Voting Representative” means a Firm representing Holders of Claims in any of the Master
Ballot Classes who has returned a properly completed Solicitation Directive (as such terms are defined in
the Disclosure Statement Order).

        398.     “Work Plan” has the meaning set forth in Article IV.BB.3.

       399.    “Workers’ Compensation Contracts” means the Debtors’ written contracts, agreements,
agreements of indemnity, self-insured workers’ compensation bonds, policies, programs, and Plans for
workers’ compensation and workers’ compensation Insurance Contracts.

B.      Rules of Interpretation

         1.        For purposes herein: (a) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine or neuter gender shall include the masculine, feminine, and the neuter gender; (b) unless otherwise
specified, any reference herein to a contract, instrument, release, indenture, or other agreement or document
being in a particular form or on particular terms and conditions means that the referenced document shall
be substantially in that form or substantially on those terms and conditions; (c) unless otherwise specified,
any reference herein to an existing document, schedule, or exhibit, whether or not Filed, having been Filed
or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter be amended, modified, or
supplemented; (d) any reference to any Entity as a Holder of a Claim or Interest includes that Entity’s
successors and assigns; (e) unless otherwise specified, all references herein to “Articles” are references to
Articles of the Plan; (f) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the
Plan in its entirety rather than to a particular portion of the Plan; (g) subject to the provisions of any contract,
certificate of incorporation, by-law, instrument, release, or other agreement or document created or entered
into in connection with the Plan, the rights and obligations arising pursuant to the Plan shall be governed
by, and construed and enforced in accordance with applicable federal law, including the Bankruptcy Code



                                                        41
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 275 of 835



and Bankruptcy Rules; (h) unless otherwise specified, the words “include” and “including,” and variations
thereof, shall not be deemed to be terms of limitation, and shall be deemed to be followed by the words
“without limitation”; (i) references to “shareholders,” “directors,” and/or “officers” shall also include
“members” and/or “managers,” as applicable, as such terms are defined under the applicable state limited
liability company laws; (j) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and
the like shall include “Proofs of Interests,” “Holders of Interests,” “Disputed Interests,” and the like, as
applicable; (k) captions and headings to Articles and subdivisions thereof are inserted for convenience of
reference only and are not intended to be a part of or to affect the interpretation hereof; (l) unless otherwise
specified, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (m) any
term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code
or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be; (n) unless otherwise specified, all references to statutes, regulations,
orders, rules of courts, and the like shall mean as in effect on the Effective Date and as applicable to the
Chapter 11 Cases; (o) any effectuating provisions may be interpreted by the Reorganized Debtors in such
a manner that is consistent with the overall purpose and intent of the Plan all without further notice to or
action, order, or approval of the Bankruptcy Court or any other Entity, and such interpretation shall control;
(p) references to docket numbers are references to the docket numbers of documents Filed in the Chapter
11 Cases under the Bankruptcy Court’s CM/ECF system; and (q) all references herein to consent,
acceptance, or approval may be conveyed by counsel for the respective parties that have such consent,
acceptance, or approval rights, including by electronic mail.

        2.       The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of time
prescribed or allowed herein.

       3.      All references in the Plan to monetary figures refer to currency of the United States of
America, unless otherwise expressly provided.

         4.       Except as otherwise specifically provided in the Plan to the contrary, references in the Plan
to the Debtors or to the Reorganized Debtors mean the Debtors and the Reorganized Debtors, as applicable,
to the extent the context requires.

C.      Consent Rights of Supporting Parties

         Notwithstanding anything to the contrary in the Plan, the Confirmation Order, or the Disclosure
Statement, any and all consent and approval rights of the Supporting Parties set forth in the Restructuring
Support Agreement with respect to the form and substance of any Definitive Document (as defined in the
Restructuring Support Agreement), including any amendments, restatements, supplements, or other
modifications to such documents, and any consents, waivers, or other deviations under or from any such
documents, shall be incorporated herein by this reference (including to the applicable definitions in
Article I.A) and fully enforceable as if stated in full herein.

                                                  Article II.

               ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS,
     OTHER PRIORITY CLAIMS, AND UNITED STATES TRUSTEE STATUTORY FEES

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Priority
Tax Claims, and Other Priority Claims have not been classified and thus are excluded from the Classes of
Claims and Interests set forth in Article III.




                                                      42
             Case 20-12522-JTD          Doc 2917        Filed 06/18/21      Page 276 of 835



A.      Administrative Claims

        1.      General Administrative Claims

         Subject to the provisions of sections 328, 330(a), and 331 of the Bankruptcy Code, except to the
extent that a Holder of an Allowed General Administrative Claim and the applicable Debtor(s) or
Reorganized Debtor(s), as applicable, agree to less favorable treatment with respect to such Allowed
General Administrative Claim, each Holder of an Allowed General Administrative Claim will receive, in
full and final satisfaction of its General Administrative Claim, an amount in Cash equal to the unpaid
amount of such Allowed General Administrative Claim in accordance with the following: (a) if such
General Administrative Claim is Allowed on or prior to the Effective Date, on the Effective Date or as soon
as reasonably practicable thereafter or, if not then due, when such Allowed General Administrative Claim
is due or as soon as reasonably practicable thereafter; (b) if such General Administrative Claim is Allowed
after the Effective Date, on the date such General Administrative Claim is Allowed or as soon as reasonably
practicable thereafter or, if not then due, when such Allowed General Administrative Claim is due or as
soon as reasonably practicable thereafter; (c) at such time and upon such terms as may be agreed upon by
such Holder and the Debtors or the Reorganized Debtors, as the case may be; or (d) at such time and upon
such terms as set forth in an order of the Bankruptcy Court; provided that Allowed General Administrative
Claims that arise in the ordinary course of the Debtors’ business during the Chapter 11 Cases shall be paid
in full in Cash in the ordinary course of business in accordance with the terms and conditions of any
controlling agreements, course of dealing, course of business, or industry practice.

         For the avoidance of doubt and notwithstanding anything to the contrary herein, all Opioid Claims
arising after the Petition Date and based upon or arising from the Debtors’ pre-Effective Date conduct or
activities (and excluding, for the avoidance of doubt, any VI Opioid Claims), shall receive the treatment set
forth herein for Classes 8(a)-8(d) and 9(a)-9(i) (as applicable) and shall not receive the treatment described
above for General Administrative Claims. Upon the Effective Date, all General Administrative Claims that
are Opioid Claims shall be channeled to the Opioid MDT II or the Opioid Creditor Trusts, as applicable, as
set forth in Articles IV.W.5, IV.X.5, and IX.G herein, and shall no longer have General Administrative
Claim status. For the avoidance of doubt and notwithstanding anything to the contrary herein, to the extent
incurred prior to the Effective Date, the New Credit Facilities shall survive the Effective Date and shall not
constitute General Administrative Claims entitled to the treatment set forth in this Article II.A.1.

        2.      Professional Fee Claims, Restructuring Expenses, and Post Effective Date Implementation
                Expenses

         All final requests for payment of Professional Fee Claims for services rendered and reimbursement
of expenses incurred prior to the Effective Date must be Filed no later than 45 days after the Effective Date.
The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice
and a hearing in accordance with the procedures established by the Bankruptcy Code, the Bankruptcy Rules,
and prior Bankruptcy Court orders. The Reorganized Debtors shall pay Professional Fee Claims owing to
the Retained Professionals in Cash to such Retained Professionals in the amount the Bankruptcy Court
Allows from funds held in the Professional Fee Escrow Account, as soon as reasonably practicable after
such Professional Fee Claims are Allowed by entry of an order of the Bankruptcy Court; provided that the
Debtors’ and the Reorganized Debtors’ obligations to pay Allowed Professional Fee Claims shall not be
limited or deemed limited to funds held in the Professional Fee Escrow Account. To the extent that funds
held in the Professional Fee Escrow Account are insufficient to satisfy the Allowed amount of Professional
Fee Claims owing to the Retained Professionals, the Reorganized Debtors shall pay such amounts within
ten (10) Business Days of entry of the order approving such Professional Fee Claims.

       No later than the Effective Date, the Reorganized Debtors shall establish and fund the Professional
Fee Escrow Account with Cash equal to the Professional Fee Escrow Amount. The Professional Fee


                                                     43
             Case 20-12522-JTD          Doc 2917      Filed 06/18/21       Page 277 of 835



Escrow Account shall be maintained in trust solely for the Retained Professionals and for no other Entities
until all Professional Fee Claims Allowed by the Bankruptcy Court have been irrevocably paid in full in
Cash to the Retained Professionals pursuant to one or more Final Orders of the Bankruptcy Court. No
Liens, claims, or interests shall encumber the Professional Fee Escrow Account or Cash held in the
Professional Fee Escrow Account in any way. No funds held in the Professional Fee Escrow Account shall
be property of the Estates of the Debtors or the Reorganized Debtors. When all Professional Fee Claims
Allowed by the Bankruptcy Court have been irrevocably paid in full in Cash to the Retained Professionals
pursuant to one or more Final Orders of the Bankruptcy Court, any remaining funds held in the Professional
Fee Escrow Account shall be remitted to the Reorganized Debtors without any further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity being required.

         The Retained Professionals shall deliver to the Debtors a reasonable and good-faith estimate of
their unpaid fees and expenses incurred in rendering services to the Debtors before and as of the Effective
Date projected to be outstanding as of the anticipated Effective Date, and shall deliver such estimate no
later than five Business Days prior to the anticipated Effective Date. For the avoidance of doubt, no such
estimate shall be considered or deemed an admission or limitation with respect to the amount of the fees
and expenses that are the subject of a Retained Professional’s final request for payment of Professional Fee
Claims Filed with the Bankruptcy Court, and such Retained Professionals are not bound to any extent by
the estimates. If a Retained Professional does not provide an estimate, the Debtors may estimate the unpaid
and unbilled fees and expenses of such Retained Professional. The total aggregate amount so estimated to
be outstanding as of the anticipated Effective Date shall be utilized by the Debtors to determine the amount
to be funded to the Professional Fee Escrow Account; provided that the Reorganized Debtors shall use Cash
on hand to increase the amount of the Professional Fee Escrow Account to the extent fee applications are
Filed after the Effective Date in excess of the amount held in the Professional Fee Escrow Account based
on such estimates.

         For the avoidance of doubt, all Restructuring Expenses and Post Effective Date Implementation
Expenses shall be paid in accordance with Article IV.S of the Plan, and the terms under this Article II.A.2
shall not apply to the parties entitled to receive the Restructuring Expenses. The Reorganized Debtors shall
pay the Post Effective Date Implementation Expenses that they incur on or after the Effective Date in the
ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

        3.      Administrative Claims Bar Date

         Except for any Administrative Claim subject to the Initial Administrative Claims Bar Date, all
requests for payment of an Administrative Claim (excluding, for the avoidance of doubt, VI Opioid Claims,
Cure Costs, Professional Fee Claims, the Disinterested Managers Fees and Expenses, Restructuring
Expenses, Administrative Claims held by a Debtor or Non-Debtor Affiliate against a Debtor, Indenture
Trustee Fees (to the extent they would be Administrative Claims) or United States Trustee quarterly fees
payable pursuant to Article II.C below) that accrued on or before the Effective Date that were not otherwise
satisfied in the ordinary course of business must be Filed with the Bankruptcy Court and served on the
Debtors no later than the Administrative Claims Bar Date. If a Holder of an Administrative Claim
(excluding, for the avoidance of doubt, VI Opioid Claims, Cure Costs, Professional Fee Claims,
Restructuring Expenses, Indenture Trustee Fees (to the extent they would be Administrative Claims) or
United States Trustee quarterly fees payable pursuant to Article II.C below) is required to, but does not,
File and serve a request for payment of such Administrative Claim by the Administrative Claims Bar Date,
such Administrative Claim shall be considered Allowed only if and to the extent that no objection to the
allowance thereof has been interposed within three months following the subsequent filing and service of
such request or as otherwise set by the Bankruptcy Court or such an objection is so interposed and the Claim
has been Allowed by a Final Order; provided that any Claim Filed after entry of a decree closing the
Debtors’ Chapter 11 Cases shall not be Allowed unless the Holder of such Claim obtains an order of the
Bankruptcy Court allowing such Claim. For the avoidance of doubt, Administrative Claims that were


                                                    44
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 278 of 835



subject to the Initial Administrative Claims Bar Date, proof of which was not timely submitted in
accordance with the Initial Administrative Claims Bar Date Order, shall be disallowed.

         The Reorganized Debtors, in their sole and absolute discretion, may settle Administrative Claims
in the ordinary course of business without further Bankruptcy Court approval. The Debtors or the
Reorganized Debtors, as applicable, may also choose to object to any Administrative Claim no later than
the Administrative Claims Objection Deadline, subject to extensions by the Bankruptcy Court, agreement
in writing of the parties, or on motion of a party in interest approved by the Bankruptcy Court. Unless the
Debtors or the Reorganized Debtors (or other party with standing) object to a timely-Filed and properly
served Administrative Claim, such Administrative Claim will be deemed Allowed in the amount requested.
In the event that the Debtors or the Reorganized Debtors object to an Administrative Claim, the parties may
confer to try to reach a settlement and, failing that, the Bankruptcy Court will determine whether such
Administrative Claim should be Allowed and, if so, in what amount.

        Notwithstanding anything to the contrary herein, VI Opioid Claims shall not be subject to any
Administrative Claims Bar Date or any procedures governing the assertion of, and objection to,
Administrative Claims contained in the Plan. All VI Opioid Claims shall survive Confirmation and
Consummation of the Plan and shall be obligations of the relevant Debtors and/or Reorganized Debtors, as
applicable, enforceable in any court of competent jurisdiction.

B.      Priority Tax Claims

         Except to the extent that a Holder of an Allowed Priority Tax Claim and the Debtor(s) against
which such Allowed Priority Tax Claim is asserted agree to a less favorable treatment, in exchange for full
and final satisfaction, settlement, release, and the discharge of each Allowed Priority Tax Claim, each
Holder of an Allowed Priority Tax Claim due and payable on or prior to the Effective Date shall receive,
as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
equal to the amount of such Allowed Priority Tax Claim; (2) Cash in an amount agreed to by the applicable
Debtor or Reorganized Debtor, as applicable, and such Holder; provided that such parties may further agree
for the payment of such Allowed Priority Tax Claim at a later date; or (3) at the option of the Debtors, Cash
in an aggregate amount of such Allowed Priority Claim payable in installment payments over a period not
more than five years after the Petition Date, pursuant to section 1129(a)(9)(C) of the Bankruptcy Code. To
the extent any Allowed Priority Tax Claim is not due and owing on or before the Effective Date, such Claim
shall be paid in full in Cash in accordance with the terms of any agreement between the Debtors and such
Holder, or as may be due and payable under applicable non-bankruptcy law or in the ordinary course of
business.

C.      Other Priority Claims

         Except to the extent that a Holder of an Allowed Other Priority Claim and the Debtor(s) against
which such Allowed Other Priority Claim is asserted agree to a less favorable treatment, in exchange for
full and final satisfaction, settlement, release, and the discharge of each Allowed Other Priority Claim, each
Holder of an Allowed Other Priority Claim due and payable on or prior to the Effective Date shall receive,
as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
equal to the amount of such Allowed Other Priority Claim; or (2) Cash in an amount agreed to by the
applicable Debtor or Reorganized Debtor, as applicable, and such Holder. To the extent any Allowed Other
Priority Claim is not due and owing on or before the Effective Date, such Claim shall be paid in full in Cash
in accordance with the terms of any agreement between the Debtors (or the Reorganized Debtors, as
applicable) and such Holder, or as may be due and payable under applicable non-bankruptcy law or in the
ordinary course of business.




                                                     45
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 279 of 835



D.      United States Trustee Statutory Fees

        The Debtors and the Reorganized Debtors, as applicable, shall pay all quarterly fees due to the
United States Trustee under 28 U.S.C § 1930(a)(6), plus any interest due and payable under 31 U.S.C.
§ 3717 on all disbursements, including Plan payments and disbursements in and outside the ordinary course
of the Debtors’ or Reorganized Debtors’ business (or such amount agreed to with the United States Trustee
or ordered by the Bankruptcy Court), for each quarter (including any fraction thereof) until the Chapter 11
Cases are converted, dismissed, or closed, whichever occurs first.

                                                 Article III.

             CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.      Classification of Claims

         The Plan constitutes a separate chapter 11 Plan of reorganization for each Debtor. The provisions
of this Article III govern Claims against and Interests in the Debtors. Except for the Claims addressed in
Article II above (or as otherwise set forth herein), all Claims and Interests are placed in Classes for each of
the applicable Debtors. For all purposes under this Plan, each Class will exist for each of the Debtors;
provided, that any Class that is vacant as to a particular Debtor will be treated in accordance with Article
III.G below. In accordance with section 1123(a)(1) of the Bankruptcy Code, the Debtors have not classified
Administrative Claims, Priority Tax Claims, and Other Priority Claims as described in Article II.

         The categories of Claims and Interests listed below classify Claims and Interests for all purposes,
including voting, Confirmation and distribution pursuant hereto and pursuant to sections 1122 and
1123(a)(1) of the Bankruptcy Code. The Plan deems a Claim or Interest to be classified in a particular
Class only to the extent that the Claim or Interest qualifies within the description of that Class and shall be
deemed classified in a different Class to the extent that any remainder of such Claim or Interest qualifies
within the description of such different Class. A Claim or an Interest is in a particular Class only to the
extent that any such Claim or Interest is Allowed in that Class and has not been paid or otherwise settled
prior to the Effective Date.




                                                      46
          Case 20-12522-JTD              Doc 2917       Filed 06/18/21      Page 280 of 835



                  Summary of Classification and Treatment of Claims and Interests

          Class                      Claim                     Status            Voting Rights
            1         Other Secured Claims                   Unimpaired        Presumed to Accept
          2(a)        First Lien Revolving Credit Facility   Unimpaired        Presumed to Accept
                      Claims
          2(b)        2024 First Lien Term Loan Claims       Unimpaired      Presumed to Accept or
                                                             or Impaired        Entitled to Vote
          2(c)        2025 First Lien Term Loan Clams        Unimpaired      Presumed to Accept or
                                                             or Impaired        Entitled to Vote
           3          First Lien Notes Claims                Unimpaired      Presumed to Accept or
                                                             or Impaired        Entitled to Vote
           4          Second Lien Notes Claims               Unimpaired      Presumed to Accept or
                                                             or Impaired        Entitled to Vote
           5          Guaranteed Unsecured Notes              Impaired          Entitled to Vote
                      Claims
          6(a)        Acthar Claims                           Impaired           Entitled to Vote
          6(b)        Generics Price Fixing Claims            Impaired           Entitled to Vote
          6(c)        Asbestos Claims                         Impaired           Entitled to Vote
          6(d)        Legacy Unsecured Notes Claims           Impaired           Entitled to Vote
          6(e)        Environmental Claims                    Impaired           Entitled to Vote
          6(f)        Other General Unsecured Claims          Impaired           Entitled to Vote
           7          Trade Claims                            Impaired           Entitled to Vote
          8(a)        State Opioid Claims                     Impaired           Entitled to Vote
          8(b)        Municipal Opioid Claims                 Impaired           Entitled to Vote
          8(c)        Tribe Opioid Claims                     Impaired           Entitled to Vote
          8(d)        U.S. Government Opioid Claims           Impaired           Entitled to Vote
          9(a)        Third-Party Payor Opioid Claims         Impaired           Entitled to Vote
          9(b)        PI Opioid Claims                        Impaired           Entitled to Vote
          9(c)        NAS PI Opioid Claims                    Impaired           Entitled to Vote
          9(d)        Hospital Opioid Claims                  Impaired           Entitled to Vote
          9(e)        Ratepayer Opioid Claims                 Impaired           Entitled to Vote
          9(f)        NAS Monitoring Opioid Claims            Impaired           Entitled to Vote
          9(g)        Emergency Room Physicians               Impaired           Entitled to Vote
                      Opioid Claims
          9(h)        Other Opioid Claims                     Impaired          Entitled to Vote
          9(i)        No Recovery Opioid Claims               Impaired         Deemed to Reject
           10         Settled Federal/State Acthar Claims     Impaired          Entitled to Vote
           11         Intercompany Claims                    Unimpaired      Presumed to Accept or
                                                             or Impaired       Deemed to Reject
           12         Intercompany Interests                 Unimpaired      Presumed to Accept or
                                                             or Impaired       Deemed to Reject
           13         Subordinated Claims                     Impaired         Deemed to Reject
           14         Equity Interests                        Impaired         Deemed to Reject

B.   Treatment of Claims and Interests

     1.          Class 1 — Other Secured Claims

                 a.       Classification: Class 1 consists of all Other Secured Claims.


                                                      47
     Case 20-12522-JTD        Doc 2917       Filed 06/18/21      Page 281 of 835



        b.     Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim
               agrees to less favorable treatment, in exchange for full and final satisfaction,
               settlement, release, and discharge of each Allowed Other Secured Claim, each
               Holder of an Allowed Other Secured Claim, at the option of the applicable Debtor,
               shall (i) be paid in full in Cash including the payment of any interest required to
               be paid under section 506(b) of the Bankruptcy Code, (ii) receive the collateral
               securing its Allowed Other Secured Claim, or (iii) receive any other treatment that
               would render such Claim Unimpaired, in each case, as determined by the Debtors
               with the reasonable consent of the Required Supporting Unsecured Noteholders,
               the Governmental Plaintiff Ad Hoc Committee, and the MSGE Group and
               following consultation with the Supporting Term Lenders.

        c.     Voting: Class 1 is Unimpaired, and Holders of Other Secured Claims are
               conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
               Bankruptcy Code. Therefore, Holders of Other Secured Claims are not entitled to
               vote to accept or reject the Plan.

2.      Class 2 — First Lien Credit Agreement Claims

        a.     Class 2(a) — First Lien Revolving Credit Facility Claims

               (i)     Classification: Class 2(a) consists of all First Lien Revolving Credit
                       Facility Claims.

               (ii)    Allowance: The First Lien Revolving Credit Facility Claims shall be
                       Allowed in the amount of $900,000,000 minus any payments expressly
                       designated as payments of principal of loans under the First Lien
                       Revolving Credit Facility prior to the Effective Date plus all accrued and
                       unpaid interest, fees, expenses, costs, indemnification, and other charges
                       arising under or related to the First Lien Revolving Credit Facility
                       (accounting for adequate protection payments made pursuant to the Cash
                       Collateral Order), but excluding any Claims (i) arising under or related to
                       the 2024 First Lien Term Loan or the 2025 First Lien Term Loan, (ii) for
                       default rate interest under Section 2.13(c) of the First Lien Credit
                       Agreement in excess of the non-default rate applicable under Section
                       2.13(a) or (b) of the First Lien Credit Agreement, and (iii) for interest
                       based on the asserted conversion of any “Eurocurrency Borrowing” to an
                       “ABR Borrowing” (each as defined in the First Lien Credit Agreement)
                       under Section 2.07(e) of the First Lien Credit Agreement, to the extent
                       such interest exceeds the interest payable on such borrowing as a
                       Eurocurrency Borrowing; provided that, notwithstanding anything to the
                       contrary in the Plan, the Cash Collateral Order or the First Lien Credit
                       Agreement, all adequate protection payments made by the Debtors to the
                       First Lien Revolving Lenders and their agents and professionals pursuant
                       to the Cash Collateral Order during the Chapter 11 Cases shall be retained
                       by the First Lien Revolving Lenders and their agents and professionals, as
                       applicable, and not recharacterized as principal payments or otherwise
                       subject to disgorgement, recovery, or avoidance by any party under any
                       legal or equitable theory regardless of whether such payments arguably
                       exceed the Allowed amount of the First Lien Revolving Credit Facility
                       Claims.



                                          48
Case 20-12522-JTD      Doc 2917       Filed 06/18/21        Page 282 of 835



        (iii)   Treatment: All Allowed First Lien Revolving Credit Facility Claims shall
                receive, on the Effective Date, in full and final satisfaction, settlement,
                release, and discharge of such Claims, repayment in full in Cash. For the
                avoidance of doubt, the foregoing treatments shall not be, and shall not be
                deemed, a distribution or payment in respect of Shared Collateral.

        (iv)    Voting: Class 2(a) is Unimpaired, and Holders of First Lien Revolving
                Credit Facility Claims are conclusively presumed to have accepted the
                Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                Holders of First Lien Revolving Credit Facility Claims are not entitled to
                vote to accept or reject the Plan.

   b.   Class 2(b) — 2024 First Lien Term Loan Claims

        (i)     Classification: Class 2(b) consists of all 2024 First Lien Term Loan
                Claims.

        (ii)    Allowance: The 2024 First Lien Term Loan Claims shall be Allowed in
                the amount of the 2024 First Lien Term Loans Outstanding Amount plus
                the amount of any First Lien Term Loans Accrued and Unpaid Interest
                plus any other accrued and unpaid First Lien Obligations directly or
                ratably applicable to the 2024 First Lien Term Loan Claims; provided that,
                notwithstanding anything to the contrary in the Plan, the Cash Collateral
                Order or the First Lien Credit Agreement, all adequate protection
                payments made by the Debtors to Holders of 2024 First Lien Term Loan
                Claims and their agents and professionals pursuant to the Cash Collateral
                Order during the Chapter 11 Cases shall be retained by such Holders and
                their agents and professionals, as applicable, and not recharacterized as
                principal payments (other than payments of principal made on or prior to
                April 23, 2021 and First Lien Term Loan Principal Payments) or otherwise
                subject to disgorgement, recovery, or avoidance by any party under any
                legal or equitable theory regardless of whether such payments arguably
                exceed the Allowed amount of the 2024 First Lien Term Loan Claims.

        (iii)   Treatment: All Allowed 2024 First Lien Term Loan Claims shall receive,
                on the Effective Date, in full and final satisfaction, settlement, release, and
                discharge of such Claims, at the Debtors’ option either (a) the New
                Takeback Term Loans plus repayment in full in Cash of the First Lien
                Term Loans Accrued and Unpaid Interest plus the Term Loan Exit
                Payment or (b) repayment of such Claims in full in Cash in an amount
                equal to the 2024 First Lien Term Loans Outstanding Amount plus the
                First Lien Term Loans Accrued and Unpaid Interest plus the Term Loan
                Exit Payment. For the avoidance of doubt, neither of the foregoing
                treatments or any component thereof are, nor shall such treatments or any
                component thereof be deemed, a distribution or payment in respect of
                Shared Collateral.

        (iv)    Voting: Class 2(b) is either (a) Impaired if receiving the New Takeback
                Term Loans, and, in such case, Holders of 2024 First Lien Term Loan
                Claims are entitled to vote to accept or reject the Plan or (b) Unimpaired
                if repaid in full in Cash, and, in such case, Holders of 2024 First Lien Term
                Loans are conclusively presumed to have accepted the Plan pursuant to


                                    49
     Case 20-12522-JTD        Doc 2917       Filed 06/18/21        Page 283 of 835



                       section 1126(f) of the Bankruptcy Code (and, therefore, Holders of 2024
                       First Lien Term Loan Claims are not entitled to vote to accept or reject the
                       Plan).

        c.     Class 2(c) — 2025 First Lien Term Loan Claims

               (i)     Classification: Class 2(c) consists of all 2025 First Lien Term Loan
                       Claims.

               (ii)    Allowance: The 2025 First Lien Term Loan Claims shall be Allowed in
                       the amount of the 2025 First Lien Term Loans Outstanding Amount plus
                       the amount of any First Lien Term Loans Accrued and Unpaid Interest
                       plus any other accrued and unpaid First Lien Obligations directly or
                       ratably applicable to the 2025 First Lien Term Loan Claims; provided that,
                       notwithstanding anything to the contrary in the Plan, the Cash Collateral
                       Order or the First Lien Credit Agreement, all adequate protection
                       payments made by the Debtors to Holders of 2025 First Lien Term Loan
                       Claims and their agents and professionals pursuant to the Cash Collateral
                       Order during the Chapter 11 Cases shall be retained by such Holders and
                       their agents and professionals, as applicable, and not recharacterized as
                       principal payments (other than payments of principal made on or prior to
                       April 23, 2021 and First Lien Term Loan Principal Payments) or otherwise
                       subject to disgorgement, recovery, or avoidance by any party under any
                       legal or equitable theory regardless of whether such payments arguably
                       exceed the Allowed amount of the 2025 First Lien Term Loan Claims.

               (iii)   Treatment: All Allowed 2025 First Lien Term Loan Claims shall receive,
                       on the Effective Date, in full and final satisfaction, settlement, release, and
                       discharge of such Claims, at the Debtors’ option, either (a) the New
                       Takeback Term Loans plus repayment in full in Cash of the First Lien
                       Term Loans Accrued and Unpaid Interest plus the Term Loan Exit
                       Payment or (b) repayment of such Claims in full in Cash in an amount
                       equal to the 2025 First Lien Term Loans Outstanding Amount plus the
                       First Lien Term Loans Accrued and Unpaid Interest plus the Term Loan
                       Exit Payment. For the avoidance of doubt, neither of the foregoing
                       treatments or any component thereof are, nor shall such treatments or any
                       component thereof be deemed, a distribution or payment in respect of
                       Shared Collateral.

               (iv)    Voting: Class 2(c) is either (a) Impaired if receiving the New Takeback
                       Term Loans, and, in such case, Holders of 2025 First Lien Term Loan
                       Claims are entitled to vote to accept or reject the Plan or (b) Unimpaired
                       if repaid in full in Cash, and, in such case, Holders of 2025 First Lien Term
                       Loans are conclusively presumed to have accepted the Plan pursuant to
                       section 1126(f) of the Bankruptcy Code (and, therefore, Holders of 2025
                       First Lien Term Loan Claims are not entitled to vote to accept or reject the
                       Plan).

3.      Class 3 — First Lien Notes Claims

        a.     Classification: Class 3 consists of all First Lien Notes Claims.




                                            50
     Case 20-12522-JTD        Doc 2917        Filed 06/18/21        Page 284 of 835



        b.     Allowance: On the Effective Date, the First Lien Notes Claims shall be Allowed
               in the aggregate principal amount of $495,032,000.00 minus any express payments
               of principal of the First Lien Notes prior to the Effective Date, plus accrued and
               unpaid Allowed interest on such principal amount, plus any other Allowed unpaid
               premiums, fees costs, or other amounts due and owing pursuant to the First Lien
               Notes Indenture.

        c.     Treatment: If at the time of Confirmation (i) the First Lien Notes Makewhole
               Claims are not Allowed and (ii) the Allowed First Lien Notes Claims may be
               reinstated without the First Lien Notes Makewhole Claims being Allowed, all
               Allowed First Lien Notes Claims shall be Reinstated. Otherwise, all Allowed First
               Lien Notes Claims shall receive, on the Effective Date, in full and final
               satisfaction, settlement, release, and discharge of such Claims, at the Debtors’
               option, either (1) the Cram-Down First Lien Notes in a face amount equal to the
               amount of such Allowed First Lien Notes Claims or (2) Cash in an amount equal
               to the amount of such Allowed First Lien Notes Claims, provided that the treatment
               in this clause (2) shall only be permitted in the event (x) the Cash used to fund the
               payment of the principal amount of the First Lien Notes Claims is derived from
               the proceeds of indebtedness incurred to fund such payment (it being understood
               that this restriction does not apply to any First Lien Notes Makewhole Claims, if
               Allowed) or (y) the First Lien Term Loan Claims have been paid or are paid
               contemporaneously in full in Cash.

        d.     Voting: Class 3 is either (i) Impaired, if receiving the Cram-Down First Lien
               Notes, and Holders of First Lien Notes Claims are entitled to vote to accept or
               reject the Plan, or (ii) Unimpaired either if the Allowed First Lien Notes Claims
               are Reinstated or if receiving Cash, and Holders of First Lien Notes Claims are
               conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
               Bankruptcy Code (and, therefore, Holders of First Lien Notes Claims are not
               entitled to vote to accept or reject the Plan).

4.      Class 4 — Second Lien Notes Claims

        a.     Classification: Class 4 consists of all Second Lien Notes Claims.

        b.     Allowance: On the Effective Date, the Second Lien Notes Claims shall be Allowed
               in the aggregate principal amount of $322,868,000.00 minus any express payments
               of principal of the Second Lien Notes prior to the Effective Date, plus accrued and
               unpaid Allowed interest on such principal amount, plus any other Allowed unpaid
               premiums, fees costs, or other amounts due and owing pursuant to the Second Lien
               Notes Indenture.

        c.     Treatment: If at the time of Confirmation (i) the Second Lien Notes Makewhole
               Claims are not Allowed and (ii) the Allowed Second Lien Notes Claims may be
               reinstated without the Second Lien Notes Makewhole Claims being Allowed, all
               Allowed Second Lien Notes Claims shall be Reinstated. Otherwise, all Allowed
               Second Lien Notes Claims shall receive, on the Effective Date, in full and final
               satisfaction, settlement, release, and discharge of such Claims, at the Debtors’
               option, either (1) the Cram-Down Second Lien Notes in a face amount equal to the
               amount of such Allowed Second Lien Notes Claims, or (2) Cash in an amount
               equal to the amount of such Allowed Second Lien Notes Claims, provided that the
               treatment in this clause (2) shall only be permitted in the event (x)(i) the First Lien


                                            51
     Case 20-12522-JTD        Doc 2917        Filed 06/18/21       Page 285 of 835



               Term Loans (and the First Lien Term Loan Claims) are repaid in full in Cash and
               (ii) the Term Loan Exit Payment is paid to the First Lien Term Lenders, in each
               case, before or contemporaneously with such refinancing of the Second Lien Notes
               Claims or (y) if the proceeds of any portion of the New Term Loan Facility are
               used to pay the Second Lien Notes Claims in Cash, such portion of the New Term
               Loan Facility is secured by Liens and security interests that rank junior to the Liens
               and security interests securing the New Takeback Term Loans.

        d.     Voting: Class 4 is either (i) Impaired, if receiving the Cram-Down Second Lien
               Notes, and Holders of Second Lien Notes Claims are entitled to vote to accept or
               reject the Plan, or (ii) Unimpaired either if the Allowed Second Lien Notes Claims
               are Reinstated or if receiving Cash, and Holders of Second Lien Notes Claims are
               conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
               Bankruptcy Code (and, therefore, Holders of Second Lien Notes Claims are not
               entitled to vote to accept or reject the Plan).

5.      Class 5 — Guaranteed Unsecured Notes Claims

        a.     Classification: Class 5 consists of all Guaranteed Unsecured Notes Claims.

        b.     Allowance: The Guaranteed Unsecured Notes Claims shall be Allowed in the
               following amounts:

               (i)     the 5.75% Senior Notes Claims shall be Allowed in the amount of not less
                       than $610,304,000.00, plus accrued but unpaid interest as of the Petition
                       Date;

               (ii)    the 5.625% Senior Notes Claims shall be Allowed in the amount of not
                       less than $514,673,000.00, plus accrued but unpaid interest as of the
                       Petition Date; and

               (iii)   the 5.50% Senior Notes Claims shall be Allowed in the amount of not less
                       than $387,207,000.00, plus accrued but unpaid interest as of the Petition
                       Date.

        c.     Treatment: Except to the extent that a Holder of an Allowed Guaranteed
               Unsecured Notes Claim agrees to less favorable treatment, in exchange for full and
               final satisfaction, settlement, release, and discharge of each Allowed Guaranteed
               Unsecured Notes Claim, on the Effective Date (or as soon as practicable
               thereafter), each Holder of an Allowed Guaranteed Unsecured Notes Claim shall
               receive its Pro Rata Share of (i) the Takeback Second Lien Notes and (ii) 100% of
               New Mallinckrodt Ordinary Shares, subject to dilution on account of the New
               Opioid Warrants, the Management Incentive Plan, and any General Unsecured
               Claims Distribution in the form of New Mallinckrodt Ordinary Shares.

        d.     Voting: Class 5 is Impaired, and Holders of Guaranteed Unsecured Notes Claims
               are entitled to vote to accept or reject the Plan.

6.      Class 6 — General Unsecured Claims

        a.     Class 6(a) — Acthar Claims

               (i)     Classification: Class 6(a) consists of all Acthar Claims.



                                           52
Case 20-12522-JTD     Doc 2917       Filed 06/18/21       Page 286 of 835



        (ii)    Treatment: Except to the extent that a Holder of an Allowed Acthar Claim
                agrees to less favorable treatment, in exchange for full and final
                satisfaction, settlement, release, and discharge of each Allowed Acthar
                Claim, each Holder of an Allowed Acthar Claim shall receive its General
                Unsecured Claims Distribution.

        (iii)   Voting: Class 6(a) is Impaired, and Holders of Acthar Claims are entitled
                to vote to accept or reject the Plan.

   b.   Class 6(b) — Generics Price Fixing Claims

        (i)     Classification: Class 6(b) consists of all Generics Price Fixing Claims.

        (ii)    Treatment: Except to the extent that a Holder of an Allowed Generics
                Price Fixing Claim agrees to less favorable treatment, in exchange for full
                and final satisfaction, settlement, release, and discharge of each Allowed
                Generics Price Fixing Claim, each Holder of an Allowed Generics Price
                Fixing Claim shall receive its General Unsecured Claims Distribution.

        (iii)   Voting: Class 6(b) is Impaired, and Holders of Generics Price Fixing
                Claims are entitled to vote to accept or reject the Plan.

   c.   Class 6(c) — Asbestos Claims

        (i)     Classification: Class 6(c) consists of all Asbestos Claims.

        (ii)    Treatment: Except to the extent that a Holder of an Allowed Asbestos
                Claim agrees to less favorable treatment, in exchange for full and final
                satisfaction, settlement, release, and discharge of each Allowed Asbestos
                Claim, each Holder of an Allowed Asbestos Claim shall receive its
                General Unsecured Claims Distribution.

        (iii)   Voting: Class 6(c) is Impaired, and Holders of Asbestos Claims are
                entitled to vote to accept or reject the Plan.

   d.   Class 6(d) — Legacy Unsecured Notes Claims

        (i)     Classification: Class 6(d) consists of all Legacy Unsecured Notes Claims.

        (ii)    Treatment: Except to the extent that a Holder of an Allowed Legacy
                Unsecured Notes Claim agrees to less favorable treatment, in exchange for
                full and final satisfaction, settlement, release, and discharge of each
                Allowed Legacy Unsecured Notes Claim, each Holder of an Allowed
                Legacy Unsecured Notes Claim shall receive its General Unsecured
                Claims Distribution.

        (iii)   Voting: Class 6(d) is Impaired, and Holders of Legacy Unsecured Notes
                Claims are entitled to vote to accept or reject the Plan.

   e.   Class 6(e) — Environmental Claims

        (i)     Classification: Class 6(e) consists of all Environmental Claims.




                                   53
     Case 20-12522-JTD        Doc 2917       Filed 06/18/21       Page 287 of 835



               (ii)    Treatment: Except to the extent that a Holder of an Allowed
                       Environmental Claim agrees to less favorable treatment, in exchange for
                       full and final satisfaction, settlement, release, and discharge of each
                       Allowed Environmental Claim, each Holder of an Allowed Environmental
                       Claim shall receive its General Unsecured Claims Distribution.

               (iii)   Voting: Class 6(e) is Impaired, and Holders of Environmental Claims are
                       entitled to vote to accept or reject the Plan.

        f.     Class 6(f) — Other General Unsecured Claims

               (i)     Classification: Class 6(f) consists of all Other General Unsecured Claims.

               (ii)    Treatment: Except to the extent that a Holder of an Allowed Other General
                       Unsecured Claim agrees to less favorable treatment, in exchange for full
                       and final satisfaction, settlement, release, and discharge of each Allowed
                       Other General Unsecured Claim, each Holder of an Allowed Other
                       General Unsecured Claim shall receive its General Unsecured Claims
                       Distribution.

               (iii)   Voting: Class 6(f) is Impaired, and Holders of Other General Unsecured
                       Claims are entitled to vote to accept or reject the Plan.

7.      Class 7 — Trade Claims

        a.     Classification: Class 7 consists of all Trade Claims.

        b.     Treatment: Except to the extent that a Holder of an Allowed Trade Claim agrees
               to less favorable treatment, in exchange for full and final satisfaction, settlement,
               release, and discharge of each Allowed Trade Claim and as consideration for
               maintaining Favorable Trade Terms, each Holder of an Allowed Trade Claim that
               votes to accept the Plan and agrees to maintain Favorable Trade Terms in
               accordance with the requirements set forth in the Disclosure Statement Order shall
               receive its Pro Rata Share of the Trade Claim Cash Pool up to the Allowed Amount
               of such Claim. If the Holder of an Allowed Trade Claim votes to reject the Plan
               or does not agree to maintain Favorable Trade Terms in accordance with the
               requirements set forth in the Disclosure Statement Order, such Holder shall receive
               its General Unsecured Claims Distribution.

        c.     Voting: Class 7 is Impaired, and Holders of Trade Claims are entitled to vote to
               accept or reject the Plan.

8.      Class 8 — Governmental Opioid Claims

         a.    Class 8(a) — State Opioid Claims

               (i)     Classification: Class 8(a) consists of all State Opioid Claims.

               (ii)    Treatment: As of the Effective Date, all State Opioid Claims shall
                       automatically, and without further act, deed, or court order, be channeled
                       exclusively to, and all of Mallinckrodt’s liability for State Opioid Claims
                       shall be assumed by, the NOAT II. Each State Opioid Claim shall be
                       resolved solely in accordance with the terms, provisions, and procedures



                                           54
Case 20-12522-JTD      Doc 2917       Filed 06/18/21       Page 288 of 835



                of the NOAT II Documents and shall receive a recovery, if any, from the
                State and Municipal Government Opioid Claims Share. The NOAT II
                shall be funded in accordance with the provisions of this Plan. The sole
                recourse of any State Opioid Claimant on account of its State Opioid
                Claim shall be to the NOAT II, and each such State Opioid Claimant shall
                have no right whatsoever at any time to assert its State Opioid Claim
                against any Protected Party, shall be enjoined from filing against any
                Protected Party any future litigation, Claims or Causes of Action arising
                out of or related to such State Opioid Claims, and may not proceed in any
                manner against any Protected Party on account of such State Opioid
                Claims in any forum whatsoever, including any state, federal, or non-U.S.
                court or administrative or arbitral forum. Distributions made by the
                NOAT II in respect of State Opioid Claims shall be used solely for
                Approved Uses, in accordance with the NOAT II Documents.

        (iii)   Voting: Class 8(a) is Impaired, and Holders of State Opioid Claims are
                entitled to vote to accept or reject the Plan.

   b.   Class 8(b) — Municipal Opioid Claims

        (i)     Classification: Class 8(b) consists of all Municipal Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Municipal Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for Municipal Opioid
                Claims shall be assumed by, the NOAT II. Each Municipal Opioid Claim
                shall be resolved solely in accordance with the terms, provisions, and
                procedures of the NOAT II Documents and shall receive a recovery, if
                any, from the State and Municipal Government Opioid Claims Share. The
                NOAT II shall be funded in accordance with the provisions of this Plan.
                The sole recourse of any Municipal Opioid Claimant on account of its
                Municipal Opioid Claim shall be to the NOAT II, and each such Municipal
                Opioid Claimant shall have no right whatsoever at any time to assert its
                Municipal Opioid Claim against any Protected Party, shall be enjoined
                from filing against any Protected Party any future litigation, Claims or
                Causes of Action arising out of or related to such Municipal Opioid
                Claims, and may not proceed in any manner against any Protected Party
                on account of such Municipal Opioid Claims in any forum whatsoever,
                including any state, federal, or non-U.S. court or administrative or arbitral
                forum. Distributions made by the NOAT II in respect of Municipal Opioid
                Claims shall be used solely for Approved Uses, in accordance with the
                NOAT II Documents.

        (iii)   Voting: Class 8(b) is Impaired, and Holders of Municipal Opioid Claims
                are entitled to vote to accept or reject the Plan.

   c.   Class 8(c) — Tribe Opioid Claims

        (i)     Classification: Class 8(c) consists of all Tribe Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Tribe Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled



                                    55
            Case 20-12522-JTD             Doc 2917        Filed 06/18/21         Page 289 of 835



                                   exclusively to, and all of Mallinckrodt’s liability for Tribe Opioid Claims
                                   shall be assumed by, the TAFT II; provided, however, for the avoidance
                                   of doubt, for all purposes of this Plan, all Tribe Opioid Claims shall be
                                   channeled only to the Tribe entity constituting a trust under State law (and
                                   not to any limited liability companies or other Person included within the
                                   definition of TAFT II). Each Tribe Opioid Claim shall be resolved solely
                                   in accordance with the terms, provisions, and procedures of the TAFT II
                                   Documents and shall receive a recovery, if any, from the Tribe Opioid
                                   Claims Share. The TAFT II shall be funded in accordance with the
                                   provisions of this Plan. The sole recourse of any Tribe Opioid Claimant
                                   on account of its Tribe Opioid Claim shall be to the TAFT II, and each
                                   such Tribe Opioid Claimant shall have no right whatsoever at any time to
                                   assert its Tribe Opioid Claim against any Protected Party, shall be enjoined
                                   from filing against any Protected Party any future litigation, Claims or
                                   Causes of Action arising out of or related to such Tribe Opioid Claims,
                                   and may not proceed in any manner against any Protected Party on account
                                   of such Tribe Opioid Claims in any forum whatsoever, including any state,
                                   federal, or non-U.S. court or administrative or arbitral forum.
                                   Distributions made by the TAFT II in respect of Tribe Opioid Claims shall
                                   be used solely for Approved Uses, in accordance with the TAFT II
                                   Documents.

                          (iii)    Voting: Class 8(c) is Impaired, and Holders of Tribe Opioid Claims are
                                   entitled to vote to accept or reject the Plan.
                                                                             3
                 d.       Class 8(d) — U.S. Government Opioid Claims

                          (i)      Classification: Class 8(d) consists of all U.S. Government Opioid Claims.

                          (ii)     Treatment: As of the Effective Date, all U.S. Government Opioid Claims
                                   shall automatically, and without further act, deed, or court order, be
                                   channeled exclusively to, and all of Mallinckrodt’s liability for U.S.
                                   Government Opioid Claims shall be assumed by, the Opioid MDT II.
                                   Each U.S. Government Opioid Claim shall be resolved solely in
                                   accordance with the terms, provisions, and procedures of the Opioid MDT
                                   II Documents and (a) to the extent the holder of each U.S. Government
                                   Opioid Claim agrees to this treatment, each such holder shall receive in
                                   full and final satisfaction, a recovery, if any, from the U.S. Government
                                   Opioid Claims Share and shall not retain their U.S. Government Payor
                                   Statutory Rights and (b) to the extent the holder of each U.S. Government
                                   Opioid Claim does not agree to this treatment, then each such holder shall
                                   receive the treatment set forth in Class 9(h) and each holder of a U.S.
                                   Government Opioid Claim shall retain their U.S. Government Payor
                                   Statutory Rights. The Opioid MDT II shall be funded in accordance with
                                   the provisions of this Plan. The sole recourse of any U.S. Government
                                   Opioid Claimant on account of its U.S. Government Opioid Claim shall
                                   be to the Opioid MDT II, and each such U.S. Government Opioid Claimant
3
    The treatment provided for herein is contingent upon an agreement on allocation being reached in the opioid
    mediation. If no such agreement is reached, Class 8(d) Claims will recover a pro rata share of the Other Opioid
    Claims Share with Class 9(h) Other Opioid Claims. For the avoidance of doubt, Class 8(d) Claims will vote
    pursuant to the Class 8(d) ballot and will not be tabulated as part of, or with, Class 9(h) Other Opioid Claims.


                                                        56
     Case 20-12522-JTD        Doc 2917       Filed 06/18/21       Page 290 of 835



                       shall have no right whatsoever at any time to assert its U.S. Government
                       Opioid Claim against any Protected Party, shall be enjoined from filing
                       against any Protected Party any future litigation, Claims or Causes of
                       Action arising out of or related to such U.S. Government Opioid Claims,
                       and may not proceed in any manner against any Protected Party on account
                       of such U.S. Government Opioid Claims in any forum whatsoever,
                       including any state, federal, or non-U.S. court or administrative or arbitral
                       forum.

               (iii)   Voting: Class 8(d) is Impaired, and Holders of U.S. Government Opioid
                       Claims are entitled to vote to accept or reject the Plan.

9.      Class 9 — Non-Governmental Opioid Claims

        a.     Class 9(a) — Third-Party Payor Opioid Claims

               (i)     Classification: Class 9(a) consists of all Third-Party Payor Opioid Claims.

               (ii)    Treatment: As of the Effective Date, all Third-Party Payor Opioid Claims
                       shall automatically, and without further act, deed, or court order, be
                       channeled exclusively to, and all of Mallinckrodt’s liability for Third-
                       Party Payor Opioid Claims shall be assumed by, the Third-Party Payor
                       Trust. Each Third-Party Payor Opioid Claim shall be resolved solely in
                       accordance with the terms, provisions, and procedures of the Third-Party
                       Payor Trust Documents and shall receive a recovery, if any, from the
                       Third-Party Payor Opioid Claims Share, from which shall be deducted any
                       attorneys’ fees paid in accordance with Article IV.X.8 of the Plan. The
                       Third-Party Payor Trust shall be funded in accordance with the provisions
                       of this Plan, and distributions to the Third-Party Payor Trust shall be made
                       in three equal payments (provided that if the Prepayment Option is
                       exercised after the first payment, subsequent payments will be adjusted
                       accordingly), the first payment made within 5 business days of the date
                       that is 180 days after the Effective Date, and the second and third payments
                       made on the first and second anniversaries of the first payment. The sole
                       recourse of any Third-Party Payor Opioid Claimant on account of its
                       Third-Party Payor Opioid Claim shall be to the Third-Party Payor Trust,
                       and each such Third-Party Payor Opioid Claimant shall have no right
                       whatsoever at any time to assert its Third-Party Payor Opioid Claim
                       against any Protected Party, shall be enjoined from filing against any
                       Protected Party any future litigation, Claims or Causes of Action arising
                       out of or related to such Third-Party Payor Opioid Claims, and may not
                       proceed in any manner against any Protected Party on account of such
                       Third-Party Payor Opioid Claims in any forum whatsoever, including any
                       state, federal, or non-U.S. court or administrative or arbitral forum.
                       Distributions made by the Third-Party Payor Trust shall be used solely for
                       Approved Uses, in accordance with the Third-Party Payor Trust
                       Documents, and shall be subject to the Private Opioid Creditor Trust
                       Deductions and Holdbacks.

               (iii)   Voting: Class 9(a) is Impaired, and Holders of Third-Party Payor Opioid
                       Claims are entitled to vote to accept or reject the Plan.



                                           57
Case 20-12522-JTD     Doc 2917        Filed 06/18/21       Page 291 of 835




   b.   Class 9(b) — PI Opioid Claims

        (i)     Classification: Class 9(b) consists of all PI Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all PI Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for PI Opioid Claims
                shall be assumed by, the PI Trust. Each PI Opioid Claim shall be resolved
                solely in accordance with the terms, provisions, and procedures of the PI
                Trust Documents and shall receive a recovery, if any, from the PI Opioid
                Claims Share, from which shall be deducted any attorneys’ fees paid in
                accordance with Article IV.X.8 of the Plan. The PI Trust shall be funded
                in accordance with the provisions of this Plan. The sole recourse of any
                PI Opioid Claimant on account of its PI Opioid Claim shall be to the PI
                Trust, and each such PI Opioid Claimant shall have no right whatsoever at
                any time to assert its PI Opioid Claim against any Protected Party, shall be
                enjoined from filing against any Protected Party any future litigation,
                Claims or Causes of Action arising out of or related to such PI Opioid
                Claims, and may not proceed in any manner against any Protected Party
                on account of such PI Opioid Claims in any forum whatsoever, including
                any state, federal, or non-U.S. court or administrative or arbitral forum,
                and shall be subject to the Private Opioid Creditor Trust Deductions and
                Holdbacks.

        (iii)   Voting: Class 9(b) is Impaired, and Holders of PI Opioid Claims are
                entitled to vote to accept or reject the Plan.

   c.   Class 9(c) — NAS PI Opioid Claims

        (i)     Classification: Class 9(c) consists of all NAS PI Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all NAS PI Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for NAS PI Opioid
                Claims shall be assumed by, the PI Trust. Each NAS PI Opioid Claim
                shall be resolved solely in accordance with the terms, provisions, and
                procedures of the PI Trust Documents and shall receive a recovery, if any,
                from the NAS PI Opioid Claims Share, from which shall be deducted any
                attorneys’ fees paid in accordance with Article IV.X.8 of the Plan. The PI
                Trust shall be funded in accordance with the provisions of this Plan. The
                sole recourse of any NAS PI Opioid Claimant on account of its NAS PI
                Opioid Claim shall be to the PI Trust, and each such NAS PI Opioid
                Claimant shall have no right whatsoever at any time to assert its NAS PI
                Opioid Claim against any Protected Party, shall be enjoined from filing
                against any Protected Party any future litigation, Claims or Causes of
                Action arising out of or related to such NAS PI Opioid Claims, and may
                not proceed in any manner against any Protected Party on account of such
                NAS PI Opioid Claims in any forum whatsoever, including any state,
                federal, or non-U.S. court or administrative or arbitral forum, and shall be
                subject to the Private Opioid Creditor Trust Deductions and Holdbacks.




                                   58
Case 20-12522-JTD      Doc 2917       Filed 06/18/21       Page 292 of 835



        (iii)   Voting: Class 9(c) is Impaired, and Holders of NAS PI Opioid Claims are
                entitled to vote to accept or reject the Plan.

   d.   Class 9(d) — Hospital Opioid Claims

        (i)     Classification: Class 9(d) consists of all Hospital Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Hospital Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for Hospital Opioid
                Claims shall be assumed by, the Hospital Trust. Each Hospital Opioid
                Claim shall be resolved solely in accordance with the terms, provisions,
                and procedures of the Hospital Trust Documents and shall receive a
                recovery, if any, from the Hospital Opioid Claims Share, from which shall
                be deducted any attorneys’ fees paid in accordance with Article IV.X.8 of
                the Plan. The Hospital Trust shall be funded in accordance with the
                provisions of this Plan. The sole recourse of any Hospital Opioid Claimant
                on account of its Hospital Opioid Claim shall be to the Hospital Trust, and
                each such Hospital Opioid Claimant shall have no right whatsoever at any
                time to assert its Hospital Opioid Claim against any Protected Party, shall
                be enjoined from filing against any Protected Party any future litigation,
                Claims or Causes of Action arising out of or related to such Hospital
                Opioid Claims, and may not proceed in any manner against any Protected
                Party on account of such Hospital Opioid Claims in any forum whatsoever,
                including any state, federal, or non-U.S. court or administrative or arbitral
                forum. Distributions made by the Hospital Trust shall be used solely for
                Approved Uses, in accordance with the Hospital Trust Documents, and
                shall be subject to the Private Opioid Creditor Trust Deductions and
                Holdbacks.

        (iii)   Voting: Class 9(d) is Impaired, and Holders of Hospital Opioid Claims are
                entitled to vote to accept or reject the Plan.

   e.   Class 9(e) — Ratepayer Opioid Claims

        (i)     Classification: Class 9(e) consists of all Ratepayer Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Ratepayer Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for Ratepayer Opioid
                Claims shall be assumed by, the Ratepayer Account. The Ratepayer
                Account will receive a distribution of $3 million in cash from the Opioid
                MDT II on the Opioid MDT II Initial Distribution Date, which amount
                shall be gross of applicable Private Opioid Creditor Trust Deductions and
                Holdbacks, and from which shall be deducted any attorneys’ fees paid in
                accordance with Article IV.X.8 of the Plan. The sole recourse of any
                Ratepayer Opioid Claimant on account of its Ratepayer Opioid Claim shall
                be to the Ratepayer Account, and each such Ratepayer Opioid Claimant
                shall have no right whatsoever at any time to assert its Ratepayer Opioid
                Claim against any Protected Party, shall be enjoined from filing against
                any Protected Party any future litigation, Claims or Causes of Action
                arising out of or related to such Ratepayer Opioid Claims and may not


                                    59
Case 20-12522-JTD     Doc 2917       Filed 06/18/21       Page 293 of 835



                proceed in any manner against any Protected Party on account of such
                Ratepayer Opioid Claims in any forum whatsoever, including any state,
                federal, or non-U.S. court or administrative or arbitral forum.
                Distributions made by the Ratepayer Account shall be used solely for
                Approved Uses (which shall include, solely for the Ratepayer Account,
                contributions to the Truth Initiative Foundation), and shall be subject to
                the Private Opioid Creditor Trust Deductions and Holdbacks.

        (iii)   Voting: Class 9(e) is Impaired, and Holders of Ratepayer Opioid Claims
                are entitled to vote to accept or reject the Plan.

   f.   Class 9(f) — NAS Monitoring Opioid Claims

        (i)     Classification: Class 9(f) consists of all NAS Monitoring Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all NAS Monitoring Opioid Claims
                shall automatically, and without further act, deed, or court order, be
                channeled exclusively to, and all of Mallinckrodt’s liability for NAS
                Monitoring Opioid Claims shall be assumed by, the NAS Monitoring
                Trust. Each NAS Monitoring Opioid Claim shall be resolved solely in
                accordance with the terms, provisions, and procedures of the NAS
                Monitoring Trust Documents. The NAS Monitoring Trust will receive a
                distribution of $1.5 million in cash from the Opioid MDT II on the Opioid
                MDT II Initial Distribution Date, which amount shall be gross of
                applicable Private Opioid Creditor Trust Deductions and Holdbacks, and
                from which shall be deducted any attorneys’ fees paid in accordance with
                Article IV.X.8 of the Plan. The sole recourse of any NAS Monitoring
                Opioid Claimant on account of its NAS Monitoring Opioid Claim shall be
                to the NAS Monitoring Trust, and each such NAS Monitoring Opioid
                Claimant shall have no right whatsoever at any time to assert its NAS
                Monitoring Opioid Claim against any Protected Party, shall be enjoined
                from filing against any Protected Party any future litigation, Claims or
                Causes of Action arising out of or related to such NAS Monitoring Opioid
                Claims, and may not proceed in any manner against any Protected Party
                on account of such NAS Monitoring Opioid Claims in any forum
                whatsoever, including any state, federal, or non-U.S. court or
                administrative or arbitral forum. Distributions made by the NAS
                Monitoring Trust shall be used solely for Approved Uses, in accordance
                with the NAS Monitoring Trust Documents, and shall be subject to the
                Private Opioid Creditor Trust Deductions and Holdbacks.

        (iii)   Voting: Class 9(e) is Impaired, and Holders of NAS Monitoring Opioid
                Claims are entitled to vote to accept or reject the Plan.

   g.   Class 9(g) — Emergency Room Physicians Opioid Claims

        (i)     Classification: Class 9(g) consists of all Emergency Room Physicians
                Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Emergency Room Physicians
                Opioid Claims shall automatically, and without further act, deed, or court
                order, be channeled exclusively to, and all of Mallinckrodt’s liability for



                                   60
Case 20-12522-JTD     Doc 2917       Filed 06/18/21       Page 294 of 835



                Emergency Room Physicians Opioid Claims shall be assumed by, the
                Emergency Room Physicians Trust. Each Emergency Room Physicians
                Opioid Claim shall be resolved solely in accordance with the terms,
                provisions, and procedures of the Emergency Room Physicians Trust
                Documents. The Emergency Room Physicians Trust will receive a
                distribution of $4.5 million in cash from the Opioid MDT II on the Opioid
                MDT II Initial Distribution Date, which amount shall be gross of
                applicable Private Opioid Creditor Trust Deductions and Holdbacks, and
                from which shall be deducted any attorneys’ fees paid in accordance with
                Article IV.X.8 of the Plan. The sole recourse of any Emergency Room
                Physicians Opioid Claimant on account of its Emergency Room
                Physicians Opioid Claim shall be to the Emergency Room Physicians
                Trust, and each such Emergency Room Physicians Opioid Claimant shall
                have no right whatsoever at any time to assert its Emergency Room
                Physicians Opioid Claim against any Protected Party, shall be enjoined
                from filing against any Protected Party any future litigation, Claims or
                Causes of Action arising out of or related to such Emergency Room
                Physicians Opioid Claims, and may not proceed in any manner against any
                Protected Party on account of such Emergency Room Physicians Opioid
                Claims in any forum whatsoever, including any state, federal, or non-U.S.
                court or administrative or arbitral forum. Distributions made by the
                Emergency Room Physicians Trust shall be used solely for Approved
                Uses, in accordance with the Emergency Room Physicians Trust
                Documents, and shall be subject to the Private Opioid Creditor Trust
                Deductions and Holdbacks.

        (iii)   Voting: Class 9(g) is Impaired, and Holders of Emergency Room
                Physicians Opioid Claims are entitled to vote to accept or reject the Plan.

   h.   Class 9(h) — Other Opioid Claims

        (i)     Classification: Class 9(h) consists of all Other Opioid Claims.

        (ii)    Treatment: As of the Effective Date, all Other Opioid Claims shall
                automatically, and without further act, deed, or court order, be channeled
                exclusively to, and all of Mallinckrodt’s liability for Other Opioid Claims
                shall be assumed by, the Opioid MDT II and satisfied solely from the
                Other Opioid Claims Reserve. Each Other Opioid Claim shall be resolved
                solely in accordance with the terms, provisions, and procedures of the
                Opioid MDT II Documents and shall receive a recovery, if any, from the
                Other Opioid Claims Share. The Opioid MDT II and the Other Opioid
                Claims Reserve shall be funded in accordance with the provisions of this
                Plan. The sole recourse of any Other Opioid Claimant on account of its
                Other Opioid Claim shall be to the Other Opioid Claims Reserve, and each
                such Other Opioid Claimant shall have no right whatsoever at any time to
                assert its Other Opioid Claim against any Protected Party, shall be
                enjoined from filing against any Protected Party any future litigation,
                Claims or Causes of Action arising out of or related to such Other Opioid
                Claims, and may not proceed in any manner against any Protected Party
                on account of such Other Opioid Claims in any forum whatsoever,




                                   61
      Case 20-12522-JTD        Doc 2917       Filed 06/18/21       Page 295 of 835



                        including any state, federal, or non-U.S. court or administrative or arbitral
                        forum.

                (iii)   Voting: Class 9(h) is Impaired, and Holders of Other Opioid Claims are
                        entitled to vote to accept or reject the Plan.

         i.     Class 9(i) — No Recovery Opioid Claims

                (iv)    Classification: Class 9(i) consists of all No Recovery Opioid Claims.

                (v)     Treatment: No Recovery Opioid Claims shall be discharged, cancelled,
                        and extinguished on the Effective Date. Each Holder of No Recovery
                        Opioid Claims shall receive no recovery or distribution on account of such
                        No Recovery Opioid Claims. Notwithstanding the foregoing, if a No
                        Recovery Opioid Claim becomes Allowed after the Effective Date under
                        section 502(j) of the Bankruptcy Code, it shall be treated as an Other
                        Opioid Claim.

                (vi)    Voting: Class 9(i) is Impaired and Holders of Class 9(i) No Recovery
                        Opioid Claims are deemed to have rejected the Plan pursuant to section
                        1126(g) of the Bankruptcy Code. Therefore, Holders of Class 9(i) No
                        Recovery Opioid Claims are not entitled to vote to accept or reject the
                        Plan.

10.      Class 10 — Settled Federal/State Acthar Claims

         a.     Classification: Class 10 consists of all Settled Federal/State Acthar Claims.

         b.     Treatment: Except to the extent that a Holder of an Allowed Settled Federal/State
                Acthar Claim agrees to less favorable treatment, in exchange for full and final
                satisfaction, settlement, release, and discharge of each Allowed Settled
                Federal/State Acthar Claim, each Holder of an Allowed Settled Federal/State
                Acthar Claim shall be resolved in accordance with the terms, provisions, and
                procedures of the Federal/State Acthar Settlement Agreements.

         c.     Voting: Class 10 is Impaired, and Holders of Settled Federal/State Acthar Claims
                are entitled to vote to accept or reject the Plan.

11.      Class 11 — Intercompany Claims

         a.     Classification: Class 11 consists of all Intercompany Claims.

         b.     Treatment: No property will be distributed to the Holders of allowed
                Intercompany Claims. Unless otherwise provided for under the Plan, each
                Intercompany Claim will either be Reinstated or canceled and released at the
                option of the Debtors in consultation with the Required Supporting Unsecured
                Noteholders, the Supporting Term Lenders, the Governmental Plaintiff Ad Hoc
                Committee, and the MSGE Group.

         c.     Voting: Class 11 is either (i) Unimpaired and Holders of Class 11 Intercompany
                Claims are conclusively presumed to have accepted the Plan pursuant to section
                1126(f) of the Bankruptcy Code or (ii) Impaired and Holders of Class 11
                Intercompany Claims are deemed to have rejected the Plan pursuant to section



                                            62
              Case 20-12522-JTD        Doc 2917        Filed 06/18/21       Page 296 of 835



                        1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Class 11
                        Intercompany Claims are not entitled to vote to accept or reject the Plan.

        12.      Class 12 — Intercompany Interests

                 a.     Classification: Class 12 consists of all Intercompany Interests.

                 b.     Treatment: No property will be distributed to the Holders of allowed
                        Intercompany Interests. Unless otherwise provided for under the Plan, each
                        Intercompany Interest will either be Reinstated or canceled and released at the
                        option of the Debtors in consultation with the Required Supporting Unsecured
                        Noteholders, the Governmental Plaintiff Ad Hoc Committee, and the MSGE
                        Group.

                 c.     Voting: Class 12 is either (i) Unimpaired and Holders of Class 12 Intercompany
                        Interests are conclusively presumed to have accepted the Plan pursuant to section
                        1126(f) of the Bankruptcy Code or (ii) Impaired and Holders of Class 12
                        Intercompany Interests are deemed to have rejected the Plan pursuant to section
                        1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Class 12
                        Intercompany Interests are not entitled to vote to accept or reject the Plan.

        13.      Class 13 — Subordinated Claims

                 a.     Classification: Class 13 consists of all Subordinated Claims.

                 b.     Treatment: Subordinated Claims shall be discharged, cancelled, and extinguished
                        on the Effective Date. Each Holder of Subordinated Claims shall receive no
                        recovery or distribution on account of such Subordinated Claims.

                 c.     Voting: Class 13 is Impaired and Holders of Class 13 Subordinated Claims are
                        deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
                        Code. Therefore, Holders of Class 13 Subordinated Claims are not entitled to vote
                        to accept or reject the Plan.

        14.      Class 14 — Equity Interests

                 d.     Classification: Class 14 consists of all Equity Interests.

                 e.     Treatment: Holders of Equity Interests shall receive no distribution on account of
                        their Equity Interests. On the Effective Date, all Equity Interests will be canceled
                        and extinguished and will be of no further force or effect.

                 f.     Voting: Class 14 is Impaired and Holders of Class 14 Equity Interests are deemed
                        to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
                        Therefore, Holders of Class 14 Equity Interests are not entitled to vote to accept or
                        reject the Plan.

C.      Acceptance or Rejection of the Plan

        1.       Presumed Acceptance of Plan

       Claims in Classes 1 and 2(a) are Unimpaired under the Plan and their Holders are conclusively
presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders



                                                     63
             Case 20-12522-JTD             Doc 2917        Filed 06/18/21        Page 297 of 835



of Claims and Interests in Classes 1 and 2(a) are not entitled to vote on the Plan and the votes of such
                               4
Holders shall not be solicited.

        2.       Voting Classes

         Claims in Classes 2(b)-(c), 3, 4, 5, 6(a)-(f), 7, 8(a)-(d), 9(a)-(h), and 10 are Impaired under the Plan
and the Holders of Allowed Claims in all such Classes are entitled to vote to accept or reject the Plan,
                                                              5
including by acting through a Voting Representative. For purposes of determining acceptance and
rejection of the Plan, each such Class (including each Class identified by a number and letter) will be
regarded as a separate voting Class and votes will be tabulated on a Debtor-by-Debtor basis.

         An Impaired Class of Claims shall have accepted this Plan if (a) the Holders, including Holders
acting through a Voting Representative, of at least two-thirds (2/3) in amount of Claims actually voting in
such Class have voted to accept this Plan and (b) the Holders, including Holders acting through a Voting
Representative, of more than one-half (1/2) in number of Claims actually voting in such Class have voted
to accept this Plan. Holders of Claims in Classes 2(b)-(c), 3, 4, 5, 6(a)-(f), 7, 8(a)-(d), 9(a)-(h), and 10 (or,
if applicable, the Voting Representatives of such Holders) shall receive ballots containing detailed voting
instructions. For the avoidance of doubt, pursuant to and except as otherwise provided in the Disclosure
Statement Order, each Claim in (x) Classes 8(a)-(d) and 9(a)-(h) and (y) any other Class entitled to vote to
accept or reject the Plan that is not Allowed pursuant to the Plan and, in each case, is wholly contingent,
unliquidated, or disputed (based on the face of such Proof of Claim or as determined upon the review of the
Debtors), in each case, shall be accorded one (1) vote and valued at one dollar ($1.00) for voting purposes
only, and not for purposes of Allowance or distribution. Based on the foregoing sentence, Classes 8(a)-(d)
and 9(a)-(h) shall be deemed to have accepted this Plan if the Holders, including Holders acting through a
Voting Representative, of at least two-thirds (2/3) in number of Claims actually voting in such Class have
voted to accept the Plan.

        3.       Deemed Rejection of the Plan

        Claims and Interests in Classes 9(i), 13, and 14 are Impaired under the Plan and their Holders shall
receive no distributions under the Plan on account of their Claims or Interests (as applicable) and are
deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders
of Claims and Interests in Classes 9(i), 13, and 14 are not entitled to vote on the Plan and the votes of such
Holders shall not be solicited.

        4.       Presumed Acceptance of the Plan or Deemed Rejection of the Plan

        Claims and Interests in Classes 11 and 12 are either (a) Unimpaired and are, therefore, conclusively
presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code, or (b) Impaired
and shall receive no distributions under the Plan and are, therefore, deemed to have rejected the Plan
pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims and Interests in Classes
11 and 12 are not entitled to vote on the Plan and votes of such Holders shall not be solicited.




4
    The Plan provides for potential treatment which would render Claims in Classes 2(b), 2(c), 3, and 4 Unimpaired,
    in which case such Claims would be conclusively presumed to accept the Plan, and Holders of such Claims would
    not be entitled to vote.
5
    Holders of Claims in Class 2(b), Class 2(c), Class 3, and Class 4 are entitled to vote, but the Plan provides for
    potential treatment which would render these Claims Unimpaired, in which case such Claims would be
    conclusively presumed to accept the Plan, and any votes by Holders of such Claims will be moot and disregarded.


                                                        64
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 298 of 835



D.      Confirmation Pursuant to Section 1129(a)(10) of the Bankruptcy Code

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
acceptance of the Plan by an Impaired Class of Claims. The Debtors shall seek Confirmation pursuant to
section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The
Debtors reserve the right to modify the Plan in accordance with Article XI of the Plan to the extent, if any,
that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by
modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims or
Interests Unimpaired to the extent permitted by the Bankruptcy Code and Bankruptcy Rules.

E.      Subordinated Claims

         The allowance, classification, and treatment of all Allowed Claims and Interests, and the respective
distributions and treatments under the Plan, shall take into account and conform to the relative priority and
rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
section 510 of the Bankruptcy Code, or otherwise; provided that, notwithstanding the foregoing, such
Allowed Claims or Interests and their respective treatments set forth herein shall not be subject to setoff,
demand, recharacterization, turnover, disgorgement, avoidance, or other similar rights of recovery asserted
by any Person. Pursuant to section 510 of the Bankruptcy Code, except where otherwise provided herein,
the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Interest in accordance with
any contractual, legal, or equitable subordination rights relating thereto.

F.      Special Provision Governing Unimpaired Claims

        Except as otherwise provided herein, nothing under the Plan shall affect or limit the Debtors’ or
the Reorganized Debtors’ rights and defenses (whether legal or equitable) in respect of any Unimpaired
Claims, including, without limitation, all rights in respect of legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.

G.      Vacant and Abstaining Classes

        Any Class of Claims or Interests that is not occupied as of the commencement of the Confirmation
Hearing by an Allowed Claim or Allowed Interest or a Claim or Interest temporarily Allowed under
Bankruptcy Rule 3018 shall be deemed eliminated from the Plan for purposes of voting to accept or reject
the Plan and for purposes of determining acceptance or rejection of the Plan by such Class pursuant to
section 1129(a)(8) of the Bankruptcy Code. Moreover, any Class of Claims that is occupied as of the
commencement of the Confirmation Hearing by an Allowed Claim or a Claim temporarily Allowed under
Bankruptcy Rule 3018, but as to which no vote is cast, shall be deemed to accept the Plan pursuant to
section 1129(a)(8) of the Bankruptcy Code.

H.      Intercompany Interests and Intercompany Claims

         To the extent Intercompany Interests and Intercompany Claims are Reinstated under the Plan,
distributions on account of such Intercompany Interests and Intercompany Claims are not being received
by Holders of such Intercompany Interests or Intercompany Interests on account of their Intercompany
Interests or Intercompany Claims, but for the purposes of administrative convenience and to maintain the
Debtors’ (and their Affiliate-subsidiaries) corporate structure, for the ultimate benefit of the Holders of New
Mallinckrodt Ordinary Shares, to preserve ordinary course intercompany operations, and in exchange for
the Debtors’ and Reorganized Debtors’ agreement under the Plan to make certain distributions to the
Holders of Allowed Claims.



                                                      65
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 299 of 835



I.      New Credit Facilities

         For the avoidance of doubt and notwithstanding anything to the contrary herein, to the extent
incurred prior to the Effective Date, the New Credit Facilities shall survive the Effective Date and shall not
be entitled to treatment within any Class set forth herein.

                                                  Article IV.

                          MEANS FOR IMPLEMENTATION OF THE PLAN

A.      General Settlement of Claims and Interests

         In consideration for the classification, distributions, releases, and other benefits provided under the
Plan, on the Effective Date, the provisions of the Plan shall constitute a set of integrated, good-faith
compromises and settlements of all Claims, Interests, Causes of Action and controversies resolved pursuant
to the Plan. The Plan shall be deemed a motion by the Debtors to approve such compromises and
settlements pursuant to Bankruptcy Rule 9019 and section 1123 of the Bankruptcy Code, and the entry of
the Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromises and
settlements under Bankruptcy Rule 9019 and section 1123 of the Bankruptcy Code, as well as a finding by
the Bankruptcy Court that such integrated compromises or settlements are in the best interests of the
Debtors, their Estates and Holders of Claims and Interests, and are fair, equitable and within the range of
reasonableness. Subject to Article VI, distributions made to Holders of Allowed Claims and Allowed
Interests in any Class are intended to be and shall be final and indefeasible and shall not be subject to
avoidance, turnover, or recovery by any other Person.

B.      Restructuring Transactions

          On or prior to the Effective Date or as soon as reasonably practicable thereafter, the Reorganized
Debtors shall, consistent with the terms of the Restructuring Support Agreement and subject to the
applicable consent and approval rights thereunder, take all actions as may be necessary or appropriate to
effect any transaction described in, approved by, contemplated by or necessary to effectuate the
Restructuring Transactions (including any transaction described in, approved by, contemplated by, or
necessary to effectuate the Plan), and as set forth in the Restructuring Transactions Memorandum,
including: (a) the creation of NewCo and/or any NewCo Subsidiaries that may, at the Debtors’ or
Reorganized Debtors’ option in consultation with the Supporting Parties, acquire all or substantially all the
assets of one or more of the Debtors; (b) the execution and delivery of appropriate agreements or other
documents of sale, merger, consolidation, or reorganization containing terms that are consistent with the
terms of the Plan and that satisfy the requirements of applicable law; (c) the execution and delivery of the
Transfer Agreement and any other appropriate instruments of transfer, assignment, assumption, or
delegation of any property, right, liability, duty, or obligation on terms consistent with the terms of the Plan;
(d) the filing of appropriate certificates of incorporation, merger, migration, consolidation, or other
organizational documents with the appropriate governmental authorities pursuant to applicable law; and
(e) all other actions that the Reorganized Debtors determine are necessary or appropriate.

         The Restructuring Transactions shall not (a) adversely affect the recoveries under the Plan of
(i) holders of Guaranteed Unsecured Notes Claims without the consent of the Required Supporting
Unsecured Noteholders or (ii) the holders of Opioid Claims without the consent of the Governmental
Plaintiff Ad Hoc Committee and the MSGE Group, or (b) materially adversely affect the rights or recoveries
under the Plan of the holders of First Lien Term Loan Claims without the consent of the Required
Supporting Term Lenders.




                                                       66
             Case 20-12522-JTD             Doc 2917        Filed 06/18/21         Page 300 of 835



         The Confirmation Order shall and shall be deemed to, pursuant to both section 1123 and section 363
of the Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to
effect any transaction described in, approved by, contemplated by, or necessary to effectuate Restructuring
Transactions (including any transaction described in, approved by, contemplated by, or necessary to
effectuate the Plan).

C.       Corporate Existence

        Except as otherwise provided in the Plan, each Debtor shall continue to exist after the Effective
Date as a separate corporate Entity, limited liability company, partnership, or other form, as the case may
be, with all the powers of a corporation, limited liability company, partnership, or other form, as the case
may be, pursuant to the applicable law in the jurisdiction in which each Debtor is incorporated or formed
and pursuant to the respective memorandum and articles of association, certificate of incorporation and
bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent such
memorandum and articles of association, certificate of incorporation and bylaws (or other formation
documents) are amended by the Plan, by the Debtors, or otherwise, and to the extent such documents are
amended, such documents are deemed to be amended pursuant to the Plan and require no further action or
approval (other than any requisite filings required under applicable state, provincial, or federal law).

D.       Vesting of Assets in the Reorganized Debtors

         Except as otherwise provided in the Plan or any agreement, instrument, or other document
incorporated herein, including the Restructuring Transactions Memorandum, on the Effective Date, all
property of each Debtor’s Estate, including (a) all Causes of Action other than (i) the Assigned Third-Party
Claims, and (ii) the Assigned Insurance Rights, and (b) any property acquired by any of the Debtors
pursuant to the Plan, in each case, shall vest in each respective Reorganized Debtor, free and clear of all
Liens, Claims, charges, or other encumbrances. On and after the Effective Date, except as otherwise
provided in the Plan and the Opioid Operating Injunction, each Reorganized Debtor may operate its
business and may use, acquire, encumber, or dispose of property and compromise or settle any Claims,
Interests, or Causes of Action without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules, including for the avoidance of doubt any
restrictions on the use, acquisition, sale, lease, or disposal of property under section 363 of the Bankruptcy
Code.

       Reorganized Mallinckrodt shall not, and neither shall any of its other subsidiaries, other than the
Reorganized VI-Specific Debtors, be involved in the sale or distribution of opioids classified as DEA
                                    6
Schedule II–IV drugs in the future.

E.       Indemnification Provisions in Organizational Documents

         As of the Effective Date, each Reorganized Debtor’s memorandum and articles of association,
bylaws, and other New Governance Documents shall, to the fullest extent permitted by applicable law,
provide for the indemnification, defense, reimbursement, exculpation, and/or limitation of liability of, and
advancement of fees and expenses to, current and former managers, directors, officers, equity holders,
members, employees, accountants, investment bankers, attorneys, other professionals, or agents of the
Debtors and such current and former managers’, directors’, officers’, equity holders’, members’,
employees’, accountants’, investment bankers’, attorneys’, other professionals’ and agents’ respective
Affiliates to the same extent as set forth in the Indemnification Provisions, against any claims or causes of

6
     This paragraph is qualified in its entirety by the Voluntary Injunction and the Opioid Operating Injunction, and
     in the event of any inconsistency between this section and the Voluntary Injunction and the Opioid Operating
     Injunction, the Voluntary Injunction and the Opioid Operating Injunction, as applicable, will govern.


                                                         67
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 301 of 835



action whether direct or derivative, liquidated or unliquidated, fixed, or contingent, disputed or undisputed,
matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted. None of the
Reorganized Debtors shall amend and/or restate its memorandum and articles of association, certificate of
incorporation, bylaws, or similar organizational document after the Effective Date to terminate or adversely
affect, in relation to conduct occurring prior to the Effective Date, (1) any of the Indemnification Provisions
or (2) the rights of such current and former managers, directors, officers, equity holders, members,
employees, or agents of the Debtors and such current and former managers’, directors’, officers’, equity
holders’, members’, employees’, and agents’ respective Affiliates referred to in the immediately preceding
sentence.

F.      Cancellation of Notes, Instruments, Certificates, Agreements, and Equity Interests

          Except as otherwise provided for in the Plan and/or, as the case may be, the Scheme of
 Arrangement, on the later of the Effective Date and the date on which the relevant distributions are made
 pursuant to Article VI and without further notice to or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule or any requirement of further action, vote or other approval or
 authorization by any Person or Entity: (1) (a) the obligations of the Debtors under the First Lien Credit
 Agreement, the Guaranteed Unsecured Notes Indentures, the 2013 Notes Indenture, the 1992 Ludlow
 Debentures Indenture, and the 1993 Ludlow Debentures Indenture, the Guaranteed Unsecured Notes, the
 4.75% Senior Notes due 2023, the 8.00% Debentures due March 2023, the 9.5% Debentures due May
 2022, and any other note, bond, indenture, or other instrument or document directly or indirectly
 evidencing or creating any indebtedness of the Debtors and (b) any certificate, equity security, share,
 purchase right, option, warrant, or other instrument or document directly or indirectly evidencing or
 creating an ownership interest in the Debtors shall be cancelled solely as to the Debtors and their
 Affiliates, and the Reorganized Debtors and their Affiliates shall not have any continuing obligations
 thereunder; and (2) the obligations of the Debtors and their Affiliates pursuant, relating or pertaining to
 any agreements, indentures, certificates of designation, bylaws or certificate or articles of incorporation
 or similar documents governing the shares, certificates, notes, bonds, indentures, purchase rights,
 options, or other instruments or documents evidencing or creating any indebtedness or obligation of or
 ownership interest in the Debtors shall be released, terminated, extinguished, and discharged; except that
 the foregoing shall not affect any Intercompany Interests elected to be Reinstated in accordance with the
 Plan; provided, that the First Lien Credit Agreement, Guaranteed Unsecured Notes Indentures, and the
 Legacy Unsecured Notes Indentures and each agreement or other document related thereto, as applicable,
 will continue in effect for the limited purpose of allowing Holders of First Lien Credit Agreement Claims,
 Holders of Guaranteed Unsecured Notes Claims, and Holders of Legacy Unsecured Notes Claims
 thereunder, respectively, to receive, and allowing and preserving the rights of the First Lien Agent, the
 Guaranteed Unsecured Notes Indenture Trustee, the Legacy Unsecured Notes Indenture Trustee or other
 applicable Distribution Agents thereunder to make, or cause to be made the distributions under this Plan
 to the applicable Holders; provided, further, that, upon completion of the distribution with respect to a
 specific First Lien Credit Agreement Claim or, in the case of the Guaranteed Unsecured Notes Claims
 or the Legacy Unsecured Notes Claims, pursuant to Article VI.D.4 in respect of the distributions on the
 specific Allowed Guaranteed Unsecured Notes Claims or Allowed Legacy Unsecured Notes Claims, the
 First Lien Credit Agreement, the Guaranteed Unsecured Notes Indenture, or the Legacy Unsecured Notes
 Indentures in connection thereto and any and all documents, notes, securities and instruments issued in
 connection with the First Lien Credit Agreement Claim, such Guaranteed Unsecured Notes Claim, or
 such Legacy Unsecured Notes Claims, as applicable, shall terminate completely without further notice
 or action and be deemed surrendered; provided, further, that the Guaranteed Unsecured Notes Indentures
 and the Legacy Unsecured Notes Indentures and all documents, notes securities and instruments issued
 in connection therewith shall continue in effect for the limited purpose of allowing and preserving the
 rights, privileges, benefits, indemnities and protections of the Guaranteed Unsecured Notes Indenture
 Trustee and the Legacy Unsecured Notes Indenture Trustee (each acting in any capacity, including as a



                                                      68
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 302 of 835



 Distribution Agent) thereunder, including, without limitation, permitting the Guaranteed Unsecured
 Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee to exercise any lien granted
 to it under the applicable Guaranteed Unsecured Notes Indenture or Legacy Unsecured Notes Indenture
 against such distributions for payment of any fees and expenses of the Guaranteed Unsecured Notes
 Indenture Trustee or the Legacy Unsecured Notes Indenture Trustee, including any unpaid portion of the
 Indenture Trustee Fees. For the avoidance of doubt, nothing contained in this Plan or the Confirmation
 Order shall in any way limit or affect the standing of the First Lien Agent, the Guaranteed Unsecured
 Notes Indenture Trustee, or the Legacy Unsecured Notes Indenture Trustee to appear and be heard in the
 Chapter 11 Cases or any other proceeding in which they are or may become party on and after the
 Effective Date, to enforce any provisions of this Plan or otherwise. For the avoidance of doubt and
 notwithstanding anything to the contrary herein, to the extent incurred prior to the Effective Date, the
 New Credit Facilities shall survive the Effective Date and shall not be terminated in accordance herewith.

G.      Sources for Plan Distributions and Transfers of Funds Among Debtors

         The Debtors shall fund Cash distributions under the Plan with Cash on hand, including Cash from
operations, and the proceeds of the New Term Loan Facility. Cash payments to be made pursuant to the
Plan will be made by the Reorganized Debtors in accordance with Article VI. Subject to any applicable
limitations set forth in any post-Effective Date agreement (including the New Governance Documents), the
Reorganized Debtors will be entitled to transfer funds between and among themselves as they determine to
be necessary or appropriate to enable the Reorganized Debtors to satisfy their obligations under the Plan.
Except as set forth herein, any changes in intercompany account balances resulting from such transfers will
be accounted for and settled in accordance with the Debtors’ historical intercompany account settlement
practices and will not violate the terms of the Plan.

         From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations
set forth in any post-Effective Date agreement (including the New Governance Documents, the New
Takeback Term Loans Documentation, and the Takeback Second Lien Notes Documentation), shall have
the right and authority without further order of the Bankruptcy Court to raise additional capital and obtain
additional financing in accordance with, and subject to, applicable law.

H.      New Credit Facilities, New Takeback Term Loans, Takeback Second Lien Notes, Cram-Down
        First Lien Notes, and Cram-Down Second Lien Notes

                      1.      The New Credit Facilities and Approval of the New Term Loan
                Documentation and New AR Revolving Facility Documentation

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
shall be deemed to constitute authorization and approval by the Bankruptcy Court (a) of the New Credit
Facilities, (b) of the New Term Loan Documentation and New AR Revolving Facility Documentation
(including all transactions contemplated thereby, and all actions to be taken, undertakings to be made and
obligations to be incurred by the Reorganized Debtors in connection therewith, including the payment of
all fees, indemnities and expenses provided for therein), and (c) subject to the occurrence of the Effective
Date, for the applicable Reorganized Debtors to enter into and perform their obligations under the New
Term Loan Documentation and New AR Revolving Facility Documentation and such other documents as
may be reasonably required or appropriate. For the avoidance of doubt, if the New Takeback Term Loans
are issued pursuant to the Plan, the incurrence of (x) the New Term Loan Facility shall utilize the baskets
for Revolver Replacement Term Loans (as defined in the Supporting Term Lenders Joinder Agreement)
and may use other baskets (solely to the extent available) and (y) the New AR Revolving Facility shall
utilize the baskets for Qualified Receivables Facilities (as defined in the Supporting Term Lenders Joinder
Agreement) and may use other baskets (solely to the extent available), in each case, set forth in and subject




                                                     69
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 303 of 835



to the negative covenants limiting the incurrence of indebtedness and liens under the New Takeback Term
Loan Documentation.

          On the Effective Date, the New Term Loan Documentation and New AR Revolving Facility
Documentation shall constitute legal, valid, binding, and authorized obligations of the Reorganized
Debtors, enforceable in accordance with their terms. The financial accommodations to be extended
pursuant to the New Term Loan Documentation and New AR Revolving Facility Documentation are being
extended, and shall be deemed to have been extended, in good faith, for legitimate business purposes, are
reasonable, shall not be subject to avoidance, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever, and shall not constitute preferential transfers, fraudulent
conveyances, or other voidable transfers under the Bankruptcy Code or any other applicable non-
bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted under the New
Term Loan Documentation and New AR Revolving Facility Documentation (1) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
New Term Loan Documentation and New AR Revolving Facility Documentation (and with the priority set
forth therein), (2) shall be deemed automatically perfected on the Effective Date, and (3) shall not be subject
to avoidance, recharacterization, or subordination (including equitable subordination) for any purposes
whatsoever and shall not constitute preferential transfers, fraudulent conveyances, or other voidable
transfers under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and
the Entities granting such Liens and security interests are authorized to make all filings and recordings, and
to obtain all governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, provincial, federal, or other law (whether domestic or
foreign) that would be applicable in the absence of the Plan and the Confirmation Order (it being understood
that perfection shall occur automatically by virtue of the entry of the Confirmation Order, and any such
filings, recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all
other filings and recordings that otherwise would be necessary under applicable law to give notice of such
Liens and security interests to third parties.

        For the avoidance of doubt, subject to the entry of an order of the Bankruptcy Court approving such
incurrence, either or both of the New Credit Facilities may be incurred by the Debtors as debtor-in-
possession financing prior to the Effective Date. To the extent incurred by the Debtors prior to the Effective
Date, such New Credit Facilities shall survive the occurrence of the Effective Date in accordance with the
terms of this Plan.

                       2.      New Takeback Term Loans and Approval of New Takeback Term Loans
                 Documentation

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
shall be deemed to constitute approval by the Bankruptcy Court of the New Takeback Term Loans and the
New Takeback Term Loans Documentation (including all transactions contemplated thereby, and all
actions to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
connection therewith, including the incurrence of Liens securing the New Takeback Term Loans and the
payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the occurrence
of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and perform their
obligations under the New Takeback Term Loans Documentation and such other documents as may be
reasonably required or appropriate.

        On the Effective Date, the New Takeback Term Loans Documentation shall constitute legal, valid,
binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their terms.
The financial accommodations to be extended pursuant to the New Takeback Term Loans Documentation
are being extended, and shall be deemed to have been extended, and all related payments made in
connection therewith shall have been made, in each case, in good faith, for legitimate business purposes,


                                                      70
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 304 of 835



are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or subordination
(including equitable subordination) for any purposes whatsoever, and shall not constitute preferential
transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other
applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted
under the New Takeback Term Loans Documentation (1) shall be legal, binding, and enforceable Liens on,
and security interests in, the collateral granted in accordance with the terms of the New Takeback Term
Loans Documentation, shall be pari passu in priority to any Liens and security interests securing the First
Lien Notes or the Cram-Down First Lien Notes (as applicable) and shall rank senior in priority to any Liens
and security interests securing the Takeback Second Lien Notes and the Second Lien Notes or the Cram-
Down Second Lien Notes (as applicable), (2) shall be deemed automatically perfected on the Effective
Date, and (3) shall not be subject to avoidance, recovery, turnover, recharacterization, or subordination
(including equitable subordination) for any purposes whatsoever and shall not constitute preferential
transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any applicable
non-bankruptcy law. The Reorganized Debtors and the Entities granting such Liens and security interests
are authorized to make all filings and recordings, and to obtain all governmental approvals and consents
necessary to establish and perfect such Liens and security interests under the provisions of the applicable
state, provincial, federal, or other law (whether domestic or foreign) that would be applicable in the absence
of the Plan and the Confirmation Order (it being understood that perfection shall occur automatically by
virtue of the entry of the Confirmation Order, and any such filings, recordings, approvals, and consents
shall not be required), and will thereafter cooperate to make all other filings and recordings that otherwise
would be necessary under applicable law to give notice of such Liens and security interests to third parties.

                       3.    Takeback Second Lien Notes and Approval of Takeback Second Lien
                Notes Documentation

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
shall be deemed to constitute approval by the Bankruptcy Court of the Takeback Second Lien Notes and
the Takeback Second Lien Notes Documentation (including all transactions contemplated thereby, and all
actions to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
connection therewith, including the incurrence of Liens securing the Takeback Second Lien Notes and the
payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the occurrence
of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and perform their
obligations under the Takeback Second Lien Notes Documentation and such other documents as may be
reasonably required or appropriate.

         On the Effective Date, the Takeback Second Lien Notes Documentation shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their
terms. The financial accommodations to be extended pursuant to the Takeback Second Lien Notes
Documentation are being extended, and shall be deemed to have been extended, and all related payments
made in connection therewith shall have been made, in each case, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to
be granted under the Takeback Second Lien Notes Documentation (1) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
Takeback Second Lien Notes Documentation, shall be pari passu in priority to any Liens and security
interests securing the Second Lien Notes or the Cram-Down Second Lien Notes (as applicable), and shall
be junior in priority to any Liens and security interests securing the New Takeback Term Loans and the
First Lien Notes or the Cram-Down First Lien Notes (as applicable), (2) shall be deemed automatically
perfected on the Effective Date, and (3) shall not be subject to avoidance, recovery, turnover,



                                                     71
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 305 of 835



recharacterization, or subordination (including equitable subordination) for any purposes whatsoever and
shall not constitute preferential transfers, fraudulent conveyances, or other voidable transfers under the
Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors and the Entities
granting such Liens and security interests are authorized to make all filings and recordings, and to obtain
all governmental approvals and consents necessary to establish and perfect such Liens and security interests
under the provisions of the applicable state, provincial, federal, or other law (whether domestic or foreign)
that would be applicable in the absence of the Plan and the Confirmation Order (it being understood that
perfection shall occur automatically by virtue of the entry of the Confirmation Order, and any such filings,
recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable law to give notice of such Liens
and security interests to third parties.

                        4.    Cram-Down First Lien Notes and Approval of Cram-Down First Lien
                 Notes Documentation

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
shall be deemed to constitute approval by the Bankruptcy Court of the Cram-Down First Lien Notes and
the Cram-Down First Lien Notes Documentation (including all transactions contemplated thereby, and all
actions to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors in
connection therewith, including the incurrence of Liens securing the Cram-Down First Lien Notes and the
payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the occurrence
of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and perform their
obligations under the Cram-Down First Lien Notes Documentation and such other documents as may be
reasonably required or appropriate.

          On the Effective Date, the Cram-Down First Lien Notes Documentation shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their
terms. The financial accommodations to be extended pursuant to the Cram-Down First Lien Notes
Documentation are being extended, and shall be deemed to have been extended, and all related payments
made in connection therewith shall have been made, in each case, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to
be granted under the Cram-Down First Lien Notes Documentation (1) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
Cram-Down First Lien Notes Documentation, shall be pari passu in priority to any Liens and security
interests securing the New Takeback Term Loans, and shall rank senior in priority to any Liens and security
interests securing the Takeback Second Lien Notes and the Second Lien Notes or the Cram-Down Second
Lien Notes (as applicable), (2) shall be deemed automatically perfected on the Effective Date, and (3) shall
not be subject to avoidance, recovery, turnover, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever and shall not constitute preferential transfers, fraudulent
conveyances, or other voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy law.
The Reorganized Debtors and the Entities granting such Liens and security interests are authorized to make
all filings and recordings, and to obtain all governmental approvals and consents necessary to establish and
perfect such Liens and security interests under the provisions of the applicable state, provincial, federal, or
other law (whether domestic or foreign) that would be applicable in the absence of the Plan and the
Confirmation Order (it being understood that perfection shall occur automatically by virtue of the entry of
the Confirmation Order, and any such filings, recordings, approvals, and consents shall not be required),
and will thereafter cooperate to make all other filings and recordings that otherwise would be necessary
under applicable law to give notice of such Liens and security interests to third parties.



                                                      72
             Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 306 of 835



                        5.     Cram-Down Second Lien Notes and Approval of Cram-Down Second
                 Lien Notes Documentation

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of the Plan
shall be deemed to constitute approval by the Bankruptcy Court of the Cram-Down Second Lien Notes and
the Cram-Down Second Lien Notes Documentation (including all transactions contemplated thereby, and
all actions to be taken, undertakings to be made and obligations to be incurred by the Reorganized Debtors
in connection therewith, including the incurrence of Liens securing the Cram-Down Second Lien Notes and
the payment of all fees, payments, indemnities and expenses provided for therein) and, subject to the
occurrence of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and
perform their obligations under the Cram-Down Second Lien Notes Documentation and such other
documents as may be reasonably required or appropriate.

          On the Effective Date, the Cram-Down Second Lien Notes Documentation shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtors, enforceable in accordance with their
terms. The financial accommodations to be extended pursuant to the Cram-Down Second Lien Notes
Documentation are being extended, and shall be deemed to have been extended, and all related payments
made in connection therewith shall have been made, in each case, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or
subordination (including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or
any other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to
be granted under the Cram-Down Second Lien Notes Documentation (1) shall be legal, binding, and
enforceable Liens on, and security interests in, the collateral granted in accordance with the terms of the
Cram-Down Second Lien Notes Documentation, shall be pari passu in priority to any Liens and security
interests securing the Takeback Second Lien Notes, and shall rank junior in priority to any Liens and
security interests securing the New Takeback Term Loans and the First Lien Notes or the Cram-Down First
Lien Notes (as applicable), (2) shall be deemed automatically perfected on the Effective Date, and (3) shall
not be subject to avoidance, recovery, turnover, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever and shall not constitute preferential transfers, fraudulent
conveyances, or other voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy law.
The Reorganized Debtors and the Entities granting such Liens and security interests are authorized to make
all filings and recordings, and to obtain all governmental approvals and consents necessary to establish and
perfect such Liens and security interests under the provisions of the applicable state, provincial, federal, or
other law (whether domestic or foreign) that would be applicable in the absence of the Plan and the
Confirmation Order (it being understood that perfection shall occur automatically by virtue of the entry of
the Confirmation Order, and any such filings, recordings, approvals, and consents shall not be required),
and will thereafter cooperate to make all other filings and recordings that otherwise would be necessary
under applicable law to give notice of such Liens and security interests to third parties.

I.      Reorganized Debtors’ Ownership

        1.       New Mallinckrodt Ordinary Shares and New Opioid Warrants

        On the Effective Date, Reorganized Mallinckrodt shall (a) issue or reserve for issuance all of the
New Mallinckrodt Ordinary Shares (including all New Mallinckrodt Ordinary Shares issuable upon
exercise of the New Opioid Warrants as of the Effective Date, without regard to any limitations on the
exercise of the New Opioid Warrants) issuable in accordance with the terms of the Plan and, where
applicable, the Scheme of Arrangement and as set forth in the Restructuring Transactions Memorandum
and (b) enter into the New Opioid Warrant Agreement and issue all of the New Opioid Warrants to the




                                                      73
              Case 20-12522-JTD           Doc 2917        Filed 06/18/21        Page 307 of 835



                                                             7
Opioid MDT II in accordance with the terms of the Plan. The issuance of the New Mallinckrodt Ordinary
Shares (including any New Mallinckrodt Ordinary Shares issuable upon exercise of the New Opioid
Warrants as of the Effective Date, without regard to any limitations on the exercise of the New Opioid
Warrants) and any New Opioid Warrants by Reorganized Mallinckrodt pursuant to the Plan is authorized
without the need for further corporate or other action or any consent or approval of any national securities
exchange upon which the New Mallinckrodt Ordinary Shares shall be listed on or immediately following
the Effective Date. All of the New Mallinckrodt Ordinary Shares (including, when issued, any New
Mallinckrodt Ordinary Shares issuable upon exercise of the New Opioid Warrants as of the Effective Date,
without regard to any limitations on the exercise of the New Opioid Warrants) issued or issuable pursuant
to the Plan shall be duly authorized, validly issued, fully paid, and non-assessable. The New Opioid
Warrants and the New Opioid Warrant Agreement shall be valid and binding obligations of Reorganized
Mallinckrodt, enforceable in accordance with their respective terms.

         2.      Registration Rights Agreement

        On the Effective Date, Reorganized Mallinckrodt and certain Holders of the New Mallinckrodt
Ordinary Shares (including the New Mallinckrodt Ordinary Shares issuable upon the exercise of the New
Opioid Warrants) shall enter into the Registration Rights Agreement in substantially the form included in
the Plan Supplement. The Registration Rights Agreement shall be deemed to be valid, binding, and
enforceable in accordance with its terms.

         3.      Certain Debtors Subject to Dissolution

        As to any Debtors identified as being subject to this Article IV.I.3 in the Restructuring Transactions
Memorandum, the Debtors shall take such steps as are necessary or advisable to provide, as of the Effective
Date, (a) for a new equity interest holder or holders (either as to each such Debtor individually or as to all
such Debtors together) (i) to receive and hold all new equity interests in such Debtors and (ii) to manage
the dissolution of such Debtors after consummation of all distributions to the Holders of Claims against
such Debtors contemplated by the Plan and (b) for any necessary or advisable changes to the organizational
documents of such Debtors in furtherance of their contemplated dissolution.

J.       Exemption from Registration Requirements

         The offering, issuance, and distribution of any Securities, including the New Mallinckrodt Ordinary
Shares (including any New Mallinckrodt Ordinary Shares issuable upon the exercise of the New Opioid
Warrants) and the New Opioid Warrants in exchange for Claims pursuant to Article III of the Plan and the
Confirmation Order and, where applicable, in accordance with the terms of the Scheme of Arrangement
and the Confirmation Order shall be exempt from, among other things, the registration requirements of
Section 5 of the Securities Act pursuant to section 1145 of the Bankruptcy Code. Any and all such New
Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon exercise of
the New Opioid Warrants) and New Opioid Warrants so issued under the Plan and, where applicable, the
Scheme of Arrangement, will be freely tradable under the Securities Act by the recipients thereof, subject
to: (1) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an
underwriter in Section 2(a)(11) of the Securities Act, and compliance with any applicable state or foreign
securities laws, if any, and any rules and regulations of the SEC, if any, applicable at the time of any future
transfer of such Securities or instruments; (2) the restrictions, if any, on the transferability of such Securities
and instruments; and (3) any other applicable regulatory approval.



7
     The Opioid MDT II may not be the owner of the New Opioid Warrants for tax purposes, but may hold the New
     Opioid Warrants as agent or trustee for its beneficiaries.


                                                        74
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 308 of 835



        The Reorganized Debtors need not provide any further evidence other than the Plan, the
Confirmation Order, the Scheme of Arrangement, or the Irish Confirmation Order with respect to the
treatment of the New Mallinckrodt Ordinary Shares or New Opioid Warrants under applicable securities
laws.

         Notwithstanding anything to the contrary in the Plan, no Person or Entity (including, for the
avoidance of doubt, DTC) shall be entitled to require a legal opinion regarding the validity of any
transaction contemplated by the Plan, including, for the avoidance of doubt, whether the Takeback Second
Lien Notes, the Cram-Down First Lien Notes or Cram-Down Second Lien Notes (if any), the New
Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary Shares issuable upon exercise of
the New Opioid Warrants), and the New Opioid Warrants are exempt from registration and/or eligible for
DTC book-entry delivery, settlement, and depository services. All such Persons and Entities including
DTC shall be required to accept and conclusively rely upon the Plan, the Confirmation Order, the Scheme
of Arrangement, or the Irish Confirmation Order in lieu of a legal opinion regarding whether the Takeback
Second Lien Notes, the New Mallinckrodt Ordinary Shares (including any New Mallinckrodt Ordinary
Shares issuable upon exercise of the New Opioid Warrants), and the New Opioid Warrants are exempt from
registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

K.      Organizational Documents

        Subject to Articles IV.E and IV.F of the Plan, the Reorganized Debtors shall enter into such
agreements and amend their corporate governance documents to the extent necessary to implement the
terms and provisions of the Plan. Without limiting the generality of the foregoing, as of the Effective Date,
each of the Reorganized Debtors shall be governed by the New Governance Documents applicable to it.
From and after the Effective Date, the organizational documents of each of the Reorganized Debtors will
comply with section 1123(a)(6) of the Bankruptcy Code, as applicable. On or immediately before the
Effective Date, each Reorganized Debtor will file its New Governance Documents with the applicable
Secretary of State and/or other applicable authorities in its jurisdiction of incorporation or formation in
accordance with applicable laws of its jurisdiction of incorporation or formation, to the extent required for
such New Governance Documents to become effective.

L.      Exemption from Certain Transfer Taxes and Recording Fees

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer from a
Debtor to a Reorganized Debtor or to any Entity pursuant to, in contemplation of, or in connection with the
Plan or pursuant to: (1) the issuance, distribution, transfer, or exchange of any debt, securities, or other
interest in the Debtors or the Reorganized Debtors; (2) the creation, modification, consolidation, or
recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means; (3) the making, assignment, or recording of any lease or sublease; or
(4) the making, delivery, or recording of any deed or other instrument of transfer under, in furtherance of,
or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument of
transfer executed in connection with any transaction arising out of, contemplated by, or in any way related
to the Plan, shall not be subject to any U.S. federal, state, or local document recording tax, stamp tax,
conveyance fee, intangibles, or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax,
Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax
or governmental assessment, and the appropriate U.S. state or local governmental officials or agents shall
forego the collection of any such tax or governmental assessment and accept for filing and recordation any
of the foregoing instruments or other documents without the payment of any such tax or governmental
assessment.




                                                     75
             Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 309 of 835



M.      Directors and Officers of the Reorganized Debtors

        1.       The Reorganized Board

         Prior to the Effective Date, the Debtors will undertake any necessary or advisable steps to have the
Reorganized Board in place immediately prior to the Effective Date. The occurrence of the Effective Date
will serve as ratification of the appointment of the Reorganized Board.

         The Reorganized Board will initially consist of at least seven (7) members, which shall be
comprised of the Chief Executive Officer of the Reorganized Debtors, and six (6) other directors, which
shall be designated by the Required Supporting Unsecured Noteholders and approved by the then existing
board of directors, or if the then existing board of directors does not so approve, the Reorganized Board
will be deemed duly appointed pursuant to the Plan; provided, that, the members of the Reorganized Board,
other than the Reorganized Debtors’ Chief Executive Officer, shall be independent under applicable listing
standards and shall be independent of the Supporting Unsecured Noteholders, unless the Governmental
Plaintiff Ad Hoc Committee, the MSGE Group, and the Debtors otherwise consent. Pursuant to section
1129(a)(5) of the Bankruptcy Code, the Debtors will disclose in advance of Confirmation, solely to the
extent such Persons are known and determined, the identity and affiliations of any Person proposed to serve
on the Reorganized Board. The occurrence of the Effective Date shall have no effect on the composition
of the board of directors or managers of each of the subsidiary Debtors.

        2.       Senior Management

         The existing officers of the Debtors as of the Effective Date shall remain in their current capacities
as officers of the Reorganized Debtors, subject to the ordinary rights and powers of the Reorganized Board
to remove or replace them in accordance with the New Governance Documents and any applicable
employment agreements that are assumed pursuant to the Plan.

        3.       Management Incentive Plan

      On the Effective Date, equity grants under the Management Incentive Plan shall be reserved for
management, key employees, and directors of the Reorganized Debtors.

        4.       Disinterested Managers

         Following the Effective Date, the Disinterested Managers shall retain authority solely with respect
to matters related to Professional Fee Claim requests by Professionals acting at their authority and direction
in accordance with the terms of the Plan. The Disinterested Managers, in such capacity, shall not have any
of their respective privileged and confidential documents, communications or information transferred (or
deemed transferred) to the Reorganized Debtors.

N.      Directors and Officers Insurance Policies

        On the Effective Date the Reorganized Debtors shall be deemed to have assumed all of the Debtors’
D&O Liability Insurance Policies (including any “tail policy” and all agreements, documents, or
instruments related thereto) in effect prior to the Effective Date pursuant to sections 105 and 365(a) of the
Bankruptcy Code, without the need for any further notice to or action, order, or approval of the Bankruptcy
Court. Confirmation of the Plan shall not discharge, impair, or otherwise modify any indemnity obligations
assumed by the foregoing assumption of the D&O Liability Insurance Policies, and each such indemnity
obligation will be deemed and treated as an Executory Contract that has been assumed by the Debtors under
the Plan as to which no Proof of Claim need be Filed. The Debtors and, after the Effective Date, the
Reorganized Debtors shall retain the ability to supplement such D&O Liability Insurance Policies as the
Debtors or Reorganized Debtors, as applicable, may deem necessary and in consultation with the Required


                                                      76
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 310 of 835



Supporting Unsecured Noteholders. For the avoidance of doubt, entry of the Confirmation Order will
constitute the Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing assumption of each of
the unexpired D&O Liability Insurance Policies.

         In addition, subject to the Additional Insurance Rights, on or after the Effective Date, none of the
Reorganized Debtors shall terminate or otherwise reduce the coverage under any D&O Liability Insurance
Policies (including any “tail policy” and all agreements, documents, or instruments related thereto) in effect
on or prior to the Effective Date, with respect to conduct occurring prior thereto, and all current and former
directors, officers, and managers of the Debtors who served in such capacity at any time prior to the
Effective Date shall be entitled to the full benefits of any such policies for the full term of such policies
regardless of whether such current and former directors, officers, and managers remain in such positions
after the Effective Date, all in accordance with the terms and conditions of the D&O Liability Insurance
Policies, which shall not be altered.

O.      Preservation of Rights of Action

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to the releases set forth in
this section and in Article IX below, all Causes of Action other than the Assigned Third-Party Claims and
the Assigned Insurance Rights that a Debtor may hold against any Entity shall vest in the applicable
Reorganized Debtor on the Effective Date. Thereafter, the Reorganized Debtors shall have the exclusive
right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action other than the Assigned
Third-Party Claims, and the Assigned Insurance Rights, whether arising before or after the Petition Date,
and to decline to do any of the foregoing without the consent or approval of any third party or further notice
to or action, order, or approval of the Bankruptcy Court. No Entity may rely on the absence of a specific
reference in the Plan, the Plan Supplement, or the Disclosure Statement to any specific Cause of
Action as any indication that the Debtors, the Reorganized Debtors, or the Opioid MDT II will not
pursue any and all available Causes of Action. The Debtors, the Reorganized Debtors, and the Opioid
MDT II expressly reserve all rights to prosecute any and all Causes of Action against any Entity,
except as otherwise expressly provided in the Plan, and, therefore, no preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable
or otherwise) or laches, shall apply to any Cause of Action upon, after, or as a consequence of the
Confirmation or the occurrence of the Effective Date.

        Notwithstanding any provision in the Plan or any order entered in these Chapter 11 Cases, as of
and after the Effective Date, the Debtors and Reorganized Debtors forever waive, relinquish, and release
any and all Causes of Action the Debtors and their Estates had, have, or may have (1) against any Released
Party, or (2) that arise under section 547 of the Bankruptcy Code (and analogous non-bankruptcy law)
against any Holder of a Trade Claim on account of such Trade Claims.

P.      Corporate Action

         1.      Upon the Effective Date, all actions contemplated by the Plan and the Scheme of
Arrangement shall be deemed authorized, approved, and, to the extent taken prior to the Effective Date,
ratified without any requirement for further action by Holders of Claims or Interests, directors, managers,
or officers of the Debtors, the Reorganized Debtors, or any other Entity, including: (1) assumption and
rejection (as applicable) of Executory Contracts and Unexpired Leases; (2) selection of the directors,
managers, and officers for the Reorganized Debtors; (3) the execution of the New Governance Documents,
the Opioid MDT II Documents, the Opioid Creditor Trust Documents, the New Opioid Warrant Agreement,
the Federal/State Acthar Settlement Agreements, the New Term Loan Documentation, the New AR
Revolving Facility Documentation, the Takeback Second Lien Notes Documentation, the Management
Incentive Plan, the Opioid Operating Injunction, the Registration Rights Agreement and, if applicable, the


                                                       77
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 311 of 835



New Takeback Term Loans Documentation, the Cram-Down First Lien Notes Documentation and the
Cram-Down Second Lien Notes Documentation; (4) the issuance and delivery of the New Mallinckrodt
Ordinary Shares, Takeback Second Lien Notes, New Opioid Warrants, and, if applicable, the New
Takeback Term Loans, the Cram-Down First Lien Notes, and the Cram-Down Second Lien Notes;
(5) implementation of the Restructuring Transactions, and (6) all other acts or actions contemplated, or
reasonably necessary or appropriate to promptly consummate the transactions contemplated by the Plan
(whether to occur before, on, or after the Effective Date). All matters provided for in the Plan involving
the company structure of the Debtors, and any company action required by the Debtors in connection
therewith, shall be deemed to have occurred on, and shall be in effect as of, the Effective Date, without any
requirement of further action by the security holders, directors, managers, authorized persons, or officers
of the Debtors.

         2.       Prior to, on and after the Effective Date, the appropriate officers, directors, managers, or
authorized persons of the Debtors, Reorganized Mallinckrodt, or any direct or indirect subsidiaries of
Reorganized Mallinckrodt (including any president, vice-president, chief executive officer, treasurer,
general counsel, secretary, or chief financial officer thereof) shall be authorized and directed to issue,
execute, and deliver the agreements, documents, securities, memoranda and articles of association,
certificates of incorporation, certificates of formation, bylaws, operating agreements, other organization
documents, and instruments contemplated by the Plan (or necessary or desirable to effect the transactions
contemplated by the Plan) in the name of and on behalf of the applicable Debtors or applicable Reorganized
Debtors, including the (1) New Governance Documents, (2) Opioid MDT II Documents and Opioid
Creditor Trust Documents, (3) New Opioid Warrant Agreement, (4) Takeback Second Lien Notes
Documentation, (5) New Term Loan Documentation, (6) New AR Revolving Facility Documentation, (7)
New Takeback Term Loans Documentation, (8) Cram-Down First Lien Notes Documentation, if
applicable, (9) Cram-Down Second Lien Notes Documentation, if applicable, and (10) any and all other
agreements, documents, securities, and instruments relating to or contemplated by the foregoing. Prior to
or on the Effective Date, each of the Debtors is authorized, in its sole discretion, to change its name or
corporate form and to take such other action as required to effectuate a change of name or corporate form
in the jurisdiction of incorporation of the applicable Debtor or Reorganized Debtor. To the extent the
Debtors change their names or corporate form prior to the closing of the Chapter 11 Cases, the Debtors
shall change the case captions accordingly.

Q.      Effectuating Documents; Further Transactions

         Prior to, on, and after the Effective Date, the Debtors and Reorganized Debtors and the directors,
managers, officers, authorized persons, and members of the boards of directors or managers and directors
thereof, are authorized to and may issue, execute, deliver, file, or record such contracts, securities, notes,
instruments, certificates, releases, and other agreements or documents and take such actions as may be
necessary or appropriate to effectuate, implement, and further evidence the terms and provisions of the
Plan, the New Governance Documents, the Opioid MDT II Documents, the Opioid Creditor Trust
Documents, the New Opioid Warrant Agreement, the Federal/State Acthar Settlement Agreements, and any
Securities issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, without the
need for any approvals, authorizations, actions, or consents except for those expressly required pursuant to
the Plan or the Restructuring Support Agreement. For the avoidance of doubt, the New Governance
Documents shall ensure that the Reorganized Debtors are able to issue the number of New Mallinckrodt
Ordinary Shares needed to satisfy obligations of the General Unsecured Claims Recovery Pool.

R.      Listing of New Mallinckrodt Ordinary Shares

        The Debtors’ board of directors shall use commercially reasonable efforts to list the New
Mallinckrodt Ordinary Shares for trading on the NASDAQ Capital Market, the NASDAQ Global Market,
or the New York Stock Exchange on the Effective Date. If no such listing has occurred as of the Effective


                                                     78
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 312 of 835



Date, following the Effective Date and subject to the terms and conditions of the New Governance
Documents, the Reorganized Board will direct the Reorganized Debtors to list the New Mallinckrodt
Ordinary Shares for trading on the NASDAQ Capital Market, the NASDAQ Global Market, or the New
York Stock Exchange as soon as reasonably practicable after the Effective Date.

S.      Payment of Fees and Expenses of the Supporting Parties and Indenture Trustee Fees

        Notwithstanding anything to the contrary contained in the Restructuring Expenses Order, on the
Effective Date, the Reorganized Debtors shall pay the Noteholder Consent Fee and the Term Loan Exit
Payment pursuant to the terms of the Restructuring Support Agreement.

         On the Effective Date with respect to invoices delivered prior to the Effective Date in accordance
with the procedures in the following sentence (the “Invoiced Restructuring Expenses”)) or as soon as
reasonably practicable thereafter (with respect to all other Restructuring Expenses other than the Invoiced
Restructuring Expenses), the Reorganized Debtors shall pay in Cash the Restructuring Expenses. All
Restructuring Expenses to be paid on the Effective Date shall be estimated prior to and as of the Effective
Date and such estimates shall be delivered to the Debtors at least five (5) Business Days before the
anticipated Effective Date; provided, however, that such estimates shall not be considered an admission by
any party or limitation with respect to such Restructuring Expenses. In addition, the Debtors and the
Reorganized Debtors (as applicable) shall continue to pay pre- and post-Effective Date, when due and
payable in the ordinary course, Restructuring Expenses and Post Effective Date Implementation Expenses,
as applicable, related to implementation, consummation, and defense of the Plan, whether incurred before,
on, or after the Effective Date. Notwithstanding anything to the contrary in the Plan, the Restructuring
Expenses shall not be subject to the Administrative Claims Bar Date. To the extent any person entitled to
reimbursement of Restructuring Expenses or Post Effective Date Implementation Expenses is holding a
retainer, such person shall be entitled to continue to hold such retainer until payment in full in Cash by the
Reorganized Debtors of such person’s Restructuring Expenses and Post Effective Date Implementation
Expenses; provided that such retainer shall be applied to pay for such Restructuring Expenses unless such
person elects, in its sole discretion, to keep a portion of such retainer solely to the extent needed to cover
Restructuring Expenses in excess of any estimates provided in accordance with this paragraph and any
reasonably expected Post Effective Date Implementation Expenses, and following the payment of
Restructuring Expenses and Post Effective Date Implementation Expenses (if any), on reasonable request
of the Debtors, the professionals shall return the remainder of the retainer to the Debtors.

        On the Effective Date or as soon as reasonably practicable thereafter and upon the presentment of
invoices in customary form (which may be redacted to preserve any confidential or privileged information),
the Reorganized Debtors shall pay in Cash the Indenture Trustee Fees (whether accrued prepetition or
postpetition, whether before or after the Effective Date of this Plan and to the extent not otherwise paid
during the Chapter 11 Cases), without the need for application by any party to the Bankruptcy Court, and
without notice and a hearing pursuant to section 1129(a)(4) of the Bankruptcy Code or otherwise. From
and after the Effective Date, the Reorganized Debtors will pay any Indenture Trustee Fees in full in Cash
without further court approval.

T.      Creation of the Opioid MDT II

        On or prior to the Effective Date, the Debtors shall take all necessary steps to establish the Opioid
MDT II in accordance with the Plan and the Opioid MDT II Documents. As of the Effective Date, the
Opioid MDT II Documents shall be executed by the Debtors and the Opioid MDT II Trustee(s), and the
Opioid MDT II shall be created. The Opioid MDT II is intended to be a “qualified settlement fund” within
the meaning of the Treasury Regulations issued under section 468B of the Internal Revenue Code. The
purpose of the Opioid MDT II shall be to, among other things: (1) resolve all asserted Opioid Claims
(including Opioid Demands) channeled to the Opioid MDT II in accordance with the Plan, Opioid MDT II


                                                     79
             Case 20-12522-JTD          Doc 2917       Filed 06/18/21       Page 313 of 835



Documents, and the Confirmation Order; (2) preserve, hold, collect, manage, maximize, and liquidate the
assets of the Opioid MDT II for use in resolving Opioid Claims (including Opioid Demands) channeled to
the Opioid MDT II and funding the Opioid Creditor Trusts; (3) enforce, pursue, prosecute, compromise,
and/or settle the Assigned Third-Party Claims and Assigned Insurance Rights; (4) pay all Trust Expenses
as provided, and defined, in the Opioid MDT II Documents (for which the Reorganized Debtors and the
Released Parties shall have no responsibility or liability); (5) pay any and all administration and operating
expenses of the Opioid MDT II, including the fees and expenses of any professionals retained by the Opioid
MDT II; and (6) qualify at all times as a qualified settlement fund.

U.      Appointment and Obligations of Opioid MDT II Trustee(s)

        1.      Appointment of the Opioid MDT II Trustee(s)

        The appointment of the initial Opioid MDT II Trustee(s) will be approved in the Confirmation
Order, and effective as of the Effective Date, in accordance with the Opioid MDT II Documents, the
individual(s) selected as the Opioid MDT II Trustee(s) shall be appointed to serve as the Opioid MDT II
Trustee(s) for the Opioid MDT II.

         There will be three initial Opioid MDT II Trustee(s), which shall be selected by the Governmental
Plaintiff Ad Hoc Committee and the MSGE Group in consultation with the Debtors, and the identity of the
initial Opioid MDT II Trustee(s) shall be disclosed in the Plan Supplement.

        2.      Obligations of the Opioid MDT II Trustee(s)

        The Opioid MDT II Trustees shall take into account the interests of, and owe fiduciary duties to,
each of the Opioid Creditor Trusts (including the Private Opioid Creditor Trusts and the Public Opioid
Creditor Trusts) in making all decisions on behalf of the Opioid MDT II. In furtherance thereof:

                a.       to the extent there are any disputes raised by any Opioid Creditor Trust regarding
                         the operation of the Opioid MDT II or the actions of the Opioid MDT II Trustees,
                         (A) any Opioid Creditor Trustee shall have the right to seek resolution by the
                         Bankruptcy Court of such a dispute, including seeking to enjoin any disputed
                         action by the Opioid MDT II, and all Opioid MDT II Trustees and Opioid Creditor
                         Trustees shall have the right to be heard with regard to any such dispute, including
                         by filing objections, declarations, statements in support or other pleadings
                         (including with supporting evidence) or providing witness testimony at any
                         hearing and (B) the Bankruptcy Court shall have exclusive jurisdiction to hear and
                         resolve any such disputes, and shall be authorized to order appropriate relief
                         (subject to the provisions of this Article IV.U.2 and make a determination in an
                         expedited manner, and in all events, shall make such a decision within thirty (30)
                         days from the request for relief;

                b.       upon the payment in full in Cash of a Private Opioid Creditor Trust’s respective
                         distribution, the Opioid MDT II shall have no further fiduciary duties to such
                         Private Opioid Creditor Trust, and the Opioid Creditor Trustees of such Private
                         Opioid Creditor Trust shall have no further rights to commence or participate in
                         any action relating to the operations of the Opioid MDT II or the actions of the
                         Opioid MDT II Trustees;

                c.       Opioid MDT II Trustees shall (A) provide reasonable reporting to each of the
                         Opioid Creditor Trusts regarding the Opioid MDT II Trustees’ activities at least
                         every four (4) months (both cumulatively and in the period just ended), any


                                                     80
             Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 314 of 835



                         insurance proceedings, assets (including the value thereof), expenditures,
                         distributions and forward-looking projections (subject to appropriate limitations to
                         be agreed by the Debtors, the Governmental Plaintiff Ad Hoc Committee, the
                         MSGE Group, and the OCC) and (B) make themselves reasonably available (in
                         addition to holding at least one (1) call every four (4) months for the Opioid
                         Creditor Trustees) to answer questions of Opioid Creditor Trustees relating to the
                         Opioid MDT II Trustees’ activities;

                 d.      the Opioid MDT II Trustees shall be obligated to comply with the terms of the
                         Plan, including this Article IV.U.2, and Opioid MDT II Trust Documents; and

                 e.      in the event of any inconsistency between the terms of this Article IV.U.2 and any
                         other provision of this Plan or Opioid MDT II Trust Documents, the terms of this
                         Article IV.U.2 shall govern unless the Opioid MDT II Trustees and the Opioid
                         Creditor Trustees for each of the Opioid Creditor Trusts mutually agree.

V.      Settlements of Opioid Claims

        1.       Non-Precedential Effect for Holders of Opioid Claims

         This Plan, the Plan Supplement, and the Confirmation Order constitute a good faith full and final
comprehensive compromise and settlement of Opioid Claims and controversies based upon the unique
circumstances of these Chapter 11 Cases (such as the unique facts and circumstances relating to these
Debtors as compared to other defendants in the general opioid litigations, and the need for an accelerated
resolution without litigation) such that (i) none of the foregoing documents, nor any materials used in
furtherance of Confirmation (including, but not limited to, the Disclosure Statement, and any notes related
to, and drafts of, such documents and materials), may be offered into evidence, deemed an admission, used
as precedent, or used by any party or Person in any context whatsoever beyond the purposes of this Plan,
in any other litigation or proceeding except as necessary, and as admissible in such context, to enforce their
terms and to evidence the terms of the Plan before the Bankruptcy Court or any other court of competent
jurisdiction, and (ii) any obligation by any party, in furtherance of such compromise and settlement, to not
exercise rights that might be otherwise applicable to such party shall be understood to be an obligation
solely in connection with this specific compromise and settlement and to be inapplicable in the absence of
such compromise and settlement. This Plan, the Plan Supplement, and the Confirmation Order will be
binding as to the matters and issues described therein, but will not be binding with respect to similar matters
or issues that might arise in any other litigation or proceeding involving Opioid Claims in which none of
the Debtors, the Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts is a party; provided
that such litigation or proceeding is not to enforce or evidence the terms of the Plan, the Plan Supplement,
or the Confirmation Order. Any Opioid Claimants’ support of, or position or action taken in connection
with, this Plan, the Plan Supplement, and the Confirmation Order may differ from his position or testimony
in any other litigation or proceeding except in connection with these Chapter 11 Cases. Further, the
treatment of Opioid Claims as set forth in this Plan is not intended to serve as an example for, or represent
the parties’ respective positions or views concerning any other chapter 11 cases relating to opioid products,
nor shall it be used as precedent by any Entity or party in any other chapter 11 cases related to opioid
products.

        2.       Transferability of Opioid Claim Distribution Rights

         Any right of a Holder of an Opioid Claim to receive a distribution or other payment from the Opioid
MDT II or the Opioid Creditor Trusts on account of an Opioid Claim shall not be evidenced by any
certificate, security, receipt or in any other form or manner whatsoever, except on the books and records of
the Debtors, Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts, as applicable. Further,


                                                      81
             Case 20-12522-JTD           Doc 2917        Filed 06/18/21       Page 315 of 835



any right of a Holder of an Opioid Claim to receive a Distribution or other payment from the Debtors,
Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts on account of an Opioid Claim
shall be nontransferable and nonassignable except by will, intestate, succession or operation of law. Any
rights of Holders of Opioid Claims to receive a Distribution or other payment from the Debtors,
Reorganized Debtors, the Opioid MDT II, or the Opioid Creditor Trusts on account of Opioid Claims shall
not constitute “securities” and shall not be registered pursuant to the Securities Act. If it is determined that
such rights constitute “securities,” the exemption provisions of section 1145(a)(1) of the Bankruptcy Code
would be satisfied and such securities would be exempt from registration.

W.      Transfers of Property to and Assumption of Certain Liabilities by the Opioid MDT II

        1.       Transfer of Books and Records to the Opioid MDT II

         On the Effective Date or as soon thereafter as is reasonably practicable, the Reorganized Debtors
shall transfer and assign, or cause to be transferred and assigned, to the Opioid MDT II copies of all books
and records necessary for, and for the sole purpose of enabling and to the extent necessary to enable, the
defense of Opioid Claims (including Opioid Demands) in accordance with the Cooperation Agreement,
including, for the avoidance of doubt, both privileged and non-privileged documents; provided, that, after
the transfer of such books and records the Debtors or the Reorganized Debtors may destroy copies of such
books and records in accordance with their record management policies. The transfer of any privileged
books and records provided to the Opioid MDT II necessary for the defense of Opioid Claims (including
Opioid Demands) shall not result in the destruction or waiver of any applicable privileges pertaining to such
books and records. No documents or communications subject to a privilege shall be publicly disclosed by
the Opioid MDT II or communicated to any person not entitled to receive such information or in a manner
that would diminish the protected status of such information, unless such disclosure or communication is
reasonably necessary to defend the Opioid Claims (including Opioid Demands). Further, pursuant to the
Plan and the Confirmation Order, none of the Debtors, the Reorganized Debtors, any of the Debtors’ or the
Reorganized Debtors’ Affiliates or the Disinterested Managers shall be liable for violating any
confidentiality or privacy protections as a result of transferring the books and records to the Opioid MDT
II in accordance with the Cooperation Agreement, and the Opioid MDT II, upon receipt of the books and
records, shall take appropriate steps to comply with any such applicable protections.

        2.       Funding the Opioid MDT II

                 a.      Opioid MDT II Funding Amount

        The Opioid MDT II shall be funded solely by the Opioid MDT II Consideration. On the Effective
Date, the obligations to provide the Opioid MDT II Consideration shall constitute legal, valid, binding, and
authorized obligations of the applicable Reorganized Debtors, enforceable in accordance with the terms
hereof. The financial accommodations to be extended in connection with the Opioid MDT II Consideration
are being extended, and shall be deemed to have been extended, in good faith, for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recharacterization, or subordination (including
equitable subordination) for any purposes whatsoever, and shall not constitute preferential transfers,
fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other applicable
non-bankruptcy law.

                 b.      Payments to the Opioid MDT II

       On the Effective Date, the Debtors and/or the Reorganized Debtors will make the Initial Opioid
MDT II Payment, and thereafter, the Reorganized Debtors or Reorganized Mallinckrodt will make each of
the Opioid Deferred Cash Payments subject to the Prepayment Option; provided after any sale of (i)
Mallinckrodt Enterprises Holdings, Inc. and its subsidiaries (including, for the avoidance of doubt, its


                                                      82
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 316 of 835



successors and assigns) or (ii) a material portion of their assets or businesses (including as a result of a
merger, equity sale, or asset sale), subject to compliance with the Debtors’ covenants under the agreements
governing their funded indebtedness (as may be modified from time to time), 50% of the “net proceeds” of
such sale (after, for the avoidance of doubt, compliance with then-existing covenants) shall be paid to the
Opioid MDT II; and the amount of such net proceeds actually conveyed to the Opioid MDT II will be
deemed a ratable repayment against the remaining Opioid Deferred Cash Payments that the Opioid MDT
II is entitled to receive. For the avoidance of doubt, the Debtors will not be under any obligation to
undertake any such sale on any particular timeframe. The Debtors intend that payments to the Opioid MDT
II (whenever made, and from whatever source) will constitute “restitution . . . for damage or harm” within
the meaning of Section 162(f) of the Internal Revenue Code, and will be so characterized for U.S. federal
income tax purposes to the extent such payments are made to or at the direction of a government or
governmental entity. For the avoidance of doubt, the foregoing sentence is intended to apply to the tax
characterization of payments to the Opioid MDT II on account of Opioid Claims, and such tax
characterization shall not be construed to be dispositive for any non-tax purpose. Nor shall such tax
characterization be construed to mean that Debtors’ payments satisfy the full extent of the liability
associated with Opioid Claims, the satisfaction of which remains a valuable right assigned to the Opioid
MDT II, nor that the remaining liability associated with Opioid Claims seeks restitution as a form of relief.

                c.       New Opioid Warrants

         On the Effective Date, Reorganized Mallinckrodt shall issue, and the Debtors shall cause to be
                                                           8
transferred, the New Opioid Warrants to the Opioid MDT II.

                d.       Assigned Third-Party Claims and Assigned Insurance Rights

         As of the Effective Date, the Debtors and/or the Reorganized Debtors shall be deemed to have
assigned the Assigned Third-Party Claims and the Assigned Insurance Rights to the Opioid MDT II;
provided, that the exercise of remedies (including rights of setoff and/or recoupment) by non-Debtor third
parties against the Debtors or Reorganized Debtors (but not the Opioid MDT II) on account of any Assigned
Third-Party Claims shall be enjoined and barred.

        The Reorganized Debtors shall transfer and assign, or cause to be transferred and assigned, to the
Opioid MDT II copies of books and records necessary for, and for the sole purpose of enabling and to the
extent necessary to enable, the prosecution of the Assigned Third-Party Claims and the Assigned Insurance
Rights in accordance with the Cooperation Agreement, including, for the avoidance of doubt, both
privileged and non-privileged documents; provided, that, after the transfer of such books and records the
Debtors or the Reorganized Debtors may destroy copies of such books and records in accordance with their
record management policies. Such transfer shall not result in the destruction or waiver of any applicable
privileges pertaining to such books and records. No documents or communications subject to a privilege
shall be publicly disclosed by the Opioid MDT II or communicated to any person not entitled to receive
such information or in a manner that would diminish the protected status of such information, unless such
disclosure or communication is reasonably necessary to preserve, secure, prosecute, or obtain the benefit
of the Assigned Third-Party Claims and Assigned Insurance Rights.

        The Opioid MDT II shall be authorized to conduct Rule 2004 examinations, to the fullest extent
permitted thereunder, to investigate the Assigned Third-Party Claims and the Assigned Insurance Rights,
without the requirement of filing a motion for such authorization; provided, however, that no such Rule
2004 examinations shall be taken of the Debtors, the Reorganized Debtors, or any of their respective then-

8
    The Opioid MDT II may not be the owner of the New Opioid Warrants for tax purposes, but may hold the New
    Opioid Warrants as agent or trustee for its beneficiaries.


                                                     83
             Case 20-12522-JTD          Doc 2917        Filed 06/18/21      Page 317 of 835



current or former employees, officers, directors or Representatives without further order of the Bankruptcy
Court (if the Chapter 11 Cases remain open) after notice and an opportunity to object and be heard.
Notwithstanding the foregoing, (i) employees, officers, directors or Representatives of Medtronic plc and/or
its subsidiaries, and each of their predecessors, successors, and assigns, are not exempt from Rule 2004
examinations, and nothing herein shall interfere with the obligations of the Debtors, the Reorganized
Debtors, or any of their respective then-current or former employees, officers, directors or Representatives
to cooperate with the Opioid MDT II as set forth herein and in the Cooperation Agreement. For the
avoidance of doubt, in the context of an actual pending litigation or contested matter, the rules of discovery
applicable to such litigation or contested matter will control.

         In implementing the assignment of the Assigned Insurance Rights, the Debtors or the Reorganized
Debtors, on the one hand, and the Governmental Plaintiff Ad Hoc Committee and the MSGE Group or the
Opioid MDT II, on the other hand, shall cooperate and negotiate in good faith concerning (x) treatment of
unsatisfied self-insured retentions under the applicable Insurance Contracts with the objective of
minimizing adverse consequences to Mallinckrodt, Reorganized Mallinckrodt, and the Opioid MDT II (it
being understood that the foregoing obligation shall not require the Debtors or Reorganized Debtors to
satisfy all or any portion of any such self-insured retentions) and (y) any actions by the Debtors,
Reorganized Debtors, or the Opioid MDT II to pursue or preserve the Insurance Contracts relating to the
Assigned Insurance Rights.

        3.      Assigned Third-Party Claims and Assigned Insurance Rights Cooperation

        During the pendency of the Chapter 11 Cases, the Debtors shall use reasonable best efforts to
cooperate with counsel to the Governmental Plaintiff Ad Hoc Committee and counsel to the MSGE Group
in connection with their investigation, preservation, pursuit, and securing of the Assigned Third-Party
Claims and Assigned Insurance Rights, including by providing non-privileged information (including,
without limitation, data, documents, emails, and access to individuals with information), at the reasonable
request of counsel to the Governmental Plaintiff Ad Hoc Committee and counsel to the MSGE Group.

         The Debtors shall use reasonable best efforts to provide all available, non-privileged information
relating to the Assigned Third-Party Claims and Assigned Insurance Rights to counsel to the Governmental
Plaintiff Ad Hoc Committee and to counsel to the MSGE Group during the Debtors’ bankruptcy cases;
provided, however, that such information shall be provided prior to entry of the Confirmation Order.

         On and after the Effective Date, the Reorganized Debtors shall use reasonable best efforts to
cooperate with the Opioid MDT II in connection with the Opioid MDT II’s investigation, preservation,
pursuit, and securing of the Assigned Third-Party Claims and the Assigned Insurance Rights. The terms
and conditions of such cooperation shall be set forth in the Cooperation Agreement and included in the
Confirmation Order. The Opioid MDT II shall reimburse the Reorganized Debtors for their documented
and reasonable out-of-pocket costs and expenses incurred in connection with such reasonable cooperation
from and after the Effective Date.

        Any request by the Opioid MDT II, the Governmental Plaintiff Ad Hoc Committee, or the MSGE
Group for cooperation by the Debtors and Reorganized Debtors shall be on reasonable advance notice, and
provided during normal business hours and otherwise in a manner that does not disrupt commercial
operations.

        4.      Vesting of the Opioid MDT II Consideration in the Opioid MDT II

        On the Effective Date or on the date which an Opioid Deferred Cash Payment is actually made, as
applicable, pursuant to the Plan and in accordance with the Opioid MDT II Documents, the Opioid MDT



                                                     84
             Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 318 of 835



II Consideration shall be transferred or issued to and vest in the Opioid MDT II free and clear of all Claims,
Interests, Liens, other encumbrances and liabilities of any kind (other than the Opioid Claims (including
Opioid Demands)). The Opioid MDT II shall have no liability for, and the Opioid MDT II Consideration
shall vest in the Opioid MDT II free and clear of, any pre-petition and post-petition Claims, Causes of
Action or liabilities of any kind, in each case that have been or could have been asserted against the Debtors,
their Estates or their property (including, but not limited to, Claims based on successor liability) based on
any acts or omissions prior to the Effective Date, except for the Opioid Claims (including the Opioid
Demands). From and after the Effective Date, all proceeds of the Opioid MDT II Consideration, including
without limitation, amounts paid by Insurers under the Assigned Insurance Rights, shall be paid to the
Opioid MDT II to be applied in accordance with the Opioid MDT II Documents.

        5.       Assumption of Certain Liability and Responsibility by the Opioid MDT II

          In consideration for the property transferred to the Opioid MDT II pursuant to Article IV.W.2 and
in furtherance of the purposes of the Opioid MDT II and the Plan, the Opioid MDT II shall assume all
liability and responsibility, financial and otherwise, for all Opioid Claims (including Opioid Demands) not
otherwise channeled to an Opioid Creditor Trust or the Ratepayer Account, including U.S. Government
Opioid Claims, and Other Opioid Claims, and the Debtors, the Reorganized Debtors, and the Protected
Parties shall have no liability or responsibility, financial or otherwise, therefor. The Opioid MDT II’s
liability for such assumed Opioid Claims shall be limited to the U.S. Government Opioids Claim Share,
and the Other Opioid Claims Share. Except as otherwise provided in the Plan and the Opioid MDT II
Documents, the Opioid MDT II shall have all defenses, cross-claims, offsets, and recoupments, as well as
rights of indemnification, contribution, subrogation, and similar rights, regarding such Opioid Claims
(including Opioid Demands) that the Debtors or the Reorganized Debtors has or would have had under
applicable law.

        6.       Institution of Maintenance of Legal and Other Proceedings

         As of the date upon which the Opioid MDT II is established, the Opioid MDT II shall be
empowered to initiate, prosecute, defend and resolve all legal actions and other proceedings related to any
asset, liability or responsibility of the Opioid MDT II, including in respect of the Assigned Third-Party
Claims and Assigned Insurance Rights. The Opioid MDT II shall be empowered to initiate, prosecute,
defend and resolve all such actions in the name of the Debtors or their Estates, in each case if deemed
necessary or appropriate by the Opioid MDT II Trustee(s). The Opioid MDT II shall be responsible for the
payment of all damages, awards, judgments, settlements, expenses, costs, fees and other charges incurred
subsequent to the date upon which the Opioid MDT II is established arising from, or associated with, any
legal action or other proceeding brought pursuant to the foregoing.

X.      Opioid Creditor Trusts and Settlements of Opioid Claims

        1.       Establishment and Purpose of the Opioid Creditor Trusts

The Confirmation Order shall endorse and direct the establishment of the Opioid Creditor Trusts on or prior
to the Effective Date in accordance with the terms of the respective Opioid Creditor Trust Documents. The
Opioid Creditor Trusts shall be independent from the Holders of Claims against the Debtors. The Opioid
Creditor Trusts shall be established for the purposes described in this Plan and any other purposes more
fully described in the Opioid Creditor Trust Documents. Each Opioid Creditor Trust shall, as applicable
and in each case, in accordance with the Plan, the Confirmation Order and the applicable Opioid Creditor
Trust Documents:




                                                      85
             Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 319 of 835



                 a.      hold, manage and invest all funds and other assets received by such Opioid
                         Creditor Trust from the Opioid MDT II, in each case, for the benefit of the
                         beneficiaries of such Opioid Creditor Trust;

                 b.      hold and maintain required reserves for such Opioid Creditor Trust in accordance
                         with the applicable Opioid Creditor Trust Documents;

                 c.      administer, process, resolve and liquidate Opioid Claims channeled to such Opioid
                         Creditor Trust, in each case as provided in the applicable Opioid Creditor Trust
                         Documents, as set forth in Article IV.Y herein; and

                 d.      pay all applicable Opioid Creditor Trust Operating Expenses.

        2.       Appointment and Role of the Opioid Creditor Trustees

In furtherance of and consistent with the purposes of the Opioid Creditor Trusts and the Plan, the Opioid
Creditor Trustees shall have the power and authority to perform all functions on behalf of the respective
Opioid Creditor Trusts. The Opioid Creditor Trustees shall undertake all administrative responsibilities as
are provided in the Plan and the applicable Opioid Creditor Trust Documents. The Opioid Creditor Trustees
shall be responsible for all decisions and duties with respect to the respective Opioid Creditor Trusts. In all
circumstances, each Opioid Creditor Trustee shall be independent and disinterested and shall act in the best
interests of the beneficiaries of such Opioid Creditor Trust, in furtherance of the purpose of such Opioid
Creditor Trust and in accordance with this Plan and the applicable Opioid Creditor Trust Documents. In
accordance with the Opioid Creditor Trust Documents, each Opioid Creditor Trustee shall serve in such
capacity through the earlier of (x) the date that the applicable Opioid Creditor Trust is dissolved in
accordance with the applicable Opioid Creditor Trust Documents and (y) the date such Opioid Creditor
Trustee resigns, is terminated or is otherwise unable to serve for any reason.

The NOAT II Trustee(s) shall be selected by the Governmental Plaintiff Ad Hoc Committee and the MSGE
Group, in consultation with the Debtors. The TAFT II Trustee(s) will be selected by the Tribal Leadership
Committee designated by the MDL Court in the MDL and also identified in the Amended Verified Statement
of the Tribal Leadership Committee Pursuant to Bankruptcy Rule 2019 [Docket No. 1339], in consultation
with the Debtors. The Opioid Creditor Trustees will be selected for (i) the Third-Party Payor Trust by the
Third-Party Payor Group, (ii) the PI Trust by the Ad Hoc Group of Personal Injury Victims and the Future
Claimants Representative, (iii) the Hospital Trust by the Ad Hoc Group of Hospitals, (iv) the NAS
Monitoring Trust by the NAS Committee, and (v) the Emergency Room Physicians Trust by the Emergency
Room Physicians Group, in each case, in consultation with the Debtors. The identity of the initial Opioid
Creditor Trustees shall be disclosed in the Plan Supplement.

        3.       Abatement Distributions

Each Abatement Trust shall, in accordance with the Plan, the Confirmation Order and the applicable
Abatement Trust Documents, make Abatement Distributions to Authorized Recipients for Approved Uses.

        4.       Abatement Trust Monitoring and Reporting Obligations

Each Abatement Trust shall (i) monitor the use of funds received by Abatement Distribution recipients in
accordance with Authorized Abatement Purposes and (ii) prepare and deliver to the Opioid MDT II for
publication annual reports on the disbursement and use of Abatement Distributions from such Abatement
Trust and the compliance by Abatement Distribution recipients with the Authorized Abatement Purposes
set forth in the applicable Abatement Trust Documents. In addition, NOAT II shall prepare or direct the
preparation of annual audited financial reports of NOAT II to be filed with the Bankruptcy Court, delivered
to the States and published on a publicly available website.


                                                      86
             Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 320 of 835



        5.       Assumption of Obligations and Liabilities

In consideration for the property transferred to the Opioid Creditor Trusts pursuant to Articles IV.W.2 and
IV.X.7 and in furtherance of the purposes of the Opioid MDT II, Opioid Creditor Trusts, and the Plan, each
Opioid Creditor Trust and the Ratepayer Account shall assume all liability and responsibility, financial and
otherwise, for any Opioid Claims (including Opioid Demands) channelled to each Opioid Creditor Trust
and the Ratepayer Account, respectively, other than any U.S. Government Opioid Claims, and Other Opioid
Claims, and the Debtors, the Reorganized Debtors, and the Released Parties shall have no liability or
responsibility, financial or otherwise, therefor. Except as otherwise provided in the Plan, the Opioid MDT
II Documents, and the Opioid Creditor Trust Documents, the Opioid Creditor Trusts and the Ratepayer
Account shall have all defenses, cross-claims, offsets, and recoupments, as well as rights of indemnification,
contribution, subrogation, and similar rights, regarding such Opioid Claims (including Opioid Demands)
that the Debtors or the Reorganized Debtors has or would have had under applicable law.

        6.       Institution and Maintenance of Legal and Other Proceedings

As of the date upon which the Opioid Creditor Trusts are established, the Opioid Creditor Trusts shall be
empowered to initiate, prosecute, defend and resolve all legal actions and other proceedings related to any
asset, liability or responsibility of the Opioid Creditor Trusts. Such legal actions and other proceedings
shall be limited solely to those required for the purposes of satisfying the responsibilities of the applicable
Opioid Creditor Trust. The Opioid Creditor Trusts shall be empowered to initiate, prosecute, defend and
resolve all such actions in the name of the Debtors or their Estates, in each case if deemed necessary or
appropriate by the applicable Opioid Creditor Trustee. The Opioid Creditor Trusts shall be responsible for
the payment of all damages, awards, judgments, settlements, expenses, costs, fees and other charges
incurred subsequent to the date upon which the Opioid Creditor Trusts are established arising from, or
associated with, any legal action or other proceeding brought pursuant to the foregoing.

        7.       Opioid MDT II Distributions

The Opioid MDT II shall make the Opioid MDT II Initial Distribution on the Opioid MDT II Initial
Distribution Date and shall make the Opioid MDT II Subsequent Distributions on any Opioid MDT
Subsequent Distribution Date. The Opioid MDT II shall fund the Opioid Attorneys’ Fees Fund with the
Opioid Attorneys’ Fees Fund Share, out of the Public Opioid Creditor Share. The Opioid MDT II shall
also establish and fund the Opioid MDT II Operating Reserve.

        8.       Private Claimants’ Attorneys’ Fees.

        A.       Common Benefit Fund Assessments. On the Effective Date, a Common Benefit Escrow
shall be established and funded by assessments of 5% of each Distribution made by the Private Opioid
Creditor Trusts and the Ratepayer Account. Such assessments will be paid by each Private Opioid Creditor
Trust and the Ratepayer Account in respect of the Distributions made by each Private Opioid Creditor Trust
and the Ratepayer Account to the Common Benefit Escrow and then, upon its establishment, directly to the
Common Benefit Fund established by either the MDL Court or the Bankruptcy Court, as will be reasonably
agreed to by the Governmental Plaintiff Ad Hoc Committee and the MSGE Group, on periodic schedules
for each Private Opioid Creditor Trust and the Ratepayer Account acceptable to the Governmental Plaintiff
Ad Hoc Committee, the MSGE Group, the Ad Hoc Group of Hospitals, the Ratepayer Mediation
Participants, the Ad Hoc Group of Personal Injury Victims, and the NAS Committee, as applicable. The
amounts in the Common Benefit Escrow shall be held in escrow until an order is entered by either the MDL
Court or the Bankruptcy Court, as will be reasonably agreed to by the Governmental Plaintiff Ad Hoc
Committee and the MSGE Group, establishing a Common Benefit Fund, at which time the amounts held
by the Common Benefit Escrow and all subsequent assessments of 5% of each Distribution made by the
Private Opioid Creditor Trusts and the Ratepayer Account shall be transferred to and distributed in


                                                      87
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21      Page 321 of 835



accordance with the order of either the MDL Court or the Bankruptcy Court, as will be reasonably agreed
to by the Governmental Plaintiff Ad Hoc Committee and the MSGE Group, establishing the Common
Benefit Fund. To the extent a Hospital Opioid Claimant, a Third-Party Payor Opioid Claimant, a Ratepayer
Opioid Claimant, a NAS Monitoring Opioid Claimant, a PI/NAS Opioid Claimant (or any ad hoc group
consisting of Claimants of any of the foregoing) has retained counsel through an contingency fee
arrangement, any contingency fees owed to such contingency counsel payable from Distributions under the
Plan shall be reduced by the full amount payable under this Article IV.X.8. However, the applicable
Claimant and its counsel, in their sole discretion, may agree that an amount up to but not exceeding 40% of
the amount payable under this Article IV.X.8 may be applied to the reimbursement of actual costs and
expenses incurred by such Claimant’s counsel, in which case such agreed cost-reimbursement amount shall
not reduce the contingency fee amounts payable to such counsel. For the avoidance of doubt, if the Debtors,
the Governmental Plaintiff Ad Hoc Committee, and the MSGE Group agree to any reduced or less
restrictive terms concerning the 5% Common Benefit Fund assessment (or its implementation) provided
under any portion of this Article IV.X.8 for any of the Private Opioid Creditor Trusts and the Ratepayer
Account, then such modifications shall apply to each of the groups, mutatis mutandis.

        B.      Hospitals Attorneys’ Fees and Costs. On the Effective Date, the Hospital Attorney Fee
Fund shall be established for the payment of attorneys’ fees and costs of the Ad Hoc Group of Hospitals
with respect to Hospital Opioid Claims. The Hospital Attorney Fee Fund shall be funded with (i) 20% of
each Distribution made by the Hospital Trust to Hospital Opioid Claimants that have not retained (or are
not part of an ad hoc group that has retained) separate counsel through an individual contingency fee
arrangement less (ii) the amount of such Distributions payable to the Common Benefit Escrow and the
Common Benefit Fund under Article IV.Y.7(A). The Hospital Attorney Fee Fund shall be administered by
the Hospital Trust on terms acceptable to the Ad Hoc Group of Hospitals.

         C.      NAS Monitoring Attorneys’ Fees and Costs. On the Effective Date, the NAS Monitoring
Attorney Fee Fund shall be established for the payment of attorneys’ fees and costs of the NAS Committee
with respect to NAS Monitoring Opioid Claimants. The NAS Monitoring Attorney Fee Fund shall be
funded with (i) 20% of each Distribution made by the NAS Monitoring Trust less (ii) the amount of such
Distributions payable to the Common Benefit Escrow and the Common Benefit Fund under Article
IV.X.8.A. Reasonable expert costs incurred by the NAS Committee in the formation of the abatement plan
for the NAS Monitoring Trust shall also be paid by the NAS Monitoring Trust, and, for the avoidance of
doubt, (x) there shall be no amounts payable to the Common Benefit Escrow or the Common Benefit Fund
on account of such cost reimbursements and (y) the 20% limitation on attorneys’ fees shall not apply to the
foregoing reasonable expert costs. The NAS Monitoring Attorney Fee Fund shall be administered by the
NAS Monitoring Trust on terms acceptable to the NAS Committee. Except as expressly set forth in this
Article IV.X.8, nothing in the Plan shall impair or otherwise affect any contingency fee contract between
any Holder of a Claim (or any ad hoc group of Holders of Claims) and such Holder’s (or ad hoc group’s)
counsel.

        D.      Ratepayer Attorneys’ Fees and Costs. On the Effective Date, the Ratepayer Attorney Fee
Fund shall be established for the payment of attorneys’ fees and costs of the Ratepayer Mediation
Participants. The Ratepayer Attorney Fee Fund shall be funded with (i) 20% of each Distribution made by
the Ratepayer Account less (ii) the amount of such Distributions payable to the Common Benefit Escrow
and the Common Benefit Fund under Article IV.X.8.A. The Ratepayer Attorney Fee Fund shall be
administered by the Ratepayer Account as set forth in this Article IV.X.8. Except as expressly set forth in
this Article IV.X.8, nothing in the Plan shall impair or otherwise affect any contingency fee contract
between any Holder of a Claim (or any ad hoc group of Holders of Claims) and such Holder’s (or ad hoc
group’s) counsel.




                                                    88
             Case 20-12522-JTD          Doc 2917      Filed 06/18/21       Page 322 of 835



          E.     Emergency Room Physicians Attorneys’ Fees and Costs. On the Effective Date, the
Emergency Room Physicians Attorney Fee Fund shall be established for the payment of attorneys’ fees and
costs of the Emergency Room Physicians Opioid Claimants. The Emergency Room Physicians Attorney
Fee Fund shall be funded with (i) 20% of each Distribution made by the Emergency Room Physicians Trust
less (ii) the amount of such Distributions payable to the Common Benefit Escrow and the Common Benefit
Fund under Article IV.X.8.A. The Emergency Room Physicians Attorney Fee Fund shall be administered
by the Emergency Room Physicians Trust as set forth in this Article IV.X.8. Except as expressly set forth
in this Article IV.X.8, nothing in the Plan shall impair or otherwise affect any contingency fee contract
between any Holder of a Claim (or any ad hoc group of Holders of Claims) and such Holder’s (or ad hoc
group’s) counsel.

        F.       PI Claimant Costs and Expenses. The Opioid Creditor Trustee of the PI Trust shall pay or
reimburse, as applicable, the compensation, costs and fees of professionals that represented or advised the
Ad Hoc Group of Personal Injury Victims and the NAS Committee in connection with the Chapter 11
Cases, as and to the extent provided in the PI Trust Documents. Such compensation, costs and fees paid or
reimbursed, as applicable, by the PI Trust shall be deducted from Distributions from the PI Trust Holders
of Allowed PI Opioid Claims and Allowed NAS PI Opioid Claims, in each case pursuant to the PI Trust
Documents. Nothing in this Article IV.X.8 shall impair or otherwise affect any fee contract that is not a
contingency fee contract between the Ad Hoc Group of Personal Injury Victims and its professionals, or
between the NAS Committee and its professionals.

         G.      No Impairment of Contingency Fee Contracts; No Further Assessment. Except as
expressly set forth in this Article IV.X.8, nothing in the Plan shall impair or otherwise affect any
contingency fee contract between any Holder of a Claim (or any ad hoc group of Holders of Claims) and
such Holder’s (or ad hoc group’s) counsel. In this regard, the payment of the assessments described in this
Article IV.X.8 shall be the only payment that such Holders (or their counsel) shall ever have to make to the
Common Benefit Fund with respect to amounts distributed under this Plan, and shall not be subject to any
further or other common benefit or similar assessments with respect to amounts distributed pursuant to the
Plan or payments to attorneys in respect thereof.

        9.      Public Opioid Claimants’ Attorneys’ Fees

         On the Effective Date, the Opioid Attorneys’ Fee Fund shall be established for the payment of costs
and expenses (including attorneys’ fees) of Holders of State Opioid Claims, Municipal Opioid Claims, and
Tribe Opioid Claims. The Opioid Attorneys’ Fee Fund shall be funded with the Opioid Attorneys’ Fee Fund
Share in an aggregate amount not to exceed $[ ] million from periodic distributions of [ ]% of each
distribution of account of the Public Opioid Creditor Share. Payments from the Opioid Attorneys’ Fee Fund
shall be the exclusive means of payment from the Opioid Creditor Trusts for costs and expenses (including
attorneys’ fees) of all Holders of State Opioid Claims, Municipal Opioid Claims, and Tribe Opioid Claims
(or any ad hoc group thereof) or any attorney therefor, other than amounts paid in accordance with the order
of the Bankruptcy/MDL Court establishing the Common Benefit Fund and any amounts paid to counsel to
the Governmental Plaintiff Ad Hoc Committee and the MSGE Group in accordance with the Plan and the
Restructuring Support Agreement.

Y.      Administration of Opioid Claims

        All Opioid Claims will be administered, liquidated and discharged pursuant to the applicable
Opioid MDT II Documents or Opioid Creditor Trust Documents. The Opioid MDT II Trustee(s) and
Opioid Creditor Trustee(s), as applicable, shall determine the eligibility, amount and Allowance of the
applicable Opioid Claims in accordance with the applicable Opioid MDT II Documents or Opioid Creditor
Trust Documents. The determination by the applicable Opioid MDT II Trustee(s) or Opioid Creditor
Trustee(s) of the eligibility, amount and Allowance of each Opioid Claim (except for any Other Opioid


                                                    89
             Case 20-12522-JTD          Doc 2917      Filed 06/18/21       Page 323 of 835



Claims) shall be final and binding, and shall not be subject to any challenge or review of any kind, by any
court or other Person, except as set forth herein and in the Opioid MDT II Documents and Opioid Creditor
Trust Documents. Distributions in respect of Allowed Opioid Claims shall be made by the applicable
Opioid MDT II Trustee(s) or Opioid Creditor Trustee(s), in accordance with the trust distribution
procedures and other provisions of the applicable Opioid MDT II Documents or Opioid Creditor Trust
Documents, from the applicable Opioid MDT II or Opioid Creditor Trust. Distributions from the Opioid
MDT II, Opioid Creditor Trusts, and the Ratepayer Account shall be the sole source of recovery for Holders
of Allowed Opioid Claims, and no Holder of an Opioid Claim shall have any other or further recourse to
the Opioid Creditor Trusts, the Opioid MDT II, the Debtors or their Estates, the Reorganized Debtors,
NewCo, any NewCo Subsidiaries, or the Released Parties. Holders of disallowed Opioid Claims shall have
no recourse to the Opioid Creditor Trusts, the Ratepayer Account, the Opioid MDT II, the Debtors or their
Estates, the Reorganized Debtors, NewCo, any NewCo Subsidiaries, or the Released Parties in respect of
such disallowed Claims.

        1.      Administration of Other Opioid Claims

        The Opioid MDT II Administrator shall implement procedures, subject to Bankruptcy Court
approval, for the submission of Other Opioid Claims, including notice procedures with respect thereto, and
for the resolution of such Other Opioid Claims, which shall permit (but not require) that any litigation
thereon occur in the Bankruptcy Court.

         All Other Opioid Claims shall be Disputed Claims under the Plan. Only Other Opioid Claims that
become Allowed Claims pursuant to the procedures contained in Article IV.Y.2 herein shall be entitled to
distributions from the Other Opioid Claims Reserve, Pro Rata with other Allowed Other Opioid
Claims. For the avoidance of doubt, Other Opioid Claims, whether Allowed or disallowed, shall not be
entitled to any distributions from the Opioid MDT II or any Abatement Trust or other Opioid Creditor Trust,
other than from the Other Opioid Claims Reserve. Subject to definitive guidance from the IRS or a court
of competent jurisdiction to the contrary, the Opioid MDT II shall treat the Other Opioid Claims Reserve
as a “disputed ownership fund” governed by Treasury Regulation section 1.468B-9 and to the extent
permitted by applicable law, report consistently with the foregoing for state and local income tax purposes.
All parties (including, to the extent applicable, the Opioid MDT II and Holders of Other Opioid Claims)
shall be required to report for tax purposes consistently with the foregoing.

        2.      Objections to Other Opioid Claims

        The Opioid MDT II Administrator shall be entitled to object to Other Opioid Claims. Any
objections to Other Opioid Claims shall be served and filed on or before the later of (i) two-hundred and
seventy (270) days after the Effective Date and (ii) such later date as may be fixed by the Bankruptcy Court
(as the same may be extended by the Bankruptcy Court for cause shown). The Opioid MDT II
Administrator shall be entitled to use omnibus objections in compliance with Local Rule 3007-1 and may
seek Bankruptcy Court approval to establish additional objection or estimation procedures as the Opioid
MDT II Administrator believes appropriate.

        3.      Resolution of Disputed Other Opioid Claims

       On and after the Effective Date the Opioid MDT II Administrator shall have the authority to
compromise, settle, otherwise resolve, or withdraw any objections to Disputed Other Opioid Claims and to
compromise, settle, or otherwise resolve any Disputed Other Opioid Claims without approval of the
Bankruptcy Court.




                                                    90
             Case 20-12522-JTD          Doc 2917       Filed 06/18/21       Page 324 of 835



        4.      Disallowance of Other Opioid Claims

         Any Other Opioid Claims held by an Entity from which property is recoverable under sections 542,
543, 550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under section 522(f),
522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, as determined by a Final Order, shall
be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of such Other Opioid
Claims may not receive any distributions on account of such Other Opioid Claims until such time as such
Causes of Action against that Entity have been settled or a Final Order with respect thereto has been entered
and all sums due, if any, to the Debtors by that Entity have been turned over or paid to the Debtors or the
Reorganized Debtors.

        5.      Estimation of Other Opioid Claims

         The Opioid MDT II Administrator may at any time request that the Bankruptcy Court estimate any
Other Opioid Claims pursuant to section 502(c) of the Bankruptcy Code for any reason or purpose,
regardless of whether the Opioid MDT II Administrator has previously objected to such Other Opioid Claim
or whether the Bankruptcy Court has ruled on any such objection. The Bankruptcy Court shall retain
jurisdiction to estimate any Other Opioid Claim at any time during litigation concerning any objection to
any Other Opioid Claim, including, during the pendency of any appeal relating to any such objection. If
the Bankruptcy Court estimates any Other Opioid Claim, that estimated amount shall constitute the
maximum limitation on such Other Opioid Claim, and the Opioid MDT II Administrator may pursue
supplementary proceedings to object to the ultimate allowance of such Other Opioid Claim. All of the
aforementioned objection, estimation and resolution procedures are cumulative and not exclusive of one
another. Other Opioid Claims may be estimated and subsequently compromised, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court. Notwithstanding section 502(j) of the
Bankruptcy Code, in no event shall any holder of an Other Opioid Claim that has been estimated pursuant
to section 502(c) of the Bankruptcy Code or otherwise be entitled to seek reconsideration of such Other
Opioid Claim unless the holder of such Other Opioid Claim has filed a motion requesting the right to seek
such reconsideration on or before twenty (20) calendar days after the date such Other Opioid Claim is
estimated by the Bankruptcy Court.

       The Opioid MDT II Administrator reserves the right to reduce the Other Opioid Claims Reserve in
a manner consistent with any such estimation.

        6.      Periodic Distributions from Other Opioid Claims Reserve

         The Opioid MDT II Trustee(s) shall make distributions from time to time in their discretion from
the Other Opioid Claims Reserve to holders of Allowed Other Opioid Claims, upon their determination that
after distribution, and consistent with and subject to section 1123(a)(4) of the Bankruptcy Code, the Other
Opioid Claims Reserve shall entitle such holder an aggregate amount equal to the Pro Rata Share of each
distribution that would have been made to holders of Other Opioid Claims that remain Disputed and allocate
such amount to the Other Opioid Claims Reserve as if each such Other Opioid Claim that remains Disputed
were Allowed Claims, for each Other Opioid Claim in the amount equal to the least of (i) the filed amount
of such Other Opioid Claim, (ii) the amount determined by a Final Order of the Bankruptcy Court for
purposes of fixing the amount to be retained for such Other Opioid Claim, and (iii) such other amount as
may be agreed upon by the Holder of such Other Opioid Claim and the Opioid MDT II Administrator.

Z.      Authority of the Debtors

        Effective on the Confirmation Date, the Debtors shall be empowered and authorized to take or
cause to be taken, prior to the Effective Date, all actions necessary or appropriate to achieve the Effective
Date and enable the Reorganized Debtors to implement effectively the provisions of the Plan, the


                                                     91
              Case 20-12522-JTD          Doc 2917       Filed 06/18/21        Page 325 of 835



Confirmation Order, the Scheme of Arrangement, the Irish Confirmation Order, the Restructuring
Transactions, the Opioid MDT II Documents, and the Opioid Creditor Trust Documents.

AA.     Industry-Wide Document Disclosure Program

         The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall participate in an
industry-wide document disclosure program by disclosing publicly a subset of its litigation documents,
subject to scope and protocols described below.

         1.      Documents Subject to Public Disclosure

         The following documents shall be produced by the VI-Specific Debtors and/or the Reorganized
VI-Specific Debtors to the Minnesota State Attorney General, on behalf of the Settling States, and are
subject to public disclosure in perpetuity as part of an industry-wide document disclosure program, except
for the redactions authorized by Article IV.AA.2:

        (a)      All documents, indices, and privilege logs the VI-Specific Debtors produced to any of the
                 Settling States prior to the Petition Date, including in litigation and in response to
                 investigative demands or other formal or informal requests related to opioids.

        (b)      All documents, indices, and privilege logs the VI-Specific Debtors produced in the Opioid
                 Multi-District Litigation (In re Nat’l Prescription Opiate Litig., No. 1:17-MD-2804 (N.D.
                 Ohio)) and the New York litigation (In re Opioid Litigation, 400000/2017 (Suffolk
                 County)) prior to the Petition Date.

        (c)      All documents, indices, and privilege logs the VI-Specific Debtors have produced in other
                 litigation related to opioids, excluding patent litigation.

        (d)      All filings, motions, orders, court transcripts, deposition transcripts, and exhibits in the
                 possession, custody, or control of the VI-Specific Debtors and/or Reorganized VI-Specific
                 Debtors from litigation related to opioids, excluding patent litigation.

        All documents produced under this provision shall be provided in electronic format with all related
metadata. The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors and the Minnesota State
Attorney General, on behalf of the Settling States, will work cooperatively to develop technical
specifications for the productions.

         2.      Information That May Be Redacted

        The following categories of information are exempt from public disclosure:

        (a)      Information subject to trade secret protection. A “trade secret” is information, including a
                 formula, pattern, compilation, program, device, method, technique or process, that (i)
                 derives independent economic value, actual or potential, from not being generally known
                 to the public or to other persons who can obtain economic value from its disclosure and
                 use; and (ii) is the subject of efforts that are reasonable under the circumstances to maintain
                 its secrecy. Even if the information falls within the definition, “trade secret” does not
                 include information reflecting sales or promotional strategies, tactics, targeting, or data, or
                 internal communications related to sales or promotion.

        (b)      Confidential personal information. “Confidential personal information” means individual
                 Social Security or tax identification numbers, personal financial account numbers, passport
                 numbers, driver license numbers, home addresses, home telephone numbers, personal



                                                      92
               Case 20-12522-JTD          Doc 2917       Filed 06/18/21       Page 326 of 835



                  email addresses, and other personally identifiable information protected by law from
                  disclosure. “Confidential personal information” does not include the names of the VI-
                  Specific Debtors’ and/or the Reorganized VI-Specific Debtors’ officers, directors,
                  employees, agents, or attorneys.

        (c)       Information that is inappropriate for public disclosure because it is subject to personal
                  privacy interests recognized by law (e.g., HIPAA), or contractual rights of third parties that
                  the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors may not abrogate.

        (d)       Information regarding the VI-Specific Debtors’ and/or the Reorganized VI-Specific
                  Debtors’ employees’ personal matters unrelated to the VI-Specific Debtors and/or the
                  Reorganized VI-Specific Debtors, including emails produced by the VI-Specific Debtors’
                  custodians discussing vacation or sick leave, family, or other personal matters.

          3.      Redaction of Documents Containing Protected Information

         Whenever a document contains information subject to a claim of exemption pursuant to
Article IV.AA.2, the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall produce the
document in redacted form. Such redactions shall indicate that trade secret and/or private information, as
appropriate, has been redacted. Redactions shall be limited to the minimum redactions possible to protect
the legally recognized individual privacy interests and trade secrets identified above.

         The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall produce to the
Minnesota State Attorney General, on behalf of the Settling States, a log noting each document redacted.
The log shall also provide fields stating the basis for redacting the document, with sufficient detail to allow
an assessment of the merits of the assertion. The log is subject to public disclosure in perpetuity. The log
shall be produced simultaneously with the production of documents required by Article IV.AA.7.

         In addition to the redacted documents, the VI-Specific Debtors and/or the Reorganized VI-Specific
Debtors shall, upon any Settling State’s request, also produce all documents identified in Article IV.AA.1
in unredacted form to such Settling State at the same time. The redacted documents produced by the VI-
Specific Debtors and/or the Reorganized VI-Specific Debtors may be publicly disclosed in accordance with
Article IV.AA.6. The unredacted documents produced by the VI-Specific Debtors and/or the Reorganized
VI-Specific Debtors to a Settling State shall be available only to such Settling State unless the VI-Specific
Debtors’ and/or the Reorganized VI-Specific Debtors’ claim of exemption under Article IV.AA.2 is
successfully challenged in accordance with Article IV.AA.4 or the trade secret designation expires in
accordance with Article IV.AA.5.

          4.      Challenges to Redaction

        Anyone, including members of the public and the press, may challenge the appropriateness of
redactions by providing notice to the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors. If
the challenge is not resolved by agreement, it must be resolved in the first instance by a third party jointly
appointed by the Minnesota State Attorney General, on behalf of the Settling States, and the VI-Specific
Debtors and/or the Reorganized VI-Specific Debtors to resolve such challenges. The decision of the third
party may be appealed to a court with enforcement authority over the Opioid Operating Injunction. If not
so appealed, the third party’s decision is final. In connection with such challenge, a Settling State may
provide copies of relevant unredacted documents to the parties or the decisionmaker, subject to appropriate
confidentiality and/or in camera review protections, as determined by the decisionmaker.




                                                       93
                 Case 20-12522-JTD           Doc 2917        Filed 06/18/21         Page 327 of 835



            5.      Review of Trade Secret Redactions

        Ten years after the VI-Specific Debtors and/or the Reorganized VI-Specific Debtors complete the
production of documents in accordance with this Article IV.AA, the Reorganized VI-Specific Debtors shall
review all trade secret assertions made in accordance with Article IV.AA.2 and all non-manufacturing trade
secret designations shall expire. The newly unredacted documents may then be publicly disclosed by the
Minnesota State Attorney General, on behalf of the Settling States, in accordance with Article IV.AA.6.
The Reorganized VI-Specific Debtors shall produce to the Minnesota State Attorney General, on behalf of
the Settling States, an updated redaction log justifying its designations of the remaining trade secret
redactions as manufacturing trade secrets.

            6.      Public Disclosure through a Document Repository

         The Minnesota State Attorney General, on behalf of the Settling States, may publicly disclose all
documents covered by this Article IV.AA through a public repository maintained by a governmental, non-
profit, or academic institution. The Minnesota State Attorney General, on behalf of the Settling States, may
specify the terms of any such repository’s use of those documents, including allowing the repository to
index and make searchable all documents subject to public disclosure, including the metadata associated
with those documents. When providing the documents covered by this Article IV.AA to a public repository,
no Settling State shall include or attach within the document set any characterization of the content of the
documents. For the avoidance of doubt, nothing in this paragraph shall prohibit any Settling State from
publicly discussing the documents covered by this Article IV.AA.

            7.      Timeline for Production

        The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall produce all documents
required by Article IV.AA.1 within nine months from the Petition Date.

            8.      Costs

        The VI-Specific Debtors and/or the Reorganized VI-Specific Debtors shall be responsible for their
allocable share of all reasonable costs and expenses associated with the public disclosure and storage of the
VI-Specific Debtors’ and/or the Reorganized VI-Specific Debtors’ documents through any public
repository.
                    9
BB.       Monitor

          1.        Appointment and Term

         The Confirmation Order will provide for the appointment of the Monitor for a term of five years
from the Petition Date. If, at the conclusion of the Monitor’s five-year term, the Settling States determine
in good faith and in consultation with the Monitor that the Reorganized VI-Specific Debtors have failed to
achieve and maintain substantial compliance with the substantive provisions of the Opioid Operating
Injunction, the Monitor’s engagement shall be extended for an additional term of up to two years, subject
to the right of the Reorganized VI-Specific Debtors to commence legal proceedings for the purpose of
challenging the decision of the Settling States and to seek preliminary and permanent injunctive relief with
respect thereto.



9
      This section is qualified in its entirety by the Voluntary Injunction and the Opioid Operating Injunction, and for
      any inconsistency between this section and the Voluntary Injunction and the Opioid Operating Injunction, the
      Voluntary Injunction and the Opioid Operating Injunction, as applicable, will govern.


                                                           94
             Case 20-12522-JTD          Doc 2917        Filed 06/18/21      Page 328 of 835



        2.      Identity

        The Monitor for the full term shall be the Chapter 11 Monitor in place as of the Effective Date
unless justifiable cause exists and the Monitor Agreement shall remain in full force and effect upon the
Effective Date, unless amended or superseded by further order of the Bankruptcy Court, which order may
be the Confirmation Order. For purposes of this paragraph, justifiable cause exists if the Monitor resigns
or a court finds that the Monitor: (a) develops a conflict of interest that would undermine public confidence
in the objectivity of his or her work; (b) has unreasonably failed to fulfill his or her material obligations
under the Opioid Operating Injunction or pursuant to his or her work plan, (c) has engaged in any act of
dishonesty, misappropriation, embezzlement, intentional fraud, or similar conduct; or (d) has engaged in an
intentional act of bias or prejudice in favor or against either party. Justifiable cause shall not include the
Reorganized VI-Specific Debtors’ or the Settling States’ disagreements with the decisions of the Monitor,
unless there is a clear pattern in the Monitor’s decisions that demonstrates that the Monitor has not been
acting as an independent third party in rendering decisions.

         If a new Monitor must be appointed during the term, the Reorganized VI-Specific Debtors and the
Settling States shall exchange pools of recommended candidates within 30 days of the Monitor’s departure.
The pools shall each contain the names of three individuals, groups of individuals or firms and shall be
based in part on experience with internal investigations or the investigative process (which may include
prior monitorship or oversight experience) and expertise in the pharmaceutical industry, relevant regulatory
regimes, and internal controls and compliance systems.

         After receiving the pools of Monitor candidates, the Reorganized VI-Specific Debtors and the
Settling States shall have the right to meet with the candidates and conduct appropriate interviews of the
personnel who are expected to work on the project. The Reorganized VI-Specific Debtors and the Settling
States may veto any of the candidates, and must do so in writing within 30 days of receiving the pool of
candidates. If all three candidates within a pool are rejected by either the Reorganized VI-Specific Debtors
or the Settling States, the party who rejected the three candidates may direct the other party to provide up
to three additional qualified candidates within 15 days of receipt of said notice.

         If the Reorganized VI-Specific Debtors or the Settling States do not object to a proposed candidate,
the Reorganized VI-Specific Debtors or the Settling States shall so notify the other in writing within 30
days of receiving the pool of candidates. If more than one candidate remains, the Settling States shall select
the Monitor from the remaining candidates.

        3.      Duties and Reporting

         The Monitor shall be responsible for ensuring that the Reorganized VI-Specific Debtors (and any
successors during the Monitor’s term to the Reorganized VI-Specific Debtors’ business operations relating
to the manufacture and sale of opioid product(s) in the United States and its territories) are in compliance
with the Opioid Operating Injunction. The Reorganized VI-Specific Debtors and their professionals and
representatives shall cooperate and reasonably respond to requests by the Monitor in the performance of its
responsibilities, including reasonable requests for access to relevant books and records of the Reorganized
VI-Specific Debtors. Subject to any legally recognized privilege and as reasonably necessary to perform
his or her duties, the Monitor shall have full and complete access to the Reorganized VI-Specific Debtors’
personnel, books, records, and facilities, and to any other relevant information, as the Monitor may request.
The Reorganized VI-Specific Debtors shall develop such information as the Monitor may request and shall
fully, completely and promptly cooperate with the Monitor.

       The manner in which the Monitor will carry out his or her responsibilities, the general scope of
information that the Monitor will seek to review in fulfilling his or her duties and, where applicable, the
methodologies to be utilized shall be consistent with the work plan used by the Chapter 11 Monitor as of



                                                     95
             Case 20-12522-JTD          Doc 2917        Filed 06/18/21      Page 329 of 835



the Effective Date (the “Work Plan”). The Reorganized VI-Specific Debtors, the Settling States, and the
Monitor may jointly agree to revisions to the Work Plan.

        The Monitor shall file a report with the Settling States regarding compliance by the Reorganized
VI-Specific Debtors with the terms of the Opioid Operating Injunction every 90 days after the Effective
Date (the “Monitor Reports”). The Reorganized VI-Specific Debtors and the Settling States may jointly
agree to decrease the frequency of Monitor Reports to every 180 days. To the extent permissible by state
public record laws, these reports (in whole or in part) may be filed subject to restriction from public
disclosure. The content of Monitor Reports shall be set forth in the Work Plan.

        Prior to issuing a Monitor Report, the Monitor shall confer with Reorganized VI-Specific Debtors
and the Settling States, either jointly or separately (in the discretion of the Monitor), regarding his or her
preliminary findings and the reasons for those findings. The Reorganized VI-Specific Debtors shall have
the right to submit written comments to the Monitor, which shall be appended to the final version of the
Monitor Report.

        4.      Relief and Cure

        In furtherance of the responsibilities of the Monitor, the Monitor shall be authorized to seek relief
from the Bankruptcy Court, to the extent necessary to carry out its obligations hereunder.

        In the event a Monitor Report identifies a potential violation of the Opioid Operating Injunction,
the Reorganized VI-Specific Debtors shall have the right to cure any potential violation within 30 days.

        5.      Professionals and Costs

        The Monitor shall have the authority to employ, upon written consent from the Reorganized VI-
Specific Debtors, such consent not to be unreasonably withheld, delayed or conditioned, such consultants,
accountants, attorneys, and other representatives and assistants as are reasonably necessary to carry out the
Monitor’s responsibilities. Requests to employ such individuals will be decided upon no later than ten (10)
days from their receipt.

        All compensation, costs and fees of the Monitor and any professionals retained by the Monitor shall
be paid by the Reorganized VI-Specific Debtors.

        6.      Liability

        The Monitor shall serve without bond or other security. The Monitor shall have no obligation,
responsibility, or liability for the operations of the Reorganized VI-Specific Debtors.

CC.     Trade Claimant Agreements

         As to any Trade Claimant that agrees by so indicating on its Ballot to maintain with the Debtors
Favorable Trade Terms, the Plan shall constitute (i) if applicable, an amendment to such Trade Claimant’s
assumed or assumed and assigned Executory Contract between any Debtor and such Trade Claimant,
instituting the foregoing trade terms in such Executory Contract, or (ii) otherwise, a contractual agreement
by such Trade Claimant to maintain such trade terms for at least twelve (12) months after the Effective
Date.

DD.     Federal/State Acthar Settlement

        As of the Effective Date, the Federal/State Acthar Settlement Agreements shall be executed by
Parent, Mallinckrodt ARD LLC, the U.S. Government, and the States. On the Effective Date or as soon as
reasonably practicable thereafter, the Debtors and/or the Reorganized Debtors will make the Initial


                                                     96
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 330 of 835



Federal/State Acthar Settlement Payment, and thereafter, the Reorganized Debtors will make each of the
Federal/State Acthar Deferred Cash Payments; provided, that the Federal/State Acthar Deferred Cash
Payments shall bear interest at a variable rate equal to the nominal interest rate on special issues of
government securities to the Social Security trust funds (published and available at
www.ssa.gov/oact/ProgData/newIssueRates.html), measured as of each payment date and accruing from
September 21, 2020.

EE.     Retainers of Ordinary Course Professionals

        Upon the Effective Date, each Ordinary Course Professional may apply its retainer, if any, against
any outstanding prepetition balances owed by the Debtors to such Ordinary Course Professional.

FF.     No Substantive Consolidation

        This Plan is being proposed as a joint chapter 11 plan of the Debtors for administrative purposes
only and constitutes a separate chapter 11 plan for each Debtor. This Plan is not premised upon the
substantive consolidation of the Debtors with respect to the Classes of Claims or Interests set forth in this
Plan.

                                                 Article V.

                   TREATMENT OF EXECUTORY CONTRACTS
      AND UNEXPIRED LEASES; EMPLOYEE BENEFITS; AND INSURANCE POLICIES

A.      Assumption of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided in the Plan, each of the Executory Contracts
and Unexpired Leases not previously rejected, assumed, or assumed and assigned pursuant to an order of
the Bankruptcy Court will be deemed assumed as of the Effective Date pursuant to sections 365 and 1123
of the Bankruptcy Code except any Executory Contract or Unexpired Lease (1) identified on the Rejected
Executory Contract/Unexpired Lease List (which shall initially be filed with the Bankruptcy Court on the
Plan Supplement Filing Date) as an Executory Contract or Unexpired Lease to be rejected, (2) that is the
subject of a separate motion or notice to reject pending as of the Confirmation Date, or (3) that previously
expired or terminated pursuant to its own terms (disregarding any terms the effect of which is invalidated
by the Bankruptcy Code).

        Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order approving the
assumption of the Restructuring Support Agreement pursuant to sections 365 and 1123 of the Bankruptcy
Code and effective on the occurrence of the Effective Date. The Restructuring Support Agreement shall be
binding and enforceable against the parties to the Restructuring Support Agreement in accordance with its
terms. For the avoidance of doubt, the assumption of the Restructuring Support Agreement herein shall not
otherwise modify, alter, amend, or supersede any of the terms or conditions of the Restructuring Support
Agreement including, without limitation, any termination events or provisions thereunder.

         Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order approving the
assumptions of the Executory Contracts and Unexpired Leases pursuant to sections 365(a) and 1123 of the
Bankruptcy Code and effective on the occurrence of the Effective Date. Each Executory Contract and
Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court order, and not assigned to a third
party on or prior to the Effective Date, shall re-vest in and be fully enforceable by the applicable
Reorganized Debtor in accordance with its terms, except as such terms may have been modified by order
of the Bankruptcy Court. To the maximum extent permitted by law, to the extent any provision in any
Executory Contract or Unexpired Lease assumed pursuant to the Plan restricts or prevents, or purports to
restrict or prevent, or is breached or deemed breached by, the assumption of such Executory Contract or


                                                     97
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 331 of 835



Unexpired Lease or the execution of any other Restructuring Transaction (including any “change of
control” provision), then such provision shall be deemed modified such that the transactions contemplated
by the Plan shall not entitle the non-Debtor party thereto to terminate such Executory Contract or Unexpired
Lease or to exercise any other default-related rights with respect thereto. For the avoidance of doubt,
consummation of the Restructuring Transactions shall not be deemed an assignment of any Executory
Contract or Unexpired Lease of the Debtors, notwithstanding any change in name, organizational form, or
jurisdiction of organization of any Debtor in connection with the occurrence of the Effective Date.

         Notwithstanding anything to the contrary in the Plan (except for the Consent Rights of Supporting
Parties in Article I.C), the Debtors or Reorganized Debtors, as applicable, reserve the right to amend or
supplement the Rejected Executory Contract/Unexpired Lease List in their discretion prior to the
Confirmation Date (or such later date as may be permitted by Article V.B or Article V.E below), provided
that the Debtors shall give prompt notice of any such amendment or supplement to any affected counterparty
and such counterparty shall have no less than seven (7) days to object thereto on any grounds.

B.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

        Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment
of the Cure Cost in Cash on the Effective Date or as soon as reasonably practicable, subject to the limitation
described below, or on such other terms as the parties to such Executory Contract or Unexpired Lease may
otherwise agree. No later than the Plan Supplement Filing Date, to the extent not previously Filed with the
Bankruptcy Court and served on affected counterparties, the Debtors shall provide notices of the proposed
assumption and proposed Cure Costs to be sent to applicable counterparties, together with procedures for
objecting thereto and for resolution of disputes by the Bankruptcy Court. Any objection by a contract or
lease counterparty to a proposed assumption or related Cure Cost must be Filed, served, and actually
received by the Debtors by the date on which objections to confirmation are due (or such other date as may
be provided in the applicable assumption notice).

         Any counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the
proposed assumption or Cure Cost will be deemed to have assented to such assumption and Cure Cost.
Any timely objection to a proposed assumption or Cure Cost will be scheduled to be heard by the
Bankruptcy Court at the Reorganized Debtors’ first scheduled omnibus hearing after the date that is ten
(10) days after the date on which such objection is Filed. In the event of a dispute regarding (1) the amount
of any Cure Cost, (2) the ability of the Reorganized Debtors or any assignee to provide “adequate assurance
of future performance” within the meaning of section 365(b) of the Bankruptcy Code under any Executory
Contract or the Unexpired Lease, and/or (3) any other matter pertaining to assumption and/or assignment,
then such dispute shall be resolved by a Final Order; provided that the Debtors or Reorganized Debtors
may settle any such dispute and shall pay any agreed upon Cure Cost without any further notice to any
party or any action, order, or approval of the Bankruptcy Court; provided, further, that notwithstanding
anything to the contrary herein (except for the Consent Rights of Supporting Parties in Article I.C), the
Reorganized Debtors reserve the right to reject any Executory Contract or Unexpired Lease previously
designated for assumption within forty five (45) days after the entry of a Final Order resolving an objection
to the assumption or to the proposed Cure Cost.

         Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
result in the full satisfaction and cure of any Claims and defaults, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, under any assumed Executory Contract or Unexpired Lease arising at any time
prior to the effective date of assumption. Notwithstanding the foregoing, the Debtors and the Reorganized
Debtors, as applicable, will continue to honor all postpetition and post-Effective Date obligations under any
assumed Executory Contracts and Unexpired Leases in accordance with their terms, regardless of whether


                                                     98
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 332 of 835



such obligations are listed as a Cure Cost, and whether such obligations accrued prior to or after the
Effective Date, and neither the payment of Cure Costs nor entry of the Confirmation Order shall be deemed
to release the Debtors or the Reorganized Debtors, as applicable, from such obligations.

C.      Claims Based on Rejection of Executory Contracts and Unexpired Leases

         Unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Claims
arising from the rejection of the Executory Contracts and Unexpired Leases pursuant to the Plan or
otherwise must be filed with the Notice and Claims Agent within thirty (30) days of the effective date of
the rejection of the applicable Executory Contract or Unexpired Lease. Any Proofs of Claim arising from
the rejection of the Executory Contracts and Unexpired Leases that are not timely filed shall be
automatically disallowed without further order of the Bankruptcy Court. All Allowed Claims arising
from the rejection of the Executory Contracts and Unexpired Leases shall constitute General Unsecured
Claims and shall be treated in accordance with Article III.B of the Plan.

D.      Contracts and Leases Entered into After the Petition Date

        Contracts and leases entered into after the Petition Date by any Debtor, including any Executory
Contracts and Unexpired Leases assumed by any Debtor, will be performed by such Debtor or Reorganized
Debtor, as applicable, liable thereunder in the ordinary course of business. Accordingly, such contracts and
leases (including any Executory Contracts and Unexpired Leases assumed or assumed and assigned
pursuant to section 365 of the Bankruptcy Code) will survive and remain unaffected by entry of the
Confirmation Order.

E.      Reservation of Rights

         Neither anything contained in the Plan nor the Debtors’ delivery of a notice of proposed assumption
and proposed Cure Cost to any contract and lease counterparties shall constitute an admission by the
Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease or that any
Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease
is or was executory or unexpired at the time of assumption, the Debtors or Reorganized Debtors, as
applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute to alter their
treatment of such contract or lease. If there is a dispute regarding a Debtor’s or Reorganized Debtor’s
liability under an assumed Executory Contract or Unexpired Lease, the Reorganized Debtors shall be
authorized to move to have such dispute heard by the Bankruptcy Court pursuant to Article X.C of the Plan.

F.      Indemnification Provisions and Reimbursement Obligations

         On and as of the Effective Date, and except as prohibited by applicable law and subject to the
limitations set forth herein, the Indemnification Provisions will be assumed and irrevocable and will survive
the effectiveness of the Plan, and the New Governance Documents will provide to the fullest extent
provided by law for the indemnification, defense, reimbursement, exculpation, and/or limitation of liability
of, and advancement of fees and expenses to the Debtors’ and the Reorganized Debtors’ current and former
directors, officers, equity holders, managers, members, employees, accountants, investment bankers,
attorneys, other professionals, agents of the Debtors, and such current and former directors’, officers’,
equity holders’, managers’, members’ and employees’ respective Affiliates (each of the foregoing solely in
their capacity as such) at least to the same extent as the Indemnification Provisions, against any Claims or
Causes of Action whether direct or derivative, liquidated or unliquidated, fixed or contingent, disputed or
undisputed, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, and,
notwithstanding anything in the Plan to the contrary, none of the Reorganized Debtors will amend and/or
restate the New Governance Documents before or after the Effective Date to terminate or adversely affect
any of the Indemnification Provisions.



                                                     99
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 333 of 835



G.      Co-Defendant Indemnification Obligations

         As of the Effective Date, any term of any policy, contract or other obligation applicable to any
Debtor shall be void and of no further force or effect to the maximum extent permitted by applicable law
and to the extent such policy, contract or other obligation creates an obligation of any Debtor, or gives rise
to a right under any Insurance Contract of any Debtor, for the indemnification or reimbursement of any
Person other than the Opioid MDT II for costs, losses, damages, fees, expenses or any other amounts
whatsoever relating to or arising from any actual or potential litigation or dispute, whether accrued or
unaccrued, asserted or unasserted, existing or hereinafter arising, based on or relating to or in connection
with, or in any manner arising from, in whole or in part, any Opioid Claim or any Opioid Demand
(excluding any indemnification obligations expressly assumed pursuant to, or otherwise provided for in,
the Plan). Notwithstanding the foregoing, nothing herein shall interfere with the Assigned Insurance Rights
or the Opioid MDT II’s exercise of the Assigned Insurance Rights.

         The Plan shall, to the maximum extent permitted by applicable law, constitute (i) an amendment to
each assumed or assumed and assigned contract to sever any and all provisions thereof that give rise to any
obligation or right described in this Article V.G and (ii) an agreement by each counterparty to release any
and all obligations and liabilities arising under or relating to such severed provisions and any and all Co-
Defendant Claims and Opioid Claims (including Opioid Demands) arising under such contract, including
any Co-Defendant Claims and Opioid Claims (including Opioid Demands) that might otherwise be elevated
to administrative status through assumption of such contract. The severed portion of each such contract
shall be rejected as of the Effective Date, and any Claims resulting from such rejection shall be forever
released and discharged, with no distribution on account thereof. Except to the extent included in the
Rejected Executory Contract/Unexpired Lease List, each such contract, solely as amended pursuant to this
Article V.G, shall be assumed by the applicable Debtor and, as applicable, may be assigned to NewCo (or
one of the NewCo Subsidiaries). No counterparty or any other Person shall have or retain any Claim, Cause
of Action or other right of recovery against the Debtors or any other Person, including without limitation
NewCo or any Insurer, except for the Other Opioid Claims Reserve (if applicable), for or relating to any
obligation or right described in this Article V.G, any Co-Defendant Claim or the amendment of any
contract, or the severance and rejection of obligations and liabilities in connection therewith, described in
this Article V.G. On the Effective Date, all Co-Defendant Claims arising under or related to any contract
of the Debtors shall be released and discharged to the maximum extent permitted by applicable law with
no consideration on account thereof, and all Proofs of Claim in respect thereof shall be deemed disallowed
and expunged, without further notice, or action, order or approval of the Bankruptcy Court or any other
Person, and any Opioid Claims arising under or related to any contract of the Debtors will be treated in
accordance with Article III of the Plan. For the avoidance of doubt, no Co-Defendant Claim or Opioid
Claim will be assumed by the Reorganized Debtors or NewCo, elevated to administrative priority status or
otherwise receive modified treatment as a result of the assumption or assumption and assignment of any
contract pursuant to this Article V.G.

         The Debtors shall provide notice to all known counterparties to any Executory Contract or
Unexpired Lease of this Article V.G. To the extent an objection is not timely filed and properly served on
the Debtors with respect to any contract of the Debtors in accordance with the Disclosure Statement Order,
the counterparty to such contract and all other Persons shall be bound by and deemed to have assented to
the amendment of such contract, the assumption or assumption and assignment of such amended contract
and the severance and release of obligations, liabilities and Claims described in this Article V.G. Except
to the extent that the Holder of a Co-Defendant Claim otherwise agrees or fails to object to such treatment,
the assumption or rejection of a contract or lease with the Holder of a Co-Defendant Claim shall not operate
as a release, waiver or discharge of any Co-Defendant Defensive Rights or Co-Defendant Claims. For the
avoidance of doubt, if a counterparty to any contract timely files and properly serves an objection on the
Debtors, (x) such objecting party will not be bound by this Article V.G., (y) any Cure Costs for such contract



                                                     100
             Case 20-12522-JTD          Doc 2917        Filed 06/18/21      Page 334 of 835



(if applicable) will be payable only by the Debtors, the Reorganized Debtors, or NewCo (as applicable),
and (z) any Claims for rejection damages (if applicable) relating to the Co-Defendant Claims arising
thereunder will be either Other Opioid Claims or No Recovery Opioid Claims and treated in accordance
with the Plan, and any other Claims for rejection damages (if applicable) will be General Unsecured Claims.

H.      Employee Compensation and Benefits

        1.      Compensation and Benefits Programs

         Subject to the provisions of the Plan, all Compensation and Benefits Programs (other than awards
of stock options, restricted stock, restricted stock units, and other equity awards) shall be treated as
Executory Contracts under the Plan and deemed assumed on the Effective Date pursuant to the provisions
of sections 365 and 1123 of the Bankruptcy Code. All Proofs of Claim Filed for amounts due under any
Compensation and Benefits Program shall be considered satisfied by the applicable agreement and/or
program and agreement to assume and cure in the ordinary course as provided in the Plan. All collective
bargaining agreements to which any Debtor is a party, and all Compensation and Benefits Programs which
are maintained pursuant to such collective bargaining agreements or to which contributions are made or
benefits provided pursuant to a current or past collective bargaining agreement, will be deemed assumed
on the Effective Date pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code and the
Reorganized Debtors reserve all of their rights under such agreements. For the avoidance of doubt, the
Debtors and Reorganized Debtors, as applicable, shall honor all their obligations under section 1114 of the
Bankruptcy Code.

         None of the Restructuring, the Restructuring Transactions, or any assumption of Compensation and
Benefits Programs pursuant to the terms herein shall be deemed to trigger any applicable change of control,
vesting, termination, acceleration or similar provisions therein. No counterparty shall have rights under a
Compensation and Benefits Program assumed pursuant to the Plan other than those applicable immediately
prior to such assumption.

        2.      Workers’ Compensation Programs

         As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the
Reorganized Debtors shall continue to honor their obligations under: (a) all applicable state workers’
compensation laws; and (b) the Workers’ Compensation Contracts. All Proofs of Claims filed by the
Debtors’ current or former employees on account of workers’ compensation shall be deemed withdrawn
automatically and without any further notice to or action, order, or approval of the Bankruptcy Court based
upon the treatment provided for herein; provided that nothing in the Plan shall limit, diminish, or otherwise
alter the Debtors’ or Reorganized Debtors’ defenses, Causes of Action, or other rights under applicable
non-bankruptcy law with respect to the Workers’ Compensation Contracts; provided, further, that nothing
herein shall be deemed to impose any obligations on the Debtors in addition to what is provided for under
applicable non-bankruptcy law and/or the Workers’ Compensation Contracts.

                                                 Article VI.

                           PROVISIONS GOVERNING DISTRIBUTIONS

A.      Distribution on Account of Claims Other than Opioid Claims Allowed as of the Effective Date

         Except as otherwise provided in the Plan or a Final Order, or as agreed to by the relevant parties,
distributions under the Plan on account of Claims other than Opioid Claims Allowed on or before the
Effective Date shall be made on the Initial Distribution Date; provided that (1) Allowed Administrative
Claims with respect to liabilities incurred by the Debtors in the ordinary course of business shall be paid or



                                                     101
             Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 335 of 835



performed in the ordinary course of business in accordance with the terms and conditions of any controlling
agreements, course of dealing, course of business or industry practice, (2) Allowed Priority Tax Claims
shall be satisfied in accordance with Article II.B herein, (3) Allowed Other Priority Claims shall be satisfied
in accordance with Article II.C herein, and (4) Allowed General Unsecured Claims and Allowed Trade
Claims that would not come due in the ordinary course of the Debtors’ business until after the Initial
Distribution Date shall be paid by the Reorganized Debtors in the ordinary course of business; provided,
further, that all Initial Distribution Date distributions are subject to the Disputed General Unsecured Claims
Reserve in accordance with Article VII.H of the Plan

B.      Distributions on Account of Claims Other than Opioid Claims Allowed After the Effective Date

        1.       Payments and Distributions on Disputed Claims

         Except as otherwise provided in the Plan, a Final Order, or as agreed to by the relevant parties,
distributions on account of Disputed Claims other than Opioid Claims that become Allowed after the
Effective Date shall be made on the next Periodic Distribution Date that is at least thirty (30) days after the
Disputed Claim becomes an Allowed Claim; provided that (a) Disputed Administrative Claims with respect
to liabilities incurred by the Debtors in the ordinary course of business that become Allowed after the
Effective Date shall be paid or performed in the ordinary course of business in accordance with the terms
and conditions of any controlling agreements, course of dealing, course of business, or industry practice,
(b) Disputed Priority Tax Claims that become Allowed Priority Tax Claims after the Effective date shall be
treated as Allowed Priority Tax Claims in accordance with Article II.B of the Plan, and (c) Disputed Other
Priority Claims that become Allowed Other Priority Claims after the Effective Date shall be treated as
Allowed Other Priority Claims in accordance with Article II.C of the Plan.

        2.       Special Rules for Distributions to Holders of Disputed Claims

        Notwithstanding any provision otherwise in the Plan and except as otherwise agreed to by the
relevant parties no partial payments and no partial distributions shall be made with respect to a Disputed
Claim until all such disputes in connection with such Disputed Claim have been resolved by settlement or
Final Order.

C.      Timing and Calculation of Amounts to Be Distributed

         Except as otherwise provided herein, on the Initial Distribution Date each Holder of an Allowed
Claim other than an Opioid Claim shall receive the full amount of the distributions that the Plan provides
for Allowed Claims in the applicable Class. If and to the extent that any Disputed Claims exist, distributions
on account of such Disputed Claims shall be made pursuant to Article VI.B and Article VII of the Plan.
Except as otherwise provided in the Plan, Holders of Claims shall not be entitled to interest, dividends, or
accruals on the distributions provided for in the Plan, regardless of whether such distributions are delivered
on or at any time after the Effective Date.

D.      Delivery of Distributions

        1.       Record Date for Distributions

         For purposes of making distributions on the Initial Distribution Date only, the Distribution Agent
shall be authorized and entitled to recognize only those Holders of Claims other than Opioid Claims
reflected in the Debtors’ books and records as of the close of business on the Confirmation Date; provided,
however, that such record date will not apply to any distributions related to the First Lien Notes, Second
Lien Notes, or Guaranteed Unsecured Notes maintained through DTC, and the record date for Holders of
Allowed First Lien Term Loan Claims shall be the Effective Date. Subject to the foregoing sentence, if a


                                                     102
             Case 20-12522-JTD           Doc 2917        Filed 06/18/21       Page 336 of 835



Claim other than an Opioid Claim is transferred (a) twenty-one (21) or more days before the Confirmation
Date and reasonably satisfactory documentation evidencing such transfer is Filed with the Bankruptcy
Court before the Confirmation Date, the Distribution Agent shall make the applicable distributions to the
applicable transferee, or (b) twenty (20) or fewer days before the Confirmation Date, the Distribution Agent
shall make distributions to the transferee only to the extent practical and, in any event, only if the relevant
transfer form is Filed with the Bankruptcy Court before the Confirmation Date and contains an
unconditional and explicit certification and waiver of any objection to the transfer by the transferor.

        2.       Delivery of Distributions in General

         Except as otherwise provided in the Plan, the Distribution Agent shall make distributions to Holders
of Allowed Claims other than Opioid Claims at the address for each such Holder as indicated in the Debtors’
records as of the date of any such distribution, including the address set forth in any Proof of Claim Filed
by that Holder or, with respect to Holders of Allowed First Lien Term Loan Claims, the address recorded
as of the Effective Date in the register maintained by the First Lien Agent, as applicable; provided that the
manner of such distributions shall be determined at the discretion of the Reorganized Debtors.

        3.       Distributions by Distribution Agents

         The Debtors and the Reorganized Debtors, as applicable, shall have the authority to enter into
agreements with one or more Distribution Agents to facilitate the distributions required hereunder. Except
in the case of the Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes
Indenture Trustee, each serving as a Distribution Agent, to the extent the Debtors and the Reorganized
Debtors, as applicable, determine to utilize a Distribution Agent to facilitate the distributions under the Plan
to Holders of Allowed Claims other than Opioid Claims, Guaranteed Unsecured Notes Claims, and Legacy
Unsecured Notes Claims, any such Distribution Agent would first be required to: (a) affirm its obligation
to facilitate the prompt distribution of any documents; (b) affirm its obligation to facilitate the prompt
distribution of any recoveries or distributions required under the Plan; and (c) waive any right or ability to
setoff, deduct from or assert any lien or encumbrance against the distributions required under the Plan to
be distributed by such Distribution Agent; provided, that no Distribution Agent (including the Guaranteed
Unsecured Notes Indenture Trustee) will be required to give any bond or surety or other security for the
performance of its duties unless otherwise ordered by the Bankruptcy Court.

         Subject to Section Article VI.D.4 below, distributions on account of the Guaranteed Unsecured
Notes Claims and the Legacy Unsecured Notes Claims will be made to or at the direction of the Guaranteed
Unsecured Notes Indenture Trustee or Legacy Unsecured Notes Indenture Trustee, as applicable, and such
trustee will be, and will act as, the Distribution Agent with respect to the applicable Guaranteed Unsecured
Notes Claims or Legacy Unsecured Notes Claims in accordance with the terms and conditions of this Plan
and the applicable debt documents. Distributions on account of the Allowed First Lien Term Loan Claims
will be made to the First Lien Agent or the New Takeback Term Loan Agent, as applicable, and the First
Lien Agent or the New Takeback Term Loan Agent (as applicable) will be, and will act as, the Distribution
Agent with respect to the Allowed First Lien Term Loan Claims in accordance with the terms and conditions
of this Plan and the applicable debt documents.

        The Debtors or the Reorganized Debtors, as applicable, shall pay to the Distribution Agents all
reasonable and documented fees and expenses of the Distribution Agents without the need for any
approvals, authorizations, actions, or consents. The Distribution Agents shall submit detailed invoices to
the Debtors or the Reorganized Debtors, as applicable, for all fees and expenses for which the Distribution
Agent seeks reimbursement and the Debtors or the Reorganized Debtors, as applicable, shall promptly pay
those amounts that they, in their sole discretion, deem reasonable, and shall object in writing to those fees
and expenses, if any, that the Debtors or the Reorganized Debtors, as applicable, deem to be unreasonable.
In the event that the Debtors or the Reorganized Debtors, as applicable, object to all or any portion of the


                                                      103
             Case 20-12522-JTD           Doc 2917        Filed 06/18/21       Page 337 of 835



amounts requested to be reimbursed in a Distribution Agent’s invoice, the Debtors or the Reorganized
Debtors, as applicable, and such Distribution Agent shall endeavor, in good faith, to reach mutual agreement
on the amount of the appropriate payment of such disputed fees and/or expenses. In the event that the
Debtors or the Reorganized Debtors, as applicable, and a Distribution Agent are unable to resolve any
differences regarding disputed fees or expenses, either party shall be authorized to move to have such
dispute heard by the Bankruptcy Court.

        4.       Distributions to Holders of Guaranteed Unsecured Notes Claims and Legacy Unsecured
                 Notes Claims

          The distributions of Takeback Second Lien Notes and New Mallinckrodt Ordinary Shares to be
made under this Plan to Holders of Guaranteed Unsecured Notes Claims shall be deemed made by the
Debtors or Reorganized Debtors, as applicable, to the Guaranteed Unsecured Notes Indenture Trustee
which shall transmit (or cause to be transmitted) such distributions to such Holders as set forth below.
Notwithstanding anything to the contrary in this Plan, the Guaranteed Unsecured Notes Indenture Trustee,
in its capacity as Distribution Agent, may transfer or facilitate the transfer of such distributions through the
facilities of DTC in exchange for the relevant Guaranteed Unsecured Notes. If it is necessary to adopt
alternate, additional or supplemental distribution procedures for any reason including because such
distributions cannot be made through the facilities of DTC, to otherwise effectuate the distributions under
this Plan, the Debtors or Reorganized Debtors, as applicable, shall implement the Alternate/Supplemental
Distribution Process. The Debtors or Reorganized Debtors (as applicable) shall use their best efforts to
make the Takeback Second Lien Notes and New Mallinckrodt Ordinary Shares to be distributed to Holders
of the Guaranteed Unsecured Notes eligible for distribution through the facilities of DTC.

         The distributions of New Mallinckrodt Ordinary Shares to be made under this plan to Holders of
Legacy Unsecured Notes Claims as part of the General Unsecured Claims Distribution shall be deemed
made by the Debtors or Reorganized Debtors, as applicable, to the Legacy Unsecured Notes Indenture
Trustee which shall transmit (or cause to be transmitted) such distributions to such Holders as set forth
below. Notwithstanding anything to the contrary in this Plan, the Legacy Unsecured Notes Indenture
Trustee, in its capacity as Distribution Agent, may transfer or facilitate the transfer of such distributions
through the facilities of DTC in exchange for the relevant Legacy Unsecured Notes. If it is necessary to
adopt alternate, additional or supplemental distribution procedures for any reason including because such
distributions cannot be made through the facilities of DTC, to otherwise effectuate the distributions under
this Plan, the Debtors or Reorganized Debtors, as applicable, shall implement the Alternate/Supplemental
Distribution Process. The Debtors or Reorganized Debtors (as applicable) shall use their best efforts to
make the New Mallinckrodt Ordinary Shares to be distributed to Holders of the Legacy Unsecured Notes
eligible for distribution through the facilities of DTC.

         The obligations of the Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured
Notes Indenture Trustee under or in connection with this Plan, the Guaranteed Unsecured Notes Indentures,
the Legacy Unsecured Notes Indentures, the Guaranteed Unsecured Notes, the Legacy Unsecured Notes,
and any related notes, stock, instruments, certificates, agreements, side letters, fee letters, and other
documents, shall be discharged and deemed fully satisfied upon the Effective Date. On and after the
Effective Date, the Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes
Indenture Trustee, each in its capacity as trustee shall be appointed and act as a Distribution Agent with
respect to the applicable Guaranteed Unsecured Notes Claims or Legacy Unsecured Notes Claims to
facilitate the distributions provided for in this Plan to the applicable Holders of Allowed Guaranteed
Unsecured Notes Claims or Allowed Legacy Unsecured Notes Claims. The obligations of each of the
Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Trustee, in its capacity as
Distribution Agent, under or in connection with this Plan shall be discharged and deemed fully satisfied
upon either: (i) DTC’s receipt of the distributions with respect to the Allowed Guaranteed Unsecured Notes



                                                      104
             Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 338 of 835



Claims or Allowed Legacy Unsecured Notes Claims; or (ii) if the Alternate/Supplemental Distribution
Process is utilized, upon the earlier of the completion of the Guaranteed Unsecured Notes Indenture
Trustee’s or Legacy Unsecured Notes Indenture Trustee’s role in such process or in accordance with the
terms of the Alternate/Supplemental Distribution Process and, in either case, the Guaranteed Unsecured
Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee shall not, in any capacity, have
liability to any person for having made, or facilitating the making of, the distributions through the foregoing
items (i) and (ii). The Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes
Indenture Trustee, each as a Distribution Agent under this Plan will be entitled to recognize and deal with
for all purposes the Holders of the Guaranteed Unsecured Notes or Legacy Unsecured Notes to the extent
necessary to facilitate the distributions with respect to Allowed Guaranteed Unsecured Notes Claims or
Allowed Legacy Unsecured Notes Claims to such Holders. Regardless of which capacity it is acting, the
Guaranteed Unsecured Notes Indenture Trustee or the Legacy Unsecured Notes Indenture Trustee in any
capacity shall not be responsible for, and may conclusively rely on, the Alternate/Supplemental Distribution
Process.

         Notwithstanding any policies, practices or procedures of DTC or any other applicable clearing
system, DTC and all other applicable clearing systems shall cooperate with and take all actions reasonably
requested by the Notice and Claims Agent, the Guaranteed Unsecured Notes Indenture Trustee, or the
Legacy Unsecured Notes Indenture Trustee to facilitate distributions to Holders of Allowed Guaranteed
Unsecured Notes Claims and Allowed Legacy Unsecured Notes Claims without requiring that such
distributions be characterized as repayments of principal or interest. No Distribution Agent, including the
Guaranteed Unsecured Notes Indenture Trustee and the Legacy Unsecured Notes Indenture Trustee in any
capacity, shall be required to provide indemnification or other security to DTC in connection with any
distributions to Holders of Allowed Guaranteed Unsecured Notes Claims or Allowed Legacy Unsecured
Notes Claims through the facilities of DTC.

        5.       Minimum Distributions

         Notwithstanding anything herein to the contrary, other than on account of Unimpaired Claims, the
Reorganized Debtors and the Distribution Agents shall not be required to make distributions or payments
of less than $100 (whether Cash or otherwise) and shall not be required to make partial distributions or
payments of fractions of dollars or distributions of fractions of a New Mallinckrodt Ordinary Share.
Whenever any payment or distribution of a fraction of a dollar or a fraction of a New Mallinckrodt Ordinary
Share would otherwise be called for, the actual payment or distribution will reflect a rounding down of such
fraction to the nearest whole dollar or nearest whole New Mallinckrodt Ordinary Share.

        6.       Undeliverable Distributions

                 a.      Holding of Certain Undeliverable Distributions

         Undeliverable distributions shall remain in the possession of the Reorganized Debtors, subject to
Article VI.D.5.b of the Plan, until such time as any such distributions become deliverable or are otherwise
disposed of in accordance with applicable nonbankruptcy law. Undeliverable distributions shall not be
entitled to any additional interest, dividends, or other accruals of any kind on account of their distribution
being undeliverable. Nothing contained herein shall require the Reorganized Debtors to attempt to locate
any Holder of an Allowed Claim.

                 b.      Failure to Present Checks

       Checks issued by the Reorganized Debtors (or their Distribution Agent) on account of Allowed
Claims shall be null and void if not negotiated within 90 days after the issuance of such check. Requests



                                                     105
            Case 20-12522-JTD             Doc 2917     Filed 06/18/21       Page 339 of 835



for reissuance of any check shall be made directly to the Distribution Agent by the Holder of the relevant
Allowed Claim with respect to which such check originally was issued.

E.      Compliance with Tax Requirements/Allocations

         In connection with the Plan, to the extent applicable, the Reorganized Debtors shall comply with
all tax withholding and reporting requirements imposed on them by any Governmental Unit, and all
distributions pursuant hereto shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary (except for the Consent Rights of Supporting
Parties in Article I.C), the Reorganized Debtors and the Distribution Agent shall be authorized to take all
actions necessary or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay
applicable withholding taxes, including requiring as a condition to the receipt of a distribution, that the
Holders of an Allowed Claim complete an IRS Form W-8 or W-9, as applicable. The Reorganized Debtors
reserve the right to allocate all distributions made under the Plan in compliance with all applicable wage
garnishments, alimony, child support and other spousal awards, Liens, and encumbrances.

F.      Applicability of Insurance Contracts Other than Opioid Insurance Policies

        Except as otherwise provided in the Plan, payments to Holders of Claims covered by Insurance
Contracts other than Opioid Claims shall be in accordance with the provisions of any applicable Insurance
Contract. Nothing contained in the Plan shall constitute or be deemed a waiver of any Cause of Action that
the Debtors or any Entity may hold against any other Entity, including Insurers under any Insurance
Contracts other than Opioid Insurance Policies, nor shall anything contained herein constitute or be deemed
a waiver by such Insurers of any rights or defenses, including coverage defenses, held by such Insurers
under the Insurance Contracts other than Opioid Insurance Policies and/or applicable non-bankruptcy law.
For the avoidance of doubt, this Article VI.F shall not apply to Opioid Insurance Policies.

G.      Distributions on Account of Opioid Claims

         Notwithstanding anything to the contrary herein, Articles VI.A through VI.F (except as set forth in
the last sentence of Article VI.E) shall not apply to any Opioid Claims, and all distributions to Holders of
Opioid Claims (including Opioid Demands) shall be made by and from the Opioid MDT II and the Opioid
Creditor Trusts in accordance with the Opioid MDT II Documents and Opioid Creditor Trust Documents,
as applicable.

H.      Allocation of Distributions Between Principal and Interest

         Except with respect to the 2024 First Lien Term Loan Claims and the 2025 First Lien Term Loan
Claims and as otherwise required by law (as reasonably determined by the Reorganized Debtors),
distributions with respect to an Allowed Claim shall be allocated first to the principal portion of such
Allowed Claim (as determined for United States federal income tax purposes) and, thereafter, to the
remaining portion of such Allowed Claim, if any.

I.      Postpetition Interest on Claims

         Notwithstanding anything else in this Plan or the Confirmation Order, postpetition interest shall
accrue and be paid on the First Lien Revolving Credit Facility Claims, the First Lien Term Loan Claims,
the First Lien Notes Claims, and the Second Lien Notes Claims as set forth in the Plan. Unless otherwise
specifically provided for in this Plan (including the preceding sentence and Article II.B.2 of the Plan), the
Confirmation Order, the Cash Collateral Order, or Final Order of the Bankruptcy Court, or required by
applicable bankruptcy law (including, without limitation, as required pursuant to section 506(b) or section



                                                     106
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 340 of 835



511 of the Bankruptcy Code), postpetition interest shall not accrue or be paid on any other Claims and no
Holder of any other Claims shall be entitled to interest accruing on or after the Petition Date on any Claim.

                                                Article VII.

                         PROCEDURES FOR RESOLVING CONTINGENT,
                           UNLIQUIDATED, AND DISPUTED CLAIMS

A.      Allowance and Disallowance of Claims Other than Opioid Claims

        After the Effective Date, and except as otherwise provided in this Plan, the Reorganized Debtors
shall have and shall retain any and all available rights and defenses that the Debtors had with respect to any
Claim other than Opioid Claims and any other Claims Allowed under this Plan (including the First Lien
Term Loan Claims), including the right to assert any objection to Claims based on the limitations imposed
by section 502 of the Bankruptcy Code. The Debtors and the Reorganized Debtors may, but are not required
to, contest the amount and validity of any Disputed Claim other than Opioid Claims or contingent or
unliquidated Claim other than Opioid Claims in the ordinary course of business in the manner and venue
in which such Claim would have been determined, resolved or adjudicated if the Chapter 11 Cases had not
been commenced.

B.      Prosecution of Objections to Claims other than Opioid Claims

         After the Confirmation Date but before the Effective Date, the Debtors, and after the Effective
Date, the Reorganized Debtors shall have the authority to File objections to Claims (other than Claims that
are Allowed under this Plan or Opioid Claims) and settle, compromise, withdraw, or litigate to judgment
objections to any and all such Claims, regardless of whether such Claims are in an Unimpaired Class or
otherwise; provided, however, this provision shall not apply to Professional Fee Claims, which may be
objected to by any party-in-interest in these Chapter 11 Cases. From and after the Effective Date, the
Reorganized Debtors may settle or compromise any Disputed Claim other than Opioid Claims without any
further notice to or action, order, or approval of the Bankruptcy Court. The Reorganized Debtors shall have
the sole authority to administer and adjust the Claims Register and their respective books and records to
reflect any such settlements or compromises without any further notice to or action, order, or approval of
the Bankruptcy Court.

C.      Estimation of Claims and Interests other than Opioid Claims

         Before or after the Effective Date, the Debtors or Reorganized Debtors, as applicable, may (but are
not required to) at any time request that the Bankruptcy Court estimate any Disputed Claim other than any
Opioid Claim that is contingent or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any
reason, regardless of whether any party previously has objected to such Claim or whether the Bankruptcy
Court has ruled on any such objection; and the Bankruptcy Court shall retain jurisdiction to estimate any
such Claim or Interest, including during the litigation of any objection to any Claim or during the appeal
relating to such objection; provided that if the Bankruptcy Court resolves the Allowed amount of a Claim,
the Debtors and Reorganized Debtors, as applicable, shall not be permitted to seek an estimation of such
Claim. Notwithstanding any provision otherwise in the Plan, a Claim that has been expunged from the
Claims Register, but that either is subject to appeal or has not been the subject of a Final Order, shall be
deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event
that the Bankruptcy Court estimates any contingent or unliquidated Claim, that estimated amount shall
constitute a maximum limitation on such Claim for all purposes under the Plan (including for purposes of
distributions), and the relevant Reorganized Debtor may elect to pursue any supplemental proceedings to
object to any ultimate distribution on such Claim subject to applicable law.




                                                     107
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 341 of 835



D.      No Distributions Pending Allowance

       If any portion of a Claim other than an Opioid Claim is Disputed, no payment or distribution
provided hereunder shall be made on account of such Claim unless and until such Claim becomes an
Allowed Claim.

E.      Time to File Objections to Administrative Claims

        Any objections to Administrative Claims shall be Filed on or before the Administrative Claims
Objection Deadline, subject to any extensions thereof approved by the Bankruptcy Court.

F.      Procedures Regarding Opioid Claims

        Notwithstanding anything to the contrary herein, Articles VII.A through VII.E shall not apply to
any Opioid Claims, and all procedures for resolving contingent, unliquidated, and disputed Opioid Claims
(including Opioid Demands) shall be governed by the Opioid MDT II Documents and Opioid Creditor
Trust Documents, as applicable.

G.      No Filing of Proofs of Claim for Opioid Claims or VI Opioid Claims

         Except as otherwise provided in the Plan, Holders of Opioid Claims or VI Opioid Claims shall not
be required to File a Proof of Claim or a request for payment of an Administrative Claim on account of
such Holder’s Opioid Claims or VI Opioid Claims, and no such Holders should File such a Proof of Claim
or such request for payment; provided, however, that a Holder of an Opioid Claim or VI Opioid Claim that
wishes to assert Claims against the Debtors that are not Opioid Claims or VI Opioid Claims must File a
Proof of Claim or a request for payment of an Administrative Claim with respect to such Claims which are
not Opioid Claims or VI Opioid Claims on or before the applicable Claims Bar Date. The Opioid MDT II
and Opioid Creditor Trusts will make distributions on account of Opioid Claims in accordance with the
Opioid MDT II Documents and Opioid Creditor Trust Documents, as applicable. Within sixty (60) days
after the Effective Date, the Reorganized Debtors shall File a report identifying all Proofs of Claim that are
reasonably determined by the Debtors, in consultation with the Governmental Plaintiff Ad Hoc Committee,
the MSGE Group, the Future Claimants Representative, and the Opioid MDT II Trustee(s), to be on account
of any Opioid Claim, and upon the Filing of such report and notice to the Holders of such Proofs of Claim
who shall have 14 days to object to such determination, all identified Proofs of Claim shall be deemed
withdrawn and removed from the applicable claims register; provided that Proofs of Claim on account of
Opioid Claims filed after the Effective Date shall automatically be deemed withdrawn and expunged;
provided, further, that upon a motion and hearing with notice to the Governmental Plaintiff Ad Hoc
Committee, the MSGE Group, the Future Claimants Representative, the Opioid MDT II Trustee(s), and,
solely in the case of clause (b) below, the Holders of affected Proofs of Claim, the Debtors (a) may seek an
extension to the deadline to File such report from the Bankruptcy Court and (b) may seek determination by
the Bankruptcy Court that any Proof of Claim is on account of any Opioid Claim.

H.      Disputed General Unsecured Claims Reserve

         1.      On or after the Effective Date, the Reorganized Debtors shall have the right, but are not
required, to establish a Disputed General Unsecured Claims Reserve in Cash from the General Unsecured
Claims Recovery Pool and the Trade Claim Cash Pool Unallocated Amount. Such Disputed General
Unsecured Claims Reserve may also include New Mallinckrodt Ordinary Shares issuable from the General
Unsecured Claims Recovery Pool that will be issued by the Reorganized Debtors if and when needed for
distributions from the Disputed General Unsecured Claims Reserve. For the avoidance of doubt, the New
Governance Documents shall ensure that the Reorganized Debtors are able to issue the number of New
Mallinckrodt Ordinary Shares needed to satisfy obligations of the General Unsecured Claims Recovery



                                                     108
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 342 of 835



Pool. The Debtors reserve the right to estimate the value of Disputed General Unsecured Claims in the
Bankruptcy Court for distribution purposes and to reduce the Disputed General Unsecured Claims Reserve
in a manner consistent with any such estimation.

        2.        Subject to definitive guidance from the IRS or a court of competent jurisdiction to the
contrary, the Reorganized Debtors shall treat the Disputed General Unsecured Claims Reserve as a
“disputed ownership fund” governed by Treasury Regulation section 1.468B-9 and to the extent permitted
by applicable law, report consistently with the foregoing for state and local income tax purposes. All parties
(including, to the extent applicable, the Debtors, the Reorganized Debtors, and Holders of Disputed General
Unsecured Claims) shall be required to report for tax purposes consistently with the foregoing.

          3.      The Reorganized Debtors shall hold in the Disputed General Unsecured Claims Reserve
all distributions to be made on account of (a) Disputed General Unsecured Claims and (b) Disputed Trade
Claims whose Holders (i) vote to reject the Plan or (ii) do not agree to maintain Favorable Trade Terms in
accordance with the requirements set forth in the Disclosure Statement Order, for the benefit of all Holders
Claims entitled to receive a General Unsecured Claims Distribution. All taxes imposed on the assets or
income of the Disputed General Unsecured Claims Reserve shall be payable by the Reorganized Debtors
from the assets of the Disputed General Unsecured Claims Reserve.

         4.       In the event assets in the Disputed General Unsecured Claims Reserve are insufficient to
satisfy all of the Disputed General Unsecured Claims that have become Allowed, such Allowed Claims
shall be satisfied pro rata from such remaining assets in the Disputed General Unsecured Claims Reserve.
After all assets have been distributed from the Disputed General Unsecured Claims Reserve, no further
distributions shall be made in respect of Disputed General Unsecured Claims. At such time as all Disputed
General Unsecured Claims have been resolved, any remaining assets in the Disputed General Unsecured
Claims Reserve shall be distributed pro rata to Holders of Allowed General Unsecured Claims.

        5.     The Reorganized Debtors may request an expedited determination of taxes under section
505(b) of the Bankruptcy Code for all returns filed for or on behalf of the Disputed General Unsecured
Claims Reserve for all taxable periods through the date on which final distributions are made.

I.      Distributions After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any)
shall be made to the Holder of such Allowed Claim in accordance with the provisions of this Plan. As soon
as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim becomes a Final Order, the Reorganized Debtors shall provide to the Holder of such Claim
the distribution (if any) to which such Holder is entitled under this Plan as of the Effective Date, without
any postpetition interest to be paid on account of such Claim.

J.      Disallowance of Certain First Lien Credit Agreement Claims, First Lien Notes Claims, and
        Second Lien Notes Claims.

         Notwithstanding anything to the contrary in the Plan (except for the Consent Rights of Supporting
Parties in Article I.C), the following Claims shall be disallowed on the Effective Date except as otherwise
ordered by a Final Order of the Bankruptcy Court before the Effective Date: (a) any First Lien Credit
Agreement Claims (i) for default rate interest under Section 2.13(c) of the First Lien Credit Agreement in
excess of the non-default rate applicable under Sections 2.13(a) or (b) of the First Lien Credit Agreement,
or (ii) for interest based on the asserted conversion of any “Eurocurrency Borrowing” to an “ABR
Borrowing” (each as defined in the First Lien Credit Agreement) under Section 2.07(e) of the First Lien
Credit Agreement, to the extent such interest exceeds the interest payable on such borrowing as a
Eurocurrency Borrowing; provided that, notwithstanding the foregoing, the Allowed First Lien Term Loan



                                                     109
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 343 of 835



Claims shall include the applicable amount of First Lien Term Loans Accrued and Unpaid Interest and such
First Lien Term Loans Accrued and Unpaid Interest shall not be subject to disallowance; provided further
that notwithstanding anything to the contrary in the Plan, the Cash Collateral Order or the First Lien Credit
Agreement, all adequate protection payments made by the Debtors pursuant to the Cash Collateral Order
during the Chapter 11 Cases to the First Lien Revolving Lenders, the First Lien Term Lenders and their
respective agents and professionals shall be retained by the First Lien Revolving Lenders, the First Lien
Term Lenders and such agents and professionals, as applicable, and not recharacterized as principal
payments (other than payments of principal made on or prior to April 23, 2021 and First Lien Term Loan
Principal Payments) or otherwise subject to disgorgement, recovery, or avoidance by any party under any
legal or equitable theory regardless of whether such payments arguably exceed the Allowed amount of the
First Lien Revolving Credit Facility Claims or the First Lien Term Loan Claims, as applicable (b) any First
Lien Notes Claims (i) for any principal premium in excess of the principal amount of such Claims
outstanding immediately before the Petition Date, including for any “Applicable Premium” (as defined in
the First Lien Notes Indenture) or optional redemption premium, (ii) for any “Additional Amounts” (as
defined in the First Lien Notes Indenture), or (iii) for default rate interest under Section 2.11 of the First
Lien Notes Indenture; (c) any Second Lien Notes Claims (i) for any principal premium in excess of the
principal amount of such Claims outstanding immediately before the Petition Date, including for any
“Applicable Premium” (as defined in the Second Lien Notes Indenture) or optional redemption premium,
(ii) for any “Additional Amounts” (as defined in the Second Lien Notes Indenture), or (iii) for default rate
interest under Section 2.11 of the Second Lien Notes Indenture; and (d) any Claims for payment of any
amounts payable pursuant to the Cash Collateral Order arising after the Effective Date. The Debtors will
file an objection to such Claims consistent with the foregoing in advance of the Confirmation Hearing, and
the Bankruptcy Court’s determination of such objection shall be set forth in the Confirmation Order.

                                                Article VIII.

                     CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

A.      Conditions Precedent to the Effective Date

        The following are conditions precedent to the Effective Date that must be satisfied or waived:

       1.      The Restructuring Support Agreement shall remain in full force and effect and shall not
have been terminated, and the parties thereto shall be in compliance therewith.

         2.      The Bankruptcy Court or another court of competent jurisdiction shall have entered the
Confirmation Order in form and substance consistent with the Restructuring Support Agreement, such order
shall be a Final Order, and to the extent such order was not entered by the District Court, the District Court
shall have affirmed the Confirmation Order.

        3.      The Bankruptcy Court or another court of competent jurisdiction shall have entered the
Opioid Operating Injunction Order, such order shall be a Final Order, and to the extent such order was not
entered by the District Court, the District Court shall have affirmed the Opioid Operating Injunction Order.

        4.       All documents and agreements necessary to implement the Plan (including the Definitive
Documents, the Opioid MDT II Documents, the Opioid Creditor Trust Documents, the New Opioid Warrant
Agreement, the Federal/State Acthar Settlement Agreements, and any documents contained in the Plan
Supplement) shall have been documented in compliance with the Restructuring Support Agreement (to the
extent applicable), executed and tendered for delivery. All conditions precedent to the effectiveness of such
documents and agreements shall have been satisfied or waived pursuant to the terms thereof (which may
occur substantially concurrently with the occurrence of the Effective Date).




                                                     110
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 344 of 835



        5.      All actions, documents, certificates, and agreements necessary to implement the Plan
(including the Definitive Documents and any other documents contained in the Plan Supplement) shall have
been effected or executed and delivered to the required parties and, to the extent required, filed with the
applicable Governmental Units in accordance with applicable laws.

        6.       All authorizations, consents, regulatory approvals, rulings, or documents that are necessary
to implement and effectuate the Plan and the transactions contemplated herein shall have been obtained,
and there shall have been no determination by the Debtors, including by the Disinterested Managers, to not
grant any of the releases to Released Parties set forth in Article IX of the Plan.

         7.      All conditions precedent to the consummation of the Opioid Settlement (as defined in the
Restructuring Support Agreement) and related transactions, including establishment of the Opioid MDT II
and Opioid Creditor Trusts and authorization for payment of the Opioid MDT II Consideration, have been
satisfied or waived by the party or parties entitled to waive them.

        8.      The final version of the Plan, Plan Supplement, the Opioid MDT II Documents, Opioid
Creditor Trust Documents, and all of the schedules, documents, and exhibits contained therein, and all other
schedules, documents, supplements, and exhibits to the Plan, shall be consistent with the Restructuring
Support Agreement.

         9.     The Bankruptcy Court shall have confirmed that the Bankruptcy Code authorizes the
transfer and vesting of the Opioid MDT II Consideration, notwithstanding any terms of any Insurance
Contracts related to the Assigned Insurance Rights or provisions of non-bankruptcy law that any Insurer
may otherwise argue prohibits such transfer and vesting.

        10.     The Canadian Court shall have issued an order recognizing the Confirmation Order in the
Recognition Proceedings and giving full force and effect to the Confirmation Order in Canada and such
recognition order shall have become a Final Order.

        11.     The High Court of Ireland shall have made the Irish Confirmation Order and the Scheme
of Arrangement shall have become effective in accordance with its terms (or shall become effective
concurrently with effectiveness of the Plan).

        12.      The Irish Takeover Panel shall have either: (a) confirmed that an obligation to make a
mandatory general offer for the shares of Parent pursuant to Rule 9 of the Irish Takeover Rules will not be
triggered by the implementation of the Scheme of Arrangement and the Plan; or (b) otherwise waived the
obligation on the part of any Person to make such an offer.

         13.    Any civil or criminal claims asserted by or on behalf of the Department of Justice (other
than those resolved pursuant to the Federal/State Acthar Settlement) have been resolved on terms
reasonably acceptable to the Debtors, the Required Supporting Unsecured Noteholders the Governmental
Plaintiff Ad Hoc Committee, and the MSGE Group.

       14.      The Debtors shall have paid in full all professional fees and expenses of the Debtors’
Retained Professionals (including the Retained Professionals of the Disinterested Managers) that require
the Bankruptcy Court’s approval or amounts sufficient to pay such fees and expenses after the Effective
Date shall have been placed in a Professional Fee Escrow Account pending the Bankruptcy Court’s
approval of such fees and expenses.

       15.     The Professional Fee Escrow Account shall have been established and funded in Cash in
accordance with Article II.A.2.




                                                    111
              Case 20-12522-JTD          Doc 2917       Filed 06/18/21       Page 345 of 835



          16.    The Debtors shall have paid the Restructuring Expenses including the Transaction Fees, in
full, in Cash.

         17.     The Debtors shall have paid (A) the Noteholder Consent Fee, (B) the outstanding invoices
on account of any Indenture Trustee Fees delivered to the Debtors (or their counsel) at least two (2) business
days before the Effective Date, and (C) the Term Loan Exit Payment (and (i) the First Lien Agent shall
have received such Term Loan Exit Payment on behalf of the First Lien Term Lenders and shall have
distributed such Term Loan Exit Payment to the First Lien Term Lenders or (ii) the Term Loan Exit
Payment shall have otherwise been distributed to the First Lien Term Lenders by means approved by the
Ad Hoc First Lien Term Lender Group), and the foregoing payments shall not be subject to setoff, demand,
recharacterization, turnover, disgorgement, avoidance, or other similar rights of recovery asserted by any
Person.

        18.      The Cash Collateral Order shall have remained in full force and effect.

        19.    The Restructuring to be implemented on the Effective Date shall be consistent with the
Plan, the Scheme of Arrangement, and the Restructuring Support Agreement.

B.      Waiver of Conditions

          Subject to and without limiting or expanding the respective rights of each party to the Restructuring
Support Agreement, the Debtors, the Required Supporting Unsecured Noteholders, the Governmental
Plaintiff Ad Hoc Group, and the MSGE Group may collectively waive any of the conditions to the Effective
Date set forth in Article VIII.A at any time, without any notice to parties in interest and without any further
notice to or action, order, or approval of the Bankruptcy Court, and without any formal action; provided
that (a) the conditions set forth in Article VIII.A.14 and VIII.A.15 may be waived by only the Debtors with
the consent of the affected Retained Professionals; (b) the waiver of Article VIII.A.4 (with respect to the
New Takeback Term Loan Documentation and other documents to which the Supporting Term Lenders
have consent rights under the Restructuring Support Agreement), Article VIII.A.16 (with respect to the
Restructuring Expenses payable to the advisors of the Ad Hoc First Lien Term Lender Group), and Article
VIII.A.17(C) shall require the consent of the Required Supporting Term Lenders, and (c) the waiver of the
condition set forth in Article VIII.A.17(B) shall also require the consent of the Guaranteed Unsecured Notes
Indenture Trustee.

C.      Effect of Non-Occurrence of Conditions to the Effective Date

         If the Effective Date does not occur on or before the termination of the Restructuring Support
Agreement, then: (1) the Plan shall be null and void in all respects; (2) any settlement or compromise
embodied in the Plan, assumption of Executory Contracts or Unexpired Leases effected under the Plan, and
any document or agreement executed pursuant to the Plan, shall be deemed null and void; and (3) nothing
contained in the Plan, the Confirmation Order, or the Disclosure Statement shall: (a) constitute a waiver or
release of any Claims, Interests, or Causes of Action; (b) prejudice in any manner the rights of the Debtors
or any other Entity; or (c) constitute an admission, acknowledgement, offer, or undertaking of any sort by
the Debtors or any other Entity.

D.      Substantial Consummation

         “Substantial consummation” of the Plan, as defined in section 1102(2) of the Bankruptcy Code,
shall be deemed to occur on the Effective Date.




                                                     112
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 346 of 835



                                                  Article IX.

                      RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.      Discharge of Claims, Opioid Demands, and Interests; Compromise and Settlement of Claims,
        Opioid Demands, and Interests.

         Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code, and
except as otherwise specifically provided in the Plan, the distributions, rights, and treatment that are
provided in the Plan shall be in full and final satisfaction, settlement, release, and discharge, effective as of
the Effective Date, of all Claims, Opioid Claims, Opioid Demands, and Interests of any nature whatsoever,
whether known or unknown, against, liabilities of, demands against, Liens on, obligations of, or rights
against the Debtors, the Reorganized Debtors, or any of their assets or properties, regardless of whether any
property shall have been distributed or retained pursuant to the Plan on account of such Claims, Opioid
Claims, Opioid Demands, or Interests, including demands, liabilities, and Causes of Action that arose before
the Effective Date, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or
502(i) of the Bankruptcy Code, in each case whether or not: (1) a Proof of Claim is Filed or deemed Filed
pursuant to section 501 of the Bankruptcy Code; (2) a Claim, Opioid Claim, Opioid Demand, or Interest is
Allowed; or (3) the Holder of such Claim, Opioid Claim, Opioid Demand, or Interest has accepted the Plan.
Except as otherwise provided herein, any default by the Debtors with respect to any Claim, Opioid Claim,
or Interest that existed immediately prior to or on account of the filing of the Chapter 11 Cases shall be
deemed cured on the Effective Date. The Confirmation Order shall be a judicial determination of the
discharge of all Claims, Opioid Demands, and Interests subject to the Effective Date occurring, except as
otherwise expressly provided in the Plan. For the avoidance of doubt, nothing in this Article IX.A shall
affect the rights of Holders of Claims and Interests to seek to enforce the Plan, including the distributions
to which Holders of Allowed Claims and Interests may be entitled to under the Plan.

         In consideration for the distributions and other benefits provided pursuant to the Plan, the
provisions of the Plan shall constitute a good faith compromise of all Claims, Opioid Demands, Interests
and controversies relating to the contractual, legal, and subordination rights that a Holder of a Claim or
Interest may have with respect to any Allowed Claim or Interest, or any distribution to be made on account
of such Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Opioid Demands,
Interests and controversies, as well as a finding by the Bankruptcy Court that such compromises or
settlements are in the best interests of the Debtors, their Estates, and Holders of Claims and Interests and
are fair, equitable, and reasonable. The Co-Defendant Defensive Rights shall not be waived, released,
altered, impaired, or discharged and all Co-Defendant Defensive Rights are preserved, as provided in
Article IX.M of the Plan.

B.      Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions of
the Bankruptcy Code), as of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service of the Released Parties before
and during the Chapter 11 Cases to facilitate the Opioid Settlement (as defined in the Restructuring
Support Agreement) and the restructuring, and except as otherwise explicitly provided in the Plan
or in the Confirmation Order, the Released Parties shall be deemed conclusively, absolutely,
unconditionally, irrevocably and forever released and discharged, to the maximum extent permitted
by law, as such law may be extended subsequent to the Effective Date, by the Debtors and the Estates
from any and all Claims, counterclaims, disputes, obligations, suits, judgments, damages, demands,
debts, rights, Causes of Action, liens, remedies, losses, contributions, indemnities, costs, liabilities,


                                                      113
           Case 20-12522-JTD           Doc 2917       Filed 06/18/21      Page 347 of 835



attorneys’ fees and expenses whatsoever, including any derivative claims, asserted or assertable on
behalf of the Debtors or their Estates, whether liquidated or unliquidated, fixed or contingent,
matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, accrued
or unaccrued, existing or hereinafter arising, whether in law or equity, whether sounding in tort or
contract, whether arising under federal or state statutory or common law, or any other applicable
international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement or
otherwise, that the Debtors or their Estates would have been legally entitled to assert in their own
right (whether individually or collectively) or on behalf of the Holder of any Claim or Equity Interest
or other person, based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof and as such Entities existed
prior to or after the Petition Date), their Estates, the Debtors’ in- or out-of-court restructuring efforts
(including the Chapter 11 Cases), the purchase, sale, or rescission of the purchase or sale of any
security or indebtedness of the debtors, the subject matter of, or the transactions or events giving rise
to, any Claim or Equity Interest that is treated in the Plan, litigation claims arising from historical
intercompany transactions between or among a Debtor and another Debtor, the business or
contractual arrangements between any Debtor and any Released Party (including the exercise of any
common law or contractual rights of setoff or recoupment by any Released Party at any time on or
prior to the Effective Date), the restructuring of any Claim or Equity Interest before or during the
Chapter 11 Cases, any Avoidance Actions, the negotiation, formulation, preparation, dissemination,
filing, or implementation of, prior to the Effective Date, the Definitive Documents, the Opioid MDT
II, Opioid MDT II Documents, the Opioid Creditor Trusts, the Opioid Creditor Trust Documents,
the “agreement in principle for global opioid settlement and associated debt refinancing activities”
announced by the Parent on February 25, 2020 and all matters and potential transactions described
therein, the Restructuring Support Agreement (including any amendments and/or joinders thereto)
and related prepetition and postpetition transactions, the Disclosure Statement, the Plan, the Plan
Supplement, any Restructuring Transaction, any agreement, instrument, release, and other
documents (including providing any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document, or other agreement contemplated by the Plan or the reliance by any
Released Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered
into prior to the Effective Date in connection with the creation of the Opioid MDT II, the Opioid
Creditor Trusts, the “agreement in principle for global opioid settlement and associated debt
refinancing activities” announced by the Parent on February 25, 2020, the Restructuring Support
Agreement and related prepetition transactions, the Disclosure Statement, the Plan, the Plan
Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of confirmation
(including the solicitation of votes on the Plan), the pursuit of consummation, the administration and
implementation of the Plan, including the issuance or distribution of Securities pursuant to the Plan,
or the distribution of property under the Plan or any other related agreement, or upon the business
or contractual arrangements between any Debtor and any Released Party, and any other act or
omission, transaction, agreement, event, or other occurrence or circumstance taking place on or
before the Effective Date related or relating to any of the foregoing; provided, however, that the
Debtors do not release, and the Opioid MDT II shall retain, all Assigned Third-Party Claims and
Assigned Insurance Rights; provided, further, that the Debtors do not release, Claims or Causes of
Action arising out of, or related to, any act or omission of a Released Party that is determined by
Final Order of the Bankruptcy Court or any other court of competent jurisdiction to have constituted
actual fraud, gross negligence, or willful misconduct. The foregoing release will be effective as of the
Effective Date without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule or the vote, consent, authorization or approval of any person
and the Confirmation Order shall permanently enjoin the commencement or prosecution by any
person, whether directly, derivatively or otherwise, of any Claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, or liabilities released pursuant to this Debtor
Release. Notwithstanding anything to the contrary in the foregoing, the releases by the Debtors set


                                                   114
           Case 20-12522-JTD          Doc 2917       Filed 06/18/21      Page 348 of 835



forth above do not release any post-Effective Date obligations of any party or Entity under the Plan,
any restructuring, any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan, or any Claims which are reinstated pursuant to the
Plan. The foregoing release will be effective as of the Effective Date without further notice to or order
of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
consent, authorization, or approval of any person, and the Confirmation Order shall permanently
enjoin the commencement or prosecution by any person, whether directly, derivatively, or otherwise,
of any Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, or
liabilities released pursuant to the foregoing release.

       The Reorganized Debtors, the Opioid MDT II, and the Opioid Creditor Trusts shall be
bound, to the same extent the Debtors are bound, by the releases set forth in Article IX.B of the Plan.
For the avoidance of doubt, Claims or Causes of Action arising out of, or related to, any act or
omission of a Released Party prior to the Effective Date that is determined by Final Order of the
Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,
gross negligence, or willful misconduct, including findings after the Effective Date, are not released
pursuant to Article IX.B of the Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases by the Debtors set forth in Article IX.B of the Plan, which
includes by reference each of the related provisions and definitions contained herein, and further
shall constitute the Bankruptcy Court’s finding that such release is: (a) in exchange for the good and
valuable consideration provided by the Released Parties; (b) a good faith settlement and compromise
of the Claims released by the Debtor Release; (c) in the best interests of the Debtors, their Estates
and all Holders of Claims and Equity Interests; (d) fair, equitable and reasonable; (e) given and made
after due notice and opportunity for hearing; and (f) a bar to any Entity or person asserting any
Claim or Cause of Action released by Article IX.B of the Plan.

C.      Releases by Non-Debtor Releasing Parties Other Than Opioid Claimants

        Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions of
the Bankruptcy Code), as of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service of the Released Parties before
and during the Chapter 11 Cases to facilitate the Opioid Settlement (as defined in the Restructuring
Support Agreement) and restructuring, and except as otherwise explicitly provided in the Plan or in
the Confirmation Order, the Released Parties shall be deemed conclusively, absolutely,
unconditionally, irrevocably and forever released and discharged, to the maximum extent permitted
by law, as such law may be extended subsequent to the Effective Date, except as otherwise explicitly
provided herein, by the Non-Debtor Releasing Parties, in each case, from any and all Claims,
counterclaims, disputes, obligations, suits, judgments, damages, demands, debts, rights, Causes of
Action, liens, remedies, losses, contributions, indemnities, costs, liabilities, attorneys’ fees and
expenses whatsoever, including any derivative claims, asserted or assertable on behalf of the Debtors
or their Estates, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing
or hereinafter arising, whether in law or equity, whether sounding in tort or contract, whether arising
under federal or state statutory or common law, or any other applicable international, foreign, or
domestic law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that such
Holders or their Estates, Affiliates, heirs, executors, administrators, successors, assigns, managers,
accountants, attorneys, representatives, consultants, agents, and any other persons or parties
claiming under or through them would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim or Equity Interest or other


                                                  115
           Case 20-12522-JTD           Doc 2917      Filed 06/18/21       Page 349 of 835



person, based on or relating to, or in any manner arising from, in whole or in part, the Debtors
(including the management, ownership, or operation thereof and as such entities existed prior to or
after the Petition Date), their Estates, the Debtors’ in- or out-of-court restructuring efforts (including
the Chapter 11 Cases), the purchase, sale, or rescission of the purchase or sale of any Security or
indebtedness of the Debtors, the subject matter of, or the transactions or events giving rise to, any
Claim or Equity Interest that is treated in the Plan, litigation claims arising from historical
intercompany transactions between or among a Debtor and another Debtor, the business or
contractual arrangements or interactions between any Debtor and any Released Party (including the
exercise of any common law or contractual rights of setoff or recoupment by any Released Party at
any time on or prior to the Effective Date), the restructuring of any Claim or Equity Interest before
or during the Chapter 11 Cases, any Avoidance Actions, the negotiation, formulation, preparation,
dissemination, filing, or implementation of, prior to the Effective Date, the Definitive Documents, the
Opioid MDT II, the Opioid MDT II Documents, the Opioid Creditor Trust, the Opioid Creditor
Trust Documents, the “agreement in principle for global opioid settlement and associated debt
refinancing activities” announced by the Parent on February 25, 2020 and all matters and potential
transactions described therein, the Restructuring Support Agreement (including any amendments
and/or joinders thereto) and related prepetition and postpetition transactions, the Disclosure
Statement, the Plan, the Plan Supplement, any Restructuring Transaction, any agreement,
instrument, release, and other documents (including providing any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document, or other agreement contemplated
by the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
such legal opinion) created or entered into prior to the Effective Date in connection with the creation
of the Opioid MDT II, the Opioid Creditor Trusts, the prepetition documents, the “agreement in
principle for global opioid settlement and associated debt refinancing activities” announced by the
Parent on February 25, 2020, the Restructuring Support Agreement (including any amendments
and/or joinders thereto) and related prepetition transactions, the Disclosure Statement, the Plan, the
Plan Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of
confirmation (including the solicitation of votes on the Plan), the pursuit of consummation, the
administration and implementation of the Plan, including the issuance or distribution of Securities
pursuant to the Plan, or the distribution of property under the Plan or any other related agreement,
or upon the business or contractual arrangements between any Debtor and any Released Party, and
any other act or omission, transaction, agreement, event, or other occurrence or circumstance taking
place on or before the Effective Date related or relating to any of the foregoing, other than Claims or
Causes of Action arising out of, or related to, any act or omission of a Released Party that is
determined by Final Order of the Bankruptcy Court or any other court of competent jurisdiction to
have constituted actual fraud, gross negligence or willful misconduct. For the avoidance of doubt,
Claims or Causes of Action arising out of, or related to, any act or omission of a Released Party prior
to the Effective Date that is determined by Final Order of the Bankruptcy Court or any other court
of competent jurisdiction to have constituted actual fraud, gross negligence, or willful misconduct,
including findings after the Effective Date, are not released pursuant to Article IX.C of the Plan.
Notwithstanding anything to the contrary in the foregoing, the releases by the Non-Debtor Releasing
Parties set forth above do not release any post-Effective Date obligations of any party or Entity under
the Plan, any restructuring, any document, instrument, or agreement (including those set forth in the
Plan Supplement) executed to implement the Plan, or any Claims which are reinstated pursuant to
the Plan. The foregoing release will be effective as of the Effective Date without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the
vote, consent, authorization, or approval of any person, and the Confirmation Order shall
permanently enjoin the commencement or prosecution by any person, whether directly, derivatively,
or otherwise, of any Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes
of Action, or liabilities released pursuant to the foregoing release.



                                                   116
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 350 of 835



        Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation Order
shall (x) release, discharge, or preclude the enforcement of any liability of a Released Party to a
Governmental Unit arising out of, or relating to, any act or omission of a Released Party prior to the
Effective Date that is determined by Final Order of the Bankruptcy Court or any other court of
competent jurisdiction to have constituted a criminal act or (y) release or discharge a consultant or
expert having been retained to provide strategic advice for sales and marketing of opioid products
who has received a civil investigative demand or other subpoena related to sales and marketing of
opioid products from any state attorney general on or after January 1, 2019 through the Petition
Date.

        Notwithstanding any language to the contrary contained in the Disclosure Statement, Plan or
Confirmation Order, no provision shall (i) preclude the SEC from enforcing its police or regulatory
powers; or, (ii) enjoin, limit, impair or delay the SEC from commencing or continuing any claims,
causes of action, proceeding or investigations against any non-Debtor person or non-Debtor entity in
any forum.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases by the Non-Debtor Releasing Parties set forth in
Article IX.C of the Plan, which includes by reference each of the related provisions and definitions
contained herein, and further shall constitute the Bankruptcy Court’s finding that such release is:
(a) given in exchange for the good and valuable consideration provided by the Released Parties; (b)
a good faith settlement and compromise of the Claims released by Article IX.C of the Plan; (c) in the
best interests of the Debtors, their Estates and all Holders of Claims and Equity Interests; (d) fair,
equitable and reasonable; (e) given and made after due notice and opportunity for hearing; (f) a bar
to any Entity or person asserting any Claim or Cause of Action released by Article IX.C of the Plan;
(g) consensual; and (h) essential to the confirmation of the Plan.

D.     Releases by Holders of Opioid Claims

        Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b)
of the Bankruptcy Code (and any other applicable provisions of the Bankruptcy Code), as of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby confirmed,
including, without limitation, the service of the Protected Parties before and during the Chapter 11
Cases to facilitate the Opioid Settlement (as defined in the Restructuring Support Agreement) and
restructuring, each Opioid Claimant (in its capacity as such) is deemed to have released and
discharged, to the maximum extent permitted by law, as such law may be extended subsequent to the
Effective Date, each Debtor, Reorganized Debtor, and Protected Party from any and all Claims
(including Opioid Claims and Opioid Demands), counterclaims, disputes, obligations, suits,
judgments, damages, demands, debts, rights, Causes of Action, liens, remedies, losses, contributions,
indemnities, costs, liabilities, or attorneys’ fees and expenses whatsoever, including any derivative
claims asserted, or assertable on behalf of the Debtors, or their Estates, whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether in
law or equity, whether sounding in tort or contract, whether arising under federal or state statutory
or common law, or any other applicable international, foreign, or domestic law, rule, statute,
regulation, treaty, right, duty, requirement or otherwise, that such entity would have been legally
entitled to assert in their own right (whether individually or collectively) or on behalf of any other
person, based on or relating to, or in any manner arising from, in whole or in part, the Debtors
(including the management, ownership, or operation thereof and as such Entities existed prior to or
after the Petition Date), their Estates, the Opioid Claims (including Opioid Demands), the Debtors’
in- or out-of-court restructuring efforts (including the Chapter 11 Cases), intercompany transactions


                                                 117
           Case 20-12522-JTD           Doc 2917      Filed 06/18/21       Page 351 of 835



between or among a Debtor and another Debtor, the restructuring of any Claim or Equity Interest
before or during the Chapter 11 Cases, any Avoidance Actions, the negotiation, formulation,
preparation, dissemination, filing, or implementation of, prior to the Effective Date, the Opioid MDT
II, the Opioid MDT II Documents, the Opioid Creditor Trusts, the Opioid Creditor Trust Documents,
the “agreement in principle for global opioid settlement and associated debt refinancing activities”
announced by the Parent on February 25, 2020 and all matters and potential transactions described
therein, the Restructuring Support Agreement (including any amendments and/or joinders thereto)
and related prepetition transactions, the Disclosure Statement, the Plan, the Plan Supplement, any
Restructuring Transaction, or any contract, instrument, release, or other agreement or document
(including providing any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document, or other agreement contemplated by the Plan or the reliance by any Protected
Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into
prior to the Effective Date in connection with the creation of the Opioid MDT II, the Opioid Creditor
Trusts, the “agreement in principle for global opioid settlement and associated debt refinancing
activities” announced by the Parent on February 25, 2020, the Restructuring Support Agreement
(including any amendments and/or joinders thereto) and related prepetition transactions, the
Disclosure Statement, the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the Chapter
11 Cases, the pursuit of confirmation (including the solicitation of votes on the Plan), the pursuit of
consummation, the administration and implementation of the Plan, including the issuance or
distribution of securities pursuant to the Plan, or the distribution of property under the Plan or any
other related agreement, or upon the business or contractual arrangements between any Debtor and
any Protected Party, or upon any other act or omission, transaction, agreement, event, or other
occurrence or circumstance taking place on or before the Effective Date related or relating to any of
the foregoing. Notwithstanding anything to the contrary in the foregoing, the releases by the Opioid
Claimants set forth above do not release any post-Effective Date obligations of any party or Entity
under the Plan, any post-Effective Date transaction contemplated by the restructuring, or any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan, or any claims or causes of actions against any co-defendant of the Debtors (other
than any Protected Party) in any opioid-related litigation. The foregoing release will be effective as
of the Effective Date without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule or the vote, consent, authorization, or approval of any
person, and the Confirmation Order shall permanently enjoin the commencement or prosecution by
any person, whether directly, derivatively, or otherwise, of any Claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, or liabilities released pursuant to the foregoing
release by Opioid Claimants.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of this release by Opioid Claimants, which includes by reference each of
the related provisions and definitions contained herein, and, further, shall constitute the Bankruptcy
Court’s finding that this release is: (1) essential to the confirmation of the Plan; (2) given in exchange
for the good and valuable consideration provided by the Protected Parties; (3) a good-faith settlement
and compromise of the Claims released by Article IX.D of the Plan; (4) in the best interests of the
Debtors, their Estates, and all Opioid Claimants; (5) fair, equitable, and reasonable; (6) given and
made after due notice and opportunity for hearing; and (7) a bar to any Opioid Claimant asserting
any Claim or Cause of Action released pursuant to Article IX.D of the Plan.

       For the avoidance of doubt, Claims or Causes of Action arising out of, or related to, any act
or omission of a Protected Party prior to the Effective Date that is determined by Final Order of the
Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,
gross negligence, or willful misconduct, including findings after the Effective Date, are not released
pursuant to article IX.D of the Plan. Notwithstanding anything to the contrary in the foregoing, the


                                                   118
           Case 20-12522-JTD           Doc 2917      Filed 06/18/21       Page 352 of 835



releases by the Opioid Claimants set forth above do not release any post-Effective Date obligations
of any party or Entity under the Plan, any restructuring, any document, instrument, or agreement
(including those set forth in the Plan Supplement) executed to implement the Plan, or any Claims
which are reinstated pursuant to the Plan.

Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation Order shall
(x) release, discharge, or preclude the enforcement of any liability of a Protected Party to a
Governmental Unit arising out of, or relating to, any act or omission of a Protected Party prior to the
Effective Date that is determined by Final Order of the Bankruptcy Court or any other court of
competent jurisdiction to have constituted a criminal act perpetrated by the applicable Protected
Party or (y) release or discharge a consultant or expert having been retained to provide strategic
advice for sales and marketing of opioid products who has received a civil investigative demand or
other subpoena related to sales and marketing of opioid products from any state attorney general on
or after January 1, 2019 through the Petition Date.

E.      Exculpation

        Effective as of the Effective Date, to the fullest extent permitted by law, the Exculpated Parties
shall neither have nor incur any liability to any person for any Claims or Causes of Action arising on
or after the Petition Date and prior to or on the Effective Date for any act taken or omitted to be
taken in connection with, related to, or arising out of, the Chapter 11 Cases, formulating, negotiating,
preparing, disseminating, implementing, filing, administering, confirming or effecting the
confirmation or consummation of the Plan, the Disclosure Statement, the Opioid Settlement (as
defined in the Restructuring Support Agreement), the Opioid MDT II Documents, the Opioid
Creditor Trust Documents, the “agreement in principle for global opioid settlement and associated
debt refinancing activities” announced by the Parent on February 25, 2020, the Restructuring
Support Agreement (including any amendments and/or joinders thereto) and related prepetition
transactions, or any contract, instrument, release or other agreement or document created or entered
into in connection with any of the foregoing, or any other prepetition or postpetition act taken or
omitted to be taken in connection with or in contemplation of the restructuring of the Debtors, the
Disclosure Statement or confirmation or consummation of the Plan, the Opioid Settlement (as defined
in the Restructuring Support Agreement), the Opioid MDT II Documents, or the Opioid Creditor
Trust Documents, including the issuance of Securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement; provided, however, that the foregoing
provisions of this exculpation shall not operate to waive or release: (a) any Causes of Action arising
from actual fraud, gross negligence, or willful misconduct of such applicable Exculpated Party as
determined by Final Order of the Bankruptcy Court or any other court of competent jurisdiction;
and/or (b) the rights of any person or Entity to enforce the Plan and the contracts, instruments,
releases, indentures, and other agreements and documents delivered under or in connection with the
Plan or assumed pursuant to the Plan or Final Order of the Bankruptcy Court; provided, further,
that each Exculpated Party shall be entitled to rely upon the advice of counsel concerning its
respective duties pursuant to, or in connection with, the above referenced documents, actions or
inactions.

        The Exculpated Parties have, and upon consummation of the Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the solicitation
of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on account
of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
made pursuant to the Plan.




                                                   119
            Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 353 of 835



        The foregoing exculpation shall be effective as of the Effective Date without further notice to
or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or
the vote, consent, authorization, or approval of any person or Entity.

F.     Permanent Injunction

        Except as otherwise expressly provided in the Confirmation Order or Plan, from and after
the Effective Date all persons are, to the fullest extent provided under section 524 and other
applicable provisions of the Bankruptcy Code, permanently enjoined from: (a) commencing or
continuing, in any manner or in any place, any suit, action or other proceeding of any kind;
(b) enforcing, attaching, collecting, or recovering by any manner or means any judgment, award,
decree, or order; (c) creating, perfecting, or enforcing any encumbrance of any kind; (d) asserting
any right of setoff, or subrogation of any kind; and (e) commencing or continuing in any manner any
action or other proceeding of any kind, in each case on account of or with respect to any Claim,
demand, liability, obligation, debt, right, Cause of Action, Equity Interest or remedy released or to
be released, exculpated or to be exculpated, settled or to be settled, or discharged or to be discharged
pursuant to the Plan or the Confirmation Order against any person so released, discharged or
exculpated (or the property or estate of any person so released, discharged or exculpated). All
injunctions or stays provided in the Chapter 11 Cases under section 105 or section 362 of the
Bankruptcy Code, or otherwise, and in existence on the confirmation date, shall remain in full force
until the Effective Date. Article IX.F of the Plan shall not apply to Opioid Claims, which shall be
subject to Article IX.G of the Plan.

G.     Opioid Permanent Channeling Injunction

        TERMS. Pursuant to section 105(a) of the Bankruptcy Code, from and after the Effective
Date, the sole recourse of any Opioid Claimant on account of its Opioid Claims (including Opioid
Demands) based upon or arising from the Debtors’ pre-confirmation conduct or activities shall be to
the Opioid MDT II or the Opioid Creditor Trusts, as applicable, pursuant to this Article IX.G of the
Plan and the Opioid MDT II Documents or the Opioid Creditor Trust Documents, as applicable, and
such Opioid Claimant shall have no right whatsoever at any time to assert its Opioid Claims
(including Opioid Demands) against any Protected Party or any property or interest in property of
any Protected Party. On and after the Effective Date, all Opioid Claimants, including Future Opioid
PI Claimants, shall be permanently and forever stayed, restrained, barred, and enjoined from taking
any of the following actions for the purpose of, directly or indirectly or derivatively collecting,
recovering, or receiving payment of, on, or with respect to any Opioid Claim (including Opioid
Demand) based upon or arising from the Debtors’ pre-confirmation conduct or activities other than
from the Opioid MDT II or the Opioid Creditor Trusts pursuant to the Opioid MDT II Documents
or the Opioid Creditor Trust Documents, as applicable:

           Commencing, conducting, or continuing in any manner, directly, indirectly or
            derivatively, any suit, action, or other proceeding of any kind (including a judicial,
            arbitration, administrative, or other proceeding) in any forum in any jurisdiction around
            the world against or affecting any Protected Party or any property or interests in
            property of any Protected Party;

           Enforcing, levying, attaching (including any prejudgment attachment), collecting, or
            otherwise recovering by any means or in any manner, whether directly or indirectly, any
            judgment, award, decree, or other order against any Protected Party or any property or
            interests in property of any Protected Party;




                                                  120
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 354 of 835




          Creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
           encumbrance against any Protected Party or any property or interests in property of any
           Protected Party;

          Setting off, seeking reimbursement of, contribution from, or subrogation against, or
           otherwise recouping in any manner, directly or indirectly, any amount against any
           liability owed to any Protected Party or any property or interests in property of any
           Protected Party; or

          Proceeding in any manner in any place with regard to any matter that is within the scope
           of the matters designated by the Plan to be subject to resolution by the Opioid MDT II or
           the Opioid Creditor Trusts, as applicable, except in conformity and compliance with the
           applicable Opioid MDT II Documents and Opioid Creditor Trust Documents.

        RESERVATIONS. The foregoing injunction shall not stay, restrain, bar, or enjoin (a) the
rights of Opioid Claimants to assert Opioid Claims (including Opioid Demands) against the Opioid
MDT II or the Opioid Creditor Trusts, as applicable, solely in accordance with the Plan, the Opioid
MDT II Documents, and the Opioid Creditor Trust Documents, as applicable; and (b) the rights of
Entities to assert any Claim, debt, obligation, or liability for payment of Trust Expenses against the
Opioid MDT II.

      MODIFICATIONS. There can be no modification, dissolution, or terminations of this Opioid
Permanent Channeling Injunction, which shall be a permanent injunction.

        NON-LIMITATION OF CHANNELING INJUNCTION. Nothing in the Plan, the Opioid
MDT II Documents, or the Opioid Creditor Trust Documents shall be construed in any way to limit
the scope, enforceability, or effectiveness of the Opioid Permanent Channeling Injunction issued in
connection with the Plan.

        BANKRUPTCY RULE 3016 COMPLIANCE. The Debtors’ compliance with the requirements
of Bankruptcy Rule 3016 shall not constitute an admission that the Plan provides for an injunction
against conduct not otherwise enjoined under the Bankruptcy Code.

H.     Opioid Insurer Injunction.

       TERMS. In accordance with section 105(a) of the Bankruptcy Code, upon the occurrence of
       the Effective Date, all Persons that have held or asserted, that hold or assert or that may in
       the future hold or assert any Claim based on, arising under or attributable to an Opioid
       Insurance Policy shall be, and hereby are, permanently stayed, restrained and enjoined from
       taking any action for the purpose of directly or indirectly collecting, recovering or receiving
       payment or recovery on account of any such Claim based on, arising under or attributable to
       an Opioid Insurance Policy from or against any Opioid Insurer, including:

               a.      commencing, conducting or continuing, in any manner any action or other
                       proceeding of any kind (including an arbitration or other form of alternate
                       dispute resolution) against any Opioid Insurer, or against the property of any
                       Opioid Insurer, on account of any such Claim based on, arising under or
                       attributable to an Opioid Insurance Policy;

               b.      enforcing, attaching, levying, collecting or otherwise recovering, by any
                       manner or means, any judgment, award, decree or other order against any



                                                 121
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 355 of 835



                        Opioid Insurer, or against the property of any Opioid Insurer, on account of
                        any such Claim based on, arising under or attributable to an Opioid
                        Insurance Policy;

                c.      creating, perfecting or enforcing in any manner any Lien of any kind against
                        any Opioid Insurer, or against the property of any Opioid Insurer, on account
                        of any such Claim based on, arising under or attributable to an Opioid
                        Insurance Policy;

                d.     asserting or accomplishing any setoff, right of subrogation, indemnity,
                       contribution or recoupment of any kind, whether directly or indirectly,
                       against any obligation due to any Opioid Insurer, or against the property of
                       any Opioid Insurer, on account of any such Claim based on, arising under or
                       attributable to an Opioid Insurance Policy; and

               e.      taking any act, in any manner, in any place whatsoever, that does not conform
                       to, or comply with, the provisions of the Plan applicable to any such Claim
                       based on, arising under or attributable to an Opioid Insurance Policy.

          2. RESERVATIONS. The provisions of this Opioid Insurer Injunction do not apply to the
Opioid MDT II and shall not preclude the Opioid MDT II from pursuing any Claim based on, arising
under, or attributable to an Opioid Insurance Policy (including the Assigned Insurance Rights) or
any other Claim that may exist under any Opioid Insurance Policy against any Opioid Insurer, nor
shall it enjoin the Opioid MDT II from prosecuting any action based on, arising from, or attributable
to any Opioid Insurance Policy or from asserting any claim, debt, obligation, cause of action, or
liability for payment against a Opioid Insurer based on, arising from, or attributable to any Opioid
Insurance Policy (including the Assigned Insurance Rights). The provisions of this Opioid Insurer
Injunction are not issued for the benefit of any Opioid Insurer, and no such insurer is a third-party
beneficiary of this Opioid Insurer Injunction.

        3. MODIFICATIONS. To the extent the Opioid MDT II Trustees determine that some or all
of the proceeds under the Opioid Insurance Policies are substantially unrecoverable by the Opioid
MDT II, the Opioid MDT II shall have the sole and exclusive authority, upon written notice to any
affected Opioid Insurer, to terminate, reduce, or limit the scope of this Opioid Insurer Injunction
with respect to any Opioid Insurer, provided that any termination, reduction, or limitation of the
Opioid Insurer Injunction (i) shall apply equally to all Classes of Opioid Claims, and (ii) shall comply
with any procedures set forth in the Opioid MDT II Documents.

        4. NON-LIMITATION OF INSURER INJUNCTION. Except as set forth in paragraph 2 and
3 of this Article, nothing in the Plan, the Opioid MDT II Documents or the Opioid Creditor Trust
Documents shall be construed in any way to limit the scope, enforceability or effectiveness of the
Opioid Insurer Injunction issued in connection with the Plan.

I.     Settling Opioid Insurer Injunction.

        1. Terms. In accordance with section 105(a) of the Bankruptcy Code, upon the occurrence
of the Effective Date, all Persons that have held or asserted, that hold or assert or that may in the
future hold or assert any Claim based on, arising under or attributable to an Opioid Insurance Policy
shall be, and hereby are, permanently stayed, restrained and enjoined from taking any action for the
purpose of directly or indirectly collecting, recovering or receiving payment or recovery on account
of any such Claim based on, arising under or attributable to an Opioid Insurance Policy from or
against any Settling Opioid Insurer, solely to the extent that such Settling Opioid Insurer has been



                                                  122
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 356 of 835



released from such Claim under such Opioid Insurance Policy pursuant to an Opioid Insurance
Settlement, including:

               a.      commencing, conducting or continuing, in any manner any action or other
                       proceeding of any kind (including an arbitration or other form of alternate
                       dispute resolution) against any such Settling Opioid Insurer, or against the
                       property of such Settling Opioid Insurer, on account of such Claim based on,
                       arising under or attributable to such Opioid Insurance Policy;

               b.      enforcing, attaching, levying, collecting or otherwise recovering, by any
                       manner or means, any judgment, award, decree or other order against any
                       such Settling Opioid Insurer, or against the property of such Settling Opioid
                       Insurer, on account of such Claim based on, arising under or attributable to
                       such Opioid Insurance Policy;

               c.      creating, perfecting or enforcing in any manner any Lien of any kind against
                       any such Settling Opioid Insurer, or against the property of such Settling
                       Opioid Insurer, on account of such Claim based on, arising under or
                       attributable to such Opioid Insurance Policy;

               d.      asserting or accomplishing any setoff, right of subrogation, indemnity,
                       contribution or recoupment of any kind, whether directly or indirectly,
                       against any obligation due to any such Settling Opioid Insurer, or against the
                       property of such Settling Opioid Insurer, on account of such Claim based on,
                       arising under or attributable to such Opioid Insurance Policy; and

               e.      taking any act, in any manner, in any place whatsoever, that does not conform
                       to, or comply with, the provisions of the Plan applicable to such Claim based
                       on, arising under or attributable to such Opioid Insurance Policy.

         2. REDUCTION OF INSURANCE JUDGMENTS. Any right, Claim, or cause of action that
an insurance company may have been entitled to assert against any Settling Opioid Insurer but for
the Settling Opioid Insurer Injunction, if any such right, Claim, or cause of action exists under
applicable non-bankruptcy law, shall become a right, Claim, or cause of action solely as a setoff claim
against the Opioid MDT II and not against or in the name of the Settling Opioid Insurer in question.
Any such right, Claim, or cause of action to which an insurance company may be entitled shall be
solely in the form of a setoff against any recovery of the Opioid MDT II from that insurance company,
and under no circumstances shall that insurance company receive an affirmative recovery of funds
from the Opioid MDT II or any Settling Opioid Insurer for such right, Claim, or cause of action. In
determining the amount of any setoff, the Opioid MDT II may assert any legal or equitable rights the
Settling Opioid Insurer would have had with respect to any right, Claim, or cause of action.

        3. MODIFICATIONS. There can be no modification, dissolution or termination of the
Settling Insurer Injunction, which shall be a permanent injunction.

       4. NON-LIMITATION OF SETTLING INSURER INJUNCTION. Nothing in the Plan, the
Opioid MDT II Documents or the Opioid Creditor Trust Documents shall be construed in any way




                                                 123
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 357 of 835



to limit the scope, enforceability or effectiveness of the Settling Insurer Injunction issued in
connection with the Plan.

J.      Opioid Operating Injunction

        From and after the date on which the Opioid Operating Injunction Order is entered by the
Bankruptcy Court or another court of competent jurisdiction, the VI-Specific Debtors and/or Reorganized
VI-Specific Debtors, as applicable, and any successors to the VI-Specific Debtors’ and/or Reorganized VI-
Specific Debtors’ business operations relating to the manufacture and sale of opioid product(s) in the United
States and its territories shall abide by the Opioid Operating Injunction as set forth in the Plan Supplement.

         The VI-Specific Debtors and Reorganized VI-Specific Debtors, as applicable, consent to the entry
of a final judgment or consent order upon the Effective Date imposing all of the provisions of the Opioid
Operating Injunction in the state court in each of the Supporting Governmental Opioid Claimants. After
the Effective Date, the Opioid Operating Injunction will be enforceable in the state court in each of the
Supporting Governmental Opioid Claimants. The VI-Specific Debtors and Reorganized VI-Specific
Debtors agree that seeking entry or enforcement of such a final judgment or consent order will not violate
any other injunctions or stays that it will seek, or that may otherwise apply, in connection with its Chapter 11
Cases or Confirmation.

K.      Setoffs and Recoupment

         Except as otherwise provided herein, each Reorganized Debtor pursuant to the Bankruptcy Code
(including section 553 of the Bankruptcy Code), applicable bankruptcy or non-bankruptcy law, or as may
be agreed to by the Holder of an Allowed Claim, may set off or recoup against any Allowed Claim and the
distributions to be made pursuant to the Plan on account of such Allowed Claim, any Claims, rights, and
Causes of Action of any nature that the applicable Debtor or Reorganized Debtor may hold against the
Holder of such Allowed Claim, to the extent such Claims, rights, or Causes of Action have not been
otherwise compromised, settled, or assigned on or prior to the Effective Date (whether pursuant to the Plan,
a Final Order or otherwise); provided that neither the failure to effect such a setoff or recoupment nor the
allowance of any Claim pursuant to the Plan shall constitute a waiver or release by such Reorganized Debtor
or the Opioid MDT II of any such Claims, rights, and Causes of Action; provided, further, that the exercise
of rights of setoff and/or recoupment by non-Debtor third parties against the Debtors or Reorganized
Debtors on account of any Assigned Third-Party Claims shall be enjoined and barred, to the extent
permitted by applicable law.

L.      Access to Opioid Insurance Policies

         Notwithstanding anything herein to the contrary, the Debtors shall not be released from
liability for any Claim that is or may be covered by any Opioid Insurance Policy; provided that
recovery for any such Claim, including by way of settlement or judgment, shall be limited to the
available proceeds of such Opioid Insurance Policy (and any extra-contractual liability of the Opioid
Insurer with respect to any Opioid Insurance Policy) and shall be asserted pursuant to procedures
set forth in the Opioid MDT II Documents, and no Person or party shall execute, garnish or otherwise
attempt to collect any such recovery from any assets other than the available proceeds of the Opioid
Insurance Policy. The Debtors shall be released automatically from a Claim described in this
paragraph upon the earlier of (x) the abandonment of such Claim and (y) such a release being given
as part of a settlement or resolution of such Claim, and shall be released automatically from all
Claims described in this paragraph upon the exhaustion of the available proceeds of the relevant
Opioid Insurance Policy (notwithstanding the nonoccurrence of either event described in the
foregoing clauses (x) and (y)).



                                                      124
             Case 20-12522-JTD           Doc 2917        Filed 06/18/21       Page 358 of 835



M.      Co-Defendant Defensive Rights

         Except as provided in clause (ii) of the penultimate sentence of this Article IX.M, notwithstanding
anything to the contrary in this Article IX or in the Plan as it currently exists or as it might be further
amended, the Confirmation Order or any order entered in connection with the Plan (or the Plan as amended)
(or any such order, as amended, modified or supplemented), or any supplement to the Plan (or the Plan as
further amended), nothing contained in the Plan or any of the foregoing documents or orders (including
without limitation, the classification, treatment, allowance, disallowance, release, bar, injunction, Opioid
Permanent Channeling Injunction or any other provision of the Plan or the Plan as amended with respect
to, impacting, affecting, modifying, limiting, subordinating, impairing, in any respect, a Co-Defendant
Claim), will release, bar, enjoin, impair, alter, modify, amend, limit, prohibit, restrict, reduce, improve or
enhance any Co-Defendant Defensive Rights of any Holder of a Co-Defendant Claim as such rights exist
or might in the future exist under applicable non-bankruptcy law. Nothing in the Plan, any of the Definitive
Documents or in the Confirmation Order shall preclude, operate to or have the effect of, impairing any
Holder of a Co-Defendant Claim from asserting in any proceeding any and all Co-Defendant Defensive
Rights that it has or may have under applicable law. Nothing in the Plan, any of the Definitive Documents
or the Confirmation Order shall be deemed to waive any Co-Defendant Defensive Rights, and nothing in
the Chapter 11 Cases, the Plan, any of the Definitive Documents or the Confirmation Order may be used
as evidence of any determination regarding any Co-Defendant Defensive Rights, and under no
circumstances shall any Person be permitted to assert issue preclusion or claim preclusion, waiver, estoppel,
or consent in response to the assertion of any Co-Defendant Defensive Rights. This Article IX.M shall be
included in the Confirmation Order. Co-Defendant Defensive Rights (i) may be used to offset, setoff,
recoup, allocate or apportion fault, liability or damages, or seek judgment reduction or otherwise defend
against any Cause of Action or Claim brought by any Person against the Holder of any Co-Defendant Claim
based in whole or in part on Opioid-Related Activities; and (ii) shall in no case be used to seek any
affirmative monetary recovery from any Protected Party on account of any Claim or Cause of Action
released pursuant to Article IX.D, shall in no case result in the Protected Parties being named on a jury
verdict form or other finding of liability (provided that, in lieu of so naming the Protected Parties, a party
may name the Opioid MDT II, applicable Opioid Creditor Trust, or the Ratepayer Account as successor in
interest, and successor in liability, to the Debtors, including without limitation, Mallinckrodt), and shall in
no case be used to seek an affirmative recovery from the Opioid MDT II or any Opioid Creditor Trust other
than on account of any Class 9(h) Claim in accordance with the Plan and the Opioid MDT II Trust
Documents. The foregoing does not constitute a release of any Co-Defendant Claim.

                                                  Article X.

                                    RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date,
except to the extent set forth herein, the Bankruptcy Court shall retain exclusive jurisdiction over all matters
arising out of, or related to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the
Bankruptcy Code, including jurisdiction to:

         A.      except as provided in the Opioid MDT II Documents or Opioid Creditor Trust Documents
with respect to Opioid Claims, allow, disallow, determine, liquidate, classify, estimate, or establish the
priority, secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to the secured
or unsecured status, priority, amount, or allowance of Claims or Interests;

        B.      decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Retained Professionals
authorized pursuant to the Bankruptcy Code or the Plan;


                                                      125
             Case 20-12522-JTD          Doc 2917      Filed 06/18/21       Page 359 of 835



        C.      resolve any matters related to: (1) the assumption, assumption and assignment, or rejection
of any Executory Contract or Unexpired Lease to which a Debtor is party o with respect to which a Debtor
may be liable and to hear, determine, and, if necessary, liquidate, any Cure Costs arising therefrom,
including Cure Costs pursuant to section 365 of the Bankruptcy Code; (2) any potential contractual
obligation under any Executory Contract or Unexpired Lease that is assumed; and (3) any dispute regarding
whether a contract or lease is or was executory or expired;

        D.       except as provided in the Opioid MDT II Documents and Opioid Creditor Trust Documents
with respect to Opioid Claims, ensure that distributions to Holders of Allowed Claims are accomplished
pursuant to the provisions of the Plan and the Confirmation Order;

        E.       adjudicate, decide, or resolve any motions, adversary proceedings, contested, or litigated
matters, and any other matters, and grant or deny any applications involving a Debtor that may be pending
on the Effective Date;

        F.      adjudicate, decide, or resolve any and all matters related to Causes of Action;

        G.      adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy
Code;

        H.     except as provided in the Opioid MDT II Documents and Opioid Creditor Trust Documents
with respect to Opioid Claims, resolve any cases, controversies, suits, or disputes that may arise in
connection with any Claims, including claim objections, allowance, disallowance, estimation, and
distribution;

        I.      enter and implement such orders as may be necessary or appropriate to execute, implement,
or consummate the provisions of the Plan, the Confirmation Order, and all contracts, instruments, releases,
and other agreements or documents created in connection with the Plan, the Confirmation Order, or the
Disclosure Statement, including the Restructuring Support Agreement;

        J.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
1146(a) of the Bankruptcy Code;

         K.      resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
connection with the interpretation or enforcement of the Plan, the Confirmation Order, or any contract,
instrument, release or other agreement or document that is entered into or delivered pursuant to the Plan or
the Confirmation Order, or any Entity’s rights arising from or obligations incurred in connection with the
Plan or the Confirmation Order;

        L.     issue injunctions, enter and implement other orders or take such other actions as may be
necessary or appropriate to restrain interference by any Entity with enforcement of the Plan or the
Confirmation Order;

        M.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
releases, injunctions, and other provisions contained in the Plan and enter such orders as may be necessary
or appropriate to implement such releases, injunctions, and other provisions;

         N.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim
or Interest for amounts not timely repaid;




                                                    126
             Case 20-12522-JTD          Doc 2917        Filed 06/18/21      Page 360 of 835



         O.      enter and implement such orders as are necessary or appropriate if the Confirmation Order
is for any reason modified, stayed, reversed, revoked, or vacated;

        P.      determine any other matters that may arise in connection with or relate to the Plan, the
Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other
agreement or document created in connection with the Plan, the Confirmation Order, or the Disclosure
Statement;

        Q.      enter an order or final decree concluding or closing the Chapter 11 Cases;

        R.       except as provided in the Opioid MDT II Documents and Opioid Creditor Trust Documents
with respect to Opioid Claims, adjudicate any and all disputes arising from or relating to distributions under
the Plan;

        S.      consider any modification of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        T.       determine requests for payment of Claims and Interests entitled to priority pursuant to
section 507 of the Bankruptcy Code;

         U.     hear and determine disputes arising in connection with the interpretation, implementation,
or enforcement of the Plan, or the Confirmation Order, including disputes arising under agreements,
documents, or instruments executed in connection with the Plan and disputes regarding or arising out of the
trade terms enforceable between the Reorganized Debtors and any Holder of a Class 7 Trade Claim;

        V.      hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

         W.        hear and determine all disputes involving the existence, nature, or scope of the Debtors’
discharge, including any dispute relating to any liability arising out of the termination of employment or
the termination of any employee or retiree benefit program, regardless of whether such termination occurred
prior to or after the Effective Date;

        X.     hear and determine disputes arising in connection with the interpretation, implementation,
or enforcement of the releases, injunctions, and exculpations provided under Article IX of the Plan;

        Y.      resolve any disputes concerning whether a Person had sufficient notice of the Chapter 11
Cases, the Disclosure Statement, any solicitation conducted in connection with the Chapter 11 Cases, any
Claims Bar Date established in the Chapter 11 Cases, or any deadline for responding or objection to a Cure
Cost, in each case, for the purpose of determining whether a Claim or Interest is discharged hereunder or
for any other purpose;

        Z.      enforce all orders previously entered by the Bankruptcy Court; and

       AA.     hear any other matter not inconsistent with the Bankruptcy Code, the Plan, or the
Confirmation Order;

provided, however, that the Bankruptcy Court shall not retain jurisdiction over disputes concerning
documents contained in the Plan Supplement or other Definitive Documents that have a jurisdictional,
forum selection, or dispute resolution clause that refers disputes to a different court and any disputes




                                                     127
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21       Page 361 of 835



concerning documents contained in the Plan Supplement that contain such clauses shall be governed in
accordance with the provisions of such documents.

         Additionally, the Bankruptcy Court will retain jurisdiction to adjudicate, decide, or resolve issues
raised by the Monitor, but such jurisdiction will not be exclusive and the Monitor shall retain the right to
seek relief in all other courts.

         If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases,
including the matters set forth in this Article X, the provisions of this Article X shall have no effect on and
shall not control, limit, or prohibit the exercise of jurisdiction by any other court having competent
jurisdiction with respect to such matter.

        Unless otherwise specifically provided herein or in a prior order of the Bankruptcy Court, the
Bankruptcy Court shall have exclusive jurisdiction to hear and determine disputes concerning Claims
against or Interests in the Debtors that arose prior to the Effective Date.

                                                 Article XI.

                 MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN

A.      Modification of Plan

         Subject to the terms of the Restructuring Support Agreement and the limitations contained in the
Plan, the Debtors or Reorganized Debtors reserve the right to, in accordance with the Bankruptcy Code, the
Bankruptcy Rules, and the Restructuring Support Agreement: (1) amend or modify the Plan prior to the
entry of the Confirmation Order, including amendments or modifications to satisfy section 1129(b) of the
Bankruptcy Code; (2) amend or modify the Plan after the entry of the Confirmation Order in accordance
with section 1127(b) of the Bankruptcy Code and the Restructuring Support Agreement upon order of the
Bankruptcy Court; and (3) remedy any defect or omission or reconcile any inconsistency in the Plan in such
manner as may be necessary to carry out the purpose and intent of the Plan upon order of the Bankruptcy
Court.

B.      Effect of Confirmation on Modifications

         Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since
the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require
additional disclosure or re-solicitation under Bankruptcy Rule 3019.

C.      Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur

         Subject to the conditions to the Effective Date, the Debtors reserve the right, subject to the terms
of the Restructuring Support Agreement, to revoke or withdraw the Plan prior to the entry of the
Confirmation Order and to File subsequent Plans of reorganization. If the Debtors revoke or withdraw the
Plan, or if entry of the Confirmation Order or the Effective Date does not occur, or if the Restructuring
Support Agreement terminates in accordance with its terms prior to the Effective Date, then: (1) the Plan
shall be null and void in all respects; (2) any settlement or compromise embodied in the Plan, assumption
or rejection of executory contracts or leases effected by the Plan, and any document or agreement executed
pursuant hereto shall be deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a
waiver or release of any claims by or against, or any Equity Interests in, such Debtor or any other Entity;
(b) prejudice in any manner the rights of the Debtors or any other Entity; or (c) constitute an admission of
any sort by the Debtors or any other Entity; provided, that any Restructuring Expenses that have been paid



                                                     128
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 362 of 835



as of the date of revocation or withdrawal of the Plan shall remain paid and shall not be subject to
disgorgement or repayment without further order of the Bankruptcy Court.

                                                 Article XII.

                                    MISCELLANEOUS PROVISIONS

A.      Immediate Binding Effect

         Notwithstanding Bankruptcy Rules 3020(e), 6004(g), or 7062 or otherwise, upon the occurrence of
the Effective Date, the terms of the Plan and the documents and instruments contained in the Plan
Supplement shall be immediately effective and enforceable and deemed binding upon the Debtors, the
Reorganized Debtors, and any and all Holders of Claims and Interests (irrespective of whether Holders of
such Claims or Interests are deemed to have accepted the Plan), all Entities that are parties to or are subject
to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan and any and all non-Debtor parties to Executory Contracts and Unexpired
Leases, and notwithstanding whether or not such Person or Entity (i) will receive or retain any property, or
interest in property, under this Plan, (ii) has filed a Proof of Claim in the Chapter 11 Cases or (iii) failed to
vote to accept or reject this Plan, affirmatively voted to reject this Plan, or is conclusively presumed to
reject this Plan. The Confirmation Order shall contain a waiver of any stay of enforcement otherwise
applicable, including pursuant to Bankruptcy Rule 3020(e) and 7062.

B.      Additional Documents

        On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements
and other documents as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan. The Debtors or Reorganized Debtors, as applicable, and all Holders of Claims
receiving distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare,
execute, and deliver any agreements or documents and take any other actions as may be necessary or
advisable to effectuate the provisions and intent of the Plan or the Confirmation Order.

C.      Payment of Statutory Fees

        All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy
Court at a hearing pursuant to section 1128 of the Bankruptcy Code or as agreed to by the United States
Trustee and the Reorganized Debtors, shall be paid for each quarter (including any fraction thereof) until
the Chapter 11 Cases are converted, dismissed or closed, whichever occurs first.

D.      Reservation of Rights

        The Plan shall have no force or effect unless and until the Bankruptcy Court enters the Confirmation
Order. None of the filing of the Plan, any statement or provision contained in the Plan, or the taking of any
action by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or
shall be deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders of
Claims or Interests prior to the Effective Date.

        By consenting to the treatment provided by this Plan or otherwise supporting the Plan, no State or
Tribe shall be construed to have waived any claim or defense of sovereign immunity that it may have in
any other action or proceeding, including any action or proceeding occurring after the Effective Date.




                                                      129
            Case 20-12522-JTD             Doc 2917        Filed 06/18/21       Page 363 of 835



E.      Successors and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding
on, and shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer,
director, agent, representative, attorney, beneficiaries or guardian, if any, of each Entity.

F.      No Successor Liability

         Except as otherwise expressly provided in this Plan and the Confirmation Order, each of the
Reorganized Debtors, NewCo, the NewCo Subsidiaries, the Opioid MDT II, and the Opioid Creditor Trusts
(a) is not, and shall not be deemed to assume, agree to perform, pay or otherwise have any responsibilities
for any liabilities or obligations of the Debtors or any other Person relating to or arising out of the operations
or the assets of the Debtors on or prior to the Effective Date, (b) is not, and shall not be, a successor to the
Debtors by reason of any theory of law or equity or responsible for the knowledge or conduct of any Debtor
prior to the Effective Date and (c) shall not have any successor or transferee liability of any kind or
character.

G.      Service of Documents

        After the Effective Date, any pleading, notice, or other document required by the Plan to be served
on or delivered to the Reorganized Debtors shall also be served on:




                                                       130
         Case 20-12522-JTD   Doc 2917     Filed 06/18/21     Page 364 of 835




                  Debtors                            Counsel to the Debtors

Mallinckrodt plc                        Richards, Layton & Finger, P.A.
c/o ST Shared Services LLC              One Rodney Square
675 McDonnell Blvd.                     920 N. King Street
Hazelwood, Missouri 63042               Wilmington, Delaware 19801
Attn: Mark Casey                        Attn: Mark Collins, Michael Merchant, Amanda
                                        Steele, and Brendan Schlauch
                                        and
                                        Latham & Watkins LLP
                                        885 Third Avenue
                                        New York, New York 10022
                                        Attn: George Davis, George Klidonas, Anu
                                        Yerramalli, and Andrew Sorkin
                                        and
                                        Latham & Watkins LLP
                                        355 South Grand Avenue, Suite 100
                                        Los Angeles, California 90071
                                        Attn: Jeffrey Bjork
                                        and
                                        Latham & Watkins LLP
                                        330 North Wabash Avenue, Suite 2800,
                                        Chicago, Illinois 60611
                                        Attn: Jason Gott
                                        and
                                        Wachtell, Lipton, Rosen & Katz
                                        51 West 52nd Street
                                        New York, NY 10019
                                        Attn: Philip Mindlin and Neil M. Snyder




                                        131
            Case 20-12522-JTD           Doc 2917        Filed 06/18/21      Page 365 of 835




              United States Trustee                         Counsel to the Supporting Governmental
                                                                 Plaintiff Ad Hoc Committee

 Office of the United States Trustee for the          Kramer Levin Naftalis & Frankel LLP
 District of Delaware                                 1177 Avenue of the Americas
 844 King Street, Suite 2207                          New York, New York 10036
 Wilmington, Delaware 19801                           Attn: Kenneth Eckstein and Daniel Eggermann
 Attn: Jane M. Leamy, Esq.
                                                      and
                                                      Brown Rudnick LLP
                                                      Seven Times Square
                                                      New York, New York 10019
                                                      Attn: David Molton and Steven Pohl
                                                      and
                                                      Gilbert LLP
                                                      700 Pennsylvania Ave, SE, Suite 400
                                                      Washington, D.C. 20003
                                                      Attn: Scott Gilbert and Kami Quinn

     Counsel to the Supporting Unsecured                         Counsel to the MSGE Group
                  Noteholders

 Paul, Weiss, Rifkind, Wharton & Garrison LLP         Caplin & Drysdale, Chartered, Seitz, Van Ogtrop &
 1285 Avenue of the Americas                          Green, P.A
 New York, New York 10019                             One Thomas Circle, NW, Suite 1100 |
 Attn: Andrew Rosenberg, Alice Belisle Eaton,         Washington, DC 20005
 Claudia R. Tobler, and Neal Paul Donnelly            Attn: Kevin Maclay and Todd Phillips

                                Counsel to the Supporting Term Lenders

 Gibson, Dunn & Crutcher LLP
 200 Park Avenue
 New York, New York 10166-0193
 Attention: Scott J. Greenberg and Michael J. Cohen

         After the Effective Date, the Reorganized Debtors have authority to send a notice to Entities that,
to continue to receive documents pursuant to Bankruptcy Rule 2002, they must File a renewed request to
receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized
to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who
have Filed such renewed requests.

H.      Term of Injunctions or Stays

        Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect
in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the
Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or stays contained in
the Plan or the Confirmation Order) shall remain in full force and effect until the Effective Date. All
injunctions or stays contained in the Plan or the Confirmation Order shall remain in full force and effect in
accordance with their terms.



                                                     132
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 366 of 835



I.      Entire Agreement

        On the Effective Date, the Plan and the Plan Supplement supersede all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on
such subjects, all of which have become merged and integrated into the Plan.

J.      Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving
effect to the principles of conflict of laws, shall govern the rights, obligations, construction, and
implementation of the Plan, the Plan Supplement, and any agreements, documents, instruments, or contracts
executed or entered into in connection with the Plan (except as otherwise set forth in those agreements, in
which case the governing law of such agreement shall control), and corporate governance matters; provided
that corporate governance matters relating to Debtors or Reorganized Debtors, as applicable, not
incorporated in New York shall be governed by the laws of the jurisdiction of incorporation of the
applicable Debtor or Reorganized Debtor, as applicable.

K.      Exhibits

         All exhibits and documents included in the Plan Supplement are incorporated into and are a part of
the Plan as if set forth in full in the Plan. Except as otherwise provided in the Plan, such exhibits and
documents included in the Plan Supplement shall initially be Filed with the Bankruptcy Court on or before
the Plan Supplement Filing Date. After the exhibits and documents are Filed, copies of such exhibits and
documents shall have been available upon written request to the Debtors’ counsel at the address above or
by downloading such exhibits and documents from the Debtors’ restructuring website at
http://restructuring.primeclerk.com/Mallinckrodt     or    the    Bankruptcy     Court’s    website      at
www.deb.uscourts.gov. To the extent any exhibit or document is inconsistent with the terms of the Plan,
unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

L.      Nonseverability of Plan Provisions upon Confirmation

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be
invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
or provision to make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void or unenforceable, and such term or provision shall
then be applicable as altered or interpreted; provided that, any such alteration or interpretation shall be
acceptable to the Debtors, the Required Supporting Unsecured Noteholders, the Supporting Governmental
Opioid Claimants, and the Required Supporting Term Lenders. Notwithstanding any such holding,
alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in full force
and effect and will in no way be affected, impaired, or invalidated by such holding, alteration, or
interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that each
term and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing,
is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified
without the consent of the Debtors; and (3) nonseverable and mutually dependent.

M.      Closing of Chapter 11 Cases

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File
with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of
the Bankruptcy Court to close the Chapter 11 Cases.



                                                      133
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 367 of 835



N.      Conflicts

        To the extent that any provision of the Disclosure Statement, or any order entered prior to
Confirmation (for avoidance of doubt, not including the Confirmation Order) referenced in the Plan (or any
exhibits, appendices, supplements, or amendments to any of the foregoing), conflict with or are in any way
inconsistent with any provision of the Plan, the Plan shall govern and control. To the extent that any
provision of the Plan conflicts with or is in any way inconsistent with any provision of the Confirmation
Order, the Confirmation Order shall govern and control.

O.      Section 1125(e) Good Faith Compliance

         The Debtors, the Reorganized Debtors, the Supporting Parties, and each of their respective current
and former officers, directors, members (including ex officio members), managers, employees, partners,
advisors, attorneys, professionals, accountants, investment bankers, investment advisors, actuaries,
Affiliates, financial advisors, consultants, agents, and other representatives of each of the foregoing Entities
(whether current or former, in each case in his, her or its capacity as such), shall be deemed to have acted
in “good faith” under section 1125(e) of the Bankruptcy Code.

P.      Dissolution of Committees

         On the Effective Date, the Official Committee of Unsecured Creditors and the Official Committee
of Opioid-Related Claimants shall be dissolved and the members of each of the Official Committee of
Unsecured Creditors and the Official Committee of Opioid-Related Claimants and each of their legal,
consulting, financial, and/or other professional advisors shall be deemed released of all their duties,
responsibilities, and obligations in connection with the Chapter 11 Cases and its implementation; provided,
however, that following the Effective Date, the Official Committee of Unsecured Creditors and the Official
Committee of Opioid-Related Claimants shall continue in existence and have standing and a right to be
heard for the following limited purposes: (a) applications, and any relief related thereto, for compensation
by Professional Persons and requests for allowance of fees and/or expenses under section 503(b) of the
Bankruptcy Code, and (b) any appeals of, or related to, the Confirmation Order or other appeal to which
the Official Committee of Unsecured Creditors or the Official Committee of Opioid-Related Claimants is
a party.




                                                      134
   Case 20-12522-JTD            Doc 2917        Filed 06/18/21     Page 368 of 835



Respectfully submitted, as of the date first set forth above,

                                    Mallinckrodt plc
                                    (on behalf of itself and all other Debtors)

                                    By:       /s/ Stephen A. Welch
                                    Name:     Stephen A. Welch
                                    Title:    Chief Transformation Officer




                                   [Signature Page to Plan]
             Case 20-12522-JTD                Doc 2917          Filed 06/18/21           Page 369 of 835



                                           Annex A
                                                                                            1
    Prepayment Cost of Opioid Deferred Cash Payments at Various Months After Effective Date

                                 Months after              Prepayment Cost of Opioid
                                Effective Date              Deferred Cash Payments
                                (end of month)
                                       0                            $679,648,516
                                       1                            $687,520,879
                                       2                            $695,467,941
                                       3                            $703,490,411
                                       4                            $711,589,005
                                       5                            $719,764,445
                                       6                            $728,017,460
                                       7                            $736,348,785
                                       8                            $744,759,166
                                       9                            $753,249,350
                                      10                            $761,820,096
                                      11                            $770,472,168
                                                                                2
                                      12                            $779,206,338




1
    Amounts shown in this Annex A show the prepayment cost at the end of each of the 12 months after the Effective Date. To
    the extent a prepayment occurs other than at the end of the month, the prepayment cost shall be calculated as of such
    prepayment date pursuant to the formula set forth in the Plan.
2
    Prepayment right may be exercised prior to the first anniversary of the Effective Date. Month twelve is illustratively shown
    and includes $200,000,000 payment due at such time.
Case 20-12522-JTD      Doc 2917    Filed 06/18/21   Page 370 of 835



                              Exhibit 1

Cram-Down First Lien Notes and Cram-Down Second Lien Notes Term Sheet
                                                                                                     Case 20-12522-JTD                  Doc 2917               Filed 06/18/21                 Page 371 of 835


                         Cram-Down Secured Notes Summary Terms
                                                                                               Cram-Down First Lien Notes                                                                                                              Cram-Down Second Lien Notes

                                                                                                                                                                                   •    Equivalent to the amount of such Allowed Second Lien Notes Claims
  Amount                                   •    Equivalent to the amount of such Allowed First Lien Notes Claims

  Notes                                    •    Senior Secured First Lien Notes                                                                                                    •    Senior Secured Second Lien Notes

  Issuers                                  •    Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC                                                                    •    Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC

  Obligors                                 •    Same obligors as the Takeback Second Lien Notes                                                                                    •    Same obligors as the Takeback Second Lien Notes

                                           ▪    Payable in cash at a coupon based on the ICE BofA 8+ Year B US High Yield Index Semi-Annual Yield to                               ▪    Payable in cash at a coupon based on the ICE BofA 8+ Year CCC & Lower US High Yield Index Semi-Annual
                                                Worst(1) as of the Plan Effective Date, rounded to the nearest 0.125%, subject to a max coupon of 10.0%                                 Yield to Worst(2) as of the Plan Effective Date, rounded to the nearest 0.125%, subject to a max coupon of 10.0%
  Coupon
                                           ▪    By way of reference, on June 7, 2021 the index was 4.74%, which would imply a coupon of 4.750%                                     •    By way of reference, on June 7, 2021 the index was 6.58%, which would imply a coupon of 6.625%



                                           ▪    Eight (8) years following the Plan Effective Date                                                                                  ▪    Ten (10) years following the Plan Effective Date
  Maturity
                                           •    If the reference index above exceeds 10.0%, then maturity shall remain at April 15, 2025                                           ▪    If the reference index above exceeds 10.0%, then maturity shall remain at April 15, 2025

                                           •    Secured by security interests on assets of obligors materially similar to assets securing existing First Lien Notes                ▪    Secured by security interests on assets of obligors materially similar to assets securing existing Second Lien
                                           •    Pari passu with security interests securing the New Term Loan Facility and the New Takeback Term Loan                                   Notes
                                                Facility, as applicable; senior to security interests securing the Takeback Second Lien Notes, the Second Lien                     ▪    Junior to security interests securing the New Term Loan Facility, the New Takeback Term Loan Facility, as
  Collateral / Priority /                       Notes and the Cram-Down Second Lien Notes, as applicable                                                                                applicable; pari passu with security interests securing the Takeback Second Lien Notes
  Intercreditor Arrangements               •    Intercreditor arrangements to be on market terms, which are expected to be materially similar to existing
                                                                                                                                                                                   ▪    Intercreditor arrangements to be on market terms, which (other than intercreditor arrangements between the
                                                intercreditor arrangements applicable to existing First Lien Notes
                                                                                                                                                                                        Takeback Second Lien Notes and the Cram-Down Second Lien Notes) are expected to be materially similar to
                                                                                                                                                                                        existing intercreditor arrangements applicable to existing Second Lien Notes

  Put                                      •    Puttable to the issuer at 101% of par upon a change of control                                                                     •    Puttable to the issuer at 101% of par upon a change of control

                                           •    Company may redeem up to 40% of notes at a redemption price of par plus full coupon, with the proceeds of an                       •    Company may redeem up to 40% of notes at a redemption price of par plus full coupon, with the proceeds of an
  Equity Claw
                                                equity offering                                                                                                                         equity offering

                                           •    Non-callable for 4 years                                                                                                           •    Non-callable for 4 years
                                           •    Par plus half coupon in year 5                                                                                                     •    Par plus half coupon in year 5
                                           •    Par plus quarter coupon in year 6                                                                                                  •    Par plus quarter coupon in year 6
  Call Protection
                                           •    Par thereafter                                                                                                                     •    Par thereafter
                                           •    Provided however, if the reference index on the prior page exceeds 10.0%, then the call schedule remains the                       •    Provided however, if the reference index on the prior page exceeds 10.0%, then the call schedule remains the
                                                same as in the existing First Lien Notes indenture                                                                                      same as in the existing Second Lien Notes indenture

  Affirmative and Negative                 •    To generally match the existing Second Lien Notes indenture, as adjusted to reflect the Plan and all transactions                  •    To generally match the existing Second Lien Notes indenture, as adjusted to reflect the Plan and all transactions
  Covenants                                     contemplated thereby                                                                                                                    contemplated thereby
________________________
Note: Summary terms only.
(1)    Source: Bloomberg (H2AL), Yield to Worst (Semi-Annual) of the ICE BofA 8+ Year B US High Yield Index.     (2) Source: Bloomberg (H3AL), Yield to Worst (Semi-Annual) of the ICE BofA 8+ Year CCC & Lower US High Yield Index.
Case 20-12522-JTD   Doc 2917    Filed 06/18/21   Page 372 of 835



                           Exhibit 2

             Takeback Second Lien Notes Term Sheet
           Case 20-12522-JTD   Doc 2917     Filed 06/18/21       Page 373 of 835




                      Takeback Second Lien Notes Summary Terms

Amount                            •   $375 million
Notes                             •   Senior Secured Second Lien Notes
Issuers                           •   Mallinckrodt International Finance S.A. and
                                      Mallinckrodt CB LLC
Obligors                          •   Same as the obligors on the Deferred Cash Payments,
                                      provided that any obligations on account of the
                                      Takeback Second Lien Notes shall (i) be guaranteed
                                      by the same entities that guarantee the First Lien
                                      Notes and (ii) comply with the terms of the
                                      Debtors’ existing funded indebtedness
Coupon                            •   Payable in cash at 10.00%
Maturity                          •   Seven (7) years following the Plan Effective Date
Collateral/Priority               •   Pari passu with the second lien security interests as
                                      with existing Second Lien Notes
Put                               •   Puttable to the issuer at 101% of par upon a change of
                                      control
Equity Claw                       •   Company may redeem up to 40% of Takeback Second
                                      Lien Notes at a redemption price of 110% of par with
                                      the proceeds of an equity offering
Call Protections                  •   Non-callable for 4 years
                                  •   105 call in year 5
                                  •   102.5 in year 6
                                  •   Par thereafter
Affirmative and Negative          •   To generally match the 2020 First Lien Notes
Covenants                             Indenture, as adjusted to reflect new Takeback Second
                                      Lien Notes structure
Case 20-12522-JTD   Doc 2917     Filed 06/18/21    Page 374 of 835



                            Exhibit 3

            Federal/State Acthar Settlement Term Sheet
       Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 375 of 835




DOJ Settlement Terms re: Boston (Medicaid Rebates) and EDPA False Claims Act
                          Matters, and related issues

•   Resolved Matters. Mallinckrodt and the United States (including CMS, DOJ ), the
    applicable states, and qui tam relators agree to fully and finally resolve the Acthar-related
    government litigations disclosed in Mallinckrodt’s Form 10-K for 2019, including United
    States of America, et al., ex rel., Charles Strunck, et al. v. Mallinckrodt ARD LLC (E.D.
    Penn.); United States of America et al. ex rel. Landolt v. Mallinckrodt ARD, LLC (D.
    Mass.); and Mallinckrodt ARD LLC v. Verma et al. (D.D.C.), and related matters (such
    matters, collectively, the “Resolved Matters”) on the terms set forth in this Schedule, which
    will be memorialized in a definitive DOJ Settlement Agreement, and settlement
    agreements with the States, and incorporated into the Plan.

•   Settlement Payments. In full and final satisfaction of all claims at issue in the “Resolved
    Matters”, Mallinckrodt shall make cash payments to the US and State governments totaling
    $260 million in the aggregate in accordance with the following schedule, with deferred
    payments bearing interest at a variable rate equal to the nominal interest rate on special
    issues of government securities to the Social Security trust funds, measured as of each
    payment date and accruing from September 21, 2020:

                         Payment Date                          Payment Amount

        Plan Effective Date                                       $15,000,000

        First Anniversary of Plan Effective Date                  $15,000,000

        Second Anniversary of Plan Effective Date                 $20,000,000

        Third Anniversary of Plan Effective Date                  $20,000,000

        Fourth Anniversary of Plan Effective Date                 $32,500,000

        Fifth Anniversary of Plan Effective Date                  $32,500,000

        Sixth Anniversary of Plan Effective Date                  $62,500,000

        Seventh Anniversary of Plan Effective Date                $62,500,000


•   Releases. Effective as of the date on which the Settlement Agreement is fully executed,
    Mallinckrodt, on the one hand, and DOJ and the States, on the other hand, will have
    exchanged mutual releases, as specified in the Settlement Agreements relating to the
    Resolved Matters.

•   CMS/DOJ/State Settlement Agreement; Additional Terms and Conditions. Without
    limiting or affecting in any way the rights of the Supporting Parties under the RSA, the
   Case 20-12522-JTD        Doc 2917         Filed 06/18/21   Page 376 of 835




DOJ Settlement Agreement shall contain such additional terms, conditions,
representations, warranties, covenants and termination events to which Mallinckrodt, on
the one hand, and DOJ on the other hand, may agree. Without limiting or affecting in any
way the rights of the Supporting Parties under the RSA, the State Settlement Agreements
shall contain such additional terms, conditions, representations, warranties, covenants and
termination events to which Mallinckrodt, on the one hand, and the States, on the other
hand, may agree.




                                         2
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 377 of 835




                         Exhibit B
              Restructuring Support Agreement
               Case 20-12522-JTD             Doc 2917         Filed 06/18/21         Page 378 of 835

                                                                                                  Execution Version


THIS RESTRUCTURING SUPPORT AGREEMENT IS NOT AN OFFER OR ACCEPTANCE
WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OF A
CHAPTER 11 PLAN WITHIN THE MEANING OF SECTION 1125 OF THE BANKRUPTCY
CODE. ANY SUCH OFFER OR SOLICITATION WILL COMPLY WITH ALL APPLICABLE
SECURITIES LAWS AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING
CONTAINED IN THIS RESTRUCTURING SUPPORT AGREEMENT SHALL BE AN
ADMISSION OF FACT OR LIABILITY OR, UNTIL THE OCCURRENCE OF THE AGREEMENT
EFFECTIVE DATE ON THE TERMS DESCRIBED HEREIN, DEEMED BINDING ON ANY OF
THE PARTIES HERETO.


                             RESTRUCTURING SUPPORT AGREEMENT

        This RESTRUCTURING SUPPORT AGREEMENT (as amended, supplemented, or
otherwise modified from time to time in accordance with the terms hereof, this “RSA” and,
together with the Term Sheet (as defined below), this “Agreement”), dated as of October 11, 2020,
is entered into by and among the following parties:1

        (i)    Mallinckrodt plc (the “Parent”) and each of its subsidiaries listed on Annex 1
hereto (each, including the Parent, a “Company Entity,” and collectively, the “Company” or the
“Debtors”; and the Company, together with any subsidiaries or affiliates of the Parent not
identified on Annex 1 hereto, “Mallinckrodt”);

       (ii)   the undersigned holders of Guaranteed Unsecured Notes, and such additional
holders of Guaranteed Unsecured Notes who become party hereto from time to time pursuant to a
Joinder Agreement (collectively, the “Supporting Unsecured Noteholders”); and

       (iii) the Plaintiffs’ Executive Committee (defined below), the undersigned
Governmental Entities, and any additional Governmental Entities holding Opioid Claims who
become party hereto from time to time pursuant to a Joinder Agreement (collectively, the
“Supporting Governmental Opioid Claimants,” and together with the Supporting Unsecured
Noteholders, the “Supporting Parties,” and the Supporting Parties together with the Company, the
“Parties”).2

        WHEREAS, the Parties have in good faith and at arm’s length negotiated and agreed to
the terms of a restructuring (the “Restructuring”) as set forth on the term sheet attached hereto as
Exhibit A (including the Opioid Settlement Term Sheet (as defined below), the “Term Sheet,”
and the chapter 11 plan based thereon, together with all exhibits, annexes, and schedules thereto,
as each may be amended, restated, amended and restated, supplemented, or otherwise modified in
accordance with its terms and this Agreement, the “Plan”) intended to be consummated through
(a) voluntary cases under chapter 11 of the Bankruptcy Code (as defined below) (the “Chapter 11

1
    Capitalized terms used but not defined in the preamble and recitals to this Agreement have the meanings ascribed
    to them in Section 1 or the Term Sheet, as applicable.
2
    For the avoidance of doubt, the term “Parties” or “Party” as and when used in this Agreement refers to the individual
    signatories to this Agreement, and not the Supporting Governmental Opioid Claimants, the Supporting Unsecured
    Noteholders, the Company or the Supporting Parties as a whole or in their capacity as groups.
           Case 20-12522-JTD         Doc 2917        Filed 06/18/21   Page 379 of 835




Cases”) in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”) on the terms set forth in this Agreement, (b) the examinership proceedings to be
commenced by the directors of the Parent or any other Company Entity under the laws of Ireland
(the “Irish Examinership Proceedings”), and (c) the Recognition Proceedings;

         WHEREAS, the Company and the Supporting Governmental Opioid Claimants have in
good faith and at arm’s length negotiated and agreed to the terms of a global settlement of all
Opioid Claims against the Company to be facilitated through the Chapter 11 Cases as set forth on
the settlement term sheet attached to the Term Sheet as Schedule 1 (the “Opioid Settlement Term
Sheet,” and the settlement based thereon, the “Opioid Settlement”);

       WHEREAS, the Parties intend that additional Governmental Entities holding Opioid
Claims, other Opioid Claimants (or representatives thereof), and holders of Guaranteed Unsecured
Notes will be encouraged to join this Agreement and/or otherwise support the Opioid Settlement
and the Restructuring, in accordance with the terms hereof; and

      WHEREAS, the Parties desire to express to each other their mutual support and
commitment in respect of the matters discussed in this Agreement.

        NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements set forth herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound, agree as
follows:

       1.     Certain Definitions. Capitalized terms used but not defined in this Agreement
have the meanings ascribed to them in the Term Sheet (including the Opioid Settlement Term
Sheet). As used in this Agreement, the following terms have the following meanings:

              a.      “105(a) Order” means an order under section 105(a) of the Bankruptcy
Code preliminarily enjoining any Person (or unit thereof) from pursuit of any Opioid Claim against
Mallinckrodt, the form of which must be acceptable to the Governmental Plaintiff Ad Hoc
Committee, and the Required Supporting Unsecured Noteholders.

               b.      “Agreement Effective Date” means the date on which (i) counterpart
signature pages to this Agreement shall have been executed and delivered to Latham & Watkins
LLP by (A) each Company Entity, (B) the holders of at least 66.67% in outstanding principal
amount of Guaranteed Unsecured Notes, and (C) at least 40 States and the Plaintiffs’ Executive
Committee, either directly or through authorized counsel; and (ii) the Company Parties shall have
paid all Restructuring Expenses that have been invoiced by no later than October 7, 2020.

               c.      “Alternative Transaction” means any dissolution, winding up, liquidation,
reorganization, receivership (or otherwise any enforcement of security over any of the shares or
assets of any of the Company Entities), examinership, assignment for the benefit of creditors,
merger, transaction, takeover, offer, reverse takeover, consolidation, business combination, joint
venture, partnership, sale of assets or equity, financing (debt or equity), restructuring, settlement
of Opioid Claims, or similar transaction of or by any of the Company Entities, other than the
transactions contemplated by and in accordance with this Agreement.



                                                 2
           Case 20-12522-JTD         Doc 2917        Filed 06/18/21   Page 380 of 835




               d.      “Bankruptcy Code” means title 11 of the United States Code.

             e.      “Business Day” means any day, other than Saturday or Sunday, on which
commercial banks are open for commercial business with the public in New York City, New York.

             f.        “Cash Collateral” has the meaning set forth in section 363(a) of the
Bankruptcy Code.

               g.     “Cash Collateral Order” means an order entered by the Bankruptcy Court
authorizing the Debtors’ use of Cash Collateral, and all exhibits and schedules thereto, including
any budget.

             h.        “Claim” has the meaning ascribed to such term under section 101(5) of the
Bankruptcy Code.

              i.     “CMS” means the Centers for Medicare & Medicaid Services of the United
States Department of Health and Human Services.

               j.      “CMS/DOJ/States Settlement” means the settlement between
Mallinckrodt, the United States of America and the States (excluding, for this purpose, any
territories of the United States) resolving the Acthar-related litigations and government
investigations disclosed in the Company’s Form 10-K for 2019, including United States of
America, et al., ex rel., Charles Strunck, et al. v. Mallinckrodt ARD LLC (E.D. Penn.); United
States of America et al. ex rel. Landolt v. Mallinckrodt ARD, LLC (D. Mass.); and Mallinckrodt
ARD LLC v. Verma et al. (D.D.C.), and related matters, the terms of which are set forth on
Schedule 2 to the Term Sheet.

                k.    “CMS/DOJ/States Settlement Agreement” means the definitive settlement
agreements memorializing the CMS/DOJ/States Settlement, which shall be consistent with the
terms set forth on Schedule 2 to the Term Sheet.

               l.      “Confirmation Order” means the order of the Bankruptcy Court confirming
the Plan pursuant to section 1129 of the Bankruptcy Code.

               m.       “Definitive Documents” means, with respect to the Restructuring, all
material documents (including any related Bankruptcy Court or other judicial or regulatory orders,
agreements, schedules, pleadings, motions, filings, or exhibits) that are contemplated by this
Agreement and that are otherwise necessary or desirable to implement the Restructuring, including
(as applicable): (i) the Plan; (ii) Disclosure Statement; (iii) any other operative documents and/or
agreements relating to the Plan (including any documents necessary to implement the distributions
contemplated thereunder) and/or the Disclosure Statement; (iv) the Disclosure Statement Order;
(v) the Confirmation Order; (vi) the Plan Supplement; (vii) the MIP; (viii) the Scheme of
Arrangement and any other substantive pleadings submitted in the Irish Examinership
Proceedings; (ix) an order of the High Court of Ireland confirming the Scheme of Arrangement;
(x) the Exit Financing Documents, including all intercreditor agreements; (xi) the New
Governance Documents; (xii) pleadings commencing the Recognition Proceeding and any
substantive pleadings filed therein, including the order(s) granting recognition to the Chapter 11
Cases and relief granted therein; (xiii) all documents memorializing the Opioid Settlement;


                                                 3
             Case 20-12522-JTD      Doc 2917        Filed 06/18/21   Page 381 of 835




(xiv) the Opioid Trust Documents; (xv) the New Opioid Warrants; (xvi) the Cash Collateral Order;
(xvii) the First Day Pleadings; (xviii) any new key employee incentive and retentive based
compensation programs to be proposed after the Petition Date; and (xix) all agreements to settle
(A) administrative, priority, or tax claims (other than claims held by a Debtor or Non-Debtor
Affiliate against a Debtor) in the Chapter 11 Cases or in connection with the Restructuring in
excess of $20 million or (B) General Unsecured Claims (other than claims held by a Debtor or
Non-Debtor Affiliate against a Debtor) in the Chapter 11 Cases or in connection with the
Restructuring in excess of $50 million.

              n.      “Disclosure Statement” means the disclosure statement related to the Plan
and any exhibits, schedules, attachments, or appendices thereto, in each case as may be amended,
supplemented, or otherwise modified from time to time in accordance with the terms herein and
therein.

                o.    “Disclosure Statement Order” means the order approving the Disclosure
Statement.

             p.     “Examiner” means the examiner(s) to be appointed to the Parent or any
other Company Entity by order of the High Court of Ireland on the commencement of the Irish
Examinership Proceedings.

               q.      “Exit Financing Documents” means any agreements, indentures,
commitment letters, documents, or instruments relating to any exit financing facility or facilities
to be entered into by the reorganized Company, including with respect to the Takeback Second
Lien Notes.

              r.     “Finally Determined” means the amount of cash taxes paid or refund or
overpayment realized by the Debtors, as may be adjusted in connection with the filing of an
amended tax return or pursuant to a “determination” (as defined in Section 1313 of the Code, or
analogous provision of state, local or non-U.S. tax law).

                s.     “First Day Pleadings” means the motions, petitions, pleadings, and draft
orders that the Company files at the commencement of the Chapter 11 Cases. First Day Pleadings
include orders as entered by the Bankruptcy Court.

               t.     “Governmental Entity” means the United States and any department,
agency, or instrumentality of the United States and any State, Municipality, political subdivision
or Native American Tribe and in each case, any department, agency, or instrumentality thereof.

              u.     “Governmental Plaintiff Ad Hoc Committee” means the ad hoc group of
Governmental Entities holding Opioid Claims (or representatives thereof, including the Plaintiffs’
Executive Committee) represented by, among others, Gilbert LLP, Kramer Levin Naftalis &
Frankel LLP, Brown Rudnick LLP, William Fry, and Houlihan Lokey Capital, Inc.

             v.   “Guaranteed Unsecured Notes” means, individually and collectively, the
Company’s 5.75% Senior Notes due 2022, 5.500% Senior Notes due 2025, and 5.625% Senior
Notes due 2023.



                                                4
           Case 20-12522-JTD          Doc 2917         Filed 06/18/21   Page 382 of 835




                w.      “Interest” means an equity interest, including the common stock, preferred
stock, limited liability company interests, and any other equity, ownership, or profits interests of
any of the Parent or its affiliates, and options, warrants, rights, or other securities or agreements to
acquire the common stock, preferred stock, limited liability company interests, or other equity,
ownership, or profits interests of any of the Parent or its affiliates (whether or not arising under or
in connection with any employment agreement).

                x.     “Joinder Agreement” means the form of joinder agreement attached hereto
as Exhibit B.

               y.     “Make-Whole Claims” means any Claim, whether secured or unsecured,
derived from or based upon any make-whole, applicable premium, redemption premium,
prepayment premium, or other similar payment provisions due upon acceleration as provided for
by Section 6.02 of each of the Secured Notes Indentures.

               z.      “Make-Whole Reservation of Rights” means the reservation of rights of
each Party hereto set forth in Section 23 hereof.

             aa.     “Mandatory Offer Requirement” means a requirement to make a
mandatory cash offer for the Company under Rule 9 of the Irish Takeover Panel Act, 1997,
Takeover Rules, 2013 of Ireland.

              bb.     “MDL” means that certain opioid multi-district litigation captioned In re
National Prescription Opiate Litigation, MDL No. 2804, Case No. 17-md-02804 (N.D. Ohio).

                 cc.    “Municipality” means any governmental unit (or division or agency
thereof) that is not a State or Native American Tribe.

               dd.    “Native American Tribe” means any Native American tribe within the
borders of the United States of America.

                ee.      “Net Prepetition Cash Tax Liability” means (a) the cash tax owed by the
Debtors after the Petition Date (including any cash taxes owed to a taxing authority in connection
with an audit, assessment, examination or other tax proceeding), less (b) refunds or overpayments
of taxes realized by the Debtors received after the Petition Date (or credited against taxes in a
taxable period (or portion thereof) ending after the Petition Date), in each case, with respect to a
taxable period or portion thereof ending on or prior to the Petition Date, as Finally Determined;
provided, that the determination of Net Prepetition Cash Tax Liability shall not include any tax
liability which is attributable to any action requested or consented to by the Required Supporting
Unsecured Noteholders or the Governmental Plaintiff Ad Hoc Committee. For taxable periods
beginning on or prior to and ending after the Petition Date, the applicable cash taxes, refunds or
overpayments shall be apportioned to the portion of the taxable period ending on the Petition Date
(i) in the case of a property or other ad valorem tax, by multiplying the total amount of such tax
by a fraction, the numerator of which is the number of days in the period ending on the Petition
Date, and the denominator of which is the total number of days in the taxable period or (ii) in the
case of all other taxes, based on an interim closing of the books as of the close of business on the
Petition Date (except that exemptions, allowances or deductions that are calculated on annual
basis, such as depreciation, shall be apportioned on a pro rata basis).


                                                   5
           Case 20-12522-JTD         Doc 2917         Filed 06/18/21   Page 383 of 835




              ff.    “New Governance Documents” means any organizational or constitutional
documents, operating agreements, warrant agreements, option agreements, management services
agreements, shareholder and member-related agreements, registration rights agreements or other
governance documents for the reorganized Company Entities.

                gg.   “Non-Debtor Affiliates” means the Parent’s subsidiaries and affiliates (as
defined in section 101(2) of the Bankruptcy Code) that are not debtors in the Chapter 11 Cases.

               hh.     “Noteholder Consent Fee” means cash in an amount equal to 1.5% of par
value of the applicable Supporting Unsecured Noteholder’s Guaranteed Unsecured Notes as of the
Determination Date (as defined below).

              ii.  “Notes Issuers” means Mallinckrodt International Finance S.A. and
Mallinckrodt CB LLC.

               jj.     “Person” means an individual, firm, corporation (including any non-profit
corporation), partnership, limited partnership, limited liability company, joint venture, association,
trust, governmental entity, or other entity or organization.

              kk.      “Petition Date” means the date on which the Company commences the
Chapter 11 Cases.

                ll.    “Plaintiffs’ Executive Committee” means the court-appointed Co-Lead
Counsel Paul J. Hanly, Jr., Joseph Rice, and Paul T. Farrell, Jr. on behalf of the court-appointed
plaintiffs’ executive committee in the MDL, solely in their capacities as such and not in any
individual capacities.

              mm. “Plan Effective Date” means the date on which the Plan becomes effective
in accordance with its terms.

               nn.     “Plan Supplement” means one or more supplemental appendices to the
Plan, which shall include, among other things, draft forms of documents (or terms sheets thereof),
schedules, and exhibits to the Plan, in each case subject to the provisions of this Agreement and as
may be amended, modified, or supplemented from time to time on or prior to the Plan Effective
Date, including the following documents: (i) the New Governance Documents, (ii) the indenture
evidencing the Takeback Second Lien Notes, (iii) the Exit Financing Documents, (iv) the Opioid
Trust Documents, (v) the CMS/DOJ/States Settlement Agreement (if any), (vi) to the extent known
and determined, the identity of the members of the board of the reorganized Company, and (vii)
such other documents as may be specified in the Plan.

                oo.     “Representatives” means, with respect to any Person, such Person’s
affiliates and its and their directors, officers, members, partners, managers, employees, agents,
investment bankers, attorneys, accountants, advisors, investment advisors, managed accounts or
funds, management companies, fund advisors, advisory board members, professionals and other
representatives, in each case, solely in their capacities as such.

             pp.     “Required Supporting Parties” means, as of any date of determination, the
Required Supporting Unsecured Noteholders and the Governmental Plaintiff Ad Hoc Committee.


                                                  6
           Case 20-12522-JTD        Doc 2917        Filed 06/18/21   Page 384 of 835




                qq.    “Required Supporting Unsecured Noteholders” means, as of any date of
determination, Supporting Unsecured Noteholders holding at least a majority in outstanding
principal amount of Guaranteed Unsecured Notes held by the Supporting Unsecured Noteholders
then party to this Agreement. Guaranteed Unsecured Notes held by any (i) Mallinckrodt entity,
(ii) holder of Opioid Claims and (iii) entity or person whose vote has been “designated” by the
Bankruptcy Court in the Chapter 11 Cases (including pursuant to section 1126(e) of the
Bankruptcy Code), shall not be included (either in the numerator or the denominator), and shall
not be considered outstanding Guaranteed Unsecured Notes Claims, for purposes of calculating
(x) the Required Supporting Unsecured Noteholders or (y) any other threshold applicable to the
Supporting Unsecured Noteholders under this Agreement.

               rr.      “Scheme of Arrangement” means the scheme(s) of arrangement based on
and consistent in all respects with the Term Sheet and the Plan to be formulated and proposed by
the Examiner in respect of the Parent or any other Company Entity, and submitted for confirmation
to the High Court of Ireland.

                ss.      “Secured Notes Indentures” means (a) that certain Indenture, dated as of
April 7, 2020 (as modified, amended, or supplemented from time to time), by and among the Notes
Issuers, as issuers, the guarantors party thereto from time to time, Wilmington Savings Fund
Society, FSB, as first lien trustee, and Deutsche Bank AG New York Branch, as first lien collateral
agent; and (b) that certain Indenture, dated as of December 6, 2019 (as modified, amended, or
supplemented from time to time), by and among the Notes Issuers, as issuers, the guarantors party
thereto from time to time, and Wilmington Savings Fund Society, FSB, as second lien trustee and
second lien collateral agent.

                tt.    “Specified Claims and Interests” means: (a) with respect to the Supporting
Governmental Opioid Claimants, Opioid Claims; (b) with respect to Supporting Unsecured
Noteholders, Claims based on the Guaranteed Unsecured Notes; and (c) with respect to any other
Supporting Party, such Claims and/or Interests held by a Supporting Party in the Company solely
in the capacity in which such Supporting Party executes this Agreement.

               uu.    “State” means a state or territory of the United States of America.

                vv.     “Support Period” means, with respect to any Party, the period commencing
on the later of (a) the Agreement Effective Date and (b) the date such Party becomes party hereto
and ending on the earlier of (x) the date on which this Agreement is terminated by or with respect
to such Party in accordance with Section 6 hereof and (y) the Plan Effective Date.

             ww.      “Target Net Prepetition Cash Tax Liability” means 104,851,000 dollars
($104,851,000).

               xx.    “Unsecured Noteholders” means the holders of Guaranteed Unsecured
Notes.

              yy.    “Unsecured Notes Ad Hoc Group” means that certain ad hoc group of
holders of certain Guaranteed Unsecured Notes represented by, among others, Paul, Weiss,
Rifkind, Wharton & Garrison LLP and advised by, among others, Perella Weinberg Partners LP.



                                                7
            Case 20-12522-JTD        Doc 2917        Filed 06/18/21   Page 385 of 835




        2.      Restructuring Process. Where the provisions of this Agreement and the Term
Sheet refer or apply to the Chapter 11 Cases, the Bankruptcy Court, and/or the Plan (including the
Definitive Documents and any other documentation relating or relevant thereto) or events,
circumstances, or procedures in the United States (the “US Process”) but do not equally reference
or apply to (a) the Irish Examinership Proceedings, the High Court of Ireland, and/or the Scheme
of Arrangement (including the Definitive Documents or any other documentation relating or
relevant thereto) or equivalent events, circumstances, or procedures in Ireland (the “Irish
Process”) or (b) the Recognition Proceedings, the Ontario Superior Court of Justice (Commercial
List), and/or the order(s) recognizing the Plan in Canada (including the Definitive Documents or
any other documentation relating or relevant thereto) or equivalent events, circumstances, or
procedures in Canada (the “Canadian Process”), those provisions relating to the US Process shall
be deemed to apply or refer equally to the Irish Process and the Canadian Process (and, if
necessary, this Agreement and the Term Sheet will be deemed to include provisions relating to the
Irish Process and Canadian Process which correspond to provisions relating to the US Process) to
ensure that the rights and obligations of the Parties under this Agreement apply equally to the Irish
Process and Canadian Process in the same way as the US Process, to the fullest extent necessary
in order to implement the Restructuring in accordance with the terms, spirit, and intent of this
Agreement and the Term Sheet.

       3.      Definitive Documents. Except for Definitive Documents for which consent rights
are addressed in the Term Sheet, each Definitive Document shall be consistent with this Agreement
and otherwise reasonably acceptable to the Company, the Required Supporting Unsecured
Noteholders and the Governmental Plaintiff Ad Hoc Committee, including as they may be
modified, amended, or supplemented in accordance with this Agreement. The Parties agree that
the Definitive Documents are intended to provide tax efficiency to (x) the Company, including
with respect to the availability, location, and timing of tax deductions, and (y) to the Opioid
Claimants, including with respect to the tax classification of the Opioid Trust.

       4.      Agreements of the Supporting Parties.

                a.     Restructuring Support. During the Support Period, subject to the terms and
conditions hereof, each Supporting Party agrees, severally and not jointly (solely in its capacity as
a holder of Specified Claims and Interests, and in no other capacity), solely as long as it remains
the legal owner, beneficial owner, and/or investment advisor or manager of or with power and/or
authority to bind any Specified Claims and Interests against and/or in the Company held by it, that
it shall use commercially reasonable efforts:

                       (i)     to not oppose or otherwise object to the Restructuring, including by
(A) timely voting all its Specified Claims and Interests (or directing the beneficial owner of the
Claims and Interests on whose behalf it has executed this Agreement to timely vote) to accept the
Plan and Scheme of Arrangement (to the extent such Claims and Interests are entitled to vote
thereunder) and not changing or revoking its vote (subject to receipt of a Bankruptcy Court-
approved Disclosure Statement), provided, that such vote shall be deemed immediately revoked
and void ab initio upon termination of this Agreement in accordance with the terms hereof before
the consummation of the Plan, and (B) not exercising any right to “opt out” of the third-party
releases contained in the Plan; provided, that, with respect to the Supporting Governmental Opioid
Claimants, such support will only be with respect to such entity’s Opioid Claims and not with


                                                 8
           Case 20-12522-JTD         Doc 2917        Filed 06/18/21   Page 386 of 835




respect to any other Claims or Interests; provided, further, that the Plaintiff’s Executive Committee
need only recommend that all Opioid Claimants in the MDL take the actions contemplated by (A)
and (B) above;

                        (ii)   to not oppose or otherwise object to (A) the petition to be presented
by the directors of the Parent or any other Company Entity before the High Court of Ireland for
appointment of the Examiner to the Parent or any other Company Entity for the purposes of or in
connection with the implementation of the Restructuring, (B) any ancillary applications brought
before the High Court of Ireland relating to such petition, including for the appointment of the
Examiner to the Parent or any other Company Entity on an interim basis pending the hearing of
the petition and/or the appointment of the Examiner to any Company Entity as a “related company”
(within the meaning of Section 2 of the Companies Act 2014 of Ireland), and/or (C) any
application(s) for recognition or other proceedings by any Company Entity under the Canadian
Companies’ Creditors Arrangement Act to the extent necessary to implement the Restructuring;

                     (iii) to not oppose or otherwise object to the Company’s application to
the Bankruptcy Court for entry of the 105(a) Order;

                      (iv)  to not oppose or otherwise object to the Company’s application to
appoint a Future Claimants Representative;

                        (v)     to not oppose or otherwise object to, and not directly or indirectly
interfere with (or instruct or encourage any other Person to directly or indirectly interfere with),
the CMS/DOJ/States Settlement and/or the implementation thereof (including any motion or other
request for entry of an order of the Bankruptcy Court, which may be the Confirmation Order,
approving the CMS/DOJ/States Settlement);

                     (vi)    to not oppose or otherwise object to any key employee incentive and
retentive based compensation programs in existence prior to the Agreement Effective Date;

                      (vii) not to solicit, support or take any action to initiate or implement any
Alternative Transaction with respect to the Company;

                         (viii) not to take any action to advance the pursuit or prosecution of any
Opioid Claims against Mallinckrodt (including seeking any discovery from Mallinckrodt in respect
thereto); provided, that, nothing herein shall prevent any Supporting Party from continuing (x) to
pursue or prosecute any claims against non-Mallinckrodt third-parties, including co-defendants of
Mallinckrodt or to take discovery from non-Mallinckrodt parties in connection with those third-
party claims or (y) to take discovery from Mallinckrodt solely in furtherance of such claims against
non-Mallinckrodt third parties;

                      (ix)   not to take any action to advance the pursuit or prosecution of any
Specified Claims and Interests against any Non-Debtor Affiliates;

                       (x)     to reasonably cooperate with each other and the Company in good
faith in connection with the negotiation, drafting, execution (to the extent such Party is a party
thereto), and delivery of the Definitive Documents;



                                                 9
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 387 of 835




                        (xi)   to negotiate with the other Parties in good faith appropriate
additional or alternative provisions to address any impediment to the Restructuring that may arise;

                       (xii) not to transfer its Specified Claims and Interests to any other Person
except as provided in this Agreement; and

                       (xiii) not to take any action that would trigger a Mandatory Offer
Requirement.

        Nothing in this Agreement shall prohibit any Supporting Party from (1) appearing as a
party-in-interest in any matter arising in the Chapter 11 Cases, (2) enforcing any right, remedy,
condition, consent, or approval requirement under this Agreement or any Definitive Documents,
(3) effecting a Transfer or purchasing, selling, or entering into transactions with respect to
Specified Claims and Interests, subject to compliance with Section 4(b) below, (4) asserting or
raising any objection not prohibited under or inconsistent with this Agreement in connection with
the Restructuring, (5) failing to vote to support the Plan or withdrawing a vote in the support of
the Plan, in each case from and after the termination of this Agreement, (6) taking any action which
is required by applicable law or declining to take any action which is prohibited by applicable law,
(7) retaining the benefit of any applicable legal professional privilege, (8) making, seeking, or
receiving any regulatory filings, notifications, consents, determinations, authorizations, permits,
approvals, licenses, or the like, (9) taking any customary perfection step or other action as is
necessary to preserve or defend the validity, existence or priority of its Claims against or Interests
in Mallinckrodt (including the filing of a proof of claim against any Company Entity), (10) taking
any action that is not inconsistent with this Agreement, (11) consulting with other parties in interest
in the Chapter 11 Cases, or (12) taking any action in furtherance of any Claims or Interest in
Mallinckrodt other than Specified Claims and Interests, including exercising its rights under or
taking action in connection with the Make-Whole Reservation of Rights. For the avoidance of
doubt, the exercise of any rights under or taking action in connection with the Make-Whole
Reservation of Rights is not inconsistent with a Supporting Unsecured Noteholders’ obligations
hereunder. Without limiting the foregoing, nothing in this Agreement shall limit or restrict any
Supporting Party from asserting positions or objections to the Plan, the Restructuring, or any other
matter in the Chapter 11 Cases in such Supporting Party’s capacity as a holder of a Claim or
Interest in Mallinckrodt other than Specified Claims and Interests. Each Party agrees that a
Supporting Party’s entry into, execution, or performance of this Agreement (including without
limitation a Supporting Party’s vote in favor of the Plan) shall not be referenced, used, or held in
any way against the Supporting Party in its capacity as a holder of a Claim or Interest in
Mallinckrodt other than Specified Claims and Interests.

               b.      Transfers.

                       (i)     During the Support Period, each Supporting Party that holds any
Claim against or Interest in Mallinckrodt agrees, solely with respect to itself, that it shall not sell,
pledge, assign, transfer, permit the participation in, or otherwise dispose of (each, a “Transfer,”
provided, however, that any pledge, lien, security interest, or other encumbrance in favor of a bank
or broker dealer at which a Supporting Party maintains an account, where such bank or broker
dealer holds a security interest in or other encumbrances over property in the account generally
shall not be deemed a “Transfer” for any purposes hereunder) any ownership (including any


                                                  10
              Case 20-12522-JTD              Doc 2917        Filed 06/18/21         Page 388 of 835




beneficial ownership)3 in its Specified Claims and Interests, or any option thereon or any right or
interest therein (including by granting any proxies or depositing any interests in such Specified
Claims and Interests into a voting trust or by entering into a voting agreement with respect to such
Specified Claims and Interests), unless (A) the intended transferee is another Supporting Party, or
(B) the intended transferee executes and delivers to counsel to the Company a Joinder Agreement
before, or substantially contemporaneously with, the time such Transfer is effective (it being
understood that any Transfer shall not be effective as against Mallinckrodt until notification of
such Transfer and a copy of the executed Joinder Agreement (as applicable) is received by counsel
to the Company, in each case, on the terms set forth herein) (such transfer, a “Permitted Transfer”
and such party to such Permitted Transfer, a “Permitted Transferee”). Upon satisfaction of the
foregoing requirements in this Section 4(b), (X) the Permitted Transferee shall be deemed to be a
Supporting Party hereunder and, for the avoidance of doubt, a Permitted Transferee is bound as a
Supporting Party under this Agreement with respect to any and all Specified Claims and Interests,
whether held at the time such Permitted Transferee becomes a Party or later acquired by such
Permitted Transferee and is deemed to make all of the representations and warranties of a
Supporting Party set forth in this Agreement and be entitled to the applicable rights of a Supporting
Party hereunder, and (Y) the transferor shall be deemed to relinquish its rights (and be released
from its obligations) under this Agreement to the extent of such transferred rights and obligations.
Notwithstanding the foregoing, this Section 4(b), as applied to the Supporting Governmental
Opioid Claimants, shall only apply to such claimants’ Opioid Claims.

                        (ii)    This Agreement shall in no way be construed to preclude any
Supporting Party from acquiring additional Claims against or Interests in Mallinckrodt; provided,
that (A) all Supporting Parties shall file a statement with the Bankruptcy Court as required by Rule
2019 of the Federal Rules of Bankruptcy Procedures, including revised holdings information for
such Supporting Party, as applicable, (B) any acquired Claims or Interests shall, solely to the extent
they are Specified Claims and Interests, automatically and immediately upon acquisition by a
Supporting Party be deemed subject to the terms of this Agreement (regardless of when or whether
notice of such acquisition is given), and (C) no Supporting Party shall acquire any Interests or take
other action that would trigger a Mandatory Offer Requirement; provided, further, that the
acquisition of additional Specified Claims and Interests by a Supporting Party shall in no way
affect or dilute (X) the recoveries of other Supporting Parties contemplated under the Plan or (Y)
any rights contemplated by this Agreement, the Term Sheet, or the Opioid Settlement Term Sheet.

                      (iii) This Section 4(b) shall not impose any obligation on the Company
to issue any “cleansing letter” or otherwise publicly disclose information for the purpose of
enabling a Supporting Party to Transfer any Claims or Interests. Notwithstanding anything to the
contrary herein, to the extent the Company and another Party have entered into a separate
agreement with respect to the issuance of a “cleansing letter” or other public disclosure of
information (each such executed agreement, a “Confidentiality Agreement”), the terms of such
Confidentiality Agreement shall continue to apply and remain in full force and effect according to
its terms.


3
    As used herein, the term “beneficial ownership” means the direct or indirect economic ownership of, and/or the
    power, whether by contract or otherwise, to direct the exercise of the rights and the disposition of, the applicable
    Claims or Interests or the right to acquire such Claims or Interests.



                                                           11
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 389 of 835




                       (iv)    Any Transfer made in violation of this Section 4(b) shall be void ab
initio.

                        (v)    A Supporting Party that transfers any right, title, or interest in a
Specified Claim and Interest in accordance with the terms of this Section 4(b) shall (A) be deemed
to relinquish its rights and be released from its obligations under this Agreement solely to the
extent of such Transferred Specified Claims and Interests and (B) not be liable to any Party to this
Agreement for the failure of the transferee to comply with the terms and conditions of this
Agreement.

               c.      Marketmaking.

                        (i)     Notwithstanding anything to the contrary herein, a Supporting Party
may Transfer any ownership in its Specified Claims and Interests, or any option thereon or any
right or interest therein, to a Qualified Marketmaker (as defined below) that acquires Claims
against or Interests in Mallinckrodt with the purpose and intent of acting as a Qualified
Marketmaker for such Claims or Interests, and such Qualified Marketmaker shall not be required
to execute and deliver to counsel to any Party a Joinder Agreement in respect of such Claims or
Interests if (A) such Qualified Marketmaker subsequently Transfers such Claims or Interests
within ten (10) Business Days of its acquisition to an entity that is not an affiliate, affiliated fund,
or affiliated entity with a common investment advisor of such Qualified Marketmaker, (B) the
transferee otherwise is a Permitted Transferee (including any requirement hereunder that such
transferee execute a Joinder Agreement), and (C) the Transfer otherwise is a Permitted Transfer.
To the extent that a Supporting Party is acting in its capacity as a Qualified Marketmaker, it may
Transfer any right, title, or interest in any Specified Claims and Interests that such Supporting
Party acquires in its capacity as a Qualified Marketmaker from a holder of such Claims or Interests
who is not a Supporting Party without regard to the requirements set forth in Section 4(b) hereof.
As used herein, the term “Qualified Marketmaker” means an entity that (a) holds itself out to the
public or the applicable private markets as standing ready in the ordinary course of business to
purchase from customers and sell to customers claims against Mallinckrodt (or enter with
customers into long and short positions in claims against Mallinckrodt), in its capacity as a dealer
or market maker in claims against Mallinckrodt and (b) is, in fact, regularly in the business of
making a market in claims against issuers or borrowers (including debt securities or other debt).

                       (ii)     The Company understands that certain of the Supporting Parties are
engaged in a wide range of financial services and businesses. In furtherance of the foregoing, the
Company acknowledges and agrees that, to the extent a Supporting Party expressly indicates on
its signature page hereto that it is executing this Agreement on behalf of specific trading desk(s)
and/or business group(s) of the Supporting Party that principally manage and/or supervise the
Supporting Party’s investment in Mallinckrodt, the obligations set forth in this Agreement shall
only apply to such trading desk(s) and/or business group(s) and shall not apply to any other trading
desk or business group of the Supporting Party so long as they are not acting at the direction or for
the benefit of such Supporting Party or such Supporting Party’s investment in Mallinckrodt;
provided that the foregoing shall not diminish or otherwise affect the obligations and liability
therefor of any legal entity that executes this Agreement.




                                                  12
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 390 of 835




                        (iii) Further, notwithstanding anything in this Agreement to the contrary,
the Parties agree that, in connection with the delivery of signature pages to this Agreement by a
Supporting Party that is a Qualified Marketmaker before the occurrence of conditions giving rise
to the effective date for the obligations and the support hereunder, such Supporting Party shall be
a Supporting Party hereunder solely with respect to the Specified Claims and Interests listed on
such signature pages and shall not be required to comply with this Agreement for any other Claims
or Interests in Mallinckrodt that it may hold from time to time in its role as a Qualified
Marketmaker.

                 d.     Negative Covenants. Each Supporting Party agrees (solely in its capacity
as a holder of Specified Claims and Interests, and in no other capacity), severally and not jointly,
that, for the duration of the Support Period, it shall not take any action directly (nor encourage any
other Person to take any action) that is materially inconsistent with, or omit to take any action
required by, this Agreement, the Plan (as applicable), or any of the other Definitive Documents.

                e.    Ad Hoc Group Composition. No less frequently than every forty-five (45)
days commencing on the Agreement Effective Date, counsel to each of the Unsecured Notes Ad
Hoc Group and the Governmental Plaintiff Ad Hoc Committee shall provide counsel to the
Company and to each other, on a professionals’ eyes only basis, with a list showing each member
of such counsel’s respective ad hoc group and, in the case of members of the Unsecured Notes Ad
Hoc Group, the aggregate holdings of Guaranteed Unsecured Notes and other claims based on
funded indebtedness of the Company (including on account of the Company’s secured notes, term
loans, and revolving credit facility) or interests of the Company; provided, that counsel to the
Governmental Plaintiff Ad Hoc Committee shall only be required to provide such a list if the
members of the Governmental Plaintiff Ad Hoc Committee have changed since the last time such
a list was provided.

               f.      Notwithstanding anything to the contrary herein, nothing in this Agreement
shall:

                       (i)   affect the ability of any Supporting Party to consult with any other
Supporting Party, the Company Entities, or any other party in interest in the Chapter 11 Cases
(including any official committee or the United States Trustee);

                      (ii)   impair or waive the rights of any Supporting Party to assert or raise
any objection permitted under this Agreement in connection with the Restructuring;

                         (iii) prevent any Supporting Party from enforcing this Agreement or any
other Definitive Document (to the extent it has rights thereunder), or from contesting whether any
matter, fact, or thing is a breach of, or is inconsistent with, such documents;

                        (iv)    prevent any Supporting Party from taking any customary perfection
step or other action as is necessary to preserve or defend the validity or existence of its Claims and
Interests in the Company (including the filing of proofs of claim);

                      (v)     prevent any Supporting Party from taking any action in furtherance
of any Claims or Interests in Mallinckrodt other than Specified Claims and Interests; or



                                                 13
            Case 20-12522-JTD       Doc 2917      Filed 06/18/21     Page 391 of 835




                      (vi)    limit or otherwise restrict the regulatory, police, or other
governmental functions of any Supporting Governmental Opioid Claimant, or limit or otherwise
restrict any other Supporting Governmental Opioid Claimant’s rights, in each case other than in
connection with Opioid Claims.

       5.      Agreements of the Company.

               a.     Restructuring Support. During the Support Period, subject to the terms and
conditions hereof, each Company Entity agrees that it shall use commercially reasonable efforts:

                       (i)     to implement the Restructuring in accordance with the terms and
conditions set forth herein and in accordance with the Milestones (as defined below);

                      (ii)   to take any and all commercially reasonable and appropriate actions
necessary or reasonably requested by a Supporting Party to consummate the Restructuring and the
CMS/DOJ/States Settlement, and satisfy any conditions thereto, in accordance with the terms
hereof;

                          (iii) to support and take all commercially reasonable actions necessary
to facilitate the solicitation, confirmation, approval, and consummation of the Plan and the Scheme
of Arrangement, as applicable, and the transactions contemplated thereby, including by
commencing the Irish Examinership Proceedings and Recognition Proceedings as soon as
reasonably practicable;

                       (iv)    to prepare and deliver to the Supporting Parties draft copies of all
Definitive Documents and any motions, pleadings, declarations, exhibits, and proposed orders
related thereto (each of which shall contain terms and conditions consistent with the terms of this
Agreement), and afford the Supporting Parties a reasonable opportunity to review and comment
in advance of any filing thereof, to the extent practicable, and consider any such comments in good
faith;

                      (v)     to deliver to counsel to the Supporting Unsecured Noteholders and
counsel to the Ad Hoc Governmental Plaintiff Group, copies of all notices, reporting and other
documents delivered to the Prepetition Secured Parties (as defined in the Cash Collateral Order)
pursuant to paragraphs 4(h) and 5(h) of the Cash Collateral Order, on the same terms and
conditions (with respect to confidentiality and otherwise) applicable to the Prepetition Secured
Parties under the Cash Collateral Order;

                       (vi)   to take such action as may be reasonably necessary or reasonably
requested by the other Parties to carry out the purposes and intent of this Agreement, including
obtaining all governmental, regulatory, licensing, or other approvals (including any necessary or
appropriate third-party consents) necessary to consummate the Restructuring;

                       (vii) not to offer or provide any consideration or treatment to any Opioid
Claimant that is not acceptable to the Governmental Plaintiff Ad Hoc Committee and the Required
Supporting Unsecured Noteholders;




                                                14
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 392 of 835




                        (viii) not to seek or solicit, or instruct and direct their respective
Representatives to seek or solicit, any discussions or negotiations with respect to any Alternative
Transaction; provided, that (A) if any of the Company Entities receive a proposal or expression of
interest regarding any Alternative Transaction, the Company Entities shall be permitted to discuss
or negotiate the terms of such proposal or expression of interest and shall notify within two (2)
business days of the receipt of such proposal or expression of interest counsel to the Unsecured
Notes Ad Hoc Group and counsel to the Governmental Plaintiff Ad Hoc Committee, orally and in
writing, of any such proposal or expression of interest, with such notice to include the material
terms thereof, including (unless prohibited by a separate agreement) the identity of the person or
group of persons involved, and (B) contemporaneously with such notification, the Company
Entities shall furnish counsel to the Unsecured Notes Ad Hoc Group and counsel to the
Governmental Plaintiff Ad Hoc Committee with copies of any written offer, oral offer, proposal,
expression of interest, or any other information that they receive relating to the foregoing and shall
within two (2) business days inform counsel to the Unsecured Notes Ad Hoc Group and counsel
to the Governmental Plaintiff Ad Hoc Committee of any material changes to such proposals;
provided, that any information shared with or furnished to counsel to the Unsecured Notes Ad Hoc
Group or counsel to the Governmental Plaintiff Ad Hoc Committee in accordance with this Section
5(a)(vii), shall be provided on a “professional eyes only” basis unless otherwise agreed to by the
parties in writing;

                       (ix)    to (A) prepare, or cause to be prepared, the Definitive Documents
and any related motions, pleadings, declaration, exhibits, proposed orders, and applications, each
of which, for the avoidance of doubt, shall contain terms and conditions consistent with this
Agreement, (B) provide draft copies of all Definitive Documents to counsel to the Unsecured
Notes Ad Hoc Group and Governmental Plaintiff Ad Hoc Committee at least two (2) Business
Days or as soon as reasonably practicable prior to the date when the Company intends to file or
execute such document, (C) reasonably cooperate with the Supporting Parties in good faith in
connection with the negotiation, drafting, execution (to the extent the Company is a party thereto),
and delivery of the Definitive Documents and (D) consult in good faith with the Unsecured Notes
Ad Hoc Group and the Governmental Plaintiff Ad Hoc Committee regarding the form and
substance of the Definitive Documents and any proposed filing thereof with the Bankruptcy Court.
Nothing in this Section 5(a)(viii) shall limit the Company’s obligations under Section 3 herein.
The Company will also provide draft copies of all other material pleadings the Company intends
to file with the Bankruptcy Court to counsel to the Unsecured Notes Ad Hoc Group and counsel
to the Governmental Plaintiff Ad Hoc Committee at least two (2) Business Days or as soon as
reasonably practicable prior to filing such pleading, to the extent reasonably practicable, and shall
consult in good faith with such counsel regarding the form and substance of any such proposed
pleading;

                       (x)    to file such “first day” motions and pleadings determined by the
Company to be necessary and to seek interim and final (to the extent necessary) orders, in form
and substance reasonably acceptable to the Required Supporting Unsecured Noteholders and the
Governmental Plaintiff Ad Hoc Committee, from the Bankruptcy Court approving the relief
requested in such “first day” motions;

                      (xi)   to timely file a formal objection, in form and substance reasonably
acceptable to the Required Supporting Unsecured Noteholders and the Governmental Plaintiff Ad


                                                 15
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 393 of 835




Hoc Committee, to any motion filed with the Bankruptcy Court by a third party seeking the entry
of an order (A) directing the appointment of a trustee or examiner (with expanded powers beyond
those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code), (B) modifying or
terminating the Company’s exclusive right to file and/or solicit acceptances of a plan of
reorganization, as applicable; (C) converting the Chapter 11 Cases to cases under chapter 7 of the
Bankruptcy Code, or (D) dismissing the Chapter 11 Cases;

                        (xii) to, upon reasonable request of any of the Supporting Parties, inform
the respective advisors and counsel to the Supporting Parties as to: (A) the material business and
financial (including liquidity) performance of Mallinckrodt; (B) the status and progress of the
Restructuring, including progress in relation to the negotiations of the Definitive Documents; and
(C) the status of obtaining any necessary or desirable authorizations (including any consents) from
any Supporting Party, competent judicial body, Governmental Entity, or any stock exchange;

                        (xiii) to (A) operate the business of the Company and its direct and
indirect subsidiaries in the ordinary course in a manner that is consistent with this Agreement, past
practices, and to preserve intact the Company’s business organization and relationships with third
parties (including lessors, licensors, suppliers, distributors and customers) and employees and
(B) subject to applicable non-disclosure agreements and the terms thereof, keep counsel and
advisors to the Unsecured Notes Ad Hoc Group and the Governmental Plaintiff Ad Hoc
Committee reasonably informed about the operations of the Company and its direct and indirect
subsidiaries;

                      (xiv) to inform the respective advisors and counsel to the Supporting
Parties within no more than two (2) Business Days after becoming aware of: (A) any matter or
circumstance which they know, or reasonably expect is likely, to be a material impediment to the
implementation or consummation of the Restructuring; (B) any notice of commencement of any
material involuntary insolvency proceedings, legal suit for payment of debt or securement of
security from or by any person in respect of any Company Entity; (C) a material breach of this
Agreement by any Company Entity; (D) any representation or statement made or deemed to be
made by them under this Agreement which is or proves to have been incorrect or misleading in
any material respect when made or deemed to be made; (E) any notice from any third party alleging
that the consent of such party is or may be required in connection with the Restructuring; and
(F) any notice, including from any governmental authority, of any material proceeding
commenced or of any material complaints, litigations, investigations, or hearings, or, to the
knowledge of the Company Entities, threatened in writing against the Company Parties, relating
to or involving the Company Entities (or any communications regarding the same that may be
contemplated or threatened);

                        (xv) to negotiate with the Supporting Parties in good faith appropriate
additional or alternative provisions to address any impediment to the Restructuring that may arise;

                     (xvi) to maintain good standing (or a normal status or its equivalent)
under the laws of the jurisdiction or state in which each Company Entity is incorporated or
organized;




                                                 16
           Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 394 of 835




                       (xvii) to keep the Supporting Unsecured Noteholders and the
Governmental Plaintiff Ad Hoc Committee reasonably informed from time to time on the status
of the CMS/DOJ/States Settlement, including, to the extent reasonably requested by the
Supporting Unsecured Noteholders or the Governmental Plaintiff Ad Hoc Committee, providing
copies of any written materials related thereto to the counsel to the Unsecured Notes Ad Hoc Group
and the Governmental Plaintiff Ad Hoc Committee on a professional eyes only basis; and

                        (xviii) to (A) object to and oppose any motion seeking standing to assert
claims or objections belonging to the Company’s bankruptcy estates against any Supporting Party
in respect of its Specified Claims and Interests and (B) in the event any objection to the Specified
Claims and Interests is filed by another party in interest, seek to adjourn any hearing on such
objection for so long as this Agreement remains effective as to the holder or holders of the
Specified Claims and Interests subject to such objection.

                b.        Negative Covenants. The Company agrees that, for the duration of the
Support Period, the Company shall not (i) take any action directly or indirectly (nor encourage any
other person to take any action ) that is materially inconsistent with, or that would reasonably be
expected to prevent, interfere with, delay, or impede the consummation of the Restructuring, or
omit to take any action required by, this Agreement, the Plan (as applicable), or any of the other
Definitive Documents, (ii) object to, delay, impede, or take any other action or inaction that could
reasonably be expected to materially interfere with or prevent acceptance, approval,
implementation, or consummation of the Restructuring, (iii) except as agreed by the Required
Supporting Unsecured Noteholders and counsel for the Governmental Plaintiff Ad Hoc
Committee, file any pleading, motion, declaration, supporting exhibit or Definitive Document with
the Bankruptcy Court or any other court (including any modifications or amendments thereof) that,
in whole or in part, is not materially consistent with this Agreement or other Definitive Documents,
or that could reasonably be expected to frustrate or materially impede the implementation and
consummation of the Restructuring, is inconsistent with the Term Sheet in any material respect,
or which is otherwise in substance not reasonably satisfactory to the Required Supporting
Unsecured Noteholders, and the Governmental Plaintiff Ad Hoc Committee, (iv) engage in any
material merger, consolidation, disposition, asset sale, equity sale, acquisition, investment,
dividend, incurrence of indebtedness or other similar transaction outside the ordinary course of
business with a third party other than the Restructuring, or (v) commence, support, or join any
litigation or adversary proceeding against any of the Supporting Parties relating to the Specified
Claims and Interests; provided, that nothing in this Agreement shall: (i) impair or waive the rights
of any Company Entity to assert or raise any objection, or take any position, permitted under this
Agreement in connection with the Restructuring, or (ii) prevent any Company Entity from
enforcing this Agreement or contesting whether any matter, fact, or thing is a breach of, or is
inconsistent with, this Agreement.

               c.      Chapter 11 Operating Injunction. Within one week after the Petition Date,
the Company Entities shall file with the Bankruptcy Court a motion, in form and substance
reasonably satisfactory to the Company Entities, the Governmental Plaintiff Ad Hoc Committee,
and the Required Supporting Unsecured Noteholders, seeking to impose a voluntary injunction on
the Company Entities to enjoin them from engaging in certain conduct related to the manufacture,
marketing, sale, and distribution of opioids effective as of the Petition Date (the “Chapter 11
Operating Injunction”).


                                                17
            Case 20-12522-JTD       Doc 2917     Filed 06/18/21     Page 395 of 835




       6.      Termination of Agreement.

               a.     Supporting Party Termination Events. This Agreement may be terminated
by Supporting Unsecured Noteholders with the consent of no less than two-thirds in outstanding
principal amount of Guaranteed Unsecured Notes held by the Supporting Unsecured Noteholders
then party to this Agreement (solely as to the Supporting Unsecured Noteholders), or the
Governmental Plaintiff Ad Hoc Committee (solely as to the Supporting Governmental Opioid
Claimants), by the delivery to the other Parties of a written notice in accordance with Section 20
hereof, upon the occurrence and continuation of any of the following events (each, a “Supporting
Party Termination Event”):

                      (i)     the breach by any Company Entity of (A) any affirmative or
negative covenant contained in this Agreement or (B) any other obligations of such breaching
Company Entity set forth in this Agreement, in each case, in any material respect and which breach
remains uncured (to the extent curable) for a period of fifteen (15) Business Days following the
Company’s receipt of any notice pursuant to Section 20 hereof;

                      (ii)   any representation or warranty in this Agreement made by any
Company Entity shall have been untrue in any material respect when made or, if required to be
true on an ongoing basis, shall have become untrue in any material respect, and such breach
remains uncured (to the extent curable) for a period of fifteen (15) Business Days following the
Company’s receipt of any notice pursuant to Section 20 hereof;

                       (iii) any Company Entity files any motion, pleading, or related document
with the Bankruptcy Court that is inconsistent with this Agreement , the Term Sheet (including the
Opioid Settlement Term Sheet) or the Definitive Documents (in each case, solely to the extent that
the terminating Supporting Party(s) have consent rights over such document), and such motion,
pleading, or related document has not been withdrawn within fifteen (15) Business Days of the
Company receiving written notice in accordance with Section 20 that such motion, pleading, or
related document is inconsistent with this Agreement;

                        (iv)   (A) any Definitive Document filed by the Company or the
Examiner, or any related order entered by the Bankruptcy Court in the Chapter 11 Cases, the High
Court of Ireland in the Irish Examinership Proceedings, or the Ontario Superior Court of Justice
(Commercial List) in the Recognition Proceedings, in each case, is inconsistent with this
Agreement, including the Supporting Parties’ consent rights under this Agreement (in each case
implicating a Definitive Document, solely to the extent that the terminating Supporting Party or
Supporting Parties have consent rights over such Definitive Document), or is otherwise not in
accordance with this Agreement in any material respect, or (B) any of the terms or conditions of
any of the Definitive Documents are waived, amended, supplemented, or otherwise modified in
any material respect with respect to the Supporting Unsecured Noteholders’ or Supporting
Governmental Opioid Claimants’ respective rights under this Agreement without the prior written
consent of the Required Supporting Unsecured Noteholders or the Governmental Plaintiff Ad Hoc
Committee, as applicable (or such parties as may be required by the terms of such Definitive
Document, if then effective), in each case, which remains uncured for fifteen (15) Business Days
after the receipt by the Company of written notice delivered in accordance herewith;



                                               18
           Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 396 of 835




                        (v)    the issuance by any governmental authority, including any
regulatory authority or court of competent jurisdiction, of any ruling, judgment, or order enjoining
the consummation of any material portion of the Restructuring or rendering illegal the Plan or any
material portion thereof, and either (A) such ruling, judgment, or order has been issued at the
request of or with the acquiescence of any Company Entity, or (B) in all other circumstances, such
ruling, judgment, or order has not been reversed or vacated within thirty (30) calendar days after
such issuance;

                      (vi)   any Company Entity (A) withdraws the Plan or Scheme of
Arrangement, (B) publicly announces its intention not to support the Plan, the Scheme of
Arrangement, or the Restructuring, (C) files a motion with the Bankruptcy Court seeking the
approval of an Alternative Transaction, or (D) agrees to pursue (including, for the avoidance of
doubt, as may be evidenced by a term sheet, letter of intent, or similar document executed by a
Company Entity) or publicly announces its intent to pursue an Alternative Transaction;

                       (vii) the Examiner withdraws the Scheme of Arrangement and applies to
the High Court of Ireland for directions pursuant to Section 535(1) of the Companies Act 2014 of
Ireland;

                        (viii) the Bankruptcy Court (or other court of competent jurisdiction)
enters an order (A) directing the appointment of an examiner with expanded powers or a trustee in
any of the Chapter 11 Cases, (B) converting any of the Chapter 11 Cases to cases under chapter 7
of the Bankruptcy Code, (C) dismissing any of the Chapter 11 Cases, (D) terminating any
Company Entity’s exclusive right to file and/or solicit acceptances of a plan of reorganization
(including the Plan), or (E) the effect of which would render the Plan incapable of consummation
on the terms set forth in this Agreement; provided, that, with respect to clauses (B) and (C) above,
except where the dismissal or conversion is for a Debtor that, at the time of such dismissal, has
dormant business activities and a fair market value of less than $250,000;

                       (ix)   the Company exercises its “fiduciary out” in accordance with
Section 6(b)(iii) hereof;

                        (x)     an order is entered by the Bankruptcy Court granting relief from the
automatic stay imposed by section 362 of the Bankruptcy Code authorizing any party to proceed
against any material asset of any of the Company Entities or that would materially and adversely
affect the ability of any of the Company Entities to operate its businesses in the ordinary course;

                     (xi)  leave is granted by the High Court of Ireland permitting a party to
commence or continue proceedings against the Parent (or any other Company Entity subject to the
protection of the High Court of Ireland) after the commencement of the Irish Examinership
Proceedings;

                       (xii) the Examiner consents to any action, claim, or step being taken
against the Parent (or any other Company Entity subject to the protection of the High Court of
Ireland) pursuant to Section 520(4) of the Companies Act 2014 of Ireland after the commencement
of the Irish Examinership Proceedings;




                                                19
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 397 of 835




                       (xiii) the Bankruptcy Court enters an order denying confirmation of the
Plan;

                       (xiv)   the Confirmation Order is reversed or vacated;

                     (xv) any court of competent jurisdiction has entered a judgment or order
declaring this Agreement to be unenforceable;

                        (xvi) the Company enters into the CMS/DOJ/States Settlement on terms
materially different than the terms set forth on Schedule 2 to the Term Sheet;

                       (xvii) an order is entered by the Bankruptcy Court granting relief from the
automatic stay to the holder or holders of any security interest to permit foreclosure (or the granting
of a deed in lieu of foreclosure on the same) on any of the Company’s assets (other than with
respect to assets having a fair market value of less than $10,000,000 in the aggregate);

                     (xviii) the Company terminates any of its obligations under this Agreement
in accordance with Section 6(b);

                     (xix) the Governmental Plaintiff Ad Hoc Committee or the Supporting
Unsecured Noteholders terminate any of their respective obligations under this Agreement in
accordance with Section 6(a); or

                     (xx) the Net Prepetition Cash Tax Liability exceeds the Target Net
Prepetition Cash Tax Liability by at least $125,000,000;

                      (xxi) the Bankruptcy Court enters an order granting or sustaining any
objection or challenge to the Guaranteed Unsecured Notes Claims that is reasonably likely to
render the Plan unconfirmable;

                       (xxii) the Debtors, the Supporting Unsecured Noteholders and the
Supporting Governmental Opioid Claimants shall not have agreed upon the Additional Insurance
Rights by the time of the filing of the Plan and Disclosure Statement; or

                      (xxiii) any of the following events (the “Milestones”) have not been
achieved, extended, or waived by no later than 11:59 pm New York City time on the dates set forth
below, provided that any such time and date may be extended with the consent of the Required
Supporting Parties (which consent may be provided by email):

                               A.       a final Cash Collateral Order is entered on or prior to the date
                               that is forty-five (45) days after the Petition Date;

                               B.       a final order granting authority for the Debtors to pay all
                               reasonable and documented fees and expenses of the professionals
                               and advisors referenced in Section 25, subject to any applicable
                               terms in their respective engagement letters or fee reimbursement
                               letters, is entered on or prior to the date that is sixty (60) days after
                               the Petition Date;


                                                  20
          Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 398 of 835




                              C.      the Debtors’ filing of the Plan and Disclosure Statement on
                              or prior to the date that is four (4) months after the Petition Date;

                              D.     the Plan is confirmed on or prior to the date that is eleven
                              (11) months after the Petition Date;

                              E.     a Scheme of Arrangement consistent with this Agreement is
                              approved by the Irish Court on or prior to the date that is fourteen
                              (14) months after the Petition Date; and

                              F.      the Plan Effective Date has not occurred on or prior to the
                              date that is fifteen (15) months after the Petition date.

      Notwithstanding the foregoing, this Agreement may not be terminated as to the Supporting
Unsecured Noteholders or the Governmental Plaintiff Ad Hoc Committee on account of any
Supporting Party Termination Event that is caused by any Supporting Unsecured Noteholder or
Supporting Governmental Opioid Claimant, respectively.

               b.     Company Termination Events. This Agreement may be terminated as to all
Parties (except to the extent otherwise set forth in Sections 6(b)(i) and 6(b)(ii) below) by the
Company by the delivery to counsel to all Supporting Parties of a written notice in accordance
with Section 20 hereof, upon the occurrence and continuation of any of the following events (each,
a “Company Termination Event”):

                       (i)      the breach in any material respect by Supporting Unsecured
Noteholders that would result in non-breaching Supporting Unsecured Noteholders holding less
than two-thirds in outstanding principal amount of Guaranteed Unsecured Notes, in each case with
respect to any of the representations, warranties, or covenants of such Supporting Unsecured
Noteholders set forth in this Agreement and which breach remains uncured for a period of fifteen
(15) Business Days after the receipt by the applicable Supporting Unsecured Noteholder from the
Company of written notice of such breach, which written notice will set forth in reasonable detail
the alleged breach; provided, that any such termination by the Company pursuant to this
Section 6(b)(i) shall result in the termination of this Agreement solely as to the Supporting
Unsecured Noteholders; and provided, further, that, the Company may, at its option, terminate this
Agreement solely as to any Supporting Unsecured Noteholder that breaches, in any material
respect, its representations, warranties or covenants set forth in this Agreement (to the extent
breach remains uncured for a period of fifteen (15) Business Days after receipt by the applicable
Supporting Unsecured Noteholder from the Company of written notice of such breach, which
written notice will set forth in reasonable detail the alleged breach), whether or not such breach
would entitle the Company to terminate this Agreement with respect to all Supporting Unsecured
Noteholders in accordance with this Section 6(b)(i) (the right of the Company under this proviso,
the “Company Individual Noteholder Termination Right”);

                      (ii)    the breach in any material respect by (A) any Supporting
Governmental Opioid Claimant that would result in non-breaching, Supporting Governmental
Opioid Claimants consisting of less than 32 States, or (B) the Plaintiffs’ Executive Committee, in
each case with respect to any of the representations, warranties, or covenants of such Supporting



                                               21
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 399 of 835




Governmental Opioid Claimants set forth in this Agreement (such breaching Supporting Party, a
“Breaching Governmental Plaintiff”) and which breach remains uncured for a period of fifteen
(15) Business Days after the receipt by the applicable Breaching Governmental Plaintiff from the
Company of written notice of such breach, which written notice will set forth in reasonable detail
the alleged breach; provided, that any such termination by the Company pursuant to this
Section 6(b)(ii) shall result in the termination of this Agreement solely as to the Supporting
Governmental Opioid Claimants; provided, further, that, the Company may, at its option, instead
terminate this Agreement solely as to any Supporting Governmental Opioid Claimant that
breaches, in any material respect, its representations, warranties or covenants set forth in this
Agreement (to the extent breach remains uncured for a period of fifteen (15) Business Days after
receipt by the applicable Breaching Governmental Plaintiff from the Company of written notice
of such breach, which written notice will set forth in reasonable detail the alleged breach), whether
or not such breach would entitle the Company to terminate this Agreement with respect to all
Supporting Governmental Opioid Claimants in accordance with this Section 6(b)(ii) (the right of
the Company under this proviso, the “Company Individual Governmental Entity Termination
Right”);

                        (iii) the board of directors or managers or similar governing body, as
applicable, of any Company Entity determines that continued performance under this Agreement
(including taking any action or refraining from taking any action) would be inconsistent with the
exercise of its fiduciary duties, or duties as directors, in each case under applicable law (as
reasonably determined by such board or body in good faith after consultation with legal counsel);
provided, that, the Company provides prompt written notice (within two (2) Business Days
thereof) to counsel to each of the Supporting Parties of such determination; and provided, further,
that to the extent any Supporting Party seeks an expedited hearing to determine if the Company
has validly exercised this clause, the Company consents to such expedited hearing, it being
understood that all Parties reserve all rights with respect of the underlying relief;

                     (iv)     the Governmental Plaintiff Ad Hoc Committee or the Supporting
Unsecured Noteholders terminate any of their respective obligations under this Agreement in
accordance with Section 6(a);

                        (v)    the issuance by any governmental authority, including any
regulatory authority or court of competent jurisdiction, of any ruling, judgment, or order enjoining
the consummation of any material portion of the Restructuring or rendering illegal the Plan or any
material portion thereof, and either (A) such ruling, judgment, or order has been issued at the
request of or with the acquiescence of any Company Entity, or (B) in all other circumstances, such
ruling, judgment, or order has not been reversed or vacated within thirty (30) calendar days after
such issuance;

                       (vi)   the Bankruptcy Court (or other court of competent jurisdiction)
enters an order over an objection by the Company pursued in good faith (A) directing the
appointment of an examiner with expanded powers or a trustee in any of the Chapter 11 Cases, (B)
converting any of the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code, (C)
dismissing any of the Chapter 11 Cases, or (D) the effect of which would render the Plan incapable
of consummation on the terms set forth in this Agreement; provided, that the Company shall not



                                                 22
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 400 of 835




be entitled to exercise the foregoing termination right to the extent entry of such order was
requested by the Company;

                       (vii) the Debtors, the Supporting Unsecured Noteholders and the
Supporting Governmental Opioid Claimants shall not have agreed upon the Additional Insurance
Rights by the time of the filing of the Plan and Disclosure Statement;

                       (viii) the Bankruptcy Court enters an order denying confirmation of the
Plan; or

                     (ix)    any court of competent jurisdiction has entered a judgment or order
declaring this Agreement to be unenforceable.

         For the avoidance of doubt, no verdict, judgment, order, or settlement in any opioid-related
litigation in which no Supporting Party is a party to can give rise to or serve as a basis for any
Company Termination Event.

     Notwithstanding the foregoing, this Agreement may not be terminated on account of any
Company Termination Event if such Company Termination Event is caused by the Company.

              c.     Mutual Termination. This Agreement may be terminated, as to all Parties,
in writing by mutual agreement of the Company Entities, the Required Supporting Unsecured
Noteholders, and the Governmental Plaintiff Ad Hoc Committee (a “Mutual Termination
Event”).

                d.     Individual Termination. Upon ten (10) days’ notice, any individual
Supporting Party may terminate this Agreement, as to itself only, by the delivery to counsel to the
Company and the other Supporting Parties of a written notice in accordance with Section 20 hereof,
in the event that (i) any waiver, modification, amendment or supplement of this Agreement
materially adversely affects the economics, recoveries, or treatment applicable to the Specified
Claims and Interests of such Supporting Party or (ii) any Definitive Document is filed with the
Bankruptcy Court or later amended in such a way that materially adversely affects the economics,
recoveries, or treatment applicable to the Specified Claims and Interests of such Supporting Party
without such Supporting Party’s consent (each such event, an “Individual Termination Event”);
provided, that, such Supporting Party shall not object to the Company’s efforts to seek an expedited
hearing to adjudicate whether an Individual Termination Event has occurred.

               e.       Automatic Termination. This Agreement shall terminate automatically
without any further required action or notice upon the occurrence of the Plan Effective Date
(collectively with the Supporting Party Termination Events, the Company Termination Events, the
Mutual Termination Event, and the Individual Termination Event, the “Termination Events”).

               f.     Effect of Termination as to All Parties. Subject to Section 21(b), upon a
termination of this Agreement as to all Parties, this Agreement shall forthwith become null and
void and of no further force or effect as to any Party, and each Party shall, except as provided
otherwise in this Agreement, be immediately released from its liabilities, obligations,
commitments, undertakings, and agreements under or related to this Agreement and shall have all
the rights and remedies that it would have had and shall be entitled to take all actions, whether


                                                 23
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 401 of 835




with respect to the Plan or otherwise, that it would have been entitled to take had it not entered
into this Agreement; provided, that in no event shall any such termination relieve a Party from
liability for its breach or non-performance of its obligations hereunder that arose prior to the date
of such termination or any obligations hereunder that expressly survive termination of this
Agreement under Section 15 hereof. Subject to Section 21(b), upon such termination, any and all
consents, agreements, undertakings, waivers, forbearances, votes, or ballots tendered by the Parties
before such termination shall be deemed, for all purposes, to be null and void from the first instance
and shall not be considered or otherwise used in any manner by any of the Parties in connection
with the Chapter 11 Cases.

                g.      Effect of Termination as to Individual Parties. Subject to Section 21(b),
upon the termination of this Agreement that is limited in its effectiveness as to an individual Party
or Parties in accordance with this Section 6: (i) this Agreement shall become null and void and of
no further force or effect with respect to the terminated Party or Parties, who shall be immediately
released from its or their liabilities, obligations, commitments, undertakings, and agreements under
or related to this Agreement and shall have all the rights and remedies that it or they would have
had and such Party or Parties shall be entitled to take all actions, whether with respect to the Plan
or otherwise, that it or they would have been entitled to take had it or they not entered into this
Agreement; provided, that (i) the terminated Party or Parties shall not be relieved of any liability
for breach or non-performance of its or their obligations hereunder that arose prior to the date of
such termination or any obligations hereunder that expressly survive termination of this Agreement
under Section 15 hereof; and (ii) this Agreement shall remain in full force and effect with respect
to all Parties other than the terminated Party or Parties. Subject to Section 21(b), upon such
termination, any and all consents, agreements, undertakings, waivers, forbearances, votes, or
ballots tendered by the terminating Party or Parties before such termination shall be deemed, for
all purposes, to be null and void from the first instance and shall not be considered or otherwise
used in any manner by any of the Parties in connection with the Chapter 11 Cases.

               h.      Automatic Stay. The Company Entities acknowledge that, after the
commencement of the Chapter 11 Cases, the giving of notice of default or termination by any other
Party pursuant to this Agreement shall not be a violation of the automatic stay under section 362
of the Bankruptcy Code, and the Company Entities hereby waive, to the fullest extent permitted
by law, the applicability of the automatic stay as it relates to any such notice being provided;
provided that nothing herein shall prejudice any Party’s rights to argue that the giving of notice of
default or termination was not proper under the terms of this Agreement.

      7.   Representations and Warranties; Execution By Counsel to Supporting
Governmental Opioid Claimants.

                a.      Each Party, severally and not jointly, represents and warrants to the other
Parties that the following statements are true, correct, and complete as of the date hereof (or as of
the date a Supporting Party becomes a party hereto):

                       (i)     (A) such Party (I) is validly existing and, to the extent applicable, is
in good standing under the laws of its jurisdiction of incorporation or organization, (II) has all
requisite corporate, partnership, limited liability company, governmental, or similar authority to
enter into this Agreement and carry out the transactions contemplated hereby and perform its


                                                  24
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 402 of 835




obligations contemplated hereunder (other than, in the case of the Company, any required
approvals or authorizations of the Bankruptcy Court and the Scheme of Arrangement), and (B) the
execution and delivery of this Agreement and the performance of such Party’s obligations
hereunder have been duly authorized by all necessary corporate, limited liability company,
partnership, governmental, or other similar action on its part (other than, in the case of the
Company, any required approvals or authorizations of the Bankruptcy Court and the Scheme of
Arrangement);

                           (ii)    the execution, delivery, and performance by such Party of this
Agreement does not and will not (A) violate any provision of law, rule, or regulation applicable to
it, its charter, its constitution, or its bylaws (or other similar governing documents) in any material
respect, or (B) conflict with, result in a breach of, or constitute a default under any material
contractual obligation to which it is a party in any material respect (provided, however, that with
respect to the Company, it is understood that commencing the Chapter 11 Cases may result in a
breach of or constitute a default under such obligations);

                        (iii) the execution, delivery, and performance by such Party of this
Agreement does not and will not require any registration or filing with, consent, or approval of, or
notice to, or other action, with or by, any federal, state, or governmental authority or regulatory
body, except such registrations or filings, consents, approvals, notices, or other actions as may be
necessary and/or required by the Bankruptcy Court or this Agreement;

                       (iv)    this Agreement is the legally valid and binding obligation of such
Party, enforceable against it in accordance with its terms, except as enforcement may be limited
by bankruptcy, insolvency, reorganization, moratorium, or other similar laws relating to or limiting
creditors’ rights generally or by equitable principles relating to enforceability or a ruling of the
Bankruptcy Court; and

                       (v)     except as expressly provided by this Agreement, it is not party to
any restructuring or similar agreements or arrangements with the other Parties to this Agreement
that have not been disclosed to all Parties to this Agreement; provided, however, that a Supporting
Unsecured Noteholder may be or become a party to a separate agreement with the Debtors in
connection with the Make-Whole Reservation of Rights.

                b.      Each Supporting Unsecured Noteholder severally (and not jointly),
represents and warrants to the Company that, as of the date hereof (or as of the date such
Supporting Unsecured Noteholder becomes a party hereto), such Supporting Unsecured
Noteholder (i) is the beneficial owner of (or investment manager, advisor, or subadvisor to one or
more beneficial owners of) the aggregate principal amount of Specified Claims and Interests set
forth besides its name on Annex 2 hereto (or below its name on the signature page of a Joinder
Agreement for any Supporting Unsecured Noteholder that becomes a Party hereto after the date
hereof), (ii) has, with respect to the beneficial owners of such Specified Claims and Interests (as
may be set forth on a schedule to such Supporting Unsecured Noteholder’s signature page hereto),
(A) sole investment or voting discretion with respect to such Specified Claims and Interests, (B)
full power and authority to vote on and consent to matters concerning such Specified Claims and
Interests, or to exchange, assign, and transfer such Claims or Interests, and (C) full power and
authority to bind or act on the behalf of, such beneficial owners, and (iii) such Specified Claims


                                                  25
            Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 403 of 835




and Interests are free and clear of any pledge, lien, security interest, charge, claim, equity, option,
proxy, voting restriction, right of first refusal, or other limitation on disposition or encumbrance
of any kind, that would prevent in any way such Supporting Unsecured Noteholder’s performance
of its obligations contained in this Agreement at the time such obligations are required to be
performed.

                 c.      To the extent counsel executes this Agreement on behalf of any Supporting
Governmental Opioid Claimants, such counsel represents and warrants that it is has been duly
authorized by such Supporting Governmental Opioid Claimants to execute this Agreement on their
behalf and that (i) such Supporting Governmental Opioid Claimants constitute Supporting Parties
hereunder, and (ii) such Supporting Governmental Opioid Claimants are deemed to have made the
representations and warranties set forth in Section 7(a) above as of the date of counsel’s execution
of this Agreement (or, if later, the date on which such Supporting Governmental Opioid Claimants
(either directly or through counsel) execute a Joinder Agreement). This Agreement shall constitute
the legally valid and binding obligation of each Supporting Governmental Opioid Claimant,
enforceable in accordance with its terms.

       8.      Fiduciary Duties.

                 a.     Notwithstanding anything to the contrary herein, nothing in this Agreement
shall require a Company Entity or the board of directors, board of managers, or similar governing
body of a Company Party, after consulting with counsel, to take any action or to refrain from taking
any action with respect to the Restructuring to the extent taking or failing to take such action would
be inconsistent with applicable law or its fiduciary obligations under applicable Law, and any such
action or inaction pursuant to this Section 8 shall not be deemed to constitute a breach of this
Agreement (other than solely for the purpose of establishing the occurrence of an event that may
give rise to a termination right). The Company shall give prompt written notice to the Supporting
Parties of any determination made in accordance with this subsection. This subsection shall not
impede any Party’s right to terminate this Agreement pursuant to Section 6 of this Agreement.

                b.      Notwithstanding anything to the contrary herein, nothing in this Agreement
shall create any additional fiduciary obligations on the part of the Company or the Supporting
Parties, or any members, partners, managers, managing members, officers, directors, employees,
advisors, principals, attorneys, professionals, accountants, investment bankers, consultants, agents
or other representatives of the same or their respective affiliated entities, in such person’s capacity
as a member, partner, manager, managing member, officer, director, employee, advisor, principal,
attorney, professional, accountant, investment banker, consultant, agent or other representative of
such Party or its affiliated entities, that such entities did not have prior to the execution of this
Agreement.

               c.       Nothing in this Agreement shall (i) impair or waive the rights of the
Company to assert or raise any objection permitted under this Agreement in connection with the
Restructuring or (ii) prevent the Company from enforcing this Agreement or contesting whether
any matter, fact, or thing is a breach of, or is inconsistent with, this Agreement.

       9.     Filings and Public Statements. The Company and the Parent shall submit drafts
to counsel, on a professional eyes only basis, to the Unsecured Notes Ad Hoc Group and the


                                                  26
             Case 20-12522-JTD       Doc 2917     Filed 06/18/21     Page 404 of 835




Governmental Plaintiff Ad Hoc Committee, of any press releases, public documents, and any and
all filings with the U.S. Securities and Exchange Commission, the Bankruptcy Court, or otherwise
that constitute disclosure of the existence or terms of this Agreement or any amendment to the
terms of this Agreement at least two (2) Business Days or as soon as reasonably practicable prior
to making any such disclosure, and shall afford them a reasonable opportunity under the
circumstances to comment on such documents and disclosures and shall consider any such
comments in good faith. Except as required by law or otherwise permitted under the terms of any
other agreement between the Company on the one hand, and any Supporting Party, on the other
hand, no Party or its advisors (including counsel to any Party) shall disclose to any person
(including other Supporting Parties) other than the Company and the Company’s advisors, the
principal amount or percentage of any Specified Claims and Interests or any other securities of or
Claims against the Company held by any other Party, in each case, without such Party’s prior
written consent; provided that (i) if such disclosure is required by law, subpoena, or other legal
process or regulation, the disclosing Party shall afford the relevant Party a reasonable opportunity
to review and comment in advance of such disclosure and shall take all reasonable measures to
limit such disclosure (including by way of a protective order) (the expense of which, if any, shall
be borne by the relevant disclosing Party) and (ii) the foregoing shall not prohibit the disclosure
of the aggregate percentage or aggregate principal amount of Specified Claims and Interests held
by all the Supporting Parties collectively. Any public filing of this Agreement, with the
Bankruptcy Court, the SEC or otherwise, shall not include the executed signature pages to this
Agreement. Nothing contained herein shall be deemed to waive, amend or modify the terms of
any confidentiality or non-disclosure agreement between the Company and any Supporting Party.

       10.      Amendments and Waivers.

                a.    This Agreement may not be modified, amended, or supplemented, and no
condition or requirement of this Agreement may be waived, in any manner except in accordance
with this Section 10.

                b.     During the Support Period, this Agreement, including any exhibits or
schedules hereto, may not be waived, modified, amended, or supplemented except in a writing
signed by the Company, the Required Supporting Unsecured Noteholders, and the Governmental
Plaintiff Ad Hoc Committee; provided, that: (a) any waiver, modification, amendment, or
supplement to Section 4(f)(v), Section 6(d), Section 6(e), Section 6(f), Section 6(g), Section 7(a),
Section 7(b), Section 8(b), Section 10, Section 17, Section 21, Section 22 or the definition of
“Specified Claims and Interests” shall require the prior written consent of each Party; (b) any
waiver, modification, amendment, or supplement to the definitions of “Required Supporting
Unsecured Noteholders,” or “Governmental Plaintiff Ad Hoc Committee,” shall require the prior
written consent of each applicable Supporting Party that is a member of such constituencies;
(c) any waiver, modification, amendment, or supplement of the Opioid Settlement or the
CMS/DOJ/States Settlement that is materially adverse to the Supporting Unsecured Noteholders
shall require the consent of no less than two-thirds in outstanding principal amount of Guaranteed
Unsecured Notes held by the Supporting Unsecured Noteholders then party to this Agreement; and
(d) any waiver, modification, amendment or supplement requiring any Supporting Party to make
any investment, including in any Mallinckrodt entity, may not be made without the prior written
consent of such Supporting Party. Notwithstanding the foregoing, in no event shall Section 6(d)
be amended as to any Supporting Party without the consent of each such Supporting Party.


                                                27
             Case 20-12522-JTD        Doc 2917      Filed 06/18/21      Page 405 of 835




               c.     Amendments to any Definitive Document shall be governed as set forth in
such Definitive Document. Any consent required to be provided pursuant to this Section 10 may
be delivered by email from counsel. Any proposed modification, amendment, waiver, or
supplement that does not comply with this Section 10 shall be ineffective and void ab initio.

        11.     Noteholder Consent Fee. Supporting Unsecured Noteholders who have executed
and delivered counterpart signature pages to this Agreement to counsel to the Company by no later
than of 11:59 P.M., prevailing Eastern time, on October 11, 2020 (the “Determination Date”),
shall earn the Noteholder Consent Fee as set forth herein and in the Plan, which shall be payable
in cash on the Plan Effective Date; provided, that the Noteholder Consent Fee shall only be payable
if holders of no less than 66.67% in principal amount of the Guaranteed Unsecured Notes execute
and deliver counterpart signature pages to this Agreement by the Determination Date; provided,
further, that the Noteholder Consent fee shall only be payable to such Supporting Unsecured
Noteholders having executed and delivered counterpart signature pages by the Determination Date
notwithstanding any Transfer of Guaranteed Unsecured Notes after the Determination Date.

       12.   Effectiveness. This Agreement shall become effective and binding on the Parties
on the Agreement Effective Date, and not before such date.

       13.      Governing Law; Jurisdiction; Waiver of Jury Trial.

                a.       This Agreement shall be construed and enforced in accordance with, and
the rights of the parties shall be governed by, the law of the State of New York, without giving
effect to the conflicts of law principles thereof.

                 b.     Each of the Parties irrevocably agrees that, for so long as the Chapter 11
Cases are pending, any legal action, suit, or proceeding arising out of or relating to this Agreement
brought by any party or its successors or assigns shall be brought and determined in the Bankruptcy
Court, and each of the Parties hereby irrevocably submits to the exclusive jurisdiction of the
Bankruptcy Court for itself and with respect to its property, generally and unconditionally, with
regard to any such proceeding. Otherwise, each of the Parties, other than Parties that are States,
agrees that any such legal action, suit, or proceeding shall be brought and determined in any federal
or state court in the Borough of Manhattan, the City of New York and each of the Parties, other
than Parties that are States, hereby irrevocably submits to the exclusive jurisdiction of the aforesaid
courts for itself and with respect to its property, generally and unconditionally, with regard to any
such proceeding. Each of the Parties agrees not to commence any proceeding relating hereto or
thereto except in the courts described above, other than (i) proceedings involving Parties that are
States commenced while the Chapter 11 Cases are not pending in which case such State’s rights
are fully reserved and (ii) proceedings in any court of competent jurisdiction to enforce any
judgment, decree, or award rendered by any such court as described herein. Each of the Parties
further agrees that notice as provided herein shall constitute sufficient service of process and the
Parties further waive any argument that such service is insufficient. Subject to the foregoing, each
of the Parties hereby irrevocably and unconditionally waives, and agrees not to assert, by way of
motion or as a defense, counterclaim, or otherwise, in any proceeding arising out of or relating to
this Agreement, (A) any Claim that it is not personally subject to the jurisdiction of the courts as
described herein for any reason, (B) that it or its property is exempt or immune from jurisdiction
of any such court or from any legal process commenced in such courts (whether through service


                                                  28
             Case 20-12522-JTD        Doc 2917      Filed 06/18/21      Page 406 of 835




of notice, attachment prior to judgment, attachment in aid of execution of judgment, execution of
judgment, or otherwise) and (C) that (I) the proceeding in any such court is brought in an
inconvenient forum, (II) the venue of such proceeding is improper, or (III) this Agreement, or the
subject matter hereof, may not be enforced in or by such courts.

            c.    EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY
IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
HEREBY (WHETHER BASED ON CONTRACT, TORT, OR ANY OTHER THEORY). EACH
PARTY (I) CERTIFIES THAT NO REPRESENTATIVE, AGENT, OR ATTORNEY OF ANY
OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH
OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE
FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES
HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER
THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

       14.      Specific Performance/Remedies.

                a.      The Parties agree that irreparable damage may occur if any provision of this
Agreement were not performed in accordance with the terms hereof and that the Parties shall be
entitled to seek an injunction or injunctions to prevent breaches of this Agreement or to enforce
specifically the performance of the terms and provisions hereof, in addition to any other remedy
to which they are entitled at law or in equity. Unless otherwise expressly stated in this Agreement,
no right or remedy described or provided in this Agreement is intended to be exclusive or to
preclude a Party from pursuing other rights and remedies to the extent available under this
Agreement, at law, or in equity.

                 b.      Notwithstanding anything to the contrary in this Agreement, none of the
Parties will be liable for, and none of the Parties shall claim or seek to recover on the basis of
anything in this Agreement, any punitive, special, indirect or consequential damages or damages
for lost profits, in each case against any other Party to this Agreement.

        15.     Survival. Notwithstanding any Transfer of any Claims against or Interests in the
Company in accordance with Section 4(b) or the termination of this Agreement pursuant to
Section 6 hereof, the agreements and obligations of the Parties set forth in the following Sections:
6(f), 6(g), 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, and 27 hereof (and any defined
terms used in any such Sections) shall survive such termination and shall continue in full force and
effect for the benefit of the Parties in accordance with the terms hereof; provided, that any liability
of a Party for failure to comply with the terms of this Agreement shall survive such termination.

       16.    Headings. The headings of the sections, paragraphs, and subsections of this
Agreement are inserted for convenience only and shall not affect the interpretation hereof or, for
any purpose, be deemed a part of this Agreement.

      17.     No Third-Party Beneficiaries; Successors and Assigns; Severability; Several
Obligations. This Agreement is intended to bind and inure solely to the benefit of the Parties and



                                                  29
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 407 of 835




their respective successors, permitted assigns, heirs, executors, and administrators and, unless
expressly stated or referred to herein, no other person or entity shall be a third-party beneficiary
hereof; provided, that nothing contained in this Section 17 shall be deemed to permit Transfers of
interests in any Specified Claim and Interests other than in accordance with the express terms of
this Agreement. If any provision of this Agreement, or the application of any such provision to
any person or entity or circumstance, shall be held invalid or unenforceable in whole or in part,
such invalidity or unenforceability shall attach only to such provision or part thereof and the
remaining part of such provision hereof and this Agreement shall continue in full force and effect
so long as the economic or legal substance of the transactions contemplated hereby is not affected
in any manner materially adverse to any Party. Upon any such determination of invalidity, the
Parties shall negotiate in good faith to modify this Agreement so as to effect the original intent of
the Parties as closely as possible in a reasonably acceptable manner in order that the transactions
contemplated hereby are consummated as originally contemplated to the greatest extent possible.
The agreements, representations, and obligations of the Parties are, in all respects, several and
neither joint nor joint and several. For the avoidance of doubt, the obligations arising out of this
Agreement are several and not joint with respect to each Supporting Party, in accordance with its
proportionate interest hereunder, and the Parties agree not to proceed against any Supporting Party
for the obligations of another.

        18.     Prior Negotiations; Entire Agreement. This Agreement, including the exhibits
and schedules hereto (including the Term Sheet and the Opioid Settlement Term Sheet), constitutes
the entire agreement of the Parties, and supersedes all other prior negotiations, with respect to the
subject matter hereof and thereof, except that the Parties acknowledge that any confidentiality
agreements (if any) heretofore executed between the Company and each Supporting Party shall
continue in full force and effect in accordance with its terms.

        19.     Counterparts; Email Consent. This Agreement may be executed in several
counterparts, each of which shall be deemed to be an original, and all of which together shall be
deemed to be one and the same agreement. Execution copies of this Agreement may be delivered
by facsimile, electronic mail, or otherwise, which shall be deemed to be an original for the purposes
of this paragraph. Where a written consent, acceptance, approval, or waiver is required pursuant
to or contemplated by this Agreement, such written consent, acceptance, approval, or waiver shall
be deemed to have occurred if, by agreement between counsel to the Parties submitting and
receiving such consent, acceptance, approval, or waiver, it is conveyed in writing (including
electronic mail) between each such counsel without representations or warranties of any kind on
behalf of such counsel.

        20.     Notices. All notices hereunder shall be given by electronic mail, certified mail
(return receipt requested), or courier to, and shall be deemed effective when actually received by,
the following addresses:

               a.      If to the Company, to:

                       Mallinckrodt plc
                       675 James S. McDonnell Boulevard
                       Hazelwood, Missouri 63042



                                                 30
          Case 20-12522-JTD         Doc 2917     Filed 06/18/21      Page 408 of 835




                      Attention:     Mark Casey & Donald Lohman
                                     (Corporate.Secretary@mnk.com)

                      with a copy (which shall not constitute notice) to:

                      Latham & Watkins LLP
                      885 Third Avenue
                      New York, New York 10022
                      Attention:   George Davis (george.davis@lw.com)
                                   Anupama Yerramalli (anu.yerramalli@lw.com)
                                   Andrew Sorkin (andrew.sorkin@lw.com)

                      – and –

                      Latham & Watkins LLP
                      355 South Grand Avenue, Suite 100
                      Los Angeles, CA 90071
                      Attention:    Jeff Bjork (jeff.bjork@lw.com)

                      – and –

                      Latham & Watkins LLP
                      330 North Wabash, Suite 2800
                      Chicago, IL 60611
                      Attention:    Jason Gott (jason.gott@lw.com)
                                    Jason Moehlmann (jason.moehlmann@lw.com)

                      – and –

                      Wachtell, Lipton, Rosen & Katz
                      51 West 52nd Street
                      New York, NY 10019
                      Attention:    Philip Mindlin (PMindlin@wlrk.com)
                                    Neil (Mac) M. Snyder (NMSnyder@wlrk.com)

               b.     If to the Supporting Unsecured Noteholders, to the addresses set forth below
each Supporting Unsecured Noteholder’s signature to this Agreement (if any), as the case may be,
and if such Supporting Unsecured Noteholder is a member of the Unsecured Notes Ad Hoc Group,
with a copy (which shall not constitute notice) to:

                      Paul, Weiss, Rifkind, Wharton & Garrison LLP
                      1285 Avenue of the Americas
                      New York, New York 10019
                      Attention:    Andrew N. Rosenberg (arosenberg@paulweiss.com)
                                    Alice Belisle Eaton (aeaton@paulweiss.com)




                                               31
              Case 20-12522-JTD        Doc 2917      Filed 06/18/21       Page 409 of 835




                                        Claudia R. Tobler (ctobler@paulweiss.com)
                                        Neal Paul Donnelly (ndonnelly@paulweiss.com)

             c.      If to a Supporting Governmental Opioid Claimant, to the addresses set forth
below each Supporting Governmental Opioid Claimant’s signature to this Agreement (if any), as
the case may be, and if such Supporting Governmental Opioid Claimant is a member of the
Governmental Plaintiff Ad Hoc Committee, with a copy (which shall not constitute notice), to:

                        Kramer Levin Naftalis & Frankel LLP
                        1177 Avenue of the Americas
                        New York, New York 10036
                        Attention:   Kenneth H. Eckstein (keckstein@kramerlevin.com)
                                     Daniel M. Eggermann (deggermann@kramerlevin.com)

                        – and –

                        Brown Rudnick LLP
                        Seven Times Square
                        New York, New York 10019
                        Attention:   David J. Molton (dmolton@brownrudnick.com)
                                     Steven D. Pohl (spohl@brownrudnick.com)

                        – and –

                        Gilbert LLP
                        1100 New York Ave., NW
                        Suite 700
                        Washington, D.C. 2005
                        Attention:   Scott D. Gilbert (gilberts@gilbertlegal.com)
                                     Kami E. Quinn (quinnk@gilbertlegal.com)

        21.      Reservation of Rights; No Admission.

                  a.     Nothing contained herein shall (i) limit the ability of any Party to consult
with other Parties; or (ii) limit the ability of any Supporting Party to sell or enter into any
transactions in connection with the Specified Claims and Interests, or any other claims against or
interests in the Company, subject to the terms of this Agreement; or (iii) constitute a waiver or
amendment of any provision of any applicable credit agreement or indenture or any agreements
executed in connection with such credit agreement or indenture. Except as expressly provided in
this Agreement, nothing herein is intended to, or does, in any manner waive, limit, impair, or
restrict the ability of each of the Parties to protect and preserve its rights, remedies, and interests,
including its claims against any of the other Parties (or their respective affiliates or subsidiaries)
or its full participation in any bankruptcy case filed by the Company.

                 b.     Except as expressly provided in this Agreement, nothing herein is intended
to, or does, in any manner waive, limit, impair, or restrict the ability of each of the Parties to protect
and preserve its rights, remedies, and interests, including its claims against any of the other Parties
(or their respective affiliates or subsidiaries) or its full participation in any bankruptcy case filed


                                                   32
           Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 410 of 835




by the Company or any of its affiliates and subsidiaries. This Agreement is part of a proposed
settlement of matters that could otherwise be the subject of litigation among the Parties. If the
Restructuring is not consummated, or if this Agreement is terminated as to all Parties for any
reason, the Parties fully reserve any and all of their rights. If this Agreement is terminated as to
any Party or group individually, such Party or group fully reserves any and all of their rights.
Pursuant to Rule 408 of the Federal Rule of Evidence, any applicable state rules of evidence, and
any other applicable law, foreign or domestic, this Agreement and all negotiations relating thereto
shall not be admissible into evidence in any proceeding other than a proceeding to enforce its
terms. This Agreement shall in no event be construed as or be deemed to be evidence of an
admission or concession on the part of any Party of any claim or fault or liability or damages
whatsoever. Each of the Parties denies any and all wrongdoing or liability of any kind and does
not concede any infirmity in the claims or defenses which it has asserted or could assert.

        22.      Relationship Among the Supporting Parties. It is understood and agreed that no
Supporting Party has any fiduciary duty, duty of trust or confidence in any kind or form with any
other Supporting Party, the Company, or any other stakeholder of the Company and, except as
expressly provided in this Agreement, there are no commitments among or between them. In this
regard, it is understood and agreed that any Supporting Party may trade in the Claims and Interests
of the Company without the consent of the Company or any other Supporting Party, subject to
applicable securities laws, the terms of this Agreement, and any Confidentiality Agreement entered
into with the Company; provided that no Supporting Party shall have any responsibility for any
such trading by any other Person by virtue of this Agreement. No prior history, pattern, or practice
of sharing confidences among or between the Supporting Parties shall in any way affect or negate
this understanding and agreement.

        23.    Make-Whole Reservation of Rights. Neither this Agreement nor the Term Sheet
provide for the treatment of the Make-Whole Claims, and all Parties’ rights related thereto are
fully reserved. Notwithstanding anything to the contrary in this Agreement, it is expressly
understood and agreed that a Supporting Unsecured Noteholder (a) may hold First Lien Credit
Agreement Claims, First Lien Notes Claims, and/or Second Lien Notes Claims in addition to its
Specified Claims and Interests, and (b) that the entry into this Agreement does not limit, waive,
impair, or otherwise affect any Supporting Unsecured Noteholder’s right to negotiate for and seek
allowance of, or to object to and seek disallowance of, any Make-Whole Claims in the Chapter 11
Cases or the Restructuring, whether in such Unsecured Noteholder’s capacity as an Unsecured
Noteholder or otherwise. Nothing contained herein, limits, waives, impairs, or otherwise affects
the Company’s right to object to, or seek disallowance of, any Make-Whole Claims in the Chapter
11 Cases or Restructuring and any such actions taken in connection with defending or objecting to
the Make-Whole Claims is not inconsistent with the Company’s obligations under this Agreement.
Any settlement and/or compromise of any Make-Whole Claim shall be acceptable to the Debtors,
the Governmental Plaintiff Ad Hoc Committee and the Required Supporting Unsecured
Noteholders, and any documents evidencing such settlement and/or compromise shall be in form




                                                33
             Case 20-12522-JTD       Doc 2917      Filed 06/18/21     Page 411 of 835




and substance acceptable to the Debtors, the Governmental Plaintiff Ad Hoc Committee and the
Required Supporting Unsecured Noteholders.

       24.      No Solicitation; Representation by Counsel; Adequate Information.

                a.     This Agreement is not and shall not be deemed to be a solicitation for votes
in favor of the Plan in the Chapter 11 Cases. The acceptances of the Supporting Parties with
respect to the Plan will not be solicited until such Supporting Parties have received the Disclosure
Statement and related ballots and solicitation materials.

               b.      Each Party acknowledges that it, or its advisors, has had an opportunity to
receive information from the Company and that it has been represented by counsel in connection
with this Agreement and the transactions contemplated hereby. Accordingly, any rule of law or
any legal decision that would provide any Party with a defense to the enforcement of the terms of
this Agreement against such Party based upon lack of legal counsel shall have no application and
is expressly waived. Each Supporting Party hereby further confirms that its decision to execute
this Agreement has been based upon its independent investigation of the operations, businesses,
financial and other conditions, and prospects of the Company, and without reliance on any
statement of any other Party (or such other Party’s financial, legal or other professional advisors),
other than such express representations and warranties of the Company set forth in Section 7.

        25.     Fees and Expenses. The Company shall reimburse all reasonable and documented
fees and out-of-pocket expenses including success fees (regardless of whether such fees and
expenses were incurred before or after the Petition Date and, in each case, in accordance with any
applicable engagement letter or fee reimbursement letter with the Company) of the following
professionals and advisors: (a) Gilbert LLP, Kramer Levin Naftalis & Frankel LLP, and Brown
Rudnick LLP, as legal counsel to the Governmental Plaintiff Ad Hoc Committee; (b) William Fry,
as Irish counsel to the Governmental Plaintiff Ad Hoc Committee; (c) Houlihan Lokey, Inc., as
investment banker and financial advisor to the Governmental Plaintiff Ad Hoc Committee; (d)
such other legal, consulting, financial, and/or other professional advisors to which the
Governmental Plaintiff Ad Hoc Committee and the Debtors shall reasonably agree from time to
time; (e) Paul, Weiss, Rifkind, Wharton & Garrison LLP as counsel to the Unsecured Notes Ad
Hoc Group; (f) Landis Rath & Cobb LLP, as Delaware counsel to the Unsecured Notes Ad Hoc
Group; (g) Perella Weinberg Partners LP, as investment banker to the Unsecured Notes Ad Hoc
Group; (h) Reed Smith LLP, as regulatory counsel to the Unsecured Notes Ad Hoc Group; (i)
Matheson as Irish counsel to the Unsecured Notes Ad Hoc Group; (j) such other legal, consulting,
financial, and/or other professional advisors to which the Unsecured Notes Ad Hoc Group and the
Debtors shall reasonably agree from time to time; and (k) to the extent not identified above, three
local counsel (one for the Chapter 11 Cases, one for the Irish Examinership Proceedings, and one
for the Recognition Proceedings) for each of the Governmental Plaintiff Ad Hoc Committee and
Unsecured Notes Ad Hoc Group; provided, that to the extent that the Company terminates this
Agreement under Section 6(b), the Company’s reimbursement obligations under this Section 25
shall survive with respect to any and all fees and expenses incurred on or prior to the date of
termination. In furtherance of the foregoing (x) simultaneously with the effectiveness of this
Agreement, the Company shall pay all such fees and out-of-pocket expenses incurred or accrued
at any time prior to the Agreement Effective Date; (y) the Company shall pay any accrued but
unpaid amounts owing under such engagement letter and/or fee reimbursement letters to the extent


                                                 34
           Case 20-12522-JTD          Doc 2917       Filed 06/18/21      Page 412 of 835




required under the terms thereof upon the termination of this Agreement, but shall not be
responsible for any fees and expenses incurred after termination of this Agreement (other than
termination of this Agreement as a result of the occurrence of the Plan Effective Date); and
(z) notwithstanding anything to the contrary herein, the Company shall also be required to
reimburse all reasonable and documented fees and expenses incurred by the Governmental
Plaintiff Ad Hoc Committee on or after the Effective Date in connection with the implementation
of the Plan (excluding, for the avoidance of doubt, the expenses of the administration of the Opioid
Trust).

        26.     Enforceability of Agreement. The Parties hereby acknowledge and agree: (a) that
the provision of any notice or exercise of termination rights under this Agreement is not prohibited
by the automatic stay provisions of the Bankruptcy Code, (b) each of the Parties to the extent
enforceable waives any right to assert that the exercise of any rights or remedies under this
Agreement is subject to the automatic stay provisions of the Bankruptcy Code, and expressly
stipulates and consents hereunder to the prospective modification of the automatic stay provisions
of the Bankruptcy Code for purposes of exercising any rights or remedies under this Agreement to
the extent the Bankruptcy Court determines that such relief is required, (c) that they shall not take
a position to the contrary of this Section 26 in the Bankruptcy Court or any other court of competent
jurisdiction, and (d) they will not initiate, or assert in, any litigation or other legal proceeding that
this Section 26 is illegal, invalid or unenforceable, in whole or in part.

        27.   Conflicts. In the event of any conflict among the terms and provisions of this RSA
and of the Term Sheet, the terms and provisions of the Term Sheet shall control.

        IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed
and delivered by their respective duly authorized officers or other authorized persons, solely in
their respective capacity as officers or other authorized persons of the undersigned and not in any
other capacity, as of the date first set forth above.

                                       [Signature pages follow]




                                                   35
Case 20-12522-JTD    Doc 2917     Filed 06/18/21   Page 413 of 835




                    [Signature Pages Redacted]




        [Signature Page to Restructuring Support Agreement]
Case 20-12522-JTD    Doc 2917     Filed 06/18/21   Page 414 of 835




                             Annex 1

                        Company Entities



     Name
     Mallinckrodt plc
     Acthar IP Unlimited Company
     IMC Exploration Company
     Infacare Pharmaceutical Corporation
     INO Therapeutics LLC
     Ludlow LLC
     MAK LLC
     Mallinckrodt APAP LLC
     Mallinckrodt ARD Finance LLC
     Mallinckrodt ARD Holdings Inc.
     Mallinckrodt ARD Holdings Limited
     Mallinckrodt ARD IP Unlimited Company
     Mallinckrodt ARD LLC
     Mallinckrodt Brand Pharmaceuticals LLC
     Mallinckrodt Buckingham Unlimited Company
     Mallinckrodt Canada ULC
     Mallinckrodt CB LLC
     Mallinckrodt Critical Care Finance LLC
     Mallinckrodt Enterprises Holdings, Inc.
     Mallinckrodt Enterprises LLC
     Mallinckrodt Enterprises UK Limited
     Mallinckrodt Equinox Finance LLC
     Mallinckrodt Group S.à r.l.
     Mallinckrodt Holdings GmbH
     Mallinckrodt Hospital Products Inc.
     Mallinckrodt Hospital Products IP Unlimited Company
     Mallinckrodt International Finance SA
     Mallinckrodt International Holdings S.à r.l.
     Mallinckrodt IP Unlimited Company
     Mallinckrodt LLC
     Mallinckrodt Lux IP S.à r.l.
     Mallinckrodt Manufacturing LLC
     Mallinckrodt Pharma IP Trading Unlimited Company
     Mallinckrodt Pharmaceuticals Ireland Limited
     Mallinckrodt Pharmaceuticals Limited
Case 20-12522-JTD    Doc 2917    Filed 06/18/21   Page 415 of 835




     Mallinckrodt Quincy S.à r.l.
     Mallinckrodt UK Finance LLP
     Mallinckrodt UK Ltd
     Mallinckrodt US Holdings LLC
     Mallinckrodt US Pool LLC
     Mallinckrodt Veterinary, Inc.
     Mallinckrodt Windsor Ireland Finance Unlimited Company
     Mallinckrodt Windsor S.à r.l.
     MCCH LLC
     MEH, Inc.
     MHP Finance LLC
     MKG Medical UK Ltd
     MNK 2011 LLC
     MUSHI UK Holdings Limited
     Ocera Therapeutics, Inc.
     Petten Holdings Inc.
     SpecGx Holdings LLC
     SpecGx LLC
     ST Operations LLC
     ST Shared Services LLC
     ST US Holdings LLC
     ST US Pool LLC
     Stratatech Corporation
     Sucampo Holdings Inc.
     Sucampo Pharma Americas LLC
     Sucampo Pharmaceuticals, Inc.
     Therakos, Inc.
     Vtesse LLC
     WebsterGx Holdco LLC
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 416 of 835




                          Annex 2

          Supporting Unsecured Noteholder Holdings
Case 20-12522-JTD   Doc 2917     Filed 06/18/21   Page 417 of 835




       [Supporting Unsecured Noteholder Holdings Redacted]
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 418 of 835




                         Exhibit A

                        Term Sheet
          Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 419 of 835

                                                                               Execution Version


THIS TERM SHEET IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES OR A
SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE
MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR
SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING CONTAINED IN
THIS TERM SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY OR, UNTIL
THE OCCURRENCE OF THE AGREEMENT EFFECTIVE DATE ON THE TERMS
DESCRIBED HEREIN AND IN THE RESTRUCTURING SUPPORT AGREEMENT,
DEEMED BINDING ON ANY OF THE PARTIES HERETO.

                           Mallinckrodt Restructuring Term Sheet

        This Term Sheet, which is Exhibit A to the Restructuring Support Agreement dated
October 11, 2020, by and among the Company and the Supporting Parties party thereto, describes
the proposed terms of the Company’s Restructuring. The Debtors will implement the
Restructuring through the Plan, which shall be consistent with the terms of this Term Sheet, the
RSA and the exhibits and schedules annexed hereto and thereto, including the Opioid Settlement
Term Sheet, which is Schedule 1 hereto (as each may be amended or supplemented from time to
time in accordance with the terms of the RSA), in the Chapter 11 Cases to be commenced in the
Bankruptcy Court, the Scheme of Arrangement based on the Plan in the Irish Examinership
Proceedings, and the Recognition Proceedings (as defined herein) in which the Canadian Court (as
defined herein) shall recognize in Canada the Chapter 11 Cases. This Term Sheet incorporates the
rules of construction set forth in section 102 of the Bankruptcy Code. Capitalized terms used but
not otherwise defined herein have the meanings ascribed to them in the RSA or the Opioid
Settlement Term Sheet, as applicable.

        This Term Sheet does not include a description of all of the terms, conditions, and other
provisions that are to be contained in the Plan and the other Definitive Documents, or the Scheme
of Arrangement and the Irish Examinership Proceedings, which remain subject to negotiation in
accordance with the RSA. Consummation of the transactions contemplated by this Term Sheet is
subject to (a) the negotiation and execution of the Definitive Documents evidencing and related to
the Restructuring contemplated herein, (b) satisfaction or waiver of all of the conditions in any
Definitive Document evidencing the transactions comprising the Restructuring, (c) entry of the
Confirmation Order and the satisfaction or waiver of any conditions to the effectiveness thereof,
(d) approval of the Scheme of Arrangement by the High Court of Ireland and the satisfaction or
waiver of any conditions to the effectiveness thereof, and (d) entry of an order recognizing the
Confirmation Order in the Recognition Proceedings. The Definitive Documents shall satisfy the
requirements of all applicable securities laws, the Bankruptcy Code, this Term Sheet, the Opioid
Settlement Term Sheet, the Scheme of Arrangement, the Companies Act 2014 of Ireland governing
the Irish Examinership Proceedings, and the Canadian Companies Arrangement Act governing the
Recognition Proceedings. The Definitive Documents will contain terms and conditions that are
dependent on each other, including those described in this Term Sheet and the Opioid Settlement
Term Sheet.
         Case 20-12522-JTD    Doc 2917      Filed 06/18/21     Page 420 of 835




     TREATMENT OF CLAIMS AND EQUITY INTERESTS UNDER THE PLAN

    Type of Claim                        Treatment                        Impairment /
                                                                            Voting
Administrative, Tax,   All such claims shall be paid in full in cash on Unimpaired
Other Priority and     the Plan Effective Date, or in the ordinary course
Other Secured Claims   of business as and when due, or otherwise
                       receive treatment consistent with the provisions
                       of section 1129(a) of the Bankruptcy Code, in
                       each case, as determined by the Debtors with the
                       reasonable consent of the Required Supporting
                       Unsecured Noteholders, and the Governmental
                       Plaintiff Ad Hoc Committee.
                       Administrative expense claims shall be paid on
                       the Plan Effective Date and shall include
                       Restructuring Expenses (as defined below).

First Lien Credit      All allowed First Lien Credit Agreement Claims Unimpaired; not
Agreement Claims       shall be Reinstated at existing rates and entitled to vote
                       maturities.

First Lien Notes       All allowed First Lien Notes Claims shall be Unimpaired; not
Claims                 Reinstated at existing rates and maturities. entitled to vote

Second Lien Notes      All allowed Second Lien Notes Claims shall be Unimpaired; not
Claims                 Reinstated at existing rates and maturities.  entitled to vote

Guaranteed             Holders of allowed Guaranteed Unsecured Impaired; entitled
Unsecured Notes        Notes Claims shall receive their pro rata share to vote
Claims                 of:
                         i.   $375 million of new secured takeback
                              second lien notes due 7 years after
                              emergence (the “Takeback Second Lien
                              Notes”), which shall contain economic
                              terms consistent with those set forth in
                              Annex 2 hereto; and
                        ii.   100% of New Mallinckrodt Common
                              Shares, subject to dilution on account of
                              the New Opioid Warrants and the MIP
                              (each as defined below).

4.75% Unsecured        No property will be distributed to the Holders of Impaired; deemed
Notes Claims           allowed 4.75% Unsecured Notes Claims.             to reject; not
        Case 20-12522-JTD      Doc 2917        Filed 06/18/21   Page 421 of 835




                                                                          entitled to vote

Legacy Debentures      No property will be distributed to the Holders of Impaired; deemed
Claims                 allowed Legacy Debentures Claims.                 to reject; not
                                                                         entitled to vote

General Unsecured     Holders of allowed General Unsecured Claims Impaired; entitled
Claims (Not Otherwise shall receive their pro rata share, at the to vote
Classified)           applicable Debtor, of up to $100 million to be
                      allocated among the Debtors (the “General
                      Unsecured Recovery Cash Pool”).

Trade Claims           As consideration for maintaining trade terms Impaired; entitled
                       consistent with those practices and programs to vote
                       most favorable to the Debtors in place during the
                       12 months before the Petition Date or such other
                       favorable terms as the Debtors and the Trade
                       Claimants may mutually agree on, holders of
                       allowed Trade Claims shall receive their pro
                       rata share of up to $50 million; provided that,
                       any amounts not allocated to allowed Trade
                       Claims up to $50 million shall be allocated to
                       the General Unsecured Recovery Cash Pool.

Opioid Claims          As of the Plan Effective Date, the Opioid Trust Impaired; entitled
                       will be formed and shall receive the Opioid to vote
                       Trust Consideration as set forth in the Opioid
                       Settlement Term Sheet.
                       All Opioid Claims shall automatically, and
                       without further act, deed, or court order, be
                       channeled exclusively to, and all of
                       Mallinckrodt’s liability for Opioid Claims shall
                       be assumed by, the Opioid Trust as more fully
                       set forth in the Opioid Settlement Term Sheet.
                       Each Opioid Claim shall be resolved in
                       accordance with the terms, provisions, and
                       procedures of the Opioid Trust Documents.




                                           3
         Case 20-12522-JTD     Doc 2917        Filed 06/18/21   Page 422 of 835




Intercompany Claims    No property will be distributed to the Holders of   Unimpaired;
                       allowed Intercompany Claims.              Unless    deemed to accept;
                       otherwise provided for under the Plan, each         or Impaired;
                       Intercompany Claim will either be Reinstated or     deemed to reject;
                       canceled and released at the option of the          not entitled to
                       Debtors in consultation with the Supporting         vote
                       Unsecured Noteholders and the Governmental
                       Plaintiff Ad Hoc Committee.

Intercompany           Intercompany Interests shall receive no recovery    Unimpaired;
Interests              or distribution and be Reinstated solely to the     deemed to accept;
                       extent necessary to maintain the Debtors’           or Impaired;
                       corporate structure.                                deemed to reject;
                                                                           not entitled to
                                                                           vote

Equity Interests       All existing Equity Interests shall be discharged, Impaired; deemed
                       cancelled, released, and extinguished.             to reject; not
                                                                          entitled to vote

                   OTHER TERMS OF THE RESTRUCTURING

Case Financing         The Chapter 11 Cases will be financed by existing cash and use of
                       cash collateral on terms and conditions subject to the reasonable
                       consent of the Required Supporting Unsecured Noteholders and the
                       Governmental Plaintiff Ad Hoc Committee and any cash collateral
                       order will provide that any periods in which creditors are required to
                       challenge any Debtor stipulations or claims against any of the
                       Debtors (including the claims of lenders/bondholders) shall
                       automatically be tolled with respect to the Supporting Governmental
                       Opioid Claimants while the RSA remains in effect with respect to the
                       Supporting Governmental Opioid Claimants. Any such challenge
                       periods applicable to a Supporting Governmental Opioid Claimant
                       would begin to run only after termination of the RSA by or against
                       such Supporting Governmental Opioid Claimant.

Executory Contracts    Except as otherwise provided in this Term Sheet or the RSA, the
and Unexpired Leases   Debtors shall assume all executory contracts and unexpired leases
                       other than those executory contracts and unexpired leases to be
                       identified on a schedule of rejected executory contracts and
                       unexpired leases included in the Plan Supplement or otherwise
                       rejected pursuant to an order of the Bankruptcy Court, in each case
                       as determined by the Debtors with the reasonable consent of the
                       Required Supporting Unsecured Noteholders and the Governmental
                       Plaintiff Ad Hoc Committee. For the avoidance of doubt, assumption
                       of executory contracts and unexpired leases shall be consistent with



                                           4
        Case 20-12522-JTD   Doc 2917        Filed 06/18/21   Page 423 of 835




                    the RSA and this Term Sheet, including as specified in “Employee
                    Matters” and “Indemnification of Prepetition Directors, Officers,
                    Managers, et al.”

Opioid Trust        Opioid Claims shall be channeled exclusively to, and all of
                    Mallinckrodt’s liability for Opioid Claims shall be assumed by, the
                    Opioid Trust. Each Opioid Claim shall be resolved in accordance
                    with the terms, provisions, and procedures of the Opioid Trust
                    Documents. The Opioid Trust shall be funded in accordance with the
                    provisions of the Plan and the Opioid Settlement Term Sheet.
                    The sole recourse of any Opioid Claimant on account of such Opioid
                    Claim shall be to the Opioid Trust, and each Opioid Claimant shall
                    have no right whatsoever at any time to assert its Opioid Claim
                    against any Released Party.

CMS/DOJ/State       The Plan will provide for the implementation of a settlement between
Settlement          Mallinckrodt, the United States, and the States resolving Acthar-
                    related litigations and government investigations disclosed in the
                    Company’s Form 10-K for 2019, including United States of America,
                    et al., ex rel., Charles Strunck, et al. v. Mallinckrodt ARD LLC (E.D.
                    Penn.); United States of America et al. ex rel. Landolt v. Mallinckrodt
                    ARD, LLC (D. Mass.); and Mallinckrodt ARD LLC v. Verma et al.
                    (D.D.C.), and related matters, the terms of which are set forth on
                    Schedule 2 hereto.

Corporate           The Reorganized Debtors’ board shall consist of at least 7 directors
Governance          including, the Debtors’ Chief Executive Officer. As of the Plan
                    Effective Date, the members of the initial Reorganized Debtors’
                    board shall be designated by the Required Supporting Unsecured
                    Noteholders; provided that, the members of the Reorganized
                    Debtors’ board, other than the Debtors’ Chief Executive Officer, shall
                    be independent under NYSE/NASDAQ listing standards and shall be
                    independent of the Supporting Unsecured Noteholders, unless the
                    Governmental Plaintiff Ad Hoc Committee and the Debtors
                    otherwise consent. No parties shall be afforded special rights under
                    any charter, constitutions or bylaws or similar governing
                    foundational document of any Reorganized Debtor; provided, that,
                    the foregoing shall not be deemed to limit certain information,
                    registration or similar rights to be afforded to the Governmental
                    Plaintiff Ad Hoc Committee in other agreements with the
                    Reorganized Debtor, including, pursuant to the New Opioid
                    Warrants.

Employee Matters    Substantially all employees of the Debtors to be retained by the
                    Reorganized Debtors. The Reorganized Debtors shall assume any
                    employment, confidentiality, and non-competition agreements,


                                        5
         Case 20-12522-JTD       Doc 2917         Filed 06/18/21   Page 424 of 835




                         bonus, gainshare and incentive programs (other than awards of stock
                         options, restricted stock, restricted stock units, and other equity
                         awards), vacation, holiday pay, severance, retirement, supplemental
                         retirement, executive retirement, pension, deferred compensation,
                         medical, dental, vision, life and disability insurance, flexible
                         spending account, and other health and welfare benefit plans,
                         programs and arrangements, and all other wage, compensation,
                         employee expense reimbursement, and other benefit obligations of
                         the Debtors.

Indemnification of       The Plan shall provide that, consistent with applicable law all
Prepetition Directors,   indemnification provisions currently in place (whether in the by-
Officers, Managers, et   laws, constitutions, certificates of incorporation or formation, limited
al.                      liability company agreements, other organizational documents, board
                         resolutions, indemnification agreements, employment contracts or
                         otherwise) for the current and former direct and indirect sponsors,
                         directors, officers, managers, employees, attorneys, accountants,
                         investment bankers, financial advisors, restructuring advisors,
                         consultants and other professionals of the Debtors, as applicable,
                         shall be reinstated (to the extent required) and remain intact and
                         irrevocable and shall survive effectiveness of the Restructuring.

MIP                      On the Plan Effective Date, the Reorganized Debtors shall adopt the
                         management incentive plan (the “MIP”) which shall provide for the
                         issuance to management, key employees and directors of the
                         Reorganized Debtors of 10% of the fully diluted New Mallinckrodt
                         Common Shares (for the avoidance of doubt, after giving effect to
                         the exercise of the New Opioid Warrants) not later than thirty (30)
                         days after the Plan Effective Date at least half of the MIP shares will
                         be granted and shall vest in accordance with the terms set forth in
                         Annex 3 hereto, and the remaining amount of which shall be reserved
                         for future issuance as determined by the Reorganized Debtors’ board;
                         provided, that the MIP may be modified or amended by the mutual
                         agreement of the Debtors and the Required Supporting Noteholders
                         prior to the Plan Effective Date, with the consent of the
                         Governmental Plaintiff Ad Hoc Committee (such consent not to be
                         unreasonably withheld). The final terms of the MIP (including any
                         amendments or modifications, if any) shall be included in the Plan
                         Supplement.

Exit Capital Raise       Exact terms, if any, to be agreed upon by the Debtors and Supporting
                         Unsecured Noteholders holding no less than two-thirds in
                         outstanding principal amount of Guaranteed Unsecured Notes held
                         by the Supporting Unsecured Noteholders then party to the
                         Restructuring Support Agreement, with the consent of the
                         Governmental Plaintiff Ad Hoc Committee to the extent that any
                         such terms could reasonably be expected to have an adverse effect,


                                              6
        Case 20-12522-JTD     Doc 2917        Filed 06/18/21   Page 425 of 835




                      in any material respect, on the treatment, rights, or entitlements of
                      the holders of Opioid Claims under the RSA.

Tax Issues            The Debtors and the Supporting Parties shall cooperate in good faith
                      to structure the Restructuring and related transactions in a tax-
                      efficient manner.

Restructuring         Without limiting any rights and remedies of the Debtors or
Transactions          Reorganized Debtors under the Plan or applicable law, but in all cases
                      subject to the terms and conditions of the RSA and any consents or
                      approvals required thereunder, the entry of the Confirmation Order
                      shall constitute authorization for the Reorganized Debtors to take, or
                      to cause to be taken, all actions necessary or appropriate to
                      consummate and implement the provisions of the Plan prior to, on
                      and after the Plan Effective Date, including such actions as may be
                      necessary or appropriate to effectuate a corporate restructuring of
                      their respective businesses, to otherwise simplify the overall
                      corporate structure of the Reorganized Debtors, or to reincorporate
                      certain of the Affiliate Debtors under the laws of jurisdictions other
                      than the laws of which the applicable Affiliate Debtors are presently
                      incorporated.     All such actions necessary or appropriate to
                      consummate and implement the provisions of the Plan shall be set
                      forth in the Plan Supplement, may include one or more mergers,
                      consolidations, restructures, conversions, dispositions, liquidations
                      or dissolutions, as may be determined by the Debtors or Reorganized
                      Debtors to be necessary or appropriate, but in all cases subject to the
                      terms and conditions of the Plan and the RSA and any consents or
                      approvals required thereunder (collectively, the “Restructuring
                      Transactions”); provided that any Restructuring Transactions shall
                      not adversely affect the recoveries under the Plan of holders of
                      Guaranteed Unsecured Notes Claims without the consent of the
                      Required Supporting Unsecured Noteholders or the holders of
                      Opioid Claims without the consent of the Governmental Plaintiff Ad
                      Hoc Committee.

Company Status Upon   On or as soon as reasonably practicable after the Plan Effective Date,
Emergence             the New Mallinckrodt Common Shares shall be listed for trading on
                      The NASDAQ Capital Market, the NASDAQ Global Market, or the
                      New York Stock Exchange; provided however that, in any event, on
                      the Plan Effective Date, the Reorganized Debtors shall have
                      governance standards as though they were listed on any such
                      exchange.




                                          7
         Case 20-12522-JTD       Doc 2917        Filed 06/18/21   Page 426 of 835




Cancellation of Notes,   On the Plan Effective Date, except to the extent otherwise provided
Instruments,             in the Plan, all notes, instruments, certificates, and other documents
Certificates, and        evidencing Claims or Equity Interests, shall be canceled and/or
Other Documents          updated to record such cancellation and the obligations of the
                         Debtors thereunder or in any way related thereto shall be deemed
                         satisfied in full and discharged.

Issuance of New          On the Plan Effective Date, the Reorganized Debtors shall issue all
Securities; Execution    securities, notes, instruments, certificates, and other documents
of the Plan              required to be issued or make, or cause to be made, such entries in its
Restructuring            books and records pursuant to the Restructuring. The Parties shall
Documents                use reasonable efforts to make securities issued under the Plan DTC
                         eligible.

Fees and Expenses of     The Debtors shall pay all reasonable and documented fees and out of
the Restructuring        pocket expenses of :
Support Agreement
                            •   (a) primary counsel to the Unsecured Notes Ad Hoc Group,
Parties
                                Paul, Weiss, Rifkind, Wharton & Garrison LLP, (b) one
                                Delaware counsel to the Unsecured Notes Ad Hoc Group,
                                (c) one Irish counsel to the Unsecured Notes Ad Hoc Group,
                                (d) one regulatory counsel to the Unsecured Notes Ad Hoc
                                Group and (e) one financial advisor to the Unsecured Notes
                                Ad Hoc Group, Perella Weinberg Partners LP, (f) one
                                Canadian counsel to the Unsecured Notes Ad Hoc Group, and
                                (g) such other legal, consulting, financial, and/or other
                                professional advisors to which the Unsecured Notes Ad Hoc
                                Group and the Debtors shall reasonably agree from time to
                                time;
                            •   (a) primary counsel to the Governmental Plaintiff Ad Hoc
                                Group, Gilbert LLP, Kramer Levin Naftalis & Frankel LLP,
                                and Brown Rudnick LLP, (b) one local counsel to the
                                Governmental Plaintiff Ad Hoc Group, (c) one Irish counsel
                                to the Governmental Plaintiff Ad Hoc Committee, (d) one
                                investment banker to the Governmental Plaintiff Ad Hoc
                                Committee, Houlihan Lokey, Inc., and (e) such other legal,
                                consulting, financial, and/or other professional advisors to
                                which the Governmental Plaintiff Ad Hoc Committee and
                                the Debtors shall reasonably agree from time to time; and
                            •   indenture trustee fees.
                         In each case, that are due and owing after receipt of applicable
                         invoices with non-privileged summaries of services rendered,
                         without any requirement for the filing of fee or retention applications
                         in the Chapter 11 Cases, and in accordance with the terms of the
                         applicable engagement letters, if any, with any balance(s) paid on the


                                             8
           Case 20-12522-JTD    Doc 2917        Filed 06/18/21   Page 427 of 835




                        Plan Effective Date (collectively, the “Restructuring Expenses”).

Retention of            The Plan will provide for the retention of jurisdiction by the
Jurisdiction            Bankruptcy Court for usual and customary matters.

Releases                The exculpation provisions, Debtor releases, third-party releases and
                        injunction provisions to be included in the Plan will be consistent
                        with Annex 4 hereto in all material respects, to the fullest extent
                        permissible under applicable law.
                        In addition, the Plan will include separate release and channeling
                        injunction provisions with respect to Opioid Claims.

Consent Rights          All consent rights not otherwise set forth herein shall be set forth in
                        the RSA.

Conditions Precedent    The Plan shall contain customary conditions precedent to occurrence
to the Plan Effective   of the Plan Effective Date, including the following:
Date
                           •   the RSA shall remain in full force and effect and shall not
                               have been terminated, and the parties thereto shall be in
                               compliance therewith;
                           •   the Bankruptcy Court shall have entered the Confirmation
                               Order in form and substance consistent with the RSA and
                               such order shall be a Final Order;
                           •   the Debtors shall have obtained all authorizations, consents,
                               regulatory approvals, rulings, or documents that are
                               necessary to implement and effectuate the Plan and each of
                               the other transactions contemplated by the Restructuring;
                           •   all conditions precedent to the consummation of the Opioid
                               Settlement and related transactions, including the
                               establishment of the Opioid Trust and authorization for the
                               payment of the Opioid Trust Consideration, have been
                               satisfied or waived by the party or parties entitled to waive
                               them in accordance with the terms of the Opioid Trust
                               Documents;
                           •   the final version of the Plan, Plan Supplement, the Opioid
                               Trust Documents, and all of the schedules, documents, and
                               exhibits contained therein, and all other schedules,
                               documents, supplements, and exhibits to the Plan, shall be
                               consistent with the RSA;
                           •   the Canadian Court shall have issued an order recognizing the
                               Confirmation Order in the Recognition Proceedings and
                               giving full force and effect to the Confirmation Order in
                               Canada and such recognition order shall have become a Final


                                            9
Case 20-12522-JTD   Doc 2917      Filed 06/18/21     Page 428 of 835




                    Order;
               •    the High Court of Ireland shall have made an order
                    confirming the Scheme of Arrangement in the Irish
                    Examinership Proceedings and the Scheme of Arrangement
                    shall have become effective in accordance with its terms (or
                    shall become effective concurrently with effectiveness of the
                    Plan);
               •    the Irish Takeover Panel shall have either: (a) confirmed that
                    an obligation to make a mandatory general offer for the shares
                    of the Parent pursuant to Rule 9 of the Irish Takeover Rules
                    will not be triggered by the implementation of the Scheme of
                    Arrangement and the Plan; or (b) otherwise waived the
                    obligation on the part of any Person to make such an offer;
               •    any civil or criminal claims asserted by or on behalf of the
                    Department of Justice (other than those resolved pursuant to
                    the CMS/DOJ/State Settlement) have been resolved on terms
                    reasonably acceptable to the Debtors, the Required
                    Supporting Unsecured Noteholders and the Governmental
                    Plaintiff Ad Hoc Committee;
               •    the Debtors shall have paid in full all professional fees and
                    expenses of the Debtors’ retained professionals that require
                    the Bankruptcy Court’s approval or amounts sufficient to pay
                    such fees and expenses after the Plan Effective Date shall
                    have been placed in a professional fee escrow account
                    pending the Bankruptcy Court’s approval of such fees and
                    expenses;
               •    the Debtors shall have paid the Restructuring Expenses in
                    full, in cash;
               •    the Debtors shall have paid the Noteholder Consent Fee on
                    the Plan Effective Date; and
               •    the Restructuring to be implemented on the Plan Effective
                    Date shall be consistent with the Plan and the RSA.




                                10
         Case 20-12522-JTD      Doc 2917     Filed 06/18/21     Page 429 of 835




                                        Annex 1

                                  Certain Definitions

1992 Legacy Debentures   That certain Indenture, dated as of April 30, 1992, by and among
Indenture                Ludlow Corporation as issuer, Security Pacific National Trust
                         Company (New York), as trustee, and the guarantors party thereto
                         from time to time, and that certain a First Supplemental Indenture,
                         dated April 30, 1992, with Security Pacific National Trust Company
                         (New York) (each as modified, amended, or supplemented from
                         time to time).

1993 Legacy Debentures   That certain Indenture, dated as of March 8, 1993, by and among
Indenture                Ludlow Corporation as issuer, BankAmerica National Trust
                         Company (successor by merger to Security Pacific National Trust
                         Company (New York)), as trustee, and the guarantors party thereto
                         from time to time (as modified, amended, or supplemented from
                         time to time).

2013 Notes Indenture     That certain Indenture, dated as of April 11, 2013, by and among
                         Mallinckrodt International Finance S.A. as issuer, and Deutsche
                         Bank Trust Company Americas, as trustee (as modified, amended,
                         or supplemented from time to time).

2014 Notes Indenture     That certain Indenture, dated as of August 13, 2014, by and among
                         Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC,
                         as issuers, Deutsche Bank Trust Company Americas, as trustee, and
                         the guarantors party thereto from time to time (as modified,
                         amended, or supplemented from time to time).

2020 First Lien Notes    That certain Indenture, dated as of April 7, 2020, by and among
Indenture                Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC,
                         as issuers, Wilmington Savings Fund Society, FSB, as trustee,
                         Deutsche Bank AG New York Branch, as collateral agent, and the
                         guarantors party thereto from time to time (as modified, amended,
                         or supplemented from time to time).

2019 Second Lien Notes   That certain Indenture, dated as of December 6, 2019, by and among
Indenture                Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC,
                         as issuers, Wilmington Savings Fund Society, FSB, as trustee and
                         collateral agent, and the guarantors party thereto from time to time
                         (as modified, amended, or supplemented from time to time).

4.75% Senior Notes due   The 4.75% senior notes due 2023 pursuant to the 2013 Notes
2023                     Indenture.

4.75% Unsecured Notes    Any Claim arising under or based upon the 4.75% Unsecured Notes
            Case 20-12522-JTD   Doc 2917          Filed 06/18/21    Page 430 of 835




Claims                   or the 2013 Notes Indenture.

5.50% Senior Notes       The 5.50% senior notes due 2025 pursuant to the April 2015 Notes
2025                     Indenture.

5.625% Senior Notes      The 5.625% senior notes due 2023 pursuant to the September 2015
due 2023                 Notes Indenture.

5.75% Senior Notes due   The 5.75% senior notes due 2022 pursuant to the 2014 Notes
2022                     Indenture.
8.00% Debentures due     The 8.00% debentures due 2023 pursuant to the 1993 Legacy
March 2023               Debentures Indenture.
9.50% Debentures due     The 9.50% debentures due 2022 pursuant to the 1992 Legacy
May 2022                 Debentures Indenture.

Affiliate                As defined in section 101(2) of the Bankruptcy Code.

April 2015 Notes         That certain Indenture, dated as of April 15, 2015, by and among
Indenture                Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC,
                         as issuers, Deutsche Bank Trust Company Americas, and the
                         guarantors party thereto from time to time (as modified, amended,
                         or supplemented from time to time).

Avoidance Actions        Any and all avoidance, recovery, subordination or similar actions or
                         remedies that may be brought by and on behalf of the Debtors or
                         their estates under the Bankruptcy Code or applicable non-
                         bankruptcy law, including, without limitation, actions or remedies
                         arising under chapter 5 of the Bankruptcy Code.
Canadian Court           The Ontario Superior Court of Justice (Commercial List)
Causes of Action         Any claims, causes of action (including Avoidance Actions),
                         demands, actions, suits, obligations, liabilities, cross-claims,
                         counterclaims, defenses, offsets, or setoffs of any kind or character
                         whatsoever, in each case whether known or unknown, contingent or
                         noncontingent, matured or unmatured, suspected or unsuspected,
                         foreseen or unforeseen, direct or indirect, choate or inchoate,
                         existing or hereafter arising, under statute, in contract, in tort, in law,
                         or in equity, or pursuant to any other theory of law, federal or state,
                         whether asserted or assertable directly or derivatively in law or
                         equity or otherwise by way of claim, counterclaim, cross-claim,
                         third party action, action for indemnity or contribution or otherwise.

Class                    Each class of Holders of Claims or Equity Interests established
                         under the Plan pursuant to section 1122(a) of the Bankruptcy Code.



                                              2
         Case 20-12522-JTD   Doc 2917         Filed 06/18/21   Page 431 of 835




Confirmation Date     The date on which the Confirmation Order is entered by the
                      Bankruptcy Court.

Consummation          The occurrence of the Plan Effective Date.

Current Opioid PI     A claim held by an individual against a Debtor for harm arising out
Claim                 of the use of opioid products manufactured or sold prior to the Plan
                      Effective Date, other than a Future Opioid PI Claim.

Entity                As defined in section 101(15) of the Bankruptcy Code.

Equity Interest       Any issued, unissued, authorized, or outstanding ordinary shares or
                      shares of common stock, preferred stock, or other instrument
                      evidencing an ownership interest in Mallinckrodt plc, whether or
                      not transferable, together with any warrants, equity-based awards,
                      or contractual rights to purchase or acquire such equity interests at
                      any time and all rights arising with respect thereto that existed
                      immediately before the Plan Effective Date.

Exculpated Party      In each case, in its capacity as such: (a) the Debtors (and their
                      Representatives); (b) the Reorganized Debtors (and their
                      Representatives); and (c) the Future Claimants Representative.

Existing Credit       That certain Credit Agreement, dated as of March 19, 2014, by and
Agreement             among Mallinckrodt plc, as the parent, Mallinckrodt International
                      Finance S.A., as Lux borrower, Mallinckrodt CB LLC, as
                      co-borrower, the First Lien Agent, the First Lien Lenders (as
                      modified, amended, or supplemented from time to time).

Final Order           An order entered by the Bankruptcy Court or other court of
                      competent jurisdiction: (a) that has not been reversed, stayed,
                      modified, amended, or revoked, and as to which (i) any right to
                      appeal or seek leave to appeal, certiorari, review, reargument, stay,
                      or rehearing has been waived or (ii) the time to appeal or seek leave
                      to appeal, certiorari, review, reargument, stay, or rehearing has
                      expired and no appeal, motion for leave to appeal, or petition for
                      certiorari, review, reargument, stay, or rehearing is pending or (b) as
                      to which an appeal has been taken, a motion for leave to appeal, or
                      petition for certiorari, review, reargument, stay, or rehearing has
                      been filed and (i) such appeal, motion for leave to appeal or petition
                      for certiorari, review, reargument, stay, or rehearing has been
                      resolved by the highest court to which the order or judgment was
                      appealed or from which leave to appeal, certiorari, review,
                      reargument, stay, or rehearing was sought and (ii) the time to appeal
                      (in the event leave is granted) further or seek leave to appeal,
                      certiorari, further review, reargument, stay, or rehearing has expired
                      and no such appeal, motion for leave to appeal, or petition for


                                          3
         Case 20-12522-JTD      Doc 2917        Filed 06/18/21   Page 432 of 835




                         certiorari, further review, reargument, stay, or rehearing is pending.

First Lien Agent         Deutsche Bank AG New York Branch, in its capacity as
                         administrative agent under the Existing Credit Agreement or, as
                         applicable, any successor thereto.

First Lien Notes         The 10.00% first lien senior secured notes due 2025 pursuant to the
                         2020 First Lien Notes Indenture.

First Lien Notes Claim   Any Claim arising under or based upon the First Lien Notes or the
                         2020 First Lien Notes Indenture.

First Lien Credit        Any claim held by the First Lien Agent or the First Lien Lenders
Agreement Claims         derived from or based upon the Existing Credit Agreement or
                         theFirst Lien Credit Facility, including claims for all principal
                         amounts outstanding, interest, fees, expenses, costs,
                         indemnification and other charges arising under or related to the
                         First Lien Credit Facility or the Existing Credit Agreement.

First Lien Credit        The credit facility evidenced by the Existing Credit Agreement.
Facility

First Lien Lenders       The banks, financial institutions, and other lenders party to the
                         Existing Credit Agreement from time to time

Future Opioid PI         A claim held by an individual against a Debtor for harm arising out
Claims                   of the use of opioid products manufactured or sold prior to the Plan
                         Effective Date, which could not be discharged by confirmation of a
                         plan of reorganization if the Bankruptcy Court did not appoint a
                         future claimants representative in the Chapter 11 Cases and which
                         claim is to be addressed by the Opioid Trust to assume the liabilities
                         of the Debtors for damages allegedly caused by the use of opioid
                         products.

Future Opioid PI         Individuals holding Future Opioid PI Claims.
Claimants

Future Claimants         The legal representative for Future Opioid PI Claimants.
Representative

General Unsecured        Any Unsecured Claim (other than a Guaranteed Unsecured Notes
Claims                   Claim, a Trade Claim, an Opioid Claim, an Administrative, Tax,
                         Other Priority or Other Secured Claim, or (subject to effectiveness
                         of the CMS/DOJ/State Settlement) a Claim resolved by the
                         CMS/DOJ/State Settlement), including without limitation
                         (a) Claims arising from the rejection of unexpired leases or
                         executory contracts, (b) Claims arising from any litigation or other


                                            4
           Case 20-12522-JTD   Doc 2917        Filed 06/18/21   Page 433 of 835




                        court, administrative or regulatory proceeding, including damages
                        or judgments entered against, or settlement amounts owing by a
                        Debtor in connection therewith, and (c) Claims related to asbestos
                        exposure or products containing asbestos.

Guaranteed Unsecured    The 5.75% Senior Notes due 2022, the 5.500% Senior Notes Due
Notes                   2025 and the 5.625% Senior Notes Due 2023.

Guaranteed Unsecured    Any Claim arising under or based upon the Guaranteed Unsecured
Notes Claims            Notes or the Guaranteed Unsecured Notes Indentures.

Guaranteed Unsecured    Collectively, the 2014 Notes Indenture, the April 2015 Notes
Notes Indentures        Indenture and the September 2015 Notes Indenture.

Holder                  An Entity holding a Claim or Equity Interest, as applicable.

Impaired                With respect to any Class of Claims or Equity Interests, a Class of
                        Claims or Equity Interests that is impaired within the meaning of
                        section 1124 of the Bankruptcy Code.

Intercompany Claim      A prepetition Claim held by a Debtor or non-Debtor against a
                        Debtor.

Intercompany Interest   An Interest in any Debtor other than Mallinckrodt Plc.

Irish Takeover Panel    The Irish Takeover Panel constituted under Irish Takeover Panel Act
                        1997.

Irish Takeover Rules    The Irish Takeover Panel Act 1997, Takeover Rules 2013.

Legacy Debentures       Any Claim arising under or based upon the 1992 Legacy Debentures
Claims                  Indenture or 1993 Legacy Debentures Indenture.

Lien                    A lien as defined in section 101(37) of the Bankruptcy Code.

New Mallinckrodt        Common equity interests or ordinary shares in the Reorganized
Common Shares           Debtor, Mallinckrodt plc.

New Opioid Warrants     The warrants contemplated under the Opioid Settlement and Opioid
                        Trust Documents, which shall be consistent with the terms set forth
                        in the Opioid Settlement Term Sheet.

Recognition             The proceedings commenced by the Debtors under Part IV of the
Proceedings             Canadian Companies Arrangement Act in the Canadian Court to
                        recognize in Canada the Chapter 11 Cases and to recognize in
                        Canada certain Orders of the Bankruptcy Court.




                                           5
         Case 20-12522-JTD    Doc 2917        Filed 06/18/21   Page 434 of 835




Reinstated             With respect to Claims and Equity Interests, that the Claim or Equity
                       Interest shall be rendered Unimpaired in accordance with section
                       1124 of the Bankruptcy Code.

Reorganized Debtors    The Debtors, as reorganized pursuant to and under the Plan or any
                       successor thereto.

Required Supporting    Holders of at least two-thirds in outstanding principal amount of
Second Lien            Second Lien Notes.
Noteholders

Released Party         (a) The Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor
                       Affiliates, (d) with respect to each of the foregoing Persons in
                       clauses (a) through (c), such Persons’ (i) predecessors, successors,
                       permitted assigns, subsidiaries, and controlled affiliates, respective
                       heirs, executors, estates, and nominees, in each case solely in their
                       capacity as such and (ii) current and former officers and directors,
                       principals, members, employees, financial advisors, attorneys
                       (including attorneys retained by any director in his or her capacity
                       as such), accountants, investment bankers (including investment
                       bankers retained by any director in his or her capacity as such),
                       consultants, experts and other professionals of the persons described
                       in clauses (a) through (d)(i); (e) each member of the Unsecured
                       Notes Ad Hoc Group in their capacity as such, (f) each Supporting
                       Unsecured Noteholder in their capacity as such, (g) the Opioid
                       Trust, (h) each member of the Governmental Plaintiff Ad Hoc
                       Committee in their capacity as such, (i) each Supporting
                       Governmental Opioid Claimant in their capacity as such; (j) the
                       Secured Parties and (k) with respect to each of the foregoing Persons
                       in clauses (e) through (j), each such Person’s Representatives.
                       Notwithstanding anything to the contrary herein, Medtronic plc and
                       its related parties will not be Released Parties.

Second Lien Notes      The 10.00% second lien senior secured notes due 2025 pursuant to
                       the 2019 Second Lien Notes Indenture.

Second Lien Notes      Any Claim arising under or based upon the Second Lien Notes
Claim                  Indenture or the 2019 Second Lien Notes Indenture.

Secured Parties        The Prepetition Secured Parties, as defined in the Cash Collateral
                       Order.

September 2015 Notes   That certain Indenture, dated as of September 24, 2015, by and
Indenture              among Mallinckrodt International Finance S.A. and Mallinckrodt
                       CB LLC, as issuers, Deutsche Bank Trust Company Americas, as
                       trustee, and the guarantors party thereto from time to time (as



                                          6
        Case 20-12522-JTD   Doc 2917       Filed 06/18/21   Page 435 of 835




                     modified, amended, or supplemented from time to time).

Trade Claim          An Unsecured Claim held by a Trade Claimant.

Trade Claimant       Trade creditors, service providers and other vendors who provide
                     goods and services necessary for the Debtors continued operations,
                     including those creditors described in (a) Motion of Debtors for
                     Interim and Final Orders Authorizing the Debtors to Pay
                     Prepetition Claims of Critical Vendors, (b) Motion of Debtors for
                     Interim and Final Orders Authorizing the Debtors to Pay
                     Prepetition Claims of Foreign Vendors, and (c) Motion of Debtors
                     for Interim and Final Orders (A) Authorizing Payment of
                     Lienholder Claims and (B) Authorizing Payment of Section
                     503(b)(9) Claims.

Unimpaired           With respect to a Claim, Equity Interest, or Class of Claims or
                     Equity Interests, not “impaired” within the meaning of sections
                     1123(a)(4) and 1124 of the Bankruptcy Code.

Unsecured Claim      A Claim that is not secured by a Lien on property in which one of
                     the Debtors’ estates has an interest.




                                       7
           Case 20-12522-JTD   Doc 2917     Filed 06/18/21       Page 436 of 835




                                       Annex 2

                      Takeback Second Lien Notes Summary Terms

Amount                            •   Approximately $375 million
Notes                             •   Senior Secured Second Lien Notes
Issuers                           •   Mallinckrodt International Finance S.A. and
                                      Mallinckrodt CB LLC
Obligors                          •   Same as the obligors on the Deferred Cash Payments,
                                      provided that any obligations on account of the
                                      Takeback Second Lien Notes shall (i) be guaranteed
                                      by the same entities that guarantee the First Lien
                                      Notes and (ii) comply with the terms of the
                                      Debtors’ existing funded indebtedness
Coupon                            •   Payable in cash at 10.00%
Maturity                          •   Seven (7) years following the Plan Effective Date
Collateral/Priority               •   Pari passu with the second lien security interests as
                                      with existing Second Lien Notes
Put                               •   Puttable to the issuer at 101% of par upon a change of
                                      control
Equity Claw                       •   Company may redeem up to 40% of Takeback Second
                                      Lien Notes at a redemption price of 110% of par with
                                      the proceeds of an equity offering
Call Protections                  •   Non-callable for 4 years
                                  •   105 call in year 5
                                  •   102.5 in year 6
                                  •   Par thereafter
Affirmative and Negative          •   To generally match the 2020 First Lien Notes
Covenants                             Indenture, as adjusted to reflect new Takeback Second
                                      Lien Notes structure
             Case 20-12522-JTD              Doc 2917         Filed 06/18/21         Page 437 of 835




                                                       Annex 3

           Term Sheet for Mallinckrodt Pharmaceuticals Management Incentive Plan

       The following term sheet summarizes the principal terms of a management incentive plan
(the “MIP”) that certain creditors receiving equity securities (the “Investors”) of New
Mallinckrodt (the “Company” and together with its controlled subsidiaries, the
“Company Group”) will adopt effective upon emergence (the “Closing”).
Capitalized terms used but not defined herein shall have the meanings set forth in the Restructuring
Support Agreement and the Restructuring Term Sheet attached thereto as Exhibit A both dated
October 11, 2020, to which this term sheet is attached as Annex 2 (the “RSA”). The terms outlined
in this Term Sheet assume New Mallinckrodt will be a publicly traded company shortly following
Closing consistent with the RSA.

Plan Reserve:                     A number of New Mallinckrodt Common Shares representing 10% of
                                  all equity interests in the Company outstanding immediately after the
                                  Closing on a fully diluted basis, taking into account the Plan Reserve
                                  and any equity securities issued and outstanding at the Closing, and
                                  any warrants or securities convertible, exercisable or exchangeable
                                  therefor, will be reserved for issuance pursuant to the MIP (such
                                  securities issued pursuant to the MIP, the “Award Shares”).1
Eligibility:                      Company employees, non-employee consultants and outside
                                  Directors of the Company Group will be eligible to participate in the
                                  MIP. Each person who receives an award pursuant to the MIP is
                                  hereinafter referred to as a “Participant”.
Initial Grant:                    Not less than 50% of the Plan Reserve shall be granted in the form of
                                  restricted shares, restricted share units or options over New
                                  Mallinckrodt Common Shares (the “Restricted Shares”) within 30
                                  days following Closing with the allocation of such grants to be
                                  approved by the Compensation Committee of the Company based
                                  upon the recommendations of the Company’s CEO (the “Initial
                                  Grants”). No more than 25% of the Initial Grants shall be in the form
                                  of options.




1
          Plan Reserve subject to adjustment in connection with share split, reverse share split, share dividend or other
distribution (whether in the form of cash, shares, other securities or other property), extraordinary cash dividend,
recapitalization, merger, consolidation, split-up, spin-off, reorganization, combination, repurchase or exchange of
shares or other securities or similar corporate transaction or event.
          Case 20-12522-JTD      Doc 2917        Filed 06/18/21   Page 438 of 835




Vesting of
Initial Grants:          The Initial Grants will vest as determined in good faith by the
                         Compensation Committee in consultation with the Company’s CEO
                         over a period not exceeding 3 years.
                         If a Participant’s employment is terminated by the Company without
                         “Cause” or by the Participant for “Good Reason” (to be defined in the
                         MIP), all unvested awards that would otherwise vest during the 12
                         months following such termination, will vest upon termination,
                         subject to the Participant’s execution of a reasonable and customary
                         general release of claims in favor of the Company that becomes
                         effective within 60 days after such termination and continued material
                         compliance with the terms of any non-competition or non-solicitation
                         restrictive covenants to which the Participant is subject.
                         The MIP will contain other terms consistent with public company
                         equity incentive plans and awards within the Company’s peer group.
Change in Control:       Upon the occurrence of a “Change in Control” (to be defined in the
                         MIP), to the extent awards are not assumed or substituted, all awards
                         under the MIP shall become fully vested and payable.
Restrictive Covenants:   To the extent a Participant is not already subject to non-compete, non-
                         solicitation or other restrictive covenants, then such Participant will
                         be required to enter into a covenant consistent with Mallinckrodt’s
                         current Non-Competition, Non-Solicitation, and Confidentiality
                         Agreement, but with a non-compete/non-solicitation period not to
                         exceed 12 months.




                                             2
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 439 of 835




                                              Annex 4

                     Plan Release, Exculpation and Injunction Provisions

Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions
of the Bankruptcy Code), as of the Plan Effective Date, for good and valuable consideration, the
adequacy of which is hereby confirmed, including, without limitation, the service of the Released
Parties before and during the Chapter 11 Cases to facilitate the Opioid Settlement and the
Restructuring, and except as otherwise explicitly provided in the Plan or in the Confirmation Order,
the Released Parties shall be deemed conclusively, absolutely, unconditionally, irrevocably and
forever released and discharged, to the maximum extent permitted by law, as such law may be
extended subsequent to the Plan Effective Date, by the Debtors and the Estates (the “Debtor
Release”) from any and all Claims, counterclaims, disputes, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, Liens, remedies, losses, contributions,
indemnities, costs, liabilities, attorneys’ fees and expenses whatsoever, including any derivative
claims, asserted or assertable on behalf of the Debtors or their Estates, whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether
in law or equity, whether sounding in tort or contract, whether arising under federal or state
statutory or common law, or any other applicable international, foreign, or domestic law, rule,
statute, regulation, treaty, right, duty, requirement or otherwise, that the Debtors or their Estates
would have been legally entitled to assert in their own right (whether individually or collectively)
or on behalf of the holder of any Claim or Equity Interest or other Person, based on or relating to,
or in any manner arising from, in whole or in part, the Debtors, their Estates, the Debtors’ in- or
out-of-court restructuring efforts (including the Chapter 11 Cases), the purchase, sale, or rescission
of the purchase or sale of any security of the Debtors, the subject matter of, or the transactions or
events giving rise to, any Claim or Equity Interest that is treated in the Plan, litigation claims
arising from historical intercompany transactions between or among a Debtor and another Debtor,
the business or contractual arrangements between any Debtor and any Released Party (including
the exercise of any common law or contractual rights of setoff or recoupment by any Released
Party at any time on or prior to the Plan Effective Date), the restructuring of any Claim or Equity
Interest before or during the Chapter 11 Cases, the negotiation, formulation, preparation,
dissemination, filing, or implementation of, prior to the Plan Effective Date, the Opioid Trust,
Opioid Trust Documents, the “Agreement in Principle for Global Opioid Settlement and
Associated Debt Refinance Activities” announced by the Parent on February 25, 2020, the
Restructuring Support Agreement and related prepetition transactions, the Disclosure Statement,
the Plan, the Plan Supplement, any Restructuring Transaction, any agreement, instrument, release,
and other documents created or entered into prior to the Plan Effective Date in connection with the
creation of the Opioid Trust, the “Agreement in Principle for Global Opioid Settlement and
Associated Debt Refinance Activities” announced by the Parent on February 25, 2020, the
Restructuring Support Agreement and related prepetition transactions, the Disclosure Statement,
the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit
of Confirmation (including the solicitation of votes on the Plan), the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of securities
pursuant to the Plan, or the distribution of property under the Plan or any other related agreement,
           Case 20-12522-JTD         Doc 2917        Filed 06/18/21   Page 440 of 835




or upon the business or contractual arrangements between and Debtor and any Released Party, and
any other act or omission, transaction, agreement, event, or other occurrence or circumstance
taking place on or before the Plan Effective Date relating to any of the foregoing; provided
however that the Debtors do not release, and the Opioid Trust shall retain, all Assigned Third-Party
Claims; provided, further, that the Debtors do not release, Claims or Causes of Action arising out
of, or related to, any act or omission of a Released Party that is determined by Final Order of the
Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,
gross negligence, or willful misconduct. The foregoing release will be effective as of the Plan
Effective Date without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule or the vote, consent, authorization or approval of any
Person and the Confirmation Order shall permanently enjoin the commencement or prosecution
by any Person, whether directly, derivatively or otherwise, of any claims, obligations, suits,
judgments, damages, demands, debts, rights, Causes of Action, or liabilities released pursuant to
this Debtor Release. Notwithstanding anything to the contrary in the foregoing, the releases by
the Debtors set forth above do not release any post-Plan Effective Date obligations of any party or
Entity under the Plan, any Restructuring, any document, instrument, or agreement (including those
set forth in the Plan Supplement) executed to implement the Plan, or any Claims which are
Reinstated pursuant to the Plan.

        The Reorganized Debtors and the Opioid Trust shall be bound, to the same extent the
Debtors are bound, by the releases set forth in Article [__] of the Plan. For the avoidance of doubt,
Claims or Causes of Action arising out of, or related to, any act or omission of a Released Party
prior to the Plan Effective Date that is determined by Final Order of the Bankruptcy Court or any
other court of competent jurisdiction to have constituted actual fraud, gross negligence, or willful
misconduct, including findings after the Plan Effective Date, are not released pursuant to Article
[__] of the Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases by the Debtors set forth in Article [__] of the Plan, which
includes by reference each of the related provisions and definitions contained herein, and further
shall constitute the Bankruptcy Court’s finding that such release is: (a) in exchange for the good
and valuable consideration provided by the Released Parties; (b) a good faith and settlement and
compromise of the Claims released by the Debtor Release; (c) in the best interests of the Debtors,
their estates and all Holders of Claims and Equity Interests; (d) fair, equitable and reasonable; (e)
given and made after due notice and opportunity for hearing; and (f) a bar to any Entity or Person
asserting any claim or Cause of Action released by Article [__] of the Plan.

Releases by Holders of Claims and Equity Interests

        Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions
of the Bankruptcy Code), as of the Plan Effective Date, for good and valuable consideration, the
adequacy of which is hereby confirmed, including, without limitation, the service of the Released
Parties before and during the Chapter 11 Cases to facilitate the Opioid Settlement and
Restructuring, and except as otherwise explicitly provided in the Plan or in the Confirmation Order,
the Released Parties shall be deemed conclusively, absolutely, unconditionally, irrevocably and
forever released and discharged, to the maximum extent permitted by law, as such law may be
extended subsequent to the Plan Effective Date, except as otherwise explicitly provided herein, by


                                                 2
           Case 20-12522-JTD          Doc 2917         Filed 06/18/21   Page 441 of 835




(a) the holders of all Claims who vote to accept the Plan, (b) the holders of all Claims that are
Unimpaired under the Plan, (c) the holders of all Claims whose vote to accept or reject the Plan is
solicited but who (i) abstain from voting on the Plan and (ii) do not opt out of granting the releases
set forth herein, (d) the holders of all Claims or Equity Interests who vote, or are deemed, to reject
the Plan but do not opt out of granting the releases set forth herein, and (e) all other holders of
Claims and Equity Interests to the maximum extent permitted by law, in each case, from any and
all Claims, counterclaims, disputes, obligations, suits, judgments, damages, demands, debts, rights,
Causes of Action, Liens, remedies, losses, contributions, indemnities, costs, liabilities, attorneys’
fees and expenses whatsoever, including any derivative claims, asserted or assertable on behalf of
the Debtors or their Estates, whether liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, accrued or
unaccrued, existing or hereinafter arising, whether in law or equity, whether sounding in tort or
contract, whether arising under federal or state statutory or common law, or any other applicable
international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement or
otherwise, that such holders or their estates, affiliates, heirs, executors, administrators, successors,
assigns, managers, accountants, attorneys, representatives, consultants, agents, and any other
Persons or parties claiming under or through them would have been legally entitled to assert in
their own right (whether individually or collectively) or on behalf of the holder of any Claim or
Equity Interest or other Person, based on or relating to, or in any manner arising from, in whole or
in part, the Debtors (as such entities existed prior to or after the Petition Date), their Estates, the
Debtors’ in- or out-of-court restructuring efforts (including the Chapter 11 Cases), the purchase,
sale, or rescission of the purchase or sale of any security of the Debtors, the subject matter of, or
the transactions or events giving rise to, any Claim or Equity Interest that is treated in the Plan,
litigation claims arising from historical intercompany transactions between or among a Debtor and
another Debtor, the business or contractual arrangements or interactions between any Debtor and
any Released Party (including the exercise of any common law or contractual rights of setoff or
recoupment by any Released Party at any time on or prior to the Plan Effective Date), the
restructuring of any Claim or Equity Interest before or during the Chapter 11 Cases, the
negotiation, formulation, preparation, dissemination, filing, or implementation of, prior to the Plan
Effective Date, the Opioid Trust, Opioid Trust Documents and the “Agreement in Principle for
Global Opioid Settlement and Associated Debt Refinance Activities” announced by the Parent on
February 25, 2020, the Restructuring Support Agreement and related prepetition transactions, the
Disclosure Statement, the Plan, the Plan Supplement, any Restructuring Transaction, any
agreement, instrument, release, and other documents created or entered into prior to the Plan
Effective Date in connection with the creation of the Opioid Trust, the “Agreement in Principle for
Global Opioid Settlement and Associated Debt Refinance Activities” announced by the Parent on
February 25, 2020, the Restructuring Support Agreement and related prepetition transactions, the
Disclosure Statement, the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the
Chapter 11 Cases, the pursuit of Confirmation (including the solicitation of votes on the Plan), the
pursuit of Consummation, the administration and implementation of the Plan, including the
issuance or distribution of securities pursuant to the Plan, or the distribution of property under the
Plan or any other related agreement, or upon the business or contractual arrangements between
and Debtor and any Released Party, and any other act or omission, transaction, agreement, event,
or other occurrence or circumstance taking place on or before the Plan Effective Date relating to
any of the foregoing, other than Claims or Causes of Action arising out of, or related to, any act or
omission of a Released Party that is determined by Final Order of the Bankruptcy Court or any



                                                   3
           Case 20-12522-JTD         Doc 2917         Filed 06/18/21   Page 442 of 835




other court of competent jurisdiction to have constituted actual fraud, gross negligence or willful
misconduct. For the avoidance of doubt, Claims or Causes of Action arising out of, or related to,
any act or omission of a Released Party prior to the Plan Effective Date that is determined by Final
Order of the Bankruptcy Court or any other court of competent jurisdiction to have constituted
actual fraud, gross negligence, or willful misconduct, including findings after the Plan Effective
Date, are not released pursuant to Article [___] of the Plan. Notwithstanding anything to the
contrary in the foregoing, the releases by the Holders of Claims and Equity Interests set forth above
do not release any post-Plan Effective Date obligations of any party or Entity under the Plan, any
Restructuring, any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan, or any Claims which are Reinstated pursuant to the
Plan.

        Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation Order
shall (x) release, discharge, or preclude the enforcement of any liability of a Released Party to a
Governmental Unit arising out of, or relating to, any act or omission of a Released Party prior to
the Plan Effective Date that is determined by Final Order of the Bankruptcy Court or any other
court of competent jurisdiction to have constituted a criminal act or (y) solely as to any Supporting
Governmental Opioid Plaintiff, release or discharge a consultant or expert having been retained to
provide strategic advice for sales and marketing of opioid products who has received a civil
investigative demand or other subpoena related to sales and marketing of opioid products from
any State Attorney General on or after January 1, 2019 through the Petition Date.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases by Holders of Claims and Equity Interests set forth in
Article [__] of the Plan, which includes by reference each of the related provisions and definitions
contained herein, and further shall constitute the Bankruptcy Court’s finding that such release is:
(a) in exchange for the good and valuable consideration provided by the Released Parties; (b) a
good faith and settlement and compromise of the Claims released by the Debtor Release; (c) in the
best interests of the Debtors, their estates and all Holders of Claims and Equity Interests; (d) fair,
equitable and reasonable; (e) given and made after due notice and opportunity for hearing; and (f)
a bar to any Entity or Person asserting any claim or Cause of Action released by Article [__] of
the Plan.

Exculpation

        Effective as of the Plan Effective Date, to the fullest extent permitted by law, the
Exculpated Parties shall neither have nor incur any liability to any Person for any claims or Causes
of Action arising prior to or on the Plan Effective Date for any act taken or omitted to be taken in
connection with, related to, or arising out of, the Chapter 11 Cases, formulating, negotiating,
preparing, disseminating, implementing, filing, administering, confirming or effecting the
Confirmation or Consummation of the Plan, the Disclosure Statement, the Opioid Settlement, the
Opioid Trust Documents, the “Agreement in Principle for Global Opioid Settlement and
Associated Debt Refinance Activities” announced by the Parent on February 25, 2020, the
Restructuring Support Agreement and related prepetition transactions, or any contract, instrument,
release or other agreement or document created or entered into in connection with any of the
foregoing, or any other prepetition or postpetition act taken or omitted to be taken in connection
with or in contemplation of the restructuring of the Debtors, the Disclosure Statement or


                                                  4
           Case 20-12522-JTD          Doc 2917         Filed 06/18/21   Page 443 of 835




Confirmation or Consummation of the Plan, the Opioid Settlement or the Opioid Trust Documents,
including the issuance of securities pursuant to the Plan, or the distribution of property under the
Plan or any other related agreement; provided, however, that the foregoing provisions of this
exculpation shall not operate to waive or release: (a) any Causes of Action arising from actual
fraud, gross negligence, or willful misconduct of such applicable Exculpated Party as determined
by Final Order of the Bankruptcy Court or any other court of competent jurisdiction; and/or (b)
the rights of any Person or Entity to enforce the Plan and the contracts, instruments, releases,
indentures, and other agreements and documents delivered under or in connection with the Plan or
assumed pursuant to the Plan or Final Order of the Bankruptcy Court; provided, further, that each
Exculpated Party shall be entitled to rely upon the advice of counsel concerning its respective
duties pursuant to, or in connection with, the above referenced documents, actions or inactions.

        The Exculpated Parties have, and upon Consummation of the Plan shall be deemed to have,
participated in good faith and in compliance with the applicable Laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not,
and on account of such distributions shall not be, liable at any time for the violation of any
applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the
Plan or such distributions made pursuant to the Plan.

        The foregoing exculpation shall be effective as of the Plan Effective Date without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or
rule or the vote, consent, authorization or approval of any Person or Entity.

Permanent Injunction

        Except as otherwise expressly provided in the Confirmation Order, Plan or Opioid Trust
Documents, from and after the Plan Effective Date all Persons are, to the fullest extent provided
under section 524 and other applicable provisions of the Bankruptcy Code, permanently enjoined
from: (a) commencing or continuing, in any manner or in any place, any suit, action or other
proceeding of any kind; (b) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order; (c) creating, perfecting, or enforcing any encumbrance of
any kind; (d) asserting any right of setoff, or subrogation of any kind; and (d) commencing or
continuing in any manner any action or other proceeding of any kind, in each case on account of
or with respect to any Claim, demand, liability, obligation, debt, right, Cause of Action, Equity
Interest or remedy released or to be released, exculpated or to be exculpated, settled or to be settled,
or discharged or to be discharged pursuant to the Plan or the Confirmation Order against any
Person so released, discharged or exculpated (or the property or estate of any Person so released,
discharged or exculpated). All injunctions or stays provided in the Chapter 11 Cases under section
105 or section 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation
Date, shall remain in full force until the Plan Effective Date.




                                                   5
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 444 of 835




                         Schedule 1

                Opioid Settlement Term Sheet
           Case 20-12522-JTD         Doc 2917        Filed 06/18/21   Page 445 of 835

                                                                                 Execution Version


THIS TERM SHEET IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES OR A
SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE
MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR
SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING CONTAINED IN
THIS TERM SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY OR, UNTIL
THE OCCURRENCE OF THE AGREEMENT EFFECTIVE DATE UNDER THE
RESTRUCTURING SUPPORT AGREEMENT, DEEMED BINDING ON ANY OF THE
PARTIES HERETO.

                         Mallinckrodt Opioid Settlement Term Sheet

        This Opioid Settlement Term Sheet, which is Schedule 1 to the Term Sheet (the
“Restructuring Term Sheet”) annexed as Exhibit A to the Restructuring Support Agreement, dated
October 11, 2020, by and among the Company and the Supporting Parties, describes the proposed
treatment of Opioid Claims in connection with the Restructuring contemplated by the
Restructuring Support Agreement, as well as certain related implementation and other matters
being resolved pursuant to the Opioid Settlement. This Opioid Settlement Term Sheet incorporates
the rules of construction set forth in section 102 of the Bankruptcy Code. Certain capitalized terms
used herein are defined in the glossary attached hereto; capitalized terms used but not otherwise
defined in this Opioid Settlement Term Sheet have the meanings assigned in the Restructuring
Support Agreement or the Restructuring Term Sheet, as applicable.

       This Opioid Settlement Term Sheet does not include a description of all of the terms,
conditions, and other provisions that are to be contained in the definitive documents implementing
the Opioid Settlement and broader Restructuring of claims against and interests in the Debtors,
which remain subject to negotiation in accordance with the Restructuring Support Agreement.

                  TERMS OF THE PLAN AND THE RESTRUCTURING

 Overview                   The Opioid Settlement and Restructuring will be implemented
                            through the Plan, consistent with the terms of (a) this Opioid
                            Settlement Term Sheet, (b) the Restructuring Term Sheet and (c) the
                            Restructuring Support Agreement, through the Chapter 11 Cases to
                            be commenced in the Bankruptcy Court.
                            The Plan will provide for the establishment of the Opioid Trust,
                            which will receive the Trust Consideration (as defined below),
                            including certain cash payments, the New Opioid Warrants, and
                            certain other assets. All Opioid Claims will be assumed by the
                            Opioid Trust and be discharged, released, and enjoined as to the
                            Company and the other Released Parties.

 Treatment of Opioid As of the Plan Effective Date, Mallinckrodt’s liability for all Opioid
 Claims              Claims shall automatically, and without further act, deed, or court
                     order, be channeled exclusively to and assumed by the Opioid Trust,
                     as described herein. Each Opioid Claim shall be resolved in

                                                 1
            Case 20-12522-JTD              Doc 2917          Filed 06/18/21      Page 446 of 835




                                 accordance with the terms, provisions, and procedures of the Opioid
                                 Trust Documents. The Opioid Trust shall be funded in accordance
                                 with the provisions of this Term Sheet. The sole recourse of any
                                 Opioid Claimant on account of such Opioid Claim shall be to the
                                 Opioid Trust, and each such Opioid Claimant shall have no right
                                 whatsoever at any time to assert its Opioid Claim against any
                                 Protected Party.

    Opioid Trust                 On the Plan Effective Date, the Opioid Trust will receive (the “Trust
                                 Consideration”):
                                     •    cash in the amount of $450,000,000;
                                     •    the New Opioid Warrants;
                                     •    the right to receive cash payments (the “Deferred Cash
                                          Payments”) in the following amounts and on the following
                                          dates: (a) $200,000,000 on each of the first and second
                                          anniversaries of the Plan Effective Date; and (b)
                                          $150,000,000 on each of the third through seventh
                                          anniversaries of the Plan Effective Date; provided, that at any
                                          time prior to the first anniversary of the Plan Effective Date,
                                          the Reorganized Debtors shall have the right to prepay, in full
                                          or in part, the Deferred Cash Payments, at a price equal to the
                                          present value of the amounts to be prepaid, at the date of
                                          prepayment, discounted at the discount rate that would be
                                          required for (x)(i) the present value of the Deferred Cash
                                          Payments at the prepayment date plus (ii) $450,000,000 to
                                          equal (y)(i) the present value of the payments under the
                                          Original Payments Schedule at the prepayment date
                                          (excluding the initial $300,000,000 payment provided for in
                                          the Original Payments Schedule), discounted at a discount
                                          rate of 12% per annum, plus (ii) $300,000,000 (such option,
                                          the “Prepayment Option”);1 provided, further, that to the
                                          extent the Reorganized Debtors seek to prepay only a portion
                                          of the Deferred Cash Payments in accordance with the
                                          Prepayment Option, such prepayment shall (x) be funded
                                          solely from the net proceeds of an equity raise by the
                                          Reorganized Debtors; and (y) prepay Deferred Cash
                                          Payments in accordance with the above in inverse order
                                          beginning with the payment due on the seventh anniversary
                                          of the Plan Effective Date;
                                     •    the Assigned Third-Party Claims; and


1
        Annex A sets forth the prepayment cost as of the end of each of the 12 months after the Plan Effective Date.
To the extent a prepayment occurs other than at the end of a month, the prepayment cost shall be calculated in
accordance with the above formula.

                                                         2
        Case 20-12522-JTD       Doc 2917         Filed 06/18/21   Page 447 of 835




                           •   the Assigned Insurance Rights.
                        The cash payments described above include amounts to be
                        determined by the Governmental Plaintiff Ad Hoc Committee for
                        reimbursement of plaintiffs’/claimants attorneys’ fees and costs (not
                        including (i) Restructuring Expenses, which shall be paid directly by
                        the Debtors, and (ii) any reasonable, documented fees and expenses
                        incurred by the Governmental Plaintiff Ad Hoc Committee on or
                        after the Plan Effective Date in connection with implementation of
                        the Plan (excluding, for the avoidance of doubt, the expenses of
                        administration of the Opioid Trust (the “Trust Expenses”)), which
                        shall be paid directly by the Reorganized Debtors), and will be joint
                        and several obligations (or be subject to an economically similar
                        arrangement, e.g., one effected by guarantees, subject to tax
                        considerations) of all of the current and future borrowers, issuers,
                        pledgers and guarantors of the Debtors’ funded indebtedness from
                        time to time; provided, that for so long as the First Lien Notes,
                        Second Lien Notes or Takeback Second Lien Notes remain
                        outstanding, in no event shall the cash payments described above be
                        guaranteed by an entity that does not also guarantee the First Lien
                        Notes, Second Lien Notes or Takeback Second Lien Notes.

Asset Sales;            The Plan and Confirmation Order will also provide that, after any
Mandatory               sale of (i) Mallinckrodt Enterprises Holdings, Inc. and its
Prepayments to Opioid   subsidiaries (including, for the avoidance of doubt, its successors and
Trust                   assigns) or (ii) a material portion of their assets or businesses
                        (including as a result of a merger, equity sale, or asset sale), subject
                        to compliance with the Debtors’ covenants under their funded
                        indebtedness (as may be modified from time to time), fifty percent
                        (50%) of the “net proceeds” of such sale (after, for the avoidance of
                        doubt, compliance with then-existing covenants) shall be paid to the
                        Opioid Trust; and the amount of such net proceeds actually conveyed
                        to the Opioid Trust will be deemed a ratable repayment against the
                        remaining structured payments described above that the Opioid Trust
                        is entitled to receive. For the avoidance of doubt, the Debtors will
                        not be under any obligation to undertake any such sale on any
                        particular timeframe.

Tax Matters             The Opioid Settlement shall be implemented with the objective of
                        maximizing tax efficiency to (i) Mallinckrodt, including with respect
                        to the availability, location and timing of tax deductions and (ii) to
                        the Opioid Claimants, including with respect to the tax classification
                        of the Opioid Trust.
                        The Opioid Trust will be treated as a qualified settlement fund for tax
                        purposes.




                                             3
        Case 20-12522-JTD     Doc 2917        Filed 06/18/21   Page 448 of 835




                      The Parties intend that payments to the Opioid Trust will constitute
                      “restitution” within the meaning of Section 162(f) of the Internal
                      Revenue Code, and will be so characterized for U.S. federal income
                      tax purposes to the extent such payments are made to or at the
                      direction of government or governmental entities and to the extent
                      allowed by applicable law.

Certain Insurance     In implementing the assignment of the Assigned Insurance Rights,
Matters               the Debtors or the Reorganized Debtors, on the one hand, and the
                      Governmental Plaintiff Ad Hoc Committee or the Opioid Trust, on
                      the other hand, shall cooperate and negotiate in good faith
                      concerning (i) treatment of unsatisfied self-insured retentions under
                      the applicable policies with the objective of minimizing adverse
                      consequences to Mallinckrodt, Reorganized Mallinckrodt, and the
                      Opioid Trust (it being understood that the foregoing obligation shall
                      not require the Debtors or Reorganized Debtors to satisfy all or any
                      portion of any such self-insured retentions) and (ii) any actions by
                      the Debtors, Reorganized Debtors, or the Opioid Trust to pursue or
                      preserve the insurance policies relating to the Assigned Insurance
                      Rights. The Debtors and the Reorganized Debtors will use their
                      reasonable best efforts to provide to the Opioid Trust all documents,
                      information, and other cooperation that is reasonably necessary for
                      the Opioid Trust to pursue the Assigned Insurance Rights.

Opioid Trust          The Opioid Trust Documents will comply with the requirements of
Documents             the Bankruptcy Code. The material terms of the Opioid Trust
                      Documents will be described in the Disclosure Statement and forms
                      of the Opioid Trust Documents shall be included in the Plan
                      Supplement, with such summaries and forms of documents to be
                      acceptable to the Governmental Plaintiff Ad Hoc Committee and
                      reasonably acceptable to the Debtors and the Required Supporting
                      Unsecured Noteholders.

New Opioid Warrants   The agreement governing the New Opioid Warrants shall constitute
Agreement             Definitive Documentation under the Restructuring Support
                      Agreement and will:
                         •   contain terms and conditions, including, without limitation,
                             cashless exercise option (as far as legally permissible), anti-
                             dilution protection (including, without limitation, against
                             stock splits, stock dividends and similar events) and Black
                             Scholes protections to be agreed, in each case, as customary
                             for transactions of this type and otherwise acceptable to the
                             Debtors and the Governmental Plaintiff Ad Hoc Committee;
                         •   provide for a registration rights agreement satisfactory to the
                             Governmental Plaintiff Ad Hoc Committee with respect to
                             the New Opioid Warrants and the stock issuable upon

                                          4
        Case 20-12522-JTD       Doc 2917        Filed 06/18/21   Page 449 of 835




                               exercise of the New Opioid Warrants providing for, among
                               other things, a resale shelf registration statement and
                               customary demand and piggyback rights; and
                           •   contain enhanced information rights and a covenant requiring
                               Mallinckrodt to, upon request by the Opioid Trust on
                               reasonable notice and subject to reimbursement by the Trust
                               of Mallinckrodt’s reasonable and documented out-of-pocket
                               costs and expenses (provided, however, that such notice and
                               reimbursements obligations of the Opioid Trust shall be on
                               terms no less favorable to the Opioid Trust than any such
                               obligations of any other shareholder of the Reorganized
                               Debtors with similar rights), reasonably cooperate in good
                               faith with any private sale by the Opioid Trust of the New
                               Opioid Warrants or any shares received as a result of the
                               exercise of the New Opioid Warrants.

Channeling Injunction   The Plan and the Confirmation Order will contain (i) a release by
                        holders of Opioid Claims and (ii) an injunction channeling all Opioid
                        Claims against the Protected Parties to the Opioid Trust, in each case,
                        substantially on the terms set forth on Exhibit 1 hereto.
                        In addition, and for the avoidance of doubt, the Plan and
                        Confirmation Order will also provide for customary releases by the
                        Company and by other holders of claims and interests, exculpation
                        provisions, and related injunctive provisions, in each case consistent
                        with Annex 4 to the Restructuring Term Sheet.

Operating Injunction    The Company shall seek entry of an injunctive order to be effective
                        on the Petition Date, defining the manner in which the Debtors’
                        opioid business may be lawfully operated by the Debtors or any
                        successors thereto on a going-forward basis during the pendency of
                        the Chapter 11 Cases, on the terms set forth on Exhibit 2 hereto (the
                        “Chapter 11 Operating Injunction”).
                        The Confirmation Order (or a separate order of the Bankruptcy Court
                        or another court of competent jurisdiction, if so agreed by the
                        Company, the Governmental Plaintiff Ad Hoc Committee) will
                        extend the Chapter 11 Operating Injunction to govern the
                        Reorganized Debtors’ operations after the Plan Effective Date (the
                        “Post-Plan Effective Date Operating Injunction” together with the
                        Chapter 11 Operating Injunction, the “Operating Injunctions”).
                        The Operating Injunctions shall be acceptable to the Debtors and the
                        Governmental Plaintiff Ad Hoc Committee, and reasonably
                        acceptable to the Required Supporting Unsecured Noteholders.




                                            5
        Case 20-12522-JTD     Doc 2917        Filed 06/18/21   Page 450 of 835




Assigned Claims       During the pendency of the Chapter 11 Cases, the Debtors shall
Cooperation           reasonably cooperate with counsel to the Governmental Plaintiff Ad
                      Hoc Committee in connection with the investigation and
                      preservation of the Assigned Third-Party Claims and Assigned
                      Insurance Rights, including by providing non-privileged information
                      (including, without limitation, documents, emails and access to
                      individuals with information), at the reasonable request of counsel to
                      the Governmental Plaintiff Ad Hoc Committee. The Debtors shall,
                      at the reasonable request of the Unsecured Notes Ad Hoc Group,
                      inform counsel to the Unsecured Notes Ad Hoc Group of the status
                      and scope of any such cooperation.
                      The Debtors shall use reasonable efforts to provide all readily
                      available, non-privileged information relating to the Assigned Third-
                      Party Claims and Assigned Insurance Rights to counsel to the
                      Governmental Plaintiff Ad Hoc Committee during the Debtors’
                      bankruptcy cases; provided, however, that such information shall be
                      provided prior to entry of the Confirmation Order.
                      On and after the Plan Effective Date, the Reorganized Debtors shall
                      provide reasonable cooperation to the Opioid Trust in connection
                      with the Opioid Trust’s investigation, preservation and pursuit of the
                      Assigned Third-Party Claims and Assigned Insurance Rights. The
                      terms and conditions of such cooperation shall be mutually agreed
                      by the Debtors, the Governmental Plaintiff Ad Hoc Committee and
                      the Required Supporting Unsecured Noteholders and set forth in the
                      Plan Supplement and included in the Confirmation Order. The
                      Opioid Trust shall reimburse the Reorganized Debtors for their
                      documented and reasonable out-of-pocket costs and expenses
                      incurred in connection with such reasonable cooperation from and
                      after the Plan Effective Date.
                      Any request by the Opioid Trust or the Governmental Plaintiff Ad
                      Hoc Committee for cooperation by the Debtors and Reorganized
                      Debtors shall be on reasonable advance notice, and provided during
                      normal business hours and otherwise in a manner that does not
                      disrupt commercial operations.

Other Terms of Plan   The Plan and/or Confirmation Order will provide for, among other
and Confirmation      things, the following:
Order
                         •   Mallinckrodt will be required to participate in an industry-
                             wide document disclosure program (if any) by disclosing
                             publicly a subset of its litigation documents, subject to scope
                             and protocols to be negotiated in good faith with the
                             Governmental Plaintiff Ad Hoc Committee and the Required
                             Supporting Unsecured Noteholders;



                                          6
Case 20-12522-JTD   Doc 2917         Filed 06/18/21   Page 451 of 835




               •    any attorney-client privilege, work-product privilege, or
                    other privilege or immunity attaching to any documents or
                    communications (whether written or oral) associated with the
                    Assigned Third-Party Claims and Assigned Insurance Rights
                    shall be transferred to the Opioid Trust and shall vest in the
                    Opioid Trust, and the Debtors or the Reorganized Debtors, as
                    the case may be, and the Opioid Trust shall take all necessary
                    actions to effectuate the transfer of such privileges; provided,
                    that (a) such privileges shall be transferred to the Opioid
                    Trust for the sole purpose of enabling, and to the extent
                    necessary to enable, the Opioid Trust to investigate and/or
                    pursue such Assigned Third-Party Claims and Assigned
                    Insurance Rights and (b) no documents or communications
                    subject to a privilege shall be publicly disclosed by the
                    Opioid Trust or communicated to any person not entitled to
                    receive such information or in a manner that would diminish
                    the protected status of such information, unless such
                    disclosure or communication is reasonably necessary to
                    preserve, secure, prosecute, or obtain the benefit of the
                    Assigned Third-Party Claims and Assigned Insurance
                    Rights; provided, further, that the Confirmation Order shall
                    provide that the Opioid Trust’s receipt of transferred
                    privileges shall be without waiver in recognition of the joint
                    and/or successorship interest in prosecuting claims on behalf
                    of the Debtors’ estates;
               •    the Opioid Trust shall be authorized to conduct Rule 2004
                    examinations, to the fullest extent permitted thereunder, to
                    investigate the Assigned Third-Party Claims and Assigned
                    Insurance Rights, without the requirement of filing a motion
                    for such authorization; provided, however, that no such Rule
                    2004 examinations shall be taken of the Debtors, the
                    Reorganized Debtors, or any of their respective then-current
                    employees, officers, directors or representatives, without
                    further order of the Bankruptcy Court after notice and an
                    opportunity to object and be heard;
               •    the exercise of remedies (including, without limitation, rights
                    of setoff and/or recoupment) by non-Mallinckrodt third
                    parties against Mallinckrodt on account of any Assigned
                    Third-Party Claims shall be enjoined and barred, to the extent
                    permitted by applicable law; and
               •    the covenants and enforcement rights with respect to
                    Mallinckrodt’s deferred payment obligations owed to the
                    Opioid Trust in form and substance reasonably acceptable to
                    the Debtors, the Governmental Plaintiff Ad Hoc Committee
                    and the Required Supporting Unsecured Noteholders in light

                                 7
Case 20-12522-JTD   Doc 2917       Filed 06/18/21   Page 452 of 835




                    of the nature, duration and form of the deferred payment
                    obligations.




                               8
        Case 20-12522-JTD        Doc 2917      Filed 06/18/21      Page 453 of 835

                                                                               Execution Version


                            Glossary of Key Defined Terms

         Term                                               Meaning
  Additional Insurance      Additional rights in respect of insurance and/or other
         Rights             consideration, to be agreed to by the Debtors, the Supporting
                            Governmental Opioid Claimants and Supporting Unsecured
                            Noteholders holding no less than two-thirds in outstanding
                            principal amount of Guaranteed Unsecured Notes held by the
                            Supporting Unsecured Noteholders then party to the
                            Restructuring Support Agreement.
Assigned Insurance Rights   (a) Any and all claims, demands, entitlements to proceeds,
                            payments, benefits, or Causes of Action of the Debtors under any
                            and all general liability and products liability insurance policies
                            that do or may afford the Debtors with rights, benefits, defense,
                            indemnity, or insurance coverage with respect to any Opioid
                            Claim, and (b) the Additional Insurance Rights.
   Assigned Medtronic       All Causes of Action of the Debtors against Medtronic plc and/or
         Claims             its subsidiaries, and each of their predecessors, successors, and
                            assigns, including, without limitation, all Avoidance Actions of
                            the Debtors against such parties
  Assigned Third-Party      (a) All Causes of Action of the Debtors arising out of Opioid
        Claims              Claims, including, without limitation, all Avoidance Actions
                            arising out of Opioid Claims, but excluding any Causes of Action
                            against Parent or any of its subsidiaries, or any Released Party,
                            and (b) the Assigned Medtronic Claims.
   Avoidance Actions        Any and all avoidance, recovery, subordination or similar actions
                            or remedies that may be brought by and on behalf of the Debtors
                            or their estates under the Bankruptcy Code or applicable non-
                            bankruptcy law, including, without limitation, actions or remedies
                            arising under chapter 5 of the Bankruptcy Code.
    Causes of Action        Any claims, causes of action (including Avoidance Actions),
                            demands, actions, suits, obligations, liabilities, cross-claims,
                            counterclaims, defenses, offsets, or setoffs of any kind or
                            character whatsoever, in each case whether known or unknown,
                            contingent or noncontingent, matured or unmatured, suspected or
                            unsuspected, foreseen or unforeseen, direct or indirect, choate or
                            inchoate, existing or hereafter arising, under statute, in contract,
                            in tort, in law, or in equity, or pursuant to any other theory of law,
                            federal or state, whether asserted or assertable directly or
                            derivatively in law or equity or otherwise by way of claim,
                            counterclaim, cross-claim, third party action, action for indemnity
                            or contribution or otherwise.
  New Opioid Warrants       Warrants to acquire the number of New Mallinckrodt Common
                            Shares that would represent 19.99% of all such outstanding shares
                            after giving effect to the exercise of the New Opioid Warrants,
                            subject to dilution from equity reserved under the MIP, at a strike


                                        Glossary - 1
       Case 20-12522-JTD      Doc 2917      Filed 06/18/21     Page 454 of 835




        Term                                            Meaning
                         price reflecting an aggregate equity value for the Reorganized
                         Debtors of $1.551 billion, which warrants shall be exercisable at
                         any time on or prior to the seventh anniversary of the Plan
                         Effective Date; provided, that if the Reorganized Debtors exercise
                         the Prepayment Option and prepay the Deferred Cash Payments
                         in full, such warrants shall be exercisable only through and
                         including the fifth anniversary of the Plan Effective Date.
    Opioid Claim         Claims and causes of action, whether existing now or arising in
                         the future, and whether held by a Governmental Entity or private
                         party, against Mallinckrodt in any way arising out of or relating
                         to opioid products manufactured or sold by Mallinckrodt or any
                         of their predecessors prior to the Plan Effective Date, including,
                         for the avoidance of doubt and without limitation, Claims for
                         indemnification (contractual or otherwise), contribution, or
                         reimbursement against Mallinckrodt on account of payments or
                         losses in any way arising out of or relating to opioid products
                         manufactured or sold by Mallinckrodt or any of their predecessors
                         prior to the Plan Effective Date, including Future Opioid PI
                         Claims; provided, that Mallinckrodt shall agree to comply with
                         the terms of the Chapter 11 Operating Injunction as of the Petition
                         Date, and that “Opioid Claims” shall not include any claims in
                         any way arising, in whole or in part, from a violation of the
                         Chapter 11 Operating Injunction
   Opioid Claimant       A holder of an Opioid Claim
    Opioid Trust         The trust that is to be established in accordance with the Plan, the
                         Confirmation Order, and the Opioid Trust Documents, which trust
                         will satisfy the requirements of section 468B of the Internal
                         Revenue Code and the Treasury Regulation promulgated
                         thereunder (as such may be modified or supplemented from time
                         to time); provided, however, that nothing contained herein shall
                         be deemed to preclude the establishment of one or more trusts as
                         determined by the Opioid Claimants to be reasonably necessary
                         or appropriate to provide tax efficiency to the Opioid Trust and
                         Opioid Claimants (and all such trusts shall be referred to
                         collectively as the “Opioid Trust”), so long as the establishment
                         of multiple trusts is not reasonably expected to result in any
                         adverse tax consequences for Mallinckrodt.
Opioid Trust Documents   The documents governing: (i) the Opioid Trust; (ii) any sub-trusts
                         or vehicles that comprise the Opioid Trust; (iii) the flow of
                         consideration from the Debtors’ estates to the Opioid Trust or any
                         sub-trusts or vehicles that comprise the Opioid Trust; (iv)
                         submission, resolution, and distribution procedures in respect of
                         all Opioid Claims; and (v) the flow of distributions, payments or
                         flow of funds made from the Opioid Trust or any such sub-trusts
                         or vehicles after the Plan Effective Date.


                                     Glossary - 2
         Case 20-12522-JTD       Doc 2917      Filed 06/18/21      Page 455 of 835




          Term                                        Meaning
Original Payment Schedule The schedule for deferred cash payments under the February 2020
                          agreement in principle reached between certain state attorneys
                          general and the Debtors, providing for the following payments on
                          the following dates:

                                            Date                       Payment Amount
                             Plan Effective Date                $300,000,000
                                        st     nd
                             Each of 1 and 2                    $200,000,000
                             anniversaries of Plan
                             Effective Date
                             Each of 3rd through 8th            $150,000,000
                             anniversaries of Plan
                             Effective Date
         Parent             Mallinckrodt plc
     Protected Party        (a) The Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor
                            Affiliates, (d) with respect to each of the foregoing Persons in
                            clauses (a) through (c), such Persons’ predecessors, successors,
                            permitted assigns, subsidiaries, and controlled affiliates,
                            respective heirs, executors, estates, and nominees, in each case
                            solely in their capacity as such, and (e) with respect to each of the
                            foregoing Persons in clauses (a) through (d), such Persons’
                            officers and directors, principals, members, employees, financial
                            advisors, attorneys, accountants, investment bankers, consultants,
                            experts and other professionals, provided that, solely as to any
                            Supporting Governmental Opioid Plaintiff, consultants and
                            experts in this clause (e) shall not include those retained to
                            provide strategic advice for sales and marketing of opioid
                            products who have received a civil investigative demand or other
                            subpoena related to sales and marketing of opioid products from
                            any State Attorney General on or after January 1, 2019 through
                            the Petition Date.




                                        Glossary - 3
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 456 of 835




                                             Exhibit 1

                       Channeling Injunction/Opioid Claimant Release

Releases by Holders of Opioid Claims

        Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b)
of the Bankruptcy Code (and any other applicable provisions of the Bankruptcy Code), as of the
Plan Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, each Opioid Claimant (in its capacity as such) is deemed to have released and
discharged, to the maximum extent permitted by law, as such law may be extended subsequent to
the Plan Effective Date, each Debtor, Reorganized Debtor, and Protected Party from any and all
Claims (including Opioid Claims), counterclaims, disputes, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, Liens, remedies, losses, contributions,
indemnities, costs, liabilities, attorneys’ fees and expenses whatsoever, including any derivative
claims asserted, or assertable on behalf of the Debtors, or their Estates, whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether
in law or equity, whether sounding in tort or contract, whether arising under federal or state
statutory or common law, or any other applicable international, foreign, or domestic law, rule,
statute, regulation, treaty, right, duty, requirement or otherwise, that that such Entity would have
been legally entitled to assert in their own right (whether individually or collectively) or on behalf
of any other Person, based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), their Estates, the Opioid
Claims, the Debtors’ in- or out-of-court restructuring efforts (including the Chapter 11 Cases),
intercompany transactions between or among a Debtor and another Debtor, the restructuring of
any Claim or Equity Interest before or during the Chapter 11 Cases, any Avoidance Actions, the
negotiation, formulation, preparation, dissemination, filing, or implementation of, prior to the Plan
Effective Date, the Opioid Trust, Opioid Trust Documents and the “Agreement in Principle for
Global Opioid Settlement and Associated Debt Refinance Activities” announced by the Parent on
February 25, 2020, the Restructuring Support Agreement, the Disclosure Statement, the Plan, any
Restructuring Transaction, or any contract, instrument, release, or other agreement or document
(including providing any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document, or other agreement contemplated by the Plan or the reliance by any
Protected Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or
entered into prior to the Plan Effective Date in connection with the creation of the Opioid Trust,
the “Agreement in Principle for Global Opioid Settlement and Associated Debt Refinance
Activities” announced by the Parent on February 25, 2020, the Restructuring Support Agreement
and related prepetition transactions, the Disclosure Statement, the Plan, the Plan Supplement, the
Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of Confirmation (including the
solicitation of votes on the Plan), the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance or distribution of securities pursuant to the Plan,
or the distribution of property under the Plan or any other related agreement, or upon any other act
or omission, transaction, agreement, event, or other occurrence or circumstance taking place on or
before the Plan Effective Date related or relating to any of the foregoing. Notwithstanding anything
to the contrary in the foregoing, the releases set forth above do not release any post-Plan Effective
           Case 20-12522-JTD          Doc 2917       Filed 06/18/21      Page 457 of 835




Date obligations of any party or Entity under the Plan, any post-Plan Effective Date transaction
contemplated by the Restructuring, or any document, instrument, or agreement (including those
set forth in the Plan Supplement) executed to implement the Plan. The foregoing release will be
effective as of the Plan Effective Date without further notice to or order of the Bankruptcy Court,
act or action under applicable law, regulation, order, or rule or the vote, consent, authorization or
approval of any Person and the Confirmation Order shall permanently enjoin the commencement
or prosecution by any Person, whether directly, derivatively or otherwise, of any claims,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, or liabilities
released pursuant to the foregoing release by Opioid Claimants.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of this release by Opioid Claimants, which includes by reference each
of the related provisions and definitions contained herein, and, further, shall constitute the
Bankruptcy Court’s finding that this release is: (1) consensual; (2) essential to the confirmation of
the Plan; (3) given in exchange for the good and valuable consideration provided by the Released
Parties; (4) a good-faith settlement and compromise of the Claims released by the third-party
release; (5) in the best interests of the Debtors and their Estates; (6) fair, equitable, and reasonable;
(7) given and made after due notice and opportunity for hearing; and (8) a bar to any Opioid
Claimant asserting any claim or Cause of Action released pursuant to this release.
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 458 of 835




Channeling Injunction

        Terms. Pursuant to section 105(a) of the Bankruptcy Code, from and after the Plan
Effective Date, the sole recourse of any Opioid Claimant on account of its Opioid Claims shall be
to the Opioid Trust pursuant to this section [____] of the Plan and the Opioid Trust Documents,
and such Opioid Claimant shall have no right whatsoever at any time to assert its Opioid Claim
against any Protected Party or any property or interest in property of any Protected Party. On and
after the Plan Effective Date, all present and future Opioid Claimants shall be permanently and
forever stayed, restrained, barred, and enjoined from taking any of the following actions for the
purpose of, directly or indirectly or derivatively collecting, recovering, or receiving payment of,
on, or with respect to any Opioid Claim other than from the Opioid Trust pursuant to the Opioid
Trust Documents:

   •   commencing, conducting, or continuing in any manner, directly, indirectly or derivatively,
       any suit, action, or other proceeding of any kind (including a judicial, arbitration,
       administrative, or other proceeding) in any forum in any jurisdiction around the world
       against or affecting any Protected Party or any property or interests in property of any
       Protected Party;
   •   enforcing, levying, attaching (including any prejudgment attachment), collecting, or
       otherwise recovering by any means or in any manner, whether directly or indirectly, any
       judgment, award, decree, or other order against any Protected Party or any property or
       interests in property of any Protected Party;
   •   creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
       Encumbrance against any Protected Party or any property or interests in property of any
       Protected Party;
   •   setting off, seeking reimbursement of, contribution from, or subrogation against, or
       otherwise recouping in any manner, directly or indirectly, any amount against any liability
       owed to any Protected Party or any property or interests in property of any Protected Party;
       or
   •   proceeding in any manner in any place with regard to any matter that is within the scope
       of the matters designated by the Plan to be subject to resolution by the Opioid Trust, except
       in conformity and compliance with the Opioid Trust Documents.

        Reservations. The foregoing injunction shall not stay, restrain, bar, or enjoin (a) the rights
of Opioid Claimants to assert Opioid Claims against the Opioid Trust in accordance with the Plan
and the Opioid Trust Documents; and (b) the rights of Entities to assert any Claim, debt, obligation,
or liability for payment of Trust Expenses against the Opioid Trust.
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 459 of 835




                         Exhibit 2

                    Operating Injunction
        Case 20-12522-JTD         Doc 2917        Filed 06/18/21   Page 460 of 835




                      MALLINCKRODT INJUNCTIVE RELIEF
                            DRAFT TERM SHEET

                                     I. DEFINITIONS

A.   “Bankruptcy Court” shall mean the United States Bankruptcy Court for the District of
     Delaware.

B.   “Cancer-Related Pain Care” shall mean care that provides relief from pain resulting from
     a patient’s active cancer or cancer treatment, as distinguished from treatment provided
     during remission.

C.   “CDC Guideline Recommendations” shall mean the 12 enumerated Recommendations
     published by the U.S. Centers for Disease Control and Prevention (CDC) for the
     prescribing of opioid pain medication for patients 18 and older in primary care settings as
     part of its 2016 Guideline for Prescribing Opioids for Chronic Pain (CDC Guidelines), as
     updated or amended by the CDC.

D.   “Chapter 11 Cases” means the proceedings to be commenced by Mallinckrodt
     Enterprises LLC, Mallinckrodt LLC, and SpecGX LLC and certain of their affiliates
     under chapter 11 of the United States Bankruptcy Code.

E.   “Chapter 11 Plan” shall mean the plan of reorganization under chapter 11 of the United
     States Bankruptcy Code that includes Mallinckrodt Enterprises LLC, Mallinckrodt LLC
     and SpecGx LLC.

F.   “Confirmation Order” shall mean the order of the Bankruptcy Court (or other court of
     competent jurisdiction) confirming the Chapter 11 Plan.

G.   “Downstream Customer Data” shall mean transaction information that Mallinckrodt
     collects relating to its direct customers’ sales to downstream customers, including but not
     limited to chargeback data tied to Mallinckrodt providing certain discounts, “867 data,”
     and IQVIA data.

H.   “Effective Date” shall mean the date on which the Chapter 11 Plan goes effective.

I.   “End-of-Life Care” shall mean care for persons with a terminal illness or at high risk for
     dying in the near future in hospice care, hospitals, long-term care settings, or at home.

J.   “Health Care Provider” shall mean any U.S.-based physician or other health care
     practitioner who is licensed to provide health care services or to prescribe pharmaceutical
     products and any medical facility, practice, hospital, clinic or pharmacy.

K.   “In-Kind Support” shall mean payment or assistance in the form of goods, commodities,
     services, or anything else of value.




                                              1
        Case 20-12522-JTD         Doc 2917         Filed 06/18/21   Page 461 of 835




L.   “Lobby” and “Lobbying” shall have the same meaning as “lobbying activities” and
     “lobbying contacts” under the federal lobbying disclosure act, 2 U.S.C. § 1602 et seq.,
     and any analogous state or local provisions governing the person or entity being lobbied
     in that particular state or locality. As used in this document, “Lobby” and “Lobbying”
     include Lobbying directly or indirectly, through grantees or Third Parties.

M.   “Mallinckrodt” shall mean Mallinckrodt Enterprises LLC, Mallinckrodt LLC, and
     SpecGX LLC, and each of their current and former subsidiaries, predecessors,
     successors, joint ventures, divisions and assigns. It shall also mean officers, directors,
     independent contractors, consultants, agents, employees, partners, and principals,
     provided that they are acting within the scope of their engagement or employment.

N.   “Mallinckrodt’s Opioid Business” shall mean Mallinckrodt’s business operations relating
     to the manufacture and sale of Opioid Product(s) in the United States and its territories.

O.   “Opioid(s)” shall mean all naturally occurring, synthetic, or semisynthetic substances that
     interact with opioid receptors and act like opium.

P.   “Opioid Product(s)” shall mean all current and future medications containing Opioids
     approved by the U.S. Food & Drug Administration (FDA) and listed by the DEA as
     Schedule II, III, or IV drugs pursuant to the federal Controlled Substances Act, including
     but not limited to codeine, fentanyl, hydrocodone, hydromorphone, meperidine,
     morphine, oxycodone, oxymorphone, tapentadol, and tramadol. The term “Opioid
     Products(s)” shall not include medications with a FDA-approved label that lists only the
     treatment of opioid abuse, addiction, dependence and/or overdose as their “indications
     and usage”; methadone 5 and 10 mg tablets, to the extent they are sold to addiction
     treatment facilities; or raw materials, active pharmaceutical ingredients and/or immediate
     precursors used in the manufacture or study of Opioids or Opioid Products, but only
     when such materials, active pharmaceutical ingredients and/or immediate precursors are
     sold or marketed exclusively to DEA registrants or sold outside the United States or its
     territories.

Q.   “OUD” shall mean opioid use disorder defined in the Diagnostic and Statistical Manual
     of Mental Disorders, Fifth Edition (DSM–5), as updated or amended.

R.   “Petition Date” shall mean the date on which the Chapter 11 Cases are commenced.

S.   “Promote,” “Promoting,” and “Promotion” shall mean dissemination of information or
     other practices intended or that could be reasonably anticipated to increase sales,
     prescriptions, the utilization of prescription products, or that attempt to influence
     prescribing practices or formulary decisions in the United States.

T.   “Qualified Researcher” shall mean any researcher holding a faculty appointment or
     research position at an institution of higher education, a research organization, a nonprofit
     organization, or a government agency.




                                               2
          Case 20-12522-JTD        Doc 2917         Filed 06/18/21    Page 462 of 835




U.   “Settling State” means any State that becomes a party to a restructuring support
     agreement with respect to the Chapter 11 Plan or otherwise votes to accept the Chapter
     11 Plan.

V.   “Suspicious Order” shall have the same meaning as provided by the Controlled
     Substances Act, 21 U.S.C. §§ 801-904, and the regulations promulgated thereunder and
     analogous state laws and regulations.

W.   “Third Party” shall mean any person or entity other than Mallinckrodt or a government
     entity.

X.   “Treatment of Pain” shall mean the provision of therapeutic modalities to alleviate or
     reduce pain.

Y.   “Unbranded Information” shall mean any information that does not identify one or more
     specific products.
                            II. SCOPE AND ENFORCEMENT

A.   All of the provisions of this Agreement shall apply both while Mallinckrodt is in
     bankruptcy and after Mallinckrodt emerges from bankruptcy, and they shall apply to the
     operation of Mallinckrodt’s Opioid Business by any subsequent purchaser (regardless of
     whether Mallinckrodt is sold through the bankruptcy process or after bankruptcy, and
     regardless whether the purchaser buys all or just a portion of Mallinckrodt’s Opioid
     Business). For the avoidance of doubt, nothing in this Agreement applies to the operation
     of a subsequent purchaser(s)’ pre-existing opioid business.

B.   The provisions of this Agreement will not apply to Mallinckrodt’s parent or its parent’s
     subsidiaries, other than those subsidiaries included in the above definition of
     Mallinckrodt, so long as Mallinckrodt’s parent agrees in a legally binding manner that
     neither it, nor any of its other subsidiaries, will be involved in the sale or distribution of
     opioids classified as DEA Schedule II–IV drugs in the future.

C.   In connection with its Chapter 11 Cases, Mallinckrodt consents to the entry of a final
     judgment or consent order upon the Effective Date imposing all of the provisions of this
     Agreement in state court in each of the Settling States. During the pendency of the
     Chapter 11 Cases, this Agreement is enforceable in the Bankruptcy Court. After the
     Effective Date, this Agreement is enforceable in state court in each of the Settling States.
     Mallinckrodt agrees that seeking entry or enforcement of such a final judgment or
     consent order will not violate any other injunctions or stays that it will seek, or that may
     otherwise apply, in connection with its Chapter 11 Cases or the confirmation of its
     Chapter 11 Plan.

D.   Term

     1.      Unless addressed in Section II.D.2–3, each provision of this Agreement shall
             apply for 8 years from the Petition Date.


                                                3
          Case 20-12522-JTD        Doc 2917        Filed 06/18/21   Page 463 of 835




     2.      The provisions of Section III.A (“Ban on Promotion”), Section III.B (“No
             Financial Reward or Discipline Based on Volume of Opioid Sales”), Section III.F
             (“Ban on Prescription Savings Program”), Section III.G (“Monitoring and
             Reporting of Direct and Downstream Customers”), Section III.H (“General
             Provisions”), Section III.I (“Compliance with All Laws and Regulations Relating
             to the Sale Promotion and Distribution of Any Opioid Product”), and Section V
             (“Public Access to Documents”) shall not be subject to any term.

     3.      The provisions of Section VI (“Independent Monitor”) shall apply for five years
             from the Petition Date. If, at the conclusion of the Monitor’s five-year term, the
             Settling States determine in good faith and in consultation with the Monitor that
             justifiable cause exists, the Monitor’s engagement shall be extended for an
             additional term of up to two years, subject to the right of Mallinckrodt to
             commence legal proceedings for the purpose of challenging the decision of the
             Settling States and to seek preliminary and permanent injunctive relief with
             respect thereto. For purposes of this paragraph “justifiable cause” means a failure
             by Mallinckrodt to achieve and maintain substantial compliance with the
             substantive provisions of this Agreement.

E.   Notice and Cure

     1.      For the purposes of resolving disputes with respect to compliance with this
             Agreement, should any State Attorney General have reason to believe that
             Mallinckrodt has violated a provision of this Agreement subsequent to the
             Petition Date, then such Attorney General shall notify Mallinckrodt in writing of
             the specific objection, identify with particularity the provisions of this Agreement
             that the practice appears to violate, and give Mallinckrodt 30 days to respond to
             the notification.

     2.      Upon receipt of written notice from such State Attorney General, Mallinckrodt
             shall provide a written response, containing either a statement explaining why
             Mallinckrodt believes it is in compliance with this Agreement or a detailed
             explanation of how the alleged violation occurred and a statement explaining how
             and when Mallinckrodt intends to remedy or has remedied the alleged violation.

     3.      Such State Attorney General may not take any action concerning the alleged
             violation of this Agreement during the 30-day response period. Nothing shall
             prevent such State Attorney General from agreeing in writing to provide
             Mallinckrodt with additional time beyond the 30 days to respond to the
             notice. However, such State Attorney General may take any action, including, but
             not limited to legal action to enforce compliance with the consent judgment
             specified by Section II.C, without delay if such State Attorney General believes
             that, because of the specific practice, a threat to the health or safety of the public
             requires immediate action.

     4.      Such State Attorney General may bring an action against Mallinckrodt to enforce
             the terms of the consent judgment specified by Section II.C, but only after


                                               4
          Case 20-12522-JTD       Doc 2917         Filed 06/18/21   Page 464 of 835




             providing Mallinckrodt an opportunity to respond to the notification as described
             above or within any other period as agreed to by Mallinckrodt and such State
             Attorney General.

     5.      Nothing in this Agreement shall be interpreted to limit any State Attorney
             General’s Civil Investigative Demand (“CID”) or investigative subpoena
             authority, to the extent such authority exists under applicable state law, and
             Mallinckrodt agrees to comply with a CID or investigative subpoena issued
             pursuant to such authority.

     6.      Nothing herein shall be construed to exonerate any failure to comply with any
             provision of this Agreement after the Petition Date, or to compromise the
             authority of any State Attorney General to take action for any failure to comply
             with this Agreement.

                               III. INJUNCTIVE RELIEF

A.   Ban on Promotion

     1.      Mallinckrodt shall not engage in the Promotion of Opioids or Opioid Products,
             including but not limited to, by:

             a.     Employing or contracting with sales representatives or other persons to
                    Promote Opioids or Opioid Products to Health Care Providers or patients
                    or to persons that influence or determine the Opioid Products included in
                    formularies;

             b.     Using speakers, key opinion leaders, thought leaders, lecturers, and/or
                    speaking events for Promotion of Opioids or Opioid Products;

             c.     Sponsoring, or otherwise providing financial support or In-Kind Support
                    to medical education programs relating to Opioids or Opioid Products;

             d.     Creating, sponsoring, operating, controlling, or otherwise providing
                    financial support or In-Kind Support to any website, network, and/or
                    social or other media account for the Promotion of Opioids or Opioid
                    Products;

             e.     Creating, sponsoring, distributing, or otherwise providing financial
                    support or In-Kind Support for materials Promoting Opioids or Opioid
                    Products, including but not limited to brochures, newsletters, pamphlets,
                    journals, books, and guides;

             f.     Creating, sponsoring, or otherwise providing financial support or In-Kind
                    Support for advertisements that Promote Opioids or Opioid Products,
                    including but not limited to internet advertisements or similar content, and



                                               5
     Case 20-12522-JTD       Doc 2917        Filed 06/18/21   Page 465 of 835




               providing hyperlinks or otherwise directing internet traffic to
               advertisements; and

        g.     Engaging in Internet search engine optimization or other techniques
               designed to Promote Opioids or Opioid Products by improving rankings or
               making content appear among the top results in an Internet search or
               otherwise be more visible or more accessible to the public on the Internet.

2.      Notwithstanding Section III.A.1, III.A.5, and III.C, Mallinckrodt may:

        a.     Maintain a corporate website;

        b.     Maintain a website for any Opioid Product that contains principally the
               following content: the FDA-approved package insert, medication guide,
               and labeling, and a statement directing patients or caregivers to speak with
               a licensed Health Care Provider;

        c.     Provide information or support the provision of information as expressly
               required by law or any state or federal government agency with
               jurisdiction in the state where the information is provided;

        d.     Provide the following by mail, electronic mail, on or through
               Mallinckrodt’s corporate or product websites or through other electronic
               or digital methods: FDA-approved package insert, medication guide,
               approved labeling for Opioid Products or other prescribing information for
               Opioid Products that are published by a state or federal government
               agency with jurisdiction in the state where the information is provided;

        e.     Provide scientific and/or medical information in response to an unsolicited
               request by a Health Care Provider consistent with the standards set forth in
               the FDA’s Draft Guidance for Industry, Responding to Unsolicited
               Requests for Off-Label Information About Prescription Drugs and
               Medical Devices (Dec. 2011, as updated or amended by the FDA) and
               Guidance for Industry, Good Reprint Practices for the Distribution of
               Medical Journal Articles and Medical or Scientific Reference Publications
               on Unapproved New Uses of Approved Drugs and Approved or Cleared
               Medical Devices (Jan. 2009, as updated or amended by the FDA);

        f.     Provide a response to any unsolicited question or request from a patient or
               caregiver, directing the patient or caregiver to the FDA-approved labeling
               or to speak with a licensed Health Care Provider without describing the
               safety or effectiveness of Opioids or any Opioid Product or naming any
               specific provider or healthcare institution; or directing the patient or
               caregiver to speak with their insurance carrier regarding coverage of an
               Opioid Product;




                                         6
Case 20-12522-JTD     Doc 2917        Filed 06/18/21   Page 466 of 835




   g.   Provide Health Care Economic Information, as defined at 21 U.S.C.
        § 352(a), to a payor, formulary committee, or other similar entity with
        knowledge and expertise in the area of health care economic analysis
        consistent with standards set forth in the FDA’s Draft Questions and
        Answers Guidance for Industry and Review Staff, Drug and Device
        Manufacturer Communications With Payors, Formulary Committees, and
        Similar Entities (Jan. 2018), as updated or amended by the FDA;

   h.   Provide information, through a product catalog or similar means, related to
        an Opioid or Opioid Product, including, without limitation, pricing
        information, weight, color, shape, packaging size, type, reference listed
        drug, National Drug Code label, and such other descriptive information
        (including information set forth in a standard Healthcare Distribution
        Alliance Form or technical data sheet and the FDA approval letter)
        sufficient to identify the products available, to place an order for a
        product, and to allow the product to be loaded into a customer’s inventory
        and ordering system or a third party pricing compendia;

   i.   Sponsor or provide financial support or In-Kind Support for an accredited
        or approved continuing medical education program required by either an
        FDA-approved Risk Evaluation and Mitigation Strategy (REMS) program
        or other federal or state law or regulation applicable in the state where the
        program is provided through an independent Third Party, which shall be
        responsible for the continuing medical education program’s content
        without the participation of Mallinckrodt;

   j.   Provide Unbranded Information in connection with managing pain in End-
        of-Life Care and/or Cancer-Related Pain Care relating to: the use of
        Opioids for managing such pain, as long as the Unbranded Information
        identifies Mallinckrodt as the source of the information;

   k.   Promote medications with a FDA-approved label that lists only the
        treatment of opioid abuse, addiction, dependence and/or overdose as their
        “indications and usage” or methadone 5 and 10 mg tablets, to the extent
        they are sold to addiction treatment facilities;

   l.   Promote raw materials, active pharmaceutical ingredients and/or
        immediate precursors used in the manufacture or study of Opioids or
        Opioid Products, but only when such raw materials, active pharmaceutical
        ingredients and/or immediate precursors are sold or marketed exclusively
        to DEA registrants or sold outside the United States or its territories; And,
        notwithstanding this exception, Mallinckrodt will not promote raw
        materials, active pharmaceutical ingredients and/or immediate precursors
        to Healthcare Providers or patients; and

   m.   Provide rebates, discounts, and other customary pricing adjustments to
        DEA-registered customers and contracting intermediaries, such as Buying


                                  7
     Case 20-12522-JTD       Doc 2917         Filed 06/18/21   Page 467 of 835




               Groups, Group Purchasing Organizations, and Pharmacy Benefit
               Managers, except as prohibited by Section III.G.

3.      Mallinckrodt shall not engage in the following specific Promotional activity
        relating to any products for the treatment of Opioid-induced side effects (for the
        avoidance of doubt, “Opioid-induced side effects” does not include addiction to
        Opioids or Opioid Products):

        a.     Employing or contracting with sales representatives or other persons to
               Promote products for the treatment of Opioid-induced side effects to
               Health Care Providers or patients;

        b.     Using speakers, key opinion leaders, thought leaders, lecturers, and/or
               speaking events for Promotion of products for the treatment of Opioid-
               induced side effects;

        c.     Sponsoring, or otherwise providing financial support or In-Kind Support
               to medical education programs relating to products for the treatment of
               Opioid-induced side effects;

        d.     Creating, sponsoring, or otherwise providing financial support or In-Kind
               Support for advertisements that Promote products for the treatment of
               Opioid-induced side effects, including but not limited to internet
               advertisements or similar content, and providing hyperlinks or otherwise
               directing internet traffic to advertisements; and

        e.     Engaging in any other Promotion of products for the treatment of Opioid-
               induced side effects in a manner that encourages the utilization of Opioids
               or Opioid Products or normalizes the use of Opioids or Opioid Products
               for chronic pain.

4.      Notwithstanding Section III.A.3 directly above, Mallinckrodt may engage in other
        Promotional activity for products that may be used for the treatment of Opioid-
        induced side effects but also have non-Opioid related indications, so long as such
        Promotion does not explicitly or implicitly associate the product with Opioids or
        Opioid Products, except for linking to the FDA label associated with that product.

5.      Treatment of Pain

        a.     Mallinckrodt shall not, either through Mallinckrodt or through Third
               Parties, engage in Promotion of the Treatment of Pain in a manner that
               directly or indirectly encourages the utilization of Opioids or Opioid
               Products.

        b.     Mallinckrodt shall not, either through Mallinckrodt or through Third
               Parties, Promote the concept that pain is undertreated in a manner that



                                          8
          Case 20-12522-JTD       Doc 2917        Filed 06/18/21   Page 468 of 835




                    directly or indirectly encourages the utilization of Opioids or Opioid
                    Products.

             c.     Mallinckrodt shall not disseminate Unbranded Information, including
                    Unbranded Information about a medical condition or disease state, that
                    contains links to branded information about Opioid Products or generates
                    leads for sales of Opioid Products.

     6.      To the extent that Mallinckrodt engages in conduct permitted by Sections III.A.2
             and A.4 above, Mallinckrodt shall do so in a manner that is:

             a.     Consistent with the CDC Guideline Recommendations, as applicable; and

             b.     Truthful, non-misleading, accurate, non-deceptive, and does not omit any
                    relevant information.

B.   No Financial Reward or Discipline Based on Volume of Opioid Sales

     1.      Mallinckrodt shall not provide financial incentives to its sales and marketing
             employees or discipline its sales and marketing employees based upon sales
             volume or sales quotas for Opioid Products. Notwithstanding the foregoing, this
             provision does not prohibit financial incentives (e.g., customary raises or bonuses)
             based on the performance of the overall company or Mallinckrodt’s generics
             business, as measured by EBITDA, revenue, cash flow or other similar financial
             metrics.

     2.      Mallinckrodt shall not offer or pay any remuneration (including any kickback,
             bribe, or rebate) directly or indirectly, to or from any person in return for the
             prescribing or use of an Opioid Product. For the avoidance of doubt, this shall not
             prohibit the provision of rebates and/or chargebacks to the extent permitted by
             Section III.A.2.m.

     3.      Mallinckrodt’s compensation policies and procedures shall be designed to ensure
             compliance with this Agreement and other legal requirements.

C.   Ban on Funding/Grants to Third Parties

     1.      Mallinckrodt shall not directly or indirectly provide financial support or In-Kind
             Support to any Third Party that Promotes or is for education about Opioids,
             Opioid Products, the Treatment of Pain, or products intended to treat Opioid-
             related side effects, including educational programs or websites that Promote
             Opioids, Opioids Products, or products intended to treat Opioid-related side
             effects but excluding financial support otherwise allowed by this Agreement or
             required by a federal or state agency.

     2.      Mallinckrodt shall not create, sponsor, provide financial support or In-Kind
             Support to, operate, or control any medical society or patient advocacy group


                                              9
     Case 20-12522-JTD        Doc 2917      Filed 06/18/21     Page 469 of 835




        relating to any Opioids, Opioid Products, the Treatment of Pain, or products
        intended to treat Opioid-related side effects.

3.      Mallinckrodt shall not provide links to any Third Party website or materials or
        otherwise distribute materials created by a Third Party relating to any Opioids,
        Opioid Products, the Treatment of Pain, or products intended to treat Opioid-
        related side effects.

4.      Mallinckrodt shall not use, assist, or employ any Third Party to engage in any
        activity that Mallinckrodt itself would be prohibited from engaging in pursuant to
        this Agreement.

5.      Mallinckrodt shall not enter into any contract or agreement with any person or
        entity or otherwise attempt to influence any person or entity in such a manner that
        has the purpose or foreseeable effect of limiting the dissemination of information
        regarding the risks and side effects of using Opioids.

6.      Mallinckrodt shall not compensate or support Health Care Providers, other than
        Mallinckrodt employees, or organizations to advocate for formulary access or
        treatment guideline changes that would have the effect of increasing access to any
        Opioid Product by third-party payers, i.e., any entity, other than an individual, that
        pays or reimburses for the dispensing of prescription medicines, including but not
        limited to managed care organizations and pharmacy benefit managers. Nothing
        in this provision affects the limitations on Mallinckrodt employees set forth in
        Section III.A. Notwithstanding anything to the contrary in this Agreement, this
        provision does not prohibit the payment of customary rebates or other pricing
        concessions to third party payors, including state Medicaid programs, as part of an
        overall pricing agreement, except as prohibited by Section III.F.

7.      No director, officer, or management-level employee of Mallinckrodt may serve as
        a director, board member, employee, agent, or officer of any entity, other than
        Mallinckrodt plc or a wholly owned subsidiary thereof, that not incidentally
        engages in Promotion relating to Opioids, Opioid Products, the Treatment of Pain,
        or products intended to treat Opioid-related side effects. Any director, officer, or
        management-level employee of Mallinckrodt that serves as a director, board
        member, employee, agent or officer of any entity shall recuse himself or herself
        from any decisions in that capacity that are related to the Promotion of Opioids,
        Opioid Products, the Treatment of Pain, or products intended to treat Opioid-
        related side effects.

8.      Mallinckrodt shall play no role in appointing persons to the board, or hiring
        persons to the staff, of any entity that not incidentally engages in Promotion
        relating to any Opioids, Opioid Products, the Treatment of Pain, or products
        intended to treat Opioid-related side effects.

9.      The prohibitions in Section III.C shall not apply to engagement with Third Parties
        based on activities related to (1) medications with a FDA-approved label that lists


                                         10
           Case 20-12522-JTD       Doc 2917      Filed 06/18/21      Page 470 of 835




              only the treatment of opioid abuse, addiction, dependence and/or overdose as their
              “indications and usage” or methadone 5 and 10 mg tablets, to the extent they are
              sold to addiction treatment facilities; (2) raw materials, active pharmaceutical
              ingredients and/or immediate precursors used in the manufacture or study of
              Opioids or Opioid Products, but only when such materials, active pharmaceutical
              ingredients and/or immediate precursors are sold or marketed exclusively to DEA
              registrants or sold outside the United States or its territories; or (3) education
              warning about drug abuse or promoting prevention or treatment of drug misuse.

     10.      Mallinckrodt will be in compliance with Sections III.C.2 and III.C.3 with respect
              to support of an individual Third Party to the extent that the Independent Monitor
              or the Settling States determines that such support does not increase the risk of the
              inappropriate use of Opioids and that Mallinckrodt has not acted for the purpose
              of increasing the use of Opioids.

D.   Lobbying Restrictions

     1.       Mallinckrodt shall not Lobby for the enactment of any provision of any federal,
              state, or local legislation or promulgation of any provision of any rule or
              regulation that:

              a.     encourages or requires Health Care Providers to prescribe Opioid Products
                     or sanctions Health Care Providers for failing to prescribe Opioids or
                     failing to treat pain with Opioids;

              b.     would have the effect of limiting access to any non-Opioid alternative pain
                     treatments; or

              c.     pertains to the classification of any Opioid or Opioid Product as a
                     scheduled drug under the Controlled Substances Act.

     2.       Mallinckrodt shall not Lobby against the enactment of any provision of any
              federal, state or local legislation or promulgation of any provision of any rule or
              regulation that supports:

              a.     The use of non-pharmacologic therapy and/or non-Opioid pharmacologic
                     therapy to treat chronic pain over or instead of Opioid use, including but
                     not limited to third party payment or reimbursement for such therapies;

              b.     The use and/or prescription of immediate release Opioids instead of
                     extended release Opioids when Opioid use is initiated, including but not
                     limited to third party reimbursement or payment for such prescriptions;

              c.     The prescribing of the lowest effective dose of an Opioid, including but
                     not limited to third party reimbursement or payment for such prescription;

              d.     The limitation of initial prescriptions of Opioids to treat acute pain;


                                               11
     Case 20-12522-JTD       Doc 2917      Filed 06/18/21      Page 471 of 835




        e.     The prescribing and other means of distribution of naloxone to minimize
               the risk of overdose, including but not limited to third party
               reimbursement or payment for naloxone;

        f.     The use of urine testing before starting Opioid use and annual urine testing
               when Opioids are prescribed, including but not limited to third party
               reimbursement or payment for such testing;

        g.     Evidence-based treatment (such as using medication-assisted treatment
               with buprenorphine or methadone in combination with behavioral
               therapies) for OUD, including but not limited to third party reimbursement
               or payment for such treatment; or

        h.     The implementation or use of Opioid drug disposal systems.

3.      Mallinckrodt shall not Lobby against the enactment of any provision of any
        federal, state or local legislation or promulgation of any provision of any rule or
        regulation creating or expanding the operation or use of PDMPs, including but not
        limited to provisions requiring Health Care Providers to review PDMPs when
        Opioid use is initiated and with every prescription thereafter. For the avoidance of
        doubt, Mallinckrodt may Lobby in support of a particular PDMP proposal.

4.      Notwithstanding the foregoing restrictions in Sections III.D.1–3, III.A, and III.C,
        the following conduct is not restricted:

        a.     Lobbying against the enactment of any provision of any state, federal,
               municipal, or county taxes, fees, assessments, or other payments;

        b.     Challenging the enforcement of, or suing for declaratory or injunctive
               relief with respect to legislation, rules or regulations referred to in Section
               III.D.1;

        c.     Communications made by Mallinckrodt in response to a statute, rule,
               regulation, or order requiring such communication;

        d.     Communications by a Mallinckrodt representative appearing before a
               federal or state legislative or administrative body, committee, or
               subcommittee as a result of a mandatory order or subpoena commanding
               that person to testify;

        e.     Responding, in a manner consistent with this Agreement, to an unsolicited
               request for the input on the passage of legislation or the promulgation of
               any rule or regulation when such request is submitted in writing
               specifically to Mallinckrodt from a government entity directly involved in
               the passage of that legislation or promulgation of that rule or regulation;




                                         12
          Case 20-12522-JTD        Doc 2917      Filed 06/18/21     Page 472 of 835




             f.     Communicating with a federal or state agency in response to a Federal
                    Register or similar notice or an unsolicited federal or state legislative
                    committee request for public comment on proposed legislation; and

             g.     Responding to requests from the DEA, the FDA, or any other Federal or
                    state agency and/or participating in FDA or other agency panels at the
                    request of the agency.

             h.     Participate in meetings and other proceedings before the FDA, FDA
                    advisory committee or other FDA committee in connection with the
                    approval, modification of approval, or oversight of its own products.

     5.      Mallinckrodt shall require all of its officers, employees, and agents engaged in
             Lobbying to certify in writing or by appropriate electronic means to Mallinckrodt
             that they are aware of and will fully comply with the provisions of this Agreement
             with respect to Lobbying on behalf of Mallinckrodt.

E.   Ban on Certain High Dose Opioids

     1.      Mallinckrodt shall not commence manufacturing, promoting, or distributing any
             Opioid Product that exceeds 30 milligrams of oxycodone per pill.

F.   Ban on Prescription Savings Programs

     1.      Mallinckrodt shall not directly or indirectly offer any discounts, coupons, rebates,
             or other methods which have the effect of reducing or eliminating a patient’s co-
             payments or the cost of prescriptions (e.g., free trial prescriptions) for any Opioid
             Product.

     2.      Mallinckrodt shall not directly or indirectly provide financial support to any Third
             Party that offers coupons, discounts, rebates or other methods which have the
             effect of reducing or eliminating a patient’s co-payments or the cost of
             prescriptions (e.g., free trial prescriptions) for any Opioid Product.

     3.      Mallinckrodt shall not directly or indirectly assist patients, Health Care Providers,
             or pharmacies regarding the claims and/or prior authorization process required for
             third-party payers to approve claims involving any Opioid Product.

G.   Monitoring and Reporting of Direct and Downstream Customers

     1.      Mallinckrodt shall operate an effective monitoring and reporting system in
             compliance with 21 C.F.R. § 1301.71(a), 21 C.F.R. §1301.74(b), 21 U.S.C. §
             823(d) and Section 3292 of the SUPPORT for Patients and Communities Act, that
             shall include processes and procedures that:

             a.     Utilize all reasonably available transaction information to identify a
                    Suspicious Order of an Opioid Product by a direct customer;


                                              13
     Case 20-12522-JTD       Doc 2917      Filed 06/18/21     Page 473 of 835




        b.      Utilize all reasonably available Downstream Customer Data to identify
                whether a downstream customer poses a material risk of diversion of an
                Opioid Product;

        c.      Utilize all information Mallinckrodt receives that bears upon a direct
                customer’s or a downstream customer’s diversion activity or potential for
                diversion activity, including reports by Mallinckrodt’s employees,
                customers, Health Care Providers, law enforcement, state, tribal, or federal
                agencies, or the media; and

        d.      Upon request (unless otherwise required by law), report to any requesting
                State Attorney General or State controlled substances regulatory agency
                any direct customer or downstream customer in such requesting State
                Attorney General’s or agency’s State identified as part of the monitoring
                required by (a)-(c), above, and any customer relationship in such State
                terminated by Mallinckrodt relating to diversion or potential for diversion.
                These reports shall include the following information, to the extent known
                to Mallinckrodt:

               i.      The identity of the downstream registrant and the direct
                       customer(s) identified by Mallinckrodt engaged in the controlled
                       substance transaction(s), to include each registrant’s name,
                       address, business type, and DEA registration number;

              ii.      The dates of reported distribution of controlled substances by
                       direct customers to the downstream registrant during the relevant
                       time period;

             iii.      The drug name, drug family or NDC and dosage amounts
                       reportedly distributed;

             iv.       The transaction or order number of the reported distribution; and

              v.       A brief narrative providing a description of the circumstances
                       leading to Mallinckrodt’s conclusion that there is a risk of
                       diversion.

2.      Mallinckrodt shall not provide to any direct customer an Opioid Product to fill an
        order identified as a Suspicious Order unless Mallinckrodt’s DEA Compliance
        Department investigates and finds that the order is not suspicious. Where
        Mallinckrodt has investigated a potentially Suspicious Order and determined that
        the order is not suspicious, Mallinckrodt must document the bases for its
        determination, and provide such documentation to any State Attorney General, or
        State controlled substances regulatory agency, upon request.

3.      Upon request, Mallinckrodt shall provide full cooperation and assistance to any
        federal, state or local law enforcement investigations of potential diversion or


                                         14
          Case 20-12522-JTD       Doc 2917      Filed 06/18/21     Page 474 of 835




             suspicious circumstances involving Opioid Products, including criminal law
             enforcement agencies, drug control agencies, professional licensing boards, and
             Attorney General’s offices.

     4.      Mallinckrodt agrees that it will refrain from providing an Opioid Product directly
             to a retail pharmacy location or Health Care Provider. Nothing in this provision,
             however, prevents Mallinckrodt from (i) acting as a distributor of medications
             relating to (x) the treatment of opioid use disorders; (y) the treatment of opioid
             abuse, addiction, dependence, or overdose, including medication-assisted
             treatment for opioid addiction; and (z) rescue medications for opioid overdose; or
             (ii) providing an Opioid Product directly to a mail order pharmacy, distribution
             center serving a chain pharmacy, or pharmacy provider that exclusively serves
             long-term care or hospice providers and their patients.

H.   General Terms

     1.      To the extent that any provision in this Agreement conflicts with federal or
             relevant state law or regulation, the requirements of the law or regulation will
             prevail. To the extent that any provision in the Agreement is in conflict with
             federal or relevant state law such that Mallinckrodt cannot comply with both the
             statute or regulation and a provision of this Agreement, Mallinckrodt may comply
             with such statute or regulation. Mallinckrodt will provide advance written notice
             to the affected State Attorney(s) Generals of the statute or regulation that
             Mallinckrodt intends to comply under this paragraph, and the provision of this
             Agreement that is in conflict with the statute or regulation. In the event any State
             Attorney General disagrees with Mallinckrodt’s interpretation of the conflict, such
             State Attorney General reserves the right to pursue any remedy or sanction that
             may be available regarding compliance with this Agreement.

     2.      Mallinckrodt shall not make any written or oral statement about Opioids or any
             Opioid Product that is unfair, false, misleading, deceptive or unconscionable. For
             purposes of this paragraph, “Opioid Product” shall also include medications with
             a FDA-approved label that lists only the treatment of opioid abuse, addiction,
             dependence and/or overdose as their “indications and usage” as well as
             methadone 5 and 10 mg tablets.

     3.      Mallinckrodt shall not represent that Opioids or any Opioid Product(s) have
             approvals, characteristics, uses, benefits, or qualities that they do not have. For
             purposes of this paragraph, “Opioid Product” shall also include medications with
             a FDA-approved label that lists only the treatment of opioid abuse, addiction,
             dependence and/or overdose as their “indications and usage” as well as
             methadone 5 and 10 mg tablets.

     4.      For the avoidance of doubt, nothing in this Agreement is intended to or shall be
             construed to prohibit Mallinckrodt in any way whatsoever from taking legal or
             factual positions with regard to its Opioid Product(s) in defense of litigation or
             other legal proceedings or investigations.


                                              15
          Case 20-12522-JTD        Doc 2917      Filed 06/18/21     Page 475 of 835




     5.      Upon the request of any State Attorney General, Mallinckrodt shall provide the
             requesting State Attorney General with copies of the following, within 30 days of
             the request:

             a.     Any litigation or civil or criminal law enforcement subpoenas or Civil
                    Investigative Demands relating to Mallinckrodt’s Opioid Product(s); and

             b.     Warning or untitled letters issued by the FDA regarding Mallinckrodt’s
                    Opioid Product(s) and all correspondence between Mallinckrodt and the
                    FDA related to such letters.

I.   Compliance with All Laws and Regulations Relating to the Sale, Promotion, and
     Distribution of Any Opioid Product

     1.      Mallinckrodt shall comply with all laws and regulations that relate to the sale,
             promotion, distribution, and disposal of any Opioid Product including but not
             limited to:

             a.     State controlled substances acts, including all guidance issued by
                    applicable state regulator(s), and related regulations;

             b.     The Federal Controlled Substance Act, including all guidances issued by
                    the DEA;

             c.     The Federal Food, Drug and Cosmetic act, or any regulation promulgated
                    thereunder;

             d.     FDA Guidances;

             e.     State consumer protection and unfair trade practices acts; and

             f.     State laws and regulations related to opioid prescribing, distribution and
                    disposal.

J.   Compliance Deadlines

     1.      As of the Petition Date, Mallinckrodt must be in full compliance with the
             provisions included in this Agreement with the exception of the provisions in
             Section V (“Public Access to Mallinckrodt Documents”).

K.   Training

     1.      Mallinckrodt shall provide regular training, at least once per year, to relevant
             employees on their obligations imposed by this Agreement.

                        IV. CLINICAL DATA TRANSPARENCY



                                              16
          Case 20-12522-JTD       Doc 2917      Filed 06/18/21      Page 476 of 835




A.   Data to Be Shared

     1.      Mallinckrodt shall share the following clinical data through a third-party data
             archive that conforms to the requirements defined below to increase the
             transparency of its clinical research.

             a.     Mallinckrodt shall make available all previously disclosed data and/or
                    information regarding Mallinckrodt Opioid Products;

             b.     Mallinckrodt shall make available all previously unreleased data regarding
                    Mallinckrodt Opioid Products, for both approved and unapproved
                    indications, including:

                    i.      Full analyzable data set(s) (including individual participant-level
                            data de-identified by an independent biostatistician);

                    ii.     The clinical study report(s) redacted for commercial or personal
                            identifying information;

                    iii.    The full protocol(s) (including the initial version, final version, and
                            all amendments); and

                    iv.     Full statistical analysis plan(s) (including all amendments and
                            documentation for additional work processes) and analytic code.

             c.     Mallinckrodt shall make available the above information for all studies for
                    any new Mallinckrodt Opioid Product or new indications that are
                    approved within 30 days after regulatory approval or 18 months after
                    study completion, whichever occurs later.

B.   Third-Party Data Archive
     1.      Mallinckrodt shall share the above information via a third-party data archive that
             makes clinical data available to Qualified Researchers with a bona fide scientific
             research proposal.

     2.      The data archive shall have a panel of reviewers with independent review
             authority to determine whether the researchers are qualified, whether a research
             application seeks data for bona fide scientific research, and whether a research
             proposal is complete.

     3.      The panel may exclude research proposals with a commercial interest.

C.   Non Interference

     1.      Mallinckrodt shall not interfere with decisions made by the staff or reviewers
             associated with the third-party data archive.


                                              17
          Case 20-12522-JTD       Doc 2917      Filed 06/18/21      Page 477 of 835




D.   Data Use Agreement

     1.      Any data sharing agreement with a Qualified Researcher who receives shared data
             via the third-party data archive shall contain contact information for
             Mallinckrodt’s pharmacovigilance staff. Every agreement shall require the lead
             qualified researcher to inform Mallinckrodt’s pharmacovigilance staff within 24
             hours of any determination that research findings could detrimentally impact the
             risk-benefit assessment regarding the product. The lead Qualified Researcher
             may also inform regulatory authorities of the safety signal impacting the risk-
             benefit assessment. Mallinckrodt’s pharmacovigilance staff shall take all
             necessary and appropriate steps upon receipt of such safety information, including
             but not limited to notifying regulatory authorities or the public.

E.   Cost

     1.      Mallinckrodt shall bear all costs for making data and/or information available.

            V. PUBLIC ACCESS TO MALLINCKRODT DOCUMENTS

A.   Documents Subject to Public Disclosure

     1.      The following documents shall be produced by Mallinckrodt to each Settling
             State and are subject to public disclosure in perpetuity as part of an industry-wide
             document disclosure program, except for the redactions authorized by Section
             V.B:

             a.     All documents, indices, and privilege logs Mallinckrodt produced to any
                    of the Settling States prior to the Petition Date, including in litigation and
                    in response to investigative demands or other formal or informal requests
                    related to opioids.

             b.     All documents, indices, and privilege logs Mallinckrodt produced in the
                    Opioid Multi-District Litigation (In re Nat’l Prescription Opiate Litig.,
                    No. 1:17-MD-2804 (N.D. Ohio)) and the New York litigation (In re
                    Opioid Litigation, 400000/2017 (Suffolk County)) prior to the Petition
                    Date.

             c.     All documents, indices, and privilege logs Mallinckrodt has produced in
                    other litigation related to opioids, excluding patent litigation.

             d.     All filings, motions, orders, court transcripts, deposition transcripts, and
                    exhibits in the possession, custody, or control of Mallinckrodt from
                    litigation related to opioids, excluding patent litigation.

     2.      All documents produced under this provision shall be provided in electronic
             format with all related metadata. Mallinckrodt and the Settling States will work
             cooperatively to develop technical specifications for the productions.


                                              18
          Case 20-12522-JTD       Doc 2917      Filed 06/18/21     Page 478 of 835




B.   Information That May Be Redacted

     1.      The following categories of information are exempt from public disclosure:

             a.     Information subject to trade secret protection. A “trade secret” is
                    information, including a formula, pattern, compilation, program, device,
                    method, technique or process, that (a) derives independent economic
                    value, actual or potential, from not being generally known to the public or
                    to other persons who can obtain economic value from its disclosure and
                    use; and (b) is the subject of efforts that are reasonable under the
                    circumstances to maintain its secrecy. Even if the information falls within
                    the definition, “trade secret” does not include information reflecting sales
                    or promotional strategies, tactics, targeting, or data, or internal
                    communications related to sales or promotion.

             b.     Confidential personal information. “Confidential personal information”
                    means individual Social Security or tax identification numbers, personal
                    financial account numbers, passport numbers, driver license numbers,
                    home addresses, home telephone numbers, personal email addresses, and
                    other personally identifiable information protected by law from disclosure.
                    “Confidential personal information” does not include the names of
                    Mallinckrodt’s officers, directors, employees, agents, or attorneys.

             c.     Information that is inappropriate for public disclosure because it is subject
                    to personal privacy interests recognized by law (e.g., HIPAA), or
                    contractual rights of third parties that Mallinckrodt may not abrogate.

             d.     Information regarding Mallinckrodt employees’ personal matters unrelated
                    to Mallinckrodt, including emails produced by Mallinckrodt custodians
                    discussing vacation or sick leave, family, or other personal matters.

C.   Redaction of Documents Containing Protected Information

     1.      Whenever a document contains information subject to a claim of exemption
             pursuant to Section V.B, Mallinckrodt shall produce the document in redacted
             form. Such redactions shall indicate that trade secret and/or private information,
             as appropriate, has been redacted. Redactions shall be limited to the minimum
             redactions possible to protect the legally recognized individual privacy interests
             and trade secrets identified above.

     2.      Mallinckrodt shall produce to each Settling State a log noting each document
             redacted. The log shall also provide fields stating the basis for redacting the
             document, with sufficient detail to allow an assessment of the merits of the
             assertion. The log is subject to public disclosure in perpetuity. The log shall be




                                              19
          Case 20-12522-JTD       Doc 2917      Filed 06/18/21     Page 479 of 835




             produced simultaneously with the production of documents required by Section
             V.F.

     3.      In addition to the redacted documents, Mallinckrodt shall, upon any Settling
             State’s request, also produce all documents identified in Section V.A above in
             unredacted form to such Settling State at the same time. The redacted documents
             produced by Mallinckrodt may be publicly disclosed in accordance with Section
             V.E below. The unredacted documents produced by Mallinckrodt to a Settling
             State shall be available only to such State unless Mallinckrodt’s claim of
             exemption under Section V.B is successfully challenged in accordance with
             Section V.C.4 or the trade secret designation expires in accordance with Section
             V.D.

     4.      Anyone, including members of the public and the press, may challenge the
             appropriateness of redactions by providing notice to Mallinckrodt. If the
             challenge is not resolved by agreement, it must be resolved in the first instance by
             a third party jointly appointed by the Settling States and Mallinckrodt to resolve
             such challenges. The decision of the third party may be appealed to a court with
             enforcement authority over this Agreement. If not so appealed, the third party’s
             decision is final. In connection with such challenge, a Settling State may provide
             copies of relevant unredacted documents to the parties or the decisionmaker,
             subject to appropriate confidentiality and/or in camera review protections, as
             determined by the decisionmaker.

D.   Review of Trade Secret Redactions

     1.      Ten years after Mallinckrodt completes the production of its documents in
             accordance with Section V, Mallinckrodt shall review all trade secret assertions
             made in accordance with Section V.B.1 and all non-manufacturing trade secret
             designations shall expire. The newly unredacted documents may then be publicly
             disclosed by a Settling State in accordance with Section V.E. Mallinckrodt shall
             produce to each Settling State an updated redaction log justifying its designations
             of the remaining trade secret redactions as manufacturing trade secrets.

E.   Public Disclosure through a Document Repository

     1.      Each Settling State may publicly disclose all documents covered by Section V
             through a public repository maintained by a governmental, non-profit, or
             academic institution. Each Settling State may specify the terms of any such
             repository’s use of those documents, including allowing the repository to index
             and make searchable all documents subject to public disclosure, including the
             metadata associated with those documents. When providing the documents
             covered by Section V to a public repository, no Settling State shall include or
             attach within the document set any characterization of the content of the
             documents. For the avoidance of doubt, nothing in this paragraph shall prohibit
             any Settling State from publicly discussing the documents covered by Section V.



                                              20
          Case 20-12522-JTD       Doc 2917      Filed 06/18/21     Page 480 of 835




F.   Timeline for Production

     1.      Mallinckrodt shall produce all documents required by Section V.A within nine
             months from the Petition Date.

G.   Costs

     1.      Mallinckrodt shall be responsible for its allocable share of all reasonable costs and
             expenses associated with the public disclosure and storage of Mallinckrodt’s
             documents through any public repository.

H.   Suspension

     1.      Mallinckrodt’s obligation in Section V shall be suspended on the nine-month
             anniversary of the Petition Date, unless and until two corporate defendants in
             opioid-related litigation other than Mallinckrodt have agreed or been ordered to
             publicly disclose opioid-related documents. For the avoidance of doubt, Insys
             Therapeutics, Inc. shall constitute one of the two necessary defendants based on
             the “Liquidating Trustee Disclosure Requirement” provisions of the Second
             Amended Joint Chapter 11 Plan of Liquidation confirmed by the United States
             Bankruptcy Court for the District of Delaware on January 16, 2020.

                            VI. INDEPENDENT MONITOR

A.   Appointment of Monitor

     1.      Mallinckrodt agrees that it will retain an outside, independent individual (the
             “Monitor”) to evaluate and monitor Mallinckrodt’s compliance with this
             Agreement.

     2.      Experience with internal investigations or the investigative process (which may
             include prior monitorship or oversight experience) and expertise in the
             pharmaceutical industry, relevant regulatory regimes, and internal controls and
             compliance systems may be considered in selecting the Monitor.

     3.      Within 30 days of the Petition Date, Mallinckrodt and the Settling States shall
             exchange pools of recommended candidates based in part on the above
             qualification and considerations to serve as the Monitor. The pools shall each
             contain the names of three individuals, groups of individuals or firms.

     4.      After receiving the pools of Monitor candidates, Mallinckrodt and the Settling
             States shall have the right to meet with the candidates and conduct appropriate
             interviews of the personnel who are expected to work on the project.
             Mallinckrodt and the Settling States may veto any of the candidates, and must do
             so in writing within 30 days of receiving the pool of candidates. If all three
             candidates within a pool are rejected by either Mallinckrodt or the Monitor States,


                                              21
          Case 20-12522-JTD        Doc 2917      Filed 06/18/21     Page 481 of 835




             the party who rejected the three candidates may direct the other party to provide
             up to three additional qualified candidates within 15 days of receipt of said notice.

     5.      If Mallinckrodt or the Settling States do not object to a proposed candidate,
             Mallinckrodt or the Settling States shall so notify the other in writing within 30
             days of receiving the pool of candidates. If more than one candidate remains, the
             Settling States shall select the Monitor from the remaining candidates.
             Mallinckrodt and the Settling States shall jointly seek the Bankruptcy Court’s
             approval of the selected Monitor candidate.

     6.      Unless justifiable cause exists, the Monitor appointed by the Bankruptcy Court
             shall continue to serve after the Effective Date. For purposes of this paragraph,
             justifiable cause exists if the Monitor resigns or a court finds that the Monitor: (a)
             develops a conflict of interest that would undermine public confidence in the
             objectivity of his or her work; (b) has unreasonably failed to fulfill his or her
             material obligations under this Agreement or pursuant to the Work Plan (as
             defined in Section VI.B3), (c) has engaged in any act of dishonesty,
             misappropriation, embezzlement, intentional fraud, or similar conduct; or (d) has
             engaged in an intentional act of bias or prejudice in favor or against either party.
             Justifiable cause shall not include Mallinckrodt’s or the Settling States’
             disagreements with the decisions of the Monitor pursuant to this Agreement,
             unless there is a clear pattern in the Monitor’s decisions that demonstrates that the
             Monitor has not been acting as an independent third party in rendering decisions.

     7.      If a new Monitor must be appointed, Mallinckrodt and the Settling States shall
             follow the procedures and timeline set out above in subparagraphs 3-5. Court
             approval shall not be sought if Mallinckrodt is no longer under the Bankruptcy
             Court’s jurisdiction..

B.   Monitor’s Responsibilities

     1.      Between the Petition Date and the Effective Date, the Monitor’s duties shall be as
             follows:

             a.     The Monitor shall perform its duties according to the terms of this
                    Agreement and shall be vested all rights and powers reasonably necessary
                    to carry out such powers, duties, and responsibilities enumerated herein.

             b.     The Monitor shall work with all diligence perform his or her duties in a
                    manner that does not unreasonably disrupt the operation of Mallinckrodt’s
                    business to confirm and oversee compliance with this Agreement.

             c.     The Monitor shall review and provide reports as outlined below.

             d.     Subject to any legally recognized privilege and as reasonably necessary to
                    perform his or her duties hereunder, the Monitor shall have full and
                    complete access to Mallinckrodt’s personnel, books, records, and


                                               22
Case 20-12522-JTD     Doc 2917      Filed 06/18/21     Page 482 of 835




        facilities, and to any other relevant information, as the Monitor may
        request. Mallinckrodt shall develop such information as the Monitor may
        request and shall fully, completely and promptly cooperate with the
        Monitor. The Monitor may raise with the Bankruptcy Court any issues
        relating to any failure of or delay in such cooperation for an expedited
        resolution by the Bankruptcy Court.

   e.   The Monitor shall serve, without bond or other security, at the cost and
        expense of Mallinckrodt, with the Monitor’s fees subject to final approval
        by the Bankruptcy Court. The Monitor shall have the authority to employ,
        upon written consent from Mallinckrodt, such consent not to be
        unreasonably withheld, delayed or conditioned, and upon Court approval,
        at the cost and expense of the Debtors’ estates, such consultants,
        accountants, attorneys, and other representatives and assistants as are
        reasonably necessary to carry out the Monitor’s responsibilities. Requests
        to employ such individuals should be directed to Mallinckrodt’s General
        Counsel, and will be decided upon no later than ten (10) days from their
        receipt. The Monitor will work in good faith with Mallinckrodt to ensure
        such approved consultants will follow Mallinckrodt’s policies and
        procedures with respect to any payments remitted directly by
        Mallinckrodt.

   f.   The Monitor shall have no obligation, responsibility, or liability for the
        operations of Mallinckrodt.

   g.   The Monitor shall sign onto any Protective Order entered by the
        Bankruptcy Court, and any confidentiality agreement consistent with any
        Protective Order as deemed necessary by the parties, and each of the
        Monitor’s consultants, accountants, attorneys and other representatives
        and assistants shall also sign onto any Protective Order entered by the
        Court, and any confidentiality agreement consistent with any Protective
        Order as deemed necessary by the parties; provided, however, that nothing
        shall restrict the Monitor from providing any information to the Court and
        the parties consistent with the terms of any Protective Order.

   h.   The Monitor shall promptly seek an order from the Bankruptcy Court
        requiring compliance or such other remedies as may be appropriate under
        the circumstances should Mallinckrodt not comply with this Agreement.

   i.   The Monitor shall make a good faith effort to leverage Mallinckrodt’s
        existing compliance mechanisms when reviewing Mallinckrodt’s
        compliance with this Agreement.

   j.   The Monitor shall make a good faith effort to perform his or her duties in
        a manner that does not unreasonably disrupt Mallinckrodt’s business
        operations. In this regard, Mallinckrodt shall designate senior officials
        within the Office of the General Counsel to serve as the primary points of


                                  23
     Case 20-12522-JTD       Doc 2917      Filed 06/18/21      Page 483 of 835




               contact for the Monitor in order to facilitate the Monitor’s access to
               documents, materials, or staff necessary to review Mallinckrodt’s
               compliance with this Agreement. The Monitor shall communicate any
               request for documents, materials, or access to staff to the designated
               contacts, unless otherwise instructed. For the avoidance of doubt, nothing
               in this paragraph shall be interpreted to prohibit the Monitor from
               speaking with a current or former employee of Mallinckrodt.

2.      Reporting:

        a.     Within 45 days of the Petition Date, Mallinckrodt shall file a report with
               the Bankruptcy Court regarding its compliance with the terms of this
               Agreement (the “Mallinckrodt Compliance Report”). To the extent
               permissible by law, this report (in whole or in part) may be filed under
               seal or subject to such other confidentiality restrictions contained in a
               Protective Order.

        b.     The Monitor must file a report with the Bankruptcy Court regarding
               compliance by Mallinckrodt with the terms of this Agreement no later
               than 45 days after the Work Plan (as defined in Section VI.B.3) is
               finalized, and then additional reports every 90 days thereafter (the
               “Monitor Reports”). The Court may, in response to such reports, provide
               further direction to the Monitor as it deems appropriate. To the extent
               permissible by law, these reports (in whole or in part) may be filed under
               seal or subject to such other confidentiality restrictions contained in a
               Protective Order. The content of Monitor Reports shall be set forth in the
               Work Plan. The frequency of Monitor Reports may decrease to every 180
               days after the Effective Date.

        c.     Prior to issuing any Monitor Report, the Monitor shall confer with
               Mallinckrodt regarding its preliminary findings and the reasons for those
               findings. Mallinckrodt shall have the right to submit written comments to
               the Monitor, which shall be appended to the final version of the Monitor
               Report.

        d.     In the event the Monitor Report identifies a potential violation of this
               Agreement, Mallinckrodt shall have the right to cure any potential
               violation within 30 days.

3.      Work Plan: The manner in which the Monitor will carry out his or her
        compliance responsibilities under this Agreement, the general scope of
        information that the Monitor will seek to review in fulfilling his or her duties and,
        where applicable, the methodologies to be utilized shall be set forth in a work
        plan (the “Work Plan”). Within 30 days after the Monitor’s appointment by the
        Bankruptcy Court, the Settling States and Mallinckrodt shall agree with the
        Monitor on the Work Plan. If the Monitor, the Settling States, and Mallinckrodt
        fail to reach agreement on the Work Plan within the designated time frame, the


                                         24
     Case 20-12522-JTD       Doc 2917     Filed 06/18/21     Page 484 of 835




        Monitor, Settling States, and Mallinckrodt will submit any disputed issues to the
        Bankruptcy Court for resolution.

4.      Post-Emergence: Before the Effective Date, the parties will work in good faith
        to establish procedures for resolving disputes (including disputes over the Work
        Plan) and overseeing the Monitor’s obligations after Bankruptcy Court approval
        of the Plan, and to make any other adjustments the parties agree to be reasonably
        necessary. The parties expect and agree that the principal obligations and
        conditions imposed by Section VI.B will otherwise remain in effect. After the
        Effective Date, all reasonable and necessary fees and costs of the Monitor shall be
        paid by Mallinckrodt.




                                        25
            Case 20-12522-JTD              Doc 2917        Filed 06/18/21        Page 485 of 835




                                                    Annex A
Prepayment Cost of Deferred Cash Payments at Various Months After Plan Effective Date1


                              Months after              Prepayment Cost of
                              Plan Effective          Deferred Cash Payments
                               Date (end of
                                 month)
                                    0                        $679,648,516
                                    1                        $687,520,879
                                    2                        $695,467,941
                                    3                        $703,490,411
                                    4                        $711,589,005
                                    5                        $719,764,445
                                    6                        $728,017,460
                                    7                        $736,348,785
                                    8                        $744,759,166
                                    9                        $753,249,350
                                   10                        $761,820,096
                                   11                        $770,472,168
                                   12                        $779,206,3382




1
  Amounts shown in annex above show the prepayment cost at the end of each of the 12 months after the Plan Effective
Date. To the extent a prepayment occurs other than at the end of the month, the prepayment cost shall be calculated
as of such prepayment date pursuant to the formula set forth in the Opioid Settlement Term Sheet.
2
   Prepayment right may be exercised prior to the first anniversary of the Plan Effective Date. Month twelve is
illustratively shown and includes $200,000,000 payment due at such time.
       Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 486 of 835




                                        Schedule 2

DOJ Settlement Terms re: Boston (Medicaid Rebates) and EDPA False Claims Act
                          Matters, and related issues

•   Resolved Matters. Mallinckrodt and the United States (including CMS, DOJ ), the
    applicable states, and qui tam relators agree to fully and finally resolve the Acthar-related
    government litigations disclosed in Mallinckrodt’s Form 10-K for 2019, including United
    States of America, et al., ex rel., Charles Strunck, et al. v. Mallinckrodt ARD LLC (E.D.
    Penn.); United States of America et al. ex rel. Landolt v. Mallinckrodt ARD, LLC (D.
    Mass.); and Mallinckrodt ARD LLC v. Verma et al. (D.D.C.), and related matters (such
    matters, collectively, the “Resolved Matters”) on the terms set forth in this Schedule, which
    will be memorialized in a definitive DOJ Settlement Agreement, and settlement
    agreements with the States, and incorporated into the Plan.

•   Settlement Payments. In full and final satisfaction of all claims at issue in the “Resolved
    Matters”, Mallinckrodt shall make cash payments to the US and State governments totaling
    $260 million in the aggregate in accordance with the following schedule, with deferred
    payments bearing interest at a variable rate equal to the nominal interest rate on special
    issues of government securities to the Social Security trust funds, measured as of each
    payment date and accruing from September 21, 2020:

                         Payment Date                          Payment Amount

        Plan Effective Date                                       $15,000,000

        First Anniversary of Plan Effective Date                  $15,000,000

        Second Anniversary of Plan Effective Date                 $20,000,000

        Third Anniversary of Plan Effective Date                  $20,000,000

        Fourth Anniversary of Plan Effective Date                 $32,500,000

        Fifth Anniversary of Plan Effective Date                  $32,500,000

        Sixth Anniversary of Plan Effective Date                  $62,500,000

        Seventh Anniversary of Plan Effective Date                $62,500,000


•   Releases. Effective as of the date on which the Settlement Agreement is fully executed,
    Mallinckrodt, on the one hand, and DOJ and the States, on the other hand, will have
    exchanged mutual releases, as specified in the Settlement Agreements relating to the
    Resolved Matters.

•   CMS/DOJ/State Settlement Agreement; Additional Terms and Conditions. Without
    limiting or affecting in any way the rights of the Supporting Parties under the RSA, the
   Case 20-12522-JTD        Doc 2917         Filed 06/18/21   Page 487 of 835




DOJ Settlement Agreement shall contain such additional terms, conditions,
representations, warranties, covenants and termination events to which Mallinckrodt, on
the one hand, and DOJ on the other hand, may agree. Without limiting or affecting in any
way the rights of the Supporting Parties under the RSA, the State Settlement Agreements
shall contain such additional terms, conditions, representations, warranties, covenants and
termination events to which Mallinckrodt, on the one hand, and the States, on the other
hand, may agree.




                                         2
            Case 20-12522-JTD             Doc 2917       Filed 06/18/21          Page 488 of 835




                                                  Exhibit B

                                            Joinder Agreement

       The undersigned hereby acknowledges that it has reviewed and understands the
Restructuring Support Agreement (as amended, supplemented, or otherwise modified from time
to time in accordance with the terms thereof, the “Agreement”)1 dated as of [  ], 2020 by and
among (i) Mallinckrodt plc and each of its subsidiaries listed on Annex 1 to the Agreement, (ii)
the Supporting Unsecured Noteholders, and (iii) the Supporting Governmental Opioid Claimants
and agrees to be bound as a Supporting Party by the terms and conditions thereof binding on the
Supporting Parties with respect to all Claims/Interests held by the undersigned.

        The undersigned hereby makes the representations and warranties of the Supporting Parties
set forth in the Agreement to each other Party, effective as of the date hereof.

        This joinder agreement shall be governed by the governing law set forth in the Agreement.

        Date: _________________, 2020

                                                             [SUPPORTING PARTY]


                                                             By:_________________________________
                                                             Name:
                                                             Title:
                                                             Address:


Claims/Interests under the [________]:2                                      $

Other Claims/Interests:                                                      $

Opioid related Claims/Interests:3                                                [Description]




1
    Defined terms used but not otherwise defined herein shall have the meanings ascribed to them in the Agreement.
2
    [To be used by Supporting Unsecured Noteholders for holdings of Guaranteed Unsecured Notes]
3
    [To be used by Supporting Governmental Opioid Claimants for Opioid Claims]
            Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 489 of 835
                                                                                         Execution Version



                                        Joinder Agreement

         The undersigned counsel (“Counsel”) to the Multi-State Governmental Entities Group
(the “MSGE Group”) representing the interests of the entities listed on the Verified Statement of
the Multi-State Governmental Entities Group Pursuant to Rule 2019 of the Federal Rules of
Bankruptcy Procedure [Docket No. 337] (the “MSGE Signatories”) hereby (a) acknowledges
that it has reviewed and understands the Restructuring Support Agreement (as amended,
supplemented, or otherwise modified from time to time in accordance with the terms thereof, the
“Agreement”)1 dated as of October 11, 2020 by and among (i) Mallinckrodt plc and each of its
subsidiaries listed on Annex 1 to the Agreement, (ii) the Supporting Unsecured Noteholders, and
(iii) the Supporting Governmental Opioid Claimants; and (b) acknowledges that the MSGE
Signatories shall have the rights, and undertake the obligations, as the Supporting Governmental
Opioid Claimants (except as otherwise expressly set forth herein) and that such rights and
obligations shall be exercised by the MSGE Signatories through the MSGE Group over the
matters set forth in the Agreement for which the Governmental Plaintiff Ad Hoc Committee has
consent rights or obligations. For the avoidance of doubt, the MSGE Signatories acknowledge
that their rights and obligations as Supporting Governmental Opioid Claimants are solely with
respect to themselves and no other Supporting Governmental Opioid Claimants and the MSGE
Group’s rights and obligations are solely with respect to the MSGE Signatories.

       In addition to the foregoing, the undersigned counsel to the MSGE Group or the MSGE
Signatories agrees as follows as of the date of each of their respective execution of this Joinder
Agreement:

        1. Restructuring Support: The MSGE Signatories shall be subject to the support and
           other obligations set forth in Section 4(a) of the Agreement as Supporting
           Governmental Opioid Claimants. In addition, Counsel agrees to recommend that the
           members of the MSGE Group that do not become MSGE Signatories to this Joinder
           Agreement take the actions contemplated by clauses (A) and (B) of Section 4(a) of
           the Agreement.

        2. Breaches by the MSGE Group: The Company shall be entitled to terminate the
           Agreement as to all of the MSGE Signatories in the event that any of the MSGE
           Signatories breach, in any material respect, any of the representations, warranties, or
           covenants given under the Agreement, and such breach remains uncured for a period
           of fifteen (15) Business Days after receipt by the MSGE Group from the Company of
           written notice of such breach, which written notice will set forth in reasonable detail
           the alleged breach; provided, that any such termination by the Company shall result in
           the termination of the Agreement solely as to the MSGE Signatories and shall not
           give rise to a termination right to any other Supporting Party.

        3. Termination of the Agreement by the MSGE Group: The sole remedy of the
           MSGE Signatories for any breach by the Supporting Parties of the Agreement shall
           be termination of this Joinder Agreement by notice in accordance with the Agreement

1
    Defined terms used but not otherwise defined herein shall have the meanings ascribed to them in the
    Agreement.


US-DOCS\118736177.8
            Case 20-12522-JTD          Doc 2917        Filed 06/18/21   Page 490 of 835




             delivered by the MSGE Group with such notice terminating the Agreement as to all
             MSGE Signatories. If the MSGE Group terminates this Joinder Agreement, such
             termination shall not result in a termination of the Agreement as to the other
             Supporting Parties (other than the MSGE Signatories) and shall not give rise to a
             termination right under Section 6(a)(xix) for any such Supporting Parties or for the
             Company under Section 6(b)(iv). For the avoidance of doubt, and notwithstanding
             anything to the contrary in the Agreement or this Joinder Agreement, the MSGE
             Group only has the power to terminate the Agreement as to Supporting Governmental
             Opioid Claimants that are MSGE Signatories.

        4. Milestones:

                      a. To the extent that the Company takes any action with respect to a
                         Milestone without the consent of the MSGE Group, the sole remedy
                         afforded to the MSGE Signatories shall be termination of this Joinder
                         Agreement by the MSGE Group.

                      b. Counsel agrees to use best efforts to obtain the executed signature pages of
                         the members of the MSGE Group to be appended hereto within two (2)
                         months from the date of execution of this Joinder Agreement, which may
                         be extended with the consent of the Company, the Governmental Plaintiff
                         Ad Hoc Committee and the Required Supporting Unsecured Noteholders
                         (each of whom are intended third-party beneficiaries hereunder). Failure
                         to satisfy the obligation in this paragraph shall result in a breach of this
                         Joinder Agreement as set forth in Section 2 above.

        5. Fees and Expenses: So long as this Joinder Agreement is in effect, the MSGE
           Group’s reasonable and documented fees and out-of-pocket expenses of (a) Caplin &
           Drysdale, Chartered, as legal counsel to the MSGE Group; (b) Seitz, Van Ogtrop &
           Green, P.A. as Delaware legal counsel to the MSGE Group; (c) FTI Consulting, as
           financial advisor to the MSGE Group; and (d) such other legal, consulting, financial,
           and/or other professional advisors to which the MSGE Group and the Debtors shall
           reasonably agree from time to time (collectively, the “MSGE Group Professionals”)
           shall be paid pursuant to Section 25 of the Agreement and the Mallinckrodt
           Restructuring Term Sheet at 8.

        6. Notice Parties: Notices provided pursuant to the Agreement shall be sent to the
           MSGE Group to the address set forth on the signature page for the MSGE Group,
           with copy (which shall not constitute notice) to:

                         Caplin & Drysdale, Chartered
                         One Thomas Circle, NW
                         Suite 1100
                         Washington, D.C. 20005

                                                   2
                [MSGE Group Restructuring Support Agreement Joinder Agreement]


US-DOCS\118736177.8
            Case 20-12522-JTD       Doc 2917       Filed 06/18/21   Page 491 of 835




                       Attention:   Kevin C. Maclay (kmaclay@capdale.com)
                                    Todd E. Phillips (tphillips@capdale.com)
                                    Ann Weber Langley (alangley@capdale.com)


        7. Representations and Warranties: Counsel and the MSGE Signatories hereby makes
           the same representations and warranties of the Supporting Parties set forth in the
           Agreement to each other Party, effective as of the date hereof.

        8. Governing Law: This joinder agreement shall be governed by the governing law set
           forth in the Agreement.



        Date: November 13, 2020

                              THE MULTI-STATE               GOVERNMENTAL          ENTITIES
                              GROUP


                                    By: /s/ Kevin C. Maclay
                                    Name: Kevin C. Maclay
                                    Title: Member, Caplin & Drysdale, Chartered
                                    Address: One Thomas Circle, N.W., Suite 1100
                                               Washington, D.C. 20005


Claims Covered by Joinder Agreement:

        Opioid-related Claims as described in the Verified Statement of the Multi-State
        Governmental Entities Group Pursuant to Rule 2019 of the Federal Rules of Bankruptcy
        Procedure [Docket No. 337].




                                               3
                [MSGE Group Restructuring Support Agreement Joinder Agreement]


US-DOCS\118736177.8
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 492 of 835
                                                             Execution Version



                        Schedule A
              Case
                Case
                   20-12522-JTD
                      20-12522-JTDDocDoc
                                      2917
                                         337 Filed
                                               Filed
                                                   06/18/21
                                                     10/29/20 Page
                                                               Page493
                                                                    1 of
                                                                       of4835




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                      )
In re:                                                )        Chapter 11
                                                      )
MALLINCKRODT PLC, et al.,                             )        Case No. 20-12522 (JTD)
                                                      )
                     Debtors. 1                       )        (Jointly Administered)
                                                      )

                      VERIFIED STATEMENT OF THE MULTI-STATE
                 GOVERNMENTAL ENTITIES GROUP PURSUANT TO RULE
               2019 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         Pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure, the Multi-State

Governmental Entities Group (“MSGE Group”) in the chapter 11 cases of Mallinckrodt plc, et

al. (collectively, “Debtors”), respectfully submits the following Verified Statement:

         1.      The MSGE Group consists of approximately 1,318 entities—1,245 counties, cities

and other municipal entities, 9 tribal nations, 13 hospital districts, 16 independent public school

districts, 33 medical groups, and 2 funds—across 38 states and territories and collectively

represents a constituency of more than 60 million individuals across the United States. Caplin &

Drysdale, Chartered (“Caplin & Drysdale”) and Seitz, Van Ogtrop & Green, P.A. (“SVG”) serve

as bankruptcy counsel and Delaware counsel, respectively, to the MSGE Group. A list of the

MSGE Group’s members as of the current date is attached hereto as Exhibit A.

         2.      The information set forth in Exhibit A, which is based on information provided by

the applicable members of the MSGE Group through their counsel to Caplin & Drysdale and SVG,

is intended only to comply with Rule 2019 of the Federal Rules of Bankruptcy Procedure and is

not intended for any other purpose. The MSGE Group makes no representation herein as to the



1
    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is 675
McDonnell Blvd., Hazelwood, Missouri 63042.



DOC# 3414223
             Case
               Case
                  20-12522-JTD
                     20-12522-JTDDocDoc
                                     2917
                                        337 Filed
                                              Filed
                                                  06/18/21
                                                    10/29/20 Page
                                                              Page494
                                                                   2 of
                                                                      of4835




amount, validity, or priority of any particular member’s claims and reserves all respective rights

thereto. This Verified Statement and the attached Exhibit A should not be read to waive or limit

any of the rights of the MSGE Group or its members to assert, file, or amend any claims in

accordance with applicable procedures established by this Court.

       3.       The MSGE Group reserves the right to amend or supplement this Verified

Statement as necessary in accordance with Rule 2019 of the Federal Rules of Bankruptcy

Procedure.

       4.       The foregoing is true and accurate to the best of the undersigned’s knowledge,

information and belief.

                           [remainder of page intentionally left blank]




                                                2
          Case
            Case
               20-12522-JTD
                  20-12522-JTDDocDoc
                                  2917
                                     337 Filed
                                           Filed
                                               06/18/21
                                                 10/29/20 Page
                                                           Page495
                                                                3 of
                                                                   of4835




Dated: October 29, 2020             Respectfully submitted,

                                    /s/ James S. Green, Jr.
                                    R. Karl Hill (DE 2747)
                                    James S. Green, Jr. (DE 4406)
                                    Jared T. Green (DE 5179)
                                    Seitz, Van Ogtrop & Green, P.A.
                                    222 Delaware Avenue, Suite 1500
                                    Wilmington, DE 19801
                                    Tel: (302) 888-0600
                                    Fax: (302) 888-0606
                                    khill@svglaw.com
                                    jsgreen@svglaw.com
                                    jtgreen@svglaw.com

                                    /s/ Kevin C. Maclay
                                    Kevin C. Maclay, Esq. (admitted pro hac vice)
                                    Todd E. Phillips, Esq. (admitted pro hac vice)
                                    Ann Weber Langley, Esq. (admitted pro hac vice)
                                    George M. O’Connor, Esq. (admitted pro hac vice)
                                    Caplin & Drysdale, Chartered
                                    One Thomas Circle, NW, Suite 1100
                                    Washington, DC 20005
                                    Tel: (202) 862-5000
                                    Fax: (202) 429-3301
                                    kmaclay@capdale.com
                                    tphillips@capdale.com
                                    alangley@capdale.com
                                    goconnor@capdale.com

                                    Counsel for the Multi-State Governmental
                                    Entities Group




                                        3
           Case
             Case
                20-12522-JTD
                   20-12522-JTDDocDoc
                                   2917
                                      337 Filed
                                            Filed
                                                06/18/21
                                                  10/29/20 Page
                                                            Page496
                                                                 4 of
                                                                    of4835




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 29, 2020, a true and correct copy of the foregoing pleading
was served via the Court’s electronic filing system on all parties requesting notice in this
proceeding.

                                             /s/ James S. Green, Jr.
                                             James S. Green, Jr.




                                                4
           Case
            Case20-12522-JTD
                 20-12522-JTD Doc
                               Doc2917
                                   337-1 Filed
                                            Filed
                                                06/18/21
                                                  10/29/20 Page
                                                             Page
                                                                497
                                                                  1 of
                                                                    of 38
                                                                       835




                          EXHIBIT A




DOC# 3414232
           Case
            Case20-12522-JTD
                 20-12522-JTD Doc
                               Doc2917
                                   337-1 Filed
                                            Filed
                                                06/18/21
                                                  10/29/20 Page
                                                             Page
                                                                498
                                                                  2 of
                                                                    of 38
                                                                       835




 PARTIES COMPRISING THE MULTI-STATE GOVERNMENTAL ENTITIES GROUP

        For the purposes of this filing made pursuant to Rule 2019 of the Federal Rules of
 Bankruptcy Procedure, the mailing address for all parties below is the address of bankruptcy
 counsel for the Multi-State Governmental Entities Group:

                                Caplin & Drysdale, Chartered
                             One Thomas Circle NW, Suite 1100
                                   Washington, DC 20005
                          Attn: Kevin C. Maclay & Todd E. Phillips

     Party                                                    State         Economic Interest
 1   City of Tarrant                                         Alabama        Unliquidated Claim
 2   Schumacher Medical Corporation of Alabama, Inc.         Alabama        Unliquidated Claim
 3   Apache County                                           Arizona        Unliquidated Claim
 4   Bullhead City                                           Arizona        Unliquidated Claim
 5   City of Glendale                                        Arizona        Unliquidated Claim
 6   City of Prescott                                        Arizona        Unliquidated Claim
 7   City of Surprise                                        Arizona        Unliquidated Claim
 8   La Paz County                                           Arizona        Unliquidated Claim
 9   Pinal County                                            Arizona        Unliquidated Claim
10   Alicia                                                  Arkansas       Unliquidated Claim
11   Almyra                                                  Arkansas       Unliquidated Claim
12   Alpena                                                  Arkansas       Unliquidated Claim
13   Amagon                                                  Arkansas       Unliquidated Claim
14   Anthonyville                                            Arkansas       Unliquidated Claim
15   Arkansas County                                         Arkansas       Unliquidated Claim
16   Ashley County                                           Arkansas       Unliquidated Claim
17   Avoca                                                   Arkansas       Unliquidated Claim
18   Banks                                                   Arkansas       Unliquidated Claim
19   Bauxite                                                 Arkansas       Unliquidated Claim
20   Baxter County                                           Arkansas       Unliquidated Claim
21   Beaver                                                  Arkansas       Unliquidated Claim
22   Beedeville                                              Arkansas       Unliquidated Claim
23   Ben Lomond                                              Arkansas       Unliquidated Claim
24   Benton County                                           Arkansas       Unliquidated Claim
25   Big Flat                                                Arkansas       Unliquidated Claim
26   Biggers                                                 Arkansas       Unliquidated Claim
27   Birdsong                                                Arkansas       Unliquidated Claim
28   Black Oak                                               Arkansas       Unliquidated Claim
29   Blue Eye                                                Arkansas       Unliquidated Claim
           Case
            Case20-12522-JTD
                 20-12522-JTD Doc
                               Doc2917
                                   337-1 Filed
                                            Filed
                                                06/18/21
                                                  10/29/20 Page
                                                             Page
                                                                499
                                                                  3 of
                                                                    of 38
                                                                       835




     Party                                             State        Economic Interest
30   Bluff City                                       Arkansas      Unliquidated Claim
31   Boone County                                     Arkansas      Unliquidated Claim
32   Bradley County                                   Arkansas      Unliquidated Claim
33   Burdette                                         Arkansas      Unliquidated Claim
34   Cale                                             Arkansas      Unliquidated Claim
35   Calhoun County                                   Arkansas      Unliquidated Claim
36   Carroll County                                   Arkansas      Unliquidated Claim
37   Casa                                             Arkansas      Unliquidated Claim
38   Central City                                     Arkansas      Unliquidated Claim
39   Chester                                          Arkansas      Unliquidated Claim
40   Chicot County                                    Arkansas      Unliquidated Claim
41   City of Adona                                    Arkansas      Unliquidated Claim
42   City of Altheimer                                Arkansas      Unliquidated Claim
43   City of Arkadelphia                              Arkansas      Unliquidated Claim
44   City of Arkansas City                            Arkansas      Unliquidated Claim
45   City of Ash Flat                                 Arkansas      Unliquidated Claim
46   City of Ashdown                                  Arkansas      Unliquidated Claim
47   City of Atkins                                   Arkansas      Unliquidated Claim
48   City of Augusta                                  Arkansas      Unliquidated Claim
49   City of Austin                                   Arkansas      Unliquidated Claim
50   City of Bald Knob                                Arkansas      Unliquidated Claim
51   City of Barling                                  Arkansas      Unliquidated Claim
52   City of Batesville                               Arkansas      Unliquidated Claim
53   City of Bay                                      Arkansas      Unliquidated Claim
54   City of Bearden                                  Arkansas      Unliquidated Claim
55   City of Beebe                                    Arkansas      Unliquidated Claim
56   City of Bella Vista                              Arkansas      Unliquidated Claim
57   City of Belleville                               Arkansas      Unliquidated Claim
58   City of Benton                                   Arkansas      Unliquidated Claim
59   City of Bentonville                              Arkansas      Unliquidated Claim
60   City of Berryville                               Arkansas      Unliquidated Claim
61   City of Bethel Heights                           Arkansas      Unliquidated Claim
62   City of Black Rock                               Arkansas      Unliquidated Claim
63   City of Blytheville                              Arkansas      Unliquidated Claim
64   City of Bonanza                                  Arkansas      Unliquidated Claim
65   City of Booneville                               Arkansas      Unliquidated Claim
66   City of Bradford                                 Arkansas      Unliquidated Claim
67   City of Bradley                                  Arkansas      Unliquidated Claim



                                         2
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                             Filed
                                                 06/18/21
                                                   10/29/20 Page
                                                              Page
                                                                 500
                                                                   4 of
                                                                     of 38
                                                                        835




      Party                                             State        Economic Interest
 68   City of Branch                                   Arkansas      Unliquidated Claim
 69   City of Brinkley                                 Arkansas      Unliquidated Claim
 70   City of Brookland                                Arkansas      Unliquidated Claim
 71   City of Bryant                                   Arkansas      Unliquidated Claim
 72   City of Buckner                                  Arkansas      Unliquidated Claim
 73   City of Bull Shoals                              Arkansas      Unliquidated Claim
 74   City of Cabot                                    Arkansas      Unliquidated Claim
 75   City of Caddo Valley                             Arkansas      Unliquidated Claim
 76   City of Calico Rock                              Arkansas      Unliquidated Claim
 77   City of Calion                                   Arkansas      Unliquidated Claim
 78   City of Camden                                   Arkansas      Unliquidated Claim
 79   City of Cammack Village                          Arkansas      Unliquidated Claim
 80   City of Caraway                                  Arkansas      Unliquidated Claim
 81   City of Carlisle                                 Arkansas      Unliquidated Claim
 82   City of Cave City                                Arkansas      Unliquidated Claim
 83   City of Cave Springs                             Arkansas      Unliquidated Claim
 84   City of Cedarville                               Arkansas      Unliquidated Claim
 85   City of Centerton                                Arkansas      Unliquidated Claim
 86   City of Cherokee Village                         Arkansas      Unliquidated Claim
 87   City of Cherry Valley                            Arkansas      Unliquidated Claim
 88   City of Chidester                                Arkansas      Unliquidated Claim
 89   City of Clarendon                                Arkansas      Unliquidated Claim
 90   City of Clarksville                              Arkansas      Unliquidated Claim
 91   City of Clinton                                  Arkansas      Unliquidated Claim
 92   City of Coal Hill                                Arkansas      Unliquidated Claim
 93   City of Conway                                   Arkansas      Unliquidated Claim
 94   City of Corning                                  Arkansas      Unliquidated Claim
 95   City of Cotton Plant                             Arkansas      Unliquidated Claim
 96   City of Crossett                                 Arkansas      Unliquidated Claim
 97   City of Cushman                                  Arkansas      Unliquidated Claim
 98   City of Danville                                 Arkansas      Unliquidated Claim
 99   City of Dardanelle                               Arkansas      Unliquidated Claim
100   City of De Queen                                 Arkansas      Unliquidated Claim
101   City of Decatur                                  Arkansas      Unliquidated Claim
102   City of Delight                                  Arkansas      Unliquidated Claim
103   City of Dermott                                  Arkansas      Unliquidated Claim
104   City of Des Arc                                  Arkansas      Unliquidated Claim
105   City of DeValls Bluff                            Arkansas      Unliquidated Claim



                                          3
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                             Filed
                                                 06/18/21
                                                   10/29/20 Page
                                                              Page
                                                                 501
                                                                   5 of
                                                                     of 38
                                                                        835




      Party                                             State        Economic Interest
106   City of Dewitt                                   Arkansas      Unliquidated Claim
107   City of Diamond City                             Arkansas      Unliquidated Claim
108   City of Diaz                                     Arkansas      Unliquidated Claim
109   City of Dierks                                   Arkansas      Unliquidated Claim
110   City of Dumas                                    Arkansas      Unliquidated Claim
111   City of Dyer                                     Arkansas      Unliquidated Claim
112   City of East Camden                              Arkansas      Unliquidated Claim
113   City of El Dorado                                Arkansas      Unliquidated Claim
114   City of Elaine                                   Arkansas      Unliquidated Claim
115   City of Elkins                                   Arkansas      Unliquidated Claim
116   City of Elm Springs                              Arkansas      Unliquidated Claim
117   City of Emmet                                    Arkansas      Unliquidated Claim
118   City of England                                  Arkansas      Unliquidated Claim
119   City of Eudora                                   Arkansas      Unliquidated Claim
120   City of Eureka Springs                           Arkansas      Unliquidated Claim
121   City of Evening Shade                            Arkansas      Unliquidated Claim
122   City of Fairfield Bay                            Arkansas      Unliquidated Claim
123   City of Farmington                               Arkansas      Unliquidated Claim
124   City of Fifty-Six                                Arkansas      Unliquidated Claim
125   City of Fisher                                   Arkansas      Unliquidated Claim
126   City of Flippin                                  Arkansas      Unliquidated Claim
127   City of Fordyce                                  Arkansas      Unliquidated Claim
128   City of Foreman                                  Arkansas      Unliquidated Claim
129   City of Forrest City                             Arkansas      Unliquidated Claim
130   City of Fort Smith                               Arkansas      Unliquidated Claim
131   City of Fouke                                    Arkansas      Unliquidated Claim
132   City of Gentry                                   Arkansas      Unliquidated Claim
133   City of Gillett                                  Arkansas      Unliquidated Claim
134   City of Gilmore                                  Arkansas      Unliquidated Claim
135   City of Goshen                                   Arkansas      Unliquidated Claim
136   City of Gosnell                                  Arkansas      Unliquidated Claim
137   City of Gould                                    Arkansas      Unliquidated Claim
138   City of Grady                                    Arkansas      Unliquidated Claim
139   City of Grannis                                  Arkansas      Unliquidated Claim
140   City of Gravette                                 Arkansas      Unliquidated Claim
141   City of Green Forest                             Arkansas      Unliquidated Claim
142   City of Greenbrier                               Arkansas      Unliquidated Claim
143   City of Greenland                                Arkansas      Unliquidated Claim



                                          4
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                             Filed
                                                 06/18/21
                                                   10/29/20 Page
                                                              Page
                                                                 502
                                                                   6 of
                                                                     of 38
                                                                        835




      Party                                             State        Economic Interest
144   City of Greenwood                                Arkansas      Unliquidated Claim
145   City of Greers Ferry                             Arkansas      Unliquidated Claim
146   City of Grubbs                                   Arkansas      Unliquidated Claim
147   City of Gurdon                                   Arkansas      Unliquidated Claim
148   City of Guy                                      Arkansas      Unliquidated Claim
149   City of Hackett                                  Arkansas      Unliquidated Claim
150   City of Hampton                                  Arkansas      Unliquidated Claim
151   City of Hardy                                    Arkansas      Unliquidated Claim
152   City of Harrisburg                               Arkansas      Unliquidated Claim
153   City of Harrison                                 Arkansas      Unliquidated Claim
154   City of Hartman                                  Arkansas      Unliquidated Claim
155   City of Haskell                                  Arkansas      Unliquidated Claim
156   City of Hazen                                    Arkansas      Unliquidated Claim
157   City of Heber Springs                            Arkansas      Unliquidated Claim
158   City of Helena-West Helena                       Arkansas      Unliquidated Claim
159   City of Hermitage                                Arkansas      Unliquidated Claim
160   City of Higginson                                Arkansas      Unliquidated Claim
161   City of Highland                                 Arkansas      Unliquidated Claim
162   City of Hope                                     Arkansas      Unliquidated Claim
163   City of Horatio                                  Arkansas      Unliquidated Claim
164   City of Horseshoe Bend                           Arkansas      Unliquidated Claim
165   City of Hot Springs                              Arkansas      Unliquidated Claim
166   City of Hoxie                                    Arkansas      Unliquidated Claim
167   City of Humnoke                                  Arkansas      Unliquidated Claim
168   City of Humphrey                                 Arkansas      Unliquidated Claim
169   City of Huntington                               Arkansas      Unliquidated Claim
170   City of Huntsville                               Arkansas      Unliquidated Claim
171   City of Huttig                                   Arkansas      Unliquidated Claim
172   City of Imboden                                  Arkansas      Unliquidated Claim
173   City of Jacksonville                             Arkansas      Unliquidated Claim
174   City of Jasper                                   Arkansas      Unliquidated Claim
175   City of Johnson                                  Arkansas      Unliquidated Claim
176   City of Joiner                                   Arkansas      Unliquidated Claim
177   City of Jonesboro                                Arkansas      Unliquidated Claim
178   City of Judsonia                                 Arkansas      Unliquidated Claim
179   City of Keiser                                   Arkansas      Unliquidated Claim
180   City of Kensett                                  Arkansas      Unliquidated Claim
181   City of Kibler                                   Arkansas      Unliquidated Claim



                                          5
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                             Filed
                                                 06/18/21
                                                   10/29/20 Page
                                                              Page
                                                                 503
                                                                   7 of
                                                                     of 38
                                                                        835




      Party                                             State        Economic Interest
182   City of Kingsland                                Arkansas      Unliquidated Claim
183   City of Knoxville                                Arkansas      Unliquidated Claim
184   City of Lake City                                Arkansas      Unliquidated Claim
185   City of Lake View                                Arkansas      Unliquidated Claim
186   City of Lake Village                             Arkansas      Unliquidated Claim
187   City of Lakeview                                 Arkansas      Unliquidated Claim
188   City of Lamar                                    Arkansas      Unliquidated Claim
189   City of Lavaca                                   Arkansas      Unliquidated Claim
190   City of Leachville                               Arkansas      Unliquidated Claim
191   City of Lepanto                                  Arkansas      Unliquidated Claim
192   City of Lewisville                               Arkansas      Unliquidated Claim
193   City of Lincoln                                  Arkansas      Unliquidated Claim
194   City of Little Flock                             Arkansas      Unliquidated Claim
195   City of Little Rock                              Arkansas      Unliquidated Claim
196   City of Lockesburg                               Arkansas      Unliquidated Claim
197   City of London                                   Arkansas      Unliquidated Claim
198   City of Lowell                                   Arkansas      Unliquidated Claim
199   City of Luxora                                   Arkansas      Unliquidated Claim
200   City of Madison                                  Arkansas      Unliquidated Claim
201   City of Magazine                                 Arkansas      Unliquidated Claim
202   City of Magnolia                                 Arkansas      Unliquidated Claim
203   City of Malvern                                  Arkansas      Unliquidated Claim
204   City of Manila                                   Arkansas      Unliquidated Claim
205   City of Mansfield                                Arkansas      Unliquidated Claim
206   City of Marion                                   Arkansas      Unliquidated Claim
207   City of Marked Tree                              Arkansas      Unliquidated Claim
208   City of Marmaduke                                Arkansas      Unliquidated Claim
209   City of Marshall                                 Arkansas      Unliquidated Claim
210   City of Marvell                                  Arkansas      Unliquidated Claim
211   City of Maumelle                                 Arkansas      Unliquidated Claim
212   City of McCrory                                  Arkansas      Unliquidated Claim
213   City of McGehee                                  Arkansas      Unliquidated Claim
214   City of McNeil                                   Arkansas      Unliquidated Claim
215   City of Melbourne                                Arkansas      Unliquidated Claim
216   City of Mena                                     Arkansas      Unliquidated Claim
217   City of Mineral Springs                          Arkansas      Unliquidated Claim
218   City of Mitchellville                            Arkansas      Unliquidated Claim
219   City of Monette                                  Arkansas      Unliquidated Claim



                                          6
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                             Filed
                                                 06/18/21
                                                   10/29/20 Page
                                                              Page
                                                                 504
                                                                   8 of
                                                                     of 38
                                                                        835




      Party                                             State        Economic Interest
220   City of Monticello                               Arkansas      Unliquidated Claim
221   City of Montrose                                 Arkansas      Unliquidated Claim
222   City of Morrilton                                Arkansas      Unliquidated Claim
223   City of Mount Ida                                Arkansas      Unliquidated Claim
224   City of Mountain Home                            Arkansas      Unliquidated Claim
225   City of Mountain Pine                            Arkansas      Unliquidated Claim
226   City of Mountain View                            Arkansas      Unliquidated Claim
227   City of Mountainburg                             Arkansas      Unliquidated Claim
228   City of Mulberry                                 Arkansas      Unliquidated Claim
229   City of Murfreesboro                             Arkansas      Unliquidated Claim
230   City of Nashville                                Arkansas      Unliquidated Claim
231   City of Newport                                  Arkansas      Unliquidated Claim
232   City of Norfork                                  Arkansas      Unliquidated Claim
233   City of Norphlet                                 Arkansas      Unliquidated Claim
234   City of North Little Rock                        Arkansas      Unliquidated Claim
235   City of Oak Grove Heights                        Arkansas      Unliquidated Claim
236   City of Oppelo                                   Arkansas      Unliquidated Claim
237   City of Osceola                                  Arkansas      Unliquidated Claim
238   City of Oxford                                   Arkansas      Unliquidated Claim
239   City of Pangburn                                 Arkansas      Unliquidated Claim
240   City of Paragould                                Arkansas      Unliquidated Claim
241   City of Paris                                    Arkansas      Unliquidated Claim
242   City of Parkin                                   Arkansas      Unliquidated Claim
243   City of Patterson                                Arkansas      Unliquidated Claim
244   City of Pea Ridge                                Arkansas      Unliquidated Claim
245   City of Peach Orchard                            Arkansas      Unliquidated Claim
246   City of Perryville                               Arkansas      Unliquidated Claim
247   City of Piggott                                  Arkansas      Unliquidated Claim
248   City of Pine Bluff                               Arkansas      Unliquidated Claim
249   City of Plainview                                Arkansas      Unliquidated Claim
250   City of Plumerville                              Arkansas      Unliquidated Claim
251   City of Pocahontas                               Arkansas      Unliquidated Claim
252   City of Pollard                                  Arkansas      Unliquidated Claim
253   City of Portland                                 Arkansas      Unliquidated Claim
254   City of Prairie Grove                            Arkansas      Unliquidated Claim
255   City of Prescott                                 Arkansas      Unliquidated Claim
256   City of Quitman                                  Arkansas      Unliquidated Claim
257   City of Ratcliff                                 Arkansas      Unliquidated Claim



                                          7
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                             Filed
                                                 06/18/21
                                                   10/29/20 Page
                                                              Page
                                                                 505
                                                                   9 of
                                                                     of 38
                                                                        835




      Party                                             State        Economic Interest
258   City of Rector                                   Arkansas      Unliquidated Claim
259   City of Redfield                                 Arkansas      Unliquidated Claim
260   City of Rison                                    Arkansas      Unliquidated Claim
261   City of Rockport                                 Arkansas      Unliquidated Claim
262   City of Rogers                                   Arkansas      Unliquidated Claim
263   City of Russellville                             Arkansas      Unliquidated Claim
264   City of Salem                                    Arkansas      Unliquidated Claim
265   City of Salesville                               Arkansas      Unliquidated Claim
266   City of Shannon Hills                            Arkansas      Unliquidated Claim
267   City of Sheridan                                 Arkansas      Unliquidated Claim
268   City of Sherwood                                 Arkansas      Unliquidated Claim
269   City of Siloam Springs                           Arkansas      Unliquidated Claim
270   City of Smackover                                Arkansas      Unliquidated Claim
271   City of Sparkman                                 Arkansas      Unliquidated Claim
272   City of Springdale                               Arkansas      Unliquidated Claim
273   City of Stamps                                   Arkansas      Unliquidated Claim
274   City of Star City                                Arkansas      Unliquidated Claim
275   City of Stephens                                 Arkansas      Unliquidated Claim
276   City of Strong                                   Arkansas      Unliquidated Claim
277   City of Stuttgart                                Arkansas      Unliquidated Claim
278   City of Sulphur Springs                          Arkansas      Unliquidated Claim
279   City of Texarkana                                Arkansas      Unliquidated Claim
280   City of Thornton                                 Arkansas      Unliquidated Claim
281   City of Tillar                                   Arkansas      Unliquidated Claim
282   City of Tontitown                                Arkansas      Unliquidated Claim
283   City of Traskwood                                Arkansas      Unliquidated Claim
284   City of Trumann                                  Arkansas      Unliquidated Claim
285   City of Van Buren                                Arkansas      Unliquidated Claim
286   City of Vilonia                                  Arkansas      Unliquidated Claim
287   City of Waldo                                    Arkansas      Unliquidated Claim
288   City of Waldron                                  Arkansas      Unliquidated Claim
289   City of Walnut Ridge                             Arkansas      Unliquidated Claim
290   City of Ward                                     Arkansas      Unliquidated Claim
291   City of Warren                                   Arkansas      Unliquidated Claim
292   City of Washington                               Arkansas      Unliquidated Claim
293   City of Watson                                   Arkansas      Unliquidated Claim
294   City of Weiner                                   Arkansas      Unliquidated Claim
295   City of West Fork                                Arkansas      Unliquidated Claim



                                          8
           Case
            Case20-12522-JTD
                 20-12522-JTD Doc
                               Doc2917
                                   337-1 Filed
                                           Filed06/18/21
                                                 10/29/20 Page
                                                           Page506
                                                                10 of
                                                                   of 835
                                                                      38




      Party                                            State       Economic Interest
296   City of West Memphis                            Arkansas     Unliquidated Claim
297   City of White Hall                              Arkansas     Unliquidated Claim
298   City of Wilmar                                  Arkansas     Unliquidated Claim
299   City of Wilmot                                  Arkansas     Unliquidated Claim
300   City of Wilson                                  Arkansas     Unliquidated Claim
301   City of Wilton                                  Arkansas     Unliquidated Claim
302   City of Winthrop                                Arkansas     Unliquidated Claim
303   City of Wooster                                 Arkansas     Unliquidated Claim
304   City of Wrightsville                            Arkansas     Unliquidated Claim
305   City of Wynne                                   Arkansas     Unliquidated Claim
306   City of Yellville                               Arkansas     Unliquidated Claim
307   Clark County                                    Arkansas     Unliquidated Claim
308   Clay County                                     Arkansas     Unliquidated Claim
309   Cleburne County                                 Arkansas     Unliquidated Claim
310   Cleveland County                                Arkansas     Unliquidated Claim
311   Columbia County                                 Arkansas     Unliquidated Claim
312   Concord                                         Arkansas     Unliquidated Claim
313   Conway County                                   Arkansas     Unliquidated Claim
314   Cove                                            Arkansas     Unliquidated Claim
315   Craighead County                                Arkansas     Unliquidated Claim
316   Crawford County                                 Arkansas     Unliquidated Claim
317   Crawfordsville                                  Arkansas     Unliquidated Claim
318   Crittenden County                               Arkansas     Unliquidated Claim
319   Cross County                                    Arkansas     Unliquidated Claim
320   Dallas County                                   Arkansas     Unliquidated Claim
321   Damascus                                        Arkansas     Unliquidated Claim
322   Datto                                           Arkansas     Unliquidated Claim
323   Delaplaine                                      Arkansas     Unliquidated Claim
324   Dell                                            Arkansas     Unliquidated Claim
325   Desha County                                    Arkansas     Unliquidated Claim
326   Donaldson                                       Arkansas     Unliquidated Claim
327   Drew County                                     Arkansas     Unliquidated Claim
328   Dyess                                           Arkansas     Unliquidated Claim
329   Edmondson                                       Arkansas     Unliquidated Claim
330   Egypt                                           Arkansas     Unliquidated Claim
331   Emerson                                         Arkansas     Unliquidated Claim
332   Etowah                                          Arkansas     Unliquidated Claim
333   Everton                                         Arkansas     Unliquidated Claim



                                         9
           Case
            Case20-12522-JTD
                 20-12522-JTD Doc
                               Doc2917
                                   337-1 Filed
                                           Filed06/18/21
                                                 10/29/20 Page
                                                           Page507
                                                                11 of
                                                                   of 835
                                                                      38




      Party                                            State       Economic Interest
334   Fargo                                           Arkansas     Unliquidated Claim
335   Faulkner County                                 Arkansas     Unliquidated Claim
336   Felsenthal                                      Arkansas     Unliquidated Claim
337   Fountain Hill                                   Arkansas     Unliquidated Claim
338   Fourche                                         Arkansas     Unliquidated Claim
339   Franklin                                        Arkansas     Unliquidated Claim
340   Franklin County                                 Arkansas     Unliquidated Claim
341   Fredonia (Biscoe)                               Arkansas     Unliquidated Claim
342   Friendship                                      Arkansas     Unliquidated Claim
343   Fulton                                          Arkansas     Unliquidated Claim
344   Fulton County                                   Arkansas     Unliquidated Claim
345   Garfield                                        Arkansas     Unliquidated Claim
346   Garland                                         Arkansas     Unliquidated Claim
347   Garland County                                  Arkansas     Unliquidated Claim
348   Gilbert                                         Arkansas     Unliquidated Claim
349   Grant County                                    Arkansas     Unliquidated Claim
350   Greene County                                   Arkansas     Unliquidated Claim
351   Harrell                                         Arkansas     Unliquidated Claim
352   Hatfield                                        Arkansas     Unliquidated Claim
353   Haynes                                          Arkansas     Unliquidated Claim
354   Hector                                          Arkansas     Unliquidated Claim
355   Hempstead County                                Arkansas     Unliquidated Claim
356   Higden                                          Arkansas     Unliquidated Claim
357   Highfill                                        Arkansas     Unliquidated Claim
358   Horseshoe Lake                                  Arkansas     Unliquidated Claim
359   Hot Spring County                               Arkansas     Unliquidated Claim
360   Howard County                                   Arkansas     Unliquidated Claim
361   Hughes                                          Arkansas     Unliquidated Claim
362   Independence County                             Arkansas     Unliquidated Claim
363   Izard County                                    Arkansas     Unliquidated Claim
364   Jackson County                                  Arkansas     Unliquidated Claim
365   Jefferson County                                Arkansas     Unliquidated Claim
366   Jennette                                        Arkansas     Unliquidated Claim
367   Jericho                                         Arkansas     Unliquidated Claim
368   Johnson County                                  Arkansas     Unliquidated Claim
369   La Grange                                       Arkansas     Unliquidated Claim
370   Lafayette County                                Arkansas     Unliquidated Claim
371   Lafe                                            Arkansas     Unliquidated Claim



                                        10
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page508
                                                                 12 of
                                                                    of 835
                                                                       38




      Party                                             State       Economic Interest
372   Lawrence County                                  Arkansas     Unliquidated Claim
373   Lead Hill                                        Arkansas     Unliquidated Claim
374   Lee County                                       Arkansas     Unliquidated Claim
375   Leola                                            Arkansas     Unliquidated Claim
376   Lexa                                             Arkansas     Unliquidated Claim
377   Lincoln County                                   Arkansas     Unliquidated Claim
378   Little River County                              Arkansas     Unliquidated Claim
379   Logan County                                     Arkansas     Unliquidated Claim
380   Lonoke County                                    Arkansas     Unliquidated Claim
381   Louann                                           Arkansas     Unliquidated Claim
382   Lynn                                             Arkansas     Unliquidated Claim
383   Madison County                                   Arkansas     Unliquidated Claim
384   Magness                                          Arkansas     Unliquidated Claim
385   Marianna                                         Arkansas     Unliquidated Claim
386   Marie                                            Arkansas     Unliquidated Claim
387   Marion County                                    Arkansas     Unliquidated Claim
388   Maynard                                          Arkansas     Unliquidated Claim
389   McDougal                                         Arkansas     Unliquidated Claim
390   McNab                                            Arkansas     Unliquidated Claim
391   Menifee                                          Arkansas     Unliquidated Claim
392   Midway                                           Arkansas     Unliquidated Claim
393   Miller County                                    Arkansas     Unliquidated Claim
394   Mississippi County                               Arkansas     Unliquidated Claim
395   Monroe County                                    Arkansas     Unliquidated Claim
396   Montgomery County                                Arkansas     Unliquidated Claim
397   Moorefield                                       Arkansas     Unliquidated Claim
398   Morrison Bluff                                   Arkansas     Unliquidated Claim
399   Mount Pleasant                                   Arkansas     Unliquidated Claim
400   Mount Vernon                                     Arkansas     Unliquidated Claim
401   Nevada County                                    Arkansas     Unliquidated Claim
402   Newton County                                    Arkansas     Unliquidated Claim
403   Nimmons                                          Arkansas     Unliquidated Claim
404   Norman                                           Arkansas     Unliquidated Claim
405   Oak Grove                                        Arkansas     Unliquidated Claim
406   Oakhaven                                         Arkansas     Unliquidated Claim
407   Oden                                             Arkansas     Unliquidated Claim
408   O’Kean                                           Arkansas     Unliquidated Claim
409   Okolona                                          Arkansas     Unliquidated Claim



                                         11
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page509
                                                                 13 of
                                                                    of 835
                                                                       38




      Party                                                 State     Economic Interest
410   Ouachita County                                      Arkansas   Unliquidated Claim
411   Palestine                                            Arkansas   Unliquidated Claim
412   Patmos                                               Arkansas   Unliquidated Claim
413   Perla                                                Arkansas   Unliquidated Claim
414   Perry                                                Arkansas   Unliquidated Claim
415   Perry County                                         Arkansas   Unliquidated Claim
416   Phillips County                                      Arkansas   Unliquidated Claim
417   Pike County                                          Arkansas   Unliquidated Claim
418   Pleasant Plains                                      Arkansas   Unliquidated Claim
419   Poinsett County                                      Arkansas   Unliquidated Claim
420   Polk County                                          Arkansas   Unliquidated Claim
421   Pope County                                          Arkansas   Unliquidated Claim
422   Powhatan                                             Arkansas   Unliquidated Claim
423   Poyen                                                Arkansas   Unliquidated Claim
424   Prairie County                                       Arkansas   Unliquidated Claim
425   Prattsville                                          Arkansas   Unliquidated Claim
426   Pulaski County                                       Arkansas   Unliquidated Claim
427   Pyatt                                                Arkansas   Unliquidated Claim
428   Randolph County                                      Arkansas   Unliquidated Claim
429   Ravenden                                             Arkansas   Unliquidated Claim
430   Reed                                                 Arkansas   Unliquidated Claim
431   Rondo                                                Arkansas   Unliquidated Claim
432   Rose Bud                                             Arkansas   Unliquidated Claim
433   Rosston                                              Arkansas   Unliquidated Claim
434   Rudy                                                 Arkansas   Unliquidated Claim
435   Saline County                                        Arkansas   Unliquidated Claim
436   Scott County                                         Arkansas   Unliquidated Claim
437   Searcy County                                        Arkansas   Unliquidated Claim
438   Sebastian County                                     Arkansas   Unliquidated Claim
      Second Judicial Circuit Prosecuting Attorney Scott
439   Ellington, ex rel. State of Arkansas                 Arkansas   Unliquidated Claim
440   Sedgwick                                             Arkansas   Unliquidated Claim
441   Sevier County                                        Arkansas   Unliquidated Claim
442   Sharp County                                         Arkansas   Unliquidated Claim
443   Sidney                                               Arkansas   Unliquidated Claim
444   Smithville                                           Arkansas   Unliquidated Claim
445   Springtown                                           Arkansas   Unliquidated Claim
446   St. Charles                                          Arkansas   Unliquidated Claim



                                                12
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page510
                                                                 14 of
                                                                    of 835
                                                                       38




      Party                                              State      Economic Interest
447   St. Francis County                               Arkansas     Unliquidated Claim
448   St. Joe                                          Arkansas     Unliquidated Claim
449   St. Paul                                         Arkansas     Unliquidated Claim
450   Stone County                                     Arkansas     Unliquidated Claim
451   Strawberry                                       Arkansas     Unliquidated Claim
452   Success                                          Arkansas     Unliquidated Claim
453   Sulphur Rock                                     Arkansas     Unliquidated Claim
454   The Schumacher Group of Arkansas, Inc.           Arkansas     Unliquidated Claim
455   Tinsman                                          Arkansas     Unliquidated Claim
456   Tollette                                         Arkansas     Unliquidated Claim
457   Tull                                             Arkansas     Unliquidated Claim
458   Tupelo                                           Arkansas     Unliquidated Claim
459   Union County                                     Arkansas     Unliquidated Claim
460   Valley Springs                                   Arkansas     Unliquidated Claim
461   Van Buren County                                 Arkansas     Unliquidated Claim
462   Viola                                            Arkansas     Unliquidated Claim
463   Wabbaseka                                        Arkansas     Unliquidated Claim
464   Washington County                                Arkansas     Unliquidated Claim
465   Wheatley                                         Arkansas     Unliquidated Claim
466   Whelen Springs                                   Arkansas     Unliquidated Claim
467   White County                                     Arkansas     Unliquidated Claim
468   Wickes                                           Arkansas     Unliquidated Claim
469   Widener                                          Arkansas     Unliquidated Claim
470   Woodruff County                                  Arkansas     Unliquidated Claim
471   Yell County                                      Arkansas     Unliquidated Claim
472   Zinc                                             Arkansas     Unliquidated Claim
473   Sacramento County                                California   Unliquidated Claim
474   Mesa County                                      Colorado     Unliquidated Claim
475   The Schumacher Group of Colorado, Inc.           Colorado     Unliquidated Claim
476   City of Ansonia                                 Connecticut   Unliquidated Claim
477   City of Danbury                                 Connecticut   Unliquidated Claim
478   City of Derby                                   Connecticut   Unliquidated Claim
479   City of Middletown                              Connecticut   Unliquidated Claim
480   City of New Britain                             Connecticut   Unliquidated Claim
481   City of New Haven                               Connecticut   Unliquidated Claim
482   City of New London                              Connecticut   Unliquidated Claim
483   City of Norwalk                                 Connecticut   Unliquidated Claim
484   City of Norwich                                 Connecticut   Unliquidated Claim



                                               13
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page511
                                                                 15 of
                                                                    of 835
                                                                       38




      Party                                              State      Economic Interest
485   City of Trumbull                                Connecticut   Unliquidated Claim
486   Town of Brookfield                              Connecticut   Unliquidated Claim
487   Town of Enfield                                 Connecticut   Unliquidated Claim
488   Town of Manchester                              Connecticut   Unliquidated Claim
489   Town of Wallingford                             Connecticut   Unliquidated Claim
490   Town of Wethersfield                            Connecticut   Unliquidated Claim
491   Town of Windham                                 Connecticut   Unliquidated Claim
492   City of Dover                                    Delaware     Unliquidated Claim
493   City of Seaford                                  Delaware     Unliquidated Claim
494   ECI Healthcare Partners, LLC                     Delaware     Unliquidated Claim
495   EDCare Management, Inc.                          Delaware     Unliquidated Claim
496   Kent County                                      Delaware     Unliquidated Claim
497   Sterling Group Physician Services, LLC           Delaware     Unliquidated Claim
498   Sussex County                                    Delaware     Unliquidated Claim
499   City of Jacksonville                              Florida     Unliquidated Claim
500   Lee County                                        Florida     Unliquidated Claim
501   The Schumacher Group of Florida, Inc.             Florida     Unliquidated Claim
502   Bibb County                                      Georgia      Unliquidated Claim
503   County of Douglas                                Georgia      Unliquidated Claim
504   Fannin County                                    Georgia      Unliquidated Claim
505   Schumacher Medical Corporation                   Georgia      Unliquidated Claim
506   City of Anna                                      Illinois    Unliquidated Claim
507   City of Benton                                    Illinois    Unliquidated Claim
508   City of Burbank                                   Illinois    Unliquidated Claim
509   City of Carbondale                                Illinois    Unliquidated Claim
510   City of Countryside                               Illinois    Unliquidated Claim
511   City of Palos Heights                             Illinois    Unliquidated Claim
512   City of Palos Hills                               Illinois    Unliquidated Claim
513   City of Sesser                                    Illinois    Unliquidated Claim
514   Madison County                                    Illinois    Unliquidated Claim
515   St. Clair County                                  Illinois    Unliquidated Claim
516   The Schumacher Group of Illinois, Inc.            Illinois    Unliquidated Claim
517   Township of Lyons                                 Illinois    Unliquidated Claim
518   Village of Bedford Park                           Illinois    Unliquidated Claim
519   Village of Bridgeview                             Illinois    Unliquidated Claim
520   Village of Evergreen Park                         Illinois    Unliquidated Claim
521   Village of Hodgkins                               Illinois    Unliquidated Claim
522   Village of Lyons                                  Illinois    Unliquidated Claim



                                               14
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page512
                                                                 16 of
                                                                    of 835
                                                                       38




      Party                                                   State     Economic Interest
523   Village of Summit                                      Illinois   Unliquidated Claim
524   St. Joseph County                                      Indiana    Unliquidated Claim
525   The Schumacher Group of Indiana, Inc.                  Indiana    Unliquidated Claim
526   Dodge City                                             Kansas     Unliquidated Claim
527   Ford County                                            Kansas     Unliquidated Claim
528   Shawnee County                                         Kansas     Unliquidated Claim
529   City of Benham                                        Kentucky    Unliquidated Claim
530   City of Buckhorn                                      Kentucky    Unliquidated Claim
531   City of Harlan                                        Kentucky    Unliquidated Claim
532   City of Hillview                                      Kentucky    Unliquidated Claim
533   City of Hyden                                         Kentucky    Unliquidated Claim
534   City of London                                        Kentucky    Unliquidated Claim
535   City of Loyall                                        Kentucky    Unliquidated Claim
536   City of Lynch                                         Kentucky    Unliquidated Claim
537   City of Manchester                                    Kentucky    Unliquidated Claim
538   City of Morehead                                      Kentucky    Unliquidated Claim
539   City of Mt. Washington                                Kentucky    Unliquidated Claim
540   City of Pippa Passes                                  Kentucky    Unliquidated Claim
541   City of Shepherdsville                                Kentucky    Unliquidated Claim
542   City of Whitesburg                                    Kentucky    Unliquidated Claim
543   Louisville-Jefferson County Metro Government          Kentucky    Unliquidated Claim
544   The Schumacher Group of Kentucky, Inc.                Kentucky    Unliquidated Claim
545   Warren County                                         Kentucky    Unliquidated Claim
      Acadia-St. Landry Hospital Service District d/b/a
546   Acadia-St. Landry Hospital                            Louisiana   Unliquidated Claim
547   Bobby Guidroz - St. Landry Parish Sheriff             Louisiana   Unliquidated Claim
548   Cameron Parish Hospital and Psychiatric Facility      Louisiana   Unliquidated Claim
549   City of Alexandria                                    Louisiana   Unliquidated Claim
550   City of Bastrop                                       Louisiana   Unliquidated Claim
551   City of Eunice                                        Louisiana   Unliquidated Claim
552   City of Monroe                                        Louisiana   Unliquidated Claim
553   City of Opelousas                                     Louisiana   Unliquidated Claim
554   City of Pineville                                     Louisiana   Unliquidated Claim
555   City of West Monroe                                   Louisiana   Unliquidated Claim
556   Grant Parish                                          Louisiana   Unliquidated Claim
      Hospital Service District No. 1 of the Parish of
      Avoyelles, State of Louisiana, d/b/a Bunkie General
557   Hospital                                              Louisiana   Unliquidated Claim



                                                15
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page513
                                                                 17 of
                                                                    of 835
                                                                       38




      Party                                                     State     Economic Interest
558   Lafayette General Health System, Inc.                   Louisiana   Unliquidated Claim
559   Louis M. Ackal - Iberia Parish Sheriff                  Louisiana   Unliquidated Claim
      Louisiana Hospital Service District No. 1 of the
      Parish of LaSalle, State of Louisiana, d/b/a Hardtner
560   Medical Center                                          Louisiana   Unliquidated Claim
      Opelousas General Hospital Authority, A Louisiana
561   Public Trust d/b/a Opelousas General Health System      Louisiana   Unliquidated Claim
562   R. Chris Nevils - Winn Parish District Attorney         Louisiana   Unliquidated Claim
563   St. Landry Parish                                       Louisiana   Unliquidated Claim
564   Steven McCain - Grant Parish Sheriff                    Louisiana   Unliquidated Claim
565   The Schumacher Group of Louisiana, Inc.                 Louisiana   Unliquidated Claim
566   Town of Delhi                                           Louisiana   Unliquidated Claim
567   Town of Ferriday                                        Louisiana   Unliquidated Claim
568   Town of Lake Providence                                 Louisiana   Unliquidated Claim
569   Town of Richwood                                        Louisiana   Unliquidated Claim
570   Winn Parish                                             Louisiana   Unliquidated Claim
571   Calvert County                                          Maryland    Unliquidated Claim
572   Carroll County                                          Maryland    Unliquidated Claim
573   Charles County                                          Maryland    Unliquidated Claim
574   City of Aberdeen                                        Maryland    Unliquidated Claim
575   City of Cambridge                                       Maryland    Unliquidated Claim
576   City of Charlestown                                     Maryland    Unliquidated Claim
577   City of Havre de Grace                                  Maryland    Unliquidated Claim
578   City of Laurel                                          Maryland    Unliquidated Claim
579   Dorchester County                                       Maryland    Unliquidated Claim
580   Howard County                                           Maryland    Unliquidated Claim
581   Somerset County                                         Maryland    Unliquidated Claim
582   Town of Bel Air                                         Maryland    Unliquidated Claim
583   Town of Berlin                                          Maryland    Unliquidated Claim
584   Town of Cottage City                                    Maryland    Unliquidated Claim
585   Town of Forest Heights                                  Maryland    Unliquidated Claim
586   Town of Grantsville                                     Maryland    Unliquidated Claim
587   Town of Hurlock                                         Maryland    Unliquidated Claim
588   Town of Manchester                                      Maryland    Unliquidated Claim
589   Town of Mountain Lake Park                              Maryland    Unliquidated Claim
590   Town of North Brentwood                                 Maryland    Unliquidated Claim
591   Town of North East                                      Maryland    Unliquidated Claim
592   Town of Oakland                                         Maryland    Unliquidated Claim



                                                 16
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page514
                                                                 18 of
                                                                    of 835
                                                                       38




      Party                                             State        Economic Interest
593   Town of Perryville                              Maryland       Unliquidated Claim
594   Town of Upper Marlboro                          Maryland       Unliquidated Claim
595   Town of Vienna                                  Maryland       Unliquidated Claim
596   Wicomico County                                 Maryland       Unliquidated Claim
597   City of Cambridge                              Massachusetts   Unliquidated Claim
598   City of Chicopee                               Massachusetts   Unliquidated Claim
599   City of Framingham                             Massachusetts   Unliquidated Claim
600   City of Gloucester                             Massachusetts   Unliquidated Claim
601   City of Haverhill                              Massachusetts   Unliquidated Claim
602   City of Salem                                  Massachusetts   Unliquidated Claim
603   City of Springfield                            Massachusetts   Unliquidated Claim
604   City of Worcester                              Massachusetts   Unliquidated Claim
605   Town of Canton                                 Massachusetts   Unliquidated Claim
606   Town of Lynnfield                              Massachusetts   Unliquidated Claim
607   Town of Natick                                 Massachusetts   Unliquidated Claim
608   Town of Randolph                               Massachusetts   Unliquidated Claim
609   Town of Wakefield                              Massachusetts   Unliquidated Claim
610   The Schumacher Group of Michigan, Inc.          Michigan       Unliquidated Claim
611   Big Stone County                                Minnesota      Unliquidated Claim
612   Clay County                                     Minnesota      Unliquidated Claim
613   Otter Tail County                               Minnesota      Unliquidated Claim
614   Wilkin County                                   Minnesota      Unliquidated Claim
615   City of Clarksdale                              Mississippi    Unliquidated Claim
616   City of Grenada                                 Mississippi    Unliquidated Claim
617   City of Holly Springs                           Mississippi    Unliquidated Claim
618   City of Indianola                               Mississippi    Unliquidated Claim
619   Copiah County                                   Mississippi    Unliquidated Claim
620   Granada County                                  Mississippi    Unliquidated Claim
621   Jonestown                                       Mississippi    Unliquidated Claim
      Patients’ Choice Medical Center of Claiborne
622   County, LLC                                     Mississippi    Unliquidated Claim
      Patients’ Choice Medical Center of Humphreys
623   County, LLC                                     Mississippi    Unliquidated Claim
624   The Schumacher Group of Mississippi, Inc.       Mississippi    Unliquidated Claim
625   Adair County                                     Missouri      Unliquidated Claim
626   Andrew County                                    Missouri      Unliquidated Claim
627   Barry County                                     Missouri      Unliquidated Claim
628   Barton County                                    Missouri      Unliquidated Claim



                                              17
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page515
                                                                 19 of
                                                                    of 835
                                                                       38




      Party                                             State       Economic Interest
629   Butler County                                    Missouri     Unliquidated Claim
630   Camden County                                    Missouri     Unliquidated Claim
631   Cape Girardeau County                            Missouri     Unliquidated Claim
632   Christian County                                 Missouri     Unliquidated Claim
633   City of Independence                             Missouri     Unliquidated Claim
634   City of Joplin                                   Missouri     Unliquidated Claim
635   Clinton County                                   Missouri     Unliquidated Claim
636   Crawford County                                  Missouri     Unliquidated Claim
637   Dade County                                      Missouri     Unliquidated Claim
638   De Kalb County                                   Missouri     Unliquidated Claim
639   Dent County                                      Missouri     Unliquidated Claim
640   Dunklin County                                   Missouri     Unliquidated Claim
641   Franklin County                                  Missouri     Unliquidated Claim
642   Greene County                                    Missouri     Unliquidated Claim
643   Grundy County                                    Missouri     Unliquidated Claim
644   Henry County                                     Missouri     Unliquidated Claim
645   Hickory County                                   Missouri     Unliquidated Claim
646   Iron County                                      Missouri     Unliquidated Claim
647   Jasper County                                    Missouri     Unliquidated Claim
648   Jefferson County                                 Missouri     Unliquidated Claim
649   Lawrence County                                  Missouri     Unliquidated Claim
650   Lincoln County                                   Missouri     Unliquidated Claim
651   Madison County                                   Missouri     Unliquidated Claim
652   McDonald County                                  Missouri     Unliquidated Claim
653   New Madrid County                                Missouri     Unliquidated Claim
654   Perry County                                     Missouri     Unliquidated Claim
655   Pike County                                      Missouri     Unliquidated Claim
656   Polk County                                      Missouri     Unliquidated Claim
657   Ralls County                                     Missouri     Unliquidated Claim
658   Ray County                                       Missouri     Unliquidated Claim
659   Saline County                                    Missouri     Unliquidated Claim
660   St. Clair County                                 Missouri     Unliquidated Claim
661   St. Francois County                              Missouri     Unliquidated Claim
662   Ste. Genevieve County                            Missouri     Unliquidated Claim
663   Stone County                                     Missouri     Unliquidated Claim
664   Taney County                                     Missouri     Unliquidated Claim
665   Texas County                                     Missouri     Unliquidated Claim
666   The Schumacher Group of Missouri, Inc.           Missouri     Unliquidated Claim



                                               18
           Case
            Case20-12522-JTD
                 20-12522-JTD Doc
                               Doc2917
                                   337-1 Filed
                                           Filed06/18/21
                                                 10/29/20 Page
                                                           Page516
                                                                20 of
                                                                   of 835
                                                                      38




      Party                                            State       Economic Interest
667   Vernon County                                  Missouri      Unliquidated Claim
668   Washington County                              Missouri      Unliquidated Claim
669   Anaconda-Deer Lodge County                     Montana       Unliquidated Claim
670   Cascade County                                 Montana       Unliquidated Claim
671   City of Great Falls                            Montana       Unliquidated Claim
672   City of Missoula                               Montana       Unliquidated Claim
673   Gallatin County                                Montana       Unliquidated Claim
674   Lake County                                    Montana       Unliquidated Claim
675   The Schumacher Group of Montana, Inc.          Montana       Unliquidated Claim
676   Carson City                                     Nevada       Unliquidated Claim
677   Churchill County                                Nevada       Unliquidated Claim
678   City of Ely                                     Nevada       Unliquidated Claim
679   City of Fernley                                 Nevada       Unliquidated Claim
680   City of Henderson                               Nevada       Unliquidated Claim
681   City of Las Vegas                               Nevada       Unliquidated Claim
682   City of North Las Vegas                         Nevada       Unliquidated Claim
683   City of Reno                                    Nevada       Unliquidated Claim
684   City of Sparks                                  Nevada       Unliquidated Claim
685   City of West Wendover                           Nevada       Unliquidated Claim
686   Clark County                                    Nevada       Unliquidated Claim
687   Douglas County                                  Nevada       Unliquidated Claim
688   Esmeralda County                                Nevada       Unliquidated Claim
689   Humboldt County                                 Nevada       Unliquidated Claim
690   Lincoln County                                  Nevada       Unliquidated Claim
691   Lyon County                                     Nevada       Unliquidated Claim
692   Mineral County                                  Nevada       Unliquidated Claim
693   The Schumacher Group of Nevada, Inc.            Nevada       Unliquidated Claim
694   Washoe County                                   Nevada       Unliquidated Claim
695   White Pine County                               Nevada       Unliquidated Claim
696   City of Paterson                              New Jersey     Unliquidated Claim
697   City of Trenton                               New Jersey     Unliquidated Claim
698   The Schumacher Group of New Jersey, Inc.      New Jersey     Unliquidated Claim
699   City of Albuquerque                           New Mexico     Unliquidated Claim
700   City of Santa Fe                              New Mexico     Unliquidated Claim
701   The Schumacher Group of New Mexico, Inc.      New Mexico     Unliquidated Claim
702   Jefferson County                               New York      Unliquidated Claim
703   Rockland County                                New York      Unliquidated Claim
704   The Schumacher Group of New York, Inc.         New York      Unliquidated Claim



                                            19
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page517
                                                                 21 of
                                                                    of 835
                                                                       38




      Party                                              State        Economic Interest
705   The Schumacher Group of North Carolina, Inc.   North Carolina   Unliquidated Claim
706   Barnes County                                  North Dakota     Unliquidated Claim
707   Benson County                                  North Dakota     Unliquidated Claim
708   Burleigh County                                North Dakota     Unliquidated Claim
709   City of Bismarck                               North Dakota     Unliquidated Claim
710   City of Devils Lake                            North Dakota     Unliquidated Claim
711   City of Lisbon                                 North Dakota     Unliquidated Claim
712   Dickey County                                  North Dakota     Unliquidated Claim
713   Dunn County                                    North Dakota     Unliquidated Claim
714   Eddy County                                    North Dakota     Unliquidated Claim
715   Foster County                                  North Dakota     Unliquidated Claim
716   Grand Forks County                             North Dakota     Unliquidated Claim
717   LaMoure County                                 North Dakota     Unliquidated Claim
718   McKenzie County                                North Dakota     Unliquidated Claim
719   McLean County                                  North Dakota     Unliquidated Claim
720   Mercer County                                  North Dakota     Unliquidated Claim
721   Mountrail County                               North Dakota     Unliquidated Claim
722   Pembina County                                 North Dakota     Unliquidated Claim
723   Pierce County                                  North Dakota     Unliquidated Claim
724   Ramsey County                                  North Dakota     Unliquidated Claim
725   Ransom County                                  North Dakota     Unliquidated Claim
726   Richland County                                North Dakota     Unliquidated Claim
727   Rolette County                                 North Dakota     Unliquidated Claim
728   Sargent County                                 North Dakota     Unliquidated Claim
729   Stark County                                   North Dakota     Unliquidated Claim
730   Towner County                                  North Dakota     Unliquidated Claim
731   Walsh County                                   North Dakota     Unliquidated Claim
732   Ward County                                    North Dakota     Unliquidated Claim
733   Wells County                                   North Dakota     Unliquidated Claim
734   Williams County                                North Dakota     Unliquidated Claim
735   City of Lakewood                                   Ohio         Unliquidated Claim
736   Marietta City                                      Ohio         Unliquidated Claim
737   Meigs County                                       Ohio         Unliquidated Claim
738   Noble County                                       Ohio         Unliquidated Claim
739   The MetroHealth System                             Ohio         Unliquidated Claim
740   The Schumacher Group of Ohio, Inc.                 Ohio         Unliquidated Claim
741   Washington County                                  Ohio         Unliquidated Claim
742   Apache Tribe                                    Oklahoma        Unliquidated Claim



                                              20
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page518
                                                                 22 of
                                                                    of 835
                                                                       38




      Party                                             State       Economic Interest
743   Atoka County                                    Oklahoma      Unliquidated Claim
744   Beckham County                                  Oklahoma      Unliquidated Claim
745   Caddo County                                    Oklahoma      Unliquidated Claim
746   Choctaw County                                  Oklahoma      Unliquidated Claim
747   Cimarron County                                 Oklahoma      Unliquidated Claim
748   Citizen Potawatomi Nation                       Oklahoma      Unliquidated Claim
749   City of Ada                                     Oklahoma      Unliquidated Claim
750   City of Altus                                   Oklahoma      Unliquidated Claim
751   City of Anadarko                                Oklahoma      Unliquidated Claim
752   City of Bethany                                 Oklahoma      Unliquidated Claim
753   City of Broken Arrow                            Oklahoma      Unliquidated Claim
754   City of Collinsville                            Oklahoma      Unliquidated Claim
755   City of Edmond                                  Oklahoma      Unliquidated Claim
756   City of El Reno                                 Oklahoma      Unliquidated Claim
757   City of Elk City                                Oklahoma      Unliquidated Claim
758   City of Enid                                    Oklahoma      Unliquidated Claim
759   City of Guthrie                                 Oklahoma      Unliquidated Claim
760   City of Jenks                                   Oklahoma      Unliquidated Claim
761   City of Lawton                                  Oklahoma      Unliquidated Claim
762   City of Midwest City                            Oklahoma      Unliquidated Claim
763   City of Muskogee                                Oklahoma      Unliquidated Claim
764   City of Mustang                                 Oklahoma      Unliquidated Claim
765   City of Owasso                                  Oklahoma      Unliquidated Claim
766   City of Ponca City                              Oklahoma      Unliquidated Claim
767   City of Seminole                                Oklahoma      Unliquidated Claim
768   City of Shawnee                                 Oklahoma      Unliquidated Claim
769   City of Stillwater                              Oklahoma      Unliquidated Claim
770   City of Tulsa                                   Oklahoma      Unliquidated Claim
771   City of Yukon                                   Oklahoma      Unliquidated Claim
772   Cleveland County                                Oklahoma      Unliquidated Claim
773   Coal County                                     Oklahoma      Unliquidated Claim
774   Comanche County                                 Oklahoma      Unliquidated Claim
      Confederated Tribes and Bands of the Yakama
775   Nation                                          Oklahoma      Unliquidated Claim
776   Custer County                                   Oklahoma      Unliquidated Claim
777   Delaware Nation                                 Oklahoma      Unliquidated Claim
778   Dewey County                                    Oklahoma      Unliquidated Claim
779   Grady County                                    Oklahoma      Unliquidated Claim
780   Greer County                                    Oklahoma      Unliquidated Claim


                                             21
           Case
            Case20-12522-JTD
                 20-12522-JTD Doc
                               Doc2917
                                   337-1 Filed
                                           Filed06/18/21
                                                 10/29/20 Page
                                                           Page519
                                                                23 of
                                                                   of 835
                                                                      38




      Party                                            State       Economic Interest
781   Harmon County                                  Oklahoma      Unliquidated Claim
782   Harper County                                  Oklahoma      Unliquidated Claim
783   Haskell County                                 Oklahoma      Unliquidated Claim
784   Hughes County                                  Oklahoma      Unliquidated Claim
785   Jackson County                                 Oklahoma      Unliquidated Claim
786   Jefferson County                               Oklahoma      Unliquidated Claim
787   Johnston County                                Oklahoma      Unliquidated Claim
788   Kay County                                     Oklahoma      Unliquidated Claim
789   Kiowa County                                   Oklahoma      Unliquidated Claim
790   Latimer County                                 Oklahoma      Unliquidated Claim
791   Le Flore County                                Oklahoma      Unliquidated Claim
792   Lincoln County                                 Oklahoma      Unliquidated Claim
793   Logan County                                   Oklahoma      Unliquidated Claim
794   Love County                                    Oklahoma      Unliquidated Claim
795   Major County                                   Oklahoma      Unliquidated Claim
796   McCurtain County                               Oklahoma      Unliquidated Claim
797   Muskogee County                                Oklahoma      Unliquidated Claim
798   Noble County                                   Oklahoma      Unliquidated Claim
799   Okfuskee County                                Oklahoma      Unliquidated Claim
800   Oklahoma City                                  Oklahoma      Unliquidated Claim
801   Oklahoma County                                Oklahoma      Unliquidated Claim
802   Pawnee Nation of Oklahoma                      Oklahoma      Unliquidated Claim
803   Payne County                                   Oklahoma      Unliquidated Claim
804   Pittsburg County                               Oklahoma      Unliquidated Claim
805   Ponca Tribe of Indians of Oklahoma             Oklahoma      Unliquidated Claim
806   Pottawatomie County                            Oklahoma      Unliquidated Claim
807   Roger Mills County                             Oklahoma      Unliquidated Claim
808   Sac and Fox Nation                             Oklahoma      Unliquidated Claim
809   Seminole County                                Oklahoma      Unliquidated Claim
810   Stephens County                                Oklahoma      Unliquidated Claim
811   Texas County                                   Oklahoma      Unliquidated Claim
812   The Osage Nation                               Oklahoma      Unliquidated Claim
813   The Schumacher Group of Oklahoma, Inc.         Oklahoma      Unliquidated Claim
814   The Thlopthlocco Tribal Town                   Oklahoma      Unliquidated Claim
815   Tillman County                                 Oklahoma      Unliquidated Claim
816   Woods County                                   Oklahoma      Unliquidated Claim
817   Woodward County                                Oklahoma      Unliquidated Claim
818   Adams County                                  Pennsylvania   Unliquidated Claim



                                               22
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page520
                                                                 24 of
                                                                    of 835
                                                                       38




      Party                                              State       Economic Interest
819   Armstrong County                               Pennsylvania    Unliquidated Claim
820   Beaver County                                  Pennsylvania    Unliquidated Claim
821   Bedford County                                 Pennsylvania    Unliquidated Claim
822   Bensalem Township                              Pennsylvania    Unliquidated Claim
823   Bradford County                                Pennsylvania    Unliquidated Claim
824   Bucks County                                   Pennsylvania    Unliquidated Claim
825   Cambria County                                 Pennsylvania    Unliquidated Claim
826   Carbon County                                  Pennsylvania    Unliquidated Claim
827   City of Lock Haven                             Pennsylvania    Unliquidated Claim
828   Clarion County                                 Pennsylvania    Unliquidated Claim
829   Clinton County                                 Pennsylvania    Unliquidated Claim
830   Fayette County                                 Pennsylvania    Unliquidated Claim
831   Franklin County                                Pennsylvania    Unliquidated Claim
832   Greene County                                  Pennsylvania    Unliquidated Claim
833   Huntingdon County                              Pennsylvania    Unliquidated Claim
834   Lackawanna County                              Pennsylvania    Unliquidated Claim
835   Lawrence County                                Pennsylvania    Unliquidated Claim
836   Lower Makefield Township                       Pennsylvania    Unliquidated Claim
837   Mercer County                                  Pennsylvania    Unliquidated Claim
838   Monroe County                                  Pennsylvania    Unliquidated Claim
839   Newton Township                                Pennsylvania    Unliquidated Claim
840   Norristown Borough                             Pennsylvania    Unliquidated Claim
841   Sheet Metal Workers Local 19                   Pennsylvania    Unliquidated Claim
842   The Schumacher Group of Pennsylvania, Inc.     Pennsylvania    Unliquidated Claim
843   Warminster Township                            Pennsylvania    Unliquidated Claim
844   Warrington Township                            Pennsylvania    Unliquidated Claim
845   Washington County                              Pennsylvania    Unliquidated Claim
846   West Norriton County                           Pennsylvania    Unliquidated Claim
847   Westmoreland County                            Pennsylvania    Unliquidated Claim
848   Municipality of Canóvanas                       Puerto Rico    Unliquidated Claim
849   Municipality of Juncos                          Puerto Rico    Unliquidated Claim
850   Municipality of Rio Grande                      Puerto Rico    Unliquidated Claim
851   Municipality of Vega Alta                       Puerto Rico    Unliquidated Claim
852   Municipality of Yabucoa                         Puerto Rico    Unliquidated Claim
853   Abbeville County                              South Carolina   Unliquidated Claim
854   Aiken County                                  South Carolina   Unliquidated Claim
855   Allendale County                              South Carolina   Unliquidated Claim
856   Anderson County                               South Carolina   Unliquidated Claim



                                             23
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page521
                                                                 25 of
                                                                    of 835
                                                                       38




      Party                                                 State        Economic Interest
857   Bamberg County                                    South Carolina   Unliquidated Claim
858   Barnwell County                                   South Carolina   Unliquidated Claim
859   Beaufort County                                   South Carolina   Unliquidated Claim
860   Calhoun County                                    South Carolina   Unliquidated Claim
861   Cherokee County                                   South Carolina   Unliquidated Claim
862   Chester County                                    South Carolina   Unliquidated Claim
863   Chesterfield County                               South Carolina   Unliquidated Claim
864   City of Myrtle Beach                              South Carolina   Unliquidated Claim
865   Clarendon County                                  South Carolina   Unliquidated Claim
866   Colleton County                                   South Carolina   Unliquidated Claim
867   Dillon County                                     South Carolina   Unliquidated Claim
868   Dorchester County                                 South Carolina   Unliquidated Claim
869   Edgefield County                                  South Carolina   Unliquidated Claim
870   Fairfield County                                  South Carolina   Unliquidated Claim
871   Florence County                                   South Carolina   Unliquidated Claim
872   Greenville County                                 South Carolina   Unliquidated Claim
873   Greenwood County                                  South Carolina   Unliquidated Claim
874   Hampton County                                    South Carolina   Unliquidated Claim
875   Horry County                                      South Carolina   Unliquidated Claim
876   Jasper County                                     South Carolina   Unliquidated Claim
877   Kershaw County                                    South Carolina   Unliquidated Claim
      Kershaw County Hospital Board a/k/a Kershaw
      Health d/b/a Health Service District of Kershaw
878   County                                            South Carolina   Unliquidated Claim
879   Lancaster County                                  South Carolina   Unliquidated Claim
880   Laurens County                                    South Carolina   Unliquidated Claim
881   Lee County                                        South Carolina   Unliquidated Claim
882   Lexington County                                  South Carolina   Unliquidated Claim
883   Marion County                                     South Carolina   Unliquidated Claim
884   Marlboro County                                   South Carolina   Unliquidated Claim
885   McCormick County                                  South Carolina   Unliquidated Claim
886   Newberry County                                   South Carolina   Unliquidated Claim
887   Oconee County                                     South Carolina   Unliquidated Claim
888   Orangeburg County                                 South Carolina   Unliquidated Claim
889   Pickens County                                    South Carolina   Unliquidated Claim
890   Saluda County                                     South Carolina   Unliquidated Claim
891   Spartanburg County                                South Carolina   Unliquidated Claim
892   Sumter County                                     South Carolina   Unliquidated Claim
893   The Schumacher Group of South Carolina, Inc.      South Carolina   Unliquidated Claim


                                                24
             Case
              Case20-12522-JTD
                   20-12522-JTD Doc
                                 Doc2917
                                     337-1 Filed
                                             Filed06/18/21
                                                   10/29/20 Page
                                                             Page522
                                                                  26 of
                                                                     of 835
                                                                        38




      Party                                                                  State              Economic Interest
894   Union County                                                       South Carolina         Unliquidated Claim
895   Williamsburg County                                                South Carolina         Unliquidated Claim
896   York County                                                        South Carolina         Unliquidated Claim
897   Anderson County *                                                    Tennessee            Unliquidated Claim
898   Bedford County*                                                      Tennessee            Unliquidated Claim
899   Bledsoe County*                                                      Tennessee            Unliquidated Claim
900   Bradley County*                                                      Tennessee            Unliquidated Claim
901   Campbell County*                                                     Tennessee            Unliquidated Claim
902   Cannon County*                                                       Tennessee            Unliquidated Claim
903   Carter County*                                                       Tennessee            Unliquidated Claim
904   City of Algood*                                                      Tennessee            Unliquidated Claim
905   City of Allardt*                                                     Tennessee            Unliquidated Claim
906   City of Ardmore*                                                     Tennessee            Unliquidated Claim
907   City of Athens*                                                      Tennessee            Unliquidated Claim
908   City of Baneberry*                                                   Tennessee            Unliquidated Claim
909   City of Bean Station*                                                Tennessee            Unliquidated Claim
910   City of Bluff*                                                       Tennessee            Unliquidated Claim
911   City of Bristol*                                                     Tennessee            Unliquidated Claim
912   City of Celine*                                                      Tennessee            Unliquidated Claim
913   City of Charleston*                                                  Tennessee            Unliquidated Claim
914   City of Church Hill*                                                 Tennessee            Unliquidated Claim
915   City of Cleveland*                                                   Tennessee            Unliquidated Claim
916   City of Clifton*                                                     Tennessee            Unliquidated Claim
917   City of Clinton*                                                     Tennessee            Unliquidated Claim
918   City of Coalmont*                                                    Tennessee            Unliquidated Claim
919   City of Collinwood*                                                  Tennessee            Unliquidated Claim
920   City of Columbia*                                                    Tennessee            Unliquidated Claim
921   City of Cookeville*                                                  Tennessee            Unliquidated Claim
922   City of Copperhill*                                                  Tennessee            Unliquidated Claim
923   City of Cowan*                                                       Tennessee            Unliquidated Claim
924   City of Crab Orchard*                                                Tennessee            Unliquidated Claim
925   City of Crossville*                                                  Tennessee            Unliquidated Claim
926   City of Dayton*                                                      Tennessee            Unliquidated Claim
927   City of Decherd*                                                     Tennessee            Unliquidated Claim



 *
     The Tennessee officials and municipalities included in this disclosure participate with the MSGE Group only
 with respect to their claims against the Debtors arising under the Tennessee Drug Dealer Liability Act, Tenn. Code
 Ann. Sec. 9-38-101 et seq., and no other causes of action.


                                                         25
              Case
               Case20-12522-JTD
                    20-12522-JTD Doc
                                  Doc2917
                                      337-1 Filed
                                              Filed06/18/21
                                                    10/29/20 Page
                                                              Page523
                                                                   27 of
                                                                      of 835
                                                                         38




      Party                                                                   State              Economic Interest
928   City of Ducktown *                                                    Tennessee            Unliquidated Claim
929   City of Dunlap*                                                       Tennessee            Unliquidated Claim
930   City of Eagleville*                                                   Tennessee            Unliquidated Claim
931   City of Elizabethton*                                                 Tennessee            Unliquidated Claim
932   City of Elkton*                                                       Tennessee            Unliquidated Claim
933   City of Etowah*                                                       Tennessee            Unliquidated Claim
934   City of Fayettville*                                                  Tennessee            Unliquidated Claim
935   City of Gatlinburg*                                                   Tennessee            Unliquidated Claim
936   City of Greenback*                                                    Tennessee            Unliquidated Claim
937   City of Gruetli-Laager*                                               Tennessee            Unliquidated Claim
938   City of Harriman*                                                     Tennessee            Unliquidated Claim
939   City of Harrogate*                                                    Tennessee            Unliquidated Claim
940   City of Iron City*                                                    Tennessee            Unliquidated Claim
941   City of Jamestown*                                                    Tennessee            Unliquidated Claim
942   City of Jefferson City*                                               Tennessee            Unliquidated Claim
943   City of Jellico*                                                      Tennessee            Unliquidated Claim
944   City of Johnson City*                                                 Tennessee            Unliquidated Claim
945   City of Kingsport*                                                    Tennessee            Unliquidated Claim
946   City of Kingston*                                                     Tennessee            Unliquidated Claim
947   City of Knoxville*                                                    Tennessee            Unliquidated Claim
948   City of La Vergne*                                                    Tennessee            Unliquidated Claim
949   City of LaFollette*                                                   Tennessee            Unliquidated Claim
950   City of Lawrenceburg*                                                 Tennessee            Unliquidated Claim
951   City of Lenoir City*                                                  Tennessee            Unliquidated Claim
952   City of Lewisburg*                                                    Tennessee            Unliquidated Claim
953   City of Loretto*                                                      Tennessee            Unliquidated Claim
954   City of Luttrell*                                                     Tennessee            Unliquidated Claim
955   City of Lynchburg*                                                    Tennessee            Unliquidated Claim
956   City of Madisonville*                                                 Tennessee            Unliquidated Claim
957   City of Maynardville*                                                 Tennessee            Unliquidated Claim
958   City of McMinnville*                                                  Tennessee            Unliquidated Claim
959   City of Minor Hill*                                                   Tennessee            Unliquidated Claim
960   City of Morristown*                                                   Tennessee            Unliquidated Claim
961   City of Mount Pleasant*                                               Tennessee            Unliquidated Claim
962   City of Mountain City*                                                Tennessee            Unliquidated Claim


 *
          The Tennessee officials and municipalities included in this disclosure participate with the MSGE Group
 only with respect to their claims against the Debtors arising under the Tennessee Drug Dealer Liability Act, Tenn.
 Code Ann. Sec. 9-38-101 et seq., and no other causes of action.


                                                         26
              Case
               Case20-12522-JTD
                    20-12522-JTD Doc
                                  Doc2917
                                      337-1 Filed
                                              Filed06/18/21
                                                    10/29/20 Page
                                                              Page524
                                                                   28 of
                                                                      of 835
                                                                         38




      Party                                                                   State              Economic Interest
963   City of Murfreesboro *                                                Tennessee            Unliquidated Claim
964   City of New Hope*                                                     Tennessee            Unliquidated Claim
965   City of Newport*                                                      Tennessee            Unliquidated Claim
966   City of Niota*                                                        Tennessee            Unliquidated Claim
967   City of Norris*                                                       Tennessee            Unliquidated Claim
968   City of Oak Ridge*                                                    Tennessee            Unliquidated Claim
969   City of Philadelphia*                                                 Tennessee            Unliquidated Claim
970   City of Pigeon Forge*                                                 Tennessee            Unliquidated Claim
971   City of Pikeville*                                                    Tennessee            Unliquidated Claim
972   City of Plainview*                                                    Tennessee            Unliquidated Claim
973   City of Pulaski*                                                      Tennessee            Unliquidated Claim
974   City of Rockwood*                                                     Tennessee            Unliquidated Claim
975   City of Rocky Top*                                                    Tennessee            Unliquidated Claim
976   City of Sevierville*                                                  Tennessee            Unliquidated Claim
977   City of Shelbyville*                                                  Tennessee            Unliquidated Claim
978   City of Smithville*                                                   Tennessee            Unliquidated Claim
979   City of South Pittsburg*                                              Tennessee            Unliquidated Claim
980   City of Sparta*                                                       Tennessee            Unliquidated Claim
981   City of Spring Hill*                                                  Tennessee            Unliquidated Claim
982   City of St. Joseph*                                                   Tennessee            Unliquidated Claim
983   City of Sunbright*                                                    Tennessee            Unliquidated Claim
984   City of Sweetwater*                                                   Tennessee            Unliquidated Claim
985   City of Tullahoma*                                                    Tennessee            Unliquidated Claim
986   City of Tusculum*                                                     Tennessee            Unliquidated Claim
987   City of Wartburg*                                                     Tennessee            Unliquidated Claim
988   City of Watauga*                                                      Tennessee            Unliquidated Claim
989   City of Waynesboro*                                                   Tennessee            Unliquidated Claim
990   City of Whitwell*                                                     Tennessee            Unliquidated Claim
991   City of Winchester*                                                   Tennessee            Unliquidated Claim
992   Clay County*                                                          Tennessee            Unliquidated Claim
993   Cocke County*                                                         Tennessee            Unliquidated Claim
994   County of Clairborne*                                                 Tennessee            Unliquidated Claim
995   Cumberland County*                                                    Tennessee            Unliquidated Claim
996   Dekalb County*                                                        Tennessee            Unliquidated Claim



 *
          The Tennessee officials and municipalities included in this disclosure participate with the MSGE Group
 only with respect to their claims against the Debtors arising under the Tennessee Drug Dealer Liability Act, Tenn.
 Code Ann. Sec. 9-38-101 et seq., and no other causes of action.


                                                         27
               Case
                Case20-12522-JTD
                     20-12522-JTD Doc
                                   Doc2917
                                       337-1 Filed
                                               Filed06/18/21
                                                     10/29/20 Page
                                                               Page525
                                                                    29 of
                                                                       of 835
                                                                          38




       Party                                                                    State             Economic Interest
       District Attorney General Barry Staubus for the 2d
997    Judicial District *                                                   Tennessee            Unliquidated Claim
       District Attorney General Brent A. Cooper for the
998    22d Judicial District*                                                Tennessee            Unliquidated Claim
       District Attorney General Bryant C. Dunaway for
999    the 13th Judicial District*                                           Tennessee            Unliquidated Claim
       District Attorney General Charme Allen for the 6th
1000   Judicial District*                                                    Tennessee            Unliquidated Claim
       District Attorney General Dan Armstrong for the 3d
1001   Judicial District*                                                    Tennessee            Unliquidated Claim
       District Attorney General Dave Clark for the 7th
1002   Judicial District*                                                    Tennessee            Unliquidated Claim
       District Attorney General Jared Effler for the 8th
1003   Judicial District*                                                    Tennessee            Unliquidated Claim
       District Attorney General Jennings H. Jones for the
1004   16th Judicial District*                                               Tennessee            Unliquidated Claim
       District Attorney General Jimmy Dunn for the 4th
1005   Judicial District*                                                    Tennessee            Unliquidated Claim
       District Attorney General Lisa S. Zavogiannis for
1006   the 31st Judicial District*                                           Tennessee            Unliquidated Claim
       District Attorney General Mike Taylor for the 12th
1007   Judicial District*                                                    Tennessee            Unliquidated Claim
       District Attorney General Robert J. Carter for the
1008   17th Judicial District*                                               Tennessee            Unliquidated Claim
       District Attorney General Russell Johnson for the
1009   9th Judicial District*                                                Tennessee            Unliquidated Claim
       District Attorney General Stephen Crump for the
1010   10th Judicial District*                                               Tennessee            Unliquidated Claim
       District Attorney General Tony Clark for the 1st
1011   Judicial District*                                                    Tennessee            Unliquidated Claim
1012   Fentress County*                                                      Tennessee            Unliquidated Claim
1013   Franklin County*                                                      Tennessee            Unliquidated Claim
1014   Giles County*                                                         Tennessee            Unliquidated Claim
1015   Grainger County*                                                      Tennessee            Unliquidated Claim
1016   Greene County*                                                        Tennessee            Unliquidated Claim
1017   Grundy County*                                                        Tennessee            Unliquidated Claim

  *
           The Tennessee officials and municipalities included in this disclosure participate with the MSGE Group
  only with respect to their claims against the Debtors arising under the Tennessee Drug Dealer Liability Act, Tenn.
  Code Ann. Sec. 9-38-101 et seq., and no other causes of action.


                                                          28
               Case
                Case20-12522-JTD
                     20-12522-JTD Doc
                                   Doc2917
                                       337-1 Filed
                                               Filed06/18/21
                                                     10/29/20 Page
                                                               Page526
                                                                    30 of
                                                                       of 835
                                                                          38




       Party                                                                   State              Economic Interest
1018   Hamblen County *                                                      Tennessee            Unliquidated Claim
1019   Hancock County*                                                       Tennessee            Unliquidated Claim
1020   Hawking County*                                                       Tennessee            Unliquidated Claim
1021   Hawkins County*                                                       Tennessee            Unliquidated Claim
1022   Jefferson County*                                                     Tennessee            Unliquidated Claim
1023   Johnson County*                                                       Tennessee            Unliquidated Claim
1024   Knox County*                                                          Tennessee            Unliquidated Claim
1025   Laurence County*                                                      Tennessee            Unliquidated Claim
1026   Lincoln County*                                                       Tennessee            Unliquidated Claim
1027   Loudon County*                                                        Tennessee            Unliquidated Claim
1028   Marion County*                                                        Tennessee            Unliquidated Claim
1029   Marshall County*                                                      Tennessee            Unliquidated Claim
1030   Maury County*                                                         Tennessee            Unliquidated Claim
1031   McMinn County*                                                        Tennessee            Unliquidated Claim
1032   Meigs County*                                                         Tennessee            Unliquidated Claim
1033   Monroe County*                                                        Tennessee            Unliquidated Claim
1034   Moore County*                                                         Tennessee            Unliquidated Claim
1035   Morgan County*                                                        Tennessee            Unliquidated Claim
1036   Overton County*                                                       Tennessee            Unliquidated Claim
1037   Patients’ Choice Medical Center of Erin, TN                           Tennessee            Unliquidated Claim
1038   Picket County*                                                        Tennessee            Unliquidated Claim
1039   Polk County*                                                          Tennessee            Unliquidated Claim
1040   Putnam County*                                                        Tennessee            Unliquidated Claim
1041   Rhea County*                                                          Tennessee            Unliquidated Claim
1042   Roane County*                                                         Tennessee            Unliquidated Claim
1043   Rutherford County*                                                    Tennessee            Unliquidated Claim
1044   Scott County*                                                         Tennessee            Unliquidated Claim
1045   Sequatchie County*                                                    Tennessee            Unliquidated Claim
1046   Sevier County*                                                        Tennessee            Unliquidated Claim
1047   Sullivan County*                                                      Tennessee            Unliquidated Claim
1048   The Schumacher Group of Tennessee, Inc.                               Tennessee            Unliquidated Claim
1049   Town of Alexandria*                                                   Tennessee            Unliquidated Claim
1050   Town of Altamont*                                                     Tennessee            Unliquidated Claim
1051   Town of Auburntown*                                                   Tennessee            Unliquidated Claim
1052   Town of Baileyton*                                                    Tennessee            Unliquidated Claim


  *
           The Tennessee officials and municipalities included in this disclosure participate with the MSGE Group
  only with respect to their claims against the Debtors arising under the Tennessee Drug Dealer Liability Act, Tenn.
  Code Ann. Sec. 9-38-101 et seq., and no other causes of action.


                                                          29
               Case
                Case20-12522-JTD
                     20-12522-JTD Doc
                                   Doc2917
                                       337-1 Filed
                                               Filed06/18/21
                                                     10/29/20 Page
                                                               Page527
                                                                    31 of
                                                                       of 835
                                                                          38




       Party                                                                   State              Economic Interest
1053   Town of Baxter *                                                      Tennessee            Unliquidated Claim
1054   Town of Beersheba Springs*                                            Tennessee            Unliquidated Claim
1055   Town of Bell Buckle*                                                  Tennessee            Unliquidated Claim
1056   Town of Benton*                                                       Tennessee            Unliquidated Claim
1057   Town of Blaine*                                                       Tennessee            Unliquidated Claim
1058   Town of Bulls Gap*                                                    Tennessee            Unliquidated Claim
1059   Town of Byrdstown*                                                    Tennessee            Unliquidated Claim
1060   Town of Calhoun*                                                      Tennessee            Unliquidated Claim
1061   Town of Caryville*                                                    Tennessee            Unliquidated Claim
1062   Town of Centertown*                                                   Tennessee            Unliquidated Claim
1063   Town of Chapel Hill*                                                  Tennessee            Unliquidated Claim
1064   Town of Cornersville*                                                 Tennessee            Unliquidated Claim
1065   Town of Cumberland Gap*                                               Tennessee            Unliquidated Claim
1066   Town of Dandrige*                                                     Tennessee            Unliquidated Claim
1067   Town of Decatur*                                                      Tennessee            Unliquidated Claim
1068   Town of Dowelltown*                                                   Tennessee            Unliquidated Claim
1069   Town of Doyle*                                                        Tennessee            Unliquidated Claim
1070   Town of Englewood*                                                    Tennessee            Unliquidated Claim
1071   Town of Erwin*                                                        Tennessee            Unliquidated Claim
1072   Town of Estill Springs*                                               Tennessee            Unliquidated Claim
1073   Town of Ethridge*                                                     Tennessee            Unliquidated Claim
1074   Town of Farragut*                                                     Tennessee            Unliquidated Claim
1075   Town of Graysville*                                                   Tennessee            Unliquidated Claim
1076   Town of Greenville*                                                   Tennessee            Unliquidated Claim
1077   Town of Huntland*                                                     Tennessee            Unliquidated Claim
1078   Town of Huntsville*                                                   Tennessee            Unliquidated Claim
1079   Town of Jacksboro*                                                    Tennessee            Unliquidated Claim
1080   Town of Jasper*                                                       Tennessee            Unliquidated Claim
1081   Town of Jonesborough*                                                 Tennessee            Unliquidated Claim
1082   Town of Kimball*                                                      Tennessee            Unliquidated Claim
1083   Town of Liberty*                                                      Tennessee            Unliquidated Claim
1084   Town of Livingston*                                                   Tennessee            Unliquidated Claim
1085   Town of Loudon*                                                       Tennessee            Unliquidated Claim
1086   Town of Lynnville*                                                    Tennessee            Unliquidated Claim
1087   Town of Monteagle*                                                    Tennessee            Unliquidated Claim


  *
           The Tennessee officials and municipalities included in this disclosure participate with the MSGE Group
  only with respect to their claims against the Debtors arising under the Tennessee Drug Dealer Liability Act, Tenn.
  Code Ann. Sec. 9-38-101 et seq., and no other causes of action.


                                                          30
               Case
                Case20-12522-JTD
                     20-12522-JTD Doc
                                   Doc2917
                                       337-1 Filed
                                               Filed06/18/21
                                                     10/29/20 Page
                                                               Page528
                                                                    32 of
                                                                       of 835
                                                                          38




       Party                                                                   State              Economic Interest
1088   Town of Monterey *                                                    Tennessee            Unliquidated Claim
1089   Town of Morrison*                                                     Tennessee            Unliquidated Claim
1090   Town of Mosheim*                                                      Tennessee            Unliquidated Claim
1091   Town of Mount Carmel*                                                 Tennessee            Unliquidated Claim
1092   Town of New Market*                                                   Tennessee            Unliquidated Claim
1093   Town of New Tazewell*                                                 Tennessee            Unliquidated Claim
1094   Town of Normandy*                                                     Tennessee            Unliquidated Claim
1095   Town of Oakdale*                                                      Tennessee            Unliquidated Claim
1096   Town of Oliver Springs*                                               Tennessee            Unliquidated Claim
1097   Town of Oneida*                                                       Tennessee            Unliquidated Claim
1098   Town of Orme*                                                         Tennessee            Unliquidated Claim
1099   Town of Palmer*                                                       Tennessee            Unliquidated Claim
1100   Town of Parrottsville*                                                Tennessee            Unliquidated Claim
1101   Town of Petersburg*                                                   Tennessee            Unliquidated Claim
1102   Town of Pittman Center*                                               Tennessee            Unliquidated Claim
1103   Town of Pleasant Hill*                                                Tennessee            Unliquidated Claim
1104   Town of Powells Crossroads*                                           Tennessee            Unliquidated Claim
1105   Town of Rogersville*                                                  Tennessee            Unliquidated Claim
1106   Town of Rutlege*                                                      Tennessee            Unliquidated Claim
1107   Town of Smyrna*                                                       Tennessee            Unliquidated Claim
1108   Town of Sneedville*                                                   Tennessee            Unliquidated Claim
1109   Town of Spencer*                                                      Tennessee            Unliquidated Claim
1110   Town of Spring City*                                                  Tennessee            Unliquidated Claim
1111   Town of Surgoinsville*                                                Tennessee            Unliquidated Claim
1112   Town of Tazewell*                                                     Tennessee            Unliquidated Claim
1113   Town of Tellico Plains*                                               Tennessee            Unliquidated Claim
1114   Town of Tracy City*                                                   Tennessee            Unliquidated Claim
1115   Town of Unicoi*                                                       Tennessee            Unliquidated Claim
1116   Town of Viola*                                                        Tennessee            Unliquidated Claim
1117   Town of Vonroe*                                                       Tennessee            Unliquidated Claim
1118   Town of Wartrace*                                                     Tennessee            Unliquidated Claim
1119   Town of White Pine*                                                   Tennessee            Unliquidated Claim
1120   Town of Winfield*                                                     Tennessee            Unliquidated Claim
1121   Town of Woodbury*                                                     Tennessee            Unliquidated Claim
1122   Unicoi County*                                                        Tennessee            Unliquidated Claim


  *
           The Tennessee officials and municipalities included in this disclosure participate with the MSGE Group
  only with respect to their claims against the Debtors arising under the Tennessee Drug Dealer Liability Act, Tenn.
  Code Ann. Sec. 9-38-101 et seq., and no other causes of action.


                                                          31
               Case
                Case20-12522-JTD
                     20-12522-JTD Doc
                                   Doc2917
                                       337-1 Filed
                                               Filed06/18/21
                                                     10/29/20 Page
                                                               Page529
                                                                    33 of
                                                                       of 835
                                                                          38




       Party                                                                   State              Economic Interest
1123   Union County *                                                        Tennessee            Unliquidated Claim
1124   Van Buren County*                                                     Tennessee            Unliquidated Claim
1125   Warren County*                                                        Tennessee            Unliquidated Claim
1126   Washington County*                                                    Tennessee            Unliquidated Claim
1127   Wayne County*                                                         Tennessee            Unliquidated Claim
1128   White County*                                                         Tennessee            Unliquidated Claim
1129   Alief Independent School District                                       Texas              Unliquidated Claim
1130   Angelina County                                                         Texas              Unliquidated Claim
1131   Bailey County                                                           Texas              Unliquidated Claim
1132   Bee County                                                              Texas              Unliquidated Claim
1133   Bexar County                                                            Texas              Unliquidated Claim
1134   Bexar County Hospital District d/b/a UHS                                Texas              Unliquidated Claim
1135   Bibb County School District                                             Texas              Unliquidated Claim
1136   Blanco County                                                           Texas              Unliquidated Claim
1137   Bowie County                                                            Texas              Unliquidated Claim
1138   Brazos County                                                           Texas              Unliquidated Claim
1139   Burleson County                                                         Texas              Unliquidated Claim
1140   Burleson County Hospital District                                       Texas              Unliquidated Claim
1141   Burnet County                                                           Texas              Unliquidated Claim
1142   Cameron County                                                          Texas              Unliquidated Claim
1143   Camp County                                                             Texas              Unliquidated Claim
1144   Cass County                                                             Texas              Unliquidated Claim
1145   Castro County                                                           Texas              Unliquidated Claim
1146   Chambers County                                                         Texas              Unliquidated Claim
1147   Cherokee County                                                         Texas              Unliquidated Claim
1148   City of Houston                                                         Texas              Unliquidated Claim
1149   Colorado County                                                         Texas              Unliquidated Claim
1150   Cooke County                                                            Texas              Unliquidated Claim
1151   Coryell County                                                          Texas              Unliquidated Claim
1152   Dallas Community College District                                       Texas              Unliquidated Claim
1153   Dallas County                                                           Texas              Unliquidated Claim
1154   Dallas Independent School District                                      Texas              Unliquidated Claim
1155   Delta County                                                            Texas              Unliquidated Claim
1156   Dimmit County                                                           Texas              Unliquidated Claim
1157   Downey Unified School District                                          Texas              Unliquidated Claim


  *
           The Tennessee officials and municipalities included in this disclosure participate with the MSGE Group
  only with respect to their claims against the Debtors arising under the Tennessee Drug Dealer Liability Act, Tenn.
  Code Ann. Sec. 9-38-101 et seq., and no other causes of action.


                                                          32
             Case
              Case20-12522-JTD
                   20-12522-JTD Doc
                                 Doc2917
                                     337-1 Filed
                                             Filed06/18/21
                                                   10/29/20 Page
                                                             Page530
                                                                  34 of
                                                                     of 835
                                                                        38




       Party                                             State       Economic Interest
1158   Duval County                                      Texas       Unliquidated Claim
1159   Ector County                                      Texas       Unliquidated Claim
1160   El Paso County                                    Texas       Unliquidated Claim
1161   Elk Grove Independent School District             Texas       Unliquidated Claim
1162   Ellis County                                      Texas       Unliquidated Claim
1163   Falls County                                      Texas       Unliquidated Claim
1164   Fannin County                                     Texas       Unliquidated Claim
1165   Fort Bend County                                  Texas       Unliquidated Claim
1166   Franklin County                                   Texas       Unliquidated Claim
1167   Freestone County                                  Texas       Unliquidated Claim
1168   Galveston County                                  Texas       Unliquidated Claim
1169   Garland Independent School District               Texas       Unliquidated Claim
1170   Grayson County                                    Texas       Unliquidated Claim
1171   Hardin County                                     Texas       Unliquidated Claim
1172   Harris County                                     Texas       Unliquidated Claim
1173   Harris Health System                              Texas       Unliquidated Claim
1174   Harrison County                                   Texas       Unliquidated Claim
1175   Henderson County                                  Texas       Unliquidated Claim
1176   Hidalgo County                                    Texas       Unliquidated Claim
1177   Hopkins County                                    Texas       Unliquidated Claim
1178   Houston County                                    Texas       Unliquidated Claim
1179   Houston Independent School District               Texas       Unliquidated Claim
1180   Irving Independent School District                Texas       Unliquidated Claim
1181   Jasper County                                     Texas       Unliquidated Claim
1182   Jefferson County                                  Texas       Unliquidated Claim
1183   Jim Hogg County                                   Texas       Unliquidated Claim
1184   Jim Wells County                                  Texas       Unliquidated Claim
1185   Johnson County                                    Texas       Unliquidated Claim
1186   Kaufman County                                    Texas       Unliquidated Claim
1187   Kendall County                                    Texas       Unliquidated Claim
1188   Kern High School District                         Texas       Unliquidated Claim
1189   Kerr County                                       Texas       Unliquidated Claim
1190   Kleberg County                                    Texas       Unliquidated Claim
1191   Lamar County                                      Texas       Unliquidated Claim
1192   Leon County                                       Texas       Unliquidated Claim
1193   Liberty County                                    Texas       Unliquidated Claim
1194   Limestone County                                  Texas       Unliquidated Claim
1195   Madison County                                    Texas       Unliquidated Claim



                                               33
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page531
                                                                 35 of
                                                                    of 835
                                                                       38




       Party                                            State       Economic Interest
1196   Marion County                                    Texas       Unliquidated Claim
1197   McMullen County                                  Texas       Unliquidated Claim
1198   Mesa County Valley School District 51            Texas       Unliquidated Claim
1199   Milam County                                     Texas       Unliquidated Claim
1200   Morris County                                    Texas       Unliquidated Claim
1201   Nacogdoches County                               Texas       Unliquidated Claim
1202   Newton County                                    Texas       Unliquidated Claim
1203   Nueces County                                    Texas       Unliquidated Claim
1204   Nueces County Hospital District                  Texas       Unliquidated Claim
1205   Orange County                                    Texas       Unliquidated Claim
1206   Panola County                                    Texas       Unliquidated Claim
1207   Parker County                                    Texas       Unliquidated Claim
1208   Potter County                                    Texas       Unliquidated Claim
1209   Red River County                                 Texas       Unliquidated Claim
1210   Richardson Independent School District           Texas       Unliquidated Claim
1211   Roberts County                                   Texas       Unliquidated Claim
1212   Robertson County                                 Texas       Unliquidated Claim
1213   Rockwall County                                  Texas       Unliquidated Claim
1214   Rusk County                                      Texas       Unliquidated Claim
1215   San Antonio Police & Fireman’s Union             Texas       Unliquidated Claim
1216   San Saba County                                  Texas       Unliquidated Claim
1217   Shackelford County                               Texas       Unliquidated Claim
1218   Shelby County                                    Texas       Unliquidated Claim
1219   Smith County                                     Texas       Unliquidated Claim
1220   Socorro Independent School District              Texas       Unliquidated Claim
1221   South Bend Community School Corporation          Texas       Unliquidated Claim
1222   Stephens County                                  Texas       Unliquidated Claim
1223   Tarrant County                                   Texas       Unliquidated Claim
1224   Tarrant County Hospital District                 Texas       Unliquidated Claim
1225   Terrell County                                   Texas       Unliquidated Claim
1226   Texarkana Independent School District            Texas       Unliquidated Claim
1227   The Schumacher Group of Texas, Inc.              Texas       Unliquidated Claim
1228   Titus County                                     Texas       Unliquidated Claim
1229   Travis County                                    Texas       Unliquidated Claim
1230   Trinity County                                   Texas       Unliquidated Claim
1231   Upshur County                                    Texas       Unliquidated Claim
1232   Van Zandt County                                 Texas       Unliquidated Claim
1233   Waller County                                    Texas       Unliquidated Claim



                                            34
            Case
             Case20-12522-JTD
                  20-12522-JTD Doc
                                Doc2917
                                    337-1 Filed
                                            Filed06/18/21
                                                  10/29/20 Page
                                                            Page532
                                                                 36 of
                                                                    of 835
                                                                       38




       Party                                            State       Economic Interest
1234   Waukegan Community Unit School District 60       Texas       Unliquidated Claim
1235   Webb County                                      Texas       Unliquidated Claim
1236   Williamson County                                Texas       Unliquidated Claim
1237   Wood County                                      Texas       Unliquidated Claim
1238   Town of Bennington                              Vermont      Unliquidated Claim
1239   Town of Brattleboro                             Vermont      Unliquidated Claim
1240   Town of Sharon                                  Vermont      Unliquidated Claim
1241   Accomack County                                 Virginia     Unliquidated Claim
1242   Alleghany County                                Virginia     Unliquidated Claim
1243   Amherst County                                  Virginia     Unliquidated Claim
1244   Arlington County                                Virginia     Unliquidated Claim
1245   Botetourt County                                Virginia     Unliquidated Claim
1246   Charlotte County                                Virginia     Unliquidated Claim
1247   Chesterfield County                             Virginia     Unliquidated Claim
1248   City of Alexandria                              Virginia     Unliquidated Claim
1249   City of Bristol                                 Virginia     Unliquidated Claim
1250   City of Buena Vista                             Virginia     Unliquidated Claim
1251   City of Chesapeake                              Virginia     Unliquidated Claim
1252   City of Covington                               Virginia     Unliquidated Claim
1253   City of Emporia                                 Virginia     Unliquidated Claim
1254   City of Fairfax                                 Virginia     Unliquidated Claim
1255   City of Fredericksburg                          Virginia     Unliquidated Claim
1256   City of Galax                                   Virginia     Unliquidated Claim
1257   City of Lexington                               Virginia     Unliquidated Claim
1258   City of Martinsville                            Virginia     Unliquidated Claim
1259   City of Norton                                  Virginia     Unliquidated Claim
1260   City of Poquoson                                Virginia     Unliquidated Claim
1261   City of Portsmouth                              Virginia     Unliquidated Claim
1262   City of Radford                                 Virginia     Unliquidated Claim
1263   City of Roanoke                                 Virginia     Unliquidated Claim
1264   City of Salem                                   Virginia     Unliquidated Claim
1265   City of Waynesboro                              Virginia     Unliquidated Claim
1266   City of Winchester                              Virginia     Unliquidated Claim
1267   Culpeper County                                 Virginia     Unliquidated Claim
1268   Cumberland County                               Virginia     Unliquidated Claim
1269   Dickenson County                                Virginia     Unliquidated Claim
1270   Dinwiddie County                                Virginia     Unliquidated Claim
1271   Fairfax County                                  Virginia     Unliquidated Claim



                                             35
             Case
              Case20-12522-JTD
                   20-12522-JTD Doc
                                 Doc2917
                                     337-1 Filed
                                             Filed06/18/21
                                                   10/29/20 Page
                                                             Page533
                                                                  37 of
                                                                     of 835
                                                                        38




       Party                                             State        Economic Interest
1272   Fauquier County                                 Virginia       Unliquidated Claim
1273   Floyd County                                    Virginia       Unliquidated Claim
1274   Franklin County                                 Virginia       Unliquidated Claim
1275   Frederick County                                Virginia       Unliquidated Claim
1276   Giles County                                    Virginia       Unliquidated Claim
1277   Goochland County                                Virginia       Unliquidated Claim
1278   Greensville County                              Virginia       Unliquidated Claim
1279   Halifax County                                  Virginia       Unliquidated Claim
1280   Henrico County                                  Virginia       Unliquidated Claim
1281   Henry County                                    Virginia       Unliquidated Claim
1282   Isle of Wight County                            Virginia       Unliquidated Claim
1283   King and Queen County                           Virginia       Unliquidated Claim
1284   Lancaster County                                Virginia       Unliquidated Claim
1285   Lee County                                      Virginia       Unliquidated Claim
1286   Loudoun County                                  Virginia       Unliquidated Claim
1287   Louisa County                                   Virginia       Unliquidated Claim
1288   Madison County                                  Virginia       Unliquidated Claim
1289   Mecklenburg County                              Virginia       Unliquidated Claim
1290   Montgomery County                               Virginia       Unliquidated Claim
1291   Northampton County                              Virginia       Unliquidated Claim
1292   Northumberland County                           Virginia       Unliquidated Claim
1293   Page County                                     Virginia       Unliquidated Claim
1294   Patrick County                                  Virginia       Unliquidated Claim
1295   Pittsylvania County                             Virginia       Unliquidated Claim
1296   Prince George County                            Virginia       Unliquidated Claim
1297   Prince William County                           Virginia       Unliquidated Claim
1298   Roanoke County                                  Virginia       Unliquidated Claim
1299   Rockbridge County                               Virginia       Unliquidated Claim
1300   Shenandoah County                               Virginia       Unliquidated Claim
1301   Stafford County                                 Virginia       Unliquidated Claim
1302   The Schumacher Group of Virginia, Inc.          Virginia       Unliquidated Claim
1303   Washington County                               Virginia       Unliquidated Claim
1304   The Schumacher Group of Washington, Inc.       Washington      Unliquidated Claim
1305   City of Elizabeth                              West Virginia   Unliquidated Claim
1306   City of Harrisville                            West Virginia   Unliquidated Claim
1307   City of Ravenswood                             West Virginia   Unliquidated Claim
1308   City of Ripley                                 West Virginia   Unliquidated Claim
1309   City of Spencer                                West Virginia   Unliquidated Claim



                                              36
             Case
              Case20-12522-JTD
                   20-12522-JTD Doc
                                 Doc2917
                                     337-1 Filed
                                             Filed06/18/21
                                                   10/29/20 Page
                                                             Page534
                                                                  38 of
                                                                     of 835
                                                                        38




       Party                                             State        Economic Interest
1310   City of St. Mary’s                             West Virginia   Unliquidated Claim
1311   Jackson County                                 West Virginia   Unliquidated Claim
1312   Pleasants County                               West Virginia   Unliquidated Claim
1313   Ritchie County                                 West Virginia   Unliquidated Claim
1314   Roane County                                   West Virginia   Unliquidated Claim
1315   The Schumacher Group of West Virginia, Inc.    West Virginia   Unliquidated Claim
1316   Williamstown County                            West Virginia   Unliquidated Claim
1317   Wirt County                                    West Virginia   Unliquidated Claim
1318   Woods County                                   West Virginia   Unliquidated Claim




                                               37
            Case 20-12522-JTD             Doc 2917       Filed 06/18/21        Page 535 of 835

                                                                                          Execution Version


          Joinder Agreement and Amendment to Restructuring Support Agreement

        THIS JOINDER AGREEMENT AND AMENDMENT TO RESTRUCTURING
SUPPORT AGREEMENT dated as of March 10, 2021 (this “Joinder Agreement”) is entered
into by and among the Debtors, the Required Supporting Unsecured Noteholders, the
Governmental Plaintiff Ad Hoc Committee (each as defined in the Agreement (as defined below)),
the MSGE Group (as defined below), and the undersigned holders of First Lien Term Loan Claims
(as defined in the First Lien Settlement Term Sheet (as defined below)) (such undersigned holders,
the “Supporting Term Lenders” and, together with the Debtors, the Required Supporting
Unsecured Noteholders, the Governmental Plaintiff Ad Hoc Committee, and the MSGE Group,
the “Joinder Parties”) on behalf of the Debtors, the Supporting Unsecured Noteholders, the
Supporting Governmental Opioid Claimants, the MSGE Signatories (as defined in the MSGE
Group Joinder Agreement (as defined below)), and the Supporting Term Lenders (together, the
“Agreement Parties”).

       WHEREAS, the Debtors, the Supporting Unsecured Noteholders, and the Supporting
Governmental Opioid Claimants entered into a certain Restructuring Support Agreement dated as
of October 11, 2020 (as amended, supplemented, or otherwise modified from time to time in
accordance with the terms thereof, together with the Term Sheet (as defined therein) and First Lien
Settlement Term Sheet (as defined below), the “Agreement”);1

       WHEREAS, the MSGE Group (as defined in the MSGE Group Joinder Agreement (as
defined below)) joined the Agreement pursuant to that certain Joinder Agreement dated November
13, 2020 (the “MSGE Group Joinder Agreement”);

       WHEREAS, as of the date hereof, Counsel to the MSGE Group, Caplin & Drysdale,
Chartered (“MSGE Group Counsel”) has obtained over 1,200 executed signature pages of the
members of the MSGE Group to the MSGE Group Joinder Agreement;

       WHEREAS, MSGE Group Counsel requests additional time to obtain executed signature
pages from the remaining members of the MSGE Group;

         WHEREAS, the Debtors, the Supporting Unsecured Noteholders, the Supporting
Governmental Opioid Claimants, the MSGE Group, and the Supporting Term Lenders have agreed
to a settlement (the “First Lien Term Loans Settlement”) on the terms set forth in that certain First
Lien Settlement Term Sheet attached as Schedule 3 to the Term Sheet (as amended and restated
herein) (the “First Lien Settlement Term Sheet”);

       WHEREAS, in furtherance of the First Lien Term Loans Settlement, the Joinder Parties
wish for the Supporting Term Lenders to join the Agreement;




1
    Defined terms used but not otherwise defined herein shall have the meanings ascribed to them in the Agreement,
    as amended by this Joinder Agreement (including the Term Sheet, Opioid Settlement Term Sheet, and First Lien
    Settlement Term Sheet), or the MSGE Group Joinder Agreement, as applicable.


US-DOCS\121471315.13
             Case 20-12522-JTD              Doc 2917           Filed 06/18/21       Page 536 of 835




       WHEREAS, the Joinder Parties wish to amend certain provisions of the Agreement and
the MSGE Group Joinder Agreement, and to take such actions necessary to give effect to the
foregoing.

       NOW, THEREFORE, in consideration of the foregoing, the warranties, covenants, and
agreements contained herein, in the Agreement, and in the MSGE Group Joinder Agreement, and
for other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the Joinder Parties agree as follows:

I.       Joinder.

       A.     Each of the Supporting Term Lenders hereby acknowledges that it has reviewed
and understands the Agreement.

       B.         In addition to the foregoing, each of the Supporting Term Lenders agrees as
follows:

                 1.     Restructuring Support: The Supporting Term Lenders shall have the rights
and be subject to the support and other obligations of Supporting Parties and Supporting Unsecured
Noteholders, as applicable, set forth in Sections 2, 4 (other than clause (g), as added by this Joinder
Agreement), 5(a) (other than clause (vii) except to the extent of the DOJ/Opioid Settlement Cash
Consent Right (as defined in the First Lien Settlement Term Sheet) and clause (viii) unless (A) the
applicable Alternative Transaction does not propose the Payment in Full of First Lien Term Loan
Claims (as defined in the First Lien Settlement Term Sheet) upon consummation thereof and
results in (i) less favorable treatment of the First Lien Term Loan Claims as compared to the
treatment for such First Lien Term Loan Claims set forth in the First Lien Settlement Term Sheet
or (ii) a Prohibited Ownership Change2 or (B) would be reasonably expected to have a materially
adverse effect on the holders of First Lien Term Loan Claims (acting in such capacity)), 5(b), 6(a)
(other than clauses (vi)(C) (unless (A) the applicable Alternative Transaction does not propose the
Payment in Full of First Lien Term Loan Claims upon consummation thereof and results in (i) less
favorable treatment of the First Lien Term Loan Claims as compared to the treatment for such First
Lien Term Loan Claims set forth in the First Lien Settlement Term Sheet or (ii) a Prohibited
Ownership Change or (B) would be reasonably expected to have a materially adverse effect on the
holders of First Lien Term Loan Claims (acting in such capacity)), (vi)(D) (unless (A) the
applicable Alternative Transaction does not propose the Payment in Full of First Lien Term Loan
Claims upon consummation thereof and results in (i) less favorable treatment of the First Lien


2
     “Prohibited Ownership Change” means, at any time on or prior to the Plan Effective Date, (a) the acquisition of
     ownership, directly or indirectly, beneficially or of record, by any person or group (within the meaning of the
     Securities Exchange Act of 1934 and the rules of the SEC thereunder as in effect on the date hereof) of Equity
     Interests (as defined in the Term Sheet) representing more than 50% of the aggregate ordinary voting power
     represented by the issued and outstanding Equity Interests, provided, that, solely for the purposes of this Joinder
     Agreement and the Agreement and subject to Article I.B.9 of this Joinder Agreement, (i) the transactions
     contemplated under this Joinder Agreement, the Agreement, the Term Sheet (including the First Lien Settlement
     Term Sheet and the Opioid Settlement Term Sheet) shall not constitute a Prohibited Ownership Change and (ii)
     neither the Unsecured Notes Ad Hoc Group nor the Supporting Unsecured Noteholders shall constitute a group
     (within the meaning of the Securities Exchange Act of 1934 and the rules of the SEC thereunder as in effect on
     the date hereof).

                                                           2
US-DOCS\121471315.13
            Case 20-12522-JTD        Doc 2917         Filed 06/18/21   Page 537 of 835




Term Loan Claims as compared to the treatment for such First Lien Term Loan Claims set forth
in the First Lien Settlement Term Sheet or (ii) a Prohibited Ownership Change or (B) would be
reasonably expected to have a materially adverse effect on the holders of First Lien Term Loan
Claims (acting in such capacity)), (xvi) (provided that, any action by the Company that triggers a
Supporting Party Termination Event under Section 6(a)(xvi) shall also apply to the Supporting
Term Lenders to the extent such action is in breach of the DOJ/Opioid Settlement Cash Consent
Right (as defined in the First Lien Settlement Term Sheet) and the Required Supporting Term
Lenders have not previously consented to such action by the Company), (xix) (provided that
Section 6(a)(xix) shall also apply to the Supporting Term Lenders to the extent both the Supporting
Unsecured Noteholders and the Governmental Plaintiff Ad Hoc Committee terminate their
obligations under the Agreement in accordance with Section 6(a)), (xx), (xxi), (xxii), and
(xxiii)(B), (D), (E), (F), and (G) (provided that, any extension of the Milestone contained in Section
6(a)(xxiii)(G) beyond March 15, 2022, shall also require the consent of the Required Supporting
Term Lenders, and provided, further, that references to Section 6(a)(xxiii) shall be to such section
as modified by this Joinder Agreement), and (xxv) (as added by this Joinder Agreement)), 6(c),
6(e), 6(f), 6(g), 6(h), 8, 9, 13, 14, 15, 16, 17, 18, 19, 21, 22, 24, 26, and 27 of the Agreement (the
“Restructuring Support Sections”); provided, that the Supporting Term Lenders’ rights related to
Definitive Documents set forth in Sections 5(a)(iv), 5(a)(ix), 5(b), 6(a)(iii), and 6(a)(iv) of the
Agreement shall be limited to only the extent that such Definitive Documents, and in the case of
Sections 5(b)(iii) and 6(a)(iii) any motion, pleading, declaration, supporting exhibit, related
document, Term Sheet or Definitive Documents, (i) directly relate to (or would otherwise directly
affect) (a) the treatment of the First Lien Term Loan Claims of the Supporting Term Lenders under
the Agreement or the Plan, (b) the legal or economic rights or waivers proposed to be granted to,
or received by the Supporting Term Lenders under the Agreement or the Plan (provided, that,
changes in the trading value of the First Lien Term Loan Claims shall not constitute any such legal
or economic right or waiver), (c) the obligations of the Supporting Term Lenders under the
Agreement, or (d) the implementation of the New First Lien Term Loan Facility or the terms of
the First Lien Settlement Term Sheet (except that, counsel to the Supporting Term Lenders shall
also be provided copies of all other material pleadings and pleadings related to any other Definitive
Documents at least two (2) Business Days or as soon as reasonably practicable prior to filing such
pleading, to the extent reasonably practicable) or (ii) otherwise materially and adversely affect the
rights or obligations of the Supporting Term Lenders under the Agreement, including the First
Lien Settlement Term Sheet; provided, further, that without limiting the generality of the
foregoing, (i) the New Term Loan Documentation (including any intercreditor agreements to
govern the New First Lien Term Loans (other than the Existing 1L/2L Intercreditor Agreement,
which shall continue in place after the Plan Effective Date)) shall be consistent with the
Documentation Principles, (ii) any modifications to the Final Cash Collateral Order (including the
CCO Modification Order (subject to the NPT Exception)), the 2020 ECF Payment Order (subject
to the ECF Exception) and any pleadings filed by the Debtors in connection therewith, in each
case, shall be in form and substance reasonably acceptable to the Required Supporting Term
Lenders and as otherwise set forth in the First Lien Settlement Term Sheet, and (iii) and any new
key employee and retentive based compensation programs to be proposed after the Petition Date
shall be proposed in consultation with the Supporting Term Lenders; provided, however, that in
the event the Plan provides for the Payment in Full of First Lien Term Loan Claims on the Plan
Effective Date, the Supporting Term Lenders shall not have consent rights as to any terms of the
Definitive Documents. Each of the Supporting Term Lenders hereby acknowledges that such


                                                  3
US-DOCS\121471315.13
            Case 20-12522-JTD        Doc 2917        Filed 06/18/21   Page 538 of 835




rights and obligations (other than such rights and obligations set forth in Section 6(g)) shall be
exercised by the Supporting Term Lenders through the Required Supporting Term Lenders (as
defined below) over the matters set forth in the Agreement for which the Supporting Term Lenders
have rights or obligations. Except as set forth on the signature pages to the Agreement or this
Joinder Agreement, (y) the Specified Claims and Interests applicable to the Supporting Term
Lenders shall be the First Lien Credit Agreement Claims and, to the extent any such Supporting
Term Lender is a beneficial or legal owner of Guaranteed Unsecured Notes, Guaranteed Unsecured
Notes Claims and (z) the Specified Claims and Interests applicable to the Supporting Unsecured
Noteholders shall be Guaranteed Unsecured Notes Claims and, to the extent any such Supporting
Unsecured Noteholder is a beneficial or legal owner of First Lien Credit Agreement Claims, the
First Lien Credit Agreement Claims. For purposes of consent rights, amendment rights, or
termination rights in the Agreement or this Joinder Agreement, Supporting Unsecured Noteholders
that beneficially or legally own First Lien Credit Agreement Claims shall not be considered
Supporting Term Lenders under the Agreement or this Joinder Agreement, and Supporting Term
Lenders that beneficially or legally own Guaranteed Unsecured Notes Claims shall not be
considered Supporting Unsecured Noteholders under the Agreement or this Joinder Agreement.

                 2.    Consent Rights of the Supporting Term Lenders:

                   a. The Supporting Term Lenders shall have only the consent and approval
rights expressly given to them in the Agreement, the Term Sheet, the First Lien Settlement Term
Sheet, and the applicable Definitive Documents; provided, that in the event the Plan provides for
the Payment in Full of First Lien Term Loan Claims on the Plan Effective Date, the Supporting
Term Lenders shall not have consultation or consent rights as to any terms of the Definitive
Documents.

                  b. The foregoing consent and approval rights in subsection (a) shall not limit,
modify or otherwise affect the existing consent and approval rights of the other Supporting Parties
under the Agreement, including with respect to Definitive Documents.

                 3.     Breaches by the Supporting Term Lenders: The Company shall be entitled
to terminate the Agreement as to all of the Supporting Term Lenders upon the breach in any
material respect by the Supporting Term Lenders that would result in non-breaching Supporting
Term Lenders and any other Supporting Parties holding less than 66.7% in outstanding principal
amount of either the (i) First Lien Term Loan Claims maturing in 2024 or (ii) First Lien Term
Loan Claims maturing in 2025, in each case with respect to any of the representations, warranties,
or covenants of such Supporting Term Lenders set forth in the Agreement and which breach
remains uncured for a period of fifteen (15) Business Days after delivery by the Company to the
applicable Supporting Term Lenders of written notice of such breach, which written notice will
set forth in reasonable detail the alleged breach; provided that any such termination by the
Company pursuant to the Agreement or this Joinder Agreement shall result in the termination of
this Agreement solely as to the Supporting Term Lenders and shall not give rise to a termination
right to any other Supporting Party; and provided, further, that, the Company may, at its option,
terminate this Agreement solely as to any Supporting Term Lender that breaches, in any material
respect, its representations, warranties or covenants set forth in the Agreement (to the extent such
breach remains uncured for a period of fifteen (15) Business Days after delivery by the Company
to the applicable Supporting Term Lender of written notice of such breach, which written notice

                                                 4
US-DOCS\121471315.13
            Case 20-12522-JTD        Doc 2917        Filed 06/18/21   Page 539 of 835




will set forth in reasonable detail the alleged breach), whether or not such breach would entitle the
Company to terminate the Agreement with respect to all Supporting Term Lenders in accordance
with this Section 3; provided, further, that if the Agreement or this Joinder Agreement is
terminated by the Company solely as to the Supporting Term Lenders, then the amendments (a) to
the Agreement in Articles II.A.1, II.A.2, II.A.3 (solely as to the definition of “Required Supporting
Term Lenders”), II.B (solely as to the Supporting Term Lenders), and II.D, below and (b) to the
Term Sheet (other than the addition of the condition precedent related to payment of the
Transaction Fees), in each case, shall be null and void.

                 4.    Termination of the Joinder Agreement by the Supporting Term Lenders:

                    a. The sole remedy of the Supporting Term Lenders for any breach by the
Supporting Parties or the Company of the Restructuring Support Sections of the Agreement or this
Joinder Agreement, including the DOJ/Opioid Settlement Cash Consent Right (as defined in the
First Lien Settlement Term Sheet), shall be termination of this Joinder Agreement by written notice
in accordance with the Agreement delivered by Supporting Term Lenders holding two-thirds in
outstanding principal amount of the First Lien Term Loans then party to the Joinder Agreement
with such notice terminating the Agreement and Joinder Agreement as to all Supporting Term
Lenders. If the Supporting Term Lenders terminate this Joinder Agreement, such termination shall
not result in a termination of the Agreement or this Joinder Agreement as to the other Supporting
Parties (other than the Supporting Term Lenders) and shall not give rise to a termination right
under Section 6(a)(xix) for any such Supporting Parties or for the Company under Section 6(b)(iv);
provided, that if this Joinder Agreement is terminated by Supporting Term Lenders then the
amendments (a) to the Agreement in Articles II.A.1, II.A.2, II.A.3 (solely as to the definition of
“Required Supporting Term Lenders”), II.B (solely as to the Supporting Term Lenders), and II.D,
below and (b) to the Term Sheet (other than the addition of the condition precedent related to
payment of the Transaction Fees), in each case, shall be null and void.

                    b. Upon ten (10) days’ notice, any individual Supporting Term Lender may
terminate this Joinder Agreement, as to itself only, by the delivery to counsel to the Company and
the other Supporting Parties of a written notice in accordance with Section 7 hereof, in the event
that (i) any waiver, modification, amendment or supplement of this Joinder Agreement or the
Agreement materially disproportionately and materially adversely affects the economic rights,
recoveries, or treatment applicable to the Specified Claims and Interests of such Supporting Term
Lender relative to (x), in the case of Specified Claims and Interests comprising First Lien Term
Loan Claims, the economic rights, recoveries, or treatment applicable to the First Lien Term Loan
Claims of the other Supporting Term Lenders, or (y), in the case of Specified Claims and Interests
comprising Guaranteed Unsecured Notes, relative to the economic rights, recoveries, or treatment
applicable to the Claims based on the Guaranteed Unsecured Notes of the Supporting Unsecured
Noteholders, in each case, without such Supporting Term Lender’s consent or (ii) any Definitive
Document is filed with the Bankruptcy Court or later amended in such a way that materially
disproportionately and materially adversely affects (x), in the case of Specified Claims and
Interests comprising First Lien Term Loan Claims, the economic rights, recoveries, or treatment
applicable to the First Lien Term Loan Claims of such Supporting Term Lender relative to the
economic rights, recoveries, or treatment applicable to the First Lien Term Loan Claims of the
other Supporting Term Lenders, or (y), in the case of Specified Claims and Interests comprising
Guaranteed Unsecured Notes, the economic rights, recoveries, or treatment applicable to the

                                                 5
US-DOCS\121471315.13
            Case 20-12522-JTD        Doc 2917        Filed 06/18/21   Page 540 of 835




Claims based on the Guaranteed Unsecured Notes of such Supporting Term Lender relative to the
economic rights, recoveries, or treatment applicable to the Claims based on the Guaranteed Note
Claims of the Supporting Unsecured Noteholders, in each case, without such Supporting Term
Lender’s consent (each such event, an “Individual Supporting Term Lender Termination
Event”); provided, that, such Supporting Term Lender shall not object to the Company’s efforts
to seek an expedited hearing to adjudicate whether an Individual Supporting Term Lender
Termination Event has occurred.

                 5.    Amendments and Waivers:

               a.      During the Support Period, this Joinder Agreement and, to the extent that
the Supporting Term Lenders have the rights and are subject to the support and other obligations
of Supporting Parties and Supporting Unsecured Noteholders of the relevant provision pursuant to
Article I.B.1 hereof, the Agreement, including any exhibits or schedules hereto, may not be
waived, modified, amended, or supplemented except in a writing signed by the Required
Supporting Term Lenders; provided, that: (a) any waiver, modification, amendment, or
supplement to Section 4(f)(v), Section 6(e), Section 6(f), Section 6(g), Section 7(a), Section 8(b),
Section 17, Section 21, or Section 22 of the Agreement, or Article I.B.4(b) or Article I.B.8 of this
Joinder Agreement, or the definition of “Specified Claims and Interests” shall require the prior
written consent of each Supporting Term Lender; (b) any waiver, modification, amendment, or
supplement to the definitions of “Required Supporting Term Lenders” shall require the prior
written consent of each Supporting Term Lender; (c) any waiver, modification, amendment, or
supplement of the Opioid Settlement or the CMS/DOJ/States Settlement shall comply with the
monetary and payment frequency limitations set forth in the section entitled “DOJ/Opioid
Settlement Cash Consent Right” in the First Lien Settlement Term Sheet (unless Required
Supporting Term Lenders shall otherwise consent); and (d) any Definitive Document or any
waiver, modification, amendment or supplement of this Joinder Agreement, the Agreement, or any
Definitive Document, in each case, that requires any Supporting Term Lender to make any
investment of new capital, including in any Mallinckrodt entity, may not be made without the prior
written consent of such Supporting Term Lender; provided that, to the extent that the Company
waives, modifies, amends, or supplements the Agreement (other than for the items expressly set
forth or contemplated in the First Lien Settlement Term Sheet, including any such items as
implemented or governed by any Definitive Document, including, without limitation, the Plan,
Disclosure Statement, the Confirmation Order, and the New Term Loan Documentation),
including any exhibits or schedules hereto, without the consent of the Required Supporting Term
Lenders, the sole remedy afforded to the Supporting Term Lenders shall be termination of this
Joinder Agreement as to the Supporting Term Lenders by the Required Supporting Term Lenders.

              b.      Following the Plan Effective Date, amendments to any Definitive
Document shall be governed as set forth in such Definitive Document. Any consent required to
be provided pursuant to this Article I.B.5 may be delivered by email from counsel.

               6.     Fees and Expenses: The reasonable and documented fees and out-of-pocket
expenses of the Supporting Term Lenders, including the reasonable fees and expenses of Gibson,
Dunn & Crutcher LLP (“Gibson Dunn”), as legal advisor to the Supporting Term Lenders,
Evercore Group LLC, as financial advisor, and any other advisor specified in, and any
subsequently retained advisor permitted to be reimbursed pursuant to, the Final Cash Collateral

                                                 6
US-DOCS\121471315.13
            Case 20-12522-JTD          Doc 2917        Filed 06/18/21   Page 541 of 835




Order (the “Ad Hoc Term Lender Group Advisors”) shall be paid in accordance with the Final
Cash Collateral Order.

               7.    Notice Parties: Notices provided pursuant to the Agreement shall be sent
to the Supporting Term Lenders to the address set forth on the signature page for the Supporting
Term Lenders, with copy (which shall not constitute notice) to:

                          Gibson, Dunn & Crutcher LLP
                          200 Park Avenue
                          New York, New York 10166-0193
                          Attention:   Scott J. Greenberg (sgreenberg@gibsondunn.com)
                                       Michael J. Cohen (mcohen@gibsondunn.com)

                 8.       Representations and Warranties:

                    a. Each Supporting Term Lender hereby makes the same representations and
warranties of the Supporting Parties set forth in Section 7(a) of the Agreement to each other Party,
effective as of the date hereof.

                    b. Each Supporting Term Lender severally (and not jointly), represents and
warrants to the Company that, as of the date hereof (or as of the date such Supporting Term Lender
becomes a party hereto), such Supporting Term Lender (i) is or, after taking into account the
settlement of any pending assignments of First Lien Term Loans to which such Supporting Term
Lender is a party as of the date of this Joinder Agreement, will be the beneficial owner of (or
investment manager, advisor, or subadvisor to one or more beneficial owners of) the aggregate
principal amount of Specified Claims and Interests set forth besides its name on Annex 1 hereto
(or below its name on the signature page of a Joinder Agreement for any Supporting Term Lender
that becomes a Party hereto after the date hereof), (ii) has, with respect to the beneficial owners of
such Specified Claims and Interests (as may be set forth on a schedule to such Supporting Term
Lender’s signature page hereto), (A) sole investment or voting discretion with respect to such
Specified Claims and Interests, (B) full power and authority to vote on and consent to matters
concerning such Specified Claims and Interests, or to exchange, assign, and transfer such Claims
or Interests, and (C) full power and authority to bind or act on the behalf of, such beneficial owners,
(iii) such Specified Claims and Interests are free and clear of any pledge, lien, security interest,
charge, claim, equity, option, proxy, voting restriction, right of first refusal, or other limitation on
disposition or encumbrance of any kind, that would prevent in any way such Supporting Term
Lender’s performance of its obligations contained in this Agreement at the time such obligations
are required to be performed, and (iv) is not aware of any currently outstanding request to the
Administrative Agent under the Existing Credit Agreement to implement a rate of interest for the
First Lien Term Loans applicable to ABR Borrowings (as defined in the Existing Credit
Agreement).

                       9. Supporting Term Lender Reservations of Rights.

                   a. General Reservation of Rights. For the avoidance of doubt, and
notwithstanding anything to the contrary in the Agreement or this Joinder Agreement, except as
otherwise set forth in any order of the Bankruptcy Court, in the event the Agreement is terminated


                                                   7
US-DOCS\121471315.13
             Case 20-12522-JTD         Doc 2917       Filed 06/18/21    Page 542 of 835




as to the Supporting Term Lenders, all of the Agreement Parties’ rights and remedies under the
Existing Credit Agreement, the Bankruptcy Code, and applicable law, including, without
limitation, with respect to (a) the Plan, (b) the calculation and treatment of the Specified Claims
and Interests held by the Supporting Term Lenders under the Plan, (c) any relief sought by, or
relief granted in connection with, the motion seeking authority to pay the 2020 ECF Payment (as
defined in the First Lien Settlement Term Sheet), (d) the Existing 1L Intercreditor Agreement, and
(e) the Existing 1L/2L Intercreditor Agreement, shall be reserved in all respects.

                b.     Make-Whole Reservation of Rights. Neither this Agreement nor the Term
Sheet provide for the treatment of the Make-Whole Claims, and all Parties’ rights related thereto
are fully reserved. Notwithstanding anything to the contrary in this Agreement, it is expressly
understood and agreed that a Supporting Term Lender (a) may hold First Lien Revolving Loan
Claims, First Lien Notes Claims, and/or Second Lien Notes Claims in addition to its Specified
Claims and Interests, and (b) that the entry into this Agreement does not limit, waive, impair, or
otherwise affect any Supporting Term Lender’s right to negotiate for and seek allowance of, or to
object to and seek disallowance of, any Make-Whole Claims in the Chapter 11 Cases or the
Restructuring, whether in such term lender’s capacity as a term lender or otherwise. Nothing
contained herein, limits, waives, impairs, or otherwise affects the Company’s right to object to, or
seek disallowance of, any Make-Whole Claims in the Chapter 11 Cases or Restructuring and any
such actions taken in connection with defending or objecting to the Make-Whole Claims is not
inconsistent with the Company’s obligations under this Agreement.

                       10. Agreements of the Supporting Term Lenders.

                     a. During the Support Period, subject to the terms and conditions of this
Joinder Agreement and the Agreement, each Supporting Term Lender agrees, severally and not
jointly (solely in its capacity as a holder of the Supporting Term Lenders’ Specified Claims and
Interests, and in no other capacity), solely as long as it remains the legal owner, beneficial owner,
and/or investment advisor or manager of or with power and/or authority to bind any of the
Supporting Term Lenders’ Specified Claims and Interests against and/or in the Company held by
it, that it shall not direct the Administrative Agent under the Existing Credit Agreement to
implement (or take steps to implement) a rate of interest for the First Lien Term Loans applicable
to ABR Borrowings.

II.    Amendments to the Agreement. In reliance on the representations, warranties,
covenants, and agreements contained herein and in the Agreement, and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the Agreement and
the MSGE Group Joinder Agreement are hereby amended as follows:

        A.       Definitions.

               1.      The definitions of “Restructuring,” “Term Sheet,” and “Plan” in the recitals
to the Agreement are hereby amended to incorporate (as applicable) and include reference to the
terms of the First Lien Settlement Term Sheet, and the definition of “Parties” in the recitals to the
Agreement is hereby amended to incorporate and include reference to the Supporting Term
Lenders.



                                                  8
US-DOCS\121471315.13
            Case 20-12522-JTD         Doc 2917        Filed 06/18/21   Page 543 of 835




                2.     The definition of “Definitive Documents” in Section 1.m of the Agreement
is hereby amended by deleting the word “and” before clause (xix) and replacing the period at the
end of the definition with “; (xx) the New Term Loan Documentation and any other documentation
related to any financing used to repay any First Lien Credit Agreement Claims; (xxi) the 2020 ECF
Payment Settlement; (xxii) the 2020 ECF Payment Order; and (xxiii) the CCO Modification
Order.”

               3.      The following definitions are hereby added to Section 1 of the Agreement
in the appropriate alphabetical order:

                 “Ad Hoc First Lien Term Lender Group” means that certain ad hoc group
                 of holders of First Lien Loans represented by, among others, Gibson, Dunn
                 & Crutcher LLP and advised by Evercore Group, LLC.

                 “Existing 1L Intercreditor Agreement” means that certain First Lien
                 Intercreditor Agreement, dated as of April 7, 2020, among Mallinckrodt
                 PLC, as Parent, Mallinckrodt International Finance S.A., as Lux Borrower,
                 Mallinckrodt CB LLC, as Co-Borrower, the other Grantors party thereto,
                 Deutsche Bank AG New York Branch, as Collateral Agent for the Pari
                 Passu Secured Parties and as Authorized Representative for the Credit
                 Agreement Secured Parties, Wilmington Savings Fund Society, FSB, as the
                 Initial Additional Authorized Representative, and each additional
                 Authorized Representative from time to time party thereto.

                 “Existing 1L/2L Intercreditor Agreement” means that certain Second Lien
                 Intercreditor Agreement, dated as of December 6, 2019, among Deutsche
                 Bank AG New York Branch, as First Lien Collateral Agent and as First Lien
                 Credit Representative, Wilmington Savings Fund Society, FSB, as Second
                 Lien Collateral Agent and as Initial Second Lien Document Representative,
                 and the other First Lien Representative Parties and Second Lien
                 Representative Parties thereto.

                 “RSA Parties Fee Motion” means that certain Motion of the Debtors to
                 Assume and/or Enter Into Reimbursement Agreements with RSA Party
                 Professionals filed with the Bankruptcy Court on December 30, 2020
                 [Docket No. 1092].

                 “RSA Parties Fee Order” means that order granting the RSA Parties Fee
                 Motion, entered on February 1, 2021 [Docket No. 1250].

                 “Required Supporting Term Lenders” means, as of any date of
                 determination, the Specified Supporting Term Lenders then party to this
                 Agreement that, at the time of such approval, together hold at least 60% in
                 outstanding principal amount of First Lien Term Loans held by the
                 Specified Supporting Term Lenders; provided, that, the Ad Hoc First Lien
                 Term Lender Group shall (A) notify the Company promptly of approval of
                 any such Specified Supporting Term Lenders and (B) not revoke approval


                                                  9
US-DOCS\121471315.13
             Case 20-12522-JTD        Doc 2917       Filed 06/18/21   Page 544 of 835




                 of any Specified Supporting Term Lenders previously approved by the Ad
                 Hoc First Lien Term Lender Group without notice to the Company.

                 “Specified Supporting Term Lender” means, as of any date of
                 determination, Supporting Term Lenders that are (i) members of the Ad Hoc
                 First Lien Term Lender Group or (ii) Supporting Term Lenders previously
                 approved by members the Ad Hoc First Lien Term Lender Group.

       B.       Ad Hoc Group Composition.          Section 4(e) of the Agreement is hereby amended
and restated in its entirety to read as follows:

                 e. Ad Hoc Group Composition. No less frequently than every sixty (60)
                 days commencing on the Agreement Effective Date, counsel to each of the
                 Unsecured Notes Ad Hoc Group, the Ad Hoc First Lien Term Lender
                 Group, and the Governmental Plaintiff Ad Hoc Committee shall provide
                 counsel to the Company and to each other, on a professionals’ eyes only
                 basis, with a list showing each member of such counsel’s respective ad hoc
                 group and, (i) in the case of members of the Unsecured Notes Ad Hoc
                 Group, the aggregate holdings of Guaranteed Unsecured Notes and other
                 claims based on funded indebtedness of the Company (including on account
                 of the Company’s secured notes, First Lien Term Loans, and revolving
                 credit facility) or interests of the Company and (ii) in the case of members
                 of the Ad Hoc First Lien Term Lender Group, the aggregate holdings of
                 First Lien Term Loans and other claims based on funded indebtedness of
                 the Company (including on account of the Company’s secured notes,
                 Guaranteed Unsecured Notes, and revolving credit facility) or interests of
                 the Company; provided, that counsel to the Governmental Plaintiff Ad Hoc
                 Committee shall only be required to provide such a list if the members of
                 the Governmental Plaintiff Ad Hoc Committee have changed since the last
                 time such a list was provided.

       C.      Agreements of the Supporting Parties. Section 4 of the Agreement is hereby
amended by replacing the period at the end of Section 4(f)(vi) with “; and”, and adding the
following clause (g):

                 g. In connection with the negotiation of the Definitive Documents, the
                 Supporting Parties agree to discuss, in good faith, any concerns raised by
                 the Supporting Unsecured Noteholders regarding allocation of fees and
                 expenses incurred by the Official Committee of Opioid Related Claimants
                 during the Chapter 11 Cases.

        D.       Agreements of the Company.

               1.     Section 5(a) of the Agreement is hereby amended by deleting the word
“and” at the end of Section 5(a)(xvii), replacing the period at the end of Section 5(a)(xviii) with a
semicolon, and adding the following clauses (xix), (xx), (xxi), and (xxii):



                                                   10
US-DOCS\121471315.13
            Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 545 of 835




                 (xix) to seek approval of the Debtors’ Motion for Order (I) Authorizing Use
                 of Cash Collateral other than in the Ordinary Course of Business, (II)
                 Granting Limited Relief from the Automatic Stay, and (III) Granting Related
                 Relief [Docket No. 1441], subject to the ECF Exception, at the hearing
                 currently scheduled for March 16, 2021 (subject to any extensions
                 reasonably agreed by the Debtors and the Required Supporting Term
                 Lenders);

                 (xx) to seek approval of an amendment to the Final Order Under Bankruptcy
                 Code Sections 105(a), 361, 362, 363, 503, and 507, and Bankruptcy Rules
                 4001 and 9014 (I) Authorizing Debtors to Use Cash Collateral; (II)
                 Granting Adequate Protection to Prepetition Secured Parties; (III)
                 Modifying Automatic Stay; and (IV) Granting Related Relief [Docket No.
                 586] (the “Final Cash Collateral Order”) to increase the interest rate applied
                 in order to calculate First Lien Adequate Protection Payments (as defined in
                 the Final Cash Collateral Order) and to provide that the Payment in Full of
                 Term Loan Claims must be in compliance with this Agreement (including
                 payment of the applicable Term Loan Exit Payment), so long as the
                 Supporting Term Lenders remain party hereto; provided that, to the extent
                 the Company is unable to obtain Bankruptcy Court approval for (A) the
                 application of the Adjusted Interest Rate retroactively to the date on which
                 the Debtors filed a motion seeking entry of the CCO Modification Order or
                 (B) the Pre-Effective Date Term Loan Exit Payment, in each case it shall not
                 constitute a violation of this Section 5(a)(xx) (unless solely in the case of
                 clause (B) such Pre-Effective Date Term Loan Exit Payment is not
                 subsequently approved in connection with confirmation of the Plan), a basis
                 to terminate this Agreement pursuant to Section 6(a)(xxiii), or a basis on
                 which deem the CCO Modification Order unacceptable in connection the
                 exercise of the consent right of the Supporting Term Lenders with respect
                 thereto (the exceptions set forth in this proviso (the “NPT Exception”);

                 (xxi) to object to or defend against any motion seeking standing (A) to
                 challenge the validity, enforceability, perfection, or priority of, or seeking
                 avoidance or subordination of, any portion of the Specified Claims and
                 Interests of the Supporting Term Lenders or the prepetition liens securing
                 the Supporting Term Lenders’ Specified Claims and Interests or (B) to assert
                 any other cause of action against the Supporting Term Lenders or with
                 respect or relating to Supporting Term Lenders’ Specified Claims and
                 Interests, the First Lien Credit Agreement, or any Loan Document (as
                 defined in the First Lien Credit Agreement) or the prepetition liens securing
                 the Supporting Term Lenders’ Specified Claims and Interests; and

                 (xxii) to support and take all reasonable actions necessary to facilitate the
                 entry of the 2020 ECF Payment Order (as defined in the First Lien Settlement
                 Term Sheet); provided, that, to the extent the Company is unable to obtain
                 Bankruptcy Court approval for the entry of the 2020 ECF Payment Order, it
                 shall not constitute a violation of Section 5(a)(xix) or this Section 5(a)(xxii)

                                                   11
US-DOCS\121471315.13
             Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 546 of 835




                 (or any consent right of the Supporting Term Lenders with respect to the
                 2020 ECF Payment Order) (the “ECF Exception”); provided further, that, if
                 2020 ECF Payment is not paid prior to the Plan Effective Date, the Company
                 shall take all actions necessary to ensure that the 2020 ECF Payment is paid
                 under the Plan; provided further, that the Debtors shall not be required to
                 agree to pay more than $114 million (together with any accrued and unpaid
                 interest thereon) in connection with the 2020 ECF Payment or to make any
                 payment in respect thereof other than to the holders of the First Lien Term
                 Loan Claims.

        E.       Termination of Agreement.

                1.      Section 6(a)(xxii) of the Agreement is hereby amended and restated in its
entirety to read as follows:

                 (xxii) the Debtors, the Supporting Unsecured Noteholders and the
                 Supporting Governmental Opioid Claimants shall not have agreed upon the
                 Additional Insurance Rights by the time of the objection deadline for the
                 Disclosure Statement Order; or

                2.      Section 6(a)(xxiii) of the Agreement is hereby amended and restated in its
entirety to read as follows:

                 (xxiii) any of the following events (the “Milestones”) have not been
                 achieved, extended, or waived by no later than 11:59 pm New York City
                 time on the dates set forth below, provided that any such time and date may
                 be extended with the consent of the Required Supporting Parties (which
                 consent may be provided by email):

                 A.     the Debtors’ filing of a motion seeking entry of the CCO
                 Modification Order on or prior to March 17, 2021; provided that the
                 Milestone set forth in this Section 6(a)(xxiii)(A) shall only be applicable to
                 the Supporting Term Lenders;

                 B.     the Debtors’ filing of the Plan and Disclosure Statement on or prior
                 to March 31, 2021;

                 C.      the Court enters the CCO Modification Order (subject to the NPT
                 Exception) on or prior to April 15, 2021; provided that the Milestone set
                 forth in this Section 6(a)(xxiii)(C) shall only be applicable to the Supporting
                 Term Lenders;

                 D.      the Court enters an order approving the Disclosure Statement on or
                 prior to May 15, 2021;

                 E.     the Plan is confirmed on or prior to August 15, 2021;



                                                   12
US-DOCS\121471315.13
            Case 20-12522-JTD          Doc 2917      Filed 06/18/21     Page 547 of 835




                 F.    a Scheme of Arrangement consistent with this Agreement is
                 approved by the Irish Court on or prior to October 15, 2021; and

                 G.     the Plan Effective Date has not occurred on or prior to November
                 15, 2021.

              3.     Section 6(a) of the Agreement is hereby amended by deleting the word “or”
at the end of Section 6(a)(xxii), replacing the period at the end of Section 6(a)(xxiii) with a
semicolon, and adding the following clauses (xxiv) and (xxv):

                 (xxiv) (A) the Company files any motion, application, or adversary
                 proceeding challenging the validity, enforceability, perfection, or priority
                 of, or seeking avoidance or subordination of, any portion of the Specified
                 Claims and Interests or assert any other cause of action against the
                 Supporting Term Lenders or with respect or relating to such Specified
                 Claims and Interests, the First Lien Credit Agreement, or any Loan
                 Document (as defined in the First Lien Credit Agreement) or the prepetition
                 liens securing the Specified Claims and Interests or challenging the validity,
                 enforceability, perfection, or priority of, or seeking avoidance or
                 subordination of, any portion of the Specified Claims and Interests or
                 asserting any other cause of action against the Supporting Term Lenders or
                 with respect or relating to such Specified Claims and Interests or the
                 prepetition liens securing the Specified Claims and Interests; or (B) the
                 Bankruptcy Court enters an order granting or sustaining any objection or
                 challenge to any of the First Lien Credit Agreement Claims or the
                 prepetition liens securing the First Lien Credit Agreement Claims that is
                 reasonably likely to render the Plan unconfirmable; or

                 (xxv) the RSA Parties Fee Order is reversed, stayed, or modified, on appeal
                 or otherwise.

         F.      Fees and Expenses. Section 25 of the Agreement is hereby amended and restated
in its entirety to read as follows:

                 Fees and Expenses. The Company shall reimburse all reasonable and
                 documented fees and out-of-pocket expenses, including success fees, of the
                 following professionals and advisors in accordance with the RSA Parties
                 Fee Order: (a) Gilbert LLP, Kramer Levin Naftalis & Frankel LLP, and
                 Brown Rudnick LLP, as legal counsel to the Governmental Plaintiff Ad Hoc
                 Committee; (b) William Fry, as Irish counsel to the Governmental Plaintiff
                 Ad Hoc Committee; (c) Houlihan Lokey, Inc., as investment banker and
                 financial advisor to the Governmental Plaintiff Ad Hoc Committee; (d) such
                 other legal, consulting, financial, and/or other professional advisors to
                 which the Governmental Plaintiff Ad Hoc Committee and the Debtors shall
                 reasonably agree from time to time; (e) Paul, Weiss, Rifkind, Wharton &
                 Garrison LLP as counsel to the Unsecured Notes Ad Hoc Group; (f) Landis
                 Rath & Cobb LLP, as Delaware counsel to the Unsecured Notes Ad Hoc

                                                  13
US-DOCS\121471315.13
            Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 548 of 835




                 Group; (g) Perella Weinberg Partners LP, as investment banker to the
                 Unsecured Notes Ad Hoc Group; (h) Reed Smith LLP, as regulatory
                 counsel to the Unsecured Notes Ad Hoc Group; (i) Matheson as Irish
                 counsel to the Unsecured Notes Ad Hoc Group; (j) such other legal,
                 consulting, financial, and/or other professional advisors to which the
                 Unsecured Notes Ad Hoc Group and the Debtors shall reasonably agree
                 from time to time; (k) to the extent not identified above, three local counsel
                 (one for the Chapter 11 Cases, one for the Irish Examinership Proceedings,
                 and one for the Recognition Proceedings) for each of the Governmental
                 Plaintiff Ad Hoc Committee and Unsecured Notes Ad Hoc Group; (l)
                 Caplin & Drysdale, Chartered, as legal counsel to the MSGE Group; (m)
                 Seitz, Van Ogtrop & Green, P.A. as Delaware legal counsel to the MSGE
                 Group; (n) FTI Consulting, as financial advisor to the MSGE Group; and
                 (o) such other legal, consulting, financial, and/or other professional advisors
                 to which the MSGE Group and the Debtors shall reasonably agree from time
                 to time; provided, that to the extent that the Company terminates this
                 Agreement under Section 6(b), the Company’s reimbursement obligations
                 under this Section 25 shall survive with respect to any and all fees and
                 expenses incurred on or prior to the date of termination. In furtherance of
                 the foregoing (x) simultaneously with the effectiveness of this Agreement,
                 the Company shall pay all such fees and out-of-pocket expenses incurred or
                 accrued at any time prior to the Agreement Effective Date; (y) the Company
                 shall pay any accrued but unpaid amounts owing under such engagement
                 letter and/or fee reimbursement letters to the extent required under the terms
                 thereof upon the termination of this Agreement, but shall not be responsible
                 for any fees and expenses incurred after termination of this Agreement
                 (other than termination of this Agreement as a result of the occurrence of
                 the Plan Effective Date); and (z) notwithstanding anything to the contrary
                 herein, the Company shall also be required to reimburse all reasonable and
                 documented fees and expenses incurred by the Governmental Plaintiff Ad
                 Hoc Committee and the MSGE Group on or after the Effective Date in
                 connection with the implementation of the Plan (excluding, for the
                 avoidance of doubt, the expenses of the administration of the Opioid Trust).

       G.     Term Sheet. The Term Sheet is hereby amended and restated in its entirety and
replaced with Exhibit A hereto and all references to the Term Sheet in the Agreement shall be to
Exhibit A hereto. Attached hereto as Exhibit B is a redline of the Term Sheet reflecting the
changes.

      H.      MSGE Group Joinder Agreement. Section 4(b) of the MSGE Group Joinder
Agreement is hereby amended and restated in its entirety to read as follows:

                 Counsel agrees to use best efforts to obtain the executed signature pages of
                 the members of the MSGE Group to be appended hereto within five (5)
                 months from the date of execution of this Joinder Agreement, which may
                 be extended with the consent of the Company, the Governmental Plaintiff
                 Ad Hoc Committee and the Required Supporting Unsecured Noteholders

                                                   14
US-DOCS\121471315.13
            Case 20-12522-JTD          Doc 2917       Filed 06/18/21      Page 549 of 835




                 (each of whom are intended third-party beneficiaries hereunder). Failure to
                 satisfy the obligation in this paragraph shall result in a breach of this Joinder
                 Agreement as set forth in Section 2 above.

III.    Miscellaneous.

        A.    This Joinder Agreement shall be governed by the governing law set forth in the
        Agreement.

        B.     This Joinder Agreement shall become effective and binding upon each Agreement
        Party upon the execution and delivery by the applicable Joinder Party of an executed
        signature page hereto and shall become effective and binding on all Agreement Parties
        upon receipt by the Company of executed signature pages from (a) the Company, (b) the
        Required Supporting Unsecured Noteholders, (c) the Governmental Plaintiff Ad Hoc
        Committee, (d) the MSGE Group, and (e) the holders of First Lien Term Loan Claims that
        hold greater than or equal to 66.7% in outstanding principal amount of each of (i) First
        Lien Term Loan Claims maturing in 2024 and (ii) First Lien Term Loan Claims maturing
        in 2025, in each case (the “Joinder Effective Date”).

        C.      Except as specifically set forth herein, the terms of the Agreement shall remain in
        full force and effect and are hereby ratified and confirmed.

        D.      This Joinder Agreement may be executed in several counterparts, each of which
        shall be deemed to be an original, and all of which together shall be deemed to be one and
        the same agreement. Execution copies of this Joinder Agreement delivered by facsimile
        or PDF shall be deemed to be an original for the purposes of this paragraph.

       IN WITNESS WHEREOF, the Joinder Parties hereto have caused this Joinder
Agreement to be executed and delivered by their respective duly authorized officers or other
authorized persons, solely in their respective capacity as officers or other authorized persons of the
undersigned and not in any other capacity, as of the date first set forth above.

                                        [Signature pages follow]




                                                    15
US-DOCS\121471315.13
Case 20-12522-JTD    Doc 2917    Filed 06/18/21   Page 550 of 835




                    [Signature Pages Redacted]
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 551 of 835




                         Exhibit A

              Amended & Restated Term Sheet
          Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 552 of 835

                                                                              Execution Version


THIS TERM SHEET IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES OR A
SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE
MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR
SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING CONTAINED IN
THIS TERM SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY OR, UNTIL
THE OCCURRENCE OF THE AGREEMENT EFFECTIVE DATE ON THE TERMS
DESCRIBED HEREIN AND IN THE RESTRUCTURING SUPPORT AGREEMENT,
DEEMED BINDING ON ANY OF THE PARTIES HERETO.

               Amended & Restated Mallinckrodt Restructuring Term Sheet

        This Term Sheet, which is Exhibit A to the Restructuring Support Agreement dated
October 11, 2020, by and among the Company and the Supporting Parties party thereto, describes
the proposed terms of the Company’s Restructuring. The Debtors will implement the
Restructuring through the Plan, which shall be consistent with the terms of this Term Sheet, the
RSA and the exhibits and schedules annexed hereto and thereto, including the Opioid Settlement
Term Sheet, which is Schedule 1 hereto, and the First Lien Settlement Term Sheet, which is
Schedule 3 hereto (as each may be amended or supplemented from time to time in accordance
therewith and/or the terms of the RSA), in the Chapter 11 Cases commenced by the Debtors in the
Bankruptcy Court on October 12, 2020, the Scheme of Arrangement based on the Plan to be
commenced in the Irish Examinership Proceedings, and the Recognition Proceedings (as defined
herein) in which the Canadian Court (as defined herein) shall recognize in Canada the Chapter 11
Cases. This Term Sheet incorporates the rules of construction set forth in section 102 of the
Bankruptcy Code. Capitalized terms used but not otherwise defined herein have the meanings
ascribed to them in the RSA, the Opioid Settlement Term Sheet, or the First Lien Settlement Term
Sheet, as applicable.

        This Term Sheet does not include a description of all of the terms, conditions, and other
provisions that are to be contained in the Plan and the other Definitive Documents, or the Scheme
of Arrangement and the Irish Examinership Proceedings, which remain subject to negotiation in
accordance with the RSA. Consummation of the transactions contemplated by this Term Sheet is
subject to (a) the negotiation and execution of the Definitive Documents evidencing and related to
the Restructuring contemplated herein, (b) satisfaction or waiver of all of the conditions in any
Definitive Document evidencing the transactions comprising the Restructuring, (c) entry of the
Confirmation Order and the satisfaction or waiver of any conditions to the effectiveness thereof,
(d) approval of the Scheme of Arrangement by the High Court of Ireland and the satisfaction or
waiver of any conditions to the effectiveness thereof, and (d) entry of an order recognizing the
Confirmation Order in the Recognition Proceedings. The Definitive Documents shall satisfy the
requirements of all applicable securities laws, the Bankruptcy Code, this Term Sheet, the Opioid
Settlement Term Sheet, the First Lien Settlement Term Sheet, the Scheme of Arrangement, the
Companies Act 2014 of Ireland governing the Irish Examinership Proceedings, and the Canadian
Companies Arrangement Act governing the Recognition Proceedings. The Definitive Documents
will contain terms and conditions that are dependent on each other, including those described in
this Term Sheet, the Opioid Settlement Term Sheet, and the First Lien Settlement Term Sheet.
         Case 20-12522-JTD     Doc 2917     Filed 06/18/21    Page 553 of 835




     TREATMENT OF CLAIMS AND EQUITY INTERESTS UNDER THE PLAN

    Type of Claim                        Treatment                        Impairment /
                                                                            Voting
Administrative, Tax,   All such claims shall be paid in full in cash on Unimpaired
Other Priority and     the Plan Effective Date, or in the ordinary course
Other Secured Claims   of business as and when due, or otherwise
                       receive treatment consistent with the provisions
                       of section 1129(a) of the Bankruptcy Code, in
                       each case, as determined by the Debtors with the
                       reasonable consent of the Required Supporting
                       Unsecured Noteholders, the Governmental
                       Plaintiff Ad Hoc Committee, and the MSGE
                       Group and following consultation with the
                       Supporting Term Lenders.
                       Administrative expense claims shall be paid on
                       the Plan Effective Date and shall include
                       Restructuring Expenses (as defined below).

First Lien Revolving   All allowed First Lien Revolving Loan Claims Unimpaired; not
Loan Claims            shall receive the treatment provided in the First entitled to vote
                       Lien Settlement Term Sheet.

First Lien Term Loan   All allowed First Lien Term Loan Claims shall Unimpaired; not
Claims                 receive the treatment provided in the First Lien entitled to vote;
                       Settlement Term Sheet.                           Impaired; entitled
                                                                        to vote

First Lien Notes       All allowed First Lien Notes Claims shall be Unimpaired; not
Claims                 Reinstated at existing rates and maturities. entitled to vote

Second Lien Notes      All allowed Second Lien Notes Claims shall be Unimpaired; not
Claims                 Reinstated at existing rates and maturities.  entitled to vote

Guaranteed             Holders of allowed Guaranteed Unsecured Impaired; entitled
Unsecured Notes        Notes Claims shall receive their pro rata share to vote
Claims                 of:
                         i.   $375 million of new secured takeback
                              second lien notes due 7 years after
                              emergence (the “Takeback Second Lien
                              Notes”), which shall contain economic
                              terms consistent with those set forth in
                              Annex 2 hereto; and
                        ii.   100% of New Mallinckrodt Common
        Case 20-12522-JTD      Doc 2917        Filed 06/18/21   Page 554 of 835




                              Shares, subject to dilution on account of
                              the New Opioid Warrants and the MIP
                              (each as defined below).

4.75% Unsecured        No property will be distributed to the Holders of Impaired; deemed
Notes Claims           allowed 4.75% Unsecured Notes Claims.             to reject; not
                                                                         entitled to vote

Legacy Debentures      No property will be distributed to the Holders of Impaired; deemed
Claims                 allowed Legacy Debentures Claims.                 to reject; not
                                                                         entitled to vote

General Unsecured     Holders of allowed General Unsecured Claims Impaired; entitled
Claims (Not Otherwise shall receive their pro rata share, at the to vote
Classified)           applicable Debtor, of up to $100 million to be
                      allocated among the Debtors (the “General
                      Unsecured Recovery Cash Pool”).

Trade Claims           As consideration for maintaining trade terms Impaired; entitled
                       consistent with those practices and programs to vote
                       most favorable to the Debtors in place during the
                       12 months before the Petition Date or such other
                       favorable terms as the Debtors and the Trade
                       Claimants may mutually agree on, holders of
                       allowed Trade Claims shall receive their pro
                       rata share of up to $50 million; provided that,
                       any amounts not allocated to allowed Trade
                       Claims up to $50 million shall be allocated to
                       the General Unsecured Recovery Cash Pool.

Opioid Claims          As of the Plan Effective Date, the Opioid Trust Impaired; entitled
                       will be formed and shall receive the Opioid to vote
                       Trust Consideration as set forth in the Opioid
                       Settlement Term Sheet.
                       All Opioid Claims shall automatically, and
                       without further act, deed, or court order, be
                       channeled exclusively to, and all of
                       Mallinckrodt’s liability for Opioid Claims shall
                       be assumed by, the Opioid Trust as more fully
                       set forth in the Opioid Settlement Term Sheet.
                       Each Opioid Claim shall be resolved in
                       accordance with the terms, provisions, and
                       procedures of the Opioid Trust Documents.




                                           3
         Case 20-12522-JTD     Doc 2917        Filed 06/18/21   Page 555 of 835




Intercompany Claims    No property will be distributed to the Holders of   Unimpaired;
                       allowed Intercompany Claims.              Unless    deemed to accept;
                       otherwise provided for under the Plan, each         or Impaired;
                       Intercompany Claim will either be Reinstated or     deemed to reject;
                       canceled and released at the option of the          not entitled to
                       Debtors in consultation with the Supporting         vote
                       Unsecured Noteholders, Supporting Term
                       Lenders, the Governmental Plaintiff Ad Hoc
                       Committee, and the MSGE Group.

Intercompany           Intercompany Interests shall receive no recovery    Unimpaired;
Interests              or distribution and be Reinstated solely to the     deemed to accept;
                       extent necessary to maintain the Debtors’           or Impaired;
                       corporate structure.                                deemed to reject;
                                                                           not entitled to
                                                                           vote

Equity Interests       All existing Equity Interests shall be discharged, Impaired; deemed
                       cancelled, released, and extinguished.             to reject; not
                                                                          entitled to vote

                   OTHER TERMS OF THE RESTRUCTURING

Case Financing         The Chapter 11 Cases will be financed by existing cash and use of
                       cash collateral on terms and conditions subject to the reasonable
                       consent of the Required Supporting Unsecured Noteholders, the
                       Required Supporting Term Lenders, the Governmental Plaintiff Ad
                       Hoc Committee, and the MSGE Group and any cash collateral order
                       will provide that any periods in which creditors are required to
                       challenge any Debtor stipulations or claims against any of the
                       Debtors (including the claims of lenders/bondholders) shall
                       automatically be tolled with respect to the Supporting Governmental
                       Opioid Claimants while the RSA remains in effect with respect to the
                       Supporting Governmental Opioid Claimants. Any such challenge
                       periods applicable to a Supporting Governmental Opioid Claimant
                       would begin to run only after termination of the RSA by or against
                       such Supporting Governmental Opioid Claimant.

Executory Contracts    Except as otherwise provided in this Term Sheet or the RSA, the
and Unexpired Leases   Debtors shall assume all executory contracts and unexpired leases
                       other than those executory contracts and unexpired leases to be
                       identified on a schedule of rejected executory contracts and
                       unexpired leases included in the Plan Supplement or otherwise
                       rejected pursuant to an order of the Bankruptcy Court, in each case
                       as determined by the Debtors with the reasonable consent of the
                       Required Supporting Unsecured Noteholders, the Governmental



                                           4
        Case 20-12522-JTD   Doc 2917        Filed 06/18/21   Page 556 of 835




                    Plaintiff Ad Hoc Committee, and the MSGE Group and following
                    consultation with the Supporting Term Lenders. For the avoidance
                    of doubt, assumption of executory contracts and unexpired leases
                    shall be consistent with the RSA and this Term Sheet, including as
                    specified in “Employee Matters” and “Indemnification of Prepetition
                    Directors, Officers, Managers, et al.”

Opioid Trust        Opioid Claims shall be channeled exclusively to, and all of
                    Mallinckrodt’s liability for Opioid Claims shall be assumed by, the
                    Opioid Trust. Each Opioid Claim shall be resolved in accordance
                    with the terms, provisions, and procedures of the Opioid Trust
                    Documents. The Opioid Trust shall be funded in accordance with the
                    provisions of the Plan and the Opioid Settlement Term Sheet.
                    The sole recourse of any Opioid Claimant on account of such Opioid
                    Claim shall be to the Opioid Trust, and each Opioid Claimant shall
                    have no right whatsoever at any time to assert its Opioid Claim
                    against any Released Party.

CMS/DOJ/States      The Plan will provide for the implementation of a settlement between
Settlement          Mallinckrodt, the United States, and the States resolving Acthar-
                    related litigations and government investigations disclosed in the
                    Company’s Form 10-K for 2019, including United States of America,
                    et al., ex rel., Charles Strunck, et al. v. Mallinckrodt ARD LLC (E.D.
                    Penn.); United States of America et al. ex rel. Landolt v. Mallinckrodt
                    ARD, LLC (D. Mass.); and Mallinckrodt ARD LLC v. Verma et al.
                    (D.D.C.), and related matters, the terms of which are set forth on
                    Schedule 2 hereto.

Corporate           The Reorganized Debtors’ board shall consist of at least 7 directors
Governance          including, the Debtors’ Chief Executive Officer. As of the Plan
                    Effective Date, the members of the initial Reorganized Debtors’
                    board shall be designated by the Required Supporting Unsecured
                    Noteholders; provided that, the members of the Reorganized
                    Debtors’ board, other than the Debtors’ Chief Executive Officer, shall
                    be independent under NYSE/NASDAQ listing standards and shall be
                    independent of the Supporting Unsecured Noteholders, unless the
                    Governmental Plaintiff Ad Hoc Committee, the MSGE Group, and
                    the Debtors otherwise consent. No parties shall be afforded special
                    rights under any charter, constitutions or bylaws or similar governing
                    foundational document of any Reorganized Debtor; provided, that,
                    the foregoing shall not be deemed to limit certain information,
                    registration or similar rights to be afforded to (i) the Governmental
                    Plaintiff Ad Hoc Committee and the MSGE Group in other
                    agreements with the Reorganized Debtors, including pursuant to the
                    New Opioid Warrants, (ii) the Supporting Term Lenders in
                    connection with other agreements with the Reorganized Debtors,


                                        5
         Case 20-12522-JTD       Doc 2917         Filed 06/18/21   Page 557 of 835




                         including pursuant to the New Term Loan Documentation, and (iii)
                         any lenders, including the Supporting Term Lenders, pursuant to any
                         Exit Financing Documents.

Employee Matters         Substantially all employees of the Debtors to be retained by the
                         Reorganized Debtors. The Reorganized Debtors shall assume any
                         employment, confidentiality, and non-competition agreements,
                         bonus, gainshare and incentive programs (other than awards of stock
                         options, restricted stock, restricted stock units, and other equity
                         awards), vacation, holiday pay, severance, retirement, supplemental
                         retirement, executive retirement, pension, deferred compensation,
                         medical, dental, vision, life and disability insurance, flexible
                         spending account, and other health and welfare benefit plans,
                         programs and arrangements, and all other wage, compensation,
                         employee expense reimbursement, and other benefit obligations of
                         the Debtors.

Indemnification of       The Plan shall provide that, consistent with applicable law, all
Prepetition Directors,   indemnification provisions currently in place (whether in the by-
Officers, Managers, et   laws, constitutions, certificates of incorporation or formation, limited
al.                      liability company agreements, other organizational documents, board
                         resolutions, indemnification agreements, employment contracts or
                         otherwise) for the current and former direct and indirect sponsors,
                         directors, officers, managers, employees, attorneys, accountants,
                         investment bankers, financial advisors, restructuring advisors,
                         consultants and other professionals of the Debtors, as applicable,
                         shall be reinstated (to the extent required) and remain intact and
                         irrevocable and shall survive effectiveness of the Restructuring.

MIP                      On the Plan Effective Date, the Reorganized Debtors shall adopt the
                         management incentive plan (the “MIP”) which shall provide for the
                         issuance to management, key employees and directors of the
                         Reorganized Debtors of 10% of the fully diluted New Mallinckrodt
                         Common Shares (for the avoidance of doubt, after giving effect to
                         the exercise of the New Opioid Warrants) not later than thirty (30)
                         days after the Plan Effective Date at least half of the MIP shares will
                         be granted and shall vest in accordance with the terms set forth in
                         Annex 3 hereto, and the remaining amount of which shall be reserved
                         for future issuance as determined by the Reorganized Debtors’ board;
                         provided, that the MIP may be modified or amended by the mutual
                         agreement of the Debtors and the Required Supporting Noteholders
                         prior to the Plan Effective Date, with the consent of the
                         Governmental Plaintiff Ad Hoc Committee and the MSGE Group
                         (such consent not to be unreasonably withheld). The final terms of
                         the MIP (including any amendments or modifications, if any) shall
                         be included in the Plan Supplement.



                                              6
         Case 20-12522-JTD   Doc 2917        Filed 06/18/21   Page 558 of 835




Exit Capital Raise   Exact terms, if any, to be agreed upon by the Debtors and Supporting
                     Unsecured Noteholders holding no less than two-thirds in
                     outstanding principal amount of Guaranteed Unsecured Notes held
                     by the Supporting Unsecured Noteholders then party to the
                     Restructuring Support Agreement, with the consent of (i) the
                     Governmental Plaintiff Ad Hoc Committee and the MSGE Group to
                     the extent (x) such exit capital is raised in the form of indebtedness
                     (such consent not to be unreasonably withheld) or (y) that any such
                     terms could reasonably be expected to have an adverse effect, in any
                     material respect, on the treatment, rights, or entitlements of the
                     holders of Opioid Claims under the RSA and (ii) the Required
                     Supporting Term Lenders to the extent (x) such exit capital is raised
                     in the form of indebtedness or (y) that any such terms could
                     reasonably be expected to have an adverse effect on the treatment,
                     rights, or entitlements of the holders of First Lien Term Loan Claims
                     under the RSA and the First Lien Settlement Term Sheet; provided,
                     that the Supporting Term Lenders shall not have any consent rights
                     with respect to exit capital raised on or prior to the Plan Effective
                     Date in the form of indebtedness that is (I) junior to the New First
                     Lien Term Loans and matures after the maturity date of the New First
                     Lien Term Loans, (II) any indebtedness incurred to fund payment of
                     the First Lien Revolving Loan Claims and/or the First Lien Notes
                     Claims in an aggregate principal amount not to exceed the principal
                     amount (or accreted value, if applicable) of such First Lien Revolving
                     Loan Claims and/or First Lien Notes Claims (plus unpaid accrued
                     interest and premium (including tender premiums) thereon and
                     underwriting discounts, defeasance costs, fees, commissions,
                     expenses, plus an amount equal to any existing commitment
                     unutilized thereunder and letters of credit undrawn thereunder), (III)
                     the Takeback Second Lien Notes (so long as such Takeback Second
                     Lien Notes are not first-lien indebtedness), (IV) any receivables
                     securitization facility in an aggregate principal amount not to exceed
                     $200 million or (V) other Indebtedness incurred pursuant to
                     provisions of Section 6.01 of Annex 1 attached to the First Lien
                     Settlement Term Sheet (“Annex 1”) as if in effect on the date of such
                     incurrence (but, for the avoidance of doubt, this clause (V) shall not
                     apply to any indebtedness permitted to be incurred pursuant to
                     Section 6.01 of Annex 1 based on the calculation of a financial ratio,
                     consolidated total assets or other financial metric) which
                     Indebtedness described in this clause (V), if secured, is secured by
                     any lien permitted by Section 6.02 of Annex 1. For the avoidance of
                     doubt, the re-designation, exchange, replacement, refinancing, or
                     acquisition, on or prior to the Plan Effective Date, of the Takeback
                     Second Lien Notes or the Second Lien Notes, in each case, into, by,
                     or for first lien indebtedness shall be prohibited.



                                         7
        Case 20-12522-JTD     Doc 2917         Filed 06/18/21    Page 559 of 835




Tax Issues            The Debtors and the Supporting Parties shall cooperate in good faith
                      to structure the Restructuring and related transactions in a tax-
                      efficient manner.

Restructuring         Without limiting any rights and remedies of the Debtors or
Transactions          Reorganized Debtors under the Plan or applicable law, but in all cases
                      subject to the terms and conditions of the RSA and any consents or
                      approvals required thereunder, the entry of the Confirmation Order
                      shall constitute authorization for the Reorganized Debtors to take, or
                      to cause to be taken, all actions necessary or appropriate to
                      consummate and implement the provisions of the Plan prior to, on
                      and after the Plan Effective Date, including such actions as may be
                      necessary or appropriate to effectuate a corporate restructuring of
                      their respective businesses, to otherwise simplify the overall
                      corporate structure of the Reorganized Debtors, or to reincorporate
                      certain of the Affiliate Debtors under the laws of jurisdictions other
                      than the laws of which the applicable Affiliate Debtors are presently
                      incorporated.     All such actions necessary or appropriate to
                      consummate and implement the provisions of the Plan shall be set
                      forth in the Plan Supplement, may include one or more mergers,
                      consolidations, restructures, conversions, dispositions, liquidations
                      or dissolutions, as may be determined by the Debtors or Reorganized
                      Debtors to be necessary or appropriate, but in all cases subject to the
                      terms and conditions of the Plan and the RSA and any consents or
                      approvals required thereunder (collectively, the “Restructuring
                      Transactions”); provided, that any Restructuring Transactions shall
                      (a) not adversely affect the recoveries under the Plan (i) of the holders
                      of Guaranteed Unsecured Notes Claims without the consent of the
                      Required Supporting Unsecured Noteholders or (ii) the holders of
                      Opioid Claims without the consent of the Governmental Plaintiff Ad
                      Hoc Committee and the MSGE Group, or (b) not materially
                      adversely affect the rights or recoveries under the Plan of the holders
                      of First Lien Term Loan Claims without the consent of the Required
                      Supporting Term Lenders.

Company Status Upon   On or as soon as reasonably practicable after the Plan Effective Date,
Emergence             the New Mallinckrodt Common Shares shall be listed for trading on
                      The NASDAQ Capital Market, the NASDAQ Global Market, or the
                      New York Stock Exchange; provided however that, in any event, on
                      the Plan Effective Date, the Reorganized Debtors shall have
                      governance standards as though they were listed on any such
                      exchange.




                                           8
         Case 20-12522-JTD       Doc 2917        Filed 06/18/21   Page 560 of 835




Cancellation of Notes,   On the Plan Effective Date, except to the extent otherwise provided
Instruments,             in the Plan, all notes, instruments, certificates, and other documents
Certificates, and        evidencing Claims or Equity Interests, shall be canceled and/or
Other Documents          updated to record such cancellation and the obligations of the
                         Debtors thereunder or in any way related thereto shall be deemed
                         satisfied in full and discharged.

Issuance of New          On the Plan Effective Date, the Reorganized Debtors shall issue all
Securities; Execution    securities, notes, instruments, certificates, and other documents
of the Plan              required to be issued or make, or cause to be made, such entries in its
Restructuring            books and records pursuant to the Restructuring. The Parties shall
Documents                use reasonable efforts to make securities issued under the Plan DTC
                         eligible.

Fees and Expenses of     The Debtors shall pay all reasonable and documented fees and out of
the Restructuring        pocket expenses of :
Support Agreement
                            •   (a) primary counsel to the Unsecured Notes Ad Hoc Group,
Parties
                                Paul, Weiss, Rifkind, Wharton & Garrison LLP, (b) one
                                Delaware counsel to the Unsecured Notes Ad Hoc Group,
                                (c) one Irish counsel to the Unsecured Notes Ad Hoc Group,
                                (d) one regulatory counsel to the Unsecured Notes Ad Hoc
                                Group and (e) one financial advisor to the Unsecured Notes
                                Ad Hoc Group, Perella Weinberg Partners LP, (f) one
                                Canadian counsel to the Unsecured Notes Ad Hoc Group, and
                                (g) such other legal, consulting, financial, and/or other
                                professional advisors to which the Unsecured Notes Ad Hoc
                                Group and the Debtors shall reasonably agree from time to
                                time;
                            •   (a) primary counsel to the Governmental Plaintiff Ad Hoc
                                Group, Gilbert LLP, Kramer Levin Naftalis & Frankel LLP,
                                and Brown Rudnick LLP, (b) one local counsel to the
                                Governmental Plaintiff Ad Hoc Group, (c) one Irish counsel
                                to the Governmental Plaintiff Ad Hoc Committee, (d) one
                                investment banker to the Governmental Plaintiff Ad Hoc
                                Committee, Houlihan Lokey, Inc., and (e) such other legal,
                                consulting, financial, and/or other professional advisors to
                                which the Governmental Plaintiff Ad Hoc Committee and
                                the Debtors shall reasonably agree from time to time;
                            •   (a) primary counsel to the MGSE Group, Caplin & Drysdale,
                                Chartered, (b) one local counsel to the MSGE Group, Seitz,
                                Van Ogtrop & Green, P.A., (c) one financial advisor to the
                                MSGE Group, FTI Consulting, and (d) such other legal,
                                consulting, financial, and/or other professional advisors to
                                which the MSGE Group and the Debtors shall reasonably



                                             9
           Case 20-12522-JTD    Doc 2917      Filed 06/18/21     Page 561 of 835




                               agree from time to time;
                           •   indenture trustee fees; and
                           •   (a) primary counsel to the Ad Hoc First Lien Term Lender
                               Group, Gibson, Dunn & Crutcher LLP, (b) one financial
                               advisor to the Ad Hoc First Lien Term Lender Group,
                               Evercore Group, LLC, and (c) such other legal, consulting,
                               financial, and/or other professional advisors that the Ad Hoc
                               First Lien Term Lender Group is permitted to retain under the
                               Final Cash Collateral Order or as the Debtors shall reasonably
                               agree from time to time (including any additional Delaware
                               counsel retained in connection with the motion seeking
                               approval of the 2020 ECF Payment Settlement),
                        in each case, that are due and owing after receipt of applicable
                        invoices with non-privileged summaries of services rendered,
                        without any requirement for the filing of fee or retention applications
                        in the Chapter 11 Cases, and in accordance with the terms of the
                        applicable engagement letters, if any, with any balance(s) paid on the
                        Plan Effective Date (collectively, the “Restructuring Expenses”).

Retention of            The Plan will provide for the retention of jurisdiction by the
Jurisdiction            Bankruptcy Court for usual and customary matters.

Releases                The exculpation provisions, Debtor releases, third-party releases and
                        injunction provisions to be included in the Plan will be consistent
                        with Annex 4 hereto in all material respects, to the fullest extent
                        permissible under applicable law.
                        In addition, the Plan will include separate release and channeling
                        injunction provisions with respect to Opioid Claims.

Consent Rights          All consent rights not otherwise set forth herein shall be set forth in
                        the RSA.

Conditions Precedent    The Plan shall contain customary conditions precedent to occurrence
to the Plan Effective   of the Plan Effective Date, including the following:
Date
                           •   the RSA shall remain in full force and effect and shall not
                               have been terminated, and the parties thereto shall be in
                               compliance therewith;
                           •   the Bankruptcy Court shall have entered the Confirmation
                               Order in form and substance consistent with the RSA and
                               such order shall be a Final Order;
                           •   the Debtors shall have obtained all authorizations, consents,
                               regulatory approvals, rulings, or documents that are
                               necessary to implement and effectuate the Plan and each of



                                            10
Case 20-12522-JTD   Doc 2917      Filed 06/18/21     Page 562 of 835




                    the other transactions contemplated by the Restructuring;
               •    all conditions precedent to the consummation of the Opioid
                    Settlement and related transactions, including the
                    establishment of the Opioid Trust and authorization for the
                    payment of the Opioid Trust Consideration, have been
                    satisfied or waived by the party or parties entitled to waive
                    them in accordance with the terms of the Opioid Trust
                    Documents;
               •    the final version of the Plan, Plan Supplement, the Opioid
                    Trust Documents, and all of the schedules, documents, and
                    exhibits contained therein, and all other schedules,
                    documents, supplements, and exhibits to the Plan, shall be
                    consistent with the RSA;
               •    the Canadian Court shall have issued an order recognizing the
                    Confirmation Order in the Recognition Proceedings and
                    giving full force and effect to the Confirmation Order in
                    Canada and such recognition order shall have become a Final
                    Order;
               •    the High Court of Ireland shall have made an order
                    confirming the Scheme of Arrangement in the Irish
                    Examinership Proceedings and the Scheme of Arrangement
                    shall have become effective in accordance with its terms (or
                    shall become effective concurrently with effectiveness of the
                    Plan);
               •    the Irish Takeover Panel shall have either: (a) confirmed that
                    an obligation to make a mandatory general offer for the shares
                    of the Parent pursuant to Rule 9 of the Irish Takeover Rules
                    will not be triggered by the implementation of the Scheme of
                    Arrangement and the Plan; or (b) otherwise waived the
                    obligation on the part of any Person to make such an offer;
               •    any civil or criminal claims asserted by or on behalf of the
                    Department of Justice (other than those resolved pursuant to
                    the CMS/DOJ/States Settlement) have been resolved on
                    terms reasonably acceptable to the Debtors, the Required
                    Supporting Unsecured Noteholders, the Governmental
                    Plaintiff Ad Hoc Committee, and the MSGE Group and, to
                    the extent such resolution requires a cash payment that is not
                    paid from the General Unsecured Recovery Cash Pool and
                    such payment (and not any other payments, conditions, or
                    circumstances) causes a materially adverse reduction in
                    projected cash as of the Plan Effective Date as compared to
                    the projections contained in the 8K filed on March 10, 2020,
                    the Required Supporting Term Lenders;



                                11
Case 20-12522-JTD   Doc 2917      Filed 06/18/21     Page 563 of 835




               •    the Debtors shall have paid in full all professional fees and
                    expenses of the Debtors’ retained professionals that require
                    the Bankruptcy Court’s approval or amounts sufficient to pay
                    such fees and expenses after the Plan Effective Date shall
                    have been placed in a professional fee escrow account
                    pending the Bankruptcy Court’s approval of such fees and
                    expenses;
               •    the Debtors shall have paid the Restructuring Expenses in
                    full, in cash;
               •    the Bankruptcy Court shall have entered the CCO
                    Modification Order in form and substance reasonably
                    acceptable to the Required Supporting Term Lenders and
                    such order shall be a Final Order and remain in full force and
                    effect; provided, that, this condition precedent shall not be
                    deemed unmet based solely on the Bankruptcy Court
                    declining to apply the Adjusted Interest Rate retroactively to
                    any date prior to the entry of the CCO Modification Order or
                    because of the failure of the CCO Modification Order to
                    require payment of the Term Loan Exit Payment;
               •    the Debtors shall have paid the Noteholder Consent Fee and
                    Term Loan Exit Payment on the Plan Effective Date;
               •    the Bankruptcy Court shall have entered a Final Order
                    authorizing and directing the Debtors to pay all Transaction
                    Fees payable under the Reimbursement Agreements (each as
                    defined in the RSA Parties Fee Motion); and
               •    the Restructuring to be implemented on the Plan Effective
                    Date shall be consistent with the Plan and the RSA.




                                12
         Case 20-12522-JTD      Doc 2917     Filed 06/18/21     Page 564 of 835




                                        Annex 1

                                  Certain Definitions

1992 Legacy Debentures   That certain Indenture, dated as of April 30, 1992, by and among
Indenture                Ludlow Corporation, as issuer, U.S. Bank National Association (as
                         successor in interest to Security National Pacific Trust Company
                         (New York)), as trustee, as supplemented by that certain First
                         Supplemental Indenture, dated as of April 30, 1992, with U.S. Bank
                         National Association (as successor in interest to Security Pacific
                         National Trust Company (New York)) (each as modified, amended,
                         or supplemented from time to time).

1993 Legacy Debentures   That certain Indenture, dated as of April 30, 1992, by and among
Indenture                Ludlow Corporation, as issuer, U.S. Bank National Association (as
                         successor in interest to Security National Pacific Trust Company
                         (New York)), as trustee, as supplemented by that certain Second
                         Supplemental Indenture, dated as of March 8, 1993, with U.S. Bank
                         National Association (as successor in interest to BankAmerica
                         National Trust Company) (each as modified, amended, or
                         supplemented from time to time).

2013 Notes Indenture     That certain Indenture, dated as of April 11, 2013, by and among
                         Mallinckrodt International Finance S.A. as issuer, the guarantor
                         party thereto, and Deutsche Bank Trust Company Americas, as
                         trustee (as modified, amended, or supplemented from time to time).

2014 Notes Indenture     That certain Indenture, dated as of August 13, 2014, by and among
                         Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC,
                         as issuers, Deutsche Bank Trust Company Americas, as trustee, and
                         the guarantors party thereto from time to time (as modified,
                         amended, or supplemented from time to time).

2020 First Lien Notes    That certain Indenture, dated as of April 7, 2020, by and among
Indenture                Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC,
                         as issuers, Wilmington Savings Fund Society, FSB, as first lien
                         trustee, Deutsche Bank AG New York Branch, as first lien collateral
                         agent, and the guarantors party thereto from time to time (as
                         modified, amended, or supplemented from time to time).

2019 Second Lien Notes   That certain Indenture, dated as of December 6, 2019, by and among
Indenture                Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC,
                         as issuers, Wilmington Savings Fund Society, FSB, as second lien
                         trustee and second lien collateral agent, and the guarantors party
                         thereto from time to time (as modified, amended, or supplemented
                         from time to time).
            Case 20-12522-JTD   Doc 2917          Filed 06/18/21    Page 565 of 835




4.75% Senior Notes due   The 4.75% senior notes due 2023 pursuant to the 2013 Notes
2023                     Indenture.

4.75% Unsecured Notes    Any Claim arising under or based upon the 4.75% Unsecured Notes
Claims                   or the 2013 Notes Indenture.

5.50% Senior Notes       The 5.50% senior notes due 2025 pursuant to the April 2015 Notes
2025                     Indenture.

5.625% Senior Notes      The 5.625% senior notes due 2023 pursuant to the September 2015
due 2023                 Notes Indenture.

5.75% Senior Notes due   The 5.75% senior notes due 2022 pursuant to the 2014 Notes
2022                     Indenture.
8.00% Debentures due     The 8.00% debentures due 2023 pursuant to the 1993 Legacy
March 2023               Debentures Indenture.
9.50% Debentures due     The 9.50% debentures due 2022 pursuant to the 1992 Legacy
May 2022                 Debentures Indenture.

Affiliate                As defined in section 101(2) of the Bankruptcy Code.

April 2015 Notes         That certain Indenture, dated as of April 15, 2015, by and among
Indenture                Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC,
                         as issuers, Deutsche Bank Trust Company Americas, and the
                         guarantors party thereto from time to time (as modified, amended,
                         or supplemented from time to time).

Avoidance Actions        Any and all avoidance, recovery, subordination or similar actions or
                         remedies that may be brought by and on behalf of the Debtors or
                         their estates under the Bankruptcy Code or applicable non-
                         bankruptcy law, including, without limitation, actions or remedies
                         arising under chapter 5 of the Bankruptcy Code.
Canadian Court           The Ontario Superior Court of Justice (Commercial List)
Causes of Action         Any claims, causes of action (including Avoidance Actions),
                         demands, actions, suits, obligations, liabilities, cross-claims,
                         counterclaims, defenses, offsets, or setoffs of any kind or character
                         whatsoever, in each case whether known or unknown, contingent or
                         noncontingent, matured or unmatured, suspected or unsuspected,
                         foreseen or unforeseen, direct or indirect, choate or inchoate,
                         existing or hereafter arising, under statute, in contract, in tort, in law,
                         or in equity, or pursuant to any other theory of law, federal or state,
                         whether asserted or assertable directly or derivatively in law or
                         equity or otherwise by way of claim, counterclaim, cross-claim,


                                              2
         Case 20-12522-JTD   Doc 2917         Filed 06/18/21   Page 566 of 835




                      third party action, action for indemnity or contribution or otherwise.

Class                 Each class of Holders of Claims or Equity Interests established
                      under the Plan pursuant to section 1122(a) of the Bankruptcy Code.

Confirmation Date     The date on which the Confirmation Order is entered by the
                      Bankruptcy Court.

Consummation          The occurrence of the Plan Effective Date.

Current Opioid PI     A claim held by an individual against a Debtor for harm arising out
Claim                 of the use of opioid products manufactured or sold prior to the Plan
                      Effective Date, other than a Future Opioid PI Claim.

Entity                As defined in section 101(15) of the Bankruptcy Code.

Equity Interest       Any issued, unissued, authorized, or outstanding ordinary shares or
                      shares of common stock, preferred stock, or other instrument
                      evidencing an ownership interest in Mallinckrodt plc, whether or
                      not transferable, together with any warrants, equity-based awards,
                      or contractual rights to purchase or acquire such equity interests at
                      any time and all rights arising with respect thereto that existed
                      immediately before the Plan Effective Date.

Exculpated Party      In each case, in its capacity as such: (a) the Debtors (and their
                      Representatives); (b) the Reorganized Debtors (and their
                      Representatives); and (c) the Future Claimants Representative.

Existing Credit       That certain Credit Agreement, dated as of March 19, 2014, by and
Agreement             among Mallinckrodt plc, as the parent, Mallinckrodt International
                      Finance S.A., as Lux borrower, Mallinckrodt CB LLC, as
                      co-borrower, the First Lien Agent, and the First Lien Lenders (as
                      modified, amended, or supplemented from time to time).

Final Order           An order entered by the Bankruptcy Court or other court of
                      competent jurisdiction: (a) that has not been reversed, stayed,
                      modified, amended, or revoked, and as to which (i) any right to
                      appeal or seek leave to appeal, certiorari, review, reargument, stay,
                      or rehearing has been waived or (ii) the time to appeal or seek leave
                      to appeal, certiorari, review, reargument, stay, or rehearing has
                      expired and no appeal, motion for leave to appeal, or petition for
                      certiorari, review, reargument, stay, or rehearing is pending or (b) as
                      to which an appeal has been taken, a motion for leave to appeal, or
                      petition for certiorari, review, reargument, stay, or rehearing has
                      been filed and (i) such appeal, motion for leave to appeal or petition
                      for certiorari, review, reargument, stay, or rehearing has been
                      resolved by the highest court to which the order or judgment was


                                          3
         Case 20-12522-JTD      Doc 2917         Filed 06/18/21   Page 567 of 835




                         appealed or from which leave to appeal, certiorari, review,
                         reargument, stay, or rehearing was sought and (ii) the time to appeal
                         (in the event leave is granted) further or seek leave to appeal,
                         certiorari, further review, reargument, stay, or rehearing has expired
                         and no such appeal, motion for leave to appeal, or petition for
                         certiorari, further review, reargument, stay, or rehearing is pending.

First Lien Agent         Deutsche Bank AG New York Branch, in its capacity as
                         administrative agent under the Existing Credit Agreement or, as
                         applicable, any successor thereto.

First Lien Notes         The 10.00% first lien senior secured notes due 2025 pursuant to the
                         2020 First Lien Notes Indenture.

First Lien Notes Claim   Any Claim arising under or based upon the First Lien Notes or the
                         2020 First Lien Notes Indenture.

First Lien Credit        Any claim held by the First Lien Agent or the First Lien Lenders
Agreement Claims         derived from or based upon the Existing Credit Agreement or
                         theFirst Lien Credit Facility, including claims for all principal
                         amounts outstanding (including any right to prepayment thereof),
                         interest, fees, expenses, costs, indemnification and other charges
                         and expenses arising under or related to the First Lien Credit Facility
                         or the Existing Credit Agreement.

First Lien Credit        The credit facility evidenced by the Existing Credit Agreement.
Facility

First Lien Lenders       The banks, financial institutions, and other lenders party to the
                         Existing Credit Agreement from time to time.

Future Opioid PI         A claim held by an individual against a Debtor for harm arising out
Claims                   of the use of opioid products manufactured or sold prior to the Plan
                         Effective Date, which could not be discharged by confirmation of a
                         plan of reorganization if the Bankruptcy Court did not appoint a
                         future claimants representative in the Chapter 11 Cases and which
                         claim is to be addressed by the Opioid Trust to assume the liabilities
                         of the Debtors for damages allegedly caused by the use of opioid
                         products.

Future Opioid PI         Individuals holding Future Opioid PI Claims.
Claimants

Future Claimants         The legal representative for Future Opioid PI Claimants.
Representative

General Unsecured        Any Unsecured Claim (other than a Guaranteed Unsecured Notes


                                             4
           Case 20-12522-JTD   Doc 2917        Filed 06/18/21   Page 568 of 835




Claims                  Claim, a Trade Claim, an Opioid Claim, an Administrative, Tax,
                        Other Priority or Other Secured Claim, or (subject to effectiveness
                        of the CMS/DOJ/States Settlement) a Claim resolved by the
                        CMS/DOJ/States Settlement), including without limitation
                        (a) Claims arising from the rejection of unexpired leases or
                        executory contracts, (b) Claims arising from any litigation or other
                        court, administrative or regulatory proceeding, including damages
                        or judgments entered against, or settlement amounts owing by a
                        Debtor in connection therewith, and (c) Claims related to asbestos
                        exposure or products containing asbestos.

Guaranteed Unsecured    The 5.75% Senior Notes due 2022, the 5.500% Senior Notes Due
Notes                   2025 and the 5.625% Senior Notes Due 2023.

Guaranteed Unsecured    Any Claim arising under or based upon the Guaranteed Unsecured
Notes Claims            Notes or the Guaranteed Unsecured Notes Indentures.

Guaranteed Unsecured    Collectively, the 2014 Notes Indenture, the April 2015 Notes
Notes Indentures        Indenture and the September 2015 Notes Indenture.

Holder                  An Entity holding a Claim or Equity Interest, as applicable.

Impaired                With respect to any Class of Claims or Equity Interests, a Class of
                        Claims or Equity Interests that is impaired within the meaning of
                        section 1124 of the Bankruptcy Code.

Intercompany Claim      A prepetition Claim held by a Debtor or non-Debtor against a
                        Debtor.

Intercompany Interest   An Interest in any Debtor other than Mallinckrodt Plc.

Irish Takeover Panel    The Irish Takeover Panel constituted under Irish Takeover Panel Act
                        1997.

Irish Takeover Rules    The Irish Takeover Panel Act 1997, Takeover Rules 2013.

Legacy Debentures       Any Claim arising under or based upon the 1992 Legacy Debentures
Claims                  Indenture or 1993 Legacy Debentures Indenture.

Lien                    A lien as defined in section 101(37) of the Bankruptcy Code.

New Mallinckrodt        Common equity interests or ordinary shares in the Reorganized
Common Shares           Debtor, Mallinckrodt plc.

New Opioid Warrants     The warrants contemplated under the Opioid Settlement and Opioid
                        Trust Documents, which shall be consistent with the terms set forth
                        in the Opioid Settlement Term Sheet.



                                           5
         Case 20-12522-JTD   Doc 2917        Filed 06/18/21   Page 569 of 835




Recognition           The proceedings commenced by the Debtors under Part IV of the
Proceedings           Canadian Companies Arrangement Act in the Canadian Court to
                      recognize in Canada the Chapter 11 Cases and to recognize in
                      Canada certain Orders of the Bankruptcy Court.

Reinstated            With respect to Claims and Equity Interests, that the Claim or Equity
                      Interest shall be rendered Unimpaired in accordance with section
                      1124 of the Bankruptcy Code.

Reorganized Debtors   The Debtors, as reorganized pursuant to and under the Plan or any
                      successor thereto.

Required Supporting   Holders of at least two-thirds in outstanding principal amount of
Second Lien           Second Lien Notes.
Noteholders

Released Party        (a) The Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor
                      Affiliates, (d) with respect to each of the foregoing Persons in
                      clauses (a) through (c), such Persons’ (i) predecessors, successors,
                      permitted assigns, subsidiaries, and controlled affiliates, respective
                      heirs, executors, estates, and nominees, in each case solely in their
                      capacity as such and (ii) current and former officers and directors,
                      principals, members, employees, financial advisors, attorneys
                      (including attorneys retained by any director in his or her capacity
                      as such), accountants, investment bankers (including investment
                      bankers retained by any director in his or her capacity as such),
                      consultants, experts and other professionals of the persons described
                      in clauses (a) through (d)(i); (e) each member of the Unsecured
                      Notes Ad Hoc Group in their capacity as such, (f) each Supporting
                      Unsecured Noteholder in their capacity as such, (g) the Opioid
                      Trust, (h) each member of the Governmental Plaintiff Ad Hoc
                      Committee in their capacity as such, (i) each Supporting
                      Governmental Opioid Claimant in their capacity as such; (j) each
                      member of the MSGE Group in their capacity as such; (k) each of
                      the Secured Parties, (l) each Supporting Term Lender in their
                      capacity as such, (m) each member of the Ad Hoc First Lien Term
                      Lender Group in their capacity as such, and (m) with respect to each
                      of the foregoing Persons in clauses (e) through (m), each such
                      Person’s Representatives. Notwithstanding anything to the contrary
                      herein, Medtronic plc and its related parties will not be Released
                      Parties.

Second Lien Notes     The 10.00% second lien senior secured notes due 2025 pursuant to
                      the 2019 Second Lien Notes Indenture.

Second Lien Notes     Any Claim arising under or based upon the Second Lien Notes



                                         6
         Case 20-12522-JTD   Doc 2917        Filed 06/18/21   Page 570 of 835




Claim                  Indenture or the 2019 Second Lien Notes Indenture.

Secured Parties        The Prepetition Secured Parties, as defined in the Cash Collateral
                       Order.

September 2015 Notes   That certain Indenture, dated as of September 24, 2015, by and
Indenture              among Mallinckrodt International Finance S.A. and Mallinckrodt
                       CB LLC, as issuers, Deutsche Bank Trust Company Americas, as
                       trustee, and the guarantors party thereto from time to time (as
                       modified, amended, or supplemented from time to time).

Trade Claim            An Unsecured Claim held by a Trade Claimant.

Trade Claimant         Trade creditors, service providers and other vendors who provide
                       goods and services necessary for the Debtors continued operations,
                       including those creditors described in (a) Motion of Debtors for
                       Interim and Final Orders Authorizing the Debtors to Pay
                       Prepetition Claims of Critical Vendors, (b) Motion of Debtors for
                       Interim and Final Orders Authorizing the Debtors to Pay
                       Prepetition Claims of Foreign Vendors, and (c) Motion of Debtors
                       for Interim and Final Orders (A) Authorizing Payment of
                       Lienholder Claims and (B) Authorizing Payment of Section
                       503(b)(9) Claims.

Unimpaired             With respect to a Claim, Equity Interest, or Class of Claims or
                       Equity Interests, not “impaired” within the meaning of sections
                       1123(a)(4) and 1124 of the Bankruptcy Code.

Unsecured Claim        A Claim that is not secured by a Lien on property in which one of
                       the Debtors’ estates has an interest.




                                         7
           Case 20-12522-JTD   Doc 2917     Filed 06/18/21       Page 571 of 835




                                       Annex 2

                      Takeback Second Lien Notes Summary Terms

Amount                            •   $375 million
Notes                             •   Senior Secured Second Lien Notes
Issuers                           •   Mallinckrodt International Finance S.A. and
                                      Mallinckrodt CB LLC
Obligors                          •   Same as the obligors on the Deferred Cash Payments,
                                      provided that any obligations on account of the
                                      Takeback Second Lien Notes shall (i) be guaranteed
                                      by the same entities that guarantee the First Lien
                                      Notes and (ii) comply with the terms of the
                                      Debtors’ existing funded indebtedness
Coupon                            •   Payable in cash at 10.00%
Maturity                          •   Seven (7) years following the Plan Effective Date
Collateral/Priority               •   Pari passu with the second lien security interests as
                                      with existing Second Lien Notes
Put                               •   Puttable to the issuer at 101% of par upon a change of
                                      control
Equity Claw                       •   Company may redeem up to 40% of Takeback Second
                                      Lien Notes at a redemption price of 110% of par with
                                      the proceeds of an equity offering
Call Protections                  •   Non-callable for 4 years
                                  •   105 call in year 5
                                  •   102.5 in year 6
                                  •   Par thereafter
Affirmative and Negative          •   To generally match the 2020 First Lien Notes
Covenants                             Indenture, as adjusted to reflect new Takeback Second
                                      Lien Notes structure
             Case 20-12522-JTD              Doc 2917         Filed 06/18/21         Page 572 of 835




                                                       Annex 3

           Term Sheet for Mallinckrodt Pharmaceuticals Management Incentive Plan

       The following term sheet summarizes the principal terms of a management incentive plan
(the “MIP”) that certain creditors receiving equity securities (the “Investors”) of New
Mallinckrodt (the “Company” and together with its controlled subsidiaries, the
“Company Group”) will adopt effective upon emergence (the “Closing”).
Capitalized terms used but not defined herein shall have the meanings set forth in the Restructuring
Support Agreement and the Restructuring Term Sheet attached thereto as Exhibit A both dated
October 11, 2020, to which this term sheet is attached as Annex 2 (the “RSA”). The terms outlined
in this Term Sheet assume New Mallinckrodt will be a publicly traded company shortly following
Closing consistent with the RSA.

Plan Reserve:                     A number of New Mallinckrodt Common Shares representing 10% of
                                  all equity interests in the Company outstanding immediately after the
                                  Closing on a fully diluted basis, taking into account the Plan Reserve
                                  and any equity securities issued and outstanding at the Closing, and
                                  any warrants or securities convertible, exercisable or exchangeable
                                  therefor, will be reserved for issuance pursuant to the MIP (such
                                  securities issued pursuant to the MIP, the “Award Shares”).1
Eligibility:                      Company employees, non-employee consultants and outside
                                  Directors of the Company Group will be eligible to participate in the
                                  MIP. Each person who receives an award pursuant to the MIP is
                                  hereinafter referred to as a “Participant”.
Initial Grant:                    Not less than 50% of the Plan Reserve shall be granted in the form of
                                  restricted shares, restricted share units or options over New
                                  Mallinckrodt Common Shares (the “Restricted Shares”) within 30
                                  days following Closing with the allocation of such grants to be
                                  approved by the Compensation Committee of the Company based
                                  upon the recommendations of the Company’s CEO (the “Initial
                                  Grants”). No more than 25% of the Initial Grants shall be in the form
                                  of options.




1
          Plan Reserve subject to adjustment in connection with share split, reverse share split, share dividend or other
distribution (whether in the form of cash, shares, other securities or other property), extraordinary cash dividend,
recapitalization, merger, consolidation, split-up, spin-off, reorganization, combination, repurchase or exchange of
shares or other securities or similar corporate transaction or event.
          Case 20-12522-JTD      Doc 2917        Filed 06/18/21   Page 573 of 835




Vesting of
Initial Grants:          The Initial Grants will vest as determined in good faith by the
                         Compensation Committee in consultation with the Company’s CEO
                         over a period not exceeding 3 years.
                         If a Participant’s employment is terminated by the Company without
                         “Cause” or by the Participant for “Good Reason” (to be defined in the
                         MIP), all unvested awards that would otherwise vest during the 12
                         months following such termination, will vest upon termination,
                         subject to the Participant’s execution of a reasonable and customary
                         general release of claims in favor of the Company that becomes
                         effective within 60 days after such termination and continued material
                         compliance with the terms of any non-competition or non-solicitation
                         restrictive covenants to which the Participant is subject.
                         The MIP will contain other terms consistent with public company
                         equity incentive plans and awards within the Company’s peer group.
Change in Control:       Upon the occurrence of a “Change in Control” (to be defined in the
                         MIP), to the extent awards are not assumed or substituted, all awards
                         under the MIP shall become fully vested and payable.
Restrictive Covenants:   To the extent a Participant is not already subject to non-compete, non-
                         solicitation or other restrictive covenants, then such Participant will
                         be required to enter into a covenant consistent with Mallinckrodt’s
                         current Non-Competition, Non-Solicitation, and Confidentiality
                         Agreement, but with a non-compete/non-solicitation period not to
                         exceed 12 months.




                                             2
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 574 of 835




                                              Annex 4

                     Plan Release, Exculpation and Injunction Provisions

Releases by the Debtors

         Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions
of the Bankruptcy Code), as of the Plan Effective Date, for good and valuable consideration, the
adequacy of which is hereby confirmed, including, without limitation, the service of the Released
Parties before and during the Chapter 11 Cases to facilitate the Opioid Settlement and the
Restructuring, and except as otherwise explicitly provided in the Plan or in the Confirmation Order,
the Released Parties shall be deemed conclusively, absolutely, unconditionally, irrevocably and
forever released and discharged, to the maximum extent permitted by law, as such law may be
extended subsequent to the Plan Effective Date, by the Debtors and the Estates (the “Debtor
Release”) from any and all Claims, counterclaims, disputes, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, Liens, remedies, losses, contributions,
indemnities, costs, liabilities, attorneys’ fees and expenses whatsoever, including any derivative
claims, asserted or assertable on behalf of the Debtors or their Estates, whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether
in law or equity, whether sounding in tort or contract, whether arising under federal or state
statutory or common law, or any other applicable international, foreign, or domestic law, rule,
statute, regulation, treaty, right, duty, requirement or otherwise, that the Debtors or their Estates
would have been legally entitled to assert in their own right (whether individually or collectively)
or on behalf of the holder of any Claim or Equity Interest or other Person, based on or relating to,
or in any manner arising from, in whole or in part, the Debtors, their Estates, the Debtors’ in- or
out-of-court restructuring efforts (including the Chapter 11 Cases), the purchase, sale, or rescission
of the purchase or sale of any security or indebtedness of the Debtors, the subject matter of, or the
transactions or events giving rise to, any Claim or Equity Interest that is treated in the Plan,
litigation claims arising from historical intercompany transactions between or among a Debtor and
another Debtor, the business or contractual arrangements between any Debtor and any Released
Party (including the exercise of any common law or contractual rights of setoff or recoupment by
any Released Party at any time on or prior to the Plan Effective Date), the restructuring of any
Claim or Equity Interest before or during the Chapter 11 Cases, the negotiation, formulation,
preparation, dissemination, filing, or implementation of, prior to the Plan Effective Date, the
Definitive Documents, the Opioid Trust, Opioid Trust Documents, the “Agreement in Principle for
Global Opioid Settlement and Associated Debt Refinance Activities” announced by the Parent on
February 25, 2020, the Restructuring Support Agreement (including any amendments and/or
joinders thereto) and related prepetition and postpetition transactions, the Disclosure Statement,
the Plan, the Plan Supplement, any Restructuring Transaction, any agreement, instrument, release,
and other documents created or entered into prior to the Plan Effective Date in connection with the
creation of the Opioid Trust, the “Agreement in Principle for Global Opioid Settlement and
Associated Debt Refinance Activities” announced by the Parent on February 25, 2020, the
Restructuring Support Agreement and related prepetition transactions, the Disclosure Statement,
the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit
of Confirmation (including the solicitation of votes on the Plan), the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of securities
           Case 20-12522-JTD         Doc 2917        Filed 06/18/21   Page 575 of 835




pursuant to the Plan, or the distribution of property under the Plan or any other related agreement,
or upon the business or contractual arrangements between and Debtor and any Released Party, and
any other act or omission, transaction, agreement, event, or other occurrence or circumstance
taking place on or before the Plan Effective Date relating to any of the foregoing; provided
however that the Debtors do not release, and the Opioid Trust shall retain, all Assigned Third-Party
Claims; provided, further, that the Debtors do not release, Claims or Causes of Action arising out
of, or related to, any act or omission of a Released Party that is determined by Final Order of the
Bankruptcy Court or any other court of competent jurisdiction to have constituted actual fraud,
gross negligence, or willful misconduct. The foregoing release will be effective as of the Plan
Effective Date without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule or the vote, consent, authorization or approval of any
Person and the Confirmation Order shall permanently enjoin the commencement or prosecution
by any Person, whether directly, derivatively or otherwise, of any claims, obligations, suits,
judgments, damages, demands, debts, rights, Causes of Action, or liabilities released pursuant to
this Debtor Release. Notwithstanding anything to the contrary in the foregoing, the releases by
the Debtors set forth above do not release any post-Plan Effective Date obligations of any party or
Entity under the Plan, any Restructuring, any document, instrument, or agreement (including those
set forth in the Plan Supplement) executed to implement the Plan, or any Claims which are
Reinstated pursuant to the Plan.

        The Reorganized Debtors and the Opioid Trust shall be bound, to the same extent the
Debtors are bound, by the releases set forth in Article [__] of the Plan. For the avoidance of doubt,
Claims or Causes of Action arising out of, or related to, any act or omission of a Released Party
prior to the Plan Effective Date that is determined by Final Order of the Bankruptcy Court or any
other court of competent jurisdiction to have constituted actual fraud, gross negligence, or willful
misconduct, including findings after the Plan Effective Date, are not released pursuant to Article
[__] of the Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases by the Debtors set forth in Article [__] of the Plan, which
includes by reference each of the related provisions and definitions contained herein, and further
shall constitute the Bankruptcy Court’s finding that such release is: (a) in exchange for the good
and valuable consideration provided by the Released Parties; (b) a good faith and settlement and
compromise of the Claims released by the Debtor Release; (c) in the best interests of the Debtors,
their estates and all Holders of Claims and Equity Interests; (d) fair, equitable and reasonable; (e)
given and made after due notice and opportunity for hearing; and (f) a bar to any Entity or Person
asserting any claim or Cause of Action released by Article [__] of the Plan.

Releases by Holders of Claims and Equity Interests

        Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions
of the Bankruptcy Code), as of the Plan Effective Date, for good and valuable consideration, the
adequacy of which is hereby confirmed, including, without limitation, the service of the Released
Parties before and during the Chapter 11 Cases to facilitate the Opioid Settlement and
Restructuring, and except as otherwise explicitly provided in the Plan or in the Confirmation Order,
the Released Parties shall be deemed conclusively, absolutely, unconditionally, irrevocably and
forever released and discharged, to the maximum extent permitted by law, as such law may be


                                                 2
           Case 20-12522-JTD          Doc 2917         Filed 06/18/21   Page 576 of 835




extended subsequent to the Plan Effective Date, except as otherwise explicitly provided herein, by
(a) the holders of all Claims who vote to accept the Plan, (b) the holders of all Claims that are
Unimpaired under the Plan, (c) the holders of all Claims whose vote to accept or reject the Plan is
solicited but who (i) abstain from voting on the Plan and (ii) do not opt out of granting the releases
set forth herein, (d) the holders of all Claims or Equity Interests who vote, or are deemed, to reject
the Plan but do not opt out of granting the releases set forth herein, and (e) all other holders of
Claims and Equity Interests to the maximum extent permitted by law, in each case, from any and
all Claims, counterclaims, disputes, obligations, suits, judgments, damages, demands, debts, rights,
Causes of Action, Liens, remedies, losses, contributions, indemnities, costs, liabilities, attorneys’
fees and expenses whatsoever, including any derivative claims, asserted or assertable on behalf of
the Debtors or their Estates, whether liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted, accrued or
unaccrued, existing or hereinafter arising, whether in law or equity, whether sounding in tort or
contract, whether arising under federal or state statutory or common law, or any other applicable
international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement or
otherwise, that such holders or their estates, affiliates, heirs, executors, administrators, successors,
assigns, managers, accountants, attorneys, representatives, consultants, agents, and any other
Persons or parties claiming under or through them would have been legally entitled to assert in
their own right (whether individually or collectively) or on behalf of the holder of any Claim or
Equity Interest or other Person, based on or relating to, or in any manner arising from, in whole or
in part, the Debtors (as such entities existed prior to or after the Petition Date), their Estates, the
Debtors’ in- or out-of-court restructuring efforts (including the Chapter 11 Cases), the purchase,
sale, or rescission of the purchase or sale of any security or indebtedness of the Debtors, the subject
matter of, or the transactions or events giving rise to, any Claim or Equity Interest that is treated
in the Plan, litigation claims arising from historical intercompany transactions between or among
a Debtor and another Debtor, the business or contractual arrangements or interactions between any
Debtor and any Released Party (including the exercise of any common law or contractual rights of
setoff or recoupment by any Released Party at any time on or prior to the Plan Effective Date), the
restructuring of any Claim or Equity Interest before or during the Chapter 11 Cases, the
negotiation, formulation, preparation, dissemination, filing, or implementation of, prior to the Plan
Effective Date, the Definitive Documents, the Opioid Trust, Opioid Trust Documents and the
“Agreement in Principle for Global Opioid Settlement and Associated Debt Refinance Activities”
announced by the Parent on February 25, 2020, the Restructuring Support Agreement (including
any amendments and/or joinders thereto) and related prepetition and postpetition transactions, the
Disclosure Statement, the Plan, the Plan Supplement, any Restructuring Transaction, any
agreement, instrument, release, and other documents created or entered into prior to the Plan
Effective Date in connection with the creation of the Opioid Trust, the “Agreement in Principle for
Global Opioid Settlement and Associated Debt Refinance Activities” announced by the Parent on
February 25, 2020, the Restructuring Support Agreement and related prepetition transactions, the
Disclosure Statement, the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the
Chapter 11 Cases, the pursuit of Confirmation (including the solicitation of votes on the Plan), the
pursuit of Consummation, the administration and implementation of the Plan, including the
issuance or distribution of securities pursuant to the Plan, or the distribution of property under the
Plan or any other related agreement, or upon the business or contractual arrangements between
and Debtor and any Released Party, and any other act or omission, transaction, agreement, event,
or other occurrence or circumstance taking place on or before the Plan Effective Date relating to



                                                   3
           Case 20-12522-JTD         Doc 2917         Filed 06/18/21   Page 577 of 835




any of the foregoing, other than Claims or Causes of Action arising out of, or related to, any act or
omission of a Released Party that is determined by Final Order of the Bankruptcy Court or any
other court of competent jurisdiction to have constituted actual fraud, gross negligence or willful
misconduct. For the avoidance of doubt, Claims or Causes of Action arising out of, or related to,
any act or omission of a Released Party prior to the Plan Effective Date that is determined by Final
Order of the Bankruptcy Court or any other court of competent jurisdiction to have constituted
actual fraud, gross negligence, or willful misconduct, including findings after the Plan Effective
Date, are not released pursuant to Article [___] of the Plan. Notwithstanding anything to the
contrary in the foregoing, the releases by the Holders of Claims and Equity Interests set forth above
do not release any post-Plan Effective Date obligations of any party or Entity under the Plan, any
Restructuring, any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan, or any Claims which are Reinstated pursuant to the
Plan.

        Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation Order
shall (x) release, discharge, or preclude the enforcement of any liability of a Released Party to a
Governmental Unit arising out of, or relating to, any act or omission of a Released Party prior to
the Plan Effective Date that is determined by Final Order of the Bankruptcy Court or any other
court of competent jurisdiction to have constituted a criminal act or (y) solely as to any Supporting
Governmental Opioid Plaintiff, release or discharge a consultant or expert having been retained to
provide strategic advice for sales and marketing of opioid products who has received a civil
investigative demand or other subpoena related to sales and marketing of opioid products from
any State Attorney General on or after January 1, 2019 through the Petition Date.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases by Holders of Claims and Equity Interests set forth in
Article [__] of the Plan, which includes by reference each of the related provisions and definitions
contained herein, and further shall constitute the Bankruptcy Court’s finding that such release is:
(a) in exchange for the good and valuable consideration provided by the Released Parties; (b) a
good faith and settlement and compromise of the Claims released by the Debtor Release; (c) in the
best interests of the Debtors, their estates and all Holders of Claims and Equity Interests; (d) fair,
equitable and reasonable; (e) given and made after due notice and opportunity for hearing; and (f)
a bar to any Entity or Person asserting any claim or Cause of Action released by Article [__] of
the Plan.

Exculpation

        Effective as of the Plan Effective Date, to the fullest extent permitted by law, the
Exculpated Parties shall neither have nor incur any liability to any Person for any claims or Causes
of Action arising prior to or on the Plan Effective Date for any act taken or omitted to be taken in
connection with, related to, or arising out of, the Chapter 11 Cases, formulating, negotiating,
preparing, disseminating, implementing, filing, administering, confirming or effecting the
Confirmation or Consummation of the Plan, the Disclosure Statement, the Opioid Settlement, the
Opioid Trust Documents, the “Agreement in Principle for Global Opioid Settlement and
Associated Debt Refinance Activities” announced by the Parent on February 25, 2020, the
Restructuring Support Agreement and related prepetition transactions, or any contract, instrument,
release or other agreement or document created or entered into in connection with any of the


                                                  4
           Case 20-12522-JTD          Doc 2917         Filed 06/18/21   Page 578 of 835




foregoing, or any other prepetition or postpetition act taken or omitted to be taken in connection
with or in contemplation of the restructuring of the Debtors, the Disclosure Statement or
Confirmation or Consummation of the Plan, the Opioid Settlement or the Opioid Trust Documents,
including the issuance of securities pursuant to the Plan, or the distribution of property under the
Plan or any other related agreement; provided, however, that the foregoing provisions of this
exculpation shall not operate to waive or release: (a) any Causes of Action arising from actual
fraud, gross negligence, or willful misconduct of such applicable Exculpated Party as determined
by Final Order of the Bankruptcy Court or any other court of competent jurisdiction; and/or (b)
the rights of any Person or Entity to enforce the Plan and the contracts, instruments, releases,
indentures, and other agreements and documents delivered under or in connection with the Plan or
assumed pursuant to the Plan or Final Order of the Bankruptcy Court; provided, further, that each
Exculpated Party shall be entitled to rely upon the advice of counsel concerning its respective
duties pursuant to, or in connection with, the above referenced documents, actions or inactions.

        The Exculpated Parties have, and upon Consummation of the Plan shall be deemed to have,
participated in good faith and in compliance with the applicable Laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not,
and on account of such distributions shall not be, liable at any time for the violation of any
applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the
Plan or such distributions made pursuant to the Plan.

        The foregoing exculpation shall be effective as of the Plan Effective Date without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or
rule or the vote, consent, authorization or approval of any Person or Entity.

Permanent Injunction

        Except as otherwise expressly provided in the Confirmation Order, Plan or Opioid Trust
Documents, from and after the Plan Effective Date all Persons are, to the fullest extent provided
under section 524 and other applicable provisions of the Bankruptcy Code, permanently enjoined
from: (a) commencing or continuing, in any manner or in any place, any suit, action or other
proceeding of any kind; (b) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order; (c) creating, perfecting, or enforcing any encumbrance of
any kind; (d) asserting any right of setoff, or subrogation of any kind; and (d) commencing or
continuing in any manner any action or other proceeding of any kind, in each case on account of
or with respect to any Claim, demand, liability, obligation, debt, right, Cause of Action, Equity
Interest or remedy released or to be released, exculpated or to be exculpated, settled or to be settled,
or discharged or to be discharged pursuant to the Plan or the Confirmation Order against any
Person so released, discharged or exculpated (or the property or estate of any Person so released,
discharged or exculpated). All injunctions or stays provided in the Chapter 11 Cases under section
105 or section 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation
Date, shall remain in full force until the Plan Effective Date.




                                                   5
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 579 of 835




                         Schedule 1

                Opioid Settlement Term Sheet
           Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 580 of 835

                                                                               Execution Version

THIS TERM SHEET IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES OR A
SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE
MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR
SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING CONTAINED IN
THIS TERM SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY OR, UNTIL
THE OCCURRENCE OF THE AGREEMENT EFFECTIVE DATE UNDER THE
RESTRUCTURING SUPPORT AGREEMENT, DEEMED BINDING ON ANY OF THE
PARTIES HERETO.

                         Mallinckrodt Opioid Settlement Term Sheet

        This Opioid Settlement Term Sheet, which is Schedule 1 to the Term Sheet (the
“Restructuring Term Sheet”) annexed as Exhibit A to the Restructuring Support Agreement, dated
October 11, 2020, by and among the Company and the Supporting Parties, describes the proposed
treatment of Opioid Claims in connection with the Restructuring contemplated by the
Restructuring Support Agreement, as well as certain related implementation and other matters
being resolved pursuant to the Opioid Settlement. This Opioid Settlement Term Sheet incorporates
the rules of construction set forth in section 102 of the Bankruptcy Code. Certain capitalized terms
used herein are defined in the glossary attached hereto; capitalized terms used but not otherwise
defined in this Opioid Settlement Term Sheet have the meanings assigned in the Restructuring
Support Agreement or the Restructuring Term Sheet, as applicable.


       This Opioid Settlement Term Sheet does not include a description of all of the terms,
conditions, and other provisions that are to be contained in the definitive documents implementing
the Opioid Settlement and broader Restructuring of claims against and interests in the Debtors,
which remain subject to negotiation in accordance with the Restructuring Support Agreement.


                  TERMS OF THE PLAN AND THE RESTRUCTURING

 Overview                   The Opioid Settlement and Restructuring will be implemented
                            through the Plan, consistent with the terms of (a) this Opioid
                            Settlement Term Sheet, (b) the Restructuring Term Sheet and (c) the
                            Restructuring Support Agreement, through the Chapter 11 Cases to
                            be commenced in the Bankruptcy Court.
                            The Plan will provide for the establishment of the Opioid Trust,
                            which will receive the Trust Consideration (as defined below),
                            including certain cash payments, the New Opioid Warrants, and
                            certain other assets. All Opioid Claims will be assumed by the Opioid
                            Trust and be discharged, released, and enjoined as to the Company
                            and the other Released Parties.

 Treatment of Opioid        As of the Plan Effective Date, Mallinckrodt’s liability for all Opioid
 Claims                     Claims shall automatically, and without further act, deed, or court
                            order, be channeled exclusively to and assumed by the Opioid Trust,
                            as described herein. Each Opioid Claim shall be resolved in
               Case 20-12522-JTD             Doc 2917        Filed 06/18/21         Page 581 of 835


                                   accordance with the terms, provisions, and procedures of the Opioid
                                   Trust Documents. The Opioid Trust shall be funded in accordance
                                   with the provisions of this Term Sheet. The sole recourse of any
                                   Opioid Claimant on account of such Opioid Claim shall be to the
                                   Opioid Trust, and each such Opioid Claimant shall have no right
                                   whatsoever at any time to assert its Opioid Claim against any
                                   Protected Party.

    Opioid Trust                   On the Plan Effective Date, the Opioid Trust will receive (the “Trust
                                   Consideration”):
                                        •    cash in the amount of $450,000,000;
                                        •    the New Opioid Warrants;
                                        •    the right to receive cash payments (the “Deferred Cash
                                             Payments”) in the following amounts and on the following
                                             dates: (a) $200,000,000 on each of the first and second
                                             anniversaries of the Plan Effective Date; and
                                             (b) $150,000,000 on each of the third through seventh
                                             anniversaries of the Plan Effective Date; provided, that at any
                                             time prior to the first anniversary of the Plan Effective Date,
                                             the Reorganized Debtors shall have the right to prepay, in full
                                             or in part, the Deferred Cash Payments, at a price equal to the
                                             present value of the amounts to be prepaid, at the date of
                                             prepayment, discounted at the discount rate that would be
                                             required for (x)(i) the present value of the Deferred Cash
                                             Payments at the prepayment date plus (ii) $450,000,000 to
                                             equal (y)(i) the present value of the payments under the
                                             Original Payments Schedule at the prepayment date
                                             (excluding the initial $300,000,000 payment provided for in
                                             the Original Payments Schedule), discounted at a discount
                                             rate of 12% per annum, plus (ii) $300,000,000 (such option,
                                             the “Prepayment Option”);11 provided, further, that to the
                                             extent the Reorganized Debtors seek to prepay only a portion
                                             of the Deferred Cash Payments in accordance with the
                                             Prepayment Option, such prepayment shall (x) be funded
                                             solely from the net proceeds of an equity raise by the
                                             Reorganized Debtors; and (y) prepay Deferred Cash
                                             Payments in accordance with the above in inverse order
                                             beginning with the payment due on the seventh anniversary
                                             of the Plan Effective Date;
                                        •    the Assigned Third-Party Claims; and




1
     Annex A sets forth the prepayment cost as of the end of each of the 12 months after the Plan Effective Date. To the
     extent a prepayment occurs other than at the end of a month, the prepayment cost shall be calculated in accordance
     with the above formula.
        Case 20-12522-JTD       Doc 2917      Filed 06/18/21      Page 582 of 835


                           •   the Assigned Insurance Rights.
                        The cash payments described above include amounts to be
                        determined by the Governmental Plaintiff Ad Hoc Committee and
                        the MSGE Group for reimbursement of plaintiffs’/claimants
                        attorneys’ fees and costs (not including (i) Restructuring Expenses,
                        which shall be paid directly by the Debtors, and (ii) any reasonable,
                        documented fees and expenses incurred by the Governmental
                        Plaintiff Ad Hoc Committee and the MSGE Group on or after the
                        Plan Effective Date in connection with implementation of the Plan
                        (excluding, for the avoidance of doubt, the expenses of
                        administration of the Opioid Trust (the “Trust Expenses”)), which
                        shall be paid directly by the Reorganized Debtors), and will be joint
                        and several obligations (or be subject to an economically similar
                        arrangement, e.g., one effected by guarantees, subject to tax
                        considerations) of all of the current and future borrowers, issuers,
                        pledgers and guarantors of the Debtors’ funded indebtedness from
                        time to time; provided, that for so long as the First Lien Notes,
                        Second Lien Notes, the New First Lien Term Loans or Takeback
                        Second Lien Notes remain outstanding, in no event shall the cash
                        payments described above be guaranteed by an entity that does not
                        also guarantee the First Lien Notes, Second Lien Notes, the New
                        First Lien Term Loans or Takeback Second Lien Notes.
Asset Sales;            The Plan and Confirmation Order will also provide that, after any
Mandatory               sale of (i) Mallinckrodt Enterprises Holdings, Inc. and its subsidiaries
Prepayments to Opioid   (including, for the avoidance of doubt, its successors and assigns) or
Trust                   (ii) a material portion of their assets or businesses (including as a
                        result of a merger, equity sale, or asset sale), subject to compliance
                        with the Debtors’ covenants under their funded indebtedness (as may
                        be modified from time to time), fifty percent (50%) of the “net
                        proceeds” of such sale (after, for the avoidance of doubt, compliance
                        with then-existing covenants) shall be paid to the Opioid Trust; and
                        the amount of such net proceeds actually conveyed to the Opioid
                        Trust will be deemed a ratable repayment against the remaining
                        structured payments described above that the Opioid Trust is entitled
                        to receive. For the avoidance of doubt, the Debtors will not be under
                        any obligation to undertake any such sale on any particular
                        timeframe.

Tax Matters             The Opioid Settlement shall be implemented with the objective of
                        maximizing tax efficiency to (i) Mallinckrodt, including with respect
                        to the availability, location and timing of tax deductions and (ii) to
                        the Opioid Claimants, including with respect to the tax classification
                        of the Opioid Trust.
                        The Opioid Trust will be treated as a qualified settlement fund for tax
                        purposes.
        Case 20-12522-JTD    Doc 2917      Filed 06/18/21     Page 583 of 835


                      The Parties intend that payments to the Opioid Trust will constitute
                      “restitution” within the meaning of Section 162(f) of the Internal
                      Revenue Code, and will be so characterized for U.S. federal income
                      tax purposes to the extent such payments are made to or at the
                      direction of government or governmental entities and to the extent
                      allowed by applicable law.

Certain Insurance     In implementing the assignment of the Assigned Insurance Rights,
Matters               the Debtors or the Reorganized Debtors, on the one hand, and the
                      Governmental Plaintiff Ad Hoc Committee and the MSGE Group, or
                      the Opioid Trust, on the other hand, shall cooperate and negotiate in
                      good faith concerning (i) treatment of unsatisfied self-insured
                      retentions under the applicable policies with the objective of
                      minimizing adverse consequences to Mallinckrodt, Reorganized
                      Mallinckrodt, and the Opioid Trust (it being understood that the
                      foregoing obligation shall not require the Debtors or Reorganized
                      Debtors to satisfy all or any portion of any such self-insured
                      retentions) and (ii) any actions by the Debtors, Reorganized Debtors,
                      or the Opioid Trust to pursue or preserve the insurance policies
                      relating to the Assigned Insurance Rights. The Debtors and the
                      Reorganized Debtors will use their reasonable best efforts to provide
                      to the Opioid Trust all documents, information, and other
                      cooperation that is reasonably necessary for the Opioid Trust to
                      pursue the Assigned Insurance Rights.
Opioid Trust          The Opioid Trust Documents will comply with the requirements of
Documents             the Bankruptcy Code. The material terms of the Opioid Trust
                      Documents will be described in the Disclosure Statement and forms
                      of the Opioid Trust Documents shall be included in the Plan
                      Supplement, with such summaries and forms of documents (i) to be
                      acceptable to the Governmental Plaintiff Ad Hoc Committee and the
                      MSGE Group and reasonably acceptable to the Debtors and the
                      Required Supporting Unsecured Noteholders and (ii), to the extent
                      practicable, delivered to the advisors to the Ad Hoc First Lien Term
                      Lender Group prior to being filed with the Bankruptcy Court.
New Opioid Warrants   The agreement governing the New Opioid Warrants shall constitute
Agreement             Definitive Documentation under the Restructuring Support
                      Agreement and will:
                         •   contain terms and conditions, including, without limitation,
                             cashless exercise option (as far as legally permissible), anti-
                             dilution protection (including, without limitation, against
                             stock splits, stock dividends and similar events) and Black
                             Scholes protections to be agreed, in each case, as customary
                             for transactions of this type and otherwise acceptable to the
                             Debtors, the Governmental Plaintiff Ad Hoc Committee, and
                             the MSGE Group;
                         •   provide for a registration rights agreement satisfactory to the
                             Governmental Plaintiff Ad Hoc Committee and the MSGE
        Case 20-12522-JTD       Doc 2917      Filed 06/18/21     Page 584 of 835


                               Group with respect to the New Opioid Warrants and the
                               stock issuable upon




                               exercise of the New Opioid Warrants providing for, among
                               other things, a resale shelf registration statement and
                               customary demand and piggyback rights; and
                           •   contain enhanced information rights and a covenant requiring
                               Mallinckrodt to, upon request by the Opioid Trust on
                               reasonable notice and subject to reimbursement by the Trust
                               of Mallinckrodt’s reasonable and documented out-of-pocket
                               costs and expenses (provided, however, that such notice and
                               reimbursements obligations of the Opioid Trust shall be on
                               terms no less favorable to the Opioid Trust than any such
                               obligations of any other shareholder of the Reorganized
                               Debtors with similar rights), reasonably cooperate in good
                               faith with any private sale by the Opioid Trust of the New
                               Opioid Warrants or any shares received as a result of the
                               exercise of the New Opioid Warrants.

Channeling Injunction   The Plan and the Confirmation Order will contain (i) a release by
                        holders of Opioid Claims and (ii) an injunction channeling all Opioid
                        Claims against the Protected Parties to the Opioid Trust, in each case,
                        substantially on the terms set forth on Exhibit 1 hereto.
                        In addition, and for the avoidance of doubt, the Plan and
                        Confirmation Order will also provide for customary releases by the
                        Company and by other holders of claims and interests, exculpation
                        provisions, and related injunctive provisions, in each case consistent
                        with Annex 4 to the Restructuring Term Sheet.
        Case 20-12522-JTD     Doc 2917      Filed 06/18/21     Page 585 of 835


Operating Injunction   The Company shall seek entry of an injunctive order to be effective
                       on the Petition Date, defining the manner in which the Debtors’
                       opioid business may be lawfully operated by the Debtors or any
                       successors thereto on a going-forward basis during the pendency of
                       the Chapter 11 Cases, on the terms set forth on Exhibit 2 hereto (the
                       “Chapter 11 Operating Injunction”).
                       The Confirmation Order (or a separate order of the Bankruptcy Court
                       or another court of competent jurisdiction, if so agreed by the
                       Company, the Governmental Plaintiff Ad Hoc Committee, and the
                       MSGE Group) will extend the Chapter 11 Operating Injunction to
                       govern the Reorganized Debtors’ operations after the Plan Effective
                       Date (the “Post-Plan Effective Date Operating Injunction” together
                       with the Chapter 11 Operating Injunction, the “Operating
                       Injunctions”).
                       The Operating Injunctions shall be acceptable to the Debtors, the
                       Governmental Plaintiff Ad Hoc Committee, and the MSGE Group,
                       and reasonably acceptable to the Required Supporting Unsecured
                       Noteholders.
        Case 20-12522-JTD     Doc 2917     Filed 06/18/21     Page 586 of 835


Assigned Claims       During the pendency of the Chapter 11 Cases, the Debtors shall
Cooperation           reasonably cooperate with counsel to the Governmental Plaintiff Ad
                      Hoc Committee and the MSGE Group Counsel in connection with
                      the investigation and preservation of the Assigned Third-Party
                      Claims and Assigned Insurance Rights, including by providing non-
                      privileged information (including, without limitation, documents,
                      emails and access to individuals with information), at the reasonable
                      request of counsel to the Governmental Plaintiff Ad Hoc Committee
                      and the MSGE Group Counsel. The Debtors shall, at the reasonable
                      request of the Unsecured Notes Ad Hoc Group, inform counsel to the
                      Unsecured Notes Ad Hoc Group of the status and scope of any such
                      cooperation.
                      The Debtors shall use reasonable efforts to provide all readily
                      available, non-privileged information relating to the Assigned Third-
                      Party Claims and Assigned Insurance Rights to counsel to the
                      Governmental Plaintiff Ad Hoc Committee and the MSGE Group
                      Counsel during the Debtors’ bankruptcy cases; provided, however,
                      that such information shall be provided prior to entry of the
                      Confirmation Order.
                      On and after the Plan Effective Date, the Reorganized Debtors shall
                      provide reasonable cooperation to the Opioid Trust in connection
                      with the Opioid Trust’s investigation, preservation and pursuit of the
                      Assigned Third-Party Claims and Assigned Insurance Rights. The
                      terms and conditions of such cooperation shall be mutually agreed
                      by the Debtors, the Governmental Plaintiff Ad Hoc Committee, the
                      MSGE Group, and the Required Supporting Unsecured Noteholders
                      and set forth in the Plan Supplement and included in the
                      Confirmation Order. The Opioid Trust shall reimburse the
                      Reorganized Debtors for their documented and reasonable out-of-
                      pocket costs and expenses incurred in connection with such
                      reasonable cooperation from and after the Plan Effective Date.
                      Any request by the Opioid Trust, the Governmental Plaintiff Ad Hoc
                      Committee, or the MSGE Group for cooperation by the Debtors and
                      Reorganized Debtors shall be on reasonable advance notice, and
                      provided during normal business hours and otherwise in a manner
                      that does not disrupt commercial operations.
Other Terms of Plan   The Plan and/or Confirmation Order will provide for, among other
and Confirmation      things, the following:
Order
                         •   Mallinckrodt will be required to participate in an industry-
                             wide document disclosure program (if any) by disclosing
                             publicly a subset of its litigation documents, subject to scope
                             and protocols to be negotiated in good faith with the
                             Governmental Plaintiff Ad Hoc Committee, the MSGE
                             Group, and the Required Supporting Unsecured Noteholders;
Case 20-12522-JTD   Doc 2917      Filed 06/18/21      Page 587 of 835


               •    any attorney-client privilege, work-product privilege, or
                    other privilege or immunity attaching to any documents or
                    communications (whether written or oral) associated with the
                    Assigned Third-Party Claims and Assigned Insurance Rights
                    shall be transferred to the Opioid Trust and shall vest in the
                    Opioid Trust, and the Debtors or the Reorganized Debtors, as
                    the case may be, and the Opioid Trust shall take all necessary
                    actions to effectuate the transfer of such privileges; provided,
                    that (a) such privileges shall be transferred to the Opioid
                    Trust for the sole purpose of enabling, and to the extent
                    necessary to enable, the Opioid Trust to investigate and/or
                    pursue such Assigned Third-Party Claims and Assigned
                    Insurance Rights and (b) no documents or communications
                    subject to a privilege shall be publicly disclosed by the
                    Opioid Trust or communicated to any person not entitled to
                    receive such information or in a manner that would diminish
                    the protected status of such information, unless such
                    disclosure or communication is reasonably necessary to
                    preserve, secure, prosecute, or obtain the benefit of the
                    Assigned Third-Party Claims and Assigned Insurance Rights;
                    provided, further, that the Confirmation Order shall provide
                    that the Opioid Trust’s receipt of transferred privileges shall
                    be without waiver in recognition of the joint and/or
                    successorship interest in prosecuting claims on behalf of the
                    Debtors’ estates;
               •    the Opioid Trust shall be authorized to conduct Rule 2004
                    examinations, to the fullest extent permitted thereunder, to
                    investigate the Assigned Third-Party Claims and Assigned
                    Insurance Rights, without the requirement of filing a motion
                    for such authorization; provided, however, that no such Rule
                    2004 examinations shall be taken of the Debtors, the
                    Reorganized Debtors, or any of their respective then-current
                    employees, officers, directors or representatives, without
                    further order of the Bankruptcy Court after notice and an
                    opportunity to object and be heard;
               •    the exercise of remedies (including, without limitation, rights
                    of setoff and/or recoupment) by non-Mallinckrodt third
                    parties against Mallinckrodt on account of any Assigned
                    Third-Party Claims shall be enjoined and barred, to the extent
                    permitted by applicable law; and
               •    the covenants and enforcement rights with respect to
                    Mallinckrodt’s deferred payment obligations owed to the
                    Opioid Trust in form and substance reasonably acceptable to
                    the Debtors, the Governmental Plaintiff Ad Hoc Committee,
                    the MSGE Group, and the Required Supporting Unsecured
                    Noteholders in light
Case 20-12522-JTD   Doc 2917     Filed 06/18/21     Page 588 of 835


                    of the nature, duration and form of the deferred payment
                    obligations.
        Case 20-12522-JTD        Doc 2917      Filed 06/18/21      Page 589 of 835


                            Glossary of Key Defined Terms


         Term                                               Meaning
  Additional Insurance      Additional rights in respect of insurance and/or other
         Rights             consideration, to be agreed to by the Debtors, the Supporting
                            Governmental Opioid Claimants, the MSGE Group, and
                            Supporting Unsecured Noteholders holding no less than two-
                            thirds in outstanding principal amount of Guaranteed Unsecured
                            Notes held by the Supporting Unsecured Noteholders then party
                            to the Restructuring Support Agreement.
Assigned Insurance Rights   (a) Any and all claims, demands, entitlements to proceeds,
                            payments, benefits, or Causes of Action of the Debtors under any
                            and all general liability and products liability insurance policies
                            that do or may afford the Debtors with rights, benefits, defense,
                            indemnity, or insurance coverage with respect to any Opioid
                            Claim, and (b) the Additional Insurance Rights.
  Assigned Medtronic        All Causes of Action of the Debtors against Medtronic plc and/or
        Claims              its subsidiaries, and each of their predecessors, successors, and
                            assigns, including, without limitation, all Avoidance Actions of
                            the Debtors against such parties
  Assigned Third-Party      (a) All Causes of Action of the Debtors arising out of Opioid
        Claims              Claims, including, without limitation, all Avoidance Actions
                            arising out of Opioid Claims, but excluding any Causes of Action
                            against Parent or any of its subsidiaries, or any Released Party,
                            and (b) the Assigned Medtronic Claims.
   Avoidance Actions        Any and all avoidance, recovery, subordination or similar actions
                            or remedies that may be brought by and on behalf of the Debtors
                            or their estates under the Bankruptcy Code or applicable non-
                            bankruptcy law, including, without limitation, actions or remedies
                            arising under chapter 5 of the Bankruptcy Code.
    Causes of Action        Any claims, causes of action (including Avoidance Actions),
                            demands, actions, suits, obligations, liabilities, cross-claims,
                            counterclaims, defenses, offsets, or setoffs of any kind or
                            character whatsoever, in each case whether known or unknown,
                            contingent or noncontingent, matured or unmatured, suspected or
                            unsuspected, foreseen or unforeseen, direct or indirect, choate or
                            inchoate, existing or hereafter arising, under statute, in contract,
                            in tort, in law, or in equity, or pursuant to any other theory of law,
                            federal or state, whether asserted or assertable directly or
                            derivatively in law or equity or otherwise by way of claim,
                            counterclaim, cross-claim, third party action, action for indemnity
                            or contribution or otherwise.
  New Opioid Warrants       Warrants to acquire the number of New Mallinckrodt Common
                            Shares that would represent 19.99% of all such outstanding shares
                            after giving effect to the exercise of the New Opioid Warrants,
                            subject to dilution from equity reserved under the MIP, at a strike
       Case 20-12522-JTD      Doc 2917      Filed 06/18/21     Page 590 of 835

        Term                                           Meaning
                         price reflecting an aggregate equity value for the Reorganized
                         Debtors of $1.551 billion, which warrants shall be exercisable at
                         any time on or prior to the seventh anniversary of the Plan
                         Effective Date; provided, that if the Reorganized Debtors exercise
                         the Prepayment Option and prepay the Deferred Cash Payments
                         in full, such warrants shall be exercisable only through and
                         including the fifth anniversary of the Plan Effective Date.
    Opioid Claim         Claims and causes of action, whether existing now or arising in
                         the future, and whether held by a Governmental Entity or private
                         party, against Mallinckrodt in any way arising out of or relating
                         to opioid products manufactured or sold by Mallinckrodt or any
                         of their predecessors prior to the Plan Effective Date, including,
                         for the avoidance of doubt and without limitation, Claims for
                         indemnification (contractual or otherwise), contribution, or
                         reimbursement against Mallinckrodt on account of payments or
                         losses in any way arising out of or relating to opioid products
                         manufactured or sold by Mallinckrodt or any of their predecessors
                         prior to the Plan Effective Date, including Future Opioid PI
                         Claims; provided, that Mallinckrodt shall agree to comply with
                         the terms of the Chapter 11 Operating Injunction as of the Petition
                         Date, and that “Opioid Claims” shall not include any claims in
                         any way arising, in whole or in part, from a violation of the
                         Chapter 11 Operating Injunction
   Opioid Claimant       A holder of an Opioid Claim
    Opioid Trust         The trust that is to be established in accordance with the Plan, the
                         Confirmation Order, and the Opioid Trust Documents, which trust
                         will satisfy the requirements of section 468B of the Internal
                         Revenue Code and the Treasury Regulation promulgated
                         thereunder (as such may be modified or supplemented from time
                         to time); provided, however, that nothing contained herein shall
                         be deemed to preclude the establishment of one or more trusts as
                         determined by the Opioid Claimants to be reasonably necessary
                         or appropriate to provide tax efficiency to the Opioid Trust and
                         Opioid Claimants (and all such trusts shall be referred to
                         collectively as the “Opioid Trust”), so long as the establishment
                         of multiple trusts is not reasonably expected to result in any
                         adverse tax consequences for Mallinckrodt.
Opioid Trust Documents   The documents governing: (i) the Opioid Trust; (ii) any sub-trusts
                         or vehicles that comprise the Opioid Trust; (iii) the flow of
                         consideration from the Debtors’ estates to the Opioid Trust or any
                         sub-trusts or vehicles that comprise the Opioid Trust; (iv)
                         submission, resolution, and distribution procedures in respect of
                         all Opioid Claims; and (v) the flow of distributions, payments or
                         flow of funds made from the Opioid Trust or any such sub-trusts
                         or vehicles after the Plan Effective Date.
        Case 20-12522-JTD        Doc 2917      Filed 06/18/21      Page 591 of 835

          Term                                        Meaning
Original Payment Schedule The schedule for deferred cash payments under the February 2020
                          agreement in principle reached between certain state attorneys
                          general and the Debtors, providing for the following payments on
                          the following dates:

                                           Date                       Payment Amount
                             Plan Effective Date                $300,000,000
                             Each of 1st and 2nd                $200,000,000
                             anniversaries of Plan
                             Effective Date
                             Each of 3rd through 8th            $150,000,000
                             anniversaries of Plan
                             Effective Date
         Parent             Mallinckrodt plc
     Protected Party        (a) The Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor
                            Affiliates, (d) with respect to each of the foregoing Persons in
                            clauses (a) through (c), such Persons’ predecessors, successors,
                            permitted assigns, subsidiaries, and controlled affiliates,
                            respective heirs, executors, estates, and nominees, in each case
                            solely in their capacity as such, and (e) with respect to each of the
                            foregoing Persons in clauses (a) through (d), such Persons’
                            officers and directors, principals, members, employees, financial
                            advisors, attorneys, accountants, investment bankers, consultants,
                            experts and other professionals, provided that, solely as to any
                            Supporting Governmental Opioid Plaintiff, consultants and
                            experts in this clause (e) shall not include those retained to
                            provide strategic advice for sales and marketing of opioid
                            products who have received a civil investigative demand or other
                            subpoena related to sales and marketing of opioid products from
                            any State Attorney General on or after January 1, 2019 through
                            the Petition Date.
            Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 592 of 835

                                              Exhibit 1

                        Channeling Injunction/Opioid Claimant Release


Releases by Holders of Opioid Claims


         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b)
 of the Bankruptcy Code (and any other applicable provisions of the Bankruptcy Code), as of the
 Plan Effective Date, for good and valuable consideration, the adequacy of which is hereby
 confirmed, each Opioid Claimant (in its capacity as such) is deemed to have released and
 discharged, to the maximum extent permitted by law, as such law may be extended subsequent to
 the Plan Effective Date, each Debtor, Reorganized Debtor, and Protected Party from any and all
 Claims (including Opioid Claims), counterclaims, disputes, obligations, suits, judgments,
 damages, demands, debts, rights, Causes of Action, Liens, remedies, losses, contributions,
 indemnities, costs, liabilities, attorneys’ fees and expenses whatsoever, including any derivative
 claims asserted, or assertable on behalf of the Debtors, or their Estates, whether liquidated or
 unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
 unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether
 in law or equity, whether sounding in tort or contract, whether arising under federal or state
 statutory or common law, or any other applicable international, foreign, or domestic law, rule,
 statute, regulation, treaty, right, duty, requirement or otherwise, that that such Entity would have
 been legally entitled to assert in their own right (whether individually or collectively) or on behalf
 of any other Person, based on or relating to, or in any manner arising from, in whole or in part, the
 Debtors (including the management, ownership, or operation thereof), their Estates, the Opioid
 Claims, the Debtors’ in- or out-of-court restructuring efforts (including the Chapter 11 Cases),
 intercompany transactions between or among a Debtor and another Debtor, the restructuring of
 any Claim or Equity Interest before or during the Chapter 11 Cases, any Avoidance Actions, the
 negotiation, formulation, preparation, dissemination, filing, or implementation of, prior to the Plan
 Effective Date, the Opioid Trust, Opioid Trust Documents and the “Agreement in Principle for
 Global Opioid Settlement and Associated Debt Refinance Activities” announced by the Parent on
 February 25, 2020, the Restructuring Support Agreement, the Disclosure Statement, the Plan, any
 Restructuring Transaction, or any contract, instrument, release, or other agreement or document
 (including providing any legal opinion requested by any Entity regarding any transaction, contract,
 instrument, document, or other agreement contemplated by the Plan or the reliance by any
 Protected Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or
 entered into prior to the Plan Effective Date in connection with the creation of the Opioid Trust,
 the “Agreement in Principle for Global Opioid Settlement and Associated Debt Refinance
 Activities” announced by the Parent on February 25, 2020, the Restructuring Support Agreement
 and related prepetition transactions, the Disclosure Statement, the Plan, the Plan Supplement, the
 Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of Confirmation (including the
 solicitation of votes on the Plan), the pursuit of Consummation, the administration and
 implementation of the Plan, including the issuance or distribution of securities pursuant to the Plan,
 or the distribution of property under the Plan or any other related agreement, or upon any other act
 or omission, transaction, agreement, event, or other occurrence or circumstance taking place on or
 before the Plan Effective Date related or relating to any of the foregoing. Notwithstanding anything
 to the contrary in the foregoing, the releases set forth above do not release any post-Plan Effective
           Case 20-12522-JTD          Doc 2917       Filed 06/18/21      Page 593 of 835

Date obligations of any party or Entity under the Plan, any post-Plan Effective Date transaction
contemplated by the Restructuring, or any document, instrument, or agreement (including those
set forth in the Plan Supplement) executed to implement the Plan. The foregoing release will be
effective as of the Plan Effective Date without further notice to or order of the Bankruptcy Court,
act or action under applicable law, regulation, order, or rule or the vote, consent, authorization or
approval of any Person and the Confirmation Order shall permanently enjoin the commencement
or prosecution by any Person, whether directly, derivatively or otherwise, of any claims,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, or liabilities
released pursuant to the foregoing release by Opioid Claimants.


        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of this release by Opioid Claimants, which includes by reference each
of the related provisions and definitions contained herein, and, further, shall constitute the
Bankruptcy Court’s finding that this release is: (1) consensual; (2) essential to the confirmation of
the Plan; (3) given in exchange for the good and valuable consideration provided by the Released
Parties; (4) a good-faith settlement and compromise of the Claims released by the third-party
release; (5) in the best interests of the Debtors and their Estates; (6) fair, equitable, and reasonable;
(7) given and made after due notice and opportunity for hearing; and (8) a bar to any Opioid
Claimant asserting any claim or Cause of Action released pursuant to this release.
          Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 594 of 835




                                     Channeling Injunction


        Terms. Pursuant to section 105(a) of the Bankruptcy Code, from and after the Plan
Effective Date, the sole recourse of any Opioid Claimant on account of its Opioid Claims shall
be to the Opioid Trust pursuant to this section [ ] of the Plan and the Opioid Trust Documents,
and such Opioid Claimant shall have no right whatsoever at any time to assert its Opioid Claim
against any Protected Party or any property or interest in property of any Protected Party. On
and after the Plan Effective Date, all present and future Opioid Claimants shall be permanently
and forever stayed, restrained, barred, and enjoined from taking any of the following actions
for the purpose of, directly or indirectly or derivatively collecting, recovering, or receiving
payment of, on, or with respect to any Opioid Claim other than from the Opioid Trust pursuant
to the Opioid Trust Documents:


   •   commencing, conducting, or continuing in any manner, directly, indirectly or
       derivatively, any suit, action, or other proceeding of any kind (including a judicial,
       arbitration, administrative, or other proceeding) in any forum in any jurisdiction around
       the world against or affecting any Protected Party or any property or interests in
       property of any Protected Party;
   •   enforcing, levying, attaching (including any prejudgment attachment), collecting, or
       otherwise recovering by any means or in any manner, whether directly or indirectly,
       any judgment, award, decree, or other order against any Protected Party or any property
       or interests in property of any Protected Party;
   •   creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
       Encumbrance against any Protected Party or any property or interests in property of
       any Protected Party;
   •   setting off, seeking reimbursement of, contribution from, or subrogation against, or
       otherwise recouping in any manner, directly or indirectly, any amount against any
       liability owed to any Protected Party or any property or interests in property of any
       Protected Party; or
   •   proceeding in any manner in any place with regard to any matter that is within the
       scope of the matters designated by the Plan to be subject to resolution by the Opioid
       Trust, except in conformity and compliance with the Opioid Trust Documents.

        Reservations. The foregoing injunction shall not stay, restrain, bar, or enjoin (a) the
rights of Opioid Claimants to assert Opioid Claims against the Opioid Trust in accordance with
the Plan and the Opioid Trust Documents; and (b) the rights of Entities to assert any Claim, debt,
obligation, or liability for payment of Trust Expenses against the Opioid Trust.
Case 20-12522-JTD    Doc 2917    Filed 06/18/21   Page 595 of 835




                                Exhibit 2

                          Operating Injunction



                    [No Changes - See Docket No. 128]
            Case 20-12522-JTD              Doc 2917        Filed 06/18/21        Page 596 of 835




                                                    Annex A
Prepayment Cost of Deferred Cash Payments at Various Months After Plan Effective Date1


                              Months after              Prepayment Cost of
                              Plan Effective          Deferred Cash Payments
                               Date (end of
                                 month)
                                    0                        $679,648,516
                                    1                        $687,520,879
                                    2                        $695,467,941
                                    3                        $703,490,411
                                    4                        $711,589,005
                                    5                        $719,764,445
                                    6                        $728,017,460
                                    7                        $736,348,785
                                    8                        $744,759,166
                                    9                        $753,249,350
                                   10                        $761,820,096
                                   11                        $770,472,168
                                   12                        $779,206,3382




1
  Amounts shown in annex above show the prepayment cost at the end of each of the 12 months after the Plan Effective
Date. To the extent a prepayment occurs other than at the end of the month, the prepayment cost shall be calculated
as of such prepayment date pursuant to the formula set forth in the Opioid Settlement Term Sheet.
2
   Prepayment right may be exercised prior to the first anniversary of the Plan Effective Date. Month twelve is
illustratively shown and includes $200,000,000 payment due at such time.
       Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 597 of 835




                                        Schedule 2

DOJ Settlement Terms re: Boston (Medicaid Rebates) and EDPA False Claims Act
                          Matters, and related issues

•   Resolved Matters. Mallinckrodt and the United States (including CMS, DOJ), the
    applicable states, and qui tam relators agree to fully and finally resolve the Acthar-related
    government litigations disclosed in Mallinckrodt’s Form 10-K for 2019, including United
    States of America, et al., ex rel., Charles Strunck, et al. v. Mallinckrodt ARD LLC (E.D.
    Penn.); United States of America et al. ex rel. Landolt v. Mallinckrodt ARD, LLC (D.
    Mass.); and Mallinckrodt ARD LLC v. Verma et al. (D.D.C.), and related matters (such
    matters, collectively, the “Resolved Matters”) on the terms set forth in this Schedule, which
    will be memorialized in a definitive DOJ Settlement Agreement, and settlement
    agreements with the States, and incorporated into the Plan.

•   Settlement Payments. In full and final satisfaction of all claims at issue in the “Resolved
    Matters”, Mallinckrodt shall make cash payments to the US and State governments totaling
    $260 million in the aggregate (the “DOJ Settlement Cash Consideration”) in accordance
    with the following schedule, with deferred payments bearing interest at a variable rate
    equal to the nominal interest rate on special issues of government securities to the Social
    Security trust funds, measured as of each payment date and accruing from September 21,
    2020:

                         Payment Date                          Payment Amount

        Plan Effective Date                                       $15,000,000

        First Anniversary of Plan Effective Date                  $15,000,000

        Second Anniversary of Plan Effective Date                 $20,000,000

        Third Anniversary of Plan Effective Date                  $20,000,000

        Fourth Anniversary of Plan Effective Date                 $32,500,000

        Fifth Anniversary of Plan Effective Date                  $32,500,000

        Sixth Anniversary of Plan Effective Date                  $62,500,000

        Seventh Anniversary of Plan Effective Date                $62,500,000


•   Releases. Effective as of the date on which the Settlement Agreement is fully executed,
    Mallinckrodt, on the one hand, and DOJ and the States, on the other hand, will have
    exchanged mutual releases, as specified in the Settlement Agreements relating to the
    Resolved Matters.

•   CMS/DOJ/States Settlement Agreement; Additional Terms and Conditions. Without
   Case 20-12522-JTD        Doc 2917         Filed 06/18/21   Page 598 of 835




limiting or affecting in any way the rights of the Supporting Parties under the RSA, the
DOJ Settlement Agreement shall contain such additional terms, conditions,
representations, warranties, covenants and termination events to which Mallinckrodt, on
the one hand, and DOJ on the other hand, may agree. Without limiting or affecting in any
way the rights of the Supporting Parties under the RSA, the State Settlement Agreements
shall contain such additional terms, conditions, representations, warranties, covenants and
termination events to which Mallinckrodt, on the one hand, and the States, on the other
hand, may agree.




                                         2
Case 20-12522-JTD   Doc 2917   Filed 06/18/21     Page 599 of 835




                         Schedule 3

               First Lien Settlement Term Sheet
           Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 600 of 835

                                                                                Execution Version


THIS TERM SHEET IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES OR A
SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE
MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR
SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING CONTAINED IN
THIS TERM SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY OR, UNTIL
THE AMENDMENT TO THE RESTRUCTURING SUPPORT AGREEMENT
INCORPORATING THIS TERM SHEET AS AN EXHIBIT IS FULLY-EXECUTED,
DEEMED BINDING ON ANY OF THE PARTIES HERETO.

                               First Lien Settlement Term Sheet

        This Term Sheet (the “First Lien Settlement Term Sheet”), which is Schedule 3 to the
Term Sheet attached as Exhibit A (the “Restructuring Term Sheet”) to the Restructuring Support
Agreement dated October 11, 2020, by and among the Company and Supporting Parties thereto
(as amended, modified and/or supplemented from time to time, the “RSA”), sets forth the proposed
treatment of First Lien Credit Agreement Claims under the Plan. The Debtors will implement the
terms set forth herein through the New Term Loan Documentation and the Plan (to the extent
necessary to implement this First Lien Settlement Term Sheet), which shall be consistent with the
terms of this First Lien Settlement Term Sheet, the RSA and the exhibits and schedules annexed
thereto; provided, that, to the extent that this First Lien Settlement Term Sheet conflicts with any
other exhibit to the RSA, including the Restructuring Term Sheet, this First Lien Settlement Term
Sheet shall govern. This First Lien Settlement Term Sheet incorporates the rules of construction
set forth in section 102 of the Bankruptcy Code. Capitalized terms used but not otherwise defined
herein have the meanings ascribed to them in the RSA or the other exhibits attached thereto, as
applicable.

        This First Lien Settlement Term Sheet does not include a description of all of the terms,
conditions, and other provisions that are to be contained in the Plan and the New Term Loan
Documentation, or the Scheme of Arrangement and the Irish Examinership Proceedings, which
remain subject to negotiation in accordance with the RSA. Consummation of the transactions
contemplated by this First Lien Settlement Term Sheet is subject to (a) the negotiation and
execution of the New Term Loan Documentation and the Plan evidencing and related to the
Restructuring, (b) satisfaction or waiver of all of the conditions in the New Term Loan
Documentation and the Plan evidencing the transactions comprising the Restructuring, (c) entry
of the Confirmation Order and the satisfaction or waiver of any conditions to the effectiveness
thereof, (d) approval of the Scheme of Arrangement by the High Court of Ireland and the
satisfaction or waiver of any conditions to the effectiveness thereof, and (e) entry of an order
recognizing the Confirmation Order in the Recognition Proceedings.
        Case 20-12522-JTD    Doc 2917       Filed 06/18/21      Page 601 of 835




    TREATMENT OF ALLOWED FIRST LIEN CREDIT AGREEMENT CLAIMS

Treatment of First   Allowed First Lien Credit Agreement Claims in respect of revolving
Lien Credit          loans/commitments (the “First Lien Revolving Loan Claims”) shall
Agreement Claims     be, at the Debtors’ option, (a) reinstated or (b) repaid in full in cash,
(Revolver)           in each case, at par plus accrued and unpaid interest, accounting for
                     adequate protection payments to the revolving lenders or the First
                     Lien Agent for the benefit of the revolving lenders (which,
                     notwithstanding anything to the contrary in the Final Cash Collateral
                     Order, shall be retained by the revolving lenders and not
                     recharacterized as principal payments).
                     First Lien Revolving Loan Claims shall be separately classified from
                     First Lien Term Loan Claims (defined below) and all other Claims
                     and Interests treated under the Plan, and shall be deemed unimpaired
                     and not entitled to vote on the Plan.

Treatment of First   Holders of allowed First Lien Credit Agreement Claims in respect of
Lien Credit          term loans (the “First Lien Term Loan Claims”) shall receive, on the
Agreement Claims     Plan Effective Date, in full and final satisfaction of such claims, at
(Term Loans)         the Debtors’ option, either (i) (A) the New First Lien Term Loans
                     plus (B) the 2020 ECF Payment to the extent not paid prior to the
                     Plan Effective Date plus (C) payment in full in Cash of Accrued and
                     Unpaid Interest to the Plan Effective Date plus (D) the Term Loan
                     Exit Payment (collectively, the “New First Lien Term Loan
                     Treatment”) or (ii) repayment of such Claims in full in cash in an
                     amount equal to (A) the Outstanding Amount plus (B) the 2020 ECF
                     Payment to the extent not paid prior to the Plan Effective Date plus
                     (C) Accrued and Unpaid Interest plus (D) the Term Loan Exit
                     Payment (collectively, such repayments, “Payment in Full of First
                     Lien Term Loan Claims”). Any portion of the 2020 ECF Payment
                     that is not made prior to the Plan Effective Date shall, for the
                     avoidance of doubt and without duplication, accrue interest thereon
                     from and after the date set forth in the CCO Modification Order (as
                     defined below) or, in the event no such date is set forth in the CCO
                     Modification Order, from and after the date of the Joinder
                     Agreement, to the date of payment thereof at the Adjusted Interest
                     Rate (which interest is expected to be paid by means of adequate
                     protection payments) and such 2020 ECF Payment and such Accrued
                     and Unpaid Interest thereon (to the extent not paid prior to the Plan
                     Effective Date) shall be paid on the Plan Effective Date.
                     “Outstanding Amount” means an amount equal to
                     $1,899,776,787.81 less the 2020 ECF Payment attributable to
                     principal less any Principal Payments.
                     “Accrued and Unpaid Interest” means the accrued and unpaid
                     interest (which interest shall accrue, from and after the date of the
           Case 20-12522-JTD   Doc 2917         Filed 06/18/21    Page 602 of 835




                       Joinder Agreement through the Plan Effective Date, at the Adjusted
                       Interest Rate (without (i) any default interest in addition thereto or
                       (ii) conversion into an ABR Borrowing (as defined in the Existing
                       Credit Agreement))) after accounting for adequate protection
                       payments to the term lenders or to the First Lien Agent for the benefit
                       of the term lenders (which, notwithstanding anything to the contrary
                       in the Final Cash Collateral Order, shall be retained by the term
                       lenders and, other than the Principal Payments, not recharacterized
                       as principal payments).
                       “Principal Payments” means any quarterly amortization payments,
                       excess cash flow sweep payments and other express payments of
                       principal (including the 2020 ECF Payment).
                       First Lien Term Loan Claims maturing in 2024 and First Lien Term
                       Loan Claims maturing in 2025 shall be separately classified from one
                       another and from all other Claims and Interests treated under the
                       Plan, and each such class shall be deemed impaired and entitled to
                       vote on the Plan.

                    TERMS OF NEW FIRST LIEN TERM LOANS

Facility               On the Plan Effective Date, unless the Debtors elect to refinance and
                       repay in full in cash the allowed First Lien Term Loan Claims as
                       described in “Treatment of First Lien Credit Agreement Claims
                       (Term Loans)” above, Mallinckrodt International Finance S.A. (the
                       “Lux Borrower”) Mallinckrodt CB LLC (the “Co-Borrower” and,
                       together with the Lux Borrower, the “Borrowers”) shall enter into a
                       new senior secured first lien term loan facility in an original principal
                       amount equal to the Outstanding Amount (such facility, the “New
                       First Lien Term Loan Facility” the loans under such facility, the
                       “New First Lien Term Loans,” and any all documents related
                       thereto, the “New Term Loan Documentation”). The administrative
                       agent and the collateral agent for the New First Lien Term Loan
                       Facility shall be mutually reasonably acceptable to the Company and
                       the Required Supporting Term Lenders in the event the Refinancing
                       Loans (as defined below) are included as a separate tranche in the
                       New First Lien Term Loan Facility. In the event the Refinancing
                       Loans are governed by separate documentation from the New First
                       Lien Term Loan Facility, the collateral agent for the New First Lien
                       Term Loan Facility shall be mutually reasonably acceptable to the
                       Company and the Required Supporting Term Lenders and the
                       administrative agent for the New First Lien Term Loan Facility shall
                       be reasonably acceptable to the Required Supporting Term Lenders
                       and must qualify under Section 8.09 of the Existing Credit
                       Agreement. For the avoidance of doubt, any indebtedness incurred
                       in order to refinance the First Lien Revolver Loan Claims (the
                       “Refinancing Loans”) may be included as a separate tranche in the


                                            2
               Case 20-12522-JTD       Doc 2917        Filed 06/18/21   Page 603 of 835




                               New First Lien Term Loan Facility and, if so included, shall be
                               subject to the same terms (other than economic terms) as the New
                               First Lien Term Loans.

    Interest                   New First Lien Term Loans issued on account of First Lien Term
                               Loan Claims maturing in 2024 shall accrue interest, from and after
                               the Plan Effective Date, at a non-default rate equal to, at the
                               Borrowers’ option, either LIBOR plus 525 bps, with a 75 bps LIBOR
                               floor, or ABR plus 425 bps.
                               New First Lien Term Loans issued on account of First Lien Term
                               Loan Claims maturing in 2025 shall accrue interest, from and after
                               the Plan Effective Date, at a non-default rate equal to, at the
                               Borrowers’ option, either LIBOR plus 550 bps, with a 75 bps LIBOR
                               floor, or ABR plus 450 bps.

    Adequate Protection        As part of the comprehensive and integrated settlements set forth
    Payments                   herein, the Final Cash Collateral Order shall be modified, which
                               modification shall be approved by an order of the Bankruptcy Court
                               (the “CCO Modification Order”) by no later than April 15, 2021, and
                               for so long as the RSA is not terminated with respect to the holders
                               of the First Lien Term Loan Claims, to increase the interest rate
                               applied in order to calculate First Lien Adequate Protection Payments
                               (as defined therein) payable on account of the First Lien Term Loan
                               Claims from the Adjusted LIBO Rate (as defined in the Existing
                               Credit Agreement) plus 200 basis points plus Applicable Margin (as
                               defined in the Existing Credit Agreement) to the Adjusted Interest
                               Rate. The Debtors shall request that such increased rate take effect
                               upon the filing of the motion seeking entry of the CCO Modification
                               Order and shall not, for the avoidance of doubt, apply retroactively
                               to any earlier date or apply to any First Lien Credit Agreement
                               Claims other than First Lien Term Loan Claims; provided, that, the
                               Supporting Term Lenders shall not have any right to terminate the
                               Joinder Agreement or the RSA based solely on the Bankruptcy Court
                               declining to apply such increased rate retroactively to the date on
                               which the motion seeking entry of the CCO Modification Order is
                               filed. The Debtors shall file the motion seeking entry of the CCO
                               Modification Order by no later than six (6) Business Days after the
                               execution of the Joinder Agreement and such motion and the CCO
                               Modification Order (subject to the NPT Exception) shall be in form
                               and substance reasonably acceptable to the Required Supporting
                               Term Lenders.1


1
      “Joinder Agreement” means that certain Joinder Agreement and Amendment to Restructuring Support
      Agreement dated as of March 10, 2021 by and among the Debtors, the Required Supporting Unsecured
      Noteholders, the Governmental Plaintiff Ad Hoc Committee, the MSGE Group, and the Supporting Term
      Lenders.


                                                   3
        Case 20-12522-JTD   Doc 2917         Filed 06/18/21   Page 604 of 835




                    So long as the RSA is not terminated with respect to the holders of
                    the First Lien Term Loan Claims as of the Plan Effective Date, all
                    First Lien Adequate Protection Payments made to the holders of First
                    Lien Term Loan Claims prior to the Plan Effective Date (other than
                    Principal Payments) shall be retained by the lenders in full
                    satisfaction of their entitlement to interest and fees under section
                    506(b) of the Bankruptcy Code and shall not be recharacterized as
                    payments of principal.
                    The holders of First Lien Term Loan Claims party to the RSA, for so
                    long as they are parties to the RSA, shall (i) not seek, or direct the
                    First Lien Agent, to prohibit the continuation of outstanding loans
                    under the Existing Credit Agreement as Eurocurrency Borrowings
                    (as defined in the Existing Credit Agreement) or to require the
                    conversion of such loans into ABR Borrowings (as defined in the
                    Existing Credit Agreement), and, (ii) unless otherwise effected
                    pursuant to an order of the Bankruptcy Court, deliver a
                    communication in writing to the First Lien Agent (which shall
                    comply with the requirements of any such communication set forth
                    in the Existing Credit Agreement and may be delivered by counsel to
                    the Ad Hoc First Lien Term Lender Group, which counsel shall be
                    deemed authorized to deliver such communication by all legal or
                    beneficial owners of First Lien Credit Agreement Claims that execute
                    the RSA or the Joinder Agreement) instructing the First Lien Agent
                    to deem any previous request of any Supporting Term Lenders that
                    the First Lien Agent notify the Borrowers (as defined in the Existing
                    Credit Agreement) of any Event of Default or any prohibition on any
                    such continuation or requirement of any such conversion resulting
                    therefrom withdrawn without prejudice and permit such continuation
                    and not require such conversion, and (iii) not seek, or direct the First
                    Lien Agent to seek, any default interest in respect of outstanding
                    loans under the Existing Credit Agreement, in each case, only for so
                    long as the Supporting Term Lenders remain party to the RSA.

Maturity            The New First Lien Term Loans shall mature on the date that is the
                    earlier of (a) September 30, 2027 or (b) 5.75 years following of the
                    Plan Effective Date.

Amortization        The New First Lien Term Loans shall amortize at a rate of 2.5% per
                    annum, payable quarterly on March 31, June 30, September 30, and
                    December 31 of each year that the New First Lien Term Loans remain
                    outstanding.




                                         4
         Case 20-12522-JTD   Doc 2917         Filed 06/18/21    Page 605 of 835




Call Protection/     The New First Lien Term Loans may be voluntarily prepaid at any
Prepayments          time in whole or in part, at the Company’s option, at a price equal to
                     100% of the outstanding principal amount of New First Lien Term
                     Loans so prepaid plus all accrued interest, fees and other amounts
                     thereon; provided that if any Repricing Event (defined in a manner
                     consistent with the Existing Credit Agreement) occurs prior to the
                     date that is nine months after the Plan Effective Date, a fee in the
                     amount of 1.00% of the outstanding principal amount of New First
                     Lien Term Loans subject to such Repricing Event shall be payable.
                     Mandatory prepayment events shall be consistent with the Existing
                     Credit Agreement.

Guarantors           The obligations of Borrower under the New First Lien Term Loan
                     Facility shall be guaranteed by the existing guarantors under the
                     Existing Credit Agreement, except for Mallinckrodt Holdings GmbH
                     (provided that the Loan Parties (defined in a manner consistent with
                     the Existing Credit Agreement) covenant not to cause Mallinckrodt
                     Holdings GmbH or the subsidiaries of Mallinckrodt Holdings GmbH
                     to incur any material indebtedness owed to unaffiliated third parties,
                     or guarantee any material indebtedness owed to any unaffiliated
                     third-parties) (such guarantors, the “Guarantors”). The Debtors shall
                     reimburse the Ad Hoc First Lien Term Lender Group for the
                     reasonable and documented out-of-pocket fees and expenses of
                     Swiss legal counsel in connection with the exclusion of Mallinckrodt
                     Holdings GmbH as a Guarantor and Swiss law matters in connection
                     with to the New Term Loan Documentation.

Collateral           The obligations under the New First Lien Term Loan Facility shall
                     be secured by senior, first-priority (subject to certain exceptions
                     consistent with the exceptions set forth in the Existing Credit
                     Agreement) liens on the same assets of the Borrower and Guarantors
                     securing the obligations under the Existing Credit Agreement, plus
                     (or including, as the case may be) (i) 100% of the equity of first-tier
                     foreign subsidiaries and domestic holding companies thereof except
                     if (or until such time as) a Borrower determines in good faith that
                     such pledge of equity issued by such subsidiary (1) could reasonably
                     be expected to result in Mallinckrodt PLC (“Parent”) or any of its
                     subsidiaries incurring any material tax or other cost (other than a de
                     minimis cost) or any disruption in the operations or internal financing
                     activities of the Parent and its subsidiaries, (2) is not permitted by, or
                     could reasonably be expected to cause any officers, directors or
                     employees of the Parent or any of its subsidiaries to become subject
                     to related liabilities under any, applicable requirement of law or (3)
                     would constitute “Excluded Securities” pursuant to clause (c) of the
                     definition thereof in the Existing Credit Agreement and (ii) all cash
                     of the Borrower and Guarantors (which, to the extent held by Co-


                                          5
       Case 20-12522-JTD   Doc 2917        Filed 06/18/21   Page 606 of 835




                   Borrower or any domestic Guarantor in a domestic deposit account
                   and subject to certain customary exceptions, shall be subject to
                   deposit account control agreements in favor of the agent under the
                   New First Lien Term Loan Facility).

ECF Payments       The Debtors and the Supporting Term Lenders (as defined in the
                   Joinder Agreement and RSA) agree to settle under Rule 9019 of the
                   Federal Rules of Bankruptcy Procedure their dispute with respect to
                   the amount and manner of payment of the excess cash flow payment
                   required to be made to the term lenders under the Existing Credit
                   Agreement for fiscal year 2020 (the “2020 ECF Payment”; such
                   settlement, the “2020 ECF Payment Settlement”). The 2020 ECF
                   Payment Settlement shall provide the Debtors, and the Supporting
                   Term Lenders agree, that the Debtors shall satisfy their obligation to
                   make the 2020 ECF Payment with a payment in cash in the amount
                   of $114 million to be made solely to the term lenders under the
                   Existing Credit Agreement for application against the term loans
                   under the Existing Credit Agreement. The Debtors shall file a
                   supplement to the existing motion seeking approval to pay the 2020
                   ECF Payment to set forth the terms and basis for the 2020 ECF
                   Payment Settlement, which supplement shall be in form and
                   substance reasonably acceptable to the Required Supporting Term
                   Lenders. The order approving the 2020 ECF Payment Settlement
                   and the 2020 ECF Payment (the “2020 ECF Payment Order”) shall
                   be in form and substance reasonably acceptable to the Debtors and
                   the Required Supporting Term Lenders. To the extent the
                   Bankruptcy Court enters the 2020 ECF Payment Order, the Debtors
                   shall make the 2020 ECF Payment to, or for the sole benefit of, the
                   term lenders promptly but in no even later than three (3) Business
                   Days after the Bankruptcy Court enters the 2020 ECF Payment
                   Order. To the extent the Debtors do not receive such authorization,
                   the Debtors shall pay the term lenders the 2020 ECF Payment plus
                   accrued interest thereon at the Adjusted LIBO Rate plus 250 basis
                   points plus Applicable Margin (as defined in the Existing Credit
                   Agreement) (the “Adjusted Interest Rate”) on the Plan Effective
                   Date of the Plan (to the extent unpaid after account for adequate
                   protection payments) in accordance with the proposed treatment of
                   First Lien Term Loan Claims described above. For the avoidance of
                   doubt, no “default interest” or similar amount shall be payable with
                   respect to the 2020 ECF Payment Interest Rate.
                   Payments relating to settlement and restructuring costs, including the
                   Term Loan Exit Payment and all payments made pursuant to the Plan,
                   made during any fiscal year after fiscal year 2020 shall be deducted
                   from the excess cash flow calculation with respect to the applicable
                   fiscal year.



                                       6
          Case 20-12522-JTD   Doc 2917        Filed 06/18/21   Page 607 of 835




Covenants             The New Term Loan Documentation will contain affirmative
                      covenants consistent with the Existing Credit Agreement (except
                      (1) as set forth under the heading “Ratings” below and (2) as to the
                      Cadence IP Licensee, which covenants shall be deleted), and
                      negative covenants consistent with the Existing Credit Agreement,
                      subject to certain exceptions and modifications as set forth on
                      Annex 1 hereto. For the avoidance of doubt, such covenants shall
                      not include any financial maintenance covenant.              In all
                      circumstances, the covenants shall permit the issuance of the $375
                      million of Takeback Second Lien Notes as set forth in the RSA.

Ratings               The Debtors shall use commercially reasonable efforts to obtain
                      credit ratings for the New First Lien Term Loans from Moody’s and
                      Standard & Poor’s prior to the Plan Effective Date.

Term Loan Exit        The term lenders under the Existing Credit Agreement shall earn an
Payment               exit payment (the “Term Loan Exit Payment”) of 0.5% of the
                      Outstanding Amount, which exit payment shall (a) increase to 1.0%
                      of the Outstanding Amount if Payment in Full of First Lien Term
                      Loan Claims does not occur on or prior to the Plan Effective Date
                      and (b) be payable upon the earlier of the Plan Effective Date and the
                      consummation of any transaction that effects Payment in Full of First
                      Lien Term Loan Claims on or prior to the Plan Effective Date. For
                      the avoidance of doubt, the Term Loan Exit Payment will only
                      increase to 1.0% if the treatment of First Lien Term Loan Claims is
                      the New First Lien Term Loan Treatment.

                                 OTHER TERMS

Consent Rights        The New Term Loan Documentation (including any applicable
                      intercreditor agreements) shall be (i) consistent with the
                      Restructuring Term Sheet and this First Lien Settlement Term Sheet,
                      (ii) based on, and except as otherwise set forth in the Restructuring
                      Term Sheet or this First Lien Settlement Term Sheet, no less
                      favorable to the Debtors than the Existing Credit Agreement and
                      associated Loan Documents (as defined in the Existing Credit
                      Agreement) (provided that the New Term Loan Documentation shall
                      contain a market-standard LIBOR replacement provision to be
                      reasonably agreed to by the Debtors and the Supporting Term
                      Lenders), and (iii) otherwise negotiated in good faith and reasonably
                      agreed between the Debtors and Required Supporting Term Lenders,
                      taking into account (A) the Debtors’ financing structure to be
                      implemented in accordance with the terms of the RSA and the Plan
                      and (B) changes in law or accounting standards or to cure mistakes
                      or defects, but in any event to include (w) an event of default in the
                      event the Loan Parties (defined in a manner consistent with the


                                          7
            Case 20-12522-JTD             Doc 2917          Filed 06/18/21     Page 608 of 835




                                Existing Credit Agreement) fail to make any payments under, or
                                materially breach, the CMS/DOJ/States Settlement or Opioid
                                Settlement, (x) a requirement of a 100% vote of lenders in order to
                                contractually subordinate the liens securing, or the right of payment
                                of, the obligations under the New First Lien Term Loan Facility to
                                any now-existing or hereafter implemented or incurred class of
                                indebtedness, (y) restrictions on the exclusion from collateral of the
                                equity interests of non-wholly owned subsidiaries except to the
                                extent arising from legitimate business transactions with third
                                parties, applicable law or tax efficiency considerations and
                                restrictions on the release of guarantee and collateral obligations of
                                subsidiaries that become less than wholly owned except through
                                legitimate business transactions with third parties, and (z) a
                                prohibition on open market purchases of loans other than the pro rata
                                modified Dutch auctions as permitted in the Existing Credit
                                Agreement and, in any event, any consideration in such modified
                                Dutch auction shall only be in cash (collectively, the
                                “Documentation Principles”). For the avoidance of doubt, (1) the
                                representations and warranties set forth in the New Term Loan
                                Documentation shall be established so as to eliminate any
                                representations or warranties that may not be satisfied as of the Plan
                                Effective Date (such as, for example, the absence of a material
                                adverse effect) and (2) the only conditions to the effectiveness of the
                                New First Lien Term Loan Facility shall be (1) completion of New
                                Term Loan Documentation consistent with the Documentation
                                Principles and (2) the conditions to the effectiveness of the relevant
                                plan of reorganization. The Existing 1L/2L Intercreditor Agreement
                                (as defined in the RSA) shall remain in place after the Plan Effective
                                Date and govern the respective rights of the administrative agent
                                under the New Term Loan Documentation, the lenders under the New
                                Term Loan Documentation, the trustee under the Existing Second
                                Lien Indenture,2 the Second Lien Document Representative (as
                                defined in the Existing 1L/2L Intercreditor Agreement), and the
                                holders of Existing Second Lien Notes3 and Takeback Second Lien
                                Notes (as defined in the RSA). To the extent any existing first lien
                                debt (other than First Lien Term Loan Claims) is reinstated on the
                                Plan Effective Date, the Existing 1L Intercreditor Agreement (as
                                defined in the RSA) shall remain in place after the Plan Effective
                                Date and govern the respective rights of the administrative agent and
                                the lenders under the New Term Loan Documentation and the agent

2
    “Existing Second Lien Indenture” means that certain Indenture for 10.000% Second Lien Secured Notes due
    2025, by and among Mallinckrodt International Finance S.A. and Mallinckrodt CB LLC, as Issuers, the guarantors
    party thereto, and Wilmington Savings Fund Society, FSB, as Second Lien Trustee and Second Lien Collateral
    Agent.
3
    “Existing Second Lien Notes” means those certain 10.000% Second Lien Secured Notes due 2025 under the
    Existing Second Lien Indenture.


                                                        8
        Case 20-12522-JTD   Doc 2917        Filed 06/18/21   Page 609 of 835




                    or trustee and lenders under such reinstated first lien indebtedness.
                    For the avoidance of doubt, the Definitive Documentation relating to
                    the implementation of the New First Lien Term Loan Facility shall
                    permit the consummation of all transactions contemplated by the
                    Plan.

DOJ/Opioid          Without the consent of the Required Supporting Term Lenders, the
Settlement Cash     Debtors shall not agree to any changes to the Plan, the Opioid
Consent Right       Settlement or CMS/DOJ/States Settlement that (a) result in the
                    aggregate amount of cash to be paid by the reorganized Debtors
                    pursuant to the Opioid Settlement and the CMS/DOJ/States
                    Settlement exceeding $1,860,000,000 (excluding professional fees
                    and expenses payable in connection with the Opioid Settlement and
                    the CMS/DOJ/States Settlement and interest payable in connection
                    with the CMS/DOJ/States Settlement) or (b) accelerate the timing of
                    payments to the Opioid Trust under the Opioid Settlement or
                    payments under the CMS/DOJ/States Settlement in any given year
                    (the “DOJ/Opioid Settlement Cash Consent Right”); provided that
                    no such consent shall be required for changes related to either (i) the
                    timing of exercise of the Debtors’ option to prepay the amounts
                    owing to the Opioid Trust or (ii) the Additional Insurance Rights.
                    Any partial prepayment of the amounts owing to the Opioid Trust
                    must be funded solely from the net proceeds of an equity raise.

Intercreditor       Except as otherwise agreed by the Debtors in writing, during the
Agreement Claims    Support Period and, if the Restructuring is consummated, from and
                    after the Plan Effective Date, (a) the Supporting Term Lenders shall
                    not pursue any claims under any intercreditor agreement against any
                    holder of any other secured Claims relating to any payments made
                    pursuant to the Final Cash Collateral Order or the Plan and (b) to the
                    extent practicable and in accordance with the terms of the Existing
                    Credit Agreement, the Supporting Term Lenders shall instruct the
                    First Lien Agent not to pursue any such claims; provided, however,
                    that to the extent the transactions contemplated by this First Lien
                    Settlement Term Sheet are not consummated and the Company does
                    not propose the Payment in Full of First Lien Term Loan Claims, all
                    of the Supporting Term Lenders’ rights and remedies with respect to
                    claims under any intercreditor agreement are expressly reserved.




                                        9
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 610 of 835




                          Annex 1

                     Negative Covenants
              Case 20-12522-JTD          Doc 2917      Filed 06/18/21     Page 611 of 835




                                                 Annex 1

                             Negative Covenants and Related Definitions

All capitalized terms used, but not defined, herein shall be defined in a fashion consistent with the
Documentation Principles (as defined in the First Lien Settlement Term Sheet to which this excerpt
is attached as Annex 1 (the “First Lien Term Sheet”)). The “Closing Date” shall mean the Plan
Effective Date (as defined in the First Lien Term Sheet). All schedules described herein shall be
completed based upon the actual characteristics of the Parent and its subsidiaries as of the Closing
Date. All baskets subject to a cap based on a dollar amount or percentage of Consolidated Total
Assets shall be deemed to be unused as of the Closing Date. All baskets set based on a percentage
of Consolidated Total Assets shall be set so as match the fixed portion of the basket on the Closing
Date after giving effect to any fresh-start accounting required to be implemented in connection the
applicable plan of reorganization. Additional baskets shall be agreed as necessary to permit
transactions consummated pursuant to the terms of a plan of reorganization consummated in
accordance with the terms of the Restructuring Support Agreement and the schedules thereto, to
which this Annex 1 is attached (the “RSA”).

Definitions:

               “Adjusted Consolidated EBITDA” shall mean, with respect to the Parent and the
Subsidiaries on a consolidated basis for any period, the Consolidated Net Income of the Parent and
the Subsidiaries for such period plus

                (a)    the sum of, without duplication, in each case, to the extent deducted in or
         otherwise reducing Consolidated Net Income for such period:

                           (i)    provision for taxes based on income, profits or capital of the Parent
                   and the Subsidiaries for such period, without duplication, including, without
                   limitation, state franchise and similar taxes, and foreign withholding taxes
                   (including penalties and interest related to taxes or arising from tax examination);
                   plus

                          (ii)    (x) Interest Expense of the Parent and the Subsidiaries for such
                   period and (y) all cash dividend payments (excluding items eliminated in
                   consolidation) on any series of preferred stock of any Subsidiary of Parent or any
                   Disqualified Stock of the Parent and its Subsidiaries; plus

                          (iii) depreciation, amortization (including amortization of intangibles,
                   deferred financing fees and actuarial gains and losses related to pensions and other
                   post-employment benefits, but excluding amortization of prepaid cash expenses
                   that were paid in a prior period) and other non-cash expenses (excluding any such
                   non-cash charges or expenses to the extent that it represents an accrual of or reserve
                   for cash expenses in any future period or amortization of a prepaid cash expense
                   that was paid in a prior period) of the Parent and the Subsidiaries for such period;
                   plus



 NEWYORK 9129936
           Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 612 of 835




                       (iv)   any costs or expenses incurred pursuant to any management equity
               plan or stock option plan or any other management or employee benefit plan or
               agreement or any stock subscription or shareholder agreement, to the extent that
               such costs or expenses are funded with cash proceeds contributed to the capital of
               the Parent or net cash proceeds of an issuance of Equity Interests of the Parent
               (other than Disqualified Stock) solely to the extent that such net cash proceeds are
               excluded from the calculation of the Available Amount; plus

                      (v)     any non-cash losses related to non-operational hedging, including,
               without limitation, resulting from hedging transactions for interest rate or currency
               exchange risks associated with this Agreement or the Existing Secured Notes;
               minus

              (b)     the sum of, without duplication, in each case, to the extent added back in or
       otherwise increasing Consolidated Net Income for such period:

                       (i)     non-cash items increasing such Consolidated Net Income for such
               period (excluding the recognition of deferred revenue or any non-cash items which
               represent the reversal of any accrual of, or reserve for, anticipated cash charges in
               any prior period and any items for which cash was received in any prior period);
               plus

                      (ii)    any non-cash gains related to non-operational hedging, including,
               without limitation, resulting from hedging transactions for interest rate or currency
               exchange risks associated with this Agreement or the Existing Secured Notes;

in each case, on a consolidated basis and determined in accordance with Applicable Accounting
Principles.

                 Notwithstanding the preceding, the provision for taxes based on the income or
profits of, the Interest Expense of, the depreciation and amortization and other non-cash expenses
or non-cash items of and the restructuring charges or expenses of, a Subsidiary (other than any
Wholly Owned Subsidiary) of the Parent will be added to (or subtracted from, in the case of non-
cash items described in clause (b) above) Consolidated Net Income to compute Adjusted
Consolidated EBITDA, (A) in the same proportion that the Net Income of such Subsidiary was
added to compute such Consolidated Net Income of the Parent, and (B) only to the extent that a
corresponding amount of the Net Income of such Subsidiary would be permitted at the date of
determination to be dividended or distributed to the Parent by such Subsidiary without prior
governmental approval (that has not been obtained), and without direct or indirect restriction
pursuant to the terms of its charter and all agreements, instruments, judgments, decrees, orders,
statutes, rules and governmental regulations applicable to that Subsidiary or its stockholders.

                “Affiliate” shall mean, when used with respect to a specified person, another person
that directly, or indirectly through one or more intermediaries, Controls or is Controlled by or is
under common Control with the person specified.




                                                  2
               Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 613 of 835




               “Applicable Accounting Principles” shall mean, for any period, the accounting
principles applied as provided in Section [__].1

              “Applicable Period” shall mean an Excess Cash Flow Period or an Excess Cash
Flow Interim Period, as the case may be.

               “Asset Sale” shall mean (x) any Disposition (including any sale and leaseback of
assets and any mortgage or lease of Real Property) to any person (including to a Divided LLC
pursuant to a Division) of, any asset or assets of the Parent or any Subsidiary and (y) any sale of
any Equity Interests by any Subsidiary to a person other than the Parent or a Subsidiary.

                 “Attributable Receivables Indebtedness” shall mean the principal amount of
Indebtedness (other than any Indebtedness subordinated in right of payment owing by a
Receivables Entity to a Receivables Seller or a Receivables Seller to another Receivables Seller in
connection with the transfer, sale and/or pledge of Permitted Receivables Facility Assets) which
(i) if a Qualified Receivables Facility is structured as a secured lending agreement or other similar
agreement, constitutes the principal amount of such Indebtedness or (ii) if a Qualified Receivables
Facility is structured as a purchase agreement or other similar agreement, would be outstanding at
such time under such Qualified Receivables Facility if the same were structured as a secured
lending agreement rather than a purchase agreement or such other similar agreement.

                “Available Amount” shall mean, as at any time of determination, an amount, not
less than zero in the aggregate, determined on a cumulative basis, equal to, without duplication:

                    (a)     $50 million, plus

                   (b)    50% of the Cumulative Retained Excess Cash Flow Amount on such date
           of determination, plus

                   (c)     the aggregate amount of proceeds received after the Closing Date and prior
           to such date of determination that would have constituted Net Proceeds had they exceeded
           the threshold amounts required to qualify as Net Proceeds (the “Below-Threshold Asset
           Sale Proceeds”), plus

                    (d)     the cumulative amounts of all prepayments declined by Term Lenders, plus

                  (e)     the Cumulative Parent Qualified Equity Proceeds Amount on such date of
           determination, minus

                  (f)     the cumulative amount of Investments made with the Available Amount
           from and after the Closing Date and on or prior to such time, minus

                (g)     the cumulative amount of Restricted Payments made with the Available
           Amount from and after the Closing Date and on or prior to such time (without duplication

1
    Section reference to be to general interpretive provision regarding accounting terms. For the avoidance of doubt,
      interpretive provisions to exclude from Capitalized Lease Obligations any leases that would not have been
      required to be so included prior to implementation of recent accounting changes.


                                                            3
               Case 20-12522-JTD             Doc 2917        Filed 06/18/21   Page 614 of 835




           of any such amount subtracted pursuant to the definition of Cumulative Parent Qualified
           Equity Proceeds Amount);

provided, however, for purposes of determining the amount of Available Amount available for
Restricted Payments, the calculation of the Available Amount shall not include any Below-
Threshold Asset Sale Proceeds or any amounts described in clause (d) above.

               “Board” shall mean the Board of Governors of the Federal Reserve System of the
United States of America.

               “Board of Directors” shall mean, as to any person, the board of directors, the board
of managers, the sole manager or other governing body of such person, or if such person is owned
or managed by a single entity, the board of directors or other governing body of such entity.

             “Borrower” shall mean each of the Lux Borrower and the Co-Borrower, and the
term “Borrowers” shall mean all of the Lux Borrower and the Co-Borrower.

               “Capital Expenditures” shall mean, for any person in respect of any period, the
aggregate of all expenditures incurred by such person during such period that, in accordance with
Applicable Accounting Principles, are or should be included in “additions to property, plant or
equipment” or similar items reflected in the statement of cash flows of such person; provided,
however, that, Capital Expenditures for the Parent and the Subsidiaries shall not include:

                   (a)    expenditures to the extent made with proceeds of the issuance of Qualified
           Equity Interests (other than Disqualified Stock) of the Parent or capital contributions to the
           Parent or funds that would have constituted Net Proceeds under clause (a) of the definition
           of the term “Net Proceeds” (but that will not constitute Net Proceeds as a result of the first
           or second proviso to such clause (a)); provided that (i) this clause (a) shall exclude
           expenditures made with the proceeds from sales of Equity Interests financed as
           contemplated by Section 6.04(e)(iii), proceeds of Equity Interests used to make
           Investments pursuant to Section 6.04(p), proceeds of Equity Interests used to make a
           Restricted Payment in reliance on clause (x) of the proviso to Section 6.06(b) and (ii) such
           proceeds are not included in any determination of the Available Amount;

                  (b)     expenditures of proceeds of insurance settlements, condemnation awards
           and other settlements in respect of lost, destroyed, damaged or condemned assets,
           equipment or other property to the extent such expenditures are made to replace or repair
           such lost, destroyed, damaged or condemned assets, equipment or other property or
           otherwise to acquire, maintain, develop, construct, improve, upgrade or repair assets or
           properties useful in the business of the Parent and the Subsidiaries to the extent such
           proceeds are not then required to be applied to prepay Term Loans pursuant to
           Section [__]2;

                    (c)      interest capitalized during such period;



2
    Section reference to be to the asset sale mandatory prepayment.


                                                             4
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 615 of 835




               (d)     expenditures that are accounted for as capital expenditures of such person
       and that actually are paid for by a third party (excluding the Parent, the Borrowers or any
       Subsidiary) and for which none of the Parent, the Borrowers or any Subsidiary has provided
       or is required to provide or incur, directly or indirectly, any consideration or obligation to
       such third party or any other person (whether before, during or after such period);

               (e)     the book value of any asset owned by such person prior to or during such
       period to the extent that such book value is included as a capital expenditure during such
       period as a result of such person reusing or beginning to reuse such asset during such period
       without a corresponding expenditure actually having been made in such period; provided
       that (i) any expenditure necessary in order to permit such asset to be reused shall be
       included as a Capital Expenditure during the period that such expenditure actually is made
       and (ii) such book value shall have been included in Capital Expenditures when such asset
       was originally acquired;

               (f)     the purchase price of equipment purchased during such period to the extent
       that the consideration therefor consists of any combination of (i) used or surplus equipment
       traded in at the time of such purchase, (ii) the proceeds of a concurrent sale of used or
       surplus equipment, in each case, in the ordinary course of business or (iii) assets Disposed
       of pursuant to Section 6.05(m);

               (g)     Investments in respect of a Permitted Business Acquisition; or

              (h)     the purchase of property, plant or equipment made with proceeds from any
       Asset Sale to the extent such proceeds are not then required to be applied to prepay Term
       Loans pursuant to Section 2.11(b).

                “Capitalized Lease Obligations” shall mean, at the time any determination thereof
is to be made, the amount of the liability in respect of a capital lease that would at such time be
required to be capitalized and reflected as a liability on a balance sheet (excluding the footnotes
thereto) in accordance with Applicable Accounting Principles.

               “Cash Interest Expense” shall mean, with respect to the Parent and the Subsidiaries
on a consolidated basis for any period, Interest Expense for such period to the extent such amounts
are paid in cash for such period, excluding, without duplication, in any event (a) pay-in-kind
Interest Expense or other non-cash Interest Expense (including as a result of the effects of purchase
accounting), (b) to the extent included in Interest Expense, the amortization of any financing fees
paid by, or on behalf of, the Parent or any Subsidiary, including such fees paid in connection with
the Transactions or upon entering into a Qualified Receivables Facility, and (c) the amortization
of debt discounts, if any, or fees in respect of Hedging Agreements; provided, that Cash Interest
Expense shall exclude any one time financing fees, including those paid in connection with the
Transactions, or upon entering into a Qualified Receivables Facility or any amendment of this
Agreement.

             “Cash Management Agreement” shall mean any agreement to provide to the Parent,
a Borrower or any Subsidiary Loan Party cash management services for collections, treasury
management services (including controlled disbursement, overdraft, automated clearing house


                                                   5
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 616 of 835




fund transfer services, return items and interstate depository network services), any demand
deposit, payroll, trust or operating account relationships, commercial credit cards, merchant card,
purchase or debit cards, non-card e-payables services, and other cash management services,
including electronic funds transfer services, lockbox services, stop payment services and wire
transfer services.

               “Cash Management Bank” shall mean any person that, at the time it enters into a
Cash Management Agreement (or on the Closing Date), is an Agent, an Arranger, a Lender or an
Affiliate of any such person, in each case, in its capacity as a party to such Cash Management
Agreement.

                 “Consolidated Debt” shall mean, as of any date of determination, the sum of
(without duplication) all Indebtedness of the type set forth in clauses (a), (b), (e) (to the extent
related to any Indebtedness that would otherwise constitute Consolidated Debt), (f), (h) (other than
letters of credit, to the extent undrawn), (i) (other than bankers’ acceptances to the extent undrawn),
(j), (k) (to the extent related to any Indebtedness that would otherwise constitute Consolidated
Debt) and (l) of the definition of “Indebtedness” of the Parent and the Subsidiaries determined on
a consolidated basis on such date; provided, that the amount of any Indebtedness (including the
Indebtedness under this Agreement) with respect to which the applicable obligors have entered
into currency hedging arrangements shall be calculated giving effect to such currency hedging
arrangements.

               “Consolidated Net Income” shall mean, with respect to any person for any period,
the aggregate Net Income of such person and its subsidiaries for such period, on a consolidated
basis, in accordance with Applicable Accounting Principles; provided, however, that, without
duplication:

               (a)    any net after-tax extraordinary, nonrecurring or unusual gains or losses (less
       all fees and expenses relating thereto) or expenses or charges, any severance expenses,
       relocation expenses, curtailments or modifications to pension and post-retirement
       employee benefit plans, excess pension charges, any expenses related to any
       reconstruction, decommissioning, recommissioning or reconfiguration of fixed assets for
       alternate uses and fees, expenses or charges relating to new product lines, Milestone
       Payments under intellectual property licensing agreements, facilities closing or
       consolidation costs, acquisition integration costs, facilities opening costs, project start-up
       costs, business optimization costs, (including inventory optimization programs), systems
       establishment costs, contract termination costs, future lease commitments, other
       restructuring charges, reserves or expenses, signing, retention or completion bonuses,
       expenses or charges related to any issuance of Equity Interests, Investment, acquisition,
       disposition, recapitalization or issuance, repayment, refinancing, amendment or
       modification of Indebtedness (in each case, whether or not successful), and any fees,
       expenses, charges, change in control payments or other payment obligations made in
       connection with, or related to, the Transaction shall be excluded;

              (b)    effects of purchase accounting adjustments (including the effects of such
       adjustments pushed down to such person and such Subsidiaries) in amounts required or
       permitted by Applicable Accounting Principles, resulting from the application of purchase


                                                    6
   Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 617 of 835




accounting in relation to any consummated acquisition or the amortization or write-off of
any amounts thereof, net of taxes, shall be excluded;

        (c)    the cumulative effect of a change in accounting principles (which shall in
no case include any change in the comprehensive basis of accounting) during such period
shall be excluded;

        (d)     (i) any net after-tax income or loss from disposed, abandoned, transferred,
closed or discontinued operations, (ii) any net after-tax gain or loss on disposal of disposed,
abandoned, transferred, closed or discontinued operations and (iii) any net after-tax gains
or losses (less all fees and expenses or charges relating thereto) attributable to business
dispositions or asset dispositions other than in the ordinary course of business (as
determined in good faith by the Parent) shall be excluded;

        (e)    any net after-tax gains or losses, or any subsequent charges or expenses (less
all fees and expenses or charges relating thereto), attributable to the early extinguishment
of Indebtedness, hedging obligations or other derivative instruments shall be excluded;

        (f)     the Net Income for such period of any person that is not a subsidiary of such
person, or is an Unrestricted Subsidiary, or that is accounted for by the equity method of
accounting (other than a guarantor), shall be included only to the extent of the excess
(which shall not be less than $0) of the amount of dividends or distributions or other
payments actually paid in cash or cash equivalents (or to the extent converted into cash or
cash equivalents) to the referent person or a Subsidiary thereof in respect of such period
over the amount of all Investments made to such Unrestricted Subsidiaries during such
period;

         (g)    solely for purposes of calculating the Available Amount, the Net Income
for such period of any subsidiary of such person shall be excluded to the extent that the
declaration or payment of dividends or similar distributions by such subsidiary of its Net
Income is not at the date of determination permitted without any prior governmental
approval (which has not been obtained) or, directly or indirectly, by the operation of the
terms of its charter or any agreement, instrument, judgment, decree, order, statute, rule or
governmental regulation applicable to such subsidiary or its equityholders, unless such
restrictions with respect to the payment of dividends or similar distributions have been
legally waived; provided that the Consolidated Net Income of such person shall be
increased by the amount of dividends or other distributions or other payments actually paid
in cash (or converted into cash) by any such subsidiary to such person or a subsidiary of
such person (subject to the provisions of this clause (g)), to the extent not already included
therein;

        (h)     any impairment charge or asset write-off and amortization of intangibles, in
each case pursuant to Applicable Accounting Principles, shall be excluded; provided that
in no event shall amortization of intangibles so excluded in any period of four consecutive
fiscal quarters exceed the greater of $20.0 million and 10% of Consolidated Net Income
for such period (before giving effect to such exclusion);



                                            7
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 618 of 835




               (i)    any non-cash expense realized or resulting from stock option plans,
       employee benefit plans or post-employment benefit plans, or grants or sales of stock, stock
       appreciation or similar rights, stock options, restricted stock, preferred stock or other rights
       shall be excluded;

               (j)    any (i) non-cash compensation charges, (ii) costs and expenses after the
       Closing Date related to employment of terminated employees, or (iii) costs or expenses
       realized in connection with or resulting from stock appreciation or similar rights, stock
       options or other rights existing on the Closing Date of officers, directors and employees,
       in each case of such person or any of its subsidiaries, shall be excluded;

              (k)     accruals and reserves that are established or adjusted within 12 months after
       the Closing Date (excluding any such accruals or reserves to the extent that they represent
       an accrual of or reserve for cash expenses in any future period or amortization of a prepaid
       cash expense that was paid in a prior period) and that are so required to be established or
       adjusted in accordance with Applicable Accounting Principles or as a result of adoption or
       modification of accounting policies shall be excluded;

               (l)     the Net Income of any person and its Subsidiaries shall be calculated by
       deducting the income attributable to, or adding the losses attributable to, the minority
       equity interests of third parties in any non-Wholly Owned Subsidiary;

               (m)      any unrealized gains and losses related to currency remeasurements of
       Indebtedness, and any unrealized net loss or gain resulting from hedging transactions for
       interest rates, commodities or currency exchange risk, shall be excluded;

                (n)    to the extent covered by insurance and actually reimbursed, or, so long as
       such person has made a determination that there exists reasonable evidence that such
       amount will in fact be reimbursed by the insurer and only to the extent that such amount is
       (i) not denied by the applicable carrier in writing within 180 days and (ii) in fact reimbursed
       within 365 days of the date of such evidence (with a deduction for any amount so added
       back to the extent not so reimbursed within 365 days), expenses with respect to liability or
       casualty events or business interruption shall be excluded; and

              (o)    non-cash charges for deferred tax asset valuation allowances shall be
       excluded (except to the extent reversing a previously recognized increase to Consolidated
       Net Income).

               Consolidated Net Income presented in a currency other than Dollars will be
converted to Dollars based on the average exchange rate for such currency during, and applied to,
each fiscal quarter in the period for which Consolidated Net Income is being calculated.



               “Consolidated Secured Net Debt” shall mean, as of any date of determination,
(i) Consolidated Debt to the extent secured by Liens on all or any portion of the assets of the Parent
or its Subsidiaries on such date (including, for the avoidance of doubt, Qualified Receivables
Facility) less (ii) the Unrestricted Cash of the Parent and its Subsidiaries on such date.

                                                   8
              Case 20-12522-JTD             Doc 2917        Filed 06/18/21        Page 619 of 835




Notwithstanding anything to the contrary contained above, all Indebtedness incurred pursuant to
this Agreement (including any such Indebtedness incurred pursuant to any Incremental Loan) or
pursuant to Sections 6.01(b) and (v), and any Permitted Refinancing Indebtedness or Refinancing
Notes (or successive Permitted Refinancing Indebtedness or Refinancing Notes) incurred under
Sections 6.01(b) or (v) (whether or not secured) shall be included as if secured by Liens as a
component of Consolidated Debt pursuant to clause (i) of the immediately preceding sentence;
provided that any such Permitted Refinancing Indebtedness (x) if unsecured, shall not constitute a
component of Consolidated Debt if, when incurred, such Indebtedness is independently permitted
to be incurred under Section 6.01(p) (or is subsequently reclassified as outstanding thereunder)
and (y) if secured by the Collateral on a junior lien basis, shall cease to constitute a component of
Consolidated Secured Net Debt for purposes of the First Lien Secured Net Leverage Ratio only,
if, when incurred, such Indebtedness is independently permitted to be incurred under
Section 6.01(p), and permitted to be secured under Section 6.02(ff) (or is subsequently permitted
to be outstanding and secured under said Sections).

                “Consolidated Total Assets” shall mean, as of any date of determination, the total
assets of the Parent and the Subsidiaries, determined on a consolidated basis in accordance with
Applicable Accounting Principles, as set forth on the consolidated balance sheet of the Parent as
of the last day of the Test Period ending immediately prior to such date for which financial
statements of the Parent have been delivered (or were required to be delivered) pursuant to
Section [__], [__] or [__],3 as applicable. Consolidated Total Assets shall be determined on a Pro
Forma Basis.

               “Consolidated Total Net Debt” shall mean, as of any date of determination,
(i) Consolidated Debt on such date less (ii) the Unrestricted Cash of the Parent and its Subsidiaries
on such date.

               “Control” shall mean the possession, directly or indirectly, of the power to direct
or cause the direction of the management or policies of a person, whether through the ownership
of voting securities, by contract or otherwise, and “Controlling” and “Controlled” shall have
meanings correlative thereto.

               “Cumulative Parent Qualified Equity Proceeds Amount” shall mean, at any time of
determination, an amount equal to, without duplication:

                  (a)     100% of the aggregate net proceeds (determined in a manner consistent with
          the definition of “Net Proceeds”), including cash and the Fair Market Value of tangible
          assets other than cash, received by the Parent after the Closing Date from the issue or sale
          of its Qualified Equity Interests, including Qualified Equity Interests of the Parent issued
          upon conversion of Indebtedness or Disqualified Stock to the extent the Parent or its
          Wholly Owned Subsidiaries had received the Net Proceeds of such Indebtedness or
          Disqualified Stock; plus



3
    Section references to be to (i) condition for delivery of pre-closing financial statements, (ii) annual financial
      statements reporting covenant and (iii) quarterly financial statements reporting covenant.


                                                            9
               Case 20-12522-JTD             Doc 2917        Filed 06/18/21   Page 620 of 835




                  (b)     100% of the aggregate amount of contributions to the capital of the Parent
           (but not for Disqualified Stock) by its shareholders received in cash and the Fair Market
           Value of tangible assets other than cash after the Closing Date; plus

                  (c)     100% of the aggregate amount received by the Parent or its Wholly Owned
           Subsidiaries in cash and the Fair Market Value of assets (other than cash) received by the
           Parent or its Wholly Owned Subsidiaries after the Closing Date from (without duplication
           of amounts, and without including the items described below to the extent same are already
           included in Excess Cash Flow):

                            (i)     the sale or other disposition (other than to the Parent or any
                    Subsidiary) of any Investment made by the Parent and its Subsidiaries and
                    repurchases and redemptions of such Investment from the Parent and its
                    Subsidiaries by any person (other than the Parent and its Subsidiaries) to the extent
                    that (x) such Investment was justified as using a portion of the Available Amount
                    pursuant to clause (Y) of Section 6.04(j) (and such Investment has not subsequently
                    been reclassified as outstanding pursuant to another sub-clause or sub-section of
                    Section 6.04) and (y) the Net Proceeds thereof are not required to be applied
                    pursuant to Section [__]4;

                            (ii)    the sale (other than to the Parent or a Subsidiary) of the Equity
                    Interests of an Unrestricted Subsidiary to the extent that (x) the designation of such
                    Unrestricted Subsidiary was justified as using a portion of the Available Amount
                    pursuant to clause (Y) of Section 6.04(j) (and such Investment has not subsequently
                    been reclassified as outstanding pursuant to another sub-clause or sub-section of
                    Section 6.04) and (y) the Net Proceeds thereof are not required to be applied
                    pursuant to Section [__]5; or

                            (iii) to the extent not included in the calculation of Consolidated Net
                    Income for the relevant period, a distribution, dividend or other payment from an
                    Unrestricted Subsidiary to the extent relating to any portion of the Investment
                    therein made pursuant to sub-clause (Y) of Section 6.04(j) (and which has not been
                    subsequently reclassified as outstanding pursuant to another sub-clause or sub-
                    section of said Section 6.04); minus

                   (d)    .the cumulative amount of Restricted Payments made with the Cumulative
           Parent Qualified Equity Proceeds Amount from and after the Closing Date and on or prior
           to such time.

             “Cumulative Retained Excess Cash Flow Amount” shall mean, at any date, an
amount (which shall not be less than zero in the aggregate) determined on a cumulative basis equal
to



4
    Section reference to be to asset sale mandatory prepayment.
5
    Section reference to be to asset sale mandatory prepayment.


                                                            10
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 621 of 835




               (a)   the aggregate cumulative sum of the Retained Percentage of Excess Cash
Flow for all Excess Cash Flow Periods beginning after the Closing Date and ended prior to such
date, plus

                (b)      for any Excess Cash Flow Interim Period occurring during the Excess Cash
Flow Period containing the Closing Date, ending prior to such date and beginning with the first
full fiscal quarter after the Closing Date, an amount equal to the Retained Percentage of Excess
Cash Flow for such Excess Cash Flow Interim Period, plus

               (c)   for any Excess Cash Flow Interim Period ended prior to such date but as to
which the corresponding Excess Cash Flow Period has not ended, an amount equal to the Retained
Percentage of Excess Cash Flow for such Excess Cash Flow Interim Period, minus

                (d)    the cumulative amount of all Retained Excess Cash Flow Overfundings as
of such date.

                “Current Assets” shall mean, with respect to the Parent and the Subsidiaries on a
consolidated basis at any date of determination, the sum of (a) all assets (other than cash and
Permitted Investments or other cash equivalents) that would, in accordance with Applicable
Accounting Principles, be classified on a consolidated balance sheet of the Parent and the
Subsidiaries as current assets at such date of determination, other than amounts related to current
or deferred Taxes based on income or profits, and (b) in the event that a Qualified Receivables
Facility is accounted for off balance sheet, (x) gross accounts receivable comprising part of the
Permitted Receivables Facility Assets subject to such Qualified Receivables Facility less
(y) collections against the amounts sold pursuant to clause (x).

                “Current Liabilities” shall mean, with respect to the Parent and the Subsidiaries on
a consolidated basis at any date of determination, all liabilities that would, in accordance with
Applicable Accounting Principles, be classified on a consolidated balance sheet of the Parent and
the Subsidiaries as current liabilities at such date of determination, other than (a) the current
portion of any Indebtedness, (b) accruals of Interest Expense (excluding Interest Expense that is
due and unpaid), (c) accruals for current or deferred Taxes based on income or profits, (d) accruals,
if any, of transaction costs resulting from the Transactions, (e) accruals of any costs or expenses
related to (i) severance or termination of employees prior to the Closing Date or (ii) bonuses,
pension and other post-retirement benefit obligations, and (f) accruals for exclusions from
Consolidated Net Income included in clause (a) of the definition of such term.

               “Debt Service” shall mean, with respect to the Parent and the Subsidiaries on a
consolidated basis for any period, Cash Interest Expense for such period, plus scheduled principal
amortization of Consolidated Debt for such period.

               “Designated Non-Cash Consideration” shall mean the Fair Market Value of non-
cash consideration received by the Parent, the Lux Borrower or one of the Subsidiaries in
connection with an Asset Sale that is so designated as Designated Non-Cash Consideration
pursuant to a certificate of a Responsible Officer of a Borrower, setting forth such valuation, less
the amount of cash or cash equivalents received in connection with a subsequent disposition of
such Designated Non-Cash Consideration.


                                                  11
               Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 622 of 835




                “Disinterested Director” shall mean, with respect to any person and transaction, a
member of the Board of Directors of such person who does not have any material direct or indirect
financial interest in or with respect to such transaction.

               “Dispose” or “Disposed of” shall mean to convey, sell, lease, sell and leaseback,
assign, farm-out, transfer or otherwise dispose of any property, business or asset. The term
“Disposition” shall have a correlative meaning to the foregoing.

                “Disqualified Stock” shall mean, with respect to any person, any Equity Interests
of such person that, by its terms (or by the terms of any security or other Equity Interests into
which it is convertible or for which it is exchangeable), or upon the happening of any event or
condition (a) matures or is mandatorily redeemable (other than solely for Qualified Equity
Interests), pursuant to a sinking fund obligation or otherwise, (b) is redeemable at the option of the
holder thereof (other than solely for Qualified Equity Interests), in whole or in part, (c) provides
for the scheduled, mandatory payments of dividends in cash, or (d) is or becomes convertible into
or exchangeable for Indebtedness or any other Equity Interests that would constitute Disqualified
Stock, in the case of each of the foregoing clauses (a), (b), (c) and (d), prior to the date that is
ninety-one (91) days after the Latest Maturity Date in effect at the time of issuance thereof and
except as a result of a change of control or asset sale so long as any rights of the holders thereof
upon the occurrence of a change of control or asset sale event shall be subject to the prior
repayment in full of the Loans and all other Loan Obligations that are accrued and payable
(provided, that only the portion of the Equity Interests that so mature or are mandatorily
redeemable, are so convertible or exchangeable or are so redeemable at the option of the holder
thereof prior to such date shall be deemed to be Disqualified Stock). Notwithstanding the
foregoing: (i) any Equity Interests issued to any employee or to any plan for the benefit of
employees of the Parent or the Subsidiaries or by any such plan to such employees shall not
constitute Disqualified Stock solely because they may be required to be repurchased by the Parent
in order to satisfy applicable statutory or regulatory obligations or as a result of such employee’s
termination, death or disability and (ii) any class of Equity Interests of such person that by its terms
authorizes such person to satisfy its obligations thereunder by delivery of Equity Interests that are
not Disqualified Stock shall not be deemed to be Disqualified Stock.

                    “DOJ Settlement” shall mean [_______].6

               “Divided LLC” means any Delaware LLC which has been formed as a consequence
of a Division (excluding any dividing Delaware LLC that survives a Division).

            “Division” means the statutory division of any Delaware LLC into two or more
Delaware LLCs pursuant to Section 18-217 of the Delaware Limited Liability Company Act.

                    “Domestic Subsidiary” shall mean any Subsidiary that is not a Foreign Subsidiary.

               “Equity Interests” of any person shall mean any and all shares, interests, rights to
purchase or otherwise acquire, warrants, options, participations or other equivalents of or interests

6
    To be defined to mean the settlement with the DOJ regarding Acthar as implemented by any plan of reorganization,
      subject to the consent rights of the Supporting Term Lenders under the RSA.


                                                           12
          Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 623 of 835




in (however designated) equity or ownership of such person, including any preferred stock
(including any preferred equity certificates (and any other similar instruments)), any limited or
general partnership interest and any limited liability company membership interest, and any
securities or other rights or interests convertible into or exchangeable for any of the foregoing.

               “Excess Cash Flow” shall mean, with respect to the Parent and the Subsidiaries on
a consolidated basis for any Applicable Period, Adjusted Consolidated EBITDA of the Parent and
the Subsidiaries on a consolidated basis for such Applicable Period, minus, without duplication,

              (a)    Debt Service for such Applicable Period, reduced by the aggregate principal
       amount of voluntary prepayments of Consolidated Debt (other than prepayments of the
       Loans) that would otherwise have constituted scheduled principal amortization during such
       Applicable Period;

               (b)     the amount of any voluntary prepayment permitted hereunder of term
       Indebtedness (other than any Term Loans) during such Applicable Period, in each case to
       the extent not financed, or intended to be financed, using the proceeds of, without
       duplication, the incurrence of Indebtedness, the sale or issuance of any Equity Interests,
       any component of Available Amount (in the case of Cumulative Retained Excess Cash
       Flow Amount, only to the extent attributable to a time prior to such Applicable Period) or
       any Net Proceeds not otherwise required to prepay the Loans pursuant to the prepayment
       provisions of this Agreement or the definition of the term “Net Proceeds”, in each case, to
       the extent that the amount of such prepayment is not already reflected in Debt Service;

              (c)      (i) Capital Expenditures by the Parent and the Subsidiaries on a consolidated
       basis during such Applicable Period that are paid in cash and (ii) the aggregate
       consideration paid in cash during such Applicable Period in respect of Permitted Business
       Acquisitions and other Investments (excluding intercompany loans and transfers of funds)
       permitted hereunder, in each case, to the extent not financed with the proceeds of, without
       duplication, the incurrence of Indebtedness, the sale or issuance of any Equity Interests,
       any component of Available Amount (in the case of Cumulative Retained Excess Cash
       Flow Amount, only to the extent attributable to a time prior to such Applicable Period) or
       any Net Proceeds not otherwise required to prepay the Loans pursuant to the prepayment
       provisions of this Agreement or the definition of the term “Net Proceeds” (less any amounts
       received in respect thereof as a return of capital);

               (d)      Capital Expenditures that the Parent or any Subsidiary shall, during such
       Applicable Period, become obligated to make but that are not made during such Applicable
       Period (but are expected to be made in the next Applicable Period); provided that any
       amount so deducted that will be paid after the close of such Applicable Period shall not be
       deducted again in a subsequent Applicable Period; provided further that if any such Capital
       Expenditures so deducted are either (A) not so made in the following Applicable Period or
       (B) made in the following Applicable Period with the proceeds of, without duplication, the
       incurrence of Indebtedness, the sale or issuance of any Equity Interests, any component of
       Available Amount (in the case of Cumulative Retained Excess Cash Flow Amount, only
       to the extent attributable to a time prior to such Applicable Period) or any Net Proceeds not
       otherwise required to prepay the Loans pursuant the prepayment provisions of this


                                                 13
   Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 624 of 835




Agreement or the definition of the term “Net Proceeds”, the amount of such Capital
Expenditures not so made or so financed shall be added to the calculation of Excess Cash
Flow in such following Applicable Period as set forth in clause (iv) below;

        (e)    Taxes paid in cash by the Parent and the Subsidiaries on a consolidated basis
during such Applicable Period or that will be paid within six months after the close of such
Applicable Period and for which reserves have been established, including income tax
expense and withholding tax expense incurred in connection with cross-border transactions
involving the Foreign Subsidiaries; provided that any amount so deducted that will be paid
after the close of such Applicable Period shall not be deducted again in a subsequent
Applicable Period;

       (f)     an amount equal to any increase in Working Capital of the Parent and the
Subsidiaries for such Applicable Period;

       (g)    cash expenditures made in respect of Hedging Agreements during such
Applicable Period, to the extent not reflected in the computation of Adjusted Consolidated
EBITDA or Cash Interest Expense;

        (h)    permitted dividends or distributions or repurchases of its Equity Interests
paid in cash by the Parent to its shareholders during such Applicable Period and permitted
dividends paid by any Subsidiary to any person other than the Parent or any of the
Subsidiaries during such Applicable Period, in each case in accordance with
Section 6.06(b) (except to the extent such payment is made with amounts described in
clauses (x) and (y) of the parenthetical contained in the proviso thereto), (f) and/or (h)
(other than Restricted Payments made with Equity Interests (other than Disqualified Stock)
of the Parent or with proceeds of Indebtedness or using any component of the Available
Amount);

       (i)    without duplication of any exclusions to the calculation of Consolidated Net
Income or Adjusted Consolidated EBITDA, amounts paid in cash during such Applicable
Period on account of (A) items that were accounted for as noncash reductions in
determining Adjusted Consolidated EBITDA of the Parent and the Subsidiaries in a prior
Applicable Period and (B) reserves or accruals established in purchase accounting;

        (j)     to the extent not deducted in the computation of Net Proceeds in respect of
any asset disposition or condemnation giving rise thereto, the amount of any prepayment
of Indebtedness (other than Indebtedness created hereunder or under any other Loan
Document), together with any interest, premium or penalties required to be paid (and
actually paid) in connection therewith to the extent that the income or gain realized from
the transaction giving rise to such Net Proceeds exceeds the aggregate amount of all such
prepayments and Capital Expenditures made with such Net Proceeds;

       (k)     the amount related to items of income that were added to or items of expense
not deducted from Net Income in calculating Consolidated Net Income or were added to
or not deducted from Consolidated Net Income in calculating Adjusted Consolidated
EBITDA to the extent either (x) such items of expense represented a cash payment (which


                                          14
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 625 of 835




       had not reduced Excess Cash Flow upon the accrual thereof in a prior Applicable Period),
       or an accrual for a cash payment, by the Parent and the Subsidiaries or (y) such items of
       income did not represent cash received by the Parent and the Subsidiaries, in each case on
       a consolidated basis during such Applicable Period;

              (l)      all cash payments made in connection with, or relating to, the Transactions;
       provided that, if the Closing Date occurs after December [__], 2021, a Borrower may elect
       to cause all or any portion of such cash payments made on the Closing Date to be deemed
       to have been made in the Excess Cash Flow Period ending December [__], 2021,

plus, without duplication,

              (i)     an amount equal to any decrease in Working Capital of the Parent and the
       Subsidiaries for such Applicable Period;

               (ii)   all proceeds received during such Applicable Period of Capitalized Lease
       Obligations, purchase money Indebtedness, Sale and Lease-Back Transactions permitted
       under this Agreement and any other Indebtedness, in each case to the extent used to finance
       any Capital Expenditure (other than Indebtedness under this Agreement) to the extent there
       is a corresponding deduction to Excess Cash Flow above in respect of the use of such
       Borrowings;

               (iii)   all amounts referred to in clause (c) or (d) above to the extent funded with,
       without duplication, (x) the proceeds of the sale or issuance of Equity Interests of, or capital
       contributions to, the Parent after the Closing Date, (y) any amount that would have
       constituted Net Proceeds under clause (a) of the definition of the term “Net Proceeds” if
       not so spent or (z) any component of Available Amount (which, in the case of Cumulative
       Retained Excess Cash Flow Amount, only to the extent attributable to a time prior to such
       Applicable Period), in each case solely to the extent there is a corresponding deduction
       from Excess Cash Flow above;

               (iv)  to the extent any permitted Capital Expenditures referred to in clause (d)
       above and the delivery of the related equipment do not occur in the following Applicable
       Period, the amount of such Capital Expenditures that were not so made in such following
       Applicable Period;

              (v)     to the extent any Taxes deducted pursuant to in clause (e) above are not paid
       in such Applicable Period or in the six months after the close of such Applicable Period,
       the amount of such Taxes that were not so paid in such Applicable Period or in the six
       months after the close of such Applicable Period;

              (vi)   cash payments received in respect of Hedging Agreements during such
       Applicable Period to the extent (x) not included in the computation of Adjusted
       Consolidated EBITDA or (y) such payments do not reduce Cash Interest Expense;

              (vii) any extraordinary or nonrecurring gain realized in cash during such
       Applicable Period, except to the extent such gain consists of Net Proceeds subject to the
       prepayment provisions of this Agreement;

                                                  15
             Case 20-12522-JTD              Doc 2917         Filed 06/18/21         Page 626 of 835




              (viii) to the extent deducted in the computation of Adjusted Consolidated
         EBITDA, cash interest income; and

                (ix)    the amount related to items of expense that were deducted from or items of
         income not added to Net Income in connection with calculating Consolidated Net Income
         or were deducted from or not added to Consolidated Net Income in calculating Adjusted
         Consolidated EBITDA to the extent either (x) such items of income represented cash
         received by the Parent or any Subsidiary (which had not increased Excess Cash Flow upon
         the accrual thereof in a prior Applicable Period) or (y) such items of expense do not
         represent cash paid by the Parent or any Subsidiary, in each case on a consolidated basis
         during such Applicable Period.

Notwithstanding anything to the contrary set forth in this definition, no effect shall be given, for
purposes of calculating Excess Cash Flow, to any non-cash balance sheet impact arising from any
refunds pursuant to the CARES Act.

                “Excess Cash Flow Interim Period” shall mean, during any Excess Cash Flow
Period, any one, two, or three-quarter period (a) commencing at the end of the immediately
preceding Excess Cash Flow Period (or, if during the first Excess Cash Flow Period, the fiscal year
ended December 25, 20207) and (b) ending on the last day of the most recently ended fiscal quarter
(other than the last day of the fiscal year) during such Excess Cash Flow Period for which financial
statements are available.

                “Excess Cash Flow Period” shall mean each fiscal year of the Parent, commencing
with the fiscal year of the Parent ending December [__], 2021.8

                  “Excluded Indebtedness” shall mean all Indebtedness not incurred in violation of
Section 6.01.

                “Excluded Swap Obligation” shall mean, with respect to any Guarantor, any Swap
Obligation if, and to the extent that, all or a portion of the Guarantee of such Guarantor of, or the
grant by such Guarantor of a security interest to secure, such Swap Obligation (or any Guarantee
thereof) is or becomes illegal under the Commodity Exchange Act or any rule, regulation or order
of the Commodity Futures Trading Commission (or the application or official interpretation of any
thereof) by virtue of such Guarantor’s failure for any reason to constitute an “eligible contract
participant” as defined in the Commodity Exchange Act and the regulations thereunder at the time
the Guarantee of such Guarantor or the grant of such security interest becomes effective with
respect to such Swap Obligation, unless otherwise agreed between the Administrative Agent and
a Borrower. If a Swap Obligation arises under a master agreement governing more than one swap,
such exclusion shall apply only to the portion of such Swap Obligation that is attributable to swaps
for which such Guarantee or security interest is or becomes illegal.




7
  To be the last day of the 2021 fiscal year if the Closing Date occurs after delivery of annual financials for the 2021
    fiscal year.
8
  To be the 2022 fiscal year if the Closing Date occurs after delivery of annual financials for the 2021 fiscal year.


                                                           16
               Case 20-12522-JTD                Doc 2917   Filed 06/18/21   Page 627 of 835




              “Existing Secured Notes” shall mean, collectively, (i) the $495,032,000 in
aggregate principal amount of Existing First Lien Notes, (ii) the $322,868,000 in aggregate
principal amount of 10.000% Second Lien Senior Secured Notes due 2025 issued pursuant to the
Existing Second Lien Notes Indenture and (iii) the $375,000,000 in aggregate principal amount of
10.000% Second Lien Senior Secured Notes due 202[8]9 issued pursuant to the Existing Takeback
Notes Indenture.

             “Existing First Lien Notes” shall mean the 10.000% First Lien Senior Secured
Notes due 2025 issued pursuant to the Existing First Lien Notes Indenture.

              “Existing First Lien Notes Indenture” shall mean the Indenture, dated as of April
7, 2020, among the Lux Borrower and the Co-Borrower, as issuers, the guarantors party thereto
from time to time, Deutsche Bank AG New York Branch, as first lien collateral agent, and
Wilmington Savings Fund Society, FSB, as first lien trustee, as amended, modified or
supplemented from time to time.

               “Existing Second Lien Notes Indenture” shall mean the Indenture, dated as of
December 6, 2019, among the Lux Borrower and the Co-Borrower, as issuers, the guarantors party
thereto from time to time and Wilmington Savings Fund Society, FSB, as second lien collateral
agent and second lien trustee, as amended, modified or supplemented from time to time.

                “Existing Secured Indentures” shall mean (i) the Existing First Lien Notes
Indenture, (ii) the Existing Second Lien Notes Indenture and (iii) the Existing Takeback Notes
Indenture.

               “Existing Takeback Notes Indenture” shall mean the Indenture, dated as of the
Closing Date, among the Lux Borrower and the Co-Borrower, as issuers, the guarantors party
thereto from time to time, [_____], as second lien collateral agent, and [_____], as second lien
trustee, as amended, modified or supplemented from time to time.

               “Fair Market Value” shall mean, with respect to any asset or property, the price that
could be negotiated in an arms’-length transaction between a willing seller and a willing buyer,
neither of whom is under undue pressure or compulsion to complete the transaction (as determined
in good faith by a Borrower).

               “Financial Officer” of any person shall mean the Chief Financial Officer, principal
accounting officer, Treasurer, Assistant Treasurer, Controller or any Director or other executive
responsible for the financial affairs of such person.

               “First Lien Secured Net Leverage Ratio” shall mean, as of any date of
determination, the ratio of (a) the remainder of (x) Consolidated Secured Net Debt as of such date
minus (y) amounts included in clause (i) of the definition of Consolidated Secured Net Debt (and
not described in the last sentence of the definition of Consolidated Secured Net Debt, unless
excluded by the proviso thereto) which are secured only by Liens on the Collateral securing the
Obligations on a junior and subordinated (as to liens and related rights and remedies only) basis

9
    To be seven years after the Closing Date.


                                                           17
            Case 20-12522-JTD              Doc 2917        Filed 06/18/21        Page 628 of 835




and which are subject to an intercreditor agreement entered into with the Collateral Agent for the
benefit of the holders of the Obligations which is in form and substance reasonably satisfactory to
the Administrative Agent, to (b) Adjusted Consolidated EBITDA for the most recently ended Test
Period for which financial statements of the Parent have been delivered as required by this
Agreement, all determined on a consolidated basis in accordance with Applicable Accounting
Principles; provided that Adjusted Consolidated EBITDA shall be determined for the relevant Test
Period on a Pro Forma Basis. All Indebtedness described in the last sentence of the definition of
Consolidated Secured Net Debt (and not excluded by the proviso thereto) shall also be deemed to
constitute Indebtedness included pursuant to preceding clause (a)(x) and which is not deducted
pursuant to preceding clause (a)(y).

                 “Fitch” means Fitch Inc. or any successor to the rating agency business thereof.

               “Fixed Charge Coverage Ratio” shall mean, as of any date of determination, the
ratio of (a) Adjusted Consolidated EBITDA for the most recently ended Test Period for which
financial statements of the Parent have been (or were required to be) delivered as required by
Section [__], [__] or [__]10 to (b) the Fixed Charges for such Test Period; provided that the Fixed
Charge Coverage Ratio shall be determined for the relevant Test Period on a Pro Forma Basis.

                “Fixed Charges” shall mean, with respect to Parent for any period, the sum, without
duplication, of:

                (a)     Interest Expense (excluding amortization or write-off of deferred financing
        costs) of the Parent and its Subsidiaries for such period, and

               (b)     all cash dividend payments (excluding items eliminated in consolidation)
        on any series of preferred stock or Disqualified Stock of the Parent and its Subsidiaries.

               “Foreign Subsidiary” shall mean any Subsidiary that is incorporated or organized
under the laws of any jurisdiction other than the United States of America, any state thereof or the
District of Columbia.

                “GAAP” shall mean generally accepted accounting principles in effect from time
to time in the United States of America, applied on a consistent basis, subject to the provisions of
Section [__].11

              “Governmental Authority” shall mean any federal, state, local or foreign court or
governmental agency, authority, instrumentality or regulatory or legislative body.

              “Guarantee” of or by any person (the “guarantor”) shall mean (a) any obligation,
contingent or otherwise, of the guarantor guaranteeing or having the economic effect of
guaranteeing any Indebtedness or other monetary obligation payable or performable by another

10
   Section references to be to (i) condition for delivery of pre-closing financial statements, (ii) annual financial
     statements reporting covenant and (iii) quarterly financial statements reporting covenant.
11
   Section reference to be to general interpretive provision regarding accounting terms. For the avoidance of doubt,
     interpretive provisions to exclude from Capitalized Lease Obligations any leases that would not have been
     required to be so included prior to implementation of recent accounting changes.


                                                         18
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 629 of 835




person (the “primary obligor”) in any manner, whether directly or indirectly, and including any
obligation of the guarantor, direct or indirect, (i) to purchase or pay (or advance or supply funds
for the purchase or payment of) such Indebtedness or other obligation, (ii) to purchase or lease
property, securities or services for the purpose of assuring the owner of such Indebtedness or other
obligation of the payment thereof, (iii) to maintain working capital, equity capital or any other
financial statement condition or liquidity of the primary obligor so as to enable the primary obligor
to pay such Indebtedness or other obligation or (iv) entered into for the purpose of assuring in any
other manner the holders of such Indebtedness or other obligation of the payment thereof or to
protect such holders against loss in respect thereof (in whole or in part), or (b) any Lien on any
assets of the guarantor securing any Indebtedness or other obligation (or any existing right,
contingent or otherwise, of the holder of Indebtedness or other obligation to be secured by such a
Lien) of any other person, whether or not such Indebtedness or other obligation is assumed by the
guarantor (other than Liens on Equity Interests of Unrestricted Subsidiaries securing Indebtedness
of such Unrestricted Subsidiaries); provided, however, that the term “Guarantee” shall not include
endorsements of instruments for deposit or collection in the ordinary course of business or
customary and reasonable indemnity obligations in effect on the Closing Date or entered into in
connection with any acquisition or Disposition of assets permitted by this Agreement (other than
such obligations with respect to Indebtedness). The amount of any Guarantee shall be deemed to
be an amount equal to the stated or determinable amount of the Indebtedness in respect of which
such Guarantee is made or, if not stated or determinable, the maximum reasonably anticipated
liability in respect thereof as determined by such person in good faith. The amount of the
Indebtedness subject to any Guarantee provided by any person for purposes of clause (b) above
shall (unless the applicable Indebtedness has been assumed by such person) be deemed to be equal
to the lesser of (A) the aggregate unpaid amount of such Indebtedness and (B) the Fair Market
Value of the property encumbered thereby.

               “Guarantors” shall mean each of the Loan Parties.

              “Hedge Bank” shall mean any person that is (or an Affiliate thereof that is) an
Agent, an Arranger or a Lender on the Closing Date (or any person that becomes an Agent,
Arranger or Lender or Affiliate thereof after the Closing Date) and that enters into a Hedging
Agreement, in each case, in its capacity as a party to such Hedging Agreement.

               “Hedging Agreement” shall mean any agreement with respect to any swap,
forward, future or derivative transaction, or option or similar agreement involving, or settled by
reference to, one or more rates, currencies, commodities, equity or debt instruments or securities,
or economic, financial or pricing indices or measures of economic, financial or pricing risk or
value, or credit spread transaction, repurchase transaction, reserve repurchase transaction,
securities lending transaction, weather index transaction, spot contracts, fixed price physical
delivery contracts, or any similar transaction or any combination of these transactions, in each case
of the foregoing, whether or not exchange traded; provided, that no phantom stock or similar plan
providing for payments only on account of services provided by current or former directors,
officers, employees or consultants of the Parent, the Lux Borrower or any of the Subsidiaries shall
be a Hedging Agreement.

              “Increased Amount” of any Indebtedness shall mean any increase in the amount of
such Indebtedness in connection with any accrual of interest, the accretion of accreted value, the


                                                  19
            Case 20-12522-JTD              Doc 2917        Filed 06/18/21        Page 630 of 835




amortization of original issue discount, the payment of interest in the form of additional
Indebtedness or in the form of common stock of the Parent, the accretion of original issue discount
or liquidation preference and increases in the amount of Indebtedness outstanding solely as a result
of fluctuations in the exchange rate of currencies.

                 “Incremental Amount” shall mean, at any time, the greater of:

                (a)    the excess (if any) of (i) $[_____]12 over (ii) the sum (without duplication)
        of the aggregate principal amount of all Term Loans, Existing First Lien Notes, Revolver
        Replacement Term Loans and all other Indebtedness incurred pursuant to Section 6.01(v),
        in each case outstanding at such time; and

                (b)    the amount such that, immediately after giving effect to the establishment
        of the commitments in respect thereof utilizing this clause (b) and the use of proceeds of
        the loans thereunder, the First Lien Secured Net Leverage Ratio on a Pro Forma Basis is
        not greater than (x) so long as Qualified Ratings apply, 2.75 to 1.00 or (y) otherwise, 2.25
        to 1.00; provided that, for purposes of this clause (b) net cash proceeds of Incremental
        Loans incurred at such time shall not be netted against the applicable amount of
        Consolidated Debt for purposes of such calculation of the First Lien Secured Net Leverage
        Ratio.13

                “Indebtedness” of any person shall mean, without duplication, (a) all obligations of
such person for borrowed money, (b) all obligations of such person evidenced by bonds,
debentures, notes or similar instruments (except any such obligation issued in the ordinary course
of business with a maturity date of no more than six months in a transaction intended to extend
payment terms of trade payables or similar obligations to trade creditors incurred in the ordinary
course of business), (c) all obligations of such person under conditional sale or other title retention
agreements relating to property or assets purchased by such person (except any such obligation
that constitutes a trade payable or similar obligation to a trade creditor incurred in the ordinary
course of business), (d) all obligations of such person issued or assumed as the deferred purchase
price of property or services (except any such balance that (i) constitutes a trade payable or similar
obligation to a trade creditor incurred in the ordinary course of business, (ii) any earn-out
obligations until such obligation becomes a liability on the balance sheet of such person in
accordance with Applicable Accounting Principles and (iii) liabilities accrued in the ordinary
course of business) which purchase price is due more than six months after the date of placing the
property in service or taking delivery and title thereto, (e) all Guarantees by such person of
Indebtedness of others, (f) all Capitalized Lease Obligations of such person, (g) obligations under
any Hedging Agreements, to the extent the foregoing would appear on a balance sheet of such
person as a liability, (h) the principal component of all obligations, contingent or otherwise, of
such person as an account party in respect of letters of credit, (i) the principal component of all
obligations of such person in respect of bankers’ acceptances, (j) the amount of all obligations of
such person with respect to the redemption, repayment or other repurchase of (x) any Disqualified

12
   To be the sum of the following (as of immediately prior to consummation of a plan of reorganization and pro forma
     for the 2020 Excess Cash Flow paydown): (i) existing TL principal amount, (ii) existing RCF principal amount,
     (iii) Existing First Lien Notes principal amount and (iv) $150,000,000.
13
   Consistent with Section 6.01(v), incremental term loan provision shall not contain an MFN provision.


                                                         20
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 631 of 835




Stock (excluding accrued dividends that have not increased the liquidation preference of such
Disqualified Stock) or (y) any preferred stock of any Subsidiary of Parent, (k) all Indebtedness of
others secured by (or for which the holder of such Indebtedness has an existing right, contingent
or otherwise, to be secured by) any Lien on property owned or acquired by such person (other than
Liens on Equity Interests of Unrestricted Subsidiaries securing Indebtedness of such Unrestricted
Subsidiaries), whether or not the Indebtedness secured thereby has been assumed and (l) all
Attributable Receivables Indebtedness with respect to Qualified Receivables Facility. The amount
of Indebtedness of any person for purposes of clause (k) above shall (unless such Indebtedness has
been assumed by such person) be deemed to be equal to the lesser of (A) the aggregate unpaid
amount of such Indebtedness and (B) the Fair Market Value of the property encumbered thereby.
Notwithstanding anything in this Agreement to the contrary, Indebtedness shall not include, and
shall be calculated without giving effect to, the effects of International Accounting Standards No.
39 and related interpretations to the extent such effects would otherwise increase or decrease an
amount of Indebtedness for any purpose under this Agreement as a result of accounting for any
embedded derivatives created by the terms of such Indebtedness and any such amounts that would
have constituted Indebtedness under this Agreement but for the application of this sentence shall
not be deemed an incurrence of Indebtedness under this Agreement. For the avoidance of doubt,
Indebtedness shall not include any obligations pursuant to (i) the Opioid Settlement or (ii) the DOJ
Settlement.

                “Intellectual Property” shall mean the following intellectual property rights, both
statutory and common law rights, if applicable: (a) copyrights, registrations and applications for
registration thereof, (b) trademarks, service marks, trade names, slogans, domain names, logos,
trade dress and registrations and applications of registrations thereof, (c) patents, as well as any
reissued and reexamined patents and extensions corresponding to the patents and any patent
applications, as well as any related continuation, continuation in part and divisional applications
and patents issuing therefrom and (d) trade secrets and confidential information, including ideas,
designs, concepts, compilations of information, methods, techniques, procedures, processes and
other know-how, whether or not patentable.

                “Interest Expense” shall mean, with respect to any person for any period, the sum
of, without duplication, (a) gross interest expense of such person for such period on a consolidated
basis, including (i) the amortization of debt discounts, (ii) the amortization of all fees (including
fees with respect to Hedging Agreements) payable in connection with the incurrence of
Indebtedness to the extent included in interest expense, (iii) the portion of any payments or accruals
with respect to Capitalized Lease Obligations allocable to interest expense and (iv) net payments
and receipts (if any) pursuant to interest rate hedging obligations, and excluding unrealized mark-
to-market gains and losses attributable to such hedging obligations, amortization of deferred
financing fees and expensing of any bridge or other financing fees, (b) capitalized interest of such
person, whether paid or accrued, and (c) commissions, discounts, yield and other fees and charges
incurred for such period, including any losses on sales of receivables and related assets, in
connection with any receivables financing of such person or any of its Subsidiaries that are payable
to persons other than the Parent and the Subsidiaries.

               “Junior Liens” shall mean Liens on the Collateral that are junior to the Liens
thereon securing the Initial Term Loans (and other Loan Obligations, other than Other Incremental
Term Loans and Refinancing Term Loans that rank junior in right of security with the Initial Term


                                                  21
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 632 of 835




Loans) pursuant to a Permitted Junior Intercreditor Agreement (it being understood that Junior
Liens are not required to rank equally and ratably with other Junior Liens, and that Indebtedness
secured by Junior Liens may be secured by Liens that are senior in priority to, or rank equally and
ratably with, or junior in priority to, other Liens constituting Junior Liens), which Permitted Junior
Intercreditor Agreement (together with such amendments to the Security Documents and any other
Intercreditor Agreements, if any, as are reasonably necessary or advisable (and reasonably
acceptable to the Collateral Agent) to give effect to such Liens) shall be entered into in connection
with a permitted incurrence of any such Liens (unless a Permitted Junior Intercreditor Agreement
and/or Security Documents (as applicable) covering such Liens are already in effect).

               “Latest Maturity Date” shall mean, at any date of determination, the latest Term
Facility Maturity Date, in each case then in effect on such date of determination.

                 “Lien” shall mean, with respect to any asset, (a) any mortgage, deed of trust, lien,
hypothecation, pledge, charge, security interest or similar monetary encumbrance in or on such
asset and (b) the interest of a vendor or a lessor under any conditional sale agreement, capital lease
or title retention agreement (or any financing lease having substantially the same economic effect
as any of the foregoing) relating to such asset; provided, that in no event shall an operating lease
or an agreement to sell be deemed to constitute a Lien.

                “Loan Obligations” shall mean (a) the due and punctual payment by the Borrowers
of (i) the unpaid principal of and interest (including interest accruing during the pendency of any
bankruptcy, insolvency, receivership or other similar proceeding, regardless of whether allowed
or allowable in such proceeding) on the Loans made to the Borrowers under this Agreement, when
and as due, whether at maturity, by acceleration, upon one or more dates set for prepayment or
otherwise, (ii) each payment required to be made by the Borrowers under this Agreement in respect
of any Letter of Credit, when and as due, including payments in respect of reimbursement of
disbursements, interest thereon (including interest accruing during the pendency of any
bankruptcy, insolvency, receivership or other similar proceeding, regardless of whether allowed
or allowable in such proceeding) and obligations to provide Cash Collateral and (iii) all other
monetary obligations of the Parent and the Borrowers owed under or pursuant to this Agreement
and each other Loan Document, including obligations to pay fees, expense reimbursement
obligations and indemnification obligations, whether primary, secondary, direct, contingent, fixed
or otherwise (including monetary obligations incurred during the pendency of any bankruptcy,
insolvency, receivership or other similar proceeding, regardless of whether allowed or allowable
in such proceeding), and (b) the due and punctual payment of all obligations of each other Loan
Party under or pursuant to each of the Loan Documents.

               “Loan Parties” shall mean the Parent, the Borrowers and the Subsidiary Loan
Parties.

               “Loans” shall mean the Term Loans

               “Margin Stock” shall have the meaning assigned to such term in Regulation U.

              “Material Indebtedness” shall mean Indebtedness (other than Loans and Letters of
Credit) of any one or more of the Parent or any Subsidiary in an aggregate principal amount


                                                  22
               Case 20-12522-JTD             Doc 2917        Filed 06/18/21        Page 633 of 835




exceeding $75,000,000; provided that in no event shall any Qualified Receivables Facility be
considered Material Indebtedness.

              “Material Intellectual Property” shall mean any Intellectual Property owned by any
Loan Party that is material to the operation of the business of Parent and its Subsidiaries, taken as
a whole.

                “Material Subsidiary” shall mean any Subsidiary, other than any Subsidiary that
(a) did not, as of the last day of the fiscal quarter of the Parent most recently ended for which
financial statements have been (or were required to be) delivered pursuant to Section [__], [__] or
[__],14 have assets with a value in excess of 5.0% of the Consolidated Total Assets or revenues
representing in excess of 5.0% of total revenues of the Parent and the Subsidiaries on a
consolidated basis as of such date, and (b) taken together with all such Subsidiaries as of such date,
did not have assets with a value in excess of 10% of Consolidated Total Assets or revenues
representing in excess of 10% of total revenues of the Parent and the Subsidiaries on a consolidated
basis as of such date.

                “Milestone Payments” shall mean payments under intellectual property licensing
agreements based on the achievement of specified revenue, profit or other performance targets
(financial or otherwise).

               “Moody’s” shall mean Moody’s Investors Service, Inc. or any successor to the
rating agency business thereof.

                “Net Income” shall mean, with respect to any person, the net income (loss) of such
person, determined in accordance with Applicable Accounting Principles and before any reduction
in respect of preferred stock dividends.

                    “Net Proceeds” shall mean:

                    (a)    100% of the cash proceeds actually received by the Parent or any Subsidiary
           (including any cash payments received by way of deferred payment of principal pursuant
           to a note or installment receivable or purchase price adjustment receivable or otherwise,
           but only as and when received) from any Asset Sale under Section 6.05(d) (except for any
           Sale and Lease-Back Transaction described in clause (a) of the proviso to Section 6.03) or
           Section 6.05(g), net of (i) attorneys’ fees, accountants’ fees, investment banking fees,
           survey costs, title insurance premiums, and related search and recording charges, transfer
           taxes, deed or mortgage recording taxes, other customary expenses and brokerage,
           consultant and other customary fees actually incurred in connection therewith, (ii) required
           payments of Indebtedness (other than Indebtedness incurred under the Loan Documents or
           Other First Lien Debt) and required payments of other obligations relating to the applicable
           asset to the extent such Indebtedness or other obligations are secured by a Lien permitted
           hereunder (other than pursuant to the Loan Documents and other than by a Junior Lien),
           (iii) repayments of Other First Lien Debt (limited to its proportionate share of such

14
     Section references to be to (i) condition for delivery of pre-closing financial statements, (ii) annual financial
      statements reporting covenant and (iii) quarterly financial statements reporting covenant.


                                                            23
   Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 634 of 835




prepayment, based on the amount of such then outstanding debt as a percentage of all then
outstanding Indebtedness incurred under the Loan Documents (other than Other
Incremental Term Loans and Refinancing Term Loans that rank junior in right of security
with the Initial Term Loans) and Other First Lien Debt, (iv) Taxes paid or payable (in the
good faith determination of a Borrower) as a direct result thereof, and (v) the amount of
any reasonable reserve established in accordance with Applicable Accounting Principles
against any adjustment to the sale price or any liabilities (other than any taxes deducted
pursuant to clause (i) or (iv) above) (x) related to any of the applicable assets and
(y) retained by the Parent or any of the Subsidiaries including, without limitation, pension
and other post-employment benefit liabilities and liabilities related to environmental
matters or against any indemnification obligations (provided that (1) the amount of any
reduction of such reserve (other than in connection with a payment in respect of any such
liability), prior to the date occurring 18 months after the date of the respective Asset Sale,
shall be deemed to be cash proceeds of such Asset Sale occurring on the date of such
reduction) and (2) the amount of any such reserve that is maintained as at the date occurring
18 months after the date of the applicable Asset Sale shall be deemed to be Net Proceeds
from such Asset Sale as of such date; provided, that, if the Parent or the Lux Borrower shall
deliver a certificate of a Responsible Officer of the Parent or the Lux Borrower to the
Administrative Agent promptly following receipt of any such proceeds setting forth the
Parent’s or the Lux Borrower’s intention to use any portion of such proceeds, within
12 months of such receipt, to acquire, maintain, develop, construct, improve, upgrade or
repair assets useful in the business of the Parent and the Subsidiaries or to make Permitted
Business Acquisitions and other Investments permitted hereunder (excluding Permitted
Investments or, intercompany Investments in Subsidiaries or Unrestricted Subsidiaries) or
to reimburse the cost of any of the foregoing incurred on or after the date on which the
Asset Sale giving rise to such proceeds was contractually committed (other than inventory),
such portion of such proceeds shall not constitute Net Proceeds except to the extent not,
within 12 months of such receipt, so used or contractually committed to be so used (it being
understood that if any portion of such proceeds are not so used within such 12 month period
but within such 12 month period are contractually committed to be used, then such
remaining portion if not so used within six months following the end of such 12 month
period shall constitute Net Proceeds as of such date without giving effect to this proviso);
provided, further, that no net cash proceeds calculated in accordance with the foregoing
realized in a single transaction or series of related transactions shall constitute Net Proceeds
unless such net cash proceeds shall exceed $15,000,000 (and thereafter only net cash
proceeds in excess of such amount shall constitute Net Proceeds);

        (b)     100% of the cash proceeds actually received by the Parent or any Subsidiary
(including casualty insurance settlements and condemnation awards, but only as and when
received) from any Recovery Event, net of (i) attorneys’ fees, accountants’ fees, transfer
taxes, deed or mortgage recording taxes on such asset, other customary expenses and
brokerage, consultant and other customary fees actually incurred in connection therewith,
(ii) required payments of Indebtedness (other than Indebtedness incurred under the Loan
Documents or Other First Lien Debt) and required payments of other obligations relating
to the applicable asset to the extent such Indebtedness or other obligations are secured by
a Lien permitted hereunder (other than pursuant to the Loan Documents and other than by
a Junior Lien), (iii) repayments of Other First Lien Debt (limited to its proportionate share

                                           24
                Case 20-12522-JTD              Doc 2917        Filed 06/18/21         Page 635 of 835




            of such prepayment, based on the amount of such then outstanding debt as a percentage of
            all then outstanding Indebtedness incurred under the Loan Documents (other than Other
            Incremental Term Loans and Refinancing Term Loans that rank junior in right of security
            with the Initial Term Loans) and Other First Lien Debt, and (iv) Taxes paid or payable (in
            the good faith determination of a Borrower) as a direct result thereof; provided, that, if the
            Parent or the Lux Borrower shall deliver a certificate of a Responsible Officer of the Parent
            or the Lux Borrower to the Administrative Agent promptly following receipt of any such
            proceeds setting forth the Parent’s or the Lux Borrower’s intention to use any portion of
            such proceeds, within 12 months of such receipt, to acquire, maintain, develop, construct,
            improve, upgrade or repair assets useful in the business of the Parent and the Subsidiaries
            or to make Permitted Business Acquisitions and other Investments permitted hereunder
            (excluding Permitted Investments or intercompany Investments in Subsidiaries or
            Unrestricted Subsidiaries) or to reimburse the cost of any of the foregoing incurred on or
            after the date on which the Recovery Event giving rise to such proceeds was contractually
            committed (other than inventory, except to the extent the proceeds of such Recovery Event
            are received in respect of inventory), such portion of such proceeds shall not constitute Net
            Proceeds except to the extent not, within 12 months of such receipt, so used or contractually
            committed to be so used (it being understood that if any portion of such proceeds are not
            so used within such 12 month period but within such 12 month period are contractually
            committed to be used, then such remaining portion if not so used within six months (or,
            solely in the case of any such Recovery Event relating to manufacturing, processing or
            assembly plants, 12 months) following the end of such 12 month period shall constitute
            Net Proceeds as of such date without giving effect to this proviso); provided, further, that
            no net cash proceeds calculated in accordance with the foregoing realized in a single
            transaction or series of related transactions shall constitute Net Proceeds unless such net
            cash proceeds shall exceed $15,000,000 (and thereafter only net cash proceeds in excess
            of such amount shall constitute Net Proceeds); and

                    (c)    100% of the cash proceeds from the incurrence, issuance or sale by the
            Parent or any Subsidiary of any Indebtedness (other than Excluded Indebtedness, except
            for Refinancing Notes and Refinancing Term Loans), net of all fees (including investment
            banking fees), commissions, costs and other expenses, in each case incurred in connection
            with such issuance or sale.

               “Obligations” shall mean, collectively, (a) the Loan Obligations, (b) obligations in
respect of any Secured Cash Management Agreement and (c) obligations in respect of any Secured
Hedge Agreement.

                     “Opioid Settlement” shall mean [_______].15

                     “Other First Lien Debt” shall mean obligations secured by Other First Liens.

                “Other First Liens” shall mean Liens on the Collateral that are equal and ratable
with the Liens thereon securing the Initial Term Loans (and other Loan Obligations that are secured

15
     To be defined to mean the settlement with the opioid plaintiffs as implemented by any plan of reorganization, subject
       to the consent rights of the Supporting Term Lenders under the RSA.


                                                              25
               Case 20-12522-JTD              Doc 2917         Filed 06/18/21   Page 636 of 835




by Liens on the Collateral ranking equally and ratably with the Initial Term Loans) pursuant to a
Permitted First Lien Intercreditor Agreement, which Permitted First Lien Intercreditor Agreement
(together with such amendments to the Security Documents and any other Intercreditor
Agreements, if any, as are reasonably necessary or advisable (and reasonably acceptable to the
Collateral Agent) to give effect to such Liens) shall be entered into in connection with a permitted
incurrence of any such Liens (unless a Permitted First Lien Intercreditor Agreement and/or
Security Documents (as applicable) covering such Liens are already in effect).

                “Permitted Business Acquisition” shall mean any acquisition of all or substantially
all the assets or business of, or all or substantially all the Equity Interests (other than directors’
qualifying shares) not previously held by the Parent and its Subsidiaries in, or merger,
consolidation or amalgamation with, a person or business unit or division or line of business of a
person (or any subsequent investment made in a person or business unit or division or line of
business previously acquired in a Permitted Business Acquisition), if immediately after giving
effect thereto: (i) no Event of Default shall have occurred and be continuing or would result
therefrom, provided, however, that with respect to a proposed acquisition pursuant to an executed
acquisition agreement, at the option of either Borrower, the determination of whether such an
Event of Default shall exist shall be made solely at the time of the execution of the acquisition
agreement related to such Permitted Business Acquisition; (ii) all transactions related thereto shall
be consummated in accordance with applicable laws; (iii) [reserved]; (iv) any acquired or newly
formed Subsidiary shall not be liable for any Indebtedness except for Indebtedness permitted by
Section 6.01; (v) to the extent required by Section [__],16 any person acquired in such acquisition
shall be merged into a Loan Party or become upon consummation of such acquisition a Subsidiary
Loan Party; and (vi) the aggregate cash consideration in respect of such acquisitions and
investments in assets that are not owned by the Loan Parties or in Equity Interests in persons that
are not Subsidiary Loan Parties or do not become Subsidiary Loan Parties, in each case upon
consummation of such acquisition, shall not exceed $150,000,000 plus (A) an amount equal to any
returns (in the form of dividends or other distributions or net sale proceeds) received by any Loan
Party in respect of any assets not owned by Loan Parties or Equity Interests in persons that are not
Subsidiary Loan Parties or do not become Subsidiary Loan Parties that were acquired in such
Permitted Business Acquisitions in reliance on the $150,000,000 basket above (excluding any such
returns in excess of the amount originally invested) and (B) any amounts in excess thereof that can
be, and are, permitted as Investments (and treated as Investments) made under a clause of Section
6.04 other than clause (k) thereof.

               “Permitted Debt” shall mean Indebtedness for borrowed money (but not owing to
the Parent or any of its Subsidiaries or Unrestricted Subsidiaries) incurred by the Lux Borrower,
any other Borrower or any other Loan Party that is a Domestic Subsidiary, provided that (i) any
such Permitted Debt shall not be guaranteed by the Parent, any Subsidiary, any Unrestricted
Subsidiary or any Affiliate of the foregoing unless such person is a Guarantor and, if secured by
any asset of the Parent, any Subsidiary, any Unrestricted Subsidiary or any Affiliate of the
foregoing (as permitted by Sections 6.01 and 6.02), such assets consist solely of all or some portion
of the Collateral pursuant to security documents no more favorable to the secured party or party,
taken as a whole (as determined by a Borrower in good faith), than the Security Documents, (ii)
any such Permitted Debt, if secured, shall be subject to an Intercreditor Agreement reasonably

16
     Section reference to be to further assurances covenant.


                                                               26
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 637 of 835




satisfactory to the Administrative Agent and (iii) if such Permitted Debt is secured, such Permitted
Debt shall not mature prior to the date that is the latest final maturity date of the Loans existing at
the time of such incurrence, and the Weighted Average Life to Maturity of any such Permitted
Debt shall be no shorter than the remaining Weighted Average Life to Maturity of the Loans with
the latest final maturity at the time of such incurrence.

              “Permitted First Lien Intercreditor Agreement” shall mean, with respect to any
Liens on Collateral that are intended to be equal and ratable with the Liens securing the Initial
Term Loans (and other Loan Obligations that are secured by Liens on the Collateral ranking
equally and ratably with the Liens securing the Initial Term Loans), one or more intercreditor
agreements, each of which shall be in in form and substance reasonably satisfactory to the
Administrative Agent.

               “Permitted Investments” shall mean:

              (a)      direct obligations of the United States of America or any member of the
       European Union or any agency thereof or obligations guaranteed by the United States of
       America or any member of the European Union or any agency thereof, in each case with
       maturities not exceeding two years from the date of acquisition thereof;

               (b)    time deposit accounts, certificates of deposit, money market deposits,
       banker’s acceptances and other bank deposits maturing within 180 days of the date of
       acquisition thereof issued by a bank or trust company that is organized under the laws of
       the United States of America, any state thereof or any foreign country recognized by the
       United States of America having capital, surplus and undivided profits in excess of
       $250,000,000 and whose long-term debt, or whose parent holding company’s long-term
       debt, is rated A (or such similar equivalent rating or higher by at least one nationally
       recognized statistical rating organization (as defined in Rule 436 under the Securities Act));

               (c)     repurchase obligations with a term of not more than 180 days for underlying
       securities of the types described in clause (a) above entered into with a bank meeting the
       qualifications described in clause (b) above;

               (d)     commercial paper, maturing not more than one year after the date of
       acquisition, issued by a corporation (other than an Affiliate of the Parent) organized and in
       existence under the laws of the United States of America or any foreign country recognized
       by the United States of America with a rating at the time as of which any investment therein
       is made of P 1 (or higher) according to Moody’s, or A 1 (or higher) according to S&P (or
       such similar equivalent rating or higher by at least one nationally recognized statistical
       rating organization (as defined in Rule 436 under the Securities Act));

               (e)     securities with maturities of two years or less from the date of acquisition,
       issued or fully guaranteed by any State, commonwealth or territory of the United States of
       America, or by any political subdivision or taxing authority thereof, and rated at least A by
       S&P or A by Moody’s (or such similar equivalent rating or higher by at least one nationally
       recognized statistical rating organization (as defined in Rule 436 under the Securities Act));



                                                   27
               Case 20-12522-JTD              Doc 2917        Filed 06/18/21         Page 638 of 835




                   (f)   shares of mutual funds whose investment guidelines restrict 95% of such
           funds’ investments to those satisfying the provisions of clauses (a) through (e);

                  (g)    money market funds that (i) comply with the criteria set forth in Rule 2a 7
           under the Investment Company Act of 1940, (ii) are rated AAA by S&P and Aaa by
           Moody’s and (iii) have portfolio assets of at least $1,000,000,000;

                  (h)      time deposit accounts, certificates of deposit, money market deposits,
           banker’s acceptances and other bank deposits in an aggregate face amount not in excess of
           0.5% of the total assets of the Parent and the Subsidiaries, on a consolidated basis, as of
           the end of the Parent’s most recently completed fiscal year; and

                   (i)    instruments equivalent to those referred to in clauses (a) through (h) above
           denominated in any foreign currency comparable in credit quality and tenor to those
           referred to above and commonly used by corporations for cash management purposes in
           any jurisdiction outside the United States of America to the extent reasonably required in
           connection with any business conducted by the Parent, the Lux Borrower or any Subsidiary
           organized in such jurisdiction.

                “Permitted Junior Intercreditor Agreement” shall mean, with respect to any Liens
on Collateral that are intended to be junior to any Liens securing the Initial Term Loans (and other
Loan Obligations that are secured by Liens on the Collateral ranking equally and ratably with the
Liens securing the Initial Term Loans) (including, for the avoidance of doubt, junior Liens
pursuant to Section [__]17), one or more intercreditor agreements, each of which shall be in in form
and substance reasonably satisfactory to the Administrative Agent.

                “Permitted Receivables Facility Assets” shall mean (i) Receivables Assets (whether
now existing or arising in the future) of the Parent and its Subsidiaries which are transferred, sold
and/or pledged to a Receivables Entity or a bank, other financial institution or a commercial paper
conduit or other conduit facility established and maintained by a bank or other financial institution,
pursuant to a Qualified Receivables Facility and any related Permitted Receivables Related Assets
which are also so transferred, sold and/or pledged to such Receivables Entity, bank, other financial
institution or commercial paper conduit or other conduit facility, and all proceeds thereof and (ii)
loans to the Parent and its Subsidiaries secured by Receivables Assets (whether now existing or
arising in the future) and any Permitted Receivables Related Assets of the Parent and its
Subsidiaries which are made pursuant to a Qualified Receivables Facility.

               “Permitted Receivables Facility Documents” shall mean each of the documents and
agreements entered into in connection with any Qualified Receivables Facility, including all
documents and agreements relating to the issuance, funding and/or purchase of certificates and
purchased interests or the incurrence of loans, as applicable, in each case as such documents and
agreements may be amended, modified, supplemented, refinanced or replaced from time to time
so long as the relevant Qualified Receivables Facility would still meet the requirements of the



17
     Section reference to be to incremental loan provision permitting junior incremental loans.


                                                             28
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 639 of 835




definition thereof after giving effect to such amendment, modification, supplement, refinancing or
replacement.

                “Permitted Receivables Related Assets” shall mean any other assets that are
customarily transferred, sold and/or pledged or in respect of which security interests are
customarily granted in connection with asset securitization transactions involving receivables
similar to Receivables Assets and any collections or proceeds of any of the foregoing (including,
without limitation, lock-boxes, deposit accounts, records in respect of Receivables Assets and
collections in respect of Receivables Assets).

                   “Permitted Refinancing Indebtedness” shall mean any Indebtedness issued in
exchange for, or the net proceeds of which are used to extend, refinance, renew, replace, defease
or refund (collectively, to “Refinance”), the Indebtedness being Refinanced (or previous
refinancings thereof constituting Permitted Refinancing Indebtedness); provided, that (a) the
principal amount (or accreted value, if applicable) of such Permitted Refinancing Indebtedness
does not exceed the principal amount (or accreted value, if applicable) of the Indebtedness so
Refinanced (plus unpaid accrued interest and premium (including tender premiums) thereon and
underwriting discounts, defeasance costs, fees, commissions, expenses, plus an amount equal to
any existing commitment unutilized thereunder and letters of credit undrawn thereunder),
(b) except with respect to Section 6.01(i), (i) the final maturity date of such Permitted Refinancing
Indebtedness is on or after the earlier of (x) the final maturity date of the Indebtedness being
Refinanced and (y) the Latest Maturity Date in effect at the time of incurrence thereof and (ii) the
Weighted Average Life to Maturity of such Permitted Refinancing Indebtedness is greater than or
equal to the lesser of (x) the Weighted Average Life to Maturity of the Indebtedness being
Refinanced and (y) the Weighted Average Life to Maturity of the Class of Term Loans then
outstanding with the greatest remaining Weighted Average Life to Maturity, (c) if the Indebtedness
being Refinanced is subordinated in right of payment to any Loan Obligations, such Permitted
Refinancing Indebtedness shall be subordinated in right of payment to such Loan Obligations on
terms in the aggregate not materially less favorable to the Lenders as those contained in the
documentation governing the Indebtedness being Refinanced (as determined by a Borrower in
good faith), (d) no Permitted Refinancing Indebtedness shall have any borrower which is different
than the borrower of the respective Indebtedness being so Refinanced or have guarantors that are
not (or would not have been required to become) guarantors with respect to the Indebtedness being
so Refinanced (except that a Loan Party may be added as an additional guarantor), (e) if the
Indebtedness being Refinanced is secured (and permitted to be secured), such Permitted
Refinancing Indebtedness may be secured by Liens on the same (or any subset of the) assets as
secured (or would have been required to secure) the Indebtedness being Refinanced, on terms in
the aggregate that are no less favorable to the Secured Parties than, the Indebtedness being
refinanced or on terms otherwise permitted by Section 6.02 (as determined by a Borrower in good
faith), (f) if the Indebtedness being Refinanced was unsecured or if Liens on the Collateral securing
the Indebtedness being Refinanced (if any) were Junior Liens, then any Liens on Collateral to
secure such Permitted Refinancing Indebtedness shall be Junior Liens; and (g) if the Indebtedness
being Refinanced was subject to a Permitted First Lien Intercreditor Agreement or a Permitted
Junior Intercreditor Agreement, and if the respective Permitted Refinancing Indebtedness is to be
secured by the Collateral, the Permitted Refinancing Indebtedness shall likewise be subject to a
Permitted First Lien Intercreditor Agreement or a Permitted Junior Intercreditor Agreement, as
applicable.

                                                  29
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 640 of 835




                “person” shall mean any natural person, corporation, business trust, joint venture,
association, company, partnership, limited liability company or government, individual or family
trusts, or any agency or political subdivision thereof.

                “Pro Forma Basis” shall mean, as to any person, for any events as described below
that occur subsequent to the commencement of a period for which the financial effect of such
events is being calculated, and giving effect to the events for which such calculation is being made,
such calculation as will give pro forma effect to such events as if such events occurred on the first
day of the most recent Test Period ended on or before the occurrence of such event (the “Reference
Period”): (i) any Asset Sale and any asset acquisition, Investment (or series of related Investments)
in excess of $25 million, merger, amalgamation, consolidation (including the Transaction) (or any
similar transaction or transactions), any dividend, distribution or other similar payment, (ii) any
operational changes or restructurings of the business of the Parent or any of its Subsidiaries that
the Parent or any of its Subsidiaries has determined to make and/or made during or subsequent to
the Reference Period (including in connection with an asset Disposition or asset acquisition
described in clause (i)) and which are expected to have a continuing impact and are factually
supportable, which would include cost savings resulting from head count reduction, closure of
facilities and other operational changes and other cost savings in connection therewith, (iii) the
designation of any Subsidiary as an Unrestricted Subsidiary or of any Unrestricted Subsidiary as
a Subsidiary and (iv) any incurrence, repayment, repurchase or redemption of Indebtedness (or
any issuance, repurchase or redemption of Disqualified Stock or preferred stock), other than
fluctuations in revolving borrowings in the ordinary course of business (and not resulting from a
transaction as described in clause (i) above).

                Pro forma calculations made pursuant to the definition of this term “Pro Forma
Basis” shall be determined in good faith by a Responsible Officer of the Parent. Any such pro
forma calculation may include adjustments appropriate, in the reasonable good faith determination
of the Parent and set forth in a certificate of a Responsible Officer, to reflect operating expense
reductions, other operating improvements, synergies or such operational changes or restructurings
described in clause (ii) of the immediately preceding paragraph reasonably expected to result from
the applicable pro forma event in the 12-month period following the consummation of the pro
forma event. The Parent shall deliver to the Administrative Agent a certificate of a Responsible
Officer of the Parent setting forth such demonstrable or additional operating expense reductions
and other operating improvements or synergies and information and calculations supporting them
in reasonable detail.

                 If any Indebtedness bears a floating rate of interest and is being given pro forma
effect, the interest on such Indebtedness shall be calculated as if the rate in effect on the date on
which the relevant calculation is being made had been the applicable rate for the entire period
(taking into account any hedging obligations applicable to such Indebtedness if such hedging
obligation has a remaining term in excess of 12 months). Interest on a Capitalized Lease Obligation
shall be deemed to accrue at an interest rate reasonably determined by a responsible financial or
accounting officer of the Parent to be the rate of interest implicit in such Capitalized Lease
Obligation in accordance with Applicable Accounting Principles. For purposes of making the
computation referred to above, interest on any Indebtedness under a revolving credit facility
computed on a pro forma basis shall be computed based upon the average daily balance of such
Indebtedness during the applicable period, except to the extent the outstandings thereunder are


                                                  30
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 641 of 835




reasonably expected to increase as a result of any transactions described in clause (i) of the first
paragraph of this definition of “Pro Forma Basis” which occurred during the respective period or
thereafter and on or prior to the date of determination. Interest on Indebtedness that may optionally
be determined at an interest rate based upon a factor of a prime or similar rate, a eurocurrency
interbank offered rate, or other rate, shall be deemed to have been based upon the rate actually
chosen, or, if none, then based upon such optional rate chosen as the Parent may designate.

               “Qualified Equity Interests” shall mean any Equity Interest other than Disqualified
Stock.

                 “Qualified Jurisdiction” shall mean (x) the United States (and any political
subdivision thereof), Ireland, Luxembourg, Switzerland, the United Kingdom or the Netherlands,
(y) the jurisdiction of the organization of any entity incorporated or organized outside the United
States in a transaction permitted by Section 6.05(n) where the Administrative Agent has made the
determination required by clause (iii) thereof, and (z) any other jurisdiction where the
Administrative Agent has determined (acting reasonably and following a request by a Borrower
and based on advice of local counsel) that Wholly Owned Subsidiaries organized in such
jurisdiction may provide guarantees and security which, after giving effect to the Agreed
Guarantee and Security Principles, would provide substantially the same benefits as guarantees
and security provided with respect to the Collateral owned by such entities as would have been
obtained if the respective Subsidiary were instead organized in any of the United States, Ireland,
Luxembourg, Switzerland the United Kingdom or the Netherlands (it being understood and agreed
that a jurisdiction as has been agreed by the Parent and the Administrative Agent prior to the date
hereof shall satisfy the requirements of this clause (z)).

                “Qualified Ratings” means public corporate family ratings (or equivalent) that
include at least two of the following ratings: a rating equal to or higher than B2 from Moody’s, a
rating equal to or higher than B from S&P or a rating equal to or higher than B from Fitch.

                 “Qualified Receivables Facility” shall mean a receivables facility or facilities
created under the Permitted Receivables Facility Documents and which is designated as a
“Qualified Receivables Facility” (as provided below), providing for the transfer, sale and/or pledge
by a Borrower and/or one or more other Receivables Sellers of Permitted Receivables Facility
Assets (thereby providing financing to such Borrower and/or the Receivables Sellers) to (i) a
Receivables Entity (either directly or through another Receivables Seller), which in turn shall
transfer, sell and/or pledge interests in the respective Permitted Receivables Facility Assets to
third-party lenders or investors pursuant to the Permitted Receivables Facility Documents in return
for the cash used by such Receivables Entity to acquire the Permitted Receivables Facility Assets
from such Borrower and/or the respective Receivables Sellers or (ii) a bank or other financial
institution, which in turn shall finance the acquisition of the Permitted Receivables Facility Assets
through a commercial paper conduit or other conduit facility, or directly to a commercial paper
conduit or other conduit facility established and maintained by a bank or other financial institution
that will finance the acquisition of the Permitted Receivables Facility Assets through the
commercial paper conduit or other conduit facility, in each case, either directly or through another
Receivables Seller, so long as, in the case of each of clause (i) and clause (ii), no portion of the
Indebtedness or any other obligations (contingent or otherwise) under such receivables facility or
facilities (x) is guaranteed by the Parent or any Subsidiary (excluding guarantees of obligations


                                                  31
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 642 of 835




pursuant to Standard Securitization Undertakings), (y) is recourse to or obligates the Parent or any
other Subsidiary in any way (other than pursuant to Standard Securitization Undertakings) or (z)
subjects any property or asset (other than Permitted Receivables Facility Assets, Permitted
Receivables Related Assets or the Equity Interests of any Receivables Entity) of the Parent or any
other Subsidiary (other than a Receivables Entity), directly or indirectly, contingently or otherwise,
to the satisfaction thereof (other than pursuant to Standard Securitization Undertakings). Any such
designation shall be evidenced to the Administrative Agent by filing with the Administrative Agent
a certificate signed by a Financial Officer of the Parent certifying that, to the best of such officer’s
knowledge and belief after consultation with counsel, such designation complied with the
foregoing conditions.

               “Real Property” shall mean, collectively, all right, title and interest (including any
leasehold estate) in and to any and all parcels of or interests in real property owned in fee or leased
by any Loan Party, whether by lease, license or other means, together with, in each case, all
easements, hereditaments and appurtenances relating thereto, all improvements and appurtenant
fixtures and equipment, incidental to the ownership, lease or operation thereof.

               “Receivables Assets” shall mean any right to payment created by or arising from
sales of goods, leases of goods or the rendition of services rendered no matter how evidenced
whether or not earned by performance (whether constituting accounts, general intangibles, chattel
paper or otherwise).

                “Receivables Entity” shall mean any direct or indirect wholly owned Subsidiary of
the Parent which engages in no activities other than in connection with the financing of accounts
receivable of the Receivables Sellers and which is designated (as provided below) as a
“Receivables Entity” (a) with which neither the Parent nor any of its Subsidiaries has any contract,
agreement, arrangement or understanding (other than pursuant to the Permitted Receivables
Facility Documents (including with respect to fees payable in the ordinary course of business in
connection with the servicing of accounts receivable and related assets)) on terms less favorable
to the Parent or such Subsidiary than those that might be obtained at the time from persons that are
not Affiliates of the Parent (as determined by a Borrower in good faith) and (b) to which neither
the Parent nor any other Subsidiary has any obligation to maintain or preserve such entity’s
financial condition or cause such entity to achieve certain levels of operating results (other than
pursuant to Standard Securitization Undertakings). Any such designation shall be evidenced to
the Administrative Agent by filing with the Administrative Agent an officer’s certificate of the
Parent certifying that, to the best of such officer’s knowledge and belief after consultation with
counsel, such designation complied with the foregoing conditions.

               “Receivables Seller” shall mean the Borrowers and those Subsidiaries that are from
time to time party to the Permitted Receivables Facility Documents (other than any Receivables
Entity).

               “Recovery Event” shall mean any event that gives rise to the receipt by the Parent
or any of its Subsidiaries of any insurance proceeds or condemnation awards in respect of any
equipment, fixed assets or Real Property (including any improvements thereon).




                                                   32
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 643 of 835




                “Refinancing Notes” shall mean any secured or unsecured notes or loans issued by
the Lux Borrower, any other Borrower or any other Loan Party that is a Domestic Subsidiary
(whether under an indenture, a credit agreement or otherwise) and the Indebtedness represented
thereby; provided, that (a) 100% of the Net Proceeds of such Refinancing Notes are used to
permanently reduce Loans substantially simultaneously with the issuance thereof; (b) the principal
amount (or accreted value, if applicable) of such Refinancing Notes does not exceed the principal
amount (or accreted value, if applicable) of the aggregate portion of the Loans so reduced (plus
unpaid accrued interest and premium (including tender premiums) thereon and underwriting
discounts, defeasance costs, fees, commissions and expenses); (c) the final maturity date of such
Refinancing Notes is on or after the Term Facility Maturity Date of the Term Loans so reduced;
(d) the Weighted Average Life to Maturity of such Refinancing Notes is greater than or equal to
the Weighted Average Life to Maturity of the Term Loans so reduced; (e) the terms of such
Refinancing Notes do not provide for any scheduled repayment, mandatory redemption or sinking
fund obligations prior to the Term Facility Maturity Date of the Term Loans so reduced (other than
(x) in the case of notes, customary offers to repurchase or mandatory prepayment provisions upon
a change of control, asset sale or event of loss and customary acceleration rights after an event of
default and (y) in the case of loans, customary amortization and mandatory and voluntary
prepayment provisions which are consistent in all material respects, when taken as a whole, with
those applicable to the Initial Term Loans with such Indebtedness (if in the form of term loans) to
provide that any such mandatory prepayments as a result of asset sales, events of loss, or excess
cash flow, shall be shared no more than ratably with the term loans outstanding pursuant to this
Agreement); (f) there shall be no borrower or issuer with respect thereto other than the Lux
Borrower, any other Borrower or any other Loan Party that is a Domestic Subsidiary, and no
guarantor in respect of such Refinancing Notes that is the Parent, any Subsidiary, any Unrestricted
Subsidiary or any Affiliate of the foregoing that is not a Loan Party; (g) if such Refinancing Notes
are secured by an asset of the Parent, any Subsidiary, any Unrestricted Subsidiary or any Affiliate
of the foregoing, the security agreements relating to such assets shall not extend to any assets not
constituting Collateral and shall be no more favorable to the secured party or party, taken as a
whole (determined by a Borrower in good faith) than the Security Documents (with such
differences as are reasonably satisfactory to the Administrative Agent); (h) if such Refinancing
Notes are secured, such Refinancing Notes shall be secured by all or a portion of the Collateral,
but shall not be secured by any assets of the Parent or its subsidiaries other than the Collateral; (i)
Refinancing Notes that are secured by Collateral shall be subject to the provisions of a Permitted
First Lien Intercreditor Agreement or a Permitted Junior Intercreditor Agreement, as applicable
(and in any event shall be subject to a Permitted Junior Intercreditor Agreement if the Indebtedness
being Refinanced is secured on a junior lien basis to any of the Obligations); and (j) if the
Indebtedness being refinanced was unsecured or if Liens on the Collateral securing the
Indebtedness being Refinanced were Junior Liens, then any Liens on Collateral securing such
Refinancing Notes shall also be Junior Liens.

                 “Regulation U” shall mean Regulation U of the Board as from time to time in effect
and all official rulings and interpretations thereunder or thereof.

                 “Regulation X” shall mean Regulation X of the Board as from time to time in effect
and all official rulings and interpretations thereunder or thereof.




                                                   33
               Case 20-12522-JTD              Doc 2917        Filed 06/18/21        Page 644 of 835




                “Required Lenders” shall mean, at any time, Lenders having Loans outstanding
that, taken together, represent more than 50% of the sum of all Loans outstanding; provided, that
the Loans of any Defaulting Lender shall be disregarded in determining Required Lenders at any
time.

                “Required Percentage” shall mean, with respect to an Applicable Period, 50%;
provided, that, so long as no Default or Event of Default shall have occurred and is continuing, if
the Total Net Leverage Ratio as at the end of the Applicable Period is (x) less than or equal to 4.50
to 1.00, such percentage shall be 25% or (y) 3.50 to 1.00, such percentage shall be 0% and.

                “Requirement of Law” shall mean, as to any person, any law, treaty, rule,
regulation, statute, order, ordinance, decree, judgment, consent decree, writ, injunction, settlement
agreement or governmental requirement enacted, promulgated or imposed or entered into or agreed
by any Governmental Authority, in each case applicable to or binding upon such person or any of
its property or assets or to which such person or any of its property or assets is subject.

               “Responsible Officer” of any person shall mean any director (administrateur),
manager (gérant), executive officer or Financial Officer of such person, any authorized signatory
appointed by the board of directors (conseil d'administration) or board of managers (conseil de
gérance) of such person (as applicable) and any other officer or similar official thereof responsible
for the administration of the obligations of such person in respect of this Agreement, or any other
duly authorized employee or signatory of such person.

                “Restricted Margin Stock” shall mean, at any time, all Margin Stock owned by the
Parent and its Subsidiaries which is not Unrestricted Margin Stock.

               “Restricted Payments” shall have the meaning assigned to such term in
Section 6.06. The amount of any Restricted Payment made other than in the form of cash or cash
equivalents shall be the Fair Market Value thereof.

                “Retained Excess Cash Flow Overfunding” shall mean, at any time, in respect of
any Excess Cash Flow Period, the amount, if any, by which the portion of the Available Amount
attributable to the Retained Percentage of Excess Cash Flow for all Excess Cash Flow Interim
Periods used in such Excess Cash Flow Period exceeds the actual Retained Percentage of Excess
Cash Flow for such Excess Cash Flow Period.

              “Retained Percentage” shall mean, with respect to any Excess Cash Flow Period
(or Excess Cash Flow Interim Period), (a) 100% minus (b) the Required Percentage with respect
to such Excess Cash Flow Period (or Excess Cash Flow Interim Period).

                    “Revolver Replacement Term Loans” shall mean [_______].18


18
     To mean the term loans incurred to finance the repayment of the existing RCF at closing. For the avoidance of
      doubt, (i) such term loans may be incurred as Initial Term Loans under the credit agreement; provide that the
      terms (other than economic terms) of such term loans shall be the same as the terms of the Initial Term Loans and
      (ii) such term loans may, instead of being secured by pari passu liens on all or any portion of the Collateral, be
      secured by junior liens on all or any portion of the Collateral or unsecured.


                                                             34
               Case 20-12522-JTD              Doc 2917        Filed 06/18/21          Page 645 of 835




               “S&P” shall mean Standard & Poor’s Ratings Services or any successor to the
rating agency business thereof.

                    “SEC” shall mean the Securities and Exchange Commission or any successor
thereto.

                “Secured Cash Management Agreement” shall mean any Cash Management
Agreement that is entered into by and between any Loan Party and any Cash Management Bank
to the extent that such Cash Management Agreement is not otherwise designated in writing by a
Borrower and such Cash Management Bank to the Administrative Agent to not be included as a
Secured Cash Management Agreement.

               “Secured Hedge Agreement” shall mean any Hedging Agreement that is entered
into by and between any Loan Party and any Hedge Bank to the extent that such Hedging
Agreement is not otherwise designated in writing by a Borrower and such Hedge Bank to the
Administrative Agent to not be included as a Secured Hedge Agreement. Notwithstanding the
foregoing, for all purposes of the Loan Documents, any Guarantee of, or grant of any Lien to
secure, any obligations in respect of a Secured Hedge Agreement by a Guarantor shall not include
any Excluded Swap Obligations.

               “Secured Net Leverage Ratio” shall mean, as of any date of determination, the ratio
of (a) Consolidated Secured Net Debt as of such date to (b) Adjusted Consolidated EBITDA for
the most recently ended Test Period for which financial statements of the Parent have been
delivered (or were required to be delivered) as required by this Agreement, all determined on a
consolidated basis in accordance with Applicable Accounting Principles; provided that Adjusted
Consolidated EBITDA shall be determined for the relevant Test Period on a Pro Forma Basis.

              “Secured Parties” shall mean, collectively, the Administrative Agent, the Collateral
Agent, each Lender, each Hedge Bank that is party to any Secured Hedge Agreement, each Cash
Management Bank that is party to any Secured Cash Management Agreement and each sub-agent
appointed pursuant to Section [__]19 by the Administrative Agent with respect to matters relating
to the Loan Documents or by the Collateral Agent with respect to matters relating to any Security
Document.

                    “Securities Act” shall mean the Securities Act of 1933, as amended.

                “Similar Business” shall mean any business, the majority of whose revenues are
derived from (i) business or activities conducted by the Parent and its Subsidiaries on the Closing
Date, (ii) any business that is a natural outgrowth or reasonable extension, development or
expansion of any such business or any business similar, reasonably related, incidental,
complementary or ancillary to any of the foregoing or (iii) any business that in the Parent’s good
faith business judgment constitutes a reasonable diversification of businesses conducted by the
Parent and its Subsidiaries.




19
     Section reference to be to provision permitting the appointment of sub-agents.


                                                             35
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 646 of 835




                “Standard Securitization Undertakings” shall mean representations, warranties,
covenants and indemnities entered into by the Parent or any Subsidiary thereof in connection with
a Qualified Receivables Facility which are reasonably customary (as determined in good faith by
a Borrower) in an accounts receivable financing transaction in the commercial paper, term
securitization or structured lending market.

               “Subordinated Indebtedness” means (a) with respect to any Borrower, any
Indebtedness for borrowed money of such Borrower which is by its terms subordinated in right of
payment to the Initial Term Loans, and (b) with respect to any Guarantor, any Indebtedness for
borrowed money of such Guarantor which is by its terms subordinated in right of payment to its
Guarantee of the Initial Term Loans; provided, however, that no Guarantee of Indebtedness which
Indebtedness does not itself constitute Subordinated Indebtedness shall constitute Subordinated
Indebtedness.

                 “subsidiary” shall mean, with respect to any person (herein referred to as the
“parent”), any corporation, limited liability company, partnership, association or other business
entity (a) of which securities or other ownership interests representing more than 50% of the equity
or more than 50% of the ordinary voting power or more than 50% of the general partnership
interests are, at the time any determination is being made, directly or indirectly, owned, Controlled
or held, or (b) that is, at the time any determination is made, otherwise Controlled, by the parent
or one or more subsidiaries of the parent or by the parent and one or more subsidiaries of the
parent.

               “Subsidiary” shall mean, unless the context otherwise requires, a subsidiary of the
Parent. Notwithstanding the foregoing (and except for purposes of the definition of “Unrestricted
Subsidiary” contained herein) an Unrestricted Subsidiary shall be deemed not to be a Subsidiary
of the Parent or any of its Subsidiaries for purposes of this Agreement.

               “Subsidiary Guarantee Agreement” shall mean the Subsidiary Guarantee
Agreement dated as of the Closing Date as may be amended, restated, supplemented or otherwise
modified from time to time, between each Subsidiary Loan Party and the Collateral Agent. The
Subsidiary Guarantee Agreement shall also be deemed to include any guaranty agreement prepared
under applicable local law (in the case of a Subsidiary Loan Party that is a Foreign Subsidiary)
where the Administrative Agent has reasonably determined, based on the advice of counsel and
subject to the Agreed Guarantee and Security Principles, that a separate Guarantee (or modified
form of Guarantee) is preferable under relevant local law.

                “Subsidiary Loan Party” shall mean (a) each Borrower (other than with respect to
its own primary Loan Obligations or Secured Cash Management Agreements and any Secured
Hedge Agreement to which it is a party), (b) each direct or indirect Wholly Owned Subsidiary of
the Parent (other than the Borrowers) (whether owned on the Closing Date or formed or acquired
thereafter) that owns directly or indirectly any Equity Interest in any Wholly Owned Domestic
Subsidiary of the Parent (which Wholly Owned Domestic Subsidiary of the Parent is not (i)
Mallinckrodt Nuclear LLC or (ii) any other Subsidiary if and for so long as such Subsidiary
qualifies as an Excluded Subsidiary), (c) each direct or indirect Wholly Owned Domestic
Subsidiary of the Parent (other than the Borrowers) (whether owned on the Closing Date or formed
or acquired thereafter) (other than (i) Mallinckrodt Nuclear LLC and (ii) any other Subsidiary if


                                                  36
             Case 20-12522-JTD              Doc 2917         Filed 06/18/21         Page 647 of 835




and for so long as such Subsidiary qualifies as an Excluded Subsidiary) and (d) any other Wholly
Owned Subsidiary of the Parent that may be designated bya Borrower (by way of delivering to the
Collateral Agent the Subsidiary Guarantee Agreement (or a supplement to the Subsidiary
Guarantee Agreement, as reasonably requested by the Administrative Agent) and any applicable
Security Documents, in each case, duly executed by such Subsidiary) in its sole discretion
(including, without limitation, in connection with transactions permitted by Section 6.05(n)) from
time to time to be a guarantor in respect of the Obligations, whereupon such Subsidiary shall be
obligated to comply with the other requirements of Section [__]20 as if it were newly acquired.
Notwithstanding anything contained in this Agreement to the contrary, a transfer of Collateral from
any Loan Party organized in a Qualified Jurisdiction to a Subsidiary Loan Party that is not
organized in a Qualified Jurisdiction shall, for purposes of Sections 6.04 and 6.05, be deemed to
be an Investment in a Subsidiary that is not a Loan Party and shall be justified as same pursuant to
such Sections.

             “Swap Obligation” shall mean, with respect to any Guarantor, any obligation to pay
or perform under any agreement, contract or transaction that constitutes a “swap” within the
meaning of Section 1a(47) of the Commodity Exchange Act.

                 “Taxes” shall mean any and all present or future taxes, duties, levies, imposts,
assessments, deductions, withholdings or other similar charges imposed by any Governmental
Authority, whether computed on a separate, consolidated, unitary, combined or other basis and
any interest, fines, penalties or additions to tax with respect to the foregoing.

               “Termination Date” shall mean the date on which (a) all Commitments shall have
been terminated and (b) the principal of and interest on each Loan, all Fees and all other expenses
or amounts payable under any Loan Document shall have been paid in full in cash (other than in
respect of contingent indemnification and expense reimbursement claims not then due).

               “Test Period” shall mean, on any date of determination, the period of four
consecutive fiscal quarters of the Parent then most recently ended (taken as one accounting period)
for which financial statements have been (or were required to be) delivered pursuant to
Section [__] or [__]21; provided that prior to the first date financial statements have been delivered
pursuant to Section [__] or [__],22 the Test Period in effect shall be the four fiscal quarter period
ending [_______].23

               “Third Party Funds” shall mean any accounts or funds, or any portion thereof,
received by Parent or any of its Subsidiaries as agent on behalf of third parties in accordance with
a written agreement that imposes a duty upon Parent or one or more of its Subsidiaries to collect
and remit those funds to such third parties.

20
   Section reference to be to further assurances covenant.
21
   Section references to be to (i) annual financial statements reporting covenant and (ii) quarterly financial statements
     reporting covenant.
22
   Section references to be to (i) annual financial statements reporting covenant and (ii) quarterly financial statements
     reporting covenant.
23
   To be the four fiscal quarter period ending most recently before the Closing Date for which financial statements are
     available.


                                                            37
               Case 20-12522-JTD             Doc 2917        Filed 06/18/21       Page 648 of 835




               “Total Net Leverage Ratio” shall mean, as of any date of determination, the ratio
of (a) Consolidated Total Net Debt as of such date to (b) Adjusted Consolidated EBITDA for the
most recently ended Test Period for which financial statements of the Parent have been delivered
(or were required to be delivered) as required by this Agreement, all determined on a consolidated
basis in accordance with Applicable Accounting Principles; provided that Adjusted Consolidated
EBITDA shall be determined for the relevant Test Period on a Pro Forma Basis.

                    “Transaction Documents” shall mean [_______].24

               “Transaction Expenses” shall mean any fees or expenses incurred or paid by the
Parent or any of its Subsidiaries in connection with the Transactions, the Transaction Documents,
this Agreement and the other Loan Documents, and the transactions contemplated hereby and
thereby.

                “Transactions” shall mean, collectively, the transactions to occur pursuant to the
Transaction Documents, including (a) [_______]25; (b) the execution, delivery and performance
of the Loan Documents, the creation of the Liens pursuant to the Security Documents, and the
initial borrowings hereunder; and (c) the payment of all fees and expenses to be paid and owing in
connection with the foregoing.

                “Uniform Commercial Code” shall mean the Uniform Commercial Code as the
same may from time to time be in effect in the State of New York or the Uniform Commercial
Code (or similar code or statute) of another jurisdiction, to the extent it may be required to apply
to any item or items of Collateral.

               “Unrestricted Cash” shall mean cash or Permitted Investments of the Parent or any
of its Subsidiaries that would not appear as “restricted” on a consolidated balance sheet of the
Parent or any of its Subsidiaries.

                “Unrestricted Margin Stock” shall mean, at any time, all Margin Stock owned by
the Parent and its Subsidiaries to the extent the value thereof exceeds 25% of the aggregate value
of all assets owned by the Parent and its Subsidiaries then subject to the covenants contained in
Sections 6.02 and 6.05.

                “Unrestricted Subsidiary” shall mean (1) any Subsidiary of the Parent, whether now
owned or acquired or created after the Closing Date, that is designated after the Closing Date by a
Borrower as an Unrestricted Subsidiary hereunder by written notice to the Administrative Agent;
provided, that a Borrower shall only be permitted to so designate a new Unrestricted Subsidiary
after the Closing Date so long as (a) no Default or Event of Default has occurred and is continuing
or would result therefrom, (b) [reserved], (c) all Investments in such Unrestricted Subsidiary at the
time of designation (as contemplated by the immediately following sentence) together with all
Investments in any other Unrestricted Subsidiary designated as such in reliance on this clause (1)
at the time of designation thereof (as contemplated by the immediately following sentence) are
permitted by Section 6.01(j), (d) such Subsidiary being designated as an “Unrestricted Subsidiary”

24
     To mean the [Definitive Documents] relating to any plan of reorganization.
25
     To mean all transactions contemplated by any plan of reorganization.


                                                            38
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 649 of 835




shall also, concurrently with such designation and thereafter, constitute an “Unrestricted
Subsidiary” for purposes for all other Material Indebtedness of the Parent or its Subsidiaries issued
or incurred after the Closing Date that contains a similar concept, (e) such Subsidiary was not
previously designated as an Unrestricted Subsidiary and thereafter re-designated as a Subsidiary,
and (f) the Parent shall have delivered to the Administrative Agent an officer’s certificate executed
by a Responsible Officer of the Parent, certifying to the best of such officer’s knowledge,
compliance with the requirements of this proviso; and (2) any subsidiary of an Unrestricted
Subsidiary (unless transferred to such Unrestricted Subsidiary or any of its subsidiaries by the
Parent or one or more of its Restricted Subsidiaries after the date of the designation of the parent
entity as a “Unrestricted Subsidiary” hereunder, in which case the subsidiary so transferred would
be required to be independently designated in accordance with preceding clause (1)). The
designation of any Subsidiary as an Unrestricted Subsidiary shall constitute an Investment by the
Parent (or its Subsidiaries) therein at the date of designation in an amount equal to the Fair Market
Value of the Parent’s (or its Subsidiaries’) Investments therein, which shall be required to be
justified on such date in accordance with Section 6.04(j) . A Borrower may designate any
Unrestricted Subsidiary to be a Subsidiary for purposes of this Agreement (each, a “Subsidiary
Redesignation”); provided, that (i) no Default or Event of Default has occurred and is continuing
or would result therefrom (after giving effect to the provisions of the immediately succeeding
sentence), (ii) [reserved,] and (iii) a Borrower shall have delivered to the Administrative Agent an
officer’s certificate executed by a Responsible Officer of a Borrower, certifying to the best of such
officer’s knowledge, compliance with the requirements of preceding clauses (i) and (ii). The
designation of any Unrestricted Subsidiary as a Subsidiary after the Closing Date shall constitute
(i) the incurrence at the time of designation of any Investment, Indebtedness or Liens of such
Subsidiary existing at such time and (ii) a return on any Investment by the applicable Loan Party
(or its relevant Subsidiaries) in Unrestricted Subsidiaries pursuant to the preceding sentence in an
amount equal to the Fair Market Value at the date of such designation of such Loan Party’s (or its
relevant Subsidiaries’) Investment in such Subsidiary. Notwithstanding anything to the contrary
contained above, neither the Lux Borrower nor the Co-Borrower shall be permitted to be an
Unrestricted Subsidiary.

                 “Weighted Average Life to Maturity” shall mean, when applied to any
Indebtedness at any date, the number of years obtained by dividing: (a) the sum of the products
obtained by multiplying (i) the amount of each then remaining installment, sinking fund, serial
maturity or other required payments of principal, including payment at final maturity, in respect
thereof, by (ii) the number of years (calculated to the nearest one-twelfth) that will elapse between
such date and the making of such payment; by (b) the then outstanding principal amount of such
Indebtedness.

              “Wholly Owned Domestic Subsidiary” shall mean a Wholly Owned Subsidiary that
is also a Domestic Subsidiary.

               “Wholly Owned Subsidiary” of any person shall mean a subsidiary of such person,
all of the Equity Interests of which (other than directors’ qualifying shares or nominee or other
similar shares required pursuant to applicable law) are owned by such person or another Wholly
Owned Subsidiary of such person. Unless the context otherwise requires, “Wholly Owned
Subsidiary” shall mean a Subsidiary of the Parent that is a Wholly Owned Subsidiary of the Parent.



                                                  39
                Case 20-12522-JTD              Doc 2917        Filed 06/18/21         Page 650 of 835




               “Working Capital” shall mean, with respect to the Parent and the Subsidiaries on a
consolidated basis at any date of determination, Current Assets at such date of determination minus
Current Liabilities at such date of determination; provided, that, for purposes of calculating Excess
Cash Flow, increases or decreases in Working Capital shall be calculated without regard to any
changes in Current Assets or Current Liabilities as a result of (a) any reclassification in accordance
with Applicable Accounting Principles of assets or liabilities, as applicable, between current and
noncurrent or (b) the effects of purchase accounting.

Negative Covenants:26

                                                     ARTICLE VI

                                                  Negative Covenants

              The Parent and each Borrower covenants and agrees with each Lender that, until
the Termination Date, unless the Required Lenders shall otherwise consent in writing, the Parent
and each Borrower will not, and will not permit any of the Subsidiaries to:

               Section 6.01 Indebtedness.                   Incur, create, assume or permit to exist any
Indebtedness, except:

                (a)     Indebtedness (other than as described in Section 6.01(b) and Section
6.01(bb) below) existing or committed on the Closing Date (provided, that any such Indebtedness
(x) that is owed to any person other than Parent and one or more of its Subsidiaries, in an aggregate
amount in excess of $5,000,000 shall be set forth in Part A of Schedule 6.01 and (y) owing to
Parent or one or more of its Subsidiaries in excess of $5,000,000 shall be set forth on Part B of
Schedule 6.01) and any Permitted Refinancing Indebtedness incurred to Refinance such
Indebtedness; provided that (1) any Indebtedness outstanding pursuant to this clause (a) which is
owed by a Loan Party to any Subsidiary that is not a Loan Party shall be subordinated in right of
payment to the same extent required pursuant to Section 6.01(e) and (2) any Permitted Refinancing
Indebtedness at any time incurred with respect to any Indebtedness described in this Section
6.01(a) outstanding on the Closing Date (or an issue of Permitted Refinancing Indebtedness
incurred in respect thereof or prior to the incurrence of such Permitted Refinancing Indebtedness)
may only be owed to the Parent or its respective Subsidiary to which the Indebtedness described
in clause (y) above outstanding on the Closing Date was owed;

               (b)     Indebtedness created hereunder (including pursuant to Section [__], Section
[__] and Section [__]27) and under the other Loan Documents and any Refinancing Notes incurred
to Refinance such Indebtedness;

             (c)     Indebtedness of the Parent or any Subsidiary pursuant to Hedging
Agreements entered into for non-speculative purposes;




26
     For the avoidance of doubt, all covenants set forth in former Section 5.13 (Cadence IP Licensee) shall be eliminated.
27
     Section references to be to (i) incremental loan provision, (ii) extension provision and (iii) refinancing provision.


                                                              40
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 651 of 835




                (d)    Indebtedness owed to (including obligations in respect of letters of credit or
bank guarantees or similar instruments for the benefit of) any person providing workers’
compensation, health, disability or other employee benefits or property, casualty or liability
insurance to the Parent or any Subsidiary, pursuant to reimbursement or indemnification
obligations to such person, in each case in the ordinary course of business or consistent with past
practice or industry practices;

                (e)    Indebtedness of the Parent or any Borrower to the Parent or any Subsidiary
and of any Subsidiary to the Parent, any Borrower or any other Subsidiary; provided, that
(i) Indebtedness of any Subsidiary that is not a Subsidiary Loan Party owing to the Loan Parties
incurred pursuant to this Section 6.01(e) shall be subject to Section 6.04 and (ii) Indebtedness
owed by any Loan Party to any Subsidiary that is not a Loan Party incurred pursuant to this Section
6.01(e) shall be subordinated in right of payment to the Loan Obligations under this Agreement on
subordination terms described in Exhibit F hereto or on other subordination terms reasonably
satisfactory to the Administrative Agent and a Borrower;

               (f)     Indebtedness in respect of performance bonds, bid bonds, appeal bonds,
surety bonds and completion guarantees and similar obligations, in each case provided in the
ordinary course of business or consistent with past practice or industry practices, including those
incurred to secure health, safety and environmental obligations in the ordinary course of business
or consistent with past practice or industry practices;

                (g)     Indebtedness arising from the honoring by a bank or other financial
institution of a check, draft or similar instrument drawn against insufficient funds in the ordinary
course of business or other cash management services, in each case incurred in the ordinary course
of business;

                (h)     (i) Indebtedness of a Subsidiary acquired after the Closing Date or a person
merged or consolidated with the Parent or any Subsidiary after the Closing Date and Indebtedness
otherwise assumed by the Parent, any Borrower or any other Loan Party that is a Domestic
Subsidiary (and which may be guaranteed by any Loan Party) in connection with the acquisition
of assets or Equity Interests (including a Permitted Business Acquisition), where such acquisition,
merger or consolidation is not prohibited by this Agreement; provided, that, (x) Indebtedness
incurred pursuant to preceding sub clause (h)(i) shall be in existence prior to the respective
acquisition of assets or Equity Interests (including a Permitted Business Acquisition) and shall not
have been created in contemplation thereof or in connection therewith, and (y) after giving effect
to the incurrence of such Indebtedness, (A) in the case of any such Indebtedness that is secured,
the Secured Net Leverage Ratio (I) shall not be greater than 3.50 to 1.00 or (II) shall be no more
than the Secured Net Leverage Ratio in effect immediately prior thereto and, (B) in the case of any
such Indebtedness (whether secured or unsecured), the Fixed Charge Coverage Ratio (I) shall not
be less than 2.00 to 1.00 or (II) shall be no more than the Fixed Charge Coverage Ratio in effect
immediately prior thereto, each calculated on a Pro Forma Basis for the then most recently ended
Test Period; and (ii) any Permitted Refinancing Indebtedness incurred to Refinance any such
Indebtedness;

              (i)    (x) Capitalized Lease Obligations, mortgage financings and other
Indebtedness incurred by the Parent or any Subsidiary prior to or within 360 days after the


                                                  41
           Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 652 of 835




acquisition, lease, construction, repair, replacement or improvement of the respective property
(real or personal, and whether through the direct purchase of property or the Equity Interest of any
person owning such property) permitted under this Agreement in order to finance such acquisition,
lease, construction, repair, replacement or improvement, in an aggregate principal amount that
immediately after giving effect to the incurrence of such Indebtedness and the use of proceeds
thereof, together with the aggregate principal amount of any other Indebtedness outstanding
pursuant to this Section 6.01(i) and Section 6.01(j), would not exceed the greater of $125,000,000
and [__]% of Consolidated Total Assets when incurred, created or assumed, and (y) any Permitted
Refinancing Indebtedness in respect thereof;

               (j)    (x) Capitalized Lease Obligations and any other Indebtedness incurred by
the Parent or any Subsidiary arising from any Sale and Lease-Back Transaction that is permitted
under Section 6.03 so long as the principal amount thereof, together with the aggregate principal
amount of any other Indebtedness outstanding pursuant to this Section 6.01(j) and Section 6.01(i),
would not exceed greater of $125,000,000 and [__]% of Consolidated Total Assets when incurred,
created or assumed, and (y) any Permitted Refinancing Indebtedness in respect thereof;

                (k)    (x) other Indebtedness of the Parent or any Subsidiary, in an aggregate
principal amount that, immediately after giving effect to the incurrence of such Indebtedness and
the use of proceeds thereof, together with the aggregate principal amount of any other Indebtedness
outstanding pursuant to this Section 6.01(k), would not exceed the greater of $250,000,000 and
[__]% of Consolidated Total Assets when incurred, created or assumed (provided that, if such
Indebtedness is of any Subsidiary other than a Loan Party, the aggregate principal amount of such
Indebtedness, immediately after giving effect to the incurrence of such Indebtedness and the use
of proceeds thereof, together with the aggregate principal amount of any other Indebtedness of
Subsidiaries other than Loan Parties outstanding pursuant to this Section 6.01(k), does not exceed
$100,000,000) and (y) any Permitted Refinancing Indebtedness in respect thereof;

               (l)     [reserved];

               (m)     Guarantees (i) by the Parent, any Borrower or any Subsidiary Loan Party of
any Indebtedness of the Parent, any Borrower or any Subsidiary Loan Party permitted to be
incurred under this Agreement, (ii) by the Parent, any Borrower or any Subsidiary Loan Party of
Indebtedness otherwise permitted hereunder of any Subsidiary that is not a Subsidiary Loan Party
to the extent such Guarantees are permitted by Section 6.04 (other than Section 6.04(r)), (iii) by
any Subsidiary that is not a Subsidiary Loan Party of Indebtedness of another Subsidiary that is
not a Subsidiary Loan Party, and (iv) by the Parent, any Borrower or any Subsidiary Loan Party
of Indebtedness of Subsidiaries that are not Subsidiary Loan Parties incurred for working capital
purposes in the ordinary course of business on ordinary business terms so long as such
Indebtedness is permitted to be incurred under Section 6.01(q) and to the extent such Guarantees
are permitted by Section 6.04 (other than Section 6.04(r)); provided, that Guarantees (x) by the
Parent, any Borrower or any Subsidiary Loan Party under this Section 6.01(m) of any other
Indebtedness of a person that is subordinated in right of payment to other Indebtedness of such
person shall be expressly subordinated in right of payment to the Loan Obligations to at least the
same extent as such underlying Indebtedness is subordinated in right of payment and (y) otherwise
permitted by this Section 6.01(m) shall not be permitted with respect to any Indebtedness
(including, without limitation, Permitted Debt and Permitted Refinancing Indebtedness) where the


                                                 42
           Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 653 of 835




guarantor providing the Guarantee is not permitted to guarantee such Indebtedness because this
Section 6.01 (or defined terms used in this Section 6.01) otherwise limit the persons who may
guarantee such Indebtedness (where such Indebtedness is being Refinanced or otherwise);

               (n)     Indebtedness arising from agreements of the Parent or any Subsidiary
providing for indemnification, adjustment of purchase or acquisition price or similar obligations
(including earn-outs), in each case, incurred or assumed in connection with the Transactions, any
Permitted Business Acquisition, other Investments or the disposition of any business, assets or a
Subsidiary not prohibited by this Agreement;

               (o)     Indebtedness in respect of letters of credit, bank guarantees, warehouse
receipts or similar instruments issued in the ordinary course of business or consistent with past
practice or industry practices and not supporting obligations in respect of Indebtedness for
borrowed money;

               (p)     (i) Permitted Debt (not secured by Other First Liens on the Collateral) so
long as immediately after giving effect to the incurrence of such Permitted Debt and the use of
proceeds thereof, (A) the Fixed Charge Coverage Ratio on a Pro Forma Basis is not less than 2.00
to 1.00 and (B) no Default or Event of Default shall have occurred and be continuing or shall result
therefrom, and (ii) any Permitted Refinancing Indebtedness in respect thereof;

              (q)     (x) Indebtedness of Subsidiaries that are not Subsidiary Loan Parties in an
aggregate principal amount outstanding that, immediately after giving effect to the incurrence of
such Indebtedness and the use of proceeds thereof, together with the aggregate principal amount
of any other Indebtedness outstanding pursuant to this Section 6.01(q), would not exceed the
greater of $100,000,000 and [__]% of Consolidated Total Assets when incurred, created or
assumed and (y) any Permitted Refinancing Indebtedness in respect thereof;

                (r)    Indebtedness incurred in the ordinary course of business in respect of
obligations of the Parent or any Subsidiary to pay the deferred purchase price of goods or services
or progress payments in connection with such goods and services; provided, that such obligations
are incurred in connection with open accounts extended by suppliers on customary trade terms in
the ordinary course of business and not in connection with the borrowing of money or any Hedging
Agreements;

              (s)    Indebtedness representing deferred compensation to employees, consultants
or independent contractors of the Parent or any Subsidiary incurred in the ordinary course of
business;

              (t)     (x) Indebtedness in connection with Qualified Receivables Facilities in an
aggregate principal amount outstanding that, immediately after giving effect to the incurrence of
such Indebtedness and the use of proceeds thereof, together with the aggregate principal amount
of any other Indebtedness outstanding pursuant to this Section 6.01(t), would not exceed the
greater of $200,000,000 and [__]% of Consolidated Total Assets when incurred, created or
assumed and (y) any Permitted Refinancing Indebtedness in respect thereof;

               (u)     obligations in respect of Cash Management Agreements;


                                                 43
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 654 of 835




              (v)      (i) Existing First Lien Notes, (ii) Revolver Replacement Term Loans, (iii)
Permitted Debt secured by Other First Liens on the Collateral, in an aggregate principal amount
outstanding not to exceed at the time of incurrence the Incremental Amount available at such time,
and (iv) Permitted Refinancing Indebtedness in respect of any Indebtedness theretofore
outstanding pursuant to this clause (v);

              (w)     Indebtedness of, incurred on behalf of, or representing Guarantees of
Indebtedness of, joint ventures subject to compliance with Section 6.04 (other than Section
6.04(r));

                (x)    Indebtedness issued by the Parent or any Subsidiary to current or former
officers, directors and employees, their respective estates, spouses or former spouses to finance
the purchase or redemption of Equity Interests of the Parent permitted by Section 6.06;

              (y)    Indebtedness consisting of obligations of the Parent or any Subsidiary under
deferred compensation or other similar arrangements incurred by such person in connection with
the Transactions and Permitted Business Acquisitions or any other Investment permitted
hereunder;

               (z)      Indebtedness of the Parent or any Subsidiary to or on behalf of any joint
venture (regardless of the form of legal entity) that is not a Subsidiary arising in the ordinary course
of business in connection with the cash management operations (including with respect to
intercompany self-insurance arrangements) of the Parent and the Subsidiaries;

                (aa) Indebtedness consisting of (i) the financing of insurance premiums or
(ii) take-or-pay obligations contained in supply arrangements, in each case, in the ordinary course
of business; and

                (bb) (i) Indebtedness in respect of the Existing Secured Notes (other than
Existing First Lien Notes) and (ii) Permitted Refinancing Indebtedness incurred in respect thereof.

               For purposes of determining compliance with this Section 6.01 or Section 6.02, the
amount of any Indebtedness denominated in any currency other than Dollars shall be calculated
based on (x) the Dollar Equivalent thereof, in the case of any such Indebtedness denominated in
an Alternate Currency or (y) in all other cases, customary currency exchange rates in effect, in the
case of such Indebtedness incurred (in respect of term Indebtedness) or committed (in respect of
revolving Indebtedness) on or prior to the Closing Date, on the Closing Date and, in the case of
such Indebtedness incurred (in respect of term Indebtedness) or committed (in respect of revolving
Indebtedness) after the Closing Date, on the date on which such Indebtedness was incurred (in
respect of term Indebtedness) or committed (in respect of revolving Indebtedness); provided, that
if such Indebtedness is incurred to refinance other Indebtedness denominated in a currency other
than Dollars (or in a different currency from the Indebtedness being refinanced), and such
refinancing would cause the applicable Dollar-denominated restriction to be exceeded if calculated
at the relevant currency exchange rate in effect on the date of such refinancing, such Dollar-
denominated restriction shall be deemed not to have been exceeded so long as the principal amount
of such refinancing Indebtedness does not exceed (i) the outstanding or committed principal
amount, as applicable, of such Indebtedness being refinanced plus (ii) the aggregate amount of


                                                   44
           Case 20-12522-JTD          Doc 2917       Filed 06/18/21      Page 655 of 835




fees, underwriting discounts, premiums (including tender premiums), defeasance costs and other
costs and expenses incurred in connection with such refinancing.

                Further, for purposes of determining compliance with this Section 6.01,
(A) Indebtedness need not be permitted solely by reference to one category of permitted
Indebtedness (or any portion thereof) described in Sections 6.01(a) through (bb) but may be
permitted in part under any relevant combination thereof (and subject to compliance, where
relevant, with Section 6.02) and (B) in the event that an item of Indebtedness (or any portion
thereof) meets the criteria of one or more of the categories of permitted Indebtedness (or any
portion thereof) described in Sections 6.01(a) through (bb), a Borrower may, in its sole discretion,
classify or reclassify, or later divide, classify or reclassify (as if incurred at such later time), such
item of Indebtedness (or any portion thereof) in any manner that complies with this Section 6.01
and following Section 6.02 and will be entitled to only include the amount and type of such item
of Indebtedness (or any portion thereof) in one of the above clauses (or any portion thereof) and
such item of Indebtedness (or any portion thereof) shall be treated as having been incurred or
existing pursuant to only such clause or clauses (or any portion thereof) without giving pro forma
effect to such item (or portion thereof) when calculating the amount of Indebtedness that may be
incurred pursuant to any other clause; provided, that (v) all Indebtedness outstanding under this
Agreement shall at all times be deemed to have been incurred pursuant to clause (b) of this Section
6.01, (w) all Indebtedness outstanding on the Closing Date under the Existing Secured Indentures
(other than the Existing First Lien Notes) shall at all times be deemed to have been incurred
pursuant to clause (bb) of this Section 6.01, (x) all Indebtedness outstanding on the Closing Date
under the Existing First Lien Notes shall at all times be deemed to have been incurred pursuant to
clause (v) of this Section 6.01, (y) all Indebtedness described in Schedule 6.01 (and any Permitted
Refinancing Indebtedness incurred in respect thereof) shall be deemed outstanding under Section
6.01(a) and (z) all Indebtedness owing to the Parent or any of its Subsidiaries must be justified as
incurred (and outstanding) pursuant to one or more of Sections 6.01(a), (e), (m) and (w). In
addition, with respect to any Indebtedness that was permitted to be incurred hereunder on the date
of such incurrence, any Increased Amount of such Indebtedness shall also be permitted hereunder
after the date of such incurrence.

               This Agreement will not treat (1) unsecured Indebtedness as subordinated or junior
in right of payment to secured Indebtedness merely because it is unsecured or (2) senior
Indebtedness as subordinated or junior in right of payment to any other senior Indebtedness merely
because it has a junior priority with respect to the same collateral.

               Section 6.02 Liens. Create, incur, assume or permit to exist any Lien on any
property or assets (including stock or other securities of any person) of the Parent or any Subsidiary
now owned or hereafter acquired by it or on any income or revenues or rights in respect of any
thereof, except the following (collectively, “Permitted Liens”):

               (a)     Liens on property or assets of the Parent and the Subsidiaries existing on
the Closing Date and, to the extent securing Indebtedness in an aggregate principal amount in
excess of $5,000,000, set forth on Schedule 6.02(a) and any modifications, replacements, renewals
or extensions thereof; provided, that such Liens shall secure only those obligations that they secure
on the Closing Date (and any Permitted Refinancing Indebtedness in respect of such obligations
permitted by Section 6.01), shall not be amended, replaced or renewed so as to increase their


                                                    45
               Case 20-12522-JTD             Doc 2917   Filed 06/18/21   Page 656 of 835




priority in relation to Liens securing other Indebtedness with respect to such property or assets, if
any, as on the Closing Date, and shall not subsequently apply to any other property or assets of the
Parent, any Borrower or any Subsidiary other than (A) after-acquired property that is affixed or
incorporated into the property covered by such Lien and (B) proceeds and products thereof;

               (b)   any Lien created under the Loan Documents (including Liens created under
the Security Documents securing obligations in respect of Secured Hedge Agreements and Secured
Cash Management Agreements);

               (c)      any Lien on any property or asset of the Parent or any Subsidiary securing
Indebtedness or Permitted Refinancing Indebtedness permitted by Section 6.01(h); provided, that
(i) such Lien is not created in contemplation of or in connection with such acquisition or such
person becoming a Subsidiary, as the case may be, and (ii) such Lien does not apply to any other
property or assets of the Parent or any of the Subsidiaries not securing such Indebtedness at the
date of the acquisition of such property or asset and accessions and additions thereto and proceeds
and products thereof (other than after-acquired property of any entity so acquired (but not of the
Parent or any other Loan Party, including any Loan Party into which such acquired entity is
merged) required to be subjected to such Lien pursuant to the terms of such Indebtedness (and
refinancings thereof));

                (d)  Liens for Taxes, assessments or other governmental charges or levies not
yet delinquent by more than 30 days or that are being contested in good faith in compliance with
Section [__]28;

               (e)     Liens imposed by law, such as landlord’s, carriers’, warehousemen’s,
mechanics’, materialmen’s, repairmen’s, supplier’s, construction or other like Liens, securing
obligations that are not overdue by more than 30 days or that are being contested in good faith by
appropriate proceedings and in respect of which, if applicable, the Parent or any Subsidiary shall
have set aside on its books reserves in accordance with Applicable Accounting Principles;

                (f)     (i) pledges and deposits and other Liens made in the ordinary course of
business in compliance with the Federal Employers Liability Act or any other workers’
compensation, unemployment insurance and other social security laws or regulations and deposits
securing liability to insurance carriers under insurance or self-insurance arrangements in respect
of such obligations and (ii) pledges and deposits and other Liens securing liability for
reimbursement or indemnification obligations of (including obligations in respect of letters of
credit or bank guarantees for the benefit of) insurance carriers providing property, casualty or
liability insurance to the Parent or any Subsidiary;

               (g)     deposits and other Liens to secure the performance of bids, trade contracts
(other than for Indebtedness), leases (other than Capitalized Lease Obligations), statutory
obligations, surety and appeal bonds, performance and return of money bonds, bids, leases,
government contracts, trade contracts, agreements with utilities, and other obligations of a like
nature (including letters of credit in lieu of any such bonds or to support the issuance thereof)


28
     Section reference to be to tax payment covenant.


                                                        46
               Case 20-12522-JTD              Doc 2917   Filed 06/18/21   Page 657 of 835




incurred in the ordinary course of business, including those incurred to secure health, safety and
environmental obligations in the ordinary course of business;

              (h)     zoning restrictions, easements, survey exceptions, trackage rights, leases
(other than Capitalized Lease Obligations), licenses, special assessments, rights-of-way,
covenants, conditions, restrictions and declarations on or with respect to the use of Real Property,
servicing agreements, development agreements, site plan agreements and other similar
encumbrances incurred in the ordinary course of business and title defects or irregularities that are
of a minor nature and that, in the aggregate, do not interfere in any material respect with the
ordinary conduct of the business of the Parent or any Subsidiary;

                (i)    Liens securing Indebtedness permitted by Section 6.01(i); provided, that
such Liens do not apply to any property or assets of the Parent, any Borrower or any Subsidiary
other than the property or assets acquired, leased, constructed, replaced, repaired or improved with
such Indebtedness (or the Indebtedness Refinanced thereby), and accessions and additions thereto,
proceeds and products thereof, customary security deposits and related property; provided, further,
that individual financings provided by one lender may be cross-collateralized to other financings
provided by such lender (and its Affiliates) (it being understood that with respect to any Liens on
the Collateral being incurred under this clause (i) to secure Permitted Refinancing Indebtedness,
if Liens on the Collateral securing the Indebtedness being Refinanced (if any) were Junior Liens,
then any Liens on such Collateral being incurred under this clause (i) to secure Permitted
Refinancing Indebtedness shall also be Junior Liens);

               (j)    Liens arising out of Sale and Lease-Back Transactions permitted under
Section 6.03, so long as such Liens attach only to the property sold and being leased in such
transaction and any accessions and additions thereto or proceeds and products thereof and related
property;

              (k)     non-consensual Liens securing judgments that do not constitute an Event of
Default under Section [__]29;

               (l)     any interest or title of a lessor or sublessor under any leases or subleases
entered into by the Parent or any Subsidiary in the ordinary course of business;

                 (m)    Liens that are contractual rights of set-off (i) relating to the establishment
of depository relations with banks and other financial institutions not given in connection with the
issuance of Indebtedness, (ii) relating to pooled deposits, sweep accounts, reserve accounts or
similar accounts of the Parent or any Subsidiary to permit satisfaction of overdraft or similar
obligations incurred in the ordinary course of business of the Parent or any Subsidiary, or
(iii) relating to purchase orders and other agreements entered into with customers, suppliers or
service providers of the Parent, any Borrower or any Subsidiary in the ordinary course of business;

               (n)     Liens (i) arising solely by virtue of any statutory or common law provision
relating to banker’s liens, rights of set-off or similar rights, (ii) attaching to commodity trading
accounts or other commodity brokerage accounts incurred in the ordinary course of business,

29
     Section reference to be to judgment default.


                                                         47
           Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 658 of 835




(iii) encumbering reasonable customary initial deposits and margin deposits and similar Liens
attaching to brokerage accounts incurred in the ordinary course of business and not for speculative
purposes or (iv) in respect of Third Party Funds;

               (o)    Liens securing obligations in respect of letters of credit, bank guarantees,
warehouse receipts or similar obligations permitted under Section 6.01(f) or (o) and incurred in
the ordinary course of business or consistent with past practice or industry practices and not
supporting obligations in respect of Indebtedness for borrowed money;

                (p)     leases or subleases, and licenses or sublicenses (including with respect to
Intellectual Property), granted to others in the ordinary course of business not interfering in any
material respect with the business of the Parent and its Subsidiaries, taken as a whole;

              (q)     Liens in favor of customs and revenue authorities arising as a matter of law
to secure payment of customs duties in connection with the importation of goods;

               (r)      Liens solely on any cash earnest money deposits made by the Parent or any
of the Subsidiaries in connection with any letter of intent or purchase agreement in respect of any
Investment permitted hereunder;

               (s)     Liens with respect to property or assets of any Subsidiary that is not a Loan
Party securing obligations of a Subsidiary that is not a Loan Party permitted under Section 6.01;

              (t)    Liens on any amounts held by a trustee under any indenture or other debt
agreement issued in escrow pursuant to customary escrow arrangements pending the release
thereof, or under any indenture or other debt agreement pursuant to customary discharge,
redemption or defeasance provisions;

              (u)     the prior rights of consignees and their lenders under consignment
arrangements entered into in the ordinary course of business;

              (v)    agreements to subordinate any interest of the Parent or any Subsidiary in
any accounts receivable or other proceeds arising from inventory consigned by the Parent, any
Borrower or any of the Subsidiaries pursuant to an agreement entered into in the ordinary course
of business;

               (w)    Liens arising from precautionary Uniform Commercial Code financing
statements regarding operating leases or other obligations not constituting Indebtedness;

               (x)     Liens (i) on Equity Interests in joint ventures (A) securing obligations of
such joint venture or (B) pursuant to the relevant joint venture agreement or arrangement and (ii)
on Equity Interests in Unrestricted Subsidiaries to the extent permitted by the second to last
paragraph in Section 6.04;

               (y)     Liens on securities that are the subject of repurchase agreements
constituting Permitted Investments under clause (c) of the definition thereof;




                                                 48
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 659 of 835




                (z)    Liens in respect of Qualified Receivables Facilities that extend only to
Permitted Receivables Facility Assets, Permitted Receivables Related Assets or the Equity
Interests of any Receivables Entity;

               (aa) Liens securing insurance premiums financing arrangements; provided, that
such Liens are limited to the applicable unearned insurance premiums;

               (bb) in the case of Real Property that constitutes a leasehold interest, any Lien to
which the fee simple interest (or any superior leasehold interest) is subject;

               (cc) Liens securing Indebtedness or other obligation (i) of the Parent or a
Subsidiary in favor of the Parent, a Borrower or any Subsidiary Loan Party and (ii) of any
Subsidiary that is not Loan Party in favor of any Subsidiary that is not a Loan Party;

               (dd) Liens on cash or Permitted Investments securing Hedging Agreements in
the ordinary course of business submitted for clearing in accordance with applicable Requirements
of Law;

                 (ee) Liens on goods or inventory the purchase, shipment or storage price of
which is financed by a documentary letter of credit or bank guarantee issued or created for the
account of the Parent, any Borrower or any Subsidiary in the ordinary course of business; provided,
that such Lien secures only the obligations of the Parent or such Subsidiaries in respect of such
letter of credit, bank guarantee or banker’s acceptance to the extent permitted under Section 6.01;

               (ff)   Liens on Collateral that are Junior Liens securing (x) Permitted Debt and
guarantees thereof permitted by Section 6.01(m) and (y) Permitted Refinancing Indebtedness
incurred to Refinance Permitted Debt secured pursuant to preceding clause (x) and guarantees
thereof permitted by Section 6.01(m);

              (gg) Liens on Collateral that are Other First Liens, so long as such Other First
Liens secure Indebtedness permitted by Section 6.01(b) or 6.01(v) and guarantees thereof
permitted by Section 6.01(m);

                 (hh) Liens arising out of conditional sale, title retention or similar arrangements
for the sale or purchase of goods by the Parent or any of the Subsidiaries in the ordinary course of
business;

               (ii)    Liens on Collateral securing Indebtedness permitted by Section 6.01(bb);
and

              (jj)     other Liens with respect to property or assets of the Parent or any Subsidiary
securing (x) obligations in an aggregate outstanding principal amount that, together with the
aggregate principal amount of other obligations that are secured pursuant to this clause (jj),
immediately after giving effect to the incurrence of such Liens, would not exceed the greater of
$75,000,000 and [__]% of Consolidated Total Assets when incurred, created or assumed and (y)
Permitted Refinancing Indebtedness incurred to Refinance obligations secured pursuant to
preceding clause (x), in each case, to the extent that such Liens (i) are Other First Liens, subject to



                                                   49
               Case 20-12522-JTD             Doc 2917        Filed 06/18/21   Page 660 of 835




a Permitted First Lien Intercreditor Agreement or (ii) are Junior Liens, subject to a Permitted Junior
Intercreditor Agreement.

                For purposes of determining compliance with this Section 6.02, (A) a Lien securing
an item of Indebtedness need not be permitted solely by reference to one category of permitted
Liens (or any portion thereof) described in Sections 6.02(a) through (jj) but may be permitted in
part under any combination thereof and (B) in the event that a Lien securing an item of
Indebtedness (or any portion thereof) meets the criteria of one or more of the categories of
permitted Liens (or any portion thereof) described in Sections 6.02(a) through (jj), a Borrower
may, in its sole discretion, classify or reclassify, or later divide, classify or reclassify (as if incurred
at such later time), such Lien securing such item of Indebtedness (or any portion thereof) in any
manner that complies with this Section 6.02 and will be entitled to only include the amount and
type of such Lien or such item of Indebtedness secured by such Lien (or any portion thereof) in
one of the above clauses and such Lien securing such item of Indebtedness (or portion thereof)
will be treated as being incurred or existing pursuant to only such clause or clauses (or any portion
thereof) without giving pro forma effect to such item (or portion thereof) when calculating the
amount of Liens or Indebtedness that may be incurred pursuant to any other clause. For purposes
of this Section 6.02, Indebtedness will not be considered incurred under a subsection or clause of
Section 6.01 if it is later reclassified as outstanding under another subsection or clause of Section
6.01 (in which event, and at which time, same will be deemed incurred under the subsection or
clause to which reclassified). In addition, with respect to any Lien securing Indebtedness that was
permitted to secure such Indebtedness at the time of the incurrence of such Indebtedness, such
Lien shall also be permitted to secure any Increased Amount of such Indebtedness.
Notwithstanding the foregoing, it is acknowledged and agreed that Liens on Collateral that are
Junior Liens or Other First Liens shall at all times be justified under clause (b), (i) (in the case of
Junior Liens), (ff), (gg), (ii) or (jj) above, as applicable.

                Notwithstanding anything to the contrary contained above in this Section 6.02, this
Section 6.02 shall not restrict the incurrence or existence of any Liens at any time on Margin Stock
that then constitutes Unrestricted Margin Stock.

                Section 6.03 Sale and Lease-Back Transactions. Enter into any arrangement,
directly or indirectly, with any person whereby it shall sell or transfer any property, real or
personal, used or useful in its business, whether now owned or hereafter acquired, and thereafter,
as part of such transaction, rent or lease such property or other property that it intends to use for
substantially the same purpose or purposes as the property being sold or transferred (a “Sale and
Lease-Back Transaction”); provided, that a Sale and Lease-Back Transaction shall be permitted
(a) with respect to property owned by the Parent or any Subsidiary that is acquired after the Closing
Date so long as such Sale and Lease-Back Transaction is consummated within 360 days of the
acquisition of such property, and (b) with respect to any other property owned by the Parent or any
Subsidiary, (x) if the Net Proceeds therefrom are used to prepay the Term Loans to the extent
required by Section [__]30 and (y) with respect to all Sale and Lease-Back Transactions pursuant
to this clause (b), the requirements of the last two paragraphs of Section 6.05 shall apply to such
Sale and Lease-Back Transaction to the extent provided therein.


30
     Section reference to be to asset sale mandatory prepayment.


                                                            50
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 661 of 835




                Section 6.04 Investments, Loans and Advances.                (i) Purchase or acquire
(including pursuant to any merger with a person that is not a Wholly Owned Subsidiary
immediately prior to such merger) any Equity Interests, evidences of Indebtedness or other
securities of any other person, (ii) make any loans or advances to or Guarantees of the Indebtedness
of any other person, or (iii) purchase or otherwise acquire, in one transaction or a series of related
transactions, (x) all or substantially all of the property and assets or business of another person or
(y) assets constituting a business unit, line of business or division of such person (each of the
foregoing, an “Investment”), except:

               (a)     Investments to effect the Transactions;

                (b)    (i) Investments (x) by the Parent, any Borrower or any Subsidiary in the
Equity Interests of any Subsidiary as of the Closing Date and set forth on Part A of Schedule 6.04
and (y) by the Parent, any Borrower or any Subsidiary consisting of intercompany loans from the
Parent, any Borrower or any Subsidiary to the Parent, any Borrower or any Subsidiary as of the
Closing Date and set forth on Part B of Schedule 6.04; provided that to the extent any such
intercompany loan that is owing by a non-Subsidiary Loan Party to the Parent, any Borrower or
any Subsidiary Loan Party (the “Scheduled Loans”) (or any additional Investments made by the
Parent, any Borrower or any Subsidiary Loan Party pursuant to this proviso) is repaid after the
Closing Date or the Parent, any Borrower or any Subsidiary Loan Party receives, after the Closing
Date, any dividend, distribution, interest payment, return of capital, repayment or other amount in
respect of any scheduled Investment in the Equity Interests of any non-Subsidiary Loan Party (a
“Return of Scheduled Equity”), then additional Investments may be made by the Parent, any
Borrower or any Subsidiary Loan Party in any non-Subsidiary Loan Party in an aggregate amount
up to the amount actually received by the Parent, any Borrower or any Subsidiary Loan Party after
the Closing Date as payment in respect of such Investments; provided further that in no event will
the aggregate amount of additional Investments made by the Parent, any Borrower or any
Subsidiary Loan Party in non-Subsidiary Loan Parties pursuant to this proviso exceed the sum of
the original principal amount of the Scheduled Loans on the Closing Date and the aggregate
amount of Returns of Scheduled Equity; (ii) Investments in the Parent, any Borrower or any
Subsidiary Loan Party; provided that all amounts owing by the Borrowers or any Guarantor to any
Subsidiary that is not a Guarantor shall be subordinated in right of payment to the Obligations
pursuant to a subordination agreement substantially in the form of Exhibit F hereto or otherwise
reasonably satisfactory to the Administrative Agent and a Borrower; (iii) Investments by any
Subsidiary that is not a Borrower or Guarantor in any Subsidiary that is not a Borrower or
Guarantor; (iv) Investments by the Parent, any Borrower or any Subsidiary Loan Party in any
Wholly-Owned Subsidiary that is not a Borrower or Guarantor in an aggregate amount for all such
outstanding Investments made after the Closing Date not to exceed the greater of $500,000,000
and [__]% of Consolidated Total Assets when made; provided that any such Investments shall (I)
comprise intercompany transactions undertaken in good faith (as certified by a Responsible Officer
of a Borrower) for the purpose of improving the consolidated tax efficiency of the Parent and its
Subsidiaries and not for the purpose of circumventing any covenant set forth herein and (II) be
made solely in the form of cash, notes, receivables, payables or securities; (v) other intercompany
liabilities amongst the Borrowers and the Guarantors incurred in the ordinary course of business;
(vi) other intercompany liabilities amongst Subsidiaries that are not Guarantors incurred in the
ordinary course of business in connection with the cash management operations of such
Subsidiaries; and (vii) Investments by the Parent or any Subsidiary Loan Party in any Subsidiary

                                                  51
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 662 of 835




that is not a Loan Party consisting solely of (x) the contribution or other Disposition of Equity
Interests or Indebtedness of any other Subsidiary that is not a Loan Party held directly by the Parent
or such Subsidiary Loan Party in exchange for Indebtedness, Equity Interests (or additional share
premium or paid in capital in respect of Equity Interests) or a combination thereof of the Subsidiary
to which such contribution or other Disposition is made or (y) an exchange of Equity Interests of
any other Subsidiary that is not a Loan Party for Indebtedness of such Subsidiary; provided that
immediately following the consummation of an Investment pursuant to preceding clause (x) or (y),
the Subsidiary whose Equity Interests or Indebtedness are the subject of such Investment remains
a Subsidiary.

               (c)     Permitted Investments and Investments that were Permitted Investments
when made;

               (d)    Investments arising out of the receipt by the Parent, any Borrower or any
Subsidiary of non-cash consideration for the Disposition of assets permitted under Section 6.05;

                (e)    loans and advances to officers, directors, employees or consultants of the
Parent, any Borrower or any Subsidiary (i) in the ordinary course of business in an aggregate
outstanding amount (valued at the time of the making thereof, and without giving effect to any
write-downs or write-offs thereof) not to exceed $20,000,000, (ii) in respect of payroll payments
and expenses in the ordinary course of business and (iii) in connection with such person’s purchase
of Equity Interests of the Parent solely to the extent that the amount of such loans and advances
shall be contributed to the Parent in cash as common equity;

                 (f)    accounts receivable, security deposits and prepayments arising and trade
credit granted in the ordinary course of business and any assets or securities received in satisfaction
or partial satisfaction thereof from financially troubled account debtors to the extent reasonably
necessary in order to prevent or limit loss and any prepayments and other credits to suppliers made
in the ordinary course of business;

               (g)     Hedging Agreements entered into for non-speculative purposes;

                (h)    Investments (not in Subsidiaries, which are provided in clause (b) above)
existing on, or contractually committed as of, the Closing Date and set forth on Part C of
Schedule 6.04 and any extensions, renewals, replacements or reinvestments thereof, so long as the
aggregate amount of all Investments pursuant to this clause (h) is not increased at any time above
the amount of such Investment existing or committed on the Closing Date (other than pursuant to
an increase as required by the terms of any such Investment as in existence on the Closing Date or
as otherwise permitted by this Section 6.04);

                  (i)     Investments resulting from pledges and deposits under Sections 6.02(f), (g),
(n), (q), (r), (dd) and (ii);

               (j)    other Investments by the Parent or any Subsidiary in an aggregate
outstanding amount (valued at the time of the making thereof, and without giving effect to any
write-downs or write-offs thereof) not to exceed the sum of (X) the greater of $400,000,000 and
[__]% of Consolidated Total Assets when made, plus (Y) so long as (1) no Default or Event of
Default shall have occurred and be continuing and (2) the Total Net Leverage Ratio on a Pro Forma

                                                   52
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 663 of 835




Basis is not greater than 3.50 to 1.00, and taking into account any Restricted Payments made
pursuant to Section 6.06(d) utilizing the Available Amount, any portion of the Available Amount
on the date of such election that a Borrower elects to apply to this Section 6.04(j)(Y) in a written
notice of a Responsible Officer thereof, which notice shall set forth calculations in reasonable
detail the amount of Available Amount immediately prior to such election and the amount thereof
elected to be so applied, and plus (Z) an amount equal to any returns (including dividends, interest,
distributions, returns of principal, profits on sale, repayments, income and similar amounts)
actually received in respect of any such Investment (excluding any returns in excess of the amount
originally invested) pursuant to clause (X); provided, that if any Investment pursuant to this
Section 6.04(j) is made in any person that was not a Subsidiary on the date on which such
Investment was made but becomes a Subsidiary thereafter, then such Investment may, at the option
of a Borrower, upon such person becoming a Subsidiary and so long as such person remains a
Subsidiary, be deemed to have been made pursuant to Section 6.04(b) (to the extent permitted by
the provisions thereof) and not in reliance on this Section 6.04(j); provided, further, that no more
than $100,000,000 in aggregate outstanding amount (valued at the time of the making thereof, and
without giving effect to any write-downs or write-offs thereof) of Investments made in reliance on
this clause (j) (other than Investments in the ordinary course of business consistent with past
practice in an aggregate outstanding amount not to exceed $15,000,000) shall be made in
Unrestricted Subsidiaries (including Investments arising as a result of the designation of a
Subsidiary as an Unrestricted Subsidiary equal to the Fair Market Value of the Parent’s (or its
Subsidiaries’) Investments in such Subsidiary at the date of designation);

               (k)     Investments constituting Permitted Business Acquisitions;

                (l)     Investments received in connection with the bankruptcy or reorganization
of, or settlement of delinquent accounts and disputes with or judgments against, customers and
suppliers, in each case in the ordinary course of business or Investments acquired by the Parent or
a Subsidiary as a result of a foreclosure by the Parent or any of the Subsidiaries with respect to any
secured Investments or other transfer of title with respect to any secured Investment in default;

               (m)      Investments of a Subsidiary acquired after the Closing Date or of a person
merged into the Parent or merged into or consolidated with a Subsidiary after the Closing Date, in
each case, (i) to the extent such acquisition, merger or consolidation is permitted under this
Section 6.04, (ii) in the case of any acquisition, merger or consolidation, in accordance with
Section 6.05 and (iii) to the extent that such Investments were not made in contemplation of or in
connection with such acquisition, merger or consolidation and were in existence on the date of
such acquisition, merger or consolidation;

               (n)     acquisitions by the Parent, any Borrower or any Subsidiary of obligations
of one or more officers or other employees of the Parent, any Borrower or any of the Subsidiaries
in connection with such officer’s or employee’s acquisition of Equity Interests of the Parent, so
long as no cash is actually advanced by any Borrower or any of the Subsidiaries to such officers
or employees in connection with the acquisition of any such obligations;

               (o)    Guarantees by the Parent, any Borrower or any Subsidiary of operating
leases (other than Capitalized Lease Obligations) or of other obligations that do not constitute
Indebtedness of the kind described in clauses (a), (b), (e), (f), (g), (h), (i), (j), (k) or (l) of the


                                                   53
           Case 20-12522-JTD        Doc 2917      Filed 06/18/21     Page 664 of 835




definition thereof, in each case entered into by the Parent, any Borrower or any Subsidiary in the
ordinary course of business;

               (p)     Investments to the extent that payment for such Investments is made with
Equity Interests (other than Disqualified Stock) of the Parent; provided, that the issuance of such
Equity Interests are not included in any determination of the Available Amount;

               (q)    Investments in the ordinary course of business consisting of Uniform
Commercial Code Article 3 endorsements for collection or deposit and Uniform Commercial Code
Article 4 customary trade arrangements with customers;

               (r)    Guarantees permitted under Section 6.01 (except to the extent such
Guarantee is expressly subject to this Section 6.04);

               (s)     advances in the form of a prepayment of expenses, so long as such expenses
are being paid in accordance with customary trade terms of the Parent or such Subsidiary;

              (t)    Investments by the Parent and the Subsidiaries, if the Parent or any
Subsidiary would otherwise be permitted to make a Restricted Payment under Section 6.06(g) in
such amount (provided that the amount of any such Investment shall also be deemed to be a
Restricted Payment under Section 6.06(g) for all purposes of this Agreement);

                (u)     Investments consisting of Permitted Receivables Facility Assets or arising
as a result of Qualified Receivables Facilities;

               (v)     Investments consisting of the licensing or contribution of Intellectual
Property pursuant to joint marketing or other similar arrangements with other persons, in each case
in the ordinary course of business;

                (w)    to the extent constituting Investments, purchases and acquisitions of
inventory, supplies, materials and equipment or purchases of contract rights or licenses or leases
of Intellectual Property in each case in the ordinary course of business;

                (x)     Investments received substantially contemporaneously in exchange for
Qualified Equity Interests of the Parent; provided, that the issuance of such Qualified Equity
Interests are not included in any determination of the Available Amount;

                (y)     Investments in joint ventures; provided that the aggregate outstanding
amount (valued at the time of the making thereof and without giving effect to any write-downs or
write-offs thereof) of Investments made pursuant to this Section 6.04(y) shall not exceed the sum
of (A) the greater of $200,000,000 and [__]% of Consolidated Total Assets when made, plus (B) an
aggregate amount equal to any returns (including dividends, interest, distributions, returns of
principal, profits on sale, repayments, income and similar amounts) actually received in respect of
any such Investment (excluding any returns in excess of the amount originally invested); provided,
that if any Investment pursuant to this Section 6.04(y) is made in any person that was not a
Subsidiary on the date on which such Investment was made but becomes a Subsidiary thereafter,
then such Investment may, at the option of a Borrower, upon such person becoming a Subsidiary
and so long as such person remains a Subsidiary, be deemed to have been made pursuant to

                                                 54
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 665 of 835




Section 6.04(b) (to the extent permitted by the provisions thereof) and not in reliance on this
Section 6.04(y);

              (z)    Investments consisting of Guarantees of Indebtedness of joint ventures, in
an aggregate outstanding principal amount (plus, without duplication, the aggregate amount of
unreimbursed payments made pursuant to any such Guarantee) not to exceed the greater of
$100,000,000 and [__]% of Consolidated Total Assets when made;

               (aa) additional Investments, so long as, at the time any such Investment is made
and immediately after giving effect thereto, (x) no Default or Event of Default shall have occurred
and is continuing and (y) the Total Net Leverage Ratio on a Pro Forma Basis is not greater than
3.00 to 1.00.

                 For purposes of determining compliance with this Section 6.04, (A) an Investment
need not be permitted solely by reference to one category of permitted Investments (or any portion
thereof) described in Sections 6.04(a) through (aa) but may be permitted in part under any relevant
combination thereof and (B) in the event that an Investment (or any portion thereof) meets the
criteria of one or more of the categories of permitted Investments (or any portion thereof) described
in Sections 6.04(a) through (aa), a Borrower may, in its sole discretion, classify or reclassify, or
later divide, classify or reclassify (as if made at such later time), such Investment (or any portion
thereof) in any manner that complies with this Section 6.04 and will be entitled to only include the
amount and type of such Investment (or any portion thereof) in one or more (as relevant) of the
above clauses (or any portion thereof) and such Investment (or any portion thereof) shall be treated
as having been made or existing pursuant to only such clause or clauses (or any portion thereof);
provided, that (1) all Investments described in Schedule 6.04 shall be deemed outstanding under
Section 6.04(b) or Section 6.04(h), as applicable and (2) notwithstanding the foregoing,
Investments (other than Investments in the ordinary course of business) in Unrestricted
Subsidiaries (including Investments arising as a result of the designation of a Subsidiary as an
Unrestricted Subsidiary) may only be made pursuant to Section 6.04(j); provided, further, that
upon re-designation of an Unrestricted Subsidiary as a Subsidiary, any Investment therein may be
permitted pursuant to any category of permitted Investments (or any portion thereof) described in
Sections 6.04(a) through (aa).

                Any Investment in any person other than the Parent, a Borrower or a Subsidiary
Loan Party that is otherwise permitted by this Section 6.04 may be made through intermediate
Investments in Subsidiaries that are not Loan Parties and such intermediate Investments shall be
disregarded for purposes of determining the outstanding amount of Investments pursuant to any
clause set forth above. The amount of any Investment made other than in the form of cash or cash
equivalents shall be the Fair Market Value thereof valued at the time of the making thereof, and
without giving effect to any subsequent write-downs or write-offs thereof.

               Notwithstanding anything to the contrary set forth in this Section 6.04, no material
Investment may be made pursuant to Section 6.04(b) or (j) by a Loan Party to a Subsidiary or an
Unrestricted Subsidiary unless (i) all Equity Interests issued by such Subsidiary or Unrestricted
Subsidiary and held by Loan Parties constitute Collateral, (ii) a Borrower determines in good faith
that such pledge of Equity Interests issued by such Subsidiary or Unrestricted Subsidiary (1) could
reasonably be expected to result in the Parent or any of its Subsidiaries incurring any material Tax


                                                  55
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 666 of 835




or other cost (other than a de minimis cost) or any disruption in the operations or internal financing
activities of the Parent and its Subsidiaries, (2) is not permitted by, or could reasonably be expected
to cause any officers, directors or employees of the Parent or any of its Subsidiaries to become
subject to related liabilities under any, applicable Requirement of Law or (iii) all Equity Interests
issued by such Subsidiary or Unrestricted Subsidiary and held by Loan Parties would constitute
“Excluded Securities” pursuant to clause (c) of the definition thereof.

                Notwithstanding anything to the contrary set forth in this Section 6.04, no Loan
Party shall make any Investment in any Subsidiary (other than another Loan Party) or any
Unrestricted Subsidiary if the consideration paid by such Loan Party to such Subsidiary (other than
a Loan Party) or such Unrestricted Subsidiary in respect of such Investment constitutes Material
Intellectual Property; provided that nothing in this sentence shall prohibit any non-exclusive (other
than exclusive distribution or other similar within a specified jurisdiction) license or sublicense of
Material Intellectual Property to, or use of Material Intellectual Property by, any Subsidiary or
Unrestricted Subsidiary.

               Section 6.05 Mergers, Consolidations, Sales of Assets and Acquisitions. Merge
into, amalgamate with or consolidate with any other person, or permit any other person to merge
into, amalgamate with or consolidate with it, or Dispose of (in one transaction or in a series of
related transactions) all or any part of its assets (whether now owned or hereafter acquired), or
Dispose of any Equity Interests of any Subsidiary, or purchase, lease or otherwise acquire (in one
transaction or a series of related transactions) all or substantially all of the assets of any other
person or division or line of business of a person, except that this Section 6.05 shall not prohibit:

                (a)     (i) the purchase and Disposition of inventory in the ordinary course of
business by the Parent or any Subsidiary, (ii) the acquisition or lease (pursuant to an operating
lease) of any other asset in the ordinary course of business by the Parent or any Subsidiary or, with
respect to operating leases, otherwise for Fair Market Value on market terms (as determined in
good faith by a Borrower), (iii) the Disposition of surplus, obsolete, damaged or worn out
equipment or other property in the ordinary course of business by the Parent or any Subsidiary or
(iv) the Disposition of Permitted Investments in the ordinary course of business;

                (b)     if at the time thereof and immediately after giving effect thereto no Event
of Default shall have occurred and be continuing or would result therefrom, (i) the merger,
amalgamation or consolidation of any Subsidiary (other than any Borrower) with or into a
Borrower in a transaction in which such Borrower is the survivor, (ii) the merger, amalgamation
or consolidation of any Subsidiary (other than any Borrower) with or into any Subsidiary Loan
Party in a transaction in which the surviving or resulting entity is or becomes a Subsidiary Loan
Party organized in a Qualified Jurisdiction and, in the case of each of clauses (i) and (ii), no person
other than a Borrower or a Subsidiary Loan Party receives any consideration (unless otherwise
permitted by Section 6.04), (iii) the merger, amalgamation or consolidation of any Subsidiary that
is not a Subsidiary Loan Party with or into any other Subsidiary that is not a Subsidiary Loan Party,
(iv) the liquidation or dissolution or change in form of entity of any Subsidiary (other than any
Borrower) if (x) a Borrower determines in good faith that such liquidation, dissolution or change
in form is in the best interests of the Parent and is not materially disadvantageous to the Lenders




                                                   56
             Case 20-12522-JTD             Doc 2917        Filed 06/18/21        Page 667 of 835




and (y) same meets the requirements contained in the proviso to Section [__],31 (v) any Subsidiary
(other than any Borrower) may merge, amalgamate or consolidate with any other person in order
to effect an Investment permitted pursuant to Section 6.04 so long as the continuing or surviving
person shall be a Subsidiary (unless otherwise permitted by Section 6.04), which shall be a Loan
Party if the merging, amalgamating or consolidating Subsidiary was a Loan Party (and organized
in a Qualified Jurisdiction if the merging, consolidating or amalgamating subsidiary was a Loan
Party organized in a Qualified Jurisdiction) and which together with each of its Subsidiaries shall
have complied with any applicable requirements of Section [__]32 or (vi) any Subsidiary (other
than any Borrower) may merge, amalgamate or consolidate with any other person in order to effect
an Asset Sale otherwise permitted pursuant to this Section 6.05;

               (c)     Dispositions to the Parent or a Subsidiary; provided, that any Dispositions
by a Loan Party to a Subsidiary that is not a Subsidiary Loan Party in reliance on this clause
(c) shall be made in compliance with Section 6.04;

                 (d)      Sale and Lease-Back Transactions permitted by Section 6.03;

             (e)     Investments permitted by Section 6.04, Permitted Liens, and Restricted
Payments permitted by Section 6.06;

               (f)     the discount or sale, in each case without recourse and in the ordinary course
of business, of past due receivables arising in the ordinary course of business, but only in
connection with the compromise or collection thereof consistent with customary industry practice
(and not as part of any bulk sale or financing of receivables);

                (g)     other Dispositions of assets to persons other than the Parent and its
Subsidiaries; provided, that (i) the Net Proceeds thereof, if any, are applied in accordance with
Section [__]33 to the extent required thereby and (ii) any such Dispositions shall comply with the
final sentence of this Section 6.05;

                (h)    Permitted Business Acquisitions (including any merger, consolidation or
amalgamation in order to effect a Permitted Business Acquisition); provided, that following any
such merger, consolidation or amalgamation involving a Borrower, such Borrower is the surviving
entity or the requirements of Section 6.05(n) are otherwise complied with;

               (i)     leases, licenses or subleases or sublicenses of any real or personal property
in the ordinary course of business;

               (j)     Dispositions of inventory in the ordinary course of business or Dispositions
or abandonment of Intellectual Property of the Parent and its Subsidiaries determined in good faith
by the management of a Borrower to be no longer economically practicable to maintain or useful
or necessary in the operation of the business of the Parent or any of the Subsidiaries;


31
   Section reference to be to covenant regarding maintenance of subsidiary existence.
32
   Section reference to be to further assurances covenant.
33
   Section reference to be to asset sale mandatory prepayment.


                                                          57
                Case 20-12522-JTD              Doc 2917   Filed 06/18/21   Page 668 of 835




             (k)    acquisitions and purchases made with the proceeds of any Asset Sale or
Recovery Event pursuant to clause (a) or (b) of the definition of “Net Proceeds”;

              (l)    the purchase and Disposition (including by capital contribution) of
Permitted Receivables Facility Assets including pursuant to Qualified Receivables Facilities;

                (m)    any exchange or swap of assets (other than cash and Permitted Investments)
for services and/or other assets (other than cash and Permitted Investments) of comparable or
greater value or usefulness to the business of the Parent and the Subsidiaries as a whole, determined
in good faith by the management of a Borrower; and

                (n)      other transactions effected (including mergers, consolidations or
acquisitions of “shell” entities) for the sole purpose of reincorporating or reorganizing the Parent
or any Subsidiary (other than any Borrower) under the laws of the United States of America or any
State thereof or the District of Columbia, Switzerland, the United Kingdom or any jurisdiction that
is a member state of the European Union as of the Closing Date; provided that (i) a Borrower shall
have provided the Administrative Agent with reasonable advance notice of any transactions as
described above in this clause (n), (ii) subject to the Agreed Guarantee and Security Principles, the
Lux Borrower shall ensure that, if the respective entity subject to any action described above was
a Guarantor, the applicable reincorporated or reorganized entity shall be a Guarantor and shall
grant a security interest in substantially all of those of its assets that constituted part of the
Collateral immediately prior to such reincorporation or reorganization and (iii) the Administrative
Agent shall have concluded (acting reasonably) that, after giving effect to any replacement
guarantees and security to be provided pursuant to preceding clause (ii), such transactions are not
adverse to the Lenders in any material respect (it being understood and agreed that such a
reincorporation or reorganization into a jurisdiction as has been agreed by the Parent and the
Administrative Agent prior to Closing Date shall be permitted if the requirements of preceding
clauses (i) and (ii) are satisfied).34

                 Notwithstanding anything to the contrary contained above, this Section 6.05 shall
not restrict, at any time, the sale of Unrestricted Margin Stock so long as any such sale meets the
requirements of the last paragraph of this Section 6.05.

                Notwithstanding anything to the contrary contained in Section 6.05 above, no
Disposition of assets under Section 6.05(g) or, solely with respect to Sale and Lease-Back
Transactions referred to in clause (b) of Section 6.03, under Section 6.05(d), or pursuant to the
immediately preceding sentence, shall in each case be permitted unless (i) such Disposition is for
Fair Market Value, and (ii) at least 75% of the proceeds of such Disposition (except to Loan
Parties) consist of cash or Permitted Investments; provided, that the provisions of this clause (ii)
shall not apply to any individual transaction or series of related transactions involving assets with
a Fair Market Value of less than $10,000,000 or to other transactions involving assets with a Fair
Market Value of not more than $35,000,000 in the aggregate for all such transactions during the
term of this Agreement; provided, further, that for purposes of this clause (ii), each of the following
shall be deemed to be cash: (a) the amount of any liabilities (as shown on the Parent’s or such
Subsidiary’s most recent balance sheet or in the notes thereto) that are assumed by the transferee

34
     To include at least each Qualified Jurisdiction.


                                                          58
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 669 of 835




of any such assets pursuant to a customary novation agreement or are otherwise cancelled in
connection with such transaction, (b) any notes or other obligations or other securities or assets
received by the Parent or such Subsidiary from the transferee that are converted by the Parent or
such Subsidiary into cash within 180 days after receipt thereof (to the extent of the cash received)
and (c) any Designated Non-Cash Consideration received by the Parent or any of its Subsidiaries
in such Disposition or any series of related Dispositions, having an aggregate Fair Market Value
not to exceed the greater of $120,000,000 and [__]% of Consolidated Total Assets when received
(with the Fair Market Value of each item of Designated Non-Cash Consideration being measured
at the time received and without giving effect to subsequent changes in value).

               Notwithstanding anything to the contrary contained in Section 6.05 above, this
Section 6.05 or, with respect to Sale and Lease-Back Transactions referred to in clause (b) of
Section 6.03, under Section 6.05(d), shall not permit any Loan Party to make any Disposition of
Material Intellectual Property to any Subsidiary (other than another Loan Party) or any
Unrestricted Subsidiary; provided that nothing in this sentence shall prohibit any non-exclusive
(other than exclusive distribution or other similar within a specified jurisdiction) license or
sublicense of Material Intellectual Property to, or use of Material Intellectual Property by, any
Subsidiary or Unrestricted Subsidiary.

                Section 6.06 Dividends and Distributions. (I) Declare or pay any dividend or
make any other distribution (by reduction of capital or otherwise), whether in cash, property,
securities or a combination thereof, with respect to any of its Equity Interests (including any
repayment by a Subsidiary that is not a Loan Party of any Indebtedness of a direct or indirect parent
company that is a Loan Party) other than dividends and distributions on Equity Interests payable
solely by the issuance of additional Equity Interests (other than Disqualified Stock) of the person
paying such dividends or distributions) or directly or indirectly redeem, purchase, retire or
otherwise acquire for value (or permit any Subsidiary to purchase or acquire) any of the Parent’s
Equity Interests or set aside any amount for any such purpose (other than through the issuance of
additional Equity Interests (other than Disqualified Stock) of the person redeeming, purchasing,
retiring or acquiring such shares), (II) make any voluntary principal prepayment on, or voluntarily
redeem, repurchase, defease or otherwise acquire or retire for value (including through a tender
offer, open market purchase or debt-for-debt exchange), in each case prior to any scheduled
repayment or scheduled maturity, any Subordinated Indebtedness, Indebtedness for borrowed
money (or Indebtedness evidenced by bonds, debentures, notes or similar instruments) secured by
Junior Liens or unsecured Indebtedness for borrowed money (or Indebtedness evidenced by bonds,
debentures, notes or similar instruments), and any guarantees of any of the foregoing, of the Parent
or any Loan Party (other than the prepayment, redemption, repurchase, defeasance, acquisition or
retirement (including through a tender offer, open market purchase or debt-for-debt exchange) of
(A) Subordinated Indebtedness, Indebtedness secured by Junior Liens or unsecured Indebtedness,
in each case in anticipation of satisfying a sinking fund obligation, principal installment or final
maturity, in each case due within one year after the date of such payment, redemption, repurchase,
defeasance, acquisition or retirement and (B) Indebtedness owed to the Parent or any Subsidiary
thereof) (such prepayments, redemptions, repurchases, defeasance, acquisitions or retirements
described in this clause (II), “Restricted Debt Payments”) or (III) make any voluntary prepayment
on, or voluntarily repurchase, defease or otherwise acquire or retire for value (including through a
purchase for cash or exchange for debt) any payment obligations with respect to the Opioid
Settlement or the DOJ Settlement, in each case prior to any scheduled payment (other than any

                                                  59
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 670 of 835




prepayment, repurchase, defeasance, acquisition or retirement for an installment due within six
months after the date of such prepayment, repurchase, defeasance, acquisition or retirement) (such
prepayments, repurchases, defeasances, acquisitions or retirements described in this clause (III),
“Restricted Settlement Payments”; and, collectively, all of the foregoing in clauses (I), (II) and
(III), “Restricted Payments”); provided, however, that:

                (a)     Restricted Payments may be made to the Parent or any Subsidiary (provided
that Restricted Payments made by a non-Wholly Owned Subsidiary to the Parent or any Subsidiary
that is a direct or indirect parent of such Subsidiary must be made on a pro rata basis (or more
favorable basis from the perspective of the Parent or such Subsidiary) based on its ownership
interests in such non-Wholly Owned Subsidiary);

                (b)      Restricted Payments may be made by the Parent to purchase or redeem the
Equity Interests of the Parent (including related stock appreciation rights or similar securities) held
by then present or former directors, consultants, officers or employees of the Parent or any of the
Subsidiaries or by any Plan or any shareholders’ agreement then in effect upon such person’s
death, disability, retirement or termination of employment or under the terms of any such Plan or
any other agreement under which such shares of stock or related rights were issued; provided, that
the aggregate amount of such purchases or redemptions under this clause (b) shall not exceed in
any fiscal year $15,000,000 (plus (x) the amount of net proceeds contributed to the Parent that
were received by the Parent during such calendar year from sales of Equity Interests of the Parent
to directors, consultants, officers or employees of the Parent or any Subsidiary in connection with
permitted employee compensation and incentive arrangements; provided, that such proceeds are
not included in any determination of the Available Amount and (y) the amount of net proceeds of
any key-man life insurance policies received during such calendar year, which, if not used in any
year, may be carried forward to any subsequent calendar year); and provided, further, that
cancellation of Indebtedness owing to the Parent or any Subsidiary from members of management
of the Parent or its Subsidiaries in connection with a repurchase of Equity Interests of the Parent
will not be deemed to constitute a Restricted Payment for purposes of this Section 6.06;

               (c)     any person may make non-cash repurchases of Equity Interests deemed to
occur upon exercise or settlement of stock options or other Equity Interests if such Equity Interests
represent a portion of the exercise price of or withholding obligation with respect to such options
or other Equity Interests;

                 (d)     so long as, at the time any such Restricted Payment is made and
immediately after giving effect thereto, (x) no Default or Event of Default shall have occurred and
is continuing and (y) the Total Net Leverage Ratio on a Pro Forma Basis is not greater than 3.25
to 1.00, and taking into account any outstanding Investments made pursuant to Section 6.04(j)(Y)
utilizing the Available Amount, Restricted Payments may be made in an aggregate amount equal
to a portion of the Available Amount on the date of such election that the Parent elects to apply to
this Section 6.06(d), which such election shall (unless such Restricted Payment is made pursuant
to clause (a) of the definition of Available Amount) be set forth in a written notice of a Responsible
Officer of a Borrower, which notice shall set forth calculations in reasonable detail the amount of
Available Amount immediately prior to such election and the amount thereof elected to be so
applied;



                                                   60
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 671 of 835




               (e)    Restricted Payments may be made in connection with the consummation of
the Transactions, including the payment of the appraised value of any Dissenting Shares (as
defined in the Merger Agreement) in accordance with the Merger Agreement;

               (f)      Restricted Payments may be made to make payments, in cash, in lieu of the
issuance of fractional shares, upon the exercise of warrants or upon the conversion or exchange of
Equity Interests of any such person;

                (g)    other Restricted Payments may be made in an aggregate amount from and
after the Closing Date not to exceed the greater of $150,000,000 and [__]% of Consolidated Total
Assets when made;

               (h)     additional Restricted Payments may be made, so long as, at the time any
such Restricted Payment is made and immediately after giving effect thereto, (x) no Default or
Event of Default shall have occurred and is continuing and (y) the Total Net Leverage Ratio on a
Pro Forma Basis is not greater than 2.75 to 1.00;

               (i)    Restricted Payments may be made with any portion of the Cumulative
Parent Qualified Equity Proceeds Amount;;

                 (j)    Restricted Debt Payments may be made with the net proceeds of, or with,
Indebtedness of Loan Parties permitted to be incurred pursuant to Section 6.01 (“Restricted Debt
Payment Indebtedness”) that (i) constitutes Subordinated Indebtedness, (ii) is secured by Junior
Liens or (iii) is unsecured, in each case so long (1) the final maturity date of such Restricted Debt
Payment Indebtedness is on or after the earlier of (x) the final maturity date of the Indebtedness
subject to such Restricted Debt Payment (“Repaid Indebtedness”) and (y) the Latest Maturity Date
in effect at the time of incurrence thereof, and (2) the Weighted Average Life to Maturity of such
Restricted Debt Payment Indebtedness is greater than or equal to the lesser of (x) the Weighted
Average Life to Maturity of the Repaid Indebtedness and (y) the Weighted Average Life to
Maturity of the Class of Term Loans then outstanding with the greatest remaining Weighted
Average Life to Maturity; and

                (k)      Restricted Settlement Payments may be made with the net proceeds of, or
with, Indebtedness of Loan Parties permitted to be incurred pursuant to Section 6.01 (“Restricted
Settlement Payment Indebtedness”) that (i) constitutes Subordinated Indebtedness, (ii) is secured
by Junior Liens or (iii) is unsecured, in each case so long as the Weighted Average Life to Maturity
of such Restricted Settlement Payment Indebtedness is greater than or equal to the lesser of (x) the
Weighted Average Life to Maturity of the Opioid Settlement or the DOJ Settlement, as applicable,
and (y) the Weighted Average Life to Maturity of the Class of Term Loans then outstanding with
the greatest remaining Weighted Average Life to Maturity.

               Notwithstanding anything herein to the contrary, the foregoing provisions of
Section 6.06 will not prohibit the payment of any Restricted Payment or the consummation of any
redemption, purchase, defeasance or other payment within 60 days after the date of declaration
thereof or the giving of notice, as applicable, if at the date of declaration or the giving of such
notice such payment would have complied with the provisions of this Agreement.



                                                  61
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 672 of 835




                Notwithstanding anything to the contrary set forth in this Section 6.06, no Loan
Party shall make any Restricted Payment to any Subsidiary (other than another Loan Party) or any
Unrestricted Subsidiary in the form of Material Intellectual Property; provided that nothing in this
sentence shall prohibit any non-exclusive (other than exclusive distribution or other similar within
a specified jurisdiction) license or sublicense of Material Intellectual Property to, or use of Material
Intellectual Property by, any Subsidiary or Unrestricted Subsidiary.

                Section 6.07 Transactions with Affiliates. i) Sell or transfer any property or
assets to, or purchase or acquire any property or assets from, or otherwise engage in any other
transaction with, any of its Affiliates (other than the Parent, and the Subsidiaries or any person that
becomes a Subsidiary as a result of such transaction) in a transaction (or series of related
transactions) involving aggregate consideration in excess of $20,000,000 unless such transaction
is (i) otherwise permitted (or required) under this Agreement or (ii) upon terms that are
substantially no less favorable to the Parent or such Subsidiary, as applicable, than would be
obtained in a comparable arm’s-length transaction with a person that is not an Affiliate, as
determined by the Board of Directors of the Parent or such Subsidiary in good faith.

              (a)     The foregoing clause (a) shall not prohibit, to the extent otherwise permitted
under this Agreement,

                       (i)    any issuance of securities, or other payments, awards or grants in
       cash, securities or otherwise pursuant to, or the funding of, employment arrangements,
       equity purchase agreements, stock options and stock ownership plans approved by the
       Board of Directors of the Parent,

                      (ii)     loans or advances to employees or consultants of the Parent or any
       of the Subsidiaries in accordance with Section 6.04(e),

                     (iii) transactions among the Parent or any Subsidiary or any entity that
       becomes a Subsidiary as a result of such transaction (including via merger, consolidation
       or amalgamation in which the Parent or a Subsidiary is the surviving entity),

                       (iv)     the payment of fees, reasonable out-of-pocket costs and indemnities
       to directors, officers, consultants and employees of the Parent and the Subsidiaries in the
       ordinary course of business,

                      (v)     the Transactions (including the payment of all fees, expenses,
       bonuses and awards relating thereto) and any transactions pursuant to the Transaction
       Documents and permitted transactions, agreements and arrangements in existence on the
       Closing Date and, to the extent involving aggregate consideration in excess of $5,000,000,
       set forth on Schedule 6.07 or any amendment thereto or replacement thereof or similar
       arrangement to the extent such amendment, replacement or arrangement is not adverse to
       the Lenders when taken as a whole in any material respect (as determined by the Parent in
       good faith),

                      (vi)    (A) any employment agreements entered into by the Parent or any
       of the Subsidiaries in the ordinary course of business, (B) any subscription agreement or
       similar agreement pertaining to the repurchase of Equity Interests pursuant to put/call rights

                                                   62
   Case 20-12522-JTD          Doc 2917      Filed 06/18/21      Page 673 of 835




or similar rights with employees, officers or directors, and (C) any employee
compensation, benefit plan or arrangement, any health, disability or similar insurance plan
which covers employees, and any reasonable employment contract and transactions
pursuant thereto,

              (vii) Restricted Payments permitted under Section 6.06 and Investments
permitted under Section 6.04,

               (viii) transactions for the purchase or sale of goods, equipment, products,
parts and services entered into in the ordinary course of business,

                (ix)     any transaction in respect of which the Parent delivers to the
Administrative Agent a letter addressed to the Board of Directors of the Parent from an
accounting, appraisal or investment banking firm, in each case of nationally recognized
standing that is in the good faith determination of the Parent qualified to render such letter,
which letter states that (i) such transaction is on terms that are substantially no less
favorable to the Parent or such Subsidiary, as applicable, than would be obtained in a
comparable arm’s-length transaction with a person that is not an Affiliate or (ii) such
transaction is fair to the Parent or such Subsidiary, as applicable, from a financial point of
view,

              (x)     transactions with joint ventures for the purchase or sale of goods,
equipment, products, parts and services entered into in the ordinary course of business,

               (xi)    transactions pursuant to any Qualified Receivables Facility,

                (xii) transactions between the Parent or any of the Subsidiaries and any
person, a director of which is also a director of the Parent; provided, however, that (A) such
director abstains from voting as a director of the Parent on any matter involving such other
person and (B) such person is not an Affiliate of the Parent for any reason other than such
director’s acting in such capacity,

               (xiii) transactions permitted by, and complying with, the provisions of
Section 6.05 (other than Section 6.05(m)),

                (xiv) intercompany transactions undertaken in good faith (as certified by
a Responsible Officer of the Parent) for the purpose of improving the consolidated tax
efficiency of the Parent and the Subsidiaries and not for the purpose of circumventing any
covenant set forth herein,

               (xv) payments, loans (or cancellation of loans) or advances to employees
or consultants that are (i) approved by a majority of the Disinterested Directors of the
Parent in good faith, (ii) made in compliance with applicable law and (iii) otherwise
permitted under this Agreement, and

               (xvi) transactions with customers, clients or suppliers, or purchasers or
sellers of goods or services, in each case in the ordinary course of business or otherwise in
compliance with the terms of this Agreement that are fair to the Parent or the Subsidiaries.

                                           63
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 674 of 835




                Section 6.08 Business of the Parent and the Subsidiaries. Notwithstanding any
other provisions hereof, engage at any time to any material respect in any business or business
activity substantially different from any business or business activity conducted by any of them on
the Closing Date or any Similar Business, and in the case of a Receivables Entity, Qualified
Receivables Facilities and related activities.

                  Section 6.09 Restrictions on Subsidiary Distributions and Negative Pledge
Clauses. Permit any Material Subsidiary to enter into any agreement or instrument that by its terms
restricts (i) the payment of dividends or other distributions or the making of cash advances to the
Parent or any Material Subsidiary that is a direct or indirect parent of such Subsidiary or (ii) the
granting of Liens by the Parent or such Material Subsidiary that is a Loan Party pursuant to the
Security Documents, in each case other than those arising under any Loan Document, except, in
each case, restrictions existing by reason of:

               (a)     restrictions imposed by applicable law;

               (b)    contractual encumbrances or restrictions in effect on the Closing Date under
Indebtedness existing on the Closing Date and set forth on Schedule 6.01 or contained in any
Indebtedness outstanding pursuant to Section 6.01(z), or any agreements related to any Permitted
Refinancing Indebtedness in respect of any such Indebtedness that does not materially expand the
scope of any such encumbrance or restriction (as determined in good faith by a Borrower);

                (c)      any restriction on a Subsidiary imposed pursuant to an agreement entered
into for the sale or disposition of the Equity Interests or assets of a Subsidiary pending the closing
of such sale or disposition;

              (d)    customary provisions in joint venture agreements and other similar
agreements applicable to joint ventures entered into in the ordinary course of business;

               (e)    any restrictions imposed by any agreement relating to secured Indebtedness
permitted by this Agreement to the extent that such restrictions apply only to the property or assets
securing such Indebtedness;

                (f)    any restrictions imposed by any agreement relating to Indebtedness incurred
pursuant to Section 6.01 or Permitted Refinancing Indebtedness in respect thereof, to the extent
such restrictions are not materially more restrictive, taken as a whole, than the restrictions
contained in this Agreement or are market terms at the time of issuance (in each case as determined
in good faith by a Borrower);

               (g)     customary provisions contained in leases or licenses of Intellectual Property
and other similar agreements entered into in the ordinary course of business;

               (h)    customary provisions restricting subletting or assignment of any lease
governing a leasehold interest;

               (i)     customary provisions restricting assignment of any agreement entered into
in the ordinary course of business;



                                                  64
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21      Page 675 of 835




                 (j)     customary restrictions and conditions contained in any agreement relating
to the sale, transfer, lease or other disposition of any asset permitted under Section 6.05 pending
the consummation of such sale, transfer, lease or other disposition;

                (k)    customary restrictions and conditions contained in the document relating to
any Lien, so long as (1) such Lien is a Permitted Lien and such restrictions or conditions relate
only to the specific asset subject to such Lien, and (2) such restrictions and conditions are not
created for the purpose of avoiding the restrictions imposed by this Section 6.09;

               (l)    customary net worth provisions contained in Real Property leases entered
into by Subsidiaries, so long as a Borrower has determined in good faith that such net worth
provisions would not reasonably be expected to impair the ability of the Parent and its Subsidiaries
to meet their ongoing obligations;

              (m)    any agreement in effect at the time such subsidiary becomes a Subsidiary,
so long as such agreement was not entered into in contemplation of such person becoming a
Subsidiary;

               (n)    restrictions in agreements representing Indebtedness permitted under
Section 6.01 of a Subsidiary that is not a Subsidiary Loan Party (so long as such restrictions only
relate to non-Loan Parties);

                (o)      customary restrictions contained in leases, subleases, licenses or Equity
Interests or asset sale agreements otherwise permitted hereby as long as such restrictions relate to
the Equity Interests and assets subject thereto;

                (p)     restrictions on cash or other deposits imposed by customers under contracts
entered into in the ordinary course of business;

               (q)    restrictions contained in any Permitted Receivables Facility Documents
with respect to any Receivables Entity;

               (r)     restrictions contained in the Opioid Settlement or the DOJ Settlement; and

               (s)    any encumbrances or restrictions of the type referred to in clause (i) or
(ii) above imposed by any amendments, modifications, restatements, renewals, increases,
supplements, refundings, replacements or refinancings of or similar arrangements to the contracts,
instruments or obligations referred to in clauses (a) through (r) above; provided that such
amendments, modifications, restatements, renewals, increases, supplements, refundings,
replacements, refinancings or similar arrangements are, in the good faith judgment of the Parent,
no more restrictive with respect to such dividend and other payment restrictions than those
contained in the dividend or other payment restrictions as contemplated by such provisions prior
to such amendment, modification, restatement, renewal, increase, supplement, refunding,
replacement, refinancing or similar arrangement.

               Section 6.10 Fiscal Year. In the case of the Parent, permit any change to its fiscal
year; provided that the Parent and its Subsidiaries may change their fiscal quarter and/or fiscal year
end one or more times, subject to such adjustments to this Agreement as a Borrower and

                                                  65
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 676 of 835




Administrative Agent shall reasonably agree are necessary or appropriate in connection with such
change (and the parties hereto hereby authorize either Borrower and the Administrative Agent to
make any such amendments to this Agreement as they jointly deem necessary to give effect to the
foregoing).

                 Section 6.11 Amendment to DOJ and Opioid Settlements[(i) Modify, amend or
waive any term of either of the DOJ Settlement or the Opioid Settlement that results in (i) total
cash payments by the Loan Parties in respect of the DOJ Settlement and the Opioid Settlement to
exceed an aggregate amount of $1,860,000,000 (excluding professional fees and expenses payable
in connection with the Opioid Settlement and the DOJ Settlement and interest payable in
connection with the DOJ Settlement), (ii) the acceleration of the timing of any payment due under
either the DOJ Settlement or the Opioid Settlement (except, (A) with respect to the Opioid
Settlement, for any changes to the timing of exercise of the option to prepay the amounts owing to
the Opioid Trust (as defined in the Opioid Settlement), and (B) the Additional Insurance Rights
(as defined in the RSA)), (ii) make any Restricted Settlement Payment in respect of (i) a portion
less than all of the remaining payments in respect of the Opioid Settlement or (ii) a portion less
than all of the remaining payments in respect of the DOJ Settlement, in each case other than with
any portion of the Cumulative Parent Qualified Equity Proceeds Amount or (iii) cause any
Subsidiary (other than the Loan Parties) to guarantee the obligations in respect of the Opioid
Settlement or the DOJ Settlement.

                Section 6.12 Limitation on Transfers to Mallinckrodt Holdings GmbH. (i)
Dispose of any material property or assets (including through the making of any material
Investment) to Mallinckrodt Holdings GmbH or any of its Subsidiaries, other than pursuant to the
intercompany receivable owned by Mallinckrodt Holdings GmbH and existing on March 9, 2021
(the “Swiss Intercompany Receivable”), (ii) permit Mallinckrodt Holdings GmbH and its
Subsidiaries, when taken collectively as if constituting a single Subsidiary (but excluding the Swiss
Intercompany Receivable), to constitute a Material Subsidiary or (iii) permit Mallinckrodt
Holdings GmbH or its Subsidiaries to incur any material Indebtedness owed to unaffiliated third
parties, or guarantee any material Indebtedness owed to any unaffiliated third-parties, in each of
clauses (i) through (iii), unless Mallinckrodt Holdings GmbH shall become a Loan Party.




                                                  66
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 677 of 835




                         Exhibit B

                          Redline
            Case 20-12522-JTD             Doc 2917     Filed 06/18/21   Page 678 of 835

                                                                                Execution Version


THIS TERM SHEET IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES OR
A SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE
MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER
OR SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING CONTAINED IN
THIS TERM SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY OR,
UNTIL THE OCCURRENCE OF THE AGREEMENT EFFECTIVE DATE ON THE
TERMS DESCRIBED HEREIN AND IN THE RESTRUCTURING SUPPORT
AGREEMENT, DEEMED BINDING ON ANY OF THE PARTIES HERETO.

                  Amended & Restated Mallinckrodt Restructuring Term Sheet

        This Term Sheet, which is Exhibit A to the Restructuring Support Agreement dated
October 11, 2020, by and among the Company and the Supporting Parties party thereto,
describes the proposed terms of the Company’s Restructuring. The Debtors will implement the
Restructuring through the Plan, which shall be consistent with the terms of this Term Sheet, the
RSA and the exhibits and schedules annexed hereto and thereto, including the Opioid Settlement
Term Sheet, which is Schedule 1 hereto, and the First Lien Settlement Term Sheet, which is
Schedule 3 hereto (as each may be amended or supplemented from time to time in accordance
withtherewith and/or the terms of the RSA), in the Chapter 11 Cases to be commenced by the
Debtors in the Bankruptcy Court on October 12, 2020, the Scheme of Arrangement based on
the Plan to be commenced in the Irish Examinership Proceedings, and the Recognition
Proceedings (as defined herein) in which the Canadian Court (as defined herein) shall recognize
in Canada the Chapter 11 Cases. This Term Sheet incorporates the rules of construction set forth
in section 102 of the Bankruptcy Code. Capitalized terms used but not otherwise defined herein
have the meanings ascribed to them in the RSA or, the Opioid Settlement Term Sheet, or the
First Lien Settlement Term Sheet, as applicable.

        This Term Sheet does not include a description of all of the terms, conditions, and other
provisions that are to be contained in the Plan and the other Definitive Documents, or the
Scheme of Arrangement and the Irish Examinership Proceedings, which remain subject to
negotiation in accordance with the RSA. Consummation of the transactions contemplated by
this Term Sheet is subject to (a) the negotiation and execution of the Definitive Documents
evidencing and related to the Restructuring contemplated herein, (b) satisfaction or waiver of all
of the conditions in any Definitive Document evidencing the transactions comprising the
Restructuring, (c) entry of the Confirmation Order and the satisfaction or waiver of any
conditions to the effectiveness thereof, (d) approval of the Scheme of Arrangement by the High
Court of Ireland and the satisfaction or waiver of any conditions to the effectiveness thereof, and
(d) entry of an order recognizing the Confirmation Order in the Recognition Proceedings. The
Definitive Documents shall satisfy the requirements of all applicable securities laws, the
Bankruptcy Code, this Term Sheet, the Opioid Settlement Term Sheet, the First Lien
Settlement Term Sheet, the Scheme of Arrangement, the Companies Act 2014 of Ireland
governing the Irish Examinership Proceedings, and the Canadian Companies Arrangement Act
governing the Recognition Proceedings. The Definitive Documents will contain terms and
conditions that are dependent on each other, including those described in this Term Sheet and,
the Opioid Settlement Term Sheet, and the First Lien Settlement Term Sheet.



US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917         Filed 06/18/21   Page 679 of 835




                                                       2
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917       Filed 06/18/21   Page 680 of 835




       TREATMENT OF CLAIMS AND EQUITY INTERESTS UNDER THE PLAN
      Type of Claim                                    Treatment                     Impairment /
                                                                                       Voting
 Administrative, Tax,           All such claims shall be paid in full in cash on   Unimpaired
 Other Priority and             the Plan Effective Date, or in the ordinary
 Other Secured Claims           course of business as and when due, or
                                otherwise receive treatment consistent with the
                                provisions of section 1129(a) of the
                                Bankruptcy Code, in each case, as determined
                                by the Debtors with the reasonable consent of
                                the    Required      Supporting      Unsecured
                                Noteholders, and the Governmental Plaintiff
                                Ad Hoc Committee, and the MSGE Group
                                and following consultation with the
                                Supporting Term Lenders.
                                Administrative expense claims shall be paid on
                                the Plan Effective Date and shall include
                                Restructuring Expenses (as defined below).

 First Lien Credit              All     allowed      First    Lien     Credit      Unimpaired; not
 AgreementRevolving             AgreementRevolving Loan Claims shall be            entitled to vote
 Loan Claims                    Reinstated     at    existing    rates   and
                                maturitiesreceive the treatment provided in
                                the First Lien Settlement Term Sheet.

 First Lien Term Loan           All allowed First Lien Term Loan Claims            Unimpaired; not
 Claims                         shall receive the treatment provided in the        entitled to vote;
                                First Lien Settlement Term Sheet.                  Impaired;
                                                                                   entitled to vote
 First Lien Notes               All allowed First Lien Notes Claims shall be       Unimpaired; not
 Claims                         Reinstated at existing rates and maturities.       entitled to vote

 Second Lien Notes              All allowed Second Lien Notes Claims shall be      Unimpaired; not
 Claims                         Reinstated at existing rates and maturities.       entitled to vote

 Guaranteed                     Holders of allowed Guaranteed Unsecured            Impaired; entitled
 Unsecured Notes                Notes Claims shall receive their pro rata share    to vote
 Claims                         of:
                                   i.    $375 million of new secured takeback
                                         second lien notes due 7 years after
                                         emergence (the “Takeback Second
                                         Lien Notes”), which shall contain
                                         economic terms consistent with those
                                         set forth in Annex 2 hereto; and


US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917         Filed 06/18/21   Page 681 of 835




                                   ii.   100% of New Mallinckrodt Common
                                         Shares, subject to dilution on account of
                                         the New Opioid Warrants and the MIP
                                         (each as defined below).

 4.75% Unsecured                No property will be distributed to the Holders       Impaired; deemed
 Notes Claims                   of allowed 4.75% Unsecured Notes Claims.             to reject; not
                                                                                     entitled to vote
 Legacy Debentures              No property will be distributed to the Holders       Impaired; deemed
 Claims                         of allowed Legacy Debentures Claims.                 to reject; not
                                                                                     entitled to vote
 General Unsecured     Holders of allowed General Unsecured Claims                   Impaired; entitled
 Claims (Not Otherwise shall receive their pro rata share, at the                    to vote
 Classified)           applicable Debtor, of up to $100 million to be
                       allocated among the Debtors (the “General
                       Unsecured Recovery Cash Pool”).

 Trade Claims                   As consideration for maintaining trade terms         Impaired; entitled
                                consistent with those practices and programs         to vote
                                most favorable to the Debtors in place during
                                the 12 months before the Petition Date or such
                                other favorable terms as the Debtors and the
                                Trade Claimants may mutually agree on,
                                holders of allowed Trade Claims shall receive
                                their pro rata share of up to $50 million;
                                provided that, any amounts not allocated to
                                allowed Trade Claims up to $50 million shall
                                be allocated to the General Unsecured
                                Recovery Cash Pool.

 Opioid Claims                  As of the Plan Effective Date, the Opioid Trust      Impaired; entitled
                                will be formed and shall receive the Opioid          to vote
                                Trust Consideration as set forth in the Opioid
                                Settlement Term Sheet.
                                All Opioid Claims shall automatically, and
                                without further act, deed, or court order, be
                                channeled exclusively to, and all of
                                Mallinckrodt’s liability for Opioid Claims shall
                                be assumed by, the Opioid Trust as more fully
                                set forth in the Opioid Settlement Term Sheet.
                                Each Opioid Claim shall be resolved in
                                accordance with the terms, provisions, and
                                procedures of the Opioid Trust Documents.


                                                       4
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917         Filed 06/18/21   Page 682 of 835




 Intercompany Claims            No property will be distributed to the Holders      Unimpaired;
                                of allowed Intercompany Claims. Unless              deemed to accept;
                                otherwise provided for under the Plan, each         or Impaired;
                                Intercompany Claim will either be Reinstated        deemed to reject;
                                or canceled and released at the option of the       not entitled to
                                Debtors in consultation with the Supporting         vote
                                Unsecured Noteholders and, Supporting
                                Term Lenders, the Governmental Plaintiff Ad
                                Hoc Committee, and the MSGE Group.

 Intercompany                   Intercompany Interests shall receive no             Unimpaired;
 Interests                      recovery or distribution and be Reinstated          deemed to accept;
                                solely to the extent necessary to maintain the      or Impaired;
                                Debtors’ corporate structure.                       deemed to reject;
                                                                                    not entitled to
                                                                                    vote
 Equity Interests               All existing Equity Interests shall be              Impaired; deemed
                                discharged,   cancelled, released,  and             to reject; not
                                extinguished.                                       entitled to vote

                           OTHER TERMS OF THE RESTRUCTURING
 Case Financing                 The Chapter 11 Cases will be financed by existing cash and use of
                                cash collateral on terms and conditions subject to the reasonable
                                consent of the Required Supporting Unsecured Noteholders and,
                                the Required Supporting Term Lenders, the Governmental
                                Plaintiff Ad Hoc Committee, and the MSGE Group and any cash
                                collateral order will provide that any periods in which creditors are
                                required to challenge any Debtor stipulations or claims against any
                                of the Debtors (including the claims of lenders/bondholders) shall
                                automatically be tolled with respect to the Supporting
                                Governmental Opioid Claimants while the RSA remains in effect
                                with respect to the Supporting Governmental Opioid Claimants.
                                Any such challenge periods applicable to a Supporting
                                Governmental Opioid Claimant would begin to run only after
                                termination of the RSA by or against such Supporting
                                Governmental Opioid Claimant.
 Executory Contracts            Except as otherwise provided in this Term Sheet or the RSA, the
 and Unexpired Leases           Debtors shall assume all executory contracts and unexpired leases
                                other than those executory contracts and unexpired leases to be
                                identified on a schedule of rejected executory contracts and
                                unexpired leases included in the Plan Supplement or otherwise
                                rejected pursuant to an order of the Bankruptcy Court, in each case
                                as determined by the Debtors with the reasonable consent of the
                                Required Supporting Unsecured Noteholders and, the
                                Governmental Plaintiff Ad Hoc Committee, and the MSGE Group
                                                       5
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917         Filed 06/18/21   Page 683 of 835




                                and following consultation with the Supporting Term Lenders.
                                For the avoidance of doubt, assumption of executory contracts and
                                unexpired leases shall be consistent with the RSA and this Term
                                Sheet, including as specified in “Employee Matters” and
                                “Indemnification of Prepetition Directors, Officers, Managers, et
                                al.”
 Opioid Trust                   Opioid Claims shall be channeled exclusively to, and all of
                                Mallinckrodt’s liability for Opioid Claims shall be assumed by, the
                                Opioid Trust. Each Opioid Claim shall be resolved in accordance
                                with the terms, provisions, and procedures of the Opioid Trust
                                Documents. The Opioid Trust shall be funded in accordance with
                                the provisions of the Plan and the Opioid Settlement Term Sheet.
                                The sole recourse of any Opioid Claimant on account of such
                                Opioid Claim shall be to the Opioid Trust, and each Opioid
                                Claimant shall have no right whatsoever at any time to assert its
                                Opioid Claim against any Released Party.
 CMS/DOJ/StateStates            The Plan will provide for the implementation of a settlement
 Settlement                     between Mallinckrodt, the United States, and the States resolving
                                Acthar-related litigations and government investigations disclosed
                                in the Company’s Form 10-K for 2019, including United States of
                                America, et al., ex rel., Charles Strunck, et al. v. Mallinckrodt ARD
                                LLC (E.D. Penn.); United States of America et al. ex rel. Landolt v.
                                Mallinckrodt ARD, LLC (D. Mass.); and Mallinckrodt ARD LLC
                                v. Verma et al. (D.D.C.), and related matters, the terms of which are
                                set forth on Schedule 2 hereto.
 Corporate                      The Reorganized Debtors’ board shall consist of at least 7 directors
 Governance                     including, the Debtors’ Chief Executive Officer. As of the Plan
                                Effective Date, the members of the initial Reorganized Debtors’
                                board shall be designated by the Required Supporting Unsecured
                                Noteholders; provided that, the members of the Reorganized
                                Debtors’ board, other than the Debtors’ Chief Executive Officer,
                                shall be independent under NYSE/NASDAQ listing standards and
                                shall be independent of the Supporting Unsecured Noteholders,
                                unless the Governmental Plaintiff Ad Hoc Committee, the MSGE
                                Group, and the Debtors otherwise consent. No parties shall be
                                afforded special rights under any charter, constitutions or bylaws or
                                similar governing foundational document of any Reorganized
                                Debtor; provided, that, the foregoing shall not be deemed to limit
                                certain information, registration or similar rights to be afforded to
                                (i) the Governmental Plaintiff Ad Hoc Committee and the MSGE
                                Group in other agreements with the Reorganized DebtorDebtors,
                                including, pursuant to the New Opioid Warrants, (ii) the
                                Supporting Term Lenders in connection with other agreements
                                with the Reorganized Debtors, including pursuant to the New
                                Term Loan Documentation, and (iii) any lenders, including the
                                                       6
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917         Filed 06/18/21   Page 684 of 835




                                Supporting Term Lenders, pursuant to any Exit Financing
                                Documents.
 Employee Matters               Substantially all employees of the Debtors to be retained by the
                                Reorganized Debtors. The Reorganized Debtors shall assume any
                                employment, confidentiality, and non-competition agreements,
                                bonus, gainshare and incentive programs (other than awards of
                                stock options, restricted stock, restricted stock units, and other
                                equity awards), vacation, holiday pay, severance, retirement,
                                supplemental retirement, executive retirement, pension, deferred
                                compensation, medical, dental, vision, life and disability insurance,
                                flexible spending account, and other health and welfare benefit
                                plans, programs and arrangements, and all other wage,
                                compensation, employee expense reimbursement, and other benefit
                                obligations of the Debtors.
 Indemnification of             The Plan shall provide that, consistent with applicable law, all
 Prepetition Directors,         indemnification provisions currently in place (whether in the by-
 Officers, Managers, et         laws, constitutions, certificates of incorporation or formation,
 al.                            limited liability company agreements, other organizational
                                documents, board resolutions, indemnification agreements,
                                employment contracts or otherwise) for the current and former
                                direct and indirect sponsors, directors, officers, managers,
                                employees, attorneys, accountants, investment bankers, financial
                                advisors, restructuring advisors, consultants and other professionals
                                of the Debtors, as applicable, shall be reinstated (to the extent
                                required) and remain intact and irrevocable and shall survive
                                effectiveness of the Restructuring.
 MIP                            On the Plan Effective Date, the Reorganized Debtors shall adopt the
                                management incentive plan (the “MIP”) which shall provide for the
                                issuance to management, key employees and directors of the
                                Reorganized Debtors of 10% of the fully diluted New Mallinckrodt
                                Common Shares (for the avoidance of doubt, after giving effect to
                                the exercise of the New Opioid Warrants) not later than thirty (30)
                                days after the Plan Effective Date at least half of the MIP shares
                                will be granted and shall vest in accordance with the terms set forth
                                in Annex 3 hereto, and the remaining amount of which shall be
                                reserved for future issuance as determined by the Reorganized
                                Debtors’ board; provided, that the MIP may be modified or
                                amended by the mutual agreement of the Debtors and the Required
                                Supporting Noteholders prior to the Plan Effective Date, with the
                                consent of the Governmental Plaintiff Ad Hoc Committee and the
                                MSGE Group (such consent not to be unreasonably withheld).
                                The final terms of the MIP (including any amendments or
                                modifications, if any) shall be included in the Plan Supplement.
 Exit Capital Raise             Exact terms, if any, to be agreed upon by the Debtors and
                                Supporting Unsecured Noteholders holding no less than two-thirds
                                                       7
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917         Filed 06/18/21   Page 685 of 835




                                in outstanding principal amount of Guaranteed Unsecured Notes
                                held by the Supporting Unsecured Noteholders then party to the
                                Restructuring Support Agreement, with the consent of (i) the
                                Governmental Plaintiff Ad Hoc Committee and the MSGE Group
                                to the extent (x) such exit capital is raised in the form of
                                indebtedness (such consent not to be unreasonably withheld) or
                                (y) that any such terms could reasonably be expected to have an
                                adverse effect, in any material respect, on the treatment, rights, or
                                entitlements of the holders of Opioid Claims under the RSA and
                                (ii) the Required Supporting Term Lenders to the extent
                                (x) such exit capital is raised in the form of indebtedness or
                                (y) that any such terms could reasonably be expected to have an
                                adverse effect on the treatment, rights, or entitlements of the
                                holders of First Lien Term Loan Claims under the RSA and the
                                First Lien Settlement Term Sheet; provided, that the
                                Supporting Term Lenders shall not have any consent rights
                                with respect to exit capital raised on or prior to the Plan
                                Effective Date in the form of indebtedness that is (I) junior to
                                the New First Lien Term Loans and matures after the maturity
                                date of the New First Lien Term Loans, (II) any indebtedness
                                incurred to fund payment of the First Lien Revolving Loan
                                Claims and/or the First Lien Notes Claims in an aggregate
                                principal amount not to exceed the principal amount (or
                                accreted value, if applicable) of such First Lien Revolving Loan
                                Claims and/or First Lien Notes Claims (plus unpaid accrued
                                interest and premium (including tender premiums) thereon and
                                underwriting discounts, defeasance costs, fees, commissions,
                                expenses, plus an amount equal to any existing commitment
                                unutilized thereunder and letters of credit undrawn
                                thereunder), (III) the Takeback Second Lien Notes (so long as
                                such Takeback Second Lien Notes are not first-lien
                                indebtedness), (IV) any receivables securitization facility in an
                                aggregate principal amount not to exceed $200 million or (V)
                                other Indebtedness incurred pursuant to provisions of Section
                                6.01 of Annex 1 attached to the First Lien Settlement Term
                                Sheet (“Annex 1”) as if in effect on the date of such incurrence
                                (but, for the avoidance of doubt, this clause (V) shall not apply
                                to any indebtedness permitted to be incurred pursuant to
                                Section 6.01 of Annex 1 based on the calculation of a financial
                                ratio, consolidated total assets or other financial metric) which
                                Indebtedness described in this clause (V), if secured, is secured
                                by any lien permitted by Section 6.02 of Annex 1. For the
                                avoidance of doubt, the re-designation, exchange, replacement,
                                refinancing, or acquisition, on or prior to the Plan Effective
                                Date, of the Takeback Second Lien Notes or the Second Lien
                                Notes, in each case, into, by, or for first lien indebtedness shall

                                                       8
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917         Filed 06/18/21   Page 686 of 835




                                be prohibited.
 Tax Issues                     The Debtors and the Supporting Parties shall cooperate in good
                                faith to structure the Restructuring and related transactions in a tax-
                                efficient manner.
 Restructuring                  Without limiting any rights and remedies of the Debtors or
 Transactions                   Reorganized Debtors under the Plan or applicable law, but in all
                                cases subject to the terms and conditions of the RSA and any
                                consents or approvals required thereunder, the entry of the
                                Confirmation Order shall constitute authorization for the
                                Reorganized Debtors to take, or to cause to be taken, all actions
                                necessary or appropriate to consummate and implement the
                                provisions of the Plan prior to, on and after the Plan Effective Date,
                                including such actions as may be necessary or appropriate to
                                effectuate a corporate restructuring of their respective businesses, to
                                otherwise simplify the overall corporate structure of the
                                Reorganized Debtors, or to reincorporate certain of the Affiliate
                                Debtors under the laws of jurisdictions other than the laws of which
                                the applicable Affiliate Debtors are presently incorporated. All
                                such actions necessary or appropriate to consummate and
                                implement the provisions of the Plan shall be set forth in the Plan
                                Supplement, may include one or more mergers, consolidations,
                                restructures, conversions, dispositions, liquidations or dissolutions,
                                as may be determined by the Debtors or Reorganized Debtors to be
                                necessary or appropriate, but in all cases subject to the terms and
                                conditions of the Plan and the RSA and any consents or approvals
                                required      thereunder    (collectively,     the    “Restructuring
                                Transactions”); provided, that any Restructuring Transactions
                                shall (a) not adversely affect the recoveries under the Plan (i) of the
                                holders of Guaranteed Unsecured Notes Claims without the consent
                                of the Required Supporting Unsecured Noteholders or (ii) the
                                holders of Opioid Claims without the consent of the Governmental
                                Plaintiff Ad Hoc Committee and the MSGE Group, or (b) not
                                materially adversely affect the rights or recoveries under the
                                Plan of the holders of First Lien Term Loan Claims without the
                                consent of the Required Supporting Term Lenders.
 Company Status Upon            On or as soon as reasonably practicable after the Plan Effective
 Emergence                      Date, the New Mallinckrodt Common Shares shall be listed for
                                trading on The NASDAQ Capital Market, the NASDAQ Global
                                Market, or the New York Stock Exchange; provided however that,
                                in any event, on the Plan Effective Date, the Reorganized Debtors
                                shall have governance standards as though they were listed on any
                                such exchange.




                                                       9
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917      Filed 06/18/21   Page 687 of 835




 Cancellation of Notes,         On the Plan Effective Date, except to the extent otherwise provided
 Instruments,                   in the Plan, all notes, instruments, certificates, and other documents
 Certificates, and              evidencing Claims or Equity Interests, shall be canceled and/or
 Other Documents                updated to record such cancellation and the obligations of the
                                Debtors thereunder or in any way related thereto shall be deemed
                                satisfied in full and discharged.
 Issuance of New                On the Plan Effective Date, the Reorganized Debtors shall issue all
 Securities; Execution          securities, notes, instruments, certificates, and other documents
 of the Plan                    required to be issued or make, or cause to be made, such entries in
 Restructuring                  its books and records pursuant to the Restructuring. The Parties
 Documents                      shall use reasonable efforts to make securities issued under the Plan
                                DTC eligible.
 Fees and Expenses of           The Debtors shall pay all reasonable and documented fees and out
 the Restructuring              of pocket expenses of :
 Support Agreement
                                        (a) primary counsel to the Unsecured Notes Ad Hoc Group,
 Parties
                                         Paul, Weiss, Rifkind, Wharton & Garrison LLP, (b) one
                                         Delaware counsel to the Unsecured Notes Ad Hoc Group,
                                         (c) one Irish counsel to the Unsecured Notes Ad Hoc Group,
                                         (d) one regulatory counsel to the Unsecured Notes Ad Hoc
                                         Group and (e) one financial advisor to the Unsecured Notes
                                         Ad Hoc Group, Perella Weinberg Partners LP, (f) one
                                         Canadian counsel to the Unsecured Notes Ad Hoc Group,
                                         and (g) such other legal, consulting, financial, and/or other
                                         professional advisors to which the Unsecured Notes Ad Hoc
                                         Group and the Debtors shall reasonably agree from time to
                                         time;
                                        (a) primary counsel to the Governmental Plaintiff Ad Hoc
                                         Group, Gilbert LLP, Kramer Levin Naftalis & Frankel LLP,
                                         and Brown Rudnick LLP, (b) one local counsel to the
                                         Governmental Plaintiff Ad Hoc Group, (c) one Irish counsel
                                         to the Governmental Plaintiff Ad Hoc Committee, (d) one
                                         investment banker to the Governmental Plaintiff Ad Hoc
                                         Committee, Houlihan Lokey, Inc., and (e) such other legal,
                                         consulting, financial, and/or other professional advisors to
                                         which the Governmental Plaintiff Ad Hoc Committee and
                                         the Debtors shall reasonably agree from time to time; and
                                        (a) primary counsel to the MGSE Group, Caplin &
                                         Drysdale, Chartered, (b) one local counsel to the MSGE
                                         Group, Seitz, Van Ogtrop & Green, P.A., (c) one
                                         financial advisor to the MSGE Group, FTI Consulting,
                                         and (d) such other legal, consulting, financial, and/or
                                         other professional advisors to which the MSGE Group
                                         and the Debtors shall reasonably agree from time to

                                                       10
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917      Filed 06/18/21   Page 688 of 835




                                         time;
                                        indenture trustee fees.; and
                                        (a) primary counsel to the Ad Hoc First Lien Term
                                         Lender Group, Gibson, Dunn & Crutcher LLP, (b) one
                                         financial advisor to the Ad Hoc First Lien Term Lender
                                         Group, Evercore Group, LLC, and (c) such other legal,
                                         consulting, financial, and/or other professional advisors
                                         that the Ad Hoc First Lien Term Lender Group is
                                         permitted to retain under the Final Cash Collateral
                                         Order or as the Debtors shall reasonably agree from
                                         time to time (including any additional Delaware counsel
                                         retained in connection with the motion seeking approval
                                         of the 2020 ECF Payment Settlement),
                                Inin each case, that are due and owing after receipt of applicable
                                invoices with non-privileged summaries of services rendered,
                                without any requirement for the filing of fee or retention
                                applications in the Chapter 11 Cases, and in accordance with the
                                terms of the applicable engagement letters, if any, with any
                                balance(s) paid on the Plan Effective Date (collectively, the
                                “Restructuring Expenses”).
 Retention of                   The Plan will provide for the retention of jurisdiction by the
 Jurisdiction                   Bankruptcy Court for usual and customary matters.

 Releases                       The exculpation provisions, Debtor releases, third-party releases
                                and injunction provisions to be included in the Plan will be
                                consistent with Annex 4 hereto in all material respects, to the fullest
                                extent permissible under applicable law.
                                In addition, the Plan will include separate release and channeling
                                injunction provisions with respect to Opioid Claims.
 Consent Rights                 All consent rights not otherwise set forth herein shall be set forth in
                                the RSA.
 Conditions Precedent           The Plan shall contain customary conditions precedent to
 to the Plan Effective          occurrence of the Plan Effective Date, including the following:
 Date
                                        the RSA shall remain in full force and effect and shall not
                                         have been terminated, and the parties thereto shall be in
                                         compliance therewith;
                                        the Bankruptcy Court shall have entered the Confirmation
                                         Order in form and substance consistent with the RSA and
                                         such order shall be a Final Order;
                                        the Debtors shall have obtained all authorizations, consents,
                                         regulatory approvals, rulings, or documents that are
                                         necessary to implement and effectuate the Plan and each of
                                                       11
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917      Filed 06/18/21   Page 689 of 835




                                         the other transactions contemplated by the Restructuring;
                                        all conditions precedent to the consummation of the Opioid
                                         Settlement and related transactions, including the
                                         establishment of the Opioid Trust and authorization for the
                                         payment of the Opioid Trust Consideration, have been
                                         satisfied or waived by the party or parties entitled to waive
                                         them in accordance with the terms of the Opioid Trust
                                         Documents;
                                        the final version of the Plan, Plan Supplement, the Opioid
                                         Trust Documents, and all of the schedules, documents, and
                                         exhibits contained therein, and all other schedules,
                                         documents, supplements, and exhibits to the Plan, shall be
                                         consistent with the RSA;
                                        the Canadian Court shall have issued an order recognizing
                                         the Confirmation Order in the Recognition Proceedings and
                                         giving full force and effect to the Confirmation Order in
                                         Canada and such recognition order shall have become a
                                         Final Order;
                                        the High Court of Ireland shall have made an order
                                         confirming the Scheme of Arrangement in the Irish
                                         Examinership Proceedings and the Scheme of Arrangement
                                         shall have become effective in accordance with its terms (or
                                         shall become effective concurrently with effectiveness of
                                         the Plan);
                                        the Irish Takeover Panel shall have either: (a) confirmed
                                         that an obligation to make a mandatory general offer for the
                                         shares of the Parent pursuant to Rule 9 of the Irish Takeover
                                         Rules will not be triggered by the implementation of the
                                         Scheme of Arrangement and the Plan; or (b) otherwise
                                         waived the obligation on the part of any Person to make
                                         such an offer;
                                        any civil or criminal claims asserted by or on behalf of the
                                         Department of Justice (other than those resolved pursuant to
                                         the CMS/DOJ/StateStates Settlement) have been resolved
                                         on terms reasonably acceptable to the Debtors, the Required
                                         Supporting Unsecured Noteholders and, the Governmental
                                         Plaintiff Ad Hoc Committee;, and the MSGE Group and,
                                         to the extent such resolution requires a cash payment
                                         that is not paid from the General Unsecured Recovery
                                         Cash Pool and such payment (and not any other
                                         payments, conditions, or circumstances) causes a
                                         materially adverse reduction in projected cash as of the
                                         Plan Effective Date as compared to the projections

                                                       12
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917      Filed 06/18/21   Page 690 of 835




                                         contained in the 8K filed on March 10, 2020, the
                                         Required Supporting Term Lenders;
                                        the Debtors shall have paid in full all professional fees and
                                         expenses of the Debtors’ retained professionals that require
                                         the Bankruptcy Court’s approval or amounts sufficient to
                                         pay such fees and expenses after the Plan Effective Date
                                         shall have been placed in a professional fee escrow account
                                         pending the Bankruptcy Court’s approval of such fees and
                                         expenses;
                                        the Debtors shall have paid the Restructuring Expenses in
                                         full, in cash;
                                        the Bankruptcy Court shall have entered the CCO
                                         Modification Order in form and substance reasonably
                                         acceptable to the Required Supporting Term Lenders
                                         and such order shall be a Final Order and remain in full
                                         force and effect; provided, that, this condition precedent
                                         shall not be deemed unmet based solely on the
                                         Bankruptcy Court declining to apply the Adjusted
                                         Interest Rate retroactively to any date prior to the entry
                                         of the CCO Modification Order or because of the failure
                                         of the CCO Modification Order to require payment of
                                         the Term Loan Exit Payment;
                                        the Debtors shall have paid the Noteholder Consent Fee and
                                         Term Loan Exit Payment on the Plan Effective Date; and
                                        the Bankruptcy Court shall have entered a Final Order
                                         authorizing and directing the Debtors to pay all
                                         Transaction Fees payable under the Reimbursement
                                         Agreements (each as defined in the RSA Parties Fee
                                         Motion); and
                                        the Restructuring to be implemented on the Plan Effective
                                         Date shall be consistent with the Plan and the RSA.




                                                       13
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917     Filed 06/18/21   Page 691 of 835




                                                   Annex 1

                                            Certain Definitions

 1992 Legacy Debentures That certain Indenture, dated as of April 30, 1992, by and among
 Indenture              Ludlow Corporation, as issuer, U.S. Bank National Association
                        (as successor in interest to Security National Pacific Trust
                        Company (New York)), as trustee, as supplemented by that
                        certain First Supplemental Indenture, dated as of April 30,
                        1992, with U.S. Bank National Association (as successor in
                        interest to Security Pacific National Trust Company (New York),
                        as trustee, and the guarantors party thereto from time to time,
                        and that certain a First Supplemental Indenture, dated April
                        30, 1992, with Security Pacific National Trust Company (New
                        York) (each as modified, amended, or supplemented from time to
                        time).
 1993 Legacy Debentures That certain Indenture, dated as of April 30, 1992, by and
 Indenture              among Ludlow Corporation, as issuer, U.S. Bank National
                        Association (as successor in interest to Security National
                        Pacific Trust Company (New York)), as trustee, as
                        supplemented by that certain Second Supplemental Indenture,
                        dated as of March 8, 1993, by and among Ludlow Corporation
                        as issuer,with U.S. Bank National Association (as successor in
                        interest to BankAmerica National Trust Company (successor by
                        merger to Security Pacific National Trust Company (New
                        York)), as trustee, and the guarantors party thereto from time
                        to time () (each as modified, amended, or supplemented from time
                        to time).
 2013 Notes Indenture            That certain Indenture, dated as of April 11, 2013, by and among
                                 Mallinckrodt International Finance S.A. as issuer, the guarantor
                                 party thereto, and Deutsche Bank Trust Company Americas, as
                                 trustee (as modified, amended, or supplemented from time to
                                 time).
 2014 Notes Indenture            That certain Indenture, dated as of August 13, 2014, by and among
                                 Mallinckrodt International Finance S.A. and Mallinckrodt CB
                                 LLC, as issuers, Deutsche Bank Trust Company Americas, as
                                 trustee, and the guarantors party thereto from time to time (as
                                 modified, amended, or supplemented from time to time).
 2020 First Lien Notes           That certain Indenture, dated as of April 7, 2020, by and among
 Indenture                       Mallinckrodt International Finance S.A. and Mallinckrodt CB
                                 LLC, as issuers, Wilmington Savings Fund Society, FSB, as first
                                 lien trustee, Deutsche Bank AG New York Branch, as first lien
                                 collateral agent, and the guarantors party thereto from time to time



US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
             Case 20-12522-JTD            Doc 2917         Filed 06/18/21   Page 692 of 835




                                 (as modified, amended, or supplemented from time to time).
 2019 Second Lien Notes          That certain Indenture, dated as of December 6, 2019, by and
 Indenture                       among Mallinckrodt International Finance S.A. and Mallinckrodt
                                 CB LLC, as issuers, Wilmington Savings Fund Society, FSB, as
                                 second lien trustee and second lien collateral agent, and the
                                 guarantors party thereto from time to time (as modified, amended,
                                 or supplemented from time to time).
 4.75% Senior Notes due          The 4.75% senior notes due 2023 pursuant to the 2013 Notes
 2023                            Indenture.

 4.75% Unsecured Notes           Any Claim arising under or based upon the 4.75% Unsecured
 Claims                          Notes or the 2013 Notes Indenture.

 5.50% Senior Notes              The 5.50% senior notes due 2025 pursuant to the April 2015 Notes
 2025                            Indenture.

 5.625% Senior Notes             The 5.625% senior notes due 2023 pursuant to the September 2015
 due 2023                        Notes Indenture.

 5.75% Senior Notes due          The 5.75% senior notes due 2022 pursuant to the 2014 Notes
 2022                            Indenture.
 8.00% Debentures due            The 8.00% debentures due 2023 pursuant to the 1993 Legacy
 March 2023                      Debentures Indenture.
 9.50% Debentures due            The 9.50% debentures due 2022 pursuant to the 1992 Legacy
 May 2022                        Debentures Indenture.
 Affiliate                       As defined in section 101(2) of the Bankruptcy Code.

 April 2015 Notes                That certain Indenture, dated as of April 15, 2015, by and among
 Indenture                       Mallinckrodt International Finance S.A. and Mallinckrodt CB
                                 LLC, as issuers, Deutsche Bank Trust Company Americas, and the
                                 guarantors party thereto from time to time (as modified, amended,
                                 or supplemented from time to time).
 Avoidance Actions               Any and all avoidance, recovery, subordination or similar actions
                                 or remedies that may be brought by and on behalf of the Debtors
                                 or their estates under the Bankruptcy Code or applicable non-
                                 bankruptcy law, including, without limitation, actions or remedies
                                 arising under chapter 5 of the Bankruptcy Code.
 Canadian Court
                                 The Ontario Superior Court of Justice (Commercial List)
 Causes of Action
                                 Any claims, causes of action (including Avoidance Actions),
                                 demands, actions, suits, obligations, liabilities, cross-claims,
                                 counterclaims, defenses, offsets, or setoffs of any kind or character
                                 whatsoever, in each case whether known or unknown, contingent
                                 or noncontingent, matured or unmatured, suspected or
                                                       2
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917         Filed 06/18/21   Page 693 of 835




                                 unsuspected, foreseen or unforeseen, direct or indirect, choate or
                                 inchoate, existing or hereafter arising, under statute, in contract, in
                                 tort, in law, or in equity, or pursuant to any other theory of law,
                                 federal or state, whether asserted or assertable directly or
                                 derivatively in law or equity or otherwise by way of claim,
                                 counterclaim, cross-claim, third party action, action for indemnity
                                 or contribution or otherwise.
 Class                           Each class of Holders of Claims or Equity Interests established
                                 under the Plan pursuant to section 1122(a) of the Bankruptcy
                                 Code.
 Confirmation Date               The date on which the Confirmation Order is entered by the
                                 Bankruptcy Court.
 Consummation                    The occurrence of the Plan Effective Date.

 Current Opioid PI               A claim held by an individual against a Debtor for harm arising
 Claim                           out of the use of opioid products manufactured or sold prior to the
                                 Plan Effective Date, other than a Future Opioid PI Claim.
 Entity                          As defined in section 101(15) of the Bankruptcy Code.

 Equity Interest                 Any issued, unissued, authorized, or outstanding ordinary shares
                                 or shares of common stock, preferred stock, or other instrument
                                 evidencing an ownership interest in Mallinckrodt plc, whether or
                                 not transferable, together with any warrants, equity-based awards,
                                 or contractual rights to purchase or acquire such equity interests at
                                 any time and all rights arising with respect thereto that existed
                                 immediately before the Plan Effective Date.
 Exculpated Party                In each case, in its capacity as such: (a) the Debtors (and their
                                 Representatives); (b) the Reorganized Debtors (and their
                                 Representatives); and (c) the Future Claimants Representative.
 Existing Credit                 That certain Credit Agreement, dated as of March 19, 2014, by
 Agreement                       and among Mallinckrodt plc, as the parent, Mallinckrodt
                                 International Finance S.A., as Lux borrower, Mallinckrodt CB
                                 LLC, as co-borrower, the First Lien Agent, and the First Lien
                                 Lenders (as modified, amended, or supplemented from time to
                                 time).
 Final Order                     An order entered by the Bankruptcy Court or other court of
                                 competent jurisdiction: (a) that has not been reversed, stayed,
                                 modified, amended, or revoked, and as to which (i) any right to
                                 appeal or seek leave to appeal, certiorari, review, reargument, stay,
                                 or rehearing has been waived or (ii) the time to appeal or seek
                                 leave to appeal, certiorari, review, reargument, stay, or rehearing
                                 has expired and no appeal, motion for leave to appeal, or petition
                                 for certiorari, review, reargument, stay, or rehearing is pending or

                                                       3
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917         Filed 06/18/21   Page 694 of 835




                                 (b) as to which an appeal has been taken, a motion for leave to
                                 appeal, or petition for certiorari, review, reargument, stay, or
                                 rehearing has been filed and (i) such appeal, motion for leave to
                                 appeal or petition for certiorari, review, reargument, stay, or
                                 rehearing has been resolved by the highest court to which the
                                 order or judgment was appealed or from which leave to appeal,
                                 certiorari, review, reargument, stay, or rehearing was sought and
                                 (ii) the time to appeal (in the event leave is granted) further or seek
                                 leave to appeal, certiorari, further review, reargument, stay, or
                                 rehearing has expired and no such appeal, motion for leave to
                                 appeal, or petition for certiorari, further review, reargument, stay,
                                 or rehearing is pending.
 First Lien Agent                Deutsche Bank AG New York Branch, in its capacity as
                                 administrative agent under the Existing Credit Agreement or, as
                                 applicable, any successor thereto.
 First Lien Notes                The 10.00% first lien senior secured notes due 2025 pursuant to
                                 the 2020 First Lien Notes Indenture.
 First Lien Notes Claim          Any Claim arising under or based upon the First Lien Notes or the
                                 2020 First Lien Notes Indenture.
 First Lien Credit               Any claim held by the First Lien Agent or the First Lien Lenders
 Agreement Claims                derived from or based upon the Existing Credit Agreement or
                                 theFirst Lien Credit Facility, including claims for all principal
                                 amounts outstanding (including any right to prepayment
                                 thereof), interest, fees, expenses, costs, indemnification and other
                                 charges and expenses arising under or related to the First Lien
                                 Credit Facility or the Existing Credit Agreement.
 First Lien Credit               The credit facility evidenced by the Existing Credit Agreement.
 Facility

 First Lien Lenders              The banks, financial institutions, and other lenders party to the
                                 Existing Credit Agreement from time to time.
 Future Opioid PI                A claim held by an individual against a Debtor for harm arising
 Claims                          out of the use of opioid products manufactured or sold prior to the
                                 Plan Effective Date, which could not be discharged by
                                 confirmation of a plan of reorganization if the Bankruptcy Court
                                 did not appoint a future claimants representative in the Chapter 11
                                 Cases and which claim is to be addressed by the Opioid Trust to
                                 assume the liabilities of the Debtors for damages allegedly caused
                                 by the use of opioid products.
 Future Opioid PI                Individuals holding Future Opioid PI Claims.
 Claimants

 Future Claimants                The legal representative for Future Opioid PI Claimants.

                                                       4
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917     Filed 06/18/21   Page 695 of 835




 Representative

 General Unsecured               Any Unsecured Claim (other than a Guaranteed Unsecured Notes
 Claims                          Claim, a Trade Claim, an Opioid Claim, an Administrative, Tax,
                                 Other Priority or Other Secured Claim, or (subject to effectiveness
                                 of the CMS/DOJ/StateStates Settlement) a Claim resolved by the
                                 CMS/DOJ/StateStates Settlement), including without limitation
                                 (a) Claims arising from the rejection of unexpired leases or
                                 executory contracts, (b) Claims arising from any litigation or other
                                 court, administrative or regulatory proceeding, including damages
                                 or judgments entered against, or settlement amounts owing by a
                                 Debtor in connection therewith, and (c) Claims related to asbestos
                                 exposure or products containing asbestos.
 Guaranteed Unsecured            The 5.75% Senior Notes due 2022, the 5.500% Senior Notes Due
 Notes                           2025 and the 5.625% Senior Notes Due 2023.

 Guaranteed Unsecured            Any Claim arising under or based upon the Guaranteed Unsecured
 Notes Claims                    Notes or the Guaranteed Unsecured Notes Indentures.

 Guaranteed Unsecured            Collectively, the 2014 Notes Indenture, the April 2015 Notes
 Notes Indentures                Indenture and the September 2015 Notes Indenture.

 Holder                          An Entity holding a Claim or Equity Interest, as applicable.

 Impaired                        With respect to any Class of Claims or Equity Interests, a Class of
                                 Claims or Equity Interests that is impaired within the meaning of
                                 section 1124 of the Bankruptcy Code.
 Intercompany Claim              A prepetition Claim held by a Debtor or non-Debtor against a
                                 Debtor.
 Intercompany Interest           An Interest in any Debtor other than Mallinckrodt Plc.

 Irish Takeover Panel            The Irish Takeover Panel constituted under Irish Takeover Panel
                                 Act 1997.
 Irish Takeover Rules            The Irish Takeover Panel Act 1997, Takeover Rules 2013.

 Legacy Debentures               Any Claim arising under or based upon the 1992 Legacy
 Claims                          Debentures Indenture or 1993 Legacy Debentures Indenture.

 Lien                            A lien as defined in section 101(37) of the Bankruptcy Code.

 New Mallinckrodt                Common equity interests or ordinary shares in the Reorganized
 Common Shares                   Debtor, Mallinckrodt plc.

 New Opioid Warrants             The warrants contemplated under the Opioid Settlement and
                                 Opioid Trust Documents, which shall be consistent with the terms
                                 set forth in the Opioid Settlement Term Sheet.
                                                     5
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917         Filed 06/18/21   Page 696 of 835




 Recognition                     The proceedings commenced by the Debtors under Part IV of the
 Proceedings                     Canadian Companies Arrangement Act in the Canadian Court to
                                 recognize in Canada the Chapter 11 Cases and to recognize in
                                 Canada certain Orders of the Bankruptcy Court.
 Reinstated                      With respect to Claims and Equity Interests, that the Claim or
                                 Equity Interest shall be rendered Unimpaired in accordance with
                                 section 1124 of the Bankruptcy Code.
 Reorganized Debtors             The Debtors, as reorganized pursuant to and under the Plan or any
                                 successor thereto.
 Required Supporting             Holders of at least two-thirds in outstanding principal amount of
 Second Lien                     Second Lien Notes.
 Noteholders

 Released Party                  (a) The Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor
                                 Affiliates, (d) with respect to each of the foregoing Persons in
                                 clauses (a) through (c), such Persons’ (i) predecessors, successors,
                                 permitted assigns, subsidiaries, and controlled affiliates, respective
                                 heirs, executors, estates, and nominees, in each case solely in their
                                 capacity as such and (ii) current and former officers and directors,
                                 principals, members, employees, financial advisors, attorneys
                                 (including attorneys retained by any director in his or her capacity
                                 as such), accountants, investment bankers (including investment
                                 bankers retained by any director in his or her capacity as such),
                                 consultants, experts and other professionals of the persons
                                 described in clauses (a) through (d)(i); (e) each member of the
                                 Unsecured Notes Ad Hoc Group in their capacity as such, (f) each
                                 Supporting Unsecured Noteholder in their capacity as such, (g) the
                                 Opioid Trust, (h) each member of the Governmental Plaintiff Ad
                                 Hoc Committee in their capacity as such, (i) each Supporting
                                 Governmental Opioid Claimant in their capacity as such; (j) each
                                 member of the MSGE Group in their capacity as such; (k)
                                 each of the Secured Parties, (l) each Supporting Term Lender in
                                 their capacity as such, (m) each member of the Ad Hoc First
                                 Lien Term Lender Group in their capacity as such, and (km)
                                 with respect to each of the foregoing Persons in clauses
                                 (e) through (jm), each such Person’s Representatives.
                                 Notwithstanding anything to the contrary herein, Medtronic plc
                                 and its related parties will not be Released Parties.
 Second Lien Notes               The 10.00% second lien senior secured notes due 2025 pursuant to
                                 the 2019 Second Lien Notes Indenture.
 Second Lien Notes               Any Claim arising under or based upon the Second Lien Notes
 Claim                           Indenture or the 2019 Second Lien Notes Indenture.



                                                       6
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917         Filed 06/18/21   Page 697 of 835




 Secured Parties                 The Prepetition Secured Parties, as defined in the Cash Collateral
                                 Order.
 September 2015 Notes            That certain Indenture, dated as of September 24, 2015, by and
 Indenture                       among Mallinckrodt International Finance S.A. and Mallinckrodt
                                 CB LLC, as issuers, Deutsche Bank Trust Company Americas, as
                                 trustee, and the guarantors party thereto from time to time (as
                                 modified, amended, or supplemented from time to time).
 Trade Claim                     An Unsecured Claim held by a Trade Claimant.

 Trade Claimant                  Trade creditors, service providers and other vendors who provide
                                 goods and services necessary for the Debtors continued
                                 operations, including those creditors described in (a) Motion of
                                 Debtors for Interim and Final Orders Authorizing the Debtors to
                                 Pay Prepetition Claims of Critical Vendors, (b) Motion of Debtors
                                 for Interim and Final Orders Authorizing the Debtors to Pay
                                 Prepetition Claims of Foreign Vendors, and (c) Motion of Debtors
                                 for Interim and Final Orders (A) Authorizing Payment of
                                 Lienholder Claims and (B) Authorizing Payment of Section
                                 503(b)(9) Claims.
 Unimpaired                      With respect to a Claim, Equity Interest, or Class of Claims or
                                 Equity Interests, not “impaired” within the meaning of sections
                                 1123(a)(4) and 1124 of the Bankruptcy Code.
 Unsecured Claim                 A Claim that is not secured by a Lien on property in which one of
                                 the Debtors’ estates has an interest.




                                                       7
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917      Filed 06/18/21    Page 698 of 835




                                                   Annex 2

                           Takeback Second Lien Notes Summary Terms

 Amount                                          Approximately $375 million
 Notes                                           Senior Secured Second Lien Notes
 Issuers                                         Mallinckrodt International Finance S.A. and
                                                  Mallinckrodt CB LLC
 Obligors                                        Same as the obligors on the Deferred Cash Payments,
                                                  provided that any obligations on account of the
                                                  Takeback Second Lien Notes shall (i) be guaranteed
                                                  by the same entities that guarantee the First Lien
                                                  Notes and (ii) comply with the terms of the
                                                  Debtors’ existing funded indebtedness
 Coupon                                          Payable in cash at 10.00%
 Maturity                                        Seven (7) years following the Plan Effective Date
 Collateral/Priority                             Pari passu with the second lien security interests as
                                                  with existing Second Lien Notes
 Put                                             Puttable to the issuer at 101% of par upon a change of
                                                  control
 Equity Claw                                     Company may redeem up to 40% of Takeback Second
                                                  Lien Notes at a redemption price of 110% of par with
                                                  the proceeds of an equity offering
 Call Protections                                Non-callable for 4 years
                                                 105 call in year 5
                                                 102.5 in year 6
                                                 Par thereafter
 Affirmative and Negative                        To generally match the 2020 First Lien Notes
 Covenants                                        Indenture, as adjusted to reflect new Takeback Second
                                                  Lien Notes structure




US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917        Filed 06/18/21       Page 699 of 835




                                                    Annex 3

          Term Sheet for Mallinckrodt Pharmaceuticals Management Incentive Plan

       The following term sheet summarizes the principal terms of a management incentive plan
(the “MIP”) that certain creditors receiving equity securities (the “Investors”) of New
Mallinckrodt (the “Company” and together with its controlled subsidiaries, the
“Company Group”) will adopt effective upon emergence (the “Closing”).
Capitalized terms used but not defined herein shall have the meanings set forth in the
Restructuring Support Agreement and the Restructuring Term Sheet attached thereto as Exhibit
A both dated October 11, 2020, to which this term sheet is attached as Annex 2 (the “RSA”).
The terms outlined in this Term Sheet assume New Mallinckrodt will be a publicly traded
company shortly following Closing consistent with the RSA.

Plan Reserve:                    A number of New Mallinckrodt Common Shares representing 10%
                                 of all equity interests in the Company outstanding immediately after
                                 the Closing on a fully diluted basis, taking into account the Plan
                                 Reserve and any equity securities issued and outstanding at the
                                 Closing, and any warrants or securities convertible, exercisable or
                                 exchangeable therefor, will be reserved for issuance pursuant to the
                                 MIP (such securities issued pursuant to the MIP, the “Award
                                 Shares”).1
Eligibility:                     Company employees, non-employee consultants and outside
                                 Directors of the Company Group will be eligible to participate in the
                                 MIP. Each person who receives an award pursuant to the MIP is
                                 hereinafter referred to as a “Participant”.
Initial Grant:                   Not less than 50% of the Plan Reserve shall be granted in the form
                                 of restricted shares, restricted share units or options over New
                                 Mallinckrodt Common Shares (the “Restricted Shares”) within 30
                                 days following Closing with the allocation of such grants to be
                                 approved by the Compensation Committee of the Company based
                                 upon the recommendations of the Company’s CEO (the “Initial
                                 Grants”). No more than 25% of the Initial Grants shall be in the
                                 form of options.




1
         Plan Reserve subject to adjustment in connection with share split, reverse share split, share dividend or
other distribution (whether in the form of cash, shares, other securities or other property), extraordinary cash
dividend, recapitalization, merger, consolidation, split-up, spin-off, reorganization, combination, repurchase or
exchange of shares or other securities or similar corporate transaction or event.



US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
             Case 20-12522-JTD             Doc 2917        Filed 06/18/21   Page 700 of 835




Vesting of
Initial Grants:                   The Initial Grants will vest as determined in good faith by the
                                  Compensation Committee in consultation with the Company’s CEO
                                  over a period not exceeding 3 years.
                                  If a Participant’s employment is terminated by the Company without
                                  “Cause” or by the Participant for “Good Reason” (to be defined in
                                  the MIP), all unvested awards that would otherwise vest during the
                                  12 months following such termination, will vest upon termination,
                                  subject to the Participant’s execution of a reasonable and customary
                                  general release of claims in favor of the Company that becomes
                                  effective within 60 days after such termination and continued
                                  material compliance with the terms of any non-competition or non-
                                  solicitation restrictive covenants to which the Participant is subject.
                                  The MIP will contain other terms consistent with public company
                                  equity incentive plans and awards within the Company’s peer group.
Change in Control:                Upon the occurrence of a “Change in Control” (to be defined in the
                                  MIP), to the extent awards are not assumed or substituted, all awards
                                  under the MIP shall become fully vested and payable.
Restrictive Covenants:            To the extent a Participant is not already subject to non-compete,
                                  non-solicitation or other restrictive covenants, then such Participant
                                  will be required to enter into a covenant consistent with
                                  Mallinckrodt’s current Non-Competition, Non-Solicitation, and
                                  Confidentiality Agreement, but with a non-compete/non-solicitation
                                  period not to exceed 12 months.




                                                       2
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917     Filed 06/18/21   Page 701 of 835




                                                   Annex 4

                        Plan Release, Exculpation and Injunction Provisions

Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions
of the Bankruptcy Code), as of the Plan Effective Date, for good and valuable consideration, the
adequacy of which is hereby confirmed, including, without limitation, the service of the
Released Parties before and during the Chapter 11 Cases to facilitate the Opioid Settlement and
the Restructuring, and except as otherwise explicitly provided in the Plan or in the Confirmation
Order, the Released Parties shall be deemed conclusively, absolutely, unconditionally,
irrevocably and forever released and discharged, to the maximum extent permitted by law, as
such law may be extended subsequent to the Plan Effective Date, by the Debtors and the Estates
(the “Debtor Release”) from any and all Claims, counterclaims, disputes, obligations, suits,
judgments, damages, demands, debts, rights, Causes of Action, Liens, remedies, losses,
contributions, indemnities, costs, liabilities, attorneys’ fees and expenses whatsoever, including
any derivative claims, asserted or assertable on behalf of the Debtors or their Estates, whether
liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter
arising, whether in law or equity, whether sounding in tort or contract, whether arising under
federal or state statutory or common law, or any other applicable international, foreign, or
domestic law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that the
Debtors or their Estates would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the holder of any Claim or Equity Interest or other
Person, based on or relating to, or in any manner arising from, in whole or in part, the Debtors,
their Estates, the Debtors’ in- or out-of-court restructuring efforts (including the Chapter 11
Cases), the purchase, sale, or rescission of the purchase or sale of any security or indebtedness
of the Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Equity Interest that is treated in the Plan, litigation claims arising from historical intercompany
transactions between or among a Debtor and another Debtor, the business or contractual
arrangements between any Debtor and any Released Party (including the exercise of any
common law or contractual rights of setoff or recoupment by any Released Party at any time on
or prior to the Plan Effective Date), the restructuring of any Claim or Equity Interest before or
during the Chapter 11 Cases, the negotiation, formulation, preparation, dissemination, filing, or
implementation of, prior to the Plan Effective Date, the Definitive Documents, the Opioid
Trust, Opioid Trust Documents, the “Agreement in Principle for Global Opioid Settlement and
Associated Debt Refinance Activities” announced by the Parent on February 25, 2020, the
Restructuring Support Agreement (including any amendments and/or joinders thereto) and
related prepetition and postpetition transactions, the Disclosure Statement, the Plan, the Plan
Supplement, any Restructuring Transaction, any agreement, instrument, release, and other
documents created or entered into prior to the Plan Effective Date in connection with the
creation of the Opioid Trust, the “Agreement in Principle for Global Opioid Settlement and
Associated Debt Refinance Activities” announced by the Parent on February 25, 2020, the
Restructuring Support Agreement and related prepetition transactions, the Disclosure Statement,
the Plan, the Plan Supplement, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the
pursuit of Confirmation (including the solicitation of votes on the Plan), the pursuit of


US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
             Case 20-12522-JTD             Doc 2917        Filed 06/18/21   Page 702 of 835




Consummation, the administration and implementation of the Plan, including the issuance or
distribution of securities pursuant to the Plan, or the distribution of property under the Plan or
any other related agreement, or upon the business or contractual arrangements between and
Debtor and any Released Party, and any other act or omission, transaction, agreement, event, or
other occurrence or circumstance taking place on or before the Plan Effective Date relating to
any of the foregoing; provided however that the Debtors do not release, and the Opioid Trust
shall retain, all Assigned Third-Party Claims; provided, further, that the Debtors do not release,
Claims or Causes of Action arising out of, or related to, any act or omission of a Released Party
that is determined by Final Order of the Bankruptcy Court or any other court of competent
jurisdiction to have constituted actual fraud, gross negligence, or willful misconduct. The
foregoing release will be effective as of the Plan Effective Date without further notice to or order
of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
consent, authorization or approval of any Person and the Confirmation Order shall permanently
enjoin the commencement or prosecution by any Person, whether directly, derivatively or
otherwise, of any claims, obligations, suits, judgments, damages, demands, debts, rights, Causes
of Action, or liabilities released pursuant to this Debtor Release. Notwithstanding anything to
the contrary in the foregoing, the releases by the Debtors set forth above do not release any post-
Plan Effective Date obligations of any party or Entity under the Plan, any Restructuring, any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed
to implement the Plan, or any Claims which are Reinstated pursuant to the Plan.

        The Reorganized Debtors and the Opioid Trust shall be bound, to the same extent the
Debtors are bound, by the releases set forth in Article [__] of the Plan. For the avoidance of
doubt, Claims or Causes of Action arising out of, or related to, any act or omission of a Released
Party prior to the Plan Effective Date that is determined by Final Order of the Bankruptcy Court
or any other court of competent jurisdiction to have constituted actual fraud, gross negligence, or
willful misconduct, including findings after the Plan Effective Date, are not released pursuant to
Article [__] of the Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases by the Debtors set forth in Article [__] of the
Plan, which includes by reference each of the related provisions and definitions contained herein,
and further shall constitute the Bankruptcy Court’s finding that such release is: (a) in exchange
for the good and valuable consideration provided by the Released Parties; (b) a good faith and
settlement and compromise of the Claims released by the Debtor Release; (c) in the best interests
of the Debtors, their estates and all Holders of Claims and Equity Interests; (d) fair, equitable
and reasonable; (e) given and made after due notice and opportunity for hearing; and (f) a bar to
any Entity or Person asserting any claim or Cause of Action released by Article [__] of the Plan.

Releases by Holders of Claims and Equity Interests

        Pursuant to section 1123(b) of the Bankruptcy Code (and any other applicable provisions
of the Bankruptcy Code), as of the Plan Effective Date, for good and valuable consideration, the
adequacy of which is hereby confirmed, including, without limitation, the service of the
Released Parties before and during the Chapter 11 Cases to facilitate the Opioid Settlement and
Restructuring, and except as otherwise explicitly provided in the Plan or in the Confirmation
Order, the Released Parties shall be deemed conclusively, absolutely, unconditionally,

                                                       2
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
             Case 20-12522-JTD             Doc 2917        Filed 06/18/21   Page 703 of 835




irrevocably and forever released and discharged, to the maximum extent permitted by law, as
such law may be extended subsequent to the Plan Effective Date, except as otherwise explicitly
provided herein, by (a) the holders of all Claims who vote to accept the Plan, (b) the holders of
all Claims that are Unimpaired under the Plan, (c) the holders of all Claims whose vote to accept
or reject the Plan is solicited but who (i) abstain from voting on the Plan and (ii) do not opt out
of granting the releases set forth herein, (d) the holders of all Claims or Equity Interests who
vote, or are deemed, to reject the Plan but do not opt out of granting the releases set forth herein,
and (e) all other holders of Claims and Equity Interests to the maximum extent permitted by law,
in each case, from any and all Claims, counterclaims, disputes, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, Liens, remedies, losses, contributions,
indemnities, costs, liabilities, attorneys’ fees and expenses whatsoever, including any derivative
claims, asserted or assertable on behalf of the Debtors or their Estates, whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether
in law or equity, whether sounding in tort or contract, whether arising under federal or state
statutory or common law, or any other applicable international, foreign, or domestic law, rule,
statute, regulation, treaty, right, duty, requirement or otherwise, that such holders or their estates,
affiliates, heirs, executors, administrators, successors, assigns, managers, accountants, attorneys,
representatives, consultants, agents, and any other Persons or parties claiming under or through
them would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the holder of any Claim or Equity Interest or other Person, based on
or relating to, or in any manner arising from, in whole or in part, the Debtors (as such entities
existed prior to or after the Petition Date), their Estates, the Debtors’ in- or out-of-court
restructuring efforts (including the Chapter 11 Cases), the purchase, sale, or rescission of the
purchase or sale of any security or indebtedness of the Debtors, the subject matter of, or the
transactions or events giving rise to, any Claim or Equity Interest that is treated in the Plan,
litigation claims arising from historical intercompany transactions between or among a Debtor
and another Debtor, the business or contractual arrangements or interactions between any Debtor
and any Released Party (including the exercise of any common law or contractual rights of setoff
or recoupment by any Released Party at any time on or prior to the Plan Effective Date), the
restructuring of any Claim or Equity Interest before or during the Chapter 11 Cases, the
negotiation, formulation, preparation, dissemination, filing, or implementation of, prior to the
Plan Effective Date, the Definitive Documents, the Opioid Trust, Opioid Trust Documents and
the “Agreement in Principle for Global Opioid Settlement and Associated Debt Refinance
Activities” announced by the Parent on February 25, 2020, the Restructuring Support Agreement
(including any amendments and/or joinders thereto) and related prepetition and postpetition
transactions, the Disclosure Statement, the Plan, the Plan Supplement, any Restructuring
Transaction, any agreement, instrument, release, and other documents created or entered into
prior to the Plan Effective Date in connection with the creation of the Opioid Trust, the
“Agreement in Principle for Global Opioid Settlement and Associated Debt Refinance
Activities” announced by the Parent on February 25, 2020, the Restructuring Support Agreement
and related prepetition transactions, the Disclosure Statement, the Plan, the Plan Supplement, the
Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of Confirmation (including the
solicitation of votes on the Plan), the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance or distribution of securities pursuant to the
Plan, or the distribution of property under the Plan or any other related agreement, or upon the

                                                       3
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
             Case 20-12522-JTD             Doc 2917        Filed 06/18/21   Page 704 of 835




business or contractual arrangements between and Debtor and any Released Party, and any other
act or omission, transaction, agreement, event, or other occurrence or circumstance taking place
on or before the Plan Effective Date relating to any of the foregoing, other than Claims or Causes
of Action arising out of, or related to, any act or omission of a Released Party that is determined
by Final Order of the Bankruptcy Court or any other court of competent jurisdiction to have
constituted actual fraud, gross negligence or willful misconduct. For the avoidance of doubt,
Claims or Causes of Action arising out of, or related to, any act or omission of a Released Party
prior to the Plan Effective Date that is determined by Final Order of the Bankruptcy Court or any
other court of competent jurisdiction to have constituted actual fraud, gross negligence, or willful
misconduct, including findings after the Plan Effective Date, are not released pursuant to Article
[___] of the Plan. Notwithstanding anything to the contrary in the foregoing, the releases by the
Holders of Claims and Equity Interests set forth above do not release any post-Plan Effective
Date obligations of any party or Entity under the Plan, any Restructuring, any document,
instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan, or any Claims which are Reinstated pursuant to the Plan.

        Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation
Order shall (x) release, discharge, or preclude the enforcement of any liability of a Released
Party to a Governmental Unit arising out of, or relating to, any act or omission of a Released
Party prior to the Plan Effective Date that is determined by Final Order of the Bankruptcy Court
or any other court of competent jurisdiction to have constituted a criminal act or (y) solely as to
any Supporting Governmental Opioid Plaintiff, release or discharge a consultant or expert
having been retained to provide strategic advice for sales and marketing of opioid products who
has received a civil investigative demand or other subpoena related to sales and marketing of
opioid products from any State Attorney General on or after January 1, 2019 through the Petition
Date.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases by Holders of Claims and Equity Interests set
forth in Article [__] of the Plan, which includes by reference each of the related provisions and
definitions contained herein, and further shall constitute the Bankruptcy Court’s finding that
such release is: (a) in exchange for the good and valuable consideration provided by the
Released Parties; (b) a good faith and settlement and compromise of the Claims released by the
Debtor Release; (c) in the best interests of the Debtors, their estates and all Holders of Claims
and Equity Interests; (d) fair, equitable and reasonable; (e) given and made after due notice and
opportunity for hearing; and (f) a bar to any Entity or Person asserting any claim or Cause of
Action released by Article [__] of the Plan.

Exculpation

        Effective as of the Plan Effective Date, to the fullest extent permitted by law, the
Exculpated Parties shall neither have nor incur any liability to any Person for any claims or
Causes of Action arising prior to or on the Plan Effective Date for any act taken or omitted to be
taken in connection with, related to, or arising out of, the Chapter 11 Cases, formulating,
negotiating, preparing, disseminating, implementing, filing, administering, confirming or
effecting the Confirmation or Consummation of the Plan, the Disclosure Statement, the Opioid
Settlement, the Opioid Trust Documents, the “Agreement in Principle for Global Opioid

                                                       4
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
             Case 20-12522-JTD             Doc 2917        Filed 06/18/21   Page 705 of 835




Settlement and Associated Debt Refinance Activities” announced by the Parent on February 25,
2020, the Restructuring Support Agreement and related prepetition transactions, or any contract,
instrument, release or other agreement or document created or entered into in connection with
any of the foregoing, or any other prepetition or postpetition act taken or omitted to be taken in
connection with or in contemplation of the restructuring of the Debtors, the Disclosure Statement
or Confirmation or Consummation of the Plan, the Opioid Settlement or the Opioid Trust
Documents, including the issuance of securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement; provided, however, that the foregoing
provisions of this exculpation shall not operate to waive or release: (a) any Causes of Action
arising from actual fraud, gross negligence, or willful misconduct of such applicable Exculpated
Party as determined by Final Order of the Bankruptcy Court or any other court of competent
jurisdiction; and/or (b) the rights of any Person or Entity to enforce the Plan and the contracts,
instruments, releases, indentures, and other agreements and documents delivered under or in
connection with the Plan or assumed pursuant to the Plan or Final Order of the Bankruptcy
Court; provided, further, that each Exculpated Party shall be entitled to rely upon the advice of
counsel concerning its respective duties pursuant to, or in connection with, the above referenced
documents, actions or inactions.

        The Exculpated Parties have, and upon Consummation of the Plan shall be deemed to
have, participated in good faith and in compliance with the applicable Laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not,
and on account of such distributions shall not be, liable at any time for the violation of any
applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the
Plan or such distributions made pursuant to the Plan.

        The foregoing exculpation shall be effective as of the Plan Effective Date without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
or rule or the vote, consent, authorization or approval of any Person or Entity.

Permanent Injunction

        Except as otherwise expressly provided in the Confirmation Order, Plan or Opioid Trust
Documents, from and after the Plan Effective Date all Persons are, to the fullest extent provided
under section 524 and other applicable provisions of the Bankruptcy Code, permanently enjoined
from: (a) commencing or continuing, in any manner or in any place, any suit, action or other
proceeding of any kind; (b) enforcing, attaching, collecting, or recovering by any manner or
means any judgment, award, decree, or order; (c) creating, perfecting, or enforcing any
encumbrance of any kind; (d) asserting any right of setoff, or subrogation of any kind; and
(d) commencing or continuing in any manner any action or other proceeding of any kind, in each
case on account of or with respect to any Claim, demand, liability, obligation, debt, right, Cause
of Action, Equity Interest or remedy released or to be released, exculpated or to be exculpated,
settled or to be settled, or discharged or to be discharged pursuant to the Plan or the
Confirmation Order against any Person so released, discharged or exculpated (or the property or
estate of any Person so released, discharged or exculpated). All injunctions or stays provided in
the Chapter 11 Cases under section 105 or section 362 of the Bankruptcy Code, or otherwise,
and in existence on the Confirmation Date, shall remain in full force until the Plan Effective
Date.
                                                       5
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
             Case 20-12522-JTD             Doc 2917        Filed 06/18/21   Page 706 of 835




                                                       6
US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
            Case 20-12522-JTD             Doc 2917     Filed 06/18/21   Page 707 of 835




                                                  Schedule 1

                                      Opioid Settlement Term Sheet




US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
           Case 20-12522-JTD         Doc 2917     Filed 06/18/21     Page 708 of 835

                                                                               Execution Version

THIS TERM SHEET IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES OR A
SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE
MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR
SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING CONTAINED IN
THIS TERM SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY OR, UNTIL
THE OCCURRENCE OF THE AGREEMENT EFFECTIVE DATE UNDER THE
RESTRUCTURING SUPPORT AGREEMENT, DEEMED BINDING ON ANY OF THE
PARTIES HERETO.

                         Mallinckrodt Opioid Settlement Term Sheet

        This Opioid Settlement Term Sheet, which is Schedule 1 to the Term Sheet (the
“Restructuring Term Sheet”) annexed as Exhibit A to the Restructuring Support Agreement, dated
October 11, 2020, by and among the Company and the Supporting Parties, describes the proposed
treatment of Opioid Claims in connection with the Restructuring contemplated by the
Restructuring Support Agreement, as well as certain related implementation and other matters
being resolved pursuant to the Opioid Settlement. This Opioid Settlement Term Sheet incorporates
the rules of construction set forth in section 102 of the Bankruptcy Code. Certain capitalized terms
used herein are defined in the glossary attached hereto; capitalized terms used but not otherwise
defined in this Opioid Settlement Term Sheet have the meanings assigned in the Restructuring
Support Agreement or the Restructuring Term Sheet, as applicable.


       This Opioid Settlement Term Sheet does not include a description of all of the terms,
conditions, and other provisions that are to be contained in the definitive documents implementing
the Opioid Settlement and broader Restructuring of claims against and interests in the Debtors,
which remain subject to negotiation in accordance with the Restructuring Support Agreement.


                  TERMS OF THE PLAN AND THE RESTRUCTURING

 Overview                   The Opioid Settlement and Restructuring will be implemented
                            through the Plan, consistent with the terms of (a) this Opioid
                            Settlement Term Sheet, (b) the Restructuring Term Sheet and (c) the
                            Restructuring Support Agreement, through the Chapter 11 Cases to
                            be commenced in the Bankruptcy Court.
                            The Plan will provide for the establishment of the Opioid Trust,
                            which will receive the Trust Consideration (as defined below),
                            including certain cash payments, the New Opioid Warrants, and
                            certain other assets. All Opioid Claims will be assumed by the Opioid
                            Trust and be discharged, released, and enjoined as to the Company
                            and the other Released Parties.




                                                  1
             Case 20-12522-JTD    Doc 2917     Filed 06/18/21     Page 709 of 835


 Treatment of Opioid      As of the Plan Effective Date, Mallinckrodt’s liability for all Opioid
 Claims                   Claims shall automatically, and without further act, deed, or court
                          order, be channeled exclusively to and assumed by the Opioid Trust,
                          as described herein. Each Opioid Claim shall be resolved in
                          accordance with the terms, provisions, and procedures of the Opioid
                          Trust Documents. The Opioid Trust shall be funded in accordance
                          with the provisions of this Term Sheet. The sole recourse of any
                          Opioid Claimant on account of such Opioid Claim shall be to the
                          Opioid Trust, and each such Opioid Claimant shall have no right
                          whatsoever at any time to assert its Opioid Claim against any
                          Protected Party.
  Opioid Trust            On the Plan Effective Date, the Opioid Trust will receive (the “Trust
                          Consideration”):
                             •   cash in the amount of $450,000,000;
                             •   the New Opioid Warrants;
                             •   the right to receive cash payments (the “Deferred Cash
                                 Payments”) in the following amounts and on the following
                                 dates: (a) $200,000,000 on each of the first and second
                                 anniversaries of the Plan Effective Date; and
                                 (b) $150,000,000 on each of the third through seventh
                                 anniversaries of the Plan Effective Date; provided, that at any
                                 time prior to the first anniversary of the Plan Effective Date,
                                 the Reorganized Debtors shall have the right to prepay, in full
                                 or in part, the Deferred Cash Payments, at a price equal to the
                                 present value of the amounts to be prepaid, at the date of
                                 prepayment, discounted at the discount rate that would be
                                 required for (x)(i) the present value of the Deferred Cash
                                 Payments at the prepayment date plus (ii) $450,000,000 to
                                 equal (y)(i) the present value of the payments under the
                                 Original Payments Schedule at the prepayment date
                                 (excluding the initial $300,000,000 payment provided for in
                                 the Original Payments Schedule), discounted at a discount
                                 rate of 12% per annum, plus (ii) $300,000,000 (such option,




                                               2
US-DOCS\121513800.4
               Case 20-12522-JTD             Doc 2917        Filed 06/18/21         Page 710 of 835


                                             the “Prepayment Option”);1 provided, further, that to the
                                             extent the Reorganized Debtors seek to prepay only a portion
                                             of the Deferred Cash Payments in accordance with the
                                             Prepayment Option, such prepayment shall (x) be funded
                                             solely from the net proceeds of an equity raise by the
                                             Reorganized Debtors; and (y) prepay Deferred Cash
                                             Payments in accordance with the above in inverse order
                                             beginning with the payment due on the seventh anniversary
                                             of the Plan Effective Date;
                                        •    the Assigned Third-Party Claims; and




 1
     Annex A sets forth the prepayment cost as of the end of each of the 12 months after the Plan Effective Date. To the
     extent a prepayment occurs other than at the end of a month, the prepayment cost shall be calculated in accordance
     with the above formula.

                                                            3
US-DOCS\121513800.4
             Case 20-12522-JTD     Doc 2917      Filed 06/18/21      Page 711 of 835


                              •   the Assigned Insurance Rights.
                           The cash payments described above include amounts to be
                           determined by the Governmental Plaintiff Ad Hoc Committee and
                           the MSGE Group for reimbursement of plaintiffs’/claimants
                           attorneys’ fees and costs (not including (i) Restructuring Expenses,
                           which shall be paid directly by the Debtors, and (ii) any reasonable,
                           documented fees and expenses incurred by the Governmental
                           Plaintiff Ad Hoc Committee and the MSGE Group on or after the
                           Plan Effective Date in connection with implementation of the Plan
                           (excluding, for the avoidance of doubt, the expenses of
                           administration of the Opioid Trust (the “Trust Expenses”)), which
                           shall be paid directly by the Reorganized Debtors), and will be joint
                           and several obligations (or be subject to an economically similar
                           arrangement, e.g., one effected by guarantees, subject to tax
                           considerations) of all of the current and future borrowers, issuers,
                           pledgers and guarantors of the Debtors’ funded indebtedness from
                           time to time; provided, that for so long as the First Lien Notes,
                           Second Lien Notes, the New First Lien Term Loans or Takeback
                           Second Lien Notes remain outstanding, in no event shall the cash
                           payments described above be guaranteed by an entity that does not
                           also guarantee the First Lien Notes, Second Lien Notes, the New
                           First Lien Term Loans or Takeback Second Lien Notes.
  Asset Sales;             The Plan and Confirmation Order will also provide that, after any
  Mandatory                sale of (i) Mallinckrodt Enterprises Holdings, Inc. and its subsidiaries
  Prepayments to Opioid    (including, for the avoidance of doubt, its successors and assigns) or
  Trust                    (ii) a material portion of their assets or businesses (including as a
                           result of a merger, equity sale, or asset sale), subject to compliance
                           with the Debtors’ covenants under their funded indebtedness (as may
                           be modified from time to time), fifty percent (50%) of the “net
                           proceeds” of such sale (after, for the avoidance of doubt, compliance
                           with then-existing covenants) shall be paid to the Opioid Trust; and
                           the amount of such net proceeds actually conveyed to the Opioid
                           Trust will be deemed a ratable repayment against the remaining
                           structured payments described above that the Opioid Trust is entitled
                           to receive. For the avoidance of doubt, the Debtors will not be under
                           any obligation to undertake any such sale on any particular
                           timeframe.

  Tax Matters              The Opioid Settlement shall be implemented with the objective of
                           maximizing tax efficiency to (i) Mallinckrodt, including with respect
                           to the availability, location and timing of tax deductions and (ii) to
                           the Opioid Claimants, including with respect to the tax classification
                           of the Opioid Trust.
                          The Opioid Trust will be treated as a qualified settlement fund for tax
                          purposes.



                                                4
US-DOCS\121513800.4
             Case 20-12522-JTD   Doc 2917      Filed 06/18/21     Page 712 of 835


                          The Parties intend that payments to the Opioid Trust will constitute
                          “restitution” within the meaning of Section 162(f) of the Internal
                          Revenue Code, and will be so characterized for U.S. federal income
                          tax purposes to the extent such payments are made to or at the
                          direction of government or governmental entities and to the extent
                          allowed by applicable law.

  Certain Insurance       In implementing the assignment of the Assigned Insurance Rights,
  Matters                 the Debtors or the Reorganized Debtors, on the one hand, and the
                          Governmental Plaintiff Ad Hoc Committee and the MSGE Group,
                          or the Opioid Trust, on the other hand, shall cooperate and negotiate
                          in good faith concerning (i) treatment of unsatisfied self-insured
                          retentions under the applicable policies with the objective of
                          minimizing adverse consequences to Mallinckrodt, Reorganized
                          Mallinckrodt, and the Opioid Trust (it being understood that the
                          foregoing obligation shall not require the Debtors or Reorganized
                          Debtors to satisfy all or any portion of any such self-insured
                          retentions) and (ii) any actions by the Debtors, Reorganized Debtors,
                          or the Opioid Trust to pursue or preserve the insurance policies
                          relating to the Assigned Insurance Rights. The Debtors and the
                          Reorganized Debtors will use their reasonable best efforts to provide
                          to the Opioid Trust all documents, information, and other
                          cooperation that is reasonably necessary for the Opioid Trust to
                          pursue the Assigned Insurance Rights.
  Opioid Trust            The Opioid Trust Documents will comply with the requirements of
  Documents               the Bankruptcy Code. The material terms of the Opioid Trust
                          Documents will be described in the Disclosure Statement and forms
                          of the Opioid Trust Documents shall be included in the Plan
                          Supplement, with such summaries and forms of documents (i) to be
                          acceptable to the Governmental Plaintiff Ad Hoc Committee and the
                          MSGE Group and reasonably acceptable to the Debtors and the
                          Required Supporting Unsecured Noteholders and (ii), to the extent
                          practicable, delivered to the advisors to the Ad Hoc First Lien
                          Term Lender Group prior to being filed with the Bankruptcy
                          Court.




                                              5
US-DOCS\121513800.4
             Case 20-12522-JTD    Doc 2917      Filed 06/18/21     Page 713 of 835


  New Opioid Warrants     The agreement governing the New Opioid Warrants shall constitute
  Agreement               Definitive Documentation under the Restructuring Support
                          Agreement and will:
                             •   contain terms and conditions, including, without limitation,
                                 cashless exercise option (as far as legally permissible), anti-
                                 dilution protection (including, without limitation, against
                                 stock splits, stock dividends and similar events) and Black
                                 Scholes protections to be agreed, in each case, as customary
                                 for transactions of this type and otherwise acceptable to the
                                 Debtors and, the Governmental Plaintiff Ad Hoc Committee,
                                 and the MSGE Group;
                             •   provide for a registration rights agreement satisfactory to the
                                 Governmental Plaintiff Ad Hoc Committee and the MSGE
                                 Group with respect to the New Opioid Warrants and the
                                 stock issuable upon
                                 • exercise of the New Opioid Warrants providing for, among
                                 other things, a resale shelf registration statement and
                                 customary demand and piggyback rights; and
                             •   contain enhanced information rights and a covenant requiring
                                 Mallinckrodt to, upon request by the Opioid Trust on
                                 reasonable notice and subject to reimbursement by the Trust
                                 of Mallinckrodt’s reasonable and documented out-of-pocket
                                 costs and expenses (provided, however, that such notice and
                                 reimbursements obligations of the Opioid Trust shall be on
                                 terms no less favorable to the Opioid Trust than any such
                                 obligations of any other shareholder of the Reorganized
                                 Debtors with similar rights), reasonably cooperate in good
                                 faith with any private sale by the Opioid Trust of the New
                                 Opioid Warrants or any shares received as a result of the
                                 exercise of the New Opioid Warrants.

  Channeling Injunction   The Plan and the Confirmation Order will contain (i) a release by
                          holders of Opioid Claims and (ii) an injunction channeling all Opioid
                          Claims against the Protected Parties to the Opioid Trust, in each case,
                          substantially on the terms set forth on Exhibit 1 hereto.
                          In addition, and for the avoidance of doubt, the Plan and
                          Confirmation Order will also provide for customary releases by the
                          Company and by other holders of claims and interests, exculpation
                          provisions, and related injunctive provisions, in each case consistent
                          with Annex 4 to the Restructuring Term Sheet.




                                               6
US-DOCS\121513800.4
             Case 20-12522-JTD   Doc 2917      Filed 06/18/21     Page 714 of 835


  Operating Injunction    The Company shall seek entry of an injunctive order to be effective
                          on the Petition Date, defining the manner in which the Debtors’
                          opioid business may be lawfully operated by the Debtors or any
                          successors thereto on a going-forward basis during the pendency of
                          the Chapter 11 Cases, on the terms set forth on Exhibit 2 hereto (the
                          “Chapter 11 Operating Injunction”).
                          The Confirmation Order (or a separate order of the Bankruptcy Court
                          or another court of competent jurisdiction, if so agreed by the
                          Company, the Governmental Plaintiff Ad Hoc Committee, and the
                          MSGE Group) will extend the Chapter 11 Operating Injunction to
                          govern the Reorganized Debtors’ operations after the Plan Effective
                          Date (the “Post-Plan Effective Date Operating Injunction” together
                          with the Chapter 11 Operating Injunction, the “Operating
                          Injunctions”).
                          The Operating Injunctions shall be acceptable to the Debtors and, the
                          Governmental Plaintiff Ad Hoc Committee, and the MSGE Group,
                          and reasonably acceptable to the Required Supporting Unsecured
                          Noteholders.




                                              7
US-DOCS\121513800.4
             Case 20-12522-JTD    Doc 2917     Filed 06/18/21     Page 715 of 835


  Assigned Claims         During the pendency of the Chapter 11 Cases, the Debtors shall
  Cooperation             reasonably cooperate with counsel to the Governmental Plaintiff Ad
                          Hoc Committee and the MSGE Group Counsel in connection with
                          the investigation and preservation of the Assigned Third-Party
                          Claims and Assigned Insurance Rights, including by providing non-
                          privileged information (including, without limitation, documents,
                          emails and access to individuals with information), at the reasonable
                          request of counsel to the Governmental Plaintiff Ad Hoc Committee
                          and the MSGE Group Counsel. The Debtors shall, at the
                          reasonable request of the Unsecured Notes Ad Hoc Group, inform
                          counsel to the Unsecured Notes Ad Hoc Group of the status and
                          scope of any such cooperation.
                          The Debtors shall use reasonable efforts to provide all readily
                          available, non-privileged information relating to the Assigned Third-
                          Party Claims and Assigned Insurance Rights to counsel to the
                          Governmental Plaintiff Ad Hoc Committee and the MSGE Group
                          Counsel during the Debtors’ bankruptcy cases; provided, however,
                          that such information shall be provided prior to entry of the
                          Confirmation Order.
                          On and after the Plan Effective Date, the Reorganized Debtors shall
                          provide reasonable cooperation to the Opioid Trust in connection
                          with the Opioid Trust’s investigation, preservation and pursuit of the
                          Assigned Third-Party Claims and Assigned Insurance Rights. The
                          terms and conditions of such cooperation shall be mutually agreed
                          by the Debtors, the Governmental Plaintiff Ad Hoc Committee, the
                          MSGE Group, and the Required Supporting Unsecured Noteholders
                          and set forth in the Plan Supplement and included in the
                          Confirmation Order. The Opioid Trust shall reimburse the
                          Reorganized Debtors for their documented and reasonable out-of-
                          pocket costs and expenses incurred in connection with such
                          reasonable cooperation from and after the Plan Effective Date.
                          Any request by the Opioid Trust or, the Governmental Plaintiff Ad
                          Hoc Committee, or the MSGE Group for cooperation by the
                          Debtors and Reorganized Debtors shall be on reasonable advance
                          notice, and provided during normal business hours and otherwise in
                          a manner that does not disrupt commercial operations.
  Other Terms of Plan     The Plan and/or Confirmation Order will provide for, among other
  and Confirmation        things, the following:
  Order
                             •   Mallinckrodt will be required to participate in an industry-
                                 wide document disclosure program (if any) by disclosing
                                 publicly a subset of its litigation documents, subject to scope
                                 and protocols to be negotiated in good faith with the
                                 Governmental Plaintiff Ad Hoc Committee, the MSGE
                                 Group, and the Required Supporting Unsecured Noteholders;


                                               8
US-DOCS\121513800.4
             Case 20-12522-JTD   Doc 2917      Filed 06/18/21      Page 716 of 835


                            •    any attorney-client privilege, work-product privilege, or
                                 other privilege or immunity attaching to any documents or
                                 communications (whether written or oral) associated with the
                                 Assigned Third-Party Claims and Assigned Insurance Rights
                                 shall be transferred to the Opioid Trust and shall vest in the
                                 Opioid Trust, and the Debtors or the Reorganized Debtors, as
                                 the case may be, and the Opioid Trust shall take all necessary
                                 actions to effectuate the transfer of such privileges; provided,
                                 that (a) such privileges shall be transferred to the Opioid
                                 Trust for the sole purpose of enabling, and to the extent
                                 necessary to enable, the Opioid Trust to investigate and/or
                                 pursue such Assigned Third-Party Claims and Assigned
                                 Insurance Rights and (b) no documents or communications
                                 subject to a privilege shall be publicly disclosed by the
                                 Opioid Trust or communicated to any person not entitled to
                                 receive such information or in a manner that would diminish
                                 the protected status of such information, unless such
                                 disclosure or communication is reasonably necessary to
                                 preserve, secure, prosecute, or obtain the benefit of the
                                 Assigned Third-Party Claims and Assigned Insurance Rights;
                                 provided, further, that the Confirmation Order shall provide
                                 that the Opioid Trust’s receipt of transferred privileges shall
                                 be without waiver in recognition of the joint and/or
                                 successorship interest in prosecuting claims on behalf of the
                                 Debtors’ estates;
                            •    the Opioid Trust shall be authorized to conduct Rule 2004
                                 examinations, to the fullest extent permitted thereunder, to
                                 investigate the Assigned Third-Party Claims and Assigned
                                 Insurance Rights, without the requirement of filing a motion
                                 for such authorization; provided, however, that no such Rule
                                 2004 examinations shall be taken of the Debtors, the
                                 Reorganized Debtors, or any of their respective then-current
                                 employees, officers, directors or representatives, without
                                 further order of the Bankruptcy Court after notice and an
                                 opportunity to object and be heard;
                            •    the exercise of remedies (including, without limitation, rights
                                 of setoff and/or recoupment) by non-Mallinckrodt third
                                 parties against Mallinckrodt on account of any Assigned
                                 Third-Party Claims shall be enjoined and barred, to the extent
                                 permitted by applicable law; and
                            •    the covenants and enforcement rights with respect to
                                 Mallinckrodt’s deferred payment obligations owed to the
                                 Opioid Trust in form and substance reasonably acceptable to
                                 the Debtors, the Governmental Plaintiff Ad Hoc Committee,
                                 the MSGE Group, and the Required Supporting Unsecured
                                 Noteholders in light of the nature, duration and form of the

                                              9
US-DOCS\121513800.4
             Case 20-12522-JTD   Doc 2917     Filed 06/18/21     Page 717 of 835


                                 deferred payment obligations.




                                             10
US-DOCS\121513800.4
             Case 20-12522-JTD       Doc 2917       Filed 06/18/21       Page 718 of 835


                                 Glossary of Key Defined Terms


            Term                                                  Meaning
     Additional Insurance    Additional rights in respect of insurance and/or other consideration, to be agreed
            Rights           to by the Debtors, the Supporting Governmental Opioid Claimants, the MSGE
                             Group, and Supporting Unsecured Noteholders holding no less than two-thirds
                             in outstanding principal amount of Guaranteed Unsecured Notes held by the
                             Supporting Unsecured Noteholders then party to the Restructuring Support
                             Agreement.

      Assigned Insurance     (a) Any and all claims, demands, entitlements to proceeds, payments, benefits, or
            Rights           Causes of Action of the Debtors under any and all general liability and products
                             liability insurance policies that do or may afford the Debtors with rights, benefits,
                             defense, indemnity, or insurance coverage with respect to any Opioid Claim, and
                             (b) the Additional Insurance Rights.

        Assigned Medtronic All Causes of Action of the Debtors against Medtronic plc and/or its subsidiaries,
                 Claims    and each of their predecessors, successors, and assigns, including, without
                           limitation, all Avoidance Actions of the Debtors against such parties

      Assigned Third-Party (a) All Causes of Action of the Debtors arising out of Opioid Claims, including,
                Claims     without limitation, all Avoidance Actions arising out of Opioid Claims, but
                           excluding any Causes of Action against Parent or any of its subsidiaries, or any
                           Released Party, and (b) the Assigned Medtronic Claims.

      Avoidance Actions      Any and all avoidance, recovery, subordination or similar actions or remedies that
                             may be brought by and on behalf of the Debtors or their estates under the
                             Bankruptcy Code or applicable non-bankruptcy law, including, without
                             limitation, actions or remedies arising under chapter 5 of the Bankruptcy Code.

       Causes of Action      Any claims, causes of action (including Avoidance Actions), demands, actions,
                             suits, obligations, liabilities, cross-claims, counterclaims, defenses, offsets, or
                             setoffs of any kind or character whatsoever, in each case whether known or
                             unknown, contingent or noncontingent, matured or unmatured, suspected or
                             unsuspected, foreseen or unforeseen, direct or indirect, choate or inchoate,
                             existing or hereafter arising, under statute, in contract, in tort, in law, or in equity,
                             or pursuant to any other theory of law, federal or state, whether asserted or
                             assertable directly or derivatively in law or equity or otherwise by way of claim,
                             counterclaim, cross-claim, third party action, action for indemnity or contribution
                             or otherwise.




Glossary - 11
US-DOCS\121513800.4
             Case 20-12522-JTD       Doc 2917      Filed 06/18/21     Page 719 of 835

          Term                                                    Meaning
    New Opioid Warrants      Warrants to acquire the number of New Mallinckrodt Common Shares that would
                             represent 19.99% of all such outstanding shares after giving effect to the exercise
                             of the New Opioid Warrants, subject to dilution from equity reserved under the
                             MIP, at a strike price reflecting an aggregate equity value for the Reorganized
                             Debtors of $1.551 billion, which warrants shall be exercisable at any time on or
                             prior to the seventh anniversary of the Plan Effective Date; provided, that if the
                             Reorganized Debtors exercise the Prepayment Option and prepay the Deferred
                             Cash Payments in full, such warrants shall be exercisable only through and
                             including the fifth anniversary of the Plan Effective Date.
         Opioid Claim        Claims and causes of action, whether existing now or arising in the future, and
                             whether held by a Governmental Entity or private party, against Mallinckrodt in
                             any way arising out of or relating to opioid products manufactured or sold by
                             Mallinckrodt or any of their predecessors prior to the Plan Effective Date,
                             including, for the avoidance of doubt and without limitation, Claims for
                             indemnification (contractual or otherwise), contribution, or reimbursement
                             against Mallinckrodt on account of payments or losses in any way arising out of
                             or relating to opioid products manufactured or sold by Mallinckrodt or any of their
                             predecessors prior to the Plan Effective Date, including Future Opioid PI Claims;
                             provided, that Mallinckrodt shall agree to comply with the terms of the Chapter
                             11 Operating Injunction as of the Petition Date, and that “Opioid Claims” shall
                             not include any claims in any way arising, in whole or in part, from a violation of
                             the Chapter 11 Operating Injunction



        Opioid Claimant      A holder of an Opioid Claim
         Opioid Trust        The trust that is to be established in accordance with the Plan, the Confirmation
                             Order, and the Opioid Trust Documents, which trust will satisfy the requirements
                             of section 468B of the Internal Revenue Code and the Treasury Regulation
                             promulgated thereunder (as such may be modified or supplemented from time to
                             time); provided, however, that nothing contained herein shall be deemed to
                             preclude the establishment of one or more trusts as determined by the Opioid
                             Claimants to be reasonably necessary or appropriate to provide tax efficiency to
                             the Opioid Trust and Opioid Claimants (and all such trusts shall be referred to
                             collectively as the “Opioid Trust”), so long as the establishment of multiple trusts
                             is not reasonably expected to result in any adverse tax consequences for
                             Mallinckrodt.


   Opioid Trust Documents The documents governing: (i) the Opioid Trust; (ii) any sub-trusts or vehicles that
                          comprise the Opioid Trust; (iii) the flow of consideration from the Debtors’
                          estates to the Opioid Trust or any sub-trusts or vehicles that comprise the Opioid
                          Trust; (iv) submission, resolution, and distribution procedures in respect of all
                          Opioid Claims; and (v) the flow of distributions, payments or flow of funds made
                          from the Opioid Trust or any such sub-trusts or vehicles after the Plan Effective
                          Date.



Glossary - 12
US-DOCS\121513800.4
             Case 20-12522-JTD     Doc 2917      Filed 06/18/21     Page 720 of 835

            Term                                             Meaning
       Original Payment    The schedule for deferred cash payments under the February 2020 agreement in
           Schedule        principle reached between certain state attorneys general and the Debtors,
                           providing for the following payments on the following dates:

                                          Date                       Payment Amount
                          Plan Effective Date                $300,000,000
                          Each of 1st and 2nd                $200,000,000
                          anniversaries of Plan Effective
                          Date
                          Each of 3rd through 8th            $150,000,000
                          anniversaries of Plan Effective
                          Date
            Parent         Mallinckrodt plc
        Protected Party    (a) The Debtors, (b) the Reorganized Debtors, (c) the Non-Debtor Affiliates, (d)
                           with respect to each of the foregoing Persons in clauses (a) through (c), such
                           Persons’ predecessors, successors, permitted assigns, subsidiaries, and controlled
                           affiliates, respective heirs, executors, estates, and nominees, in each case solely
                           in their capacity as such, and (e) with respect to each of the foregoing Persons in
                           clauses (a) through (d), such Persons’ officers and directors, principals, members,
                           employees, financial advisors, attorneys, accountants, investment bankers,
                           consultants, experts and other professionals, provided that, solely as to any
                           Supporting Governmental Opioid Plaintiff, consultants and experts in this clause
                           (e) shall not include those retained to provide strategic advice for sales and
                           marketing of opioid products who have received a civil investigative demand or
                           other subpoena related to sales and marketing of opioid products from any State
                           Attorney General on or after January 1, 2019 through the Petition Date.




Glossary - 13
US-DOCS\121513800.4
             Case 20-12522-JTD        Doc 2917      Filed 06/18/21      Page 721 of 835



                                              Exhibit 1

                        Channeling Injunction/Opioid Claimant Release


Releases by Holders of Opioid Claims


         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b)
 of the Bankruptcy Code (and any other applicable provisions of the Bankruptcy Code), as of the
 Plan Effective Date, for good and valuable consideration, the adequacy of which is hereby
 confirmed, each Opioid Claimant (in its capacity as such) is deemed to have released and
 discharged, to the maximum extent permitted by law, as such law may be extended subsequent to
 the Plan Effective Date, each Debtor, Reorganized Debtor, and Protected Party from any and all
 Claims (including Opioid Claims), counterclaims, disputes, obligations, suits, judgments,
 damages, demands, debts, rights, Causes of Action, Liens, remedies, losses, contributions,
 indemnities, costs, liabilities, attorneys’ fees and expenses whatsoever, including any derivative
 claims asserted, or assertable on behalf of the Debtors, or their Estates, whether liquidated or
 unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
 unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether
 in law or equity, whether sounding in tort or contract, whether arising under federal or state
 statutory or common law, or any other applicable international, foreign, or domestic law, rule,
 statute, regulation, treaty, right, duty, requirement or otherwise, that that such Entity would have
 been legally entitled to assert in their own right (whether individually or collectively) or on behalf
 of any other Person, based on or relating to, or in any manner arising from, in whole or in part, the
 Debtors (including the management, ownership, or operation thereof), their Estates, the Opioid
 Claims, the Debtors’ in- or out-of-court restructuring efforts (including the Chapter 11 Cases),
 intercompany transactions between or among a Debtor and another Debtor, the restructuring of
 any Claim or Equity Interest before or during the Chapter 11 Cases, any Avoidance Actions, the
 negotiation, formulation, preparation, dissemination, filing, or implementation of, prior to the Plan
 Effective Date, the Opioid Trust, Opioid Trust Documents and the “Agreement in Principle for
 Global Opioid Settlement and Associated Debt Refinance Activities” announced by the Parent on
 February 25, 2020, the Restructuring Support Agreement, the Disclosure Statement, the Plan, any
 Restructuring Transaction, or any contract, instrument, release, or other agreement or document
 (including providing any legal opinion requested by any Entity regarding any transaction, contract,
 instrument, document, or other agreement contemplated by the Plan or the reliance by any
 Protected Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or
 entered into prior to the Plan Effective Date in connection with the creation of the Opioid Trust,
 the “Agreement in Principle for Global Opioid Settlement and Associated Debt Refinance
 Activities” announced by the Parent on February 25, 2020, the Restructuring Support Agreement
 and related prepetition transactions, the Disclosure Statement, the Plan, the Plan Supplement, the
 Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of Confirmation (including the
 solicitation of votes on the Plan), the pursuit of Consummation, the administration and
 implementation of the Plan, including the issuance or distribution of securities pursuant to the Plan,
 or the distribution of property under the Plan or any other related agreement, or upon any other act
 or omission, transaction, agreement, event, or other occurrence or circumstance taking place on or
 before the Plan Effective Date related or relating to any of the foregoing. Notwithstanding anything
 to the contrary in the foregoing, the releases set forth above do not release any post-Plan Effective

US-DOCS\121513800.4
             Case 20-12522-JTD         Doc 2917       Filed 06/18/21      Page 722 of 835

 Date obligations of any party or Entity under the Plan, any post-Plan Effective Date transaction
 contemplated by the Restructuring, or any document, instrument, or agreement (including those
 set forth in the Plan Supplement) executed to implement the Plan. The foregoing release will be
 effective as of the Plan Effective Date without further notice to or order of the Bankruptcy Court,
 act or action under applicable law, regulation, order, or rule or the vote, consent, authorization or
 approval of any Person and the Confirmation Order shall permanently enjoin the commencement
 or prosecution by any Person, whether directly, derivatively or otherwise, of any claims,
 obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, or liabilities
 released pursuant to the foregoing release by Opioid Claimants.


         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
 to Bankruptcy Rule 9019, of this release by Opioid Claimants, which includes by reference each
 of the related provisions and definitions contained herein, and, further, shall constitute the
 Bankruptcy Court’s finding that this release is: (1) consensual; (2) essential to the confirmation of
 the Plan; (3) given in exchange for the good and valuable consideration provided by the Released
 Parties; (4) a good-faith settlement and compromise of the Claims released by the third-party
 release; (5) in the best interests of the Debtors and their Estates; (6) fair, equitable, and reasonable;
 (7) given and made after due notice and opportunity for hearing; and (8) a bar to any Opioid
 Claimant asserting any claim or Cause of Action released pursuant to this release.




US-DOCS\121513800.4
            Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 723 of 835




                                       Channeling Injunction


         Terms. Pursuant to section 105(a) of the Bankruptcy Code, from and after the Plan
 Effective Date, the sole recourse of any Opioid Claimant on account of its Opioid Claims shall
 be to the Opioid Trust pursuant to this section [ ] of the Plan and the Opioid Trust Documents,
 and such Opioid Claimant shall have no right whatsoever at any time to assert its Opioid Claim
 against any Protected Party or any property or interest in property of any Protected Party. On
 and after the Plan Effective Date, all present and future Opioid Claimants shall be permanently
 and forever stayed, restrained, barred, and enjoined from taking any of the following actions
 for the purpose of, directly or indirectly or derivatively collecting, recovering, or receiving
 payment of, on, or with respect to any Opioid Claim other than from the Opioid Trust pursuant
 to the Opioid Trust Documents:


     •    commencing, conducting, or continuing in any manner, directly, indirectly or
          derivatively, any suit, action, or other proceeding of any kind (including a judicial,
          arbitration, administrative, or other proceeding) in any forum in any jurisdiction around
          the world against or affecting any Protected Party or any property or interests in
          property of any Protected Party;
     •    enforcing, levying, attaching (including any prejudgment attachment), collecting, or
          otherwise recovering by any means or in any manner, whether directly or indirectly,
          any judgment, award, decree, or other order against any Protected Party or any property
          or interests in property of any Protected Party;
     •    creating, perfecting, or otherwise enforcing in any manner, directly or indirectly, any
          Encumbrance against any Protected Party or any property or interests in property of
          any Protected Party;
     •    setting off, seeking reimbursement of, contribution from, or subrogation against, or
          otherwise recouping in any manner, directly or indirectly, any amount against any
          liability owed to any Protected Party or any property or interests in property of any
          Protected Party; or
     •    proceeding in any manner in any place with regard to any matter that is within the
          scope of the matters designated by the Plan to be subject to resolution by the Opioid
          Trust, except in conformity and compliance with the Opioid Trust Documents.

         Reservations. The foregoing injunction shall not stay, restrain, bar, or enjoin (a) the
 rights of Opioid Claimants to assert Opioid Claims against the Opioid Trust in accordance with
 the Plan and the Opioid Trust Documents; and (b) the rights of Entities to assert any Claim, debt,
 obligation, or liability for payment of Trust Expenses against the Opioid Trust.




US-DOCS\121513800.4
Case 20-12522-JTD   Doc 2917   Filed 06/18/21     Page 724 of 835




                         Exhibit 2
                    Operating Injunction



              [No Changes - See Docket No. 128]
            Case 20-12522-JTD             Doc 2917        Filed 06/18/21        Page 725 of 835




                                                   Annex A
Prepayment Cost of Deferred Cash Payments at Various Months After Plan Effective Date1

                              Months after              Prepayment Cost of
                              Plan Effective          Deferred Cash Payments
                               Date (end of
                                 month)
                                    0                        $679,648,516
                                    1                        $687,520,879
                                    2                        $695,467,941
                                    3                        $703,490,411
                                    4                        $711,589,005
                                    5                        $719,764,445
                                    6                        $728,017,460
                                    7                        $736,348,785
                                    8                        $744,759,166
                                    9                        $753,249,350
                                   10                        $761,820,096
                                   11                        $770,472,168
                                   12                        $779,206,3382




1
 Amounts shown in annex above show the prepayment cost at the end of each of the 12 months after the Plan Effective
Date. To the extent a prepayment occurs other than at the end of the month, the prepayment cost shall be calculated
as of such prepayment date pursuant to the formula set forth in the Opioid Settlement Term Sheet.
2
   Prepayment right may be exercised prior to the first anniversary of the Plan Effective Date. Month twelve is
illustratively shown and includes $200,000,000 payment due at such time.
            Case 20-12522-JTD             Doc 2917     Filed 06/18/21   Page 726 of 835




                                                  Schedule 3

                                    First Lien Settlement Term Sheet




US-DOCS\121506240.10 MNK - A&R Creed Plan Term Sheet
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 727 of 835




                          Annex 1

                    Term Lender Holdings

                         [Redacted]
Case 20-12522-JTD    Doc 2917    Filed 06/18/21   Page 728 of 835




                            Exhibit C
                    Corporate Structure Chart
                                                                                                                                 Case
                                                                                                                                 Case20-12522-JTD
                                                                                                                                      20-12522-JTD Doc
                                                                                                                                                   Doc2917
                                                                                                                                                       128 Filed
                                                                                                                                                           Filed10/12/20
                                                                                                                                                                 06/18/21 Page
                                                                                                                                                                          Page256
                                                                                                                                                                               729of
                                                                                                                                                                                  of256
                                                                                                                                                                                     835                                                                              Mallinckrodt plc
                                                                                                                                                                                                                                                                           (Ireland)




                                                                                                                                                                                                                                                                         Mallinckrodt
                                                                                                                                                                                                                                               Mallinckrodt                                     ST 2020 LLC
                                                                                                                                                                                                                                                                        International
                                                                                                                                                                                                                                                UK Ltd                                              (DE)
                                                                                                                                                                                                                                                                        Finance SA
                                                                                                                                                                                                                                                  (UK)
                                                                                                                                                                                                                                                                       (Luxembourg)

                                                             Mallinckrodt                                                                                                                                      Mallinckrodt                                Mallinckrodt                                                                  Mallinckrodt
                       Mallinckrodt                                                                                                               Mallinckrodt                                                                                                                             Mallinckrodt CB                                                                                              Mallinckrodt          Mallinckrodt Lux
                                                            International                                                                                                                                      Securitization                              Pharma IP                                                                   Pharmaceuticals
                     Holdings GmbH                                                                                                                Group Sarl                                                                                                                                      LLC                                                                                                  ARD Holdings                 IP Sarl
                                                           Holdings Sarl                                                                                                                                           Sarl                                 Trading Unlimited                                                              Ireland Limited
                      (Switzerland)                                                                                                              (Luxembourg)                                                                                                                                     (DE)                                                                                                 Limited (UK)            (Luxembourg)
                                                           (Luxembourg)                                                                                                                                       (Luxembourg)                                Co. (Ireland)                                                                    (Ireland)

                                          Mallinckrodt                                                                                                                                                                                                                                                                                                                                                  MUSHI UK                  Montjeu
     Mallinckrodt           Cache                           Mallinckrodt                                           Therakos                                                                                                         Mallinckrodt IP        Acthar IP                                                                  Mallinckrodt Finance
                                         SAG Holdings                                                                                        Mallinckrodt Canada                   Schaffhausen                                                                                ProFibrix B.V.                      Sonorant
                                                                                                                                                                                                                                                                                                                                      Management Ireland
                                                                                                                                                                                                                                                                                                                                                               Therakos EMEA                          Holdings Limited             Limited
    Pharma K.K.       Holdings Limited                    Pharmaceuticals                                       Europe Limited                Cooperatie U.A. #                      Br anch                                        Unlimited Co.        Unlimited Co.                                        Therapeutics Limited                                 Limited                                  (UK)                  (Ireland)
                                            GmbH                                                                                                                                                                                                                                (Netherlands)                                                Limited
      (Japan)            (Bermuda)                         Limited (UK)                                            (Ireland)                   (Netherlands)                     (Swiss Br anch)                                        (Ireland)           (Ireland)                                              (Ireland)
                                                                                                                                                                                                                                                                                                                                            (Ireland)
                                                                                                                                                                                                                                                                                                                                                                  (Ireland)
                                         (Switzerland)
                                                                                                                                                                                                                                                                                                                                                                                                        Mallinckrodt
                                                                                                                                                                                                                                                                                                                                                                                                      Enterprises UK
                                                            Mallinckrodt                                                                                                                                                               Mallinckrodt       Mallinckrodt
                                                                                  Mallinckrodt UK                      Mallinckrodt             Mallinckrodt               Mallinckrodt                                                                                                                                                                                                                   Limited
                                                            Buckingham                                                                                                                                                             Hospital Products        ARD IP
                                                                                   Finance LLP                        Canada ULC              Chemical Limited          Netherlands B.V.                                                                                                                                                                                                                   (UK)
                                                           Unlimited Co.                                                                                                                                                            IP Unlimited Co.     Unlimited Co.
                                                                                         (UK)                           (Canada)                   (UK)                   (Netherlands)
                                                              (Ireland)                                                                                                                                                                 (Ireland)           (Ireland)                                                                                                           MEH, Inc.
                                                                                                                                                                                                                                                                                                                                                                                  (NV)
                                                            Mallinckrodt
                                                            Quincy Sarl
                                                           (Luxembourg)                                                                                                                                                                                                                                                                                                                                                                          Sucampo
                                                                                                                                                                                                                                                                                 ST US Holdings                                               ST Operations           MAK LLC                                                                 Pharmaceuticals,
                                                                                                                                                                                                                                                                                      LLC                                                         LLC                   (DE)                                                                        Inc.
                                                                                                                                                                                                                                                                                     (NV)                                                         (DE)
                                                            Mallinckrodt                                                                                                                                                                                                                                                                                                                                                                           (DE)
                                                           Windsor Sarl
                                                                                                                                                                                             Dritte CORSA                                                                          Mallinckrodt
                                                           (Luxembourg)                                                                                 Mallinckrodt Medical
                                                                                                                                                                                             Verwaltungs -                IMC Exploration        Mallinckrodt                                                                                                           Ocera
                                                                                                                                                          Holdings (UK)                                                                                                              Brand                                                                                                                                                                  Sucampo
                                                                                                                                                                                             geselleschaft                  Company            Veterinary, Inc.                                                                                                   Therapeutics, Inc.                                                Vtesse LLC
                                                                                                                                                               Limited                                                                                                           Pharmaceuticals                                                                                                                                                          Holdings Inc.
                                                                                                                                                                                                  mbH                         (MD)                   (DE)                                                                                                               (DE)                                                           (DE)
                                                                                                                                                                (UK)                                                                                                                                                                                                                                                                                           (DE)
                                                         Mallinckrodt Windsor                                                                                                                 (Germany)                                                                            LLC (DE)
                                                                                MKG Medical UK
                                                           Ireland Financ e                                                                                                                                                                                                                                                         Petten
                                                              Unlimited Co.          Ltd.
                                                                                     (UK)                                                                                                                                                                                                                                        Holdings Inc.
                                                                (Ireland)                                                                                                                                                                                                        MNK 2011 LLC                                                                                                                                                               Sucampo
                                                                                                                                                                                                                                                                                                                                      (DE)
                                                                                                                                                           Zweignieder-lassung                                                      Mallinckrodt US                                  (DE)                                                                                                                                                               Pharma Americas
                                                                                                                                                              Deutschland
                                                                                                                                                                                                         Carnforth Limited                               ST US Pool LLC
                                                                                                                                                                                                                                     Holdings LLC                                                                                                                                                                                                             LLC
                     Key                                                                                                                                        (Germany
                                                                                                                                                                 Branch)
                                                                                                                                                                                                            (Bermuda)
                                                                                                                                                                                                                                           (DE)
                                                                                                                                                                                                                                                              (DE)
                                                                                                                                                                                                                                                                                                                                                                                                                                                              (DE)
                                                                                                                                                                                                                                                                                                                                                                                                      Mallinckrodt
         Debtor and obligor on ABL, Term Loans, all                                                                                                                                                                                                                                                     Mallinckrodt US                Mallinckrodt           ST Shared          Mallinckrodt
                                                                                                                                                                                                                                                                                   Ludlow LLC                                                                                                         Enterprises                                            Sucampo
         Unsecured Notes (except 4.75% due 2023                                                                                                                                                                                                                                                             Pool LLC                 Equinox Limited         Services LLC      Equinox Finance
                                                                                                                                                                                                                                                                                      (MA)                                                                                                           Holdings, Inc.                                        International
         and Legacy Debentures)                                                                                                                                                                                                                                                                                (NV)                       (UK)                   (DE)             LLC (DE)
                                                                                                                                                                                                                                                                                                                                                                                                          (CA)                                           Holdings Limited
         Debtor and obligor on ABL, Term Loans, all
                                                                                                                                                                                                                                                                                                                                                                                                                                                               (UK)
         Secured Notes, all Unsecured Notes                                                                                                                                                                                                                                                               Mallinckrodt                 Mallinckrodt
         (except 4.75% due 2023 and Legacy                                                                                                                                                                                                                                         MCCH LLC             Petten Holdings              Chemical Holdings
         Debentures)                                                                                                                                                                                                                                                                 (DE)                    B.V.                       (U.K.) Ltd.
                                                                                                                                                                                                                                                                                                                                          (UK)                                                                                                          Sucampo GmbH
         Debtor and obligor on 4.75% Notes                                                                                                                                                                                                                                                               (Netherlands)
                                                                                                                                                                                                                                                                                                                                                                                       WebsterGx               Mallinckrodt                               (Switzerland)
         due April 2023
                                                                                                                                                                                                                                                                                   Mallinckrodt                                                                                        Holdco LLC             ARD Finance
                                                                                                                                                                                                                                                                                                                                                                                           (NY)                LLC (DE)
                                                                                                                                                                                                                                                                                Hospital Products
         Debtor and obligor on Legacy Debentures
                                                                                                                                                                                                                                                                                    Inc. (DE)                                                                                                                                        Sucampo                Sucampo
                                                                                                                                                                                                                                                                                                                                                                                                                                   Finance Inc.           Pharma, LLC
          Debtor and non-obligor                                                                                                                                                                                                                                                                                                                                                                                                       (DE)                 (Japan)
                                                                                                                                                                         Ikaria Australia                     Ikaria Canada           Mallinckrodt            Stratatech
                                                                                                                                                                                                                                                                                  Therakos, Inc.
                                                                                                                                                                             Pty Ltd.                               Inc.             Manufacturing            Corporation                                                                                                                           Mallinckrodt
          Non-debtor and obligor on ABL, Term                                                                                                                               (Australia)                         (Canada)              LLC (DE)                                         (FL)
                                                                                                                                                                                                                                                                 (DE)                                                                                                                               Enterprises
          Loans, all Secured Notes, all Unsecured                                                                                                                                                                                                                                                                                                                                                   LLC (DE)
          Notes (except 4.75% due 2023 and Legacy
          Debentures)                                                                                                                                                                                              Therakos                                  Infacare
                                                              INO Therapeutics          Therakos                 Therakos                    Therakos (UK),                  Therakos                                              Therakos (Italia)                            Mallinckrodt ARD
          Non-debtor and non-obligor                                                                                                                                                                               (Canada)                               Pharmaceutical
                                                                   LLC              (Belgium) SPRL            Germany GmbH                       Limited                  (France) SAS                                                   S.r.l.                                  Holdings Inc.                                                                                                   Mallinckrodt LLC
                                                                                                                                                                                                                   Company                                 Corporation
                                                                   (DE)                 (Belgium)               (Germany)                         (UK)                       (France)                                                   (Italy)                                        (DE)
                                                                                                                                                                                                                   (Canada)                                    (DE)                                                                                                                                      (DE)

          Branch / Rep Office                                                                                                                                                                                                                                                                            Mallinckrodt
                                                                                                                                                                                                                                                        Mallinckrodt ARD          MHP Finance
                                                                                                    Therakos (UK),               Therakos (UK),             Therakos (UK),                    Therakos (UK),                                                                                            Critical Care
                                                                                                                                                                                                                                                                LLC                   LLC                                                                                                            SpecGx
                                                                                                     Limited, Dutch            Limited, Sucursal en       Limited, Sucursal en              Limited, Private Ltd                                                                                        Finance LLC
#         Minority owner not depicted                                                                   Branch
                                                                                                          (NL)
                                                                                                                                      Espana
                                                                                                                                      (Spain)
                                                                                                                                                                Espana
                                                                                                                                                                (Spain)
                                                                                                                                                                                            Liability Co. Branch
                                                                                                                                                                                                  (Poland)
                                                                                                                                                                                                                                                               (CA)                  (DE)
                                                                                                                                                                                                                                                                                                             (DE)                                                                                  Holdings LLC
                                                                                                                                                                                                                                                                                                                                                                                                        (NY)

                                                                                                                                                                                                                                                              Questcor
                                                                                                                                                                                                                                                         International Ltd.
                                                                                                                                                                                                                                                                                                                                                                                                   SpecGx LLC
                                                                                                                                                                                                                                                              (Ireland)
                                                                                                                                                                                                                                                                                                                                                                                                       (DE)


                                                                                                                                                                                                                                                                                                                                                                                                    Mallinckrodt
                                                                                                                                                                                                                                                                                                                                                                                                    APAP LLC
                                                                                                                                                                                                                                                                                                                                                                                                       (DE)
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 730 of 835




                         Exhibit D
                    Financial Projections
             Case 20-12522-JTD             Doc 2917          Filed 06/18/21      Page 731 of 835



A. Introduction
The Debtors 1 have prepared the Projections (as defined below) to assist the Bankruptcy Court in
determining whether the Plan meets the “feasibility” requirements of section 1129(a)(11) of title 11 of the
United States Code (the “Bankruptcy Code”). The Debtors believe that the Plan meets such requirements.
In connection with the negotiation and development of the Plan and for the purpose of determining
whether the Plan meets the feasibility standard outlined in the Bankruptcy Code, the Debtors analyzed
their ability to satisfy their financial obligations while maintaining sufficient liquidity and capital
resources during the Projection Period (as defined below). With this consideration in mind, the Debtors’
management and their financial advisor prepared these consolidated financial projections (the
“Projections”) based on the Company’s business plan as presented in the Company’s Form 8-K filed on
March 10, 2021 for the fiscal quarter ending December 31, 2021 through the fiscal year ending December
26, 2025 (the “Projection Period”). The Projections have been prepared on a consolidated basis,
consistent with the Company’s financial reporting practices, and include all Debtor and non-Debtor
entities (hereafter defined as the “Company”).
The Debtors do not, as a matter of course, publish their projections, strategies, or forward-looking
projections of the financial position, results of operations, and cash flows. Accordingly, the Debtors do
not anticipate that they will, and disclaim any obligation to, furnish updated projections to the holders of
Claims or equity interests after the date of this Disclosure Statement, or to include such information in
documents required to be filed with the Securities and Exchange Commission (“SEC”) or to otherwise
make such information public. The assumptions disclosed herein are those that the Debtors believe to be
significant to the Projections and are “forward looking statements” within the meaning of the Private
Securities Litigation Reform Act of 1995.
The Projections present, to the best of the Debtors’ knowledge and belief, the Reorganized Debtors’
projected balance sheet, results of operations, and cash flows for the Projection Period and reflect the
Debtors’ assumptions and judgments of the projections based on an assumed and estimated emergence
date of September 24, 2021 (the “Emergence Date”). The impact of the restructuring transaction and the
recapitalization of the Company’s capital structure is shown on the Company’s balance sheet, as of
September 24, 2021, the Company’s fiscal quarter end.
Although the Debtors believe these assumptions are reasonable under current circumstances, such
assumptions are subject to inherent uncertainties, including but not limited to, material changes to the
economic environment, pricing pressure on certain products due to potential legislative changes, potential
legal challenges, changes in health insurers' and governmental health administration authorities’
reimbursement practices, changes in the competitive environment, pipeline drug developments, the
ongoing and evolving impact of the global COVID-19 pandemic along with the eventual recovery from
same, and other factors affecting the Company’s businesses. The likelihood, and related financial impact,
of a change in any of these factors cannot be predicted with certainty. Consequently, actual financial
results could differ materially from the Projections. The Projections assume the Plan will be implemented
in accordance with its stated terms. The Projections should be read in conjunction with the assumptions
and qualifications contained herein. Capitalized terms not otherwise defined herein shall have the
meanings ascribed to such terms in either the Disclosure Statement or the Plan, as applicable.



1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing
address is 675 McDonnell Boulevard, Hazelwood, Missouri 63042


                                                         2
           Case 20-12522-JTD           Doc 2917         Filed 06/18/21    Page 732 of 835



THE PROJECTIONS WERE NOT PREPARED WITH A VIEW TOWARD COMPLIANCE WITH
GENERALLY ACCEPTED ACCOUNTING PRINCIPLES (“GAAP”) IN THE UNITED STATES.
FURTHERMORE, THE PROJECTIONS HAVE NOT BEEN AUDITED OR REVIEWED BY A
REGISTERED INDEPENDENT PUBLIC ACCOUNTING FIRM.
THE PROJECTIONS, WHILE PRESENTED WITH NUMERICAL SPECIFICITY, ARE BASED
UPON A VARIETY OF ESTIMATES AND ASSUMPTIONS WHICH MAY NOT BE REALIZED
AND ARE SUBJECT TO SIGNIFICANT BUSINESS, ECONOMIC AND COMPETITIVE
UNCERTAINTIES AND CONTINGENCIES WHICH ARE BEYOND THE CONTROL OF THE
DEBTORS. CONSEQUENTLY, THE PROJECTIONS SHOULD NOT BE REGARDED AS A
REPRESENTATION OR WARRANTY BY THE DEBTORS, OR ANY OTHER PERSON, AS TO
THE ACCURACY OR PRECISION OF THE PROJECTIONS OR THAT THE PROJECTIONS WILL
BE REALIZED. ACTUAL RESULTS MAY DIFFER MATERIALLY FROM THOSE PRESENTED IN
THE PROJECTIONS. HOLDERS OF CLAIMS OR EQUITY INTERESTS MUST MAKE THEIR
OWN ASSESSMENT AS TO THE REASONABLENESS OF SUCH ASSUMPTIONS AND THE
RELIABILITY OF THE PROJECTIONS IN MAKING THEIR DETERMINATION OF WHETHER TO
ACCEPT OR REJECT THE PLAN.
B. Summary of Significant Assumptions
The Projections were developed by the Company’s management using detailed assumptions for net sales
and costs, which were developed using a combination of both “bottoms-up” and “top-down” estimation
techniques for each of the Company’s two major business units, Specialty Brands and Specialty Generics.
The Company considered several factors in developing the Projections, including but not limited to:
    (i)   Current and projected market conditions in each of the Company’s respective products or
          product categories, geographic markets, and business segments
    (ii) Capital expenditure and research and development levels to support growth assumptions
    (iii) A de-levered capital structure with interest rates consistent with the current market
    (iv) Working capital levels based on net sales projections, historical trends, and pipeline product
          launch assumptions
    (v) No anticipated material acquisitions or divestitures
    (vi) Inclusion of all Debtor and non-Debtor entities
    (vii) The Debtors’ emergence from chapter 11 on the Emergence Date
The Projections have been presented using accounting policies consistent with those applied in the
Company’s historical financial statements and includes certain reorganization adjustments and simplified
fresh-start accounting adjustments. The Projections do not reflect all the adjustments necessary to
implement fresh-start accounting on the Emergence Date pursuant to ASC 852-10, including but not
limited to detailed asset valuations and reassessment of the useful lives of depreciable and amortizable
assets.




                                                    3
           Case 20-12522-JTD           Doc 2917         Filed 06/18/21    Page 733 of 835



C. The Debtors’ Business Operations
The Company is a global business consisting of multiple wholly-owned subsidiaries that develop,
manufacture, market, and distribute specialty pharmaceutical products and therapies, and operates in two
reportable segments: Specialty Brands, which includes innovative specialty pharmaceutical brands, and
Specialty Generics, which includes niche specialty generic drugs and active pharmaceutical ingredients
(“APIs”). For the fiscal year ended December 25, 2020, Specialty Brands accounted for $2,059.6 million
in net sales, while Specialty Generics accounted for $689.8 million.
The following charts show the net sales revenue distribution by product for both Specialty Brands and
Specialty Generics business units for FY2020.



                         Specialty Brands                                Specialty Generics




 Product
   Mix




 FY2020
   Net                      $2.1 billion                                     $0.7 billion
  Sales




Specialty Brands
Specialty Brands markets branded pharmaceutical products for autoimmune and rare diseases in specialty
areas like neurology, rheumatology, nephrology, pulmonology, and ophthalmology; immunotherapy and
neonatal respiratory critical care therapies; and non-opioid analgesics and gastrointestinal products.
Specialty Brands’ diversified, in-line portfolio of both marketed and development products is focused on
patients with significant unmet medical needs. It promotes its branded products directly to physicians in
their offices, hospitals, and ambulatory surgical centers (including neurologists, rheumatologists,
nephrologists, pulmonologists, ophthalmologists, neonatologists, respiratory therapists, surgeons, and
pharmacy directors) with multiple direct sales teams of approximately 400 sales representatives combined
across the different products as of December 25, 2020. These products are purchased by independent
wholesale drug distributors, specialty pharmaceutical distributors, retail pharmacy chains and hospital
procurement departments, among others, and are eventually dispensed by prescription to patients.
Specialty Brands also contracts directly with payer organizations to ensure reimbursement to patients that
are prescribed products by their physicians.




                                                    4
           Case 20-12522-JTD           Doc 2917         Filed 06/18/21     Page 734 of 835



Specialty Brands currently produces, markets, and sells the following branded products, among others:
    (i)   Acthar Gel is an injectable drug approved by the U.S. Food & Drug Administration (“FDA”)
          for use in 19 indications, including monotherapy for the treatment of infantile spasms in infants
          and children under two years of age and various other on-label indications for neurology,
          rheumatology, nephrology, pulmonology and ophthalmology conditions, which collectively
          generate substantially all of its net sales. The currently approved indications of Acthar Gel are
          not subject to patent or other exclusivity, but instead are protected by trade secret(s).
    (ii) INOmax® (nitric oxide) gas, for inhalation is a vasodilator that, in conjunction with
          ventilatory support and other appropriate agents, is indicated to improve oxygenation and
          reduce the need for extracorporeal membrane oxygenation in term and near-term (>34 weeks)
          neonates with hypoxic respiratory failure (HRF) associated with clinical or echocardiographic
          evidence of pulmonary hypertension. It is also approved in Australia for the treatment of
          perioperative pulmonary hypertension (PPHN) in adults in conjunction with cardiovascular
          surgery. It is marketed as part of the INOmax Total Care Package, which includes the drug
          product, proprietary drug-delivery systems, technical and clinical assistance, 24/7/365 customer
          service, emergency supply and delivery, and on-site training. The INOmax delivery device has
          certain IP attached to it, but the INOmax product itself (inhaled nitric oxide gas) is no longer
          protected by patents in any of the major markets where INOmax is marketed. Where
          competitors have entered to compete against Mallinckrodt in the inhaled nitric oxide market,
          they must do so with their own device technology, as Mallinckrodt's nitric oxide cylinders are
          not compatible with devices outside the INOmax delivery system.
    (iii) Therakos® photopheresis is a global leader in autologous immunotherapy delivered through
          extracorporeal photopheresis (“ECP”), provided by a proprietary medical device and related
          consumables. ECP is approved by the FDA for use in the palliative treatment of the skin
          manifestations of cutaneous T-cell lymphoma (“CTCL”) that is unresponsive to other forms of
          treatment. Outside the U.S., ECP is approved to treat several other serious diseases that arise
          from immune system imbalances. Therakos' product suite, which is sold to hospitals, clinics,
          academic centers and blood banks, includes an installed system, a disposable procedural kit
          used for each treatment and a drug, UVADEX® (methoxsalen) Sterile Solution (“UVADEX”),
          as well as instrument accessories, instrument maintenance and repair services.
    (iv) Amitiza® (lubiprostone) is a leading global product in the branded constipation market. It is
          approved by the FDA in the U.S. for treatment of chronic idiopathic constipation in adults;
          irritable bowel syndrome with constipation in women 18 years of age and older; and opioid-
          induced constipation in adult patients with chronic, non-cancer pain, including patients with
          chronic pain related to prior cancer or its treatment who do not require frequent opioid dosage
          escalation.
Specialty Generics
Specialty Generics is focused on providing its customers with high-quality specialty generic drugs and
APIs. It offers a portfolio of product formulations containing hydrocodone-containing tablets, oxycodone-
containing tablets, and several other controlled substances, all of which are significant products for the
treatment of pain and which are regulated under U.S. Drug Enforcement Administration (“DEA”) quota
restrictions. Altogether, Specialty Generics operates one of the largest controlled substance
pharmaceutical businesses in the U.S., offering generic products for pain management, substance abuse
disorders, and Attention Deficit Hyperactivity Disorder (“ADHD”). Notably, Specialty Generics is the
only producer of bulk acetaminophen in the North American and European regions.



                                                    5
            Case 20-12522-JTD            Doc 2917         Filed 06/18/21     Page 735 of 835



The Specialty Generics business manufacture both (a) finished dosage products, meaning the product
(whether in the form of a tablet, capsule, or liquid) that the patient ultimately ingests, and (b) APIs, which
are then used to create finished dosage products. Specialty Generics does not promote its finished
products directly to physicians, hospitals, or ambulatory surgical centers. Rather, the Company sells these
products principally through independent channels, including drug distributors, specialty pharmaceutical
distributors, retail pharmacy chains, food store chains with pharmacies, pharmaceutical benefit managers
that have mail order pharmacies and hospital buying groups. Both finished dosage products and APIs are
largely considered commodity products, and as such, Specialty Generics generally operates on much
smaller margins as compared to the Specialty Brands business.
Specialty Generics’ revenues are diversified, with roughly half of its revenue coming from APIs, and the
other half from finished dosage pharmaceutical products.


                               Income Statement Assumptions – Revenue


A. Net Sales
The Company forecasts its net sales in two different business segments, Specialty Brands and Specialty
Generics. To develop these projections, the Company evaluated market conditions, surveyed the
competitive landscape, assessed price and volume dynamics, and applied specific knowledge of key
customer actions in each product category. Key factors considered in determining sales projections
include, but are not limited to:
    (i)   Overall market trends for similar branded drugs (by category, therapeutic area, and/or disease
          state) and specialty generic segments, including finished dose and API, where the Company
          operates (or intends to launch new generic products);
    (ii) Impact of anticipated competitive entrants in the branded drugs segment, or, in the case of
          Specialty Generics, changes in the expected number of competitors and/or their collective
          impact on pricing and market shares;
    (iii) Analysis of in-line products and existing portfolio performance; and
    (iv) An assessment of potential, recent developments, and expected progress/evolution of pipeline
          products.
Products in each of the business segments operate in competitive marketplaces with unique challenges
and opportunities.
Acthar Gel – The Acthar Gel projections account for the impact of a potential new competitor partially
offset by an assumed return to pre-pandemic prescriber and patient behavior, an increase in demand
driven by the multi-year effort to complete clinical trials to broaden the published data for the product and
to modernize the Acthar Gel brand, and the launch of a self-injector device that is expected to improve
patient persistence on therapy and reduce patient and caregiver anxiety over the use of needles to
administer the product.
INOmax – INOmax is expected to face continued price erosion and volume loss from competition during
the early part of the Projection Period, stabilizing as a new competitive equilibrium is reached and with
the launch of EVOLVE, the product’s next-generation delivery device, which is expected to further the
technological (and related reliability and ease-of-use) advantages that INOmax enjoys versus its



                                                      6
            Case 20-12522-JTD           Doc 2917          Filed 06/18/21    Page 736 of 835



competitor delivery systems. In addition, increase revenue from growth in international markets is
anticipated.
Therakos – Therakos is the only provider of extracorporeal photopheresis (“ECP”) used to treat
Cutaneous T-cell Lymphoma (“CTCL”), and outside the U.S., the Therakos device is broadly approved,
including for acute GvHD (Graft vs Host Disease) as well as CTCL. There are a number of competing
therapies and treatments for these conditions, some of which have seen increases in utilization during the
global pandemic. The Company’s focus is on solidifying its position in the ECP market within the U.S.,
while continuing to establish and grow the Therakos brand globally as it expands into new geographic
markets.
Other Managed Brands – The Projections contemplates sales from two additional managed brands,
Amitiza and Ofirmev. Amitiza sales begin to transition from exclusive branded sales to a generic market
through an agreement with an authorized generic manufacturer in the U.S. Amitiza sales begin to show
larger declines toward the end of the Projection Period as more generic competitors are expected to enter
the market and erode market share and price.
Branded pipeline launches – StrataGraft is the only branded pipeline product with an expected launch
during the Projection Period. Net sales contribution from StrataGraft are modest in the early years of the
Projection Period and increase over time as the product is more broadly utilized.
Specialty Generics – The Specialty Generics business is focused on maintaining its base business for
finished dose and API products, and advancing its pipeline of expected generics launch products to
deliver revenue growth in the later years of the Projection Period. Net sales are expected to return to
growth from 2022 onward after a multi-year decline driven by increased competition, payer
consolidation, and market-wide reductions in demand for opioid products. As is to be expected in the
generic pharmaceutical industry, the segment’s growth is driven by an expectation of successfully
launching a continuous stream of newer generic products to offset regular declines in price as existing
products become increasingly commoditized. In addition to its finished dosage generic products, the
Company also expects its API business to remain steady across the Projection Period, with modest growth
coming from capacity expansions, entrances into new international markets, and the growth in demand for
higher margin stearate APIs for use in the nutraceuticals market.
As is typical in both branded and generic pharmaceutical markets, the Company’s net sales are based on
its gross product sales, less the combined amounts of various government-mandated and/or privately-
negotiated rebates, sales incentives, chargebacks, distribution service agreements fees, fees for services,
and administration fees and discounts. These “gross-to-net” adjustments differ across products and
product categories.




                                                      7
            Case 20-12522-JTD            Doc 2917         Filed 06/18/21     Page 737 of 835



                               Income Statement Assumptions – Expenses


B. Cost of Goods Sold
The Company’s cost of goods sold (“COGS”) includes standard costs such as raw materials and
manufacturing costs associated with the processing of materials to convert them into finished goods. In
addition, it includes other cost of sales such as royalty expenses, handling costs (costs incurred to store,
move, and prepare product for shipment), and other plant costs.
Manufacturing costs include wages and benefit costs, processing costs, maintenance costs, utility costs
and other costs that are directly attributable to the production of products. Manufacturing costs have both
fixed and variable cost components.
COGS, excluding depreciation and amortization, as a percentage of net sales grows from 29.4% to 32.1%
over the Projection Period driven by changes in product mix over time and slight margin compression.
A. Depreciation & Amortization
Depreciation for property, plant, and equipment, other than land and construction-in-process, is generally
based upon the estimated useful life of the asset and is calculated using the straight-line method.
Amortization for intangible assets with finite useful lives is calculated using the straight-line method over
the estimated useful lives of the assets. Projected amortization reflects a ratable adjustment to the carrying
value of other intangible assets at the Emergence Date in connection with the application of a simplified
fresh-start accounting approach as described in the balance sheet assumptions for Goodwill and Other
Intangible Assets.
Depreciation and amortization do not reflect the adjustments necessary to implement fresh-start
accounting on the Emergence Date pursuant to ASC 852-10, including but not limited to detailed asset
valuations and reassessment of the useful lives of amortizable assets.
B. Sales, General and Administrative (“SG&A”)
SG&A costs include all direct and indirect selling, marketing, and administrative costs of the Debtors.
Selling expense includes marketing expense, employee wages and benefits for the various commercial
teams, commissions, and office expenses. General and administrative expense includes administrative
employee wages and benefits, travel, rents, corporate overhead, insurance, information technology costs,
office-related expenses, stock compensation expense, and other expenses.
SG&A expense, excluding reorganization expense and stock compensation expense, as a percentage of
net sales improves from 26.5% to 24.0% over the Projection Period.
C. Research & Development (“R&D”)
R&D expenses comprise of internal research and development costs and are expensed as incurred. These
expenses include salary and benefits, allocated overhead and occupancy costs, clinical trial and related
clinical manufacturing costs, contract services, medical affairs, and other related costs.
From time to time, the Company enters into licensing or collaborative agreements with third parties to
develop a new drug candidate or intellectual property asset. These agreements may include R&D,
marketing, promotion and selling activities to be performed by one or all parties involved. These



                                                      8
            Case 20-12522-JTD           Doc 2917         Filed 06/18/21     Page 738 of 835



collaborations generally include upfront, milestone and royalty or profit-sharing payments contingent
upon future events tied to the developmental and commercial success of the asset. In general, upfront and
milestone payments made to third parties under these agreements are expensed as incurred up to the point
of regulatory approval of the product.
R&D expense, excluding one-time product-related contingent consideration expense, as a percentage of
net sales declines from 10.0% to 9.1% over the Projection Period.
D. Interest Expense
Reflects interest on funded debt, estimated refinancing fees related to First Lien Notes and Second Lien
Notes at maturity and interest on the Federal/State Acthar Settlement obligations. Funded debt interest is
based upon projected debt levels and applicable interest rates for funded debt obligations outlined in the
Plan and is assumed to be cash paid as incurred. The Projections assume that debt-related financing fees
paid at emergence and post-emergence are expensed for accounting purposes and not capitalized.
Interest accretion on settlement obligations accounts for the difference between undiscounted cash flows
in connection with the Opioid Trust and Federal/State Acthar Settlement (as provided in the balance sheet
assumptions for Opioid Trust and Federal/State Acthar Settlement) and the fair values of these cash flows
calculated on a present value basis. 2
E. Taxes
Upon emergence from bankruptcy, the reorganized Company is forecasting taxes payable in several
taxing jurisdictions, most notably in Ireland and the U.S., based upon the anticipated capital structure and
U.S. tax attribute reductions directly resulting from the implementation of the Plan. Taxable income
projections include deductions for certain depreciable and amortizable assets subject to limitations and
include continued use of pre-emergence Irish and Luxembourg net operating loss carryforwards. Taxable
income projections (i) exclude the use of pre-emergence U.S. net operating loss carryforwards due to the
uncertain impact the restructuring will have on the Debtors’ ability to utilize them and (ii) exclude
potential deductions from cash payments in connection with the Opioid Trust and Federal/State Acthar
Settlement.




2
 Fair values for the post-emergence Opioid Deferred Cash Payments and Federal/State Acthar Deferred Cash
Payments (including the associated nominal interest) are calculated using a discount rate of 10.0%


                                                     9
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 739 of 835



                                        Balance Sheet Assumptions


A. Cash & Cash Equivalents
The Company classifies cash on hand and deposits in banks, including money market accounts and other
investments it may hold from time to time, as cash and cash equivalents.
B. Accounts Receivable
Trade accounts receivable are presented net of an allowance for doubtful accounts. The allowance for
doubtful accounts reflects an estimate of losses inherent in the Company’s accounts receivable portfolio
and is determined on the basis of historical experience. Accounts receivable are written off when
management determines they are uncollectible. Trade accounts receivable are also presented net of
reserves related to chargebacks and rebates payable to customers.
C. Inventory
Inventories are recorded at the lower of cost or net realizable value, primarily using the first-in, first-out
convention. The Debtors reduce the carrying value of inventories for those items that are potentially
excess, obsolete, or slow-moving based on changes in customer demand, technology developments or
other economic factors.
D. Other Current Assets
Other current assets primarily include prepaid expenses, the current portion of the CARES Act receivable,
miscellaneous accounts receivable, royalties receivable, insurance receivable, deposits and restricted cash.
Projections assume the current portion of the CARES Act receivable of $177.8 million is collected in Q4
2021. See note on “Other Long-Term Assets” for details on the non-current portion of the CARES Act
receivable.
E. Property, Plant & Equipment
Property, plant, and equipment is stated at cost less accumulated depreciation. Major renewals and
improvements are capitalized, while routine maintenance and repairs are expensed as incurred.
Depreciation for property, plant, and equipment, other than land and construction in process, is generally
based upon the following estimated useful lives, using the straight-line method:
Buildings: 10 - 45 years
Leasehold improvements: 1 - 20 years
Capitalized software: 1 - 10 years
Machinery and equipment: 1 - 20 years
F. Other Long-Term Assets
Other long-term assets include income tax receivables, including the non-current portion of the CARES
Act receivable, right of use asset lease, long-term investments, non-current insurance receivable, and
restricted cash.




                                                       10
            Case 20-12522-JTD             Doc 2917        Filed 06/18/21        Page 740 of 835



Projections assume the non-current portion of the CARES Act receivable of $136.6 million is collected in
FY 2022. See note on “Other Current Assets” for details on the current portion of the CARES Act
receivable.
G. Goodwill and Other Intangible Assets
For purposes of these Projections, the Debtors used a simplified fresh-start accounting approach and
adjusted the carrying values of total Goodwill and Other Intangible Assets for the difference between
reorganization value and the projected book value of identifiable assets at the Emergence Date. The
adjusted carrying values do not reflect the adjustments necessary to implement fresh-start accounting on
the Emergence Date pursuant to ASC 852-10, including but not limited to detailed asset valuations and
reassessment of the useful lives of amortizable assets.
H. Accounts Payable
The Debtors’ days payable 3 is projected to be approximately 35 days at the Emergence Date increasing to
approximately 50-60 days throughout the Projection Period, consistent with historical averages.
I.   Accrued Expenses and Other Liabilities
Accrued Expenses and Other Liabilities primarily include accrued trade payables, accrued employee
payroll and payroll-related costs, accrued utility expense, and accrued taxes.
J. Debt Obligations
Upon consummation of the Plan, the Debtors are assumed to have the following debt obligations:
     (i) $900 million New Term Loan Facility at an annual interest rate of LIBOR + 530 bps
     (ii) $200 million in New AR Revolving Facility 4
     (iii) $1,777 million New Takeback Term Loan Facility comprising of the following:
              a. $1,404 million at an annual interest rate of LIBOR + 525 bps
              b. $373 million at an annual interest rate of LIBOR + 550 bps
     (iv) $495 million First Lien Notes at an annual interest rate of 10.00% 5
     (v) $323 million Second Lien Notes at an annual interest rate of 10.00% 6
     (vi) $375 million New Takeback Second Lien Notes at an annual interest rate of 10.00%
K. Opioid Trust
Pursuant to Article IV of the Plan, as of the Plan Effective Date, the Opioid Trust will be formed, and all
Opioid Claims will be channeled exclusively to the Opioid Trust, and shall be resolved in accordance
with the terms, provisions, and procedures of the Opioid Trust documents. The trust will receive the
following cash payment consideration assuming the Reorganized Debtors do not elect to pre-pay any
portion in the first year in accordance with the Opioid Trust terms.




3
  Days payable calculated as accounts payable multiplied by numbers of days in the calculation period divided by
COGS; COGS includes depreciation but excludes amortization
4
  Assumed to be undrawn at emergence
5
  Excludes potential Allowed First Lien Notes Makewhole Claims
6
  Excludes potential Allowed Second Lien Notes Makewhole Claims


                                                        11
                Case 20-12522-JTD        Doc 2917        Filed 06/18/21        Page 741 of 835




                            Plan Effective
                                               2022      2023      2024     2025      2026     2027      2028
    ($ in millions)              Date
    Opioid Trust
                                 $450          $200      $200      $150     $150      $150     $150      $150
    Consideration 7

L. Federal/State Acthar Settlement

In parallel with the Restructuring Support Agreement, CMS, the Debtors, the DOJ, and the States
(excluding, for this purpose, any territories of the United States) agreed to the material terms of a
settlement agreement in connection with the Federal/State Acthar Settlement, to be incorporated into the
Plan. Under the settlement in principle, in full and final satisfaction of all claims at issue in connection
with the Federal/State Acthar Settlement, Debtors Mallinckrodt plc and Mallinckrodt ARD, LLC agreed
to make cash payments to the United States of America and the States (excluding, for this purpose, any
territories of the United States other than the District of Columbia and Puerto Rico) totaling $260 million
in the aggregate in accordance with the below schedule, with deferred payments bearing interest at a
variable rate equal to the nominal interest rate on special issues of government securities to the Social
Security trust funds, measured as of each payment date and accruing from September 21, 2020:

                            Plan Effective
                                               2022     2023      2024      2025     2026      2027      2028
    ($ in millions)              Date
    Federal/State Acthar
                                 $15           $15       $20       $20     $32.5     $32.5     $62.5     $62.5
    Settlement payments

M. Other Liabilities
Other Liabilities include environmental liabilities, deferred tax liabilities and other non-current liabilities.

N. Shareholder Equity
Shareholder equity at the Emergence Date includes the effect of the conversion of debt into new equity
and application of fresh start accounting.




7
 Schedule reflects the Initial Opioid Trust Payment and the Opioid Deferred Cash Payments portions of the Opioid
Trust Consideration


                                                       12
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 742 of 835



                                         Cash Flow Assumptions


A. Cash Flow from Operations Activities
The Company is expected to generate stable cash earnings from operations during the Projection Period.
Net working capital is projected to be a use of cash over the course of the Projection Period driven by
increasing accounts receivable due to increasing revenue and a gradual build-up in inventory, slightly
offset by increased days payable outstanding of accounts payable post-emergence.
B. Cash Flow from Investing Activities
Cash usage from investing activities in the projection period is primarily driven by an increase in capital
spending to support the launch of the INOmax EVOLVE device platform and conversion from the
existing U.S. fleet of INOmax DSIR devices for Specialty Brands, as well as capital spending for
Specialty Generics projects to increase plant capacity.
C. Cash Flow from Financing Activities
Cash usage from financing activities mainly reflect repayment of debt, Opioid Deferred Cash Payments,
Federal/State Acthar Deferred Cash Payments, and contingent payments due to other parties under
product acquisition or license agreements.




                                                     13
           Case 20-12522-JTD            Doc 2917        Filed 06/18/21        Page 743 of 835



The Pro Forma Estimated Non-GAAP Cash Sources and Uses at the Emergence Date set forth below
presents the estimated sources and uses of funds for the consummation of the restructuring transactions
contemplated in the Plan (the “Restructuring Transactions”). These amounts are subject to adjustment and
may differ at the time of the consummation of the Restructuring Transactions depending on several
factors, including but not limited to, differences in estimated transaction fees and expenses, differences
between actual and projected operating results and any differences in the contemplated debt financing
when consummated.


                                      Mallinckrodt Pharmaceuticals
          Pro Forma Estimated Non-GAAP Cash Sources and Uses at the Emergence Date
                                     (UNAUDITED)
                                            (USD$ in Millions)

            Sources                                                Uses                              Notes
Cash from Balance Sheet   $   1,046    Existing Revolver Facility Paydown                $     900
New Term Loan Facility          900    Initial Opioid Trust Payment                            450     1
                                       Initial Federal/State Acthar Settlement Payment          15     2
                                       Administrative and Priority Claims                      160     3
                                       Trade & General Unsecured Claims                        150     4
                                       Noteholder Consent Fee                                   19     5
                                       Exit Financing Fees                                      33     6
                                       Cash to Balance Sheet                                   219
Total Sources             $   1,946    Total Uses                                        $   1,946

Notes:
(1) Initial Opioid Trust Payment as defined in the Plan
(2) Initial Federal/State Acthar Settlement Payment as defined in the Plan
(3) Estimated accrued professional fees and expenses and other estimated Administrative and Priority
claims
(4) Assumes distribution of the $50 million Trade Claims Cash Pool and the $100 million General
Unsecured Claims Cash Pool
(5) Payment of the Noteholder Consent Fee as defined in the Plan
(6) Includes the Term Loan Exit Payment and estimated fees associated with the New Term Loan Facility
and New AR Revolving Facility




                                                     14
                    Case 20-12522-JTD                      Doc 2917              Filed 06/18/21                  Page 744 of 835



The Projected Non-GAAP Pro Forma Consolidated Balance Sheet as of the Emergence Date set forth
below presents (a) the projected consolidated financial position of the Company as of September 24,
2021, prior to the consummation of the transactions contemplated in the Plan; (b) the pro forma
adjustments to such projected consolidated financial position required to reflect the Restructuring
Transactions; and (c) the pro forma projected consolidated financial position of Company as of the
assumed Emergence Date, after giving effect to the Restructuring Transactions. The Restructuring
Transactions set forth in the columns captioned “Plan Settlement”, “New Debt & Other Liabilities”, “New
Equity”, and “Fresh-Start Adjustments” reflect the anticipated effects of the Restructuring Transactions.

                                                       Mallinckrodt Pharmaceuticals
                               Projected Non-GAAP Pro Forma Consolidated Balance Sheet
                                                  (UNAUDITED)
                                                                (USD$ in Millions)
                                                           Pre-Emergence         Plan           New Debt &           New              Fresh-Start           Proforma
                                                   Notes   Sept 24, 2021 1   Settlement 2   Other Liabilities        Equity       Adjustments 3         Sept 24, 2021

Assets
  Cash                                                     $         1,046   $        (827) $                –   $            –   $                 –   $          219
  Accounts Receivable                                                  531               –                   –                –                     –              531
  Inventories                                                          377               –                   –                –                     –              377
  Other Current Assets                                                 318             (11)                  –                –                     –              307
Current Assets                                             $        2,272    $       (838) $                 –   $            –   $                 –   $        1,434
  PP&E, Net                                                $           819   $          –   $                –   $            –   $              – $               819
  Other Long-Term Assets                                               415              –                    –                –                   –                415
  Goodwill & Other Intangible Assets, Net                            5,749              –                    –                –              (1,937)             3,812
Total Assets                                               $        9,255    $       (838) $                 –   $            –   $         (1,937) $            6,480

Liabilities and Equity
  Accounts Payable                                         $           72    $          – $                  –   $            –   $                 –   $          72
  Accrued Expenses & Other Current Liabilities                        427              (40)                  –                –                     –             387
Current Liabilities                                        $          500    $        (40) $                 –   $            –   $                 –   $         460
  Existing Revolver Facility                               $          900    $       (900) $                –    $            –   $                 –   $             –
  New Term Loan Facility                                                –             900                   –                 –                     –               900
  New Takeback Term Loan Facility                                       –               –               1,777                 –                     –             1,777
  10.000% 1L Notes                                    4               495               –                   –                 –                     –               495
  10.000% 2L Notes                                    4               323               –                   –                 –                     –               323
  10.000% Takeback 2L Notes                                             –               –                 375                 –                     –               375
Total Funded Debt                                          $        1,718    $          – $            2,152     $            –   $                 –   $        3,869

Opioid Trust, at Fair Value                           5    $             –   $         – $               817     $            –   $                 –   $          817
Federal/State Acthar Settlement, at Fair Value        5                  –             –                 170                  –                     –              170
Environmental Liabilities                                               61             –                   –                  –                     –               61
Other Income Tax Liabilities                                           118             –                   –                  –                     –              118
Other Liabilities                                                      157            (35)                50                  –                     –              172
Liabilities Subject to Compromise:                 Notes
  2024 Term Loan                                                     1,404               –             (1,404)                –                     –                  –
  2025 Term Loan                                                       373               –               (373)                –                     –                  –
  Guaranteed Unsecured Notes                          6              1,544            (356)              (375)              (813)                   –                  –
  Accounts Payable & General Unsecured Claims         7                288            (288)                 –                 –                     –                  –
  Opioid-related litigation settlement liability                     1,600            (783)              (817)                –                     –                  –
  Acthar Gel-Related Settlement                                        639            (469)              (170)                –                     –                  –
  Other Liabilities                                   8                 50               –                (50)                –                     –                  –
Total Liabilities Subject to Compromise                    $        5,897    $     (1,896) $          (3,189) $            (813) $                  –   $              –
Total Liabilities                                          $        8,451    $     (1,971) $                 –   $         (813) $                  –   $        5,667
  Existing Shareholder's Equity                            $          804    $      1,133   $                –   $           –    $          (1,937) $              0
  New Common Equity                                   9                 –               –                    –             813                   –                813
Total Shareholder's Equity                                 $          804    $     1,133    $                –   $         813    $         (1,937) $             813
Total Liabilities & Equity                                 $        9,255    $       (838) $                 –   $            –   $         (1,937) $            6,480




                                                                             15
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 745 of 835



Notes:
(1) The pre-emergence balance sheet is as of September 24, 2021 and prior to the execution of the
transactions contemplated in the Plan
(2) Plan settlement includes cash payments pursuant to the Plan – (i) $450 million Initial Opioid Trust
Payment, (ii) $15 million Initial Federal/State Acthar Settlement, (iii) estimated $160 million to settle
Administrative and Priority claims, (iv) $150 million to settle Trade Claims and General Unsecured
Claims, (v) $52.5 million to pay the Noteholder Consent Fee and (vi) estimated exit financing fees
(3) Reflects a simplified fresh-start accounting approach to adjust the carrying value of total Goodwill
and Other Intangible Assets for the difference between reorganization value and the projected book value
of identifiable assets at the Emergence Date
(4) Assumes the First Lien Notes and Second Lien Notes are reinstated and excludes potential Allowed
First Lien Notes Makewhole Claims and Second Lien Notes Makewhole Claims
(5) Fair values for the post-emergence Opioid Deferred Cash Payments and Federal/State Acthar
Deferred Cash Payments (including the associated nominal interest) are calculated using a discount rate
of 10.0%
(6) Equity values are prior to dilution from the New Opioid Warrants and the Management Incentive
Plan
(7) Includes Trade Claims, certain Administrative Claims, 4.75% Unsecured Notes Claims, Legacy
Debenture Claims, asbestos-related claims and other unsecured claims; unliquidated claims have not
been estimated for the purposes of this schedule
(8) Represents liabilities related to assumed Executory Contracts
(9) Based on the midpoint of implied estimated Equity Value as set forth in the Valuation Analysis




                                                     16
               Case 20-12522-JTD                  Doc 2917       Filed 06/18/21          Page 746 of 835



The Projected Non-GAAP Pro Forma Consolidated Income Statement set forth below presents the
projected consolidated results of operations of the Company for the period commencing September 24,
2021 through December 31, 2021, after giving effect to the Restructuring Transactions to occur on the
Emergence Date, and for the fiscal years ending 2022, 2023, 2024 and 2025.

                                                Mallinckrodt Pharmaceuticals
                       Projected Non-GAAP Pro Forma Consolidated Income Statement
                                            (UNAUDITED)
                                                     (USD$ in Millions)


                                                                 Q4 Ending                  Fiscal Year Ending
                                                        Notes    Dec, 2021   Dec, 2022    Dec, 2023    Dec, 2024   Dec, 2025

Net Sales                                                        $     605 $     2,290 $      2,358 $      2,506 $     2,523
 Cost of Goods Sold                                                    (178)       (691)        (738)        (783)       (809)
 Depreciation & Amortization                              1            (120)       (487)        (494)        (498)       (499)
Gross Profit                                                     $     307 $     1,113 $      1,126 $      1,226 $     1,215

 SG&A Expense                                                    $     (197) $    (564) $       (584) $     (614) $     (645)
 R&D Expense                                                            (61)      (224)         (217)       (223)       (275)
Operating Profit                                                 $      49 $      325 $         324 $       389 $       296

  Interest Expense                                               $      (61) $     (280) $      (246) $      (238) $     (217)
  Interest Accreted on Settlement Obligations             2              (24)        (95)        (83)         (70)        (58)
Earnings Before Taxes                                            $      (36) $      (51) $        (5) $       81 $        21

 Income Tax Expense                                                      (13)       (49)        (59)          (69)       (65)
Net Income / (Loss)                                              $      (49) $    (100) $       (64) $        12 $       (44)

Operating Profit                                                 $      49   $    325    $      324   $     389    $    296
 Add: Depreciation                                                      24        101           109         112         113
 Add: Amortization                                                      96        385           385         385         385
 Add: Corporate Reorganization Expense                    3             35          –             –           –           –
 Add: Stock based Compensation Expense                    3              2         10            20          30          40
 Add: Contingent Consideration Expense                    4              –         10             –           –          45
Adjusted EBITDA                                                  $     207   $    832    $      838   $     917    $    879


Notes:
(1) For purposes of the Projections, aggregate Depreciation and Amortization are included in Gross
Profit
(2) See note 5 under “Projected Non-GAAP Pro Forma Consolidated Balance Sheet”
(3) Corporate reorganization and stock-based compensation expenses are included in SG&A Expense
(4) Contingent consideration expense is included in R&D Expense




                                                                17
               Case 20-12522-JTD                   Doc 2917          Filed 06/18/21             Page 747 of 835



The Projected Non-GAAP Pro Forma Consolidated Balance Sheet set forth below presents the projected
consolidated financial position of the Company as of September 24, 2021, after giving effect to the
Restructuring Transactions, and as of each fiscal year ending 2021, 2022, 2023, 2024 and 2025.

                                                 Mallinckrodt Pharmaceuticals
                             Projected Non-GAAP Pro Forma Consolidated Balance Sheet
                                                 (UNAUDITED)
                                                         (USD$ in Millions)
                                                          Proforma As of                        Fiscal Year Ending
                                                 Notes    Sept 24, 2021     Dec, 2021    Dec, 2022 Dec, 2023 Dec, 2024         Dec, 2025
Assets
Cash                                                      $          219    $     425    $     200    $     200    $     200   $     200
Accounts Receivable                                                  531          553          499          513          546         549
Inventories                                                          377          391          369          381          403         415
Other Current Assets                                                 307          133          129          129          129         129
Current Assets                                            $        1,434    $   1,501    $   1,197    $   1,224    $   1,278   $   1,293
PP&E, Net                                                 $          819    $     813    $     830    $     826    $     789   $     733
Other Long-Term Assets                                               415          415          278          278          278         278
Intangible Assets, Net                                             3,812        3,716        3,330        2,945        2,560       2,174
Total Assets                                              $        6,480    $ 6,445      $ 5,636      $ 5,273      $ 4,905     $ 4,480
Liabilities and Equity
Accounts Payable                                          $          72     $     93     $    108     $    123     $    142    $    147
Accrued Expenses and Other Current Liabilities                      454          448          408          408          408         408
Current Liabilities                                       $         527     $    541     $    515     $    530     $    550    $    554
New Term Loan Facility                             1      $           878   $      872   $      680   $      614   $     503   $     402
New Takeback Term Loan Facility                    1                1,732        1,721        1,343        1,213         993         794
10.000% 1L Notes                                                      495          495          495          495         495         495
10.000% 2L Notes                                                      323          323          323          323         323         323
10.000% Takeback 2L Notes                                             375          375          375          375         375         375
Total Funded Debt                                         $        3,803    $   3,786    $   3,217    $   3,020    $   2,690   $   2,389
Opioid Trust, at Fair Value                        2      $          817    $     837    $     716    $     582    $     487   $     382
Federal/State Acthar Settlement, at Fair Value     2                 170          174          175          171          167         147
Environmental Liabilities                                             61           61           61           61           61          61
Other Income Tax Liabilities                                         118          118          118          118          118         118
Other Liabilities                                                    172          162          157          157          157         157
Total Liabilities                                         $        5,667    $   5,679    $   4,960    $   4,641    $   4,230   $   3,810
Shareholder's Equity                                                813          766          676          632          674         670
Total Liabilities & Equity                                $        6,480    $ 6,445      $ 5,636      $ 5,273      $ 4,905     $ 4,480


Notes:
(1) Assumes voluntary prepayment of the New Term Facility and the Takeback Term Loan Facility on a
pro-rata basis from cash in excess of $200 million commencing in 2022
(2) Pro forma balances reflect the present value of Opioid Deferred Cash Payments and Federal/State
Acthar Deferred Cash Payments (including the associated nominal interest) at a discount rate of 10.0%
and assumes the Prepayment Option is not exercised




                                                                  18
             Case 20-12522-JTD               Doc 2917        Filed 06/18/21        Page 748 of 835



The Projected Non-GAAP Pro Forma Consolidated Cash Flow Statement set forth below presents the
projected cash flows of the Company commencing September 24, 2021 through December 31, 2021, after
the consummation of the Restructuring Transactions, and for the fiscal years ending 2022, 2023, 2024 and
2025.


                                          Mallinckrodt Pharmaceuticals
                  Projected Non-GAAP Pro Forma Consolidated Cash Flow Statement
                                         (UNAUDITED)
                                                    (USD$ in Millions)
                                                                   Q4 Ending              Fiscal Year Ending
                                                           Notes   Dec, 2021   Dec, 2022 Dec, 2023 Dec, 2024 Dec, 2025


Cash Flows from Operating Activities:
 Net (loss) income                                                 $      (49) $ (100) $     (64) $       12 $     (44)
 Add: Depreciation and Amortization                                      120      487        494         498       499
 Add: CARES Act Refund                                                   178      137           –           –         –
 Add: Interest Accreted on Settlement Obligations                          24      95          83          70        58
 Add: Stock Based Compensation                                              2      10          20          30        40
 Add: Contingent Consideration Expense                                      –      10           –           –        45
 Changes in Working Capital                                               (25)     54         (12)        (34)      (11)
Net Cash from Operating Activities                                 $     250 $ 694 $         521 $       576 $     586

Cash Flows from Investing Activities:
 Capital Expenditures                                              $     (18) $ (119) $ (104) $          (76) $    (58)
Net Cash from Investing Activities                                 $     (18) $ (119) $ (104) $          (76) $    (58)

Cash Flows from Financing / Settlement Activities:
 Debt Repayment                                             1      $     (17) $ (569) $ (197) $ (330) $ (301)
 Settlement Obligations                                     2              –     (215)   (220)   (170)   (183)
 Contingent Consideration                                                (10)     (15)      –       –     (45)
Net Cash from Financing Activities                                 $     (27) $ (799) $ (417) $ (500) $ (528)

Net Increase / (Decrease) in Cash & Cash Equivalents               $     206   $ (225) $        –   $      –   $     –

Beginning Cash Balance                                                   219       425       200         200       200
Ending Cash Balance                                                $     425   $   200   $   200    $    200   $   200


Notes:
(1) Assumes voluntary prepayment of the New Term Loan Facility and the New Takeback Term Loan
Facility on a pro-rata basis from cash in excess of $200 million beginning in 2022
(2) Reflects Opioid Deferred Cash Payments and Federal/State Acthar Deferred Cash Payments




                                                           19
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 749 of 835




                          Exhibit E
                     Liquidation Analysis
           Case 20-12522-JTD         Doc 2917        Filed 06/18/21   Page 750 of 835




                                  LIQUIDATION ANALYSIS

INTRODUCTION

         Under the “best interests” of creditors test (“Best Interests Test”) set forth in section
1129(a)(7) of the Bankruptcy Code, the Bankruptcy Court may not confirm a plan of
reorganization unless the plan provides each holder of a Claim or interest who does not
otherwise vote in favor of the plan with property of a value, as of the effective date of the plan,
that is not less than the amount that such holder would receive or retain if the debtor was
liquidated under chapter 7 of the Bankruptcy Code. See 11 U.S.C. § 1129(a)(7). Accordingly, to
demonstrate that the Debtors’ Plan satisfies the Best Interest Test, the Debtors have prepared this
hypothetical liquidation analysis (“Liquidation Analysis”) presenting recoveries that may be
obtained by Holders of Claims and Interests upon a disposition of assets in a hypothetical chapter
7 liquidation as an alternative to recoveries provided under the Plan.

        The Liquidation Analysis presents information based on, among other information, the
Debtors’ books and records and good-faith estimates regarding asset recoveries and Claims
resulting from a hypothetical liquidation under chapter 7 of the Bankruptcy Code. The
determination of the proceeds from the hypothetical liquidation of assets involves the use of
estimates and assumptions. Although the Debtors consider the estimates and assumptions
underlying the Liquidation Analysis to be reasonable under the circumstances, such estimates
and assumptions are subject to business, economic, competitive, political, and regulatory
uncertainties and contingencies beyond the Debtors’ control. Accordingly, the forecasted results
set forth by the Liquidation Analysis may not be realized if the Debtors were liquidated. Actual
results in such a case could vary from those presented herein, which could result in distributions
to members of applicable Classes of Claims that differ from those set forth in this Liquidation
Analysis.

         The Liquidation Analysis indicates an estimated range of recovery values which may be
realized by the Classes of Claims upon disposition of the Debtors’ assets pursuant to a chapter 7
liquidation, as an alternative to the Debtors’ proposed Plan. As illustrated by the Liquidation
Analysis, impaired classes under the Plan would receive less recovery in a chapter 7 liquidation
than they would under the Plan. Further, no holder of a Claim or interest would receive or retain
property under the Plan of a value that is less than such holder would receive in a chapter 7
liquidation scenario as illustrated by the Liquidation Analysis. Therefore, the Debtors believe
that the Plan satisfies the Best Interests Test as set forth in section 1129(a)(7) of the Bankruptcy
Code.

         The Debtors, with the assistance of their legal, and financial advisor, have prepared this
Liquidation Analysis in connection with the Debtors’ Plan and Disclosure Statement pursuant to
chapter 11 of the Bankruptcy Code. This Liquidation Analysis provides a range of estimated
recoveries based upon a hypothetical liquidation of the Debtors’ estates and their non-Debtor
affiliates (“Non-Debtors”) if the Debtors’ current chapter 11 cases were converted to cases
under chapter 7 of the Bankruptcy Code. The Liquidation Analysis has been prepared assuming
that the Debtors’ chapter 7 liquidation would commence on or around September 30, 2021 (the
“Conversion Date”) and a chapter 7 trustee (the “Trustee”) would be appointed to convert all of
the Debtors’ and Non-Debtors’ assets into cash. Unless stated otherwise, the Liquidation

                                                 2
           Case 20-12522-JTD        Doc 2917         Filed 06/18/21   Page 751 of 835




Analysis is based on net book values as of December 25, 2020, which is assumed to be
representative of the Debtors’ and Non-Debtors’ assets as of the Conversion Date. In compliance
with the Order Authorizing Intercompany Restructuring Transactions [Docket No. 633], the
liquidation value of the intellectual property transferred in December 2020 to Debtor
Mallinckrodt Pharmaceuticals Ireland Limited is retained by the Debtors that held such
intellectual property prior to the transfer. Cash generated from operations related to intellectual
property is retained by the Debtors holding such cash in accordance with the Debtors’ post-
transfer ordinary course cash management procedures.

        The Liquidation Analysis is a hypothetical exercise that has been prepared for the
sole purpose of presenting a reasonable good-faith estimate of the proceeds that would be
realized if the Debtors were liquidated in accordance with chapter 7 of the Bankruptcy
Code. The Liquidation Analysis is not intended and should not be used for any other
purpose. The Liquidation Analysis does not purport to be a valuation of the Debtors’
assets in the context of a holistic reorganization, and there may be a difference between
the Liquidation Analysis and the values that may be realized, or Claims generated in an
actual liquidation. The Liquidation Analysis should be read in conjunction with the
assumptions, qualifications, and explanations set forth in the Disclosure Statement and
the Plan in their entirety as well as the notes and assumptions set forth below.

       Nothing contained in the Liquidation Analysis is intended to be, or constitutes, a
concession, admission, or allowance of any claim by the Debtors. The actual amount or
priority of Allowed Claims in the chapter 11 cases could differ from the estimated
amounts set forth and used in the Liquidation Analysis. The Debtors reserve all rights to
supplement, modify, or amend the analysis set forth herein.

     NEITHER THE DEBTORS NOR THEIR ADVISORS MAKE ANY
REPRESENTATION OR WARRANTY THAT THE ACTUAL RESULTS OF A
LIQUIDATION OF THE DEBTORS WOULD OR WOULD NOT APPROXIMATE THE
ESTIMATES OR PROJECTED RESULTS SET FORTH HEREIN. THE ACTUAL
LIQUIDATION VALUE OF THE DEBTORS IS SPECULATIVE AND RESULTS
COULD VARY MATERIALLY FROM ESTIMATES PROVIDED HEREIN.

METHODOLOGY AND RELATED KEY ASSUMPTIONS

        This Liquidation Analysis assumes that proceeds available to creditors would be
distributed in accordance with sections 726 and 1129(b) of the Bankruptcy Code. Proceeds
available for distribution that would be available for satisfaction of Claims would consist of the
proceeds resulting from the disposition of the assets and properties of the Debtors in addition to
cash held by the Debtors, as of the Conversion Date. The Debtors operate a highly complex and
regulated business that includes various foreign operations. Debtors organized under foreign
laws and Non-Debtor foreign affiliates are all assumed to be liquidated in a similar order of
priority for distribution of value as described herein, although differing priorities may govern
under applicable foreign law. Value from Non-Debtor affiliates is available to the Debtors
through the equity ownership of these entities as well as through collection of intercompany
receivables to the extent available. The Debtors prepared this Liquidation Analysis and reviewed
recoveries on a Debtor-by-Debtor case.

                                                 3
           Case 20-12522-JTD         Doc 2917         Filed 06/18/21   Page 752 of 835




        This Liquidation Analysis assumes: (i) rapid, distressed sales of the Debtors’ branded and
generics assets within 90 days post-conversion with certain operations being sold as operating
business units; (ii) non-Debtor affiliates will wind-down and liquidate in conjunction with the
Debtors’ liquidation; (iii) during the liquidation sales period, the Trustee will continue to
maintain operations related to certain Specialty Brands products and the Specialty Generics’
APAP active pharmaceutical ingredient (“APAP-API”) business in an effort to maximize
recoveries; (iv) an additional nine (9) months to wind-down the estates under the supervision of
the Trustee to allow for monetization of assets and assessment of Claims which could take
longer; (v) the continuation and cooperation of any accounting, treasury, tax, information
technology support, and other corporate services necessary to wind-down the estates; and (vi) the
Trustee has unrestricted access to cash and proceeds from asset sales held by foreign Debtors and
any Non-Debtors, and the Trustee is able to repatriate proceeds. If there are foreign proceedings
across the multiple jurisdictions and the Trustee is unable to access cash and sale proceeds
generated at foreign entities, recoveries to creditors will be negatively impacted.

        The Debtors face various litigations Claims including Opioid-related Claims and Acthar-
related Claims. Various litigation creditors have asserted Claims against the Debtors in amounts
totaling billions of dollars, and in some instances trillions of dollars, and such Claims are alleged
to be at several or all Debtors in many instances. At the time the Disclosure Statement was filed,
the Litigation Claims (as defined below) and Opioid Claims remained unliquidated, contingent,
or disputed, and the aggregate amounts of such Claims are unknown. The Debtors dispute these
Claims but do not have enough information to estimate the amount of these Claims for purposes
of this analysis, and therefore no value has been assigned to such Claims and no recovery is
currently projected. Allowed unliquidated or contingent Claims could meaningfully reduce
recoveries to other General Unsecured Creditors, including but not limited to, Class 5, Class 6,
Class 7 and Class 11 Claims, at the respective Debtors where these Claims are asserted. Under
chapter 7, the Litigation Claims and Opioid Claims, or any portion of such Claims, would need
to be resolved through litigation and the Trustee would need to engage litigation counsel to
defend and liquidate those Claims. This differs significantly from the Plan, which proposes to (i)
establish an Opioid Trust to resolve and distribute recovery to the Opioid Claims through the
Opioid Trust distribution procedures from certain assets provided by the Debtors, and (ii) resolve
Litigation Claims through the distribution of recoveries out of the General Unsecured Claims
Cash Pool. As such, litigation in a chapter 7 liquidation is likely to be meaningfully more costly
and time-consuming than resolving all Opioid Claims through the Opioid Trust and Litigation
Claims through the General Unsecured Claims Cash Pool that are established under the chapter
11 Plan of Reorganization. Litigation with respect to these Claims could extend beyond the
contemplated wind-down period and could result in significant costs that would further dilute
recoveries in a chapter 7 liquidation. All such litigation expenses would be paid in full ahead of
any recovery to general unsecured creditors in a chapter 7 liquidation.

       Upon conversion to a chapter 7 liquidation, the agreement in principle with the Centers
for Medicaid & Medicare Services (“CMS”) and the Department of Justice (“DOJ”) is assumed
to be withdrawn, and the Restructuring Support Agreement terminated.

      Proceeds from potential preference, fraudulent conveyance, or other Causes of Action
may be available for distribution to Holders of Administrative Claims, Priority Claims, and
                                                  4
           Case 20-12522-JTD        Doc 2917        Filed 06/18/21   Page 753 of 835




General Unsecured Claims. However, litigation with respect to these Causes of Action would
likely be extremely contentious, involve numerous parties and issues, and likely extend for many
years beyond the contemplated wind-down period. This would result in significant costs that
would be paid in full ahead of any recovery to general unsecured creditors in a chapter 7
liquidation. Further, the Debtors believe that recoveries from such Causes of Action would be
speculative in nature. Accordingly, the Liquidation Analysis does not reflect any proceeds from
potential Causes of Action that might be asserted by any Debtor’s estate.

         Upon conversion to chapter 7, a Trustee would be appointed to manage the Debtors’
affairs, conduct a sale of the Specialty Brands’ and Specialty Generics’ assets and wind-down
the Debtors’ operations. Given the specialized nature of the Debtors’ business that operates in a
highly regulated environment, the Trustee would continue to rely upon existing management as
well as specialized professionals to conduct the sale of the assets. Current employees and
professionals will also need to be retained to assist with the wind-down of the estate. The
Debtors’ conduct their manufacturing and distribution of pharmaceuticals drugs not only in the
U.S. but also have significant operations and assets in various foreign jurisdictions. The
Liquidation Analysis, herein, assumes the liquidation process is administered under the U.S.
Bankruptcy Court; however, foreign jurisdictions may require separate foreign proceedings
which could delay the liquidation process and reduce potential recoveries to creditors.

        In order to maximize value from the liquidation of assets, the Debtors assume the Trustee
will continue ordinary course operations of manufacturing and distributing product for certain of
the Debtors’ Specialty Brands products, as well as the APAP-API Specialty Generics business.
The Trustee would cease the manufacturing and distribution related to all other generic products,
including opioid manufacturing and distribution. The Trustee will rely on continuing
arrangements with non-Debtor affiliates that manage certain manufacturing capabilities and
administer key personnel, such as sales representatives in key foreign markets. Certain
developmental products that are extensions of current commercialized products are assumed to
be sold with the intangible assets. The values are included in the asset sale proceeds.

        The Debtors assume the Trustee will look to sell the underlying operations of INOmax,
Amitiza, and the Specialty Generics’ APAP active pharmaceutical ingredient operations. The
sale of these business operations include the intellectual property or product know-how,
inventory, and the owned manufacturing facilities used to manufacture these products (the
“Liquidated Operations”). For the remaining branded products, a range of liquidation values
have been estimated assuming distressed sales of the existing intellectual property (“IP”),
licenses, and rights associated with certain of the Debtors’ developed branded products
(“Liquidated Product IP”). The intellectual property related to these branded products are
assumed to be sold in one or more asset sales under section 363 of the Bankruptcy Code. The
Debtors assume the inventory for these branded products will be sold to the same buyer of the
intellectual property in order to limit supply interruption as the product rights are transferred.
Furthermore, the Debtors reviewed their product pipeline and included recoverable value for
certain developmental products. Existing commercial arrangements are maintained as well as all
regulatory authorizations, acknowledging the inherent challenges. If the commercial
relationships are not maintained or regulatory authorizations are impeded, recoveries to creditors
will be negatively impacted. The estimated net sales proceeds realized take into consideration,
among other factors, the distressed nature of such a sales process, the likely negative press
                                                5
           Case 20-12522-JTD        Doc 2917         Filed 06/18/21   Page 754 of 835




coverage and market reaction associated with conversion to chapter 7 liquidation, the difficulty
of transferring marketing authorization or assigning contract manufacturing arrangements, and
the Trustee’s limited ability to provide adequate representations, warranties, and indemnities to a
buyer.

         Furthermore, the Debtors believe there are additional factors that could negatively impact
proceeds realized and recoveries to creditors as set forth in the Liquidation Analysis, which
include, but are not limited to (a) turnover of key personnel; (b) challenging economic
conditions; (c) delays in the liquidation process; (d) withdrawal of marketing authorizations by
regulatory bodies due to the chapter 7 proceedings; (e) termination of manufacturing contracts
limiting the Debtors ability to maintain continuity of supply; (f) termination of distribution
arrangements or loss of customers; (g) negative impact from the termination of agreement in
principle with CMS & DOJ as well as a termination of the settlement agreement with certain
opioid plaintiffs; (h) complications related to assets and business operations held in foreign
jurisdictions; and (i) possible negative impacts from litigation related to Acthar and opioid
products. These factors may limit the amount of the liquidation proceeds available to the Trustee
to satisfy Allowed Claims under this hypothetical liquidation as well as delay the Trustee’s
ability to distribute funds to the respective creditors in an orderly and timely manner.

        For the avoidance of doubt and as stated above, the Liquidation Analysis does not
include: (a) estimates for the tax consequences that may be triggered upon liquidation and sale of
assets which could lower potential recoveries to creditors; (b) estimated proceeds from insurance
or indemnity recoveries; (c) recoveries from any potential preference, fraudulent transfer, or
other litigation or avoidance actions. Any third-party litigation or avoidance Claims would likely
inure to the benefit of the Holders of the Debtors’ Guaranteed Unsecured Notes or to Holders of
Opioid Claims, given the asserted amount and/or structural seniority of these Claims relative to
other unsecured Claims.

PROCEEDS FROM LIQUIDATED OPERATIONS

        1. Proceeds from Liquidated Operations include proceeds from the distressed sales of
the Liquidated Operations. These sales include the applicable intellectual property, owned
manufacturing facilities, machinery & equipment, and inventory. These individual assets are held
by different entities and the estimated value realized is allocated to the respective Debtors or
Non-Debtors. The sales proceeds are net of commission fees equal to 1.5% of the gross proceed
value.

ASSET RECOVERIES

        2. Cash & Cash Equivalents includes cash held in the Debtors’ domestic and foreign
bank accounts, cash equivalents, and money market accounts. Cash held by non-Debtor affiliates
is a source of recovery to the Debtors through satisfaction of any intercompany activity and
Investment in Subsidiary after the non-Debtor affiliates wind-down and satisfy their respective
obligations. The Debtors’ cash is estimated as of the Conversion Date which includes adequate




                                                 6
               Case 20-12522-JTD                   Doc 2917              Filed 06/18/21          Page 755 of 835




protection cash payments with respect to the Debtors’ Secured indebtedness, in accordance with
the Debtors’ Cash Collateral Order1. Estimated recovery of Cash & Cash Equivalents is 100%.

        3. Accounts Receivable, net of reserves includes all third-party trade accounts
receivable, net of chargebacks, rebates, allowances and bad debt reserves. The liquidation of
accounts receivable assumes that the Trustee will retain certain personnel from the Debtors and
foreign Non-Debtors to oversee collection of outstanding trade accounts receivable. The
estimated recoveries used in this Liquidation Analysis take into consideration the inevitable
difficulty of collections during a liquidation process, and related concessions that might be
required to facilitate the collection of certain receivables. The estimated recovery range for
accounts receivable is 70% to 85% of net book value. Collections of trade receivables during a
liquidation could be significantly compromised as customers attempt to set off outstanding
amounts owed to the Debtors and Non-Debtors against alleged damage and breach of contract
Claims, which could reduce recoveries.

       4. Inventory includes raw materials, work-in-process, and finished goods inventory.
The net book value of Finished Goods inventory is adjusted for transfer pricing. The inventory
associated with the Liquidated Product IP is sold to the same buyer as the underlying intellectual
property; otherwise, the inventory has limited recoverable value without the product intangibles
and marketing authorizations. Inventory book values and proceeds realized from the Liquidated
Operations, specifically INOmax, Amitiza, and APAP-API, are included in the Proceeds from
Liquidated Operations. Recoveries are estimated for certain non-opioid related inventory held by
Specialty Generics’ entities. However, inventory related to opioid products are assumed to have
minimal to no recovery as the Trustee will cease selling opioid products upon a chapter 7
conversion. The estimated recoveries reflect the distressed nature of the respective asset sales
and the expedited timeline to complete such a sale. The estimated blended recovery range for all
inventory is 51% to 59% of net book value.

        5. Prepaid Expenses consist of various expenses such as prepaid rent, prepaid
maintenance and prepaid insurance. The Debtors estimate that there would be no recoverable
value related to prepaid expenses since any prepayment would likely be depleted.

         6. Other Current Assets includes VAT/sales tax receivables, insurance receivables,
deposits, and other receivables. The estimated range of recovery for these assets is 20% to 40%.
Restricted cash, also included, are controlled by third-parties for the benefit of surety bonds,
letters of credit, and deposits. These funds may be difficult to recoup and recoverable value is
estimated to be 0% to 30% of book value. CARES Tax Receivables include receivables from
CARES Act related tax refunds based on the Debtors’ current estimates. Recoveries are
estimated to range from 90% to 100%, net of reserves. These estimates are subject to change,
and any refunds received are subject to IRS review both prior to and following receipt. The
estimated blended recovery range for all Other Current Assets is 59% to 75%.

       7. Property, Plant, and Equipment, net includes the Debtors’ land, building &
building improvements, manufacturing machinery & equipment, furniture & fixtures, leasehold

1 The Debtors reserve all rights as to whether any such adequate protection payments should be recharacterized as payments of principal in a
liquidation scenario.


                                                                     7
           Case 20-12522-JTD         Doc 2917        Filed 06/18/21   Page 756 of 835




improvements, and capitalized software. The owned manufacturing machinery & equipment,
land, and buildings related to the Liquidated Operations are included in the Proceeds from
Liquidated Operations. Recoveries from the sale of these PP&E assets are net of commission
fees of 1.5%. Given the difficulty and cost of liquidating the remaining property, plant and
equipment assets in a compressed timeframe, the Debtors assumed the following recoveries:
              Estimated recoveries for certain real property, which includes land & building
               assets, are based on recent third-party appraisals or real estate tax assessment
               values. These values are discounted by 15% to 20%. For properties where
               external values were not readily available, recoveries are estimated to be 40% to
               60% of net book value. Recoverable value is reduced for non-dischargeable
               environmental liabilities that may be asserted at any of the real property.
              Estimated recoveries for machinery & equipment are 10% to 20% of net book
               value due to the considerable deinstallation costs required to remove these assets
               as well as the unique use of these assets in the pharmaceutical manufacturing
               process.
              Estimated recoveries for furniture and office equipment, including vehicles, are
               10% to 20% of net book value.
              Capitalized software, communication equipment, and computers are assumed to
               have a recovery of 5% to 10% of net book value given the specific use of these
               assets.
              No recoverable value is ascribed to leasehold improvements and construction in
               progress.

        8. Intangible Assets include patents, licenses, capitalized development of products, and
trademarks. The recovery value for the Intangible Assets is based upon the potential value of the
intellectual property assets sold to a third-party buyer under a distressed liquidation sale. An
estimated fair market value was determined for the intangible assets to be sold in the chapter 7
liquidation. The value of the Intangible Assets is based on a net present value of the projected
cash flows for the individual products. In process research & development related to existing
Specialty Brands products are included in the respective intangible value. Proceeds related to
intellectual property sold as part of Liquidated Operations are separately included in Proceeds
from Liquidated Operations. Any other applicable proceeds for other Intangibles are accounted
for in Intangible Asset recoveries. Recoveries from the sale of Intangible Assets are net of
commission fees of 1.5%.

        This analysis considers many factors, including but not limited to, remaining patent
exclusivity, net cash flow generating value, and transition costs and time. The underlying value
of these assets in a liquidation are impacted by many factors, such as (a) the short time period of
the sale process; (b) possible discounts buyers would require due to the limited due diligence
period; (c) the risk of maintaining contractual relationships with contract manufacturers and/or
customers; (d) the uncertainty around the ability to transfer marketing authorizations efficiently;
and (e) negative publicity and any litigation risk. Recoveries are projected to be 28% to 33% of
net book value in aggregate, a portion of which is reflected in Proceeds from Liquidated
Operations.

                                                 8
           Case 20-12522-JTD          Doc 2917         Filed 06/18/21    Page 757 of 835




        9. Other Non-Current Assets includes spare parts, non-current asbestos insurance
receivables, long-term deposits, investments, long-term tax receivables, and other non-current
assets. Long-term tax receivables relate to the Coronavirus Aid, Relief, and Economic Security
(“CARES”) Act refund for the tax period ending September 2020. Blended recoveries for Other
Non-Current Assets are estimated to be between 31% and 41%.

        10. Intercompany Receivables include intercompany transactions both between Debtors
and with non-Debtor affiliates. Intercompany transactions relate to trade activities from the sale
and purchase of goods and services amongst entities, payment for management and corporate
services, cash pooling arrangements and intercompany loans. Intercompany transactions are
governed by distribution and supply agreements (primarily for cross-border activities), service
agreements, cash management agreements, and intercompany loan documents. Transfer pricing
used for product transfers and services comply with the Debtors’ debt document requirements.
Any transfer pricing used is monitored and documented regularly. Recoveries on intercompany
transactions are based on the obligor entity’s ability to satisfy its obligation, following the
absolute priority rule, out of the net proceeds available to creditors. In the course of winding
down foreign non-Debtors, to the extent intercompany receivables are subordinated, recoveries
to the Debtors and their creditors could be reduced.

        11. Investment in Subsidiary includes any value available for distribution to parent
entities after satisfying all creditors at the respective legal entity. Any distribution to multiple
parent entities is based on the equity percentage ownership.

        12. Net Operating Cash Flow - Conversion Through Sale includes the net operating
cash flows generated during the 90-day liquidation sales period. Upon conversion to chapter 7,
the Trustee maintains ordinary course operations for 90 days in order to maximize potential
recoveries to creditors. During the 90 days after the Conversion Date, the Debtors are estimated
to generate positive free cash flow after assuming loss of sales and minimal vendor payment
terms given the risks of continuing to do business with a company in a liquidation. Certain
aspects of the current organizational structure is largely intact including the sales and marketing,
supply chain, operations support, manufacturing & distribution, regulatory, and clinical service
organizations. These functions are necessary to maintain continuity of supply and provide the
necessary products and treatments to the Debtors’ customers and patients in order to preserve
and maximize recoverable value.

CHAPTER 7 LIQUIDATION COSTS

        The conversion of these chapter 11 cases to chapter 7 of the Bankruptcy Code will result
in additional costs to the Debtors including compensation of the Trustee, as well as retained
counsel and other professionals, to oversee the wind-down of the Debtors’ and Non-Debtors’
estates in both domestic and foreign jurisdictions. The chapter 7 costs include the following:

         13. Chapter 7 Trustee Fees include fees associated with the appointment of a chapter 7
trustee in accordance with section 326 of the Bankruptcy Code. Although section 326 of the
Bankruptcy Code provides for statutory Trustee fees of 3.0% for liquidation proceeds in excess
of $1,000,000, for purposes of this analysis, Chapter 7 Trustee Fees are assumed to be 1.5% of
total liquidation proceeds, excluding recoveries related to cash on hand. Should the Trustee’s
fees exceed 1.5%, the proceeds available for distribution to creditors would be reduced. Chapter
                                                   9
           Case 20-12522-JTD         Doc 2917      Filed 06/18/21     Page 758 of 835




7 Trustee Fees are allocated to the Debtor entities based on their pro-rata share of Gross Proceeds
Available for Distribution.

        14. Chapter 7 Trustee Professional Fees include the cost of financial advisors,
attorneys, and other professionals retained by the Trustee in connection with the wind-down of
the Debtors’ domestic and foreign operations. The fees represent tax, legal, accounting, claims
reconciliation, regulatory and other related services to support the Trustee in this complex,
expansive liquidation. The Debtors estimate the chapter 7 Trustee professionals will be retained
over a 12-month period to not only manage the liquidation of the Debtors’ assets but also wind-
down the corporate estates both in the U.S. and in foreign jurisdictions including Ireland, United
Kingdom, Luxembourg, and Japan. The fees are estimated to cover the monetization of the
various assets as well as an additional nine (9) months to wind-down the U.S. and foreign
operations with fees scaling down during the period. The Debtors estimate chapter 7 Trustee
Professional Fees are estimated to be approximately $30 million to $34 million, excluding
commission and transaction fees incurred as part of liquidating the Debtors’ assets.

        Absent a settlement with the Centers for Medicaid & Medicare Services, the Department
of Justice and with the public and private opioid plaintiffs, litigation amongst the creditor
constituents could take many years and lead to a significant cost to the estate. The Liquidation
Analysis assumes litigation could take up to three years or longer. The Trustee will need to retain
professionals to assist with litigation related to claims allowance, estimation, and allocation of
recoveries, and to the extent such litigation implicates any of the Debtors’ secured lenders or
noteholders, the estate may also be required to bear such parties’ legal expenses. Such litigation
will likely delay the Trustee’s ability to distribute proceeds to creditors. The chapter 7 litigation
professional fee costs are estimated to be approximately $125 million to $150 million. Litigation
related fees could be materially higher and further reduce recoveries to creditors. Total chapter 7
Trustee Professional Fees are allocated to the Debtor entities based on their pro-rata share of
Gross Proceeds Available for Distribution.

        15. Wind-Down Expense includes retention costs and expenses associated with the
wind-down of the Debtors’ remaining estates, including the Non-Debtors affiliates, after
completing the sale of the Debtors’ assets. Costs include additional retention compensation
necessary to preserve the sales organization, supply chain, manufacturing, regulatory, clinical
services and other functions during the liquidation sales process. The Debtors’ assume all sales,
marketing, clinical services, manufacturing, supply chain, and other operating costs will
essentially cease upon the completion of the asset sales. However, given the complex nature of
the Debtors’ business operations across various domestic and foreign jurisdictions, additional
costs will be incurred to wind-down the corporate affairs including legal, tax, accounting, claims
reconciliation, compliance and other necessary functions. The Trustee will retain a number of
corporate employees to assist with facilitating the liquidation of the Debtors’ assets, providing
historical knowledge and insight to the Trustee regarding the Debtors’ complex businesses and
the chapter 11 cases, and concluding the administrative wind-down of the organization in the
various foreign jurisdictions where the Debtors’ have domiciled entities.

       The estimated wind-down costs are based on a reduction to the current monthly run-rate
operating expenses by department with further reductions throughout the wind-down period to
complete the necessary wind-down activities. Wind-down costs for the nine (9) month period

                                                 10
               Case 20-12522-JTD                    Doc 2917          Filed 06/18/21              Page 759 of 835




after the initial asset sale period is estimated to be approximately $26 million to $29 million,
excluding employee retention costs. In addition, incremental retention programs are initiated to
retain necessary key employees with institutional knowledge to assist the Trustee in facilitating
an efficient wind-down process.

DISTRIBUTION OF PROCEEDS

        The Liquidation Analysis assumes that net proceeds from the sale of the assets will be
distributed following the absolute priority rule provided in section 1129(b)(2) and in accordance
with section 726 of the Bankruptcy Code, and no distributions will be made to holders of equity
interests until all creditors are satisfied in full. Certain real property assets are not part of the
secured creditors’ collateral, and the estimated recoveries from these unencumbered assets have
been segregated and made available to Administrative, Priority, and General Unsecured Claims.

SECURED CLAIMS

          The recoveries related to Secured Claims can be found in the table below:

Summary of Recoveries to Secured Claims
($ in 000s)
                                                    Estimated Allowed Claims                        Estimated Recovery
                                                     Lower           Higher            Lower                     Higher
Secured Carve-Out Claims
  Carve-Out Claims                              $      37,000    $        34,000   $     37,000      100%     $    34,000   100%

Secured Debt Claims
  First Lien Revolving Credit Facility Claims   $ 905,600        $ 905,600         $ 905,600         100%     $ 905,600     100%
  First Lien Term Loan Claims                   $ 1,792,320      $ 1,792,320       $ 1,792,320       100%     $ 1,792,320   100%
  First Lien Notes Claims                       $ 545,790        $ 545,790         $ 545,790         100%     $ 545,790     100%
  Second Lien Notes Claims                      $ 355,973        $ 355,973         $ 355,973         100%     $ 355,973     100%
                                                $ 3,599,684      $ 3,599,684       $ 3,599,684                $ 3,599,684


        16. Carve-Out includes certain unpaid holdback and accrued professional fees and costs
entitled to priority above Secured Claims as outlined in the Cash Collateral Order. The Cash
Collateral Order provides for a “Carve Out” (as defined therein) that is senior to all liens and
Claims (including any super-priority Administrative Claims) held by First Lien Creditors. For
purposes of the Liquidation Analysis, the Debtors assumed that the “Carve Out Trigger Notice”
(as defined in the Cash Collateral Order) is delivered on the Conversion Date, requiring the
Debtors to fund a reserve from the Debtors’ cash on hand in the amount of the Carve Out. The
Carve-Out costs are estimated to be approximately $34 million to $37 million. This total includes
accrued but unpaid fees and expenses incurred by the chapter 11 retained professionals, in
addition to fees payable to the U.S. Trustee. Carve Out Claims are assumed to be paid from
encumbered asset proceeds; however, such payments can be made out of unencumbered asset
proceeds which would reduce recoveries to unsecured creditors.

       17. Class 2 - First Lien Credit Agreement Secured Claims include estimated Claims of
$906 million for the First Lien Revolving Credit Facility Claims and $1.8 billion for the 2024
and 2025 First Lien Term Loan Claims. Claim amounts include accrued interest during the post-
conversion period at prepetition interest rates. The First Lien Revolving Credit Facility Claims

                                                                     11
                Case 20-12522-JTD                     Doc 2917            Filed 06/18/21             Page 760 of 835




and First Lien Term Loan Claims are allocated amongst the obligor entities pro-rata based on the
respective obligor entities’ Net Estimated Proceeds Available for Distribution, excluding
estimated value attributable to unencumbered assets2. Secured contribution claims are asserted
by obligor entities deemed to pay more than their fair allocated share of the First Lien Revolving
Credit Facility and First Lien Term Loan Claims, as specified in the Credit Agreement, against
obligor entities that under-pay their share of the bank debt claims. First Lien Credit Agreement
Secured Claim recoveries are shown net of any secured contribution claim receivables or
amounts paid, as applicable.

        18. Class 3 - First Lien Note Claims include estimated Claims of $546 million which
includes accrued interest of $12 million for the post-conversion period and a make-whole
premium3 of $38 million, as of the estimated transaction date in December 2021. The First Lien
Note Claims are allocated pro-rata to the obligor entities based on entity count until the Claim is
paid in full in accordance with New York law.

       19. Class 4 - Second Lien Note Claims include estimated Claims of $356 million which
includes accrued interest of $8 million for the post-conversion period and a make-whole
premium3 of $25 million, as of the estimated transaction date in December 2021. The Second
Lien Note Claims are allocated pro-rata to the obligor entities based on entity count until the
Claim is paid in full in accordance with New York law.

        20. Purchase-Money Lien reflects a secured third-priority purchase-money lien (which
is expressly junior in priority to the liens securing the First Lien Credit Agreement Secured
Claims, First Lien Note Claims, and Second Lien Note Claims) that is asserted on the inventory
held by Mallinckrodt ARD LLC and ST Operations LLC along with the proceeds from the sale
of the secured inventory.

ADMINISTRATIVE AND PRIORITY CLAIMS

       21. Administrative and Priority Claims include Priority tax, Administrative
postpetition, and super-priority intercompany Claims. Priority tax Claims and Administrative
postpetition Claims are asserted at certain Debtors based on the Debtors’ books and records. The
Debtors assume that there will be no employment-related (including “WARN Act” Claims) as of
the Conversion Date. To the extent any such Claims arise, recoveries to General Unsecured
Claims at certain Debtor entities would be reduced. Postpetition intercompany Claims between
Debtor entities are granted super-priority Adminstrative Claim status.




2 Unencumbered assets include real property assets held by the respective legal entity.

3 It is assumed, solely for purposes of this Liquidation Analysis, that make-whole premiums would be payable on the First Lien Note Claims and
the Second Lien Note Claims in connection with a chapter 7 liquidation (as opposed to the treatment set forth in the Debtors’ Plan). The Debtors,
however, reserve all rights as to whether any such make-whole premiums are payable and, if payable, how any such make-whole premium should
be calculated. Furthermore, the Debtors specifically do not believe that any such make-whole premiums would be payable in connection with the
treatment of the First Lien Note Claims and the Second Lien Note Claims set forth in the Debtors’ Plan.


                                                                       12
             Case 20-12522-JTD       Doc 2917      Filed 06/18/21      Page 761 of 835




GENERAL UNSECURED CLAIMS

        General Unsecured Claims consist of all unsecured, non-priority Claims arising prior to
the Petition Date. Estimates of such Claims are based on the Debtors’ books and records and a
preliminary review of the proofs of Claim filed against the Debtors in these cases. The
Liquidation Analysis includes known estimated contract rejection damage Claims. To the extent
additional contract rejection damage Claims exist, the recovery to unsecured creditors at the
respective Debtors where these Claims arise could be less.

        Below are the various categories of Claims, described according to their Classes under
the Plan, that would all be pari passu as General Unsecured Claims in chapter 7. The Liquidation
Analysis reflects only liquidated Claims at the respective Debtors, as amounts associated with
unliquidated claims, such as litigation Claims, are unknown. As previously described, the
Debtors face various litigations Claims including Opioid-related Claims and Acthar-related
Claims. Various litigation creditors have asserted Claims against the Debtors in amounts totaling
billions of dollars, and in some instances trillions of dollars, and such Claims are alleged to be at
several or all Debtors, in many instances. Allowed unliquidated or contingent Claims could
meaningfully reduce recoveries to other General Unsecured Creditors, including but not limited
to, Class 5, Class 6, Class 7 and Class 11 Claims, at the respective Debtors where these Claims
are asserted.

        22. Class 5 - Guaranteed Unsecured Note Claims include estimated Claims of $1.5
billion on the Conversion Date, including accrued interest through the Petition Date. The
Guaranteed Unsecured Note Claims are obligations of 63 entities including the primary issuer,
Mallinckrodt International Finance S.A. The Guaranteed Unsecured Note Claims are allocated
and then reallocated pro-rata to the obligor entities based on obligor entity count until the Claim
is paid in full or until no value is available for distribution to unsecured creditors at the
respective obligor entities, in accordance with New York law. Aggregate recoveries are
estimated to be 15% to 58%. Recoveries on these Claims could be diluted if unliquidated,
contingent, or disputed claims become Allowed Claims at the respective obligor entities.

          23. Class 6 - General Unsecured Claims include the following general unsecured
claims:

             a) Other General Unsecured Claims include non-trade unsecured Claims, pension
                and retirement plan obligations, unsecured tax Claims, known estimated rejection
                damage Claims, and other miscelleanous unsecured Claims.

             b) Environmental & Asbestos Claims include reserves for estimated environmental
                liabilities at the Conversion Date. Certain environmental liabilities deemed to be
                non-dischargeable are assumed to reduce the recoverable value of the related land
                and building assets, as previously noted. This analysis does not account for
                potential administrative costs to liquidate these sites. Asbestos Claims include
                reserves for estimated asbestos liabilities at the Conversion Date.

             c) 4.75% Unsecured Notes include estimated Claims of $136.8 million on the
                Conversion Date, including accrued interest through the Petition Date. The 4.75%

                                                 13
           Case 20-12522-JTD          Doc 2917      Filed 06/18/21     Page 762 of 835




               Unsecured Notes are issued by Mallinckrodt International Finance S.A. and
               guaranteed from Mallinckrodt plc.

           d) Legacy Ludlow Debentures include estimated Claims of $15.3 million on the
              Conversion Date, including accrued interest through the Petition Date. The
              Ludlow Debentures only have a Claim against its issuer, Ludlow LLC (f/k/a
              Ludlow Corporation).

           e) “Litigation Claims” are Claims derived from pending non-opioid related
              litigation against the Debtors and all similar Claims, including but not limited to,
              various Acthar payor lawsuits and the generics price fixing lawsuits. These
              Claims are unliquidated, contingent, or disputed and the aggregate amount of such
              Claims are undetermined.

      24. Class 7 - Trade Claims include estimated prepetition trade Claims as of the
Conversion Date.

       25. Class 8 - Governmental Opioid Claims & Class 9 - Other Opioid Claims include
governmental state and non-state Opioid Claims, private plaintiff Opioid Claims, and a Canadian
lawsuit. These Claims are unliquidated and the amount of such Claims are undetermined.

        26. Class 10 - Settled Federal/State Acthar Claims include the CMS and DOJ Claims
as well as the EDPA Foundation and Boston Foundation Claims which are settled as part of the
Acthar Settlement Agreement. The CMS judgement Claim of $640 million is reflected as a
Claim in the Liquidation Analysis. Other Claims in this Class are unliquidated or contingent and
amounts are undetermined.

        27. Class 11 - Intercompany Claims include prepetition intercompany payables
between Debtor and non-Debtor affiliates. Prepetition intercompany payables are deemed pari
passu to all unsecured Claims, except for non-ordinary course intercompany payables due from
an obligor entity to a non-obligor entity, which are deemed subordinate to other unsecured
creditors of the obligor entity. Settlement of intercompany payables is based on the obligor
entity’s ability to satisfy its obligation out of net proceeds available to satisfy unsecured Claims.

SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS

        28. Class 12 - Intercompany Interests include any value available for distribution to
parent entities after satisfying all creditors at the respective legal entity.

        29. Class 13 - Subordinated Claims are Claims derived from pending non-opioid
related litigation against the Debtors, including but not limited, to subordinated litigation Claims
related to penalties from False Claims Act, punitive damages for Acthar trade lawsuits, and
securities lawsuit claims. These Subordinated Claims are unliquidated, contingent, or disputed
and the aggregate amount of such Claims are unknown. Subordinated Claims also include a
subordinated prepetiton intercompany loan due to a non-obligor affiliate. No recoverable value is
available for Subordinated Claims.



                                                 14
           Case 20-12522-JTD        Doc 2917      Filed 06/18/21     Page 763 of 835




       30. Class 14 - Equity Interest includes any value available for distribution to the Equity
Holders of Mallinckrodt plc. In the Liquidation Analysis, there is no recoverable value available
to Equity Interest holders.

OTHER CONSIDERATIONS

        Under chapter 7, the litigation Claims in Class 6 and the Governmental and Other Opioid
Claims in Class 8 and Class 9, would be resolved through litigation, and the Trustee would need
to engage litigation counsel to defend and litigate these Claims. Claim estimates for unliquidated,
contingent, or disputed Claims are unknown at the time the Disclosure Statement was filed. The
Debtors do not have sufficient information to properly estimate the amount of these Claims for
purposes of this analysis, and therefore, no value has been assigned to Class 6, Class 8, and Class
9 Claims; and thus no recovery value is projected. However, if the unliquidated, contingent or
disputed Claims were deemed Allowed Claims at the Debtor entities that are named defendents
in the various lawsuits, the aggregate proceeds available to Unsecured Claims range from
approximately $3 million to $56 million across the relevant Debtor entities. These proceeds
would primarily be available to Specialty Generics’ entities, which would substantially benefit
the Class 5 Guaranteed Unsecured Note Claims and Class 8 & Class 9 Opioid Claims, given the
potential size of these Claims.




                                                15
                               Case 20-12522-JTD                                           Doc 2917                         Filed 06/18/21                                  Page 764 of 835


                                                                                                             Mallinckrodt PLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                        Note               Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                   Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –                –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $      2,530                                      100%            100%           $         2,530         $        2,530
     Accounts Receivable, net                                                                               3                          –                                         –               –                        –                      –
     Inventory                                                                                              4                          –                                         –               –                        –                      –
     Prepaid Expenses                                                                                       5                     7,149                                          –               –                        –                      –
     Other Current Assets                                                                                   6                       150                                       17%             39%                        26                     58
     Plant, Property & Equipment, net                                                                       7                          –                                         –               –                        –                      –
     Intangible Assets                                                                                      8                          –                                         –               –                        –                      –
     Other Non-Current Assets                                                                               9                     9,666                                       10%             20%                       967                  1,933
     Intercompany Receivables                                                                              10                   422,820                                        0%              1%                       154                  4,756
     Investment in Subsidiary                                                                              11                28,408,201                                          –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                        n/a                                       n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $ 28,850,515                                        0%              0%           $         3,676         $        9,277
Gross Proceeds Available for Distribution                                                                                                                                                                   $         3,676         $        9,277
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                               $            43         $          114
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                           156                    294
     Winddown Expense                                                                                      15                                                                                                         1,934                  1,784
     Total Chapter 7 Liquidation Costs                                                                                                                                                                      $         2,133         $        2,192
Net Proceeds Available for Distribution                                                                                                                                                                     $         1,543         $        7,085


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                   Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                     $         1,543         $        7,085
   CARVE OUT:
     US Trustee Fees                                                                                                       $              1         $            3           100%            100%           $             1         $             3
     Chapter 11 Professionals                                                                                                            14                     49           100%            100%                        14                      49
     Total Carve Out Fees                                                                                  16              $             14         $           52           100%            100%           $            14         $            52
Net Proceeds After Carve Out Claims                                                                                                                                                                         $         1,529         $        7,033
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                   $         1,529         $        7,033
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%               0%         $         1,006         $        3,727
     First Lien Notes                                                                                      18                     545,790                 545,790               0%               1%                     523                  3,306
     Second Lien Notes                                                                                     19                     355,973                 355,973                –                –                       –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –                –                       –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%               0%         $         1,529         $        7,033
Proceeds Available After Satisfying Secured Claims                                                                                                                                                          $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                      –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                              $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –                –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –                –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                 $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $             71         $           71                –                –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                      –                –                –                       –                       –
     Priority Tax Claims                                                                                                                  –                      –                –                –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $             71         $           71                –                –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                         $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –                –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                     148,234                 148,234                 –                –                       –                       –
     Class 7 - Trade Claims                                                                                24                      12,130                  12,130                 –                –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –                –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –                –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                       4,160                   4,160                 –                –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,708,334           $   1,708,334                 –                –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                     $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –                –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –                –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –                –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –                –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                        1
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 765 of 835


                                                                                                    Mallinckrodt International Finance SA
                                                                                                     Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                        Note               Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $    117,057                                      100%            100%          $      117,057          $      117,057
     Accounts Receivable, net                                                                               3                          –                                         –               –                      –                       –
     Inventory                                                                                              4                          –                                         –               –                      –                       –
     Prepaid Expenses                                                                                       5                        65                                          –               –                      –                       –
     Other Current Assets                                                                                   6                    20,210                                        0%             30%                       0                   6,063
     Plant, Property & Equipment, net                                                                       7                          –                                         –               –                      –                       –
     Intangible Assets                                                                                      8                          –                                         –               –                      –                       –
     Other Non-Current Assets                                                                               9                          –                                         –               –                      –                       –
     Intercompany Receivables                                                                              10                          –                                         –               –                      –                       –
     Investment in Subsidiary                                                                              11                17,894,039                                        0%              0%                     560                     646
     Net Operating Cash Flow - Conversion Through Sale                                                     12                        n/a                                       n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $ 18,031,371                                        1%              1%          $      117,617          $      123,766
Gross Proceeds Available for Distribution                                                                                                                                                                  $      117,617          $      123,766
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $        1,410          $        1,535
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                       5,104                   3,958
     Winddown Expense                                                                                      15                                                                                                       8,802                   7,838
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $       15,315          $       13,331
Net Proceeds Available for Distribution                                                                                                                                                                    $      102,301          $      110,435


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $      102,301          $      110,435
   CARVE OUT:
     US Trustee Fees                                                                                                       $            52          $           48           100%            100%          $             52        $            48
     Chapter 11 Professionals                                                                                                          902                     763           100%            100%                       902                    763
     Total Carve Out Fees                                                                                  16              $           954          $          810           100%            100%          $            954        $           810
Net Proceeds After Carve Out Claims                                                                                                                                                                        $      101,347          $      109,624
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $      101,347          $      109,624
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               2%              2%         $       66,662          $       58,097
     First Lien Notes                                                                                      18                     545,790                 545,790               6%              7%                 34,686                  39,160
     Second Lien Notes                                                                                     19                     355,973                 355,973                –              3%                      –                  12,367
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               3%              3%         $      101,347          $      109,624
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $       47,493           $      47,493                 –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $       47,493           $      47,493                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $            61          $           61                –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                       –                –               –                       –                       –
     Priority Tax Claims                                                                                                                50                      50                –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $           111          $          111                –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                     144,154                 144,154                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                          14                      14                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                   1,897,856               1,897,856                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    3,585,833           $   3,585,833                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                         2
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 766 of 835


                                                                                                              ST US Pool LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $      186,669                                    100%            100%          $      186,669          $      186,669
     Accounts Receivable, net                                                                               3                            –                                       –               –                      –                       –
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                            –                                       –               –                      –                       –
     Other Current Assets                                                                                   6                            –                                       –               –                      –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                      –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                            –                                       –               –                      –                       –
     Intercompany Receivables                                                                              10                     218,829                                      0%              0%                      92                     132
     Investment in Subsidiary                                                                              11                            –                                       –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $      405,498                                     46%             46%          $      186,761          $      186,801
Gross Proceeds Available for Distribution                                                                                                                                                                  $      186,761          $      186,801
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $        2,233          $        2,310
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                       8,085                   5,955
     Winddown Expense                                                                                      15                                                                                                      23,055                  20,541
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $       33,373          $       28,806
Net Proceeds Available for Distribution                                                                                                                                                                    $      153,387          $      157,994


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $      153,387          $      157,994
   CARVE OUT:
     US Trustee Fees                                                                                                       $            77          $          68            100%            100%          $            77         $            68
     Chapter 11 Professionals                                                                                                        1,353                  1,091            100%            100%                    1,353                   1,091
     Total Carve Out Fees                                                                                  16              $         1,430          $       1,159            100%            100%          $         1,430         $         1,159
Net Proceeds After Carve Out Claims                                                                                                                                                                        $      151,957          $      156,835
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $      151,957          $      156,835
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               4%             3%          $       99,950          $       83,117
     First Lien Notes                                                                                      18                     545,790                 545,790               9%             7%                  47,103                  39,160
     Second Lien Notes                                                                                     19                     355,973                 355,973               1%            10%                   4,903                  34,558
     Purchase-Money Lien                                                                                   20                           –                       –                –              –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               4%             4%          $      151,957          $      156,835
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $      192,923           $    192,923                  –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $      192,923           $    192,923                  –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     296,696                 296,696                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,840,506           $   1,840,506                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                         3
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 767 of 835


                                                                                                          Mallinckrodt Group Sarl
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $       67,180                                    100%            100%          $       67,180          $       67,180
     Accounts Receivable, net                                                                               3                            –                                       –               –                      –                       –
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                            –                                       –               –                      –                       –
     Other Current Assets                                                                                   6                      19,101                                      0%             30%                      16                   5,738
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                      –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                            –                                       –               –                      –                       –
     Intercompany Receivables                                                                              10                      37,276                                     55%             58%                  20,607                  21,497
     Investment in Subsidiary                                                                              11                     256,023                                      1%              2%                   2,042                   6,251
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $      379,580                                     24%             27%          $       89,844          $      100,666
Gross Proceeds Available for Distribution                                                                                                                                                                  $       89,844          $      100,666
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $         1,031         $         1,174
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                        3,734                   3,028
     Winddown Expense                                                                                      15                                                                                                          402                     363
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         5,168         $         4,565
Net Proceeds Available for Distribution                                                                                                                                                                    $       84,676          $       96,101


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $       84,676          $       96,101
   CARVE OUT:
     US Trustee Fees                                                                                                       $            41          $           39           100%            100%          $             41        $            39
     Chapter 11 Professionals                                                                                                          711                     620           100%            100%                       711                    620
     Total Carve Out Fees                                                                                  16              $           752          $          659           100%            100%          $            752        $           659
Net Proceeds After Carve Out Claims                                                                                                                                                                        $       83,925          $       95,442
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $       83,925          $       95,442
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $              –         $             –               –               –        $              –        $              –
     First Lien Notes                                                                                      18                             –                       –               –               –                       –                       –
     Second Lien Notes                                                                                     19                             –                       –               –               –                       –                       –
     Purchase-Money Lien                                                                                   20                             –                       –               –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $              –         $             –               –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $       83,925          $       95,442
  Add: Value from Unencumbered Assets                                                                                                                                                                                   –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $       83,925          $       95,442
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $       83,925          $       95,442
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $             1          $            1           100%            100%          $              1        $             1
     Postpetition Intercompany Payables                                                                                                  –                       –              –               –                         –                      –
     Priority Tax Claims                                                                                                               675                     675           100%            100%                       675                    675
     Total Administrative & Priority Claims and Distributions                                              21              $           677          $          677           100%            100%          $            677        $           677
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $       83,248          $       94,766
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $            –           $          –                –               –          $            –          $            –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                       1,651                  1,651              78%             89%                   1,286                   1,464
     Class 7 - Trade Claims                                                                                24                           6                      6              78%             89%                       5                       5
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                      –                –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                      –                –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     105,206                105,206              78%             89%                  81,958                  93,297
     Total Distribution to Unsecured Classes of Claims                                                                     $      106,863           $    106,863              78%             89%          $       83,248          $       94,766
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                         4
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 768 of 835


                                                                                                           Mallinckrodt ARD LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $       47,745                                    100%            100%          $       47,745          $       47,745
     Accounts Receivable, net                                                                               3                      62,582                                     70%             85%                  43,807                  53,195
     Inventory                                                                                              4                     148,844                                     70%             80%                 104,190                 119,075
     Prepaid Expenses                                                                                       5                       4,227                                        –               –                      –                       –
     Other Current Assets                                                                                   6                          94                                     20%             40%                      19                      38
     Plant, Property & Equipment, net                                                                       7                         922                                      4%              9%                      40                      80
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                         347                                     10%             20%                      35                      69
     Intercompany Receivables                                                                              10                     159,913                                      0%              0%                      50                      50
     Investment in Subsidiary                                                                              11                     326,766                                      0%              0%                      67                      67
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                 55,970                  62,189
     Total Assets and Gross Recovery                                                                                       $      751,440                                     34%             38%          $      251,923          $      282,507
Gross Proceeds Available for Distribution                                                                                                                                                                  $      251,923          $      282,507
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $        2,249          $        2,570
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                       8,144                   6,627
     Winddown Expense                                                                                      15                                                                                                      15,765                  14,136
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $       26,159          $       23,333
Net Proceeds Available for Distribution                                                                                                                                                                    $      225,764          $      259,174


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $      225,764          $      259,174
   CARVE OUT:
     US Trustee Fees                                                                                                       $           108          $         104            100%            100%          $           108         $           104
     Chapter 11 Professionals                                                                                                        1,895                  1,672            100%            100%                    1,895                   1,672
     Total Carve Out Fees                                                                                  16              $         2,004          $       1,776            100%            100%          $         2,004         $         1,776
Net Proceeds After Carve Out Claims                                                                                                                                                                        $      223,761          $      257,398
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $      223,761          $      257,398
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               8%            10%          $      223,761          $      257,398
     First Lien Notes                                                                                      18                     545,790                 545,790                –              –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                –              –                       –                       –
     Purchase-Money Lien                                                                                   20                     169,691                 169,691                –              –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,769,375           $   3,769,375               6%             7%          $      223,761          $      257,398
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $       40,000           $      40,000                 –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $       40,000           $      40,000                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $         7,925          $       7,925                 –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                      –                 –               –                       –                       –
     Priority Tax Claims                                                                                                             1,624                  1,624                 –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $         9,549          $       9,549                 –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                      51,482                  51,482                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                       8,705                   8,705                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                     640,000                 640,000                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                      46,052                  46,052                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    2,290,049           $   2,290,049                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                         5
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 769 of 835


                                                                                                              ST Operations LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             1                                   100%            100%          $            1          $            1
     Accounts Receivable, net                                                                               3                            –                                       –               –                      –                       –
     Inventory                                                                                              4                     230,166                                     70%             80%                 161,116                 184,133
     Prepaid Expenses                                                                                       5                            –                                       –               –                      –                       –
     Other Current Assets                                                                                   6                            –                                       –               –                      –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                      –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                            –                                       –               –                      –                       –
     Intercompany Receivables                                                                              10                     169,691                                        –               –                      –                       –
     Investment in Subsidiary                                                                              11                            –                                       –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $      399,859                                     40%             46%          $      161,117          $      184,134
Gross Proceeds Available for Distribution                                                                                                                                                                  $      161,117          $      184,134
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $        1,937          $         2,292
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                       7,013                    5,910
     Winddown Expense                                                                                      15                                                                                                       1,715                    1,552
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $       10,665          $         9,755
Net Proceeds Available for Distribution                                                                                                                                                                    $      150,452          $      174,380


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $      150,452          $      174,380
   CARVE OUT:
     US Trustee Fees                                                                                                       $            76          $          75            100%            100%          $            76         $            75
     Chapter 11 Professionals                                                                                                        1,327                  1,204            100%            100%                    1,327                   1,204
     Total Carve Out Fees                                                                                  16              $         1,403          $       1,280            100%            100%          $         1,403         $         1,280
Net Proceeds After Carve Out Claims                                                                                                                                                                        $      149,049          $      173,100
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $      149,049          $      173,100
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               4%             3%          $       98,038          $       91,737
     First Lien Notes                                                                                      18                     545,790                 545,790               9%             7%                  47,103                  39,160
     Second Lien Notes                                                                                     19                     355,973                 355,973               1%            11%                   3,908                  40,828
     Purchase-Money Lien                                                                                   20                     291,347                 291,347                –             0%                       –                   1,375
     Total Secured Claims and Distributions                                                                                $    3,891,031           $   3,891,031               4%             4%          $      149,049          $      173,100
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                         6
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 770 of 835


                                                                                               Mallinckrodt Pharmaceuticals Ireland Limited
                                                                                                     Hypothetical Liquidation Analysis
                                                                                                                ($ in 000s)
                                                                                                       Note              Net                                                    Estimated                                 Estimated
                                                                                                        Ref           Book Value                                               % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $         7,391                                      5%              5%         $            353        $           397
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $      362,354                                    100%           100%           $      362,354          $      362,354
     Accounts Receivable, net                                                                               3                            0                                    70%            85%                        0                       0
     Inventory                                                                                              4                      35,183                                     72%            82%                   25,345                  28,843
     Prepaid Expenses                                                                                       5                         341                                        –              –                       –                       –
     Other Current Assets                                                                                   6                       5,241                                     13%            36%                      679                   1,912
     Plant, Property & Equipment, net                                                                       7                     129,960                                     25%            33%                   32,762                  42,544
     Intangible Assets                                                                                      8                            –                                       –              –                       –                       –
     Other Non-Current Assets                                                                               9                         626                                     10%            20%                       63                     125
     Intercompany Receivables                                                                              10                     722,583                                      4%             5%                   30,615                  32,938
     Investment in Subsidiary                                                                              11                         631                                   1796%          2404%                   11,337                  15,175
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a            n/a                     209                     232
     Total Assets and Gross Recovery                                                                                       $    1,256,919                                     37%            39%           $      463,363          $      484,123
Gross Proceeds Available for Distribution                                                                                                                                                                  $      463,716          $      484,520
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $        5,538          $        5,975
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                      20,051                  15,406
     Winddown Expense                                                                                      15                                                                                                      12,725                  11,168
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $       38,314          $       32,549
Net Proceeds Available for Distribution                                                                                                                                                                    $      425,402          $      451,971


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $      425,402          $      451,971
   CARVE OUT:
     US Trustee Fees                                                                                                       $           213          $         193            100%            100%          $           213         $           193
     Chapter 11 Professionals                                                                                                        3,730                  3,095            100%            100%                    3,730                   3,095
     Total Carve Out Fees                                                                                  16              $         3,944          $       3,288            100%            100%          $         3,944         $         3,288
Net Proceeds After Carve Out Claims                                                                                                                                                                        $      421,459          $      448,683
     Less: Value from Unencumbered Assets                                                                                                                                                                          (24,511)                (26,043)
Net Proceeds Available for Secured Claims                                                                                                                                                                  $      396,948          $      422,640
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920             10%              8%          $      262,613          $      226,349
     First Lien Notes                                                                                      18                     545,790                 545,790              9%              7%                  47,103                  39,160
     Second Lien Notes                                                                                     19                     355,973                 355,973             25%             11%                  87,231                  40,828
     Purchase-Money Lien                                                                                   20                           –                       –               –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684             11%              9%          $      396,948          $      306,337
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $            –          $      116,303
  Add: Value from Unencumbered Assets                                                                                                                                                                              24,511                  26,043
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $       24,511          $      142,346
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $         5,000          $       5,000            100%            100%          $         5,000         $         5,000
     Total Superpriority Administrative Claims and Distributions                                                           $         5,000          $       5,000            100%            100%          $         5,000         $         5,000
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $       19,511          $      137,346
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $       11,495           $      11,495             82%            100%          $        9,426          $       11,495
     Postpetition Intercompany Payables                                                                                                 –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                           12,298                  12,298             82%            100%                  10,085                  12,298
     Total Administrative & Priority Claims and Distributions                                              21              $       23,794           $      23,794             82%            100%          $       19,511          $       23,794
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $      113,552
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –             7%         $              –        $      101,381
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                      64,959                  64,959                 –             7%                        –                 4,266
     Class 7 - Trade Claims                                                                                24                       7,863                   7,863                 –             7%                        –                   516
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –              –                        –                     –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –              –                        –                     –
     Class 11 - Intercompany Claims                                                                        27                     112,523                 112,523                 –             7%                        –                 7,389
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,729,154           $   1,729,154                 –             7%         $              –        $      113,552
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                         7
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 771 of 835


                                                                                                          ST Shared Services LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $             –         $            –
     Accounts Receivable, net                                                                               3                       1,670                                     70%             85%                    1,169                  1,420
     Inventory                                                                                              4                            –                                       –               –                       –                      –
     Prepaid Expenses                                                                                       5                      31,385                                        –               –                       –                      –
     Other Current Assets                                                                                   6                       1,174                                     20%             40%                      232                    468
     Plant, Property & Equipment, net                                                                       7                      67,761                                      7%             13%                    4,590                  9,113
     Intangible Assets                                                                                      8                            –                                       –               –                       –                      –
     Other Non-Current Assets                                                                               9                         750                                     10%             20%                       75                    150
     Intercompany Receivables                                                                              10                     207,099                                      0%              0%                       12                    157
     Investment in Subsidiary                                                                              11                            –                                       –               –                       –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                       –                      –
     Total Assets and Gross Recovery                                                                                       $      309,839                                      2%              4%          $         6,078         $       11,308
Gross Proceeds Available for Distribution                                                                                                                                                                  $         6,078         $       11,308
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $             73        $           141
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                           264                    363
     Winddown Expense                                                                                      15                                                                                                            65                     95
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $            402        $           598
Net Proceeds Available for Distribution                                                                                                                                                                    $         5,676         $       10,710


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $         5,676         $       10,710
   CARVE OUT:
     US Trustee Fees                                                                                                       $             3          $            5           100%            100%          $              3        $             5
     Chapter 11 Professionals                                                                                                           50                      74           100%            100%                        50                     74
     Total Carve Out Fees                                                                                  16              $            53          $           78           100%            100%          $             53        $            78
Net Proceeds After Carve Out Claims                                                                                                                                                                        $         5,623         $       10,631
     Less: Value from Unencumbered Assets                                                                                                                                                                             (132)                  (198)
Net Proceeds Available for Secured Claims                                                                                                                                                                  $         5,491         $       10,433
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $         3,612         $        5,530
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              1%                   1,878                  4,903
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                       –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                       –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $         5,491         $       10,433
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $             –
  Add: Value from Unencumbered Assets                                                                                                                                                                                   132                    198
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $            132        $           198
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $            132        $           198
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $       11,020           $      11,020               1%              1%         $            101        $           151
     Postpetition Intercompany Payables                                                                                                 –                       –                –               –                        –                      –
     Priority Tax Claims                                                                                                            3,466                   3,466               1%              1%                       32                     47
     Total Administrative & Priority Claims and Distributions                                              21              $       14,486           $      14,486               1%              1%         $            132        $           198
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                       1,383                   1,383                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                       8,560                   8,560                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     103,698                 103,698                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,657,451           $   1,657,451                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                         8
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 772 of 835


                                                                                                 Mallinckrodt ARD IP Unlimited Company
                                                                                                    Hypothetical Liquidation Analysis
                                                                                                               ($ in 000s)
                                                                                                       Note             Net                                                     Estimated                                 Estimated
                                                                                                        Ref          Book Value                                                % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $           59                                    100%            100%          $           59          $           59
     Accounts Receivable, net                                                                               3                            –                                       –               –                      –                       –
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                            –                                       –               –                      –                       –
     Other Current Assets                                                                                   6                            0                                    20%             40%                       0                       0
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                      –                       –
     Intangible Assets                                                                                      8                   3,453,736                                     13%             15%                 432,649                 519,488
     Other Non-Current Assets                                                                               9                            –                                       –               –                      –                       –
     Intercompany Receivables                                                                              10                            –                                       –               –                      –                       –
     Investment in Subsidiary                                                                              11                            –                                       –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $    3,453,795                                     13%             15%          $      432,708          $      519,547
Gross Proceeds Available for Distribution                                                                                                                                                                  $      432,708          $      519,547
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $        5,202          $        6,468
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                      18,835                  16,676
     Winddown Expense                                                                                      15                                                                                                       4,607                   4,380
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $       28,644          $       27,523
Net Proceeds Available for Distribution                                                                                                                                                                    $      404,064          $      492,024


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $      404,064          $      492,024
   CARVE OUT:
     US Trustee Fees                                                                                                       $           204          $         212            100%            100%          $           204         $           212
     Chapter 11 Professionals                                                                                                        3,564                  3,398            100%            100%                    3,564                   3,398
     Total Carve Out Fees                                                                                  16              $         3,768          $       3,611            100%            100%          $         3,768         $         3,611
Net Proceeds After Carve Out Claims                                                                                                                                                                        $      400,296          $      488,413
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $      400,296          $      488,413
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920             10%             10%          $      263,296          $      258,842
     First Lien Notes                                                                                      18                     545,790                 545,790              9%              7%                  47,103                  39,160
     Second Lien Notes                                                                                     19                     355,973                 355,973             25%             11%                  89,896                  40,828
     Purchase-Money Lien                                                                                   20                           –                       –               –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684             11%              9%          $      400,296          $      338,830
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $      149,583
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                     –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $      149,583
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $      149,583
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $      149,583
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –           10%          $              –        $      149,583
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –             –                         –                     –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –             –                         –                     –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –             –                         –                     –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –             –                         –                     –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –             –                         –                     –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –           10%          $              –        $      149,583
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                         9
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 773 of 835


                                                                                         Mallinckrodt Hospital Products IP Unlimited Company
                                                                                                   Hypothetical Liquidation Analysis
                                                                                                               ($ in 000s)
                                                                                                     Note               Net                                                     Estimated                                 Estimated
                                                                                                      Ref            Book Value                                                % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $    1,179,226                                     49%             57%          $      576,532          $      668,176
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $           59                                    100%            100%          $           59          $           59
     Accounts Receivable, net                                                                               3                            –                                       –               –                      –                       –
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                            –                                       –               –                      –                       –
     Other Current Assets                                                                                   6                            0                                    20%             40%                       0                       0
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                      –                       –
     Intangible Assets                                                                                      8                     841,500                                     62%             72%                 518,515                 606,515
     Other Non-Current Assets                                                                               9                            –                                       –               –                      –                       –
     Intercompany Receivables                                                                              10                            –                                       –               –                      –                       –
     Investment in Subsidiary                                                                              11                            –                                       –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $      841,559                                     62%             72%          $      518,574          $      606,574
Gross Proceeds Available for Distribution                                                                                                                                                                  $    1,095,106          $   1,274,751
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $       13,165          $       15,869
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                      47,669                  40,915
     Winddown Expense                                                                                      15                                                                                                      11,658                  10,746
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $       72,492          $       67,530
Net Proceeds Available for Distribution                                                                                                                                                                    $    1,022,614          $   1,207,220


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $    1,022,614          $   1,207,220
   CARVE OUT:
     US Trustee Fees                                                                                                       $           515          $         521            100%            100%          $           515         $           521
     Chapter 11 Professionals                                                                                                        9,020                  8,338            100%            100%                    9,020                   8,338
     Total Carve Out Fees                                                                                  16              $         9,536          $       8,859            100%            100%          $         9,536         $         8,859
Net Proceeds After Carve Out Claims                                                                                                                                                                        $    1,013,078          $   1,198,361
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $    1,013,078          $   1,198,361
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920             25%             24%          $      666,356          $      635,089
     First Lien Notes                                                                                      18                     545,790                 545,790              9%              7%                  47,103                  39,160
     Second Lien Notes                                                                                     19                     355,973                 355,973             31%             11%                 108,753                  40,828
     Purchase-Money Lien                                                                                   20                           –                       –               –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684             23%             20%          $      822,213          $      715,077
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $      190,865          $      483,284
  Add: Value from Unencumbered Assets                                                                                                                                                                                   –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $      190,865          $      483,284
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $      190,865          $      483,284
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $      190,865          $      483,284
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810             12%             31%          $      190,865          $      483,283
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –               –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           5                       5             12%             31%                       1                       1
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –               –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –               –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –               –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,814           $   1,543,814             12%             31%          $      190,865          $      483,284
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       10
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 774 of 835


                                                                                                                 SpecGx LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $       28,435                                    100%            100%          $       28,435          $       28,435
     Accounts Receivable, net                                                                               3                     247,896                                     70%             85%                 173,528                 210,712
     Inventory                                                                                              4                     220,365                                      9%             12%                  19,722                  27,329
     Prepaid Expenses                                                                                       5                      14,781                                        –               –                      –                       –
     Other Current Assets                                                                                   6                      11,005                                      0%             30%                      25                   3,314
     Plant, Property & Equipment, net                                                                       7                     350,593                                     14%             20%                  48,427                  71,342
     Intangible Assets                                                                                      8                      79,303                                        –               –                      –                       –
     Other Non-Current Assets                                                                               9                      10,989                                     10%             20%                   1,099                   2,198
     Intercompany Receivables                                                                              10                     120,714                                     25%             26%                  29,960                  31,465
     Investment in Subsidiary                                                                              11                     140,851                                        –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $    1,224,934                                     25%             31%          $      301,196          $      374,794
Gross Proceeds Available for Distribution                                                                                                                                                                  $      301,196          $      374,794
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $        3,480          $        4,435
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                      12,599                  11,434
     Winddown Expense                                                                                      15                                                                                                      15,774                  14,319
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $       31,853          $       30,188
Net Proceeds Available for Distribution                                                                                                                                                                    $      269,343          $      344,607


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $      269,343          $      344,607
   CARVE OUT:
     US Trustee Fees                                                                                                       $           130          $         141            100%            100%          $           130         $           141
     Chapter 11 Professionals                                                                                                        2,278                  2,257            100%            100%                    2,278                   2,257
     Total Carve Out Fees                                                                                  16              $         2,408          $       2,398            100%            100%          $         2,408         $         2,398
Net Proceeds After Carve Out Claims                                                                                                                                                                        $      266,935          $      342,209
     Less: Value from Unencumbered Assets                                                                                                                                                                          (27,659)                (29,804)
Net Proceeds Available for Secured Claims                                                                                                                                                                  $      239,276          $      312,404
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               6%             7%          $      167,789          $      182,564
     First Lien Notes                                                                                      18                     545,790                 545,790               9%             7%                  47,103                  39,160
     Second Lien Notes                                                                                     19                     355,973                 355,973               7%            11%                  24,384                  40,828
     Purchase-Money Lien                                                                                   20                           –                       –                –              –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               7%             7%          $      239,276          $      262,552
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $            –          $       49,852
  Add: Value from Unencumbered Assets                                                                                                                                                                              27,659                  29,804
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $       27,659          $       79,656
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $         6,000          $       6,000            100%            100%          $         6,000         $         6,000
     Total Superpriority Administrative Claims and Distributions                                                           $         6,000          $       6,000            100%            100%          $         6,000         $         6,000
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $       21,659          $       73,656
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $       16,637           $      16,637            100%            100%          $       16,637          $       16,637
     Postpetition Intercompany Payables                                                                                                 –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                            2,712                   2,712            100%            100%                   2,712                   2,712
     Total Administrative & Priority Claims and Distributions                                              21              $       19,350           $      19,350            100%            100%          $       19,350          $       19,350
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $         2,309         $       54,307
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810               0%              3%         $         1,989         $       46,784
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                       1,297                   1,297               0%              3%                       2                     39
     Class 7 - Trade Claims                                                                                24                       8,606                   8,606               0%              3%                      11                    261
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                –               –                       –                      –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                –               –                       –                      –
     Class 11 - Intercompany Claims                                                                        27                     238,353                 238,353               0%              3%                     307                  7,223
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,792,065           $   1,792,065               0%              3%         $         2,309         $       54,307
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       11
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 775 of 835


                                                                                                              Mallinckrodt LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $            –          $            –
     Accounts Receivable, net                                                                               3                            –                                       –               –                      –                       –
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                       8,478                                        –               –                      –                       –
     Other Current Assets                                                                                   6                       2,283                                     12%             36%                     265                     818
     Plant, Property & Equipment, net                                                                       7                      35,875                                     34%             38%                  12,021                  13,548
     Intangible Assets                                                                                      8                      35,014                                        –               –                      –                       –
     Other Non-Current Assets                                                                               9                      78,258                                     80%             90%                  62,437                  70,263
     Intercompany Receivables                                                                              10                     334,490                                        –               –                      –                       –
     Investment in Subsidiary                                                                              11                     744,351                                        –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $    1,238,748                                      6%              7%          $       74,723          $       84,629
Gross Proceeds Available for Distribution                                                                                                                                                                  $       74,723          $       84,629
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $           858         $           987
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                        3,106                   2,545
     Winddown Expense                                                                                      15                                                                                                        1,860                   1,539
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         5,823         $         5,071
Net Proceeds Available for Distribution                                                                                                                                                                    $       68,900          $       79,557


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $       68,900          $       79,557
   CARVE OUT:
     US Trustee Fees                                                                                                       $            33          $           32           100%            100%          $             33        $            32
     Chapter 11 Professionals                                                                                                          578                     513           100%            100%                       578                    513
     Total Carve Out Fees                                                                                  16              $           612          $          545           100%            100%          $            612        $           545
Net Proceeds After Carve Out Claims                                                                                                                                                                        $        68,289         $       79,012
     Less: Value from Unencumbered Assets                                                                                                                                                                          (11,370)               (12,246)
Net Proceeds Available for Secured Claims                                                                                                                                                                  $        56,919         $       66,766
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               2%              2%         $       56,919          $       66,766
     First Lien Notes                                                                                      18                     545,790                 545,790                –               –                      –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                      –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               2%              2%         $       56,919          $       66,766
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $            –          $            –
  Add: Value from Unencumbered Assets                                                                                                                                                                              11,370                  12,246
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $       11,370          $       12,246
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $       14,000           $      14,000             81%             87%          $       11,370          $       12,246
     Total Superpriority Administrative Claims and Distributions                                                           $       14,000           $      14,000             81%             87%          $       11,370          $       12,246
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $         1,366          $       1,366                 –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                      –                 –               –                       –                       –
     Priority Tax Claims                                                                                                                 –                      –                 –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $         1,366          $       1,366                 –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                      72,248                  72,248                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                       7,575                   7,575                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                      60,686                  60,686                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,684,319           $   1,684,319                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       12
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 776 of 835


                                                                                                          Mallinckrodt APAP LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $      159,403                                    160%            194%          $      255,414          $      309,105
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $            –          $            –
     Accounts Receivable, net                                                                               3                      26,039                                     70%             85%                  18,227                  22,133
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                         301                                        –               –                      –                       –
     Other Current Assets                                                                                   6                            –                                       –               –                      –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                      –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                       3,561                                     10%             20%                     356                     712
     Intercompany Receivables                                                                              10                     214,733                                      5%              6%                  10,030                  12,476
     Investment in Subsidiary                                                                              11                            –                                       –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                  7,633                   8,481
     Total Assets and Gross Recovery                                                                                       $      244,634                                     15%             18%          $       36,247          $       43,802
Gross Proceeds Available for Distribution                                                                                                                                                                  $      291,661          $      352,907
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $        3,377          $        4,228
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                      12,227                  10,901
     Winddown Expense                                                                                      15                                                                                                      17,172                  15,455
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $       32,776          $       30,583
Net Proceeds Available for Distribution                                                                                                                                                                    $      258,885          $      322,324


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $      258,885          $      322,324
   CARVE OUT:
     US Trustee Fees                                                                                                       $           129          $         137            100%            100%          $           129         $           137
     Chapter 11 Professionals                                                                                                        2,259                  2,195            100%            100%                    2,259                   2,195
     Total Carve Out Fees                                                                                  16              $         2,388          $       2,332            100%            100%          $         2,388         $         2,332
Net Proceeds After Carve Out Claims                                                                                                                                                                        $      256,497          $      319,992
     Less: Value from Unencumbered Assets                                                                                                                                                                          (25,318)                (29,561)
Net Proceeds Available for Secured Claims                                                                                                                                                                  $      231,180          $      290,431
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               6%             6%          $      153,875          $      156,775
     First Lien Notes                                                                                      18                     545,790                 545,790               9%             7%                  47,103                  39,160
     Second Lien Notes                                                                                     19                     355,973                 355,973               8%            11%                  30,202                  40,828
     Purchase-Money Lien                                                                                   20                           –                       –                –              –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               6%             7%          $      231,180          $      236,763
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $            –          $       53,667
  Add: Value from Unencumbered Assets                                                                                                                                                                              25,318                  29,561
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $       25,318          $       83,228
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $       25,318          $       83,228
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $       25,318          $       83,228
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810               2%              5%         $       25,238          $       82,967
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                –               –                      –                       –
     Class 7 - Trade Claims                                                                                24                       4,867                   4,867               2%              5%                     80                     262
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                –               –                      –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                –               –                      –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                –               –                      –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,548,677           $   1,548,677               2%              5%         $       25,318          $       83,229
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       13
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 777 of 835


                                                                                                        Mallinckrodt Enterprises LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $             –         $             –
     Accounts Receivable, net                                                                               3                            –                                       –               –                       –                       –
     Inventory                                                                                              4                            –                                       –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                       –               –                       –                       –
     Other Current Assets                                                                                   6                         250                                     20%             40%                       50                     100
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                       –                       –
     Other Non-Current Assets                                                                               9                            –                                       –               –                       –                       –
     Intercompany Receivables                                                                              10                   3,396,144                                      0%              0%                    6,092                   8,154
     Investment in Subsidiary                                                                              11                   2,237,341                                        –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $    5,633,735                                      0%              0%          $         6,142         $         8,254
Gross Proceeds Available for Distribution                                                                                                                                                                  $         6,142         $         8,254
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $             70        $            96
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                           255                    248
     Winddown Expense                                                                                      15                                                                                                           153                    150
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $            479        $           495
Net Proceeds Available for Distribution                                                                                                                                                                    $         5,663         $         7,759


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $         5,663         $         7,759
   CARVE OUT:
     US Trustee Fees                                                                                                       $             3          $            3           100%            100%          $              3        $             3
     Chapter 11 Professionals                                                                                                           48                      50           100%            100%                        48                     50
     Total Carve Out Fees                                                                                  16              $            50          $           53           100%            100%          $             50        $            53
Net Proceeds After Carve Out Claims                                                                                                                                                                        $         5,613         $         7,706
     Less: Value from Unencumbered Assets                                                                                                                                                                                –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $         5,613         $         7,706
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $         5,613         $         7,706
     First Lien Notes                                                                                      18                     545,790                 545,790                –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $         5,613         $         7,706
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                         570                     570                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                         880                     880                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                       2,710                   2,710                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,547,970           $   1,547,970                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       14
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 778 of 835


                                                                                                         Mallinckrodt Lux IP S.a.r.l.
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             8                                   100%            100%          $              8        $             8
     Accounts Receivable, net                                                                               3                            –                                       –               –                        –                      –
     Inventory                                                                                              4                            –                                       –               –                        –                      –
     Prepaid Expenses                                                                                       5                            –                                       –               –                        –                      –
     Other Current Assets                                                                                   6                          43                                     20%             40%                         9                     17
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                        –                      –
     Intangible Assets                                                                                      8                            –                                       –               –                        –                      –
     Other Non-Current Assets                                                                               9                            –                                       –               –                        –                      –
     Intercompany Receivables                                                                              10                      21,816                                        –             7%                         –                  1,433
     Investment in Subsidiary                                                                              11                       2,600                                        –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $       24,468                                      0%              6%          $             17        $         1,458
Gross Proceeds Available for Distribution                                                                                                                                                                  $             17        $         1,458
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              0        $            18
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             1                     47
     Winddown Expense                                                                                      15                                                                                                             0                     12
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              1        $            77
Net Proceeds Available for Distribution                                                                                                                                                                    $             16        $         1,381


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $             16        $         1,381
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $            1           100%            100%          $              0        $             1
     Chapter 11 Professionals                                                                                                             0                     10           100%            100%                         0                     10
     Total Carve Out Fees                                                                                  16              $              0         $           10           100%            100%          $              0        $            10
Net Proceeds After Carve Out Claims                                                                                                                                                                        $             16        $         1,371
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $             16        $         1,371
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $             10        $           727
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                        5                    644
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $             16        $         1,371
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $           107          $          107                –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                       –                –               –                       –                       –
     Priority Tax Claims                                                                                                               437                     437                –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $           544          $          544                –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           1                       1                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,811           $   1,543,811                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       15
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 779 of 835


                                                                                                          Mallinckrodt Canada ULC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $         2,467                                   100%            100%          $         2,467         $         2,467
     Accounts Receivable, net                                                                               3                          694                                    70%             85%                      486                     590
     Inventory                                                                                              4                        3,865                                    24%             32%                      928                   1,237
     Prepaid Expenses                                                                                       5                             –                                      –               –                       –                       –
     Other Current Assets                                                                                   6                          780                                     6%             33%                       50                     259
     Plant, Property & Equipment, net                                                                       7                             0                                   10%             20%                        0                       0
     Intangible Assets                                                                                      8                             –                                      –               –                       –                       –
     Other Non-Current Assets                                                                               9                             –                                      –               –                       –                       –
     Intercompany Receivables                                                                              10                             8                                      –               –                       –                       –
     Investment in Subsidiary                                                                              11                             –                                      –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                           n/a                                    n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $         7,814                                    50%             58%          $         3,930         $         4,552
Gross Proceeds Available for Distribution                                                                                                                                                                  $         3,930         $         4,552
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $             45        $            53
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                           163                    137
     Winddown Expense                                                                                      15                                                                                                            48                     44
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $            257        $           234
Net Proceeds Available for Distribution                                                                                                                                                                    $         3,673         $         4,318


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $         3,673         $         4,318
   CARVE OUT:
     US Trustee Fees                                                                                                       $             2          $            2           100%            100%          $              2        $             2
     Chapter 11 Professionals                                                                                                           31                      28           100%            100%                        31                     28
     Total Carve Out Fees                                                                                  16              $            33          $           30           100%            100%          $             33        $            30
Net Proceeds After Carve Out Claims                                                                                                                                                                        $         3,641         $         4,289
     Less: Value from Unencumbered Assets                                                                                                                                                                                –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $         3,641         $         4,289
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $              –         $             –               –               –        $              –        $              –
     First Lien Notes                                                                                      18                             –                       –               –               –                       –                       –
     Second Lien Notes                                                                                     19                             –                       –               –               –                       –                       –
     Purchase-Money Lien                                                                                   20                             –                       –               –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $              –         $             –               –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $         3,641         $         4,289
  Add: Value from Unencumbered Assets                                                                                                                                                                                    –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $         3,641         $         4,289
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $         2,500          $       2,500            100%            100%          $         2,500         $         2,500
     Total Superpriority Administrative Claims and Distributions                                                           $         2,500          $       2,500            100%            100%          $         2,500         $         2,500
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $         1,141         $         1,789
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              2         $             2          100%            100%          $              2        $              2
     Postpetition Intercompany Payables                                                                                                   –                       –             –               –                         –                       –
     Priority Tax Claims                                                                                                                  –                       –             –               –                         –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              2         $             2          100%            100%          $              2        $              2
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $         1,138         $         1,786
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $             –          $           –               –               –          $             –         $             –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                            –                      –               –               –                        –                       –
     Class 7 - Trade Claims                                                                                24                          117                    117             28%             43%                       32                      51
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                            –                      –               –               –                        –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                            –                      –               –               –                        –                       –
     Class 11 - Intercompany Claims                                                                        27                        4,014                  4,014             28%             43%                    1,106                   1,736
     Total Distribution to Unsecured Classes of Claims                                                                     $         4,131          $       4,131             28%             43%          $         1,138         $         1,786
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       16
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 780 of 835


                                                                                                       Sucampo Pharma Americas, LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $      431,375                                     22%             25%          $       93,392          $      106,049
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $       13,538                                    100%            100%          $       13,538          $       13,538
     Accounts Receivable, net                                                                               3                      12,612                                     70%             85%                   8,829                  10,721
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                         159                                        –               –                      –                       –
     Other Current Assets                                                                                   6                      19,009                                     20%             40%                   3,802                   7,604
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                      –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                         332                                     10%             20%                      33                      66
     Intercompany Receivables                                                                              10                     323,439                                        –               –                      –                       –
     Investment in Subsidiary                                                                              11                      61,587                                    105%            132%                  64,365                  81,077
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                 15,803                  17,559
     Total Assets and Gross Recovery                                                                                       $      430,676                                     25%             30%          $      106,370          $      130,565
Gross Proceeds Available for Distribution                                                                                                                                                                  $      199,761          $      236,614
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $        2,112          $        2,560
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                       7,648                   6,602
     Winddown Expense                                                                                      15                                                                                                       3,911                   3,571
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $       13,671          $       12,733
Net Proceeds Available for Distribution                                                                                                                                                                    $      186,090          $      223,881


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $      186,090          $      223,881
   CARVE OUT:
     US Trustee Fees                                                                                                       $            89          $          90            100%            100%          $            89         $            90
     Chapter 11 Professionals                                                                                                        1,563                  1,447            100%            100%                    1,563                   1,447
     Total Carve Out Fees                                                                                  16              $         1,652          $       1,537            100%            100%          $         1,652         $         1,537
Net Proceeds After Carve Out Claims                                                                                                                                                                        $      184,438          $      222,344
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $      184,438          $      222,344
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               5%             5%          $      130,639          $      133,213
     First Lien Notes                                                                                      18                     545,790                 545,790               9%             7%                  47,103                  39,160
     Second Lien Notes                                                                                     19                     355,973                 355,973               2%            11%                   6,696                  40,828
     Purchase-Money Lien                                                                                   20                           –                       –                –              –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               5%             6%          $      184,438          $      213,201
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $         9,143
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                      –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $         9,143
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $         9,143
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $            –           $           –                 –             –          $              –        $             –
     Postpetition Intercompany Payables                                                                                            15,000                  15,000                 –           38%                         –                  5,648
     Priority Tax Claims                                                                                                            9,282                   9,282                 –           38%                         –                  3,495
     Total Administrative & Priority Claims and Distributions                                              21              $       24,282           $      24,282                 –           38%          $              –        $         9,143
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                          11                      11                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     134,796                 134,796                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,678,617           $   1,678,617                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       17
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 781 of 835


                                                                                                        Sucampo Pharmaceuticals, Inc.
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $              –        $             –
     Accounts Receivable, net                                                                               3                            –                                       –               –                        –                      –
     Inventory                                                                                              4                            –                                       –               –                        –                      –
     Prepaid Expenses                                                                                       5                            –                                       –               –                        –                      –
     Other Current Assets                                                                                   6                       1,029                                     90%            100%                       926                  1,029
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                        –                      –
     Intangible Assets                                                                                      8                            –                                       –               –                        –                      –
     Other Non-Current Assets                                                                               9                            –                                       –               –                        –                      –
     Intercompany Receivables                                                                              10                     299,145                                        –               –                        –                      –
     Investment in Subsidiary                                                                              11                     294,434                                        –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $      594,607                                      0%              0%          $            926        $         1,029
Gross Proceeds Available for Distribution                                                                                                                                                                  $            926        $         1,029
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $             11        $            13
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                            40                     33
     Winddown Expense                                                                                      15                                                                                                            10                      9
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $             61        $            54
Net Proceeds Available for Distribution                                                                                                                                                                    $            865        $           974


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            865        $           974
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             8                       7          100%            100%                         8                       7
     Total Carve Out Fees                                                                                  16              $              8         $             7          100%            100%          $              8        $              7
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            856        $           967
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            856        $           967
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            563        $           513
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                      293                    455
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            856        $           967
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           2                       2                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     141,156                 141,156                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,684,968           $   1,684,968                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $            –           $          –                  –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                     127,226                127,226                  –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                           –                      –                  –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $      127,226           $    127,226                  –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       18
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 782 of 835


                                                                                                                  MEH, Inc.
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $           –                                         –               –         $            –          $            –
     Accounts Receivable, net                                                                               3                          –                                         –               –                      –                       –
     Inventory                                                                                              4                          –                                         –               –                      –                       –
     Prepaid Expenses                                                                                       5                        31                                          –               –                      –                       –
     Other Current Assets                                                                                   6                    48,917                                       89%             99%                  43,525                  48,489
     Plant, Property & Equipment, net                                                                       7                          –                                         –               –                      –                       –
     Intangible Assets                                                                                      8                          –                                         –               –                      –                       –
     Other Non-Current Assets                                                                               9                   136,689                                       10%             20%                  13,669                  27,338
     Intercompany Receivables                                                                              10                     4,561                                        0%              2%                       3                      82
     Investment in Subsidiary                                                                              11                10,490,091                                          –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                        n/a                                       n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $ 10,680,288                                        1%              1%          $       57,198          $       75,908
Gross Proceeds Available for Distribution                                                                                                                                                                  $       57,198          $       75,908
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $           688         $           945
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                        2,490                   2,436
     Winddown Expense                                                                                      15                                                                                                          609                     640
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         3,786         $         4,021
Net Proceeds Available for Distribution                                                                                                                                                                    $       53,412          $       71,887


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $       53,412          $       71,887
   CARVE OUT:
     US Trustee Fees                                                                                                       $            27          $           31           100%            100%          $             27        $            31
     Chapter 11 Professionals                                                                                                          471                     497           100%            100%                       471                    497
     Total Carve Out Fees                                                                                  16              $           498          $          528           100%            100%          $            498        $           528
Net Proceeds After Carve Out Claims                                                                                                                                                                        $       52,913          $       71,360
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $       52,913          $       71,360
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               1%              1%         $       34,804          $       37,818
     First Lien Notes                                                                                      18                     545,790                 545,790               3%              6%                 18,109                  33,542
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                      –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               1%              2%         $       52,913          $       71,360
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $       40,000           $      40,000                 –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $       40,000           $      40,000                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $           332          $         332                 –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                              7,031                  7,031                 –               –                       –                       –
     Priority Tax Claims                                                                                                               223                    223                 –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $         7,586          $       7,586                 –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                      36,620                  36,620                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           0                       0                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     563,020                 563,020                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    2,143,450           $   2,143,450                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       19
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 783 of 835


                                                                                                           INO Therapeutics LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $       34,574                                     79%             89%          $       27,446          $       30,877
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $            –          $            –
     Accounts Receivable, net                                                                               3                     104,918                                     70%             85%                  73,443                  89,180
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                         102                                        –               –                      –                       –
     Other Current Assets                                                                                   6                         446                                     14%             37%                      62                     165
     Plant, Property & Equipment, net                                                                       7                       1,368                                        –               –                      –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                            –                                       –               –                      –                       –
     Intercompany Receivables                                                                              10                      34,784                                      8%              8%                   2,824                   2,875
     Investment in Subsidiary                                                                              11                            –                                       –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                 29,203                  32,448
     Total Assets and Gross Recovery                                                                                       $      141,617                                     75%             88%          $      105,532          $      124,668
Gross Proceeds Available for Distribution                                                                                                                                                                  $      132,978          $      155,545
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $        1,191          $        1,436
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                       4,313                   3,703
     Winddown Expense                                                                                      15                                                                                                      10,103                   9,116
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $       15,607          $       14,254
Net Proceeds Available for Distribution                                                                                                                                                                    $      117,371          $      141,291


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $      117,371          $      141,291
   CARVE OUT:
     US Trustee Fees                                                                                                       $            56          $           57           100%            100%          $            56         $            57
     Chapter 11 Professionals                                                                                                          985                     911           100%            100%                      985                     911
     Total Carve Out Fees                                                                                  16              $         1,042          $          968           100%            100%          $         1,042         $           968
Net Proceeds After Carve Out Claims                                                                                                                                                                        $      116,329          $      140,322
     Less: Value from Unencumbered Assets                                                                                                                                                                           (1,003)                 (1,128)
Net Proceeds Available for Secured Claims                                                                                                                                                                  $      115,326          $      139,194
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               4%              5%         $      115,326          $      139,194
     First Lien Notes                                                                                      18                     545,790                 545,790                –               –                      –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                      –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               3%              4%         $      115,326          $      139,194
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $             –         $             –
  Add: Value from Unencumbered Assets                                                                                                                                                                                1,003                   1,128
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $         1,003         $         1,128
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $       78,052           $      78,052               1%              1%         $         1,003         $         1,128
     Total Superpriority Administrative Claims and Distributions                                                           $       78,052           $      78,052               1%              1%         $         1,003         $         1,128
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $             –          $           –                 –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                      –                 –               –                       –                       –
     Priority Tax Claims                                                                                                             1,056                  1,056                 –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $         1,056          $       1,056                 –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                       1,053                   1,053                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                       1,413                   1,413                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     177,902                 177,902                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,724,178           $   1,724,178                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       20
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 784 of 835


                                                                                                       Mallinckrodt Manufacturing LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $       23,127                                     61%             68%          $       14,003          $       15,754
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $             –         $             –
     Accounts Receivable, net                                                                               3                            –                                       –               –                       –                       –
     Inventory                                                                                              4                            –                                       –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                       –               –                       –                       –
     Other Current Assets                                                                                   6                         240                                     19%             39%                       45                      95
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                       –                       –
     Other Non-Current Assets                                                                               9                          82                                     10%             20%                        8                      16
     Intercompany Receivables                                                                              10                      50,450                                     10%             12%                    5,000                   6,099
     Investment in Subsidiary                                                                              11                            –                                       –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $       50,772                                     10%             12%          $         5,054         $         6,211
Gross Proceeds Available for Distribution                                                                                                                                                                  $       19,057          $       21,964
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $           227         $           270
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                          822                     696
     Winddown Expense                                                                                      15                                                                                                          706                     637
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         1,754         $         1,604
Net Proceeds Available for Distribution                                                                                                                                                                    $       17,303          $       20,361


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $       17,303          $       20,361
   CARVE OUT:
     US Trustee Fees                                                                                                       $             9          $            9           100%            100%          $              9        $             9
     Chapter 11 Professionals                                                                                                          151                     139           100%            100%                       151                    139
     Total Carve Out Fees                                                                                  16              $           160          $          148           100%            100%          $            160        $           148
Net Proceeds After Carve Out Claims                                                                                                                                                                        $       17,143          $       20,213
     Less: Value from Unencumbered Assets                                                                                                                                                                           (3,167)                 (3,563)
Net Proceeds Available for Secured Claims                                                                                                                                                                  $       13,976          $       16,650
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $        9,211          $        8,837
     First Lien Notes                                                                                      18                     545,790                 545,790               1%              1%                  4,765                   7,813
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                      –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $       13,976          $       16,650
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $             –         $             –
  Add: Value from Unencumbered Assets                                                                                                                                                                                3,167                   3,563
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $         3,167         $         3,563
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $         3,167         $         3,563
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –             –               –          $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –             –               –                         –                       –
     Priority Tax Claims                                                                                                                  7                       7          100%            100%                         7                       7
     Total Administrative & Priority Claims and Distributions                                              21              $              7         $             7          100%            100%          $              7        $              7
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $         3,160         $         3,556
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810               0%              0%         $         3,142         $         3,535
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                          30                      30               0%              0%                       0                       0
     Class 7 - Trade Claims                                                                                24                       1,006                   1,006               0%              0%                       2                       2
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                       7,900                   7,900               0%              0%                      16                      18
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,552,746           $   1,552,746               0%              0%         $         3,160         $         3,556
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       21
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 785 of 835


                                                                                                                Therakos, Inc.
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $            91                                        –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $            –          $            –
     Accounts Receivable, net                                                                               3                      21,015                                     70%             85%                  14,710                  17,863
     Inventory                                                                                              4                      38,282                                     80%             90%                  30,626                  34,454
     Prepaid Expenses                                                                                       5                            9                                       –               –                      –                       –
     Other Current Assets                                                                                   6                          64                                     16%             38%                      10                      24
     Plant, Property & Equipment, net                                                                       7                       4,469                                      9%             17%                     382                     765
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                          57                                     10%             20%                       6                      11
     Intercompany Receivables                                                                              10                      30,286                                        –               –                      –                       –
     Investment in Subsidiary                                                                              11                   3,098,389                                      0%              0%                   6,184                   8,831
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                  6,723                   7,470
     Total Assets and Gross Recovery                                                                                       $    3,192,569                                      2%              2%          $       58,642          $       69,418
Gross Proceeds Available for Distribution                                                                                                                                                                  $       58,642          $       69,418
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $           596         $           723
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                        2,158                   1,863
     Winddown Expense                                                                                      15                                                                                                        3,533                   3,194
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         6,287         $         5,780
Net Proceeds Available for Distribution                                                                                                                                                                    $       52,355          $       63,638


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $       52,355          $       63,638
   CARVE OUT:
     US Trustee Fees                                                                                                       $            25          $           26           100%            100%          $             25        $            26
     Chapter 11 Professionals                                                                                                          440                     410           100%            100%                       440                    410
     Total Carve Out Fees                                                                                  16              $           465          $          436           100%            100%          $            465        $           436
Net Proceeds After Carve Out Claims                                                                                                                                                                        $       51,890          $       63,202
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $       51,890          $       63,202
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               2%              2%         $       51,890          $       63,202
     First Lien Notes                                                                                      18                     545,790                 545,790                –               –                      –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                      –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               1%              2%         $       51,890          $       63,202
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $       27,871           $      27,871                 –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $       27,871           $      27,871                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $           619          $          619                –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                       –                –               –                       –                       –
     Priority Tax Claims                                                                                                               254                     254                –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $           874          $          874                –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                       6,540                   6,540                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                      29,111                  29,111                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,579,461           $   1,579,461                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       22
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 786 of 835


                                                                                                          Mallinckrodt US Pool LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $             –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                      –
     Inventory                                                                                              4                            –                                        –               –                       –                      –
     Prepaid Expenses                                                                                       5                            –                                        –               –                       –                      –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                      –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                      –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                      –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                      –
     Intercompany Receivables                                                                              10                   1,583,406                                       0%              0%                      132                  3,102
     Investment in Subsidiary                                                                              11                            –                                        –               –                       –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                      –
     Total Assets and Gross Recovery                                                                                       $    1,583,406                                       0%              0%         $            132        $         3,102
Gross Proceeds Available for Distribution                                                                                                                                                                  $            132        $         3,102
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              2        $            36
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             5                     93
     Winddown Expense                                                                                      15                                                                                                             1                     25
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              8        $           154
Net Proceeds Available for Distribution                                                                                                                                                                    $            124        $         2,948


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            124        $         2,948
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $            1           100%            100%          $              0        $             1
     Chapter 11 Professionals                                                                                                             1                     19           100%            100%                         1                     19
     Total Carve Out Fees                                                                                  16              $              1         $           20           100%            100%          $              1        $            20
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            122        $         2,928
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            122        $         2,928
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            122        $         2,928
     First Lien Notes                                                                                      18                     545,790                 545,790                –               –                        –                      –
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            122        $         2,928
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                   2,296,265               2,296,265                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    3,840,075           $   3,840,075                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       23
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 787 of 835


                                                                                                    Mallinckrodt Pharmaceuticals Limited
                                                                                                     Hypothetical Liquidation Analysis
                                                                                                                 ($ in 000s)
                                                                                                        Note              Net                                                   Estimated                                 Estimated
                                                                                                         Ref           Book Value                                              % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $     11,245                                      100%            100%          $       11,245          $       11,245
     Accounts Receivable, net                                                                               3                          –                                         –               –                      –                       –
     Inventory                                                                                              4                          –                                         –               –                      –                       –
     Prepaid Expenses                                                                                       5                       586                                          –               –                      –                       –
     Other Current Assets                                                                                   6                       124                                       20%             40%                      25                      49
     Plant, Property & Equipment, net                                                                       7                       452                                        9%             19%                      42                      85
     Intangible Assets                                                                                      8                          –                                         –               –                      –                       –
     Other Non-Current Assets                                                                               9                       282                                       10%             20%                      28                      56
     Intercompany Receivables                                                                              10                     1,375                                        8%              8%                     117                     117
     Investment in Subsidiary                                                                              11                14,001,503                                          –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                        n/a                                       n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $ 14,015,567                                        0%              0%          $       11,457          $       11,553
Gross Proceeds Available for Distribution                                                                                                                                                                  $       11,457          $       11,553
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $           137         $           143
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                          497                     369
     Winddown Expense                                                                                      15                                                                                                          842                     751
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         1,476         $         1,263
Net Proceeds Available for Distribution                                                                                                                                                                    $         9,981         $       10,289


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $         9,981         $       10,289
   CARVE OUT:
     US Trustee Fees                                                                                                       $             5          $            4           100%            100%          $              5        $             4
     Chapter 11 Professionals                                                                                                           88                      71           100%            100%                        88                     71
     Total Carve Out Fees                                                                                  16              $            93          $           76           100%            100%          $             93        $            76
Net Proceeds After Carve Out Claims                                                                                                                                                                        $         9,888         $       10,214
     Less: Value from Unencumbered Assets                                                                                                                                                                                –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $         9,888         $       10,214
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $         6,504         $        5,413
     First Lien Notes                                                                                      18                     545,790                 545,790               1%              1%                   3,384                  4,801
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                       –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                       –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $         9,888         $       10,214
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $           796          $          796                –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                       –                –               –                       –                       –
     Priority Tax Claims                                                                                                                 –                       –                –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $           796          $          796                –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                         700                     700                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                       6,142                   6,142                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,550,651           $   1,550,651                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       24
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 788 of 835


                                                                                                          Ocera Therapeutics, Inc.
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $              –        $             –
     Accounts Receivable, net                                                                               3                            –                                       –               –                        –                      –
     Inventory                                                                                              4                            –                                       –               –                        –                      –
     Prepaid Expenses                                                                                       5                       1,944                                        –               –                        –                      –
     Other Current Assets                                                                                   6                          45                                     20%             40%                         9                     18
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                        –                      –
     Intangible Assets                                                                                      8                      64,500                                        –               –                        –                      –
     Other Non-Current Assets                                                                               9                         137                                     10%             20%                        14                     27
     Intercompany Receivables                                                                              10                            –                                       –               –                        –                      –
     Investment in Subsidiary                                                                              11                            –                                       –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $       66,626                                      0%              0%          $             23        $            45
Gross Proceeds Available for Distribution                                                                                                                                                                  $             23        $            45
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              0        $              1
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             1                       1
     Winddown Expense                                                                                      15                                                                                                             0                       0
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              1        $              2
Net Proceeds Available for Distribution                                                                                                                                                                    $             21        $            43


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $             21        $            43
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             0                       0          100%            100%                         0                       0
     Total Carve Out Fees                                                                                  16              $              0         $             0          100%            100%          $              0        $              0
Net Proceeds After Carve Out Claims                                                                                                                                                                        $             21        $            43
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $             21        $            43
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $             21        $            43
     First Lien Notes                                                                                      18                     545,790                 545,790                –               –                        –                      –
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $             21        $            43
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $           665          $          665                –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                       –                –               –                       –                       –
     Priority Tax Claims                                                                                                                 –                       –                –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $           665          $          665                –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                       1,972                   1,972                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                      88,317                  88,317                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,634,099           $   1,634,099                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       25
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 789 of 835


                                                                                                      Mallinckrodt Hospital Products Inc.
                                                                                                      Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                        Note               Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $            –          $            –
     Accounts Receivable, net                                                                               3                      19,426                                     70%             85%                  13,598                  16,512
     Inventory                                                                                              4                      61,403                                     51%             71%                  31,316                  43,596
     Prepaid Expenses                                                                                       5                         801                                        –               –                      –                       –
     Other Current Assets                                                                                   6                         101                                     17%             38%                      17                      39
     Plant, Property & Equipment, net                                                                       7                          35                                        –               –                      –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                            –                                       –               –                      –                       –
     Intercompany Receivables                                                                              10                      22,139                                        –               –                      –                       –
     Investment in Subsidiary                                                                              11                   3,302,201                                      0%              0%                   4,304                   4,687
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $    3,406,105                                      1%              2%          $       49,234          $       64,834
Gross Proceeds Available for Distribution                                                                                                                                                                  $       49,234          $       64,834
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $           565         $           756
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                        2,046                   1,950
     Winddown Expense                                                                                      15                                                                                                          500                     512
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         3,112         $         3,219
Net Proceeds Available for Distribution                                                                                                                                                                    $       46,122          $       61,616


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $       46,122          $       61,616
   CARVE OUT:
     US Trustee Fees                                                                                                       $            22          $           25           100%            100%          $             22        $            25
     Chapter 11 Professionals                                                                                                          387                     397           100%            100%                       387                    397
     Total Carve Out Fees                                                                                  16              $           409          $          422           100%            100%          $            409        $           422
Net Proceeds After Carve Out Claims                                                                                                                                                                        $       45,713          $       61,193
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $       45,713          $       61,193
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               2%              2%         $       45,713          $       61,193
     First Lien Notes                                                                                      18                     545,790                 545,790                –               –                      –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                      –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               1%              2%         $       45,713          $       61,193
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $       25,000           $      25,000                 –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $       25,000           $      25,000                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $           390          $         390                 –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                      –                 –               –                       –                       –
     Priority Tax Claims                                                                                                             1,887                  1,887                 –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $         2,277          $       2,277                 –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                         881                     881                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                       1,896                   1,896                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                   1,432,843               1,432,843                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    2,979,430           $   2,979,430                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       26
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 790 of 835


                                                                                                           Stratatech Corporation
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $            –          $            –
     Accounts Receivable, net                                                                               3                            –                                       –               –                      –                       –
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                       3,865                                        –               –                      –                       –
     Other Current Assets                                                                                   6                       1,669                                     20%             40%                     334                     668
     Plant, Property & Equipment, net                                                                       7                       4,631                                      8%             14%                     353                     669
     Intangible Assets                                                                                      8                      99,800                                    120%            134%                 119,269                 134,178
     Other Non-Current Assets                                                                               9                          51                                     10%             20%                       5                      10
     Intercompany Receivables                                                                              10                            –                                       –               –                      –                       –
     Investment in Subsidiary                                                                              11                            –                                       –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $      110,016                                    109%            123%          $      119,961          $      135,524
Gross Proceeds Available for Distribution                                                                                                                                                                  $      119,961          $      135,524
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $         1,432         $         1,671
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                        5,186                   4,309
     Winddown Expense                                                                                      15                                                                                                        2,885                   2,586
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         9,503         $         8,566
Net Proceeds Available for Distribution                                                                                                                                                                    $      110,458          $      126,958


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $      110,458          $      126,958
   CARVE OUT:
     US Trustee Fees                                                                                                       $            55          $           54           100%            100%          $            55         $            54
     Chapter 11 Professionals                                                                                                          968                     869           100%            100%                      968                     869
     Total Carve Out Fees                                                                                  16              $         1,023          $          923           100%            100%          $         1,023         $           923
Net Proceeds After Carve Out Claims                                                                                                                                                                        $      109,435          $      126,035
     Less: Value from Unencumbered Assets                                                                                                                                                                              (76)                  (114)
Net Proceeds Available for Secured Claims                                                                                                                                                                  $      109,359          $      125,922
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               3%              3%         $       72,696          $       67,995
     First Lien Notes                                                                                      18                     545,790                 545,790               7%              7%                 36,663                  39,160
     Second Lien Notes                                                                                     19                     355,973                 355,973                –              5%                      –                  18,767
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               3%              3%         $      109,359          $      125,922
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $             –
  Add: Value from Unencumbered Assets                                                                                                                                                                                    76                    114
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $             76        $           114
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $       20,000           $      20,000               0%              1%         $             76        $           114
     Total Superpriority Administrative Claims and Distributions                                                           $       20,000           $      20,000               0%              1%         $             76        $           114
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $         1,252          $       1,252                 –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                      –                 –               –                       –                       –
     Priority Tax Claims                                                                                                                 1                      1                 –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $         1,253          $       1,253                 –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                         520                     520                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                      81,472                  81,472                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,625,802           $   1,625,802                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       27
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 791 of 835


                                                                                                        Mallinckrodt Holdings GmbH
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $        2,129                                    100%            100%          $        2,129          $        2,129
     Accounts Receivable, net                                                                               3                            –                                       –               –                      –                       –
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                            –                                       –               –                      –                       –
     Other Current Assets                                                                                   6                            –                                       –               –                      –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                      –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                            –                                       –               –                      –                       –
     Intercompany Receivables                                                                              10                     948,201                                      2%              2%                  20,028                  22,798
     Investment in Subsidiary                                                                              11                       6,071                                    410%            461%                  24,892                  28,003
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $      956,401                                      5%              6%          $       47,049          $       52,931
Gross Proceeds Available for Distribution                                                                                                                                                                  $       47,049          $       52,931
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $           566         $           659
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                        2,048                   1,699
     Winddown Expense                                                                                      15                                                                                                          501                     446
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         3,114         $         2,804
Net Proceeds Available for Distribution                                                                                                                                                                    $       43,934          $       50,127


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $       43,934          $       50,127
   CARVE OUT:
     US Trustee Fees                                                                                                       $            22          $           22           100%            100%          $             22        $            22
     Chapter 11 Professionals                                                                                                          388                     346           100%            100%                       388                    346
     Total Carve Out Fees                                                                                  16              $           410          $          368           100%            100%          $            410        $           368
Net Proceeds After Carve Out Claims                                                                                                                                                                        $       43,525          $       49,759
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $       43,525          $       49,759
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               1%              1%         $       28,629          $       26,371
     First Lien Notes                                                                                      18                           –                       –                –               –                      –                       –
     Second Lien Notes                                                                                     19                           –                       –                –               –                      –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    2,697,920           $   2,697,920               1%              1%         $       28,629          $       26,371
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $       14,896          $       23,389
  Add: Value from Unencumbered Assets                                                                                                                                                                                   –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $       14,896          $       23,389
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $       14,896          $       23,389
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $             –          $            –              –               –          $              –        $             –
     Postpetition Intercompany Payables                                                                                                  –                       –              –               –                         –                      –
     Priority Tax Claims                                                                                                               950                     950           100%            100%                       950                    950
     Total Administrative & Priority Claims and Distributions                                              21              $           950          $          950           100%            100%          $            950        $           950
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $       13,947          $       22,439
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810               1%              1%         $       13,947          $       22,439
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                –               –                      –                       –
     Class 7 - Trade Claims                                                                                24                           2                       2               1%              1%                      0                       0
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                –               –                      –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                –               –                      –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                –               –                      –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,811           $   1,543,811               1%              1%         $       13,947          $       22,439
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       28
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 792 of 835


                                                                                                            Mallinckrodt UK Ltd
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $            28                                   100%            100%          $             28        $            28
     Accounts Receivable, net                                                                               3                             –                                      –               –                        –                      –
     Inventory                                                                                              4                             –                                      –               –                        –                      –
     Prepaid Expenses                                                                                       5                             –                                      –               –                        –                      –
     Other Current Assets                                                                                   6                             –                                      –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                             –                                      –               –                        –                      –
     Intangible Assets                                                                                      8                             –                                      –               –                        –                      –
     Other Non-Current Assets                                                                               9                             –                                      –               –                        –                      –
     Intercompany Receivables                                                                              10                             –                                      –               –                        –                      –
     Investment in Subsidiary                                                                              11                             –                                      –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                           n/a                                    n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $            28                                   100%            100%          $             28        $            28
Gross Proceeds Available for Distribution                                                                                                                                                                  $             28        $            28
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              0        $              0
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             1                       1
     Winddown Expense                                                                                      15                                                                                                             0                       0
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              2        $              1
Net Proceeds Available for Distribution                                                                                                                                                                    $             26        $            26


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $             26        $            26
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             0                       0          100%            100%                         0                       0
     Total Carve Out Fees                                                                                  16              $              0         $             0          100%            100%          $              0        $              0
Net Proceeds After Carve Out Claims                                                                                                                                                                        $             26        $            26
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $             26        $            26
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $             17        $            14
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                        9                     12
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $             26        $            26
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       29
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 793 of 835


                                                                                                     Mallinckrodt IP Unlimited Company
                                                                                                      Hypothetical Liquidation Analysis
                                                                                                                 ($ in 000s)
                                                                                                        Note              Net                                                   Estimated                                 Estimated
                                                                                                         Ref           Book Value                                              % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $           56                                    100%            100%          $             56        $            56
     Accounts Receivable, net                                                                               3                            –                                       –               –                        –                      –
     Inventory                                                                                              4                            –                                       –               –                        –                      –
     Prepaid Expenses                                                                                       5                            –                                       –               –                        –                      –
     Other Current Assets                                                                                   6                            –                                       –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                        –                      –
     Intangible Assets                                                                                      8                            –                                       –               –                        –                      –
     Other Non-Current Assets                                                                               9                            –                                       –               –                        –                      –
     Intercompany Receivables                                                                              10                            –                                       –               –                        –                      –
     Investment in Subsidiary                                                                              11                   1,026,402                                        –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $    1,026,458                                      0%              0%          $             56        $            56
Gross Proceeds Available for Distribution                                                                                                                                                                  $             56        $            56
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              1        $              1
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             2                       2
     Winddown Expense                                                                                      15                                                                                                             1                       0
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              4        $              3
Net Proceeds Available for Distribution                                                                                                                                                                    $             52        $            53


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $             52        $            53
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             0                       0          100%            100%                         0                       0
     Total Carve Out Fees                                                                                  16              $              0         $             0          100%            100%          $              0        $              0
Net Proceeds After Carve Out Claims                                                                                                                                                                        $             52        $            53
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $             52        $            53
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $             34        $            28
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                       18                     25
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $             52        $            53
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                          25                      25                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,835           $   1,543,835                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       30
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 794 of 835


                                                                                              Mallinckrodt Buckingham Unlimited Company
                                                                                                    Hypothetical Liquidation Analysis
                                                                                                               ($ in 000s)
                                                                                                      Note              Net                                                     Estimated                                 Estimated
                                                                                                       Ref           Book Value                                                % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $        300                                      100%            100%          $            300        $           300
     Accounts Receivable, net                                                                               3                          –                                         –               –                        –                      –
     Inventory                                                                                              4                          –                                         –               –                        –                      –
     Prepaid Expenses                                                                                       5                          –                                         –               –                        –                      –
     Other Current Assets                                                                                   6                          –                                         –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                          –                                         –               –                        –                      –
     Intangible Assets                                                                                      8                          –                                         –               –                        –                      –
     Other Non-Current Assets                                                                               9                          –                                         –               –                        –                      –
     Intercompany Receivables                                                                              10                          –                                         –               –                        –                      –
     Investment in Subsidiary                                                                              11                18,574,244                                          –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                        n/a                                       n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $ 18,574,544                                        0%              0%          $            300        $           300
Gross Proceeds Available for Distribution                                                                                                                                                                  $            300        $           300
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              4        $             4
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                            13                     10
     Winddown Expense                                                                                      15                                                                                                             3                      3
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $             20        $            16
Net Proceeds Available for Distribution                                                                                                                                                                    $            280        $           284


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            280        $           284
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             2                       2          100%            100%                         2                       2
     Total Carve Out Fees                                                                                  16              $              3         $             2          100%            100%          $              3        $              2
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            278        $           282
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            278        $           282
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            183        $           150
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                       95                    133
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            278        $           282
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                          61                      61                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,871           $   1,543,871                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       31
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 795 of 835


                                                                                      Mallinckrodt Windsor Ireland Finance Unlimited Company
                                                                                                  Hypothetical Liquidation Analysis
                                                                                                             ($ in 000s)
                                                                                                    Note              Net                                                       Estimated                                 Estimated
                                                                                                    Ref            Book Value                                                  % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $           230                                   100%            100%          $            230        $           230
     Accounts Receivable, net                                                                               3                             –                                      –               –                        –                      –
     Inventory                                                                                              4                             –                                      –               –                        –                      –
     Prepaid Expenses                                                                                       5                             –                                      –               –                        –                      –
     Other Current Assets                                                                                   6                             –                                      –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                             –                                      –               –                        –                      –
     Intangible Assets                                                                                      8                             –                                      –               –                        –                      –
     Other Non-Current Assets                                                                               9                             –                                      –               –                        –                      –
     Intercompany Receivables                                                                              10                             –                                      –               –                        –                      –
     Investment in Subsidiary                                                                              11                             –                                      –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                           n/a                                    n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $           230                                   100%            100%          $            230        $           230
Gross Proceeds Available for Distribution                                                                                                                                                                  $            230        $           230
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              3        $             3
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                            10                      7
     Winddown Expense                                                                                      15                                                                                                             2                      2
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $             15        $            12
Net Proceeds Available for Distribution                                                                                                                                                                    $            215        $           218


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            215        $           218
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             2                       2          100%            100%                         2                       2
     Total Carve Out Fees                                                                                  16              $              2         $             2          100%            100%          $              2        $              2
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            213        $           216
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            213        $           216
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            140        $           115
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                       73                    102
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            213        $           216
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           1                       1                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                          22                      22                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,833           $   1,543,833                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       32
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 796 of 835


                                                                                          Mallinckrodt Pharma IP Trading Unlimited Company
                                                                                                   Hypothetical Liquidation Analysis
                                                                                                              ($ in 000s)
                                                                                                     Note              Net                                                      Estimated                                 Estimated
                                                                                                      Ref           Book Value                                                 % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $       17,298                                    100%            100%          $       17,298          $       17,298
     Accounts Receivable, net                                                                               3                            –                                       –               –                      –                       –
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                            –                                       –               –                      –                       –
     Other Current Assets                                                                                   6                            –                                       –               –                      –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                      –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                            –                                       –               –                      –                       –
     Intercompany Receivables                                                                              10                            –                                       –               –                      –                       –
     Investment in Subsidiary                                                                              11                   4,228,310                                      0%              0%                   2,859                   3,275
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $    4,245,608                                      0%              0%          $       20,157          $       20,573
Gross Proceeds Available for Distribution                                                                                                                                                                  $       20,157          $       20,573
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $           242         $           256
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                          877                     660
     Winddown Expense                                                                                      15                                                                                                          355                     301
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         1,474         $         1,217
Net Proceeds Available for Distribution                                                                                                                                                                    $       18,682          $       19,356


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $       18,682          $       19,356
   CARVE OUT:
     US Trustee Fees                                                                                                       $             9          $            8           100%            100%          $              9        $             8
     Chapter 11 Professionals                                                                                                          165                     134           100%            100%                       165                    134
     Total Carve Out Fees                                                                                  16              $           174          $          142           100%            100%          $            174        $           142
Net Proceeds After Carve Out Claims                                                                                                                                                                        $       18,508          $       19,214
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $       18,508          $       19,214
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $       12,174          $       10,183
     First Lien Notes                                                                                      18                     545,790                 545,790               1%              2%                  6,334                   9,031
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                      –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               1%              1%         $       18,508          $       19,214
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              0         $             0               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              0         $             0               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           4                       4                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,814           $   1,543,814                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       33
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 797 of 835


                                                                                                        Acthar IP Unlimited Company
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $           39                                    100%            100%          $             39        $            39
     Accounts Receivable, net                                                                               3                            –                                       –               –                        –                      –
     Inventory                                                                                              4                            –                                       –               –                        –                      –
     Prepaid Expenses                                                                                       5                            –                                       –               –                        –                      –
     Other Current Assets                                                                                   6                            –                                       –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                        –                      –
     Intangible Assets                                                                                      8                            –                                       –               –                        –                      –
     Other Non-Current Assets                                                                               9                            –                                       –               –                        –                      –
     Intercompany Receivables                                                                              10                            –                                       –               –                        –                      –
     Investment in Subsidiary                                                                              11                   2,729,807                                        –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $    2,729,846                                      0%              0%          $             39        $            39
Gross Proceeds Available for Distribution                                                                                                                                                                  $             39        $            39
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              0        $              0
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             2                       1
     Winddown Expense                                                                                      15                                                                                                             0                       0
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              3        $              2
Net Proceeds Available for Distribution                                                                                                                                                                    $             36        $            37


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $             36        $            37
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             0                       0          100%            100%                         0                       0
     Total Carve Out Fees                                                                                  16              $              0         $             0          100%            100%          $              0        $              0
Net Proceeds After Carve Out Claims                                                                                                                                                                        $             36        $            37
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $             36        $            37
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $             24        $            19
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                       12                     17
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $             36        $            37
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       34
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 798 of 835


                                                                                                        Mallinckrodt UK Finance LLP
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $           336                                   100%            100%          $            336        $           336
     Accounts Receivable, net                                                                               3                             –                                      –               –                        –                      –
     Inventory                                                                                              4                             –                                      –               –                        –                      –
     Prepaid Expenses                                                                                       5                             –                                      –               –                        –                      –
     Other Current Assets                                                                                   6                             –                                      –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                             –                                      –               –                        –                      –
     Intangible Assets                                                                                      8                             –                                      –               –                        –                      –
     Other Non-Current Assets                                                                               9                             –                                      –               –                        –                      –
     Intercompany Receivables                                                                              10                           18                                       –               –                        –                      –
     Investment in Subsidiary                                                                              11                             –                                      –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                           n/a                                    n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $           355                                    95%             95%          $            336        $           336
Gross Proceeds Available for Distribution                                                                                                                                                                  $            336        $           336
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              4        $             4
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                            14                     10
     Winddown Expense                                                                                      15                                                                                                             3                      3
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $             21        $            17
Net Proceeds Available for Distribution                                                                                                                                                                    $            315        $           320


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            315        $           320
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             3                       2          100%            100%                         3                       2
     Total Carve Out Fees                                                                                  16              $              3         $             2          100%            100%          $              3        $              2
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            312        $           317
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            312        $           317
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            312        $           317
     First Lien Notes                                                                                      18                     545,790                 545,790                –               –                        –                      –
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            312        $           317
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       35
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 799 of 835


                                                                                                     Mallinckrodt ARD Holdings Limited
                                                                                                      Hypothetical Liquidation Analysis
                                                                                                                 ($ in 000s)
                                                                                                        Note              Net                                                   Estimated                                 Estimated
                                                                                                         Ref           Book Value                                              % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $           85                                    100%            100%          $             85        $            85
     Accounts Receivable, net                                                                               3                            –                                       –               –                        –                      –
     Inventory                                                                                              4                            –                                       –               –                        –                      –
     Prepaid Expenses                                                                                       5                            –                                       –               –                        –                      –
     Other Current Assets                                                                                   6                            –                                       –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                        –                      –
     Intangible Assets                                                                                      8                            –                                       –               –                        –                      –
     Other Non-Current Assets                                                                               9                            –                                       –               –                        –                      –
     Intercompany Receivables                                                                              10                     679,619                                        –               –                        –                      –
     Investment in Subsidiary                                                                              11                   7,482,727                                        –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $    8,162,431                                      0%              0%          $             85        $            85
Gross Proceeds Available for Distribution                                                                                                                                                                  $             85        $            85
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              1        $              1
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             4                       3
     Winddown Expense                                                                                      15                                                                                                             1                       1
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              6        $              4
Net Proceeds Available for Distribution                                                                                                                                                                    $             79        $            80


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $             79        $            80
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             1                       1          100%            100%                         1                       1
     Total Carve Out Fees                                                                                  16              $              1         $             1          100%            100%          $              1        $              1
Net Proceeds After Carve Out Claims                                                                                                                                                                        $             78        $            80
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $             78        $            80
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $             52        $            42
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                       27                     37
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $             78        $            80
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                         193                     193                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,544,002           $   1,544,002                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       36
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 800 of 835


                                                                                                        MUSHI UK Holdings Limited
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $          305                                    100%            100%          $            305        $           305
     Accounts Receivable, net                                                                               3                            –                                       –               –                        –                      –
     Inventory                                                                                              4                            –                                       –               –                        –                      –
     Prepaid Expenses                                                                                       5                            –                                       –               –                        –                      –
     Other Current Assets                                                                                   6                            –                                       –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                        –                      –
     Intangible Assets                                                                                      8                            –                                       –               –                        –                      –
     Other Non-Current Assets                                                                               9                            –                                       –               –                        –                      –
     Intercompany Receivables                                                                              10                            –                                       –               –                        –                      –
     Investment in Subsidiary                                                                              11                   7,482,426                                        –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $    7,482,731                                      0%              0%          $            305        $           305
Gross Proceeds Available for Distribution                                                                                                                                                                  $            305        $           305
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              4        $             4
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                            13                     10
     Winddown Expense                                                                                      15                                                                                                             3                      3
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $             20        $            16
Net Proceeds Available for Distribution                                                                                                                                                                    $            284        $           289


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            284        $           289
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             3                       2          100%            100%                         3                       2
     Total Carve Out Fees                                                                                  16              $              3         $             2          100%            100%          $              3        $              2
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            282        $           286
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            282        $           286
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            185        $           152
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                       96                    135
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            282        $           286
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                         145                     145                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,955           $   1,543,955                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       37
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 801 of 835


                                                                                                    Mallinckrodt Enterprises UK Limited
                                                                                                     Hypothetical Liquidation Analysis
                                                                                                                 ($ in 000s)
                                                                                                        Note              Net                                                   Estimated                                 Estimated
                                                                                                        Ref            Book Value                                              % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $           301                                   100%            100%          $            301        $           301
     Accounts Receivable, net                                                                               3                             –                                      –               –                        –                      –
     Inventory                                                                                              4                             –                                      –               –                        –                      –
     Prepaid Expenses                                                                                       5                             –                                      –               –                        –                      –
     Other Current Assets                                                                                   6                             –                                      –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                             –                                      –               –                        –                      –
     Intangible Assets                                                                                      8                             –                                      –               –                        –                      –
     Other Non-Current Assets                                                                               9                             –                                      –               –                        –                      –
     Intercompany Receivables                                                                              10                             –                                      –               –                        –                      –
     Investment in Subsidiary                                                                              11                             –                                      –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                           n/a                                    n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $           301                                   100%            100%          $            301        $           301
Gross Proceeds Available for Distribution                                                                                                                                                                  $            301        $           301
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              4        $             4
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                            13                     10
     Winddown Expense                                                                                      15                                                                                                             3                      3
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $             20        $            16
Net Proceeds Available for Distribution                                                                                                                                                                    $            281        $           285


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            281        $           285
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             2                       2          100%            100%                         2                       2
     Total Carve Out Fees                                                                                  16              $              3         $             2          100%            100%          $              3        $              2
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            278        $           283
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            278        $           283
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            183        $           150
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                       95                    133
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            278        $           283
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                         136                     136                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,945           $   1,543,945                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       38
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 802 of 835


                                                                                                           MKG Medical UK LTD
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $           206                                   100%            100%          $            206        $           206
     Accounts Receivable, net                                                                               3                             –                                      –               –                        –                      –
     Inventory                                                                                              4                             –                                      –               –                        –                      –
     Prepaid Expenses                                                                                       5                             –                                      –               –                        –                      –
     Other Current Assets                                                                                   6                             –                                      –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                             –                                      –               –                        –                      –
     Intangible Assets                                                                                      8                             –                                      –               –                        –                      –
     Other Non-Current Assets                                                                               9                             –                                      –               –                        –                      –
     Intercompany Receivables                                                                              10                             –                                      –               –                        –                      –
     Investment in Subsidiary                                                                              11                             –                                      –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                           n/a                                    n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $           206                                   100%            100%          $            206        $           206
Gross Proceeds Available for Distribution                                                                                                                                                                  $            206        $           206
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              2        $             3
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             9                      7
     Winddown Expense                                                                                      15                                                                                                             2                      2
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $             14        $            11
Net Proceeds Available for Distribution                                                                                                                                                                    $            193        $           195


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            193        $           195
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             2                       1          100%            100%                         2                       1
     Total Carve Out Fees                                                                                  16              $              2         $             1          100%            100%          $              2        $              1
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            191        $           194
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            191        $           194
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            126        $           103
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                       65                     91
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            191        $           194
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                          89                      89                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,899           $   1,543,899                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       39
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 803 of 835


                                                                                                         Mallinckrodt Quincy S.a.r.l.
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $        291                                      100%            100%          $            291        $           291
     Accounts Receivable, net                                                                               3                          –                                         –               –                        –                      –
     Inventory                                                                                              4                          –                                         –               –                        –                      –
     Prepaid Expenses                                                                                       5                          –                                         –               –                        –                      –
     Other Current Assets                                                                                   6                          –                                         –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                          –                                         –               –                        –                      –
     Intangible Assets                                                                                      8                          –                                         –               –                        –                      –
     Other Non-Current Assets                                                                               9                          –                                         –               –                        –                      –
     Intercompany Receivables                                                                              10                          5                                         –               –                        –                      –
     Investment in Subsidiary                                                                              11                14,455,252                                          –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                        n/a                                       n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $ 14,455,549                                        0%              0%          $            291        $           291
Gross Proceeds Available for Distribution                                                                                                                                                                  $            291        $           291
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              4        $             4
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                            13                      9
     Winddown Expense                                                                                      15                                                                                                             3                      2
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $             19        $            15
Net Proceeds Available for Distribution                                                                                                                                                                    $            272        $           276


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            272        $           276
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             2                       2          100%            100%                         2                       2
     Total Carve Out Fees                                                                                  16              $              3         $             2          100%            100%          $              3        $              2
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            269        $           274
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            269        $           274
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            177        $           145
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                       92                    129
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            269        $           274
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                       1,230                   1,230                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           2                       2                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,545,041           $   1,545,041                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       40
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 804 of 835


                                                                                                        Mallinckrodt Windsor S.a.r.l.
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $          364                                    100%            100%          $            364        $           364
     Accounts Receivable, net                                                                               3                            –                                       –               –                        –                      –
     Inventory                                                                                              4                            –                                       –               –                        –                      –
     Prepaid Expenses                                                                                       5                            –                                       –               –                        –                      –
     Other Current Assets                                                                                   6                            –                                       –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                        –                      –
     Intangible Assets                                                                                      8                            –                                       –               –                        –                      –
     Other Non-Current Assets                                                                               9                            –                                       –               –                        –                      –
     Intercompany Receivables                                                                              10                            –                                       –               –                        –                      –
     Investment in Subsidiary                                                                              11                   9,017,420                                        –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $    9,017,784                                      0%              0%          $            364        $           364
Gross Proceeds Available for Distribution                                                                                                                                                                  $            364        $           364
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              4        $             5
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                            16                     12
     Winddown Expense                                                                                      15                                                                                                             4                      3
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $             24        $            19
Net Proceeds Available for Distribution                                                                                                                                                                    $            340        $           344


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            340        $           344
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             3                       2          100%            100%                         3                       2
     Total Carve Out Fees                                                                                  16              $              3         $             3          100%            100%          $              3        $              3
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            336        $           342
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            336        $           342
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            221        $           181
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                      115                    161
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            336        $           342
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                          80                      80                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,890           $   1,543,890                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       41
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 805 of 835


                                                                                                 Mallinckrodt International Holdings S.a.r.l.
                                                                                                     Hypothetical Liquidation Analysis
                                                                                                                 ($ in 000s)
                                                                                                        Note              Net                                                   Estimated                                 Estimated
                                                                                                        Ref            Book Value                                              % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $          228                                    100%            100%          $            228        $           228
     Accounts Receivable, net                                                                               3                            –                                       –               –                        –                      –
     Inventory                                                                                              4                            –                                       –               –                        –                      –
     Prepaid Expenses                                                                                       5                            –                                       –               –                        –                      –
     Other Current Assets                                                                                   6                            –                                       –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                        –                      –
     Intangible Assets                                                                                      8                            –                                       –               –                        –                      –
     Other Non-Current Assets                                                                               9                            –                                       –               –                        –                      –
     Intercompany Receivables                                                                              10                            –                                       –               –                        –                      –
     Investment in Subsidiary                                                                              11                     308,159                                        –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $      308,388                                      0%              0%          $            228        $           228
Gross Proceeds Available for Distribution                                                                                                                                                                  $            228        $           228
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              3        $             3
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                            10                      7
     Winddown Expense                                                                                      15                                                                                                             2                      2
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $             15        $            12
Net Proceeds Available for Distribution                                                                                                                                                                    $            213        $           216


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            213        $           216
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             2                       1          100%            100%                         2                       1
     Total Carve Out Fees                                                                                  16              $              2         $             2          100%            100%          $              2        $              2
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            211        $           215
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            211        $           215
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            139        $           114
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                       72                    101
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            211        $           215
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       42
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 806 of 835


                                                                                                              MNK 2011 LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                       –
     Inventory                                                                                              4                            –                                        –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                        –               –                       –                       –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                       –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                       –
     Intercompany Receivables                                                                              10                            0                                        –               –                       –                       –
     Investment in Subsidiary                                                                              11                   5,557,721                                         –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $    5,557,721                                         –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                         112                     112                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,921           $   1,543,921                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       43
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 807 of 835


                                                                                                 Mallinckrodt Brand Pharmaceuticals LLC
                                                                                                    Hypothetical Liquidation Analysis
                                                                                                                ($ in 000s)
                                                                                                       Note              Net                                                    Estimated                                 Estimated
                                                                                                        Ref           Book Value                                               % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                       –
     Inventory                                                                                              4                            –                                        –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                        –               –                       –                       –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                       –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                       –
     Intercompany Receivables                                                                              10                       4,679                                         –               –                       –                       –
     Investment in Subsidiary                                                                              11                   5,557,721                                         –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $    5,562,400                                         –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                         114                     114                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,924           $   1,543,924                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       44
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 808 of 835


                                                                                                                 Ludlow LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                       –
     Inventory                                                                                              4                            –                                        –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                        –               –                       –                       –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                       –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                       –
     Intercompany Receivables                                                                              10                            –                                        –               –                       –                       –
     Investment in Subsidiary                                                                              11                   7,113,077                                         –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $    7,113,077                                         –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $            –           $           –                 –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                 –                       –                 –               –                       –                       –
     Priority Tax Claims                                                                                                           12,355                  12,355                 –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $       12,355           $      12,355                 –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                      16,158                  16,158                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     328,665                 328,665                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,888,633           $   1,888,633                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       45
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 809 of 835


                                                                                                         IMC Exploration Company
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $              –                                       –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                             –                                       –               –                       –                       –
     Inventory                                                                                              4                             –                                       –               –                       –                       –
     Prepaid Expenses                                                                                       5                             –                                       –               –                       –                       –
     Other Current Assets                                                                                   6                             –                                       –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                             –                                       –               –                       –                       –
     Intangible Assets                                                                                      8                             –                                       –               –                       –                       –
     Other Non-Current Assets                                                                               9                             –                                       –               –                       –                       –
     Intercompany Receivables                                                                              10                          261                                        –               –                       –                       –
     Investment in Subsidiary                                                                              11                             –                                       –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                           n/a                                     n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $           261                                        –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       46
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 810 of 835


                                                                                                       Mallinckrodt ARD Holdings Inc.
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $            –          $            –
     Accounts Receivable, net                                                                               3                            –                                       –               –                      –                       –
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                            –                                       –               –                      –                       –
     Other Current Assets                                                                                   6                      98,782                                     90%            100%                  88,904                  98,782
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                      –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                            –                                       –               –                      –                       –
     Intercompany Receivables                                                                              10                            –                                       –               –                      –                       –
     Investment in Subsidiary                                                                              11                   2,938,533                                        –               –                      –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $    3,037,315                                      3%              3%          $       88,904          $       98,782
Gross Proceeds Available for Distribution                                                                                                                                                                  $       88,904          $       98,782
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $         1,069         $         1,230
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                        3,870                   3,171
     Winddown Expense                                                                                      15                                                                                                          946                     833
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         5,885         $         5,233
Net Proceeds Available for Distribution                                                                                                                                                                    $       83,019          $       93,549


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $       83,019          $       93,549
   CARVE OUT:
     US Trustee Fees                                                                                                       $            42          $           40           100%            100%          $             42        $            40
     Chapter 11 Professionals                                                                                                          732                     646           100%            100%                       732                    646
     Total Carve Out Fees                                                                                  16              $           774          $          686           100%            100%          $            774        $           686
Net Proceeds After Carve Out Claims                                                                                                                                                                        $       82,245          $       92,863
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $       82,245          $       92,863
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               2%              2%         $       54,097          $       49,214
     First Lien Notes                                                                                      18                     545,790                 545,790               5%              7%                 28,148                  39,160
     Second Lien Notes                                                                                     19                     355,973                 355,973                –              1%                      –                   4,489
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               2%              3%         $       82,245          $       92,863
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                       1,155                   1,155                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                       8,797                   8,797                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,553,762           $   1,553,762                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       47
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 811 of 835


                                                                                                            Mallinckrodt CB LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $              –                                       –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                             –                                       –               –                       –                       –
     Inventory                                                                                              4                             –                                       –               –                       –                       –
     Prepaid Expenses                                                                                       5                             –                                       –               –                       –                       –
     Other Current Assets                                                                                   6                             –                                       –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                             –                                       –               –                       –                       –
     Intangible Assets                                                                                      8                             –                                       –               –                       –                       –
     Other Non-Current Assets                                                                               9                             –                                       –               –                       –                       –
     Intercompany Receivables                                                                              10                             –                                       –               –                       –                       –
     Investment in Subsidiary                                                                              11                             –                                       –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                           n/a                                     n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $              –                                       –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       48
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 812 of 835


                                                                                                              MHP Finance LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                       –
     Inventory                                                                                              4                            –                                        –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                        –               –                       –                       –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                       –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                       –
     Intercompany Receivables                                                                              10                     246,385                                         –               –                       –                       –
     Investment in Subsidiary                                                                              11                            –                                        –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $      246,385                                         –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $             –          $           –                 –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                      –                 –               –                       –                       –
     Priority Tax Claims                                                                                                             1,858                  1,858                 –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $         1,858          $       1,858                 –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       49
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 813 of 835


                                                                                                  Mallinckrodt Critical Care Finance LLC
                                                                                                    Hypothetical Liquidation Analysis
                                                                                                                ($ in 000s)
                                                                                                       Note              Net                                                    Estimated                                 Estimated
                                                                                                        Ref           Book Value                                               % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                       –
     Inventory                                                                                              4                            –                                        –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                        –               –                       –                       –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                       –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                       –
     Intercompany Receivables                                                                              10                   1,325,022                                         –               –                       –                       –
     Investment in Subsidiary                                                                              11                            –                                        –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $    1,325,022                                         –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $            –           $           –                 –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                 –                       –                 –               –                       –                       –
     Priority Tax Claims                                                                                                           18,047                  18,047                 –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $       18,047           $      18,047                 –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       50
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 814 of 835


                                                                                                      Mallinckrodt Equinox Finance LLC
                                                                                                      Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                        Note               Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $             –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                      –
     Inventory                                                                                              4                            –                                        –               –                       –                      –
     Prepaid Expenses                                                                                       5                            –                                        –               –                       –                      –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                      –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                      –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                      –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                      –
     Intercompany Receivables                                                                              10                      32,654                                       0%              0%                        1                     31
     Investment in Subsidiary                                                                              11                            –                                        –               –                       –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                      –
     Total Assets and Gross Recovery                                                                                       $       32,654                                       0%              0%         $              1        $            31
Gross Proceeds Available for Distribution                                                                                                                                                                  $              1        $            31
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              0        $              0
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             0                       1
     Winddown Expense                                                                                      15                                                                                                             0                       0
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              0        $              2
Net Proceeds Available for Distribution                                                                                                                                                                    $              1        $            29


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              1        $            29
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             0                       0          100%            100%                         0                       0
     Total Carve Out Fees                                                                                  16              $              0         $             0          100%            100%          $              0        $              0
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              1        $            29
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              1        $            29
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $              1        $            15
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                        0                     14
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $              1        $            29
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $             –          $            –                –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                       –                –               –                       –                       –
     Priority Tax Claims                                                                                                               755                     755                –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $           755          $          755                –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       51
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 815 of 835


                                                                                                            ST US Holdings LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $            –          $            –
     Accounts Receivable, net                                                                               3                            –                                       –               –                      –                       –
     Inventory                                                                                              4                            –                                       –               –                      –                       –
     Prepaid Expenses                                                                                       5                            –                                       –               –                      –                       –
     Other Current Assets                                                                                   6                            –                                       –               –                      –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                      –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                      –                       –
     Other Non-Current Assets                                                                               9                            –                                       –               –                      –                       –
     Intercompany Receivables                                                                              10                          97                                     14%             21%                      14                      20
     Investment in Subsidiary                                                                              11                   6,849,341                                      1%              1%                  73,285                  76,506
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                      –                       –
     Total Assets and Gross Recovery                                                                                       $    6,849,438                                      1%              1%          $       73,298          $       76,527
Gross Proceeds Available for Distribution                                                                                                                                                                  $       73,298          $       76,527
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $           881         $           953
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                        3,191                   2,456
     Winddown Expense                                                                                      15                                                                                                          780                     645
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         4,852         $         4,054
Net Proceeds Available for Distribution                                                                                                                                                                    $       68,446          $       72,473


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $       68,446          $       72,473
   CARVE OUT:
     US Trustee Fees                                                                                                       $            35          $           31           100%            100%          $             35        $            31
     Chapter 11 Professionals                                                                                                          604                     501           100%            100%                       604                    501
     Total Carve Out Fees                                                                                  16              $           638          $          532           100%            100%          $            638        $           532
Net Proceeds After Carve Out Claims                                                                                                                                                                        $       67,808          $       71,941
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $       67,808          $       71,941
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               2%              1%         $       44,601          $       38,126
     First Lien Notes                                                                                      18                     545,790                 545,790               4%              6%                 23,207                  33,815
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                      –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               2%              2%         $       67,808          $       71,941
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $             –          $            –                –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                       –                –               –                       –                       –
     Priority Tax Claims                                                                                                               622                     622                –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $           622          $          622                –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                       4,899                   4,899                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     251,201                 251,201                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,799,910           $   1,799,910                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       52
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 816 of 835


                                                                                                                 MCCH LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                       –
     Inventory                                                                                              4                            –                                        –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                        –               –                       –                       –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                       –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                       –
     Intercompany Receivables                                                                              10                            –                                        –               –                       –                       –
     Investment in Subsidiary                                                                              11                   7,344,105                                         –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $    7,344,105                                         –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     158,019                 158,019                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,701,829           $   1,701,829                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       53
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 817 of 835


                                                                                                                 MAK LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                       –
     Inventory                                                                                              4                            –                                        –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                        –               –                       –                       –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                       –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                       –
     Intercompany Receivables                                                                              10                            –                                        –               –                       –                       –
     Investment in Subsidiary                                                                              11                      64,377                                         –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $       64,377                                         –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                      44,439                  44,439                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,588,249           $   1,588,249                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       54
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 818 of 835


                                                                                                             Petten Holdings Inc.
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $            –          $            –
     Accounts Receivable, net                                                                               3                            –                                        –               –                     –                       –
     Inventory                                                                                              4                            –                                        –               –                     –                       –
     Prepaid Expenses                                                                                       5                            –                                        –               –                     –                       –
     Other Current Assets                                                                                   6                            –                                        –               –                     –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                     –                       –
     Intangible Assets                                                                                      8                            –                                        –               –                     –                       –
     Other Non-Current Assets                                                                               9                            –                                        –               –                     –                       –
     Intercompany Receivables                                                                              10                            0                                        –               –                     –                       –
     Investment in Subsidiary                                                                              11                   2,047,752                                       1%              1%                 29,482                  29,482
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                     –                       –
     Total Assets and Gross Recovery                                                                                       $    2,047,752                                       1%              1%         $       29,482          $       29,482
Gross Proceeds Available for Distribution                                                                                                                                                                  $       29,482          $       29,482
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $           354         $           367
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                        1,283                     946
     Winddown Expense                                                                                      15                                                                                                          314                     249
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $         1,952         $         1,562
Net Proceeds Available for Distribution                                                                                                                                                                    $       27,530          $       27,920


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $       27,530          $       27,920
   CARVE OUT:
     US Trustee Fees                                                                                                       $            14          $           12           100%            100%          $             14        $            12
     Chapter 11 Professionals                                                                                                          243                     193           100%            100%                       243                    193
     Total Carve Out Fees                                                                                  16              $           257          $          205           100%            100%          $            257        $           205
Net Proceeds After Carve Out Claims                                                                                                                                                                        $       27,273          $       27,715
     Less: Value from Unencumbered Assets                                                                                                                                                                               –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $       27,273          $       27,715
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               1%              1%         $       17,939          $       14,688
     First Lien Notes                                                                                      18                     545,790                 545,790               2%              2%                  9,334                  13,027
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                      –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                      –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               1%              1%         $       27,273          $       27,715
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                         329                     329                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,544,138           $   1,544,138                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       55
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 819 of 835


                                                                                                           Sucampo Holdings, Inc.
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                       –
     Inventory                                                                                              4                            –                                        –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                        –               –                       –                       –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                       –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                       –
     Intercompany Receivables                                                                              10                            –                                        –               –                       –                       –
     Investment in Subsidiary                                                                              11                      94,433                                         –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $       94,433                                         –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       56
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 820 of 835


                                                                                                    InfaCare Pharmaceutical Corporation
                                                                                                      Hypothetical Liquidation Analysis
                                                                                                                 ($ in 000s)
                                                                                                        Note              Net                                                   Estimated                                 Estimated
                                                                                                         Ref           Book Value                                              % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                       –
     Inventory                                                                                              4                            –                                        –               –                       –                       –
     Prepaid Expenses                                                                                       5                          16                                         –               –                       –                       –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                       –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                       –
     Intercompany Receivables                                                                              10                      35,383                                         –             0%                        –                       1
     Investment in Subsidiary                                                                              11                            –                                        –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $       35,399                                         –             0%         $              –        $              1
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              1
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              0
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       0
     Winddown Expense                                                                                      15                                                                                                             –                       0
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              0
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              1


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              1
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             0               –          100%          $              –        $              0
     Chapter 11 Professionals                                                                                                             –                       0               –          100%                         –                       0
     Total Carve Out Fees                                                                                  16              $              –         $             0               –          100%          $              –        $              0
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              1
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              1
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –             0%         $              –        $              1
     First Lien Notes                                                                                      18                     545,790                 545,790                 –              –                        –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –              –                        –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –              –                        –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –             0%         $              –        $              1
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              4         $             4               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              4         $             4               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                         100                     100                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                          65                      65                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,975           $   1,543,975                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       57
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 821 of 835


                                                                                                                 Vtesse LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $              –                                       –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                             –                                       –               –                       –                       –
     Inventory                                                                                              4                             –                                       –               –                       –                       –
     Prepaid Expenses                                                                                       5                        1,021                                        –               –                       –                       –
     Other Current Assets                                                                                   6                             –                                       –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                             –                                       –               –                       –                       –
     Intangible Assets                                                                                      8                             –                                       –               –                       –                       –
     Other Non-Current Assets                                                                               9                             –                                       –               –                       –                       –
     Intercompany Receivables                                                                              10                             –                                       –               –                       –                       –
     Investment in Subsidiary                                                                              11                             –                                       –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                           n/a                                     n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $         1,021                                        –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $           701          $          701                –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                       –                –               –                       –                       –
     Priority Tax Claims                                                                                                                 –                       –                –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $           701          $          701                –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                         877                     877                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     152,739                 152,739                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,697,426           $   1,697,426                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       58
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 822 of 835


                                                                                                        Mallinckrodt Veterinary, Inc.
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $              –                                       –              –         $              –        $             –
     Accounts Receivable, net                                                                               3                             –                                       –              –                        –                      –
     Inventory                                                                                              4                             –                                       –              –                        –                      –
     Prepaid Expenses                                                                                       5                             –                                       –              –                        –                      –
     Other Current Assets                                                                                   6                        1,490                                        –           30%                         –                    447
     Plant, Property & Equipment, net                                                                       7                             –                                       –              –                        –                      –
     Intangible Assets                                                                                      8                             –                                       –              –                        –                      –
     Other Non-Current Assets                                                                               9                             –                                       –              –                        –                      –
     Intercompany Receivables                                                                              10                             –                                       –              –                        –                      –
     Investment in Subsidiary                                                                              11                             –                                       –              –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                           n/a                                     n/a            n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $         1,490                                        –           30%          $              –        $           447
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $           447
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $             6
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                     14
     Winddown Expense                                                                                      15                                                                                                             –                      4
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $            24
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $           423


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $           423
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             0               –          100%          $              –        $              0
     Chapter 11 Professionals                                                                                                             –                       3               –          100%                         –                       3
     Total Carve Out Fees                                                                                  16              $              –         $             3               –          100%          $              –        $              3
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $           420
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $           420
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –             0%         $              –        $           223
     First Lien Notes                                                                                      18                     545,790                 545,790                 –             0%                        –                    197
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –              –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                 –              –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –             0%         $              –        $           420
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $            11          $           11                –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                       –                –               –                       –                       –
     Priority Tax Claims                                                                                                                 –                       –                –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $            11          $           11                –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                       2,409                   2,409                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                         101                     101                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                       4,258                   4,258                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,550,578           $   1,550,578                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       59
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 823 of 835


                                                                                                        Mallinckrodt US Holdings LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $             –         $             –
     Accounts Receivable, net                                                                               3                            –                                       –               –                       –                       –
     Inventory                                                                                              4                            –                                       –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                       –               –                       –                       –
     Other Current Assets                                                                                   6                       5,680                                     18%             39%                    1,002                   2,205
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                       –               –                       –                       –
     Other Non-Current Assets                                                                               9                      15,177                                     10%             20%                    1,518                   3,035
     Intercompany Receivables                                                                              10                            –                                       –               –                       –                       –
     Investment in Subsidiary                                                                              11                            –                                       –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $       20,858                                     12%             25%          $         2,520         $         5,241
Gross Proceeds Available for Distribution                                                                                                                                                                  $         2,520         $         5,241
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $             30        $            65
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                           110                    168
     Winddown Expense                                                                                      15                                                                                                            27                     44
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $            167        $           278
Net Proceeds Available for Distribution                                                                                                                                                                    $         2,353         $         4,963


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $         2,353         $         4,963
   CARVE OUT:
     US Trustee Fees                                                                                                       $             1          $            2           100%            100%          $              1        $             2
     Chapter 11 Professionals                                                                                                           21                      34           100%            100%                        21                     34
     Total Carve Out Fees                                                                                  16              $            22          $           36           100%            100%          $             22        $            36
Net Proceeds After Carve Out Claims                                                                                                                                                                        $         2,331         $         4,927
     Less: Value from Unencumbered Assets                                                                                                                                                                                –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $         2,331         $         4,927
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $         1,533         $         2,611
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                     798                   2,316
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $         2,331         $         4,927
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $           184          $          184                –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                       –                –               –                       –                       –
     Priority Tax Claims                                                                                                                 –                       –                –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $           184          $          184                –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                      44,923                  44,923                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                         339                     339                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                       6,950                   6,950                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,596,022           $   1,596,022                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       60
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 824 of 835


                                                                                                       Mallinckrodt ARD Finance LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                        –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                            –                                        –               –                       –                       –
     Inventory                                                                                              4                            –                                        –               –                       –                       –
     Prepaid Expenses                                                                                       5                            –                                        –               –                       –                       –
     Other Current Assets                                                                                   6                            –                                        –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                            –                                        –               –                       –                       –
     Intangible Assets                                                                                      8                            –                                        –               –                       –                       –
     Other Non-Current Assets                                                                               9                            –                                        –               –                       –                       –
     Intercompany Receivables                                                                              10                            –                                        –               –                       –                       –
     Investment in Subsidiary                                                                              11                   5,391,816                                         –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                      n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $    5,391,816                                         –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $            –           $           –                 –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                 –                       –                 –               –                       –                       –
     Priority Tax Claims                                                                                                           16,380                  16,380                 –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $       16,380           $      16,380                 –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                     149,002                 149,002                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,692,812           $   1,692,812                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       61
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 825 of 835


                                                                                                   Mallinckrodt Enterprises Holdings Inc.
                                                                                                    Hypothetical Liquidation Analysis
                                                                                                                ($ in 000s)
                                                                                                        Note             Net                                                    Estimated                                 Estimated
                                                                                                        Ref           Book Value                                               % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $             –                                       –               –         $              –        $             –
     Accounts Receivable, net                                                                               3                            –                                       –               –                        –                      –
     Inventory                                                                                              4                            –                                       –               –                        –                      –
     Prepaid Expenses                                                                                       5                            –                                       –               –                        –                      –
     Other Current Assets                                                                                   6                            –                                       –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                        –                      –
     Intangible Assets                                                                                      8                            –                                       –               –                        –                      –
     Other Non-Current Assets                                                                               9                         471                                     10%             20%                        47                     94
     Intercompany Receivables                                                                              10                     126,493                                        –               –                        –                      –
     Investment in Subsidiary                                                                              11                   5,114,595                                        –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $    5,241,560                                      0%              0%          $             47        $            94
Gross Proceeds Available for Distribution                                                                                                                                                                  $             47        $            94
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              1        $              1
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             2                       3
     Winddown Expense                                                                                      15                                                                                                             1                       2
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              4        $              6
Net Proceeds Available for Distribution                                                                                                                                                                    $             43        $            89


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $             43        $            89
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             0                       1          100%            100%                         0                       1
     Total Carve Out Fees                                                                                  16              $              0         $             1          100%            100%          $              0        $              1
Net Proceeds After Carve Out Claims                                                                                                                                                                        $             43        $            88
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $             43        $            88
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $             43        $            88
     First Lien Notes                                                                                      18                     545,790                 545,790                –               –                        –                      –
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $             43        $            88
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $             –          $           –                 –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                  –                      –                 –               –                       –                       –
     Priority Tax Claims                                                                                                             2,168                  2,168                 –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $         2,168          $       2,168                 –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                       1,203                   1,203                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                   1,880,711               1,880,711                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    3,425,724           $   3,425,724                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       62
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 826 of 835


                                                                                                            SpecGx Holdings LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $          200                                    100%            100%          $            200        $           200
     Accounts Receivable, net                                                                               3                            –                                       –               –                        –                      –
     Inventory                                                                                              4                            –                                       –               –                        –                      –
     Prepaid Expenses                                                                                       5                            –                                       –               –                        –                      –
     Other Current Assets                                                                                   6                            –                                       –               –                        –                      –
     Plant, Property & Equipment, net                                                                       7                            –                                       –               –                        –                      –
     Intangible Assets                                                                                      8                            –                                       –               –                        –                      –
     Other Non-Current Assets                                                                               9                            –                                       –               –                        –                      –
     Intercompany Receivables                                                                              10                            –                                       –               –                        –                      –
     Investment in Subsidiary                                                                              11                     744,351                                        –               –                        –                      –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                          n/a                                     n/a             n/a                        –                      –
     Total Assets and Gross Recovery                                                                                       $      744,551                                      0%              0%          $            200        $           200
Gross Proceeds Available for Distribution                                                                                                                                                                  $            200        $           200
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              2        $             2
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             9                      6
     Winddown Expense                                                                                      15                                                                                                             2                      2
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $             13        $            11
Net Proceeds Available for Distribution                                                                                                                                                                    $            187        $           189


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $            187        $           189
   CARVE OUT:
     US Trustee Fees                                                                                                       $              0         $             0          100%            100%          $              0        $              0
     Chapter 11 Professionals                                                                                                             2                       1          100%            100%                         2                       1
     Total Carve Out Fees                                                                                  16              $              2         $             1          100%            100%          $              2        $              1
Net Proceeds After Carve Out Claims                                                                                                                                                                        $            185        $           188
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                      –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $            185        $           188
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920               0%              0%         $            122        $           100
     First Lien Notes                                                                                      18                     545,790                 545,790               0%              0%                       63                     88
     Second Lien Notes                                                                                     19                     355,973                 355,973                –               –                        –                      –
     Purchase-Money Lien                                                                                   20                           –                       –                –               –                        –                      –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684               0%              0%         $            185        $           188
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                         750                     750                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                         200                     200                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,544,759           $   1,544,759                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       63
                               Case 20-12522-JTD                                            Doc 2917                           Filed 06/18/21                               Page 827 of 835


                                                                                                           WebsterGx Holdco LLC
                                                                                                       Hypothetical Liquidation Analysis
                                                                                                                  ($ in 000s)
                                                                                                         Note              Net                                                  Estimated                                 Estimated
                                                                                                         Ref            Book Value                                             % Recovery                                $ Recovery
                                                                                                                                                                            Lower       Higher                  Lower                  Higher
I. CALCULATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION
   PROCEEDS FROM LIQUIDATED OPERATIONS                                                                      1              $              –                                       –               –        $              –        $              –
   RECOVERIES FROM REMAINING ASSETS:
     Cash and Cash Equivalents                                                                              2              $              –                                       –               –        $              –        $              –
     Accounts Receivable, net                                                                               3                             –                                       –               –                       –                       –
     Inventory                                                                                              4                             –                                       –               –                       –                       –
     Prepaid Expenses                                                                                       5                             –                                       –               –                       –                       –
     Other Current Assets                                                                                   6                             –                                       –               –                       –                       –
     Plant, Property & Equipment, net                                                                       7                             –                                       –               –                       –                       –
     Intangible Assets                                                                                      8                             –                                       –               –                       –                       –
     Other Non-Current Assets                                                                               9                             –                                       –               –                       –                       –
     Intercompany Receivables                                                                              10                             1                                       –               –                       –                       –
     Investment in Subsidiary                                                                              11                             0                                       –               –                       –                       –
     Net Operating Cash Flow - Conversion Through Sale                                                     12                           n/a                                     n/a             n/a                       –                       –
     Total Assets and Gross Recovery                                                                                       $              1                                       –               –        $              –        $              –
Gross Proceeds Available for Distribution                                                                                                                                                                  $              –        $              –
   CHAPTER 7 LIQUIDATION COSTS:
     Chapter 7 Trustee Fees                                                                                13                                                                                              $              –        $              –
     Chapter 7 Trustee Professional Fees                                                                   14                                                                                                             –                       –
     Winddown Expense                                                                                      15                                                                                                             –                       –
     Total Chapter 7 Liquidation Costs                                                                                                                                                                     $              –        $              –
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –


                                                                                                          Note                        Estimated                                 Estimated                                 Estimated
                                                                                                          Ref                      Allowed Claims                              % Recovery                                $ Recovery
                                                                                                                               Lower            Higher                      Lower       Higher                  Lower                  Higher
II. ALLOCATION OF NET PROCEEDS AVAILABLE FOR DISTRIBUTION TO CREDITORS
Net Proceeds Available for Distribution                                                                                                                                                                    $              –        $              –
   CARVE OUT:
     US Trustee Fees                                                                                                       $              –         $             –               –               –        $              –        $              –
     Chapter 11 Professionals                                                                                                             –                       –               –               –                       –                       –
     Total Carve Out Fees                                                                                  16              $              –         $             –               –               –        $              –        $              –
Net Proceeds After Carve Out Claims                                                                                                                                                                        $              –        $              –
     Less: Value from Unencumbered Assets                                                                                                                                                                                 –                       –
Net Proceeds Available for Secured Claims                                                                                                                                                                  $              –        $              –
   SECURED CLAIMS:
     Revolver & Term Loan Credit Facility                                                                  17              $    2,697,920           $   2,697,920                 –               –        $              –        $              –
     First Lien Notes                                                                                      18                     545,790                 545,790                 –               –                       –                       –
     Second Lien Notes                                                                                     19                     355,973                 355,973                 –               –                       –                       –
     Purchase-Money Lien                                                                                   20                           –                       –                 –               –                       –                       –
     Total Secured Claims and Distributions                                                                                $    3,599,684           $   3,599,684                 –               –        $              –        $              –
Proceeds Available After Satisfying Secured Claims                                                                                                                                                         $              –        $              –
  Add: Value from Unencumbered Assets                                                                                                                                                                                     –                       –
Net Proceeds Available For Distribution to Superpriority Administrative Claims                                                                                                                             $              –        $              –
   SUPERPRIORITY ADMINISTRATIVE CLAIMS
     Superpriority Postpetition Intercompany Payables                                                      21              $              –         $             –               –               –        $              –        $              –
     Total Superpriority Administrative Claims and Distributions                                                           $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to Administrative & Priority Claims                                                                                                                                $              –        $              –
   ADMINISTRATIVE & PRIORITY CLAIMS:
     Postpetition Admin Trade Claims                                                                                       $              –         $             –               –               –        $              –        $              –
     Postpetition Intercompany Payables                                                                                                   –                       –               –               –                       –                       –
     Priority Tax Claims                                                                                                                  –                       –               –               –                       –                       –
     Total Administrative & Priority Claims and Distributions                                              21              $              –         $             –               –               –        $              –        $              –
Net Proceeds Available For Distribution to General Unsecured Claims                                                                                                                                        $              –        $              –
   UNSECURED CLASSES OF CLAIMS(b):
     Class 5 - Guaranteed Unsecured Notes Claims                                                           22              $    1,543,810           $   1,543,810                 –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 6 - General Unsecured Claims                                                                    23                           –                       –                 –               –                       –                       –
     Class 7 - Trade Claims                                                                                24                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 8 & Class 9 - Opioid Claims                                                                     25                           –                       –                 –               –                       –                       –
                                                                                                                                              (a)                     (a)
     Class 10 - Settled Federal/State Acthar Claims                                                        26                           –                       –                 –               –                       –                       –
     Class 11 - Intercompany Claims                                                                        27                           –                       –                 –               –                       –                       –
     Total Distribution to Unsecured Classes of Claims                                                                     $    1,543,810           $   1,543,810                 –               –        $              –        $              –
Net Proceeds Available For Distribution to Subordinated & Equity Claims                                                                                                                                    $              –        $              –

   SUBORDINATED UNSECURED & EQUITY CLASSES OF CLAIMS(b):
     Class 12 - Intercompany Interests                                                                     28              $              –         $             –               –               –        $              –        $              –
                                                                                                                                              (a)                     (a)
     Class 13 - Subordinated Claims                                                                        29                             –                       –               –               –                       –                       –
     Class 14 - Equity Interests                                                                           30                             –                       –               –               –                       –                       –
     Total Distribution to Subordinated & Equity Classes of Claims                                                         $              –         $             –               –               –        $              –        $              –

(a) Various litigation creditors have asserted Claims against the Debtors in amounts totaling billions of dollars, and in some instances trillions of dollars. Some such Claims are asserted at certain Debtors and others are asserted at all Debtors.
(b) Classes of Claims reflect Liquidated Claims. Contingent or Unliquidated claims, which are undetermined at the time of presentation, have been excluded.




                                                                                                                       64
Case 20-12522-JTD   Doc 2917   Filed 06/18/21   Page 828 of 835




                         Exhibit F
                     Valuation Analysis
            Case 20-12522-JTD              Doc 2917        Filed 06/18/21         Page 829 of 835




Valuation Analysis

THE VALUATION INFORMATION CONTAINED HEREIN IS NOT A PREDICTION OR GUARANTEE
REGARDING, AND GUGGENHEIM SECURITIES, LLC (“GUGGENHEIM SECURITIES”) DOES NOT
EXPRESS ANY VIEW OR OPINION AS TO, THE PRICE OR RANGE OF PRICES AT WHICH ANY OF
THE SHARES OR OTHER SECURITIES OF THE DEBTORS OR THE REORGANIZED DEBTORS MAY
TRADE, BE SALEABLE OR OTHERWISE BE TRANSFERABLE AT ANY TIME, INCLUDING, WITHOUT
LIMITATION, SUBSEQUENT TO CONSUMMATIFEAON OF THE PLAN.1

SUCH VALUATION INFORMATION IS PRESENTED SOLELY FOR THE PURPOSE OF PROVIDING
ADEQUATE INFORMATION UNDER SECTION 1125 OF THE BANKRUPTCY CODE TO ENABLE THE
HOLDERS OF CLAIMS AGAINST AND INTERESTS IN THE DEBTORS, AND OTHER STAKEHOLDERS
ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN, TO MAKE AN INFORMED JUDGMENT
ABOUT THE PLAN AND SHOULD NOT BE USED OR RELIED UPON FOR ANY OTHER PURPOSE,
INCLUDING, WITHOUT LIMITATION, IN CONNECTION WITH THE PURCHASE OR SALE OF CLAIMS
AGAINST OR INTERESTS IN THE DEBTORS OR ANY OF THEIR AFFILIATES.

THE ESTIMATED VALUE SET FORTH IN THE VALUATION ANALYSIS DOES NOT PURPORT TO
CONSTITUTE AN APPRAISAL OR NECESSARILY REFLECT THE ACTUAL MARKET VALUE THAT
MIGHT BE REALIZED THROUGH A SALE OR LIQUIDATION OF THE DEBTORS OR THE
REORGANIZED DEBTORS, THEIR SECURITIES OR THEIR ASSETS, WHICH MAY BE MATERIALLY
DIFFERENT THAN THE ESTIMATES SET FORTH IN THE VALUATION ANALYSIS. ACCORDINGLY,
SUCH ESTIMATED VALUE IS NOT NECESSARILY INDICATIVE OF THE PRICES AT WHICH ANY
SECURITIES OF THE REORGANIZED DEBTORS MAY TRADE AFTER GIVING EFFECT TO THE
TRANSACTIONS CONTEMPLATED TO BE EFFECTED BY THE PLAN AS OF OR FOLLOWING
CONSUMMATION THEREOF. ANY SUCH PRICES MAY BE MATERIALLY DIFFERENT THAN
INDICATED BY THE VALUATION ANALYSIS.

IN THE EVENT THAT THE PLAN IS NOT CONSUMMATED AS OF THE EXPECTED EFFECTIVE DATE
AS ASSUMED IN THE FINANCIAL PROJECTIONS, IT IS HIGHLY LIKELY THAT THE VALUATION
ANALYSIS CONTAINED HEREIN WILL CHANGE, POSSIBLY MATERIALLY.

With authorization from the Bankruptcy Court, the Debtors retained Guggenheim Securities as their
investment banker in connection with the Chapter 11 Cases. Solely for purposes of the Plan and the
Disclosure Statement, Guggenheim Securities estimated the total enterprise value (the “Total Enterprise
Value”)2 and the implied estimated equity value (the “Equity Value”) of the Reorganized Debtors on a
consolidated going-concern basis and pro forma for the transactions contemplated by the Plan (the


1   Capitalized terms used but not otherwise defined herein shall, to the extent defined in (x) the Joint Plan of
    Reorganization of Mallinckrodt plc and its Debtor Affiliates under Chapter 11 of the Bankruptcy Code, dated April
    20, 2021 (the "Plan"), or (y) the Disclosure Statement for Joint Chapter 11 Plan of Reorganization of Mallinckrodt
    plc and its Debtor Affiliates under Chapter 11 of the Bankruptcy Code, dated April 20, 2021 (the “Disclosure
    Statement”) have the meanings ascribed to such terms in the Plan or Disclosure Statement, as the context
    requires.
2   Total Enterprise Value is a financial term that generally means (a) the subject company’s equity value (i.e., the
    value of the subject company’s equity and equity-linked securities (i) inclusive of the value of (y) any minority
    investments held by the subject company and (z) any non-operating assets of the subject company and (ii)
    exclusive of the value of any non-controlling interests in the subject company’s businesses that are held by third
    parties) plus (b) the subject company’s funded debt less (c) the subject company’s excess cash, cash equivalents
    and short- and long-term marketable securities. But see, also, discussion below pertaining to the method used
    herein to derive the implied estimated equity value for the Reorganized Debtors.
            Case 20-12522-JTD             Doc 2917        Filed 06/18/21        Page 830 of 835




“Valuation Analysis”), all as set forth below. The Valuation Analysis was based on financial information
provided by the Debtors’ senior management, including the Financial Projections (defined below) attached
to the Disclosure Statement as Exhibit D, and information provided by other sources.

In assessing and utilizing the Financial Projections for purposes of performing the Valuation Analysis,
Guggenheim Securities took into account its discussions with the Debtors’ senior management regarding
the risks and uncertainties of realizing the Financial Projections in light of (i) the current and prospective
industry conditions and competitive dynamics facing the Debtors (and, as of the Effective Date, the
Reorganized Debtors), (ii) the Debtors’ recent financial performance, (iii) the key commercial, operational
and financial drivers underlying the Financial Projections, (iv) the impact and economic effects of the
COVID-19 pandemic on any of the foregoing and (v) various other facts and circumstances relevant to the
Financial Projections.

The Valuation Analysis was conducted as of April 16, 2021 and assumes the effective date of the Plan
occurs on September 24, 2021 (the “Effective Date”).

Estimated Total Enterprise Value and Equity Value
Based on the Financial Projections and other information and the financial analyses described herein,
Guggenheim Securities estimated the Total Enterprise Value of the Reorganized Debtors to be
approximately $5,200 to $5,700 million, with a midpoint of $5,450 million. After deducting (i) pro forma net
funded debt of $3,650 million3 as contemplated by the Plan as of the Effective Date, and (ii) the fair value
of certain deferred settlement payments of $987 million,4 Guggenheim Securities’ estimated Total
Enterprise Value implies an estimated Equity Value for the Reorganized Debtors of approximately $563 to
$1,063 million, with a midpoint of $813 million.

THE FINANCIAL PROJECTIONS FOR, AND THE ESTIMATED TOTAL ENTERPRISE VALUE AND THE
IMPLIED ESTIMATED EQUITY VALUE OF, THE REORGANIZED DEBTORS ARE SUBJECT TO
VARIOUS UNCERTAINTIES AND CONTINGENCIES THAT ARE INHERENTLY DIFFICULT TO
PREDICT. AMONG OTHER THINGS, SUCH ESTIMATED VALUES WILL FLUCTUATE BASED ON (I)
GENERAL ECONOMIC AND BUSINESS CONDITIONS, CAPITAL MARKETS CONDITIONS AND
INDUSTRY-SPECIFIC AND COMPANY-SPECIFIC FACTORS AND (II) THE FINANCIAL CONDITION,
FINANCIAL PERFORMANCE AND FINANCIAL PROSPECTS OF THE REORGANIZED DEBTORS.
MANY OF THE FOREGOING FACTORS AND/OR DRIVERS ARE BEYOND THE CONTROL OF THE
DEBTORS, THE REORGANIZED DEBTORS AND GUGGENHEIM SECURITIES. ACCORDINGLY, THE
ESTIMATED VALUES SET FORTH HEREIN ARE NOT NECESSARILY INDICATIVE OF ACTUAL
OUTCOMES, WHICH MAY BE SIGNIFICANTLY MORE OR LESS FAVORABLE THAN THOSE SET
FORTH HEREIN. BECAUSE THE ESTIMATED TOTAL ENTERPRISE VALUE AND THE IMPLIED
ESTIMATED EQUITY VALUE OF THE REORGANIZED DEBTORS AS SET FORTH HEREIN ARE
INHERENTLY SUBJECT TO SUCH UNCERTAINTIES AND CONTINGENCIES, NONE OF THE
DEBTORS, THE REORGANIZED DEBTORS, GUGGENHEIM SECURITIES OR ANY OTHER PERSON
ASSUMES ANY RESPONSIBILITY FOR THEIR ACCURACY, ACHIEVABILITY OR REALIZATION. ANY
VARIANCE IN ACTUAL RESULTS FROM THE ESTIMATES SET FORTH IN THE FINANCIAL
PROJECTIONS COULD HAVE A MATERIAL IMPACT ON GUGGENHEIM SECURITIES’ VALUATION
ANALYSIS.


3   Reflects Total Funded Debt of $3,869 million (pro forma for the Effective Date), less pro forma Cash to Balance
    Sheet of $219 million, net of payments to be made upon emergence on the Effective Date, all as set forth in the
    Financial Projections.
4   Reflects the fair values for the post-emergence Opioid Deferred Cash Payments and Federal/State Acthar Deferred
    Cash Payments set forth in the Financial Projections.


                                                                                                                 2
           Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 831 of 835




UNLESS OTHERWISE INDICATED HEREIN, GUGGENHEIM SECURITIES’ VALUATION ANALYSIS
WAS BASED ON THE FINANCIAL PROJECTIONS FOR THE REORGANIZED DEBTORS AND ON
CAPITAL MARKETS DATA AS OF APRIL 16, 2021, REFLECTS INFORMATION MADE AVAILABLE TO
GUGGENHEIM SECURITIES AS OF OR PRIOR TO SUCH DATE AND IS BASED ON ECONOMIC,
CAPITAL MARKETS AND OTHER CONDITIONS AS OF SUCH DATE. GUGGENHEIM SECURITIES IS
NOT MAKING ANY ASSESSMENT REGARDING THE IMPACT OR THE ECONOMIC EFFECTS OF THE
COVID-19 PANDEMIC, INCLUDING WITH RESPECT TO THE POTENTIAL IMPACT OR EFFECTS ON
THE FUTURE FINANCIAL PERFORMANCE OF THE REORGANIZED DEBTORS. ALTHOUGH THE
VALUATION ANALYSIS MAY BE AFFECTED BY SUBSEQUENT DEVELOPMENTS INCLUDING,
WITHOUT LIMITATION, DEVELOPMENTS RELATING TO THE COVID-19 PANDEMIC, GUGGENHEIM
SECURITIES ASSUMES NO RESPONSIBILITY FOR UPDATING OR REVISING THE ESTIMATED
TOTAL ENTERPRISE VALUE OR THE IMPLIED ESTIMATED EQUITY VALUE OF THE REORGANIZED
DEBTORS FOR ANY REASON, WHETHER DUE TO FACTS, CIRCUMSTANCES OR EVENTS
OCCURRING AFTER SUCH DATE OR OTHERWISE.

Summary of Reviews, Financial Analyses and Valuation Methodologies
In the course of estimating the Total Enterprise Value of the Reorganized Debtors, Guggenheim Securities:

    ▪   reviewed the Plan and the Disclosure Statement, each dated as of April 20, 2021;

    ▪   reviewed the Restructuring Support Agreement entered into on October 11, 2020 (as modified by
        the MSGE Group Joinder Agreement and the Supporting Term Lenders Joinder Agreement);

    ▪   reviewed the pro forma capitalization of the Reorganized Debtors as contemplated by the Plan as
        of the Effective Date;

    ▪   reviewed certain historical and forward-looking business and financial information regarding the
        business and prospects of the Debtors and the Reorganized Debtors (including certain
        consolidated financial projections for the Reorganized Debtors for the fiscal quarter ending
        December 31, 2021 through the fiscal year ending December 26, 2025 (the “Financial Projections”)
        and certain estimates as to potential realizable existing tax attributes expected to be utilized by the
        Reorganized Debtors), all as prepared and approved for Guggenheim Securities’ use by the
        Debtors’ senior management;

    ▪   discussed with the Debtors’ senior management and the Debtors’ other advisors (as applicable)
        their respective views regarding the (i) business, operations, historical and projected financial
        results and future prospects of the Debtors and the Reorganized Debtors, (ii) key assumptions
        related to the Financial Projections and (iii) commercial, competitive and regulatory dynamics in
        the specialty pharmaceutical and generic pharmaceutical sectors;

    ▪   performed discounted cash flow analyses based on the Financial Projections;

    ▪   compared the financial performance of the Debtors with corresponding data for certain publicly
        traded companies that Guggenheim Securities deemed relevant in evaluating the Reorganized
        Debtors and reviewed the trading multiples for such publicly traded companies; and

    ▪   conducted such other studies, analyses, inquiries and investigations as Guggenheim Securities
        deemed appropriate.

In connection with performing its Valuation Analysis, Guggenheim Securities:



                                                                                                             3
            Case 20-12522-JTD           Doc 2917       Filed 06/18/21       Page 832 of 835




    ▪   based its Valuation Analysis on various assumptions, including assumptions concerning general
        economic, business and capital markets conditions and industry-specific and company-specific
        factors, all of which are beyond the control of the Debtors, the Reorganized Debtors and
        Guggenheim Securities;

    ▪   performed a variety of financial analyses and considered a variety of factors in assessing the
        estimated Total Enterprise Value of the Reorganized Debtors;

    ▪   did not form a view or opinion as to whether any individual analysis or factor, whether positive or
        negative, considered in isolation, supported or failed to support its estimate of the Total Enterprise
        Value of the Reorganized Debtors;

    ▪   considered the results of all of its financial analyses (including the principal valuation analyses
        described below) and did not attribute any particular weight to any one analysis or factor; and

    ▪   ultimately arrived at its estimate of the Total Enterprise Value of the Reorganized Debtors based
        on the results of the financial analyses assessed as a whole and believes that the totality of the
        factors considered and the various financial analyses performed by Guggenheim Securities
        operated collectively to support its estimate of the Total Enterprise Value of the Reorganized
        Debtors.

The following is a summary of the principal valuation analyses (commonly used by investment bankers and
other financial advisor practitioners) that Guggenheim Securities performed and considered in estimating
the Total Enterprise Value of the Reorganized Debtors: (i) Discounted Cash Flow Analysis and (ii) Selected
Publicly Traded Companies Analysis.



Discounted Cash Flow Analysis
Discounted Cash Flow Analysis involves estimating a subject company’s “intrinsic value” based on the sum
of the present values of its (i) projected/forecasted annual unlevered after-tax free cash flows during an
explicit projection/forecast period and (ii) estimated terminal/continuing value beyond the explicit
projection/forecast horizon. Guggenheim Securities typically estimates the subject company’s
terminal/continuing value by applying a range of assumed perpetual growth rates to the subject company’s
projected/forecasted normalized unlevered after-tax free cash flow in the terminal year. The present values
of such projected/forecasted annual unlevered after-tax free cash flows and estimated terminal/continuing
value are then calculated by discounting them back to the present (i.e., in the case of the Reorganized
Debtors, to the assumed Effective Date) based on the subject company’s estimated weighted average cost
of capital. In connection with its Valuation Analysis, Guggenheim Securities based its Discounted Cash
Flow Analysis on the Financial Projections for the Reorganized Debtors.



Selected Publicly Traded Companies Analysis
Selected Publicly Traded Companies Analysis involves estimating a subject company’s stand-alone fully
distributed public market trading value based on both qualitative and quantitative reviews and analyses of
the subject company versus certain publicly traded companies which are deemed to be reasonably
comparable to the subject company. Among other things, such quantitative analyses typically include
calculating various prevailing public market trading valuation multiples (based on various financial metrics
considered appropriate given the subject company’s and its peer group’s industry or sector) and then
applying such public market trading valuation multiples in the context of the subject company’s historical
and projected/forecasted financial performance.

                                                                                                            4
            Case 20-12522-JTD            Doc 2917        Filed 06/18/21       Page 833 of 835




With respect to its Selected Publicly Traded Companies Analysis related to the Reorganized Debtors,
Guggenheim Securities notes that none of the selected publicly traded companies used in the Selected
Publicly Traded Companies Analysis is identical or directly comparable to the Reorganized Debtors;
however, such companies were selected by Guggenheim Securities, among other reasons, because they
represented publicly traded companies which may be considered broadly similar, for purposes of
Guggenheim Securities’ financial analyses, to the Reorganized Debtors based on Guggenheim Securities’
familiarity with the specialty pharmaceutical and specialty generics sectors primarily based in the United
States. In any event, the Selected Publicly Traded Companies Analysis is not mathematical; rather, such
analysis involves complex considerations and judgments concerning the differences in business, operating,
financial and capital markets-related characteristics and other factors regarding the selected publicly traded
companies to which the Reorganized Debtors were compared.

THE SUMMARY SET FORTH ABOVE DOES NOT PURPORT TO BE A COMPLETE DESCRIPTION OF
THE FINANCIAL ANALYSES PERFORMED BY GUGGENHEIM SECURITIES. GUGGENHEIM
SECURITIES’ PREPARATION OF ITS VALUATION ANALYSIS INVOLVED VARIOUS COMPLEX
DETERMINATIONS AND JUDGMENTS AS TO THE MOST APPROPRIATE AND RELEVANT METHODS
OF VALUATION ANALYSIS AND THE APPLICATION OF THESE METHODS IN THE PARTICULAR
CIRCUMSTANCES AND, THEREFORE, SUCH ANALYSES ARE NOT READILY SUSCEPTIBLE TO
SUMMARY DESCRIPTION.

Certain Caveats, Limitations and Considerations
With respect to the information used in performing its Valuation Analysis described herein, it should be
noted that:

    ▪   Guggenheim Securities relied upon and assumed the accuracy, completeness and reasonableness
        of all industry, business, financial, legal, regulatory, tax, accounting, actuarial and other information
        (including, without limitation, the Financial Projections, any other estimates and any other forward-
        looking information) provided by or discussed with the Debtors and their other advisors or obtained
        from public sources, data suppliers and other third parties;

    ▪   Guggenheim Securities did not assume any responsibility, obligation or liability for the accuracy,
        completeness, reasonableness, achievability or independent verification of, and Guggenheim
        Securities did not independently verify, any of the above-referenced information (including, without
        limitation, the Financial Projections, any other estimates and any other forward-looking
        information);

    ▪   Guggenheim Securities expressed no view, opinion, representation, guaranty or warranty (in each
        case, express or implied) regarding the reasonableness or achievability of the Financial
        Projections, any other estimates and any other forward-looking information or the assumptions
        upon which they are based; and

    ▪   Specifically, with respect to (i) the Financial Projections, any other estimates and any other forward-
        looking information provided by or discussed with the Debtors, (a) Guggenheim Securities was
        advised by the Debtors’ senior management, and Guggenheim Securities assumed, that the
        Financial Projections, such other estimates and such other forward-looking information utilized in
        its analyses had been reasonably prepared on bases reflecting the best then-currently available
        estimates and judgments of the Debtors’ senior management as to the expected future
        performance of the Reorganized Debtors, (b) Guggenheim Securities assumed that the Financial
        Projections would be realized substantially as projected/forecasted and (c) Guggenheim Securities
        assumed that the Financial Projections, such other estimates and such other forward-looking
        information had been reviewed by the Debtors’ Board of Directors with the understanding that such


                                                                                                               5
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21        Page 834 of 835




        information would be used and relied upon by Guggenheim Securities in connection with its
        Valuation Analysis and (ii) any financial projections, other estimates and/or other forward-looking
        information obtained by Guggenheim Securities from public sources, data suppliers and other third
        parties, Guggenheim Securities assumed that such information was reasonable and reliable.

Guggenheim Securities further assumed that (i) in all respects meaningful to its analyses, (a) the final
version of the Plan, as confirmed, and the related Disclosure Statement will not differ from earlier versions
thereof that Guggenheim Securities reviewed in order to prepare its Valuation Analysis and (b) the Debtors
will comply with all terms and conditions of the Plan, the Disclosure Statement and the Restructuring
Support Agreement; (ii) the Plan will be consummated in a timely manner in accordance with its terms and
the terms of the Restructuring Support Agreement and in compliance with all applicable laws, documents
and other requirements, without any delays, limitations, restrictions, conditions, waivers, amendments or
modifications (regulatory, tax-related or otherwise) that would have an effect on the Reorganized Debtors
in any way meaningful to Guggenheim Securities’ analyses; and (iii) no material changes that would affect
the estimated Total Enterprise Value of the Reorganized Debtors will occur between the date of the filing
of the Disclosure Statement to which this Valuation Analysis is attached and the Effective Date.

Guggenheim Securities’ financial advice to the Debtors and its Valuation Analysis (and any materials
provided in connection therewith):

    ▪   were provided to the Debtors’ Board of Directors (in its capacity as such) solely for its information
        and assistance in connection with its evaluation of the Plan;

    ▪   do not constitute a recommendation to the Debtors’ Board of Directors with respect to the Plan;

    ▪   do not constitute advice or a recommendation to any holder of any Claim against or Interest in any
        of the Debtors, any creditors of any of the Debtors or any other stakeholders in any of the Debtors
        (all of the foregoing, “Interested Parties”) as to how to vote or act in connection with the Plan;

    ▪   do not address the (i) Debtors’ or such Interested Parties’ underlying business or financial decision
        to, respectively, propose or accept or reject the Plan (and any transactions contemplated thereby),
        (ii) relative merits of the Plan (and any transactions contemplated thereby) as compared to any
        alternative business or financial strategies that might exist for the Debtors or such Interested Parties
        or (iii) effects of any other transaction in which the Debtors or such Interested Parties might engage;

    ▪   do not constitute a view or opinion as to (i) any term, aspect or implication of the Plan (including,
        without limitation, the form or structure of any transactions contemplated thereby) or the Disclosure
        Statement or (ii) the Restructuring Support Agreement or any other agreement, transaction
        document or instrument contemplated by the Plan or to be entered into or amended in connection
        with the Plan;

    ▪   do not constitute a view or opinion as to fairness, financial or otherwise, of the Plan to, or of any
        consideration to be paid to or received by, any of the Interested Parties;

    ▪   do not constitute a view or opinion as to the fairness, financial or otherwise, of the amount or nature
        of any compensation payable to or to be received by any of the Debtors’ or the Reorganized
        Debtors’ directors, officers or employees, or any class of such persons, in connection with the Plan
        relative to the consideration to be distributed to or received by the Interested Parties;

    ▪   do not constitute a view or opinion regarding the solvency/liquidity of the Reorganized Debtors or
        any other entity under any relevant laws relating to bankruptcy, insolvency or similar matters; and


                                                                                                              6
            Case 20-12522-JTD            Doc 2917       Filed 06/18/21        Page 835 of 835




    ▪   do not constitute a solvency/liquidity opinion or a liquidation analysis.

Guggenheim Securities’ professionals are not legal, regulatory, tax, consulting, turn-around, accounting,
appraisal or actuarial experts and Guggenheim Securities’ financial analyses described herein should not
be construed as constituting advice with respect to such matters; accordingly, Guggenheim Securities relied
on the assessments of the Debtors’ senior management and the Debtor’s other advisors with respect to
such matters.

Guggenheim Securities did not perform or obtain any independent appraisal of the assets or liabilities
(including any contingent, derivative or off-balance sheet assets and liabilities) of the Debtors, the
Reorganized Debtors or any other entity or of the solvency/liquidity of the Debtors, the Reorganized Debtors
or any other entity, nor was Guggenheim Securities furnished with any such appraisals (other than the
Liquidation Analysis, prepared by the Debtors, with the assistance of their financial advisor, attached to the
Disclosure Statement as Exhibit E).




                                                                                                            7
